      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1 of 1677




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                          STATE BAR OF GEORGIA
                               GRIEVANCE
                              CONFIDENTIAL
IN RE:      Mr. L. Lin Wood, Jr.
Address:
Bar Number: 774588

       The State Disciplinary Board of the State Bar of Georgia has received information

concerning the above-named attorney that suggests that said attorney may have violated one or

more of the Georgia Rules of Professional Conduct. After having considered the matter, the

Board, pursuant to Rule 4-203(2), does hereby on its own motion initiate this Grievance as

follows:

       The attached information indicates Mr. Wood may have engaged in conduct in violation

of Georgia Rules of Professional Conduct 1.1, 1.2, 3.1, 3.3, 4.1 and 4.4, and Bar Rule 4-104.




                                     This 5th day of February, 2021.

                                     STATE DISCIPLINARY BOARD




                                                                                      EXHIBIT "B"
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 2 of 1677




King et al. v. Whitmer et al., U.S. District Court Eastern District of Michigan, Case No.
2:20-cv-13134 (Lin Wood – Counsel for plaintiffs)

       On November 25, 2020, Wood, along with others, filed a challenge to the 2020 General
Election in the U.S. District Court, Eastern District of Michigan, Southern Division. The
Complaint alleged the following:

        massive election fraud, multiple violations of the Michigan Election Code, see,
       e.g., MCL §§ 168.730-738, in addition to the Election and Electors Clauses and
       Equal Protection Clause of the U.S. Constitution violations that occurred during
       the 2020 General Election throughout the State of Michigan, as set forth in the
       affidavits of dozens of eye witnesses and the statistical anomalies and
       mathematical impossibilities detailed in the affidavits of expert witnesses.
       (Complaint, Exhibit A).

        On November 29, 2020, the plaintiffs filed an amended complaint. (Amended Complaint,
Exhibit B) In the Amended Complaint, plaintiffs described one their experts as “a former U.S.
Military Intelligence expert.” (Exhibit B ¶ 161). In fact, plaintiffs’ expert never completed the
training program and was not an intelligence analyst.

        The same day plaintiffs filed an emergency motion for relief seeking “de-certification of
Michigan’s election results or a stay in the delivery of the certified results to the Electoral
College to preserve the status quo while this case proceeds, as well as seeking the impounding of
the voting machines made available and other equitable relief, on an emergency basis, due to the
irreparable harm, and impending election voting for the electors, as stated in the Complaint.”
(Emergency Motion, Exhibit C).

       On December 7, 2020, the court entered an order denying plaintiffs’ emergency motion.
(Order, Exhibit D). In the order, the court determined:
          • Plaintiffs’ state law claims against the defendants were barred by 11th Amendment
               immunity.
          • The matter was moot because the time had passed to provide most of the relief
               plaintiffs requested in their amended complaint and plaintiffs did not avail
               themselves of established remedies.
          • Plaintiffs did not exercise diligence in asserting their claims.
          • Plaintiffs lacked standing.
   Subsequently the City of Detroit and other interested parties filed several motions seeking
sanctions, including a Motion for Sanctions, for Disciplinary Action, for Disbarment Referral
and for Referral to State Bar Disciplinary Bodies. (Motion for Sanctions, Exhibit E).

   On January 14, 2021, the plaintiffs’ voluntarily dismissed their complaint without prejudice.

    On January 19, 2021, plaintiffs filed a response to the City’s motion for sanctions and
disciplinary action. (Plaintiff’s Opposition to Motion for Sanctions, Exhibit F). In the motion,
plaintiffs stated that plaintiffs had submitted “evidence for nearly every paragraph in the
                                                 2
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 3 of 1677




Amended Complaint…” Plaintiffs also asked the court to deny the motion because only
plaintiffs’ local counsel had signed pleadings and argued that when the attorney’s name only
appears in typewritten from, sanctions cannot be imposed.

        On January 26, 2021, the City of Detroit filed a reply brief in support of its motion for
sanctions. (Reply Brief in Support of Motion for Sanctions, Exhibit G). In its reply brief, the City
pointed out that plaintiffs made additional misrepresentations to the court in their response to the
sanctions motion by falsely claiming that only Michigan attorneys signed the pleadings. (Exhibit
G, pp. 3-4). The City also demonstrated that plaintiffs presented case law interpreting the 1983
version of Rule 11 and that in 1993, the Rule was “fundamentally altered in a manner that
renders their cited case law wholly inapposite.” (Exhibit G, pp. 4-6).



Pearson et al. v. Kemp et al., 1:20-cv-4809 U.S. District Court Northern District of GA
(Lin Wood - Counsel for plaintiffs)

       On November 25, 2020, Lin Wood, along with others, filed a complaint for declaratory,
emergency and permanent injunctive relief in the U.S. District Court for the Northern District of
Georgia, Atlanta Division. (Complaint, Exhibit H).

        On November 27, 2020, plaintiffs filed a motion for injunctive relief seeking (1) a
temporary restraining order preventing the defendants from erasing or altering forensic data on
voting machines, (2) an injunction de-certifying the Presidential election results, or alternatively
a stay in the delivery of the certified results to the Electoral College, and (3) an injunction
making the voting machines available to the plaintiffs for forensic analysis.

       The district court held a hearing on the plaintiffs’ motion via Zoom on November 29,
2020. Plaintiffs proposed that the district court order “very limited” relief in “two or three
counties.” Following the hearing, the court issued a written temporary restraining order on
November 29, 2020, that gave the plaintiffs what they said they wanted. That order enjoined the
defendants from erasing or altering data on voting machines in Cobb, Gwinnett and Cherokee
counties. It also ordered the defendants to produce a copy of the contract between the State of
Georgia and Dominion Voting Systems. Two follow-up orders set an expedited evidentiary
hearing for the morning of December 4, 2020, on the broader relief requested in the plaintiffs’
motion and certified that the Sunday night order contained the elements required for a permissive
appeal under 28 U.S.C. § 1292(b).

         On December 1, 2020, the plaintiffs filed a notice of appeal as to the district court’s
November 29, 2020 order. As a result, the district court canceled the hearing on the broader
relief the plaintiffs had requested. The defendants filed a conditional cross-appeal. Later, the
plaintiffs also requested permission to appeal to the 11th Circuit under 28 U.S.C. § 1292(b). Mr.
Wood is listed as counsel of record for the plaintiffs in the 11th Circuit appeal.




                                                  3
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 4 of 1677




   On December 4, 2020, the U.S. Court of Appeals for the 11th Circuit issued an order
dismissing the appeal for lack of jurisdiction and remanding the case to district court for further
proceedings. (Order, Exhibit I). In its December 4 order, the appellate court determined that:

               •   The district court’s order was not appealable under 28 U.S.C. §§ 1291,
                   1292(a)(1), or 1292(b).
               •   Even if the order was appealable, the appellate court does not ordinarily have
                   jurisdiction over TRO rulings.
               •   The case did not meet the requirements for section 1292(b) interlocutory
                   review.
               •   Because the plaintiffs appealed, the evidentiary hearing was stayed and “the
                   case considerably delayed.”
               •   The district court’s order did not deny the plaintiffs the requested relief.
    On December 11, 2020, plaintiffs filed an Emergency Petition Under Rule 20 for
Extraordinary Writ of Mandamus with the U.S. Supreme Court seeking an emergency order (1)
instructing Respondents to de-certify the results of the General Election for the Office of
President, and prohibiting Respondents from empaneling the Biden slate of electors to cast their
votes in the Electoral College, (2) prohibiting Respondents from including in any certified results
from the General Election the tabulation of absentee and mailing ballots which do not comply
with the Georgia Election Code, and (3) requesting that the Court direct the District Court to
order production of all registration data, ballots, envelopes, etc. required to be maintained by
Georgia state and federal law, to refrain from wiping or otherwise tampering with the data on all
voting machines used in the November 2020 election, and to produce one such machine from
each Georgia county for forensic examination by Petitioners’ experts.

   On January 19, 2021, the plaintiffs filed a stipulation of dismissal of that Emergency Petition.



Feehan v. Wisc. Elections Comm'n, 20-cv-1771, U.S. District Court Eastern District of
Wisconsin (Lin Wood-counsel for plaintiffs)

        On December 1, 2020, Lin Wood, along with other counsel, filed a complaint on behalf
of William Feehan and Derrick Van Orden in the U.S. District Court for the Eastern District of
Wisconsin. (Complaint, Exhibit J).

        The complaint alleged “massive election fraud” and “multiple violations of the
Wisconsin Election Code” during the 2020 General Election in the State of Wisconsin “as set
forth in the affidavits of dozens of eyewitnesses and the statistical anomalies and mathematical
impossibilities detailed in the affidavits of expert witnesses.” (Exhibit J, p. 1).

       The complaint identified Van Orden as a resident of Hager City, Wisconsin, and the 2020
Republican nominee for Wisconsin’s Third Congressional District Seat for the U.S. House of
Representatives. The complaint alleged that:


                                                 4
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 5 of 1677




     Mr. Van Orden ‘lost’ by approximately 10,000 votes to the Democrat incumbent,”
     and stated that “[b]ecause of the illegal voting irregularities as will be shown below,
     Mr. Van Orden seeks to have a new election ordered by this court in the Third
     District, with that election being conducted under strict adherence with the
     Wisconsin Election Code.

The complaint was not verified. (Exhibit J).

The same day the complaint was filed at 4:01 pm Derrick Van Orden tweeted the following:




(See, Van Orden tweet:
https://mobile.twitter.com/derrickvanorden/status/1333878883238768642?ref_url=https%3a%2f
%2fd-1385984482207901300.ampproject.net%2f2101211748002%2fframe.html)

       On December 2, 2020, the court entered an order highlighting several deficiencies in the
unverified complaint and related papers that Mr. Wood and his co-counsel filed including:

              Failing to include the proposed order in the initial motion that was filed.
              Failing to ask for a hearing in the proposed order attached to the amended
               motion.
              Filings indicating that they had been forwarded to defense counsel with no
               address listed.
              Stating documents were filed under seal when they were not.


       On December 3, 2020, Wood and co-counsel filed an amended complaint removing
Derrick Van Orden as a plaintiff. It differed from the original complaint only in the removal of
Van Orden as a plaintiff.

      On December 9, 2020, the court entered an order dismissing the case. (Order, Exhibit K)
The court determined:



                                                5
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 6 of 1677




            •   The plaintiffs brought the case in federal court, though state law governed
                the election process. (Exhibit K, p. 1).
            •   The court had no authority to grant plaintiff the relief he requested.
            •   Plaintiff did not have standing to sue.
            •   Most of the relief the plaintiff requested was moot.
            •   Plaintiff sued defendants who were either “not suable under section 1983 or
                [were] protected by Eleventh Amendment immunity.”
            •   Plaintiff falsely attributed a quote to Swaffer v. Deininger. (Exhibit K, pp.
                32-33).



Bowyer v. Ducey, CV-20-02321, U.S. District Court, District of Arizona
(Lin Wood-counsel for plaintiff)

       On December 2, 2020, Lin Wood, along with other counsel, signed the complaint in
Bowyer v. Ducey, CV-20-02321, which was filed in the U.S. District Court, District of Arizona.
The plaintiffs sought to set aside the results of the 2020 General Election on the basis of alleged
fraud and election misconduct. (Complaint, Exhibit L).

         Though the complaint alleged that the election process was riddled with fraud and
illegality, the plaintiffs presented little to no relevant or reliable evidence in support of their
claims. U.S. District Court Judge Diane Humetewa dismissed the action, concluding:

        Not only have Plaintiffs failed to provide the Court with factual support for their
        extraordinary claims, but they have wholly failed to establish that they have
        standing for the Court to consider them. Allegations that find favor in the public
        sphere of gossip and innuendo cannot be a substitute for earnest pleadings and
        procedure in federal court. They most certainly cannot be the basis for upending
        Arizona's 2020 General Election. The Court is left with no alternative but to
        dismiss this matter in its entirety. (Order, Exhibit M).


Roslyn La Liberte vs. Joy Reid, 18-CV-5398, U.S. District Court Eastern District of New
York (Lin Wood as co-counsel for plaintiff)

       In October 2018, Respondent was admitted Pro Hac Vice to the Federal District Court for
the Eastern District of New York as co-counsel for Roslyn La Liberte, Plaintiff in a defamation
case against Joy Reid (La Liberte vs. Reid, 18-CV-5398). By motion of January 25, 2021,
counsel for Defendant requested that the court revoke Respondent’s admission Pro Hac Vice
“because, among other things, he has acted and is acting to subvert the United States
Constitution and the rule of law, violated his ethical obligations under the New York Rules of
Professional Conduct (“RPC”) and the New York Constitution, violated Federal Rule of Civil
Procedure 11 and RPC 3.1, falsely attacked the Chief Justice of the United States Supreme
Court, has recently been disciplined in another state court, and made misrepresentations to this
Court.” (Motion to Revoke Pro Hac Status, Exhibit N).

                                                    6
        Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 7 of 1677




   The first four grounds for the Motion are discussed in other portions of this Memorandum of
Grievance. The final ground, that Respondent made misrepresentations to the Court in the La
Liberte matter, is based upon statements that Respondent made during a conference with the
Court on January 11, 2021. (Transcript, Exhibit O). During the conference, Mr. Wood told the
Court:

    •   “I have never advocated that anyone should break the law. I’ve advocated for people
        to follow the law.” (Exhibit O, p.15). Mr. Wood encouraged the conduct of
        individuals who committed federal offenses by breaking into the Capitol to unseat
        duly elected representatives and prevent the counting of electoral college votes and
        the peaceful transfer of power.
    •   “I didn’t call for the people to go up there and meet, I didn’t call for anybody to go
        to the Capitol.” (Exhibit O, p.9). Mr. Wood did, in fact, “call for” his supporters to
        storm and occupy the United States Capitol. On the morning of January 6, Mr.
        Wood posted to his 1.1 million Twitter followers that “[t]he time ha[d] come . . . to
        take back our country . . . to fight for our freedom.” . He wrote those words
        alongside an image stating that it was “1776 Again.” During the insurrection, as the
        mob was storming the Capitol building, Mr. Wood tweeted to his followers that they
        should follow the advice of Bill White to “enter the US Capitol Building . . . enter
        both houses . . . fight for us [and] . . . fight for Trump. . . .”
    •   “So there’s been no finding by any court that the evidence of election fraud is
        lacking. In fact, if they discussed it, they would have to say it was literally
        conclusive that there was fraud.” (Exhibit O, p.11). As set forth elsewhere in this
        Memorandum of Grievance, several courts have specifically found that there is no
        factual support for this claim.



Statements from Lin Wood


•       Statements by Wood regarding U.S. Supreme Court Chief Justice John Roberts

           o   CJ Roberts knew in advance the date of Associate Justice Antonin Scalia’s death;
               is a “member of a club or cabal requiring minor children as an initiation fee”;.
               arranged, for the purposes of pedophilia, an illegal adoption of children with the
               help of convicted sex-offender Jeffrey Epstein; who Wood claimed is still alive.
               (Twitter, Dec. 30, 2020).

           o   “Hillary Clinton thought she had rigged the 2016 election. The plan after her
               election was to kill federal judges so that Hillary could stack the judiciary.
               US Supreme Court targeted. FBI was complicit…. Justice Scalia learned of


                                                 7
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 8 of 1677




           the plan to kill members of the judiciary. He reported it to the White House.
           Shortly thereafter, Scalia was killed….” (Telegram, Jan. 19, 2021).



•   Statements by Wood regarding U.S. Vice President Mike Pence, former Deputy Attorney
    General Rod Rosenstein, and other U.S. government officials:

       o VP Pence “is a TRAITOR, a Communist Sympathizer & a Child Molester”
         (said same about “Chuck ‘Jeffrey Epstein Buddy’ Schumer” and “Mitch
         ‘Cocaine CCP’ McConnell”) who conspired with former DAG Rosenstein
         (who directed the murder of DNC employee Seth Rich in 2016) to overthrow
         the U.S. government and should be arrested and incarcerated for treason
         (Twitter, Jan. 6-7, 2021).
       o “If Pence is arrested, @SecPompeo will save the election. Pence will be in
         jail awaiting trial for treason. He will face execution by firing squad.”
         (Twitter, Jan. 1, 2021); “Get the firing squads ready. Pence goes FIRST.”
         (Parler, Jan. 7, 2021).
       o “Pence is on videos captured by FBI. Discussions about murdering judges.
         [CJ] Roberts was involved. So was Hillary Clinton.” VP Pence “used 13, 14,
         & 15 year old boys for his own self-serving purposes too. A very special
         place in Hell awaits Pence.” (Telegram -Jan. 19, 2021).

•   Statements regarding Georgia officials and judges:

       o Wood led a rally in Georgia on Dec. 2, 2020, where he called for the
         imprisonment of Georgia Governor Brian Kemp and Secretary of State Brad
         Raffensberger for carrying out their duty of counting Georgia’s votes in the
         presidential election. Wood instructed persons at the rally to go to the
         Georgia Capitol and “circle it” to force a special session of the Georgia
         legislature to overturn the results of the election
         (https://www.youtube.com/watch?v=ep1yCTpMJvc, Video at 3:10).
       o Wood spread a conspiracy theory “that connect purported election fraud to a
         traffic accident that killed a 20-year-old worker on U.S. Sen. Kelly
         Loeffler’s campaign who dated one of Kemp’s daughters.”
         (https://www.ajc.com/news/amid-personal-turmoil-libel-lawyer-lin-wood-
         goes-on-the-attack-for-trump/UBHBVKB65NGE7PU3RO5YYGTHXE/)

•   Statements regarding U.S Capitol violence:

       o   “I have eternal life…. I don’t believe anyone died yesterday…. I think it was
           all staged. It was Antifa dressed up as Trump people…. I apply critical
           thinking and the instincts God gave me [to know this]…. I’m not God…. I’m
           just a person who understands what’s going on and why…. If I am God, I’ve
           got one bad memory. I don’t remember creating myself, the clouds, the
           oceans, the stars. But do I try to live like God? This is the second harvest.

                                            8
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 9 of 1677




         God is getting ready to show he’s real again…. I’m afraid they’re going to
         put me in jail, but that’s where Paul wrote some of his greatest chapters of
         the Bible.” (July 7, 2020 - Statement to New Yorker magazine writer Charles
         Bethea, “A Trump Holdout in Atlanta,” New Yorker, Feb.1, 2021 issue, pp.
         2-4/4).
       o Wood acknowledged that Ashli Babbitt, who was shot and killed while
         storming the Capitol, had retweeted Wood’s claims regarding VP Pence,
         DAG Rosenstein and CJ Roberts the morning of the riots, prior to suggesting
         that Babbitt was still alive and reports of her death were part of a “false flag”
         operation by the “Deepstate” and Antifa against “Sheeple.” (Exhibit G).

    Allegations Taken From Verified Complaint in Wade, et al. v. Wood, Fulton Sup. Ct.
    CAFN 2020CV339937 (Verified Complaint, Exhibit P).

•   Beginning in the fall of 2019 and continuing into 2020, Wood began to display “erratic,
    abusive, and unprofessional behavior,” with Wood becoming “increasingly … hostile …
    and threatening towards Plaintiffs Wade, Grunberg, and Wilson (“Plaintiffs”), his
    colleagues within his office, and sending “abusive, incoherent phone calls, voicemails,
    texts, and emails … to [Plaintiffs] in the middle of the night.” (Exhibit P, ¶¶ 3, 106-07;
    111; 115).

•   Wood physically attacked Wilson at Wood’s home when Wilson came by out of concern
    for Wood’s welfare. Wood physically attacked Grunberg in an elevator of a hotel during
    an out of town deposition. Wood later acknowledged and apologized for the attacks,
    (Verified Complaint ¶ 112), but in subsequent emails threatened to “beat” Taylor with a
    switch “till [she] couldn’t sit down for 20 fucking years” and told Grunberg: “Man oh
    man, you’re glad you’re not with me in an elevator with me right now buddy….” (Exhibit
    P, ¶¶ 142; 143).

•   Wood specifically threatened to “destroy” Grunberg and Wilson, saying about Wilson
    specifically: ““by the time I am through with Taylor Wilson, he’s going to wish all I had
    done was fuck his wife.” On March 3, 2020, Wood called and left a voicemail for
    Wilson’s wife professing his love for her and her family. (Exhibit P, ¶¶ 118; 159-60).

•   On Feb. 13, 2020, after Plaintiffs agreed to reconsider leaving the firm, Wood hosted a
    teleconference in which Wood: referred to himself as Almighty; offered to fight the
    individual Plaintiffs to the death; demanded the Plaintiffs’ undying loyalty; threatened to
    “hurt” the Plaintiffs; offered to have the Plaintiffs stay in the firm; and called Plaintiff
    Grunberg a “Chilean Jew”; demanded that he admit he does not look like the other
    lawyers in the firm; stated to Plaintiffs that he “had the power to hurt ya, to hurt your
    families, to hurt your law careers….” Wood stated: “Now I’m gonna tell you something
    very surprising, y’all just heard from the Almighty Lin and it sounds powerful and you
    believe it don’t ya? … Almighty Lin just told you what would happen if he thinks you
    ever, in his opinion, discerns that you’re being disrespectful to me by anything other than
    an accident or mistake, he’s gonna throw you out. Ya hear me? … Now Almighty Lin’s
    gonna tell you this … the power that I just had can change your life if I ever decide …

                                             9
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 10 of 1677




     even if it’s good or bad, I can change your life with the exercise of that power, right? …”
     Wood stated: “I’ll commit sins. I’ll [physically] push you when you piss me off.” Wood
     stated: “I might make the same mistake then that I made then, I might push you and I
     wouldn’t mean to hurt you. I wouldn’t mean to push you around, especially cause either
     one of you would whip my ass or maybe you wouldn’t cause you don’t have the courage
     I have. Maybe I would fight you till you damn die. Or both of us died. Cause I got
     courage inside of every bone in my body that you’ll never know.”
     (Exhibit P, ¶ 124).

•    Wood declared that he was “doing God’s will”; threatened to bring down “the wrath of
     God”; and promised that Plaintiffs would be punished “at the discretion of Almighty
     God”; said “God Almighty told me to get you back to where you belong. Broke and
     essentially homeless…. You all better get on your knees and pray to Almighty God that
     He now asks me to show you mercy”; threatened “Unless I change my mind under the
     instructions of God, you are in for the roughest ride of your lives. I’m going to teach you
     all a lesson that you are going to learn….”; and threatened “I will deliver a fiery
     judgment against you on earth. Who the fuck did you think you were dealing with? You
     were screwing around me with, but I was someone else in disguise. You in fact have been
     screwing around with God Almighty….” (Exhibit P, ¶ 132-34).

•    As Wood and Plaintiffs engaged in settlement negotiations, Wood “repeatedly voiced his
     concerns about his [above-listed] misconduct being disclosed as he feared it would
     interfere with his imminent receipt of the Presidential Medal of Freedom and
     appointment as Chief Justice of United States Supreme Court. The latter belief was
     based, in part, on (1) a decade-plus old “prophecy” Defendant Wood heard in a YouTube
     video, and (2) a conspiracy theory that Chief Justice Roberts would be revealed to be part
     of Jeffrey Epstein’s sex trafficking ring and was being blackmailed by liberals to rule in
     their favor.” (Exhibit P, ¶ 164).




                                             10
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      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.1
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 11Page
                                                                    of 1677
                                                                         1 of 75




                      IN THE UNITED STATES DISTRICT COURT

                         EASTERN DISTRCT OF MICHIGAN



TIMOTHY KING,MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES                    CASE NO.
DAVID HOOPER and DAREN WADE
RUBINGH,

      Plaintiffs.
v.

GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State and the Michigan BOARD OFSTATE
CANVASSERS.

      Defendants.




                    COMPLAINT FOR DECLARATORY, EMERGENCY,
                       AND PERMANENT INJUNCTIVE RELIEF




                                             1                         Exhibit A
    Case
       Case
         2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB Document
                                ECF No. 35-2
                                        1, PageID.2
                                              Filed 05/03/21
                                                      Filed 11/25/20
                                                               Page 12Page
                                                                       of 1677
                                                                            2 of 75




                                   NATURE OF THE ACTION

        1.     This civil action brings to light a massive election fraud, multiple violations of the

Michigan Election Code, see, e.g., MCL §§ 168.730-738, in addition to the Election and Electors

Clauses and Equal Protection Clause of the U.S. Constitution violations that occurred during the

2020 General Election throughout the State of Michigan, 1as set forth in the affidavits of dozens

of eye witnesses and the statistical anomalies and mathematical impossibilities detailed in the

affidavits of expert witnesses.

        2.     The scheme and artifice to defraud was for the purpose of illegally and

fraudulently manipulating the vote count to manufacture an election of Joe Biden as President of

the United States. The fraud was executed by many means, 2 but the most fundamentally

troubling, insidious, and egregious ploy was the systemic adaptation of old-fashioned “ballot-

stuffing.” It has now been amplified and rendered virtually invisible by computer software

created and run by domestic and foreign actors for that very purpose. This Complaint details an

especially egregious range of conduct in Wayne County and the City of Detroit, though this

conduct occurred throughout the State at the direction of Michigan state election officials.

        3.     The multifaceted schemes and artifices implemented by Defendants and their

collaborators to defraud resulted in the unlawful counting, or manufacturing, of hundreds of

thousands of illegal, ineligible, duplicate or purely fictitious ballots in the State of Michigan, that

1
   The same pattern of election fraud and voter fraud writ large occurred in all the swing states
with only minor variations in Michigan, Pennsylvania, Arizona and Wisconsin. See Exh. 101,
William M. Briggs, Ph.D. “An Analysis Regarding Absentee Ballots Across Several States”
(Nov. 23, 2020) (“Dr. Briggs Report”).
2
 50 U.S.C. § 20701 requires Retention and preservation of records and papers by officers of
elections; deposit with custodian; penalty for violation, but as will be shown wide-pattern of
misconduct with ballots show preservation of election records have not been kept; and Dominion
logs are only voluntary, with no system wide preservation system. Without an incorruptible
audit log, there is no acceptable system.


                                                  2                                       Exhibit A
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      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.3
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 13Page
                                                                    of 1677
                                                                         3 of 75




constitute a multiple of Biden’s purported lead in the State. While this Complaint, and the

eyewitness and expert testimony incorporated herein, identify with specificity sufficient ballots

required to overturn and reverse the election results, the entire process is so riddled with fraud,

illegality, and statistical impossibility that this Court, and Michigan’s voters, courts, and

legislators, cannot rely on, or certify, any numbers resulting from this election.

       Dominion Voting Systems Fraud and Manipulation

       4.      The fraud begins with the election software and hardware from Dominion Voting

Systems Corporation (“Dominion”) used by the MichiganBoard of State Canvassers.                The

Dominion systems derive from the software designed by Smartmatic Corporation, which became

Sequoia in the United States.

       5.      Smartmatic and Dominion were founded by foreign oligarchs and dictators to

ensure computerized ballot-stuffing and vote manipulation to whatever level was needed to make

certain Venezuelan dictator Hugo Chavez never lost another election.See Exh. 1, Redacted

Declaration of Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”).

Notably, Chavez “won” every election thereafter.

       6.      As set forth in the DominionWhistleblower Report, the Smartmatic software was

contrived through a criminal conspiracy to manipulate Venezuelan elections in favor of dictator

Hugo Chavez:

       Importantly, I was a direct witness to the creation and operation of an electronic
       voting system in a conspiracy between a company known as Smartmatic and the
       leaders of conspiracy with the Venezuelan government. This conspiracy
       specifically involved President Hugo Chavez Frias, the person in charge of the
       National Electoral Council named Jorge Rodriguez, and principals,
       representatives, and personnel from Smartmatic. The purpose of this conspiracy
       was to create and operate a voting system that could change the votes in elections
       from votes against persons running the Venezuelan government to votes in their
       favor in order to maintain control of the government. In mid-February of 2009,
       there was a national referendum to change theConstitution of Venezuela to end



                                                  3                                    Exhibit A
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    Case
      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.4
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 14Page
                                                                    of 1677
                                                                         4 of 75




       term limits for elected officials, including the President of Venezuela. The
       referendum passed. This permitted Hugo Chavez to be re-elected an unlimited
       number of times. . . .

       Smartmatic’s electoral technology was called “Sistema de Gestión Electoral” (the
       “Electoral Management System”). Smartmatic was a pioneer in this area of
       computing systems. Their system provided for transmission of voting data over
       the internet to a computerized central tabulating center. The voting machines
       themselves had a digital display, fingerprint recognition feature to identify the
       voter, and printed out the voter’s ballot. The voter’s thumbprint was linked to a
       computerized record of that voter’s identity. Smartmatic created and operated the
       entire system. Id. ¶¶ 10 & 14.

       7.      A core requirement of the Smartmatic software design ultimately adopted by

Dominion for the Michigan’s elections was the software’s ability to hide its manipulation of

votes from any audit. As the whistleblower explains:

       Chavez was most insistent that Smartmatic design the system in a way that the
       system could change the vote of each voter without being detected. He wanted the
       software itself to function in such a manner that if the voter were to place their
       thumb print or fingerprint on a scanner, then the thumbprint would be tied to a
       record of the voter’s name and identity as having voted, but that voter would not
       tracked to the changed vote. He made it clear that the system would have to be
       setup to not leave any evidence of the changed vote for a specific voter and that
       there would be no evidence to show and nothing to contradict that the name or the
       fingerprint or thumb print was going with a changed vote. Smartmatic agreed to
       create such a system and produced the software and hardware that accomplished
       that result for President Chavez.Id. ¶15.

       8.      The design and features of the Dominion software do not permit a simple audit to

reveal its misallocation, redistribution, or deletion of votes. First, the system's central

accumulator does not include a protected real-time audit log that maintains the date and time

stamps of all significant election events. Key components of the system utilize unprotected logs.

Essentially this allows an unauthorized user the opportunity to arbitrarily add, modify, or remove

log entries, causing the machine to log election events that do not reflect actual voting

tabulations—or more specifically, do not reflect the actual votes of or the will of the people. See

Exh. 107, August 24, 2020 Declaration of HarriHursti, ¶¶45-48).




                                                4                                      Exhibit A
    Case
       Case
         2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB Document
                                ECF No. 35-2
                                        1, PageID.5
                                              Filed 05/03/21
                                                      Filed 11/25/20
                                                               Page 15Page
                                                                       of 1677
                                                                            5 of 75




        9.     Indeed, under the professional standards within the industry in auditing and

forensic analysis, when a log is unprotected, and can be altered, it can no longer serve the

purpose of an audit log.There is incontrovertible physical evidence that the standards of physical

security of the voting machines and the software were breached, and machines were connected to

the internet in violation of professional standards, which violates federal election law on the

preservation of evidence.

        10.    In deciding to award Dominion a$25 million, ten-year contract (to a Dominion

project team led by Kelly Garrett, former Deputy Director of the Michigan Democratic Party),

and then certifying Dominion software, Michigan officials disregarded all the concerns that

caused Dominion software to be rejected by the Texas Board of elections in 2018 because it was

deemed vulnerable to undetected and non-auditable manipulation. An industry expert, Dr.

Andrew Appel, Princeton Professor of Computer Science and Election Security Expert has

recently observed, with reference to Dominion Voting machines: "I figured out how to make a

slightly different computer program that just before the polls were closed, it switches some votes

around from one candidate to another. I wrote that computer program into a memory chip and

now to hack a voting machine you just need 7 minutes alone with it and a screwdriver." 3

        11.    Plaintiff’s expert witness, Russell James Ramsland, Jr. (Exh. 101, “Ramsland

Affidavit”), has concluded that Dominion alone is responsible for the injection, or fabrication, of

289,866 illegal votes in Michigan, that must be disregarded. This is almost twice the number of

Mr. Biden’s purported lead in the Michigan vote (without consideration of the additional illegal,

ineligible, duplicate or fictitious votes due to the unlawful conduct outlined below), and thus by

itself is grounds to set aside the 2020 General Election and grant the declaratory and injunctive


Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot Assure the Will of the
3

Voters” at (Dec. 27, 2019), attached hereto as Exhibit 2 (“Appel Study”).


                                                5                                      Exhibit A
 Case
    Case
      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.6
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 16Page
                                                                    of 1677
                                                                         6 of 75




relief requested herein.

       12.     In addition to the Dominion computer fraud, this Complaint identifies several

additional categories of “traditional” voting fraud and Michigan Election Code violations,

supplemented by healthy doses of harassment, intimidation, discrimination, abuse and even

physical removal of Republican poll challengers to eliminate any semblance of transparency,

objectivity or fairness from the vote counting process. While this illegal conduct by election

workers and state, county and city employees in concert with Dominion, even if considered in

isolation, the following three categories of systematic violations of the Michigan Election Code

cast significant doubt on the results of the election and mandate this Court to set aside the 2020

General Election and grant the declaratory and injunctive relief requested herein.

       Fact Witness Testimony of Voting Fraud & Other Illegal Conduct

       13.     There were three broad categories of illegal conduct by election workers in

collaboration with other employee state, county and/or city employees and Democratic poll

watchers and activists.First, to facilitate and cover-up the voting fraud and counting of

fraudulent, illegal or ineligible voters, election workers:

       A.      Denied Republican election challengers access to the TCF Center, where all
               Wayne County, Michigan ballots were processed and counted;

       B.      Denied Republic poll watchers at the TCF Center meaningful access to view
               ballot        handling,        processing,         or         counting     and
               lockedcredentialedchallengersoutofthe counting room so they could not observe
               the process, during which time tens of thousands of ballots wereprocessed;

       C.      Engaged in a systematic pattern of harassment, intimidation and even physical
               removal of Republican election challengers or locking them out of the TCF
               Center;

       D.      Systematically discriminated against Republican poll watchers and favored
               Democratic poll watchers;

       E.      Ignored or refused to record Republican challenges to the violations outlined
               herein;



                                                  6                                   Exhibit A
 Case
    Case
      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.7
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 17Page
                                                                    of 1677
                                                                         7 of 75




       F.      Refused to permit Republican poll challengers to observe ballot duplication and
               other instances where they allowed ballots to be duplicated by hand without
               allowing poll challengers to check if the duplication was accurate;

       G.      Unlawfully coached voters to vote for Joe Biden and to vote a straight Democrat
               ballot, including by going overtothevotingboothswithvotersinorder to watch them
               vote and coach them for whom to vote;

       H.      As a result of the above, Democratic election challengers outnumbered
               Republicans by 2:1 or 3:1 (or sometimes 2:0 at voting machines); and

       I.      Collaborated with Michigan State, Wayne County and/or City of Detroit
               employees (including police) in all of the above unlawful and discriminatory
               behavior.

       14.     Second, election workers illegally forged, added, removed or otherwise altered

information on ballots, the Qualified Voter File (QVF) and Other Voting Records, including:

       A.      Fraudulently adding “tens of thousands” of new ballots and/or new voters to QVF
               in two separate batches on November 4, 2020, all or nearly all of which were
               votes for Joe Biden;

       B.      Forging voter information and fraudulently adding new voters to the QVF Voters,
               in particular, e.g., when a voter’s name could not be found, the election worker
               assigned the ballot to a random name already in the QVF to a person who had
               notvoted and recordedthesenewvotersashavingabirthdate of1/1/1900;

       C.      Changing dates on absenteeballots received after 8:00 PM Election Day deadline
               to indicate that such ballots were received before the deadline;

       D.      Changing Votes for Trump and other Republican candidates; and

       E.      Added votes to “undervote” ballots and removing votes from “Over-Votes”.

       15.     Third, election workers committed several additional categories of violations of

the Michigan Election Code to enable them to accept and count other illegal, ineligible or

duplicate ballots, or reject Trump or Republican ballots, including:

       A.      Permitting illegal double voting by persons that had voted by absentee ballot and
               in person;

       B.      Counting ineligible ballots – and in many cases – multiple times;

       C.      Counting ballots without signatures, or without attempting to match signatures,
               and ballots without postmarks, pursuant to direct instructions from Defendants;



                                                7                                   Exhibit A
 Case
    Case
      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.8
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 18Page
                                                                    of 1677
                                                                         8 of 75




       D.      Counting “spoiled” ballots;

       E.      Systematic violations of ballot secrecy requirements;

       F.      Unsecured ballots arrived at the TCF Center loading garage, not in sealed ballot
               boxes, without any chain of custody, and withoutenvelopes, after the 8:00 PM
               Election Day deadline, in particular, the tens of thousands of ballots that arrived
               on November 4, 2020; and

       G.      Accepting and counting ballots from deceased voters.

       Expert Witness Testimony Regarding Voting Fraud

       16.     In addition to the above fact witnesses, this Complaint presents expert witness

testimony demonstrating that several hundred thousand illegal, ineligible, duplicate or purely

fictitious votes must be thrown out, in particular: (1) a report from Russel Ramsland, Jr. showing

the “physical impossibility” of nearly 385,000 votes injected by four precincts/township on

November 4, 2020, that resulted in the counting of nearly 290,000 more ballots processed than

available capacity (which is based on statistical analysis that is independent of his analysis of

Dominion’s flaws); (2) a report from Dr. William Briggs, showing that there were approximately

60,000 absentee ballots listed as “unreturned” by voters that either never requested them, or that

requested and returned their ballots; and (3) a report from Dr. Eric Quinell analyzing the

anomalous turnout figures in Wayne and Oakland Counties showing that Biden gained nearly

100% and frequently more than 100% of all “new” voters in certain townships/precincts over

2016, and thus indicated that nearly 87,000 anomalous and likely fraudulent votes from these

precincts.

       17.     As explained and demonstrated in the accompanying redacted declaration of a

former electronic intelligence analyst under 305th Military Intelligence with experience

gathering SAM missile system electronic intelligence, the Dominion software was accessed by

agents acting on behalf of China and Iran in order to monitor and manipulate elections, including




                                                8                                     Exhibit A
 Case
    Case
      2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                             ECF No. 35-2
                                     1, PageID.9
                                           Filed 05/03/21
                                                   Filed 11/25/20
                                                            Page 19Page
                                                                    of 1677
                                                                         9 of 75




the most recent US general election in 2020. This Declaration further includes a copy of the

patent records for Dominion Systems in which Eric Coomer is listed as the first of the inventors

of Dominion Voting Systems. (See Attached hereto as Ex. 105, copy of redacted witness

affidavit, November 23, 2020).

          18.   Expert Navid Keshavarez-Nia explains that US intelligence services had

developed tools to infiltrate foreign voting systems including Dominion.             He states that

Dominion's software is vulnerable to data manipulation by unauthorized means and permitted

election data to be altered in all battleground states. He concludes that hundreds of thousands of

votes that were cast for President Trump in the 2020 general election were transferred to former

Vice-President Biden. (Ex. 109).

          19.   These and other “irregularities” provide this Court grounds to set aside the results

of the 2020 General Election and provide the other declaratory and injunctive relief requested

herein.


                                  JURISDICTION ANDVENUE

          20.   This Court has subject matter under 28 U.S.C. § 1331 which provides, “The

district courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States.”

          21.   This Court also has subject matter jurisdiction under 28 U.S.C. § 1343 because

this action involves a federal election for President of the United States. “A significant departure

from the legislative scheme for appointing Presidential electors presents a federal constitutional

question.” Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm,

285 U.S. 355, 365(1932).

          22.   ThejurisdictionoftheCourttograntdeclaratoryreliefisconferredby28U.S.C. §§ 2201




                                                 9                                       Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.10
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 20Page
                                                                   of 1677
                                                                        10 of 75




and 2202 and by Rule 57, Fed. R. Civ. P.

       23.     This Court has jurisdiction over the related Michigan constitutional claims and

state-law claims under 28 U.S.C.§ 1367.Venueisproperbecausea substantial part of the events or

omissions giving rise to the claim occurred in the Eastern District. 28 U.S.C. § 1391(b) &(c).

       24.     Because the United States Constitution reserves for state legislatures the power to

set the time, place, and manner of holding elections for Congress and the President, state

executive officers, including but not limited to Secretary Benson, have no authority to

unilaterally exercise that power, much less flout existinglegislation.

                                         THE PARTIES

       25.     Each of the following Plaintiffs are registered Michigan voters and nominees of

the Republican Party to be a Presidential Elector on behalf of the State of Michigan: Timothy

King, a resident of Washtenaw County, Michigan; Marian Ellen Sheridan, a resident of Oakland

County, Michigan; and,John Earl Haggard, a resident of Charlevoix, Michigan;

       26.     Each of these Plaintiffshas standing to bring this action as voters and as

candidates for the office of Elector under MCL §§ 168.42 & 168.43 (election procedures for

Michigan electors).As such, Presidential Electors “have a cognizable interest in ensuring that the

final vote tally reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete

and particularized injury to candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051,

1057 (8th Cir. 2020) (affirming that Presidential Electors have Article III and prudential standing

to challenge actions of Secretary of State in implementing or modifying State election laws); see

also McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd.,

531 U.S. 70, 76 (2000) (per curiam). Each brings this action to set aside and decertify the

election results for the Office of President of the United States that was certified by the Michigan

Secretary of State on November 23, 2020. The certified results showed a plurality of 154,188


                                                 10                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.11
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 21Page
                                                                   of 1677
                                                                        11 of 75




votes in favor of former Vice-President Joe Biden over President Trump.

       27.       Plaintiff James Ritchard is a registered voter residing in Oceana County. He is

the Republican Party Chairman of Oceana County.

       28.       Plaintiff James David Hooper is a registered voter residing in Wayne County. He

is the Republican Party Chairman for the Wayne County Eleventh District.

       29.       Plaintiff Daren Wade Ribingh is a registered voter residing in Antrim County. He

is the Republican Party Chairman of Antrim County. is

       30.       Defendant Gretchen Whitmer (Governor of Michigan) is named herein in her

official capacity as Governor of the State of Michigan.

       31.       Defendant      JocelynBenson         (“Secretary    Benson”)       isnamed      as

adefendantinherofficial capacity as Michigan’sSecretaryofState. Jocelyn Benson is the “chief

elections officer” responsible for overseeing the conduct of Michigan elections. MCL § 168.21

(“The secretary of state shall be the chief election officer of the state and shall have supervisory

control over local election officials in the performance of their duties under the provisions of

this         act.”);     MCL          § 168.31(1)(a)(the“SecretaryofStateshall…issueinstructions

andpromulgaterules…fortheconduct of elections and registrations in accordance with the laws

of this state”). Local election officials must follow Secretary Benson’s instructions regarding

the conduct of elections. Michigan law provides that Secretary Benson “[a]dvise and direct

local election officials as to the proper methods of conducting elections.” MCL § 168.31(1)(b).

See also Hare v. Berrien Co Bd. of Election, 129 N.W.2d 864 (Mich. 1964); Davis v. Secretary

of State, 2020 Mich. App. LEXIS 6128, at *9 (Mich. Ct. App. Sep. 16, 2020). Secretary

Bensonis       responsibleforassuringMichigan’slocalelectionofficialsconductelectionsinafair,just,

and lawful manner. See MCL 168.21; 168.31; 168.32. See also League of Women Voters of




                                                 11                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.12
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 22Page
                                                                   of 1677
                                                                        12 of 75




Michigan v. Secretary of State, 2020 Mich. App. LEXIS 709, *3 (Mich. Ct. App. Jan. 27,

2020); Citizens Protecting Michigan's Constitution v. Secretary of State, 922 N.W.2d

404(Mich.Ct.App.2018),aff’d921N.W.2d247(Mich.2018);Fitzpatrickv.Secretaryof State, 440

N.W.2d 45 (Mich. Ct. App. 1989).

       32.     Defendant Michigan Board of State Canvassers is “responsible for approv[ing]

votingequipmentforuseinthestate,certify[ing]theresultofelectionsheldstatewide….”        Michigan

Election Officials’ Manual, p. 4. See also MCL 168.841, etseq. On March 23, 2020, the Board

of State Canvassers certified the results of the 2020 election finding that Joe Biden had received

154,188 more votes than President Donald Trump.


                                   STATEMENT OF FACTS

       33.     Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and under MCL

168.861, to remedy deprivations of rights, privileges, or immunities secured by the Constitution

and laws of the United States and to contest the election results, and the corollary under the

Michigan Constitution.

       34.     The United States Constitution sets forth the authority to regulate federal

elections. With respect to congressional elections, the Constitution provides.

       35.     The Times, Places and Manner of holding Elections for Senators and

Representatives, shall be prescribed in each State by the Legislature thereof; but the Congress

may at any time by Law make or alter such Regulations, except as to the Places of choosing

Senators. U.S. CONST. art. I, § 4 (“Elections Clause”).

       36.     With respect to the appointment of presidential electors, the Constitution

provides: Each State shall appoint, in such Manner as the Legislature thereof may direct, a

Number of Electors, equal to the whole Number of Senators and Representatives to which the



                                                12                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.13
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 23Page
                                                                   of 1677
                                                                        13 of 75




State may be entitled in the Congress: but no Senator or Representative, or Person holding an

Office of Trust or Profit under the United States, shall be appointed an Elector. U.S. CONST.

art. II, § 1 (“Electors Clause”). Under the Michigan Election Code, the Electors of the President

and Vice President for the State of Michigan are elected by each political party at their state

convention in each Presidential election year. See MCL §§ 168.42 & 168.43.

       37.     Neither Defendant is a “Legislature” as required under the Elections Clause or

Electors Clause. The Legislature is “‘the representative body which ma[kes] the laws of the

people.’” Smiley, 285 U.S. 365. Regulations of congressional and presidential elections, thus,

“must be in accordance with the method which the state has prescribed for legislative

enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,

576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

       38.     While the Elections Clause "was not adopted to diminish a State's authority to

determine its own lawmaking processes," Ariz.State Legislature, 135 S. Ct. at 2677, it does

hold states accountable to their chosen processes when it comes to regulating federal

elections, id. at 2668. "A significant departure from the legislative scheme for appointing

Presidential electors presents a federal constitutional question." Bush, 531 U.S. at 113

(Rehnquist, C.J., concurring); Smiley, 285 U.S. at 365.

       39.     And Plaintiffs bring this action,to vindicate his constitutional right to a free and

fair election ensuring the accuracy and integrity of the process pursuant to the Michigan

Constitution, art. 2, sec. 4, par. 1(h), which states all Michigan citizenshave:

       The right to have the results of statewide elections audited, in such a manner as
       prescribed by law, to ensure the accuracy and integrity of elections.

       40.     TheMich.Const.,art.2,sec.4,furtherstates,“Allrightssetforthinthissubsection       shall

be self-executing. This subsection shall be liberally construed in favor of voters' rights in order to



                                                 13                                      Exhibit A
     CaseCase
         2:20-cv-13134-LVP-RSW
              1:21-cv-01169-TCB Document
                                ECF No. 1,35-2
                                           PageID.14
                                               Filed 05/03/21
                                                       Filed 11/25/20
                                                                Page 24Page
                                                                        of 1677
                                                                             14 of 75




  effectuate itspurposes.”

           41.    Based upon all the allegations of fraud, statutory violations, and other misconduct,

  as stated herein and in the attached affidavits, it is necessary to enjoin the certification of the

  election results pending a full investigation and court hearing, and to order an independent audit

  of the November 3, 2020 election to ensure the accuracy and integrity of theelection


I.         LEGAL BACKGROUND: RELEVANT PROVISIONS OF THE MICHIGAN
           ELECTION CODE AND ELECTION CANVASSING PROCEDURES.

           A.     Michigan law requires Secretary Benson and local election officials to
                  provide designated challengers a meaningful opportunity to observe the
                  conduct ofelections.

           42.    Challengers representing a political party, candidate, or organization interested in

  the outcome of the election provide a critical role in protecting the integrity

  ofelectionsincludingthepreventionofvoterfraudandotherconduct(whethermaliciously          undertaken

  or by incompetence) that could affect the conduct of the election. See MCL § 168.730-738.

           43.    MichiganrequiresSecretaryofStateBenson,localelectionauthorities,and

  stateandcountycanvassingboardstoprovidechallengerstheopportunitytomeaningfully           participate

  in, and oversee, the conduct of Michigan elections and the counting ofballots.

           44.    Michigan’selectioncodeprovidesthatchallengersshallhavethefollowing rights and

  responsibilities:

             a.       An election challenger shall be provided a space within a polling place where
                      they can observe the election procedure and each person applyingto vote.
                      MCL§ 168.733(1).

             b.       An election challenger must be allowed opportunity to inspect poll books as
                      ballots are issued to electors and witness the electors’ names being entered in
                      the poll book. MCL§ 168.733(1)(a).

             c.       AnelectionChallengermustbeallowedtoobservethemannerinwhichthe duties of
                      the election inspectors are being performed. MCL§ 168.733(1)(b).




                                                    14                                    Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.15
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 25Page
                                                                   of 1677
                                                                        15 of 75




         d.      An election challenger is authorized to challenge the voting rights of a person
                 who the challenger has good reason to believe is not a registered elector.
                 MCL§ 168.733(1)(c).

         e.      Anelectionchallengerisauthorizedtochallengeanelectionprocedurethat is         not
                 being properly performed. MCL§ 168.733(1)(d).

         f.      Anelectionchallengermaybringtoanelectioninspector’sattentionanyof    the
                 following: (1) improper handling of a ballot by an elector or election
                 inspector; (2) a violation of a regulation made by the board of election
                 inspectors with regard to the time in which an elector may remain in the
                 polling place; (3) campaigning and fundraising being performed by an
                 electioninspectororotherpersoncoveredbyMCL§168.744;and/or(4)any
                 otherviolationofelectionlaworotherprescribedelectionprocedure.MCL
                 § 168.733(1)(e).

         g.      An election challenger may remain present during the canvass of votesand
                 until the statement of returns is duly signed and made. MCL§168.733(1)(f).

         h.      An election challenger may examine each ballot as it is being counted.
                 MCL§ 168.733(1)(g).

         i.      An election challenger may keep records of votes cast and other election
                 procedures as the challenger desires. MCL §168.733(1)(h).

         j.      Anelectionchallengermayobservetherecordingofabsentvoterballotson           voting
                 machines. MCL§168.733(1)(i).

       45.     The Michigan Legislature adopted these provisions to prevent and deter

votefraud,requiretheconductofMichiganelectionstobetransparent,andtoassurepublic

confidenceintheoutcomeoftheelectionnomatterhowclosethefinalballottallymaybe.

       46.     Michigan values the important role challengers perform in assuring the

transparency and integrity of elections. For example, Michigan law provides it is a felony

punishable by up to two years in state prison for any person to threaten or intimidate a challenger

who is performing any activity described in Michigan law. MCL § 168.734(4).

Itisafelonypunishablebyuptotwoyearsinstateprisonforanypersontopreventthepresence          of         a

challenger exercising their rights or to fail to provide a challenger with “conveniences for the

performance of the[ir] duties.” MCL 168.734.



                                                15                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.16
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 26Page
                                                                   of 1677
                                                                        16 of 75




            47. TheresponsibilitiesofchallengersareestablishedbyMichiganstatute.MCL § 168.730

  states:


            (1)     Atanelection,apoliticalpartyor[anorganization]interestedinpreserving        the
                    purity of elections and in guarding against the abuse of the elective franchise,
                    may designate challengers as provided in this act. Except as otherwise
                    provided in this act, a political party [or interested organization] may
                    designate not more than 2 challengers to serve in a precinct at any 1 time. A
                    political party [or interested organization] may designate not more than 1
                    challenger to serve at each countingboard.

            (2)     A challenger shall be a registered elector ofthisstate ........... A candidateforthe
                    office of delegate to a county convention may serve as a challenger in a
                    precinct other than the 1 in which he or she is a candidate. . . .

            (3)     A challenger may be designated to serve in more than 1 precinct. The
                    politicalparty[orinterestedorganization]shallindicatewhichprecinctsthe
                    challenger will serve when designating challengers under subsection (1). If
                    more than 1 challenger of a political party [or interested organization] is
                    servinginaprecinctatany1time,only1ofthechallengershastheauthority to initiate
                    a challenge at any given time. The challengers shall indicate to the board of
                    election inspectors which of the 2 will have thisauthority. The challengers may
                    change this authority and shall indicate the change to the board of
                    electioninspectors.

       48.        SecretaryBensonandWayneCountyviolatedtheseprovisionsofMichigan             law and

violated the constitutional rights of Michigan citizens and voters when they did not conduct this

general election in conformity with Michigan law and the United States Constitution.

       B.         The canvassing process in Michigan.

       49.        Michigan has entrusted the conduct of elections to three categories of

individuals,a“boardofinspectors,”a“boardofcountycanvassers,”andthe“boardofstate canvassers.”

       50.        The board of inspectors, among its other duties, canvasses the ballots and

compares the ballots to the poll books. See MCL § 168.801. “Such canvass shall be public and

the doors to the polling places and at least 1 door in the building housing the polling places and

giving ready access to them shall not be locked during such canvas.” Id. The members of the




                                                   16                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.17
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 27Page
                                                                   of 1677
                                                                        17 of 75




board    of    inspectors   (one   from   each    party)     are     required    to   seal     the     ballots

andelectionequipmentandcertifythestatementofreturnsandtallysheetsanddeliverthe

statementofreturnsandtallysheettothetownshiporcityclerk,whoshalldeliverittothe               probate    court

judge, who will than deliver the statement of returns and tally sheet to the “board of county

canvassers.”      MCL       § 168.809.    “All    election         returns,     including      poll      lists,

statements,tallysheets,absentvoters’returnenvelopesbearingthestatementrequired[to                cast      an

absentee ballot] … must be carefully preserved.” MCL § 810a and § 168.811 (emphasis added).

        51.     After the board of inspectors completes its duties, the board of county canvassers

is to meet at the county clerk’s office “no later than 9 a.m. on the Thursday after” the election.

November 5, 2020 is the date for the meeting. MCL 168.821. The board of county canvassers

has power to summon and open ballot boxes, correct errors, and summon election inspectors to

appear. Among other duties and responsibilities, the board of county canvassers shall do the

following provided in MCL168.823(3).

        52.     The board of county canvassers shall correct obvious mathematical errors in the

tallies and returns.

               The board of county canvassers may, if necessary for a proper determination,
               summon the election inspectors before them, and require them to count any ballots
               that the election inspectors failed to count, to make correct returns in case, in the
               judgment of the board of county canvassers after examining the returns, poll lists,
               or tally sheets, the returns already made are incorrect or incomplete, and the board
               of county canvassers shall canvass the votes from the corrected returns. In the
               alternative to summoning the election inspectors before them, the board of county
               canvassers may designate staff members from the county clerk’s office to count
               any ballots that the election inspectors failed to count, to make correct returns in
               case, in the judgment of the board of county canvassers after examining the
               returns, poll lists, or tally sheets, thereturns already made are incorrect or
               incomplete, and the board of county canvassers shall canvass the votes from the
               corrected returns. When the examination of the papers is completed, or the ballots
               have                                   been                                 counted,
               theyshallbereturnedtotheballotboxesordeliveredtothepersonsentitled by law to
               their custody, and the boxes shall be locked and sealed and delivered to the



                                                 17                                             Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.18
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 28Page
                                                                   of 1677
                                                                        18 of 75




              legalcustodians. The county board of canvassers shall “conclude the canvass at the
              earliest possible time and in every case no later than the fourteenth day after the
              election,”                                                                     which
              isNovember17.MCL168.822(1).But,“[i]ftheboardofcountycanvassersfailstocertify
              the results of any election for any officer or proposition by the fourteenth day after
              the election as provided, the board of county canvassers shall immediately deliver
              to the secretary of the board of state canvassers all records and other information
              pertaining                                                                          to
              theelection.Theboardofstatecanvassersshallmeetimmediatelyandmakethenecessary
              determinationsandcertifytheresultswithinthe10daysimmediatelyfollowingthereceip
              t of the records from the board of county canvassers.” MCL168.822(2).

       53.     The Michigan board of state canvassers then meets at the Secretary of State’s

office the twentieth day after the election and announce its determination of the canvass “not

later than the fortieth day after the election.” For this general election that is November 23 and

December 3. MCL 168.842. There is provision for the Secretary of State to direct an expedited

canvass of the returns for the election of electors for President and VicePresident.

       54.     The county board of canvassers shall “conclude the canvass at the earliest

possible time and in every case no later than the fourteenth day after the election,” which

isNovember17.MCL168.822(1).But,“[i]ftheboardofcountycanvassersfailstocertify the results of

any election for any officer or proposition by the fourteenth day after the election as provided,

the board of county canvassers shall immediately deliver to the secretary of the board of state

canvassers       all      records       and        other       information        pertaining       to

theelection.Theboardofstatecanvassersshallmeetimmediatelyandmakethenecessary

determinationsandcertifytheresultswithinthe10daysimmediatelyfollowingthereceipt            of     the

records from the board of county canvassers.” MCL168.822(2).

       55.     The Michigan board of state canvassers then meets at the Secretary of State’s

office the twentieth day after the election and announce its determination of the canvass “not

later than the fortieth day after the election.” For this general election that is November 23 and

December 3. MCL 168.842. There is provision for the Secretary of State to direct an expedited


                                                 18                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.19
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 29Page
                                                                   of 1677
                                                                        19 of 75




canvass of the returns for the election of electors for President and VicePresident.

          56.   The federal provisions governing the appointment of electors to the Electoral

College, 3 U.S.C. §§ 1-18, require Michigan Governor Whitmer to preparea Certificate of

Ascertainment by December 14, the date the Electoral Collegemeets.

          57.   The United States Code (3 U.S.C. §5) provides that if election results are

contestedinanystate,andifthestate,priortoelectionday,hasenactedprocedurestosettle controversies

or contests over electors and electoral votes, and if these procedures have been applied, and the

results     have   been     determined      six    days     before    the    electors’    meetings,

thentheseresultsareconsideredtobeconclusiveandwillapplyinthecountingofthe         electoral   votes.

This date (the “Safe Harbor” deadline) falls on December 8, 2020. The governor of any state

where there was a contest, and in which the contest was decided according to established state

procedures, is required (by 3 U.S.C. § 6) to send a certificate describing the form and manner by

which the determination was made to the Archivist as soon as practicable.

          58.   The members of the board of state canvassers are Democrat Jeannette Bradshaw,

Republican Aaron Van Langeveide, Republican Norman Shinkle, and Democrat Julie Matuzak.

Jeanette Bradshaw is the Board Chairperson. The members of the Wayne County board of

county canvassers are Republican Monica Palmer, Democrat Jonathan Kinloch, Republican

William Hartmann, and Democrat Allen Wilson. Monica Palmer is the BoardChairperson.

          59.   More than one hundred credentialed election challengers provided sworn

affidavits.Theseaffidavitsstated,amongothermatters,thatthesecredentialedchallengers were denied

a meaningful opportunity to review election officials in Wayne County handling ballots,

processing absent voter ballots, validating the legitimacy of absentvoterballots, and the general

conduct of the election and ballot counting. See Exhibit 1 (affidavits of election challengers).




                                                  19                                     Exhibit A
      CaseCase
          2:20-cv-13134-LVP-RSW
               1:21-cv-01169-TCB Document
                                 ECF No. 1,35-2
                                            PageID.20
                                                Filed 05/03/21
                                                        Filed 11/25/20
                                                                 Page 30Page
                                                                         of 1677
                                                                              20 of 75




II.          FACTUAL       ALLEGATIONS       AND      FACT      WITNESS
             TESTIMONYREGARDINGMICHIGAN ELECTION CODE VIOLATIONS AND
             OTHER UNLAWFUL CONDUCT BY ELECTION WORKERS AND MICHIGAN
             STATE, WAYNE COUNTY AND/OR CITY OF DETROIT EMPLOYEES.

             60.    Wayne County used the TCF Center in downtown Detroit to consolidate, collect,

   and              tabulate             all          of          the            ballots            for

   theCounty.TheTCFCenterwastheonlyfacilitywithinWayneCountyauthorizedtocountthe ballots.

             A.     Republican Election ChallengersWere Denied Opportunity to Meaningfully
                    Observe the Processing and Counting of Ballots.

             61.    There is a difference between a ballot and a vote. A ballot is a piece of paper. A

   vote is a ballot that has been completed by a citizen registered to vote who has the right to cast a

   vote and has done so in compliance with Michigan election law by, among other things,

  verifying their identity and casting the ballot on or before Election Day. It is the task of Secretary

   Benson and Michigan election officials to assure that only ballots cast by individuals entitled to

   cast       a      vote      in    the       election    are     counted       and       to     make

   surethatallballotscastbylawfulvotersarecountedandtheelectionisconductedinaccord                 with

   Michigan’s Election Code uniformly throughoutMichigan.

             62.    Challengers provide the transparency and accountability to assure ballots are

   lawfully cast and counted as provided in Michigan’s Election Code and voters can be

   confidenttheoutcomeoftheelectionwashonestlyandfairlydeterminedbyeligiblevoters.

             63.    WayneCountyexcludedcertifiedchallengersfrommeaningfullyobserving                the

   conduct of the election in violation of the Michigan Election Code. This allowed a substantial

   number of ineligible ballots to be counted, as outlined in Section B. below.        These systematic

      Michigan Election Code violations, and the disparate treatment of Republican vs. Democratic

      poll challengers, also violated the Equal Protection Clause and other provisions of the U.S.

      Constitution as detailed herein.     The following affidavits describe the specifics that were



                                                     20                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.21
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 31Page
                                                                   of 1677
                                                                        21 of 75




observed. This conduct was pervasive in Wayne County as attested to in the affidavits attached at

EXHIBIT3.

                1.     Republican Observers Denied Access to TCF Center

        64.     Many individuals designated as challengers to observe the conduct of the election

were denied meaningful opportunity to observe the conduct of the election. For example,

challengers designated by the Republican Party or Republican candidates were denied access to

the TCF Center (formerly called Cobo Hall) ballot counting location in Detroit while Democratic

challengers were allowed access. Exhibit 3 (Deluca aff. ¶¶7-9, 16-18; Langer aff. ¶3; Papsdorf

aff. ¶3; Frego aff. ¶9; Downing aff. ¶¶2-9, 11, 15, 22; Sankey aff. ¶¶5-8; Ostin aff. ¶¶5-7;

Cavaliere aff. ¶3; Cassin aff. ¶4; Rose aff. ¶18; Zimmerman aff. ¶8; Langer aff. ¶3; Poplawski

aff. ¶3; Henderson aff. ¶7; Fuqua-Freyaff.¶5; Ungar aff. ¶4; Eilf aff. ¶¶9, 17; Jeup aff. ¶¶6-7;

Tietz         aff.      ¶¶9-18;        McCall          aff.       ¶¶5-6;         Arnoldyaff.¶¶5,8-

9(unlimitedmembersofthemediawerealsoallowedinsideregardless of COVID restrictions while

Republican challengers were excluded)).

        65.     Many challengers stated that Republican challengers who had been admitted to the

TCF Center but who left were not allowed to return. Id. (Bomer aff.¶16; Paschke aff. ¶4;

Schneider aff., p. 2; Arnoldy aff. ¶6; Boller aff. ¶¶13-15 (removed and not allowed to serve as

challenger); Kilunen aff. ¶7; Gorman aff. ¶¶6-8; Wirsing aff.,p. 1; Rose aff. ¶19; Krause aff. ¶¶9,

11; Roush aff. ¶16; M. Seely aff. ¶6; Fracassi aff. ¶6; Whitmore aff. ¶5). Furthermore,

Republican challengers who left the TCF Center were not allowed to be replaced by other

Republican challengers while Democratic challengers were replaced.

                2.     Disparate and Discriminatory           Treatment     of   Republican     vs.
                       Democratic Challengers.

        66.     As a result of Republican challengers not being admitted or re-admitted, while




                                                21                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.22
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 32Page
                                                                   of 1677
                                                                        22 of 75




Democratic challengers were freely admitted, there were many more Democratic challengers

allowed to observe the processing and counting of absent voter ballots than Republican

challengers. Id. (Helminen aff. ¶12 (Democratic challengers out- numbered Republican

challengers        by      at     least   a      two-to-one       ratio);   Daavettila   aff.,   p.     2   (ten

timesasmanyDemocraticchallengersasRepublican);A.Seelyaff.¶19;Schneideraff.,p. 2; Wirsing

aff., p. 1; Rauf aff. ¶21; Roush aff. ¶¶16-17; Topini aff.¶4).

       67.         Many challengers testified that election officials strictly and exactingly enforced a

six-foot distancing rule for Republican challengers but not for Democratic challengers. Id.

(Paschke aff. ¶4; Wirsing aff., p. 1; Montie aff. ¶4; Harris aff. ¶3; Krause aff. ¶7; Vaupel aff. ¶5;

Russel aff. ¶7; Duus aff. ¶9; Topini aff. ¶6). As a result, Republican challengers were not

allowed to meaningfully observe the ballot counting process.

                   3.       Republican Challengers Not Permitted to View Ballot Handling,
                            Processing or Counting.

       68.         Many challengers testified that their ability to view the handling, processing, and

counting      of        ballots     was       physically    and      intentionally   blocked     by     election

officials.I d . (A.Seelyaff.¶15;Milleraff.¶¶13-14;Pennalaaff.¶4;Tysonaff.¶¶12- 13, 16; Ballew aff.

¶8; Schornak aff. ¶4; Williamson aff. ¶¶3, 6; Steffans aff. ¶¶15-16, 23- 24; Zaplitny aff. ¶15;

Sawyer aff. ¶5; Cassin aff. ¶9; Atkins aff. ¶3; Krause aff. ¶5;Shereraff. ¶¶15, 24; Basler aff. ¶¶7-

8; Early aff. ¶7; Posch aff. ¶7; Chopjian aff. ¶11; Shock aff.¶7; Schmidt aff. ¶¶7-8; M. Seely aff.

¶4; Topini aff. ¶8).

       69.         At least three challengers said they were physically pushed away from counting

tables by election officials to a distance that was too far to observe the counting. Id. (Helminen

aff. ¶4; Modlin aff. ¶¶4, 6; Sitek aff. ¶4). Challenger Glen Sitek reported that he was pushed

twice by an election worker, the second time in the presence of police officers. Id. (Sitek aff. ¶4).




                                                           22                                         Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.23
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 33Page
                                                                   of 1677
                                                                        23 of 75




Sitek filed a police complaint.Id.

       70.      Challenger Pauline Montie stated that she was prevented from viewing the

computer monitor because election workers kept pushing it further away and made her stand

back away from the table. Id. (Montie aff. ¶¶4-7). When Pauline Montie told an election worker

that she was not able to see the monitor because they pushed it farther away from her, the

election worker responded, “too bad.” Id.¶8.

       71.      Many challengers witnessed Wayne County election officials covering the

windows of the TCF Center ballot counting center so that observers could not observe the ballot

counting process. Id. (A. Seely aff. ¶¶9, 18; Helminen aff. ¶¶9, 12; Deluca aff. ¶13; Steffans aff.

¶22;    Frego        aff.    ¶11;    Downing      aff.     ¶21;      Sankey    aff.    ¶14;    Daavettila

aff.,p.4;Zimmermanaff.¶10;Krauseaff.¶12;Shereraff.¶22;Johnsonaff.¶7;Poschaff.¶10;Raufaff.¶23

;Lukeaff.,p.1;M.Seelyaff.¶8;Zelaskoaff.¶8;Ungaraff.¶12;Storm aff. ¶7; Fracassi aff. ¶8; Eilf aff.

¶25; McCall aff.¶9).

                4.          Harassment, Intimidation & Removal of Republican Challengers

       72.      Many challengers testified that they were intimidated, threatened, and harassed by

election officials during the ballot processing and counting process. Id. (Ballew aff. ¶¶7, 9;

Gaicobazzi           aff.       ¶¶12-14        (threatened        repeatedly          and      removed);

Schneideraff.,p.1;Piontekaff.¶11;Steffansaff.¶26(intimidationmadeherfeeltooafraid             to     make

challenges); Cizmar aff. ¶8(G); Antonie aff. ¶3; Zaplitny aff. ¶20; Moss aff. ¶4; Daavettila aff.,

pp. 2-3; Tocco aff. ¶¶1-2; Cavaliere ¶3; Kerstein aff. ¶3; Rose aff. ¶16; Zimmerman aff. ¶5;

Langer aff. ¶3; Krause aff. ¶4; Sherer aff. ¶24; Vaupel aff. ¶4; Basler aff. ¶8; Russell aff. ¶5;

Burton aff. ¶5; Early aff. ¶7; Pannebecker aff. ¶10; Sitek aff. ¶4; Klamer aff. ¶4; Leonard aff.

¶¶6,    15;     Posch         aff.   ¶¶7,   14;     Rauf      aff.     ¶24;    Chopjian       aff.   ¶10;

Cooperaff.¶12;Shockaff.¶9;Schmidtaff.¶¶9-10;Duusaff.¶10;M.Seelyaff.¶4;Storm aff. ¶¶5, 7;


                                                    23                                        Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.24
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 34Page
                                                                   of 1677
                                                                        24 of 75




DePerno aff. ¶¶5-6; McCall aff. ¶¶5, 13). ArticiaBomer was called a “racist name” by an election

worker and also harassed by other election workers. Id. (Bomeraff.¶7). Zachary Vaupel reported

that      an           election      supervisor      called      him     an       “obscene           name”

andtoldhimnottoaskquestionsaboutballotprocessingandcounting. Id.(Vaupelaff.¶4). Kim Tocco

was personally intimidated and insulted by election workers. Id. (Tocco aff. ¶¶1-2). Qian

Schmidt was the target of racist comments and asked, “what gives you the right to be here since

you are not American?” Id. (Schmidt aff. ¶9).

        73.         Other challengers were threatened with removal from the counting area if they

continued to ask questions about the ballot counting process. Id. (A. Seely aff. ¶¶6, 13, 15;

Pennalaaff. ¶5).           Challenger Kathleen Daavettila observed that Democratic challengers

distributed a packet of information among themselves entitled, “Tactics to Distract GOP

Challengers.” Id. (Daavettila aff., p. 2). An election official told challenger Ulrike Sherer that the

election authority had a police SWAT team waiting outside if Republican challengers argued too

much.         Id.      (Sherer      aff.     ¶24).   An       election   worker     told          challenger

JazmineEarlythatsince“Englishwasnot[her]firstlanguage…[she]shouldnotbetaking part in this

process.” Id. (Early aff. ¶11).

        74.         Election officials at the TCF Center in Detroit participated in the intimidation

experienced by Republican challengers when election officials would applaud, cheer, and yell

whenever a Republican challenger was ejected from the counting area. Id. (Helminen aff. ¶9;

Pennala             aff.      ¶5;          Ballew     aff.        ¶9;     Piontek          aff.        ¶11;

Papsdorfaff.¶3;Steffansaff.¶25;Cizmaraff.¶8(D);Kilunenaff.¶5;Daavettilaaff.,p.4; Cavaliere aff.

¶3; Cassin aff. ¶10; Langer aff. ¶3; Johnson aff. ¶5; Early aff. ¶13; Klamer aff. ¶8; Posch aff.

¶12; Rauf aff. ¶22; Chopjian aff. ¶13; Shock aff.¶10).




                                                     24                                       Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.25
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 35Page
                                                                   of 1677
                                                                        25 of 75




                5.          Poll Workers Ignored or Refused to Record Republican Challenges.

       75.      Unfortunately, this did not happen in Wayne County. Many challengers testified

that their challenges to ballots were ignored and disregarded. Id. (A.Seely aff. ¶4; Helminen aff.

¶5;    Miller        aff.        ¶¶10-11;    Schornak          aff.     ¶¶9,       15;   Piontek     aff.    ¶6;

Daavettilaaff.,p.3;Valiceaff.¶2;Sawyeraff.¶7;Kerstein                 aff.¶3;Modlinaff.¶4;Cassin      aff.   ¶6;

Brigmon aff. ¶5; Sherer aff. ¶11; Early aff. ¶18; Pannebecker aff. ¶9; Vanker aff. ¶5; M. Seely

aff. ¶11; Ungar aff. ¶¶16-17; Fracassi aff. ¶4).

       76.      As an example of challenges being disregarded and ignored, challenger Alexandra

Seely stated that at least ten challenges she made were not recorded. Id. (A. Seely aff. ¶4).

ArticiaBomer         observed       that    ballots     with      votes      for    Trump     were    separated

fromotherballots.Id.(Bomeraff.¶5).ArticiaBomerstated,“Iwitnessedelectionworkers open ballots

with Donald Trump votes and respond by rolling their eyes and showing it to other poll workers.

I believe some of these ballots may not have been properly counted.” Id. ¶8. Braden Gaicobazzi

challenged thirty-five ballots for whom the voter records did not exist in the poll book, but his

challenge was ignored and disregarded. Id. (Giacobazzi aff. ¶10). When Christopher Schornak

attempted                   to              challenge                  the               counting            of

ballots,anelectionofficialtoldhim,“Wearenottalkingtoyou,youcannotchallengethis.”

Id.(Schornakaff.¶15).WhenStephanieKrauseattemptedtochallengeballots,anelection

workertoldherthatchallengeswerenolongerbeingacceptedbecausethe“rules‘nolonger applied.’” Id.

(Krause aff.¶13).

                6.          Unlawful Ballot Duplication.

       77.      If a ballot is rejected by a ballot-tabulator machine and cannot be read by the

machine, the ballot must be duplicated onto a new ballot. The Michigan Secretary of State has

instructed, “If the rejection is due to a false read the ballot must be duplicatedby two election



                                                        25                                           Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.26
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 36Page
                                                                   of 1677
                                                                        26 of 75




inspectors who have expressed a preference for different political parties.” Michigan Election

Officials’ Manual, ch. 8, p. 6 (emphasis added). Thus, the ballot-duplicating process must be

performed by bipartisan teams of election officials. It must also be performed where it can be

observed bychallengers.

        78.     But Wayne County prevented many challengers from observing the ballot

duplicating     process.    Id.   (Miller     aff.        ¶¶6-8;   Steffans   aff.   ¶¶15-16,    23-24;

Mandelbaumaff.¶6;Shereraff.¶¶16-

17;Burtonaff.¶7;Drzewieckiaff.¶7;Klameraff.¶9;Chopjianaff.¶10;Schmidtaff.¶7;Champagneaff.¶

12;Shinkleaff.,p.1).Challenger John Miller said he was not allowed to observe election workers

duplicating                                               a                                       ballot

becausethe“duplicationprocesswaspersonallikevoting.”Id.(Milleraff.¶8).Challenger Mary Shinkle

stated that she was told by an election worker that she was not allowed to

observeaballotduplicationbecause“ifwemakeamistakethenyouwouldbealloverus.”               Id.    (Shinkle

aff., p. 1).Anotherchallengerobservedelectionofficialsmakingmistakeswhen duplicating ballots.

Id. (Piontek aff. ¶9).

        79.     Many challengers testified that ballot duplication was performed only by

Democratic election workers, not bipartisan teams. Exhibit 1 (Pettibone aff. ¶3; Kinney

aff.,p.1;Wasilewskiaff.,p.1;Schornakaff.¶¶18-19;Dixonaff.,p.1;Kolanagireddyaff.,p.                    1;

Kordenbrock aff. ¶¶3-4; Seidl aff., p. 1; Kerstein aff. ¶4; Harris aff. ¶3; Sitek aff. ¶4).

                7.       Democratic Election Challengers Frequently                     Outnumbered
                         Republican Poll Watchers 2:1 or Even 2:0.

        80.     Dominon contractor Melissa Carrone testified that there were significantly more

Democrats than Republicans at the TCF Center, and that as a result there were “over 20

machines [that] had two democrats judging the ballots-resulting in an unfair process.” Exh. 5 ¶5.




                                                     26                                       Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.27
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 37Page
                                                                   of 1677
                                                                        27 of 75




Other affiants testified to the fact that Democrats outnumbered Republicans by 2:1 or more Id.

(Helminon aff. ¶12). Democrats also impersonated Republican poll watchers. Id. (Seely aff.

¶19).

               8.      Collaboration Between Election Workers, City/County Employees,
                       and Democratic Party Challengers and Activists.

        81.    Affiants testified to systematic and routine collaboration between election

workers, Michigan public employees and Democratic election challengers and activists present,

in particular to intimidate, harass, distract or remove Republic election watchers. See, e.g., Exh.

1 (Ballow aff. ¶9; Gaicobazzi aff. ¶¶12, 14; Piontek aff. ¶11).

        B.     Election Workers Fraudulent Forged, Added, Removed or Otherwise
               Altered Information on Ballots, Qualified Voter List and Other Voting
               Records

        82.    A lawsuit recently filed by the Great Lakes Justice Center (“GLJC”) raises similar

allegations of vote fraud and irregularities that occurred in Wayne County. See Exhibit 4

(copyofcomplaintfiledintheCircuitCourtofWayneCountyinCostantino,etal.v.City of Detroit, et

al.) (“GLJC Complaint”).The allegations and affidavits included in the GLJC Complaint are

incorporated by reference in the body of this Complaint.

               1.      Election Workers Fraudulently Added “Tens of Thousands” of New
                       Ballots and New Voters in the Early Morning and Evening
                       November 4.

        83.    The most egregious example of election workers fraudulent and illegal behavior

concerns two batches of new ballots brought to the TCF Center after the 8:00 PM Election Day

deadline. First, at approximately 4:30 AM on November 4, 2020, poll challenger Andrew Sitto

observed “tens of thousands of new ballots” being brought into the counting room, and “[u]nlike

the other ballots, these boxes were brought in from the rear of the room.” Exh. 4, GLJC

Complaint, Exh. C at ¶ 10. Mr. Sitto heard other Republican challengers state that “several




                                                27                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.28
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 38Page
                                                                   of 1677
                                                                        28 of 75




vehicles with out-of-state license plates pulled up to the TCF Center a little before 4:30 a.m. and

unloaded boxes of ballots.” Id. at ¶ 11. “All ballots sampled that I heard and observed were for

Joe Biden.” Id. at ¶ 12.

         84.   A second set of new boxes of ballots arrived at the TCF Center around 9:00 PM

on November 4, 2020. According to poll watcher Robert Cushman, contained “several thousand

new ballots.” Exh. 4, GLJC Complaint, Exh. D at ¶ 5. Mr. Cushman noted that “none of the

names on the new ballots were on the QVF or the Supplemental Sheets,” id. at ¶ 7, and he

observed “computer operators at several counting boards manually adding the names and

addresses of these thousands of ballots to the QVF system.” Id. at ¶ 8. Further, “[e]very ballot

was being fraudulently and manually entered into the [QVF], as having been born on January 1,

1990.”     Id. at ¶ 15.    When Mr. Cushman challenged the validity of the votes and the

impossibility of each ballot having the same birthday, he “was told that this was the instruction

that came down from the Wayne County Clerk’s office.” Id. at ¶ 16.

         85.   Perhaps the most probative evidence comes from Melissa Carone, who was

“contracted to do IT work at the TCF Center for the November 3, 2020 election.” Exh. 5, ¶1.

On November 4, Ms. Carrone testified that there were “two vans that pulled into the garage of

the counting room, one on day shift and one on night shift.” Id. ¶8. She thought that the vans

were bring food, however, she “never saw any food coming out of these vans,” and noted the

coincidence that “Michigan had discovered over 100,000 more ballots – not even two hours after

the last van left.” Id. Ms. Carrone witnessed this of this illegal vote dump, as well as several

other violations outlined below.

               2.     Election Workers Forged and Fraudulently Added Voters to the
                      Qualified Voter List.

         86.   Many challengers reported that when a voter was not in the poll book, the election




                                                28                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.29
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 39Page
                                                                   of 1677
                                                                        29 of 75




officials would enter a new record for that voter with a birth date of January 1, 1900. Exhibit 1

(Gaicobazzi aff. ¶10; Piontek aff. ¶10; Cizmer aff. ¶8(F); Wirsing aff., p. 1; Cassin aff. ¶9;

Langer aff. ¶3; Harris aff. ¶3; Brigmon aff. ¶5; Sherer aff. ¶¶10-11; Henderson aff. ¶9; Early ¶16;

Klamer aff. ¶13; Shock aff. ¶8; M. Seely aff. ¶9). See also id. (Gorman aff. ¶¶23-26; Chopjian

aff. ¶12; Ungar aff. ¶15; Valden aff. ¶17). Braden Gaicobazzi reported that a stack of thirty-five

ballots was counted even though there was no voter record. Id. (Giacobazzi aff.¶10).

       87.     The GLJC Complaint alleges the Detroit Election Commission “systematically

processed and counted ballots from voters whose name failed to appear in either the Qualified

Voter File (QVF) or in the supplemental sheets.” Exh. 3, GLJC Complaintat 3. The GLJC

Complaint provides additional witness affidavits detailing the fraudulent conduct of election

workers, in particular, that of Zachary Larsen, who served as a Michigan Assistant Attorney

General from 2012 through 2020 and was a certified poll challenger at the TCF Center. “Mr.

Larsen reviewed the running list of scanned in ballots in the computer system, where it appeared

that the voter had already been counted as having voted. An official operating the computer then

appeared to assign this ballot to a different voter as he observed a completely different name that

was added to the list of voters at the bottom of a running tab of processed ballots on the right side

of the screen.” Id. at ¶ 16. Mr. Larsen observed this “practice of assigning names and numbers”

to non-eligible voters who did not appear in either the poll book or the supplement poll book. Id.

at ¶ 17. Moreover, this appeared to be the case for the majority of the voters whose ballots he

personally observed being scanned. Id.

               3.      Changing Dates on Absentee Ballots.

       88.     All absentee ballots that existed were required to be inputted into the QVF system

by 9:00 p.m. on November 3, 2020. This was required to be done in order to have a final list of

absentee voters who returned their ballots prior to 8:00 p.m. on November 3, 2020. In order to


                                                 29                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.30
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 40Page
                                                                   of 1677
                                                                        30 of 75




have enough time to process the absentee ballots, all polling locations were instructed to collect

the absentee ballots from the drop-box once every hour on November 3, 2020.

        89.     Jessica Connarn is an attorney who was acting as a Republican challenger

attheTCFCenterinWayneCounty.EXHIBIT6.JessicaConnarn’saffidavitdescribeshow

anelectionpollworkertoldJessicaConnarnthatthepollworker“wasbeingtoldtochange the date on

ballots to reflect that the ballots were received on an earlier date.” Id. ¶1. Jessica Connarn also

provided a photograph of a note handed to her by the poll worker in which the poll worker

indicated she (the poll worker) was instructed to change the date ballots were received. See id.

Jessica Connarn’s       affidavit   demonstrates     that   poll   workers    inWayneCountywerepre-

datingabsentvoterballots,sothatabsentvoterballotsreceived after 8:00 p.m. on Election Day could

be counted.

        90.     Plaintiffs have learned of a United States Postal Service (“USPS”) worker

Whistleblower, on November 4, 2020 told Project Veritas that a supervisor named Johnathan

Clarke in Traverse City, Michigan potentially issued a directive to collect ballots and stamp them

as received on November 3, 2020, even though there were not received timely, as required by

law: "We were issued a directive this morning to collect any ballots we find in mailboxes,

collection boxes, just outgoing mail in general, separate them at the end of the day so that they

could hand stamp them with the previous day's date," the whistleblower stated. "Today is

November 4th for clarification." 4 This is currently under IG Investigation at the U.S. Post

Office. According to the Postal worker whistleblower, the ballots are in "express bags" so they

could be sent to the USPS distribution center. Id.

        91.     As set forth in the GLJC Complaint and in the Affidavit of Jessy Jacob, an


https://townhall.com/tipsheet/bethbaumann/2020/11/04/usps-whistleblower-in-michigan-claims-higher-ups-
4

were-engaging-in-voter-fraud-n2579501



                                                   30                                        Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.31
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 41Page
                                                                   of 1677
                                                                        31 of 75




employee of the City of Detroit Elections Department, “on November 4, 2020, I was instructed

to improperly pre-date the absentee ballots receive date that were not in the QVF as if they

hadbeen received on or before November 3, 2020. I was told to alter the information in the QVF

to falselyshowthattheabsenteeballotshadbeenreceivedintimetobevalid.Sheestimatesthatthis was

done to thousands of ballots.” Exh. 4, GLJC Complaint, Exh. B at ¶ 17.

                   4.        Election Workers Changed Votes for Trump and Other Republican
                             Candidates.

          92.      Challenger ArticiaBomer stated, “I observed a station where election workers

were working on scanned ballots that had issues that needed to be manually corrected. I believe

some of these workers were changing votes that had been cast for Donald Trump and other

Republican candidates.” Id. (Bomer aff. ¶9). In addition to this eyewitness testimony of election

workers manually changing votes for Trump to votes for Biden, there is evidence that Dominion

Voting Systems did the same thing on a much larger scale with its Dominion Democracy Suite

software. See generally infra Section IV.D, Paragraphs 123-131.

                   5.        Election Officials Added Votes and Removed Votes from “Over-
                             Votes”.

          93.      Another challenger observed over-votes on ballots being “corrected” so that the

ballots    could        be   counted.     Exh.   3(Zaplitny      aff.¶13).   At   least   one   challenger

observedpollworkersaddingmarkstoaballotwheretherewasnomarkforanycandidate.

Id.(Tysonaff.¶17).

          C.       Additional Violations of Michigan Election Code That Caused Ineligible,
                   Illegal or Duplicate Ballots to Be Counted.

                   1.        Illegal Double Voting.

          94.      At                   least              one               election              worker

“observedalargenumberofpeoplewhocametothesatellite location to vote in-person, but they had




                                                      31                                        Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.32
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 42Page
                                                                   of 1677
                                                                        32 of 75




already applied for an absentee ballot. These people were allowed to vote in-person and were not

required to return the mailed absentee ballot or sign an affidavit that the voter lost the mailed

absentee       ballot.”     Exh.     4,   GLJC     Complaint     (Exh.     B)     Jacob   aff.   at   ¶    10.

Thiswouldpermitapersontovoteinpersonandalsosendinhis/herabsentee ballot, and thereby vote at

least twice.

                  2.      Ineligible Ballots Were Counted – Some Multiple Times.

        95.       Challengersreportedthatbatchesofballotswererepeatedlyrunthroughthe                      vote

tabulation machines. Exh. 3 (Helminen aff. ¶4; Waskilewski aff., p. 1; Mandelbaum aff. ¶5; Rose

aff. ¶¶4-14; Sitek aff. ¶3; Posch aff. ¶8; Champagne aff. ¶8). Challenger Patricia Rose stated she

observed a stack of about fifty ballots being fed multiple times into a ballot scanner counting

machine. Id. (Rose aff. ¶¶4-14). ArticiaBomer further stated thatshe witnessed the same group of

ballots being rescanned into the counting machine “at least five times.” Id. ¶12. Dominion

contractor Melissa Carone observed that this was a routine practice at the TCF Center, where she

“witnessed countless workers rescanning the batches without discarding them first” – as required

under Michigan rules and Dominion’s procedures – “which resulted in ballots being counted 4-5

times” by the “countless” number of election workers. Carone aff. ¶3. When she observed that a

computer indicated that it had “a number of over 400 ballots scanned – which means one batch

[of 50] was counted over 8 times,” and complained to her Dominion supervisor, she was

informed that “we are here to do assist with IT work, not to run their election.” Id. at ¶4.

                  3.      Ballots Counted with Ballot Numbers Not Matching Ballot Envelope.

        96.       Many challengers stated that the ballot number on the ballot did not match

thenumberontheballotenvelope,butwhentheyraisedachallenge,thosechallengeswere                     disregarded

and   ignored       by    election   officials,   not    recorded,   and    the    ballots   wereprocessed

andcounted.Exh. 3(A.Seelyaff.¶15;Wasilewskiaff.,p.1;Schornakaff.¶13;Brunell aff. ¶¶17, 19;



                                                        32                                       Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.33
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 43Page
                                                                   of 1677
                                                                        33 of 75




Papsdorf aff. ¶3; Spalding aff. ¶¶8, 11; Antonie aff. ¶3; Daavettila aff., p. 3; Atkins aff. ¶3;

Harris aff. ¶3; Sherer aff. ¶21; Drzewiecki aff. ¶¶5-6; Klamer aff. ¶4; Rauf aff. ¶¶9-14; Roush

aff. ¶¶5-7; Kinney aff. ¶5). For example, when challenger Abbie Helminen raised a challenge

that the name on the ballot envelope did not match the name on the voter list, she was told by an

election      official         to     “get       away”       and       that         the       counting

tableshewasobservinghad“adifferentprocessthanothertables.”Id.(Helminenaff.¶5).

               4.         Election Officials Counted Ineligible Ballots with No Signatures or
                          with No Postmark on Ballot Envelope.

       97.     Atleasttwochallengersobservedballotsbeingcountedwheretherewasno signature or

postmark     on     the     ballot   envelope.    Id.    (Brunell   aff.    ¶¶17,     19;     Spalding

aff.¶13;Shereraff.¶13).ChallengerAnneVankerobservedthat“60%ormoreof[ballot] envelopes [in a

batch] bore the same signature on the opened outer envelope.” Id.(Vanker aff. ¶5).Challenger

William Henderson observed that a counting table of election workers lost eight ballot

envelopes. Exhibit 1 (Henderson aff.¶8).The GLJCComplaint further alleges the Election

Commission “instructed election workers to not verify signatures on absentee ballots, to

backdate absentee ballots, and to process such ballots regardless of their validity.”

               5.         Election Officials Counted “Spoiled” Ballots.

       98.     At least two challengers observed spoiled ballots being counted. Id. (Schornak aff.

¶¶6-8; Johnson aff. ¶4). At least one challenger observed a box of provisional ballots being

placed in a tabulation box at the TCF Center. Exhibit 1 (Cizmar aff. ¶5).

               6.         Systematic Violations of Ballot Secrecy Requirements

       99.     Affiant Larsen identified a consistent practice whereby election officials would

remove ballots from the “secrecy sleeve” or peek into the envelopes, visually inspect the ballots,

and based on this visual inspection of the ballot (and thereby identify the votes cast), determine




                                                 33                                         Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.34
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 44Page
                                                                   of 1677
                                                                        34 of 75




whether to “place the ballot back in its envelope and into a ‘problem ballots’ box that required

additional attention to determine whether they would be processed and counted.” Exh. 4, GLJC

Complaint, Exh. A at ¶14. Mr. Larsen also observed that some ballots arriving without any

secrecy sleeve at all were counted after visual inspection, whereas many ballots without a

secrecy sleeve were placed in the “problem ballots” box. Id. at ¶¶21-22. “So the differentiation

among these ballots despite both ballots arriving in secrecy sleeves was perplexing and again

raised concerns that some ballots were being marked as ‘problem ballots’ based on who the

person had voted for rather on any legitimate concern about the ability to count and process the

ballot appropriately.” Id. at ¶24.

               7.      Election Workers Accepted Unsecured Ballots, without Chain of
                       Custody, after 8:00 PM Election Day Deadline.

       100.    Poll challengers observed two batches of new ballots brought to the TCF Center

after the 8:00 PM Election Day deadline, as detailed in the GLJC Complaint and Paragraphs 79-

81above. Affiant Daniel Gustafson further observed that these batches of ballots “were delivered

to the TCF Center in what appeared to be mail bins with open tops.” Exh. 4, GLJC Complaint,

Exh. E at¶4. Mr. Gustafson further observed that these bins and containers “did not have lids,

were not sealed, and did not have the capability of having a metal seal,” id. at ¶5, nor were they

“marked or identified in any way to indicated their source of origin.” Id. at ¶6.

       101.    An election challenger at the Detroit Department of Elections office observed

passengers in cars dropping off more ballots than there were people in the car. Exh. 3 (Meyers

aff. ¶3). This challenger also observed an election worker accepting a ballot after 8:00 p.m. on

Election Day. Id.¶7.

       102.    An election challenger at the Detroit Department of Elections office observed

ballots being deposited in a ballot drop box located at the Detroit Department of Elections after




                                                34                                    Exhibit A
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           2:20-cv-13134-LVP-RSW
                1:21-cv-01169-TCB Document
                                  ECF No. 1,35-2
                                             PageID.35
                                                 Filed 05/03/21
                                                         Filed 11/25/20
                                                                  Page 45Page
                                                                          of 1677
                                                                               35 of 75




       8:00 p.m. on Election Day. Id. (Meyers aff.¶6).

              103.    On November 4, 2020, Affiant Matt Ciantar came forward who, independently

       witnessed, while walking his dog, a young couple delivered 3-4 large plastic clear bags, that

       appear to be “express bags”, as reflected in photographs taken contemporaneously, to a U.S.

       Postal vehicle waiting. See generallyExh. 7 Matt Ciantar Declaration. The use of clear “express

       bags” is consistent with the USPS whistleblower Johnathan Clarke in Traverse City, Michigan.

       See infra Paragraph 78.

                      8.     Ballots from Deceased Voters Were Counted.

              104.    One Michigan voter stated that her deceased son has been recorded as voting

       twice since he passed away, most recently in the 2020 general election. Exh. 3 (Chase aff.¶3).

III.          EXPERT WITNESS TESTIMONY SUPPORTING INDICATING WIDESPREAD
              VOTING FRAUD AND MANIPULATION

              A.      Approximately 30,000 Michigan Mail-In Ballots Were Lost, and
                      Approximately 30,000 More Were Fraudulently Recorded for Voters who
                      Never Requested Mail-In Ballots.

              105.    The attached report of William M. Briggs, Ph.D. (“Dr. Briggs Report”)

       summarizes the multi-state phone survey data of 248 Michigan Republican voters collected by

       Matt Braynard, which was conducted from November 15-17, 2020 and covered voters in

       Arizona, Georgia, Michigan, Pennsylvania, and Wisconsin. See Exh. 101, Dr. Briggs Reportat 1,

       and Att. 1 (“Braynard Survey”). The Braynard Survey sought to identify two specific errors

       involving unreturned mail-in ballots that are indicative of voter fraud, namely: “Error #1: those

   who were recorded as receiving absentee ballots withoutrequesting them;” and “Error #2: those

   who returned absentee ballots but whose votes went missing (i.e., marked as unreturned).” Id.

   Dr. Briggs then conducted a parameter-free predictive model to estimate, within 95% confidence

   or prediction intervals, the number of ballots affected by these errors out of a total of 139,190




                                                         35                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.36
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 46Page
                                                                   of 1677
                                                                        36 of 75




unreturned mail-in ballots for the State of Michigan.

       106.    With respect to Error #1, Dr. Briggs analysis estimated that 29,611 to 36,529

ballots out of the total 139,190 unreturned ballots (21.27% - 26.24%) were recorded for voters

who had not requested them. Id. With respect to Error #2, the numbers are similar with 27,928

to 34,710 ballots out of 139,190 unreturned ballots (20.06% - 24.93%) recorded for voters who

did return their ballots were recorded as being unreturned. Id. Taking the average of the

two types of errors together, 62,517 ballots, or 45% of the total, are “troublesome.”

       107.    These errors are not only conclusive evidence of widespread fraud by the State of

Michigan, 5 but they are fully consistent with the fact witness statements above the evidence

regarding Dominion presented below insofar as these purportedly unreturned absentee ballots

provide a pool of 60,000-70,000 unassigned and blank ballots that could be filled in by

Michigan election workers, Dominion or other third parties to shift the election to Joe

Biden. With respect to Error #1, Dr. Briggs’ analysis, combined with the statements of the

Michigan voters in the Braynard Survey, demonstrates that approximately 30,000 absentee

ballots were sent to someone besides the registered voter named in the request, and thus

could have been filled out by anyone and then submitted in the name of another voter. With

respect to Error #2, Dr. Briggs’ analysis indicates that approximately 30,000 absentee ballots

were either lost or destroyed (consistent with allegations of Trump ballot destruction) and/or

were replaced with blank ballots filled out by election workers, Dominion or other third

parties. Accordingly, Dr. Briggs’ analysis showing that almost half of purportedly “unreturned

5
 The only other possible explanations for the statements of 248 Michigan mail-in voters included
in the Braynard Survey data is (a) that the 248 voters (who had no known pre-existing
relationship apart from being listed as having unreturned absentee ballots) somehow contrived to
collude together to submit false information or (b) that these 248 suffered from amnesia,
dementia or some other condition that caused them to falsely claim that they had requested a
mail-in ballot or returned a mail-in ballot.



                                                36                                  Exhibit A
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.37
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 47Page
                                                                   of 1677
                                                                        37 of 75




ballots” suffers from one of the two errors above – which is consistent with his findings in the

four other States analyzed (Arizona 58%, Georgia 39%, Pennsylvania 37%, and Wisconsin 31%)

– provides further support that these widespread “irregularities” or anomalies was one part of

much larger interstate fraudulent scheme to rig the 2020 General Election for Joe Biden.

       B.     Statistical Analysis of Anomalous and Unprecedented Turnout Increases in
              Specific Precincts Indicate that There Were at Least 40,000 “Excess Voters”
              in Wayne County and At Least 46,000 in Oakland County.

       108.   The attached affidavit of Eric Quinell, Ph.D. (“Dr. Quinell Report”) analyzes the

extraordinary increase in turnout from 2016 to 2020 in a relatively small subset of townships and

precincts outside of Detroit in Wayne County and Oakland County, and more importantly how

nearly 100% or more of all “new” voters from 2016 to 2020 voted for Biden. See Exh. 102.

Using publicly available information from Wayne County and Oakland County, Dr. Quinell first

found that for the votes received up to the 2016 turnout levels, the 2020 vote Democrat vs.

Republican two-ways distributions (i.e., excluding third parties) tracked the 2016 Democrat vs.

Republican distribution very closely, which was 55%-45% for Wayne County (outside Detroit)

and 54%/46% for Oakland County. Id. at ¶¶18 & 20.

       109.   However, after the 2016 turnout levels were reached, the Democrat vs.

Republican vote share shifts decisively towards Biden by approximately 15 points, resulting in a

72%/28% D/R split for Oakland County and 70%/30% D/R split for Wayne County (outside of

Detroit). What is even more anomalous – and suspicious – is the fact that nearly all of these

“new” votes in excess of 2016 come from a small number of townships/precincts where the

increased Biden vote share is nearly 100% or over 100% for Biden. Id. For example, in the

township of Livonia in Wayne County, Biden gained 3.2 voters for every 1 new Trump voter,

and Biden receive 97% of all “new” votes over 2016 and 151% of all new voter registrations. Id.

at ¶6. In the township of Troy in Oakland County, the vote share shifted from 51%/49% in 2016


                                               37                                    Exhibit A
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.38
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 48Page
                                                                   of 1677
                                                                        38 of 75




to 80%/20% in 2020 due to Biden receiving 98% of new votes above 2016 and 109% of new

voter registrations. Id. at ¶20. Looking county-wide, Biden gained 2.32 new voters over 2016

levels to every 1 new Trump voter in Wayne County (outside Detroit) and 2.54 additional new

voters per Trump voter for Oakland County. Id. ¶5.

       110.   Based on these statistically anomalous results that occurred in a handful of

townships in these two counties, Dr. Quinell’s model determined that there were 40,771

anomalous votes in Wayne County (outside Detroit) and 46,125 anomalous votes in Oakland

County, for a total of nearly 87,000 anomalous votes or approximately 65% of Biden’s purported

lead in Michigan.

       C.     Over 13,000 Ineligible Voters Who Have Moved Out-of-State Illegally Voted
              in Michigan.

       111.   Evidence compiled by Matt Braynard using the National Change of Address

(“NCOA”) Database shows that 12,120 Michigan voters in the 2020 General Election moved

out-of-state prior to voting, and therefore were ineligible.      Mr. Braynerd identified 1,170

Michigan voters in the 2020 General Election who subsequently registered to vote in another

state, and were therefore ineligible to vote in the 2020 General Election. When duplicates from

the two databases are eliminated, the merged number is 13,248 ineligible voters whose votes

must be removed from the total for the 2020 General Election. 6

       D.     There Were At Least 289,866 More Ballots Processed in Four Michigan
              Counties on November 4 Than There Was Processing Capacity.

       112.   The expert witness testimony of Russell James Ramsland, Jr. (“Ramsland

Affidavit”), which is described in greater detail below, identifies an event that occurred in

Michigan on November 4 that is “physically impossible” See Exh. 104 at ¶14. The “event”

6
 Mr. Braynard posted the results of his analysis on Twitter.                          See
https://twitter.com/MattBraynard/status/1329700178891333634?s=20. This Complaint includes
a copy of his posting as Exhibit 103.


                                               38                                   Exhibit A
      CaseCase
          2:20-cv-13134-LVP-RSW
               1:21-cv-01169-TCB Document
                                 ECF No. 1,35-2
                                            PageID.39
                                                Filed 05/03/21
                                                        Filed 11/25/20
                                                                 Page 49Page
                                                                         of 1677
                                                                              39 of 75




   reflected in the data are “4 spikes totaling 384,733 ballots allegedly processed in a combined

      interval of 2 hour[s] and 38 minutes” for four precincts/townships in four Michigan counties

      (Wayne, Oakland, Macomb ne and Kent). Id. Based on Mr. Ramsland’s analysis of the voting

      machines available at the referenced locations, he determined that the maximum processing

      capability during this period was only 94,867 ballots, so that “there were 289,866 more ballots

      processed in the time available for processing in the four precincts/townships, than there was

   processing capacity.” Id. This amount is alone is nearly twice the number of ballots by which

   Biden purportedly leads President Trump (i.e., approximately 154,180).

IV.          FACTUAL ALLEGATIONS RE DOMINION VOTING SYSTEMS

             A.       Evidence of Specific Fraud Wayne County used ballot tabulators that were
                      shown to miscount votes cast for President Trump and Vice President Pence
                      and instead count them for the Biden-Harristicket.

             113.     On the morning of November 4, unofficial results posted by the Antrim County

   Clerk showed that Joe Biden had over 7,700 votes — 3,000 more than Donald Trump. Antrim

      County voted 62% in favor of President Trump in 2016. The Dominion Voting Systems election

      management system and voting machines (tabulators), which were used in Antrim County, are

      also used in many other Michigan counties, including Wayne County, were atfault.

             114.     However, Malfunctioning voting equipment or defective ballots may have

   affectedtheoutcomeofavoteonanofficeappearingontheballot.”MichiganManualfor            Boards   of

   County         Canvassers.    Thesevotetabulatorfailuresareamechanicalmalfunctionthat,underMCL

   168.831-168.839, requires a “special election” in the precincts affected.

             115.     SecretaryofStateBensonreleasedastatementblamingthecountyclerkfor

   notupdatingcertain“mediadrives,”butherstatementfailedtoprovideanycoherentexplanation of how




                                                    39                                    Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.40
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 50Page
                                                                   of 1677
                                                                        40 of 75




the Dominion Voting Systems software and vote tabulators produced such a massive miscount. 7

          116.       Secretary Benson continued: “After discovering the error in reporting the

unofficial results, the clerk worked diligently to report correct unofficial results by reviewing the

printed totals tape on each tabulator and hand-entering the results for each race, for each

precinct in the county.”Id.What Secretary Benson fails to address is what would have happened

if no one “discover[ed] the error,” for instance, in Wayne County, where the number of

registered voters is much greater than Antrim County, and where the tabulators were not

individuallytested.

          117.       Wayne County used the same Dominion voting system tabulators as did

AntrimCounty,andWayneCountytestedonlyasingleoneofitsvotetabulatingmachines                     before    the

election. The Trump campaign asked Wayne County to have an observer physically present to

witness        the     process.   See    Exhibit     4.    Wayne       County     denied     the      Trump

campaigntheopportunitytobephysicallypresent.RepresentativesoftheTrumpcampaign                   did     have

opportunity to watch a portion of the test of a single machine by Zoomvideo.

          B.         The Pattern Of Incidents Shows An Absence Of Mistake - Always In
                     The Favor Of Biden.

          118.       Rules of Evidence, 404(b), applicable to civil matters makes clear that,

          (b) Evidence of other crimes, wrongs, or acts shall not be admissible to prove the
          character of a person in order to show action in conformity therewith. It may,
          however, be admissible for other purposes, including, but not limited to,
          proof of motive, opportunity, intent, preparation, plan, knowledge, identity,
          or absence of mistake or accident.

          119.       Tabulator issues and election violations occurred elsewhere in Michigan

reflecting a pattern, where multiple incidents occurred. In Oakland County, votes flipped a seat

to an incumbent Republican, Adam Kochenderfer, from the Democrat challenger when

7
    https://www.michigan.gov/documents/sos/Antrim_Fact_Check_707197_7.pdf (emphasis in original).




                                                      40                                       Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.41
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 51Page
                                                                   of 1677
                                                                        41 of 75




       120.      “A computer issue in Rochester Hills caused them to send us results for seven

precincts as both precinct votes and absentee votes. They should only have beensent to us as

absentee votes,” Joe Rozell, Oakland County Director of Elections for the City of Huntington

Woods, said. 8

       121.      This Oakland County flip of votes is significant not only because it reflects a

second systems error wherein both favored the Democrats, precinct votes were sent out to be

counted, and they were counted twice as a result until the error was caught on a recount, but

precinct votes should never be counted outside of the precinct, instead they are required to be

sealed in the precinct.

       C.        Dominion Voting Machines and Forensic Evidence of Wide-Spread
                 Fraud in Defendant Counties

       122.      The State of Michigan entered into a contract with Dominion Systems’

Democracy Suite 4.14-D first, and then included Dominion Systems Democracy Suite 5.0-S on

or about January 27, 2017, which added a fundamental modification: “dial-up and wireless

results transmission capabilities to the ImageCast Precinct and results transmission using the

Democracy Suite EMS Results Transfer Manager module.”

       123.      Whereas the same Dominion software in an updated contract with Pennsylvania,

unlike in Michigan’s contract, sets forth the standard as requiring physical security:              No

components of the Democracy Suite 5.5A shall be connected to any modem or network interface,

including the Internet, at any time, except when a standalone local area wired network

configuration in which all connected devices are certified voting system components.” Id. at 41

(Condition C).

       124.      The Michigan Contract with Dominion Voting Systems Democracy packages

8
  Detroit Free Press, https://www.freep.com/story/news/local/michigan/oakland/2020/11/06/oakland-county-
election-2020-race-results/6184186002/



                                                  41                                       Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.42
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 52Page
                                                                   of 1677
                                                                        42 of 75




include language that describes Safety and Security, which in part makes the risks of potential

breach clear where keys can be lost despite the fact that they provide full access to the unit, and

while it is clear that the electronic access provides control to the unit, and the ability to alter

results, combined with the lack of observers, creates a lack of security that becomes part of a

pattern of the absence of mistake, or fraud:

       The ImageCast tabulators are unlocked by an iButton security key, which is used
       to:
       • Authenticate the software version (ensuring it is a certified version that has not
       been tampered with)
       • Decrypt election files while processing ballots during the election
       • Encrypt results files during the election
       • Provide access control to the unit
       It is anticipated that the iButton security keys may get lost; therefore, any
       substitute key created for the same tabulator will allow the unit to work
       fully. 9

       125.    In late December of 2019, three Senators, Warren, Klobuchar, Wyden and House

Member Mark Pocanwrote about their ‘particularized concerns that secretive & “trouble -

plagued companies”’“have long skimped on security in favor of convenience,” in the context of

how they described the voting machine systems that three large vendors – Election Systems &

Software, Dominion Voting Systems, & Hart InterCivic – collectively provide voting machines

& software that facilitate voting for over 90% of all eligible voters in the U.S.”

       126.    As evidence of the risks of the Dominion Democracy Suite, as described above,

the same Dominion Democracy Suite was denied certification in Texas by the Secretary of State

on January 24, 2020 specifically because of a lack of evidence of efficiency and accuracy and




9SeeExh. 8, State of Michigan Enterprise Procurement, Notice of Contract, Contract No.
071B770017 between the State of Michigan and Dominion Voting Systems Inc. at ¶2.6.2
(“Dominion Michigan Contract”).


                                                 42                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.43
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 53Page
                                                                   of 1677
                                                                        43 of 75




identified vulnerabilitiesto fraud and unauthorized manipulation. 10

       D.      “Red Flags” in Dominion’s Michigan Results for 2020 General
               Election Demonstrate Dominion Manipulated Election Results, and
               that the Number of Illegal Votes Is Nearly Twice As Great as Biden’s
               Purported Margin of Victory.

       127.    The expert witness testimony of Russell James Ramsland, Jr. (“Ramsland

Affidavit”) 11analyzes several “red flags” in Dominion’s Michigan results for the 2020 election,

and flaws in the system architecture more generally, to conclude that Dominion manipulated

election results. Dominion’s manipulation of election results enabled Defendants to engage in

further voting fraud violations above and beyond the litany of violations recited above in Section

II.A through Section II.C.

               1.     Antrim County “Glitch” Was Not “Isolated Error” and May Have
                      Affected Other Counties.

       128.    The first red flag is the Antrim County, Michigan “glitch” that switched 6,000

Trump ballots to Biden, and that was only discoverable through a manual hand recount. See

supra Paragraph 94. The “glitch” was later attributed to “clerical error” by Dominion and

Antrim Country, presumably because if it were correctly identified as a “glitch”, “the system

would be required to be ‘recertified’ according to Dominion officials. This was not done.” Exh.

104, Ramsland Aff. at ¶10. Mr. Ramsland is skeptical because “the problem most likely did

occur due to a glitch where an update file did not properly synchronize the ballot barcode

generation and reading portions of the system.” Id. Further, such a glitch would not be an



10
   See Texas Analysis of February 15, 2019 from the Voting Systems Examiner to the Director
of Elections (emphasis added).
11
  As detailed in the Ramsland Affidavit and the CV attached thereto, Mr. Ramsland is a member
of the management team Allied Security Operations Group, LLC (“ASOG”), a firm specializing
in cybersecurity, OSINT and PEN testing of networks for election security and detecting election
fraud through tampering with electronic voting systems.


                                               43                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.44
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 54Page
                                                                   of 1677
                                                                        44 of 75




“isolated error,” as it “would cause entire ballot uploads to read as zero in the tabulation

batch, which we also observed happening in the data (provisional ballots were accepted

properly but in-person ballots were being rejected (zeroed out and/or changed (flipped)).” Id.

Accordingly, Mr. Ramsland concludes that it is likely that other Michigan counties using

Dominion may “have the same problem.” Id.

                   2.      Fractional Vote Counts in Raw Data Strongly Indicate Voting
                           Manipulation through “Ranked Choice Voting Algorithm”

           129.    Mr. Ramsland’s analysis of the raw data , which provides votes counts, rather

than just vote shares, in decimal form provides highly probative evidence that, in his

professional opinion, demonstrates that Dominion manipulated votes through the use of an

“additive” or “Ranked Choice Voting” algorithm (or what Dominion’s user guide refers to as

the “RCV Method”). See id. at ¶12. 12 Mr. Ramsland presents the following example of this data

– taken from “Dominion’s direct feed to news outlets” – in the table below. Id.

 state                  timestamp        eevp    trump    biden         TV               BV

michigan          2020-11-04T06:54:48Z    64     0.534    0.448     1925865.66       1615707.52

michigan          2020-11-04T06:56:47Z    64     0.534    0.448     1930247.664     1619383.808

michigan          2020-11-04T06:58:47Z    64     0.534    0.448     1931413.386     1620361.792

michigan          2020-11-04T07:00:37Z    64     0.533     0.45     1941758.975      1639383.75

michigan          2020-11-04T07:01:46Z    64     0.533     0.45     1945297.562      1642371.3

michigan          2020-11-04T07:03:17Z    65     0.533     0.45     1948885.185      1645400.25

           130.    Mr. Ramsland describes how the RCV algorithm can be implemented, and the

significance of the use of fractional vote counts, with decimal places, rather than whole numbers,

in demonstrating that Dominion did just that to manipulate Michigan votes.

12
  See id. (quotingDemocracy Suite EMS Results Tally and Reporting User Guide, Chapter 11,
Settings 11.2.2., which reads, in part, “RCV METHOD: This will select the specific method of
tabulating RCV votes to elect a winner.”).


                                                 44                                   Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.45
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 55Page
                                                                   of 1677
                                                                        45 of 75




       For instance, blank ballots can be entered into the system and treated as “write-
       ins.” Then the operator can enter an allocation of the write-ins among candidates
       as he wishes. The final result then awards the winner based on “points” the
       algorithm in the compute, not actual votes. The fact that we observed raw vote
       data that includes decimal places suggests strongly that this was, in fact, done.
       Otherwise, votes would be solely represented as whole numbers. Below is an
       excerpt from Dominion’s direct feed to news outlets showing actual calculated
       votes with decimals. Id.

               3.      StrongEvidence That Dominion Shifted Votes from Trump to Biden.

       131.    A third red flag identified by Mr. Ramslund is the dramatic shift in votes between

the two major party candidates as the tabulation of the turnout increased, and more importantly,

the change in voting share before and after 2 AM on November 4, 2020, after Wayne County and

other Michigan election officials had supposedly halted counting.

       Until the tabulated voter turnout reached approximately 83%, Trump was
       generally winning between 55% and 60% of every turnout point. Then, after the
       counting was closed at 2:00 am, the situation dramatically reversed itself,
       starting with a series of impossible spikes shortly after counting was
       supposed to have stopped. Id. at ¶13.

       132.    Once again the means through which Dominion appears to have implemented this

scheme is through the use of blank ballots that were all, or nearly all, cast for Biden.

       The several spikes cast solely for Biden could easily be produced in the Dominion
       system by pre-loading batches of blank ballots in files such as Write-Ins, then
       casting them all for Biden using the Override Procedure (to cast Write-In ballots)
       that is available to the operator of the system. A few batches of blank ballots
       could easily produce a reversal this extreme, a reversal that is almost as
       statistically difficult to explain as is the impossibility of the votes cast to number
       of voters described in Paragraph 11 above.Id.

               4.      The November 4 Ballot Dumps Wayne County and Other Michigan
                       Counties Was “Physically Impossible” Because There Were More
                       Ballots Than Machines in Those Four Counties Could Have Counted
                       Or Processed.

       133.    Mr Ramsland and his team analyzed the sudden injection of totaling 384,733

ballots by four Michigan counties (Wayne, Oakland, Macomb, and Kent) in a 2 hour 38 minute

period in the early morning of November 4 (which would have included the first ballot dump



                                                 45                                        Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.46
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 56Page
                                                                   of 1677
                                                                        46 of 75




described above in Paragraph 72), and concluded that “[t]his is an impossibility, given the

equipment available at the 4 reference locations (precincts/townships).” Id. at ¶14.

       134.   Specifically, Mr. Ramslund calculated that “94,867 ballots as the maximum

number of ballots that could be processed” in that time period, and thus that “[t]here were

289,866 more ballots processed in the time available for processing in four precincts/townships,

than the capacity of the system allows.” Id. Mr. Ramsland concludes that “[t]he documented

existence of the spikes are strongly indicative of a manual adjustment either by the operator of

the system (see paragraph 12 above) or an attack by outside actors.” Id. The vote totals added

for all Michigan counties, including Wayne, Oakland, Macomb and Kent counties, for the period

analyzed by Mr. Ramsland are reproduced in the figure below.




                                              46                                    Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.47
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 57Page
                                                                   of 1677
                                                                        47 of 75




               5.      The Number of Illegal Votes Attributable to Dominion Is Nearly
                       Twice the Biden’s Purported Margin in Michigan.

       135.    Based on his analysis of the red flags and statistical anomalies discussed below,

Mr. Ramsland concludes that:

       [T]hese statistical anomalies and impossibilities compels the conclusion to a
       reasonable degree of professional certainty that the vote count in Michigan and in
       Wayne County, in particular for candidates for President contain at least 289,866
       illegal votes that must be disregarded.

Given that Mr. Biden’s currently purported margin of victory is approximately 154,000, the

number of illegal votes attributable Dominion’s fraudulent and illegal conduct is by itself

(without considering the tens or hundreds of thousands of illegal votes due to the unlawful

conduct described in Section II), is nearly twice Mr. Biden’s current purported lead in the State

of Michigan. Thus Mr. Ramsland affidavit alone provides this Court more than sufficient basis

to grant the relief requested herein.

       E.      Additional Independent Findings of Dominion Flaws.

       136.     Further supportive of this pattern of incidents, reflecting an absence of mistake,

Plaintiffs have since learned that the "glitches" in the Dominion system -- that have the uniform

effect of hurting Trump and helping Biden -- have been widely reported in the press and

confirmed by the analysis of independent experts.

               1.      Central Operator Can Remove, Discard or Manipulate Votes.

       137.    Plaintiffs have also learned of the connection between Dominion Voting Systems,

Smartmatic and the voting systems used in Venuezela and the Phillipines.

          a. Dominion Voting has also contradicted itself in a rush to denial a pattern of errors
             that lead to fraud. For example, Dominion Voting Systems machines can read all
             of these instruments, including Sharpies.https://www.dominionvoting.com/

          b. but Dominion Voting’s Democracy Suite contract with Michigan specifically
             requires:




                                               47                                     Exhibit A
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.48
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 58Page
                                                                   of 1677
                                                                        48 of 75




       Black Inc: Black ink (or toner) must be dense, opaques, light-fast and permanent,
       with a measured minimum 1.2 reflection density (log) above the paper base. 13

       138.    An Affiant, who is a network & Information cybersecurities expert, under sworn

testimony explains that after studying the user manual for Dominion Voting Systems Democracy

software, he learned that the information about scanned ballots can be tracked inside the

software system for Dominion:

       (a)    When bulk ballot scanning and tabulation begins, the "ImageCast Central"
       workstation operator will load a batch of ballots into the scanner feed tray and
       then start the scanning procedure within the software menu. The scanner then
       begins to scan the ballots which were loaded into the feed tray while the
       "ImageCast Central" software application tabulates votes in real-time. Information
       about scanned ballots can be tracked inside the "ImageCast Central" software
       application.
       (See Exh.Aff. of Watkins __, at par.11).

       139.    The Affiant further explains that the central operator can remove or discard

batches of votes. “After all of the ballots loaded into the scanner's feed tray have been through

the scanner, the "ImageCast Central" operator will remove the ballots from the tray then have the

option to either "Accept Batch" or "Discard Batch" on the scanning menu …. “Id. at ¶ 12.

       140.    Affiantfurther testifies that the user manual makes clear that the system allows for

threshold settings to be set to find all ballots get marked as “problem ballots” for discretionary

determinations on where the vote goes stating:

       “During the voting process, the voter will mark an oval on the ballot using a
       writing device. During the scanning process, the "ImageCast Central" software
       will detect how much of a percent coverage of the oval was filled in by the voter.
       The Dominion customer determines the thresholds of which the oval needs to be
       covered by a mark in order to qualify as a valid vote. If a ballot has a marginal
       mark which did not meet the specific thresholds set by the customer, then the
       ballot is considered a "problem ballot" and may be set aside into a folder named
       "NotCastImages". Through creatively tweaking the oval coverage threshold
       settings it should be possible to set thresholds in such a way that a non-trivial
       amount of ballots are marked "problem ballots" and sent to the "NotCastImages"


 See Exh. 8, par. 2.6.2 of contract # 071B770017.
13




                                                 48                                    Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.49
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 59Page
                                                                   of 1677
                                                                        49 of 75




       folder. It is possible for an administrator of the ImageCast Central work station
       to view all images of scanned ballots which were deemed "problem ballots" by
       simply navigating via the standard "Windows File Explorer" to the folder named
       "NotCastImages" which holds ballot scans of "problem ballots". It is possible for
       an administrator of the "ImageCast Central" workstation to view and delete any
       individual ballot scans from the "NotCastImages" folder by simply using the
       standard Windows delete and recycle bin functions provided by the Windows 10
       Pro operating system.

       Id. at ¶¶ 13-14.

       141.    The Affiant further explains the vulnerabilities in the system when the copy of the

selected ballots that are approved in the Results folder are made to a flash memory card – and

that is connected to a Windows computer stating:

       It is possible for an administrator of the "ImageCast Central" workstation toview
       and delete any individual ballot scans from the "NotCastImages" folder by simply
       using the standard Windows delete and recycle bin functions provided by the
       Windows 10 Pro operating system. … The upload process is just a simple copying
       of a "Results" folder containing vote tallies to a flash memory card connected to
       the "Windows 10 Pro" machine. The copy process uses the standard drag-n-drop
       or copy/paste mechanisms within the ubiquitous "Windows File Explorer". While
       a simple procedure, this process may be error prone and is very vulnerable to
       malicious administrators.

       Id. at par. 14 and 15.

               2.      Dominion – By Design – Violates Federal Election & Voting Record
                       Retention Requirements.

       142.    The Dominion System put in place by its own design violates the intent of Federal

law on the requirement to preserve and retain records – which was clearly requires preservation

of all records requisite to voting in such an election.

       F.      § 20701. Retention and preservation of records and papers by officers of
               elections; deposit with custodian; penalty for violation


       Every officer of election shall retain and preserve, for a period of twenty-
       two months from the date of any general, special, or primary election of
       which candidates for the office of President, Vice President, presidential
       elector, Member of the Senate, Member of the House of Representatives,
       or Resident Commissioner from the Commonwealth of Puerto Rico are



                                                  49                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.50
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 60Page
                                                                   of 1677
                                                                        50 of 75




      voted for, all records and papers which come into his possession
      relating to any application, registration, payment of poll tax, or other
      act requisite to voting in such election, except that, when required by
      law, such records and papers may be delivered to another officer of
      election and except that, if a State or the Commonwealth of Puerto Rico
      designates a custodian to retain and preserve these records and papers at a
      specified place, then such records and papers may be deposited with such
      custodian, and the duty to retain and preserve any record or paper so
      deposited shall devolve upon such custodian. Any officer of election or
      custodian who willfully fails to comply with this section shall be fined not
      more than $1,000 or imprisoned not more than one year, or both.

      143.   A Penn Wharton Study from 2016 concluded that “Voters and their

representatives in government, often prompted by news of high-profile voting problems,

also have raised concerns about the reliability and integrity of the voting process, and

have increasingly called for the use of modern technology such as laptops and tablets to

improve convenience.

      144.   As evidence of the risks of the Dominion Democracy Suite, as described

above, the same Dominion Democracy Suite was denied certification in Texas by the

Secretary of State on January 24, 2020 specifically because of a lack of evidence of

efficiency and accuracy and to be safe from fraud or unauthorized manipulation. 14

             3.     Dominion Vulnerabilities To Hacking.

      145.   Plaintiffs have since learned that the "glitches" in the Dominion system --

that have the uniform effect of hurting Trump and helping Biden -- have been widely

reported in the press and confirmed by the analysis of independent experts.

      146.   Plaintiffs can show, through expert and fact witnesses that:

      A.     Massive End User Vulnerabilities.




 See Exh. X, Report of Review of Dominion Voting Systems Democracy Suite 5.5-A Elections
14

Division by the Secretary of State’s office, Elections Division, January 24, 2020.



                                           50                                 Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.51
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 61Page
                                                                   of 1677
                                                                        51 of 75




       (1) Users on the ground have full admin privileges to machines and software. The
           Dominion system is designed to facilitate vulnerability and allow a select few
           to determine which votes will be counted in any election. Workers were
           responsible for moving ballot data from polling place to the collector’s office
           and inputting it into the correct folder. Any anomaly, such as pen drips or
           bleeds, is not counted and is handed over to a poll worker to analyze and
           decide if it should count. This creates massive opportunity for improper vote
           adjudication. (See Exh.____ For Affiant Watkins).

       (2) Affiant witness (name redacted for security reasons 15), in his sworn testimony
           explains he was selected for the national security guard detail of the President
           of Venezuela, and that he witnessed the creation of Smartmatic for the purpose
           of election vote manipulation:

           “I was witness to the creation and operation of a sophisticated
           electronic voting system that permitted the leaders of the Venezuelan
           government to manipulate the tabulation of votes for national and local
           elections and select the winner of those elections in order to gain and
           maintain their power. Importantly, I was a direct witness to the
           creation and operation of an electronic voting system in a conspiracy
           between a company known as Smartmatic and the leaders of
           conspiracy with the Venezuelan government. This conspiracy
           specifically involved President Hugo Chavez Frias, the person in
           charge of the National Electoral Council named Jorge Rodriguez, and
           principals, representatives, and personnel from Smartmatic which
           included … The purpose of this conspiracy was to create and operate a
           voting system that could change the votes in elections from votes
           against persons running the Venezuelan government to votes in their
           favor in order to maintain control of the government.”

       (See Exh. 14, pars. 6, 9, 10).

       147.   Specific vulnerabilities of the systems in question that have been

documented or reported include:

       A. Barcodes can override the voters’ vote: As one University of California,
          Berkeley study shows, “In all three of these machines [including Dominion
          Voting Systems] the ballot marking printer is in the same paper path as the
          mechanism to deposit marked ballots into an attached ballot box. This opens
          up a very serious security vulnerability: the voting machine can make the
          paper ballot (to add votes or spoil already-case votes) after the last time the
          voter sees the paper, and then deposit that marked ballot into the ballot box


   The Affiant’s name will be produced in camera to the court, with a motion for seal of the
1515

information.


                                            51                                   Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.52
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 62Page
                                                                   of 1677
                                                                        52 of 75



                                                                     16
              without the possibility of detection.” (See Ex. __,)

          B. Voting machines were able to be connected to the internet by way of laptops
             that were obviously internet accessible. If one laptop was connected to the
             internet, the entire precinct was compromised.

          C. “We … discovered that at least some jurisdictions were not aware that their
             systems were online,” said Kevin Skoglund, an independent security
             consultant who conducted the research with nine others, all of them long-time
             security professionals and academics with expertise in election security. Vice.
             August 2019. 17

          D. October 6, 2006 – Congresswoman Carolyn Maloney calls on Secretary of
             Treasury Henry Paulson to conduct an investigation into Smartmatic based on
             its foreign ownership and ties to Venezuela. (See Exh. __,).

          E. Congresswoman Maloney wrote that “It is undisputed that Smartmatic is
             foreign owned and it has acquired Sequoia … Smartmatica now
             acknowledged that Antonio Mugica, a Venezuelan businessman has a
             controlling interest in Smartmatica, but the company has not revealed who all
             other Smartmatic owners are.

          F. Dominion “got into trouble” with several subsidiaries it used over alleged
             cases of fraud. One subsidiary is Smartmatic, a company “that has played a
             significant role in the U.S. market over the last decade,” according to a report
             published by UK-based AccessWire.

          G. Litigation over Smartmatic “glitches” alleges they impacted the 2010 and
             2013 mid-term elections in the Philippines, raising questions of cheating and
             fraud. An independent review of the source codes used in the machines found
             multiple problems, which concluded, “The software inventory provided by
             Smartmatic is inadequate, … which brings into question the software
             credibility,” ABS-CBN reported.

          H. Dominion acquired Sequoia Voting Systems as well as Premier Election
             Solutions (formerly part of Diebold, which sold Premier to ES&S in 2009,
             until antitrust issues forced ES&S to sell Premier, which then was acquired by
             Dominion). This map illustrates 2016 voting machine data—meaning, these
             data do not reflect geographic aggregation at the time of acquisition, but

 Ballot Marking Devices (BMDs) Cannot Assure the Will of the Voters, Andrew W. Appel,
16

Richard T. DeMello, University of California, Berkeley, 12/27/2019.
17
     https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems have-been-left-

exposed-online-despite-official-denials




                                                 52                                   Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.53
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 63Page
                                                                   of 1677
                                                                        53 of 75




           rather the machines that retain the Sequoia or Premier/Diebold brand that now
           fall under Dominion’s market share. (The Business of Voting, Penn Wharton,
           Caufield, p. 16).

      I.   Dominion entered into a 2009 contract with Smartmatic and provided
           Smartmatic with the PCOS machines (optical scanners) that were used in the
           2010 Philippine election, the biggest automated election run by a private
           company. The automation of that first election in the Philippines was hailed
           by the international community and by the critics of the automation. The
           results transmission reached 90% of votes four hours after polls closed and
           Filipinos knew for the first time who would be their new president on
           Election Day. In keeping with local Election law requirements, Smartmatic
           and Dominion were required to provide the source code of the voting
           machines prior to elections so that it could be independently verified.18

      J. In late December of 2019, three Democrat Senators, Warren, Klobuchar,
         Wyden and House Member Mark Pocan wrote about their ‘particularized
         concerns that secretive & “trouble -plagued companies”’ “have long skimped
         on security in favor of convenience,” in the context of how they described the
         voting machine systems that three large vendors – Election Systems &
         Software, Dominion Voting Systems, & Hart InterCivic – collectively provide
         voting machines & software that facilitate voting for over 90% of all eligible
         voters in the U.S.” (See Exh. __, attached copy of Senators’ letter).

      K. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting
         systems] are “yet another damning indictment of the profiteering election
         vendors, who care more about the bottom line than protecting our
         democracy.” It’s also an indictment, he said, “of the notion that important
         cybersecurity decisions should be left entirely to county election offices,
         many of whom do not employ a single cybersecurity specialist.” Vice. August
         2019.19

      148.    The expert witness in pending litigation in the United States District Court

of Georgia, _______, Harri Hursti, specifically testified to the acute security

vulnerabilities, among other facts, by declaration filed on August 24, 2020, (See Exhibit



 LONDON, ENGLAND / ACCESSWIRE / August 10, 2017, Voting Technology Companies
18


in the U.S. - Their Histories and Present Contributions
19
  https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-

have-been-left-exposed-online-despite-official-denials




                                           53                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.54
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 64Page
                                                                   of 1677
                                                                        54 of 75




“___” attached hereto) wherein he testified or found:

      A. “The scanner and tabulation software settings being employed to determine
         which votes to count on hand marked paper ballots are likely causing clearly
         intentioned votes to be counted” “The voting system is being operated in
         Fulton County in a manner that escalates the security risk to an extreme level”
         “Votes are not reviewing their BMD printed ballots, which causes BMD
         generated results to be un-auditable due to the untrustworthy audit trail.” 50%
         or more of voter selections in some counties were visible to poll workers.
         Dominion employees maintain near exclusive control over the EMS servers.
         “In my professional opinion, the role played by Dominion personnel in Fulton
         County, and other counties with similar arrangements, should be considered
         an elevated risk factor when evaluating the security risks of Georgia’s voting
         system.” See Paragraph 26 of Hursti Declaration.

      B. A video game download was found on one Georgia Dominion system laptop,
         suggesting that multiple Windows updates have been made on that respective
         computer.

      C. There is evidence of remote access and remote troubleshooting which
         presents a grave security implication.

      D. Certified identified vulnerabilities should be considered an “extreme security
         risk.”

      E. There is evidence of transfer of control the systems out of the physical
         perimeters and place control with a third party off site.

      F. USB drives with vote tally information were observed to be removed from the
         presence of poll watchers during a recent election.

      1.       Hursti stated within said Declaration:

      “The security risks outlined above – operating system risks, the failure to
      harden the computers, performing operations directly on the operating
      systems, lax control of memory cards, lack of procedures, and potential
      remote access are extreme and destroy the credibility of the tabulations
      and output of the reports coming from a voting system.” (See Paragraph
      49 of Hursti Declaration).

      149.   Rather than engaging in an open and transparent process to give credibility

to Michigan’s Dominion-Democracy Suite voting system, the processes were hidden

during the receipt, review, opening, and tabulation of those votes in direct contravention

of Michigan’s Election Code and Federal law.



                                           54                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.55
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 65Page
                                                                   of 1677
                                                                        55 of 75




       150.   Finally, an analysis of the Dominion software system by a former US Military

Intelligence expert concludes that the system and software have been accessible and were

certainly compromised by rogue actors, such as Iran and China. By using servers and employees

connected with rogue actors and hostile foreign influences combined with numerous easily

discoverable leaked credentials, Dominion neglectfully allowed foreign adversaries to access

data and intentionally provided access to their infrastructure in order to monitor and manipulate

elections, including the most recent one in 2020. See Exh. 105, Spider Declaration.

              4.      Dominion Connections to Smartmatic and Hostile Foreign
                      Governments and Domestic Groups Such as Antifa.

       151.   Plaintiffs can also show Smartmatic’s incorporation and inventors who

have backgrounds evidencing their foreign connections, including Serbia, specifically

its identified inventors:

       Applicant: SMARTMATIC, CORP.

       Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic, Jeffrey
       Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli, Gisela Goncalves,
       Yrem Caruso 20

       152.   Another Affiant witness testifies that in Venezuela, she was in official

position related to elections and witnessed manipulations of petitions to prevent a

removal of President Chavez and because she protested, she was summarily dismissed.

She explains the vulnerabilities of the electronic voting system and Smartmatica to such

manipulations. (See Exh. __, Anna Mercedes Diaz Cardozo).

       153.   Plaintiffs have also learned through several reports that in 2010 Eric

Coomer joined Dominion as Vice President of U.S. Engineering. According to his bio,



20https://patents.justia.com/assignee/smartmatic-corp



                                               55                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.56
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 66Page
                                                                   of 1677
                                                                        56 of 75




Coomer graduated from the University of California, Berkeley with a Ph.D. in Nuclear

Physics. Eric Coomer was later promoted to Voting Systems Officer of Strategy and

Security although Coomer has since been removed from the Dominion page of directors

after Joe Oltmann disclosed that as a reporter he infiltrated ANTIFA< a domestic

terrorist organization where he recorded Eric Coomer representing that “Don’t worry

Trump won’t win the election, we fixed that.” – as well as twitter posts with violence

threatened against President Trump. (See Joe Oltmann interview with Michelle Malkin

dated November 13, 2020 which contains copies of Eric Coomer’s recording and

tweets). 21

       154.    In sum, as set forth above, for a host of independent reasons, the Michigan

certified election results concluding that Joe Biden received 154,180 more votes that

President Donald Trump must be set aside.


                                             COUNT I

        Defendants Violated the Elections and Electors Clauses and 42 U.S.C. § 1983.

       155.    Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

       156.    The Electors Clause states that “[e]ach State shall appoint, in such Manner as the

Legislaturethereofmaydirect,aNumberofElectors”forPresident.U.S.Const.art.           II,     §1,   cl.   2

(emphasis added).Likewise, the Elections Clause of the U.S. Constitution states that “[t]he

Times,Places,andMannerofholdingElectionsforSenatorsandRepresentatives,shallbe prescribed in

each State by the Legislature thereof.” U.S. Const. art. I, §4, cl. 1 (emphasis added).

       157.    The Legislature is “‘the representative body which ma[kes] the laws of the

21
https://www.youtube.com/watch?v=dh1X4s9HuLo&fbclid=IwAR2EaJc1M9RT3DaUraAjsycM
0uPKB3uM_-MhH6SMeGrwNyJ3vNmlcTsHxF4



                                                 56                                         Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.57
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 67Page
                                                                   of 1677
                                                                        57 of 75




people.’” Smiley, 285 U.S. at 193.         Regulations of congressional and presidential

elections, thus, “must be in accordance with the method which the state has prescribed

for legislative enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

       158.      Defendantsare not part of the Michigan Legislature and cannot exercise

legislative power. Because the United States Constitution reserves for the Michigan

Legislature the power to set the time, place, and manner of holding elections for the

President and Congress, county boards of elections and state executive officers have no

authority to unilaterally exercise that power, much less to hold them in ways that

conflict with existing legislation. Defendants are not the legislature, and their unilateral

decision to deviate from the requirements of the Michigan Election Code violates the

Electors and Elections Clause of the United States Constitution.

       159.      Many affiants testified to Defendants’ failure to follow the requirements of

the Michigan Election Code, as enacted by the Michigan Legislature, MCL §§ 168.730-

738, relating to the rights of partisan election challengers to provide transparency and

accountability to ensure that all, and only, lawful ballots casts be counted, and that the

outcome of the election was honestly and fairly determined by eligible voters casting

legal ballots.     As detailed in Section II, many of these requirements were either

disregarded altogether or applied in a discriminatory manner to Republican poll

watchers.     Specifically, election officials violated Michigan’s Election Code by: (a)

disregarding or violating MCL § 168.730 and § 168.733 requiring election challengers

to have meaningful access to observe the counting and processing of ballots, see supra

Paragraphs 59-75; (b) wanton and widespread forgery and alteration, addition or




                                              57                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.58
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 68Page
                                                                   of 1677
                                                                        58 of 75




removal of votes, voters, or other information from ballots, the QVF or other voting

records, see supra Paragraphs 76-86; and (c) illegal double voting, counting ineligible

ballots, failure to check signatures or postmarks, and several other practices in clear

violation of the Michigan Election Code (and in some cases at the express direction of

supervisors or Wayne County officials). See supra Paragraphs 87-98.

       160.   Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted. Defendants

have acted and, unless enjoined, will act under color of state law to violate the Elections

Clause.

       161.   Accordingly, the results for President in the November 3, 2020 election

must be set aside.

                                          COUNT II

       Governor Whitmer, Secretary Benson and Other Defendants Violated
       TheFourteenth Amendment U.S. Const. Amend. XIV, 42 U.S.C. § 1983

                                Denial of Equal Protection

  Invalid Enactment of Regulations Affecting Observation and Monitoring of the
                                    Election

       162.   Plaintiffs refer to and incorporate by reference each of the prior paragraphs of this

Complaint as though the same were repeated at length herein.

       163.   The Fourteenth Amendment of the United States Constitution provides “nor shall

any state deprive any person of life, liberty, or property, without due process of law; nor

deny to any person within its jurisdiction the equal protection of the laws. See also Bush

v. Gore, 531 U.S. 98, 104 (2000)(having once granted the right to vote on equal terms,

the State may not, by later arbitrary and disparate treatment, value one person’s vote




                                               58                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.59
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 69Page
                                                                   of 1677
                                                                        59 of 75




over the value of another’s). Harper v. Virginia Board of Elections, 383 U.S. 663, 665

(1966) (“Once the franchise is granted to the electorate, lines may not be drawn which

are inconsistent with the Equal Protection Clause of the Fourteenth Amendment.”). The

Court has held that to ensure equal protection, a problem inheres in the absence of

specific standards to ensure its equal application. Bush, 531 U.S. at 106 (“The

formulation of uniform rules to determine intent based on these recurring circumstances

is practicable and, we conclude, necessary.”).

       164.   The equal enforcement of election laws is necessary to preserve our most

basic and fundamental rights.       The requirement of equal protection is particularly

stringently enforced as to laws that affect the exercise of fundamental rights, including

the right to vote.

       165.   In statewide and federal elections conducted in the State of Michigan,

including without limitation the November 3, 2020 General Election, all candidates,

political parties, and voters, including without limitation Plaintiffs, have a vested

interest in being present and having meaningful access to observe and monitor the

electoral process in each County to ensure that it is properly administered in every

election district and otherwise free, fair, and transparent.

       166.   Moreover, through its provisions involving watchers and representatives,

the Michigan Election Code ensures that all candidates and political parties in each

County, including the Trump Campaign, have meaningful access to observe and

monitor the electoral process to ensure that it is properly administered in every election

district and otherwise free, fair, and transparent. See, e.g.,MCL § 168.730

&§ 168.733(1). Further, the Michigan Election Code provides it is a felony punishable by




                                             59                                Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.60
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 70Page
                                                                   of 1677
                                                                        60 of 75




up to two years in state prison for any person to threaten or intimidate a challenger who is

performing any activity described in Michigan law. MCL § 168.734(4).    Defendants have a

duty to treat the voting citizens in each County in the same manner as the citizens in

other Counties in Michigan.

       167.   As set forth in Count I above, Defendants failed to comply with the

requirements of the Michigan Election Code and thereby diluted the lawful ballots of

the Plaintiffs and of other Michigan voters and electors in violation of the United States

Constitution guarantee of Equal Protection.

       168.   Specifically, Defendants denied the Trump Campaign equal protection of

the law and their equal rights to meaningful access to observe and monitor the electoral

process enjoyed by citizens in other Michigan Counties by: (a) denying Republican poll

challengers access to the TCF Center or physically removing them or locking them out

for pretextual reasons; (b) denied Republican poll watchers meaningful access to, or

even physically blocking their view of, ballot handling, processing, or counting; (c)

engaged in a systematic pattern of harassment, intimidation, verbal insult, and even

physical removal of Republican poll challengers; (d) systematically discriminated

against Republican poll watchers and in favor of Democratic poll watchers and activists

in enforcing rules (in particular, through abuse of “social distancing” requirements); (e)

ignored or refused to record Republican challenges to the violations set forth herein; (f)

refusing to permit Republican poll watchers to observe ballot duplication or to check if

duplication was accurate; (g) unlawfully coached voters to vote for Biden and other

democratic candidates, including at voting stations; and (h) colluded with other

Michigan State, Wayne County and City of Detroit employees (including police) and




                                            60                                   Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.61
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 71Page
                                                                   of 1677
                                                                        61 of 75




Democratic poll watchers and activists to engage in the foregoing violations.       See

generally supra Section II.A, Paragraphs 56-75.

      169.   Defendants further violated Michigan voters’ rights to equal protection

insofar as it allowed Wayne County and City of Detroit election workers to process and

count ballots in a manner that allowed ineligible ballots to be counted, including:

(a) fraudulently adding tens of thousands of new ballots and/or new voters to the QVF

in two separate batches on November 4, 2020, all or nearly all of which were votes for

Joe Biden; (b) systematically forging voter information and fraudulently adding new

voters to the QVF (in particular, where a voter’s name could not be found, assigning the

ballot to a random name already in the QVF to a person who had not voted and recorded

these new voters as having a birthdate of 1/1/1900); (c) fraudulently changing dates on

absentee ballots received after 8:00 PM Election Day deadline to indicate that such

ballots were received before the deadline; (d) changing Votes for Trump and other

Republican candidates; (e) adding votes to “undervote” ballots and removing votes from

“Over-Votes”; (f) permitting illegal double voting by persons that had voted by absentee

ballot and in person; (g) counting ineligible ballots – and in many cases – multiple

times; (h) counting ballots without signatures, or without attempting to match

signatures, and ballots without postmarks, pursuant to direct instructions from

Defendants; (i) counting “spoiled” ballots; (j) systematic violations of ballot secrecy

requirements; (k) accepting unsecured ballots arrived at the TCF Center loading garage,

not in sealed ballot boxes, without any chain of custody, and without envelopes, after

the 8:00 PM Election Day deadline; (l) accepting and counting ballots from deceased

voters; and (m) accepting and counting ballots collected from unattended remote drop




                                          61                                 Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.62
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 72Page
                                                                   of 1677
                                                                        62 of 75




boxes. See generally infra Section II.B. and II.C, Paragraphs 76-98.

       170.   Plaintiffs have obtained direct eyewitness testimony confirming that

certain of these unlawful practices were at the express direction of Wayne County

election officials. With respect to (a) and (b), Affiant Cushman testified that election

supervisor Miller informed him that the Wayne County Clerk’s office had expressly

instructed them to manually to enter thousands of ballots arriving around 9 PM on

November 4, 2020, from voters not in the QVF, and to manually enter these

unregistered voters in the QVF with the birthdate of 1/1/1900.             Exh. 3, GLJC

Complaint, Exh. D at¶¶ 14-17. With respect to (c), fraudulently back-dating absentee

ballots, City of Detroit election worker Affiant Jacob affirmed that she was instructed

by supervisors to “improperly pre-date the absentee ballots receive date … to falsely

show that absentee ballots had been received in time to be valid.” Id. Exh. B at ¶17.

With respect to (h) (accepting ballots without signatures or postmarks), affiants testified

that election workers did so at the express direction of Wayne County election officials.

See id. at ¶15.

       171.   Other Michigan county boards of elections provided watchers and

representatives of candidates and political parties, including without limitation watchers

and representatives of the Trump Campaign, with appropriate access to view the

absentee and mail-in ballots being pre-canvassed and canvassed by those county

election boards without the restrictions and discriminatory treatment outline

above.Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs

access to and/or obstructed actual observation and monitoring of the absentee and mail-

in ballots being pre-canvassed and canvassed by Defendants, depriving them of the




                                            62                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.63
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 73Page
                                                                   of 1677
                                                                        63 of 75




equal protection of those state laws enjoyed by citizens in other Counties.

      172.   Defendants have acted and will continue to act under color of state law to

violate Plaintiffs’ right to be present and have actual observation and access to the

electoral process as secured by the Equal Protection Clause of the United States

Constitution.Defendants thus failed to conduct the general election in a uniform manner

as required by the Equal Protection Clause of the Fourteenth Amendment, the corollary

provisions of the Michigan Constitution, and the Michigan Election Code.

      173.   Plaintiffs seek declaratory and injunctive relief requiring Secretary Benson

to direct that the Michigan Counties allow a reasonable number of challengers to

meaningfully observe the conduct of the Michigan Counties canvassers and board of

state canvassers and that these canvassing boards exercise their duty and authority under

Michigan law, which forbids certifying a tally that includes any ballots that were not

legally cast, or that were switched from Trump to Biden through the unlawful use of

Dominion Democracy Suite software and devices.

      174.   In addition, Plaintiffs ask this Court to order that no ballot processed by a

counting board in the Michigan Counties can be included in the final vote tally unless a

challenger was allowed to meaningfully observe the process and handling and counting

of the ballot, or that were unlawfully switched from Trump to Biden.

      175.   Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the declaratory and injunctive relief requested herein is granted.

Indeed, the setting aside of an election in which the people have chosen their

representative is a drastic remedy that should not be undertaken lightly, but instead

should be reserved for cases in which a person challenging an election has clearly




                                           63                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.64
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 74Page
                                                                   of 1677
                                                                        64 of 75




established a violation of election procedures and has demonstrated that the violation

has placed the result of the election in doubt. Michigan law allows elections to be

contested through litigation, both as a check on the integrity of the election process and

as a means of ensuring the fundamental right of citizens to vote and to have their votes

counted accurately.

      176.     In addition to the alternative requests for relief in the preceding

paragraphs, hereby restated, Plaintiffs seek a permanent injunction

requiring the Wayne County and other Michigan Election Boards to

invalidate ballots cast by: (1) any voter added to the QVF after the 8:00 PM

Election Day deadline; (3) any absentee or mail-in ballot received without a

signature or postmark; (4) any ballot cast by a voter who submitted a mail-

in ballot and voted in person; (5) any ballot cast by a voter not in the QVF

that was assigned the name of a voter in the QVF; (6) voters whose

signatures on their registrations have not been matched with ballot,

envelope and voter registration check; and (7) all “dead votes”.See generally

supra Section II.A-II.C.

                                           COUNT III

             Fourteenth Amendment, U.S. Const. Art. I § 4, cl. 1; Art. II, § 1, cl. 2;
                           Amend. XIV, 42 U.S.C. § 1983

                          Denial of Due Process On The Right to Vote

      177.     Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

      178.     The right of qualified citizens to vote in a state election involving federal




                                             64                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.65
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 75Page
                                                                   of 1677
                                                                        65 of 75




candidates is recognized as a fundamental right under the Fourteenth Amendment of the

United States Constitution. Harper, 383 U.S. at 665. See also Reynolds, 377 U.S. at

554 (The Fourteenth Amendment protects the “the right of all qualified citizens to vote,

in state as well as in federal elections.”).     Indeed, ever since the Slaughter-House

Cases,83 U.S. 36 (1873), the United States Supreme Court has held that the Privileges

or Immunities Clause of the Fourteenth Amendment protects certain rights of federal

citizenship from state interference, including the right of citizens to directly elect

members of Congress. SeeTwining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex

parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See alsoOregon v. Mitchell,400 U.S.

112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

       179.    The fundamental right to vote protected by the Fourteenth Amendment is

cherished in our nation because it “is preservative of other basic civil and political

rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a ballot in an election

free from the taint of intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211

(1992), and “[c]onfidence in the integrity of our electoral processes is essential to the

functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)

(percuriam).

       180.    “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots and have

them counted” if they are validly cast. United States v. Classic, 313 U.S. 299,315

(1941). “[T]he right to have the vote counted” means counted “at full value without

dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting South v. Peters, 339

U.S. 276, 279 (1950) (Douglas, J., dissenting)).




                                            65                                   Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.66
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 76Page
                                                                   of 1677
                                                                        66 of 75




       181.     “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right under the

Constitution to have his vote fairly counted, without its being distorted by fraudulently

cast votes.” Anderson v. United States, 417 U.S. 211, 227 (1974); see also Baker v.

Carr, 369 U.S. 186, 208 (1962). Invalid or fraudulent votes “debase[]” and “dilute” the

weight of each validly cast vote. See Anderson, 417 U.S. at 227.

       182.     The right to an honest [count] is a right possessed by each voting elector,

and to the extent that the importance of his vote is nullified, wholly or in part, he has

been injured in the free exercise of a right or privilege secured to him by the laws and

Constitution of the United States.” Anderson, 417 U.S. at 226 (quoting Prichard v.

United States, 181 F.2d 326, 331 (6th Cir.), aff'd due to absence of quorum, 339 U.S.

974 (1950)).

       183.     Practices that promote the casting of illegal or unreliable ballots or fail to

contain basic minimum guarantees against such conduct, can violate the Fourteenth

Amendment by leading to the dilution of validly cast ballots. See Reynolds, 377 U.S. at

555 (“[T]he right of suffrage can be denied by a debasement or dilution of the weight of

a citizen’s vote just as effectively as by wholly prohibiting the free exercise of the

franchise.”).

       184.     Section II of this Complaint and the exhibits attached hereto describe

widespread and systematic violations of the Michigan Election Code and/or the Equal

Protection Clause described, namely: (A) Section II.A, Republican poll challengers

were denied the opportunity to meaningfully observe the processing and counting of

ballots; (B) Section II.B, election workers forged, added, removed or otherwise altered




                                              66                                   Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.67
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 77Page
                                                                   of 1677
                                                                        67 of 75




information on ballots, the QFV and other voting records; and (C) Section II.C, several

other Michigan Election Code violations that caused or facilitated the counting of tens

of thousands of ineligible, illegal or duplicate ballots.

          185.   Plaintiffs seek declaratory and injunctive relief requiring Secretary Benson

to direct that Secretary Benson and Wayne County are enjoined from certifying the

results of the General Election, or in the alternative, conduct a recount or recanvas in

which they allow a reasonable number of challengers to meaningfully observe the

conduct of the Michigan Counties canvassers and board of state canvassers and that

these canvassing boards exercise their duty and authority under Michigan law, which

forbids certifying a tally that includes any ballots that were not legally cast, or that were

switched from Trump to Biden through the unlawful use of Dominion Democracy Suite

software and devices.

                                           COUNT IV

                                    Wide-SpreadBallot Fraud

          186.   Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

          187.   The "glitches" in the Dominion system -- that seem to have the uniform

effect of hurting Trump and helping Biden -- have been widely reported in the press and

confirmed by the analysis of independent experts. See generally supra Section IV.

          188.   And as evidenced by numerous sworn statements, Defendants egregious

misconduct has included ignoring legislative mandates concerning mail-in ballots– including the

mandate that mail-in ballots be post-marked on or before Election Day, and critically, preventing

Plaintiff’s poll watchers from observing the receipt, review, opening, and tabulation of mail-in

ballots. Those mail-in ballots are evaluated on an entirely parallel track to those ballots cast in

person.


                                                67                                     Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.68
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 78Page
                                                                   of 1677
                                                                        68 of 75




       189.    The right to vote includes not just the right to cast a ballot, but also the right to

have it fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or

diluted by a fraudulent or illegal vote, including without limitation when a single person votes

multiple times. The Supreme Court of the United States has made this clear in case after case.

See, e.g., Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the

diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196

(2008) (plurality op. of Stevens, J.) (“There is no question about the legitimacy or importance of

the State’s interest in counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377

U.S. 533, 554-55 & n.29 (1964).

       190.    The disparate treatment of Michigan voters, in subjecting one class of voters to

greater burdens or scrutiny than another, violates Equal Protection guarantees because “the right

of suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

effectively as by wholly prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at

555. Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown Grp.,

Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince v.

Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d 524, 536-37 (Utah 2002).

                                             COUNT V

                MICHIGAN STATUTORY ELECTION LAW VIOLATIONS

       191.    Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein

                                   Violation of MCL 168.765a.

       192.    Absent voter ballots must only be counted when “at all times” there is “at least 1

election inspector from each major political party.” MCL 168.765a.

       193.    Per eyewitness accounts described in this Complaint and its attached sworn


                                                 68                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.69
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 79Page
                                                                   of 1677
                                                                        69 of 75




affidavits, Defendants habitually and systematically disallowed election inspectors from the

Republican party, including Plaintiff, to be present in the voter counting place and refused

access to election inspectors from the Republican party, including Plaintiff, to be within a

closeenoughdistancefromtheabsentvoterballotstobeabletoseeforwhomtheballotswerecast.

See generally supra Section II.A., Paragraphs56-75.


       194.   Defendants refused entry to official election inspectors from the Republican

party, including Plaintiff, into the counting place to observe the counting of absentee voter

ballots. Defendants even physically blocked and obstructed election inspectors from the

Republicanparty,includingPlaintiff,byadheringlargepiecesofcardboardtothetransparent glass

doors so the counting of absent voter ballots was notviewable.

                                   Violation of MCL 168.733

       195.   MCL 168.733requires sets forth the procedures for election challengers and the

powers of election inspectors. See generally supra Paragraph 39.

       196.   Per eyewitness accounts described in this Complaint and its attached sworn

affidavits, Defendants habitually and systematically failed to provide space for election

inspectors from the Republican party, including Plaintiff, to observe election procedure,

failed to allow the inspection of poll books, failed to share the names of the electors being

entered in the poll books, failed to allow the examination of each ballot as it was being

counted, and failed to keep records of obvious and observedfraud.See generally supra

Section II.A., Paragraphs 56-75.

       197.   Pollchallengers,includingPlaintiff,observedelectionworkersandsupervisors

writing on ballots themselves to alter them, apparently manipulating spoiled ballots by hand

and then counting the ballots as valid, counting the same ballot more than once, adding




                                              69                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.70
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 80Page
                                                                   of 1677
                                                                        70 of 75




information to incomplete affidavits accompanying absentee ballots, counting absentee

ballots returned late, counting unvalidated and unreliable ballots, and counting the ballots of

“voters”whohadnorecordedbirthdatesandwerenotregisteredintheState’sQualifiedVoter               File

or on any Supplemental voterlists.

                          Violation of MCL 168.765(5) and 168.764a

       198.    Michigan election law, MCL 168.765(5), requires Defendants to post the

specific absentee voting information anytime an election is conducted which involves a state

or federal office, in particular, the number of absentee ballots distributed to absent voters.

       199.    Upon information and belief, Defendants failed to post by 8:00 a.m. on

Election Day the number of absentee ballots distributed to absent voters and failed to post

before 9:00 p.m. the number of absent voters returned before on Election Day.

       200.    Per Michigan Election law, all absentee voter ballots must be returned to the

clerk before polls close at 8pm. MCL 168.764a. Any absentee voter ballots received by the

clerk after the close of the polls on election day will not be counted.

       201.    Michigan allows for early counting of absentee votes prior to the closings of

the polls for large jurisdictions, such as the City of Detroit and Wayne County.

       202.    Upon information and belief, receiving tens of thousands additional absentee

ballots in the early morning hours after election day and after the counting of the absentee ballots

had concluded, without proper oversight, with tens of thousands of ballots attributed to just one

candidate, Joe Biden, indicates Defendants failed to follow proper electionprotocol.See generally

supra Section II.B.1, Paragraphs 77-78.

                                   Violation of MCL 168.730

       203.    MCL 168.730 sets forth the rights and requirements for election challengers.

MCL 168.734 provides, among other things:



                                                70                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.71
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 81Page
                                                                   of 1677
                                                                        71 of 75




          Any officer or election board who shall prevent the presence of any such
          challenger as above provided, or shall refuse or fail to provide such challenger
          with conveniences for the performance of the duties expectedof
          him,shall,uponconviction,bepunishedbyafinenotexceeding$1,000.00, or by
          imprisonment in the state prison not exceeding 2 years, or by both such fine
          and imprisonment in the discretion of thecourt.

       204.    WayneCounty’sandSecretaryBenson’sdenialofRepublicanchallengers’

righttoparticipateandobservetheprocessingofballotsviolatesMichigan’sElectionCodeand resulting

in the casting and counting of ballots that were ineligible to be counted and diluted or canceled

out the lawfully cast ballots of other Michigan voters.

       205.    Further, Secretary of State Benson and the election officials in Wayne County

violatedMCL168.730-168.734bydenyingRepublicanchallengers’rightstomeaningfully                observe

and participate in the ballot processing and countingprocess.

       206.    Based upon the above allegations of fraud, statutory violations, and other

misconduct, as stated herein and in the attached affidavits, it is necessary to order appropriate

relief,including,butnotlimitedto,enjoiningthecertificationoftheelectionresultspendingafull

investigation and court hearing, ordering a recount of the election results, or voiding the election

and        ordering        a        new         election,        to        remedy         thefraud.




                                                71                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.72
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 82Page
                                                                   of 1677
                                                                        72 of 75




                                     PRAYER FOR RELIEF


       207.    Accordingly, Plaintiffs seek an emergency order instructing Defendants to de-

certify the results of the General Election for the Office of President.

       208.    Alternatively, Plaintiffs seek an order instructing the Defendants to certify the

results of the General Election for Office of the President in favor of President Donald Trump.

       209.    In the alternative, Plaintiffs seek an emergency order prohibiting Defendants from

including in any certified results from the General Election the tabulation of absentee and

mailing ballots which do not comply with the Michigan Election Code, including, without

limitation, the tabulation of absentee and mail-in ballots Trump Campaign’s watchers were

prevented from observing or based on the tabulation of invalidly cast absentee and mail-in

ballots which (i) lack a secrecy envelope, or contain on that envelope any text, mark, or symbol

which reveals the elector’s identity, political affiliation, or candidate preference, (ii) do not

include on the outside envelope a completed declaration that is dated and signed by the elector,

(iii) are delivered in-person by third parties for non-disabled voters, or (iv) any of the other

Michigan Election Code violations set forth in Section II of this Complaint.

       210.    Order production of all registration data, ballots, envelopes, etc. required to be

maintained by law. When we consider the harm of these uncounted votes, and ballots not ordered

by the voters themselves, and the potential that many of these unordered ballots may in fact have

been improperly voted and also prevented proper voting at the polls, the mail ballot system has

clearly failed in the state of Michigan and did so on a large scale and widespread basis. The size

of the voting failures, whether accidental or intentional, are multiples larger than the margin in

the state. For these reasons, Michigan cannot reasonably rely on the results of the mail
                                                 72


                                                                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.73
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 83Page
                                                                   of 1677
                                                                        73 of 75




vote.Relief sought is the elimination of the mail ballots from counting in the 2020 election.

Alternatively, the electors for the State of Michigan should be disqualified from counting toward

the 2020 election. Alternatively, the electors of the State of Michigan should be directed to vote

for President Donald Trump.

       211.    For these reasons, Plaintiffs ask this Court to enter a judgment in their favor and

provide the following emergency relief:


       1. An order directing Secretary Benson, Governor Whitmer, the Board of State

           Canvassers and Wayne County to de-certify the election results;


       2. An order enjoining Secretary Benson and Governor Whitmer from transmitting the

           currently certified election results to the Electoral College;


       3. An order requiring Governor Whitmer to transmit certified election results that state

           that President Donald Trump is the winner of the election;


       4. An immediate order to impound all the voting machines and software in Michigan for

           expert inspection by the Plaintiffs.


       5. An order that no votes received or tabulated by machines that were not certified as

           required by federal and state law be counted.


       6. A declaratory judgment declaring that Michigan’s failed system of signature

           verification violates the Electors and Elections Clause by working a de facto abolition

           of the signature verification requirement;




                                                  73


                                                                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.74
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 84Page
                                                                   of 1677
                                                                        74 of 75




      7. A declaratory judgment declaring that current certified election results violatesthe

         Due Process Clause, U.S. CONST. Amend. XIV;


      8. A declaratory judgment declaring that mail-in and absentee ballot fraud must be

         remedied with a Full Manual Recount or statistically valid sampling that properly

         verifies the signatures on absentee ballot envelopes and thatinvalidates the certified

         results if the recount or sampling analysis shows a sufficient number of ineligible

         absentee ballots were counted;


      9. An emergency declaratory judgment that voting machines be Seized and Impounded

         immediately for a forensic audit—by Plaintiffs’ expects;


      10. A declaratory judgment declaring absentee ballot fraud occurred in violation of

         Constitutional rights, Election laws and under state law;


      11. A permanent injunction prohibiting the Governor and Secretary of State from

         transmitting the currently certified results to the Electoral College based on the

         overwhelming evidence of election tampering;


      12. Immediate production of 48 hours of security camera recording of all rooms used in

         the voting process at the TCF Center for November 3 and November 4.


      13. Plaintiffs further request the Court grant such other relief as is just and proper,

         including but not limited to, the costs of this action and their reasonable attorney fees

         and expenses pursuant to 42 U.S.C. 1988.




                                              74


                                                                                      Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 1,35-2
                                      PageID.75
                                          Filed 05/03/21
                                                  Filed 11/25/20
                                                           Page 85Page
                                                                   of 1677
                                                                        75 of 75




Respectfully submitted, this 25th day of November, 2020.

/s Sidney Powell*                                          /s/ Scott Hagerstrom
Sidney Powell PC                                           Michigan State Bar No. 57885
                                                           222 West Genesee
Texas Bar No. 16209700                                     Lansing, MI 48933
                                                           (517) 763-7499
                                                           Scotthagerstrom @yahoo.com

                                                  /s/ Gregory J. Rohl P39185
                                                  The Law Offices of Gregory J. Rohl, P.C.
                                                  41850 West 11 Mile Road, Suite 110
                                                  Novi, MI 48375
                                                  248-380-9404
                                                  gregoryrohl@yahoo.com
Of Counsel:
Emily P. Newman (Virginia Bar No. 84265)
Julia Z. Haller (D.C. Bar No. 466921)

2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
Forthcoming


L. Lin Wood
GA Bar No. 774588
L. LIN WOOD, P.C.
P.O. Box 52584
Atlanta, GA 30305-0584
Telephone: (404) 891-1402


Howard Kleinhendler
New York Bar No. 2657120
Howard Kleinhendler Esquire
369 Lexington Avenue, 12th Floor
New York, New York 10017
(917) 793-1188
howard@kleinhendler.com
                                             75


                                                                                  Exhibit A
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.872
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 86 Page
                                                                  of 1677
                                                                        1 of 86




                    IN THE UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF MICHIGAN



TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES                    CASE NO. 20-cv-13134
DAVID HOOPER, and DAREN WADE
RUBINGH,

      Plaintiffs.
v.

GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State and the Michigan BOARD OF STATE
CANVASSERS.

      Defendants.




     FIRST AMENDED COMPLAINT FOR DECLARATORY, EMERGENCY, AND
                    PERMANENT INJUNCTIVE RELIEF




                                             1                          Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.873
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 87 Page
                                                                  of 1677
                                                                        2 of 86




                                  NATURE OF THE ACTION

        1.     This civil action brings to light a massive election fraud, multiple violations of the

Michigan Election Code, see, e.g., MCL §§ 168.730-738, in addition to the Election and Electors

Clauses and Equal Protection Clause of the U.S. Constitution. These violations occurred during

the 2020 General Election throughout the State of Michigan, as set forth in the affidavits of

dozens of eyewitnesses and the statistical anomalies and mathematical impossibilities detailed in

the affidavits of expert witnesses.

        2.      The scheme and artifice to defraud was for the purpose of illegally and

fraudulently manipulating the vote count to elect Joe Biden as President of the United States.

The fraud was executed through a wide-ranging interstate - and international - collaboration

involving multiple public and private actors, 1 but at bottom it was a 21st Century adaptation of

19th Century “ballot-stuffing” for the Internet age, amplified and rendered virtually invisible by

computer software created and run by domestic and foreign actors for that very purpose.

Mathematical and statistical anomalies rising to the level of impossibilities, as shown by

affidavits of multiple witnesses, documentation, and expert testimony evince this scheme across

the state of Michigan. This Complaint details an especially egregious range of conduct in Wayne

County and the City of Detroit, though this conduct occurred throughout the State at the direction

of Michigan state election officials in collaboration with Democratic election challengers and

activists.

        3.     The multifaceted schemes and artifices implemented by Defendants and their



1
  The same pattern of election fraud and voter fraud writ large occurred in all the swing states
with only minor variations in Michigan, Pennsylvania, Arizona and Wisconsin. See Ex. 101,
William M. Briggs, Ph.D. “An Analysis Regarding Absentee Ballots Across Several States”
(Nov. 23, 2020) (“Dr. Briggs Report”).



                                                 2                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.874
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 88 Page
                                                                  of 1677
                                                                        3 of 86




collaborators to defraud resulted in the unlawful counting, or fabrication, of hundreds of

thousands of illegal, ineligible, duplicate or purely fictitious ballots in the State of Michigan, that

collectively add up to multiples of Biden’s purported lead in the State of 154,188 votes. While

this Complaint, and the eyewitness and expert testimony incorporated herein, identify with

specificity sufficient ballots required to set aside the 2020 General Election results, the entire

process is so riddled with fraud, illegality, and statistical impossibility that this Court, and

Michigan’s voters, courts, and legislators, cannot rely on, or certify, any numbers resulting from

this election. Accordingly, this Court must set aside the results of the 2020 General Election,

and grant the declaratory and injunctive relief requested herein.

        Dominion Voting Systems Fraud and Manipulation

        4.      The fraud begins with the election software and hardware from Dominion Voting

Systems Corporation (“Dominion”) used by the Michigan Board of State Canvassers. The

Dominion systems derive from the software designed by Smartmatic Corporation, which became

Sequoia in the United States.

        5.      Smartmatic and Dominion were founded by foreign oligarchs and dictators to

ensure computerized ballot-stuffing and vote manipulation to whatever level was needed to make

certain Venezuelan dictator Hugo Chavez never lost another election. See Ex. 1, Redacted

Declaration of Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”).

Notably, Chavez “won” every election thereafter.

        6.      As set forth in the Dominion Whistleblower Report, the Smartmatic software was

contrived through a criminal conspiracy to manipulate Venezuelan elections in favor of dictator

Hugo Chavez:

        Importantly, I was a direct witness to the creation and operation of an electronic
        voting system in a conspiracy between a company known as Smartmatic and the



                                                   3                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.875
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 89 Page
                                                                  of 1677
                                                                        4 of 86




       leaders of conspiracy with the Venezuelan government. This conspiracy
       specifically involved President Hugo Chavez Frias, the person in charge of the
       National Electoral Council named Jorge Rodriguez, and principals,
       representatives, and personnel from Smartmatic. The purpose of this conspiracy
       was to create and operate a voting system that could change the votes in elections
       from votes against persons running the Venezuelan government to votes in their
       favor in order to maintain control of the government. In mid-February of 2009,
       there was a national referendum to change the Constitution of Venezuela to end
       term limits for elected officials, including the President of Venezuela. The
       referendum passed. This permitted Hugo Chavez to be re-elected an unlimited
       number of times. . . .

       Smartmatic’s electoral technology was called “Sistema de Gestión Electoral” (the
       “Electoral Management System”). Smartmatic was a pioneer in this area of
       computing systems. Their system provided for transmission of voting data over
       the internet to a computerized central tabulating center. The voting machines
       themselves had a digital display, fingerprint recognition feature to identify the
       voter, and printed out the voter’s ballot. The voter’s thumbprint was linked to a
       computerized record of that voter’s identity. Smartmatic created and operated the
       entire system. Id. ¶¶ 10 & 14.

       7.       A core requirement of the Smartmatic software design ultimately adopted by

Dominion for Michigan’s elections was the software’s ability to hide its manipulation of votes

from any audit. As the whistleblower explains:

       Chavez was most insistent that Smartmatic design the system in a way that the
       system could change the vote of each voter without being detected. He wanted the
       software itself to function in such a manner that if the voter were to place their
       thumb print or fingerprint on a scanner, then the thumbprint would be tied to a
       record of the voter’s name and identity as having voted, but that voter would not
       be tracked to the changed vote. He made it clear that the system would have to be
       setup to not leave any evidence of the changed vote for a specific voter and that
       there would be no evidence to show and nothing to contradict that the name or the
       fingerprint or thumb print was going with a changed vote. Smartmatic agreed to
       create such a system and produced the software and hardware that accomplished
       that result for President Chavez. Id. ¶15.

       8.      The design and features of the Dominion software do not permit a simple audit to

reveal its misallocation, redistribution, or deletion of votes. First, the system's central

accumulator does not include a protected real-time audit log that maintains the date and time

stamps of all significant election events. Key components of the system utilize unprotected logs.




                                                   4                                          Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.876
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 90 Page
                                                                  of 1677
                                                                        5 of 86




Essentially this allows an unauthorized user the opportunity to arbitrarily add, modify, or remove

log entries, causing the machine to log election events that do not reflect actual voting

tabulations—or more specifically, do not reflect the actual votes of or the will of the people. See

Ex. 107, August 24, 2020 Declaration of Harri Hursti, ¶¶45-48.

       9.      Indeed, under the professional standards within the industry in auditing and

forensic analysis, when a log is unprotected, and can be altered, it can no longer serve the

purpose of an audit log. There is incontrovertible physical evidence that the standards of

physical security of the voting machines and the software were breached, and machines were

connected to the internet in violation of professional standards, which violates federal election

law on the preservation of evidence.

       10.      In deciding to award Dominion a $25 million, ten-year contract (to a Dominion

project team led by Kelly Garrett, former Deputy Director of the Michigan Democratic Party),

and then certifying Dominion software, Michigan officials disregarded all the concerns that

caused Dominion software to be rejected by the Texas Board of elections in 2020 because it was

deemed vulnerable to undetected and non-auditable manipulation. 2 An industry expert, Dr.

Andrew Appel, Princeton Professor of Computer Science and Election Security Expert has

recently observed, with reference to Dominion Voting machines: "I figured out how to make a

slightly different computer program that just before the polls were closed, it switches some votes

around from one candidate to another. I wrote that computer program into a memory chip and

now to hack a voting machine you just need 7 minutes alone with it a screwdriver." 3


2
  See Ex. 8, State of Michigan Enterprise Procurement, Dept. of Technology, Management and
Budget Contract No. 071B7700117, between State of Michigan and Dominion Voting Systems
(“Dominion Michigan Contract”). See also Ex. 9 (Texas Secretary of State decision).
3
 Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot Assure the Will of the
Voters” at (Dec. 27, 2019), attached hereto as Exhibit 2 (“Appel Study”).


                                                 5                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.877
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 91 Page
                                                                  of 1677
                                                                        6 of 86




       11.     Plaintiff’s expert witness, Russell James Ramsland, Jr. (Exh. 101, “Ramsland

Affidavit”), has concluded that Dominion alone is responsible for the injection, or fabrication, of

289,866 illegal votes in Michigan, that must be disregarded. This is almost twice the number of

Mr. Biden’s purported lead in the Michigan vote (without consideration of the additional illegal,

ineligible, duplicate or fictitious votes due to the unlawful conduct outlined below), and thus by

itself is grounds to set aside the 2020 General Election and grant the declaratory and injunctive

relief requested herein.

       12.     In addition to the Dominion computer fraud, this Complaint identifies several

additional categories of “traditional” voting fraud and Michigan Election Code violations,

supplemented by healthy doses of harassment, intimidation, discrimination, abuse and even

physical removal of Republican poll challengers to eliminate any semblance of transparency,

objectivity or fairness from the vote counting process. While this illegal conduct by election

workers and state, county and city employees in concert with Dominion, even if considered in

isolation, the following three categories of systematic violations of the Michigan Election Code

cast significant doubt on the results of the election and mandate this Court to set aside the 2020

General Election and grant the declaratory and injunctive relief requested herein.

       Fact Witness Testimony of Voting Fraud & Other Illegal Conduct

       13.     There were three broad categories of illegal conduct by election workers in

collaboration with other employee state, county and/or city employees and Democratic poll

watchers and activists. First, to facilitate and cover-up the voting fraud and counting of

fraudulent, illegal or ineligible voters, election workers:

       A.      Denied Republican election challengers access to the TCF Center, where all
               Wayne County, Michigan ballots were processed and counted;

       B.      Denied Republican poll watchers at the TCF Center meaningful access to view
               ballot handling, processing, or counting and locked credentialed challengers out


                                                  6                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.878
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 92 Page
                                                                  of 1677
                                                                        7 of 86




              of the counting room so they could not observe the process, during which time
              tens of thousands of ballots were processed;

       C.     Engaged in a systematic pattern of harassment, intimidation and even physical
              removal of Republican election challengers or locking them out of the TCF
              Center;

       D.     Systematically discriminated against Republican poll watchers and favored
              Democratic poll watchers;

       E.     Ignored or refused to record Republican challenges to the violations outlined
              herein;

       F.     Refused to permit Republican poll challengers to observe ballot duplication and
              other instances where they allowed ballots to be duplicated by hand without
              allowing poll challengers to check if the duplication was accurate 4;

       G.     Unlawfully coached voters to vote for Joe Biden and to vote a straight Democrat
              ballot, including by going over to the voting booths with voters in order to watch
              them vote and coach them for whom to vote;

       H.     As a result of the above, Democratic election challengers outnumbered
              Republicans by 2:1 or 3:1 (or sometimes 2:0 at voting machines); and

       I.     Collaborated with Michigan State, Wayne County and/or City of Detroit
              employees (including police) in the above unlawful and discriminatory behavior.

       14.    Second, election workers illegally forged, added, removed or otherwise altered

information on ballots, the Qualified Voter File (QVF) and Other Voting Records, including:

       A.     Fraudulently adding “tens of thousands” of new ballots and/or new voters to QVF
              in two separate batches on November 4, 2020, all or nearly all of which were
              votes for Joe Biden;

       B.     Forging voter information and fraudulently adding new voters to the QVF Voters,
              in particular, e.g., when a voter’s name could not be found, the election worker
              assigned the ballot to a random name already in the QVF to a person who had not
              voted and recorded these new voters as having a birthdate of 1/1/1900;

       C.     Changing dates on absentee ballots received after 8:00 PM Election Day deadline


4
 On October 29, 2020 the State of Michigan in the Court of Claims, Detroit, Hon. Cynthia D.
Stephens entered a Stipulated Order that related to guidance for Observers, which made clear
that Observers were to be in closer proximity to election workers to have a challenge heard.
Otherwise they should remain 6 feet apart. (See Case No. Case No. 20-000211-MZ)



                                               7                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.879
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 93 Page
                                                                  of 1677
                                                                        8 of 86




               to indicate that such ballots were received before the deadline;

       D.      Changing Votes for Trump and other Republican candidates; and

       E.      Added votes to “undervote” ballots and removing votes from “Over-Votes”.

       15.     Third, election workers committed several additional categories of violations of

the Michigan Election Code to enable them to accept and count other illegal, ineligible or

duplicate ballots, or reject Trump or Republican ballots, including:

       A.      Permitting illegal double voting by persons that had voted by absentee ballot and
               in person;

       B.      Counting ineligible ballots – and in many cases – multiple times;

       C.      Counting ballots without signatures, or without attempting to match signatures,
               and ballots without postmarks, pursuant to direct instructions from Defendants;

       D.      Counting “spoiled” ballots;

       E.      Systematic violations of ballot secrecy requirements;

       F.      Unsecured ballots arrived at the TCF Center loading garage, not in sealed ballot
               boxes, without any chain of custody, and without envelopes, after the 8:00 PM
               Election Day deadline, in particular, the tens of thousands of ballots that arrived
               on November 4, 2020; and

       G.      Accepting and counting ballots from deceased voters.

       Expert Witness Testimony Regarding Voting Fraud

       16.     In addition to the above fact witnesses, this Complaint presents expert witness

testimony demonstrating that several hundred thousand illegal, ineligible, duplicate or purely

fictitious votes must be thrown out, in particular:

       A. A report from Russell Ramsland, Jr. showing the “physical impossibility” of nearly
          385,000 votes injected by four precincts/township on November 4, 2020, that resulted
          in the counting of nearly 290,000 more ballots processed than available capacity
          (which is based on statistical analysis that is independent of his analysis of
          Dominion’s flaws), a result which he determined to be “physically impossible” (see
          Ex. 104 ¶14);

       B. A report from Dr. Louis Bouchard finding to be “statistically impossible” the widely
          reported “jump” in Biden’s vote tally of 141,257 votes during a single time interval



                                                  8                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.880
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 94 Page
                                                                  of 1677
                                                                        9 of 86




             (11:31:48 on November 4), see Ex. 110 at 28);

       C. A report from Dr. William Briggs, showing that there were approximately 60,000
          absentee ballots listed as “unreturned” by voters that either never requested them, or
          that requested and returned their ballots. (See Ex. 101);

       D. A report from Dr. Eric Quinell analyzing the anomalous turnout figures in Wayne and
          Oakland Counties showing that Biden gained nearly 100% and frequently more than
          100% of all “new” voters in certain townships/precincts over 2016, and thus indicated
          that nearly 87,000 anomalous and likely fraudulent votes came from these precincts.
          (See Ex. 102);

       E. A report from Dr. Stanley Young that looked at the entire State of Michigan and
          identified nine “outlier” counties that had both significantly increased turnout in 2020
          vs. 2016 almost all of which went to Biden totaling over 190,000 suspect “excess”
          Biden votes (whereas turnout in Michigan’s 74 other counties was flat). (See Ex.
          110);

       F. A report from Robert Wilgus analyzing the absentee ballot data that identified a
          number of significant anomalies, in particular, 224,525 absentee ballot applications
          that were both sent and returned on the same day, 288,783 absentee ballots that were
          sent and returned on the same day, and 78,312 that had the same date for all (i.e., the
          absentee application was sent/returned on same day as the absentee ballot itself was
          sent/returned), as well as an additional 217,271 ballots for which there was no return
          date (i.e., consistent with eyewitness testimony described in Section II below). (See
          Ex. 110);

       G. A report from Thomas Davis showing that in 2020 for larger Michigan counties like
          Monroe and Oakland Counties, that not only was there a higher percentage of
          Democrat than Republican absentee voters in every single one of hundreds of
          precinct, but that the Democrat advantage (i.e., the difference in the percentage of
          Democrat vs. Republican absentee voter) was consistent (+25%-30%) and the
          differences were highly correlated, whereas in 2016 the differences were
          uncorrelated. (See Ex. 110); and

       H. A report by an affiant whose name must be redacted to protect his safety who
          concludes that “the results of the analysis and the pattern seen in the included graph
          strongly suggest a systemic, system-wide algorithm was enacted by an outside agent,
          causing the results of Michigan’s vote tallies to be inflated by somewhere between
          three and five point six percentage points. Statistical estimating yields that in
          Michigan, the best estimate of the number of impacted votes is 162,400. However, a
          95% confidence interval calculation yields that as many as 276,080 votes may have
          been impacted.” (See Ex. 111 ¶13).

       17.      As explained and demonstrated in the accompanying redacted declaration of a

former electronic intelligence analyst with 305th Military Intelligence with experience gathering



                                                9                                     Exhibit B
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.881
                                            Filed 05/03/21
                                                    Filed 11/29/20
                                                            Page 95Page
                                                                    of 1677
                                                                         10 of 86




SAM missile system electronic intelligence, the Dominion software was accessed by agents

acting on behalf of China and Iran in order to monitor and manipulate elections, including the

most recent US general election in 2020. (See Attached hereto as Ex. 105, copy of redacted

witness affidavit, November 23, 2020).

         18.    These and other “irregularities” provide this Court grounds to set aside the results

of the 2020 General Election and provide the declaratory and injunctive relief requested herein.


                                  JURISDICTION AND VENUE

         19.    This Court has subject matter under 28 U.S.C. § 1331 which provides, “The

district courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States.”

         20.    This Court also has subject matter jurisdiction under 28 U.S.C. § 1343 because

this action involves a federal election for President of the United States. “A significant departure

from the legislative scheme for appointing Presidential electors presents a federal constitutional

question.” Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm,

285 U.S. 355, 365 (1932).

         21.    The jurisdiction of the Court to grant declaratory relief is conferred by 28 U.S.C.

§§ 2201 and 2202 and by Rule 57, Fed. R. Civ. P.

         22.    This Court has jurisdiction over the related Michigan constitutional claims and

state-law claims under 28 U.S.C. § 1367. Venue is proper because a substantial part of the

events or omissions giving rise to the claim occurred in the Eastern District. 28 U.S.C. § 1391(b)

& (c).

         23.    Because the United States Constitution reserves for state legislatures the power to

set the time, place, and manner of holding elections for Congress and the President, state




                                                  10                                       Exhibit B
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.882
                                            Filed 05/03/21
                                                    Filed 11/29/20
                                                            Page 96Page
                                                                    of 1677
                                                                         11 of 86




executive officers, including but not limited to Secretary Benson, have no authority to

unilaterally exercise that power, much less flout existing legislation.

                                           THE PARTIES

        24.     Each of the following Plaintiffs are registered Michigan voters and nominees of

the Republican Party to be a Presidential Elector on behalf of the State of Michigan: Timothy

King, a resident of Washtenaw County, Michigan; Marian Ellen Sheridan, a resident of Oakland

County, Michigan; and, John Earl Haggard, a resident of Charlevoix, Michigan;

        25.     Each of these Plaintiffs has standing to bring this action as voters and as

candidates for the office of Elector under MCL §§ 168.42 & 168.43 (election procedures for

Michigan electors). As such, Presidential Electors “have a cognizable interest in ensuring that

the final vote tally reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a

concrete and particularized injury to candidates such as the Electors.” Carson v. Simon, 978

F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential Electors have Article III and

prudential standing to challenge actions of Secretary of State in implementing or modifying State

election laws); see also McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty.

Canvassing Bd., 531 U.S. 70, 76 (2000) (per curiam). Each brings this action to set aside and

decertify the election results for the Office of President of the United States that were certified by

the Michigan Secretary of State on November 23, 2020. The certified results showed a plurality

of 154,188 votes in favor of former Vice-President Joe Biden over President Trump.

        26.     Plaintiff James Ritchard is a registered voter residing in Oceana County. He is

the Republican Party Chairman of Oceana County.

        27.     Plaintiff James David Hooper is a registered voter residing in Wayne County. He

is the Republican Party Chairman for the Wayne County Eleventh District.

        28.     Plaintiff Daren Wade Ribingh is a registered voter residing in Antrim County. He


                                                   11                                        Exhibit B
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.883
                                            Filed 05/03/21
                                                    Filed 11/29/20
                                                            Page 97Page
                                                                    of 1677
                                                                         12 of 86




is the Republican Party Chairman of Antrim County.

       29.     Defendant Gretchen Whitmer (Governor of Michigan) is named herein in her

official capacity as Governor of the State of Michigan.

       30.     Defendant Jocelyn Benson (“Secretary Benson”) is named as a defendant in her

official capacity as Michigan’s Secretary of State. Jocelyn Benson is the “chief elections

officer” responsible for overseeing the conduct of Michigan elections. MCL § 168.21 (“The

secretary of state shall be the chief election officer of the state and shall have supervisory

control over local election officials in the performance of their duties under the provisions of

this act.”); MCL § 168.31(1)(a) (the “Secretary of State shall … issue instructions and

promulgate rules … for the conduct of elections and registrations in accordance with the laws of

this state”). Local election officials must follow Secretary Benson’s instructions regarding the

conduct of elections. Michigan law provides that Secretary Benson “[a]dvise and direct local

election officials as to the proper methods of conducting elections.” MCL § 168.31(1)(b). See

also Hare v. Berrien Co Bd. of Election, 129 N.W.2d 864 (Mich. 1964); Davis v. Secretary of

State, 2020 Mich. App. LEXIS 6128, at *9 (Mich. Ct. App. Sep. 16, 2020). Secretary Benson is

responsible for assuring Michigan’s local election officials conduct elections in a fair, just, and

lawful manner. See MCL 168.21; 168.31; 168.32. See also League of Women Voters of

Michigan v. Secretary of State, 2020 Mich. App. LEXIS 709, *3 (Mich. Ct. App. Jan. 27,

2020); Citizens Protecting Michigan's Constitution v. Secretary of State, 922 N.W.2d 404

(Mich. Ct. App. 2018), aff’d 921 N.W.2d 247 (Mich. 2018); Fitzpatrick v. Secretary of State,

440 N.W.2d 45 (Mich. Ct. App. 1989).

       31.     Defendant Michigan Board of State Canvassers is “responsible for approv[ing]

voting equipment for use in the state, certify[ing] the result of elections held statewide ….”



                                                  12                                      Exhibit B
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.884
                                            Filed 05/03/21
                                                    Filed 11/29/20
                                                            Page 98Page
                                                                    of 1677
                                                                         13 of 86




Michigan Election Officials’ Manual, p. 4. See also MCL 168.841, et seq. On November 23,

2020, the Board of State Canvassers certified the results of the 2020 election finding that Joe

Biden had received 154,188 more votes than President Donald Trump.


                                   STATEMENT OF FACTS

       32.     Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and under MCL

168.861, to remedy deprivations of rights, privileges, or immunities secured by the Constitution

and laws of the United States and to contest the election results, and the corollary under the

Michigan Constitution.

       33.     The United States Constitution sets forth the authority to regulate federal

elections. With respect to congressional elections, the Constitution provides.

       34.     The Times, Places and Manner of holding Elections for Senators and

Representatives, shall be prescribed in each State by the Legislature thereof; but the Congress

may at any time by Law make or alter such Regulations, except as to the Places of choosing

Senators. U.S. CONST. art. I, § 4 (“Elections Clause”).

       35.     With respect to the appointment of presidential electors, the Constitution

provides: Each State shall appoint, in such Manner as the Legislature thereof may direct, a

Number of Electors, equal to the whole Number of Senators and Representatives to which the

State may be entitled in the Congress: but no Senator or Representative, or Person holding an

Office of Trust or Profit under the United States, shall be appointed an Elector. U.S. CONST.

art. II, § 1 (“Electors Clause”). Under the Michigan Election Code, the Electors of the President

and Vice President for the State of Michigan are elected by each political party at their state

convention in each Presidential election year. See MCL §§ 168.42 & 168.43.

       36.     Neither Defendant is a “Legislature” as required under the Elections Clause or




                                                 13                                      Exhibit B
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.885
                                            Filed 05/03/21
                                                    Filed 11/29/20
                                                            Page 99Page
                                                                    of 1677
                                                                         14 of 86




Electors Clause. The Legislature is “‘the representative body which ma[kes] the laws of the

people.’” Smiley, 285 U.S. 365. Regulations of congressional and presidential elections, thus,

“must be in accordance with the method which the state has prescribed for legislative

enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,

576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

        37.     While the Elections Clause "was not adopted to diminish a State's authority to

determine its own lawmaking processes," Ariz. State Legislature, 135 S. Ct. at 2677, it does

hold states accountable to their chosen processes when it comes to regulating federal

elections, id. at 2668. "A significant departure from the legislative scheme for appointing

Presidential electors presents a federal constitutional question." Bush, 531 U.S. at 113

(Rehnquist, C.J., concurring); Smiley, 285 U.S. at 365.

        38.     Plaintiffs bring this action to vindicate their constitutional rights to a free and fair

election ensuring the accuracy and integrity of the process pursuant to the Michigan Constitution,

art. 2, sec. 4, par. 1(h), which states all Michigan citizens have:

        The right to have the results of statewide elections audited, in such a manner as
        prescribed by law, to ensure the accuracy and integrity of elections.

        39.     The Mich. Const., art. 2, sec. 4, further states, “All rights set forth in this

subsection shall be self-executing. This subsection shall be liberally construed in favor of voters'

rights in order to effectuate its purposes.”

        40.     Based upon all the allegations of fraud, statutory violations, and other misconduct,

as stated herein and in the attached affidavits, it is necessary to enjoin the certification of the

election results pending a full investigation and court hearing, and to order an independent audit

of the November 3, 2020 election to ensure the accuracy and integrity of the election.




                                                   14                                         Exhibit B
 CaseCase
     2:20-cv-13134-LVP-RSW
          1:21-cv-01169-TCB Document
                            ECF No. 6,35-2
                                       PageID.886
                                           Filed 05/03/21
                                                    Filed 11/29/20
                                                           Page 100Page
                                                                    of 1677
                                                                         15 of 86




I.       LEGAL BACKGROUND: RELEVANT PROVISIONS OF THE MICHIGAN
         ELECTION CODE AND ELECTION CANVASSING PROCEDURES.

         A.      Michigan law requires Secretary Benson and local election officials to
                 provide designated challengers a meaningful opportunity to observe the
                 conduct of elections.

         41.     Challengers representing a political party, candidate, or organization interested in

  the outcome of the election provide a critical role in protecting the integrity of elections including

 the prevention of voter fraud and other conduct (whether maliciously undertaken or by

 incompetence) that could affect the conduct of the election. See MCL § 168.730-738.

         42.     Michigan requires Secretary of State Benson, local election authorities, and state

 and county canvassing boards to provide challengers the opportunity to meaningfully participate

 in, and oversee, the conduct of Michigan elections and the counting of ballots.

         43.     Michigan’s election code provides that challengers shall have the following rights

 and responsibilities:

            a.      An election challenger shall be provided a space within a polling place where
                    they can observe the election procedure and each person applying to vote.
                    MCL § 168.733(1).

            b.      An election challenger must be allowed opportunity to inspect poll books as
                    ballots are issued to electors and witness the electors’ names being entered in
                    the poll book. MCL § 168.733(1)(a).

            c.      An election Challenger must be allowed to observe the manner in which the
                    duties of the election inspectors are being performed. MCL § 168.733(1)(b).

            d.      An election challenger is authorized to challenge the voting rights of a person
                    who the challenger has good reason to believe is not a registered elector. MCL
                    § 168.733(1)(c).

            e.      An election challenger is authorized to challenge an election procedure that is
                    not being properly performed. MCL § 168.733(1)(d).

            f.      An election challenger may bring to an election inspector’s attention any of the
                    following: (1) improper handling of a ballot by an elector or election
                    inspector; (2) a violation of a regulation made by the board of election
                    inspectors with regard to the time in which an elector may remain in the



                                                   15                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.887
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 101Page
                                                                   of 1677
                                                                        16 of 86




                  polling place; (3) campaigning and fundraising being performed by an election
                  inspector or other person covered by MCL§ 168.744; and/or (4) any other
                  violation of election law or other prescribed election procedure. MCL
                  § 168.733(1)(e).

          g.      An election challenger may remain present during the canvass of votes and
                  until the statement of returns is duly signed and made. MCL § 168.733(1)(f).

          h.      An election challenger may examine each ballot as it is being counted. MCL
                  § 168.733(1)(g).

          i.      An election challenger may keep records of votes cast and other election
                  procedures as the challenger desires. MCL § 168.733(1)(h).

          j.      An election challenger may observe the recording of absent voter ballots on
                  voting machines. MCL §168.733(1)(i).

       44.      The Michigan Legislature adopted these provisions to prevent and deter vote

fraud, require the conduct of Michigan elections to be transparent, and to assure public confidence

in the outcome of the election no matter how close the final ballot tally may be.

       45.      Michigan values the important role challengers perform in assuring the

transparency and integrity of elections. For example, Michigan law provides it is a felony

punishable by up to two years in state prison for any person to threaten or intimidate a challenger

who is performing any activity described in Michigan law. MCL § 168.734(4). It is a felony

punishable by up to two years in state prison for any person to prevent the presence of a

challenger exercising their rights or to fail to provide a challenger with “conveniences for the

performance of the[ir] duties.” MCL 168.734.

          46. The responsibilities of challengers are established by Michigan statute. MCL

  § 168.730 states:


          (1)     At an election, a political party or [an organization] interested in preserving the
                  purity of elections and in guarding against the abuse of the elective franchise,
                  may designate challengers as provided in this act. Except as otherwise
                  provided in this act, a political party [or interested organization] may
                  designate not more than 2 challengers to serve in a precinct at any 1 time. A



                                                 16                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.888
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 102Page
                                                                   of 1677
                                                                        17 of 86




                  political party [or interested organization] may designate not more than 1
                  challenger to serve at each counting board.

          (2)     A challenger shall be a registered elector of this state…. A candidate for the
                  office of delegate to a county convention may serve as a challenger in a
                  precinct other than the 1 in which he or she is a candidate….

          (3)     A challenger may be designated to serve in more than 1 precinct. The political
                  party [or interested organization] shall indicate which precincts the challenger
                  will serve when designating challengers under subsection (1). If more than 1
                  challenger of a political party [or interested organization] is serving in a
                  precinct at any 1 time, only 1 of the challengers has the authority to initiate a
                  challenge at any given time. The challengers shall indicate to the board of
                  election inspectors which of the 2 will have this authority. The challengers
                  may change this authority and shall indicate the change to the board of
                  election inspectors.

       47.      Secretary Benson and Wayne County violated these provisions of Michigan law

and violated the constitutional rights of Michigan citizens and voters when they did not conduct

this general election in conformity with Michigan law and the United States Constitution.

       B.       The canvassing process in Michigan.

       48.      Michigan has entrusted the conduct of elections to three categories of individuals;

a “board of inspectors,” a “board of county canvassers,” and the “board of state canvassers.”

       49.      The board of inspectors, among its other duties, canvasses the ballots and

compares the ballots to the poll books. See MCL § 168.801. “Such canvass shall be public and

the doors to the polling places and at least 1 door in the building housing the polling places and

giving ready access to them shall not be locked during such canvas.” Id. The members of the

board of inspectors (one from each party) are required to seal the ballots and election equipment

and certify the statement of returns and tally sheets and deliver the statement of returns and tally

sheet to the township or city clerk, who shall deliver it to the probate court judge, who will then

deliver the statement of returns and tally sheet to the “board of county canvassers.” MCL

§ 168.809. “All election returns, including poll lists, statements, tally sheets, absent voters’




                                                 17                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.889
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 103Page
                                                                   of 1677
                                                                        18 of 86




return envelopes bearing the statement required [to cast an absentee ballot] … must be carefully

preserved.” MCL § 810a and § 168.811 (emphasis added).

        50.     After the board of inspectors completes its duties, the board of county canvassers

is to meet at the county clerk’s office “no later than 9 AM on the Thursday after” the election.

November 5, 2020 is the date for the meeting. MCL 168.821. The board of county canvassers

has power to summon and open ballot boxes, correct errors, and summon election inspectors to

appear. Among other duties and responsibilities, the board of county canvassers shall do the

following provided in MCL 168.823(3).

        51.     The board of county canvassers shall correct obvious mathematical errors in the

tallies and returns.

              The board of county canvassers may, if necessary for a proper determination,
              summon the election inspectors before them, and require them to count any ballots
              that the election inspectors failed to count, to make correct returns in case, in the
              judgment of the board of county canvassers after examining the returns, poll lists,
              or tally sheets, the returns already made are incorrect or incomplete, and the board
              of county canvassers shall canvass the votes from the corrected returns. In the
              alternative to summoning the election inspectors before them, the board of county
              canvassers may designate staff members from the county clerk’s office to count
              any ballots that the election inspectors failed to count, to make correct returns in
              case, in the judgment of the board of county canvassers after examining the
              returns, poll lists, or tally sheets, the returns already made are incorrect or
              incomplete, and the board of county canvassers shall canvass the votes from the
              corrected returns. When the examination of the papers is completed, or the ballots
              have been counted, they shall be returned to the ballot boxes or delivered to the
              persons entitled by law to their custody, and the boxes shall be locked and sealed
              and delivered to the legal custodians. The county board of canvassers shall
              “conclude the canvass at the earliest possible time and in every case no later than
              the fourteenth day after the election,” which is November 17. MCL 168.822(1).
              But, “[i]f the board of county canvassers fails to certify the results of any election
              for any officer or proposition by the fourteenth day after the election as provided,
              the board of county canvassers shall immediately deliver to the secretary of the
              board of state canvassers all records and other information pertaining to the
              election. The board of state canvassers shall meet immediately and make the
              necessary determinations and certify the results within the 10 days immediately
              following the receipt of the records from the board of county canvassers.” MCL
              168.822(2).



                                                 18                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.890
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 104Page
                                                                   of 1677
                                                                        19 of 86




        52.     The Michigan board of state canvassers then meets at the Secretary of State’s

office the twentieth day after the election and announces its determination of the canvass “not

later than the fortieth day after the election.” For this general election, that is November 23 and

December 13. MCL 168.842. There is provision for the Secretary of State to direct an expedited

canvass of the returns for the election of electors for President and Vice President.

        53.     The county board of canvassers shall “conclude the canvass at the earliest

possible time and in every case no later than the fourteenth day after the election,” which is

November 17. MCL 168.822(1). But, “[i]f the board of county canvassers fails to certify the

results of any election for any officer or proposition by the fourteenth day after the election as

provided, the board of county canvassers shall immediately deliver to the secretary of the board

of state canvassers all records and other information pertaining to the election. The board of state

canvassers shall meet immediately and make the necessary determinations and certify the results

within the 10 days immediately following the receipt of the records from the board of county

canvassers.” MCL 168.822(2).

        54.     The federal provisions governing the appointment of electors to the Electoral

College, 3 U.S.C. §§ 1-18, require Michigan Governor Whitmer to prepare a Certificate of

Ascertainment by December 14, the date the Electoral College meets.

        55.     The United States Code (3 U.S.C. § 5) provides that if election results are

contested in any state, and if the state, prior to election day, has enacted procedures to settle

controversies or contests over electors and electoral votes, and if these procedures have been

applied, and the results have been determined six days before the electors’ meetings, then these

results are considered to be conclusive and will apply in the counting of the electoral votes.

This date (the “Safe Harbor” deadline) falls on December 8, 2020. The governor of any state




                                                   19                                        Exhibit B
  CaseCase
      2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.891
                                            Filed 05/03/21
                                                     Filed 11/29/20
                                                            Page 105Page
                                                                     of 1677
                                                                          20 of 86




      where there was a contest, and in which the contest was decided according to established state

      procedures, is required (by 3 U.S.C. § 6) to send a certificate describing the form and manner by

      which the determination was made to the Archivist as soon as practicable.

             56.     The members of the board of state canvassers are Democrat Jeannette Bradshaw,

      Republican Aaron Van Langeveide, Republican Norman Shinkle, and Democrat Julie Matuzak.

      Jeanette Bradshaw is the Board Chairperson. The members of the Wayne County board of

      county canvassers are Republican Monica Palmer, Democrat Jonathan Kinloch, Republican

      William Hartmann, and Democrat Allen Wilson. Monica Palmer is the Board Chairperson.

             57.     More than one hundred credentialed election challengers provided sworn

      affidavits. These affidavits stated, among other matters, that these credentialed challengers were

      denied a meaningful opportunity to review election officials in Wayne County handling ballots,

      processing absent voter ballots, validating the legitimacy of absent voter ballots, and the general

      conduct of the election and ballot counting. See Exhibit 1 (affidavits of election challengers).

II.          FACTUAL ALLEGATIONS AND FACT WITNESS TESTIMONY REGARDING
             MICHIGAN ELECTION CODE VIOLATIONS AND OTHER UNLAWFUL
             CONDUCT BY ELECTION WORKERS AND MICHIGAN STATE, WAYNE
             COUNTY AND/OR CITY OF DETROIT EMPLOYEES.

             58.     Wayne County used the TCF Center in downtown Detroit to consolidate, collect,

      and tabulate all of the ballots for the County. The TCF Center was the only facility within Wayne

      County authorized to count the ballots.

             A.      Republican Election Challengers Were Denied Opportunity to Meaningfully
                     Observe the Processing and Counting of Ballots.

             59.     There is a difference between a ballot and a vote. A ballot is a piece of paper. A

      vote is a ballot that has been completed by a citizen registered to vote who has the right to cast a

      vote and has done so in compliance with Michigan election law by, among other things,

      verifying their identity and casting the ballot on or before Election Day. It is the task of



                                                       20                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.892
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 106Page
                                                                   of 1677
                                                                        21 of 86




Secretary Benson and Michigan election officials to assure that only ballots cast by individuals

entitled to cast a vote in the election are counted and to make sure that all ballots cast by lawful

voters are counted and the election is conducted in accordance with Michigan’s Election Code

uniformly throughout Michigan.

         60.   Challengers provide the transparency and accountability to assure ballots are

lawfully cast and counted as provided in Michigan’s Election Code and voters can be confident

the outcome of the election was honestly and fairly determined by eligible voters.

         61.   Wayne County excluded certified challengers from meaningfully observing the

conduct of the election in violation of the Michigan Election Code. This allowed a substantial

number of ineligible ballots to be counted, as outlined in Section B. below. These systematic

Michigan Election Code violations, and the disparate treatment of Republican vs. Democratic

poll challengers, also violated the Equal Protection Clause and other provisions of the U.S.

Constitution as detailed herein. The following affidavits describe the specifics that were

observed. This conduct was pervasive in Wayne County as attested to in the affidavits attached at

Ex. 3.

               1.      Republican Observers Denied Access to TCF Center

         62.   Many individuals designated as challengers to observe the conduct of the election

were denied meaningful opportunity to observe the conduct of the election. For example,

challengers designated by the Republican Party or Republican candidates were denied access to

the TCF Center (formerly called Cobo Hall) ballot counting location in Detroit while Democratic

challengers were allowed access. Exhibit 3 (Deluca aff. ¶¶7-9, 16-18; Langer aff. ¶3; Papsdorf

aff. ¶3; Frego aff. ¶9; Downing aff. ¶¶2-9, 11, 15, 22; Sankey aff. ¶¶5-8; Ostin aff. ¶¶5-7;

Cavaliere aff. ¶3; Cassin aff. ¶4; Rose aff. ¶18; Zimmerman aff. ¶8; Langer aff. ¶3; Poplawski

aff. ¶3; Henderson aff. ¶7; Fuqua-Frey aff. ¶5; Ungar aff. ¶4; Eilf aff. ¶¶9, 17; Jeup aff. ¶¶6-7;


                                                  21                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.893
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 107Page
                                                                   of 1677
                                                                        22 of 86




Tietz aff. ¶¶9-18; McCall aff. ¶¶5-6; Arnoldy aff. ¶¶5, 8-9 (unlimited members of the media were

also allowed inside regardless of COVID restrictions while Republican challengers were

excluded)).

       63.     Many challengers stated that Republican challengers who had been admitted to the

TCF Center but who left were not allowed to return. Id. (Bomer aff. ¶16; Paschke aff. ¶4;

Schneider aff., p. 2; Arnoldy aff. ¶6; Boller aff. ¶¶13-15 (removed and not allowed to serve as

challenger); Kilunen aff. ¶7; Gorman aff. ¶¶6-8; Wirsing aff., p. 1; Rose aff. ¶19; Krause aff.

¶¶9, 11; Roush aff. ¶16; M. Seely aff. ¶6; Fracassi aff. ¶6; Whitmore aff. ¶5). Furthermore,

Republican challengers who left the TCF Center were not allowed to be replaced by other

Republican challengers while Democratic challengers were replaced.

               2.      Disparate and Discriminatory Treatment of Republican vs.
                       Democratic Challengers.

       64.     As a result of Republican challengers not being admitted or re-admitted, while

Democratic challengers were freely admitted, there were many more Democratic challengers

allowed to observe the processing and counting of absent voter ballots than Republican

challengers. Id. (Helminen aff. ¶12 (Democratic challengers out- numbered Republican

challengers by at least a two-to-one ratio); Daavettila aff., p. 2 (ten times as many Democratic

challengers as Republican); A. Seely aff. ¶19; Schneider aff., p. 2; Wirsing aff., p. 1; Rauf aff.

¶21; Roush aff. ¶¶16-17; Topini aff. ¶4).

       65.     Many challengers testified that election officials strictly and exactingly enforced a

six-foot distancing rule for Republican challengers but not for Democratic challengers. Id.

(Paschke aff. ¶4; Wirsing aff., p. 1; Montie aff. ¶4; Harris aff. ¶3; Krause aff. ¶7; Vaupel aff. ¶5;

Russel aff. ¶7; Duus aff. ¶9; Topini aff. ¶6). As a result, Republican challengers were not

allowed to meaningfully observe the ballot counting process.




                                                 22                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.894
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 108Page
                                                                   of 1677
                                                                        23 of 86




               3.      Republican Challengers Not Permitted to View Ballot Handling,
                       Processing or Counting.

        66.    Many challengers testified that their ability to view the handling, processing, and

counting of ballots was physically and intentionally blocked by election officials. Id. (A. Seely

aff. ¶15; Miller aff. ¶¶13-14; Pennala aff. ¶4; Tyson aff. ¶¶12- 13, 16; Ballew aff. ¶8; Schornak

aff. ¶4; Williamson aff. ¶¶3, 6; Steffans aff. ¶¶15-16, 23- 24; Zaplitny aff. ¶15; Sawyer aff. ¶5;

Cassin aff. ¶9; Atkins aff. ¶3; Krause aff. ¶5; Sherer aff. ¶¶15, 24; Basler aff. ¶¶7-8; Early aff.

¶7; Posch aff. ¶7; Chopjian aff. ¶11; Shock aff. ¶7; Schmidt aff. ¶¶7-8; M. Seely aff. ¶4; Topini

aff. ¶8).

        67.    At least three challengers said they were physically pushed away from counting

tables by election officials to a distance that was too far to observe the counting. Id. (Helminen

aff. ¶4; Modlin aff. ¶¶4, 6; Sitek aff. ¶4). Challenger Glen Sitek reported that he was pushed

twice by an election worker, the second time in the presence of police officers. Id. (Sitek aff. ¶4).

Sitek filed a police complaint. Id.

        68.    Challenger Pauline Montie stated that she was prevented from viewing the

computer monitor because election workers kept pushing it further away and made her stand

back away from the table. Id. (Montie aff. ¶¶4-7). When Pauline Montie told an election worker

that she was not able to see the monitor because they pushed it farther away from her, the

election worker responded, “too bad.” Id. ¶8.

        69.    Many challengers witnessed Wayne County election officials covering the

windows of the TCF Center ballot counting center so that observers could not observe the ballot

counting process. Id. (A. Seely aff. ¶¶9, 18; Helminen aff. ¶¶9, 12; Deluca aff. ¶13; Steffans aff.

¶22; Frego aff. ¶11; Downing aff. ¶21; Sankey aff. ¶14; Daavettila aff., p. 4; Zimmerman aff.

¶10; Krause aff. ¶12; Sherer aff. ¶22; Johnson aff. ¶7; Posch aff. ¶10; Rauf aff. ¶23; Luke aff., p.




                                                  23                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.895
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 109Page
                                                                   of 1677
                                                                        24 of 86




1; M. Seely aff. ¶8; Zelasko aff. ¶8; Ungar aff. ¶12; Storm aff. ¶7; Fracassi aff. ¶8; Eilf aff. ¶25;

McCall aff. ¶9).

               4.      Harassment, Intimidation & Removal of Republican Challengers

       70.     Challengers testified that they were intimidated, threatened, and harassed by

election officials during the ballot processing and counting process. Id. (Ballew aff. ¶¶7, 9;

Gaicobazzi aff. ¶¶12-14 (threatened repeatedly and removed); Schneider aff., p. 1; Piontek aff.

¶11; Steffans aff. ¶26 (intimidation made her feel too afraid to make challenges); Cizmar aff.

¶8(G); Antonie aff. ¶3; Zaplitny aff. ¶20; Moss aff. ¶4; Daavettila aff., pp. 2-3; Tocco aff. ¶¶1-2;

Cavaliere ¶3; Kerstein aff. ¶3; Rose aff. ¶16; Zimmerman aff. ¶5; Langer aff. ¶3; Krause aff. ¶4;

Sherer aff. ¶24; Vaupel aff. ¶4; Basler aff. ¶8; Russell aff. ¶5; Burton aff. ¶5; Early aff. ¶7;

Pannebecker aff. ¶10; Sitek aff. ¶4; Klamer aff. ¶4; Leonard aff. ¶¶6, 15; Posch aff. ¶¶7, 14; Rauf

aff. ¶24; Chopjian aff. ¶10; Cooper aff. ¶12; Shock aff. ¶9; Schmidt aff. ¶¶9-10; Duus aff. ¶10; M.

Seely aff. ¶4; Storm aff. ¶¶5, 7; DePerno aff. ¶¶5-6; McCall aff. ¶¶5, 13).

       71.     Articia Bomer was called a “racist name” by an election worker and also harassed

by other election workers. Id. (Bomer aff. ¶7). Zachary Vaupel reported that an election

supervisor called him an “obscene name” and told him not to ask questions about ballot

processing and counting. Id. (Vaupel aff. ¶4). Kim Tocco was personally intimidated and

insulted by election workers. Id. (Tocco aff. ¶¶1-2). Qian Schmidt was the target of racist

comments and asked, “what gives you the right to be here since you are not American?” Id.

(Schmidt aff. ¶9).

       72.     Other challengers were threatened with removal from the counting area if they

continued to ask questions about the ballot counting process. Id. (A. Seely aff. ¶¶6, 13, 15;

Pennala aff. ¶5). Challenger Kathleen Daavettila observed that Democratic challengers

distributed a packet of information among themselves entitled, “Tactics to Distract GOP


                                                  24                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.896
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 110Page
                                                                   of 1677
                                                                        25 of 86




Challengers.” Id. (Daavettila aff., p. 2). An election official told challenger Ulrike Sherer that

the election authority had a police SWAT team waiting outside if Republican challengers argued

too much. Id. (Sherer aff. ¶24). An election worker told challenger Jazmine Early that since

“English was not [her] first language…[she] should not be taking part in this process.” Id. (Early

aff. ¶11).

        73.     Election officials at the TCF Center in Detroit participated in the intimidation

experienced by Republican challengers when election officials would applaud, cheer, and yell

whenever a Republican challenger was ejected from the counting area. Id. (Helminen aff. ¶9;

Pennala aff. ¶5; Ballew aff. ¶9; Piontek aff. ¶11; Papsdorf aff. ¶3; Steffans aff. ¶25; Cizmar aff.

¶8(D); Kilunen aff. ¶5; Daavettila aff., p. 4; Cavaliere aff. ¶3; Cassin aff. ¶10; Langer aff. ¶3;

Johnson aff. ¶5; Early aff. ¶13; Klamer aff. ¶8; Posch aff. ¶12; Rauf aff. ¶22; Chopjian aff. ¶13;

Shock aff. ¶10).

                5.     Poll Workers Ignored or Refused to Record Republican Challenges.

        74.     Unfortunately, this did not happen in Wayne County. Many challengers testified

that their challenges to ballots were ignored and disregarded. Id. (A. Seely aff. ¶4; Helminen aff.

¶5; Miller aff. ¶¶10-11; Schornak aff. ¶¶9, 15; Piontek aff. ¶6; Daavettila aff., p. 3; Valice aff. ¶2;

Sawyer aff. ¶7; Kerstein aff. ¶3; Modlin aff. ¶4; Cassin aff. ¶6; Brigmon aff. ¶5; Sherer aff. ¶11;

Early aff. ¶18; Pannebecker aff. ¶9; Vanker aff. ¶5; M. Seely aff. ¶11; Ungar aff. ¶¶16-17;

Fracassi aff. ¶4).

        75.     As an example of challenges being disregarded and ignored, challenger Alexandra

Seely stated that at least ten challenges she made were not recorded. Id. (A. Seely aff. ¶4).

Articia Bomer observed that ballots with votes for Trump were separated from other ballots. Id.

(Bomer aff. ¶5). Articia Bomer stated, “I witnessed election workers open ballots with Donald

Trump votes and respond by rolling their eyes and showing it to other poll workers. I believe


                                                  25                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.897
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 111Page
                                                                   of 1677
                                                                        26 of 86




some of these ballots may not have been properly counted.” Id. ¶8. Braden Gaicobazzi

challenged thirty-five ballots for whom the voter records did not exist in the poll book, but his

challenge was ignored and disregarded. Id. (Giacobazzi aff. ¶10). When Christopher Schornak

attempted to challenge the counting of ballots, an election official told him; “We are not talking to

you, you cannot challenge this.” Id. (Schornak aff. ¶15). When Stephanie Krause attempted to

challenge ballots, an election worker told her that challenges were no longer being accepted

because the “rules ‘no longer applied.’” Id. (Krause aff. ¶13).

               6.      Unlawful Ballot Duplication.

       76.     If a ballot is rejected by a ballot-tabulator machine and cannot be read by the

machine, the ballot must be duplicated onto a new ballot. The Michigan Secretary of State has

instructed, “If the rejection is due to a false read the ballot must be duplicated by two election

inspectors who have expressed a preference for different political parties.” Michigan Election

Officials’ Manual, ch. 8, p. 6 (emphasis added). Thus, the ballot-duplicating process must be

performed by bipartisan teams of election officials. It must also be performed where it can be

observed by challengers.

       77.     But Wayne County prevented many challengers from observing the ballot

duplicating process. Id. (Miller aff. ¶¶6-8; Steffans aff. ¶¶15-16, 23-24; Mandelbaum aff. ¶6;

Sherer aff. ¶¶16-17; Burton aff. ¶7; Drzewiecki aff. ¶7; Klamer aff. ¶9; Chopjian aff. ¶10;

Schmidt aff. ¶7; Champagne aff. ¶12; Shinkle aff., p. 1). Challenger John Miller said he was not

allowed to observe election workers duplicating a ballot because the “duplication process was

personal like voting.” Id. (Miller aff. ¶8). Challenger Mary Shinkle stated that she was told by

an election worker that she was not allowed to observe a ballot duplication because “if we make a

mistake then you would be all over us.” Id. (Shinkle aff., p. 1). Another challenger observed

election officials making mistakes when duplicating ballots. Id. (Piontek aff. ¶9).


                                                  26                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.898
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 112Page
                                                                   of 1677
                                                                        27 of 86




        78.     Many challengers testified that ballot duplication was performed only by

Democratic election workers, not bipartisan teams. Exhibit 1 (Pettibone aff. ¶3; Kinney aff., p. 1;

Wasilewski aff., p. 1; Schornak aff. ¶¶18-19; Dixon aff., p. 1; Kolanagireddy aff., p. 1;

Kordenbrock aff. ¶¶3-4; Seidl aff., p. 1; Kerstein aff. ¶4; Harris aff. ¶3; Sitek aff. ¶4).

                7.      Democratic Election Challengers Frequently Outnumbered
                        Republican Poll Watchers 2:1 or Even 2:0.

        79.     Dominion contractor Melissa Carrone testified that there were significantly more

Democrats than Republicans at the TCF Center, and that as a result there were “over 20

machines [that] had two democrats judging the ballots-resulting in an unfair process.” Exh. 5 ¶5.

Other affiants testified to the fact that Democrats outnumbered Republicans by 2:1 or more Id.

(Helminon aff. ¶12). Democrats also impersonated Republican poll watchers. Id. (Seely aff.

¶19).

                8.      Collaboration Between Election Workers, City/County Employees,
                        and Democratic Party Challengers and Activists.

        80.     Affiants testified to systematic and routine collaboration between election

workers, Michigan public employees and Democratic election challengers and activists present,

in particular to intimidate, harass, distract or remove Republican election watchers. See, e.g.,

Exh. 1 (Ballow aff. ¶9; Gaicobazzi aff. ¶¶12, 14; Piontek aff. ¶11).

        B.      Election Workers Fraudulently Forged, Added, Removed or Otherwise
                Altered Information on Ballots, Qualified Voter List and Other Voting
                Records.

        81.     A lawsuit recently filed by the Great Lakes Justice Center (“GLJC”) raises similar

allegations of vote fraud and irregularities that occurred in Wayne County. See Exhibit 4 (copy

of complaint filed in the Circuit Court of Wayne County in Costantino, et al. v. City of Detroit, et

al.) (“GLJC Complaint”). The allegations and affidavits included in the GLJC Complaint are

incorporated by reference in the body of this Complaint.



                                                  27                                          Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.899
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 113Page
                                                                   of 1677
                                                                        28 of 86




               1.     Election Workers Fraudulently Added “Tens of Thousands” of New
                      Ballots and New Voters in the Early Morning and Evening of
                      November 4.

       82.     The most egregious example of election workers’ fraudulent and illegal behavior

concerns two batches of new ballots brought to the TCF Center after the 8:00 PM Election Day

deadline. First, at approximately 4:30 AM on November 4, 2020, poll challenger Andrew Sitto

observed “tens of thousands of new ballots” being brought into the counting room, and “[u]nlike

the other ballots, these boxes were brought in from the rear of the room.” Exh. 4, GLJC

Complaint, Exh. C at ¶ 10. Mr. Sitto heard other Republican challengers state that “several

vehicles with out-of-state license plates pulled up to the TCF Center a little before 4:30 AM and

unloaded boxes of ballots.” Id. at ¶ 11. “All ballots sampled that I heard and observed were for

Joe Biden.” Id. at ¶ 12.

       83.     A second set of new boxes of ballots arrived at the TCF Center around 9:00 PM

on November 4, 2020. According to poll watcher Robert Cushman, these boxes contained

“several thousand new ballots.” Exh. 4, GLJC Complaint, Exh. D at ¶ 5. Mr. Cushman noted

that “none of the names on the new ballots were on the QVF or the Supplemental Sheets,” id. at

¶ 7, and he observed “computer operators at several counting boards manually adding the names

and addresses of these thousands of ballots to the QVF system.” Id. at ¶ 8. Further, “[e]very

ballot was being fraudulently and manually entered into the [QVF], as having been born on

January 1, 1990.” Id. at ¶ 15. When Mr. Cushman challenged the validity of the votes and the

impossibility of each ballot having the same birthday, he “was told that this was the instruction

that came down from the Wayne County Clerk’s office.” Id. at ¶ 16.

       84.     Perhaps the most probative evidence comes from Melissa Carone, who was

“contracted to do IT work at the TCF Center for the November 3, 2020 election.” Exh. 5, ¶1.

On November 4, Ms. Carrone testified that there were “two vans that pulled into the garage of


                                                28                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.900
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 114Page
                                                                   of 1677
                                                                        29 of 86




the counting room, one on day shift and one on night shift.” Id. ¶8. She thought that the vans

were bringing food, however, she “never saw any food coming out of these vans,” and noted the

coincidence that “Michigan had discovered over 100,000 more ballots – not even two hours after

the last van left.” Id. Ms. Carrone witnessed this illegal vote dump, as well as several other

violations outlined below.

               2.      Election Workers Forged and Fraudulently Added Voters to the
                       Qualified Voter List.

       85.     Many challengers reported that when a voter was not in the poll book, the election

officials would enter a new record for that voter with a birth date of January 1, 1900. Exhibit 1

(Gaicobazzi aff. ¶10; Piontek aff. ¶10; Cizmer aff. ¶8(F); Wirsing aff., p. 1; Cassin aff. ¶9;

Langer aff. ¶3; Harris aff. ¶3; Brigmon aff. ¶5; Sherer aff. ¶¶10-11; Henderson aff. ¶9; Early ¶16;

Klamer aff. ¶13; Shock aff. ¶8; M. Seely aff. ¶9). See also id. (Gorman aff. ¶¶23-26; Chopjian

aff. ¶12; Ungar aff. ¶15; Valden aff. ¶17). Braden Gaicobazzi reported that a stack of thirty-five

ballots was counted even though there was no voter record. Id. (Giacobazzi aff. ¶10).

       86.     The GLJC Complaint alleges the Detroit Election Commission “systematically

processed and counted ballots from voters whose name failed to appear in either the Qualified

Voter File (QVF) or in the supplemental sheets.” Exh. 4, GLJC Complaint at 3. The GLJC

Complaint provides additional witness affidavits detailing the fraudulent conduct of election

workers, in particular, that of Zachary Larsen, who served as a Michigan Assistant Attorney

General from 2012 through 2020 and was a certified poll challenger at the TCF Center. “Mr.

Larsen reviewed the running list of scanned in ballots in the computer system, where it appeared

that the voter had already been counted as having voted. An official operating the computer then

appeared to assign this ballot to a different voter as he observed a completely different name that

was added to the list of voters at the bottom of a running tab of processed ballots on the right side




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         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.901
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 115Page
                                                                   of 1677
                                                                        30 of 86




of the screen.” Id. at ¶ 16. Mr. Larsen observed this “practice of assigning names and numbers”

to non-eligible voters who did not appear in either the poll book or the supplement poll book. Id.

at ¶ 17. Moreover, this appeared to be the case for the majority of the voters whose ballots he

personally observed being scanned. Id.

               3.      Changing Dates on Absentee Ballots.

       87.     All absentee ballots that existed were required to be inputted into the QVF system

by 9:00 PM on November 3, 2020. This was required to be done in order to have a final list of

absentee voters who returned their ballots prior to 8:00 PM on November 3, 2020. In order to

have enough time to process the absentee ballots, all polling locations were instructed to collect

the absentee ballots from the drop-box once every hour on November 3, 2020.

       88.     Jessica Connarn is an attorney who was acting as a Republican challenger at the

TCF Center in Wayne County. Ex. 6. Jessica Connarn’s affidavit describes how an election poll

worker told her that he “was being told to change the date on ballots to reflect that the ballots

were received on an earlier date.” Id. ¶1. Jessica Connarn also provided a photograph of a note

handed to her by the poll worker in which the poll worker indicated she (the poll worker) was

instructed to change the date ballots were received. See id. Jessica Connarn’s affidavit

demonstrates that poll workers in Wayne County were pre-dating absent voter ballots, so that

absent voter ballots received after 8:00 PM on Election Day could be counted.

       89.     Plaintiffs have learned of a United States Postal Service (“USPS”) worker

Whistleblower, who on November 4, 2020 told Project Veritas that a supervisor named

Johnathan Clarke in Traverse City, Michigan, issued a directive to collect ballots and stamp them

as received on November 3, 2020, even though there were not received timely, as required by

law: "We were issued a directive this morning to collect any ballots we find in mailboxes,

collection boxes, just outgoing mail in general, separate them at the end of the day so that they


                                                 30                                       Exhibit B
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.902
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 116Page
                                                                   of 1677
                                                                        31 of 86




could hand stamp them with the previous day's date," the whistleblower stated. "Today is

November 4th for clarification." 5 This is currently under IG Investigation at the U.S. Post

Office. According to the Postal worker whistleblower, the ballots are in "express bags" so they

could be sent to the USPS distribution center. Id.

       90.     As set forth in the GLJC Complaint and in the Affidavit of Jessy Jacob, an

employee of the City of Detroit Elections Department, “on November 4, 2020, I was instructed

to improperly pre-date the absentee ballots receive date that were not in the QVF as if they had

been received on or before November 3, 2020. I was told to alter the information in the QVF to

falsely show that the absentee ballots had been received in time to be valid. She estimates that this

was done to thousands of ballots.” Exh. 4, GLJC Complaint, Exh. B at ¶ 17.

               4.      Election Workers Changed Votes for Trump and Other Republican
                       Candidates.

       91.     Challenger Articia Bomer stated, “I observed a station where election workers

were working on scanned ballots that had issues that needed to be manually corrected. I believe

some of these workers were changing votes that had been cast for Donald Trump and other

Republican candidates.” Id. (Bomer aff. ¶9). In addition to this eyewitness testimony of election

workers manually changing votes for Trump to votes for Biden, there is evidence that Dominion

Voting Systems did the same thing on a much larger scale with its Dominion Democracy Suite

software. See generally infra Section IV.

               5.      Election Officials Added Votes and Removed Votes from “Over-
                       Votes”.

       92.     Another challenger observed over-votes on ballots being “corrected” so that the

ballots could be counted. Exh. 3 (Zaplitny aff. ¶13). At least one challenger observed poll


5
 https://townhall.com/tipsheet/bethbaumann/2020/11/04/usps-whistleblower-in-michigan-
claims-higher-ups-were-engaging-in-voter-fraud-n2579501


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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.903
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 117Page
                                                                   of 1677
                                                                        32 of 86




workers adding marks to a ballot where there was no mark for any candidate. Id. (Tyson aff. ¶17).

       C.      Additional Violations of Michigan Election Code That Caused Ineligible,
               Illegal or Duplicate Ballots to Be Counted.

               1.      Illegal Double Voting.

       93.     At least one election worker “observed a large number of people who came to the

satellite location to vote in-person, but they had already applied for an absentee ballot. These

people were allowed to vote in-person and were not required to return the mailed absentee ballot

or sign an affidavit that the voter lost the mailed absentee ballot.” Exh. 4, GLJC Complaint

(Exh. B) Jacob aff. at ¶ 10. This permitted a person to vote in person and also send in his/her

absentee ballot, and thereby vote at least twice.

               2.      Ineligible Ballots Were Counted – Some Multiple Times.

       94.     Challengers reported that batches of ballots were repeatedly run through the vote

tabulation machines. Exh. 3 (Helminen aff. ¶4; Waskilewski aff., p. 1; Mandelbaum aff. ¶5;

Rose aff. ¶¶4-14; Sitek aff. ¶3; Posch aff. ¶8; Champagne aff. ¶8). Challenger Patricia Rose

stated she observed a stack of about fifty ballots being fed multiple times into a ballot scanner

counting machine. Id. (Rose aff. ¶¶4-14). Articia Bomer further stated that she witnessed the

same group of ballots being rescanned into the counting machine “at least five times.” Id. ¶12.

Dominion contractor Melissa Carone observed that this was a routine practice at the TCF Center,

where she “witnessed countless workers rescanning the batches without discarding them first” –

as required under Michigan rules and Dominion’s procedures – “which resulted in ballots being

counted 4-5 times” by the “countless” number of election workers. Carone aff. ¶3. When she

observed that a computer indicated that it had “a number of over 400 ballots scanned – which

means one batch [of 50] was counted over 8 times,” and complained to her Dominion supervisor,

she was informed that “we are here to do assist with IT work, not to run their election.” Id. at ¶4.




                                                    32                                  Exhibit B
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         1:21-cv-01169-TCB Document
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                                      PageID.904
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 118Page
                                                                   of 1677
                                                                        33 of 86




               3.      Ballots Counted with Ballot Numbers Not Matching Ballot Envelope.

       95.     Many challengers stated that the ballot number on the ballot did not match the

number on the ballot envelope, but when they raised a challenge, those challenges were

disregarded and ignored by election officials, not recorded, and the ballots were processed and

counted. Exh. 3 (A. Seely aff. ¶15; Wasilewski aff., p. 1; Schornak aff. ¶13; Brunell aff. ¶¶17,

19; Papsdorf aff. ¶3; Spalding aff. ¶¶8, 11; Antonie aff. ¶3; Daavettila aff., p. 3; Atkins aff. ¶3;

Harris aff. ¶3; Sherer aff. ¶21; Drzewiecki aff. ¶¶5-6; Klamer aff. ¶4; Rauf aff. ¶¶9-14; Roush

aff. ¶¶5-7; Kinney aff. ¶5). For example, when challenger Abbie Helminen raised a challenge

that the name on the ballot envelope did not match the name on the voter list, she was told by an

election official to “get away”, and that the counting table she was observing had “a different

process than other tables.” Id. (Helminen aff. ¶5).

               4.      Election Officials Counted Ineligible Ballots with No Signatures or No
                       Dates or with No Postmark on Ballot Envelope.

       96.     At least two challengers observed ballots being counted where there was no

signature or postmark on the ballot envelope. Id. (Brunell aff. ¶¶17, 19; Spalding aff. ¶13; Sherer

aff. ¶13). Challenger Anne Vanker observed that “60% or more of [ballot] envelopes [in a

batch] bore the same signature on the opened outer envelope.” Id. (Vanker aff. ¶5). Challenger

William Henderson observed that a counting table of election workers lost eight ballot

envelopes. Exhibit 1 (Henderson aff. ¶8). The GLJC Complaint further alleges the Election

Commission “instructed election workers to not verify signatures on absentee ballots, to

backdate absentee ballots, and to process such ballots regardless of their validity.”

       97.     Plaintiff Marian Sheridan, who was a poll watcher at TCF Center and is Vice

chair of the Michigan Republican Party, led a “team of almost 1200” to review “the voting

records of 51,018 registered voters” in Wayne County “who voted for the first time in the




                                                  33                                      Exhibit B
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         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.905
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 119Page
                                                                   of 1677
                                                                        34 of 86




November 3rd election of 2020.” Ex. 20 ¶5. Her team found that 20,300 of those “did not have

a ‘ballot requested date’ in Wayne County,” and that “10,620 absentee ballots show a ‘ballot sent

date’ 40 days before the election, after August 13th but before September 24.” Id. ¶¶8 & 11.

               5.      Election Officials Counted “Spoiled” Ballots.

       98.     At least two challengers observed spoiled ballots being counted. Id. (Schornak aff.

¶¶6-8; Johnson aff. ¶4). At least one challenger observed a box of provisional ballots being

placed in a tabulation box at the TCF Center. Ex. 1 (Cizmar aff. ¶5).

               6.      Systematic Violations of Ballot Secrecy Requirements.

       99.     Affiant Larsen identified a consistent practice whereby election officials would

remove ballots from the “secrecy sleeve” or peek into the envelopes, visually inspect the ballots,

and based on this visual inspection of the ballot (and thereby identify the votes cast), determine

whether to “place the ballot back in its envelope and into a ‘problem ballots’ box that required

additional attention to determine whether they would be processed and counted.” Ex. 4, GLJC

Complaint, Ex. A at ¶14. Mr. Larsen also observed that some ballots arriving without any

secrecy sleeve at all were counted after visual inspection, whereas many ballots without a

secrecy sleeve were placed in the “problem ballots” box. Id. at ¶¶21-22. “So the differentiation

among these ballots despite both ballots arriving in secrecy sleeves was perplexing and again

raised concerns that some ballots were being marked as ‘problem ballots’ based on who the

person had voted for rather on any legitimate concern about the ability to count and process the

ballot appropriately.” Id. at ¶24.

               7.      Election Workers Accepted Unsecured Ballots, without Chain of
                       Custody, after 8:00 PM Election Day Deadline.

       100.    Poll challengers observed two batches of new ballots brought to the TCF Center

after the 8:00 PM Election Day deadline, as detailed in the GLJC Complaint and Section II.B.1.




                                                34                                      Exhibit B
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.906
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 120Page
                                                                   of 1677
                                                                        35 of 86




Affiant Daniel Gustafson further observed that these batches of ballots “were delivered to the

TCF Center in what appeared to be mail bins with open tops.” Ex. 4, GLJC Complaint, Ex. E at

¶4. Mr. Gustafson further observed that these bins and containers “did not have lids, were not

sealed, and did not have the capability of having a metal seal,” id. at ¶5, nor were they “marked

or identified in any way to indicated their source of origin.” Id. at ¶6.

       101.    An election challenger at the Detroit Department of Elections office observed

passengers in cars dropping off more ballots than there were people in the car. Exh. 3 (Meyers

aff. ¶3). This challenger also observed an election worker accepting a ballot after 8:00 PM on

Election Day. Id. ¶7.

       102.    An election challenger at the Detroit Department of Elections office observed

ballots being deposited in a ballot drop box located at the Detroit Department of Elections after

8:00 PM on Election Day. Id. (Meyers aff. ¶6).

       103.    On November 4, 2020, Affiant Matt Ciantar came forward who, independently

witnessed, while walking his dog, a young couple deliver 3-4 large plastic clear bags, that

appeared to be “express bags”, as reflected in photographs taken contemporaneously, to a U.S.

Postal vehicle waiting. See generally Exh. 7 Matt Ciantar Declaration. The use of clear “express

bags” is consistent with the USPS whistleblower Johnathan Clarke in Traverse City, Michigan.

See infra Paragraph 78.

               8.       Ballots from Deceased Voters Were Counted.

       104.    Plaintiff Sheridan’s team reviewed 51,018 new registered voters in Wayne

County, and found that “205 of the voters were deceased, with an additional 1005 unverifiable

through” their sources. Ex. 20 ¶6. One Michigan voter stated that her deceased son has been

recorded as voting twice since he passed away, most recently in the 2020 general election. Ex. 3

(Chase aff. ¶3).


                                                 35                                    Exhibit B
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         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.907
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 121Page
                                                                   of 1677
                                                                        36 of 86




       D.      Wayne County Election So Riddled with “Irregularities and Inaccuracies”
               That Wayne County Board of Canvassers Refused to Certify Results.

       105.    The attached affidavit of Monica Palmer (Ex. 11), Chairperson of the Wayne

County Board of Canvassers details the numerous “irregularities and inaccuracies” in Wayne

County, both for the August 4, 2020 primary and the November 3, 2020 General Election, which

convinced her to refuse to certify the General Election results. Among other things, her

testimony describes Wayne County’s long-standing systemic problems with “unbalanced”

precincts (i.e., matching the vote count with the actual number of ballots cast). In the August 4,

2020 Primary election, for example, 72% of Detroit’s absentee voting precincts were out of

balance.” Id. ¶7. This may have been due to the fact that the “City of Detroit did not scan a

single precinct within a batch,” which “makes it nearly impossible to re-tabulate a precinct

without potentially disrupting a perfectly balanced precinct. Id. ¶6 (second bullet). As a result,

“[a]ll Board members express serious concerns about the irregularities and inaccuracies,” and

“unanimously approved” a joint resolution to request that Secretary Benson institute an

investigation and appoint an independent election monitor for the 2020 General Election, id. ¶9,

which was not done. Chairperson Palmer determined, based on preliminary results from the

2020 General Election, that once again “more than 70% of Detroit’s 134 Absentee Voter

Counting Boards (AVCB) did not balance and many had no explanation to why they did not

balance.” Id. ¶14.

       106.    On November 17, 2020, Chairperson Palmer initially voted not to certify the

results, but subsequently agreed to certify, subject to the condition that Secretary Benson conduct

a “full, independent audit” of the results. Id. ¶21. When Secretary Benson reneged on the

commitment, however, Chairperson Palmer rescinded her prior vote to certify. Id. ¶24. “The

Wayne County election process had serious process flaws which deserve investigation,” and




                                                 36                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.908
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 122Page
                                                                   of 1677
                                                                        37 of 86




Chairperson Palmer continues to believe that the results should not be certified pending “an

additional 10 days of canvass by the State Board of Canvassers.” Id. ¶ 26.

       107.    Wayne County Board of Canvassers Member William C. Hartmann has also

testified to the serious problems with the Wayne County Canvass. See Ex. 12. Like Chairperson

Palmer, he “determined that 71% of Detroit’s 134 Absent[ee] Voter Counting Boards (AVCB)

were left unbalanced and many unexplained.” Id. ¶6 (emphasis in original). Mr. Hartmann

joined Chairperson Palmer in initially voting not to certify the results of the 2020 General

Election, and the subsequent decision to do so based on a commitment to conduct an independent

audit, and then voting again not to certify when Secretary Benson refused to conduct an audit.

Id. ¶¶ 7, 11, and 18. In his testimony, Mr. Hartmann identifies a number of questions that must

be answered – many of them tracking the concerns raised in Section II.A to II.C above – before

the results can be certified. Of particular concern is the “use of private monies directing local

officials regarding the management of the election, how these funds were used and whether

such funds were used to pay election workers.” Id. ¶17.c. He also raises questions as to”

“[w]hy the pollbooks, Qualified Voter Files, and final tallies do not match or balance?”; “were

republicans not used in signing seals certified at the end of the night … before ballot boxes were

documented, closed and locked?”; the absence of logs from Detroit’s 134 ACVB; “[h]ow many

challenged ballots were counted?”; “[h]ow many voter birthdates were altered in the

pollbooks?”; “[w]ere ballots counted in TCF that were not reflected in the electronic pollbook or

paper supplemental list?”; and were the “18,000 same-day registrations in Detroit on November

3 … verified as proper voters prior to the tabulation of their ballots?” Id. ¶17. “Until these

questions are addressed,” Mr. Hartmann “remain[s] opposed to certification of the Wayne

County results.” Id. ¶19.




                                                37                                      Exhibit B
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       2:20-cv-13134-LVP-RSW
            1:21-cv-01169-TCB Document
                              ECF No. 6,35-2
                                         PageID.909
                                             Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 123Page
                                                                      of 1677
                                                                           38 of 86




III.      EXPERT WITNESS TESTIMONY INDICATING WIDESPREAD VOTING
          FRAUD AND MANIPULATION

          A.      Approximately 30,000 Michigan Mail-In Ballots Were Lost, and
                  Approximately 30,000 More Were Fraudulently Recorded for Voters who
                  Never Requested Mail-In Ballots.

          108.    The attached report of William M. Briggs, Ph.D. (“Dr. Briggs Report”)

   summarizes the multi-state phone survey data of 248 Michigan voters collected by Matt

   Braynard, which was conducted from November 15-17, 2020. (See Ex. 101, Dr. Briggs Report

   at 1 & Att. 1 thereto (“Braynard Survey”)). Using the Braynard Survey, Dr. Briggs identified

   two specific errors involving unreturned mail-in ballots that are indicative of voter fraud,

   namely: “Error #1: those who were recorded as receiving absentee ballots without requesting

   them;” and “Error #2: those who returned absentee ballots but whose votes went missing (i.e.,

   marked as unreturned).” Id. Dr. Briggs then conducted a parameter-free predictive model to

   estimate, within 95% confidence or prediction intervals, the number of ballots affected by these

   errors out of a total of 139,190 unreturned mail-in ballots for the State of Michigan.

          109.    With respect to Error #1, Dr. Briggs’ analysis estimated that 29,611 to 36,529

   ballots out of the total 139,190 unreturned ballots (21.27% - 26.24%) were recorded for voters

   who had not requested them. Id. With respect to Error #2, the numbers are similar with 27,928

   to 34,710 ballots out of 139,190 unreturned ballots (20.06% - 24.93%) recorded for voters who

   did return their ballots were recorded as being unreturned. Id. Taking the average of the

   two types of errors together, 62,517 ballots, or 45% of the total, are “troublesome.”

          110.    These errors are not only conclusive evidence of widespread fraud by the State of

   Michigan, 6 but they are fully consistent with the fact witness statements above the evidence


   6
     The only other possible explanations for the statements of 248 Michigan mail-in voters
   included in the Braynard Survey data is (a) that the 248 voters (who had no known pre-existing
   relationship apart from being listed as having unreturned absentee ballots) somehow contrived to


                                                    38                                      Exhibit B
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.910
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 124Page
                                                                   of 1677
                                                                        39 of 86




regarding Dominion presented below insofar as these purportedly unreturned absentee ballots

provide a pool of 60,000-70,000 unassigned and blank ballots that could be filled in by

Michigan election workers, Dominion or other third parties to shift the election to Joe

Biden.

         111.   With respect to Error #1, Dr. Briggs’ analysis, combined with the statements of

the Michigan voters in the Braynard Survey, demonstrates that approximately 30,000 absentee

ballots were sent to someone besides the registered voter named in the request, and thus

could have been filled out by anyone and then submitted in the name of another voter.

         112.   With respect to Error #2, Dr. Briggs’ analysis indicates that approximately 30,000

absentee ballots were either lost or destroyed (consistent with allegations of Trump ballot

destruction) and/or were replaced with blank ballots filled out by election workers,

Dominion or other third parties. Accordingly, Dr. Briggs’ analysis showing that almost half

of purportedly “unreturned ballots” suffers from one of the two errors above – which is

consistent with his findings in the four other States analyzed (Arizona 58%, Georgia 39%,

Pennsylvania 37%, and Wisconsin 31%) – provides further support that these widespread

“irregularities” or anomalies were one part of a much larger interstate fraudulent scheme to rig

the 2020 General Election for Joe Biden.

         B.     Statistical Analysis of Anomalous and Unprecedented Turnout Increases in
                Specific Precincts Indicate that There Were at Least 40,000 “Excess Voters”
                in Wayne County and At Least 46,000 in Oakland County.

         113.   The attached affidavit of Eric Quinell, Ph.D. analyzes the extraordinary increase

in turnout from 2016 to 2020 in a relatively small subset of townships and precincts outside of



collude together to submit false information or (b) that these 248 suffered from amnesia,
dementia or some other condition that caused them to falsely claim that they had requested a
mail-in ballot or returned a mail-in ballot.



                                                39                                     Exhibit B
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         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.911
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 125Page
                                                                   of 1677
                                                                        40 of 86




Detroit in Wayne County and Oakland County, and more importantly how nearly 100% or more

of all “new” voters from 2016 to 2020 voted for Biden. (See Ex. 102; see also Ex. 110, Chapter

2). Using publicly available information from Wayne County and Oakland County, Dr. Quinell

first found that for the votes received up to the 2016 turnout levels, the 2020 vote Democrat vs.

Republican two-ways distributions (i.e., excluding third parties) tracked the 2016 Democrat vs.

Republican distribution very closely, which was 55%-45% for Wayne County (outside Detroit)

and 54%-46% for Oakland County. Id. at ¶¶18 & 20.

       114.    However, after the 2016 turnout levels were reached, the Democrat vs.

Republican vote share shifts decisively towards Biden by approximately 15 points, resulting in a

72%/28% D/R split for Oakland County and 70%/30% D/R split for Wayne County (outside of

Detroit). What is even more anomalous – and suspicious – is the fact that nearly all of these

“new” votes in excess of 2016 come from a small number of townships/precincts where the

increased Biden vote share is nearly 100% or over 100% for Biden. Id.

       115.    For example, in the township of Livonia in Wayne County, Biden gained 3.2

voters for every 1 new Trump voter, and Biden received 97% of all “new” votes over 2016 and

151% of all new voter registrations. Id. at ¶6. In the township of Troy in Oakland County, the

vote share shifted from 51%/49% in 2016 to 80%/20% in 2020 due to Biden receiving 98% of

new votes above 2016 and 109% of new voter registrations. Id. at ¶20. Looking county-wide,

Biden gained 2.32 new voters over 2016 levels to every 1 new Trump voter in Wayne County

(outside Detroit) and 2.54 additional new voters per Trump voter for Oakland County. Id. ¶5.

       116.    Based on these statistically anomalous results that occurred in a handful of

townships in these two counties, Dr. Quinell’s model determined that there were 40,771

anomalous votes in Wayne County (outside Detroit) and 46,125 anomalous votes in Oakland




                                                40                                     Exhibit B
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.912
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 126Page
                                                                   of 1677
                                                                        41 of 86




County, for a total of nearly 87,000 anomalous votes or approximately 65% of Biden’s purported

lead in Michigan.

       117.    Dr. Quinell’s conclusions are supported by the testimony S. Stanley Young, Ph.D.

(See Ex. 110, Chapter 1, “Analysis of Michigan County Vote Counts”). Dr. Young examined all

Michigan counties for changes in turnout from 2016 to 2020. In 74 out of 83 Michigan counties,

the 2020 vs. 2016 turnout was within +/- 3,000 votes. Id. at 5. The two largest outliers are

Oakland County (+54,310), Wayne County (+42,166), representing approximately 96,000 net

votes for Biden, with the remaining seven outliers counties (Kent, Washtenaw, Ingham,

Kalamazoo, Macomb, Ottawa, and Grand Traverse), which collectively represent an additional

95,000 net votes for Biden (or 191,000 in total). Id. at 6.

       118.    All or nearly all of the “new” votes were due to increased absentee and mail-in

votes. Dr. Young also analyzes the differences in the distributions of election day in-person

voting for Trump and Biden and the distribution for each of absentee mail-in votes. For Trump,

the distributions are nearly identical, whereas the Biden distribution “are very different”

representing “a serious statistical aberration”, that when combined with the turnout anomalies

“are all statistically improbable relative to the body of the data.” Id. at 7. Dr. Young’s analysis

indicates that, when the entire State of Michigan is considered, there were likely over 190,000

“excess” and likely fraudulent Biden votes, which once again is significantly larger than Biden’s

154,188 margin in Michigan.

       C.      Over 13,000 Ineligible Voters Who Have Moved Out-of-State Illegally Voted
               in Michigan.

       119.    Evidence compiled by Matt Braynard using the National Change of Address

(“NCOA”) Database shows that 12,120 Michigan voters in the 2020 General Election moved

out-of-state prior to voting, and therefore were ineligible. Mr. Braynard identified 1,170




                                                 41                                      Exhibit B
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.913
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 127Page
                                                                   of 1677
                                                                        42 of 86




Michigan voters in the 2020 General Election who subsequently registered to vote in another

state, and were therefore ineligible to vote in the 2020 General Election. When duplicates from

the two databases are eliminated, the merged number is 13,248 ineligible voters whose votes

must be removed from the total for the 2020 General Election. 7

       D.      Physical Impossibility: There Were At Least 289,866 More Ballots Processed
               in Four Michigan Counties on November 4 Than There Was Processing
               Capacity.

       120.    The expert witness testimony of Russell James Ramsland, Jr. (“Ramsland

Affidavit”), which is described in greater detail below, identifies an event that occurred in

Michigan on November 4 that is “physically impossible” See Ex. 104 at ¶14. The “event”

reflected in the data are “4 spikes totaling 384,733 ballots allegedly processed in a combined

interval of 2 hour[s] and 38 minutes” for four precincts/townships in four Michigan counties

(Wayne, Oakland, Macomb, and Kent). Id. Based on Mr. Ramsland’s analysis of the voting

machines available at the referenced locations, he determined that the maximum processing

capability during this period was only 94,867 ballots, so that “there were 289,866 more ballots

processed in the time available for processing in the four precincts/townships, than there was

processing capacity.” Id. This amount alone is nearly twice the number of ballots by which

Biden purportedly leads President Trump (i.e., 154,188).

       E.      Statistical Impossibility: Biden’s Vertical “Jump” of 141,257 Votes at
               11:31:48 on November 4, 2020.

       121.    Finally, Dr. Louis Bouchard analyzes the widely reported anomalous “jump” in

Biden’s tally, where 141,257 votes for Biden were recorded during a single time interval:

11:31:48 on November 4, 2020. (See Ex. 110, Chapter 7). Before the jump Biden was trailing


7
  Mr. Braynard posted the results of his analysis on Twitter. See
https://twitter.com/MattBraynard/status/1329700178891333634?s=20. This Complaint includes
a copy of his posting as Exhibit 103.


                                                 42                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.914
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 128Page
                                                                   of 1677
                                                                        43 of 86




Trump by a significant amount, and then Biden’s vote tally curve went nearly vertical, making

up the difference and surging past Trump nearly instantaneously as shown in the figure in the

upper left below reproduced from Dr. Bouchard’s report. (See id. at 28).




        122.   Both candidates had “jumps” reflecting the addition of new votes, but this Biden

jump was orders of magnitude than any jump received by Trump in the two States analyzed by

Dr. Boucher (i.e., Florida and Michigan), id. at 26, and further that the “statistically anomalous

jumps are all in Biden’s favor.” Id. at 27. The odds of a jump of 141,257 votes “is statistically

impossible; the odds of this happening are 1 in 1023.” Id. (Dr. Boucher also found even larger

jumps for Biden in Florida on November 4, one for 435,219 votes and another for 367,539 votes.

Id.).




                                                 43                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.915
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 129Page
                                                                   of 1677
                                                                        44 of 86




       F.      Additional Anomalies and Impossibilities for Michigan Mail-In Ballots.

       123.    Robert Wilgus finds several additional statistical anomalies, and arguably

impossibilities, in the mail-in ballot data. See Ex. 110 (Chapter 3, “Exploring Michigan Main-In

Ballots Data”). Most notably, Mr. Wilgus analyzed Michigan mail-in data obtained through a

FOIA request, and found the following: (1) 224,525 mail-in ballot applications were sent and

received on the same date; (2) 288,783 mail-in ballots were sent and returned on the same date;

(3) 78,312 applications were sent and received and the ballot sent and received all on the same

date. Id. at 15. These number do not include 217,271 ballots with no date at all, id. at 14,

which likely would have increased the foregoing numbers, and is fully consistent with the

numerous affiants above who testified to observing poll workers processing ballots without

envelopes, and of poll workers, USPS personnel changing dates on absentee ballots and the other

illegal conduct described in Section II.A and II.B above.

       124.    Thomas Davis identifies a different anomaly in the absentee mail-in data, namely,

that (1) “the percentage of Democratic absentee voters exceeds the percentage of Republican

absentee voters in every precinct,” and (2) “[e]ven more remarkable – and unbelievable – these

two independent variables appear to track one another.” Ex. 110, Chapter 5 at 17 (emphasis

in original). As shown in Mr. Davis’s article, the plots of the Democrat percentage of absentee

voters in Ingham, Macomb, and Oakland Counties for 2020 are uniformly higher (i.e., with no

intersections or lines crossing) than the Republican precinct, and the D-R percentage are nearly

always in the range of +25%-30%; for 2016, by contrast, the plots for these three counties look

like random walks with the Democrat and Republican line plots frequently crossing back and

forth across one another. Id. at 17-18. Mr. Davis concludes that these statistical anomalies are

“very strong evidence that the absentee voting counts in some counties in Michigan have

likely been manipulated by a computer algorithm,” and that at some time after the 2016


                                               44                                     Exhibit B
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      2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 6,35-2
                                        PageID.916
                                            Filed 05/03/21
                                                     Filed 11/29/20
                                                            Page 130Page
                                                                     of 1677
                                                                          45 of 86




  election, software was installed that programmed tabulating machines “to shift a percentage of

  absentee ballot votes from Trump to Biden.” Id. at 19.

IV.      FACTUAL ALLEGATIONS REGARDING DOMINION VOTING SYSTEMS

         A.      Dominion Undetectably Switched Trump Votes to Biden in Antrim County,
                 which Was Only Discoverable Through Manual Recount.

         125.    On the morning of November 4, unofficial results posted by the Antrim County

  Clerk showed that Joe Biden had over 7,700 votes — 3,000 more than Donald Trump. Antrim

  County voted 62% in favor of President Trump in 2016. The Dominion Voting Systems election

  management system and voting machines (tabulators), which were used in Antrim County, are

  also used in many other Michigan counties, including Wayne County, were at fault.

         126.    However, malfunctioning voting equipment or defective ballots may have

  affected the outcome of a vote on an office appearing on the ballot.” Michigan Manual for

  Boards of County Canvassers. These vote tabulator failures are a mechanical malfunction that,

  under MCL §§ 168.831-168.839, requires a “special election” in the precincts affected.

         127.    Secretary of State Benson released a statement blaming the county clerk for not

  updating certain “media drives,” but her statement failed to provide any coherent

  explanation of how the Dominion Voting Systems software and vote tabulators produced such a

  massive miscount. 8

         128.    Secretary Benson continued: “After discovering the error in reporting the

  unofficial results, the clerk worked diligently to report correct unofficial results by reviewing the

  printed totals tape on each tabulator and hand-entering the results for each race, for each precinct



  8
     See State of Michigan, Department of State Report, Isolated User Error in Antrim County
  Does Not Affect Election Results (November 7, 2020), available at:
  https://www.michigan.gov/documents/sos/Antrim_Fact_Check_707197_7.pdf.



                                                   45                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.917
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 131Page
                                                                   of 1677
                                                                        46 of 86




in the county.” Id. What Secretary Benson fails to address is what would have happened if no

one “discover[ed] the error,” for instance, in Wayne County, where the number of registered

voters is much greater than Antrim County, and where the tabulators were not individually

tested.

          129.   Wayne County used the same Dominion voting system tabulators as did Antrim

County, and Wayne County tested only a single one of its vote tabulating machines before the

election. The Trump campaign asked Wayne County to have an observer physically present to

witness the process. See Exhibit 4. Wayne County denied the Trump campaign the opportunity to

be physically present. Representatives of the Trump campaign did have opportunity to watch a

portion of the test of a single machine by Zoom video.

          B.     Eyewitness Testimony That Dominion Voting Machines Were
                 Improperly Connected to the Internet and Used Removable Storage
                 Media and Mass File Transfers.

          130.   Affiant Patrick Colbeck was a Michigan State Senator from 2011 through 2018, is

an IT specialist and certified Microsoft Small Business specialist, and served as a poll challenger

at the TCF Center on November 3-4, 2020. In that capacity, Mr. Colbeck inquired whether the

Dominion voting machines were connected to the Internet, but was repeatedly told “no” by three

different election workers. See Ex. 13, Colbeck Nov. 8 aff ¶¶2,3 & 5. Mr. Colbeck determined

that the voting machines were connected to the Internet, based on his visual inspection of the

machines, which displayed the Windows “icon that indicates internet connection on each

terminal.” Id. ¶5. Mr. Colbeck also took a series of pictures attached to his November 8, 2020

testimony showing the cables connecting the machines to the Internet, as well as screenshots

from his phone showing that the Electronic Poll Books were also connected wirelessly to the

Internet, id. ¶¶5-6, and used this data to create a network topology for the Detroit TCF Center

Absentee Ballot Voter Counting Board. Id. The election workers also repeatedly refused to


                                                46                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.918
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 132Page
                                                                   of 1677
                                                                        47 of 86




answer Mr. Colbeck’s questions as to how the “tabulated results were to be transferred to the

County and other parties,” despite the fact that the Detroit Elections Manual “specified that the

tabulated votes would be copied from the adjudicator computers to a series of flash drives,” id.

¶5, i.e.¸ rather than through Internet connections.

       131.    Mr. Colbeck also “witnessed mass file transfer operations on the monitor of a

Local Data Center computer operated by [TCF Center] IT Staff, Detroit Election Officials, and

Dominion Voting Systems employees.” Ex. 14, Colbeck Nov. 20 aff. ¶7. Based on his

experience as an IT professional, Mr. Colbeck “was curious as to what files would need to be

transferred in mass as opposed to the serial process of importing results from each tabulator one

at a time as prescribed in the Detroit Elections Manual.” Id. This question could be answered

by event logs from the Dominion voting tabulators.

       C.      The Pattern of Incidents Shows an Absence of Mistake - Always In The
               Favor Of Biden.

       132.    Rules of Evidence, 404(b), applicable to civil matters makes clear that,

       (b) Evidence of other crimes, wrongs, or acts shall not be admissible to prove the
       character of a person in order to show action in conformity therewith. It may,
       however, be admissible for other purposes, including, but not limited to,
       proof of motive, opportunity, intent, preparation, plan, knowledge, identity,
       or absence of mistake or accident.

       133.    Tabulator issues and election violations occurred elsewhere in Michigan

reflecting a pattern, where multiple incidents occurred. In Oakland County, votes flipped a seat

to an incumbent Republican, Adam Kochenderfer, from the Democrat challenger when: “A

computer issue in Rochester Hills caused them to send us results for seven precincts as both

precinct votes and absentee votes. They should only have been sent to us as absentee votes,” Joe




                                                 47                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.919
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 133Page
                                                                   of 1677
                                                                        48 of 86




Rozell, Oakland County Director of Elections for the City of Huntington Woods, said. 9

        134.    The Oakland County flip of votes becomes significant because it reflects a second

systems error, wherein both favored the Democrats, and precinct votes were sent out to be

counted, and they were counted twice as a result until the error was caught on a recount.

Precinct votes should never be counted outside of the precinct, and they are required to be sealed

in the precinct. See generally, MCL § 168.726.

        D.      Dominion Voting Machines and Forensic Evidence of Wide-Spread
                Fraud in Defendant Counties.

        135.    The State of Michigan entered into a ten-year contract with Dominion Systems’

Democracy Suite 4.14-D first, and then included Dominion Systems Democracy Suite 5.0-S on

or about January 27, 2017, which added a fundamental modification: “dial-up and wireless

results transmission capabilities to the ImageCast Precinct and results transmission using the

Democracy Suite EMS Results Transfer Manager module.” 10

        136.    The Michigan Contract with Dominion Voting Systems Democracy packages

include language that describes Safety and Security, which in part makes the risks of potential

breach clear where keys can be lost despite the fact that they provide full access to the unit, and

while it is clear that the electronic access provides control to the unit, and the ability to alter

results, combined with the lack of observers, creates a lack of security that becomes part of a

pattern of the absence of mistake, or fraud:



9
  Bill Laitner, Fixed Computer Glitch Turns Losing Republican into a Winner in Oakland
County, Detroit Free Press (Nov. 20, 2020), available at:
https://www.freep.com/story/news/local/michigan/oakland/2020/11/06/oakland-county-election-
2020-race-results/6184186002/.
10
  See Ex. 8, State of Michigan Enterprise Procurement, Dept. of Technology, Management and
Budget Contract No. 071B7700117, between State of Michigan and Dominion Voting Systems
(“Dominion Michigan Contract”).



                                                   48                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.920
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 134Page
                                                                   of 1677
                                                                        49 of 86




         The ImageCast tabulators are unlocked by an iButton security key, which is used
         to:
         • Authenticate the software version (ensuring it is a certified version that has not
         been tampered with)
         • Decrypt election files while processing ballots during the election
         • Encrypt results files during the election
         • Provide access control to the unit
         It is anticipated that the iButton security keys may get lost; therefore, any
         substitute key created for the same tabulator will allow the unit to work
         fully. 11

         137.   As evidence of the risks of the Dominion Democracy Suite, as described above,

the same Dominion Democracy Suite was denied certification in Texas by the Secretary of State

on January 24, 2020 specifically because the “examiner reports raise concerns about whether

Democracy Suite 5.5-A system … is safe from fraudulent or unauthorized manipulation.” 12

                1.      Antrim County “Glitch” Was Not “Isolated Error” and May Have
                        Affected Other Counties.

         138.   The first red flag is the Antrim County, Michigan “glitch” that switched 6,000

Trump ballots to Biden, and that was only discoverable through a manual hand recount. See

supra Paragraph 94. The “glitch” was later attributed to “clerical error” by Dominion and

Antrim Country, presumably because if it were correctly identified as a “glitch”, “the system

would be required to be ‘recertified’ according to Dominion officials. This was not done.” Exh.

104, Ramsland Aff. at ¶10. Mr. Ramsland points out that “the problem most likely did occur due

to a glitch where an update file did not properly synchronize the ballot barcode generation and

reading portions of the system.” Id. Further, such a glitch would not be an “isolated error,”

as it “would cause entire ballot uploads to read as zero in the tabulation batch, which we



11
     See Ex. 8, Dominion Michigan Contract at 122.
12
  See Ex. 9, State of Texas Secretary of State, Elections Division, Report of Review of
Dominion Voting Systems Democracy Suite 5.5-A at 2 (Jan. 24, 2020) (emphasis added).



                                                  49                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.921
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 135Page
                                                                   of 1677
                                                                        50 of 86




also observed happening in the data (provisional ballots were accepted properly but in-person

ballots were being rejected (zeroed out and/or changed (flipped)).” Id. Accordingly, Mr.

Ramsland concludes that it is likely that other Michigan counties using Dominion may “have the

same problem.” Id.

           E.      Anomalies in Dominion’s Michigan Results for 2020 General Election
                   Demonstrate Dominion Manipulated Election Results, and that the
                   Number of Illegal Votes Is Nearly Twice As Great as Biden’s
                   Purported Margin of Victory.

           139.    The expert witness testimony of Russell James Ramsland, Jr. (“Ramsland

Affidavit”) 13 analyzes anomalies in Dominion’s Michigan results for the 2020 election, and

flaws in the system architecture more generally, to conclude that Dominion manipulated election

results. Dominion’s manipulation of election results enabled Defendants to engage in further

voting fraud violations above and beyond the litany of violations recited above in Section II.A

through Section II.C.

           140.    Mr. Ramsland’s analysis of the raw data, which provides votes counts, rather

than just vote shares, in decimal form proves that Dominion manipulated votes through the

use of an “additive” or “Ranked Choice Voting” algorithm (or what Dominion’s user guide

refers to as the “RCV Method”). See id. at ¶12. 14 Mr. Ramsland presents the following example

of this data – taken from “Dominion’s direct feed to news outlets” – in the table below. Id.

state           timestamp                eevp   trump     biden    TV              BV

michigan        2020-11-04T06:54:48Z     64     0.534     0.448    1925865.66      1615707.52


13
   As detailed in the Ramsland Affidavit and the CV attached thereto, Mr. Ramsland is a
member of the management team Allied Security Operations Group, LLC (“ASOG”), a firm
specializing in cybersecurity, OSINT and PEN testing of networks for election security and
detecting election fraud through tampering with electronic voting systems.
14
   See id. (quoting Democracy Suite EMS Results Tally and Reporting User Guide, Chapter 11,
Settings 11.2.2., which reads, in part, “RCV METHOD: This will select the specific method of
tabulating RCV votes to elect a winner.”).


                                                  50                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.922
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 136Page
                                                                   of 1677
                                                                        51 of 86



michigan       2020-11-04T06:56:47Z      64      0.534     0.448    1930247.664       1619383.808

michigan       2020-11-04T06:58:47Z      64      0.534     0.448    1931413.386       1620361.792

michigan       2020-11-04T07:00:37Z      64      0.533     0.45     1941758.975       1639383.75

michigan       2020-11-04T07:01:46Z      64      0.533     0.45     1945297.562       1642371.3

michigan       2020-11-04T07:03:17Z      65      0.533     0.45     1948885.185       1645400.25

           141.   Mr. Ramsland further describes how the RCV algorithm can be implemented, and

the significance of the use of fractional vote counts, with decimal places, rather than whole

numbers, in demonstrating that Dominion did just that to manipulate Michigan votes.

           For instance, blank ballots can be entered into the system and treated as “write-
           ins.” Then the operator can enter an allocation of the write-ins among candidates
           as he wishes. The final result then awards the winner based on “points” the
           algorithm in the compute, not actual votes. The fact that we observed raw vote
           data that includes decimal places suggests strongly that this was, in fact, done.
           Otherwise, votes would be solely represented as whole numbers. Below is an
           excerpt from Dominion’s direct feed to news outlets showing actual calculated
           votes with decimals. Id.

                  2.      Strong Evidence That Dominion Shifted Votes from Trump to Biden.

           142.   Another anomaly identified by Mr. Ramsland is the dramatic shift in votes

between the two major party candidates as the tabulation of the turnout increased, and more

importantly, the change in voting share before and after 2 AM on November 4, 2020, after

Wayne County and other Michigan election officials had supposedly halted counting.

           Until the tabulated voter turnout reached approximately 83%, Trump was
           generally winning between 55% and 60% of every turnout point. Then, after the
           counting was closed at 2:00 am, the situation dramatically reversed itself,
           starting with a series of impossible spikes shortly after counting was
           supposed to have stopped. Id. at ¶13.

           143.   Once again, the means through which Dominion appears to have implemented

this scheme is through the use of blank ballots that were all, or nearly all, cast for Biden.

           The several spikes cast solely for Biden could easily be produced in the Dominion
           system by pre-loading batches of blank ballots in files such as Write-Ins, then
           casting them all for Biden using the Override Procedure (to cast Write-In ballots)
           that is available to the operator of the system. A few batches of blank ballots


                                                  51                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.923
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 137Page
                                                                   of 1677
                                                                        52 of 86




       could easily produce a reversal this extreme, a reversal that is almost as
       statistically difficult to explain as is the impossibility of the votes cast to number
       of voters described in Paragraph 11 above. Id.

       144.    Mr Ramsland and his team analyzed the sudden injection totaling 384,733 ballots

in four Michigan counties (Wayne, Oakland, Macomb, and Kent) in a 2 hour 38 minute period in

the early morning of November 4 (which would have included the first ballot dump described

above in Paragraph 72), and concluded that “[t]his is an impossibility, given the equipment

available at the 4 reference locations (precincts/townships).” Id. at ¶14.

       145.    Specifically, Mr. Ramsland calculated “94,867 ballots as the maximum number of

ballots that could be processed” in that time period, and thus that “[t]here were 289,866 more

ballots processed in the time available for processing in four precincts/townships, than the

capacity of the system allows.” Id. Mr. Ramsland concludes that “[t]he documented existence

of the spikes are strongly indicative of a manual adjustment either by the operator of the system

(see paragraph 12 above) or an attack by outside actors.” Id. The vote totals added for all

Michigan counties, including Wayne, Oakland, Macomb and Kent counties, for the period

analyzed by Mr. Ramsland are reproduced in the figure below.




                                                 52                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.924
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 138Page
                                                                   of 1677
                                                                        53 of 86




               3.      The Number of Illegal Votes Attributable to Dominion Is Nearly
                       Twice Biden’s Purported Margin in Michigan.

       146.    Based on his analysis of the red flags and statistical anomalies discussed below,

Mr. Ramsland concludes that:

       [T]hese statistical anomalies and impossibilities compels the conclusion to a
       reasonable degree of professional certainty that the vote count in Michigan and in
       Wayne County, in particular for candidates for President contain at least 289,866
       illegal votes that must be disregarded.

Given that Mr. Biden’s currently purported margin of victory is approximately 154,000, the

number of illegal votes attributable Dominion’s fraudulent and illegal conduct is by itself

(without considering the tens or hundreds of thousands of illegal votes due to the unlawful

conduct described in Section II), is nearly twice Mr. Biden’s current purported lead in the State

of Michigan. Thus Mr. Ramsland affidavit alone provides this Court more than sufficient basis

to grant the relief requested herein.



                                                53                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.925
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 139Page
                                                                   of 1677
                                                                        54 of 86




       F.      Additional Independent Findings of Dominion Flaws.

       147.    Further supportive of this pattern of incidents, reflecting an absence of mistake,

Plaintiffs have since learned that the "glitches" in the Dominion system, that have the uniform

effect of hurting Trump and helping Biden, have been widely reported in the press and confirmed

by the analysis of independent experts.

               1.     Central Operator Can Remove, Discard or Manipulate Votes.

       148.    Plaintiffs have also learned of the connection between Dominion Voting Systems,

Smartmatic and the voting systems used in Venezuela and the Philippines.

         a. Dominion Voting has also contradicted itself in a rush to denial a pattern of errors
            that lead to fraud. For example, Dominion Voting Systems machines can read all
            of these instruments, including Sharpies. https://www.dominionvoting.com/

         b. Dominion Voting’s Democracy Suite contract with Michigan specifically requires:

       Black Ink: Black ink (or toner) must be dense, opaques, light-fast and permanent,
       with a measured minimum 1.2 reflection density (log) above the paper base. See
       Ex. 8 ¶2.6.2.

       149.    Affiant Ronald Watkins, who is a network & Information cyber-securities expert,

under sworn testimony explains that after studying the user manual for Dominion Voting

Systems Democracy software, he learned that the information about scanned ballots can be

tracked inside the software system:

       (a)     When bulk ballot scanning and tabulation begins, the "ImageCast Central"
       workstation operator will load a batch of ballots into the scanner feed tray and
       then start the scanning procedure within the software menu. The scanner then
       begins to scan the ballots which were loaded into the feed tray while the
       "ImageCast Central" software application tabulates votes in real-time. Information
       about scanned ballots can be tracked inside the "ImageCast Central" software
       application. (Ex. 106, Watkins aff. ¶11).

       150.    Mr. Watkins further explains that the central operator can remove or discard

batches of votes. “After all of the ballots loaded into the scanner's feed tray have been through

the scanner, the "ImageCast Central" operator will remove the ballots from the tray then have the



                                                54                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.926
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 140Page
                                                                   of 1677
                                                                        55 of 86




option to either "Accept Batch" or "Discard Batch" on the scanning menu …. “ Id. ¶8.

       151.    Mr. Watkins further testifies that the user manual makes clear that the system

allows for threshold settings to be set to find all ballots get marked as “problem ballots” for

discretionary determinations on where the vote goes stating:

       9. During the ballot scanning process, the "ImageCast Central" software will
       detect how much of a percent coverage of the oval was filled in by the voter. The
       Dominion customer determines the thresholds of which the oval needs to be
       covered by a mark in order to qualify as a valid vote. If a ballot has a marginal
       mark which did not meet the specific thresholds set by the customer, then the
       ballot is considered a "problem ballot" and may be set aside into a folder named
       "NotCastImages".

       10. Through creatively tweaking the oval coverage threshold settings, and
       advanced settings on the ImageCase Central scanners, it may be possible to set
       thresholds in such a way that a non-trivial amount of ballots are marked "problem
       ballots" and sent to the "NotCastImages" folder.

       11. The administrator of the ImageCast Central work station may view all images
       of scanned ballots which were deemed "problem ballots" by simply navigating via
       the standard "Windows File Explorer" to the folder named "NotCastImages"
       which holds ballot scans of "problem ballots". It may be possible for an
       administrator of the "ImageCast Central" workstation to view and delete any
       individual ballot scans from the "NotCastImages" folder by simply using the
       standard Windows delete and recycle bin functions provided by the Windows 10
       Pro operating system. Id. ¶¶9-11.

       152.    Mr. Watkins further explains the vulnerabilities in the system when the copy of

the selected ballots that are approved in the Results folder are made to a flash memory card – and

that is connected to a Windows computer stating:

       The upload process is just a simple copying of a "Results" folder containing vote
       tallies to a flash memory card connected to the "Windows 10 Pro" machine. The
       copy process uses the standard drag-n-drop or copy/paste mechanisms within the
       ubiquitous "Windows File Explorer". While a simple procedure, this process may
       be error prone and is very vulnerable to malicious administrators. Id. ¶13.

               2.      Dominion – By Design – Violates Federal Election & Voting Record
                       Retention Requirements.

       153.    The Dominion System put in place by its own design violates the intent of Federal




                                                 55                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.927
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 141Page
                                                                   of 1677
                                                                        56 of 86




law on the requirement to preserve and retain records – which clearly requires preservation of all

records requisite to voting in such an election.

       § 20701. Retention and preservation of records and papers by officers of
       elections; deposit with custodian; penalty for violation

       Every officer of election shall retain and preserve, for a period of twenty-
       two months from the date of any general, special, or primary election of
       which candidates for the office of President, Vice President, presidential
       elector, Member of the Senate, Member of the House of Representatives,
       or Resident Commissioner from the Commonwealth of Puerto Rico are
       voted for, all records and papers which come into his possession
       relating to any application, registration, payment of poll tax, or other
       act requisite to voting in such election, except that, when required by
       law, such records and papers may be delivered to another officer of
       election and except that, if a State or the Commonwealth of Puerto Rico
       designates a custodian to retain and preserve these records and papers at a
       specified place, then such records and papers may be deposited with such
       custodian, and the duty to retain and preserve any record or paper so
       deposited shall devolve upon such custodian. Any officer of election or
       custodian who willfully fails to comply with this section shall be fined not
       more than $1,000 or imprisoned not more than one year, or both.

See 52 USC § 20701.

       154.    A Penn Wharton Study from 2016 concluded that “Voters and their

representatives in government, often prompted by news of high-profile voting problems,

also have raised concerns about the reliability and integrity of the voting process, and

have increasingly called for the use of modern technology such as laptops and tablets to

improve convenience.” 15

               3.      Dominion Vulnerabilities to Hacking.

       155.    Plaintiffs have since learned that the "glitches" in the Dominion system --




15
  Penn Wharton Public Policy Initiative, University of Pennsylvania, The Business of Voting:
Market Structure and Innovation in the Election Technology Industry at 16 (2016) (“Penn
Wharton 2016 Study”), available at: https://trustthevote.org/wp-content/uploads/2017/03/2017-
whartonoset_industryreport.pdf.



                                                   56                                  Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.928
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 142Page
                                                                   of 1677
                                                                        57 of 86




that have the uniform effect of hurting Trump and helping Biden -- have been widely

reported in the press and confirmed by the analysis of independent experts.

      156.    Plaintiffs can show, through expert and fact witnesses that:

      A.      Massive End User Vulnerabilities.

      (1) Users on the ground have full admin privileges to machines and software. The
          Dominion system is designed to facilitate vulnerability and allow a select few
          to determine which votes will be counted in any election. Workers were
          responsible for moving ballot data from polling place to the collector’s office
          and inputting it into the correct folder. Any anomaly, such as pen drips or
          bleeds, is not counted and is handed over to a poll worker to analyze and
          decide if it should count. This creates massive opportunity for improper vote
          adjudication. (Ex. 106 Watkins aff. ¶¶8 & 11).

     (2) Affiant witness (name redacted for security reasons), in his sworn testimony
         explains he was selected for the national security guard detail of the President
         of Venezuela, and that he witnessed the creation of Smartmatic for the purpose
         of election vote manipulation:

           I was witness to the creation and operation of a sophisticated electronic
           voting system that permitted the leaders of the Venezuelan government
           to manipulate the tabulation of votes for national and local elections
           and select the winner of those elections in order to gain and maintain
           their power. Importantly, I was a direct witness to the creation and
           operation of an electronic voting system in a conspiracy between a
           company known as Smartmatic and the leaders of conspiracy with the
           Venezuelan government. This conspiracy specifically involved
           President Hugo Chavez Frias, the person in charge of the National
           Electoral Council named Jorge Rodriguez, and principals,
           representatives, and personnel from Smartmatic which included … The
           purpose of this conspiracy was to create and operate a voting system
           that could change the votes in elections from votes against persons
           running the Venezuelan government to votes in their favor in order to
           maintain control of the government. (Id. ¶¶6, 9, 10).

      157.    Specific vulnerabilities of the systems in question that have been

documented or reported include:

      A. Barcodes can override the voters’ vote: As one University of California,
         Berkeley study shows, “In all three of these machines [including Dominion
         Voting Systems] the ballot marking printer is in the same paper path as the
         mechanism to deposit marked ballots into an attached ballot box. This opens



                                            57                                  Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.929
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 143Page
                                                                   of 1677
                                                                        58 of 86




          up a very serious security vulnerability: the voting machine can make the
          paper ballot (to add votes or spoil already-case votes) after the last time the
          voter sees the paper, and then deposit that marked ballot into the ballot box
          without the possibility of detection.” (See Ex. 2, Appel Study).

       B. Voting machines were able to be connected to the internet by way of laptops
          that were obviously internet accessible. If one laptop was connected to the
          internet, the entire precinct was compromised.

       C. October 6, 2006 – Congresswoman Carolyn Maloney calls on Secretary of
          Treasury Henry Paulson to conduct an investigation into Smartmatic based on
          its foreign ownership and ties to Venezuela. (See Ex. 15). Congresswoman
          Maloney wrote that “It is undisputed that Smartmatic is foreign owned and it
          has acquired Sequoia … Smartmatic now acknowledged that Antonio
          Mugica, a Venezuelan businessman has a controlling interest in Smartmatica,
          but the company has not revealed who all other Smartmatic owners are. Id.

       D. Dominion “got into trouble” with several subsidiaries it used over alleged
          cases of fraud. One subsidiary is Smartmatic, a company “that has played a
          significant role in the U.S. market over the last decade.” 16 Dominion entered
          into a 2009 contract with Smartmatic and provided Smartmatic with the
          PCOS machines (optical scanners) that were used in the 2010 Philippine
          election, the biggest automated election run by a private company. The
          automation of that first election in the Philippines was hailed by the
          international community and by the critics of the automation. The results
          transmission reached 90% of votes four hours after polls closed and Filipinos
          knew for the first time who would be their new president on Election Day. In
          keeping with local Election law requirements, Smartmatic and Dominion
          were required to provide the source code of the voting machines prior to
          elections so that it could be independently verified. Id.

       E. Litigation over Smartmatic “glitches” alleges they impacted the 2010 and
          2013 mid-term elections in the Philippines, raising questions of cheating and
          fraud. An independent review of the source codes used in the machines found
          multiple problems, which concluded, “The software inventory provided by
          Smartmatic is inadequate, … which brings into question the software
          credibility.” 17

       F. Dominion acquired Sequoia Voting Systems as well as Premier Election

16
  Voting Technology Companies in the U.S. – Their Histories and Present Contributions,
Access Wire, (Aug. 10, 2017), available at: https://www.accesswire.com/471912/Voting-
Technology-Companies-in-the-US--Their-Histories.
17
   Smartmatic-TIM Running Out of Time to Fix Glitches, ABS-CBN News (May 4, 2010),
available at: https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-
glitches.



                                              58                                   Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.930
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 144Page
                                                                   of 1677
                                                                        59 of 86




          Solutions (formerly part of Diebold, which sold Premier to ES&S in 2009,
          until antitrust issues forced ES&S to sell Premier, which then was acquired by
          Dominion). This map illustrates 2016 voting machine data—meaning, these
          data do not reflect geographic aggregation at the time of acquisition, but
          rather the machines that retain the Sequoia or Premier/Diebold brand that now
          fall under Dominion’s market share. Penn Wharton Study at 16.

       G. In late December of 2019, three Democrat Senators, Warren, Klobuchar,
          Wyden and House Member Mark Pocan wrote about their ‘particularized
          concerns that secretive & “trouble -plagued companies”’ “have long skimped
          on security in favor of convenience,” in the context of how they described the
          voting machine systems that three large vendors – Election Systems &
          Software, Dominion Voting Systems, & Hart InterCivic – collectively provide
          voting machines & software that facilitate voting for over 90% of all eligible
          voters in the U.S.” (See Ex. 16).

       H. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting
          systems] are “yet another damning indictment of the profiteering election
          vendors, who care more about the bottom line than protecting our
          democracy.” It’s also an indictment, he said, “of the notion that important
          cybersecurity decisions should be left entirely to county election offices,
          many of whom do not employ a single cybersecurity specialist.” 18

       158.   The expert witness in pending litigation in the United States District Court

of Georgia, Case 1:17-cv-02989-AT, Harri Hursti, specifically testified to the acute

security vulnerabilities, among other facts, by declaration filed on August 24, 2020,

(See Ex. 107) wherein he testified or found:

       A. “The scanner and tabulation software settings being employed to determine
          which votes to count on hand marked paper ballots are likely causing clearly
          intentioned votes to be counted” “The voting system is being operated in
          Fulton County in a manner that escalates the security risk to an extreme level”
          “Votes are not reviewing their BMD printed ballots, which causes BMD
          generated results to be un-auditable due to the untrustworthy audit trail.” 50%
          or more of voter selections in some counties were visible to poll workers.
          Dominion employees maintain near exclusive control over the EMS servers.
          “In my professional opinion, the role played by Dominion personnel in Fulton
          County, and other counties with similar arrangements, should be considered

18
   Kim Zetter, Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite
Official Denials, VICE (Aug. 8, 2019) (“VICE Election Article”), available at:
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems have-been-left-
exposed-online-despite-official-denials.



                                             59                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.931
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 145Page
                                                                   of 1677
                                                                        60 of 86




           an elevated risk factor when evaluating the security risks of Georgia’s voting
           system.” Id. ¶26.

      B. A video game download was found on one Georgia Dominion system laptop,
         suggesting that multiple Windows updates have been made on that respective
         computer.

      C. There is evidence of remote access and remote troubleshooting which
         presents a grave security implication.

      D. Certified identified vulnerabilities should be considered an “extreme security
         risk.”

      E. There is evidence of transfer of control the systems out of the physical
         perimeters and place control with a third party off site.

      F. USB drives with vote tally information were observed to be removed from the
         presence of poll watchers during a recent election.

      1.        Hursti stated within said Declaration:

      “The security risks outlined above – operating system risks, the failure to
      harden the computers, performing operations directly on the operating
      systems, lax control of memory cards, lack of procedures, and potential
      remote access are extreme and destroy the credibility of the tabulations
      and output of the reports coming from a voting system.” Id. ¶49.

      159.    Rather than engaging in an open and transparent process to give credibility

to Michigan’s Dominion-Democracy Suite voting system, the processes were hidden

during the receipt, review, opening, and tabulation of those votes in direct contravention

of Michigan’s Election Code and Federal law.

      160.    In October of 2020 The FBI and CISA issued a JOINT CYBERSECURITY

ADVISORY ON October 30, 2020 titled: Iranian Advanced Persistent Threat Actor

Identified Obtained Voter Registration Data

      This joint cybersecurity advisory was coauthored by the Cybersecurity and
      Infrastructure Security Agency (CISA) and the Federal Bureau of Investigation
      (FBI). CISA and the FBI are aware of an Iranian advanced persistent threat (APT)
      actor targeting U.S. state websites to include election websites. CISA and the FBI
      assess this actor is responsible for the mass dissemination of voter intimidation
      emails to U.S. citizens and the dissemination of U.S. election-related



                                              60                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.932
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 146Page
                                                                   of 1677
                                                                        61 of 86




       disinformation in mid-October 2020.1 (Reference FBI FLASH message ME-
       000138-TT, disseminated October 29, 2020). Further evaluation by CISA and the
       FBI has identified the targeting of U.S. state election websites was an intentional
       effort to influence and interfere with the 2020 U.S. presidential election. (See Ex.
       18 at 1, CISA and FBI Joint Cyber Security Advisory of October 30, 2020)

       161.    An analysis of the Dominion software system by a former US Military

Intelligence expert subsequently found that the Dominion Voting system and software are

accessible - and got compromised by rogue actors, including foreign interference by Iran and

China. (See Ex. 105, Spider Declaration (Affiant’s name redacted for security reasons)).

       162.    The expert finds an analysis and explains how by using servers and employees

connected with rogue actors and hostile foreign influences combined with numerous easily

discoverable leaked credentials, Dominion allowed foreign adversaries to access data and

intentionally provided access to their infrastructure in order to monitor and manipulate elections,

including the most recent one in 2020. (See Id.). Several facts are set forth related to foreign

members of Dominion Voting Systems and foreign servers as well as foreign interference.).

       163.    Another expert, whose name has been redacted, conducted in-depth statistical

analysis of publicly available data on the 2020 U.S. Presidential Election from November 13,

2020 through November 28, 2020. (See Ex. 111). He compares results from Dominion Voting

Machines to areas with non-Dominion Voting Machines and he finds that Biden out-performs in

the areas with Dominion Voting Machines, and after checking for other potential drivers of bias,

finds none. Id. ¶¶11-12. He finds the difference to be clearly statistically significant. His

review includes data included vote counts for each county in the United States, U.S. Census data,

and type of voting machine data provided by the U.S. Election Assistance Committee and further

concludes that “the results of the analysis and the pattern seen in the included graph strongly

suggest a systemic, system-wide algorithm was enacted by an outside agent, causing the results

of Michigan’s vote tallies to be inflated by somewhere between three and five point six


                                                 61                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.933
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 147Page
                                                                   of 1677
                                                                        62 of 86




percentage points. Statistical estimating yields that in Michigan, the best estimate of the

number of impacted votes is 162,400. However, a 95% confidence interval calculation yields

that as many as 276,080 votes may have been impacted.” Id. ¶13.

               4.     Background of Dominion Connections to Smartmatic and
                      Hostile Foreign Governments.

       164.    Plaintiffs can also show Smartmatic’s incorporation and inventors who

have backgrounds evidencing their foreign connections, including Serbia, specifically

its identified inventors:

       Applicant: SMARTMATIC, CORP.

       Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic, Jeffrey
       Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli, Gisela Goncalves,
       Yrem Caruso 19

       165.    Another Affiant witness testifies that in Venezuela, she was in official

position related to elections and witnessed manipulations of petitions to prevent a

removal of President Chavez and because she protested, she was summarily dismissed.

She explains the vulnerabilities of the electronic voting system and Smartmatica to such

manipulations. (See Ex. 17, Cardozo Aff. ¶8).

       G.      Because Dominion Senior Management Has Publicly Expressed
               Hostility to Trump and Opposition to His Election, Dominion Is Not
               Entitled to Any Presumption of Fairness, Objectivity or Impartiality,
               and Should Instead Be Treated as a Hostile Partisan Political Actor.

       166.    Dr. Eric Coomer is listed as the co-inventor for several patents on ballot

adjudication and voting machine-related technology, all of which were assigned to

Dominion. 20 He joined Dominion in 2010, and most recently served as Voting Systems


19
  See Patents Assigned to Smartmatic Corp., available at:
https://patents.justia.com/assignee/smartmatic-corp
20
  See “Patents by Inventor Eric Coomer,” available at:
https://patents.justia.com/inventor/eric-coomer. This page lists the following patents


                                               62                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.934
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 148Page
                                                                   of 1677
                                                                        63 of 86




Officer of Strategy and Director of Security for Dominion. Upon information and

belief, Dr. Coomer first joined Sequoia Voting Systems in 2005 as Chief Software

Architect and became Vice President of Engineering before Dominion Voting Systems

acquired Sequoia. Dr. Coomer’s patented ballot adjudication technology into Dominion

voting machines sold throughout the United States, including those used in Michigan.

       167.   In 2016, Dr. Coomer admitted to the State of Illinois that Dominion

Voting machines can be manipulated remotely. 21 He has also publicly posted videos

explaining how Dominion voting machines can be remotely manipulated. 22

       168.   Dr. Coomer has emerged as Dominion’s principal defender, both in

litigation alleging that Dominion rigged elections in Georgia and in the media. An

examination of his previous public statements has revealed that Dr. Coomer is a highly

partisan and even more anti-Trump, precisely the opposite of what would expect from




issued to Dr. Coomer and his co-inventors: (1) U.S. Patent No. 9,202,113, Ballot
Adjudication in Voting Systems Utilizing Ballot Images (issued Dec. 1, 2015); (2) U.S.
Patent No. 8,913,787, Ballot Adjudication in Voting Systems Utilizing Ballot Images
(issued Dec. 16, 2014); (3) U.S. Patent No. 8,910,865, Ballot Level Security Features
for Optical Scan Voting Machine Capable of Ballot Image Processing, Secure Ballot
Printing, and Ballot Layout Authentication and Verification (issued Dec. 16, 2014); (4)
U.S. Patent No. 8,876,002, Systems for Configuring Voting Machines, Docking Device
for Voting Machines, Warehouse Support and Asset Tracking of Voting Machines
(issued Nov. 4, 2014); (5) U.S. Patent No. 8,864,026, Ballot Image Processing System
and Method for Voting Machines (issued Oct. 21, 2014); (6) U.S. Patent No. 8,714,450,
Systems and Methods for Transactional Ballot Processing, and Ballot Auditing (issued
May 6, 2014), available at: https://patents.justia.com/inventor/eric-coomer.
21
  Jose Hermosa, Electoral Fraud: Dominion’s Vice President Warned in 2016 That Vote-
Counting Systems Are Manipulable, The BL (Nov. 13, 2020), available at: https://thebl.com/us-
news/electoral-fraud-dominions-vice-president-warned-in-2016-that-vote-counting-systems-are-
manipulable.html.
22
   See, e.g., “Eric Coomer Explains How to Alter Votes in the Dominion Voting System” (Nov.
24, 2020) (excerpt of presentation delivered in Chicago in 2017), available at:
https://www.youtube.com/watch?v=UtB3tLaXLJE.



                                             63                                   Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.935
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 149Page
                                                                   of 1677
                                                                        64 of 86




the management of a company charged with fairly and impartially counting votes

(which is presumably why he tried to scrub his social media history).

       169.   Unfortunately for Dr. Coomer, however, a number of these posts have

been captured for perpetuity. Below are quotes from some of his greatest President

Trump and Trump voter hating hits. (See Ex. 19).

       If you are planning to vote for that autocratic, narcissistic, fascist ass-hat
       blowhard and his Christian jihadist VP pic, UNFRIEND ME NOW! No,
       I’m not joking. … Only an absolute F[**]KING IDIOT could ever vote
       for that wind-bag fuck-tard FASCIST RACIST F[**]K! … I don’t give a
       damn if you’re friend, family, or random acquaintance, pull the lever,
       mark an oval, touch a screen for that carnival barker … UNFRIEND ME
       NOW! I have no desire whatsoever to ever interact with you. You are
       beyond hope, beyond reason. You are controlled by fear, reaction and
       bullsh[*]t. Get your shit together. F[**]K YOU! Seriously, this f[**]king
       ass-clown stands against everything that makes this country awesome!
       You want in on that? You [Trump voters] deserve nothing but contempt.
       Id. (July 21, 2016 Facebook post). 23

       170.   In a rare moment of perhaps unintentional honesty, Dr. Coomer anticipates

this Complaint and many others, by slandering those seeking to hold election riggers

like Dominion to account and to prevent the United States’ descent into Venezuelan

levels of voting fraud and corruption out of which Dominion was born:

       Excerpts in stunning Trump-supporter logic, “I know there is a lot of voter
       fraud. I don’t know who is doing it, or how much is happening, but I
       know it is going on a lot.” This beautiful statement was followed by, “It
       happens in third world countries, this the US, we can’t let it happen here.”
       Id. (October 29, 2016 Facebook post).

       171.   Dr. Coomer, who invented the technology for Dominion’s voting fraud

and has publicly explained how it can be used to alter votes, seems to be extremely

hostile to those who would attempt to stop it and uphold the integrity of elections that



23
   In this and other quotations from Dr. Coomer’s social media, Plaintiffs have redacted certain
profane terms.


                                              64                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.936
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 150Page
                                                                   of 1677
                                                                        65 of 86




underpins the legitimacy of the United States government:

        And in other news… There be some serious fuckery going on right here
        fueled by our Cheeto-in-Chief stocking lie after lie on the flames of [Kris]
        Kobach… [Linking Washington Post article discussing the Presidential
        Advisory Commission on Election Integrity, of which former Kansas
        Secretary of State Kris Kobach was a member, entitled, “The voting
        commission is a fraud itself. Shut it down.”] Id. (September 14, 2017
        Facebook post.]

        172.   Dr. Coomer also keeps good company, supporting and reposting ANTIFA

statements slandering President Trump as a “fascist” and by extension his supporters,

voters and the United States military (which he claims, without evidence, Trump will

make into a “fascist tool”). Id. (June 2, 2020 Facebook post). Lest someone claims that these

are “isolated statements” “taken out of context”, Dr. Coomer has affirmed that he shares

ANTIFA’s taste in music and hatred of the United States of America, id. (May 31, 2020

Facebook post linking “F[**]k the USA” by the exploited), the police. Id. (separate May 31,

2020 Facebook posts linking N.W.A. “F[**]k the Police” and a post promoting phrase “Dead

Cops”). Id. at 4-5.

        173.   Affiant and journalist Joseph Oltmann researched an ANTIFA in

Colorado. Id. at 1. “On or about the week of September 27, 2020,” he attended an

Antifa meeting which appeared to be between Antifa members in Colorado Springs and

Denver Colorado,” where Dr. Coomer was present. In response to a question as to what

Antifa “if Trump wins this … election?”, Dr. Coomer responded “Don’t worry about

the election. Trump is not going to win. I made f[**]king sure of that … Hahaha.” Id.

at 2.

        174.   By putting an anti-Trump zealot like Dr. Coomer in charge of election “Security,”

and using his technology for what should be impartial “ballot adjudication,” Dominion has given

the fox the keys to the hen house and has forfeited any presumption of objectivity, fairness, or


                                               65                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.937
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 151Page
                                                                   of 1677
                                                                        66 of 86




even propriety. It appears that Dominion does not even care about even an appearance of

impropriety, as its most important officer has his fingerprints all over a highly partisan,

vindictive, and personal vendetta against the Republican nominee both in 2016 and 2020,

President Donald Trump. Dr. Coomer’s highly partisan anti-Trump rages show clear motive on

the part of Dominion to rig the election in favor of Biden, and may well explain why for each of

the so-called “glitches” uncovered, it is always Biden receiving the most votes on the favorable

end of such a “glitch.”

          175.   In sum, as set forth above, for a host of independent reasons, the Michigan

certified election results concluding that Joe Biden received 154,188 more votes that

President Donald Trump must be set aside.


                                               COUNT I

Defendants Violated the Elections and Electors Clauses and 42 U.S.C. § 1983.

          176.   Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

          177.   The Electors Clause states that “[e]ach State shall appoint, in such Manner as the

Legislature thereof may direct, a Number of Electors” for President. U.S. Const. art. II, §1, cl. 2

(emphasis added). Likewise, the Elections Clause of the U.S. Constitution states that “[t]he

Times, Places, and Manner of holding Elections for Senators and Representatives, shall be

prescribed in each State by the Legislature thereof.” U.S. Const. art. I, § 4, cl. 1 (emphasis

added).

          178.   The Legislature is “‘the representative body which ma[kes] the laws of the

people.’” Smiley v. Holm, 285 U.S. 355, 365 (1932). Regulations of congressional and

presidential elections, thus, “must be in accordance with the method which the state has

prescribed for legislative enactments.” Id. at 367; see also Ariz. State Legislature v.



                                                   66                                         Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.938
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 152Page
                                                                   of 1677
                                                                        67 of 86




Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

       179.   Defendants are not part of the Michigan Legislature and cannot exercise

legislative power. Because the United States Constitution reserves for the Michigan

Legislature the power to set the time, place, and manner of holding elections for the

President and Congress, county boards of elections and state executive officers have no

authority to unilaterally exercise that power, much less to hold them in ways that

conflict with existing legislation. Defendants are not the legislature, and their unilateral

decision to deviate from the requirements of the Michigan Election Code violates the

Electors and Elections Clause of the United States Constitution.

       180.   Many affiants testified to Defendants’ failure to follow the requirements of

the Michigan Election Code, as enacted by the Michigan Legislature, MCL §§ 168.730-

738, relating to the rights of partisan election challengers to provide transparency and

accountability to ensure that all, and only, lawful ballots casts be counted, and that the

outcome of the election was honestly and fairly determined by eligible voters casting

legal ballots. As detailed in Section II, many of these requirements were either

disregarded altogether or applied in a discriminatory manner to Republican election

challengers. Specifically, election officials violated Michigan’s Election Code by:

(a) disregarding or violating MCL § 168.730 and § 168.733 requiring election

challengers to have meaningful access to observe the counting and processing of ballots,

see supra Section II.A; (b) wanton and widespread forgery and alteration, addition or

removal of votes, voters, or other information from ballots, the QVF or other voting

records, see supra Section II.B; and (c) illegal double voting, counting ineligible ballots,

failure to check signatures or postmarks, and several other practices in clear violation of




                                             67                                  Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.939
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 153Page
                                                                   of 1677
                                                                        68 of 86




the Michigan Election Code (and in some cases at the express direction of supervisors

or Wayne County officials). See supra Section II.C.

       181.   Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted. Defendants

have acted and, unless enjoined, will act under color of state law to violate the Elections

Clause. Accordingly, the results for President in the November 3, 2020 election must

be set aside, the State of Michigan should be enjoined from certifying the results

thereof, and this Court should grant the other declaratory and injunctive relief requested

herein.

                                          COUNT II

Governor Whitmer, Secretary Benson and Other Defendants Violated The Equal
Protection Clause of the Fourteenth Amendment U.S. Const. Amend. XIV &
42 U.S.C. § 1983

Invalid Enactment of Regulations Affecting Observation and Monitoring of the
Election & Disparate Implementation of Michigan Election Code

       182.   Plaintiffs refer to and incorporate by reference each of the prior paragraphs of this

Complaint as though the same were repeated at length herein.

       183.   The Fourteenth Amendment of the United States Constitution provides “nor shall

any state deprive any person of life, liberty, or property, without due process of law; nor

deny to any person within its jurisdiction the equal protection of the laws. See also Bush

v. Gore, 531 U.S. 98, 104 (2000) (having once granted the right to vote on equal terms,

the State may not, by later arbitrary and disparate treatment, value one person’s vote

over the value of another’s). Harper v. Va. Bd. of Elections, 383 U.S. 663, 665 (1966)

(“Once the franchise is granted to the electorate, lines may not be drawn which are

inconsistent with the Equal Protection Clause of the Fourteenth Amendment.”). The



                                               68                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.940
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 154Page
                                                                   of 1677
                                                                        69 of 86




Court has held that to ensure equal protection, a problem inheres in the absence of

specific standards to ensure its equal application. Bush, 531 U.S. at 106 (“The

formulation of uniform rules to determine intent based on these recurring circumstances

is practicable and, we conclude, necessary.”).

       184.    The equal enforcement of election laws is necessary to preserve our most

basic and fundamental rights. The requirement of equal protection is particularly

stringently enforced as to laws that affect the exercise of fundamental rights, including

the right to vote.

       185.    The disparate treatment of Michigan voters, in subjecting one class of voters to

greater burdens or scrutiny than another, violates Equal Protection guarantees because “the right

of suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

effectively as by wholly prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at

555. Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown Grp.,

Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince v.

Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d 524, 536-37 (Utah 2002).

       186.    In statewide and federal elections conducted in the State of Michigan,

including without limitation the November 3, 2020 General Election, all candidates,

political parties, and voters, including without limitation Plaintiffs, have a vested

interest in being present and having meaningful access to observe and monitor the

electoral process in each County to ensure that it is properly administered in every

election district and otherwise free, fair, and transparent. Moreover, through its

provisions involving watchers and representatives, the Michigan Election Code ensures

that all candidates and political parties in each County, including the Trump Campaign,




                                                69                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.941
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 155Page
                                                                   of 1677
                                                                        70 of 86




have meaningful access to observe and monitor the electoral process to ensure that it is

properly administered in every election district and otherwise free, fair, and transparent.

See, e.g., MCL § 168.730 & § 168.733(1).

       187.    Further, the Michigan Election Code provides it is a felony punishable by up

to two years in state prison for any person to threaten or intimidate a challenger who is

performing any activity described in Michigan law. MCL § 168.734(4). Defendants have a

duty to treat the voting citizens in each County in the same manner as the citizens in

other Counties in Michigan.

       188.    As set forth in Count I above, Defendants failed to comply with the

requirements of the Michigan Election Code and thereby diluted the lawful ballots of

the Plaintiffs and of other Michigan voters and electors in violation of the United States

Constitution guarantee of Equal Protection.

       189.    Specifically, Defendants denied the Trump Campaign equal protection of

the law and their equal rights to meaningful access to observe and monitor the electoral

process enjoyed by citizens in other Michigan Counties by: (a) denying Republican poll

challengers access to the TCF Center or physically removing them or locking them out

for pretextual reasons; (b) denied Republican poll watchers meaningful access to, or

even physically blocking their view of, ballot handling, processing, or counting; (c)

engaged in a systematic pattern of harassment, intimidation, verbal insult, and even

physical removal of Republican poll challengers; (d) systematically discriminated

against Republican poll watchers and in favor of Democratic poll watchers and activists

in enforcing rules (in particular, through abuse of “social distancing” requirements); (e)

ignored or refused to record Republican challenges to the violations set forth herein; (f)




                                                70                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.942
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 156Page
                                                                   of 1677
                                                                        71 of 86




refused to permit Republican poll watchers to observe ballot duplication or to check if

duplication was accurate; (g) unlawfully coached voters to vote for Biden and other

democratic candidates, including at voting stations; and (h) colluded with other

Michigan State, Wayne County and City of Detroit employees (including police) and

Democratic poll watchers and activists to engage in the foregoing violations. See

generally supra Section II.A.

       190.   Defendants further violated Michigan voters’ rights to equal protection

insofar as it allowed Wayne County and City of Detroit election workers to process and

count ballots in a manner that allowed ineligible ballots to be counted, including: (a)

fraudulently adding tens of thousands of new ballots and/or new voters to the QVF in

two separate batches on November 4, 2020, all or nearly all of which were votes for Joe

Biden; (b) systematically forging voter information and fraudulently adding new voters

to the QVF (in particular, where a voter’s name could not be found, assigning the ballot

to a random name already in the QVF to a person who had not voted and recorded these

new voters as having a birthdate of 1/1/1900); (c) fraudulently changing dates on

absentee ballots received after 8:00 PM Election Day deadline to indicate that such

ballots were received before the deadline; (d) changing votes for Trump and other

Republican candidates; (e) adding votes to “undervote” ballots and removing votes from

“Over-Votes”; (f) permitting illegal double voting by persons that had voted by absentee

ballot and in person; (g) counting ineligible ballots – and in many cases – multiple

times; (h) counting ballots without signatures, or without attempting to match

signatures, and ballots without postmarks, pursuant to direct instructions from

Defendants; (i) counting “spoiled” ballots; (j) systematic violations of ballot secrecy




                                            71                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.943
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 157Page
                                                                   of 1677
                                                                        72 of 86




requirements; (k) accepting unsecured ballots arrived at the TCF Center loading garage,

not in sealed ballot boxes, without any chain of custody, and without envelopes, after

the 8:00 PM Election Day deadline; (l) accepting and counting ballots from deceased

voters; and (m) accepting and counting ballots collected from unattended remote drop

boxes. See generally infra Section II.B. and II.C.

       191.   Plaintiffs have obtained direct eyewitness testimony confirming that

certain of these unlawful practices were at the express direction of Wayne County

election officials. With respect to (a) and (b), Affiant Cushman testified that election

supervisor Miller informed him that the Wayne County Clerk’s office had expressly

instructed them to manually to enter thousands of ballots arriving around 9 PM on

November 4, 2020, from voters not in the QVF, and to manually enter these

unregistered voters in the QVF with the birthdate of 1/1/1900. Ex. 4, GLJC Complaint,

Ex. D ¶¶ 14-17. With respect to (c), fraudulently back-dating absentee ballots, City of

Detroit election worker Affiant Jacob affirmed that she was instructed by supervisors to

“improperly pre-date the absentee ballots receive date … to falsely show that absentee

ballots had been received in time to be valid.” Id. Ex. B ¶17. With respect to (h)

(accepting ballots without signatures or postmarks), affiants testified that election

workers did so at the express direction of Wayne County election officials. See id. ¶15.

       192.   Other Michigan county boards of elections provided watchers and

representatives of candidates and political parties, including without limitation watchers

and representatives of the Trump Campaign, with appropriate access to view the

absentee and mail-in ballots being pre-canvassed and canvassed by those county

election boards without the restrictions and discriminatory treatment outline above.




                                             72                                  Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.944
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 158Page
                                                                   of 1677
                                                                        73 of 86




Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs access to

and/or obstructed actual observation and monitoring of the absentee and mail-in ballots

being pre-canvassed and canvassed by Defendants, depriving them of the equal

protection of those state laws enjoyed by citizens in other Counties.

       193.   Defendants have acted and will continue to act under color of state law to

violate Plaintiffs’ right to be present and have actual observation and access to the

electoral process as secured by the Equal Protection Clause of the United States

Constitution. Defendants thus failed to conduct the general election in a uniform

manner as required by the Equal Protection Clause of the Fourteenth Amendment, the

corollary provisions of the Michigan Constitution, and the Michigan Election Code.

       194.   Plaintiffs seek declaratory and injunctive relief requiring Secretary Benson

to direct that the Michigan Counties allow a reasonable number of challengers to

meaningfully observe the conduct of the Michigan Counties canvassers and board of

state canvassers and that these canvassing boards exercise their duty and authority under

Michigan law, which forbids certifying a tally that includes any ballots that were not

legally cast, or that were switched from Trump to Biden through the unlawful use of

Dominion Democracy Suite software and devices.

       195.   In addition, Plaintiffs ask this Court to order that no ballot processed by a

counting board in the Michigan Counties can be included in the final vote tally unless a

challenger was allowed to meaningfully observe the process and handling and counting

of the ballot, or that were unlawfully switched from Trump to Biden.

       196.   Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the declaratory and injunctive relief requested herein is granted.




                                            73                                   Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.945
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 159Page
                                                                   of 1677
                                                                        74 of 86




Indeed, the setting aside of an election in which the people have chosen their

representative is a drastic remedy that should not be undertaken lightly, but instead

should be reserved for cases in which a person challenging an election has clearly

established a violation of election procedures and has demonstrated that the violation

has placed the result of the election in doubt. Michigan law allows elections to be

contested through litigation, both as a check on the integrity of the election process and

as a means of ensuring the fundamental right of citizens to vote and to have their votes

counted accurately.

       197.   In addition to the alternative requests for relief in the preceding

paragraphs, hereby restated, Plaintiffs seek a permanent injunction requiring the Wayne

County and other Michigan Election Boards to invalidate ballots cast by: (1) any voter

added to the QVF after the 8:00 PM Election Day deadline; (3) any absentee or mail-in

ballot received without a signature or postmark; (4) any ballot cast by a voter who

submitted a mail-in ballot and voted in person; (5) any ballot cast by a voter not in the

QVF that was assigned the name of a voter in the QVF; (6) voters whose signatures on

their registrations have not been matched with ballot, envelope and voter registration

check; and (7) all “dead votes”. See generally supra Section II.A-II.C.

                                           COUNT III

Fourteenth Amendment, Amend. XIV & 42 U.S.C. § 1983

Denial of Due Process On The Right to Vote

       198.   Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length herein.

       199.   The right of qualified citizens to vote in a state election involving federal




                                             74                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.946
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 160Page
                                                                   of 1677
                                                                        75 of 86




candidates is recognized as a fundamental right under the Fourteenth Amendment of the

United States Constitution. Harper, 383 U.S. at 665. See also Reynolds, 377 U.S. at

554 (The Fourteenth Amendment protects the “the right of all qualified citizens to vote,

in state as well as in federal elections.”). Indeed, ever since the Slaughter-House Cases,

83 U.S. 36 (1873), the United States Supreme Court has held that the Privileges or

Immunities Clause of the Fourteenth Amendment protects certain rights of federal

citizenship from state interference, including the right of citizens to directly elect

members of Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex

parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400 U.S.

112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

       200.     The fundamental right to vote protected by the Fourteenth Amendment is

cherished in our nation because it “is preservative of other basic civil and political

rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a ballot in an election

free from the taint of intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211

(1992), and “[c]onfidence in the integrity of our electoral processes is essential to the

functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)

(per curiam).

       201.     “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots and have

them counted” if they are validly cast. United States v. Classic, 313 U.S. 299, 315

(1941). “[T]he right to have the vote counted” means counted “at full value without

dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting South v. Peters, 339

U.S. 276, 279 (1950) (Douglas, J., dissenting)).




                                             75                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.947
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 161Page
                                                                   of 1677
                                                                        76 of 86




        202.    “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right under the

Constitution to have his vote fairly counted, without its being distorted by fraudulently

cast votes.” Anderson v. United States, 417 U.S. 211, 227 (1974); see also Baker v.

Carr, 369 U.S. 186, 208 (1962). Invalid or fraudulent votes “debase[]” and “dilute” the

weight of each validly cast vote. See Anderson, 417 U.S. at 227.

        203.    The right to vote includes not just the right to cast a ballot, but also the right to

have it fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or

diluted by a fraudulent or illegal vote, including without limitation when a single person votes

multiple times. The Supreme Court of the United States has made this clear in case after case.

See, e.g., Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the

diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196

(2008) (plurality op. of Stevens, J.) (“There is no question about the legitimacy or importance of

the State’s interest in counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377

U.S. 533, 554-55 & n.29 (1964).

        204.    The right to an honest [count] is a right possessed by each voting elector,

and to the extent that the importance of his vote is nullified, wholly or in part, he has

been injured in the free exercise of a right or privilege secured to him by the laws and

Constitution of the United States.” Anderson, 417 U.S. at 226 (quoting Prichard v.

United States, 181 F.2d 326, 331 (6th Cir.), aff'd due to absence of quorum, 339 U.S.

974 (1950)).

        205.    Practices that promote the casting of illegal or unreliable ballots or fail to

contain basic minimum guarantees against such conduct, can violate the Fourteenth




                                                   76                                        Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.948
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 162Page
                                                                   of 1677
                                                                        77 of 86




Amendment by leading to the dilution of validly cast ballots. See Reynolds, 377 U.S. at

555 (“[T]he right of suffrage can be denied by a debasement or dilution of the weight of

a citizen’s vote just as effectively as by wholly prohibiting the free exercise of the

franchise.”).

       206.     Section II of this Complaint and the exhibits attached hereto describe

widespread and systematic violations of the Due Process Clause described, namely: (A)

Section II.A, Republican poll challengers were denied the opportunity to meaningfully

observe the processing and counting of ballots; (B) Section II.B, election workers

forged, added, removed or otherwise altered information on ballots, the QFV and other

voting records; and (C) Section II.C, several other Michigan Election Code violations

that caused or facilitated the counting of tens of thousands of ineligible, illegal or

duplicate ballots.

       207.     Plaintiffs seek declaratory and injunctive relief requiring that Secretary

Benson and Wayne County are enjoined from certifying the results of the General

Election, or in the alternative, conduct a recount or recanvass in which they allow a

reasonable number of challengers to meaningfully observe the conduct of the Michigan

Board of State Canvassers and the Michigan county Boards of Canvassers and that these

canvassing boards exercise their duty and authority under Michigan law, which forbids

certifying a tally that includes any ballots that were not legally cast, or that were

switched from Trump to Biden through the unlawful use of Dominion Democracy Suite

software and devices.




                                              77                                   Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.949
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 163Page
                                                                   of 1677
                                                                        78 of 86




                                           COUNT IV

Wide-Spread Ballot Fraud

Violations of Michigan Election Code (MCL §§ 168.730-738) &

Michigan Constitution, Art. II § 4

       208.    Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

       209.    Plaintiffs contest the results of Michigan’s 2020 General Election. In 2018, the

voters of Michigan enacted an amendment to Article II of the Michigan Constitution that

conferred a number of rights on Michigan voters, and empowered the Michigan Legislature, to

“enact laws … to preserve the purity of elections, … [and] to guard against abuses of the elective

franchise ….” Mich. Const. Art. II § 4(2). Standing conferred under the Michigan Constitution,

Art. II § 4(1), which provides that “[e]very citizen of the United States who is an elector

qualified to vote in Michigan shall have the right,” among other things, “to have the results of

statewide elections audited, …, to ensure the accuracy and integrity of elections.”

       210.    Various provisions of the Michigan Election Code also give any citizen the right

to bring an election challenge within 30 days of an election where, as here, it appears that a

material fraud or error has been committed. See, e.g., Hamlin v. Saugatuck Twp., 299 Mich.

App. 233, 240-241 (2013) (citing Barrow v. Detroit Mayor, 290 Mich. App. 530 (2010)); MCL §

168.31a (setting forth election audit requirements); MCL § 168.861 (quo warranto remedy for

fraudulent or illegal voting).

       211.    This Complaint has provided evidence from dozens of eyewitnesses who

have detailed dozens of separate violations of the Michigan Election Code by election

workers, acting in concert with government employees and Democratic operatives and

activists, see generally Section II; reinforced by several expert witnesses, each testifying

regarding distinct types statistical anomalies that, whether considered in isolation or in



                                                 78                                     Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.950
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 164Page
                                                                   of 1677
                                                                        79 of 86




combination with others, affect a sufficient number of ballots to affect the result of the

election, see generally Section III; and combined fact and expert testimony regarding

Dominion showing that Dominion, whether acting alone or in concert with domestic or

foreign actors had the means, motive and opportunity to fraudulently manipulate votes

and change the election results. See generally Section IV.

       212.     Plaintiffs are not, however, the only ones expressing grave concerns regarding

the propriety of the 2020 General Election. In a concurring opinion issued just a few days ago in

Costantino v. City of Detroit, 2020 WL 6882586 (Mich. Nov. 23, 2020), Justice Zahra of the

Supreme Court of Michigan, in denying as moot a request to enjoin certification by Wayne

County (but not the audit or other requested relief), stated that “Nothing said is to diminish the

troubling and serious allegations of fraud and irregularities asserted by affiants …, among whom

is Ruth Johnson, Michigan’s immediate past Secretary of State.” Id. at *2 (Zahra, J.,

concurring).

       213.    As here, plaintiffs in Costantino, presented “evidence to substantiate their

allegations, which include claims of ballots being counted from voters whose names were not

contained in the appropriate poll books, instructions being given to disobey election laws and

regulations,” and several other categories of violations that overlap with those alleged in this

Complaint and in affiants’ testimony. Id. This opinion further urged the trial court to schedule

evidentiary hearing on an expedited basis. Id.

Violation of MCL 168.765a.

       214.    Absent voter ballots must only be counted when “at all times” there is “at least 1

election inspector from each major political party.” MCL 168.765a.

       215.    Per eyewitness accounts described in this Complaint and its attached sworn

affidavits, Defendants habitually and systematically disallowed election inspectors from the


                                                 79                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.951
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 165Page
                                                                   of 1677
                                                                        80 of 86




Republican Party, including Plaintiff, to be present in the voter counting place and refused

access to election inspectors from the Republican Party, including Plaintiff, to be within a

close enough distance from the absent voter ballots to be able to see for whom the ballots were

cast. See generally supra Section II.A.


       216.     Defendants refused entry to official election inspectors from the Republican

Party, including Plaintiff, into the counting place to observe the counting of absentee voter

ballots. Defendants even physically blocked and obstructed election inspectors from the

Republican Party, including Plaintiff, by adhering large pieces of cardboard to the transparent

glass doors so the counting of absent voter ballots was not viewable.

Violation of MCL 168.733

       217.     MCL 168.733 sets forth the procedures for election challengers and the powers of

election inspectors.

       218.     Per eyewitness accounts described in this Complaint and its attached sworn

affidavits, Defendants habitually and systematically failed to provide space for election

inspectors from the Republican party, including Plaintiff, to observe election procedure,

failed to allow the inspection of poll books, failed to share the names of the electors being

entered in the poll books, failed to allow the examination of each ballot as it was being

counted, and failed to keep records of obvious and observed fraud. See generally supra

Section II.A.

       219.     Poll challengers, including Plaintiff, observed election workers and supervisors

writing on ballots themselves to alter them, apparently manipulating spoiled ballots by hand

and then counting the ballots as valid, counting the same ballot more than once, adding

information to incomplete affidavits accompanying absentee ballots, counting absentee




                                               80                                    Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.952
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 166Page
                                                                   of 1677
                                                                        81 of 86




ballots returned late, counting unvalidated and unreliable ballots, and counting the ballots of

“voters” who had no recorded birthdates and were not registered in the State’s Qualified Voter

File or on any Supplemental voter lists.

Violation of MCL 168.765(5) and 168.764a

       220.    Michigan election law, MCL 168.765(5), requires Defendants to post the

specific absentee voting information anytime an election is conducted which involves a state

or federal office, in particular, the number of absentee ballots distributed to absent voters.

       221.    Upon information and belief, Defendants failed to post by 8:00 AM on

Election Day the number of absentee ballots distributed to absent voters and failed to post

before 9:00 PM the number of absent voters returned before on Election Day.

       222.    Per Michigan Election law, all absentee voter ballots must be returned to the

clerk before polls close at 8 PM. MCL 168.764a. Any absentee voter ballots received by the

clerk after the close of the polls on election day will not be counted.

       223.    Michigan allows for early counting of absentee votes prior to the closings of

the polls for large jurisdictions, such as the City of Detroit and Wayne County.

       224.    Upon information and belief, receiving tens of thousands additional absentee

ballots in the early morning hours after election day and after the counting of the absentee ballots

had concluded, without proper oversight, with tens of thousands of ballots attributed to just one

candidate, Joe Biden, indicates Defendants failed to follow proper election protocol. See

generally supra Section II.B.1.

Violation of MCL 168.730

       225.    MCL 168.730 sets forth the rights and requirements for election challengers.

MCL 168.734 provides, among other things:

          Any officer or election board who shall prevent the presence of any such



                                                81                                      Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.953
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 167Page
                                                                   of 1677
                                                                        82 of 86




          challenger as above provided, or shall refuse or fail to provide such challenger
          with conveniences for the performance of the duties expected of him, shall,
          upon conviction, be punished by a fine not exceeding $1,000.00, or by
          imprisonment in the state prison not exceeding 2 years, or by both such fine
          and imprisonment in the discretion of the court.

       226.    Wayne County’s and Secretary Benson’s denial of Republican challengers’ right

to participate and observe the processing of ballots violates Michigan’s Election Code and

resulting in the casting and counting of ballots that were ineligible to be counted and diluted or

canceled out the lawfully cast ballots of other Michigan voters.

       227.    Further, Secretary of State Benson and the election officials in Wayne County

violated MCL 168.730-168.734 by denying Republican challengers’ rights to meaningfully

observe and participate in the ballot processing and counting process.

       228.    Based upon the above allegations of fraud, statutory violations, and other

misconduct, as stated herein and in the attached affidavits, it is necessary to order appropriate

relief, including, but not limited to, enjoining the certification of the election results pending a

full investigation and court hearing, ordering a recount of the election results, or voiding the

election and ordering a new election, to remedy the fraud.




                                                  82                                       Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.954
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 168Page
                                                                   of 1677
                                                                        83 of 86




PRAYER FOR RELIEF

        229.    Accordingly, Plaintiffs seek an emergency order instructing Defendants to de-

certify the results of the General Election for the Office of President.

        230.    Alternatively, Plaintiffs seek an order instructing the Defendants to certify the

results of the General Election for Office of the President in favor of President Donald Trump.

        231.    In the alternative, Plaintiffs seek an emergency order prohibiting Defendants from

including in any certified results from the General Election the tabulation of absentee and

mailing ballots which do not comply with the Michigan Election Code, including, without

limitation, the tabulation of absentee and mail-in ballots Trump Campaign’s watchers were

prevented from observing or based on the tabulation of invalidly cast absentee and mail-in

ballots which (i) lack a secrecy envelope, or contain on that envelope any text, mark, or symbol

which reveals the elector’s identity, political affiliation, or candidate preference, (ii) do not

include on the outside envelope a completed declaration that is dated and signed by the elector,

(iii) are delivered in-person by third parties for non-disabled voters, or (iv) any of the other

Michigan Election Code violations set forth in Section II of this Complaint.

        232.    Order production of all registration data, ballots, envelopes, etc. required to be

maintained by law. When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these unordered ballots may in

fact have been improperly voted and also prevented proper voting at the polls, the mail ballot

system has clearly failed in the state of Michigan and did so on a large scale and widespread

basis. The size of the voting failures, whether accidental or intentional, are multiples larger than

the margin in the state. For these reasons, Michigan cannot reasonably rely on the results of the

mail vote. Relief sought is the elimination of the mail ballots from counting in the 2020 election.


                                                  83


                                                                                           Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.955
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 169Page
                                                                   of 1677
                                                                        84 of 86




Alternatively, the electors for the State of Michigan should be disqualified from counting toward

the 2020 election. Alternatively, the electors of the State of Michigan should be directed to vote

for President Donald Trump.

       233.    For these reasons, Plaintiffs ask this Court to enter a judgment in their favor and

provide the following emergency relief:


       1. An order directing Secretary Benson, Governor Whitmer, the Board of State

           Canvassers and Wayne County to de-certify the election results;


       2. An order enjoining Secretary Benson and Governor Whitmer from transmitting the

           currently certified election results to the Electoral College;


       3. An order requiring Governor Whitmer to transmit certified election results that state

           that President Donald Trump is the winner of the election;


       4. An immediate order to impound all the voting machines and software in Michigan for

           expert inspection by the Plaintiffs.


       5. An order that no votes received or tabulated by machines that were not certified as

           required by federal and state law be counted.


       6. A declaratory judgment declaring that Michigan’s failed system of signature

           verification violates the Electors and Elections Clause by working a de facto abolition

           of the signature verification requirement;


       7. A declaratory judgment declaring that current certified election results violates the

           Due Process Clause, U.S. CONST. Amend. XIV;

                                                  84


                                                                                        Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.956
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 170Page
                                                                   of 1677
                                                                        85 of 86




       8. A declaratory judgment declaring that mail-in and absentee ballot fraud must be

          remedied with a Full Manual Recount or statistically valid sampling that properly

          verifies the signatures on absentee ballot envelopes and that invalidates the certified

          results if the recount or sampling analysis shows a sufficient number of ineligible

          absentee ballots were counted;


       9. An emergency declaratory judgment that voting machines be Seized and Impounded

          immediately for a forensic audit—by Plaintiffs’ experts;


       10. A declaratory judgment declaring absentee ballot fraud occurred in violation of

          Constitutional rights, Election laws and under state law;


       11. A permanent injunction prohibiting the Governor and Secretary of State from

          transmitting the currently certified results to the Electoral College based on the

          overwhelming evidence of election tampering;


       12. Immediate production of 48 hours of security camera recording of all rooms used in

          the voting process at the TCF Center for November 3 and November 4.


       13. Plaintiffs further request the Court grant such other relief as is just and proper,

          including but not limited to, the costs of this action and their reasonable attorney fees

          and expenses pursuant to 42 U.S.C. 1988.




Respectfully submitted, this 29th day of November, 2020.




                                                 85


                                                                                          Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 6,35-2
                                      PageID.957
                                          Filed 05/03/21
                                                   Filed 11/29/20
                                                          Page 171Page
                                                                   of 1677
                                                                        86 of 86




/s/ Sidney Powell*                               /s/ Scott Hagerstrom
Sidney Powell PC                                 Michigan State Bar No. 57885
                                                 222 West Genesee
Texas Bar No. 16209700                           Lansing, MI 48933
                                                 (517) 763-7499
                                                 Scotthagerstrom @yahoo.com

                                                 /s/ Gregory J. Rohl
                                                 Michigan State Bar No. P39185
                                                 41850 West 11 Mile Road, Ste 110
                                                 Novi, Michigan 48375
                                                 (248) 380-9404
                                                 gregoryrohl@yahoo.com

Of Counsel:
Emily P. Newman (Virginia Bar No. 84265)
Julia Z. Haller (D.C. Bar No. 466921)
Brandon Johnson (D.C. Bar No. 491730)

2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
Forthcoming


L. Lin Wood
GA Bar No. 774588
L. LIN WOOD, P.C.
P.O. Box 52584
Atlanta, GA 30305-0584
Telephone: (404) 891-1402


Howard Kleinhendler
New York Bar No. 2657120
Howard Kleinhendler Esquire
369 Lexington Avenue, 12th Floor
New York, New York 10017
(917) 793-1188
howard@kleinhendler.com




                                           86


                                                                        Exhibit B
CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1832
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 172 Page
                                                                   of 1677
                                                                         1 of 18




                       IN THE UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF MICHIGAN



TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES DAVID                            CASE NO. 20-cv-13134
HOOPER and DAREN WADE RUBINGH,

       Plaintiffs
v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan,
JOCELYN BENSON, in her official capacity as
Michigan Secretary of State, the Michigan
BOARD OF STATE CANVASSERS,

       Defendants.



PLAINTIFFS’ EMERGENCY MOTION FOR DECLARATORY, EMERGENCY, AND
PERMANENT INJUNCTIVE RELIEF AND MEMORANDUM IN SUPPORT THEREOF

       COMES NOW Plaintiffs, Timothy King, Marian Ellen Sheridan, John Earl Haggard,

Charles James Ritchard, James David Hooper, and Daren Wade Rubingh, by and through their

undersigned counsel, and file this Emergency Motion for Injunctive Relief and Memorandum of

Law In Support Thereof, respectfully requesting the relief for the following reasons:

                                             FACTS

       The facts relevant to this motion are set forth in the November 29, 2020 amended

complaint (“Complaint”) filed in the above-captioned proceeding, and its accompanying

exhibits, filed concurrently with this motion, all of which are respectfully incorporated herein by

reference. We present only a summary.



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CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1833
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 173 Page
                                                                   of 1677
                                                                         2 of 18




       After a general election and recount, Joe Biden has been declared the winner of

Michigan’s General Election for President by a plurality of 154,188 votes. But the vote count

certified by defendants on November 23, 2020, is defective. Hundreds of thousands of votes

counted toward Mr. Biden’s final tally were the product of illegality, fraud and misappropriation.

Plaintiffs support this claim in two independent ways.

       i.      Counting and/or Creating Fraudulent Ballots

   First, as set forth in the affidavit of Russell Ramsland, Jr. (Compl., Ex. 104), at least 289,866

(and likely many more) ballots were fraudulent.

       Something occurred in Michigan that is physically impossible, indicating that the
       results were manipulated on election night … The event as reflected in the data
       are the 4 spikes totaling 384,733 ballots allegedly processed in a combined
       interval of only two hour[s] and 38 minutes. This is physically impossible given
       the equipment available at the 4 referenced locations (precincts/townships). ….
       This calculation yields a sum of 94,867 ballots at the maximum number of ballots
       that could be processed. … [T]here were 289,866 more ballots processed in the
       time available for processing in four precincts/townships than there was
       processing capacity. Id. ¶14.

       [T]hese statistical anomalies and impossibilities compels the conclusion to a
       reasonable degree of professional certainty that the vote count in Michigan and in
       Wayne County, in particular for candidates for President contain at least 289,866
       illegal votes that must be disregarded. Id. ¶15.

These fraudulent ballots alone are nearly twice Biden’s purported margin of 154,188 ballots.

       Separately, evidence gathered by Matt Braynard in the form of recorded calls and

declarations of voters, and analyzed by Plaintiffs’ expert, Williams M. Briggs, PhD (Compl.,

Exh. 101), shows, based on a statistically significant sample of 248 Michigan voters, two

separate types of error indicative of widespread absentee ballot fraud. Dr. Briggs first estimates

that 29,611 to 36,529 ballots were recorded for voters who had not requested them, and second,

that 27,928 to 34,710 ballots were recorded for voters who did return their ballots were recorded

as being unreturned (i.e., lost or destroyed). Id. Taking the average of the two types or errors

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         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1834
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 174 Page
                                                                   of 1677
                                                                         3 of 18




together, Dr. Briggs estimates that 62,517, or 45% of total “unreturned” ballots, are

“troublesome” and thus indicative fraud or other illegal conduct. Id. Mr. Braynard separately

analyzed data from the National Change of Address (“NCOA”) data base to identify Michigan

voters that had moved out of state, as well as Michigan voters who had registered to vote in

another State, before the Michigan election, and identified at least 13,248 out-of-state voters who

voted in the Michigan 2020 General Election. Id. at 1.

       Third, Eric Quinell, Ph.D. (Compl., Ex. 102) analyzed the statistically anomalous voting

patterns in Wayne County (outside Detroit) and Oakland County – where there was both an

extraordinary turnout surge from 2016 to 2020 and nearly 100% or even more of the “new” 2020

voters voted for Biden – resulting in a 15-point swing in the Democrat vs. Republican two-way

vote shares (i.e., shifting from 55/45 in 2016 to 70/30 in 2020 for Wayne County (outside

Detroit) and 54/46 in 2016 to 72/28 in 2020 for Oakland County). Id. ¶¶ 18&20. Dr. Quinell

estimates that there were 40,771 “excess” and likely fraudulent votes in Wayne County (outside

Detroit) and 46,125 such votes for Oakland County, for a total of 86,896 fraudulent votes in

these two counties. Id. ¶5. 1 Taken together, the ineligible or illegal ballots identified Dr. Briggs,

Dr. Quinell and Mr. Braynard total 162,661 ballots, which is once again in excess of Biden’s

154,188 vote plurality in Michigan, and provides a separate and independent ground from the

Ramsland Affidavit to set aside the results of 2020 General Election in Michigan.




1 A report from Dr. Stanley Young (Compl. Ex. 110, Chapter 1) reviewed data from the entire
State of Michigan and identified nine “outlier” counties that had both significantly increased
turnout in 2020 vs. 2016 almost all of which went to Biden totaling over 190,000 suspect
“excess” Biden votes (whereas turnout in Michigan’s 74 other counties was flat), reinforcing Dr.
Quinell’s analysis and showing that “excess” and likely fraudulent votes from these counties
would alone be sufficient to overcome Biden’s margin.
                                                   3

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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1835
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 175 Page
                                                                   of 1677
                                                                         4 of 18




        Fourth, a report from Robert Wilgus (see Compl., Ex. 110, Chapter 3) analyzing the

absentee ballot data that identified a number of significant anomalies, in particular, 224,525

absentee ballot applications that were both sent and returned on the same day, 288,783 absentee

ballots that were sent and returned on the same day, and 78,312 that had the same date for all

(i.e., the absentee application was sent/returned on same day as the absentee ballot itself was

sent/returned), as well as an additional 217,271 ballots for which there was no return date at all.

Id. at 14-15. No explanation has been provided for how more than two hundred thousand each

of applications and ballots could make the roundtrip of being sent to a voter and then returned

(i.e., received by Michigan agency) on the same day, much less the nearly 80,000 that made two

roundtrips on the same day, and it is hard to conceive of an innocent explanation for how

200,000+ ballots could have no return date at all.

        ii.    Foreign Interference and Hacking in Michigan

        In addition, the Complaint includes an analysis of the Dominion software system by a

former US Military Intelligence expert concludes that the system and software have been

accessible and were certainly compromised by rogue actors, such as Iran and China. (See

Compl., Ex.105). By using servers and employees connected with rogue actors and hostile

foreign influences combined with numerous easily discoverable leaked credentials, Dominion

neglectfully allowed foreign adversaries to access data and intentionally provided access to their

infrastructure in order to monitor and manipulate elections, including the most recent one in

2020.

        Another expert, whose name and testimony have been redacted to protect his safety,

reviewed vote counts for each county in the United States, U.S. Census data, and type of voting

machine data provided by the U.S. Election Assistance Committee and found significant


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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1836
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 176 Page
                                                                   of 1677
                                                                         5 of 18




evidence of foreign interference and “several ‘red flags’ concerning the percentage of votes won

by candidate Biden in counties using … Dominion Voting Systems.” (See Compl., Ex. 111 ¶6).

Affiant concludes that:

       [T]he results of the analysis and the pattern seen in the included graph strongly
       suggest a systemic, system-wide algorithm was enacted by an outside agent,
       causing the results of Michigan’s vote tallies to be inflated by somewhere between
       three and five point six percentage points. Statistical estimating yields that in
       Michigan, the best estimate of the number of impacted votes is 162,400.
       However, a 95% confidence interval calculation yields that as many as
       276,080 votes may have been impacted. Id. ¶13.

       In addition, the Federal Bureau of Investigation (“FBI”) and the Cybersecurity and

Infrastructure Security Agency (“CISA”) issued a joint advisory statement on October 30, 2020,

warning states of Iranian cyberattacks and interference targeting state election websites and

infrastructure. (See Compl. Ex. 8 at 1).

       The substantial likelihood that hostile foreign governments, with or without active

collusion or collaboration with the Defendants, is a separate and independent ground to grant the

declaratory and injunctive relief requested in the Complaint and this Motion.

       iii.    Ballot Stuffing and Other Michigan Election Code Violations

       The election process for the State of Michigan depended heavily on voting machines,

tabulators and software purchased from Dominion Voting Systems Corporation.

(“Dominion”), and more or less exclusively in key counties like Wayne County.

Computerized vote recording and tabulations are controlled by software programs that were

designed to cheat, and which were open to human manipulation. In 2020, ballot stuffing is not

simply counting votes of dead people, illegal aliens or out of state residents – all of which

occurred here. See generally Compl., Section II.




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CaseCase
    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1837
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 177 Page
                                                                   of 1677
                                                                         6 of 18




        Manipulation of votes was apparent shortly after the polls closed on November 3,

2020. In particular, several witnesses testified to the delivery, in unmarked vans with out-of-

state license plates, to the TCF Center of two shipments of tens of thousands each of “new”

ballots that arrived on November 4, 2020, well after the 8:00 PM Election Day deadline. See

Compl., Section II.B.1. Election workers, in collaboration with Michigan State, Wayne

County, and City of Detroit employees and Democratic election challengers and activists,

engaged in a pattern of illegal conduct to systematically deny Republic election challengers

the opportunity to meaningfully supervise or observe ballot handling, counting and processing.

See Compl., Section II.A. Without supervision or challengers, election officials could have

processed tens or hundreds of thousands of illegal votes from these shipments and other

forged, altered, duplicated, or outrighted fabricated votes. They could also have processed

thousands of illegal mail-in ballots that were cast by third-parties, deceased voters,

unregistered or out-of-state voters, blank ballots that were counted over and over, and/or

double votes from people voting both absentee and in-person. See Compl., Section II.B and

II.C.

        With only 154,188 votes separating the candidates out of a total of 5,539,302 cast, this

pattern of systematic and widespread violations of the Michigan Election Code by election

workers to illegally count ineligible, illegal, duplicate or outright fictitious votes is more than

sufficient to invalidate the final results. In the Complaint, Plaintiffs identified dozens of

distinct violations of the Michigan Election Code in a single county, all supported by sworn

testimony, see Compl. Section II. See generally Compl., Section II. While it may not be

possible to precisely quantify the number of illegal votes, the testimony indicates that it was

certainly in the tens of thousands (if not hundreds of thousands), see, e.g., Compl., Section


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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1838
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 178 Page
                                                                   of 1677
                                                                         7 of 18




II.B.1, it is not necessary for Plaintiffs to do so; instead, they merely need to show that “it

appears that the irregularity affected the result.” Behrendt v. Wilcox, 277 Mich. 232, 246

(Mich. 1936) (affirming set aside of election upon showing of numerous irregularities).

Accord Attorney General ex rel. McCall v. Kirby, 120 Mich. 592, 595 (Mich. 1899) (setting

aside election results where election law requirements were “wholly ignored …

notwithstanding where everything was done in good faith”); Mead v. Sheffield, 278 Ga. 268,

272, 601 S.E.2d 99, 102 (1994) “[p]laintiffs need not show how the [] voters would have voted

if their [absentee] ballots had been regular. [] only had to show that there were enough

irregular ballots to place in doubt the result.”). Unless Defendants are enjoined from

certifying the election, Plaintiff will be left with no remedy because Michigan’s electoral votes

for President will not be awarded to the proper candidate.

                                          DISCUSSION

       Plaintiffs Have Standing

       Each of Plaintiffs Timothy King, Marian Ellen Sheridan, John Earl Haggard, Charles

James Ritchard, James David Hooper, and Daren Wade Rubingh are registered Michigan

voters and are nominees of the Republican Party to be a Presidential Elector on behalf of the

State of Michigan. See Compl., “Parties”. As such, they each have standing under the 2018

amendments to Article II of the Michigan Constitution, which provides that “[e]very citizen of

the United States who is an elector qualified to vote in Michigan shall have the right,” among

other things, “to have the results of statewide elections audited, …, to ensure the accuracy and

integrity of elections.” Mich. Const. 1963, art. 2, §4(1)(h). Various provisions of the

Michigan Election Code also give any citizen the right to bring an election challenge within 30

days of an election where, as here, it appears that a material fraud or error has been committed.


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                                                                                          Exhibit C
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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1839
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 179 Page
                                                                   of 1677
                                                                         8 of 18




See, e.g., Hamlin v. Saugatuck Twp., 299 Mich. App. 233, 240-241 (2013) (citing Barrow v.

Detroit Mayor, 290 Mich. App. 530 (2010)); MCL § 168.31a (setting forth election audit

requirements); MCL § 168.861 (quo warranto remedy for fraudulent or illegal voting). In

addition, each Plaintiff has standing to bring this action as a candidate for the office of Elector

under MCL §§ 168.42 & 168.43 (election procedures for Michigan electors), because

Presidential Electors “have a cognizable interest in ensuring that the final vote tally reflects the

legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and particularized injury to

candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020)

(affirming that Presidential Electors have Article III and prudential standing to challenge

actions of Secretary of State in implementing or modifying State election laws); see also

McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd., 531

U.S. 70, 76 (2000) (per curiam).

       Plaintiffs are Entitled to Injunctive Relief

        “To determine whether to grant a preliminary injunction or temporary restraining

order, a district court must consider: (i) whether the movant has a strong likelihood of success

on the merits; (ii) whether the movant would suffer irreparable injury without the injunction;

(iii) whether issuance of the injunction would cause substantial harm to others; and (iv)

whether the public interest would be served by the issuance of the injunction.” Stein v.

Thomas, 222 F.Supp.3d 539, 542 (E.D. Mich. 2016) (citing Baker v. Adams Cnty./Ohio Valley

Sch. Bd., 310 F.3d 927, 928 (6th Cir. 2002)); see also City of Pontiac Retired Employees Ass’n

v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014).

       All elements are met here.




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    2:20-cv-13134-LVP-RSW
         1:21-cv-01169-TCB Document
                           ECF No. 7,35-2
                                      PageID.1840
                                          Filed 05/03/21
                                                    Filed 11/29/20
                                                          Page 180 Page
                                                                   of 1677
                                                                         9 of 18




         While the U.S. Constitution itself accords no right to vote for presidential electors,

“[w]hen the state legislature vests the right to vote for President in its people, the right to vote as

the legislature has prescribed is fundamental; and one source of its fundamental nature lies in the

equal weight accorded to each vote and the equal dignity owed to each voter.” Bush v. Gore, 531

U.S. 98, 104 (2000) (emphasis added). The evidence shows not only that Defendants failed to

administer the November 3, 2020 election in compliance with the manner prescribed by the

Michigan Legislature in the Michigan Election Code, MCL §§ 168.730-738, but that Defendants

committed a scheme and artifice to fraudulently and illegally manipulate the vote count to make

certain the election of Joe Biden as President of the United States. Compl., Section I. This

conduct violated Plaintiffs’ equal protection and due process rights as well their rights under the

Michigan Election Code and Constitution. See generally MCL §§ 168.730-738 & Mich. Const.

1963, art. 2, §4(1).

         The Michigan Court of Appeals has held that, in a civil action to vindicate Plaintiffs’ right

“to seek office in a fair election” the burden of proof is a “preponderance of the evidence”.

Treasurer of the Committee to Elect Gerald D. Lostracco v. Fox, 150 Mich.App. 617, 623

(Mich.App. 1986).


    i.      Plaintiffs have a substantial likelihood of success.

         Through detailed fact and expert testimony including documentary evidence contained in

the Complaint and its exhibits, Plaintiffs have made a compelling showing that Defendants’

intentional actions jeopardized the rights of Michigan citizens to select their leaders under the

process set out by the Michigan Legislature through the commission of election frauds that

violated Michigan laws, including multiple provisions of the Michigan Election Code. MCL




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                                                                                           Exhibit C
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 7,35-2
                                        PageID.1841
                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 181Page
                                                                      of 1677
                                                                           10 of 18




 §§ 168.730-738. These acts also violated the Equal Protection Clause in the United States

 Constitution, U.S. Const. Amend XIV.

        The tally of ballots certified by Defendants giving Mr. Biden a 154,188 vote plurality

 cannot possibly stand in light of the hundreds of thousands of illegal mail-in ballots that were

 improperly counted and the vote manipulation caused by the Dominion software.

        Plaintiffs’ equal protection claim is straightforward. The right of qualified citizens to

 vote in a state election involving federal candidates is recognized as a fundamental right under

 the Fourteenth Amendment of the United States Constitution. Harper v. Va. State Bd. of

 Elections, 383 U.S. 663, 665 (1966). See also Reynolds v. Sims, 377 U.S. 533, 554 (1964) (The

 Fourteenth Amendment protects the “the right of all qualified citizens to vote, in state as well as

 in federal elections.”). Indeed, ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the

 United States Supreme Court has held that the Privileges or Immunities Clause of the Fourteenth

 Amendment protects certain rights of federal citizenship from state interference, including the

 right of citizens to directly elect members of Congress. See Twining v. New Jersey, 211 U.S. 78,

 97 (1908) (citing Ex parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v.

 Mitchell, 400 U.S. 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

        The fundamental right to vote protected by the Fourteenth Amendment is cherished in our

 nation because it “is preservative of other basic civil and political rights.” Reynolds, 377 U.S. at

 562; League of Women Voters of Ohio v. Brunner, 548 F.3d 463,476 (6th Cir. 2008)

 (“The right to vote is a fundamental right, preservative of all rights.”). Voters have a

 “right to cast a ballot in an election free from the taint of intimidation and fraud,” Burson v.

 Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our electoral processes




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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 182Page
                                                                      of 1677
                                                                           11 of 18




 is essential to the functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4

 (2006) (per curiam).

        “Obviously included within the right to [vote], secured by the Constitution, is the right of

 qualified voters within a state to cast their ballots and have them counted” if they are validly cast.

 United States v. Classic, 313 U.S. 299, 315 (1941). “[T]he right to have the vote counted” means

 counted “at full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting

 South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

        “Every voter in a federal . . . election, whether he votes for a candidate with little chance

 of winning or for one with little chance of losing, has a right under the Constitution to have his

 vote fairly counted, without its being distorted by fraudulently cast votes.” Anderson v. United

 States, 417 U.S. 211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or

 fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote. See Anderson, 417

 U.S. at 227.

        The right to an honest [count] is a right possessed by each voting elector, and to the

 extent that the importance of his vote is nullified, wholly or in part, he has been injured in the

 free exercise of a right or privilege secured to him by the laws and Constitution of the United

 States.” Anderson, 417 U.S. at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th

 Cir.), aff'd due to absence of quorum, 339 U.S. 974 (1950)).

        Practices that promote the casting of illegal or unreliable ballots or fail to contain basic

 minimum guarantees against such conduct, can violate the Fourteenth Amendment by leading to

 the dilution of validly cast ballots. See Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be

 denied by a debasement or dilution of the weight of a citizen’s vote just as effectively as by

 wholly prohibiting the free exercise of the franchise.”). States may not, by arbitrary action or


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           1:21-cv-01169-TCB Document
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                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 183Page
                                                                      of 1677
                                                                           12 of 18




 other unreasonable impairment, burden a citizen’s right to vote. See Baker v. Carr, 369 U.S. 186,

 208 (1962) (“citizen’s right to a vote free of arbitrary impairment by state action has been

 judicially recognized as a right secured by the Constitution”). “Having once granted the right to

 vote on equal terms, the state may not, by later arbitrary and disparate treatment, value one

 person’s vote over that of another.” Bush, 531 U.S. at 104-05. Among other things, this requires

 “specific rules designed to ensure uniform treatment” in order to prevent “arbitrary and disparate

 treatment of voters.” Id. at 106-07; see also Dunn v. Bloomstein, 405 U.S. 330, 336 (1972)

 (providing that each citizen “has a constitutionally protected right to participate in elections on

 an equal basis with other citizens in the jurisdiction”).

         Additionally, as U.S. citizens qualified to vote in Michigan and as candidates for the

 electoral office of Presidential Elector, MCL §§ 168.42 & 168.43, Plaintiffs seeks redress under

 the Michigan Election Code and the Michigan Constitution, to vindicate their constitutional right

 to a free and fair election ensuring the accuracy and integrity of the process pursuant to the

 Michigan Constitution, art. 2, sec. 4, par. 1(h), which states all Michigan citizens have:

         The right to have the results of statewide elections audited, in such a manner as
         prescribed by law, to ensure the accuracy and integrity of elections.

 The Mich. Const. 1963, art. 2, sec. 4, further states, “All rights set forth in this subsection shall be

 self-executing. This subsection shall be liberally construed in favor of voters' rights in order to

 effectuate its purposes.”

         The Eleventh Circuit recently addressed a claim in 2018 related to the same Dominion

 software used in Michigan in the 2020 General Election. The Court found:

         In summary, while further evidence will be necessary in the future, the Court finds
         that the combination of the statistical evidence and witness declarations in the
         record here (and the expert witness evidence in the related Curling case which the
         Court takes notice of) persuasively demonstrates the likelihood of Plaintiff
         succeeding on its claims. Plaintiff has shown a substantial likelihood of proving that

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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 7,35-2
                                        PageID.1844
                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 184Page
                                                                      of 1677
                                                                           13 of 18




           the Secretary's failure to properly maintain a reliable and secure voter registration
           system has and will continue to result in the infringement of the rights of the voters
           to cast their vote and have their votes counted.

 Common Cause Georgia v. Kemp, 347 F.Supp.3d 1270, 1294-1295, (11th Cir. 2018).

           Based upon all the allegations of fraud, statutory violations, and other misconduct, as

 stated herein and in the attached affidavits, it is necessary to enjoin the certification of the

 election results, and grant the declaratory, emergency and permanent injunctive relief requested

 herein and in the Complaint, pending a full investigation and court hearing, and to order an

 independent audit of the November 3, 2020 General Election to ensure the accuracy and integrity

 of the election.

     ii.      The Plaintiffs will suffer Irreparable Harm

           Plaintiffs will suffer an irreparable harm due to the Defendants’ myriad violations of

 Plaintiffs’ rights under the U.S. and Michigan Constitutions detailed in the Complaint, in

 particular, Plaintiffs’ fundamental right to vote, equal protection of the laws, due process, and

 their specific rights as candidates to electoral office.

           When Constitutional rights are threatened or impaired, irreparable injury is
           presumed. A restriction on the fundamental right to vote therefore constitutes an
           irreparable injury.

 Obama for America vs. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (citations omitted). See also

 Am. Civil Liberties Union of Kentucky v. McCreary Cnty., Ky., 354 F.3d 438, 445 (6th Cir. 2003)

 aff’d sub nom., McCreary Cnty., Ky., v. Am. Civil Liberties Union of Ky., 545 U.S. 844 (2005)

 (where a plaintiff’s constitutional rights are at issue, the movant need only show that his rights

 are “threatened,” from which showing “a finding of irreparable injury is mandated.”).

           The Michigan count was defective, including defective absentee ballots and out of state

 voters, then Michigan’s election results are improper and suspect, resulting in Michigan’s

 electoral college votes going to Democrats, including Joseph R. Biden, contrary to the votes of

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           1:21-cv-01169-TCB Document
                             ECF No. 7,35-2
                                        PageID.1845
                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 185Page
                                                                      of 1677
                                                                           14 of 18




 the majority of Michigan’s qualified electors. Plaintiffs will directly be impacted by their roles

 in the voting for the Presidential election as Electors to the Michigan Legislature.


    iii.      The Balance of Equities

           The third fact, whether “the balance of the equities tips in his favor,” Husted, 697 F.3d at

 428 (quoting Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008)), also favors granting

 the instant motion for injunctive relief. In balancing the equities, a court considering an election

 challenge “must weigh the character and magnitude of the asserted injury” to the constitutional

 rights that the plaintiff seeks to protect “against ‘the precise interests put forward by the State as

 justifications for the burdens imposed by its rule … .’” Stein, 222 F.Supp.3d at 543 (quoting

 Burdick v. Takushi, 504 U.S. 428, 434 (1992)). Here, the balance must tip into Plaintiffs’ favor,

 as the State has presented no justification for its lawless behavior and wanton disregard of the

 Michigan Election Code. The only justification Defendants can put forward, were they to say the

 silent part out loud, is that imperative of ensuring a Biden victory overrides any constraints

 imposed by the Michigan Election Code.


    iv.       The Public Interest

           Finally, the public interest would be served by the grant of the temporary relief requested

 herein.

           The fundamental right invoked by Plaintiffs—the right to vote, and to have that
           vote conducted fairly and counted accurately—is the bedrock of our Nation.
           Without elections that are conducted fairly—and perceived to be fairly
           conducted—public confidence in our political institutions will swiftly erode.

 Stein, 222 F.Supp.3d at 544. This Court granted the temporary relief requested by Ms. Stein in

 2016, despite the fact that the vote margin separating her and President Trump was an order of




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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 7,35-2
                                        PageID.1846
                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 186Page
                                                                      of 1677
                                                                           15 of 18




 magnitude larger than Biden’s margin, 2 her evidence of violations was minimal to non-existent

 (compared with the two dozen plus violations identified in sworn eyewitness testimony in

 Section II of the Complaint), and the Michigan election workers in key areas like Wayne County

 for the 2016 election were much more hostile to President Trump than they ever were to Jill

 Stein. Accordingly, if this Court found that temporary relief for Jill Stein in 2016 was in the

 public interest, then it must reach the same conclusion for Plaintiffs given that Trump (unlike

 Stein) has a realistic chance of winning and Plaintiffs have arguably presented more evidence of

 more kinds of election fraud than has ever been included in an election challenge to a court in a

 Michigan (or the United States for that matter). This conclusion is further supported by the 2018

 enactment of the amendments to Article II of the Michigan Constitution, which are intended,

 among other things “to preserve the purity of elections, … [and] to guard against abuses of the

 electoral franchise …. .” Mich. Const. 1963, art. 4, §2.

        Plaintiffs Are Entitled to Emergency Injunctive Relief Prior to December 8, 2020

        Under Bush v. Gore, 531 U.S. 98 (2000), Plaintiffs are entitled to emergency

 injunctive relief that must be granted in advance of December 8, 2020, which is the

 “safe harbor” date for States to submit their slates of electors under 3 U.S.C. § 5. There,

 the Supreme Court granting an emergency application for stay of Florida recount

 because there was “no recount procedure in place … that comports with minimal

 constitutional safeguards,” and any recount procedure that could meet constitutional

 requirements could not be completed by the 3 U.S.C. §5 safe harbor date. Accordingly,



 2 In 2016, Jill Stein received 51,463 votes (or slightly over one percent), while the winner she
 challenged, current President Trump, received 2,279,543 votes and nearly 50 percent of the vote.
 In 2020, the current margin between President Trump and Biden is 154,188 votes, based on the
 November 23, 2020 certification, which has not disqualified any of the illegal or ineligible votes
 discussed in the Complaint.
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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                        PageID.1847
                                            Filed 05/03/21
                                                      Filed 11/29/20
                                                             Page 187Page
                                                                      of 1677
                                                                           16 of 18




 this Court must schedule and complete any required hearings, briefings and responses in

 time to issue a decision before December 8, 2020.

        Relief Requested

        Plaintiffs seek a de-certification of Michigan’s election results or a stay in the delivery of

 the certified results to the Electoral College to preserve the status quo while this case proceeds,

 as well as seeking the impounding of the voting machines made available and other equitable

 relief, on an emergency basis, due to the irreparable harm, and impending election voting for the

 electors, as stated in the Complaint. The low costs to Defendants and high potential harm to

 Plaintiffs make this a case with a substantial net harm that an immediate and emergency

 injunctive relief can prevent. Therefore, it is respectfully requested that the Court grant

 Plaintiffs’ Motion. A proposed form of Order is attached.



        Respectfully submitted, this 29th day of November 2020.


                                                /s Sidney Powell*
                                                Sidney Powell PC
                                                Texas Bar No. 16209700
 2911 Turtle Creek Blvd, Suite 300
 Dallas, Texas 75219

 *Application for admission pro hac vice
 forthcoming

 Attorneys for Plaintiffs

 /s/ Sidney Powell*
 Sidney Powell PC
 Texas Bar No. 16209700
 *Application for admission pro hac vice
 Forthcoming

 /s/ Scott Hagerstrom
 Michigan State Bar No. 57885
 222 West Genesee

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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                            Filed 05/03/21
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                                                             Page 188Page
                                                                      of 1677
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 Lansing, MI 48933
 (517) 763-7499
 Scotthagerstrom @yahoo.com

 /s/ Gregory J. Rohl P39185
 The Law Offices of Gregory J. Rohl, P.C.
 41850 West 11 Mile Road, Suite 110
 Novi, MI 48375
 248-380-9404
 gregoryrohl@yahoo.com
 CERTIFICATE OF SERVICE

        This is to certify that I have on this day e-filed the foregoing Plaintiffs’ Motion for

 Declaratory, Emergency, and Permanent Injunctive Relief and Memorandum in Support Thereof

 using the CM/ECF system, and that I have delivered the filing to the Defendants by email and

 FedEx at the following addresses:

 This 29th day of November, 2020.

        Governor Gretchen Whitmer
        P.O. Box 30013
        Lansing, Michigan 48909
        info@gretchenwhitmer.com

        Secretary of State Jocelyn Benson
        Bureau of Elections
        Richard H. Austin Building, 4th Floor
        430 W. Allegan
        Lansing, Michigan 48918
        Elections@Michigan.gov

        Board of State Canvassers
        Bureau of Elections
        Richard H. Austin Building, 1st Floor
        430 W. Allegan
        Lansing, Michigan 48918
        Elections@Michigan.gov


 /s/ Sidney Powell*
 Sidney Powell PC
 Texas Bar No. 16209700
 *Application for admission pro hac vice
 Forthcoming

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           1:21-cv-01169-TCB Document
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                                            Filed 05/03/21
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                                                             Page 189Page
                                                                      of 1677
                                                                           18 of 18




 /s/ Scott Hagerstrom
 Michigan State Bar No. 57885
 222 West Genesee
 Lansing, MI 48933
 (517) 763-7499
 Scotthagerstrom @yahoo.com

 /s/ Gregory J. Rohl P39185
 The Law Offices of Gregory J. Rohl, P.C.
 41850 West 11 Mile Road, Suite 110
 Novi, MI 48375
 248-380-9404
 gregoryrohl@yahoo.com


 Howard Kleinhendler
 New York Bar No. 2657120
 Howard Kleinhendler Esquire
 369 Lexington Avenue, 12th Floor
 New York, New York 10017
 (917) 793-1188
 howard@kleinhendler.com




                                            18

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Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                            Filed 05/03/21
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                                                             12/07/20
                                                                  190 of
                                                                      Page
                                                                         1677
                                                                            1 of 36




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD,
 JAMES DAVID HOOPER, and
 DAREN WADE RUBINGH,

                    Plaintiffs,

 v.                                                  Civil Case No. 20-13134
                                                     Honorable Linda V. Parker
 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of Michigan,
 JOCELYN BENSON, in her official capacity as
 Michigan Secretary of State, and MICHIGAN
 BOARD OF STATE CANVASSERS,

                    Defendants,

 and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY, and
 ROBERT DAVIS,

                Intervenor-Defendants.
 ___________________________________/

       OPINION AND ORDER DENYING PLAINTIFFS’ “EMERGENCY
      MOTION FOR DECLARATORY, EMERGENCY, AND PERMANENT
                  INJUNCTIVE RELIEF” (ECF NO. 7)

        The right to vote is among the most sacred rights of our democracy and, in

 turn, uniquely defines us as Americans. The struggle to achieve the right to vote is

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           1:21-cv-01169-TCB Document
                             ECF No. 62,
                                      35-2
                                         PageID.3296
                                            Filed 05/03/21
                                                       Filed Page
                                                             12/07/20
                                                                  191 of
                                                                      Page
                                                                         1677
                                                                            2 of 36




 one that has been both hard fought and cherished throughout our country’s history.

 Local, state, and federal elections give voice to this right through the ballot. And

 elections that count each vote celebrate and secure this cherished right.

        These principles are the bedrock of American democracy and are widely

 revered as being woven into the fabric of this country. In Michigan, more than 5.5

 million citizens exercised the franchise either in person or by absentee ballot

 during the 2020 General Election. Those votes were counted and, as of November

 23, 2020, certified by the Michigan Board of State Canvassers (also “State

 Board”). The Governor has sent the slate of Presidential Electors to the Archivist

 of the United States to confirm the votes for the successful candidate.

        Against this backdrop, Plaintiffs filed this lawsuit, bringing forth claims of

 widespread voter irregularities and fraud in the processing and tabulation of votes

 and absentee ballots. They seek relief that is stunning in its scope and breathtaking

 in its reach. If granted, the relief would disenfranchise the votes of the more than

 5.5 million Michigan citizens who, with dignity, hope, and a promise of a voice,

 participated in the 2020 General Election. The Court declines to grant Plaintiffs

 this relief.

 I.     Background

        In the weeks leading up to, and on, November 3, 2020, a record 5.5 million

 Michiganders voted in the presidential election (“2020 General Election”). (ECF

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           1:21-cv-01169-TCB Document
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                                         PageID.3297
                                            Filed 05/03/21
                                                       Filed Page
                                                             12/07/20
                                                                  192 of
                                                                      Page
                                                                         1677
                                                                            3 of 36




 No. 36-4 at Pg ID 2622.) Many of those votes were cast by absentee ballot. This

 was due in part to the coronavirus pandemic and a ballot measure the Michigan

 voters passed in 2018 allowing for no-reason absentee voting. When the polls

 closed and the votes were counted, Former Vice President Joseph R. Biden, Jr. had

 secured over 150,000 more votes than President Donald J. Trump in Michigan.

 (Id.)

         Michigan law required the Michigan State Board of Canvassers to canvass

 results of the 2020 General Election by November 23, 2020. Mich. Comp. Laws

 § 168.842. The State Board did so by a 3-0 vote, certifying the results “for the

 Electors of President and Vice President,” among other offices. (ECF No. 36-5 at

 Pg ID 2624.) That same day, Governor Gretchen Whitmer signed the Certificates

 of Ascertainment for the slate of electors for Vice President Biden and Senator

 Kamala D. Harris. (ECF No. 36-6 at Pg ID 2627-29.) Those certificates were

 transmitted to and received by the Archivist of the United States. (Id.)

         Federal law provides that if election results are contested in any state, and if

 the state, prior to election day, has enacted procedures to decide controversies or

 contests over electors and electoral votes, and if these procedures have been

 applied, and the decisions are made at least six days before the electors’ meetings,

 then the decisions are considered conclusive and will apply in counting the

 electoral votes. 3 U.S.C. § 5. This date (the “Safe Harbor” deadline) falls on

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                                         PageID.3298
                                            Filed 05/03/21
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                                                             12/07/20
                                                                  193 of
                                                                      Page
                                                                         1677
                                                                            4 of 36




 December 8, 2020. Under the federal statutory timetable for presidential elections,

 the Electoral College must meet on “the first Monday after the second Wednesday

 in December,” 3 U.S.C. § 7, which is December 14 this year.

       Alleging widespread fraud in the distribution, collection, and counting of

 ballots in Michigan, as well as violations of state law as to certain election

 challengers and the manipulation of ballots through corrupt election machines and

 software, Plaintiffs filed the current lawsuit against Defendants at 11:48 p.m. on

 November 25, 2020—the eve of the Thanksgiving holiday. (ECF No. 1.)

 Plaintiffs are registered Michigan voters and nominees of the Republican Party to

 be Presidential Electors on behalf of the State of Michigan. (ECF No. 6 at Pg ID

 882.) They are suing Governor Whitmer and Secretary of State Jocelyn Benson in

 their official capacities, as well as the Michigan Board of State Canvassers.

       On November 29, a Sunday, Plaintiffs filed a First Amended Complaint

 (ECF No. 6), “Emergency Motion for Declaratory, Emergency, and Permanent

 Injunctive Relief and Memorandum in Support Thereof” (ECF No. 7), and

 Emergency Motion to Seal (ECF No. 8). In their First Amended Complaint,

 Plaintiffs allege three claims pursuant to 42 U.S.C. § 1983: (Count I) violation of

 the Elections and Electors Clauses; (Count II) violation of the Fourteenth

 Amendment Equal Protection Clause; and, (Count III) denial of the Fourteenth




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                                                             12/07/20
                                                                  194 of
                                                                      Page
                                                                         1677
                                                                            5 of 36




 Amendment Due Process Clause. (ECF No. 6.) Plaintiffs also assert one count

 alleging violations of the Michigan Election Code. (Id.)

       By December 1, motions to intervene had been filed by the City of Detroit

 (ECF No. 15), Robert Davis (ECF No. 12), and the Democratic National

 Committee and Michigan Democratic Party (“DNC/MDP”) (ECF No. 14). On that

 date, the Court entered a briefing schedule with respect to the motions. Plaintiffs

 had not yet served Defendants with their pleading or emergency motions as of

 December 1. Thus, on December 1, the Court also entered a text-only order to

 hasten Plaintiffs’ actions to bring Defendants into the case and enable the Court to

 address Plaintiffs’ pending motions. Later the same day, after Plaintiffs filed

 certificates of service reflecting service of the summons and Amended Complaint

 on Defendants (ECF Nos. 21), the Court entered a briefing schedule with respect to

 Plaintiffs’ emergency motions, requiring response briefs by 8:00 p.m. on

 December 2, and reply briefs by 8:00 p.m. on December 3 (ECF No. 24).

       On December 2, the Court granted the motions to intervene. (ECF No. 28.)

 Response and reply briefs with respect to Plaintiffs’ emergency motions were

 thereafter filed. (ECF Nos. 29, 31, 32, 34, 35, 36, 37, 39, 49, 50.) Amicus curiae

 Michigan State Conference NAACP subsequently moved and was granted leave to

 file a brief in support of Defendants’ position. (ECF Nos. 48, 55.) Supplemental

 briefs also were filed by the parties. (ECF Nos. 57, 58.)

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                                                             12/07/20
                                                                  195 of
                                                                      Page
                                                                         1677
                                                                            6 of 36




       In light of the limited time allotted for the Court to resolve Plaintiffs’

 emergency motion for injunctive relief—which Plaintiffs assert “must be granted

 in advance of December 8, 2020” (ECF No. 7 at Pg ID 1846)—the Court has

 disposed of oral argument with respect to their motion pursuant to Eastern District

 of Michigan Local Rule 7.1(f).1

 II.   Standard of Review

       A preliminary injunction is “an extraordinary remedy that may only be

 awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.

 Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (citation omitted). The plaintiff

 bears the burden of demonstrating entitlement to preliminary injunctive relief.

 Leary v. Daeschner, 228 F.3d 729, 739 (6th Cir. 2000). Such relief will only be

 granted where “the movant carries his or her burden of proving that the

 circumstances clearly demand it.” Overstreet v. Lexington-Fayette Urban Cnty.

 Gov’t, 305 F.3d 566, 573 (6th Cir. 2002). “Evidence that goes beyond the

 unverified allegations of the pleadings and motion papers must be presented to




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   “‘[W]here material facts are not in dispute, or where facts in dispute are not
 material to the preliminary injunction sought, district courts generally need not
 hold an evidentiary hearing.’” Nexus Gas Transmission, LLC v. City of Green,
 Ohio, 757 Fed. Appx. 489, 496-97 (6th Cir. 2018) (quoting Certified Restoration
 Dry Cleaning Network, LLC v. Tenke Corp., 511 F.3d 535, 553 (6th Cir. 2007))
 (citation omitted).

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                                                             12/07/20
                                                                  196 of
                                                                      Page
                                                                         1677
                                                                            7 of 36




 support or oppose a motion for a preliminary injunction.” 11A Mary Kay Kane,

 Fed. Prac. & Proc. § 2949 (3d ed.).

        Four factors are relevant in deciding whether to grant preliminary injunctive

 relief: “‘(1) whether the movant has a strong likelihood of success on the merits;

 (2) whether the movant would suffer irreparable injury absent the injunction; (3)

 whether the injunction would cause substantial harm to others; and (4) whether the

 public interest would be served by the issuance of an injunction.’” Daunt v.

 Benson, 956 F.3d 396, 406 (6th Cir. 2020) (quoting Bays v. City of Fairborn, 668

 F.3d 814, 818-19 (6th Cir. 2012)). “At the preliminary injunction stage, ‘a plaintiff

 must show more than a mere possibility of success,’ but need not ‘prove his case in

 full.’” Ne. Ohio Coal. for Homeless v. Husted, 696 F.3d 580, 591 (6th Cir. 2012)

 (quoting Certified Restoration Dry Cleaning Network, LLC v. Tenke Corp., 511

 F.3d 535, 543 (6th Cir. 2007)). Yet, “the proof required for the plaintiff to obtain a

 preliminary injunction is much more stringent than the proof required to survive a

 summary judgment motion ….” Leary, 228 F.3d at 739.

 III.   Discussion

        The Court begins by discussing those questions that go to matters of subject

 matter jurisdiction or which counsel against reaching the merits of Plaintiffs’

 claims. While the Court finds that any of these issues, alone, indicate that

 Plaintiffs’ motion should be denied, it addresses each to be thorough.

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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 62,
                                      35-2
                                         PageID.3302
                                            Filed 05/03/21
                                                       Filed Page
                                                             12/07/20
                                                                  197 of
                                                                      Page
                                                                         1677
                                                                            8 of 36




       A.     Eleventh Amendment Immunity

       The Eleventh Amendment to the United States Constitution provides:

              The judicial power of the United States shall not be
              construed to extend to any suit in law or equity,
              commenced or prosecuted against one of the United
              States by Citizens of another State, or by Citizens or
              Subjects of any Foreign State.

 U.S. Const. amend. XI. This immunity extends to suits brought by citizens against

 their own states. See, e.g., Ladd v. Marchbanks, 971 F.3d 574, 578 (6th Cir. 2020)

 (citing Hans v. Louisiana, 134 U.S. 1, 18-19 (1890)). It also extends to suits

 against state agencies or departments, Pennhurst State Sch. & Hosp. v. Halderman,

 465 U.S. 89, 100 (1984) (citations omitted), and “suit[s] against state officials

 when ‘the state is the real, substantial party in interest[,]’” id. at 101 (quoting Ford

 Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464 (1945)).

       A suit against a State, a state agency or its department, or a state official is in

 fact a suit against the State and is barred “regardless of the nature of the relief

 sought.” Pennhurst State Sch. & Hosp., 465 U.S. at 100-02 (citations omitted).

 “‘The general rule is that a suit is against the sovereign if the judgment sought

 would expend itself on the public treasury or domain, or interfere with the public

 administration, or if the effect of the judgment would be to restrain the

 Government from acting, or to compel it to act.’” Id. at 101 n.11 (quoting Dugan

 v. Rank, 372 U.S. 609, 620 (1963)) (internal quotation marks omitted).

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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 62,
                                      35-2
                                         PageID.3303
                                            Filed 05/03/21
                                                       Filed Page
                                                             12/07/20
                                                                  198 of
                                                                      Page
                                                                         1677
                                                                            9 of 36




       Eleventh Amendment immunity is subject to three exceptions: (1)

 congressional abrogation; (2) waiver by the State; and (3) “a suit against a state

 official seeking prospective injunctive relief to end a continuing violation of

 federal law.” See Carten v. Kent State Univ., 282 F.3d 391, 398 (6th Cir. 2002)

 (citations omitted). Congress did not abrogate the States’ sovereign immunity

 when it enacted 42 U.S.C. § 1983. Will v. Mich. Dep’t of State Police, 491 U.S.

 58, 66 (1989). “The State of Michigan has not consented to being sued in civil

 rights actions in the federal courts.” Johnson v. Unknown Dellatifa, 357 F.3d 539,

 545 (6th Cir. 2004) (citing Abick v. Michigan, 803 F.2d 874, 877 (6th Cir. 1986)).

 The Eleventh Amendment therefore bars Plaintiffs’ claims against the Michigan

 Board of State Canvassers. See McLeod v. Kelly, 7 N.W.2d 240, 242 (Mich. 1942)

 (“The board of State canvassers is a State agency …”); see also Deleeuw v. State

 Bd. of Canvassers, 688 N.W.2d 847, 850 (Mich. Ct. App. 2004). Plaintiffs’ claims

 are barred against Governor Whitmer and Secretary Benson unless the third

 exception applies.

       The third exception arises from the Supreme Court’s decision in Ex parte

 Young, 209 U.S. 123 (1908). But as the Supreme Court has advised:

                 To interpret Young to permit a federal-court action to
              proceed in every case where prospective declaratory and
              injunctive relief is sought against an officer, named in his
              individual capacity, would be to adhere to an empty
              formalism and to undermine the principle … that
              Eleventh Amendment immunity represents a real
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     Case 1:21-cv-01169-TCB ECF
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                                        PageID.3304
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 199 Page
                                                                     of 1677
                                                                           10 of 36




              limitation on a federal court’s federal-question
              jurisdiction. The real interests served by the Eleventh
              Amendment are not to be sacrificed to elementary
              mechanics of captions and pleading. Application of the
              Young exception must reflect a proper understanding of
              its role in our federal system and respect for state courts
              instead of a reflexive reliance on an obvious fiction.

 Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 270 (1997). Further, “the

 theory of Young has not been provided an expansive interpretation.” Pennhurst

 State Sch. & Hosp., 465 U.S. at 102. “‘In determining whether the doctrine of Ex

 parte Young avoids an Eleventh Amendment bar to suit, a court need only conduct

 a straightforward inquiry into whether [the] complaint alleges an ongoing violation

 of federal law and seeks relief properly characterized as prospective.’” Verizon

 Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002) (quoting Coeur d’Alene

 Tribe of Idaho, 521 U.S. 296 (O’Connor, J., concurring)).

       Ex parte Young does not apply, however, to state law claims against state

 officials, regardless of the relief sought. Pennhurst State Sch. & Hosp., 465 U.S. at

 106 (“A federal court’s grant of relief against state officials on the basis of state

 law, whether prospective or retroactive, does not vindicate the supreme authority

 of federal law. On the contrary, it is difficult to think of a greater intrusion on state

 sovereignty than when a federal court instructs state officials on how to conform

 their conduct to state law.”); see also In re Ohio Execution Protocol Litig., 709 F.

 App’x 779, 787 (6th Cir. 2017) (“If the plaintiff sues a state official under state law

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                                                                               Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3305
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 200 Page
                                                                     of 1677
                                                                           11 of 36




 in federal court for actions taken within the scope of his authority, sovereign

 immunity bars the lawsuit regardless of whether the action seeks monetary or

 injunctive relief.”). Unquestionably, Plaintiffs’ state law claims against

 Defendants are barred by Eleventh Amendment immunity.

       The Court then turns its attention to Plaintiffs’ § 1983 claims against

 Defendants. Defendants and Intervenor DNC/MDP contend that these claims are

 not in fact federal claims as they are premised entirely on alleged violations of

 state law. (ECF No. 31 at Pg ID 2185 (“Here, each count of Plaintiffs’

 complaint—even Counts I, II, and III, which claim to raise violations of federal

 law—is predicated on the election being conducted contrary to Michigan law.”);

 ECF No. 36 at Pg ID 2494 (“While some of [Plaintiffs’] allegations concern

 fantastical conspiracy theories that belong more appropriately in the fact-free outer

 reaches of the Internet[,] … what Plaintiffs assert at bottom are violations of the

 Michigan Election Code.”) Defendants also argue that even if properly stated as

 federal causes of action, “it is far from clear whether Plaintiffs’ requested

 injunction is actually prospective in nature, as opposed to retroactive.” (ECF No.

 31 at Pg ID 2186.)

       The latter argument convinces this Court that Ex parte Young does not

 apply. As set forth earlier, “‘[i]n order to fall with the Ex parte Young exception, a

 claim must seek prospective relief to end a continuing violation of federal law.’”

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3306
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 201 Page
                                                                     of 1677
                                                                           12 of 36




 Russell v. Lundergan-Grimes, 784 F.3d 1037, 1047 (6th Cir. 2015) (quoting Diaz

 v. Mich. Dep’t of Corr., 703 F.3d 956, 964 (6th Cir. 2013)). Unlike Russell, which

 Plaintiffs cite in their reply brief, this is not a case where a plaintiff is seeking to

 enjoin the continuing enforcement of a statute that is allegedly unconstitutional.

 See id. at 1044, 1047 (plaintiff claimed that Kentucky law creating a 300-foot no-

 political-speech buffer zone around polling location violated his free-speech

 rights). Instead, Plaintiffs are seeking to undo what has already occurred, as their

 requested relief reflects.2 (See ECF No. 7 at Pg ID 1847; see also ECF No. 6 at Pg

 955-56.)

        Before this lawsuit was filed, the Michigan Board of State Canvassers had

 already certified the election results and Governor Whitmer had transmitted the

 State’s slate of electors to the United States Archivist. (ECF Nos. 31-4, 31-5.)

 There is no continuing violation to enjoin. See Rios v. Blackwell, 433 F. Supp. 2d

 848 (N.D. Ohio Feb. 7, 2006); see also King Lincoln Bronzeville Neighborhood

 Ass’n v. Husted, No. 2:06-cv-00745, 2012 WL 395030, at *4-5 (S.D. Ohio Feb. 7,

 2012); cf. League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 475 (6th Cir.

 2008) (finding that the plaintiff’s claims fell within the Ex parte Young doctrine




 2
  To the extent Plaintiffs ask the Court to certify the results in favor of President
 Donald J. Trump, such relief is beyond its powers.
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     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3307
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 202 Page
                                                                     of 1677
                                                                           13 of 36




 where it alleged that the problems that plagued the election “are chronic and will

 continue absent injunctive relief”).

       For these reasons, the Court concludes that the Eleventh Amendment bars

 Plaintiffs’ claims against Defendants.

       B.     Mootness

       This case represents well the phrase: “this ship has sailed.” The time has

 passed to provide most of the relief Plaintiffs request in their Amended Complaint;

 the remaining relief is beyond the power of any court. For those reasons, this

 matter is moot.

       “‘Under Article III of the Constitution, federal courts may adjudicate only

 actual, ongoing cases or controversies.’” Kentucky v. U.S. ex rel. Hagel, 759 F.3d

 588, 595 (6th Cir. 2014) (quoting Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477

 (1990)). A case may become moot “when the issues presented are no longer live

 or the parties lack a legally cognizable interest in the outcome.” U.S. Parole

 Comm’n v. Geraghty, 445 U.S. 388, 396, 410 (1980) (internal quotation marks and

 citation omitted). Stated differently, a case is moot where the court lacks “the

 ability to give meaningful relief[.]” Sullivan v. Benningfield, 920 F.3d 401, 410

 (6th Cir. 2019). This lawsuit was moot well before it was filed on November 25.

       In their prayer for relief, Plaintiffs ask the Court to: (a) order Defendants to

 decertify the results of the election; (b) enjoin Secretary Benson and Governor

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
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                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 203 Page
                                                                     of 1677
                                                                           14 of 36




 Whitmer from transmitting the certified election results to the Electoral College;

 (c) order Defendants “to transmit certified election results that state that President

 Donald Trump is the winner of the election”; (d) impound all voting machines and

 software in Michigan for expert inspection; (e) order that no votes received or

 tabulated by machines not certified as required by federal and state law be counted;

 and, (f) enter a declaratory judgment that mail-in and absentee ballot fraud must be

 remedied with a manual recount or statistically valid sampling.3 (ECF No. 6 at Pg

 ID 955-56, ¶ 233.) What relief the Court could grant Plaintiffs is no longer

 available.

       Before this lawsuit was filed, all 83 counties in Michigan had finished

 canvassing their results for all elections and reported their results for state office

 races to the Secretary of State and the Michigan Board of State Canvassers in

 accordance with Michigan law. See Mich. Comp. Laws § 168.843. The State

 Board had certified the results of the 2020 General Election and Governor

 Whitmer had submitted the slate of Presidential Electors to the Archivists. (ECF



 3
   Plaintiffs also seek an order requiring the impoundment of all voting machines
 and software in Michigan for expert inspection and the production of security
 camera footage from the TCF Center for November 3 and 4. (ECF No. 6 at Pg ID
 956, ¶ 233.) This requested relief is not meaningful, however, where the remaining
 requests are no longer available. In other words, the evidence Plaintiffs seek to
 gather by inspecting voting machines and software and security camera footage
 only would be useful if an avenue remained open for them to challenge the election
 results.
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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3309
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 204 Page
                                                                     of 1677
                                                                           15 of 36




 No. 31-4 at Pg ID 2257-58; ECF No. 31-5 at Pg ID 2260-63.) The time for

 requesting a special election based on mechanical errors or malfunctions in voting

 machines had expired. See Mich. Comp. Laws §§ 168.831, 168.832 (petitions for

 special election based on a defect or mechanical malfunction must be filed “no

 later than 10 days after the date of the election”). And so had the time for

 requesting a recount for the office of President. See Mich. Comp. Laws § 168.879.

       The Michigan Election Code sets forth detailed procedures for challenging

 an election, including deadlines for doing so. Plaintiffs did not avail themselves of

 the remedies established by the Michigan legislature. The deadline for them to do

 so has passed. Any avenue for this Court to provide meaningful relief has been

 foreclosed. As the Eleventh Circuit Court of Appeals recently observed in one of

 the many other post-election lawsuits brought to specifically overturn the results of

 the 2020 presidential election:

              “We cannot turn back the clock and create a world in
              which” the 2020 election results are not certified.
              Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015).
              And it is not possible for us to delay certification nor
              meaningful to order a new recount when the results are
              already final and certified.

 Wood v. Raffensperger, -- F.3d -- , 2020 WL 7094866 (11th Cir. Dec. 5, 2020).

 And as one Justice of the Supreme Court of Pennsylvania advised in another 2020

 post-election lawsuit: “there is no basis in law by which the courts may grant

 Petitioners’ request to ignore the results of an election and recommit the choice to
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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3310
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 205 Page
                                                                     of 1677
                                                                           16 of 36




 the General Assembly to substitute its preferred slate of electors for the one chosen

 by a majority of Pennsylvania’s voters.” Kelly v. Commonwealth, No. 68 MAP

 2020, 2020 WL 7018314, at *3 (Pa. Nov. 28, 2020) (Wecht, J., concurring); see

 also Wood v. Raffensperger, No. 1:20-cv-04651, 2020 WL 6817513, at *13 (N.D.

 Ga. Nov. 20, 2020) (concluding that “interfer[ing] with the result of an election

 that has already concluded would be unprecedented and harm the public in

 countless ways”).

         In short, Plaintiffs’ requested relief concerning the 2020 General Election is

 moot.

         C.    Laches

         Defendants argue that Plaintiffs are unlikely to succeed on the merits

 because they waited too long to knock on the Court’s door. (ECF No. 31 at Pg ID

 2175-79; ECF No. 39 at Pg ID 2844.) The Court agrees.

         The doctrine of laches is rooted in the principle that “equity aids the vigilant,

 not those who slumber on their rights.” Lucking v. Schram, 117 F.2d 160, 162 (6th

 Cir. 1941); see also United States v. Clintwood Elkhorn Min. Co., 553 U.S. 1, 9

 (2008) (“A constitutional claim can become time-barred just as any other claim

 can.”). An action may be barred by the doctrine of laches if: (1) the plaintiff

 delayed unreasonably in asserting his rights and (2) the defendant is prejudiced by

 this delay. Brown-Graves Co. v. Central States, Se. and Sw. Areas Pension Fund,

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3311
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 206 Page
                                                                     of 1677
                                                                           17 of 36




 206 F.3d 680, 684 (6th Cir. 2000); Ottawa Tribe of Oklahoma v. Logan, 577 F.3d

 634, 639 n.6 (6th Cir. 2009) (“Laches arises from an extended failure to exercise a

 right to the detriment of another party.”). Courts apply laches in election cases.

 Detroit Unity Fund v. Whitmer, 819 F. App’x 421, 422 (6th Cir. 2020) (holding

 that the district court did not err in finding plaintiff’s claims regarding deadline for

 local ballot initiatives “barred by laches, considering the unreasonable delay on the

 part of [p]laintiffs and the consequent prejudice to [d]efendants”). Cf. Benisek v.

 Lamone, 138 S. Ct. 1942, 1944 (2018) (“[A] party requesting a preliminary

 injunction must generally show reasonable diligence. That is as true in election law

 cases as elsewhere.”).

       First, Plaintiffs showed no diligence in asserting the claims at bar. They

 filed the instant action on November 25—more than 21 days after the 2020

 General Election—and served it on Defendants some five days later on December

 1. (ECF Nos. 1, 21.) If Plaintiffs had legitimate claims regarding whether the

 treatment of election challengers complied with state law, they could have brought

 their claims well in advance of or on Election Day—but they did not. Michigan’s

 83 Boards of County Canvassers finished canvassing by no later than November

 17 and, on November 23, both the Michigan Board of State Canvassers and

 Governor Whitmer certified the election results. Mich. Comp. Laws §§ 168.822,

 168.842.0. If Plaintiffs had legitimate claims regarding the manner by which

                                            17

                                                                               Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3312
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 207 Page
                                                                     of 1677
                                                                           18 of 36




 ballots were processed and tabulated on or after Election Day, they could have

 brought the instant action on Election Day or during the weeks of canvassing that

 followed—yet they did not. Plaintiffs base the claims related to election machines

 and software on “expert and fact witness” reports discussing “glitches” and other

 alleged vulnerabilities that occurred as far back as 2010. (See e.g., ECF No. 6 at

 Pg ID 927-933, ¶¶ 157(C)-(E), (G), 158, 160, 167.) If Plaintiffs had legitimate

 concerns about the election machines and software, they could have filed this

 lawsuit well before the 2020 General Election—yet they sat back and did nothing.

       Plaintiffs proffer no persuasive explanation as to why they waited so long to

 file this suit. Plaintiffs concede that they “would have preferred to file sooner, but

 [] needed some time to gather statements from dozens of fact witnesses, retain and

 engage expert witnesses, and gather other data supporting their Complaint.” (ECF

 No. 49 at Pg ID 3081.) But according to Plaintiffs themselves, “[m]anipulation of

 votes was apparent shortly after the polls closed on November 3, 2020.” (ECF No.

 7 at Pg ID 1837 (emphasis added).) Indeed, where there is no reasonable

 explanation, there can be no true justification. See Crookston v. Johnson, 841 F.3d

 396, 398 (6th Cir. 2016) (identifying the “first and most essential” reason to issue a

 stay of an election-related injunction is plaintiff offering “no reasonable

 explanation for waiting so long to file this action”). Defendants satisfy the first

 element of their laches defense.

                                           18

                                                                               Exhibit D
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     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3313
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 208 Page
                                                                     of 1677
                                                                           19 of 36




       Second, Plaintiffs’ delay prejudices Defendants. See Kay v. Austin, 621 F.2d

 809, 813 (6th Cir. 1980) (“As time passes, the state’s interest in proceeding with

 the election increases in importance as resources are committed and irrevocable

 decisions are made, and the candidate’s claim to be a serious candidate who has

 received a serious injury becomes less credible by his having slept on his rights.”)

 This is especially so considering that Plaintiffs’ claims for relief are not merely

 last-minute—they are after the fact. While Plaintiffs delayed, the ballots were cast;

 the votes were counted; and the results were certified. The rationale for

 interposing the doctrine of laches is now at its peak. See McDonald v. Cnty. of San

 Diego, 124 F. App’x 588 (9th Cir. 2005) (citing Soules v. Kauaians for Nukolii

 Campaign Comm., 849 F.2d 1176, 1180 (9th Cir. 1988)); Soules, 849 F.2d at 1180

 (quoting Hendon v. N.C. State Bd. Of Elections, 710 F.2d 177, 182 (4th Cir. 1983))

 (applying doctrine of laches in post-election lawsuit because doing otherwise

 would, “permit, if not encourage, parties who could raise a claim to lay by and

 gamble upon receiving a favorable decision of the electorate and then, upon losing,

 seek to undo the ballot results in a court action”).

       Plaintiffs could have lodged their constitutional challenges much sooner than

 they did, and certainly not three weeks after Election Day and one week after

 certification of almost three million votes. The Court concludes that Plaintiffs’

 delay results in their claims being barred by laches.

                                           19

                                                                              Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3314
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 209 Page
                                                                     of 1677
                                                                           20 of 36




       D.     Abstention

       As outlined in several filings, when the present lawsuit was filed on

 November 25, 2020, there already were multiple lawsuits pending in Michigan

 state courts raising the same or similar claims alleged in Plaintiffs’ Amended

 Complaint. (See, e.g., ECF No. 31 at Pg ID 2193-98 (summarizing five state court

 lawsuits challenging President Trump’s defeat in Michigan’s November 3, 2020

 General Election).) Defendants and the City of Detroit urge the Court to abstain

 from deciding Plaintiffs’ claims in deference to those proceedings under various

 abstention doctrines. (Id. at Pg ID 2191-2203; ECF No. 39 at Pg ID 2840-44.)

 Defendants rely on the abstention doctrine outlined by the Supreme Court in

 Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976).

 The City of Detroit relies on the abstention doctrines outlined in Colorado River,

 as well as those set forth in Railroad Commission of Texas v. Pullman Co., 312

 U.S. 496, 500-01 (1941), and Burford v. Sun Oil Co., 319 U.S. 315 (1943). The

 City of Detroit maintains that abstention is particularly appropriate when resolving

 election disputes in light of the autonomy provided to state courts to initially settle

 such disputes.

       The abstention doctrine identified in Colorado River permits a federal court

 to abstain from exercising jurisdiction over a matter in deference to parallel state-

 court proceedings. Colorado River, 424 U.S. at 813, 817. The exception is found

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3315
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 210 Page
                                                                     of 1677
                                                                           21 of 36




 warranted “by considerations of ‘proper constitutional adjudication,’ ‘regard for

 federal-state relations,’ or ‘wise judicial administration.’” Quackenbush v. Allstate

 Ins. Co., 517 U.S. 706, 716 (1996) (quoting Colorado River, 424 U.S. at 817). The

 Sixth Circuit has identified two prerequisites for abstention under this doctrine.

 Romine v. Compuserve Corp., 160 F.3d 337, 339-40 (6th Cir. 1998).

       First, the court must determine that the concurrent state and federal actions

 are parallel. Id. at 339. Second, the court must consider the factors outlined by the

 Supreme Court in Colorado River and subsequent cases:

              (1) whether the state court has assumed jurisdiction over
              any res or property; (2) whether the federal forum is less
              convenient to the parties; (3) avoidance of piecemeal
              litigation; … (4) the order in which jurisdiction was
              obtained; … (5) whether the source of governing law is
              state or federal; (6) the adequacy of the state court action
              to protect the federal plaintiff’s rights; (7) the relative
              progress of the state and federal proceedings; and (8) the
              presence or absence of concurrent jurisdiction.

 Romine, 160 F.3d at 340-41 (internal citations omitted). “These factors, however,

 do not comprise a mechanical checklist. Rather, they require ‘a careful balancing

 of the important factors as they apply in a give[n] case’ depending on the particular

 facts at hand.” Id. (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr.

 Corp., 460 U.S. 1, 16 (1983)).

       As summarized in Defendants’ response brief and reflected in their exhibits

 (see ECF No. 31 at Pg ID 2193-97; see also ECF Nos. 31-7, 31-9, 31-11, 31-12,

                                           21

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3316
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 211 Page
                                                                     of 1677
                                                                           22 of 36




 31-14), the allegations and claims in the state court proceedings and the pending

 matter are, at the very least, substantially similar, Romine, 160 F.3d at 340 (“Exact

 parallelism is not required; it is enough if the two proceedings are substantially

 similar.” (internal quotation marks and citation omitted)). A careful balancing of

 the factors set forth by the Supreme Court counsel in favor of deferring to the

 concurrent jurisdiction of the state courts.

       The first and second factor weigh against abstention. Id. (indicating that the

 weight is against abstention where no property is at issue and neither forum is

 more or less convenient). While the Supreme Court has stated that “‘the presence

 of federal law issues must always be a major consideration weighing against

 surrender of federal jurisdiction in deference to state proceedings[,]’” id. at 342

 (quoting Moses H. Cone, 460 U.S. at 26), this “‘factor has less significance where

 the federal courts’ jurisdiction to enforce the statutory rights in question is

 concurrent with that of the state courts.’”4 Id. (quoting Moses H. Cone, 460 U.S. at

 25). Moreover, the Michigan Election Code seems to dominate even Plaintiffs’

 federal claims. Further, the remaining factors favor abstention.

       “Piecemeal litigation occurs when different courts adjudicate the identical

 issue, thereby duplicating judicial effort and potentially rendering conflicting



 4
  State courts have concurrent jurisdiction over § 1983 actions. Felder v. Casey,
 487 U.S. 131, 139 (1988).
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                                                                               Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3317
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 212 Page
                                                                     of 1677
                                                                           23 of 36




 results.” Id. at 341. The parallel proceedings are premised on similar factual

 allegations and many of the same federal and state claims. The state court

 proceedings were filed well before the present matter and at least three of those

 matters are far more advanced than this case. Lastly, as Congress conferred

 concurrent jurisdiction on state courts to adjudicate § 1983 claims, Felder v. Casey,

 487 U.S. 131, 139 (1988), “[t]here can be no legitimate contention that the

 [Michigan] state courts are incapable of safeguarding [the rights protected under

 this statute],” Romine, 160 F.3d at 342.

       For these reasons, abstention is appropriate under the Colorado River

 doctrine. The Court finds it unnecessary to decide whether abstention is

 appropriate under other doctrines.

       E.     Standing

       Under Article III of the United States Constitution, federal courts can

 resolve only “cases” and “controversies.” U.S. Const. art. III § 2. The case-or-

 controversy requirement is satisfied only where a plaintiff has standing to bring

 suit. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), as revised (May 24,

 2016). Each plaintiff must demonstrate standing for each claim he seeks to press.5


 5
   Plaintiffs assert a due process claim in their Amended Complaint and twice state
 in their motion for injunctive relief that Defendants violated their due process
 rights. (See ECF No. 7 at Pg ID 1840, 1844.) Plaintiffs do not pair either
 statement with anything the Court could construe as a developed argument. (Id.)
 The Court finds it unnecessary, therefore, to further discuss the due process claim.
                                            23

                                                                            Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3318
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 213 Page
                                                                     of 1677
                                                                           24 of 36




 DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (citation omitted) (“[A]

 plaintiff must demonstrate standing separately for each form of relief sought.”).

 To establish standing, a plaintiff must show that: (1) he has suffered an injury in

 fact that is “concrete and particularized” and “actual or imminent”; (2) the injury is

 “fairly . . . trace[able] to the challenged action of the defendant”; and (3) it is

 “likely, as opposed to merely speculative, that the injury will be redressed by a

 favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-62 (1992)

 (internal quotation marks and citations omitted).

              1.     Equal Protection Claim

       Plaintiffs allege that Defendants engaged in “several schemes” to, among

 other things, “destroy,” “discard,” and “switch” votes for President Trump, thereby

 “devalu[ing] Republican votes” and “diluting” the influence of their individual

 votes. (ECF No. 49 at Pg ID 3079.) Plaintiffs contend that “the vote dilution

 resulting from this systemic and illegal conduct did not affect all Michigan voters

 equally; it had the intent and effect of inflating the number of votes for Democratic

 candidates and reducing the number of votes for President Trump and Republican

 candidates.” (ECF No. 49 at Pg ID 3079.) Even assuming that Plaintiffs establish




 McPherson v. Kelsey, 125 F.3d 989, 995 (6th Cir. 1997) (“Issues adverted to in a
 perfunctory manner, unaccompanied by some effort at developed argumentation,
 are deemed waived.”).
                                       24

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3319
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 214 Page
                                                                     of 1677
                                                                           25 of 36




 injury-in-fact and causation under this theory,6 their constitutional claim cannot

 stand because Plaintiffs fall flat when attempting to clear the hurdle of

 redressability.

       Plaintiffs fail to establish that the alleged injury of vote-dilution can be

 redressed by a favorable decision from this Court. Plaintiffs ask this Court to de-

 certify the results of the 2020 General Election in Michigan. But an order de-

 certifying the votes of approximately 2.8 million people would not reverse the

 dilution of Plaintiffs’ vote. To be sure, standing is not “dispensed in gross: A

 plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.” Gill,

 138 S. Ct. at 1934 (citing Cuno, 547 U.S. at 353); Cuno, 547 U.S. at 353 (“The

 remedy must of course be limited to the inadequacy that produced the injury in fact

 that the plaintiff has established.” (quoting Lewis v. Casey, 518 U.S. 343, 357

 (1996)). Plaintiffs’ alleged injury does not entitle them to seek their requested

 remedy because the harm of having one’s vote invalidated or diluted is not

 remedied by denying millions of others their right to vote. Accordingly, Plaintiffs

 have failed to show that their injury can be redressed by the relief they seek and

 thus possess no standing to pursue their equal protection claim.




 6
   To be clear, the Court does not find that Plaintiffs satisfy the first two elements of
 the standing inquiry.
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                                                                              Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3320
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 215 Page
                                                                     of 1677
                                                                           26 of 36




              2.     Elections Clause & Electors Clause Claims

        The provision of the United States Constitution known as the Elections

 Clause states in part: “The Times, Places and Manner of holding Elections for

 Senators and Representatives, shall be prescribed in each State by the Legislature

 thereof[.]” U.S. Const. art. I, § 4, cl. 1. “The Elections Clause effectively gives

 state governments the ‘default’ authority to regulate the mechanics of federal

 elections, Foster v. Love, 522 U.S. 67, 69, 118 S. Ct. 464, 139 L.Ed.2d 369 (1997),

 with Congress retaining ‘exclusive control’ to ‘make or alter’ any state’s

 regulations, Colegrove v. Green, 328 U.S. 549, 554, 66 S. Ct. 1198, 90 L.Ed. 1432

 (1946).” Bognet, 2020 WL 6686120, *1. The “Electors Clause” of the

 Constitution states: “Each State shall appoint, in such Manner as the Legislature

 thereof may direct, a Number of Electors ….” U.S. Const. art. II, § 1, cl. 2.

        Plaintiffs argue that, as “nominees of the Republican Party to be Presidential

 Electors on behalf of the State of Michigan, they have standing to allege violations

 of the Elections Clause and Electors Clause because “a vote for President Trump

 and Vice-President Pence in Michigan … is a vote for each Republican elector[],

 and … illegal conduct aimed at harming candidates for President similarly injures

 Presidential Electors.” (ECF No. 7 at Pg ID 1837-38; ECF No. 49 at Pg ID 3076-

 78.)




                                           26

                                                                              Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3321
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 216 Page
                                                                     of 1677
                                                                           27 of 36




       But where, as here, the only injury Plaintiffs have alleged is that the

 Elections Clause has not been followed, the United States Supreme Court has made

 clear that “[the] injury is precisely the kind of undifferentiated, generalized

 grievance about the conduct of government that [courts] have refused to

 countenance.”7 Lance v. Coffman, 549 U.S. 437, 442 (2007). Because Plaintiffs

 “assert no particularized stake in the litigation,” Plaintiffs fail to establish injury-

 in-fact and thus standing to bring their Elections Clause and Electors Clause

 claims. Id.; see also Johnson v. Bredesen, 356 F. App’x 781, 784 (6th Cir. 2009)

 (citing Lance, 549 U.S. at 441-42) (affirming district court’s conclusion that

 citizens did not allege injury-in-fact to support standing for claim that the state of

 Tennessee violated constitutional law).




 7
   Although separate constitutional provisions, the Electors Clause and Elections
 Clause share “considerable similarity,” Ariz. State Leg. v. Ariz. Indep. Redistricting
 Comm’n, 576 U.S. 787, 839, (2015) (Roberts, C.J., dissenting), and Plaintiffs do
 not at all distinguish the two clauses in their motion for injunctive relief or reply
 brief (ECF No. 7; ECF No. 49 at Pg ID 3076-78). See also Bognet v. Sec’y
 Commonwealth of Pa., No. 20-3214, 2020 WL 6686120, at *7 (3d Cir. Nov. 13,
 2020) (applying same test for standing under both Elections Clause and Electors
 Clause); Wood, 2020 WL 6817513, at *1 (same); Foster, 522 U.S. at 69
 (characterizing Electors Clause as Elections Clauses’ “counterpart for the
 Executive Branch”); U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 804-05
 (1995) (noting that state’s “duty” under Elections Clause “parallels the duty”
 described by Electors Clause).


                                             27

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3322
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 217 Page
                                                                     of 1677
                                                                           28 of 36




       This is so because the Elections Clause grants rights to “the Legislature” of

 “each State.” U.S. Const. art. I, § 4, cl. 1. The Supreme Court interprets the words

 “the Legislature,” as used in that clause, to mean the lawmaking bodies of a state.

 Ariz. State Legislature, 135 S.Ct. at 2673. The Elections Clause, therefore, grants

 rights to state legislatures and to other entities to which a State may delegate

 lawmaking authority. See id. at 2668. Plaintiffs’ Elections Clause claims thus

 belong, if to anyone, Michigan’s state legislature. Bognet v. Secy. Commonwealth

 of Pa., -- F.3d. --, 2020 WL 6686120, *7 (3d Cir. Nov. 13, 2020). Plaintiffs here

 are six presidential elector nominees; they are not a part of Michigan’s lawmaking

 bodies nor do they have a relationship to them.

       To support their contention that they have standing, Plaintiffs point to

 Carson v. Simon, 78 F.3d 1051 (8th Cir. 2020), a decision finding that electors had

 standing to bring challenges under the Electors Clause. (ECF No. 7 at Pg ID 1839

 (citing Carson, 978 F.3d at 1057).) In that case, which was based on the specific

 content and contours of Minnesota state law, the Eighth Circuit Court of Appeals

 concluded that because “the plain text of Minnesota law treats prospective electors

 as candidates,” it too would treat presidential elector nominees as candidates.

 Carson, 78 F.3d at 1057. This Court, however, is as unconvinced about the

 majority’s holding in Carson as the dissent:

              I am not convinced the Electors have Article III standing
              to assert claims under the Electors Clause. Although
                                           28

                                                                              Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3323
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 218 Page
                                                                     of 1677
                                                                           29 of 36




              Minnesota law at times refers to them as “candidates,”
              see, e.g., Minn. Stat. § 204B.03 (2020), the Electors are
              not candidates for public office as that term is commonly
              understood. Whether they ultimately assume the office
              of elector depends entirely on the outcome of the state
              popular vote for president. Id. § 208.04 subdiv. 1 (“[A]
              vote cast for the party candidates for president and vice
              president shall be deemed a vote for that party’s
              electors.”). They are not presented to and chosen by the
              voting public for their office, but instead automatically
              assume that office based on the public’s selection of
              entirely different individuals.

 78 F.3d at 1063 (Kelly, J., dissenting).8

       Plaintiffs contend that the Michigan Election Code and relevant Minnesota

 law are similar. (See ECF No. 49 at Pg ID 3076-78.) Even if the Court were to




 8
  In addition, at least one Circuit Court, the Third Circuit Court of Appeals, has
 distinguished Carson’s holding, noting:

              Our conclusion departs from the recent decision of an
              Eighth Circuit panel which, over a dissent, concluded
              that candidates for the position of presidential elector had
              standing under Bond to challenge a Minnesota state-court
              consent decree that effectively extended the receipt
              deadline for mailed ballots. . . . The Carson court appears
              to have cited language from Bond without considering
              the context—specifically, the Tenth Amendment and the
              reserved police powers—in which the U.S. Supreme
              Court employed that language. There is no precedent for
              expanding Bond beyond this context, and the Carson
              court cited none.

 Bognet, 2020 WL 6686120, at *8 n.6.

                                             29

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 62,35-2
                                        PageID.3324
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 219 Page
                                                                     of 1677
                                                                           30 of 36




 agree, it finds that Plaintiffs lack standing to sue under the Elections and Electors

 Clauses.

       F.        The Merits of the Request for Injunctive Relief

                 1.    Likelihood of Success on the Merits

       The Court may deny Plaintiffs’ motion for injunctive relief for the reasons

 discussed above. Nevertheless, the Court will proceed to analyze the merits of

 their claims.

                       a.    Violation of the Elections & Electors Clauses

       Plaintiffs allege that Defendants violated the Elections Clause and Electors

 Clause by deviating from the requirements of the Michigan Election Code. (See,

 e.g., ECF No. 6 at Pg ID 884-85, ¶¶ 36-40, 177-81, 937-38.) Even assuming

 Defendants did not follow the Michigan Election Code, Plaintiffs do not explain

 how or why such violations of state election procedures automatically amount to

 violations of the clauses. In other words, it appears that Plaintiffs’ claims are in

 fact state law claims disguised as federal claims.

       A review of Supreme Court cases interpreting these clauses supports this

 conclusion. In Cook v. Gralike, the Supreme Court struck down a Missouri law

 that required election officials to print warnings on the ballot next to the name of

 any congressional candidate who refused to support term limits after concluding

 that such a statute constituted a “‘regulation’ of congressional elections,” as used in

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3325
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 220 Page
                                                                     of 1677
                                                                           31 of 36




 the Elections Clause. 531 U.S. 510, 525-26 (2001) (quoting U.S. Const. art. I, § 4,

 cl. 1). In Arizona State Legislature v. Arizona Independent Redistricting

 Commission, the Supreme Court upheld an Arizona law that transferred

 redistricting power from the state legislature to an independent commission after

 concluding that “the Legislature,” as used in the Elections Clause, includes any

 official body with authority to make laws for the state. 576 U.S. 787, 824 (2015).

 In each of these cases, federal courts measured enacted state election laws against

 the federal mandates established in the clauses—they did not measure violations of

 enacted state elections law against those federal mandates.

       By asking the Court to find that they have made out claims under the clauses

 due to alleged violations of the Michigan Election Code, Plaintiffs ask the Court to

 find that any alleged deviation from state election law amounts to a modification of

 state election law and opens the door to federal review. Plaintiffs cite to no case—

 and this Court found none—supporting such an expansive approach.

                    b.     Violation of the Equal Protection Clause

       Most election laws will “impose some burden upon individual voters.”

 Burdick v. Takushi, 504 U.S. 428, 433 (1992). But “[o]ur Constitution leaves no

 room for classification of people in a way that unnecessarily abridges this right [to

 vote].” Reynolds v. Sims, 377 U.S. 533, 559 (1964) (quoting Wesberry v. Sanders,

 376 U.S. 1, 17-18 (1964)). Voting rights can be impermissibly burdened “by a

                                          31

                                                                             Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3326
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 221 Page
                                                                     of 1677
                                                                           32 of 36




 debasement or dilution of the weight of a citizen’s vote just as effectively as by

 wholly prohibiting the free exercise of the franchise.” Id. (quoting Reynolds, 377

 U.S. at 555).

       Plaintiffs attempt to establish an Equal Protection claim based on the theory

 that Defendants engaged in “several schemes” to, among other things, “destroy,”

 “discard,” and “switch” votes for President Trump, thereby “devalu[ing]

 Republican votes” and “diluting” the influence of their individual votes. (ECF No.

 49 at Pg ID 3079.)

       But, to be perfectly clear, Plaintiffs’ equal protection claim is not supported

 by any allegation that Defendants’ alleged schemes caused votes for President

 Trump to be changed to votes for Vice President Biden. For example, the closest

 Plaintiffs get to alleging that physical ballots were altered in such a way is the

 following statement in an election challenger’s sworn affidavit: “I believe some of

 these workers were changing votes that had been cast for Donald Trump and other

 Republican candidates.”9 (ECF No. 6 at Pg ID 902 ¶ 91 (citing Aff. Articia


 9
   Plaintiffs allege in several portions of the Amended Complaint that election
 officials improperly tallied, counted, or marked ballots. But some of these
 allegations equivocate with words such as “believe” and “may” and none of these
 allegations identify which presidential candidate the ballots were allegedly altered
 to favor. (See, e.g., ECF No. 6 at Pg ID 902, ¶ 91 (citing Aff. Articia Bomer, ECF
 No. 6-3 at Pg ID 1008-10 (“I believe some of these ballots may not have been
 properly counted.” (emphasis added))); Pg ID 902-03, ¶ 92 (citing Tyson Aff. ¶ 17)
 (“At least one challenger observed poll workers adding marks to a ballot where
 there was no mark for any candidate.”).
                                             32

                                                                              Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3327
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 222 Page
                                                                     of 1677
                                                                           33 of 36




 Bomer, ECF No. 6-3 at Pg ID 1008-1010).) But of course, “[a] belief is not

 evidence” and falls far short of what is required to obtain any relief, much less the

 extraordinary relief Plaintiffs request. United States v. O’Connor, No. 96-2992,

 1997 WL 413594, at *1 (7th Cir. 1997); see Brown v. City of Franklin, 430 F.

 App’x 382, 387 (6th Cir. 2011) (“Brown just submits his belief that Fox’s

 ‘protection’ statement actually meant “protection from retaliation. . . . An

 unsubstantiated belief is not evidence of pretext.”); Booker v. City of St. Louis, 309

 F.3d 464, 467 (8th Cir. 2002) (“Booker’s “belief” that he was singled out for

 testing is not evidence that he was.”).10 The closest Plaintiffs get to alleging that

 election machines and software changed votes for President Trump to Vice


 10
      As stated by the Circuit Court for the District of Columbia Circuit:

                The statement is that the complainant believes and
                expects to prove some things. Now his belief and
                expectation may be in good faith; but it has been
                repeatedly held that suspicion is not proof; and it is
                equally true that belief and expectation to prove cannot
                be accepted as a substitute for fact. The complainant
                carefully refrains from stating that he has any
                information upon which to found his belief or to justify
                his expectation; and evidently he has no such
                information. But belief, without an allegation of fact
                either upon personal knowledge or upon information
                reasonably sufficient upon which to base the belief,
                cannot justify the extraordinary remedy of injunction.

 Magruder v. Schley, 18 App. D.C. 288, 292, 1901 WL 19131, at *2 (D.C. Cir.
 1901).

                                             33

                                                                                Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3328
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 223 Page
                                                                     of 1677
                                                                           34 of 36




 President Biden in Wayne County is an amalgamation of theories, conjecture, and

 speculation that such alterations were possible. (See e.g., ECF No. 6 at ¶¶ 7-11,

 17, 125, 129, 138-43, 147-48, 155-58, 160-63, 167, 171.) And Plaintiffs do not at

 all explain how the question of whether the treatment of election challengers

 complied with state law bears on the validity of votes, or otherwise establishes an

 equal protection claim.

       With nothing but speculation and conjecture that votes for President Trump

 were destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’

 equal protection claim fails.11 See Wood, 2020 WL 7094866 (quoting Bognet,

 2020 WL 6686120, at *12) (“‘[N]o single voter is specifically disadvantaged’ if a

 vote is counted improperly, even if the error might have a ‘mathematical impact on

 the final tally and thus on the proportional effect of every vote.’”).




 11
    “[T]he Voter Plaintiffs cannot analogize their Equal Protection claim to
 gerrymandering cases in which votes were weighted differently. Instead, Plaintiffs
 advance an Equal Protection Clause argument based solely on state officials’
 alleged violation of state law that does not cause unequal treatment. And if
 dilution of lawfully cast ballots by the ‘unlawful’ counting of invalidly cast ballots
 were a true equal-protection problem, then it would transform every violation of
 state election law (and, actually, every violation of every law) into a potential
 federal equal-protection claim requiring scrutiny of the government’s ‘interest’ in
 failing to do more to stop the illegal activity. That is not how the Equal Protection
 Clause works.” Bognet, 2020 WL 6686120, at *11.
                                            34

                                                                             Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3329
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 224 Page
                                                                     of 1677
                                                                           35 of 36




                2.   Irreparable Harm & Harm to Others

       Because “a finding that there is simply no likelihood of success on the merits

 is usually fatal[,]” Gonzales v. Nat’l Bd. of Med. Examiners, 225 F.3d 620, 625

 (6th Cir. 2000) (citing Mich. State AFL-CIO v. Miller, 103 F.3d 1240, 1249 (6th

 Cir. 1997), the Court will not discuss the remaining preliminary injunction factors

 extensively.

       As discussed, Plaintiffs fail to show that a favorable decision from the Court

 would redress their alleged injury. Moreover, granting Plaintiffs’ injunctive relief

 would greatly harm the public interest. As Defendants aptly describe, Plaintiffs’

 requested injunction would “upend the statutory process for election certification

 and the selection of Presidential Electors. Moreover, it w[ould] disenfranchise

 millions of Michigan voters in favor [of] the preferences of a handful of people

 who [are] disappointed with the official results.” (ECF No. 31 at Pg ID 2227.)

       In short, none of the remaining factors weigh in favor of granting Plaintiffs’

 request for an injunction.

 IV.   Conclusion

       For these reasons, the Court finds that Plaintiffs are far from likely to

 succeed in this matter. In fact, this lawsuit seems to be less about achieving the

 relief Plaintiffs seek—as much of that relief is beyond the power of this Court—

 and more about the impact of their allegations on People’s faith in the democratic

                                          35

                                                                             Exhibit D
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 62,35-2
                                        PageID.3330
                                            Filed 05/03/21
                                                      Filed 12/07/20
                                                            Page 225 Page
                                                                     of 1677
                                                                           36 of 36




 process and their trust in our government. Plaintiffs ask this Court to ignore the

 orderly statutory scheme established to challenge elections and to ignore the will of

 millions of voters. This, the Court cannot, and will not, do.

       The People have spoken.

       The Court, therefore, DENIES Plaintiffs’ “Emergency Motion for

 Declaratory, Emergency, and Permanent Injunctive Relief” (ECF No. 7.)

       IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE


  Dated: December 7, 2020




                                          36

                                                                            Exhibit D
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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      35-2
                                         PageID.3616
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  226 of
                                                                      Page
                                                                         1677
                                                                            1 of 56




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                      No. 2:20-cv-13134
 RUBINGH,
                                                  Hon. Linda V. Parker
               Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

               Defendants
   and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

               Intervenor-Defendants.

      THE CITY OF DETROIT’S MOTION FOR SANCTIONS, FOR
   DISCIPLINARY ACTION, FOR DISBARMENT REFERRAL AND FOR
         REFERRAL TO STATE BAR DISCIPLINARY BODIES
         Intervenor-Defendant City of Detroit (the “City”), by and through counsel,

 respectfully moves for sanctions against Plaintiffs and their counsel pursuant to




                                                                         Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3617
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  227 of
                                                                      Page
                                                                         1677
                                                                            2 of 56




 Federal Rule of Civil Procedure 11. The City further moves for disciplinary action

 and referrals to be initiated against counsel.

         The undersigned counsel certifies that counsel communicated in writing with

 opposing counsel, explaining the nature of the relief to be sought by way of this

 motion and seeking concurrence in the relief; opposing counsel thereafter denied

 concurrence. Such concurrence was sought on December 15, 2020 and January 5,

 2021.

         The City also served Plaintiffs with a Motion for Sanctions under Fed. R. Civ.

 P. 11 on December 15, 2020. Plaintiffs did not withdraw or correct any of the false

 factual allegations and frivolous legal theories in their pleadings during the 21 day

 “safe harbor” period.1 Thus, this Motion is timely.


         1
          No lawyer for the Plaintiffs responded to the email message forwarding the
 Rule 11 motion. Instead, at least two of their attorneys made public statements, with
 military analogies and references to opposing counsel as “the enemy.” According to
 the news website Law and Crime, Plaintiffs’ counsel, Sidney Powell, when asked
 about the proposed Rule 11 motion, “replied cryptically: ‘We are clearly over the
 target.’” Ex. 1. Similarly, Plaintiffs’ counsel, L. Lin Wood, posted the following on
 his Twitter account on December 17, 2020:

         When you get falsely accused by the likes of David Fink & Marc Elias
         of Perkins Coie (The Hillary Clinton Firm) in a propaganda rag like
         Law & Crime, you smile because you know you are over the target &
         the enemy is running scared!

 L. Lin Wood (@llinwood), Twitter (Dec. 17, 2020). Perhaps the lack of civility is
 related to counsels’ failure to apply for admission to the Eastern District of
 Michigan’s bar. at least they would have been compelled to review and affirm their
 commitment to our court’s Civility Principles.

                                            ii
                                                                             Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3618
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  228 of
                                                                      Page
                                                                         1677
                                                                            3 of 56




       This Motion is supported by the accompanying Brief.

                  Sanctions Pursuant to Fed. R. Civ. P. 11(b)(1)

       1.     Sanctions should be imposed under Fed. R. Civ. P. 11(b)(1) when a

 pleading or other filing is presented for any improper purpose, such as to harass,

 cause unnecessary delay, or needlessly increase the cost of litigation.

       2.     Sanctions pursuant to the sub-rule should be imposed against Plaintiffs

 and their counsel because they initiated the instant suit for improper purposes,

 including harassing the City and frivolously undermining “People’s faith in the

 democratic process and their trust in our government.” Opinion and Order Denying

 Plaintiffs’ “Emergency Motion for Declaratory, Emergency, and Permanent

 Injunctive Relief,” ECF No. 62, PageID.3329-30.

       3.     Plaintiffs and their counsel understood that the mere filing of a suit (no

 matter how frivolous) could, without any evidence, raise doubts in the minds of

 millions of Americans about the legitimacy of the 2020 presidential election. As this

 Court noted, “Plaintiffs ask th[e] Court to ignore the orderly statutory scheme

 established to challenge elections and to ignore the will of millions of voters.” Id.

 PageID.3330.

       4.     The Complaints (ECF Nos. 1 and 6), Emergency Motion for

 Declaratory, Emergency, and Permanent Injunctive Relief and Memorandum in




                                           iii
                                                                             Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3619
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  229 of
                                                                      Page
                                                                         1677
                                                                            4 of 56




 Support Thereof (ECF No. 7), and Emergency Motion to Seal (ECF No. 8) were

 devoid of merit and thus could only have been filed for improper purposes.

                  Sanctions Pursuant to Fed. R. Civ. P. 11(b)(2)

       5.     Sanctions under Fed. R. Civ. P. 11(b)(2) are appropriately entered

 where the claims, defenses, and other legal contentions are not warranted by existing

 law or by a non-frivolous argument for extending, modifying, or reversing existing

 law or for establishing new law.

       6.     Sanctions pursuant to Rule 11(b)(2) should be imposed against counsel

 for Plaintiffs because the causes of action asserted in the Complaints (ECF Nos. 1

 and 6), Emergency Motion for Declaratory, Emergency, and Permanent Injunctive

 Relief and Memorandum in Support Thereof (ECF No. 7), and Emergency Motion

 to Seal (ECF No. 8) were frivolous and legally deficient under existing law and

 because Plaintiffs failed to present any non-frivolous arguments to extend, modify,

 or reverse existing law.

       7.     The majority of Plaintiffs’ claims were moot. As this Court noted,

 “[t]he time has passed to provide most of the relief Plaintiffs request in their

 Amended Complaint; the remaining relief is beyond the power of any court. For

 these reasons, this matter is moot.” ECF No. 62, PageID.3307.

       8.     Plaintiffs’ claims were also barred by laches because “they waited too

 long to knock on the Court’s door.” Id. at PageID.3310. Indeed, “Plaintiffs showed



                                          iv
                                                                           Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3620
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  230 of
                                                                      Page
                                                                         1677
                                                                            5 of 56




 no diligence in asserting the claims at bar.” Id. at PageID.3311. This delay prejudiced

 the City. Id. at PageID.3313.

         9.    Plaintiffs lacked standing to pursue their claims. Id. at PageID.3317-

 3324.

         10.   Plaintiffs’ claim for violation of the Elections and Electors Clauses is

 frivolous. As this Court held, “Plaintiffs ask the Court to find that any alleged

 deviation from state election law amounts to a modification of state election law and

 opens the door to federal review. Plaintiffs cite to no case – and this Court found

 none – supporting such an expansive approach.” Id. at PageID.3325.

         11.   Plaintiffs’ due process and equal protection clause claims are also

 baseless. With regard to the due process claim, this Court held that “Plaintiffs do not

 pair [the due process claim] with anything the Court could construe as a developed

 argument. The Court finds it unnecessary, therefore, to further discuss the due

 process claim.” Id. at PageID.3317. As to the equal protection claim, this Court

 stated that “[w]ith nothing but speculation and conjecture that votes for President

 Trump were destroyed, discarded or switched to votes for Vice President Biden,

 Plaintiffs’ equal protection claim fails.” Id. at PageID.3328.

         12.   For each of Plaintiffs’ claims, Plaintiffs did not identify valid legal

 theories and the controlling law contradicted the claims. The claims were not




                                           v
                                                                             Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3621
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  231 of
                                                                      Page
                                                                         1677
                                                                            6 of 56




 warranted by existing law or by a non-frivolous argument for extending, modifying,

 or reversing existing law or for establishing new law.

       13.    Plaintiffs’ Emergency Motion for Declaratory, Emergency, and

 Permanent Injunctive Relief and Memorandum in Support Thereof (ECF No. 7) was

 without any legal basis because, as described above, the underlying claims are

 baseless, and the requests for relief were frivolous.

       14.    Plaintiffs’ Emergency Motion to Seal (ECF No. 8) was without any

 legal basis because Plaintiffs seek to anonymously file supposed evidence of a broad

 conspiracy to steal the 2020 presidential election without providing any authority

 whatsoever to attempt to meet their heavy burden to justify the sealed filing of these

 documents.

                   Sanctions Pursuant to Fed. R. Civ. P. 11(b)(3)

       15.    Sanctions can be imposed under Fed. R. Civ. P. 11(b)(3) where factual

 contentions do not have evidentiary support or will likely not have evidentiary

 support after a reasonable opportunity for further investigation or discovery.

       16.    Sanctions should be entered against Plaintiffs and their counsel

 pursuant to Fed. R. Civ. P. 11(b)(3) because the factual contentions raised in the

 complaints and motions were false.

       17.    The key “factual” allegations from the supposed fact witnesses, some

 of whom attempt to cloak their identities while attacking democracy, have been



                                           vi
                                                                            Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3622
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  232 of
                                                                      Page
                                                                         1677
                                                                            7 of 56




 debunked. The allegations about supposed fraud in the processing and tabulation of

 absentee ballots by the City at the TCF Center have been rejected by every court

 which has considered them. If any of the claims in this lawsuit had merit, that would

 have been demonstrated in those cases. The City refers the Court to its Response to

 Plaintiffs’ Emergency Motion for Declaratory, Emergency, and Permanent

 Injunctive Relief for a detailed debunking of Plaintiffs’ baseless factual contentions.

 ECF No. 39, PageID.2808-2933.

                              Disciplinary Proceedings

       18.    E. D. Mich. LR 83.22 authorizes the Court to levy punishments other

 than suspension or disbarment on a practicing attorney whose conduct has violated

 the Rules of Professional Conduct, the Local Rules, the Federal Rules of Civil or

 Bankruptcy Procedure, orders of the Court, or who has engaged in conduct

 considered to be “unbecoming of a member of the bar of this court.”

       19.    The Rule also authorizes the Court to refer counsel to the Chief Judge

 of this District for disbarment or suspension proceedings.

       20.    And, the Rule authorizes the Court to refer counsel to the Michigan

 Attorney Discipline Board and to the disciplinary authorities of counsels’ home

 jurisdictions for purposes of disciplinary proceedings.




                                           vii
                                                                             Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3623
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  233 of
                                                                      Page
                                                                         1677
                                                                            8 of 56




       WHEREFORE, for the foregoing reasons and the reason stated in the

 accompanying brief, the City of Detroit respectfully requests that this Court enter an

 Order:

       (a) Imposing monetary sanctions against Plaintiffs and their counsel in an

 amount determined by this Court to be sufficient to deter future misconduct (such

 amount should be, at the least, the amount that Plaintiffs’ counsel have collected in

 their fundraising campaigns, directly or through entities they own or control, for their

 challenges to the 2020 election);

       (b) Requiring Plaintiffs and their counsel to pay all costs and attorney fees

 incurred by the City in relation to this matter (as well as costs and fees incurred by

 all other Defendants);

       (c) Requiring Plaintiffs and/or their counsel to post a bond of $100,000 prior

 to the filing of any appeal of this action (and to maintain their present appeal);

       (d) Requiring Plaintiffs and their counsel to post a bond of $100,000 prior to

 filing, in any court, an action against the City, or any other governmental entity or

 their employees, relating to or arising from the facts alleged in this matter;

       (e) Requiring Plaintiffs to post a substantial bond, in an amount determined

 by the Court, prior to filing an action in the Eastern District of Michigan;

       (f) Requiring Plaintiffs and their counsel to obtain certification from a

 magistrate judge that the proposed claims are not frivolous or asserted for an



                                           viii
                                                                                Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                             ECF No. 78,
                                      35-2
                                         PageID.3624
                                            Filed 05/03/21
                                                       Filed Page
                                                             01/05/21
                                                                  234 of
                                                                      Page
                                                                         1677
                                                                            9 of 56




 improper purpose, before filing an action in the Eastern District of Michigan (and,

 if the magistrate determines that the proposed claims are frivolous or asserted for an

 improper purpose, requiring the plaintiff[s] to post a bond before filing the proposed

 action in an amount the magistrate determines is sufficient to protect the

 defendant[s]);

       (g) Requiring Plaintiffs and their counsel to certify, via affidavit, under

 penalty of perjury, that they have paid all amounts required to fully satisfy any non-

 appealable orders for sanctions entered by any court, prior to filing an action in the

 Eastern District of Michigan;

       (h) Barring Plaintiffs’ counsel from practicing law in the Eastern District of

 Michigan (after the issuance of a show cause order);

       (i) Referring Plaintiffs’ counsel to the Chief Judge of this District for initiation

 of disbarment proceedings;

       (j) Referring all Plaintiffs’ counsel to the Michigan Attorney Grievance

 Commission (and also to the disciplinary authorities of their home jurisdictions,

 including: Sidney Powell to the Michigan Bar and to the Texas bar; L. Lin Wood to

 the Michigan Bar and to the Georgia bar; Greg Rohl to the Michigan bar; Emily

 Newman to the Michigan Bar and to the Virginia bar; Julia Haller to the Michigan

 Bar and to the Washington D.C. bar; Brandon Johnson to the Michigan Bar and to




                                            ix
                                                                                Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3625
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 235 Page
                                                                     of 1677
                                                                           10 of 56




 the Washington D.C. bar; Scott Hagerstrom to the Michigan bar; Howard

 Kleinhendler to the Michigan Bar and to the New York bar); and,

       (k) Granting any other relief that the Court deems just or equitable.

  January 5, 2021                       Respectfully submitted,

                                        FINK BRESSACK

                                        By: /s/ David H. Fink
                                        David H. Fink (P28235)
                                        Darryl Bressack (P67820)
                                        Nathan J. Fink (P75185)
                                        Attorneys for City of Detroit
                                        38500 Woodward Ave., Ste. 350
                                        Bloomfield Hills, MI 48304
                                        Tel: (248) 971-2500
                                        dfink@finkbressack.com
                                        dbressack@finkbressack.com
                                        nfink@finkbressack.com

                                        CITY OF DETROIT
                                        LAW DEPARTMENT
                                        Lawrence T. Garcia (P54890)
                                        James D. Noseda (P52563)
                                        Attorneys for City of Detroit
                                        2 Woodward Ave., 5th Floor
                                        Detroit, MI 48226
                                        Tel: (313) 237-5037
                                        garcial@detroitmi.gov
                                        nosej@detroitmi.gov




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                                                                               Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3626
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 236 Page
                                                                     of 1677
                                                                           11 of 56




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES
  DAVID HOOPER and DAREN WADE                   No. 2:20-cv-13134
  RUBINGH,
                                                Hon. Linda V. Parker
               Plaintiffs,
    v.

  GRETCHEN WHITMER, in her official
  capacity as Governor of the State of
  Michigan, JOCELYN BENSON, in her
  official capacity as Michigan Secretary of
  State and the Michigan BOARD OF STATE
  CANVASSERS,

              Defendants.

                    BRIEF IN SUPPORT OF
      THE CITY OF DETROIT’S MOTION FOR SANCTIONS, FOR
   DISCIPLINARY ACTION, FOR DISBARMENT REFERRAL AND FOR
         REFERRAL TO STATE BAR DISCIPLINARY BODIES




                                                                       Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3627
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 237 Page
                                                                     of 1677
                                                                           12 of 56




                                         TABLE OF CONTENTS


 INDEX OF AUTHORITIES..................................................................................... II

 STATEMENT OF THE ISSUES PRESENTED .................................................... IV

 CONTROLLING OR MOST APPROPRIATE AUTHORITIES ............................ V

 INTRODUCTION .....................................................................................................1

 ARGUMENT .............................................................................................................4

   I. Rule 11 Standards ............................................................................................. 4

   II. The Complaint was Filed for an Improper Purpose ......................................... 5

   III. The Factual Assertions in the Complaint Were Frivolous and Based on
   Assertions Which Had Been Rejected by Michigan Courts ................................. 13

      A.       Allegations Regarding Republican Challengers .....................................13

      B.       Allegations of “Pre-Dating” ....................................................................14

      C.       Allegations Regarding Ballots Supposedly Counted More than Once ...15

      D.       Allegations Regarding Tabulating Machines ..........................................16

      E.       The Declarations and Analyses “Supporting” the Complaint Were Full
               of Intentional Lies ...................................................................................18

   IV. Plaintiffs’ Legal Theories Were Frivolous ..................................................... 27

   V. The Sanctions Which Should be Imposed Pursuant to Rule 11 ..................... 31

   VI. Plaintiffs’ Counsel Should also be Disciplined and Referred to the Chief
   Judge for Disbarment ............................................................................................ 35

 CONCLUSION ........................................................................................................38




                                                            I
                                                                                                          Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3628
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 238 Page
                                                                     of 1677
                                                                           13 of 56




                                    INDEX OF AUTHORITIES

  Cases

 Bognet v. Secy Commonwealth of Pennsylvania,
  980 F.3d 336 (3rd Cir. Nov. 13, 2020) .................................................................28

 Bowyer v. Ducey, CV-20-02321, 2020 WL 7238261
  (D. Ariz. Dec. 9, 2020) .......................................................................... 2, 3, 18, 19

 Costantino v Detroit, No. 162245, 2020 WL 6882586 (Mich. Nov. 23, 2020) ......13

 Costantino v. Detroit, Opinion and Order,
  Wayne County Circuit Court Case No. 20-014780-AW (Nov. 13, 2020) ...........13

 DeGeorge v. Warheit, 276 Mich. App. 587, 741 N.W.2d 384 (2007) ....................37

 Ex parte Young, 209 U.S. 123 (1908) ......................................................................29

 Feathers v Chevron U.S.A., Inc., 141 F.3d 26 (6th Cir. 1998) ................................33

 Feehan v. Wisconsin Elections Comm'n,
   No. 20-CV-1771, 2020 WL 7250219 (E.D. Wis. Dec. 9, 2020) ............................2

 Georgia Republican Party v. Secy of State of Georgia,
  No. 20-14741, 2020 WL 7488181 (11th Cir. Dec. 21, 2020) ..............................28

 Holling v. U.S., 934 F. Supp. 251 (E.D. Mich. 1996)..............................................36

 INVST Financial Group, Inc. v. Chem-Nuclear Systems, Inc.,
   815 F.2d 391 (6th Cir. 1987) ........................................................................... 5, 31

 Johnson v. Secy of State, No. 162286, 2020 WL 7251084 (Mich. Dec. 9, 2020) ...24

 King v. Whitmer,
   No. CV 20-13134, 2020 WL 7134198 (E.D. Mich. Dec. 7, 2020) ........................1

 Mann v. G &G Mfg., Inc., 900 F.2d 953 (6th Cir. 1990) .................................... 5, 31

 Orlett v. Cincinnati Microwave, Inc., 954 F.2d 414 (6th Cir. 1992) .......................31

 Ortman v. Thomas, 99 F.3d 807 (6th Cir. 1996) .....................................................33

 Pearson v. Kemp, No. 1:20-cv-4809 (N.D. Ga. Dec. 7, 2020) ..................................2


                                                        II
                                                                                                   Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3629
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 239 Page
                                                                     of 1677
                                                                           14 of 56




 Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984) ..........................29

 Roberson v. Norfolk Southern Railway Co.,
  2020 WL 4726937 (E.D. Mich. Aug. 14, 2020) ..................................................32

 SLS v. Detroit Public Schools,
   No. 08-14615, 2012 WL 3489653 (E.D. Mich. Aug. 15, 2012) ..........................32

 Stephenson v. Central Michigan University,
   No. 12-10261, 2013 WL 306514 (E.D. Mich. Jan. 25, 2013) ..............................32

 Texas v. Pennsylvania, No. 155 ORIG., 2020 WL 7296814 (U.S. Dec. 11, 2020) ..9

 Thomas v. Capital Sec. Servs., Inc., 836 F.2d 866 (5th Cir. 1988) .........................36

 Wisconsin Voters Alliance v. Pence, No. 1:20-cv-03791 (D.C. Jan. 4, 2021) ..........6
 Statutes and Rules


 E. D. Mich. LR 83.20 ...............................................................................................35

 E. D. Mich. LR 83.22 ...............................................................................................36

 Fed. R. Civ. P. 11(b)(1).................................................................................... Passim

 Fed. R. Civ. P. 11(b)(2).................................................................................... Passim

 Fed. R. Civ. P. 11(b)(3).................................................................................... Passim

 Fed. R. Civ. P. 11(c)(5) ..............................................................................................4




                                                           III
                                                                                                          Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3630
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 240 Page
                                                                     of 1677
                                                                           15 of 56




                    STATEMENT OF THE ISSUES PRESENTED

      I.         Should the Court sanction Plaintiffs and their counsel pursuant to Fed.

 R. Civ. P. 11?

           The City answers: “Yes.”



     II.         Should the Court discipline Plaintiffs’ counsel, refer them to the Chief

 Judge of this District for disbarment proceedings and refer them to the Michigan

 Attorney Grievance Commission and their home state bars for disciplinary

 proceedings?

           The City answers: “Yes.”




                                             IV
                                                                               Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3631
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 241 Page
                                                                     of 1677
                                                                           16 of 56




        CONTROLLING OR MOST APPROPRIATE AUTHORITIES




 Fed. R. Civ. P. 11(b)(1)


 Fed. R. Civ. P. 11(b)(2)


 Fed. R. Civ. P. 11(b)(3)


 E. D. Mich. LR 83.22


 Bowyer v. Ducey, CV-20-02321, 2020 WL 7238261 (D. Ariz. Dec. 9, 2020)


 Costantino v. Detroit, Opinion and Order, Wayne County Circuit Court Case No.
 20-014780-AW (Nov. 13, 2020)


 Ex parte Young, 209 U.S. 123 (1908)


 King v. Whitmer, No. CV 20-13134, 2020 WL 7134198 (E.D. Mich. Dec. 7, 2020)


 Mann v. G & G Mfg., Inc., 900 F.2d 953 (6th Cir. 1990)




                                        V
                                                                       Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3632
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 242 Page
                                                                     of 1677
                                                                           17 of 56




                                   INTRODUCTION

       This Court has already concluded that Plaintiffs present “nothing but

 speculation and conjecture” and that “this lawsuit seems to be less about achieving

 the relief Plaintiffs seek—as much of that relief is beyond the power of this Court—

 and more about the impact of their allegations on People’s faith in the democratic

 process and their trust in our government.” King v. Whitmer, No. CV 20-13134, 2020

 WL 7134198, at *13 (E.D. Mich. Dec. 7, 2020). Now, it is time for Plaintiffs and

 their counsel to answer for that misconduct.

       It is indelibly clear that this lawsuit was filed for an improper purpose, and the

 failure to dismiss or amend the Complaint after service of a Rule 11 motion warrants

 the strongest possible sanctions. There are so many objectively false allegations in

 the Complaint that it is not possible to address all of them in a single brief. This brief

 will address some of the more extreme examples.

       For instance, Plaintiffs claim that their self-proclaimed experts include a

 military intelligence analyst, but when they accidentally disclosed his name, the

 “expert” was revealed to have washed out of the training course for military

 intelligence. Plaintiffs’ counsel did not redact the information to “protect” the

 “informant,” they did so to hide their fraud on the court.2


       2
          In addition to this case, Plaintiffs’ attorneys filed three other remarkably
 similar, and similarly frivolous, “release the kraken” lawsuits. The requested relief


                                             1
                                                                                Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3633
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 243 Page
                                                                     of 1677
                                                                           18 of 56




       Plaintiffs’ “expert” reports are rife with misstatements of Michigan law and

 election procedures. Those reports lack the simplest foundation of technical

 expertise, fail to use even elementary statistical methods and reach conclusions that

 lack any persuasive value. But, those unscientific conclusions, based upon false

 premises and faulty techniques are presented here as though they embody the

 uncontroverted truth.

       Plaintiffs have no apparent interest in the accuracy of their allegations and

 there is no innocent explanation for the numerous misrepresentations. They claim

 that turnout in some jurisdictions in the State exceeded 100%, even up to 781.91%,

 with turnout for Detroit at 139.29%. See Ramsland Aff., ECF No. 6-24,

 PageID.1574. But they had to know that claim was false; the actual results were

 readily available at the time Plaintiffs and their “experts” made the claim, and show

 turnout well below 100%, including in Detroit at 50.88%. Ex. 2.3


 was quickly denied or the case was dismissed for each. See Feehan v. Wisconsin
 Elections Comm'n, No. 20-CV-1771, 2020 WL 7250219 (E.D. Wis. Dec. 9, 2020);
 Bowyer v. Ducey, CV-20-02321, 2020 WL 7238261 (D. Ariz. Dec. 9, 2020); and
 Pearson v. Kemp, No. 1:20-cv-4809 (N.D. Ga. Dec. 7, 2020) (Ex. 3).
        3
          Plaintiffs made the same claim about Michigan in the lawsuit they filed in
 Georgia, but apparently because the “expert” confused the postal code abbreviation
 for Minnesota with that of Michigan, used Minnesota jurisdictions to make the
 argument that turnout exceeded 100%. Ex. 4. The fact that Plaintiffs’ counsel
 discovered the error regarding postal abbreviations (after it was widely mocked in
 the media), but then proceeded to make the same false claim here, substituting
 Michigan jurisdictions, shows that the point was to make the claim, not to present
 the truth. As stated by the district court in the Arizona “kraken” lawsuit when


                                          2
                                                                           Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3634
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 244 Page
                                                                     of 1677
                                                                           19 of 56




       Meanwhile, President Trump continues to use these lawsuits in his desperate

 campaign to thwart the will of the voters. On January 2, 2021, during a call with

 Georgia’s Secretary of State, Brad Raffensperger, in which the President is heard

 attempting to extort Secretary Raffensperger into committing election fraud, Trump

 trotted out the same hoary canards as the Plaintiffs falsely argue to this Court:

       I mean there’s turmoil in Georgia and other places. You’re not the only
       one, I mean, we have other states that I believe will be flipping to us
       very shortly. And this is something that — you know, as an example, I
       think it in Detroit, I think there’s a section, a good section of your state
       actually, which we’re not sure so we’re not going to report it yet. But
       in Detroit, we had, I think it was, 139 percent of the people voted. That’s
       not too good.

 See Ex. 5, pp. 3-4 (Transcript of January 2, 2021 Telephone Call, as transcribed for

 the Washington Post).4

       The City gave Plaintiffs and their counsel the opportunity to retract their lies

 and baseless legal claims, and they have refused. The extent of the factual and legal

 errors in this Complaint would warrant sanctions under any circumstances, but here

 the Court’s processes are being perverted to undermine our democracy and to upset




 dismissing the claims, and as equally applicable here, “[t]he various affidavits and
 expert reports are largely based on anonymous witnesses, hearsay, and irrelevant
 analysis of unrelated elections.” Bowyer v. Ducey, No. CV-20-02321, 2020 WL
 7238261, at *13 (D. Ariz. Dec. 9, 2020).
       4
         President Trump also continues to use this lawsuit (and the suits filed in other
 swing states which voted for President-Elect Biden) to fundraise. As of early
 December 2020, Trump had reportedly raised $207.5 million in post-election
 fundraising. Ex. 6.

                                            3
                                                                               Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3635
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 245 Page
                                                                     of 1677
                                                                           20 of 56




 the peaceful transition of power. The Plaintiffs and all of their attorneys deserve the

 harshest sanctions this Court is empowered to order.

                                    ARGUMENT

    I.       Rule 11 Standards

         Sanctions under Fed. R. Civ. P. 11(b)(1) are appropriate when a pleading or

 other filing is presented for an improper purpose, such as to harass, cause

 unnecessary delay, or needlessly increase the cost of litigation. Fed. R. Civ. P.

 11(b)(1). Sanctions under Fed. R. Civ. P. 11(b)(2) are appropriate where the claims,

 defenses, and other legal contentions of the offending party are not warranted by

 existing law or by a non-frivolous argument for extending, modifying, or reversing

 existing law or for establishing new law. Fed. R. Civ. P. 11(b)(2). Sanctions are

 appropriate under Fed. R. Civ. P. 11(b)(3) where factual contentions do not have

 evidentiary support or will likely not have evidentiary support after a reasonable

 opportunity for further investigation or discovery.5

         To determine whether a party’s pleading is frivolous or was filed for an

 improper purpose, courts use an objective standard of reasonableness under the

 circumstances and then weigh the evidence to determine if the pleadings, motions or



         5
          Monetary sanctions cannot be imposed against a represented party for
 violation of Fed. R. Civ. P. 11(b)(2). See Fed. R. Civ. P. 11(c)(5). Thus, the City
 requests non-monetary sanctions, as identified below, against Plaintiffs for violation
 of 11(b)(2) and monetary and non-monetary sanctions against counsel.


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3636
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 246 Page
                                                                     of 1677
                                                                           21 of 56




 papers are well-grounded in facts or warranted by existing law. Mann v. G &G Mfg.,

 Inc., 900 F.2d 953 (6th Cir. 1990).6

    II.       The Complaint was Filed for an Improper Purpose

          It is clear that this lawsuit was not filed for any purpose consistent with the

 Federal Rules of Civil Procedure. This Court has already addressed many of the

 reasons that the Plaintiffs “are far from likely to succeed in this matter.” King, 2020

 WL 7134198, at *13. The claims are barred by Eleventh Amendment Immunity; the

 claims are barred by mootness and laches; Plaintiffs lack standing; and, even if

 Plaintiffs could show a violation of state law, they have not offered a colorable claim

 under federal statutory or constitutional law. To make matters worse, Plaintiffs were

 always aware that their Complaint was deficient; no other inference can be drawn

 from their failure to serve the Defendants before this Court issued its December 1,

 2020, text-only order.7


          Moreover, for the purposes of Rule 11 sanctions, a showing of “good faith,”
          6

 is not sufficient to avoid sanctions. INVST Financial Group, Inc. v. Chem-Nuclear
 Systems, Inc., 815 F.2d 391 (6th Cir. 1987).
        7
          A similar circumstance was noted on January 4, 2021, in a ruling by the
 United States District Court for the District of Columbia, addressing another
 groundless Trump election lawsuit:

          [Plaintiffs’] failure to make any effort to serve or formally notify any
          Defendant — even after a reminder by the Court in its Minute Order —
          renders it difficult to believe that the suit is meant seriously. Courts are
          not instruments through which parties engage in such gamesmanship or
          symbolic political gestures. As a result, at the conclusion of this
          litigation, the Court will determine whether to issue an order to show


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3637
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 247 Page
                                                                     of 1677
                                                                           22 of 56




       This lawsuit is the quintessential example of a case filed for an improper

 purpose. As this Court concluded, in denying preliminary relief:

       this lawsuit seems to be less about achieving the relief Plaintiffs seek—
       as much of that is beyond the power of this Court—and more about the
       impact of their allegations on People’s faith in the democratic process
       and their trust in our government.

 King, at *13. Plaintiffs’ counsel have not hidden their contempt for our courts and

 for our democracy. Plaintiffs’ counsel Sidney Powell claims that courts have rejected

 the election lawsuits, “because the corruption goes deep and wide.”8 She re-tweets

 calls to impose martial law, to “suspend the December Electoral College vote,” and

 to “set up Military Tribunals immediately.” @sidneypowell1, Twitter (Nov. 30,

 2020). Her co-counsel, L. Lin Wood, unabashedly expresses his contempt for our

 democratic processes and openly promotes a military coup:

       Georgia, Michigan, Arizona, Nevada, Wisconsin, Minnesota &
       Pennsylvania are states in which martial law should be imposed &
       machines/ballots seized. 7 states under martial law. 43 states not under
       martial law. I like those numbers. Do it @realDonaldTrump! Nation
       supports you. (@llinwood, Twitter (Dec. 20, 2020)).

       Patriots are praying tonight that @realDonaldTrump will impose
       martial law in disputed states, seize voting machines for forensic



       cause why this matter should not be referred to its Committee on
       Grievances for potential discipline of Plaintiffs’ counsel.

 Wisconsin Voters Alliance v. Pence, No. 1:20-cv-03791 (D.C. Jan. 4, 2021) (Ex. 7).
      8
         Quote from video interview of Sidney Powell, promoted on her twitter
 account at https://twitter.com/AKA_RealDirty/status/1338401580299681793.


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3638
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 248 Page
                                                                     of 1677
                                                                           23 of 56




       examination, & appoint @SidneyPowell as special counsel to
       investigate election fraud. (Dec. 19, 2020).

       When arrests for treason begin, put Chief Justice John Roberts, VP
       Mike Pence @VP @Mike_Pence, & Mitch McConnell @senatemajldr
       at top of list. (Jan. 1, 2021).

       If Pence is arrested, @SecPompeo will save the election. Pence will be
       in jail awaiting trial for treason. He will face execution by firing squad.
       He is a coward & will sing like a bird & confess ALL. (Jan. 1, 2021).9

 These are the lawyers who are trying to use this Court’s processes to validate their

 conspiracy theories and to support their goal of overturning the will of the people in

 a free and fair election. They were given an opportunity to dismiss or amend their

 Complaint, but they chose to continue to use this case to spread their false messages.

       Those false messages are not the result of occasional errors or careless editing.

 Those false messages are deliberately advanced by these attorneys to support their

 goals of undermining our democracy. Like Sidney Powell, L. Lin Wood, is a QAnon

 disciple.10 He recently stated:

       This country’s going to be shocked when they find the truth about
       who’s been occupying the Oval Office for some periods of years.
       They’re going to be shocked at the level of pedophilia. They are going


       9
          While Mr. Wood’s wrath was initially focused on Democrats, he has shifted
 to attacking Republican officials (and judges and justices who he views as
 Republican) for their perceived disloyalty to Trump and refusal to abuse the
 Constitution.
        10
           A judge in Delaware is currently considering revoking Mr. Wood's right to
 practice in Delaware, where he is currently representing former Trump adviser
 Carter Page, based on his conduct in suits challenging the results of the general
 election as a plaintiff in Georgia and as counsel in Wisconsin. Ex. 8.


                                           7
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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3639
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 249 Page
                                                                     of 1677
                                                                           24 of 56




       to be shocked at what I believe is going to be a revelation in terms of
       people who are engaged in Satanic worship.”11

 A review of Mr. Wood’s Twitter account reveals a dark strain of paranoia—the same

 strain which infects this lawsuit.

       Mr. Wood repeatedly makes false allegations about the 2020 election, the

 most secure in our country’s history.12 The following is a sampling of his tweets:

       There should be NO Electoral College vote in any state today. Fraud is
       rampant in all state elections. If U.S. Supreme Court does not have
       courage to act, I believe our President @realDonaldTrump has the
       courage. (Dec. 14, 2020).

       We The People must now launch massive campaign to prevent our state
       electors from EVER casting vote in Electoral College for Joe Biden &
       Kamala Harris. Unless you want them to vote for Communism. In that
       event, get out of our country & go enjoy your life in Communist China.
       (Dec. 20, 2020).

       Joe Biden & Kamala Harris are Communists by either ideology,
       corruptness or extortion. Still want your state electors to vote for Biden
       on 1/6? Want Communism & tyranny or a free America where you can
       enjoy life, liberty & pursuit of happiness? (Dec. 20, 2020).


       11
                  https://welovetrump.com/2020/11/23/lin-wood-americans-will-be-
 shocked-at-level-of-pedophilia-satanic-worship-occupying-oval-office-for-years-
 before-trump/.
        12
           The November 2020 general election was declared by the federal
 government to be the most secure in the nation’s history. See Joint Statement from
 Elections Infrastructure Government Coordinating Council & The Election
 Infrastructure Sector Coordinating Executive Committees (“CISA”), issued Nov 12,
 2020 (“The November 3rd election was the most secure in American history.”) (Ex.
 9). The CISA statement further concluded “[t]here is no evidence that any voting
 system deleted or lost votes, changed votes, or was in any way compromised.” Id.
 Five days after this statement was released, Chris Krebs, director of CISA, was
 terminated by presidential tweet.

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3640
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 250 Page
                                                                     of 1677
                                                                           25 of 56




 When courts refuse to accept his invitation to disregard the fundamental tenets of

 our democracy, he blames corruption and communism in the judiciary:

        Attempted theft of Presidential election will NOT stand. Not on our
        watch, Patriots. Communists & Communist sympathizers have
        infiltrated our judicial system, including lawyers & judges in Georgia.
        (Dec. 23, 2020).

        Communism has infiltrated ALL levels of our government, including
        our judiciary. Communism infiltrates by ideology, by
        corruption/money & by extortion. (Dec. 20, 2020).

        Too many of us have been asleep at switch in the past. … We believed
        too many of our judges. Many are corrupt & traitors. (Dec. 19, 2020).

        Some state & federal lower court rulings to date are troubling. Courage
        lacking in some members of judiciary. (Dec. 10, 2020).

        We CANNOT trust courts to save our freedom. They are IGNORING
        massive evidence of fraud & unlawful election procedures. (Dec. 13,
        2020).

        We have had reports of judges & their families being threatened. This
        would certainly explain some of the bizarre rulings by lower courts that
        have refused to even mention the overwhelming evidence of fraud in
        cases filed by @SidneyPowell. (Dec. 14, 2020).

 When, the Supreme Court denied certiorari in Texas’s lawsuit against the “swing

 states” which voted for Joe Biden,13 and when the Supreme Court took no action on

 the nonsensical direct appeal in this case, Mr. Wood displayed his utter contempt for

 that institution:

        It is time for Chief Justice John Roberts to resign, admit his corruption
        & ask for forgiveness. Roberts has betrayed his sacred oath office. He

        13
             Texas v. Pennsylvania, No. 155 ORIG., 2020 WL 7296814 (U.S. Dec. 11,
 2020).

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3641
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 251 Page
                                                                     of 1677
                                                                           26 of 56




       has betrayed his country. He has betrayed We The People. (Dec. 19,
       2020).

       I think many are today learning why SCOTUS is rejecting petitions
       seeking FAIR review. Roberts & Breyer are “anti-Trumpers” They
       should resign immediately. CJ Roberts has other reasons to resign. He
       is a disgrace to office & to country. (Dec. 17, 2020).

       Corruption & deceit have reached most powerful office in our country
       - the Chief Justice of U.S. Supreme Court. This is a sad day for our
       country but a day on which we must wake up & face the truth. Roberts
       is reason that SCOTUS has not acted on election cases. (Dec. 17, 2020).

       Justice John Roberts is corrupt & should resign immediately. Justice
       Stephen Breyer should also resign immediately. (Dec. 17, 2020).

       I am disappointed. I thought Justices Roberts & Breyer would avoid
       public scandal & simply resign. Only a fool wants their dirty laundry
       aired in public. Maybe I should consider filing a formal motion for
       recusal & hang their laundry on the clothesline to be exposed to
       sunlight? (Jan. 2, 2021).

 This is the same L. Lin Wood who appears on the pleadings of this case, but who

 has apparently chosen not to be sworn into the bar for the Eastern District of

 Michigan and to affirm our Civility Principles.

       Sidney Powell—who President Trump has reportedly considered appointing

 as “special counsel,” who apparently has the ear of the President and who has

 advocated for martial law—is less prolific on Twitter but shares Mr. Wood’s

 perspective. She has tweeted that “[t]his ‘election’ was stolen from the voters in a

 massive fraud.” @sidneypowell1, Twitter (Jan. 2, 2021). And, like Mr. Wood, she

 channels 19502 McCarthy paranoia, seeing communists around every electoral




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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3642
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 252 Page
                                                                     of 1677
                                                                           27 of 56




 corner, stating “[i]t is impossible not to see the fraud here unless one is a communist

 or part of it or part of the coup.” @sidneypowell1, Twitter (Jan. 2, 2021).14

       As poorly presented as their pleadings were, as careless as they were in vetting

 their allegations and expert reports, and as detached as their claims are from the law

 and reality, the Plaintiffs and their counsel were provided 21 days to take corrective

 action. So, 21 days before filing this motion, the City gave Plaintiffs an opportunity

 to withdraw or amend their contemptuous pleadings. Rather than withdraw or amend

 their Complaint, they chose to stand firm with their objectively false claims,

 ridiculously incompetent expert reports and patently unsupportable arguments.

       Why was this Complaint not dismissed or amended? Surely, in light of this

 Court’s December 7, 2020, Opinion and Order, Plaintiffs cannot be expecting to

 obtain judicial relief. Then, what purpose can this lawsuit serve? The answer to that

 question goes to the heart of Rule 11. Much can be inferred from Plaintiffs’ actions.

 Initially, this was one of several lawsuits used to support calls for state legislatures

 to reject the will of the voters, to ignore the statutory process for selecting

 presidential electors, and to instead elect a slate of Trump electors (six of whom are

 Plaintiffs in this case). When the Michigan Legislature did not attempt to select a



       14
          Perhaps her motivation is less paranoid and more venal. The front page of
 her website, “defendingtherepublic.org,” has a prominently placed “contribute here”
 form, soliciting donations for her “Legal Defense Fund for Defending the American
 Republic.”

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 253 Page
                                                                     of 1677
                                                                           28 of 56




 slate of electors inconsistent with the will of the voters, despite the personal demands

 of the President of the United States, who summoned their leaders to the White

 House, this lawsuit took on a different meaning. It was then used to support

 arguments for the United States Congress to reject the Michigan electors on January

 6, 2021. On Saturday, January 2, 2021, false claims made by “experts” in this case

 were cited by Donald Trump in his apparent attempt to extort Georgia Secretary of

 State Brad Raffensperger. And, most ominously, these claims are referenced and

 repeated by L. Lin Wood and others in support of martial law.

       Irrespective of these attempts to overturn our democratic processes, the

 continued pendency of this lawsuit accomplishes exactly the harm addressed by this

 Court in its December 7, 2021, Opinion and Order. By undermining “People’s faith

 in the democratic process and their trust in our government,” this lawsuit is being

 used to delegitimize the presidency of Joe Biden.

       While the First Amendment may protect the right of political fanatics to spew

 their lies and unhinged conspiracy theories, it does not grant anyone a license to

 abuse our courts for purposes which are antithetical to our democracy and to our

 judicial system. Plaintiffs and their counsel cannot be allowed to use the court system

 to undermine the constitutional and statutory process by which we select our leaders.




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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3644
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 254 Page
                                                                     of 1677
                                                                           29 of 56




    III.   The Factual Assertions in the Complaint Were Frivolous and Based
           on Assertions Which Had Been Rejected by Michigan Courts

       The Complaint in this matter relies heavily on affidavits submitted in

 Costantino v. Detroit, Wayne County Circuit Court Case No. 20-014780-AW. The

 Plaintiffs here either incorporate the affidavits into their allegations or attach them

 as exhibits to their Complaint.

           A. Allegations Regarding Republican Challengers
       The Complaint repeatedly asserts that Republican challengers were not given

 “meaningful” access to the ballot processing and tabulation at the Absent Voter

 Counting Board located in Hall E of the TCF Center. First Amended Complaint

 (“Compl.”) at ¶¶ 13, 42, 47, 57, 59-61. This claim was disproven long before

 Plaintiffs raised it here. As Judge Kenny concluded in Costantino, while six feet of

 separation was necessary for health reasons, “a large monitor was at the table where

 individuals could maintain a safe distance from poll workers to see what exactly was

 being performed.” Costantino v. Detroit, Opinion and Order, Wayne County Circuit

 Court Case No. 20-014780-AW (Nov. 13, 2020) (Ex. 10). This had been proven with

 photographic evidence. See, e.g., Ex. 11 (Nov. 11, 2020 Affidavit of Christopher

 Thomas at last page). And, prior to the filing of this case, the Michigan Supreme

 Court had already rejected the application for appeal from the trial court’s ruling,

 deeming the same claims unworthy of injunctive relief. See Costantino v Detroit,

 No. 162245, 2020 WL 6882586 (Mich. Nov. 23, 2020).


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                                                                             Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3645
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 255 Page
                                                                     of 1677
                                                                           30 of 56




       Similarly, the Complaint repeats the false claim that Republican challengers

 were exclusively barred from entering the TCF Center. Compl. ¶¶ 62-63. Judge

 Kenny rejected this claim, finding that there was a short period of time, where

 Republican and Democratic challengers were “prohibited from reentering the room

 because the maximum occupancy of the room had taken place.” Costantino Opinion,

 at *8. As stated by the court, “[g]iven the COVID-19 concerns, no additional

 individuals could be allowed into the counting area ... Democratic party challenger

 David Jaffe and special consultant Christopher Thomas in their affidavits both attest

 to the fact that neither Republican nor Democratic challengers were allowed back in

 during the early afternoon of November 4th as efforts were made to avoid

 overcrowding.” Id.

          B. Allegations of “Pre-Dating”
       Plaintiffs’ allegations of “pre-dating” were also based on claims initially

 submitted and rejected in Costantino. Compl. ¶¶ 88 and 90.

       The claims come from Jessy Jacob, a furloughed City employee, with no

 known prior election experience, who was assigned to the Department of Elections

 on a short-term basis. Ex. 12 (Affidavit of Daniel Baxter, ¶ 7). Her claim regarding

 pre-dating is demonstrably false because all absentee ballots she handled at the TCF

 Center had been received by 8:00 p.m. on November 3, 2020. For a small number

 of ballots, election workers at the TCF Center were directed to enter the date the



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3646
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 256 Page
                                                                     of 1677
                                                                           31 of 56




 ballots were received into the computer system, as stamped on the envelope. Ex.

 11. Ms. Jacob was simply marking the date the ballot had been received. Id. Thus,

 as explained by the court in Costantino, “[a]s to the allegation of ‘pre-dating’

 ballots, Mr. Thomas explains that this action completed a data field inadvertently

 left blank during the initial absentee ballot verification process.” Costantino

 Opinion, *4. As the court noted, “[t]he entries reflected the date the City received

 the absentee ballot.” Id.

            C. Allegations Regarding Ballots Supposedly Counted More than
               Once
       Plaintiffs claim challengers observed ballots repeatedly run through tabulation

 machines, including “a stack of about fifty ballots being fed multiple times into a

 ballot scanner counting machine.” Compl. ¶ 94. This allegation primarily comes

 from Melissa Carone, a contractor working for Dominion, who claimed that stacks

 of 50 ballots were fed through tabulators as many as eight times. Exh. 5 to Compl.,

 ¶¶ 4-5.15 The allegation was obviously false when it was first raised by Carone in

 Costantino. Whatever Carone and other challengers think they saw, ballots cannot

 be counted in that manner. If they were correct, hundreds of extra votes would show

 up in numerous precinct (or absent voter counting boards). This would obviously be




        The Complaint states that “[p]erhaps the most probative evidence comes
       15

 from Melissa Carone ….” Compl. ¶ 84.

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                                                                            Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3647
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 257 Page
                                                                     of 1677
                                                                           32 of 56




 caught very quickly on site during the tabulation process or soon thereafter during

 the County and State canvasses. Ex. 13 (Thomas Dec. 10, 2020 Aff. ¶¶ 18-20).

       But, by the time the Plaintiffs here latched onto the absurd allegation, it had

 already been conclusively disproven by the Wayne County canvass. Detroit had 501

 precincts and 134 absent voter counting boards. Less than 36% of the total were out

 of balance. Id. ¶ 12. A counting board is out of balance if there are: (1) more ballots

 than voters or (2) more voters than ballots. In total 591 voters and ballots account

 for the imbalances. Id. When voters and ballots are separated in Detroit there are 148

 more names than ballots—out of 174,384 votes there are 148 more names in the poll

 books than there are ballots. Id. The fact that there were more names than ballots

 shows that ballots were not counted more than once. The total imbalance was .0008

 (eight ten-thousandths of a 1%). Id. Of the 94 Detroit out of balance counting boards,

 there were 87 with an imbalance of 11 or fewer voters/ballots; within those 87

 counting boards, 48 were imbalanced by 3 or fewer voters/ballots. Id. There were

 seven counting boards with higher imbalances that range from 13 more ballots to 71

 fewer voters. Id. This minimal level of imbalance conclusively demonstrated that

 the allegation was false, weeks before Plaintiffs filed this case.

           D. Allegations Regarding Tabulating Machines

       Perhaps the most baseless of Plaintiffs’ allegations is a conspiracy theory

 about Dominion vote tabulators. Plaintiffs in the first election cases initially cited



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                                                                             Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3648
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 258 Page
                                                                     of 1677
                                                                           33 of 56




 two instances of errors—one in Antrim County and one in Oakland County

 (Rochester Hills) to insinuate that the tabulating system used in many counties was

 flawed. Certainly understanding the weakness of the initial theory, Plaintiffs here

 wove in a nonsensical tale that a theoretical software weakness upended Michigan’s

 election results. This Court readily recognized that the claims could not hold up.

       The Michigan Department of State released a statement titled “Isolated User

 Error in Antrim County Does Not Affect Election Results, Has no Impact on Other

 Counties or States,” explaining what happened in Antrim County. Ex. 14. The

 statement explains that the “error in reporting unofficial results in Antrim County

 Michigan was the result of a user error that was quickly identified and corrected; did

 not affect the way ballots were actually tabulated; and would have been identified in

 the county canvass before official results were reported even if it had not been

 identified earlier.” Id. Essentially, the County installed an update on certain

 tabulators, but not others. Id. The tabulators worked correctly, but when they

 communicated back to the County, the discrepancy in the software versions led to a

 discrepancy in the reporting. Id. This was quickly discovered and would certainly

 have been uncovered in the post-election canvass. Id. In fact, the integrity of the vote

 in Antrim County was conclusively proven by the recent audit of the paper ballots.

       The Republican clerk of Rochester County, Tina Barton, discredited the

 allegations of fraud in that City. Officials realized they had mistakenly counted votes



                                           17
                                                                              Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3649
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 259 Page
                                                                     of 1677
                                                                           34 of 56




 from Rochester Hills twice, according to the Michigan Department of State. Oakland

 County used software from a company called Hart InterCivic, not Dominion, though

 the software was not at fault. Ms. Barton stated in a video she posted online: “As a

 Republican, I am disturbed that this is intentionally being mischaracterized to

 undermine the election process …. This was an isolated mistake that was quickly

 rectified.” Ex. 15.16 Plaintiffs knew all of this before they filed this lawsuit.17

            E. The Declarations and Analyses “Supporting” the Complaint Were
               Full of Intentional Lies
       The Complaint also relies heavily on “expert” declarations and affidavits,

 many heavily redacted. As the district court held in Bowyer, “the ‘expert reports’


       16
           An audit of the paper ballots in Antrim County conclusively demonstrated
 that the claim was false. The official tally was only off by 11 net votes. Ex. 16.
        17
           The Plaintiffs here added in a string of falsehoods about Dominion software.
 The district court in Bowyer addressed those claims head on: “The Complaint is
 equally void of plausible allegations that Dominion voting machines were actually
 hacked or compromised in Arizona during the 2020 General Election. […] These
 concerns and stated vulnerabilities, however, do not sufficiently allege that any
 voting machine used in Arizona was in fact hacked or compromised in the 2020
 General Election.” Bowyer v. Ducey, No. CV-20-02321, 2020 WL 7238261, at *14
 (D. Ariz. Dec. 9, 2020). Just like here, “what is present is a lengthy collection of
 phrases beginning with the words ‘could have, possibly, might,’ and ‘may have.’”
 Id. Ramsland, similar to his claims here, “asserts there was ‘an improbable, and
 possibly impossible spike in processed votes’ in Maricopa and Pima Counties at 8:46
 p.m. on November 3, 2020 … [however, the defendant] points to a much more likely
 plausible explanation: because Arizona begins processing early ballots before the
 election, the spike represented a normal accounting of the early ballot totals from
 Maricopa and Pima Counties, which were reported shortly after in-person voting
 closed.” Id. “Plaintiffs have not moved the needle for their fraud theory from
 conceivable to plausible, which they must do to state a claim under Federal pleading
 standards.” Id.

                                            18
                                                                                Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3650
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 260 Page
                                                                     of 1677
                                                                           35 of 56




 reach implausible conclusions, often because they are derived from wholly

 unreliable sources.” See Bowyer v. Ducey, No. CV-20-02321, 2020 WL 7238261, at

 *14 (D. Ariz. Dec. 9, 2020).

       From the outset, the “Michigan 2020 Voting Analysis Report” appended to

 the Amended Complaint departs from any rational statistical analysis. PageID.1771-

 1801. Stanley Young identifies nine counties as “outliers,” because those counties

 reported larger increases in Democratic votes for President. PageID.1776. His

 analysis, however, is based entirely on raw vote totals with no consideration of

 percentage changes. Not surprisingly, eight of the nine counties he identifies are

 among the nine counties with the largest voting age population. Much of the

 remaining analysis by Young and the other experts focuses on these counties, which

 are allegedly “outliers.”

        This sloppy analysis is followed by “another anomaly that indicates

 suspicious results.” His “anomaly” is nothing more than the fact that President

 Trump did not do as well with “mail-in votes” as he did with election day votes.

 PageID.1777. Of course, that was widely expected and understood, for an election

 in which President Trump discouraged absentee voting and Democrats promoted it.

        Revealing an almost incomprehensible ignorance of Michigan election law

 for supposed “experts,” Dr. Quinnell, together with Dr. Young, offer the finding that

 in two Michigan counties (Wayne and Oakland) demonstrate “excessive vote in



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3651
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 261 Page
                                                                     of 1677
                                                                           36 of 56




 favor of Biden often in excess of new Democrat registrations.” PageID.1778.

 Apparently, none of the experts, none of the Plaintiffs and none of the Plaintiffs’

 attorneys are aware that Michigan does not have party registration.

                   1. Spyder/Spider

       Plaintiffs’ “experts” rely on the partially redacted declaration of “Spider” or

 “Spyder,” who Plaintiffs identify as “a former US Military Intelligence expert” and

 a “former electronic intelligence analyst with 305th Military Intelligence” Compl.

 ¶¶ 17, 161. But this was a lie by Plaintiffs’ counsel. Plaintiffs did not properly redact

 the declarant’s name when they filed the same affidavit in a different court, and it

 was publicly disclosed that the declarant’s name was Joshua Merritt. While in the

 Army, Merritt enrolled in a training program at the 305th Military Intelligence

 Battalion, the unit he cites in his declaration, but he never completed the entry-level

 training course. A spokeswoman for the U.S. Army Intelligence Center of

 Excellence, which includes the battalion, stated “[h]e kept washing out of courses

 … [h]e’s not an intelligence analyst.” Ex. 17. According to the Washington Post,

 “Merritt blamed ‘clerks’ for Powell’s legal team, who he said wrote the sentence

 [and] said he had not read it carefully before he signed his name swearing it was

 true. Id. He stated that “My original paperwork that I sent in didn’t say that.” Id. He

 later stated that “he had decided to remove himself from the legal effort altogether”

 (which has not happened). Id.



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3652
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 262 Page
                                                                     of 1677
                                                                           37 of 56




       It is a near certainty that if Plaintiffs are compelled to publicly file unredacted

 declarations and affidavits, as they should be, numerous other redacted names and

 assertions will reveal that the redactions were made to keep the public from

 discovering more fraud perpetrated on this Court.

                   2. Russell James Ramsland, Jr.

       Plaintiffs’ “expert” Russell James Ramsland Jr. extrapolates large vote

 discrepancies from the Antrim County error in reporting early unofficial results. In

 doing so, he intentionally ignores the Secretary of State’s report or simply does not

 do his homework. Ramsland reports “In Michigan we have seen reports of 6,000

 votes in Antrim County that were switched from Donald Trump to Joe Biden and

 were only discoverable through a hand counted manual recount.” Ramsland

 Affidavit ¶10; emphasis added. But, there were no hand recounts in Michigan as of

 that date.18 The Secretary of State report is not even discussed. Incredibly, Ramsland

 has since doubled down on his perjury, after gaining access to a voting machine in

 Antrim County. He now claims, in support for the request for Certiorari to the

 Supreme Court in this action, that “[w]e observed an error rate of 68.05%” which


       18
            Plaintiffs, who include six nominees to be Trump electors, including the
 Republican County Chair for Antrim County, the Republican County Chair of
 Oceana County and the Chair of the Wayne County Eleventh Congressional District,
 as well as their attorneys, should also know that when the expert report was prepared
 there had been no hand recount in Antrim County. An actual hand recount did occur
 at a later time, and that recount confirmed the accuracy of the official results, within
 11 votes.

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3653
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 263 Page
                                                                     of 1677
                                                                           38 of 56




 “demonstrated a significant and fatal error in security and election integrity.”

 Although the basis for the percentage is unclear, the Antrim County clerk stated that

 “the 68% error rate reported by Ramsland may be related to [the] original error

 updating the ballot information.” Ex. 18. The clerk of the Republican-heavy County

 said: “[t]he equipment is great — it’s good equipment … [i]t’s just that we didn’t

 know what we needed to do (to properly update ballot information) … [w]e needed

 to be trained on the equipment that we have.” Id. The claim was also proven to be

 false by the hand recount audit of the paper ballots in Antrim County, which added

 11 net votes to the tally, not the 15,000 predicted by Ramsland. Ex. 16.

       Ramsland makes the claim that turnout throughout the state was statistically

 improbable; but as discussed above, he bases this on fabricated statistics. He claims

 turnout of 781.91% in North Muskegon, where the publicly-available official results

 were known, as of election night, to be approximately 78%. Ex. 2. He claims turnout

 of 460.51% (or, elsewhere on the same chart, 90.59%) in Zeeland Charter Township,

 where it was already known to be 80%. Id. The only result out of 19 (not including

 the duplicates) that Ramsland got right was for Grand Island Township, with a

 turnout of 96.77%, comprised of 30 out of the township’s 31 registered voters. Id.19


       19
          Ramsland also claims it was “suspicious” that Biden’s share of the vote
 increased as absentee ballots were tabulated. But, that suspicion require Ramsland
 to close his eyes to the incontrovertible fact that for the 2020 general election,
 absentee ballots favored Biden throughout the country, even in the deep red state of


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3654
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 264 Page
                                                                     of 1677
                                                                           39 of 56




 President Trump repeated this blatantly false claim in his tape-recorded January 2,

 2021 telephone conversation with Brad Raffensperger. Ex. 5.

       Similarly, Ramsland relies upon the affidavit of Mellissa Carone in support of

 his claim that “ballots can be run through again effectively duplicating them.”

 Ramsland Affidavit; Compl. Exh. 24 at ¶13. It is understandable that inexperienced

 challengers and Ms. Carone (who was a service contractor with no election

 experience) with conspiratorial mindsets might not understand that there are

 safeguards in place to prevent double counting of ballots in this way, but that does

 not excuse Plaintiffs’ “experts,” who choose to rely on these false claims, even after

 the official canvass had conclusively disproven the allegations.20

                   3.      William Briggs/Matt Braynard

       Plaintiffs rely on an “analysis” by William M. Briggs of “survey” results

 apparently posted in a tweet by Matt Braynard. Braynard’s survey was submitted in



 Tennessee. https://tennesseestar.com/2020/11/05/republicans-dominate-the-2020-
 tennessee-election-cycle/.
        20
           Emblematic of Plaintiffs’ contempt for facts is another “expert” report that
 was filed with the original Complaint in this case, but not submitted with the
 Amended Complaint. Paragraph 18 of the original Complaint introduced “Expert
 Navid Kashaverez-Nia” and alleged that “[h]e concludes that hundreds of thousands
 of votes that were cast for President Trump in the 2020 general election were
 transferred to former Vice-President Biden.” Notably, the “expert” relied on a
 finding that in “Edison County, MI, Vice President Biden received more than 100%
 of the votes.…” There is no Edison County in Michigan (or anywhere in the United
 States). The fabrication was only removed after it was discovered and reported by
 the news media.


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3655
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 265 Page
                                                                     of 1677
                                                                           40 of 56




 a different case (Johnson v. Secy of State, Michigan Supreme Court Original Case

 No. 162286),21 so its underlying falsehoods have been exposed. Braynard

 misrepresents Michigan election laws, and completely disregards standard analytical

 procedures to reach his contrived conclusions. He refers to voters who have

 “indefinitely confined status,” something which has never existed in our state. He

 refers to individuals “who the State’s database identifies as applying for and the

 State sending an absentee ballot,” when, in Michigan, absentee ballots are never sent

 by the State. He refers repeatedly to “early voters,” when Michigan has absentee

 voters, but, unlike some other states, has never allowed “early voting.” He apparently

 believes (incorrectly) that every time a voter’s residence changes before election day

 that voter is disenfranchised. Mr. Thomas addresses these factual and legal errors in

 the attached Affidavit. Ex. 13.

       The disturbing inadequacy of Braynard’s survey is also explained in the

 affidavit of Dr. Charles Stewart III, the Kenan Sahin Distinguished Professor of

 Political Science at the Massachusetts Institute of Technology. Dr. Stewart’s

 credentials are impeccable and directly applicable to the subject matter. Ex. 20




       21
          The “survey” as submitted in Johnson is attached here as Ex. 19. The
 request for relief was denied by the Supreme Court Johnson. See Johnson v. Secy of
 State, No. 162286, 2020 WL 7251084 (Mich. Dec. 9, 2020).


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3656
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 266 Page
                                                                     of 1677
                                                                           41 of 56




 (Affidavit of Charles Stewart II) (originally submitted in Johnson).22 At the request

 of the City of Detroit, Dr. Stewart reviewed the Braynard survey and came to the

 unqualified opinion that “Mr. Braynard’s conclusions are without merit.” (Id. ¶10).

 He explains the basis for his opinion in clear and understandable detail.

       Briggs’ analysis of Braynard’s report estimate that “29,611 to 36,529 ballots

 out of the total 139,190 unreturned ballots (21.27% - 26.24%) were recorded for

 voters who had not requested them.” Braynard says 834 people agreed to answer the

 question of whether they requested an absentee ballot. But he does not report how

 many respondents did not answer. More to the point, he does not explain how he

 confirms that these respondents understood what it meant for them to “request” an

 absentee ballot. Some might have gone to their local clerk’s office to vote, where

 they signed a form, received a ballot and voted, without realizing that that form is

 an absentee ballot “request.” Braynard concludes that certain people who failed to

 return a ballot never requested that ballot. But he does not address the possibility

 that the very people (139,190 out of more than 3.5 million) who would neglect to

 return a ballot would likely be those who might forget that they had requested one.

       Braynard offers a baffling array of inconsistent numbers. On Page 8 of his

 report, he refers to “96,771 individuals who the State’s database identifies as having


       22
          Dr. Stewart is uniquely suited to address these issues. He is a member of
 the Caltech/MIT Voting Technology Project and the founding director of the MIT
 Election Data and Science Lab.

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                                                                             Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3657
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 267 Page
                                                                     of 1677
                                                                           42 of 56




 not returned an absentee ballot,” when for his first two opinions that number is

 139,190. On page 8, he reports a percentage of 15.37% not having mailed back their

 ballots, but on page 5 he identifies that percentage as 22.95%. Then, the actual

 numbers of individuals answering the question in that manner, described on page 8

 (241 out of 740), would establish a percentage of 32.56%. If this were not sloppy

 enough, at the top of page 9, he reports, with no explanation “Based on these results,

 47.52% of our sample of these absentee voters in the State did not request an

 absentee ballot.” Even if his percentages were completely off and inconsistent, the

 data would be meaningless. Braynard ignores Michigan election procedures when

 he declares that there is evidence of illegal activity because some voters are

 identified in the State’s database as having not returned an absentee ballot when

 those voters “did in fact mail back an absentee ballot.…” But, when millions of

 citizens voted absentee, some of those mailed ballots were not received by election

 day. He also does not consider the possibility of a voter either not remembering

 accurately or not reporting accurately whether a ballot was mailed.23

       Braynards’ analysis of address changes is equally invalid. He misrepresents

 how change of address notifications work. It is not at all uncommon for one person


       23
           A slightly modified version of the Briggs/Braynard analysis was rejected
 by the Bowyer court. Bowyer, 2020 WL 7238261, at *14 (“The sheer unreliability
 of the information underlying Mr. Briggs’ ‘analysis’ of Mr. Braynard’s ‘data’ cannot
 plausibly serve as a basis to overturn a presidential election, much less support
 plausible fraud claims against these Defendants.”).

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                                                                            Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3658
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 268 Page
                                                                     of 1677
                                                                           43 of 56




 to move and file a change of address that appears to affect more household members,

 or a person might file a change of address for convenience during a temporary period

 away from home, without changing their legal residence. Stewart Aff ¶ 21. Every

 year, tens of thousands of Michigan voters spend long periods of time in other states

 (e.g., Florida or Arizona) without changing their permanent residence or voting

 address. Clerks have procedures in place to address these issues. Even voters who

 do make a permanent move can vote at their prior residence for sixty days if they do

 not register to vote at their new address.24

    IV.     Plaintiffs’ Legal Theories Were Frivolous
       Rule 11 places the failure to plead colorable legal theories squarely on the

 attorney making the claim. In addition to pleading false allegations, this lawsuit has

 always been legally dubious.



       24
          It is not possible that these experts were simply negligent. They consistently
 ignore the obvious explanations for their so-called anomalies. For instance,
 Bouchard intentionally ignores the fact that unofficial results are released on a
 rolling basis, i.e. in “data dumps” accounting for hours of tabulation, to claim it was
 somehow anomalous for there to be large increases in the number of votes between
 data releases. Quinnell ignores the fact that voter turnout and preferences will change
 between elections based on the identities of the candidates, when he claims it was
 somehow anomalous for turnout to have increased for the 2020 election and for
 Biden to have picked up votes in suburban areas (a phenomenon seen throughout the
 country). He also ignores the well-known fact that urban core precincts in this
 country are strongholds for the Democratic Party, when he claims there was
 something anomalous about the fact that such precincts in Detroit strongly favored
 Biden. Many of these issues are addressed in the responses, and supporting exhibits,
 to Plaintiffs’ Motion for Temporary Restraining Order. ECF Nos. 31, 36 and 39.

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3659
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 269 Page
                                                                     of 1677
                                                                           44 of 56




       First, even if there had been a semblance of truth to any of Plaintiffs’

 allegations, the lawsuit would still have been frivolous because the relief requested

 could, in no way, be supported by the claims. As this Court stated, the relief Plaintiffs

 seek is to “disenfranchise the votes of the more than 5.5 million Michigan citizens

 who, with dignity, hope, and a promise of a voice, participated in the 2020 General

 Election.” King, 2020 WL 7134198, at *1. Nothing Plaintiffs allege—or could

 allege—could lead to the “stunning” and “breathtaking” relief sought. See, e.g., Id.

 (Stating Plaintiffs “seek relief that is stunning in its scope and breathtaking in its

 reach.”)

       Second, there has never been a colorable basis for Plaintiffs’ attorneys to

 assert that the Plaintiffs had standing. The Complaint does not allege that Plaintiffs

 were denied the right to vote—an injury which would be particularized to the

 individual Plaintiffs—it alleges Plaintiffs’ votes were diluted. As numerous courts

 have concluded, a dilution theory does not satisfy the Article III requirements of

 causation and “injury in fact.” See, e.g., Georgia Republican Party v. Secy of State

 of Georgia, No. 20-14741, 2020 WL 7488181 (11th Cir. Dec. 21, 2020); Bognet v.

 Secy Commonwealth of Pennsylvania, 980 F.3d 336 (3rd Cir. Nov. 13, 2020).

       Importantly, as this Court concluded, even if Plaintiffs had met those two

 elements, the Plaintiffs would still not meet the redressability element, because “an

 order de-certifying the votes of approximately 2.8 million people would not reverse



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3660
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 270 Page
                                                                     of 1677
                                                                           45 of 56




 the dilution of Plaintiffs’ vote.” King, 2020 WL 7134198, at *9. Counsel for

 Plaintiffs knew, or should have known, that their clients did not have Article III

 standing.

       Third, there was never a legitimate basis to believe the lawsuit could proceed

 in the face Eleventh Amendment immunity. The one possibly applicable exception,

 Ex Parte Young, “does not apply, however, to state law claims against state officials,

 regardless of the relief sought.” King, at *4 (citing Pennhurst State Sch. & Hosp. v.

 Halderman, 465 U.S. 89 (1984) and Ex Parte Young, 209 U.S. 123 (1908)). As this

 Court noted, the issue has been long settled by the Supreme Court. See Pennhurst,

 at 106. And, with respect to the § 1983 claim, before this lawsuit was filed “the

 Michigan Board of State Canvassers had already certified the election results and

 Governor Whitmer had transmitted the State’s slate of electors to the United States

 Archivist … [therefore] [t]here is no continuing violation to enjoin.” King, at *5.

       Fourth, there was never a basis to believe this case was not moot as of the date

 it was filed. As this Court stated, “[t]he Michigan Election Code sets forth detailed

 procedures for challenging an election, including deadlines for doing so … Plaintiffs

 did not avail themselves of the remedies established by the Michigan legislature.”

 Id., at *6. The deadline to pursue any such remedies had passed by the time the

 Complaint was filed, therefore, “[a]ny avenue for this Court to provide meaningful

 relief” was foreclosed from the start. Id.



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                        PageID.3661
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 271 Page
                                                                     of 1677
                                                                           46 of 56




       Fifth, there was no reason for Plaintiffs’ counsel to believe the case would not

 be barred by laches. As this Court concluded, the relief sought was barred by laches

 because “Plaintiffs could have lodged their constitutional challenges much sooner

 than they did, and certainly not three weeks after Election Day and one week after

 certification of almost three million votes.” Id., at *7.

       Sixth, there was no reason to believe that alleging violations of the Michigan

 Election Code could support a claim for violation of the Elections & Electors

 Clauses. As this Court concluded, “Plaintiffs cite to no case—and this Court found

 none—supporting such an expansive approach.” Id., at *12.

       Seventh, there was no basis to believe that the allegations could support an

 equal protection claim. The equal protection claim “is not supported by any

 allegation that Defendants’ alleged schemes caused votes for President Trump to be

 changed to votes for Vice President Biden” with “the closest Plaintiffs get” being a

 statement by one affiant stating “I believe some of these workers were changing

 votes that had been cast for Donald Trump ...” Id. (citing to record). Similarly, “[t]he

 closest Plaintiffs get to alleging that election machines and software changed votes

 for President Trump to Vice President Biden in Wayne County is an amalgamation

 of theories, conjecture, and speculation that such alterations were possible.” Id.

 (citing to record). It was patently obvious from the day this lawsuit was filed, that

 “[w]ith nothing but speculation and conjecture that votes for President Trump were



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3662
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 272 Page
                                                                     of 1677
                                                                           47 of 56




 destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’ equal

 protection claim fails.” Id., at *13 (citation omitted).

    V.      The Sanctions Which Should be Imposed Pursuant to Rule 11

         This lawsuit, and the lawsuits filed in the other states, are not just damaging

 to our democratic experiment, they are also deeply corrosive to the judicial process

 itself. When determining what sanctions are appropriate, the Court should consider

 the nature of each violation, the circumstances in which it was committed, the

 circumstances of the individuals to be sanctioned, the circumstances of the parties

 who were adversely affected by the sanctionable conduct, and those sanctioning

 measures that would suffice to deter that individual from similar violations in the

 future. Orlett v. Cincinnati Microwave, Inc., 954 F.2d 414 (6th Cir. 1992).

 Moreover, when considering the type of sanctions to impose, the Court should be

 mindful that the primary purpose of Rule 11 is to deter future, similar actions by the

 sanctioned party. Mann, 900 F.2d at 962.

         Accordingly, this Court should impose monetary sanctions against Plaintiffs

 and their counsel in an amount sufficient to deter future misconduct. See, e.g., INVST

 Financial Group, Inc. v. Chem-Nuclear Systems, Inc., 815 F.2d 391, 401 (6th Cir.

 1987) (courts have wide discretion in determining amount of monetary sanctions

 necessary to deter future conduct). Here, an appropriate sanction amount is, at the

 least, the amount that Plaintiffs’ counsel have collected in their fundraising



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3663
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 273 Page
                                                                     of 1677
                                                                           48 of 56




 campaign, directly or through entities they own or control, for their challenges to the

 2020 election. They should not be allowed to profit from their misconduct.

          It is also appropriate for Plaintiffs and their counsel to pay all costs and

 attorney fees incurred by Defendants. See, e.g., id.; see also Roberson v. Norfolk

 Southern Railway Co., 2020 WL 4726937, at *7 (E.D. Mich. Aug. 14, 2020)

 (awarding costs incurred by Defendant as a sanction against Plaintiff and Plaintiff’s

 counsel for filing frivolous claims unsupported by law). In Stephenson v. Central

 Michigan University, No. 12-10261, 2013 WL 306514, at *14 (E.D. Mich. Jan. 25,

 2013), attorney fees and costs were awarded as sanctions after the plaintiff’s refusal

 to withdraw her frivolous claims during the 21-day safe harbor period provided by

 Rule 11. Sanctions were warranted because the plaintiff “brought a frivolous lawsuit

 which lacked evidentiary support, and continued to pursue her claims once the lack

 of support was evident ….” Id. The same applies here. Plaintiffs’ claims were

 frivolous from the start, yet they refused to withdraw them when provided the

 opportunity. As a result, Defendants should be reimbursed for their attorney fees and

 costs.

          Plaintiffs should also be required to post a bond of $100,000 to maintain their

 present (frivolous) appeal and for each additional appeal in this action. See, e.g., SLS

 v. Detroit Public Schools, No. 08-14615, 2012 WL 3489653, at *1 (E.D. Mich. Aug.

 15, 2012) (requiring the plaintiff to file $300,000.00 security bond).



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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3664
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 274 Page
                                                                     of 1677
                                                                           49 of 56




       To protect against their future filing of frivolous lawsuits in this District,

 Plaintiffs and their counsel should be required to obtain pre-clearance by a

 magistrate judge of any proposed lawsuit. If the magistrate determines that the

 proposed claims are frivolous or asserted for an improper purpose, the plaintiff[s]

 would be required to post a bond before filing the proposed action in an amount the

 magistrate determines is sufficient to protect the defendant[s]. See, e.g., Feathers v

 Chevron U.S.A., Inc., 141 F.3d 26, 269 (6th Cir. 1998) (“There is nothing unusual

 about imposing prefiling restrictions in matters with a history of repetitive or

 vexatious litigation.”); see also, Ortman v. Thomas, 99 F.3d 807, 811 (6th Cir. 1996)

 (permanently enjoining plaintiff from filing action based on particular factual or

 legal claims without first obtaining certification from a United States Magistrate that

 the claim is not frivolous).

       Much of this brief addresses attorney misconduct, but this is the rare case

 where the Plaintiffs themselves deserve severe sanctions. Each plaintiff in this case

 is an experienced Michigan politician; each plaintiff was selected as a candidate to

 serve as a Trump elector; and, each plaintiff had to know that the Complaint is rife

 with false allegations. None of the Plaintiffs had any legitimate basis to believe any

 of the factual assertions in the Complaint, yet they signed on. And, indeed, they

 signed on to claims they had to know were false, including the numerous claims by

 their supposed experts.



                                           33
                                                                             Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 78,35-2
                                        PageID.3665
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 275 Page
                                                                     of 1677
                                                                           50 of 56




       The Plaintiffs know that Michigan does not have party registration. They

 know that Michigan does not have “early voting.” They know that the nine counties

 identified as “outliers” because of larger raw vote shifts are simply some of the

 largest counties in the State. They know that the State does not mail ballots to voters.

 They know that it is common in Michigan for voters to vote absentee by appearing

 at the clerk’s office, signing an application, receiving a ballot and returning it, all on

 the same day. They know that some absentee ballots are mailed by voters but

 received too late to be counted. They know that counting fifty ballots eight or ten

 times (as alleged by Mellissa Carone) would be found and corrected at multiple

 stages of the tabulation and canvassing process. They know that there could not have

 been a hand recount in Antrim County before the lawsuit was filed. They know that

 absentee ballots took longer to tabulate than in-person ballots and that Biden

 supporters were more likely to vote absentee than Trump supporters. And, these

 experienced Michigan politicians know that their “experts” based their findings on

 disregarding all of these facts.

       In a case of this magnitude, intended to upend the election of the President of

 the United States, the Plaintiffs owed this Court the highest degree of due diligence

 before filing suit. Instead, there are only two possibilities—these six Plaintiffs did

 not read the Complaint and the expert reports supporting it; or, they did read the

 Complaint and the faulty expert reports and did not care that false representations



                                            34
                                                                                Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3666
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 276 Page
                                                                     of 1677
                                                                           51 of 56




 were being made to this Court. Either way, this case cries out for sanctions to deter

 this behavior in the future.

    VI.     Plaintiffs’ Counsel Should also be Disciplined and Referred to the
            Chief Judge for Disbarment

       In addressing attorney misconduct, the most important sanction here is not a

 Rule 11 sanction, but a disciplinary action pursuant to the Local Rules. The message

 must be sent that the Eastern District of Michigan does not tolerate frivolous

 lawsuits. The out of state attorneys appearing on the pleadings for the Plaintiffs never

 sought admission to the Eastern District of Michigan and never affirmed their

 acceptance of our Civility Principles. They have demonstrated their unwillingness

 to be guided by those principles, and they should be barred from returning to our

 courts.

       E. D. Mich. LR 83.20(a)(1) defines “practice in this court,” to include: “appear

 in, commence, conduct, prosecute, or defend the action or proceeding; appear in

 open court; sign a paper; participate in a pretrial conference; represent a client at a

 deposition; or otherwise practice in this court or before an officer of this court.”25

 “When misconduct or allegations of misconduct that, if substantiated, would warrant


       25
           The Rule requires that a “person practicing in this court must know these
 rules, including the provisions for sanctions for violating the rules.” Under 83.20(j)
 an attorney “who practices in this court” is subject to the Michigan Rules of
 Professional Conduct, “and consents to the jurisdiction of this court and the
 Michigan Attorney Grievance Commission and Michigan Attorney Discipline
 Board for purposes of disciplinary proceedings.”

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                                                                              Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                                      Filed 01/05/21
                                                            Page 277 Page
                                                                     of 1677
                                                                           52 of 56




 discipline of an attorney” who is a member of the bar or has “practiced in this court”

 come to the attention of a judicial officer by complaint or otherwise, the judicial

 officer may refer the matter to: (1) the Michigan Attorney Grievance Commission,

 (2) another disciplinary authority that has jurisdiction over the attorney, or (3) the

 chief district judge for institution of disciplinary proceedings ...” LR 83.22.

       This case clearly warrants the full imposition of each disciplinary option in

 the Local Rules. This Court should enter an Order requiring Plaintiffs’ to show cause

 why they should not be disciplined. LR 83.22(d) authorizes the Court to levy

 punishments other than suspension or disbarment on a practicing attorney whose

 conduct has violated the Rules of Professional Conduct, the Local Rules, the Federal

 Rules of Civil or Bankruptcy Procedure, orders of the Court, or who has engaged in

 conduct considered to be “unbecoming of a member of the bar of this court.” In

 Holling v. U.S., 934 F. Supp. 251 (E.D. Mich. 1996), this Court levied monetary

 sanctions and a formal reprimand against counsel for raising frivolous arguments.

 “Enforcing Rule 11 is the judge’s duty, albeit unpleasant. A judge would do a

 disservice by shying away from administering criticism … where called for.” Id., at

 253 n. 6 (quoting Thomas v. Capital Sec. Servs., Inc., 836 F.2d 866, 878 (5th Cir.

 1988)). The conduct of Plaintiffs’ counsel in knowingly asserting false and frivolous

 claims while seeking relief with massive implications for our democracy warrants

 the strongest possible disciplinary action.



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                                                                              Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 278 Page
                                                                     of 1677
                                                                           53 of 56




       The Court should refer Plaintiffs’ counsel to the Chief Judge of this District

 for disbarment proceedings and to their state bars for disciplinary actions. It appears

 that only one of the Plaintiffs’ attorneys in the case—Greg Rohl—is admitted to

 practice in this District; he should be barred from further practice in the District.26

 The other attorneys should be prohibited from obtaining admission to this District

 or practicing in it in any manner, including, where, as here, they do not seek formal

 admission, but sign the pleadings.

       All Plaintiffs’ attorneys should also be referred for disciplinary proceedings

 to the Michigan Attorney Grievance Commission as well as to the disciplinary

 authorities in their home states (Sidney Powell, Texas; L. Lin Wood, Georgia; Emily




       26
          Greg Rohl is the one attorney for Plaintiffs currently admitted to the Eastern
 District of Michigan. He has previously been sanctioned for filing a case which was
 deemed “frivolous from its inception” and ordered to pay over $200,000 in costs and
 attorney fees. See DeGeorge v. Warheit, 276 Mich. App. 587, 589, 741 N.W.2d 384
 (2007). He was then held in criminal contempt and sentenced to jail—affirmed by
 the Court of Appeals—for attempting to transfer assets to evade payment. Id. The
 Court of Appeals noted that a bankruptcy court had concluded that Rohl “intended
 to hinder, delay and defraud … and create a sham transaction to prevent [a creditor]
 from reaching Rohl’s interest in his law firm through the appointment of a receiver.”
 Id. at 590. Rohl was also suspended by the Michigan Attorney Discipline Board in
 2016 based on his convictions for disorderly conduct, in violation of M.C.L. §
 750.1671F, “telecommunications service - malicious use, in violation of M.C.L. §
 750.540E” and based on his admissions to at least two additional allegations of
 professional misconduct. Ex. 21. Those prior sanctions and disciplines were
 insufficient to discourage Mr. Rohl from filing the case at bar, leaving this Court
 with only one way to stop his behavior—he should be barred from practice in the
 Eastern District of Michigan.

                                           37
                                                                             Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                        PageID.3669
                                            Filed 05/03/21
                                                      Filed 01/05/21
                                                            Page 279 Page
                                                                     of 1677
                                                                           54 of 56




 Newman, Virginia; Julia Halller, D.C.; Brandon Johnson, D.C.; Howard

 Kleinhendler, New York). Those authorities can determine the appropriate response.

       It is only by responding with the harshest possible discipline that these

 attorneys and those who would follow in their footsteps will learn to respect the

 integrity of the court system.

                                  CONCLUSION

       WHEREFORE, for the foregoing reasons, the City of Detroit respectfully

 requests that this Court enter an Order sanctioning Plaintiffs and their counsel and

 initiating disciplinary proceedings in the manner identified in the Motion.

  January 5, 2021                       Respectfully submitted,

                                        FINK BRESSACK

                                        By: /s/ David H. Fink
                                        David H. Fink (P28235)
                                        Darryl Bressack (P67820)
                                        Nathan J. Fink (P75185)
                                        Attorneys for City of Detroit
                                        38500 Woodward Ave., Ste. 350
                                        Bloomfield Hills, MI 48304
                                        Tel: (248) 971-2500
                                        dfink@finkbressack.com
                                        dbressack@finkbressack.com
                                        nfink@finkbressack.com

                                        CITY OF DETROIT
                                        LAW DEPARTMENT
                                        Lawrence T. Garcia (P54890)
                                        James D. Noseda (P52563)
                                        Attorneys for City of Detroit
                                        2 Woodward Ave., 5th Floor


                                          38
                                                                               Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                      Detroit, MI 48226
                                      Tel: (313) 237-5037
                                      garcial@detroitmi.gov
                                      nosej@detroitmi.gov




                                        39
                                                                       Exhibit E
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 78,35-2
                                        PageID.3671
                                            Filed 05/03/21
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                                                            Page 281 Page
                                                                     of 1677
                                                                           56 of 56




                           CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 5, 2021, I electronically filed the

 foregoing document with the Clerk of the Court using the ECF system, which will

 send notification of such filing to all attorneys of record registered for electronic

 filing.

                                              FINK BRESSACK

                                        By:   /s/ Nathan J. Fink
                                              Nathan J. Fink (P75185)
                                              38500 Woodward Ave., Ste. 350
                                              Bloomfield Hills, MI 48304
                                              Tel.: (248) 971-2500
                                              nfink@finkbressack.com




                                                                            Exhibit E
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                         PageID.4110
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                                                                         1677
                                                                            1 of 48




 IN THE UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF MICHIGAN
 SOUTHERN DIVISION
 TIMOTHY KING, MARIAN
 SHERIDAN,
 JOHN HAGGARD, CHARLES
 RITCHARD,
 JAMES HOOPER, DAREN
 RUBINGH,
                                              CASE NO. 2:20-cv-13134
       Plaintiffs,                            Hon. Linda V. Parker
 v.                                           Mag. R. Steven Whalen
 GRETCHEN WHITMER, in her official
 capacity as the Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF
 STATE CANVASSERS,
       Defendants,
 and
 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,
      Intervenor-Defendants.
       Defendant.




  PLAINTIFFS’ OPPOSITION TO THE CITY OF DETROIT’S MOTION
 FOR SANCTIONS, FOR DISCIPLINARY ACTION, FOR DISBARMENT
   REFERRAL AND FOR REFERRAL TO STATE BAR DISCIPLINARY
  BODIES AND TO THE DEFENDANTS WHITMER AND BENSON’S
 CONCURRENCE IN CITY OF DETROIT’S MOTION FOR SANCTIONS




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           1:21-cv-01169-TCB Document
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                                            Filed 05/03/21
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                                                             01/19/21
                                                                  283 of
                                                                      Page
                                                                         1677
                                                                            2 of 48




          The City of Detroit’s Motion for Sanctions, for Disciplinary Action, for

 Disbarment Referral And for Referral To State Bar Disciplinary Bodies is baseless,

 procedurally improper, and is an attempt to create a dangerous precedent that could

 dissuade future civil rights and voting rights plaintiffs from bringing their disputes to

 court. It should be denied, and the City of Detroit should be ordered to pay Plaintiffs’

 fees and costs incurred in opposing the motion.


                                         Issue Presented



 Whether Plaintiffs and their’ counsel should be sanctioned under Rule 11, Plaintiffs’
 counsel disbarred or referred to State Bar Disciplinary Bodies: No.


                                     Controlling Authority
 Cases

 Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674 (E.D. Mich. May 20, 2020)
 DeBauche v. Trani, 191 F.3d 499 (4th Cir.1999)
 FM Indus. v. Citicorp Credit Servs., 614 F.3d 335 (7th Cir. 2010) (citing Claiborne v. Wisdom,
 414 F.3d 715 (7th Cir. 2005)

 In re Ruben, 825 F.2d 977 (6th Cir. 1987)
 Jensen v. Phillips Screw Co., 546 F.3d 59 (1st Cir. 2008).
 Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45(2011) (citing Bell Atlantic Corp. v.
 Twombly, 550 U.S. 544, 570(2007).

 Matter of Yagman, 796 F.2d 1165 (9th Cir. 1986)

 MEMC Elec. Mat'ls, Inc. v. Mitsubishi Mat'ls Silicone Corp., 420 F.3d 1369 (Fed.Cir.2005)


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                                                                  284 of
                                                                      Page
                                                                         1677
                                                                            3 of 48




 Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642 (6th Cir. 2006)

 Ridder v. City of Springfield, 109 F.3d 298 (6th Cir. 1997)
 Steinert v. Winn Group, Inc., 440 F.3d 1214 (10th Cir.2006)

 Thurmond v. Wayne Cnty. Sheriff Dept., 564 F. App’x 823 (6th Cir. 2014)

 United States v. Ross, 535 F.2d 346
 Young v. Smith, 269 F. Supp. 3d 251 (3d Cir. 2017)

 Statutes & Court Rules
 28 U.S.C. § 1927
 Fed. R. Civ. P. 54(d)(2)

 MCLS § 168.726


                                        Introduction
        Defendants do not allege specific deficiencies in pleadings; instead they attack

 the credibility of evidence attached to the complaint, whether by Declaration or

 Affidavit – despite the Plaintiffs submitting evidence for nearly every paragraph in the

 Amended Complaint, with over 200 affidavits and declarations, and never having an

 evidentiary hearing.

        Election integrity should be a non-partisan issue. In late December of 2019,

 three Democrat Senators, Warren, Klobuchar, Wyden and House Member Mark Pocan

 wrote about their ‘particularized concerns that secretive & “trouble -plagued companies”’

 “have long skimped on security in favor of convenience,” in the context of how they described

 the voting machine systems that three large vendors – Election Systems & Software,

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                                                             01/19/21
                                                                  285 of
                                                                      Page
                                                                         1677
                                                                            4 of 48




 Dominion Voting Systems, & Hart InterCivic – collectively provide voting machines &

 software that facilitate voting for over 90% of all eligible voters in the U.S.” (See Am.

 Compl. at p. 59, par. G, citing Ex. 16).

       Defendants’ Motion reeks of political smear tactic and promotes a one-sided

 political viewpoint, rather than seeking to uphold any professional standards governing

 lawyers. Actually, it is the conduct of Defendants and their counsel that violates the

 code of legal ethics. The City’s request for sanctions must be denied, for multiple

 reasons explained in the Brief in Support below, filed pursuant to Local Rule

 7.1(d)(1)(A). The State Defendants’ passing request for “sanctions and/or costs and

 fees” is procedurally improper, as it was not made by motion with a supporting as

 required under Local Rule 7.1(b) and 7.1(d)(1)(A), and likewise must be denied.

                            Procedural background

       On January 5, 2021, the City moved for sanctions under Rule 11, as well as for

 the extraordinary remedy of the disbarment of SEVEN attorneys, and their referral to

 state bars for disciplinary action. The City had previously moved for sanctions under

 28 U.S.C. § 1927 (“Section 1927”),. (See ECF 70 and 73). On January 14, 2021, the

 State Defendants filed a Consent to the City’s motion stating that they reserve the right

 to file their own motion for sanction at a future date. ECF     . The “Consent” is not

 a recognizable motion and adds nothing to the motion presented by the City.

       On November 25, 2020, Plaintiffs filed their Complaint. [ECF 1]. Plaintiffs

 amended their complaint on November 29th and also filed a motion for a TRO [ECF
                                             3

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           1:21-cv-01169-TCB Document
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                                                                  286 of
                                                                      Page
                                                                         1677
                                                                            5 of 48




 6, 7]. Since its initial filings, Plaintiffs have taken every reasonable measure to expedite

 this proceeding and to terminate the proceeding once their claims were no longer viable.

 In their November 29, 2020 “Emergency Motion for Declaratory, Emergency, and

 Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs requested an

 expedited briefing schedule, which the Court granted. ECF No. 24. On December 7,

 2020, without oral argument, and based solely on the initial pleadings and responses,

 the Court denied the TRO Motion (See ECF No. 62). Plaintiffs promptly appealed to

 the Sixth Circuit and to the US Supreme Court. [ECF Nos. 64 and 68].

        On December 22, 2020, with these appeals pending, the State Defendants and

 Intervenors moved to dismiss the Amended Complaint. [ECF Nos. 70, 72, 73] On

 January 6, 2021, the US Congress “certified the election”, rendering Plaintiffs’ claims

 moot. On January 14, 2020 Plaintiffs voluntary dismissed the Amended Complaint for

 all Defendants and Defendant/Intervenors other than Mr. Davis. On January 17, 2021

 regarding Intervenor Defendant Davis, Plaintiffs moved for voluntary dismissal ECF

 No. 86-92.


                                 LEGAL ARGUMENT


 I.   The Requests for Rule 11 Sanctions Fail for Procedural Reasons.
        The City’s Motion for both Rule 11 sanctions and for disbarment of attorneys

 and their referral to state bar associations for disciplinary action is procedurally

 improper because it violates the requirement that a Rule 11 sanctions motion “must be

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                                                       Filed Page
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                                                                  287 of
                                                                      Page
                                                                         1677
                                                                            6 of 48




 made separately from any other motion,” Fed. R. Civ. P. Rule 11(c)(2) (emphasis

 added). The City has not cited any provision of the Federal Rules of Civil Procedure

 or Local Rules authorizing such a bundling or multiple types of sanctionable relief. The

 City intervened in this suit solely for the purpose of seeking sanctions—an action itself

 improper. It filed its specious motion in its own improper effort to promote its own

 agenda with the media and to distract from explosive evidence of voter fraud. Its

 motion is far more of a crafted smear to injure the standing and reputation of the

 Plaintiffs’ attorneys than one to uphold any professional standards. Indeed, the City

 violated the very standards it purported to uphold by filing its spurious motion. There

 is no legal or factual basis for this Court to grant the City’s requested relief. Accordingly,

 because the City has submitted one motion for Rule 11 sanctions and other types of

 punitive non-Rule 11 relief, the entire motion must be denied. See, e.g., Dolinka Vannoord

 & Co. v. Oppenheimer & Co., 891 F. Supp. 1244, 1252 (W.D. Mich. 1995) (sanctions

 denied for failure to comply with separate Rule 11 motion requirement; “In any event,

 due to the uncertainty of Michigan law on the key issues in this case … sanctions would

 [have] be[en] inappropriate.”); Peloza v. Capistrano United Sch. Dist., 37 F.3d 517, 524

 (9th Cir. 1994) (reversing sanctions award of $32,000 and finding First Amendment

 claims non-frivolous because plaintiff raised important questions of first

 impression), cert. denied, 515 U.S. 1173 (1995); Milwaukee Concrete Studios, Ltd. v. Field Mfg.

 Co., 8 F.3d 441 (7th Cir. 1993) (vacating sanctions because case involved issues of first

 impression); United States v. Alexander, 981 F.2d 250, 253 (5th Cir. 1993) (vacating
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                                                                      Page
                                                                         1677
                                                                            7 of 48




 imposition of sanctions; case presented novel issues and party's argument was

 plausible); Clancy v. Mobil Oil Corp., 906 F. Supp. 42, 50 (D. Mass. 1995) (“In light of the

 lack of clearly defined First Circuit precedent in this area, plaintiffs' argument … is not

 entirely unfounded. … Plaintiffs' arguments therefore fall outside the reach of Rule

 11.”); Fowler v. Towse, 900 F. Supp. 454, 461 (S.D. Fla. 1995) (sanctions denied for non-

 frivolous argument on novel issue).

        Secondly, the City’s motion must be denied as to all attorneys who did not

 actually appear or sign any pleadings in this matter. Rule 11 is concerned with the

 signing of frivolous pleadings and other papers. Oliveri v. Thompson, 803 F.2d 1265, 1274

 (2nd Cir. 1986). It may not be invoked against attorneys whose names appear on a

 pleading but who have not signed the pleading or otherwise formally appeared in the

 action. In re Ruben, 825 F.2d 977, 984, (6th Cir. 1987).

        Indeed, “[w]here plaintiff signed filed papers, but the attorney’s name appeared

 on papers only in typewritten form, sanctions cannot be imposed on attorney since Rule

 11 focuses only on individual who signed document in question. White v. American

 Airlines, Inc., 915 F.2d 1414, 17 Fed. R. Serv. 3d (Callaghan) 1199, 6 I.E.R. Cas. (BNA)

 1086, 116 Lab. Cas. (CCH) ¶56400, 1990 U.S. App. LEXIS 17201 (10th Cir.

 1990). Typewritten name is not signature for purpose of Rule 11, and therefore senior

 partner of law firm which represented defendants and whose name was typed on

 pleadings but who did not personally sign them is not subject to Rule 11 sanctions.

 Giebelhaus v. Spindrift Yachts, 938 F.2d 962, 91 Cal. Daily Op. Service 5352, 91 D.A.R.
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                                                                                  Exhibit F
Case Case
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         1677
                                                                            8 of 48




 8248, 19 Fed. R. Serv. 3d (Callaghan) 1364, 1991 U.S. App. LEXIS 14212 (9th Cir.

 1991).”

 Id. See also Commentary, USCS Fed Rules Civ Proc R 11.

       The Sixth Circuit in In re Ruben cited to Oliveri v. Thompson, 803 F.2d 1265, 1274

 (2nd Cir. 1986) which held that:

       Rule 11, requires that "every pleading, motion, and other paper of a party
       represented by an attorney shall be signed" by the attorney. It then
       provides that:

       the signature of an attorney or party constitutes a certificate by him that
       he has read the pleading, motion, or other paper; that to the best of his
       knowledge, information, and belief formed after reasonable inquiry it is
       well grounded in fact and is warranted by existing law or a good faith
       argument for the extension, modification, or reversal of existing law, and
       that it is not interposed for any improper purpose, such as to harass or to
       cause unnecessary delay or needless increase in the cost of litigation.

       Fed. R. Civ. P. 11.

       …From this language it is apparent that a sanction for attorneys' fees may
       be imposed either on the attorney who signs a paper, or on the party he
       represents, or on both. The key to rule 11 lies in the certification flowing
       from the signature to a pleading, motion, or other paper in a lawsuit. While
       a continuing prohibition against dilatory litigation is imposed by § 1927,
       see Roadway Express, 447 U.S. at 757; Browning Debenture Holders' Committee,
       560 F.2d at 1088, rule 11, by contrast, deals with the signing of particular
       papers in violation of the implicit certification invoked by the signature.

       Rule 11 applies only to the initial signing of a "pleading, motion, or other
       paper". Limiting the application of Rule 11 to testing the attorney's
       conduct at the time a paper is signed is virtually mandated by the plain
       language of the rule. Entitled "Signing of Pleadings, Motions, and Other
       Papers; Sanctions", the rule refers repeatedly to the signing of papers; its
       central feature is the certification established by the signature.

 Oliveri v. Thompson, 803 F.2d 1265, 1274 (2nd Cir. 1986)
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                                                                               Exhibit F
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           1:21-cv-01169-TCB Document
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                                         PageID.4118
                                            Filed 05/03/21
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                                                             01/19/21
                                                                  290 of
                                                                      Page
                                                                         1677
                                                                            9 of 48




       For this reason alone, the City’s motion against all counsel other than local

 counsel, must be denied. The only signator or appearance made in the short life of

 this case has been by Plaintiffs’ local counsel. No other counsel signed any pleadings.

 Indeed, the City recognizes that E. D. Mich. LR 83.20(a)(1) defines “practice in this

 court,” to include: “appear in, commence, conduct, prosecute, or defend the action or

 proceeding; appear in open court; sign a paper; participate in a pretrial conference;

 represent a client at a deposition; or otherwise practice in this court or before an

 officer of this court.” (See ECF 78, p. 37). None of that applies to any of Plaintiffs’

 non-local counsel.

 II. Rule 11(c)(2)’s Safe Harbor Notice Requirement and Plaintiff’s Voluntary
 Dismissal of Complaint within 21 Days.
 As a preliminary matter, Rule 11(c)(2) sets forth that:


       (2) Motion for Sanctions. A motion for sanctions must be made separately
       from any other motion and must describe the specific conduct that
       allegedly violates Rule 11(b). The motion must be served under Rule 5,
       but it must not be filed or be presented to the court if the challenged
       paper, claim, defense, contention, or denial is withdrawn or appropriately
       corrected within 21 days after service or within another time the court
       sets. If warranted, the court may award to the prevailing party the
       reasonable expenses, including attorney’s fees, incurred for the motion.

 USCS Fed Rules Civ Proc R 11.
       The City’ Rule 11 motion claims regarding frivolous legal claims and

 unsupported factual allegations must be dismissed for failure to provide 21-days’ notice

 and opportunity for response under Rule 11(c)(2). Plaintiffs moved to voluntarily

 dismiss this case (and thereby withdraw all pleadings) on January 14, 2021. The City
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     Case 1:21-cv-01169-TCB ECF
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                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 291 Page
                                                                     of 1677
                                                                           10 of 48




 served a copy of notice of an anticipated Motion on Plaintiffs’ counsel on December

 15, 2020. That “notice” makes only conclusory statements and blanket assertions

 regarding the alleged violations of Rule 11 and fails altogether to “describe the specific

 conduct that allegedly violates Rule 11(b).” Id. Further, it fails to identify any specific

 factual allegation or witness that lacks evidentiary support. Instead, it is only in the

 accompanying Brief, filed on January 5, 2021, that the City first identifies the “specific

 conduct” that allegedly violates Rule 11. For r example, the Motion contains only a

 single sentence identifying specific contested factual allegations, ECF No. 78 at vii,

 while the Brief spends 13 pages.

       In Hadges & Kunstler v. Yonkers Racing Corp., 48 F.3d 1320, 1327-28 (2d Cir. 1995)

 the Second Circuit commented on the amendment, as follows:

       Of particular relevance here, the 1993 amendment establishes a "safe
       harbor" of 21 days during which factual or legal contentions may be
       withdrawn or appropriately corrected in order to avoid sanction. Fed. R.
       Civ. P. 11(c)(1)(A).
       Photocircuits Corp. v. Marathon Agents, 162 F.R.D. 449, 451, (E.D. N.Y. 1995)

       In addition, as the court in Cromwell v. Cummings, supra, 65 Cal. App. 4th Supp. 10,

 recognized, "[a]pplication of the doctrine of substantial compliance would be

 inconsistent with the plain language of the 'safe harbor' provision, which has been

 strictly construed as an absolute perquisite to an award of sanctions under revised rule

 11 of the Federal Rules of Civil Procedure (28 U.S.C). Barnes v. Department of Corrections,

 74 Cal. App. 4th 126, 135-136, 87 Cal. Rptr. 2d 594, 602, (Ca. App. 1999)(Citing Ridder


                                              9

                                                                                 Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4120
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 292 Page
                                                                     of 1677
                                                                           11 of 48




 v. City of Springfield, supra, 109 F.3d at p. 296.)" (Id. at p. Supp. 15.) Indeed, the Advisory

 Committee Notes to rule 11 state: "To stress the seriousness of a motion for sanctions

 and to define precisely the conduct claimed to violate the rule, the revision provides

 that the 'safe harbor' period begins to run only upon service of the motion. In most

 cases however, counsel should be expected to give informal notice to the other party, whether in

 person or by a telephone call or letter, of a potential violation before proceeding to

 prepare and serve a Rule 11 motion." (Fed. Rules Civ. Proc., Rule 11, 28 U.S.C.A., supra,

 Advisory Com. Notes, 1993 amendments, p. 284, italics added.)

             This Court must, at a minimum, deny the Motion with respect to any argument,

 claim or contention first described in the City’s Brief, as protected under the Rule

 11(c)(2) safe harbor, and should deny the Motion as a whole based on the City’s filing

 of the Motion on January 5th, 2020, because Defendants’ filed dismissals to this Court

 for all parties on January 14, 2020, and regarding Intervenor Defendant Davis on

 January 17th, 2020.

             As explained above, Plaintiffs promptly moved to voluntarily dismiss this case in

 its entirety, including pending appeals, within the 21-day notice period of the filing of

 the motion on January 5, 2020, (See ECF 78) and (ECF 86-92).

 III.        Rule 11(b)(1): The Complaint Was Properly Filed with Proper Purpose
        A.     Plaintiffs Did Not Seek to Harass the City




                                                 10

                                                                                     Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4121
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 293 Page
                                                                     of 1677
                                                                           12 of 48




        Even if the City’s Motion were not procedurally barred, Plaintiffs and their

 counsel have not violated Rule 11. Rule 11 provides that "sanctions may be imposed if

 a reasonable inquiry discloses [that a] pleading, motion, or paper is (1) not well grounded

 in fact, (2) not warranted by existing law or a good faith argument for the extension,

 modification or reversal of existing law, or (3) interposed for any improper purpose

 such as harassment or delay." Sony/ATV Music Publ'g LLC v. 1729172 Ont., Inc., 2018

 U.S. Dist. LEXIS 140856, *36-37, 2018 WL 4007537, (citing Merritt v. Int'l Ass'n of

 Machinists & Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2010) (citation omitted)....

 ‘In order for conduct to be considered so "unreasonable" as to warrant sanctions, that

 conduct must be "relatively egregious."’ Id. (citing Fulmer v. MPW Indus. Servs., Inc., 2006

 U.S. Dist. LEXIS 42038, 2006 WL 1722433 at *5 (M.D. Tenn. June 21, 2006) (Trauger,

 J.).

        "'A district court abuses its discretion if it bases its ruling on an erroneous view

 of the law or a clearly erroneous assessment of the evidence.'" Shirvell v. Gordon, 602

 Fed. Appx. 601, 604 (6th Cir. 2015) (citing Merritt v. Int'l Ass'n of Machinists and Aerospace

 Workers, 613 F.3d 609, 619 (6th Cir. 2010) (quoting Brown v. Raymond Corp., 432 F.3d

 640, 647 (6th Cir. 2005)).

        Plaintiffs did not file for “any improper purpose, such as to harass, cause

 unnecessary delay, or needlessly increase cost of litigation.” Fed. R. Civ. P. Rule

 11(b)(1). First, the City of Detroit was an intervenor in this proceeding, not a

 defendant; nor was the City of Detroit a necessary party. Plaintiffs did not seek any
                                              11

                                                                                    Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4122
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 294 Page
                                                                     of 1677
                                                                           13 of 48




 relief from the City of Detroit, or its officials or employees. The City voluntarily

 intervened purportedly to “protect its reputation” and its own perception of election

 integrity. See ECF No. 5 at 4. But the City was not accused of conducting elections

 improperly. It does not conduct elections for the President of the United States. States,

 through their counties, do. So while Detroit sits in Wayne County, and allegations were

 made concerning fraudulent election activity in that county, the City of Detroit has no

 role in the matter, and it should not have intervened.

       Apart from its serial motions for sanctions, the City of Detroit has not made any

 unique legal arguments, but simply parroted the same arguments made by Defendants

 and other intervenors. Accordingly, Plaintiffs cannot be deemed to have filed for

 purposes of harassing the City, and in fact, opposed the City’s intervention. See ECF

 No. 5 at 1.


       B. Public Statements and Tweets By Co-Counsel Do Not Demonstrate
 That Plaintiffs or Counsel Had Improper Purpose but State Defendants’
 Statements Call into Question the Propriety of Defendants’ Purpose.
       The City’s speculative attribution of an improper motive attributable to Plaintiffs’

 counsel because of the media appearances of Lin Wood and Sidney Powell do not

 implicate Rule 11(b)(1), as neither Mr. Wood nor Ms. Powell was a signer to the

 pleadings. The tweets referenced in the City of Detroit’s outlandish character

 assassination of plaintiffs’ counsel have nothing to do with the merits of the suit, the

 claims set forth in this Court, or the evidence provided by plaintiffs’ counsel in support


                                             12

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4123
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 295 Page
                                                                     of 1677
                                                                           14 of 48




 of their claims. Put frankly, they are entirely irrelevant to a Rule 11 consideration,

 particularly because no signer was the author or instigator of this media content. The

 actual signers of the pleading did not produce the tweets, reference the tweets, or

 retweet the tweets and have not been accused of making improper media appearances.

        The Fourth Circuit in In re Kunstler held that any improper purpose must be

 “derived from the motive of the signer in pursuing the suit.” 914 F.2d 505, 518–19 (4th

 Cir. 1990) (emphasis added). A Court may consider a signer’s subjective beliefs in the

 purpose analysis, solely if they so clearly demonstrate the signer knew the motion was

 baseless, and despite this knowledge, proceeded to file. Id at 519. Otherwise, the Court

 must judge the conduct of counsel under an objective standard of reasonableness. Id.

 at 518. Any evidence that cannot be viewed by a court without fear of misinterpretation,

 or that involves difficult determinations of credibility, is not objective for purposes of

 a Rule 11(b)(1) analysis. Id. at 519. Because neither Mr. Wood nor Ms. Powell were

 signers to the pleading, this Court may not assess their subjective beliefs in the improper

 purpose analysis; and there is not even a viable inference that local counsel had any

 improper purpose.

        Even if the Court were to improperly consider the tweets, an evidentiary hearing

 would be required to assess the veracity of the media statements and their role in

 impacting the signer’s decision to file the suit. As “determinations of credibility are best

 made after an evidentiary hearing,” and because these media statements are the opinions

 of attorneys who did not sign the pleading, this Court cannot assume improper purpose
                                             13

                                                                                  Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4124
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 296 Page
                                                                     of 1677
                                                                           15 of 48




 from extrajudicial statements that are not objective, nor were made by the signer. Id. at

 519-20. Plaintiffs’ counsel welcomes the opportunity to participate in an evidentiary

 hearing to consider the credibility of the evidence presented before this Court.

        The State Defendants address Sidney Powell’s tweets regarding election integrity

 issues and concerns about getting an opportunity to be heard in court in their Motion

 for Sanctions. (See ECF No. 78, pp. 6, 10). Defendants cite tweets alleging that “those

 false messages are deliberately advanced by these attorneys to support their goals of

 undermining our democracy” but by threatening plaintiffs and counsel over messages,

 Defendants undermine the Due Process Clause of the Constitution, “No person

 shall...be deprived of life, liberty, or property, without due process of law...”

 Defendants, however, have instead put out ,media headlines and talking points and

 messages under the official color of law to attempt punish Ms. Powell or other counsel over

 messages on election integrity or the lack thereof - while they had not yet filed or put

 Plaintiffs on notice of a Rule 11(c)(2) Motion for Sanctions, and appear to be working

 with one political party rather than from a position of neutrality incumbent on official

 government actors.

        On December 22, 2020, the Michigan Attorney General is quoted in public

 statements on making assertions that, under color of law, she will seek to get counsel

 disbarred, where she is using her public office and appears that it is coordinated with

 DNC Counsel’s statements from December 15, 2020.



                                             14

                                                                                 Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4125
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 297 Page
                                                                     of 1677
                                                                           16 of 48




         On December 15, 2002, the City emailed a notice of its intent to file sanctions

 motions, purportedly to provide “notice to correct” under Rule 11 - but that December

 15th notice appears instead to be coordinated with public statements put out that same

 day by both the Michigan Attorney General and counsel for the DNC. Specifically,

 they commented on the need to ensure Plaintiffs’ and Plaintiffs’ counsel “pay a price”

 for filing election integrity cases. “It’s time for this nonsense to end,” the City’s lawyer

 David Fink told Law & Crime in a phone interview. “The lawyers filing these frivolous

 cases that undermine democracy must pay a price,” Fink added.

         Indeed, even before the City’s motion had been filed, it was tweeted out by Marc

 Elias, an attorney from the Washington-based firm Perkins Coie who has regularly

 intervened in these cases on behalf of the Democratic Party and the Biden campaign.1

         But that’s not all. Not to be undone by counsel for the City and the DNC, the

 Michigan Attorney General made the following slanderous and outrageous official

 statement concerning the filings in this case in which her office appears as counsel of

 record for the State Defendants:

         “These are flagrant lies that Ms. Powell is submitting to, of all places, the
         United States Supreme Court in some cases. It’s disturbing and it
         undermines our entire profession, and she has to be held accountable,”



 1
   Detroit Is Trying to Get Sidney Powell Fined, Banned from Court, and Referred to the Bar for Filing the ‘Kraken’,
 lawandcrime.com, by Adam Klasfeld, December 15, 2020https://lawandcrime.com/2020-election/detroit-is-trying-
 to-get-sidney-powell-fined-banned-from-court-and-referred-to-the-bar-for-filing-the-kraken/)



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                                                                                                      Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4126
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 298 Page
                                                                     of 1677
                                                                           17 of 48




        Nessel told Detroit reporters. “We’d be asking there be action taken
        against her law license including potential disbarment.”2

        It appears that their primary motivation in seeking to intervene in this case was

 to file serial sanctions motions and to defend its reputation, a purpose that has been

 held to be an impermissible and not to provide standing for filing Rule 11

 sanctions. See, e.g., New York News, Inc. v. Kheel, 972 F.3d 482, 488 (2d Cir. 1992) (finding

 aggrieved non-party lacked standing to file Rule 11 motion for purportedly baseless

 allegations in plaintiffs’ complaint).Accordingly, there is no basis for this Court to apply

 Rule 11 sanctions to non-counsel of record for public statements made. On the

 contrary, it is defense counsel whose motives for bringing the instant motion and whose




 2
  Michigan Attorney General Wants to Disbar Sidney Powell, Pro-Trump Attorneys: Michigan is
 moving to disbar Sidney Powell and other pro-Trump attorneys for the work exposing credible
 accusations of voter fraud. The National File, By Frankie Stockes by Frankie Stockes December 26,
 2020.

 https://nationalfile.com/michigan-attorney-general-wants-to-disbar-sidney-powell-pro-
 trump-attorneys/; see also “The Democratic attorney general also plans to pursue court costs
 and fees and to file complaints with the attorney grievance commission, Nessel told reporters
 Tuesday.” Sanctions sought against lawyers who pushed to overturn Michigan's election, the
 Detroit News, by Beth LeBlanc and Craign Mauger, December 22, 2020

 https://www.detroitnews.com/story/news/local/michigan/2020/12/22/nessel-seek-
 sanctions-against-lawyers-challenging-election-results/4009929001/

 The Motor City’s motion asks a federal judge to fine the lawyers, ban them from practicing in the
 Eastern District in Michigan and refer them to the Wolverine State’s bar for grievance proceedings.)




                                                  16

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4127
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 299 Page
                                                                     of 1677
                                                                           18 of 48




 contrary, it is the public statements made by counsel for the City of Detroit and the

 State of Michigan, under color or law, which should be closely scrutinized.


       C. Plaintiffs Have Not Caused Unnecessary Delay or to Unnecessarily
 Increased Costs
       Plaintiffs have taken every reasonable measure to expedite this proceeding and

 to terminate the proceeding once their claims were no longer viable while seeking relief

 for their clients. In their November 29, 2020 “Emergency Motion for Declaratory,

 Emergency, and Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs

 requested an expedited briefing schedule, and agreed to forego an evidentiary hearing

 and discovery specifically because of the time pressure on the relevance of the claims

 related to election fraud which by their very nature are challenging to bring because of

 the short time available to file suit. This Court granted the request for expedited

 briefing, ECF No. 24, and based solely on the initial pleadings and responses, dismissed

 the TRO Motion a mere eight days later on December 7, 2020. (See ECF No. 62).

 Further, thereafter Plaintiffs expeditiously moved for voluntary dismissal of the

 November 29, 2020 Amended Complaint, ECF No. 6, because the relief requested in

 the Amended Complaint appears to now have become moot.

       Plaintiffs moved as expeditiously as possible, while acting in the best interests of

 their clients, from the outset through the termination of this proceeding, it is the City

 that seeks to prolong this proceeding with meritless claims for sanctions, supported



                                            17

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4128
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 300 Page
                                                                     of 1677
                                                                           19 of 48




 solely by incendiary accusations and ad hominem attacks on Plaintiffs’ counsel and

 willful misrepresentations of Plaintiffs’ claims and motives.


 V. Rule 11(b)(2), (b)(3): Plaintiffs Legal Claims Had Evidentiary Support and
 Were Not Frivolous
        The commentary applicable to determining Rule 3.1. Meritorious Claims and

 Contentions explains:


        The filing of an action or defense or similar action taken for a client is not
        frivolous merely because the facts have not first been fully substantiated
        or because the lawyer expects to develop vital evidence only by discovery.
        What is required of lawyers is that they inform themselves about the facts
        of their clients’ cases and the applicable law and determine that they can
        make good-faith arguments in support of their clients’ positions.
 MRPC 3.1. ‘As amended, the rule "stresses the need for some pre-filing inquiry into

 both the facts and the law to satisfy the affirmative duty imposed." Merritt v. Int'l Ass'n

 of Machinists & Aero. Workers, 613 F.3d 609, 626 (6th Cir. 2010), (citing Id. (citing Fed. R.

 Civ. P. 11 advisory committee's note to the 1983 amendment); see also Century Prods., Inc.

 v. Sutter, 837 F.2d 247, 250 (6th Cir. 1988)).

        Rule 11 is “not intended to chill an attorney’s enthusiasm or creativity in pursuing

 factual or legal theories,” and “[t]he court is expected to avoid using the wisdom of

 hindsight and should test the signer’s conduct” based on what was “reasonable to

 believe” at the time of filing. INVST Financial Group, Inc. v. Chem-Nuclear Systems, Inc.,

 815 F.2d 391, 401 (6th Cir. 1987), cert. denied, 484 U.S. 927 (1987). (quoting Fed. R.

 Civ.   P.   Rule    11.   Notes    of   Advisory     Committee      on    Rules    --   1983

                                              18

                                                                                   Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4129
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 301 Page
                                                                     of 1677
                                                                           20 of 48




 Amendment). Plaintiffs’ central claim -- whether Presidential Electors had standing to

 bring federal constitutional claims under the Electors Clause and other constitutional

 provisions -- a was a novel claim for which there was no controlling authority in the

 Sixth Circuit, but for which there was support in other circuits.

        As the Supreme Court has observed in a similar statute providing for recovery

 of attorney’s fees for frivolous claims:


        [I]t is important that a district court resist the understandable temptation
        to engage in post hoc reasoning by concluding that, because a plaintiff did
        not ultimately prevail, his action must have been unreasonable or without
        foundation. This kind of hindsight logic would discourage all but the most
        airtight claims, for seldom can a prospective plaintiff be sure of ultimate
        success.
 Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421-22 (1978). The Supreme Court

 affirmed the denial of attorney’s fees where, as here, the defendant prevailed on “an

 issue of first impression requiring judicial resolution.” Id. (internal quotations

 omitted). “If the area of law is considered complex and uncertain, however, Rule 11

 sanctions are rarely granted …” Balfour Guthrie, Inc. v. Hunter Marine Transport, Inc., 118

 F.R.D. 66, 74 (M.D. Tenn. 1987) (citing Vatican Shrimp Co. v. Solis, 820 F.2d 674, 681

 (5th Cir. 1987)).


        A. Plaintiffs Had Reasonable Basis for Legal Claims
        1.   Standing
        Plaintiffs’ central claim was that the Michigan Presidential Elector Plaintiffs had

 standing to file claims for violation of the Electors Clause, as well as standing to bring

                                             19

                                                                                 Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4130
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 302 Page
                                                                     of 1677
                                                                           21 of 48




 Equal Protection and Due Process claims and under the Fourteenth Amendment as

 candidates for office and as voters. While the court found that Plaintiffs’ claims lacked

 standing, the fact is Plaintiffs made a good faith legal argument under Article III, § 2,

 of the U.S. Constitution which provides that,


          “The judicial Power shall extend to all Cases, in Law and Equity, arising
          under this Constitution, the Laws of the United States, and Treaties made,
          or which shall be made, under their Authority[.]”
          “It is clear that the cause of action is one which ‘arises under’ the Federal

 Constitution.” Baker v. Carr, 369 U.S. 186, 199 (1962) (A citizen's right to a vote free

 of arbitrary impairment by state action has been judicially recognized as a right secured

 by the Constitution, when such impairment resulted from dilution by a false tally; or by

 a refusal to count votes from arbitrarily selected precincts, or by a stuffing of the ballot

 box.).

          These claims were not frivolous as they had support in other circuits, and there

 was not at the time of filing, any controlling authority in the Sixth Circuit. Instead,

 there was a circuit split on the elector standing. Plaintiffs relied on a very recent case

 where the Eighth Circuit interpreted the presidential elector provisions of Minnesota

 law that were nearly identical to Michigan’s electoral law as giving electors standing, as

 candidates for office, under the Electors Clause to challenge state law violations. Carson

 v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential Electors have

 Article III and prudential standing to challenge actions of Secretary of State in


                                              20

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4131
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 303 Page
                                                                     of 1677
                                                                           22 of 48




 implementing or modifying State election laws). In that case, the Eighth Circuit

 Presidential Electors “have a cognizable interest in ensuring that the final vote tally

 reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and

 particularized injury to candidates such as the Electors.” The Third Circuit, in a case

 dealing with a failed congressional candidate, not a Presidential elector, reached a

 different conclusion in Bognet v. Secy Commonwealth of Pa., 980 F.3d 336 (3d Cir. 2020).

        The existence of a circuit split on candidate standing demonstrates that Plaintiffs

 and counsel had a reasonable basis for their claims and that their position was not

 frivolous. In fact, the existence of a circuit split can defeat a motion for sanctions even

 if the position taken runs counter to current controlling authority. See, e.g., Hunter v.

 Earthgrains Co. Bakery, 281 F.3d 144, 154-56 (4th Cir. 2002) (vacating district court order

 imposing Rule 11 sanctions where other circuits had taken legal position contrary to

 controlling Fourth Circuit precedent). Here, by contrast, there was no controlling Sixth

 Circuit or Supreme Court authority on elector standing.

            2. The Eleventh Amendment.

        The Supreme Court has held that “[i]t is clear … that in the absence of consent

 a suit in which the State or one of its agencies or departments is named as the defendant

 is proscribed by the Eleventh Amendment.” Pennhurst State Sch. & Hosp. v. Halderman,

 465 U.S. 89, 100, 104 S. Ct. 900, 908, 79 L. Ed. 2d 67 (1984). However, “[w]hen the suit

 is brought only against state officials, a question arises as to whether that suit is a suit

 against the State itself.” Id. at 101.
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                                                                                  Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4132
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 304 Page
                                                                     of 1677
                                                                           23 of 48




        This Court determined that Plaintiffs’ claims against Governor Whitmer and

 Secretary of State Benson were “suit[s] against state officials when ‘the state is the real,

 substantial party in interest.’” Dkt. 62, pp. 8-9. Plaintiffs respectfully disagree with that

 conclusion. Their Complaint alleges ultra vires executive conduct in violation of state

 law. Plaintiffs’ cause of action is premised on the fact that Defendants Whitmer and

 Benson have acted inconsistently with state and federal law. Accordingly, in Plaintiffs’

 view, the state is not the real party in interest. If it were, then no citizen could ever

 maintain a cause action against a state defendant. Ultimately, the point is that the

 resolution of this issue is fact-intensive, not “clear.”

           3. Laches.

        Laches is an equitable doctrine that is necessarily fact-dependent. After a diligent

 search, Plaintiffs have been unable to locate any analogous case in which a court

 imposed sanctions on a plaintiff for bringing a claim that the court subsequently

 deemed barred by laches.

        In the instant case, most of Defendants’ conduct did not become apparent until

 Election Day. Thereafter, Plaintiffs diligently collected dozens of affidavits and drafted

 a seventy-five page initial complaint detailing each of its claims. Plaintiffs filed their

 Complaint a mere two days after the Michigan Board of State Canvassers certified the

 election results. Plaintiffs had a reasonable argument for the roughly twenty-one day

 delay between Election Day and the filing of this Complaint. As such, sanctions would

 be grossly inappropriate on this basis.
                                              22

                                                                                   Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4133
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 305 Page
                                                                     of 1677
                                                                           24 of 48




           4. Mootness.

        Plaintiffs and this Court disagreed on the question of whether or not the relief

 Plaintiffs sought was moot. The Court essentially concluded that it did not have the

 power to “decertify” election results once those results had been certified by the

 Governor. In delivering its reasons, the Court did not cite any controlling case law in

 support because this is a novel area. (See ECF No. 62, Court Op. and Order) However,

 in their complaint to the US Supreme Court on December 7, 2020, the state of Texas,

 joined by 18 other state attorney generals, believed a federal court did have the authority

 to decertify or otherwise invalidate certified state elections results. (See Plaintiffs’ Brief

 in Opposition to 1927 Sanctions] Accordingly, Plaintiffs’ reasonable arguments in

 support of their entitlement to relief cannot be sanctionable on this basis.

   B.    Dismissal on Equitable Grounds Should Not Be Basis for Sanctions

        Equitable remedies allow that “substantial justice may be attained in particular

 cases where the prescribed or customary forms of ordinary law seem to be inadequate.”

 27A Am. Jur. 2d Equity § 1 (citing Securities and Exchange Com'n v. U.S. Realty & Imp. Co.,

 310 U.S. 434, 60 S. Ct. 1044, 84 L. Ed. 1293 (1940)). By its very nature, equitable claims

 are heavily fact and circumstance dependent and a particularly bad fit for sanctions

 when relief is denied. Litigants must know that they can come to court seeking out of

 the box equitable remedies in unusual disputes, without fear of sanctions. While

 equitable defenses, such as latches or mootness, may foreclose relief given a particular



                                              23

                                                                                    Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4134
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 306 Page
                                                                     of 1677
                                                                           25 of 48




 fact pattern it is particularly unlikely that the relief requested is factually or legally

 baseless because of the purposefully flexible nature of equity.


   C. Dismissal for Failure to Adequately Plead Claims Is Not Basis for
 Sanctions.
        While the Court’s rationale for dismissing Plaintiffs’ Equal Protection and Due

 Process claims appears to be that the Court accepted the claims of the City and other

 parties that Plaintiffs’ either failed to adequately plead these claims or to allege facts

 that, if true, would have stated a claim for relief. See ECF No. 62 at 33-34. “Although

 a legal claim might be so inartfully pled that it cannot survive a motion to dismiss, such

 a flaw will not in itself support Rule 11 sanction--only the lack any legal or factual basis

 is sanctionable.” Hunter, 281 F.3d at 153 (emphasis added). See also id. (“Creative claims,

 coupled even with ambiguous or inconsequential facts, may merit dismissal, but not

 punishment”) (internal quotations omitted). A district court, however, should not

 impose sanctions so as to chill creativity or stifle enthusiasm or advocacy. See Securities

 Indus. Ass'n v. Clarke, 898 F.2d 318, 322 (2d Cir. 1990).

        Moreover, plaintiffs and counsel “need not have in hand before filing enough

 proof to establish the case.” Samuels v. Wilder, 906 F.2d 272, 274 (2d Cir. 1990). It

 “requires only an outline of case,” and “must not bar the courthouse door to people

 who have some support for a complaint but need discovery to prove their case …” Id.

 (internal citations and quotations omitted). Here, there is a disagreement about the

 significance of the facts and testimony supporting Plaintiffs’ complaint, particularly with

                                             24

                                                                                  Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4135
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 307 Page
                                                                     of 1677
                                                                           26 of 48




 respect to the allegations of differential weighting of Republican and Democratic votes

 by Dominion voting machines, discriminatory enforcement (or nonenforcement) of

 state election laws, and other illegal and discriminatory conduct at the TCF Center

 described in sworn eyewitness testimony. Plaintiffs alleged that this illegal and

 unconstitutional conduct did not affect all voters equally, and that it resulted in counting

 of illegal votes predominantly for Democrats and not counting legal votes for

 Republican voters. This Court found that Plaintiffs’ allegations could not support these

 claims, and dismissed eyewitness statements in sworn testimony who believed that they

 observed vote switching or destruction as unsupported, and similar allegations as

 “theories, conjecture, and speculation that such alterations were possible.” ECF No. 62 at

 34. But these are precisely the types of credibility determinations that could have been

 made at an evidentiary hearing, and allegations that could have found additional

 evidentiary support if discovery had been permitted.

        The central goal of Rule 11 sanctions is the deterrence of baseless filings and the

 curbing of abuses. Photocircuits Corp. v. Marathon Agents, 162 F.R.D. 449, 451, (1995)

 (citing Cooter & Gell v. Hartmarx Corporation, 496 U.S. 384, 393, 110 S. Ct. 2447, 2454,

 110 L. Ed. 2d 359 (1990); Caisse Nationale De Credit Agricole-CNCA v. Valcorp, 28 F.3d

 259 (2d Cir. 1994); McMahon v. Shearson/American Express, Inc., 896 F.2d 17, 21 (2d Cir.

 1990) (Rule 11 was enacted to "discourage dilatory and abusive litigation tactics and

 eliminate frivolous claims and defenses, thereby speeding up and reducing the costs of

 the litigation process."). Rule 11 is designed to deter parties from abusing judicial
                                             25

                                                                                  Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4136
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 308 Page
                                                                     of 1677
                                                                           27 of 48




 resources, not from filing complaints. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384,

 411, 110 S. Ct. 2447, 2464, 110 L. Ed. 2d 359, 385, (J. Stevens, 1990).

 VI.  Rule 11(b)(3): Plaintiffs Factual Allegations Had Evidentiary Support
 and/or Would Have Support After Further Discovery or Investigation

       A.   Plaintiffs’ Factual Allegations Have Not Been “Debunked.”
       As an initial matter, the only contested factual allegations that may be before this

 Court (assuming the Motion is not dismissed as procedurally improper or on other

 grounds) are those in the Motion served on December 15, 2020, and filed with this

 Court on January 5, 2021. The only “specific conduct” identified in the Motion are

 “[t]he allegations about supposed fraud in the processing and tabulation of absentee

 ballots by the City at the TCF Center,” which according to the City, “have been rejected

 by every court that has considered them,” ECF No. 78 at 7, but does not cite to any

 case where this was “debunked.” Id. Nor could they because it appears that no court

 has addressed these factual allegations on the merits or held an evidentiary hearing.

       While factual allegations made for the first time in the January 5, 2021 Brief are

 not properly before this Court for failure to comply with Rule 11(c)(2)’s safe harbor

 and 21-day notice requirement, Plaintiffs will nevertheless demonstrate that the City of

 Detroit’s claims are without merit. The City of Detroit heavily relies on the Wayne

 County Circuit Court’s opinion and order in Constantino v. Detroit, Case No. 20-014780-

 AW (Nov. 13, 2020), ECF No. 78 at 13-18 (“Constantino I”), aff’d, 950 N.W.2d 707

 (Mich. Nov. 23, 2020) (“Constantino II”). There, the circuit court denied a motion for


                                            26

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4137
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 309 Page
                                                                     of 1677
                                                                           28 of 48




 preliminary injunctive relief that included many of the same factual allegations regarding

 misconduct at the TCF Center, supported by sworn affidavits from many of the same

 fact witnesses, as were included in the Complaint, Amended Complaint, and TRO

 Motion. ECF Nos. 1, 6, 7.

       In doing so, the City neglects to mention that the Circuit Court, like this Court,

 did not conduct an evidentiary hearing. And Defendants fail to point out how it that

 case substantively differs from the case at bar which addressed a widespread pattern of

 actual fraud. The City also neglects to mention that three Michigan Supreme Court

 judges in Constantino issued concurring and dissenting opinions finding serious

 allegations of fraud that needed to be investigated. The Rule 11 Advisory Committee

 Notes direct district courts to consider minority opinions in determining whether an

 attorney has conducted a reasonable inquiry as required. Fed. R. Civ. P. Rule 11, Notes

 of Advisory Committee – 1993 Amendment (directing district courts to take into

 account “the extent to which a litigant has researched the issues and found some

 support for its theories even in minority opinions”).

       Specifically, in his dissenting opinion, Justice Viviano highlighted the fact that

 the Circuit Court’s “credibility determinations were made without the benefit of an

 evidentiary hearing,” which “[o]rdinarily … is required where the conflicting affidavits

 create factual questions that are material to the trial court’s decisions on a motion for

 preliminary injunction” under Michigan state law. Constantino II, 950 N.W.2d at 710 n.2



                                             27

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4138
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 310 Page
                                                                     of 1677
                                                                           29 of 48




 (Viviano, J. dissenting). In his view, “[t]he trial court’s factual finding have no

 significance …” Id., at 710-711 (emphasis added).

        Justice Zahra, in a concurring opinion joined by Justice Markman, also disagreed

 with the Circuit Court’s decision not to hold an evidentiary hearing. They also appear

 to have found the factual allegations of these witnesses to have some merit:

        Nothing said is to diminish the troubling and serious allegations of fraud
        and irregularities asserted by affiants …, among whom is Ruth Johnson,
        Michigan’s immediate past Secretary of State.”
 Id. at 708 (Zahra, J., concurring). Justice Zahra therefore urged the Circuit Court to

 “meaningfully assess plaintiffs’ allegations by an evidentiary hearing, particularly with

 respect to the credibility of the competing affiants ...” Id.

        A court may, and given the exigencies of time sometimes must, act on motions

 for preliminary injunctive relief based on “the parties’ bare affidavits,” Id. at 710

 (Viviano, J. dissenting), without an evidentiary hearing. However, such purported

 factual findings cannot be given preclusive effect much less form the basis for finding

 that factual allegations made in sworn affidavits lacked evidentiary support. Plaintiffs’

 Amended Complaint presented over 200 sworn fact witness (as well as sworn affidavits

 from more than a dozen expert witnesses (that were not addressed in Constantino I or

 Constantino II), that constitutes more than sufficient evidentiary support to meet the

 requirements of Rule 11, even before conducting any discovery which likely would have

 resulted in additional evidence supporting Plaintiffs’ allegations.


                                              28

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4139
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 311 Page
                                                                     of 1677
                                                                           30 of 48




        While district courts are required to articulate a basis for awarding sanctions,

 nothing requires them to explain their reasons for not ordering sanctions." Gibson v.

 Solideal USA, Inc., 489 Fed. Appx. 24, 32, 2012 FED App. 0740N (6th Cir. 2012) (cited

 Runfola & Assocs., Inc. v. Spectrum Reporting II, Inc., 88 F.3d 368, 375 (6th Cir. 1996)

 (addressing a district court's silence on its reason to deny sanctions under its inherent

 powers); see also Eaton Aerospace, L.L.C. v. SL Montevideo Tech., 129 F. App'x 146, 153 (6th

 Cir. 2005).

        In the event this Court declines to deny the City’s Motion and consider imposing

 Rule 11 sanctions under Rule 11(b)(3) it must first conduct an evidentiary hearing to

 make credibility determinations for Plaintiffs’ witnesses. See, e.g., Donaldson v. Clark, 819

 F.3d 1551, 1561 (11th Cir. 1987) (“when a court is asked to resolve an issue of credibility

 ...the risk of an erroneous imposition of sanctions under limited procedures and the

 probably value of additional hearing are likely to be greater.”) A hearing is further

 required in light of the draconian, punitive, and unprecedented nature of the City of

 Detroit’s proposed sanctions: “[T]he more serious the possible sanction both in

 absolute size and in relation to actual expenditures, the more process that will be

 due.” Id. (emphasis added). Moreover, “[w]hen, as here, the case was dismissed

 without a trial, due process may require some kind of hearing.” Davis v. Crush, 862 F.2d

 84, 89 (6th Cir. 1988) (internal quotations omitted).




                                              29

                                                                                   Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4140
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 312 Page
                                                                     of 1677
                                                                           31 of 48




       B. Plaintiffs Provided Adequate Evidentiary Support for Factual
 Allegations and/or Would Have After Reasonable Opportunity for Further
 Investigation or Discovery
        The standard is more importantly, to survive a motion to dismiss, respondents

 need only allege “enough facts to state a claim to relief that is plausible on its face.”

 Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45, 131 S. Ct. 1309, 1322, 179 L. Ed. 2d

 398, 413, (2011) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955,

 167 L. Ed. 2d 929 (2007). Nevertheless, the City begins its motion with language that

 claims Plaintiffs have “lied,” to this court.        Such outrageous and unprofessional

 allegations are entirely unacceptable. The City cannot back up its absurd allegation.

 Proffering expert reports that are disputed by plaintiffs’ experts does not make counsel

 liars. And, if this were simply the ranting of a third rate five-man Detroit law firm, we

 would dismiss this behavior as pathetic unprofessionalism. But these are the dirty,

 media-attention hungry, slanderous and completely out-of-bounds statements by

 representatives of the City of Detroit. It should not be countenanced by this Court.

        Rule 11 specifically says, “(d) Inapplicability to Discovery. This rule does not apply to

 disclosures and discovery requests, responses, objections, and motions under Rules 26 through

 37. USCS Fed Rules Civ Proc R 11(d). None of the allegations and evidence proffered

 by the plaintiffs were allowed to be developed through discovery. None of the defense

 witnesses or evidence were permitted to be tested through discovery. Awarding Rule

 11 sanctions on such a bare record is unprecedented and wrong.



                                               30

                                                                                     Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4141
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 313 Page
                                                                     of 1677
                                                                           32 of 48




       The Amended Complaint presented expert witness testimony demonstrating that

 several hundred thousand illegal, ineligible, duplicate or purely fictitious votes must be

 thrown out, in particular:

           A. A report from Russell Ramsland, Jr. showing the “physical impossibility”
           of nearly 385,000 votes injected by four precincts/township on November 4,
           2020, that resulted in the counting of nearly 290,000 more ballots processed
           than available capacity (which is based on statistical analysis that is
           independent of his analysis of Dominion’s flaws), a result which he
           determined to be “physically impossible” (see Ex. 104 ¶14);
           B. A report from Dr. Louis Bouchard finding to be “statistically impossible”
           the widely reported “jump” in Biden’s vote tally of 141,257 votes during a
           single time interval (11:31:48 on November 4), see Ex. 110 at 28);
           C.      A report from Dr. William Briggs, showing that there were
           approximately 60,000 absentee ballots listed as “unreturned” by voters that
           either never requested them, or that requested and returned their ballots. (See
           Ex. 101);
           D. A report from Dr. Eric Quinell analyzing the anomalous turnout figures
           in Wayne and Oakland Counties showing that Biden gained nearly 100% and
           frequently more than 100% of all “new” voters in certain
           townships/precincts over 2016, and thus indicated that nearly 87,000
           anomalous and likely fraudulent votes came from these precincts. (See Ex.
           102);
           E. A report from Dr. Stanley Young that looked at the entire State of
           Michigan and identified nine “outlier” counties that had both significantly
           increased turnout in 2020 vs. 2016 almost all of which went to Biden totaling
           over 190,000 suspect “excess” Biden votes (whereas turnout in Michigan’s 74
           other counties was flat). (See Ex. 110);
           F.     A report from Robert Wilgus analyzing the absentee ballot data that
           identified a number of significant anomalies, in particular, 224,525 absentee
           ballot applications that were both sent and returned on the same day, 288,783
           absentee ballots that were sent and returned on the same day, and 78,312 that
           had the same date for all (i.e., the absentee application was sent/returned on
           same day as the absentee ballot itself was sent/returned), as well as an


                                             31

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4142
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 314 Page
                                                                     of 1677
                                                                           33 of 48




           additional 217,271 ballots for which there was no return date (i.e., consistent
           with eyewitness testimony described in Section II below). (See Ex. 110);
           G. A report from Thomas Davis showing that in 2020 for larger Michigan
           counties like Monroe and Oakland Counties, that not only was there a higher
           percentage of Democrat than Republican absentee voters in every single one
           of hundreds of precinct, but that the Democrat advantage (i.e., the difference
           in the percentage of Democrat vs. Republican absentee voter) was consistent
           (+25%-30%) and the differences were highly correlated, whereas in 2016 the
           differences were uncorrelated. (See Ex. 110); and
           H. A report by an affiant whose name must be redacted to protect his safety
           who concludes that “the results of the analysis and the pattern seen in the
           included graph strongly suggest a systemic, system-wide algorithm was
           enacted by an outside agent, causing the results of Michigan’s vote tallies to
           be inflated by somewhere between three and five point six percentage
           points. Statistical estimating yields that in Michigan, the best estimate of the
           number of impacted votes is 162,400. However, a 95% confidence interval
           calculation yields that as many as 276,080 votes may have been impacted.”
           (See Ex. 111 ¶13).
 (See ECF 6, Pls. Am. Compl. at par. 16). And Plaintiff’s December 4, 2020 response

 included signed and sworn Rebuttal sworn statements in response to Defendant-

 Intervenor’s response, from Plaintiffs’ expert witnesses, Russell Ramsland, William

 Briggs, Eric Quinell, and expert testimony submitted under seal. (See ECF No. 49,

 Exhs. 1-4).


 Young and Quinell


       The language invoked by Defendants is largely inappropriate in their attack on

 Dr. Young and Dr. Quinell. Defendants argue generally and broadly that these highly

 qualified individuals submitted reports that are “sloppy” and show “incomprehensible

 ignorance.” (See ECF No. 78, p. 19). While Defendants are not examining these

                                            32

                                                                                Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4143
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 315 Page
                                                                     of 1677
                                                                           34 of 48




 witnesses before a trier of fact they appear instead to seek to prejudice the court with

 hyperbole, without a counter expert or even a citation to published expert

 literature. Dr. Quinell holds a Ph.D. in computer arithmetic and is an electrical engineer

 who works in silicon computation devices and herein opines on a mathematical

 anomaly. In a reply that was submitted to this court Dr Quinell explained:

       These mathematical anomalous vote gains, until explained and/or
       investigated are of a large enough quantitative magnitude and
       consequence that the barrier of speculation should be held to engineering
       and mathematical standards, not to those of political science and editorial
       publications.

       In statistics, any “new population” may be added and absorbed to the
       whole- this population seems to have 8,000 voters who didn’t appear in
       2016 that parachuted in and voted 80 Dem/ 20 Rep – which is in complete
       opposition to Troy’s moderate voting history. In a technique called
       “resampling”, any new population that is added to an existing one is
       expected to behave and slightly change the behavior of the existing mass,
       testable by re-simulating the same dataset with the existing distribution
       mathematical qualities. Resampling in this case puts this new population
       deep into the tail of its own distribution, indicating again a completely new
       phenomena that needs explaining. Why would a populous increase its
       own turnout by 15% over 2016, and 98% of that go to one
       candidate? Mathematically this behavior is anomalous to its own dataset.

       What “literature” exists to explain that absentee ballot requests are a single
       variable – with a perfect scalar multiple of Democrats above Republicans
       – with a Pearson coefficient of 0.797? Every precinct where a Republican
       voted by absentee guaranteed roughly 1.7 Democrats to vote absentee,
       regardless of precinct. This “national phenomenon” of mathematically
       non-independent variables is not ubiquitous in all the Michigan counties
       nor in national data…

 (See ECF 49-2, pp. 4-6).




                                             33

                                                                                 Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4144
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 316 Page
                                                                     of 1677
                                                                           35 of 48




       The City’s bald and toothless disagreement with the experts cited, would at best

 become a question for a trial or evidentiary hearing through the cross-examination of a

 witness. It is not a basis for a Rule 11 motion.

 Spyder/Spider

       Defendants attack the Declarant known as Spider because they attack his

 background - despite the fact that they have not deposed him or otherwise examined

 him. Spider’s identity and credentials were required to be withheld. In Plaintiffs’

 motion to file under seal [ECF No. 8] the reasons were explained. Nevertheless,

 defendants do not address the substance of Spider’s 17-page report filled with analysis

 and evidence. Instead they simply attack his credentials. This is not a basis upon which

 to grant a Rule 11 motion.


 Russell James Ramsland


       Defendants address Russell James Ramsland and allege that “the Secretary of

 State report is not even discussed.” And based on this assumption, and lack of genuine

 research, Defendants proceed to allege that he makes false claims. (See ECF No. 78, p.

 21). Yet, Mr. Ramsland already responded to the same points raised by defendants’

 expert, Dr. Rodden, and stands by his conclusions. (See Ramsland Reply Report, Docket

 No 49, Ex. 3 at par 6, filed 12/3/2020). He specifically addresses and thoroughly

 documents the lack of evidence for the Secretary of State’s conclusion and summarizes:



                                            34

                                                                              Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4145
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 317 Page
                                                                     of 1677
                                                                           36 of 48




         We do not believe that the Secretary of State report addresses this and
         states the issue at the time was not on the printed totals tape. The Secretary
         even states “Because the Clerk correctly updated the media drives for the
         tabulators with changes to races, and because the other tabulators did not
         have changes to races, all tabulators counted ballots correctly.” This is not
         the case.
  (See Id. at p. 12).

  The report later summarizes:


         If this had been a user setup issue, then the test ballots they run to verify
         the results they get by comparing them with the test matrix should have
         caught that. When they made the software change that that used to
         tabulate the 11/6/20 rerun, there should be a log of the test ballots run
         through the system and verified against the test matrix. This alone might
         not show fraud, but it is a crucial part of the software configuration
         validation process and apparently was not done. We believe to a
         reasonable degree of professional certainty that this shows fraud and that
         vote changing at the local tabulator level has occurred due to a software
         change in all precincts were Dominion software was used in Michigan.
         This small sample amplified in a large population area would have major
         results. Without the explanation of why there was a re-tabulation, why the
         issue of numbers being off to a significant degree when a vote change was
         noted, and no further investigation occurred – and when 3 ballots were
         removed from the totals that changed the final outcome of one proposal,
         constitutes a definitive indication of fraud.
  (See Id. p. 13).

         Mr. Ramsland also addresses the “event” reflected in the data are “4 spikes

 totaling 384,733 ballots allegedly processed in a combined interval of 2 hour[s] and 38

 minutes” for four precincts/townships in four Michigan counties (Wayne, Oakland,

 Macomb, and Kent). Id. Based on Mr. Ramsland’s analysis of the voting machines

 available at the referenced locations, he determined that the maximum processing

 capability during this period was only 94,867 ballots, so that “there were 289,866 more
                                              35

                                                                                   Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4146
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 318 Page
                                                                     of 1677
                                                                           37 of 48




 ballots processed in the time available for processing in the four precincts/townships,

 than there was processing capacity.” Id. This amount alone is nearly twice the

 number of ballots by which Biden purportedly leads President Trump (i.e.,

 154,188). (See Am. Compl. at pars. 144-145).

        Mr. Ramsland further explains in depth in his declaration, which Defendants do

 not raise or discuss that:

        Mr. Ramsland’s analysis of the raw data, which provides votes counts,
        rather than just vote shares, in decimal form provides highly probative
        evidence that, in his professional opinion, demonstrates that Dominion
        manipulated votes through the use of an “additive” or “Ranked Choice
        Voting” algorithm (or what Dominion’s user guide refers to as the “RCV
        Method”). See id. at ¶12.[1] Mr. Ramsland presents the following example
        of this data – taken from “Dominion’s direct feed to news outlets” – in
        the table below. Id.

        Mr. Ramsland describes how the RCV algorithm can be implemented, and the

 use of fractional vote counts as evidence, with decimal places, rather than whole

 numbers, in demonstrating that Dominion did just that to manipulate Michigan votes.

        For instance, blank ballots can be entered into the system and treated as
        “write-ins.” Then the operator can enter an allocation of the write-ins
        among candidates as he wishes. The final result then awards the winner
        based on “points” the algorithm in the compute, not actual votes. The
        fact that we observed raw vote data that includes decimal places suggests
        strongly that this was, in fact, done. Otherwise, votes would be solely
        represented as whole numbers. Below is an excerpt from Dominion’s




                                           36

                                                                             Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4147
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 319 Page
                                                                     of 1677
                                                                           38 of 48




        direct feed to news outlets showing actual calculated votes with
        decimals. Id.3

 (See ECF 6, Am. Compl. at ¶ ¶ 140-141).


 William Briggs / Matt Braynard

        Defendants spend the better part of three full pages in this motion for sanctions,

 disbarment and referral to disciplinary bodies, attacking the credibility of Dr. Briggs, a

 Ph.D. statistician, with over 100 peer reviewed publications and yet, quite tellingly

 Defendants did not mention the most pertinent and important part of Dr.

 Briggs’ analysis. (See ECF No. 78 at pp. 39-43). This was the estimate for how many

 ballots went missing, calculated from answers to the question (in short) "Did you return

 your ballot?" There can be no arguable ambiguity in that question. Dr. Briggs estimated

 that between about 28 to 35 thousand votes were returned but never recorded in

 Michigan. This represents significant voter disenfranchisement --which cannot be

 ignored.

     a. Plaintiffs’ Counsel Have Not Acted “Unreasonably or Vexatiously,” or
        Engaged in Any Reckless or Intentional Misconduct to Delay or Increase
        Defendants’ Costs.




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  See id. (quoting Democracy Suite EMS Results Tally and Reporting User Guide, Chapter 11, Settings
 11.2.2., which reads, in part, “RCV METHOD: This will select the specific method of tabulating
 RCV votes to elect a winner.”).



                                                 37

                                                                                        Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4148
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 320 Page
                                                                     of 1677
                                                                           39 of 48




         Even assuming arguendo that this claim were not barred as a matter of law, the

 State Defendants failed to allege that any specific conduct by Plaintiffs’ counsel, or

 factual allegation or legal claim in the pleadings, that could qualify as “unreasonabl[e]

 or vexatious[],” as required under Section 1927, or any specific reckless, bad faith or

 intentional misconduct required under controlling Sixth Circuit precedent.

         Instead, the State Defendants simply make blanket assertions that Plaintiffs’

 counsel has filed a “frivolous lawsuit” and “raised false allegations and pursued

 unsupportable legal theories.” ECF No. 78 at 44.

         Finally, the State Defendants engage in their own unsupported speculation that

 Plaintiffs’ co-counsel filed this lawsuit “hoping not to prevail but to damage

 democracy,” ECF No. 23, a reckless and defamatory claim. This highlights the lack of

 specificity in these allegations, with a blanket demand against all counsel whereas

 liability under Rule 11 is direct, and not vicarious.

    b. Many other attorneys, witnesses and legislative representatives have
       raised election integrity issues in the Presidential Election of 2020.
       Public reports have also highlighted wide-spread election fraud in the Contested

 States that prompted competing Electors’ slates.[1] In the Navarro report, it is shown

 that:


 At midnight on the evening of November 3, and as illustrated in Table 1, President
 Trump was ahead by more than 110,000 votes in Wisconsin and more than 290,000
 votes in Michigan. In Georgia, his lead was a whopping 356,945; and he led in
 Pennsylvania by more than half a million votes. By December 7, however, these wide
 Trump leads would turn into razor thin Biden leads –11,779 votes in Georgia, 20,682
 votes in Wisconsin, 81,660 votes in Pennsylvania, and 154,188 votes in Michigan.

                                              38

                                                                               Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4149
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 321 Page
                                                                     of 1677
                                                                           40 of 48




 Id., Table 1: A Trump Red Tide Turns Biden Blue4


        There was an equally interesting story unfolding in Arizona and Nevada.
        While Joe Biden was ahead in these two additional battleground states on
        election night –by just over 30,000 votes in Nevada and less than 150,000
        votes in Arizona.
 Id.

        Most recently, an attorney in Catania, Italy, Prof. Alfio D’Urso, testified that the

 US presidential election results were hacked and changed by foreign actors on

 November 4, 2020 and that a cyber operator was criminally charged for his role in

 admitted testimony of switching votes from Donald Trump to Joe Biden:


        Arturo D’Elia, former head of the IT Department of Leonardo SpA has
        been charged by the public prosecutor of Naples, Italy for technology / data
        manipulation and implementation, of viruses in main computers of Leonardo
        SpA. December 20, 2020. D’Elia has been deposed by the presiding judge in
        Naples, and in sworn testimony states that on 4 11 20, under instruction and
        direction of U.S. persons working from the U.S. Embassy in Rome, [he]
        undertook the operation to switch data from the U.S. election of 3 Nov. 20
        from significant margin of victory for Donald Trump to Joe Biden in a
        number of states where Joe Biden was losing the vote totals. Defendant
        states that he was working in Pascara facility of Leonardo SpA and utilized
        military grade cyber warfare encryption capabilities to transmit switched votes
        via military satellite of Fucino Tower to Frankfurt Germany...
 This Testimony is available and in an attached written affidavit. (See Exh. B).




 4
  See EXH. A, copy of Immaculate Deception, Six Key Dimensions of Election Irregularities, The
 Navarro Report, available at: https://bannonswarroom.com/wp-content/uploads/2020/12/The-
 Immaculate-Deception-12.15.20-1.pdf


                                               39

                                                                                     Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                        PageID.4150
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 322 Page
                                                                     of 1677
                                                                           41 of 48




       Defendants seek to allege, in a nutshell, that Plaintiffs filed a frivolous claim or

 it must be false, (similar to a res ipsa argument) because CISA issued a statement on

 November 12, 2020 that “the November 3rd Election was the most secure in American

 history.” (See ECF No. 78 at p. 8, f.n. 12). But12 days earlier CISA had issued a joint

 statement with the FBI, entitled a JOINT CYBERSECURITY ADVISORY ON

 October 30, 2020 titled:


 Iranian Advanced Persistent Threat Actor Identified Obtained Voter
 Registration Data
       This joint cybersecurity advisory was coauthored by the Cybersecurity and
       Infrastructure Security Agency (CISA) and the Federal Bureau of
       Investigation (FBI). CISA and the FBI are aware of an Iranian
       advanced persistent threat (APT) actor targeting U.S. state websites
       to include election websites. CISA and the FBI assess this actor is
       responsible for the mass dissemination of voter intimidation emails
       to U.S. citizens and the dissemination of U.S. election-related
       working on the computers. disinformation in mid-October 2020.1
       (Reference FBI FLASH message ME-000138-TT, disseminated October
       29, 2020). Further evaluation by CISA and the FBI has identified the
       targeting of U.S. state election websites was an intentional effort to
       influence and interfere with the 2020 U.S. presidential election.
 (See ECF 6, Pls. Am. Compl. (citing Ex. 18 at 1, CISA and FBI Joint Cyber
 Security Advisory of October 30, 2020)).


 Notably, on January 7, 2021 the Director of National Intelligence issued a report titled,

 “Views on Intelligence Community Election Security Analysis” which concludes:


       In that same spirit, I am adding my voice in support of the stated minority
       view – based on all available sources of intelligence, with definitions
       consistently applied, and reached independent of political considerations
       or undue pressure – that the People’s Republic of China sought to

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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4151
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 323 Page
                                                                     of 1677
                                                                           42 of 48




       influence the 2020 U.S. federal elections, and raising the need for the
       Intelligence Community to address the underlying issues with China
       reporting outlines above.
 (See Exh. C, Copy of DNI report 01/07/21)
         Yet, this appeared as a non-partisan issue back in late December of 2019, when

 three Democrat Senators, Warren, Klobuchar, Wyden, and House Member Mark Pocan

 wrote about their ‘particularized concerns that secretive & “trouble -plagued

 companies”’ “have long skimped on security in favor of convenience,” in the context

 of how they described the voting machine systems that three large vendors – Election

 Systems & Software, Dominion Voting Systems, & Hart InterCivic – collectively

 provide voting machines & software that facilitate voting for over 90% of all eligible

 voters in the U.S.” (See Am. Compl. At p. 59, pars. G and H). Senator Ron Wyden

 (D-Oregon) said the findings [insecurity of voting systems] are “yet another damning

 indictment of the profiteering election vendors, who care more about the bottom line than protecting our

 democracy.” It’s also an indictment, he said, “of the notion that important cybersecurity decisions

 should be left entirely to county election offices, many of whom do not employ a single cybersecurity

 specialist.” (See Id.5).

         Indeed, the House was highly critical of election integrity risks and passed H.R.

 2722 on June 27, 2019: This bill addresses election security through grant programs and

 requirements for voting systems and paper ballots.


 5
   Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official Denials,
 Motherboard Tech by Vice, by Kim Zetter, August 8, 2019, https://www.vice.com/en/article/3kxzk9/exclusive-
 critical-us-election-systems-have-been-left-exposed-online-despite-official-denials
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                                                                                               Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4152
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 324 Page
                                                                     of 1677
                                                                           43 of 48




 The bill establishes requirements for voting systems, including that systems (1) use individual, durable,
 voter-verified paper ballots; (2) make a voter's marked ballot available for inspection and
 verification by the voter before the vote is cast; (3) ensure that individuals with disabilities are given an
 equivalent opportunity to vote, including with privacy and independence, in a manner that produces a
 voter-verified paper ballot; (4) be manufactured in the United States; and (5) meet specified cybersecurity
 requirements, including the prohibition of the connection of a voting system to the internet.
 (See Congress.gov/H.R. 2722).

         The Michigan state Senate Oversight Committee held the hearing in or about

 early December, which included testimony from a former senator with expertise on

 data and technology who explained that the Voting machines were connected to the

 internet in Detroit. The witness spoke to the committee under oath about voting by

 dead people, a truck full of ballots coming into the counting center long after the

 deadline, and vulnerable voting machines[2]. Further, testimony among others

 including evidence of voters who voted absentee but had fake addresses or were

 deceased. Id.

         “What I can say for sure, and swear to you here today, is that overall, 8.9%
         of the 30,000 absentee ballots that we’ve gone through and
         investigated, just in the city of Detroit, were unqualified, fraudulent
         ballots that should have been spoiled,” Schornak said. He extrapolated
         about how the 30,000 sample could reflect on all of the absentee votes
         cast. “At the lowest levels, if these percentages carry through, this means
         of the 172,000 [absentee votes] in the city of Detroit, 1,300 of them could
         be deceased,” he told the senators. “We are investigating it. And another
         15,000 could have fraudulent addresses, described as living on vacant lots
         or [in] burnt-down houses.”
         The claims of fraud in Michigan have gained widespread attention and attacks

 on witnesses credibility such as when the Michigan Oversight Committee heard from a

 witness who was an IT specialist for Dominion Voting Systems and she appeared and

                                                      42

                                                                                                 Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4153
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 325 Page
                                                                     of 1677
                                                                           44 of 48




 described what she called “complete fraud” at Detroit’s TCF Center[3]. She described

 the same ballots being repeatedly rescanned over and over. Id. While she is not an

 affiant in this case, this reflects Michigan’s Oversight Committee took statements from

 many people because the complaints on the lack of integrity reached far and wide within

 Michigan and within the Contested States.

        More recently, John Lott, Ph.D. recently did a study, first published in late

 December 2020 and updated January 6, 2021 called “A Simple Test for the Extent of Vote

 Fraud with Absentee Ballots in the 2020 Presidential Election: Georgia and Pennsylvania Data.”

 (See Exh D, copy of Dr. Lott’s Study). Dr. Lott’s conclusion addresses Michigan and

 other contested states:

        … The voter turnout rate data provides stronger evidence that there are
        significant excess votes in Arizona, Michigan, Nevada, and Wisconsin as
        well. While the problems shown here are large, there are two reasons to
        believe that they are underestimates: 1) the estimates using precinct level
        data assume that there is no fraud occurring with in-person voting and 2)
        the voter turnout estimates do not account for ballots for the opposing
        candidate that are lost, destroyed, or replaced with ballots filled out for
        the other candidate.

        We highlight the wide-spread complaints of election fraud separate and apart of

 Plaintiffs’ filing and evidence to show that many people have submitted evidence of

 reports and eye-witness testimony of fraud in the 2020 election.

        The State of Texas, along with Alabama, Arizona, Arkansas, Florida, Indiana,

 Kansas, Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota,

 Oklahoma, South Carolina, South Dakota, Tennessee, Utah and West Virginia, sued

                                              43

                                                                                    Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4154
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 326 Page
                                                                     of 1677
                                                                           45 of 48




 the Defendant states, Michigan, Wisconsin, Georgia and the Commonwealth of

 Pennsylvania alleging that each of the Defendant states had election irregularities. (See

 Response to 1927 Motion).

    c. Moreover, Plaintiffs’ Complaint plead facts that the Defendant City does
       not actually dispute many facts plead in the Complaint.

              The first red flag is the Antrim County, Michigan “glitch” that
              switched 6,000 Trump ballots to Biden, and that was only
              discoverable through a manual hand recount. See supra Paragraph
              94. The “glitch” was later attributed to “clerical error” by
              Dominion and Antrim Country, presumably because if it were
              correctly identified as a “glitch”, “the system would be required to
              be ‘recertified’ according to Dominion officials. This was not
              done.” (See Am. Compl. at par. 136) (citing Exh. 104, Ramsland Aff.
              at ¶10. Mr. Ramsland points out that “the problem most likely did
              occur due to a glitch where an update file did not properly
              synchronize the ballot barcode generation and reading portions of
              the system.” Id. Further, such a glitch would not be an
              “isolated error,” as it “would cause entire ballot uploads to
              read as zero in the tabulation batch, which we also observed
              happening in the data (provisional ballots were accepted properly
              but in-person ballots were being rejected (zeroed out and/or
              changed (flipped)).” Id. Accordingly, Mr. Ramsland concludes that
              it is likely that other Michigan counties using Dominion may “have
              the same problem.” Id. (See Am. Compl. at par. 136)

              Tabulator issues and election violations occurred elsewhere in
              Michigan reflecting a pattern, where multiple incidents
              occurred. In Oakland County, votes flipped a seat to an incumbent
              Republican, Adam Kochenderfer, from the Democrat challenger
              when: “A computer issue in Rochester Hills caused them to send
              us results for seven precincts as both precinct votes and absentee
              votes. They should only have been sent to us as absentee votes,”
              Joe Rozell, Oakland County Director of Elections for the City of
              Huntington Woods, said.[4] (See Am. Compl. at pars. 131-132).
              The Oakland County flip of votes becomes significant because it
              reflects a second systems error, wherein both favored the
              Democrats, and precinct votes were sent out to be counted,
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                                                                               Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4155
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 327 Page
                                                                     of 1677
                                                                           46 of 48




              and they were counted twice as a result until the error was caught
              on a recount. Precinct votes should never be counted outside of
              the precinct, and they are required to be sealed in the precinct. See
              generally, MCLS § 168.726. (See Id).
        These are just a few of the specific facts cited by Plaintiffs, which are not

 genuinely disputed, while Defendants cite to the Secretary of State’s opinion on a

 systems error, but Plaintiffs submit with both expert testimony in support, and the

 undisputed facts that two such incidents of “error” instead reflect evidence of a pattern

 of defects in the voting systems machines of tabulating ballots favoring one candidate

 not the other. Rather than allowing for a full investigation, these two well documented

 and known incidents -- which also include the legal violation of counting precinct

 ballots outside of the precinct, were instead summarily dismissed rather than reviewed

 substantively. The sheer gravity of those claims, and their implications on the integrity

 of our electoral system, justified counsel in pursuing every arguably permissible avenue

 to assist Plaintiffs in seeking redress.

    d. The State Defendants Failed to Identify Any “Discrete Acts of
       Misconduct” That Could Have Caused the City to Incur Any Additional
       Costs.
        As shown above, the City has not identified any “discrete acts of claimed

 misconduct,” Ruben, 825 F.2d at 990, much less shown that such purported misconduct

 “cause[d] additional expenses to” the City.” Id. at 984. Blanket and defamatory

 assertions cannot meet this requirement. In any case, all of City’s expenses are due to

 the City’s voluntary and unnecessary intervention in this proceeding. The City was not

 named as a party defendant to this action, but rather requested to intervene on its own

                                            45

                                                                               Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4156
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 328 Page
                                                                     of 1677
                                                                           47 of 48




 motion following Plaintiffs’ filing of the initial complaint. (ECF No. 5). Indeed, neither

 the City, nor the other intervenors were a party to this action until this Court granted

 its motion to intervene by order entered December 2, 2020 (ECF No. 28), after

 Plaintiffs’ First Amended Complaint had already been filed. As a result, they do not

 have standing to make this claim, and even if the City could demonstrate that either the

 Complaint or the First Amended Complaint’s filing satisfied § 1927 (which it cannot),

 it cannot trace any expense to Plaintiffs’ counsel’s filing of the complaint. Since the City

 entered this litigation on its own motion after the action was already instituted, any

 sanctions must arise out the City’s expense resulting from some unreasonable and

 prolonging conduct occurring on or after the entry of Court’s order of December 2,

 2020.

 Plaintiffs’ counsel has not only done nothing to delay this proceeding, they have in fact

 taken every reasonable measure to expedite, and then to terminate the proceeding once

 their claims were no longer viable. This Court granted the request for expedited

 briefing, ECF No. 24, and based solely on the initial pleadings and responses, dismissed

 the TRO Motion a mere eight days later on December 7, 2020. ECF No. 62. Further,

 Plaintiffs have expeditiously, and concurrently within the 21 days of the service of the

 motion herein, moved for voluntary dismissal of the November 29, 2020 Amended

 Complaint, ECF No. 6.


                                     CONCLUSION


                                              46

                                                                                  Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
                            Document
                                No. 95,35-2
                                        PageID.4157
                                            Filed 05/03/21
                                                      Filed 01/19/21
                                                            Page 329 Page
                                                                     of 1677
                                                                           48 of 48




        For all the foregoing reasons, the Plaintiffs and their counsel respectfully request

 that this Honorable Court deny the State Defendants’ motions for an award of

 sanctions and attorneys’ fees Rule 11. (ECF 78 and 84). Moreover, the City of Detroit

 should be ordered to pay Plaintiffs’ legal fees for opposing this motion pursuant to

 Federal Rule of Civil Procedure 11(c)(2).




                                          Respectfully submitted,


                                             /s/ Stefanie Lambert Junttila
                                             STEFANIE LAMBERT JUNTTILA
                                             (P71303)
                                             Attorney for the Plaintiffs
                                             500 Griswold Street, Ste. 2340
                                             Detroit, MI 48226
                                             (313) 963-4740
                                             attorneystefanielambert@gmail.com




                                              47

                                                                                 Exhibit F
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                            Filed 05/03/21
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                                                                 330 ofPage
                                                                        16771 of 22




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES
  DAVID HOOPER and DAREN WADE
  RUBINGH,                      No. 2:20-cv-13134


               Plaintiffs,                         Hon. Linda V. Parker

    v.




  GRETCHEN WHITMER, in her official
  capacity as Governor of the State of Michigan,
  et al,

              Defendants,

   and

  CITY OF DETROIT, et al,

              Intervenor-Defendants.

           THE CITY OF DETROIT’S REPLY IN SUPPORT OF
         MOTION FOR SANCTIONS, FOR DISCIPLINARY ACTION,
         FOR DISBARMENT REFERRAL AND FOR REFERRAL TO
                 STATE BAR DISCIPLINARY BODIES




                                                                          Exhibit G
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                            Filed 05/03/21
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                                                                 331 ofPage
                                                                        16772 of 22




       Let there be no mistake, there is blood on Lin Wood and Sidney Powell’s

 hands and on the hands of all those who pushed this lawsuit. Brian Sicknick, a Trump

 supporting Capitol Police Officer, died defending the Capitol against those who were

 deranged by Plaintiffs’ counsel and their ilk. Ex. 1. Rosanne Boyland, of Kennesaw,

 Georgia, who fell prey to the election lies, was crushed to death by fellow rioters.

 Id. The life of Ashli Babbitt, a 35-year-old Air Force veteran from California, was

 cut short because she tragically believed the lies spread in this lawsuit. Id. Ms.

 Babbitt’s final tweet was a retweet of L. Lin Wood stating, “Mike Pence@vp

 @Mike_Pence must resign & thereafter be charged with TREASON,” and “Chief

 Justice John Roberts must RESIGN.” Ex. 2. As the rioters stormed the Capitol, they

 created makeshift gallows and screamed for the hanging of Mike Pence. Ex. 3.

 Meanwhile, Wood was tweeting “1776 Again,” “the time has come Patriots … Time

 to take back our country … Time to fight for our freedom.” Ex. 4. “WE TRIED TO

 WARN THEM … YOU COULD HAVE PREVENTED THIS,” he wrote. Ex. 5 (all

 caps in original). Sidney Powell approvingly retweeted someone calling the assault

 a “last resort to petition the government for grievances.” Ex. 6.

       Instead of accepting responsibility for their part inciting the mob, both Powell

 and Wood quickly pivoted to assigning blame to others: Powell tweets “It’s

 #Antifa.” Ex. 7. Wood started the rumor that Antifa activists were behind the

 violence by posting photos of two of the rioters which were on the website of a local

                                           1

                                                                            Exhibit G
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                            Filed 05/03/21
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                                                                 332 ofPage
                                                                        16773 of 22




 Antifa group. Ex. 8. Wood, of course, did not advise his 800,000 followers that the

 photos were from pages on the website which identified known white supremacists.

 Ex. 9. Wood then tried to claim that Ms. Babbitt’s death was a “false flag” operation

 to “frame” him. Ex. 10. He also continued unabated, posting to “free speech” website

 Parler that “Mike Pence is a dark soul … [h]e uses 13, 14, & 15 year old boys for

 his own self-serving purposes ….” Ex. 11.

            Even though Plaintiffs voluntarily dismissed their lawsuit on the day they

 would have had to defend it on the merits, they chose to use their Response brief to

 repeat their misrepresentations. They continue to assert all of their false claims and

 add more. They even accuse the City of filing its Motion for Sanctions “to distract

 from explosive evidence of voter fraud”-- evidence that has not been presented here

 or        anywhere    else.   An   attorney   sincerely   withdrawing    or   correcting

 misrepresentations in compliance with Rule 11 would not repeat those false claims.

            Plaintiffs and their counsel appear dangerously incapable of understanding the

 consequences of their actions. They are unrepentant and refuse to correct the damage

 they helped create. Plaintiffs, and, more importantly, their attorneys, must face the

 most severe consequences available to this Court.

      I.       Plaintiffs’ “Procedural” and Safe Harbor Arguments Fail
            Plaintiffs make several “procedural arguments” arguing against sanctions

 under Fed. R. Civ. P. 11. Each argument is misplaced.


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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                         PageID.4183
                                            Filed 05/03/21
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                                                                 333 ofPage
                                                                        16774 of 22




           A. Signatures

       Incredibly, in a Response intended to prove that they have not misrepresented

 facts to this Court, Plaintiffs repeatedly misrepresent other facts. Plaintiffs falsely

 claim that only the Michigan attorneys signed the sanctionable pleadings and

 motions. See Response, PageID.4118. This is blatantly false, and it is mindboggling

 that these attorneys misrepresent facts about their own actions. The Complaint was

 signed by Michigan attorneys Scott Hagerstrom and Gregory Rohl, and it was also

 signed by Sidney Powell. ECF No. 1, PageID.75. It also included signature blocks

 for Lin Wood, Howard Kleinhendler, Emily Newman and Julia Haller:




 Id.



                                           3

                                                                             Exhibit G
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 103,
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                                                                 334 ofPage
                                                                        16775 of 22




        The First Amended Complaint was signed by the same two Michigan

 attorneys and by Sidney Powell, with signature blocks for the other attorneys. ECF

 No. 6, PageID.957. The Emergency Motion for Temporary Restraining Order was

 signed by Sidney Powell, with secondary signatures from the two Michigan

 attorneys and a signature block for Howard Kleinhendler. ECF No. 7, PageID.1847-

 49. The Emergency Motion to Seal was signed by Sidney Powell. ECF No. 8,

 PageID.1854. The Reply in support of the TRO was signed by Sidney Powell, again

 with secondary signatures by the Michigan attorneys. ECF No. 49, PageID.3098.

 The Petition for Writ of Certiorari was signed by Howard Kleinhendler, with

 signature blocks for the other attorneys identified above and a new one for Stefanie

 Lambert Junttila. Ex. 12.1

       Irrespective of this extraordinary misrepresentation, Plaintiffs’ legal argument

 is dead wrong. They rely entirely on case law interpreting the 1983 version of the

 Rule (Oliveri (2nd Cir. 1986), Giebelhaus (9th Cir. 1991), In re Ruben (6th Cir.

 1987) and White v. American Airlines (10th Cir. 1990))2 while failing to

 acknowledge that Rule 11 was fundamentally altered in 1993 in a manner that



       1
          To the extent Plaintiffs are suggesting that Rule 11 does not apply because
 signature lines were typewritten, Rule 11 would be a dead letter. Today, almost all
 attorney signatures on court filings are electronic signatures.
        2
          Oliveri v. Thompson, 803 F.2d 1265 (2nd Cir. 1986); Giebelhaus v. Spindrift
 Yachts, 938 F.2d 962 (9th Cir. 1991); In re Ruben, 825 F.2d 977 (6th Cir. 1987);
 White v. American Airlines, Inc., 915 F.2d 1414 (10th Cir. 1990).
                                            4

                                                                            Exhibit G
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                                                 335 ofPage
                                                                        16776 of 22




 renders their cited case law wholly inapposite. Based on the pre-1993 case law,

 Plaintiffs argue that courts may only sanction the attorney who signs a paper or the

 parties. However, the modern version of Rule 11(c) changes the paradigm; the

 sanctions in 11(c) now specifically apply not to violations of 11(a), which relates to

 signatures, but to violations of 11(b), which is not concerned with who signs a

 document. The requirements of 11(b) unambiguously apply to anyone who presents

 “to the court a pleading, written motion, or other paper—whether by signing, filing,

 submitting, or later advocating it ….” FRCP 11(b). While the 1983 version restricted

 sanctions to the signing attorney and the represented party, the current Rule states

 that if “the court determines that Rule 11(b) has been violated, the court may impose

 an appropriate sanction on any attorney, law firm, or party that violated the rule or

 is responsible for the violation.” Rule 11(c)(1) (emphasis added).3 The reference to

 11(b) makes clear that no longer are signatories or parties solely responsible for

 filings; responsibility now extends to any attorney involved in a case who advocates

 for a filing with an improper purpose, with unwarranted legal contentions, or with

 facts without evidentiary support. See, e.g., U.S. Bank Nat. Ass’n, N.D. v. Sullivan-

 Moore, 406 F.3d 465, 471 (7th Cir. 2005); In re Lane, 604 B.R. 23, 31 (B.A.P. 6th



       3
          The Advisory Committee on Rules’ note on the 1993 amendment states
 “[t]he revision permits the court to consider whether other attorneys in the firm, co-
 counsel, other law firms, or the party itself should be held accountable for their part
 in causing a violation.”
                                            5

                                                                             Exhibit G
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 103,
                                      35-2
                                         PageID.4186
                                            Filed 05/03/21
                                                       FiledPage
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                                                                 336 ofPage
                                                                        16777 of 22




 Cir. 2019) (distinguishing In re Ruben and the pre-1993 case law while holding that

 attorneys listed as “additional counsel” could be sanctioned); Stalley ex rel. U.S. v.

 Mountain States Health All., 644 F.3d 349 (6th Cir. 2011) (imposing sanctions

 against non-signatory for bringing vexatious lawsuit). Plaintiffs do not cite a single

 case interpreting the 1993 amendment.

       In the present case, each attorney either signed frivolous documents or

 advocated for frivolous positions. Indeed, this case was not local counsel’s case; it

 was Sidney Powell’s case. She announced she was filing it. She promoted the claims

 and the “experts.” It was also Lin Wood’s case. He announced he was filing it. He

 promoted the claims, even adopting the Parler username @krakenwood. Plaintiffs’

 attorneys have engaged in a systematic and coordinated attack on our democracy in

 courts across the country, filing remarkably similar and equally disturbing suits in

 multiple states. See Feehan v. Wisconsin Elections Comm'n, No. 20-CV-1771, 2020

 WL 7250219 (E.D. Wis. Dec. 9, 2020); Bowyer v. Ducey, CV-20-02321, 2020 WL

 7238261 (D. Ariz. Dec. 9, 2020); and Pearson v. Kemp, No. 1:20-cv-4809 (N.D. Ga.

 Dec. 7, 2020). And, incredibly, they continue that campaign even after dismissing

 the lawsuits, including by pushing misrepresentations in Response to the instant Rule

 11 Motion.4


       4
         Plaintiffs claim that the subjective belief of Powell and Wood cannot be
 considered by the Court because only the motivations of those who signed

                                           6

                                                                            Exhibit G
Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                No. 103,
                                      35-2
                                         PageID.4187
                                            Filed 05/03/21
                                                       FiledPage
                                                            01/26/21
                                                                 337 ofPage
                                                                        16778 of 22




          B. “Combining” Motions

       Plaintiffs argue that the City's motion for “both Rule 11 sanctions and for

 disbarment of attorneys and their referral to state bar associations for disciplinary

 action is procedurally improper” because a Rule 11 sanctions motion “must be made

 separate from any other motion.” ECF No. 95, PageID.4114-15 (emphasis in

 original) (quoting Fed R. Civ. P. 11(c)(2)). The text of Rule 11 clearly contemplates

 both monetary and nonmonetary relief, providing that a “sanction may include

 nonmonetary directives” in addition to fines. Fed. R. Civ. P. 11(c)(4). See also Tropf

 v. Fid. Nat. Title Ins. Co., 289 F.3d 929, 939-40 (6th Cir. 2002) (noting that, in

 addition to fines, “Rule 11 also authorizes nonmonetary sanctions”). Further, as the

 committee notes to that rule explain:

       The court has available a variety of possible sanctions to impose for
       violations, such as striking the offending paper; issuing an admonition,
       reprimand, or censure; requiring participation in seminars or other
       educational programs; ordering a fine payable to the court; referring
       the matter to disciplinary authorities… etc.




 sanctionable pleadings and motions are material. Again, this assertion is factually
 incorrect, because Powell signed numerous documents in this case. And, again,
 Plaintiffs mistakenly rely on pre-1993 amendment case law. The case they rely on—
 In re Kunstler, 914 F.2d 505, 519 (4th Cir. 1990)—held that “[c]ircumstantial facts
 surrounding the filing may also be considered as evidence of the signer’s purpose.”
 However, the scope of the Rule has since changed to cover all attorneys in a case,
 not just the one who signed a pleading. The pleadings and motions were facially and
 objectively sanctionable, but the statements made by the attorneys further
 demonstrate the improper purpose for these filings.
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Case 2:20-cv-13134-LVP-RSW
     Case 1:21-cv-01169-TCB ECF
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                                         PageID.4188
                                            Filed 05/03/21
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                                                                 338 ofPage
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 Fed. R. Civ. P. 11(c)(4), advisory committee's note to the 1993 Amendments

 (emphasis added). A request for both monetary and nonmonetary sanctions does not

 violate Rule 11(c)(2)'s prohibition against mixing sanction and non-sanction relief

 in a single motion.

       Furthermore, Sixth Circuit precedent directly refutes Plaintiffs’ argument. As

 the Sixth Circuit has explained, Rule 11’s single motion requirement “is intended to

 highlight the sanctions request by preventing it from being tacked onto or buried in

 motions on the merits, such as motions to dismiss or for summary judgment.” Ridder

 v. City of Springfield, 109 F.3d 288, 294 n. 7 (6th Cir. 1997). However, “[t]he

 requirement does not foreclose combining a Rule 11 request with other provisions

 regulating attorney behavior,” in that case, 42 U.S.C. § 1988 and § 1927. Id.

 Requiring parties to file “Rule 11 sanctions separate from other requests for attorney

 fees based on the same conduct would amount to needless duplication of paper, time,

 and effort, for practitioners as well as the courts.” Id.

       The Michigan Rules of Professional Conduct, the Eastern District of Michigan

 Local Rules and the Code of Conduct for United States Judges all support the

 requested disciplinary referrals:

        • The out-of-state lawyers who have participated in this lawsuit are subject to
 professional discipline in Michigan as well as in their home states. Michigan’s
 discipline authority extends to any “lawyer not admitted in this jurisdiction” who
 “provides or offers to provide any legal services in this jurisdiction”. MRPC 8.5(a);



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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                             Filed 05/03/21
                                                        Filed Page
                                                              01/26/21
                                                                   339 of
                                                                       Page
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                                                                             10 of 22




         • “When misconduct or allegations of misconduct that, if substantiated, would
  warrant discipline of an attorney who is a member of the bar of this court or has
  practiced in this court as permitted by LR 83.20 come to the attention of a judicial
  officer . . . whether by complaint or otherwise, the judicial officer may refer the
  matter to: (1) the Michigan Attorney Grievance Commission for investigation and
  prosecution, (2) another disciplinary authority that has jurisdiction over the attorney,
  or (3) the chief judge for institution of disciplinary proceedings by this court under
  LR 83.22(e)”. E D Mich LR 83.22(c);1,2 and

        • a federal judge is ethically required to report lawyers’ unprofessional
  conduct to disciplinary authorities. Code of Conduct for United States Judges,
  Canon 3(B)(6) (“A judge should take appropriate action upon receipt of reliable
  information indicating the likelihood that . . . a lawyer violated applicable rules of
  professional conduct.”).

  Plaintiffs do not address this Court’s authority to make the requested referrals.

            C. The Safe Harbor Period

        Plaintiffs mistakenly argue that the City failed to comply with Rule 11(c)(2)’s

  safe harbor provision. Response, PgID.4118-20. To comply with this provision,

  litigants must follow a “two-step process: first, serve the Rule 11 motion on the


        1
          “‘[P]ractice in this court’ means, in connection with an action or proceeding
  pending in this court, to appear in, commence, conduct, prosecute, or defend the
  action or proceeding; appear in open court; sign a paper; participate in a pretrial
  conference; represent a client at a deposition; or otherwise practice in this court or
  before an officer of this court. A person practicing in this court must know these
  rules, including the provisions for sanctions for violating the rules. A person is not
  permitted to circumvent this rule by directing the conduct of litigation if that person
  would not be eligible to practice in this court.” E D Mich LR 83.20(a)(1).
        2
         See also, generally, MRPC 8.3(a), which provides in relevant part that every
  lawyer “having knowledge that another lawyer has committed a significant violation
  of the Rules of Professional Conduct that raises a substantial question as to that
  lawyer’s honesty, trustworthiness, or fitness as a lawyer shall inform the Attorney
  Grievance Commission” (emphasis added).

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                 No. 103,
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                                             Filed 05/03/21
                                                        Filed Page
                                                              01/26/21
                                                                   340 of
                                                                       Page
                                                                          1677
                                                                             11 of 22




  opposing party for a designated period (at least twenty-one days); and then file the

  motion with the court.” Ridder, 109 F.3d at 294. The purpose of this 21-day waiting

  period is to give the offending party an opportunity to “withdraw[] or correct[] the

  challenged document or position after receiving notice of the allegedly violative

  conduct.” Id.

         The City complied with the Rule. As Plaintiffs concede, the City served its

  motion for sanctions on December 15th, then waited until January 5th to submit its

  motion to the court, along with an accompanying brief. See Response, PageID.4118-

  19. Plaintiffs contend, however, that the safe harbor period only began to run when

  the City filed its brief with this Court, as the initial notice did not identify the conduct

  that violated Rule 11(b) or “identify any specific allegation or witness that lacks

  evidentiary support.” Id. at PageID.4119. Yet the City’s motion describes Plaintiffs'

  violative conduct in detail. It identifies Plaintiffs’ improper purpose in pursuing this

  litigation; specifically, their intent to “raise doubts in the minds of millions of

  Americans about the legitimacy of the 2020 Presidential Election,” ECF No. 78,

  PageID.3618. It also identifies how Plaintiffs’ claims were not supported by existing

  law and did not constitute a good-faith attempt to change the law or create new law;

  while most of Plaintiffs’ claims were procedurally deficient—clearly moot or barred

  by the doctrine of laches—they were substantively deficient as well, lacking legal

  authority or basis in fact beyond mere speculation or conjecture. Id. at PageID.3619-

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      Case 1:21-cv-01169-TCB ECF
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                                                        Filed Page
                                                              01/26/21
                                                                   341 of
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                                                                             12 of 22




  21. The motion also explains that Plaintiffs’ contentions lacked evidentiary support,

  referring them to 125 pages of material in the record of this proceeding debunking

  Plaintiffs’ various baseless claims and assertions. Id. at PageID.3621-22 (citing ECF

  No. 39 PageID.2808-2933).

        Essentially, Plaintiffs are arguing that the Rule 11 Motion served on them did

  not include the same detail as the one filed, because the served Motion did not

  include a brief. However, Rule 11(c)(2) requires service of a motion, not a brief in

  support. See Star Mark Mgmt., Inc. v. Koon Chun Hing Kee Soy & Sauce Factory,

  Ltd., 682 F.3d 170, 176 (2d Cir. 2012) (delivery of sanctions motion was sufficient

  for Rule 11(c)(2) notice, even though it was not accompanied by “supporting

  affidavits or a memorandum of law”); see also Ideal Instruments, Inc. v. Rivard

  Instruments, Inc., 243 F.R.D. 322, 339 (N.D. Iowa 2007) (“Rule 11 says nothing

  about requiring service of the brief in support of a Rule 11 motion to trigger the

  twenty-one day ‘safe harbor.’”) (emphasis in original).5

        Finally, it must be noted that Plaintiffs have not actually “withdrawn or

  corrected the challenged document[s] or position[s].” They filed Notices of



        5
          It is not clear why Plaintiffs reference the “substantial compliance” doctrine,
  which has been rejected since the 1993 amendments to Rule 11. See Ridder v. City
  of Springfield, 109 F.3d 288, 296 (6th Cir. 1997). The doctrine held that the notice
  provision of Rule 11 could be satisfied by “substantial compliance” of providing
  “informal notice” in lieu of serving a Motion. Id. Here, Plaintiffs were not provided
  informal notice, they were served with a Rule 11 Motion.
                                              11

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                                              01/26/21
                                                                   342 of
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                                                                             13 of 22




  Voluntary Dismissal as to the Defendants who did not file an Answer, just in time

  to avoid having to defend their case on the merits. But even after those dismissals,

  Plaintiffs continue to advance their specious claims and repeat the same falsehoods.

  They did so in their Response to the City’s Motion for § 1927 sanctions, ECF No.

  85, and again in Response to the instant Motion. Instead of withdrawing or

  correcting their lies, counsel repeats them, using the judicial system to again and

  again publish the same harmful falsehoods.

     II.       The Claims in this Lawsuit did not have Legitimate Evidentiary
               Support
           Plaintiffs’ counsel not only argue that they had a good-faith basis to believe

  their allegations, but they also use their brief to continue to broadcast those baseless

  allegations. They pressed so many objectively false claims—including, for instance,

  lying about the credentials of Spyder to pretend that he would have had a foundation

  to make his outlandish claims—that it would be impossible to go through each one

  without a long evidentiary hearing. However, the first 9 pages of the First Amended

  Complaint (ECF No. 6, the “FAC”) do a pretty good job of summarizing the lies:

                Plaintiffs and their counsel allege that this case “brings to light a

  massive election fraud … a scheme and artifice to defraud [] for the purpose of

  illegally and fraudulently manipulating the vote count to elect Joe Biden as

  President of the United States.” FAC ¶¶ 1-2. In fact, the case presented no legitimate

  evidence of election fraud, let alone “massive” election fraud. They presented no
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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                 No. 103,
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                                                        Filed Page
                                                              01/26/21
                                                                   343 of
                                                                       Page
                                                                          1677
                                                                             14 of 22




  evidence that a single vote was manipulated. The unsupported claims of fellow

  conspiracy theorists and academic hucksters did not come close.

              Plaintiffs and their counsel assert that the FAC “details an especially

  egregious range of conduct in Wayne County and the City of Detroit” and that

  “[e]lection workers [in Detroit] illegally forged, added, removed or otherwise

  altered information on ballots, the Qualified Voter File (QVF) and Other Voting

  Records.” Id. ¶¶ 2, 14. In fact, as Plaintiffs and their counsel knew full well, the FAC

  detailed no such thing. Every single allegation related to Wayne County and Detroit

  has either been repeatedly disproven, been shown to be mistaken or was based on

  fantasy. Even in the unlikely event that the initial declarants were innocently

  mistaken about the process, by the time the attorneys in this case latched on to them,

  the allegations had been conclusively disproven by objective facts. And, crucially, it

  is clear that Plaintiffs’ counsel did not investigate the veracity of any of these

  allegations, because the allegations were compiled entirely from allegations and

  witness statements gathered by partisans in other cases. Counsel here merely pulled

  the statements off court filings in other cases and adopted them verbatim.

              The FAC alleges that “Dominion systems derive from the software

  designed by Smartmatic Corporation,” that “Smartmatic and Dominion were

  founded by foreign oligarchs and dictators” as part of “a criminal conspiracy to

  manipulate Venezuelan elections in favor of dictator Hugo Chavez.” Id. ¶¶ 4-6.

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      Case 1:21-cv-01169-TCB ECF
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                                                                   344 of
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                                                                             15 of 22




  There is simply no evidence supporting these wild claims. The fact that trolls from

  sundry corners of the internet and other fraudsters make the claim, does not protect

  Plaintiffs’ counsel from the obligation to independently confirm the representations.

              Plaintiffs and their counsel allege that there “is incontrovertible

  physical evidence that the standards of physical security of the voting machines and

  the software were breached, and machines were connected to the internet in

  violation of professional standards, which violates federal election law on the

  preservation of evidence.” Id. ¶ 9. There was no evidence that the physical security

  of the machines and software were breached, and, indeed, the flawed and fabricated

  reports from the various “experts” do not actually make that claim, instead (falsely)

  asserting that the machines and software were susceptible to breach.6

              Plaintiffs and their counsel alleged that “Detroit election workers

  added “tens of thousands of new ballots and/or new voters to QVF in two separate

  batches on November 4, 2020, all or nearly all of which were votes for Joe Biden.”

  Id. ¶ 14a. There was never any legitimate support for the claim. And, by the time



        6
          Plaintiffs argue that they should not be sanctioned because other attorneys
  and various politicians also advanced similar frivolous claims, including from
  identical witness statements. The attorneys here do not get a pass for jumping off the
  bridge of ethical conduct, just because other people did. We have all witnessed the
  deadly consequences of shared delirium. Rule 11 is clear that every attorney in a
  case has an obligation to independently confirm the accuracy of the information they
  present to a court.

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                                                   345 of
                                                                       Page
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                                                                             16 of 22




  these plaintiffs and their attorneys attached the witness statements and allegations

  made in prior lawsuits, they had been proven false.7

              Plaintiffs and their counsel allege that Detroit election workers counted

  “ineligible ballots – and in many cases – multiple times;” and counted ballots

  “without signatures, or without attempting to match signatures and ballots without

  postmarks, pursuant to direct instructions from Defendants.” Id. ¶ 15. As with all

  the other allegations about Detroit and Wayne County, these claims were objectively

  disproven. It was pure speculation to claim that “ineligible” ballots were counted,

  when, in fact, the City demonstrably followed election law and disallowed the

  tabulation of any ballot received after 8:00 p.m. on election day. Similarly, there was

  no legitimate basis for anyone to claim that signatures were not verified—a claim

  based entirely on statements that signatures were not being verified at the TCF

  Center—when verification occurred before the ballots were delivered to the TCF


        7
           The Superior Court for the State of Delaware recently revoked Lin Wood’s
  pro hac vice admission. See Page v. Oath, Case No. S20C-07-030, Memorandum
  Opinion & Order (Del Sup. Ct. Jan. 11, 2020). Ex. 17. There, like here, Wood sought
  to evade accountability by claiming he was not the “filing” attorney. Id., *7. But the
  court found that contrary to his obligation “to file only cases which have a good faith
  basis in fact or law” his Georgia election lawsuit “was textbook frivolous litigation,”
  with Wood’s failure to review for accuracy “an error-ridden affidavit of an expert
  witness” “either mendacious or incompetent.” Id., *6. “The conduct of Mr. Wood
  [in pursuing frivolous election lawsuits], albeit not in my jurisdiction, exhibited a
  toxic stew or mendacity, prevarication and surprising incompetence. What has been
  shown in Court decisions of our sister States [Wisconsin and Georgia] satisfies me
  that it would be inappropriate and inadvisable to continue Mr. Wood’s permission
  to practice before this Court.” Id., * 7.
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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                 No. 103,
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                                                              01/26/21
                                                                   346 of
                                                                       Page
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                                                                             17 of 22




  Center. Plaintiffs and their counsel cannot hide behind the ignorance of challengers

  at the TCF Center or people who did not understand the process; they had a duty to

  investigate the veracity of the claims before regurgitating them.

              Plaintiffs and their counsel also try to hide behind their expert reports.

  That does not work, because, as outlined in Defendants’ briefing in this case, the

  reports are not based in fact or supported by legitimate expert analysis. They are all

  tied together by a uniform disregard for the facts: absentee ballots were predicted to,

  and did, favor the Democratic candidates; in Michigan, where absentee ballots could

  not be counted before election day, the reporting of results for absentee ballots

  generally trail those for in-person votes; unofficial results are released in data

  “dumps” on election night and during the tabulation, rather than being updated on a

  continual basis; most urban areas in the country, including Detroit and Wayne

  County, strongly favor Democratic candidates for federal office; the preference of

  many voters change based on the conduct and policies of the candidates; Michigan

  uses paper ballots, so each and every one of Plaintiffs’ claims can be tested by a hand

  recount or other audit of those ballots; no candidate demanded a recount; canvassing

  and recounting of paper ballots conclusively disproved claims that votes were

  changed in tabulating machines. All of these facts were ignored in order to make

  specious statistical analysis, comparing irrelevant data points, to get to a contrived

  pre-determined outcome.

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      Case 1:21-cv-01169-TCB ECF
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                                          PageID.4197
                                             Filed 05/03/21
                                                        Filed Page
                                                              01/26/21
                                                                   347 of
                                                                       Page
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                                                                             18 of 22




        Not satisfied with their original “experts,” Plaintiffs now add a new report

  from John Lott, Jr. This new “expert,” who was once a respected academic, is now

  well-known for academic fraud and various misrepresentations. Plaintiffs, of course,

  fail to note that as of January 5, 2021, Lott had admitted that the findings in much of

  his “paper” were “a mistake.” Ex. 13. The one conclusion in his report that he has

  not conceded was wrong, essentially boils down to the nonsensical claim that a 1 or

  2 percentage point “higher than expected,” “unexplained” turnout in Wayne County

  and the other urban counties “targeted” in post-election lawsuits in Pennsylvania,

  Wisconsin, Arizona and Nevada, is proof of voter fraud.8 Lott’s sleight of hand is

  accomplished by inexplicably comparing Wayne County and the other urban

  counties sued post-election, not with other counties in the state (which also would

  not lead to accurate results) but with counties in other states which did not have

  “suspicious” counties (i.e. a county sued in one of the frivolous post-election

  lawsuits) and which had lower increases in voter turnout such as Florida, Ohio and

  North Carolina. So, if turnout increased in the counties targeted with election

  lawsuits (all of which are large urban counties with comparable racial demographics

  in states that went for Biden), as compared to states Trump won that had lower

  turnout increases, Lott concludes that there was voter fraud, even if the counties in



        8
         It should be noted that the increase in turnout in Wayne County was
  approximately 10%, which is less than most other counties in the state. Ex. 14.
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                                                                              Exhibit G
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      Case 1:21-cv-01169-TCB ECF
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                                                        Filed Page
                                                              01/26/21
                                                                   348 of
                                                                       Page
                                                                          1677
                                                                             19 of 22




  the lawsuits had lower increases than other counties in their own state. The only

  conclusion Lott could have reached in good faith is that his methodology was

  nonsensical.9

        When Lott retracted his finding, he stated “when u make a mistake, u make a

  mistake.” Ex. 13. That is correct. Statisticians (or those who pose as statisticians)

  make mistakes. Attorneys make mistakes. But, where you make countless

  “mistakes” and every single one is in favor of your preferred pre-determined

  outcome, you no longer get the benefit of the doubt. None of the lies in this lawsuit

  were made in mistake or out of ignorance. Plaintiffs’ counsel knew exactly what

  they were doing and must be held to account.10

     III.   This Lawsuit Was Filed for Nefarious Purposes

        Plaintiffs argue they did not file for “any improper purpose,” or to harass the

  City, because “the City was not accused of conducting elections improperly ... It

  does not conduct elections for the President of the United States … States, through


        9
           Because Lott couches his conclusions in statistical double-speak and unclear
  data points, the City is attaching a comprehensive dismantling co-authored by three
  highly respected academics from Stanford and the University of Chicago. Ex. 15.
         10
            As argued in the City’s opening brief, most of Plaintiffs’ legal arguments
  were frivolous. Plaintiffs argue that it was not frivolous for them to assert they had
  standing as electors because the claim was novel in this Circuit and other circuits
  were split, with the Eighth alone in finding standing. The Eighth Circuit opinion was
  interpreting the contours of Minnesota’s unique election law, not Michigan’s. More
  importantly, there was no basis for Plaintiffs’ counsel to pursue the legal theory
  where their underlying claims were false. There is no non-frivolous argument “for
  establishing new law” based on false allegations.
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                                                                             Exhibit G
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                 No. 103,
                                       35-2
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                                                                   349 of
                                                                       Page
                                                                          1677
                                                                             20 of 22




  their counties, do … So while Detroit sits in Wayne County, and allegations were

  made concerning fraudulent election activity in that county, the City of Detroit has

  no role in the matter, and it should not have intervened.” That is clearly false.

  Michigan elections are primarily conducted at the local level. M.C.L. § 168.801.

  Indeed, Michigan Court of Claims Judge Cynthia Stephens provided clear guidance

  on the issue, advising the plaintiffs in the first of this series of lawsuits that “the day-

  to-day operation of an absent voter counting board is controlled by the pertinent city

  or township clerk.” Donald J. Trump for President, Inc. et al v Benson, Mich. Court

  of Claims Case No. 20-000225-MZ, Opinion and Order (Nov 6, 2020) Ex. 16. All

  the (false) allegations about election fraud in Wayne County were (false) allegations

  against the City of Detroit.11

         That said, the fact that the City was not initially named in the lawsuit is of no

  moment. Rule 11(b)(1) does not limit sanctions to parties initially in a lawsuit. The

  Rule clearly states that sanctions can attach to any filing “presented for any improper

  purpose, such as to harass” and does not limit that improper purpose or harassment

  to a particular party. Fed. R. Civ. P. 11(b)(1). The improper purpose of the lawsuit



         11
            Plaintiffs assert an evidentiary hearing is necessary to determine whether
  the lawsuit was file for an improper purpose, because credibility is best determined
  after an evidentiary hearing. This Court has more than sufficient information to reach
  a conclusion with each Rule 11 factor—counsels’ actions and filings speak for
  themselves.

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                                                                                  Exhibit G
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                                              01/26/21
                                                                   350 of
                                                                       Page
                                                                          1677
                                                                             21 of 22




  is obvious from the face of the lawsuit itself. A lawsuit this full of misstatements of

  fact and law could not possibly have been filed for anything other than an improper

  purpose. Plaintiffs’ purpose was subverting democracy by obtaining judicial

  imprimatur to lend credence to baseless election conspiracy theories.12

   January 26, 2021                        Respectfully submitted,

                                           FINK BRESSACK13

                                           By: /s/ David H. Fink
                                           David H. Fink (P28235)
                                           Nathan J. Fink (P75185)
                                           Attorneys for City of Detroit
                                           38500 Woodward Ave., Ste. 350
                                           Bloomfield Hills, MI 48304
                                           Tel: (248) 971-2500
                                           dfink@finkbressack.com
                                           nfink@finkbressack.com

                                           CITY OF DETROIT
                                           LAW DEPARTMENT
                                           Lawrence T. Garcia (P54890)
                                           James D. Noseda (P52563)
                                           Attorneys for City of Detroit
                                           2 Woodward Ave., 5th Floor
                                           Detroit, MI 48226
                                           Tel: (313) 237-5037
                                           garcial@detroitmi.gov
                                           nosej@detroitmi.gov


        12
            Plaintiffs’ arguments all relate to Rule 11 sanctions, not disciplinary action.
  In fact, the only argument against disciplinary action under the local rules or the
  rules of professional conduct is their erroneous claim that those requests cannot be
  combined with a Rule 11 Motion.
         13
            The “third rate five-man Detroit law firm” referenced by Plaintiffs. (ECF
  No. 95; PageID.4140)
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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103,
                                       35-2
                                          PageID.4201
                                             Filed 05/03/21
                                                        Filed Page
                                                              01/26/21
                                                                   351 of
                                                                       Page
                                                                          1677
                                                                             22 of 22




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            I HEREBY CERTIFY that on January 26, 2021, I electronically filed the

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                                         By:    /s/ Nathan J. Fink
                                                Nathan J. Fink (P75185)
                                                38500 Woodward Ave., Ste. 350
                                                Bloomfield Hills, MI 48304
                                                Tel.: (248) 971-2500
                                                nfink@finkbressack.com




                                           21

                                                                            Exhibit G
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-1,
                                       35-2PageID.4202
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  352 of 1677
                                                                         Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES
  DAVID HOOPER and DAREN WADE
  RUBINGH,                      No. 2:20-cv-13134


               Plaintiffs,                         Hon. Linda V. Parker

    v.




  GRETCHEN WHITMER, in her official
  capacity as Governor of the State of Michigan,
  et al,

               Defendants,

    and

  CITY OF DETROIT, et al,

               Intervenor-Defendants.

            THE CITY OF DETROIT’S REPLY IN SUPPORT OF
          MOTION FOR SANCTIONS, FOR DISCIPLINARY ACTION,
          FOR DISBARMENT REFERRAL AND FOR REFERRAL TO
                  STATE BAR DISCIPLINARY BODIES
      Case 1:21-cv-01169-TCB ECF
Case 2:20-cv-13134-LVP-RSW    Document 35-2PageID.4203
                                 No. 103-1, Filed 05/03/21   Page
                                                         Filed    353 of 1677
                                                               01/26/21  Page 2 of 2




                                   INDEX OF EXHIBITS



 Ex. 1        Jan. 14, 2021 Washington Post article

 Ex. 2        Ashli Babbitt Retweet

 Ex. 3        Jan. 21, 2021 AP Article

 Ex. 4        Lin Wood Parler Post

 Ex. 5        Lin Wood Parler Post

 Ex. 6        Sidney Powell Retweet

 Ex. 7        Sidney Powell Retweet

 Ex. 8        Lin Wood Parler Post

 Ex. 9        Jan. 6, 2021 Mashable Article

 Ex. 10       Lin Wood Parler Post

 Ex. 11       Lin Wood Parler Post

 Ex. 12       Plaintiffs’ Petition for Writ of Certiorari in the Supreme Court of the United States

 Ex. 13       John R. Lott, Jr. Tweet

 Ex. 14       Nov. 5, 2020 MLive Article

 Ex. 15       Eggers, Garro, and Grimmer Jan 8, 2021 Article

 Ex. 16       Nov. 6, 2020 Michigan Court of Claims Opinion and Order

 Ex. 17       Jan. 11, 2021 Superior Court for the State of Delaware Opinion and Order
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-2,
                                       35-2PageID.4204
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  354 of 1677
                                                                         Page 1 of 4




                     EXHIBIT 1
      Case 2:20-cv-13134-LVP-RSW
            Case 1:21-cv-01169-TCB ECF
                                    Document
                                       No. 103-2,
                                             35-2PageID.4205
                                                  Filed 05/03/21
                                                               Filed
                                                                   Page
                                                                     01/26/21
                                                                        355 of 1677
                                                                               Page 2 of 4




   Democracy Dies in Darkness



Veterans on each side of the divide among Capitol
mob dead
By Associated Press

Jan. 14, 2021 at 2:49 p.m. EST


The five people who died amid the chaos that erupted on Jan. 6 at the Capitol represented different walks of life.

Two died violently — military veterans who wound up on opposite sides of an insurrection. The others, who suffered
medical emergencies, came from different parts of the nation and different backgrounds, but were united in their belief
that a presidency on its last legs should be saved.

BRIAN SICKNICK

From his early days growing up in a New Jersey hamlet, Brian Sicknick wanted to be a police officer.

Family members said he saw the military as a path to reaching that goal. He enlisted in the National Guard six months
after graduating high school in 1997, deploying to Saudi Arabia and then Kyrgyzstan.

He would join the U.S. Capitol Police in 2008, serving until his death at the hands of the mob of President Donald
Trump’s supporters that breached Capitol security.

Sicknick, 42, was hit in the head with a fire extinguisher, two law enforcement officials said. The officials could not
discuss the ongoing investigation publicly and spoke to The Associated Press on condition of anonymity.

Rep. Elissa Slotkin, a Democrat from Michigan, says she has asked military officials that Sicknick be buried with
posthumous honors at Arlington National Cemetery.

ASHLI BABBITT

Ashli Babbitt, 35, had served in the Air Force on active duty from 2004 to 2008, with subsequent stints in the Air
Force Reserve and, until 2016, the Air National Guard.

Capitol Police Chief Steven A. Sund said she was among rioters who smashed their way into the U.S. Capitol, forcing
members of Congress to hide. Videos from the mob scene appear to show Babbitt being hoisted up to the broken panes
of a barricaded door. An officer points a gun at her and fires.
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referenced the QAnon conspiracy theory that Trump has been secretly fighting “deep state” enemies and a cabal of
Satan-worshipping cannibals operating a child sex trafficking ring.

She and her husband ran a pool service business in Spring Valley, California. Her husband, Aaron Babbitt, told KSWB-
TV, “she was doing what she thought was right to support her country. ... She was voicing her opinion and she got
killed for it.”

KEVIN GREESON

His family in Athens, Alabama, describes Kevin Greeson, 55, as a loving family man, dog owner and motorcycle
enthusiast.

Social media posts, however, included incendiary rants and false claims that the November election was stolen from
Trump. Weeks after the election, he shared a photo of himself standing beside a Christmas tree with large guns in each
hand and more stuffed in his waistband. There also was a screed questioning why Republicans weren’t doing more to
support Trump.

In a statement issued on behalf of his family, widow Kristi Greeson said her husband didn’t attend the Washington
protests to participate in violence or rioting, “nor did he condone such actions.”

“Kevin had a history of high blood pressure, and in the midst of the excitement, suffered a heart attack,” she said. “Our
family is devastated.”

ROSANNE BOYLAND

Rosanne Boyland, 34, of Kennesaw, Georgia, was a recovering drug addict who had put a history of drug arrests behind
her and stayed sober for years while finding a new purpose in politics, one of her friends told The Associated Press.

She had become a strong supporter of Trump and, her sister told the AP, a follower of the bizarre QAnon conspiracy
theory.

“It just spiraled,” her sister, Lonna Cave, said recently outside her home in suburban Atlanta.

Cave said family members had begged Boyland, who aspired to be a sobriety counselor, not to go to the Washington
protests. They said she had no intention of engaging in violence.

Cave said the family has heard conflicting accounts of her death. A friend who was with her said Boyland was trampled
during a clash between rioters and police. But a police detective told the family Boyland had collapsed while standing
off to the side in the Capitol rotunda, Cave said.

BENJAMIN PHILIPS

Benjamin Philips, 50, of Ringtown, Pennsylvania, was a computer programmer, and founder of Trumparoo LLC, a
startup that promoted Trump and marketed stuffed toys online.

His profile on the site, which was no longer available as of Thursday morning, said he was organizing a bus from the
Bloomsburg area to go to the rally and expressed anger at Democratic officials and moderate Republicans.

The Philadelphia Inquirer reported that Philips drove from Pennsylvania to Washington in a van along with Trump-
related memorabilia he had produced.
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                                                                Filed 05/03/21
                                                                        duringFiled
                                                                               thePage
                                                                                     01/26/21
                                                                                   riots. 357 of 1677
                                                                                                 Page 4 of 4

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-3,
                                       35-2PageID.4208
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  358 of 1677
                                                                         Page 1 of 2




                     EXHIBIT 2
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-3,
                                       35-2PageID.4209
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  359 of 1677
                                                                         Page 2 of 2
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-4,
                                       35-2PageID.4210
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  360 of 1677
                                                                         Page 1 of 6




                     EXHIBIT 3
     Case 2:20-cv-13134-LVP-RSW
           Case 1:21-cv-01169-TCB ECF
                                   Document
                                      No. 103-4,
                                            35-2PageID.4211
                                                 Filed 05/03/21
                                                              Filed
                                                                  Page
                                                                    01/26/21
                                                                       361 of 1677
                                                                              Page 2 of 6


25°




   LIVE UPDATES / COVID-19 cases in Illinois & Iowa



NATIONAL NEWS


Capitol mob built gallows and chanted ‘Hang Mike
Pence’




TOPSHOT – A noose is seen on makeshift gallows as supporters of US President Donald Trump gather on the West side of the US Capitol
in Washington DC on January 6, 2021. – Donald Trump’s supporters stormed a session of Congress held today, January 6, to certify Joe
Biden’s election win, triggering unprecedented chaos and violence at the heart of American democracy and accusations the president was
attempting a coup. (Photo by Andrew CABALLERO-REYNOLDS / AFP) (Photo by ANDREW CABALLERO-REYNOLDS/AFP via Getty Images)

   by: JILL COLVIN, Associated Press
   Posted: Jan 9, 2021 / 12:07 PM CST / Updated: Jan 9, 2021 / 12:07 PM CST
   Case 2:20-cv-13134-LVP-RSW
         Case 1:21-cv-01169-TCB ECF
                                 Document
                                    No. 103-4,
                                          35-2PageID.4212
                                               Filed 05/03/21
                                                            Filed
                                                                Page
                                                                  01/26/21
                                                                     362 of 1677
                                                                            Page 3 of 6
They were never a natural t, the straight-laced evangelical and the brash reality TV
25°
star. But for more than four years, President Donald Trump and Vice President Mike
Pence made their marriage of political convenience work.

Now, in the last days of their administration, each is feeling betrayed by the other.
It’s part of the fallout from an extraordinary 24-hour stretch in which Pence openly
de ed Trump, Trump unleashed his fury on the vice president, and a mob of violent
supporters incensed by Trump’s rhetoric stormed the Capitol building and tried to
halt the peaceful transfer of power.

The Trump-Pence relationship is “pretty raw right now,” said one top GOP
congressional aide, who described multiple phone calls in which Trump berated
Pence and tried to pressure the vice president to use powers he does not possess to
try to overturn the results of the 2020 election. Pence, for his part, was left feeling
“hurt” and “upset” by the episode, according to people close to him. They spoke on
condition of anonymity to discuss internal matters.

Pence’s decision to publicly defy Trump was a rst for the notoriously deferential
vice president, who has been un inchingly loyal to Trump since joining the GOP
ticket in 2016. Pence has spent his tenure defending the president’s actions, trying
to soothe anxious world leaders put off by Trump’s caustic rhetoric, and carefully
avoiding the president’s ire.

He has taken on some of the administration’s most high-pressure projects, including
leading its response to the coronavirus. And he has stood by Trump even as the
president leveled baseless allegations of voter fraud and refused to concede the
election after his loss to Democrat Joe Biden.

Under normal circumstances, the vote-tallying procedure that began on Wednesday
would have been a mere formality. But after losing court case after court case, and
with no further options at hand, Trump and his allies zeroed in on the congressional
tally as their last chance to try to challenge the race’s outcome.
   Case 2:20-cv-13134-LVP-RSW
         Case 1:21-cv-01169-TCB ECF
                                 Document
                                    No. 103-4,
                                          35-2PageID.4213
                                               Filed 05/03/21
                                                            Filed
                                                                Page
                                                                  01/26/21
                                                                     363 of 1677
                                                                            Page 4 of 6
In a bizarre interpretation of the law, they argued that the vice president had the
25°
unilateral power to reject Electoral College votes supporting Biden. The Constitution
makes clear that only Congress has that power.

The effort effectively turned Pence into a scapegoat who could be blamed for
Trump’s loss if the vice president refused to go along with the plan. Trump and his
lawyers spent days engaged in an aggressive pressure campaign to force Pence to
bend to their will in a series of phone calls and in-person meetings, including one
that stretched for hours on Tuesday.

When Pence, who consulted with his own legal team, constitutional scholars and the
Senate parliamentarian, informed Trump on Wednesday morning that he would not
be going along with the effort, the president “blew a gasket,” in the words of one
person briefed on the conversation.

Not long after, Trump took the stage in front of thousands of his supporters at a
“Stop the Steal” rally, where he urged them to march to the Capitol and continued to
fan false hopes that Pence could change the outcome.

“If Mike Pence does the right thing we win the election,” Trump wrongly insisted. He
repeatedly returned to Pence throughout his speech as he tried to pressure the vice
president to fall in line.

But Trump already knew what Pence intended. And as Trump spoke, Pence released
a letter to Congress laying out his conclusion that a vice president cannot claim
“unilateral authority” to reject states’ electoral votes. He soon gaveled into order the
joint session of Congress where his and Trump’s defeat would be cemented.

Not long after that, members of Trump’s rally crowd arrived at the Capitol, where
they overwhelmed police, smashed windows, occupied the building and halted the
electoral proceedings. Pence was whisked from the Senate chamber to a secure
location, where he was held for hours with staff as well as his wife and daughter,
who had been there to support him.
   Case 2:20-cv-13134-LVP-RSW
         Case 1:21-cv-01169-TCB ECF
                                 Document
                                    No. 103-4,
                                          35-2PageID.4214
                                               Filed 05/03/21
                                                            Filed
                                                                Page
                                                                  01/26/21
                                                                     364 of 1677
                                                                            Page 5 of 6
Trump did not call to check in on his vice president’s safety during the ordeal and
25°
instead spent much of Wednesday consumed with anger over Pence’s action,
tweeting, “Mike Pence didn’t have the courage to do what should have been done to
protect our Country and our Constitution.”

Later, members of the mob outside the Capitol were captured on video chanting,
“Hang Mike Pence!”

      Trump supporters chanting 'HANG MIKE PENCE' at the Capitol Building
                               pic.twitter.com/iMSOl4u3tg
                            — Dallas (@59dallas) January 6, 2021

For allies of Pence, it was a deeply upsetting episode that put the vice president in
danger after four years of unstinting loyalty to the president and left Pence himself
feeling hurt.

“I just think he’s had enough,” said John Thompson, who served as Pence’s campaign
spokesman and and also worked for the Republican Governors’ Association.

“Yesterday just really pulled on his heartstrings,” Thompson said. “He’s been this
loyal individual and the president was asking him to break the law and act outside
his constitutional duties. I think it just reached a boiling point and the vice president
said, ‘I’ve had enough.'”

Republican Sen. Jim Inhofe of Oklahoma told Tulsa World, “I’ve never seen Pence as
angry as he was today.”

“He said, ‘After all the things I’ve done for (Trump),'” Inhofe added.

Former House Speaker Newt Gingrich, an informal Trump adviser, also came to
Pence’s defense, tweeting that his action was “a pro le in courage.”

It remains unclear how the dynamic between Trump and Pence will play out over
the next two weeks and how long the president will hold his grudge. The White
     Case 2:20-cv-13134-LVP-RSW
           Case 1:21-cv-01169-TCB ECF
                                   Document
                                      No. 103-4,
                                            35-2PageID.4215
                                                 Filed 05/03/21
                                                              Filed
                                                                  Page
                                                                    01/26/21
                                                                       365 of 1677
                                                                              Page 6 of 6
House declined to discuss Trump’s thinking, but allies said Pence intends to spend
25°
the next two weeks focused on the transition.

He is also expected to attend Biden’s inauguration.

And while Pence had been banking on his close relationship with the president to
propel him to top-tier status if he decides to run for president in 2024, allies said
they didn’t think the vice president’s actions this week would have long-term
consequences, even if some voters blame him for Trump’s defeat.

“I thought that was a very courageous moment for him,” Thompson said. “And I think
that’s going to help his future.”

___ Associated Press writers Alan Fram and Zeke Miller contributed to this report.

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-5,
                                       35-2PageID.4216
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  366 of 1677
                                                                         Page 1 of 2




                     EXHIBIT 4
 Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCB ECF
                               Document
                                  No. 103-5,
                                        35-2PageID.4217
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   367 of 1677
                                                                          Page 2 of 2

                                            Search Parler




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     Pledge your lives, your fortunes, & your sacred honor.

     There will not be another chance.

     Speak TRUTH. Be FEARLESS. Almighty God is with you.

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-6,
                                       35-2PageID.4218
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  368 of 1677
                                                                         Page 1 of 2




                     EXHIBIT 5
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-6,
                                       35-2PageID.4219
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  369 of 1677
                                                                         Page 2 of 2
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-7,
                                       35-2PageID.4220
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  370 of 1677
                                                                         Page 1 of 2




                     EXHIBIT 6
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-7,
                                       35-2PageID.4221
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  371 of 1677
                                                                         Page 2 of 2
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-8,
                                       35-2PageID.4222
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  372 of 1677
                                                                         Page 1 of 2




                     EXHIBIT 7
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-8,
                                       35-2PageID.4223
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  373 of 1677
                                                                         Page 2 of 2
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-9,
                                       35-2PageID.4224
                                            Filed 05/03/21
                                                         Filed
                                                             Page
                                                               01/26/21
                                                                  374 of 1677
                                                                         Page 1 of 2




                     EXHIBIT 8
 Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCB ECF
                               Document
                                  No. 103-9,
                                        35-2PageID.4225
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   375 of 1677
                                                                          Page 2 of 2

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     Indisputable photographic evidence that antifa violently broke into Congress today to inﬂict
     harm & do damage. NOT @realdonaldtrump supporters.

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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-10,
                                        35-2 PageID.4226
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     376 of 1677
                                                                             Page 1 of 4




                      EXHIBIT 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-10,
                                        35-2 PageID.4227
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     377 of 1677
                                                                             Page 2 of 4
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-10,
                                        35-2 PageID.4228
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     378 of 1677
                                                                             Page 3 of 4
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-10,
                                        35-2 PageID.4229
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     379 of 1677
                                                                             Page 4 of 4
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-11,
                                        35-2 PageID.4230
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     380 of 1677
                                                                             Page 1 of 3




                    EXHIBIT 10
  Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCB ECF
                                Document
                                   No. 103-11,
                                          35-2 PageID.4231
                                                Filed 05/03/21Filed
                                                                 Page
                                                                    01/26/21
                                                                       381 of 1677
                                                                               Page 2 of 3

                                                  linwood




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                                                                     #parler                   #parlerusa
                                                                     #parleruk                 #parlerksa
                                                                     #gardenclub               #fatkidclub
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                                                                                @Kirstiealley
        @linwood
        Several people have sent me screen shots of Ashli                       Tito Ortiz
        Babbitt’s Twitter page. Below you will see that it appears              @TitoOrtiz
        Ms. Babbitt retweeted my tweet the day she was shot,
        1/6. It appears to be her last post before her death. She               Wayne Dupree Media
        had 1,915 Followers.                                                    L.L.C
                                                                                @waynedupreeshow
                                                                                                              
Member
   On her T... read morePrivacy Policy
       Agreement                                     Community Guidelines                           © 2021 Parler
                                                                                Travis Tritt
    Case 2:20-cv-13134-LVP-RSW
          Case 1:21-cv-01169-TCB ECF
                                  Document
                                     No. 103-11,
                                            35-2 PageID.4232
                                                  Filed 05/03/21Filed
                                                                   Page
                                                                      01/26/21
                                                                         382 of 1677
                                                                                 Page 3 of 3
                                                                            @TravisTritt
                                             linwood
                                                                            Gov. Kristi Noem
                                                                            @GovernorNoem

                                                                 Hashtag Feed
                                                                 #parler                   #parlerusa
                                                                 #parleruk                 #parlerksa
                                                                 #gardenclub               #fatkidclub
                                                                 #twexit                   #techtyrants
                                                                 #bitcoin                  #videogames
                                                          1/2    #meme

           LLinWood 6 hours ago   ·   2.5m
           @linwood
I was suspended from Twitter promptly after the DC incident.     people to follow
From my #FightBackLaw Twitter account, I checked Ms. Babbitt’a              Sean Hannity
account & it had been suspended. Then my #FightBack Twitter                 @SeanHannity
account was banned.
                                                                            Mark Levin
Something is not right here.                                                @Marklevinshow
    4.4k        11k        32k
                                                                            Tucker Carlson
                                                                            @TuckerCarlson
                                                                                                     
           LLinWood 6 hours ago   ·   2.9m
           @linwood                                                         Devin Nunes
                                                                            @Devinnunes

                                                                            Phil Robertson
                                                                            @officialphilrobertson

                                                                            Mariabartiromotv
                                                                            @Mariabartiromotv

                                                                            Sharyl Attkisson
                                                                            @SharylAttkisson

                                                                            Kirstie Alley
 Ashli Babbit ALIVE and WELL The FALSE FLAG                                 @Kirstiealley
 Shooting
 You have been PLAYED. Chalk one more for the DeepState.                    Tito Ortiz
 Sheeple will still believe whatever they are told. In this                 @TitoOrtiz
 Slowe...
    https://www.brighteon.com/22375a2f-1f93-44fe-8fb5-
                                                                            Wayne Dupree Media
    4a2d0b2729
                                                                            L.L.C

   7.5k   13k      28k
                                                                            @waynedupreeshow
                                                                                                          
  Member Agreement     Privacy Policy            Community Guidelines                           © 2021 Parler
                                                                            Travis Tritt
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      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-12,
                                        35-2 PageID.4233
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     383 of 1677
                                                                             Page 1 of 2




                    EXHIBIT 11
 Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCB ECF
                               Document
                                  No. 103-12,
                                         35-2 PageID.4234
                                               Filed 05/03/21Filed
                                                                Page
                                                                   01/26/21
                                                                      384 of 1677
                                                                              Page 2 of 2

                                            lin




                LLinWood 13 hours ago   ·         4.3m
                @linwood




         6.2k        16k         42k




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                                 No. 103-13,
                                        35-2PageID.4235
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   385 of 1677
                                                                          Page 1 of 50




                    EXHIBIT 12
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4236
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   386 of 1677
                                                                          Page 2 of 50




                                        CASE NO.


            IN THE SUPREME COURT OF THE UNITED STATES


     IN RE: TIMOTHY KING, MARIAN ELLEN SHERIDAN, JOHN
    EARL HAGGARD, CHARLES JAMES RITCHARD, JAMES DAVID
               HOOPER and DAREN WADE RUBINGH,

                                   Plaintiffs/Petitioners.


    PETITION FOR WRIT OF CERTIORARI PURSUANT TO 28
     U.S.C. § 1651(a), On Petition for a Writ of Certiorari to the
   United States Federal District Court for the Eastern District of
                              Michigan


   SIDNEY POWELL
   STEFANIE LAMBERT JUNTTILA
   Attorney for Plaintiffs/Petitioners
          TIMOTHY KING, MARIAN ELLEN SHERIDAN, JOHN EARL HAGGARD,
          CHARLES JAMES RITCHARD, JAMES DAVID HOOPER and
          DAREN WADE RUBINGH
   500 Griswold Street, Suite 2340
   Detroit, MI 48226
   (248) 270-6689
   attorneystefanielambert@gmail.com

   HOWARD KLEINHENDLER
   Attorney for Plaintiff/Petitioners
   369 Lexington Avenue, 12th Floor
   New York, New York 10017
   (917) 793-1188
   howard@kleinhendler.com
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4237
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   387 of 1677
                                                                          Page 3 of 50




   ERIK A. GRILL
   HEATHER S. MEINGAST
   Michigan Department of Attorney General
   Civil Litigation, Employment & Elections Division
   Attorney for Defendants/Respondents
          Attorneys for GRETCHEN WHITMER, in her official capacity as Governor of
          the State of Michigan, JOCELYN BENSON, as Michigan Secretary of State
          and the Michigan BOARD OF STATE CANVASSERS
   PO Box 30736
   Lansing, MI 48909
   517-335-7659
   Email: grille@michigan.gov

   DARRYL BRESSACK
   DAVID H. FINK and NATHAN J. FINK
         Attorneys for Intervenor Defendant and
         Respondent City of Detroit
   38500 Woodward Avenue; Suite 350
   Bloomfield Hills, MI 48304
   248-971-2500
   Email: dbressack@finkbressack.com

   ANDREW A. PATERSON, JR.
         Attorney for Robert Davis
   46350 Grand River Ave.
   Novi, MI 48374
   248 568-9712 Email: aap43@hotmail.com
   MARY ELLEN GUREWITZ
   Attorney for Intervenor
         Democratic National Committee
   Cummings & Cummings Law PLLC
   423 North Main Street; Suite 200
   Royal Oak, MI 48067
   313-204-6979
   Email: megurewitz@gmail.com

   SCOTT R. ELDRIDGE
          Attorney for Intervenor Defendant
          Michigan Democratic Party
   Miller, Canfield,
   One Michigan Avenue; Suite 900
   Lansing, MI 48933-1609
   517-483-4918
   Email: eldridge@millercanfield.com
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4238
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   388 of 1677
                                                                          Page 4 of 50



   DANIEL M. SHARE
   EUGENE DRIKER
   STEPHEN E. GLAZEK
         Attorney for Michigan State Conference NAACP
   Barris, Sott, Denn & Driker, PLLC
   333 West Fort Street; 12th Floor
   Detroit, MI 48226
   313-965-9725
   Email: dshare@bsdd.com

   EZRA D. ROSENBERG
   Lawyers' Committee for Civil Rights Under Law
   1500 K Street, NW; Suite 900
   Washington, DC 20005
   202-662-8345
   Email: erosenberg@lawyerscommittee.org

   JON GREENBAUM
   Lawyers' Committee for Civil Rights Under Law
   District Of Columbia
   1500 K Street NW
   Ste 9th Floor
   Washington, DC 20005
   202-662-8315
   Email: jgreenbaum@lawyerscommittee.org
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4239
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   389 of 1677
                                                                          Page 5 of 50



  ISSUES PRESENTED

      I. THE TRIAL COURT ERRED WHEN IT DENIED THE
  PETITIONERS’ EMERGENCY MOTION WITOUT EVEN A HEARING OR
  ORAL ARGUMENT FOR DECLARATORY, EMERGENCY, AND
  PERMANENT INJUNCTIVE RELIEF WHEN THE PETITIONERS HAD
  PRESENTED A PRIMA FACIE CASE SETTING FORTH CLAIMS OF
  WIDESPREAD VOTER IRREGULARITIES AND FRAUD IN THE STATE
  OF MICHIGAN IN THE PROCESSING AND TABULATION OF VOTES
  AND ABSENTEE BALLOT. THE TRIAL COURT COMPLETELY AND
  UTTERLY IGNORGED THE DOZENS OF AFFIDAVITS, TESTIMONIALS,
  EXPERT OPINIONS, DIAGRAMS AND PHOTOS THAT SUPPORTED THE
  PETITIONERS’ CLAIM SEEKING AN INJUNCTION OF THE VOTING
  PROCESS.

       A. WHETHER THE PETITIONERS HAVE PRESENTED
  SUFFICIENT EVIDENCE TO SUPPORT THREE CLAIMS PURSUANT TO
  42 USC§ 1983: (Count I) VIOLATION OF THE ELECTIONS AND
  ELECTORS CLAUSES; (Count II) VIOLATION OF THE FOURTEEN
  AMENDMENT EQUAL PROTECTION CLAUSE AND (Count III) DENIAL
  OF THE FOURTEENTH AMENDMENT DUE PROCESS CLAUSE AND A
  VIOLATION OF THE MICHIGAN ELECTION CODE?

      B. WHETHER THE PETITIONERS PRESENTED SUFFICIENT
  EVIDENCE WHICH WAS IGNORED BY THE DISTRICT TO WARRANT A
  PRELIMINARY INJUNCTION WHERE THE PROFFERED EVIDENCE
  ESTALBLISHED LIKEHOOD OF SUCCESS ON THE MERITS, THAT THE
  PETITIONERS WOULD SUFFER IRREPARABLE HARM IN THE
  ABSENCE OF PRELIMINARY RELIEF AND THAT THE BALANCE OF
  EQUITIES TIPS IN THIE FAVOR AND THAT AN INJUNCTION IS IN THE
  PUBLIC INTEREST?

      II. WHETHER THE DISTRICT COURT ERRED WHEN IT
  DISMISSED THE PETITIONERS EMERGENCY MOTION AND REQUEST
  FOR PRELIMINARY INJUNCTION WHEN THE COURT HELD THAT THE
  PETITIONERS STATE LAW CLAIMS AGAINST RESPONDENTS WERE
  BARRED BY ELEMENTH AMENDMENT IMMUNITY?

      III. WHETHER THE DISTRICT COURT ERREONEOUSLY HELD
  THAT THE PETITIONERS CLAIMS SEEKING A PRELIMINARY
  INJUNCTION WERE BARRED AS BEING MOOT WHEN THE
  ELECTORAL COLLEGE HAS YET TO CERTIFY THE NATIONAL
  ELECTION AND AS SUCH THE RELIEF REQUESTED IS TIMELY?



                                          i
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4240
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   390 of 1677
                                                                          Page 6 of 50




      IV. WHETHER THE DISTRICT COURT ERRED WHEN IT HELD
  THAT THE PETITIONERS CLAIMS WERE BARRED BY THE DOCTRINE
  OF LACHES WHEN THE CLAIMS WERE IN FACT TIMELY MADE AND
  ARE ADDRESSING HARM THAT IS CONTINUING AND FORTHCOMING
  AND THE RESPONDENTS ARE NOT PREJUDICIED BY ANY DELAYS IN
  THE FILING BY THE PETITIONERS?

      V. WHETHER THE DISTRICT COURT ERRED WHEN IT
  DISMISSED THE PETITIONERS CLAIMS BASED ON THE ABSTENTION
  DOCTRINE IDENTIFIED IN THE US SUPREME COURT CASE OF
  COLORADO RIVER WITHOUT ANY SHOWING OF PARALLEL STATE
  COURT PROCEEDINGS THAT ADDRESS THE IDENTICAL RELIEF
  SOUGHT?

      VI. WHETHER THE DISTRICT COURT ERRED WHEN IT FOUND
  THAT THE PETITIONERS FAILED TO SHOW THAT THEIR INJURY CAN
  BE REDRESSED BY THE RELIEF SOUGHT AND HELD THAT THE
  PETITIONERS POSSESS NO STANDING TO PURSUE THEIR EQUAL
  PROTECTION CLAIM WHEN GIVEN THE EVIDENCE PRESENTED AND
  THE RELIEF SOUGHT, THE ISSUE OF VOTER FRAUD AND
  VALIDATION OF ELECTION IS THE VERY RELIEF THAT A COURT CAN
  REDRESS PURSUANT TO THE EQUAL PROTECTION AND THE
  PETITIONERS CLEARLY HAVE STANDING?

       VII. WHETHER THE DISTRICT COURT ERRED WHEN IT FOUND
  THAT PETITIONERS CLAIMS WERE BARRED BECAUSE THE COURT
  DETERMINED THE PETITIONERS “ASSERT NO PARTICULARIZED
  STAKE IN THE LITIGATION” AND FAILED TO ESTABLISH AN INJURY-
  IN-FACT AND THUS LACK STANDING TO BRING THEIR ELECTIONS
  CLAUSE AND ELECTORS CLAUSE CLAIMS WHEN THE PETITIONERS
  ARE THE VERY INDIVIDUALS WHO CAN ASSERT THIS CLAIM AND
  HAVE PROPER STANDING TO DO SO?




                                          ii
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4241
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   391 of 1677
                                                                          Page 7 of 50




  PARTIES TO THE PROCEEDINGS AND STANDING

        All parties appear in the caption of the case on the cover page.

        Each of the following Plaintiffs/Petitioners are registered Michigan
  voters and nominees of the Republican Party to be a Presidential Elector on
  behalf of the State of Michigan: Timothy King, a resident of Washtenaw
  County, Michigan; Marian Ellen Sheridan, a resident of Oakland County,
  Michigan; and, John Earl Haggard, a resident of Charlevoix, Michigan;

         Each of these Plaintiffs/Petitioners has standing to bring this action as
  voters and as candidates for the office of Elector under MCL §§ 168.42 &
  168.43 (election procedures for Michigan electors).As such, Presidential
  Electors “have a cognizable interest in ensuring that the final vote tally
  reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete
  and particularized injury to candidates such as the Electors.” Carson v.
  Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential
  Electors have Article III and prudential standing to challenge actions of
  Secretary of State in implementing or modifying State election laws); see also
  McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty.
  Canvassing Bd., 531 U.S. 70, 76 (2000) (per curiam). Each brings this action
  to set aside and decertify the election results for the Office of President of the
  United States that was certified by the Michigan Secretary of State on
  November 23, 2020. The certified results showed a plurality of 154,188 votes
  in favor of former Vice-President Joe Biden over President Trump.

        Petitioner James Ritchard is a registered voter residing in Oceana
  County. He is the Republican Party Chairman of Oceana County. Petitioner
  James David Hooper is a registered voter residing in Wayne County. He is the
  Republican Party Chairman for the Wayne County Eleventh District.
  Petitioner Daren Wade Ribingh is a registered voter residing in Antrim
  County. He is the Republican Party Chairman of Antrim County.

         Respondent Gretchen Whitmer (Governor of Michigan) is named herein
  in her official capacity as Governor of the State of Michigan. Respondent
  Jocelyn Benson (“Secretary Benson”) is named as a defendant/respondent in
  her official capacity as Michigan’s Secretary of State. Jocelyn Benson is the
  “chief elections officer” responsible for overseeing the conduct of Michigan
  elections. Respondent Michigan Board of State Canvassers is “responsible for
  approv[ing] voting equipment for use in the state, certify[ing] the result of
  elections held statewide….” Michigan Election Officials’ Manual, p. 4. See also
  MCL 168.841, etseq. On March 23, 2020, the Board of State Canvassers
  certified the results of the 2020 election finding that Joe Biden had received
  154,188 more votes than President Donald Trump.
                                           iii
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4242
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   392 of 1677
                                                                          Page 8 of 50



                              TABLE OF CONTENTS

  ISSUES PRESENTED………………………………………………….                                     i

  PARTIES TO THE PROCEEDINGS AND STANDING………………… iii

  TABLE OF CONTENTS………………………………………………..                                    iv

  INDEX TO APPENDICES……………………………………………..                                   vi

  TABLE OF AUTHORITIES……………………………………………                                    vii

  INTRODUCTION……………………………………………………………… 1

  OPINION BELOW………………………………………………………                                       3

  JURISDICTION………………………………………………………….                                      3

  CONSTITUTIONAL AND STATUTORY PROVISIONS………………… 5

  STATEMENT OF THE CASE………………………………………………. 6

  REASONS IN SUPPORT OF GRANTING WRIT OF CERTIORARI                        10

  ARGUMENTS

      I. THE TRIAL COURT ERRED WHEN IT DENIED THE
  PETITIONERS’ EMERGENCY MOTION WITOUT EVEN A HEARING OR
  ORAL ARGUMENT FOR DECLARATORY, EMERGENCY, AND
  PERMANENT INJUNCTIVE RELIEF WHEN THE PETITIONERS HAD
  PRESENTED A PRIMA FACIE CASE SETTING FORTH CLAIMS OF
  WIDESPREAD VOTER IRREGULARITIES AND FRAUD IN THE STATE
  OF MICHIGAN IN THE PROCESSING AND TABULATION OF VOTES
  AND ABSENTEE BALLOT. THE TRIAL COURT COMPLETELY AND
  UTTERLY IGNORGED THE DOZENS OF AFFIDAVITS, TESTIMONIALS,
  EXPERT OPINIONS, DIAGRAMS AND PHOTOS THAT SUPPORTED THE
  PETITIONERS’ CLAIM SEEKING AN INJUNCTION OF THE VOTING
  PROCESS.                                         10

      A. THE PETITIONERS HAVE PRESENTED SUFFICIENT
  EVIDENCE TO SUPPORT THREE CLAIMS PURSUANT TO 42 USC§ 1983:
  VIOLATION OF THE ELECTIONS AND ELECTORS CLAUSES;
  VIOLATION OF THE 14TH AMENDMENT EQUAL PROTECTION CLAUSE
  AND (Ct III) DENIAL OF THE 14th AMENDMENT DUE PROCESS
  CLAUSE AND A VIOLATION OF THE MICHIGAN ELECTION CODE. 11
                                          iv
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-13,
                                        35-2PageID.4243
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   393 of 1677
                                                                          Page 9 of 50




      B. THE PETITIONERS PRESENTED SUFFICIENT EVIDENCE
  WHICH WAS IGNORED BY THE DISTRICT TO WARRANT A
  PRELIMINARY INJUNCTION WHERE THE PROFFERED EVIDENCE
  ESTALBLISHED LIKEHOOD OF SUCCESS ON THE MERITS, THAT THE
  PETITIONERS WOULD SUFFER IRREPARABLE HARM IN THE
  ABSENCE OF PRELIMINARY RELIEF AND THAT THE BALANCE OF
  EQUITIES TIPS IN THIE FAVOR AND THAT AN INJUNCTION IS IN THE
  PUBLIC INTEREST.                                 12

      II. THE DISTRICT COURT ERRED WHEN IT DISMISSED THE
  PETITIONERS EMERGENCY MOTION AND REQUEST FOR
  PRELIMINARY INJUNCTION WHEN THE COURT HELD THAT THE
  PETITIONERS STATE LAW CLAIMS AGAINST RESPONDENTS WERE
  BARRED BY ELEMENTH AMENDMENT IMMUNITY.           14

      III. THE DISTRICT COURT ERREONEOUSLY HELD THAT THE
  PETITIONERS CLAIMS SEEKING A PRELIMINARY INJUNCTION WERE
  BARRED AS BEING MOOT WHEN THE ELECTORAL COLLEGE HAS YET
  TO CERTIFY THE NATIONAL ELECTION AND AS SUCH THE RELIEF
  REQUESTED IS TIMELY.                            15

       IV. THE DISTRICT COURT ERRED WHEN IT HELD THAT THE
  PETITIONERS CLAIMS WERE BARRED BY THE DOCTRINE OF LACHES
  WHEN THE CLAIMS WERE IN FACT TIMELY MADE AND ARE
  ADDRESSING HARM THAT IS CONTINUING AND FORTHCOMING AND
  THE RESPONDENTS ARE NOT PREJUDICIED BY ANY DELAYS IN THE
  FILING BY THE PETITIONERS.                       16

      V. THE DISTRICT COURT ERRED WHEN IT DISMISSED THE
  PETITIONERS CLAIMS BASED ON THE ABSTENTION DOCTRINE
  IDENTIFIED IN THE US SUPREME COURT CASE OF COLORADO RIVER
  WITHOUT ANY SHOWING OF PARALLEL STATE COURT
  PROCEEDINGS THAT ADDRESS THE IDENTICAL RELIEF
  SOUGHT.                                         20

      VI. THE DISTRICT COURT ERRED WHEN IT FOUND THAT THE
  PETITIONERS FAILED TO SHOW THAT THEIR INJURY CAN BE
  REDRESSED BY THE RELIEF SOUGHT AND HELD THAT THE
  PETITIONERS POSSESS NO STANDING TO PURSUE THEIR EQUAL
  PROTECTION CLAIM WHEN GIVEN THE EVIDENCE PRESENTED AND
  THE RELIEF SOUGHT, THE ISSUE OF VOTER FRAUD AND
  VALIDATION OF ELECTION IS THE VERY RELIEF THAT A COURT CAN
  REDRESS PURSUANT TO THE EQUAL PROTECTION AND THE
  PETITIONERS CLEARLY HAVE STANDING.               22
                                          v
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4244
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      394 of Page
                                                                             1677 10 of 50



       VII. WHETHER THE DISTRICT COURT ERRED WHEN IT FOUND
  THAT PETITIONERS CLAIMS WERE BARRED BECAUSE THE COURT
  DETERMINED THE PETITIONERS “ASSERT NO PARTICULARIZED
  STAKE IN THE LITIGATION” AND FAILED TO ESTABLISH AN INJURY-
  IN-FACT AND THUS LACK STANDING TO BRING THEIR ELECTIONS
  CLAUSE AND ELECTORS CLAUSE CLAIMS WHEN THE PETITIONERS
  ARE THE VERY INDIVIDUALS WHO CAN ASSERT THIS CLAIM AND
  HAVE PROPER STANDING TO DO SO?                    24

  CONCLUSION………………………………………………………                                       25

  CERTIFICATE OF SERVICE………………………………………

                             INDEX TO APPENDICES

  Lower Court King Et al vs. Whitmer Et al, Case No. 20-cv-13134, US
  District Court, Eastern District of Michigan, Exhibits 1-43, PgID 958-
  1831)
                                                                Page No.
  1.    Civil Docket For Case 20-cv-13134                       1-12
  2.    Exhibit 1 R. 6 Amended Complaint                        13-97
  3.    Exhibit 2 R. 6-1 Redacted Declaration                   98-105
  4.    Exhibit 3 R 6-2 Ballot Making Devices (BMD) Cannot Assure Will
  of Voters                                                     106-133
  5     Exhibit 4 R 6-3 Affidavits including Abbie Helminen, Andrew
  Mill, Anna Pennala, Etc. 234 pages                            134-367
  6.    Exhibit 5 R. 6-4 Constantino v. City of Detroit         368-444
  7.    Exhibit 6 R. 6-5 Mellissa Carona                        445-447
  8.    Exhibit 7 R. 6-6 Jessica Connard                        448-451
  9.    Exhibit 8 R. 6-7 Matt Ciantar                           452-454
  10. Exhibit 9 R. 6-8 Dominion Voting System Contract 455-615
  11. Exhibit 10 R. 6-9 Texas-Preliminary Statement, Dominion Voting
  System                                                        616-618
  12 Exhibit 11 R. 6-10 Kayla Toma                              619-625
  13. Exhibit 12 R. 6-11 Monica Palmer                          626-631
  14 Exhibit 13 R. 6-12 William Hartmann                        626-631
  15 Exhibit 14 R. 6-13 Patrick Colbeck                         637-643
  16 Exhibit 15 R. 6-14 Patrick Colbeck                         644-645
  17 Exhibit 16 R 6-15 Carlos Malony, Member of Congress 646-647
  18 Exhibit 17 R. 6-16 US Senators Letter                      648-662
                                            vi
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4245
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      395 of Page
                                                                             1677 11 of 50



  19 Exhibit 18 R. 6-17 Ann Cardozo                           663-667
  20 Exhibit 19 R. 6-18 Cybersecurity Advisory, IRAN          668-677
  21 Exhibit 20 R. 6-19 Joseph Oltrann                        678-683
  22 Exhibit 21 R. 6-20 Marian Sheridan                       684-685
  23 Exhibit 22 R. 6-21 Analysis of Surveys                   686-705
  24 Exhibit 23 R. 6-22 Statistical Voting Analysis in the Michigan 2020
  Presidential Election                                       706-713
  25 Exhibit 24 R. 6-23 Matt Braynard on Twitter              714
  26 Exhibit 25 R. 6-24 Russel James Ramsland, Jr.            715-722
  27 Exhibit 26 R. 6-25 Electronic Intelligence Analyst       723-739
  28 Exhibit 27 R. 6-26 Ronald Watkins                        740-746
  29 Exhibit 28 R. 6-27 Harri Hursti                          747-803
  30 Exhibit 29 R. 6-28 Electronic J. Alex Halderman          804-913
  31 Exhibit 30 R. 6-29 Michigan 2020 Voter Analysis
  report, 11-17-20                                            914-970
  32 Exhibit 31 R. 6-30 Redacted Declaration                  971-974
  33. Exhibit 32 R. 7 Motion for Temporary Restraining Order 975-992
  34. Exhibit 33 R. 49 Reply to response Re: Emergency Motion for
  Temporary Restraining Order                                 993-1025
  35. Exhibit 34 R. 49-1 Response to Stephen Ansolabehere’s Comments
  Regarding Absentee Ballots Across
  Several States                                              1026-1029
  35. Exhibit 35 R. 49-2 Expert report of Eric Quinnell, PhD 1030-1035
  36. Exhibit 36 R. 49-3 Expert Report of Russell J.          1036-1068
  37. Exhibit 37 R. 49-4     Redacted Affidavit               1069-1077
  38. Exhibit 38 R. 57 Supplemental Brief Re: Motion for Temporary
  Restraining Order.                                          1078-1082
  39. Exhibit 39 R. 57-1 Freehan v. Wisconsin
  Elections Comm                                              1083-1092
  40. Exhibit 40 R. 57-2 Amended Complaint Freehan vs. Wisconsin
  Elections Committee                                         1093-1143
  41 Exhibit 41 R. 60 Response to Emergency Motion for Temporary
  Restaining Order                                            144-1146
  42. Exhibit 42 R. 62, OPINION AND ORDER DENYING
  PLAINTIFFS’ “EMERGENCY MOTION FOR DECLARATORY,
  EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF” PgID 3295-
  3330                                                   1147-1182
  43. Exhibit 42, R. 64 Notice of Appeal                      1183

                                           vii
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4246
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      396 of Page
                                                                             1677 12 of 50



                              TABLE OF AUTHORITIES

  CASES                                                           PAGE

  Am. Civil Liberties Union of Kentucky v. McCreary Cnty., Ky., 354 F.3d
  438, 445 (6th Cir. 2003) aff’d sub nom.                     22

  Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,
  576 U.S. 787 (U.S. 2015)                                              6, 7

  Baker v. Carr, 369 U.S. 186 (1962)                                    20

  Barrow v. Detroit Mayor, 290 Mich. App. 530 (2010                     21

  Bush v. Gore, 531 U.S. 98, 113 (2000)                                 3, 5, 22

  Cheney v. U.S. Dist. Court, 542 U .S. 367 (2004)                      4

  Colorado River Water Conservation Dist. v. United States, 424 U.S. 800,
  808 (1976)                                                   16-18

  Ex Parte Republic of Peru, 63 S.Ct. 793 (1943)                        4

  FTC v. Dean Foods Co., 86 S.Ct. 1738 (1966)                           5

  George v. Haslam, 112 F.Supp.3d 700, 710 (M.D. Tenn. 2015)            21

  Graco Children's Products, Inc. v. Regalo International, LLC,
  77 F. Supp. 2d 660, 662 (E.D. Pa. 1999)                       18

  In RocheEvaporated Milk Ass’n, 63 S.Ct. 938, 941 (1943),              5

  Hamlin v. Saugatuck Twp.,299 Mich. App. 233 (2013)                    20-21

  Harman v. Forssenius, 380 U.S. 528 (1965)                             17, 25

  Louisville Bedding Co. v. Perfect Fit Indus., 186 F. Supp. 2d 752
  Dist. LEXIS 9599                                               18

  Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)                   21

  McCreary Cnty., Ky., v. Am. Civil Liberties Union of Ky.,
  545 U.S. 844 (2005)                                                   22



                                           viii
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4247
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      397 of Page
                                                                             1677 13 of 50



  Meade v. Pension Appeals and Review Committee,
  966 F.2d 190 (6th Cir. 1992)                                          15

  Obama for America vs. Husted, 697 F.3d 423 (6th Cir. 2012)

  Ohio Citizens for Responsible Energy, Inc. v. NRC,
  479 U.S. 1312 (1986)                                                  4

  Reynolds v. Sims, 377 U.S. 533 (1964)                                 20

  Russell v. Lundergan-Grimes, 784 F.3d 1037 (6th Cir. 2015).           11, 14
  Smiley v. Holm, 285 U.S. 355, 365(1932)                               3, 6-7

  State of Texas v. Commonwealth of Pennsylvania Et al,
  SCt Case No. 22O155                                                   4

  Toney v. White, 488 F.2d 310 (5th Cir. 1973)                          15


  STATUTES, RULES, CONSTITUTIONAL CITATIONS

  U.S. CONST. art. I, § 4 (“Elections Clause”).                         5, 6

  U.S. CONST. art. II, § 1 (“Electors Clause”).                         6

  U.S. Const. art. II, §1, cl. 2                                        5

  Fourteenth Amendment of the United States Constitution                5

  28 U.S.C. § 1331                                                      1

  28 U.S.C. §§ 2201and 2202                                             3

  28 U.S.C. § 1391(b) &(c)                                              3

  28 USC § 1254(1)                                                      4

  28 U.S.C.§ 1367                                                       3

  Article III, §2 of the United States Constitution                     4

  28 U.S.C. § 1651(a)                                                   4

  28 U.S.C. § 1651(a)                                                   5


                                            ix
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4248
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      398 of Page
                                                                             1677 14 of 50



  42 U.S.C. §§ 1983 and 1988, and under MCL 168.86                      6

  250 U.S.C. § 20701                                                    1

  The Mich. Const., art.2, sec.4,                                       7

  MCL § 168.31a                                                         25

  MCL § 168.861                                                         25

  Michigan Election Code, MCL §§ 168.730-738,                           23

  MCL §§ 168.730-738 & Mich. Const. 1963, art. 2, §4(1).                23

  MCL § 168.730 & § 168.733(1)                                          6

  MCL § 168.31(1)(a)                                                    6

  MCL 168.765a;                                                         6

  MCL 168.733                                                           6

  MCL §§ 168.42 & 168.43.                                               6

  MCL § 168.31a                                                         21

  MCL § 168.861                                                         21

  MCL §§ 168.730-738                                                    1

  Rule 57, Fed. R. Civ. P.                                              3

  CORPORATE DISCLOSURE STATEMENT

  Pursuant to Supreme Court Rule 29.6, the Petitioners herein disclose the
  following: There is no parent or publicly held company owning 10% or
  more of Respondent’s stock or corporate interest.




                                            x
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4249
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      399 of Page
                                                                             1677 15 of 50




          INTRODUCTION


          Petitioners file this motion seeking immediate relief in
   anticipation of their petition for certiorari from the judgment of the
   District Court dated December 7, 2020, dismissing their case after
   denying their motion for a Temporary Restraining Order. (R.62).
   Petitioners filed a notice of appeal to the Sixth Circuit on December 8,
   2020. (R.64). Because of the exigencies of time, they have not presented
   their case to the Sixth Circuit but, rather, will seek certiorari before
   judgment in the court of appeals pursuant to S. Ct. R. 11. This motion
   for immediate preliminary relief seeks to maintain the status quo so
   that the passage of time and the actions of Respondents do not render
   the case moot, depriving this Court of the opportunity to resolve the
   weighty issues presented herein and Respondents of any possibility of
   obtaining meaningful relief.


          Petitioners seek review of the district court’s order denying any
   meaningful consideration of credible allegations of massive election
   fraud, multiple violations of the Michigan Election Code, see, e.g., MCL §§
   168.730-738 and Equal Protection Clause of the U.S. Constitution that
   occurred during the 2020 General Election throughout the State of
   Michigan. Petitioners presented substantial evidence consisting of sworn
   declarations of dozens of eyewitnesses and of experts identifying
   statistical anomalies and mathematical impossibilities, as well as a
   multistate, conspiracy, facilitated by foreign actors, including China and
   Iran, designed to deprive Petitioners to their rights to a fair and lawful
   election. The district court ignored it all. It failed to hear from a single
   witness or consider any expert and made findings without any
   examination of the record.
                                            1
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4250
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      400 of Page
                                                                             1677 16 of 50




          The scheme and artifice to defraud illegally and fraudulently
   manipulate the vote count to manufacture the “election” of Joe Biden as
   President of the United States. The fraud was executed by many means,
   but the most fundamentally troubling, insidious, and egregious ploy was
   the systemic adaptation of old-fashioned “ballot-stuffing.” It has now
   been amplified and rendered virtually invisible by computer software
   created and run the vote tabulation by domestic and foreign actors for
   that very purpose. The petition detailed an especially egregious range of
   conduct in Wayne County and the City of Detroit, though this conduct
   occurred throughout the State with the cooperation and control of
   Michigan state election officials, including Respondents.


          The multifaceted schemes and artifices to defraud implemented
   by Respondents and their collaborators resulted in the unlawful
   counting, or outright manufacturing, of hundreds of thousands of illegal,
   ineligible, duplicate, or purely fictitious ballots in Michigan. The same
   pattern of election fraud and vote-counting fraud writ large occurred in
   all the swing states with only minor variations in Michigan,
   Pennsylvania, Arizona, and Wisconsin. See Ex. 101, William M. Briggs,
   Ph.D. “An Analysis Regarding Absentee Ballots Across Several States”
   (Nov. 23, 2020) (“Dr. Briggs Report”). Unlike some other petitions
   currently pending, this case presented an enormous amount of
   evidence in sworn statements and expert reports. According to the
   final certified tally in Michigan, Mr. Biden had a slim margin of
   146,000 votes.


          The election software and hardware from Dominion Voting
   Systems (“Dominion”) used by the Michigan Board of State Canvassers
   was created to achieve election fraud. See Ex. 1, Redacted Declaration of
                                            2
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4251
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      401 of Page
                                                                             1677 17 of 50




   Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”).
   The Dominion systems derive from the software designed by Smartmatic
   Corporation, which became Sequoia in the United States.


          The trial court did not examine or even comment on Petitioners’
   expert witnesses, including Russell James Ramsland, Jr. (Ex. 101,
   “Ramsland Affidavit”), who testified that Dominion alone is responsible
   for the injection, or fabrication, of 289,866 illegal votes in Michigan. This
   is almost twice the number of Mr. Biden’s purported lead in the
   Michigan vote (without consideration of the additional illegal, ineligible,
   duplicate or fictitious votes due to the unlawful conduct outlined below).
   This, by itself, requires that the district court grant the declaratory and
   injunctive relief Petitioners sought. Andrew W. Appel, et al., “Ballot
   Marking Devices (BMDs) Cannot Assure the Will of the Voters” at (Dec.
   27, 2019), attached hereto as Exhibit 2 (“Appel Study”).


          In addition to the Dominion computer fraud, Petitioners identified
   multiple means of “traditional” voting fraud and Michigan Election Code
   violations, supplemented by harassment, intimidation, discrimination,
   abuse, and even physical removal of Republican poll challengers to
   eliminate any semblance of transparency, objectivity, or fairness from
   the vote counting process. Systematic violations of the Michigan Election
   Code cast significant doubt on the results of the election and call for this
   Court to set aside the 2020 Michigan General Election and grant the
   declaratory and injunctive relief requested herein. King Et al vs.
   Whitmer Et al, No. 20-cv-13134, Eastern District of Michigan, Exhibits
   1-43, PgID 958-1831.



                                            3
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4252
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      402 of Page
                                                                             1677 18 of 50




                                  OPINION BELOW


          Judge Linda Parker, in the Eastern District of Michigan, without
   an evidentiary hearing or even oral argument, denied Petitioners
   “Emergency Motion for Declaratory, Emergency, and Permanent
   Injunctive Relief.” The court held the Eleventh Amendment bars
   Petitioners claims against Respondents (R, 62, PgID, 3307); Petitioners
   claims for relief concerning the 2020 General Election were moot (R, 62,
   PgID, 3310); Petitioners claims were barred by laches as a result of
   “delay” (R,62, PgID, 3313); and abstention is appropriate under the
   Colorado River doctrine; (R, 62, PgID 3317). The Court further held
   that petitioners lacked standing. (R, 62, PgID 3324).


          The Court stated, “it appears that Petitioners’ claims are in fact
   state law claims disguised as federal claims” (R, 62, PgID 3324) and held
   there was no established equal protection claim (R, 62, PgID 3324). The
   Court declined to discuss the remaining preliminary injunction factors
   extensively. (R, 62, PgID, 3329). Opinion and Order Attached Denying
   Petitioner’s’ Emergency Motion for Declaratory, Emergency, and
   Permanent Injunctive Relief. (R. 62).


                                  JURISDICTION


          The district Court had subject matter over these federal questions
   under 28 U.S.C. § 1331 because it presents numerous claims based on
   federal law and the U.S. Constitution. The district court also has subject
   matter jurisdiction under 28 U.S.C. § 1343 because this action involves a
   federal election for President of the United States. “A significant
   departure from the legislative scheme for appointing Presidential

                                            4
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4253
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      403 of Page
                                                                             1677 19 of 50




   electors presents a federal constitutional question.” Bush v. Gore, 531
   U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm, 285
   U.S. 355, 365(1932).


          The district court had authority to grant declaratory relief under
   28 U.S.C. §§ 2201and 2202 and by Fed. R. Civ. P. 5 7 . The district
   court had supplemental jurisdiction over the related Michigan
   constitutional claims and state-law claims under 28 U.S.C.§ 1367.


          This Court has jurisdiction under 28 USC § 1254(1) because the
   case is in the Court of Appeals for the Sixth Circuit and petitioners
   are parties in the case. This Court should grant certiorari before
   judgment in the Court of Appeals pursuant to Supreme Court Rule
   11 because “the case is of such imperative public importance as to
   justify deviation from normal appellate practice and to require
   immediate determination in this Court.” The United States
   Constitution reserves for state legislatures the power to set the time,
   place, and manner of holding elections for Congress and the President,
   state executive officers, including but not limited to Secretary
   Benson, have no authority to unilaterally exercise that power, much
   less flout existing legislation. Moreover, Petitioners Timothy King,
   Marian Ellen Sheridan, John Earl Haggard, Charles James Ritchard,
   James David Hooper, and Daren Wade Rubingh, are candidates for
   the office of Presidential Electors who have a direct and personal
   stake in the outcome of the election and are therefore entitled to
   challenge the manner in which the election was conducted and the
   votes tabulated under the authority of this Court’s decision in Bush v.
   Gore, 531 U.S. 98 (2000).


                                            5
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4254
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      404 of Page
                                                                             1677 20 of 50




          Additionally, this Court has jurisdiction pursuant to the All Writs
   Act, 28 U.S.C. § 1651(a) and United States Supreme Court Rule 20,
   Procedure on a Petition for an Extraordinary Writ. Petitioners will
   suffer irreparable harm if they do not obtain immediate relief. The
   Electors are set to vote on December 14, 2020. The issues raised are
   weighty as they call into question who is the legitimate winner of the
   2020 presidential election. These exceptional circumstances warrant the
   exercise of the Court’s discretionary powers, particularly as this case
   will supplement the Court’s understanding of a related pending case,
   State of Texas v. Commonwealth of Pennsylvania et al, S.Ct. Case No.
   220155.


          The All Writs Act authorizes an individual Justice or the full Court
   to issue an injunction when (1) the circumstances presented are “critical
   and exigent”; (2) the legal rights at issue are “indisputably clear”; and
   (3) injunctive relief is “necessary or appropriate in aid of the Court’s
   jurisdiction.” Ohio Citizens for Responsible Energy, Inc. v. NRC, 479 U.S.
   1312 (1986) (Scalia, J., in chambers) (citations and alterations omitted).


          A submission directly to this Court for a Writ of Certiorari, a
   Stay of Proceeding and a Preliminary Injunction is an extraordinary
   request, but it has its foundation. While such relief is rare, this Court
   will grant it “where a question of public importance is involved, or
   where the question is of such a nature that it is peculiarly
   appropriate that such action by this Court should be taken.” Ex Parte
   Peru, 318 U.S. 578, 585 (1943). See also Cheney v. U.S. Dist. Court,
   542 U.S. 367, 380–81 (2004).



                                            6
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4255
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      405 of Page
                                                                             1677 21 of 50




          Here, Petitioners and the public will suffer irreparable harm if this
   Court does not act without delay. Once the electoral votes are cast,
   subsequent relief would be pointless. In Federal Trade Commission v.
   Dean Foods Co., 384 U.S. 597 (1966), the Court affirmed the Seventh
   Circuit, finding authority under 28 U.S.C. § 1651(a) to enjoin merger
   violating Clayton Act, where the statute itself was silent on whether
   injunctive relief was available regarding an application by the FTC.
   “These decisions furnish ample precedent to support jurisdiction of the
   Court of Appeals to issue a preliminary injunction preventing the
   consummation of this agreement upon a showing that an effective
   remedial order, once the merger was implemented, would otherwise be
   virtually impossible, thus rendering the enforcement of any final decree
   of divestiture futile.” Id. at 1743. This Court rendered a similar decision in
   Roche v. Evaporated Milk Assn, 319 U.S. 21 (1943), granting a writ of
   mandamus, even though there was no appealable order and no
   appeal had been perfected because "[o]therwise the appellate
   jurisdiction could be defeated and the purpose of the statute
   authorizing the writ thwarted by unauthorized action of the district
   court obstructing the appeal.”




                                            7
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4256
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      406 of Page
                                                                             1677 22 of 50




          CONSTITUTIONAL AND STATUTORY PROVISIONS
          The Fourteenth Amendment of the United States Constitution
   provides “nor shall any state deprive any person of life, liberty, or
   property, without due process of law; nor deny to any person within its
   jurisdiction the equal protection of the laws.”


          The Electors Clause states that “[e]ach State shall appoint, in
   such Manner as the Legislature thereof may direct, a Number of
   Electors” for president. U.S. Const. art. II, §1, cl. 2.


          The Elections Clause states: “The Times, Places and Manner of
   holding Elections for Senators and Representatives, shall be
   prescribed in each State by the Legislature thereof; but the Congress
   may at any time by Law make or alter such Regulations, except as to
   the Places of chusing Senators.” U.S. Const. art. I, §4, cl. 1.


          The Constitution of Michigan, Article II, § 4, clause 1(h) states:
   “The right to have the results of statewide elections audited, in such
   a manner as prescribed by law, to ensure the accuracy and integrity
   of elections. All rights set forth in this subsection shall be self-
   executing. This subsection shall be liberally construed in favor of
   voters' rights in order to effectuate its purposes.”


          The Michigan Election Code provides voting procedures and rules
   for the State of Michigan. M.C.L. § 168.730, designation, qualifications,
   and number of challengers, M.C.L. § 168.733,challengers, space in
   polling place, rights, space at counting board, expulsion for cause,
   protection, threat or intimidation, MCL § 168.31(1)(a) Secretary of state,
   duties as to elections, rule MCL 168.765a absent voter counting board.
                                            8
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4257
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      407 of Page
                                                                             1677 23 of 50




          STATEMENT OF THE CASE


          Petitioners brought this case to vindicate their constitutional
   right to a free and fair election ensuring the accuracy and integrity of
   the process pursuant to the Michigan Constitution, art. 2, sec. 4, par.
   1(h), which states all Michigan citizens have: “The right to have the
   results of statewide elections audited, in such a manner as prescribed
   by law, to ensure the accuracy and integrity of elections.”


          The Mich. Const., art.2, sec.4, par. 1(h) further states, “All rights
   set forth in this subsection shall be self-executing. This subsection shall
   be liberally construed in favor of voters' rights in order to effectuate its
   purposes.”


          These state-law procedures, in turn, implicate Petitioners’
   rights under federal law and the U.S. Constitution. “When the state
   legislature vests the right to vote for President in its people, the right
   to vote as the legislature has prescribed is fundamental; and one
   source of its fundamental nature lies in the equal weight accorded to
   each vote and the equal dignity owed to each voter.” Bush v. Gore,
   531 U.S. at 104.      "[I]n the context of a Presidential election, state-
   imposed restrictions implicate a uniquely important national
   interest. For the President and the Vice President of the United
   States are the only elected officials who represent all the voters in
   the Nation." Anderson v. Celebrezze, 460 U.S. 780, 794-795 (1983)
   (footnote omitted).




                                            9
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4258
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      408 of Page
                                                                             1677 24 of 50




          Based upon all the allegations of fraud, statutory violations, and
   other misconduct, as stated herein and in the attached affidavits, this
   Court should exercise its authority to issue the writ of certiorari and
   stay the vote for the Electors in Michigan.


          Fact Witness Testimony of Voting Fraud & Other Illegal Conduct


         Respondents and their collaborators have executed a
   multifaceted scheme to defraud Michigan voters, resulting in the
   unlawful counting of hundreds of thousands of illegal, ineligible,
   duplicate or purely fictitious ballots in the State of Michigan.
   Evidence included in Respondents’ complaint and reflected in Section
   IV herein shows with specificity the minimum number of ballots that
   should be discounted, which is more than sufficient to overturn and
   reverse the certified election results. This evidence, provided in the
   form of dozens of affidavits and reports from fact and expert
   witnesses, further shows that the entire process in Michigan was so
   riddled with fraud and illegality that certified results cannot be relied
   upon for any purpose by anyone involved in the electoral system.

          There were three broad categories of illegal conduct by election
   workers in collaboration with other state, county and/or city employees
   and Democratic poll watchers and activists.


          First, election workers illegally forged, added, removed or
   otherwise altered information on ballots, the Qualified Voter File (QVF)
   and Other Voting Records, including:




                                            10
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4259
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      409 of Page
                                                                             1677 25 of 50




            A.     Fraudulently adding “tens of thousands” of new ballots and/or
      new voters to QVF in two separate batches on November 4, 2020, all or
      nearly all of which were votes for Joe Biden.
            B.     Forging voter information and fraudulently adding new voters
      to the QVF Voters, in particular, e.g., when a voter’s name could not be
      found, the election worker assigned the ballot to a random name already
      in the QVF to a person who had not voted and recorded these new voters
      as having a birthdate of 1/1/1900.
            C.     Changing dates on absentee ballots received after the 8:00
      PM Election Day deadline to indicate that such ballots were received
      before the deadline.
            D.     Changing votes for Trump and other Republican candidates.
            E.     Adding votes to “undervote” ballots and removing votes from
      “overvote” ballots.1


            Second, to facilitate and cover up the voting fraud and counting of
      fraudulent, illegal or ineligible voters, election workers:


            A.     Denied Republican election challengers’ access to the
      TCF Center, where all Wayne County, Michigan ballots were
      processed and counted.
            B.     Denied Republic poll watchers at the TCF Center meaningful
      access to view ballot handling, processing, or counting, and locked
      credentialed challengers out of the counting room so they could not
      observe the process, during which time tens of thousands of ballots were
      processed.


  1
    As explained in Bush v. Gore, “overvote” ballots are those where “the [voting] machines had
  failed to detect a vote for President,” 531 U.S. at 102, while “overvote” ballots are those “which
  contain more than one” vote for President. Id. at 107.
                                                   11
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4260
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      410 of Page
                                                                             1677 26 of 50




          C.    Engaged in a systematic pattern of harassment, intimidation
   and even physical removal of Republican election challengers or locking
   them out of the TCF Center.
          D.    Systematically discriminated against Republican poll
   watchers and favored Democratic poll watchers.
          E.    Ignored or refused to record Republican challenges to the
   violations outlined herein.
          F.    Refused to permit Republican poll challengers to observe
   ballot duplication and other instances where they allowed ballots to be
   duplicated by hand without allowing poll challengers to check if the
   duplication was accurate.
          G.    Unlawfully coached voters to vote for Joe Biden and to vote a
   straight Democrat ballot, including by going over to the voting booths
   with voters in order to watch them vote and coach them for whom to
   vote. As a result, Democratic election challengers outnumbered
   Republicans by 2:1 or 3:1 (or sometimes 2:0 at voting machines).
          H.    Collaborated with Michigan State, Wayne County and/or
   City of Detroit employees (including police) in all of the above unlawful
   and discriminatory behavior.


          Third, election workers in some counties committed several
   additional categories of violations of the Michigan Election Code to
   enable them to accept and count other illegal, ineligible or duplicate
   ballots, or reject Trump or Republican ballots, including:


          A.    Permitting illegal double voting by persons that had voted by
   absentee ballot and in person.
          B.    Counting ineligible ballots – and in many cases – multiple
   times.
                                            12
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4261
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      411 of Page
                                                                             1677 27 of 50




          C.    Counting ballots without signatures, or without
   attempting to match signatures, and ballots without postmarks,
   pursuant to direct instructions from Respondents.
          D.    Counting “spoiled” ballots.
          E.    Systematically violating of ballot secrecy requirements.
          F.    Counted unsecured ballots that arrived at the TCF Center
   loading garage, not in sealed ballot boxes, without any chain of
   custody, and without envelopes, after the 8:00 PM Election Day
   deadline, in particular, tens of thousands of ballots that arrived on
   November 4, 2020.
          G.    Accepting and counting ballots from deceased voters.


          Expert Witness Testimony Regarding Voting Fraud
          In addition to the above fact witnesses, this Complaint
   presented expert witness testimony demonstrating that several
   hundred thousand illegal, ineligible, duplicate or purely fictitious votes
   must be thrown out, in particular:


          (1) A report from Russel Ramsland, Jr. showing the “physical
   impossibility” of nearly 385,000 votes tabulated by four precincts on
   November 4, 2020 in two hours and thirty-eight minutes, that derived
   from the processing of nearly 290,000 more ballots than available
   machine counting capacity (which is based on statistical analysis that is
   independent of his analysis of Dominion’s flaws).


          (2) A report from Dr. William Briggs, showing that there were
   approximately 60,000 absentee ballots listed as “unreturned” by voters
   that either never requested them, or that requested and returned their
   ballots.

                                            13
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4262
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      412 of Page
                                                                             1677 28 of 50




          (3) A report from Dr. Eric Quinell analyzing the anomalous
   turnout figures in Wayne and Oakland Counties showing that Biden
   gained nearly 100%, and frequently more than 100%, of all “new” voters
   in certain townships/precincts over 2016, and thus indicated that nearly
   87,000 anomalous and likely fraudulent votes were accepted and
   tabulated from these precincts.


          Foreign actors interfered in this election. As explained in the
   accompanying redacted declaration of a former electronic intelligence
   analyst who served in the 305th Military Intelligence Unit with
   experience gathering SAM missile system electronic intelligence, the
   Dominion software was accessed by agents acting on behalf of China and
   Iran in order to monitor and manipulate elections, including the most
   recent U.S. general election in 2020. This Declaration further includes a
   copy of the patent records for Dominion Systems in which Eric Coomer,
   Dominion’s security director, is listed as the first of the inventors of
   Dominion Voting Systems. (See Attached hereto as Ex. 105, copy of
   redacted witness affidavit, November 23, 2020).


          Another expert explains that U.S. intelligence services had
   developed tools to infiltrate foreign voting systems, including Dominion.
   He states that Dominion's software is vulnerable to data manipulation
   by unauthorized means and permitted election data to be altered in all
   battleground states. He concludes that hundreds of thousands of votes
   that were cast for President Trump in the 2020 general election were
   probably transferred to former Vice-President Biden. (Ex. 109).




                                            14
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4263
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      413 of Page
                                                                             1677 29 of 50




          These and other irregularities provide substantial grounds for this
   Court to stay or set aside the results of the 2020 General Election in
   Michigan and provide the other declaratory and injunctive relief
   requested herein.


          Irreparable harm will inevitably result for both the public and the
   Petitioners if the Petitioners were required to delay this Court’s review
   by first seeking relief in the United States Court of Appeals, Sixth
   Circuit. Once the electoral votes are cast, subsequent relief would be
   pointless and the petition would be moot. As such, petitioners are
   requesting this Honorable Court grant the petition under the most
   extraordinary of circumstances. A request which, although rare, is not
   without precedent.


          Similar relief was granted in FTC v. Dean Foods Co., 86 S.Ct.
   1738 (1966) affirming the Seventh Circuit, involving an application by
   the FTC and a holding by this Court that found authority under 28
   U.S.C. § 1651(a) to enjoin merger violating Clayton Act, where statute
   itself was silent on whether injunctive relief was available. “These
   decisions furnish ample precedent to support jurisdiction of the Court of
   Appeals to issue a preliminary injunction preventing the consummation
   of this agreement upon a showing that an effective remedial order, once
   the merger was implemented, would otherwise be virtually impossible,
   thus rendering the enforcement of any final decree of divestiture futile.”
   Id. at 1743. A similar decision was reached in In Roche Evaporated Milk
   Ass’n, 63 S.Ct. 938, 941 (1943), the Supreme Court granted a writ of
   mandamus where there was no appealable order or where no appeal
   had been perfected because "[o]therwise the appellate jurisdiction could
   be defeated and the purpose of the statute authorizing the writ
                                            15
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4264
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      414 of Page
                                                                             1677 30 of 50




   thwarted by unauthorized action of the district court obstructing the
   appeal.”
          For these reasons, this Honorable Court should exercise its authority
   to review this pending application, to stay the Electoral College Vote
   pending disposition of the forthcoming petition for writ of certiorari and to
   allow Petitioners a full and fair opportunity to be heard.


          ARGUMENT


          I. THE TRIAL COURT ERRED WHEN IT DENIED THE
         PETITIONERS’ EMERGENCY MOTION BECAUSE
         PETITIONERS PRESENTED A PRIMA FACIE CASE OF
         WIDESPREAD VOTER IRREGULARITIES AND FRAUD IN
         THE STATE OF MICHIGAN IN THE PROCESSING AND
         TABULATION OF POLLING-PLACE VOTES AND ABSENTEE
         BALLOTS.

          The record includes overwhelming evidence of widespread
   systemic election fraud and numerous serious irregularities and
   mathematical impossibilities not only in the state of Michigan but
   numerous states utilizing the Dominion system. Sworn witness
   testimony of “Spider”, a former member of the 305th Military
   Intelligence Unit, explains how Dominion was compromised and
   infiltrated by agents of hostile nations China and Iran, among others.
   (R. 49, PgID, 3074). Moreover, expert Russell Ramsland testified that
   289,866 ballots must be disregarded as a result of voting machines
   counting 384,733 votes in two hours and thirty-eight minutes when the
   actual, available voting machinery was incapable of counting more than
   94,867 votes in that time frame. (R. 49, PgID, 3074). According to the
   final certified tally in Michigan, Mr. Biden has a slim margin of 146,000
   votes over President Trump.

                                            16
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4265
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      415 of Page
                                                                             1677 31 of 50




          In the United States, voting is a sacrament without which this
   Republic cannot survive. Election integrity and faith in the voting
   system distinguishes the United States from failed or corrupt nations
   around the world. Our very freedom and all that Americans hold dear
   depends on the sanctity of our votes.


          Judge Parker issued a Notice of Determination of Motion
   without Oral Argument (R. 61, PgID, 3294) on this most sensitive and
   important matter. She ignored voluminous evidence presented by
   Petitioners proving widespread voter fraud, impossibilities, and
   irregularities that undermines public confidence in our election
   system and leaves Americans with no reason to believe their votes
   counted. It the face of all Petitioners’ evidence, it cannot be said that
   the vote tally from Michigan reflects the will of the people. From
   abuses of absentee ballots, fraudulent ballots, manufactured ballots,
   flipped votes, trashed votes, and injected votes, not to mention the
   Dominion algorithm that shaved votes by a more than 2% margin
   from Trump and awarded them to Biden, the Michigan results must
   be decertified, the process of seating electors stayed, and such other
   and further relief as the Court finds is in the public interest, or the
   Petitioners show they are entitled.


       A. PETITIONERS PRESENTED SUFFICIENT EVIDENCE,
   WHICH WAS IGNORED BY THE DISTRICT COURT, TO
   WARRANT A PRELIMINARY INJUNCTION WHERE THE
   PROFFERED EVIDENCE ESTABLISHED A LIKELIHOOD OF
   SUCCESS ON THE MERITS, THAT PETITIONERS WOULD
   SUFFER IRREPARABLE HARM IN THE ABSENCE OF
   INTERLOCUTORY RELIEF, THAT THE BALANCE OF EQUITIES
   TIPS IN THIER FAVOR AND THAT AN INJUNCTION IS IN THE
   PUBLIC INTEREST.

                                            17
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4266
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      416 of Page
                                                                             1677 32 of 50




          Respondents have submitted a number of affidavits, consisting
   mostly of recycled testimony from ongoing State proceedings, that
   purport to rebut Plaintiffs’ fact witnesses all of which boil down to: (1)
   they did not see what they thought they saw; (2) maybe they did see
   what they thought they saw, but it was legal on the authority of the very
   government officials engaged in or overseeing the unlawful conduct; (3)
   the illegal conduct described could not have occurred because it is
   illegal; and/or (4) even if it happened, those were independent criminal
   acts by public employees over whom State Respondents had no control.
          Below are a few examples of State Defendant affiants’ non-
   responsive responses, evasions and circular reasoning, followed by
   Plaintiff testimony and evidence that remains unrebutted by their
   testimony.
   •      Illegal or Double Counted Absentee Ballots. Affiant Brater
          asserts that Plaintiffs’ allegation regarding illegal vote counting
          can be “cursorily dismissed by a review of election data,” and
          asserts that if illegal votes were counted, there would be
          discrepancies in between the numbers of votes and numbers in poll
          books. ECF No. 31-3 ¶19. Similarly, Christopher Thomas, asserts
          that ballots could not, as Plaintiffs allege, see FAC, Carrone Aff.,
          have been counted multiple times because “a mistake like that
          would be caught very quickly on site,” or later by the Wayne
          County Canvassing Board. ECF No. 39-6 ¶6. Mr. Brater and Mr.
          Thomas fail to acknowledge that is precisely what happened: The
          Wayne County Canvassing Board found that over 70% of Detroit
          Absentee Voting Board (“AVCB”) were unbalanced, and that two
          members of Wayne County Board of Canvassers initially refused to
          certify results and conditioned certification on a manual recount
          and answers to questions such as “[w]hy the pollbooks, Qualified
          Voter Files, and final tallies do not match or balance.” FAC ¶¶105-
          107 & Ex. 11-12 (Affidavits of Wayne County Board of Canvasser
          Chairperson Monica Palmer and Member William C. Hartmann).
          Further, Plaintiffs’ affiants testified to observing poll workers
          assigning ballots to different voters than the one named on the
          ballot. FAC ¶86 & Larsen Aff. Defendants do not address this
          allegation, leaving it un-rebutted.
                                            18
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4267
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      417 of Page
                                                                             1677 33 of 50




   •      Illegal Conduct Was Impossible Because It Was Illegal. Mr.
          Thomas wins the Begging the Question prize in this round for
          circular reasoning that “[i]t would have been impossible for any
          election worker at the TCF Center to count or process a ballot for
          someone who was not an eligible voter or whose ballot was not
          received by the 8:00 p.m. deadline on November,” and “no ballot
          could have been backdated,” because no ballots received after the
          deadline “were ever at the TCF Center,” nor could the ballot of an
          ineligible voter been “brought to the TCF Center.” ECF No. 39-5
          ¶20; id. ¶27. That is because it would have been illegal, you
          understand. The City of Detroit’s absentee voter ballot quality
          control was so airtight and foolproof that only 70% of their
          precincts were unbalanced for 2020 General Election, which
          exceeded the standards for excellence established in the August
          2020 primary where 72% of AVCB were unbalanced. FAC Ex. 11
          ¶¶7&14.


          State Respondents Affiants did not, however, dismiss all of
   Plaintiff Affiants’ claims. Rather, they made key admissions that the
   conduct alleged did in fact occur, while baldly asserting, without
   evidence, that this conduct was legal and consistent with Michigan law.
   Defendants admitted that:


   •    Election Workers at TCF Center Did Not Match Signatures for
   Absentee Ballots.

   •   Election Workers Used Fictional Birthdates for Absentee Voters.
   ECF No. 39- 5 ¶15. The software made them do it.

          Election Workers Altered Dates for Absentee Ballot Envelopes. Mr.
   Thomas does not dispute Affiant Jacob’s testimony that “she was
   instructed by her supervisor to adjust the mailing date of absentee
   ballot packages” sent to voters, but asserts this was legal because “[t]he
   mailing date recorded for absentee ballot packages would have no
   impact on the rights of the voters and no effect on the processing and
   counting of absentee votes.” This is not a factual assertion but a legal
                                            19
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4268
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      418 of Page
                                                                             1677 34 of 50




   conclusion—and wrong to boot. Michigan law the Michigan Constitution
   provides all registered voters the right to request and vote by an absentee
   ballot without giving a reason. MICH. CONST. art. 2, § 4. M.C.L. § 168.759(3).
   That statute limits the procedures for requesting an absentee ballot to
   three specified ways: An application for an absent voter ballot under this
   section may be made in any of the following ways: By a written request signed
   by the voter on an absent voter ballot application form provided for that purpose
   by the clerk of the city or township. Or on a federal postcard application. M.C.L.
   § 168.759(3) (emphasis added). The Michigan Legislature thus did not
   include the Secretary of State as a means for distributing absentee ballot
   applications. Id. § 168.759(3)(b). Under the statute’s plain language, the
   Legislature explicitly gave only local clerks the power to distribute absentee
   voter ballot applications. Id. Secretary Benson lacked authority to distribute
   even a single absentee voter ballot application—much less the millions of
   absentee ballot applications Secretary Benson chose to flood across
   Michigan.
          Secretary Benson also violated Michigan law when she launched a
   program in June 2020 allowing absentee ballots to be requested online,
   without signature verification as expressly required under Michigan law.
   The Michigan Legislature did not approve or authorize Secretary Benson’s
   unilateral actions. MCL § 168.759(4) states in relevant part: “An applicant
   for an absent voter ballot shall sign the application. Subject to section
   761(2), a clerk or assistant clerk shall not deliver an absent voter ballot to
   an applicant who does not sign the application.” MCL § 168.761(2), in turn,
   states: “The qualified voter file must be used to determine the genuineness
   of a signature on an application for an absent voter ballot. Signature
   comparisons must be made with the digitized signature in the qualified
   voter file.” Nowhere does Michigan Law authorize counting of an absent
   voter’s ballot without verifying the voter’s signature.

                                            20
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4269
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      419 of Page
                                                                             1677 35 of 50




         II. THE DISTRICT COURT ERRED WHEN IT DISMISSED
         PETITIONERS’ EMERGENCY MOTION AND REQUEST FOR
         PRELIMINARY INJUNCTION BY HOLDING THAT THE
         PETITIONERS STATE-LAW CLAIMS AGAINST RESPONDENTS
         WERE BARRED BY ELEVENTH AMENDMENT IMMUNITY.


          The Sixth Circuit recently addressed the scope of Eleventh
   Amendment sovereign immunity in the election context in Russell v.
   Lundergan-Grimes, 784 F.3d 1037, 1045 (6th Cir. 2015). In Russell, the
   appellate court held that federal courts do in fact have the power to
   provide injunctive relief where the defendants, “The Secretary of State
   and members of the State Board of Elections,” were, like State
   Respondents in this case, “empowered with expansive authority to
   "administer the election laws of the state.” Russell, 784 F.3d at 1047
   (internal quotations omitted).


                     The appellate court held that the Eleventh
               Amendment does not bar“[e]njoining a statewide official
               under Young based on his obligation to enforce a law is
               appropriate” where the injunctive relief requested sought
               to enjoin actions (namely, prosecution) that was within
               the scope of the official’s statutory authority.” Id.


   This is precisely what the Petitioners request in the Amended
   Complaint, namely, equitable and injunctive relief “enjoining Secretary
   [of State] Benson and Governor Whitmer from transmitting the
   currently certified election results to the Electoral College.” (See ECF
   No. 6 ¶1). Under Russell, the Eleventh Amendment is no bar to this
   Court granting the requested relief. (R. 49, PgID 3083).




                                            21
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4270
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      420 of Page
                                                                             1677 36 of 50




       III. THE DISTRICT COURT ERREONEOUSLY HELD THAT
   THE PETITIONERS CLAIMS SEEKING A PRELIMINARY
   INJUNCTION WERE MOOT WHEN THE ELECTORAL COLLEGE
   HAS YET TO CERTIFY THE NATIONAL ELECTION AND AS SUCH
   THE RELIEF REQUESTED IS TIMELY.


          This Court can grant the primary relief requested by Petitioners –
   de- certification of Michigan’s election results and an injunction
   prohibiting State Respondents from transmitting the certified results –
   as discussed below in Section I.E. on abstention. There is also no
   question that this Court can order other types of declaratory and
   injunctive relief requested by Petitioners – in particular, impounding
   Dominion voting machines and software for inspection – nor have State
   Respondents claimed otherwise. (R. 49, PgID 3082). The District Court
   erroneously held that the Petitioners claims seeking a preliminary
   injunction were barred as being moot when the Electoral College has yet
   to certify the national election and as such the relief is timely.


     IV. THE DISTRICT COURT ERRED WHEN IT HELD THAT
  THE PETITIONERS’ CLAIMS WERE BARRED BY LACHES WHEN
  THE CLAIMS WERE IN FACT TIMELY MADE AND ADDRESS
  HARM THAT IS CONTINUING AND FORTHCOMING, AND THE
  RESPONDENTS ARE NOT PREJUDICIED BY ANY DELAYS IN
  THE FILING BY THE PETITIONERS.

          Laches consists of two elements, neither of which are met here: (1)
   unreasonable delay in asserting one's rights; and (2) a resulting
   prejudice to the defending party. Meade v. Pension Appeals and Review
   Committee, 966 F.2d 190, 195 (6th Cir. 1992). The bar is even higher in
   the voting rights or election context, where Respondents asserting the
   equitable defense must show that the delay was due to a “deliberate”
   choice to bypass judicial remedies and they must do so “by clear and

                                            22
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4271
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      421 of Page
                                                                             1677 37 of 50




   convincing" evidence. Toney v. White, 488 F.2d 310, 315 (5th Cir. 1973).
   Petitioners’ “delay” in filing is a direct result of Respondents failure to
   complete counting until November 17, 2020. Further, Petitioners’ filed
   their initial complaint on November 25, 2020, two days after the
   Michigan Board of State Canvassers certified the election on November
   23, 2020. (R. 49, PgID 3082).


          Additionally, the “delay” in filing after Election Day is almost
   entirely due to Respondents failure to promptly complete counting until
   weeks after November 3, 2020. Michigan county boards did not complete
   counting until November 17, 2020, and Defendant Michigan Board of
   State Canvassers did not do so until November 23, 2020, ECF No. 31 at
   4—a mere two days before Petitioners filed their initial complaint on
   November 25, 2020. Petitioners admittedly would have preferred to file
   sooner, but needed time to gather statements from dozens of fact
   witnesses, retain and engage expert witnesses, and gather other data
   supporting their Complaint, and this additional time was once again a
   function of the sheer volume of evidence of illegal conduct by
   Respondents and their collaborators. Respondents cannot now assert the
   equitable defense of laches, when any prejudice they may suffer is
   entirely a result of their own actions and misconduct.


          Moreover, much of the misconduct identified in the Complaint was
   not apparent on Election Day, as the evidence of voting irregularities
   was not discoverable until weeks after the election. William Hartman
   explains in a sworn statement dated November 18, 2020, that “on
   November 17th there was a meeting of the Board of Canvassers to
   determine whether to certify the results of Wayne County” and he had
   “determined that approximately 71% of Detroit’s 134 Absentee Voter
                                            23
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4272
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      422 of Page
                                                                             1677 38 of 50




   Counting Boards were left unbalanced and unexplained.” He and
   Michele Palmer voted not to Certify and only later agreed to certify after
   a representation of a full audit, but then reversed when they learned
   there would be no audit. (See ECF No. 6, Ex. 11 &12.) Further, filing a
   lawsuit while Wayne County was still deliberating whether or not to
   certify, despite the demonstrated irregularities, would have been
   premature. Respondents appropriately exhausted their non-judicial
   remedies by awaiting the decision of the administrative body charged
   with determining whether the vote count was valid. Id.


          It is also disingenuous to try to bottle this slowly counted election
   into a single day when in fact waiting for late arriving mail ballots and
   counting mail ballots persisted long after “Election Day.”

       III. THE DISTRICT COURT ERRED WHEN IT DISMISSED
   THE PETITIONERS’ CLAIMS BASED ON COLORADO RIVER
   ABSTENTION WITHOUT IDENTIFYING ANY PARALLEL STATE-
   COURT PROCEEDINGS THAT ADDRESS THE IDENTICAL
   RELIEF SOUGHT.


          The District Court accepted State Respondent’ abstention claim
   arguments based on Colorado River Water Conservation Dist. v. United
   States, 424 U.S. 800, 808 (1976), a case addressing concurrent federal
   and state jurisdiction over water rights. See ECF No. 31 at 19-20.
   Presumably it did so because the case setting the standard for federal
   abstention in the voting rights and state election law context, Harman v.
   Forssenius, 380 U.S. 528, 534, (1965) is not favorable to the
   Respondents.




                                            24
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4273
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      423 of Page
                                                                             1677 39 of 50




          This Court rejected the argument that federal courts should
   dismiss voting rights claims based on federal abstention, emphasizing
   that abstention may be appropriate where “the federal constitutional
   question is dependent upon, or may be materially altered by, the
   determination of an uncertain issue of state law,” and “deference to
   state court adjudication only be made where the issue of state law is
   uncertain.” Harman, 380 U.S. at 534 (citations omitted). But if state
   law in question “is not fairly subject to an interpretation which will
   render unnecessary or substantially modify the federal constitutional
   question,” then “it is the duty of the federal court to exercise its properly
   invoked jurisdiction.” Id. (citation omitted).


          Respondents described several ongoing state proceedings where
   there is some overlap with the claims and specific unlawful conduct
   identified in the Complaint. See ECF No. 31 at 21-26. But State
   Respondents have not identified any uncertain issue of state law that
   would justify abstention. See ECF No 31 at 21-26. Instead, as
   described below, the overlaps involve factual matters and the
   credibility of witnesses, and the finding of these courts would not
   resolve any uncertainty about state law that would impact Petitioners’
   constitutional claims (Electors and Elections Clauses and Equal
   Protection and Due Process Clauses).


          Respondents’ reliance on Colorado River is also misplaced insofar
   as they contend that abstention would avoid “piecemeal” litigation, see
   id. at 38, because abstention would result in exactly that. The various
   Michigan State proceedings raise a number of isolated factual and
   legal issues in separate proceedings, whereas Plaintiffs’ Complaint
   addresses most of the legal claims and factual evidence submitted in
                                            25
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4274
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      424 of Page
                                                                             1677 40 of 50




   Michigan State courts, and also introduces a number of new issues that
   are not present in any of the State proceedings. Accordingly, the
   interest in judicial economy and avoidance of “piecemeal” litigation would
   be best served by retaining jurisdiction over the federal and state law claims.


          Respondents cited to four cases brought in the State courts in
   Michigan, none of which have the same plaintiffs, and all of which are
   ongoing and have not been resolved by final orders or judgments. (See
   ECF Nos. 31-6 to 31-15.)


          The significant differences between this case and the foregoing
   State proceedings would also prevent issue preclusion. A four-element
   framework finds issue preclusion appropriate if: (1) the disputed issue is
   identical to that in the previous action, (2) the issue was actually
   litigated in the previous action, (3) resolution of the issue was necessary
   to support a final judgment in the prior action, and (4) the party against
   whom issue preclusion is sought had a full and fair opportunity to
   litigate the issue in the prior proceeding. See Louisville Bedding Co. v.
   Perfect Fit Indus., 186 F. Supp. 2d 752, 753-754, 2001 U.S. Dist. LEXIS
   9599 (citing Graco Children's Products, Inc. v. Regalo International,
   LLC, 77 F. Supp. 2d 660, 662 (E.D. Pa. 1999). None of these
   requirements have been met with respect to petitioners or the claims in
   the Complaint.


          Of equal importance is the fact that the isolated claims in State
   court do not appear to present evidence demonstrating that a sufficient
   number of illegal ballots were counted to affect the result of the 2020
   General Election. The fact and expert witnesses presented in the
   Complaint do. As summarized below, the Complaint alleges and
                                            26
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-13,
                                          35-2PageID.4275
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      425 of Page
                                                                             1677 41 of 50




   provides supporting evidence that the number of illegal votes is
   potentially multiples of Biden’s 154,188 margin in Michigan. (See ECF
   No. 6 ¶16).
         A.     A report from Russell Ramsland, Jr. showing the “physical
   impossibility” of nearly 385,000 votes injected by four precincts/township
   on November 4, 2020, that resulted in the counting of nearly 290,000
   more ballots processed than available capacity (which is based on
   statistical analysis that is independent of his analysis of Dominion’s
   flaws), a result which he determined to be “physically impossible” (see
   Ex. 104 ¶14).
         B.     A report from Dr. Louis Bouchard finding it to be
   “statistically impossible” the widely reported “jump” in Biden’s vote tally
   of 141,257 votes during a single time interval (11:31:48 on November 4),
   see Ex. 110 at 28).
         C.    A report from Dr. William Briggs, showing that there were
   approximately 60,000 absentee ballots listed as “unreturned” by voters
   that either never requested them, or that requested and returned
   their ballots. (See Ex. 101).
         D.    A report from Dr. Eric Quinell analyzing the anomalous
   turnout figures in Wayne and Oakland Counties showing that Biden
   gained nearly 100% and frequently more than 100% of all “new” voters
   in certain townships/precincts when compared to the 2016 election,
   and thus indicates that nearly 87,000 anomalous and likely fraudulent
   votes came from these precincts. (See Ex. 102).
         E.    A report from Dr. Stanley Young that looked at the entire
   State of Michigan and identified nine “outlier” counties that had both
   significantly increased turnout in 2020 vs. 2016, almost all of which went
   to Biden totaling over 190,000 suspect “excess” Biden votes (whereas
   turnout in Michigan’s 74 other counties was flat). (See Ex. 110).

           F.   A report from Robert Wilgus analyzing the absentee ballot
   data that identified a number of significant anomalies, in particular,
   224,525 absentee ballot applications that were both sent and returned
   on the same day, 288,783 absentee ballots that were sent and
   returned on the same day, and 78,312 that had the same date for all
   (i.e., the absentee application was sent/returned on same day as the
   absentee ballot itself was sent/returned), as well as an additional
   217,271 ballots for which there was no return date (i.e., consistent with
   eyewitness testimony described in Section II below). (See Ex. 110).

                                            27
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                  No. 103-13,
                                          35-2PageID.4276
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                                                            FiledPage
                                                                  01/26/21
                                                                      426 of Page
                                                                             1677 42 of 50




         G.    A report from Thomas Davis showing that in 2020 for larger
   Michigan counties like Monroe and Oakland Counties, that not only was
   there a higher percentage of Democrat than Republican absentee voters
   in every single one of hundreds of precincts, but that the Democrat
   advantage (i.e., the difference in the percentage of Democrat vs.
   Republican absentee voter) was consistent (+25%-30%) and the
   differences were highly correlated, whereas in 2016 the differences were
   uncorrelated. (See Ex. 110).

         H.    A report by an affiant whose name must be redacted to
   protect his safety concludes that “the results of the analysis and the
   pattern seen in the included graph strongly suggest a systemic, system-
   wide algorithm was enacted by an outside agent, causing the results of
   Michigan’s vote tallies to be inflated by somewhere between three and
   five-point six percentage points. Statistical estimating yields that in
   Michigan, the best estimate of the number of impacted votes is 162,400.
   However, a 95% confidence interval calculation yields that as many as
   276,080 votes may have been impacted.” (See Ex. 111 ¶13).

       IV. THE DISTRICT COURT ERRED WHEN IT HELD THAT
   PETITIONERS, WHO ARE CANDIDATES FOR THE OFFICE OF
   PRESIDENTIAL ELECTOR, LACKED STANDING TO PURSUE
   THEIR EQUAL PROTECTION AND OTHER CLAIMS

          Petitioners are not simply voters seeking to vindicate their rights
   to an equal and undiluted vote, as guaranteed by Michigan law and
   the Equal Protection Clause of the U.S. Constitution, as construed by
   this court in Reynolds v. Sims, 377 U.S. 533 (1964) and its progeny.
   Rather, Petitioners are candidates for public office. Having been
   selected by the Republican Party of Michigan at its 2019 Fall
   convention, and their names having been certified as such to the
   Michigan Secretary of States pursuant to Michigan Election Law
   168.42, they were nominated to the office of Presidential Electors in
   the November 2020 election pursuant to MCL § 168.43. Election to
   this office is limited to individuals who have been citizens of the
   United States for 10 years, and registered voters of the district (or the

                                            28
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                          35-2PageID.4277
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                                                                  01/26/21
                                                                      427 of Page
                                                                             1677 43 of 50




      state) for at least 1 year, and carries specific responsibilities defined
      by law, namely voting in the Electoral College for President and Vice-
      President. MCL §168.47. While their names do not appear on the
      ballot, Michigan Law makes it clear that the votes cast by voters in
      the presidential election are actually votes for the presidential electors
      nominated by the party of the presidential candidate listed on the
      ballot. MCL § 168.45.2


           The standing of Presidential Electors to challenge fraud,
      illegality and disenfranchisement in a presidential election rests on a
      constitutional and statutory foundation—as if they are candidates, not
      voters.3 Theirs is not a generalized grievance shared by all other
      voters; they are particularly aggrieved by being wrongly denied the
      responsibility, emoluments and honor of serving as members of the
      Electoral College, as provided by Michigan law. Petitioners have the
      requisite legal standing, and the district court must be reversed on
      this point. As in the Eighth Circuit case of Carson v. Simon, 978 F.3d
      1051 (8th Cir. 2020),“[b]ecause Minnesota law plainly treats
      presidential electors as candidates, we do, too.” Id. at 1057. And this
      Court’s opinion in Bush v. Gore, 531 U.S. 98 (2000) (failure to set
      state-wide standards for recount of votes for presidential electors
      violated federal Equal Protection), leaves no doubt that presidential
      candidates have standing to raise post-election challenges to the


  2 This section provides: “ Marking a cross (X) or a check mark ( ) in the circle under
  the party name of a political party, at the general November election in a presidential
  year, shall not be considered and taken as a direct vote for the candidates of that
  political party for president and vice-president or either of them, but, as to the
  presidential vote, as a vote for the entire list or set of presidential electors chosen by
  that political party and certified to the secretary of state pursuant to this chapter.”
  3 See https://sos.ga.gov/index.php/Elections/voter_registration_statistics, last visited

  November 5, 2020.
                                              29
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                  No. 103-13,
                                          35-2PageID.4278
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      428 of Page
                                                                             1677 44 of 50




   manner in which votes are tabulated and counted. The district court
   therefore clearly erred in concluding that Petitioners lack standing to
   raise this post-election challenge to the manner in which the vote for
   their election for public office was conducted.

          There is further support for Petitioners’ standing in the Court’s
   recent decision in Carney v. Adams involving a challenge to the
   Delaware requirement that you had to be a member of a major
   political party to apply for appointment as a judge. In Adams, the
   Court reiterated the standard doctrine about generalized grievance
   not being sufficient to confer standing and held that Adams didn’t
   have standing because he "has not shown that he was 'able and
   ready' to apply for a judicial vacancy in the imminent future". In this
   case, however, Petitioners were not only “able and ready” to serve as
   presidential electors, they were nominated to that office in
   accordance with Michigan law.


          The Respondents have presented compelling evidence that
   Respondents not only failed to administer the November 3, 2020 election
   in compliance with the manner prescribed by the Michigan Legislature
   in the Michigan Election Code, MCL §§ 168.730-738, but that
   Respondents executed a scheme and artifice to fraudulently and illegally
   manipulate the vote count to ensure the election of Joe Biden as
   President of the United States. This conduct violated Petitioners’ equal
   protection and due process rights, as well their rights under the
   Michigan Election Code and Constitution. See generally MCL §§ 168.730-
   738 & Mich. Const. 1963, art. 2, §4(1).




                                            30
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                  No. 103-13,
                                          35-2PageID.4279
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                                                            FiledPage
                                                                  01/26/21
                                                                      429 of Page
                                                                             1677 45 of 50




          In considering Petitioners’ constitutional and voting rights claims
   under a “totality of the circumstances” standard, this Court must consider
   the cumulative effect of the specific instances or categories of
   Respondents’ voter dilution and disenfranchisement claims. Taken
   together, these various forms of unlawful and unconstitutional
   conduct destroyed or shifted tens or hundreds of thousands of Trump
   votes, and illegally added tens or hundreds of thousands of Biden votes,
   changing the result of the election, and effectively disenfranchising
   the majority of Michigan voters. If such errors are not address we
   may be in a similar situation as Kenya, where voting has been
   viewed as not simply irregular but a complete sham. (Coram:
   Maraga, CJ & P, Mwilu, DCJ & V-P, Ojwang, Wanjala, Njoki and
   Lenaola, SCJJ)


                                    CONCLUSION


          WHEREFORE, the Petitioners respectfully request this Honorable
   Court enter an emergency order instructing Respondents to de-certify
   the results of the General Election for the Office of the President,
   pending disposition of the forthcoming Petition for Certiorari.
   Alternatively, Petitioners seek an order instructing the Respondents to
   certify the results of the General Election for Office of the President in
   favor of President Donald Trump.


          Petitioners seek an emergency order prohibiting Respondents from
   including in any certified results from the General Election the
   tabulation of absentee and mailing ballots which do not comply with the
   Michigan Election Code, including the tabulation of absentee and mail-
   in ballots Trump Campaign’s watchers were prevented from observing

                                            31
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                          35-2PageID.4280
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      430 of Page
                                                                             1677 46 of 50




   or based on the tabulation of invalidly cast absentee and mail-in ballots
   which (i) lack a secrecy envelope, or contain on that envelope any text,
   mark, or symbol which reveals the elector’s identity, political affiliation,
   or candidate preference, (ii) do not include on the outside envelope a
   completed declaration that is dated and signed by the elector, (iii) are
   delivered in-person by third parties for non-disabled voters, or (iv) any of
   the other Michigan Election Code violations set forth in Section II of the
   petition.
          Petitioners respectfully request an order of preservation and
   production of all registration data, ballots, envelopes, voting machines
   necessary for a final resolution of this dispute.
  Respectfully submitted,

  /s/ Howard Kleinhendler                                    SIDNEY POWELL
  HOWARD KLEINHENDLER                                        Sidney Powell, P.C.
  Howard Kleinhendler Esquire                                2911 Turtle Creek, Blvd,
  Suite 300
  369 Lexington Avenue, 12th Floor                           Dallas, Texas 75219
  New York, New York 10017                                   (517) 763-7499
  (917) 793-1188                                             sidney@federaappeals.com
  howard@kleinhendler.com
                                                             Of Counsel
                                                             JULIA Z. HALLER
                                                             BRANDON JOHNSON
                                                             EMILY P. NEWMAN

  STEFANIE LAMBERT JUNTTILA                                  L. LIN WOOD
  500 Griswold Street, Suite 2340                            L. LIN WOOD, P.C.
  Detroit, Michigan 48301                                    P.O.Box 52584
  (248) 270-6689                                             Atlanta, GA 30305
  attorneystefanielambert@gmail.com                          (404) 891-1402

  SCOTT HAGERSTROM                               Gregory J Rohl
  222 West Genesee                               41850 West 11 Mile Road, Suite 110
  Lansing, Michigan 48933                        Novi MI 48375
  Date: December 10, 2020


                                            32
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                  No. 103-13,
                                          35-2PageID.4281
                                                Filed 05/03/21
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                                                                      431 of Page
                                                                             1677 47 of 50




                           CERTIFICATE OF COMPLIANCE

        The attached Writ of Certiorari complies with the type-volume limitation. As
  required by Supreme Court Rule 33.1(h), I certify that the document contains 8,324
  words, excluding the parts of the document that are exempted by Supreme Court
  Rule 33.1(d).

                                  Respectfully submitted,



                                  /s/ Howard Kleinhendler
                                  HOWARD KLEINHENDLER
                                  Attorney for Plaintiff/Petitioners
                                  369 Lexington Avenue, 12th Floor
                                  New York, New York 10017
                                  (917) 793-1188
                                  howard@kleinhendler.com

                                  SIDNEY POWELL
                                  STEFANIE LAMBERT JUNTTILA
                                  Attorneys for Plaintiffs/Petitioners
                                  500 Griswold Street, Suite 2340
                                  Detroit, MI 48226
                                  (248) 270-6689
                                  attorneystefanielambert@gmail.com

  Date: December 11, 2020
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        Case 1:21-cv-01169-TCBECF
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                                  No. 103-13,
                                          35-2PageID.4282
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                                                                  01/26/21
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                                                                             1677 48 of 50




                                        CASE NO.


                 IN THE SUPREME COURT OF THE UNITED STATES


     TIMOTHY KING, MARIAN ELLEN SHERIDAN, JOHN EARL HAGGARD,
    CHARLES JAMES RITCHARD, JAMES DAVID HOOPER and DAREN WADE
                             RUBINGH,

                                   Plaintiffs/Petitioners,

                                          v.

      GRETCHEN WHITMER, in her official capacity as Governor of the State of
     Michigan, JOCELYN BENSON, in her official capacity as Michigan Secretary of
                           State and the Michigan
                       BOARD OF STATE CANVASSERS

                                   Defendants/Respondents,

                                          and

     CITY OF DETROIT, DEMOCRATIC NATIONAL COMMITTEE and MICHIGAN
                  DEMOCRATIC PARTY, and ROBERT DAVIS,

                              Intervenor-Defendants/Respondents.


                                  PROOF OF SERVICE

   STATE OF MICHIGAN)
                     )ss
   COUNTY OF WAYNE )

          STEFANIE LAMBERT JUNTTILA, affirms, deposes and states that on the

   11th day of December, 2020, she did cause to be served the following:
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
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                                                                             1677 49 of 50



         1. PETITION FOR WRIT OF CERTIORARI On Petition for a Writ of
   Certiorari to the United States Federal District Court for the Eastern District of
   Michigan;
         2. Attached Exhibits;
         3. Certificate of Conformity;
         4. Proof of Service

   UPON:

   ERIK A. GRILL
   HEATHER S. MEINGAST
   Michigan Department of Attorney General
   Civil Litigation, Employment & Elections Division
   PO Box 30736
   Lansing, MI 48909
   517-335-7659
   Email: grille@michigan.gov

   DARRYL BRESSACK
   DAVID H. FINK and NATHAN J. FINK
   Attorneys as Law
   38500 Woodward Avenue; Suite 350
   Bloomfield Hills, MI 48304
   248-971-2500
   Email: dbressack@finkbressack.com

   ANDREW A. PATERSON, JR.
   Attorney at Law
   46350 Grand River Ave.
   Novi, MI 48374
   248 568-9712
   Email: aap43@hotmail.com

   MARY ELLEN GUREWITZ
   Attorney at Law
   Cummings & Cummings Law PLLC
   423 North Main Street; Suite 200
   Royal Oak, MI 48067
   313-204-6979
   Email: megurewitz@gmail.com
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        Case 1:21-cv-01169-TCBECF
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                                                                  01/26/21
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   SCOTT R. ELDRIDGE
   Attorney at Law
   Miller, Canfield,
   One Michigan Avenue
   Suite 900
   Lansing, MI 48933-1609
   517-483-4918
   Email: eldridge@millercanfield.com

   DANIEL M. SHARE
   EUGENE DRIKER
   STEPHEN E. GLAZEK
   Attorney at Law
   Barris, Sott, Denn & Driker, PLLC
   333 West Fort Street; 12th Floor
   Detroit, MI 48226
   313-965-9725
   Email: dshare@bsdd.com

   EZRA D. ROSENBERG
   Lawyers' Committee for Civil Rights Under Law
   1500 K Street, NW; Suite 900
   Washington, DC 20005
   202-662-8345
   Email: erosenberg@lawyerscommittee.org

   JON GREENBAUM
   Lawyers' Committee for Civil Rights Under Law
   District Of Columbia
   1500 K Street NW
   Ste 9th Floor
   Washington, DC 20005
   202-662-8315
   Email: jgreenbaum@lawyerscommittee.org

   By email and by placing said copies in a properly addressed envelope with sufficient

   postage fully prepaid, and placing in a U.S. Mail Receptacle.


   FURTHER AFFIANT SAYETH NOT.


   /s/ Stefanie Lambert Junttila
   STEFANIE LAMBERT JUNTTILA
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      Case 1:21-cv-01169-TCB ECF
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                                        35-2 PageID.4285
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                                                                  01/26/21
                                                                     435 of 1677
                                                                             Page 1 of 2




                    EXHIBIT 13
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                 No. 103-14,
                                        35-2 PageID.4286
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                                                                     436 of 1677
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Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
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                                        35-2 PageID.4287
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                                                                  01/26/21
                                                                     437 of 1677
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                    EXHIBIT 14
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         Case 1:21-cv-01169-TCB ECF
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                                    No. 103-15,
                                           35-2 PageID.4288
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                                                                     01/26/21
                                                                        438 of 1677
                                                                                Page 2 of 5




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   Politics & Elections


   See 2020 election turnout by Michigan county
   compared to 2016
   Updated Nov 05, 2020; Posted Nov 05, 2020




Election officials, poll watchers and challengers monitor the counting of Grand Rapids absentee ballots at DeVos Place
on Wednesday, Nov. 4, 2020. (Cory Morse | MLive.com) Cory Morse | MLive.com



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                                                                            439 of 1677
                                                                                    Page 3 of 5

A total of 5,568,097 Michigan ballots were cast in Tuesday’s election, shattering the
state’s previous record of 5,039,080 set in November 2008.

This week’s total also is 14% higher than the 4,874,619 ballots cast in November 2016.

In all, 71% of Michigan adults age 18 and older participated in the 2020 presidential
election, the largest percentage since 1960, when 73% participated in the election that
pitted John F. Kennedy against Richard Nixon. (Kennedy won Michigan that year, with
51% of the state’s vote.)

That 71% is also, easily, the highest percentage since the voting age was lowered from
21 to 18 in 1970. That dropped turnout by percentage because of the low turnout rate
among young adults.

About 3.2 million voted by absentee ballot in this week’s election, about 57% of total
votes cast.

Here’s a look at voter turnout by county in 2020 compared to 2016, shaded by the
percentage change. You can put your cursor over a county to see the underlying
numbers. (Can’t see the map? Click here.)




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                                                                    01/26/21
                                                                       440 of 1677
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  2020 General election voter turnout


  MAP   LEGENDS




                  ©



    Map by Scott Levin | slevin@mlive.com                    



A few takeaways from the data:

1. Only one county saw a decrease.

Dickinson County in the Upper Peninsula was the only county with fewer votes in
November 2020 compared to 2016, and that decrease was minimal -- the county
counted 13,325 ballots this week, which was 34 fewer than 2016.

2. The five counties with the biggest percentage increases:

                 Luce, from 2,624 in 2016 to 3,795 in 2020, up 45%;
                 Huron, from 15,167 in 2016 to 18,557 in 2020, up 22%;
                 Mecosta, from 17,392 in 2016 to 21,159 in 2020, up 22%;
                 Jackson, from 70,701 in 2016 to 85,449 in 2020, up 21%;
                 Clare, from 13,588 in 2016 to 16,375 in 2020, up 21%.

3. The five counties with the lowest percentage increases:

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                Bay, from 53,745 in Document
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                                                                           441 of 1677
                                                                                   Page 5 of 5

                        Newaygo, from 26,959 in 2016 to 27,323 in 2020, up 1.4%;
                        Keweenaw, from 1,465 in 2016 to 1,566 in 2020, up 6.9%;
                        Ontonagon, from 3,531 in 2016 to 3,833 in 2020, up 8.6%;
                        Saginaw, from 95,604 in 2016 to 103,991 in 2020, up 8.8%.

    4. Wayne County had a 10% increase.

    Wayne County, which is Michigan’s largest county and includes Detroit, went from
    788,459 voters in 2016 to 867,409 in 2020.

    The number of ballots in Wayne was a little more than the votes cast in Michigan’s 55
    smallest counties.

    About 39% of Michigan ballots were cast in the tri-county metro Detroit region of
    Wayne, Oakland and Macomb counties. Oakland had a 15% increase in turnout
    compared to 2016 and Macomb was up 18%.

    More on MLive:

    No ʻblue wave’ for Michigan

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                                                                01/26/21
                                                                   442 of 1677
                                                                          Page 1 of 24




                    EXHIBIT 15
Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
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                                                                01/26/21
                                                                   443 of 1677
                                                                          Page 2 of 24




      Comment on “A Simple Test for the Extent of Voter
      Fraud with Absentee Ballots in the 2020 Presidential
                                    ∗
                          Election”
                                         a                   b                              c
                Andrew C. Eggers , Haritz Garro , and Justin Grimmer
                                 a
                               Political Science. University of Chicago
                         b
                       Democracy and Polarization Lab. Stanford University
   c
     Democracy and Polarization Lab, Political Science, and Hoover Institution. Stanford University


                                             January 8, 2021


                                                 Abstract
                             1
         In a recent paper, John Lott Jr. claims to find evidence of anti-Trump fraud in the 2020
         U.S. presidential election. We show that Lott’s analysis is fundamentally flawed and
         provides no evidence of unusual patterns (let alone fraud) in either voting or turnout.
         Lott’s analysis of voting patterns in Fulton County, GA, and Allegheny County, PA,
         uses an unusual estimation strategy that suffers from a subtle but fundamental flaw: his
         conclusions about fraud in those two counties are entirely dependent on the arbitrary
         order in which pairs of precincts in other counties are entered in the dataset. Using a
         more appropriate specification, we find nothing unusual about voting patterns in these
         two counties. Lott (2020) also claims that turnout unusually increased in counties
         where Republicans have made accusations of fraud; we show that Lott (2020)’s test is
         seriously biased and that turnout rates in these counties are consistent with broader
         patterns in contested states. In short, Lott’s (2020) analysis provides no evidence of
         anything distinctive or suspicious about voting or turnout in the 2020 election.




     ∗
       We thank John Lott for sharing the precinct-level data on the same day we made the request.
     1
       John Lott Jr., “A Simple Test for the Extent of Voter Fraud with Absentee Ballots in the 2020 Presi-
   dential Election”. https://papers.ssrn.com/sol3/papers.cfm?abstract id=3756988.


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Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
                              Document
                                 No. 103-16,
                                        35-2PageID.4294
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   444 of 1677
                                                                          Page 3 of 24




   1       Introduction
   We reexamine the evidence for voter fraud presented in “A Simple Test for the Extent of
   Voter Fraud with Absentee Ballots in the 2020 Presidential Election” (hereafter Lott (2020)).
   Lott (2020) claims that a comparison of adjacent election precincts in Georgia and Penn-
   sylvania supports the Trump campaign’s allegations that the 2020 presidential election was
   “stolen” through fraud. In Lott (2020)’s abstract, he estimates that fraud in Fulton County
   contributed 11,350 votes to Biden (which would account for nearly all of Joe Biden’s margin
   of victory in Georgia) and fraud in Allegheny County contributed about 55,270 votes to
   Biden’s victory in Pennsylvania (which would account for around 2/3 of Biden’s margin in
   Pennsylvania). Lott (2020) also claims to detect unusually large turnout increases in a set of
   counties where Republicans have made post-election accusations of malfeasance, interpreting
   this as evidence of fraud that could account for “up to 289,000 excess votes.” If true, these
   claims would cast serious doubts on the integrity of the 2020 election. The paper has already
                                  2
   received widespread attention.

       In this comment, we show that Lott’s claims are entirely baseless. Our reanalysis of Lott
   (2020)’s data shows that Lott’s claims about absentee voting in GA and PA depend on an
   entirely arbitrary decision about how counties are entered in the dataset: the conclusion
   is reversed when an alternative and equally justified data entry rule is used. When we re-
   place Lott’s unusual specification with a more standard approach that does not depend on
   arbitrary coding rules, we find absolutely no evidence for fraud in either Fulton County or
   Allegheny County. We also find that, once simple allowances are made for differences in
   turnout trends across states, there is nothing unusual about the turnout rate in the counties
   that Republicans have targeted with fraud claims.

       In short, even if we accept Lott’s premise that small differences in Trump’s share of the
   absentee vote between adjacent precincts or small amounts of unexplained turnout in a set
   of counties targeted for post-election appeals constitute evidence of fraud (which we do not),
   we find that Lott (2020)’s analysis provides no evidence of fraud whatsoever in the 2020
   presidential election.



   2       Lott’s (2020) Precinct-Level Analysis Depends En-
           tirely on an Arbitrary Coding Rule
   Lott (2020) first seeks to estimate the effect of the absentee ballot counting procedure in
   two counties where fraud has been alleged by Trump and other Republicans: Fulton County,
   GA, and Allegheny County, PA. Lott (2020)’s approach assumes that Trump’s share of the
       2
       Peter Navarro, the outgoing Assistant to the President and Director of the Office of Trade and Manufac-
   turing Policy, promoted the paper in a tweet on December 29 (https://twitter.com/RealPNavarro/status/
   1343979253659004928). The next day, Donald Trump also tweeted about the study (https://twitter.com/
   realDonaldTrump/status/1344173684983017473).


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Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
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                                        35-2PageID.4295
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   445 of 1677
                                                                          Page 4 of 24




   absentee vote in a precinct is related to Trump’s share of the in-person vote in the precinct
   and voter demographics. Lott (2020) recognizes, however, that a difference in Trump’s share
   of the absentee vote across neighboring counties, even controlling for Trump’s share of the
   in-person vote and demographics, is not necessarily evidence of fraud. There may be other
   factors that vary across counties that could produce such differences.

       To eliminate some of these alternative explanations for differences in Trump’s absen-
   tee support between “suspect” counties and neighboring counties, Lott (2020) focuses on
   precincts that lie along county borders. Specifically, he forms pairs of precincts that lie
   along a boundary separating a suspect county (i.e. one where Republicans have alleged that
   fraud took place) and an adjacent county where Trump won a majority of the vote and no
                                       3
   fraud allegations have been made. Lott (2020) also forms pairs of precincts that lie along
   the boundary between two of these Republican counties, which serve as a kind of control
   group for the other pairs. Lott (2020) then conducts his analysis using within-pair differences
   in each variable: he regresses the difference in Trump’s share of the absentee vote between
   the two precincts on the difference in Trump’s share of the in-person vote between the two
                                                                                                 4
   precincts and an indicator for whether the pair contains a precinct in a suspect county.
   That is, his basic regression equation is

          (Absenteei − Absenteej ) = β0 + β1 (InPersoni − InPersonj ) + δSuspectCountyi + uij ,

   where Absenteei is Trump’s share of the absentee vote in precinct i, InPersoni is Trump’s
   share of the in-person vote in precinct i, SuspectCountyi indicates whether precinct i is
   located in a “suspect” county, and i and j are adjacent precincts that Lott assigns to a
   pair. Thus β0 measures the within-pair difference in Trump’s share of the absentee vote
   among pairs that don’t involve a suspect county (adjusting for the within-pair difference in
   Trump’s in-person share), and the key coefficient is δ, which compares the adjusted differ-
   ence in Trump’s share of the absentee vote within pairs involving the suspect county against
   the corresponding adjusted difference within pairs not involving the suspect county. The
   underlying logic seems to be that fraud is the likely explanation if there is a bigger drop
   in Trump’s share of the absentee vote when we cross from, for example, Coweta County to
   Fulton County than when we cross from Coweta County to Carroll County, two Republican
   counties where no fraud has been alleged.

       Even if we stipulate that focusing on adjacent precincts eliminates all between-county
                                                                                              5
   differences in true absentee support for Trump (conditional on Trump’s in-person support),
   Lott (2020)’s design suffers from a fatal flaw. As noted, Lott (2020)’s design measures a
      3
        Lott (2020) provides no justification for not comparing Fulton and Allegheny counties (or others where
   fraud was alleged) with surrounding counties carried by Biden. By ruling out these comparisons, Lott
   severely restricts his sample size and likely excludes the most similar comparisons.
      4
        In some specifications he also includes differences in various race-and-gender groups between the two
   precincts.
      5
        This is doubtful. For example, Trump won just 9.6% of the in-person vote in a precinct in Fulton
   County (FA01B) that is adjacent to a precinct in Coweta County where Trump won 78% of the in-person
   vote (Fischer Road). It seems unlikely that precincts that differ so markedly in voting outcomes would be
   similar in e.g. voters’ propensity to vote in person vs. absentee conditional on their vote choice.

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Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
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                                 No. 103-16,
                                        35-2PageID.4296
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   446 of 1677
                                                                          Page 5 of 24




   difference between two differences: is the drop in Trump’s share of the absentee vote larger
   when we cross the Fulton County border into Republican counties than when we cross the
   border of one Republican county into another Republican county? The problem arises in
   measuring the second drop: there is no clear rule for determining the order of the difference.
   For example, should we record the change in Trump’s absentee vote share as we move from
   Carroll to Coweta, or as we move from Coweta to Carroll? Neither county is “suspect”, so
   either approach could be justified. Lott (2020, footnote 13) chooses one rule (subtracting
   east from west and north from south) but the opposite rule or indeed any rule would be
   equally justified. This arbitrariness is a symptom of the underlying lack of compelling logic
   behind this aspect of the design: there is no clear reason to benchmark the difference in
   voting patterns across the key county boundary against the corresponding difference across
                       6
   another boundary.

       As it turns out, Lott (2020)’s evidence for fraud in Fulton County, GA, and Allegheny
   County, PA, relies entirely on this arbitrary coding rule: if a different but equally valid rule
   is used we reach the opposite conclusion from Lott (2020). Figure 1 illustrates the point for
   Fulton County. In both panels, each red dot corresponds to a pair of precincts lying on op-
   posite sides of the Fulton County boundary; each blue dot corresponds to a pair of precincts
   lying on opposite sides of the boundary between two nearby Republican counties. The verti-
   cal axis shows the difference in Trump’s share of the absentee vote within the precinct pair;
   the horizontal axis shows the difference in Trump’s share of the in-person vote within the
   precinct pair.

       The left panel of Figure 1 shows the analysis using Lott (2020)’s coding: for pairs in-
   cluding a Fulton County precinct, the Trump share for the non-Fulton County precinct is
   subtracted from the Trump share for the Fulton County precinct; for pairs not including a
   Fulton County precinct, Lott (2020) uses the arbitrary rule noted above. This coding results
   in what Lott interprets as evidence for anti-Trump bias in Fulton County. Conditional on the
   difference in Trump’s in-person vote share within a precinct pair, the difference in Trump’s
   absentee vote share is lower in precinct pairs involving Fulton County than in other precinct
   pairs.

      In the right panel of Figure 1 we show that the conclusion is reversed when we reverse
   Lott’s arbitrary coding rule: instead of subtracting east from west and north from south in
   computing differences for non-Fulton precinct pairs, we subtract west from east and south
   from north. The scatterplot looks identical to the left panel except that the four blue dots
   (representing non-Fulton precinct pairs) are reflected through the origin. This small change
   reverses the conclusion, however: by Lott (2020)’s logic we now have evidence of pro-Trump
   bias in Fulton County.

          Table 3 (Appendix) reports coefficient estimates and standard errors for both sets of
      6
       One could imagine a better design that compared the magnitude (i.e. absolute value) of differences across
   suspect boundaries and other boundaries. In this case the ordering of precinct pairs would not matter. This
   is not Lott’s design.



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Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
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                                 No. 103-16,
                                        35-2PageID.4297
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   447 of 1677
                                                                          Page 6 of 24



   Figure 1: Evidence for fraud in Fulton County, GA, is reversed if arbitrary coding rule is
   reversed

                                                   Lott's coding:                        Alternative coding:
                                            Non−Fulton pairs indexed                  Non−Fulton pairs indexed
                                            west to east, south to north             east to west, north to south
    of absentee vote (within pair)
     Difference in Trump's share




                                      0.0



                                                                                                                      Pair type
                                                                                                                          Fulton &
                                                                                                                          non−Fulton
                                                                                                                          Both non−Fulton
                                     −0.2

                                               Anti−Trump bias

                                                                                        Pro−Trump bias


                                     −0.4


                                            −0.50       −0.25         0.00           −0.50       −0.25         0.00
                                              Difference in Trump's share of in−person vote (within pair)



   analysis depicted in Figure 1. The evidence of pro-Trump fraud with the alternative coding
   rule has a similar absolute t-statistic (t = 1.67) as Lott’s evidence of anti-Trump fraud with
   the original coding rule (t = 1.89).

       The Pennsylvania results also depend on Lott’s arbitrary coding rule, as we show in the
   same manner in Figure 2 and Table 4 (Appendix). Lott (2020) concludes from his analy-
   sis that anti-Trump fraud took place in Allegheny County, but if we apply a different but
   equally valid coding rule we find (by the same logic) stronger evidence for pro-Trump fraud
   in Allegheny County: the positive coefficient we obtain with the alternative coding rule is
   both larger in magnitude and more significant than the negative coefficient Lott reports.

       We can further highlight the dependence of Lott’s results on arbitrary coding decisions by
   exploring the universe of possible fraud estimates that Lott could have reported with equally
   justified alternative coding rules. In Figure 3 we show that, among the possible rules that
   could be used, any alternative rule would have produced weaker apparent evidence for anti-
   Trump fraud in Fulton County and almost any rule would have produced weaker evidence
                                                7
   for anti-Trump fraud in Allegheny County. In the Fulton County analysis, there are four
                                          4
   non-Fulton precinct pairs and thus 2 = 16 possible rules for computing differences within
   non-Fulton pairs. The left panel of Figure 3 shows the histogram of the key coefficient across
                 7
       In personal communication Lott said the ordering of precincts followed a rule in a prior AER paper. We
   believe that is Bronars and Lott (1998).


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Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
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                                        35-2PageID.4298
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   448 of 1677
                                                                          Page 7 of 24




   Figure 2: Evidence for fraud in Allegheny County, PA, is reversed if arbitrary coding rule is
   reversed

                                                           Lott's coding:                           Alternative coding:
                                                   Non−Allegheny pairs indexed                 Non−Allegheny pairs indexed
                                                    west to east, south to north                east to west, north to south


                                     0.2
   of absentee vote (within pair)
    Difference in Trump's share




                                     0.1

                                                                                                                                      Pair type
                                                                                                                                          Allegheny &
                                                                                                                                          non−Allegheny
                                     0.0                                                                                                  Both non−Allegheny




                                    −0.1            Anti−Trump bias

                                                                                                   Pro−Trump bias



                                           −0.50    −0.25      0.00      0.25      0.50−0.50       −0.25    0.00     0.25      0.50
                                                     Difference in Trump's share of in−person vote (within pair)




                                                                                               6
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       Case 1:21-cv-01169-TCBECF
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                                             Filed 05/03/21
                                                          Filed
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                                                                01/26/21
                                                                   449 of 1677
                                                                          Page 8 of 24



   Figure 3: Evidence for fraud in Georgia and Pennsylvania depends on arbitrary coding rules;
   Lott’s estimates are outliers in the distribution of estimates




   these sixteen possible rules, with a vertical line highlighting the estimate for the rule Lott
   used. Among the sixteen possible rules, Lott’s rule produces the strongest apparent evidence
   of anti-Trump fraud; six possible rules produce apparent evidence of pro-Trump fraud. In
   the Pennsylvania analysis we have seventeen non-implicated precinct pairs, allowing for over
   130,000 possible coding rules. The right panel of Figure 3 shows the distribution of estimates
                                                                       8
   for a random sample (with replacement) of 100,000 of these rules, with the actual estimate
   again shown with a vertical line. The distribution is centered around zero, with roughly as
   many rules producing apparent evidence of pro-Trump and anti-Trump fraud; Lott’s rule
   again happens to produce among the strongest apparent evidence of anti-Trump fraud.

       Although the issue we highlight was not obvious to us on first reading Lott’s study, it
   is an example of a known problem that crops up in research studying pairs of observations,
   or “dyads.” When there is a clear distinction between members of dyads, such as aggres-
   sor/victim or source/destination, it can be sensible to address unobserved differences across
   dyads by studying within-dyad differences as Lott does. When no such distinction exists
   for some or all dyads (as in Lott’s case), it becomes arbitrary how to define within-dyad
   differences. In such cases, “there is no consistent, non-arbitrary way to order the two mem-
   bers” of a dyad (Olsen and Kenny, 2006) and, as pointed out in Wheeler, Updegraff and
   Umaña-Taylor (2018), dyads whose members cannot logically be classified in a meaningful
   way “cannot be easily analyzed with the difference approach”, i.e. the approach that Lott
      8
       To explore the space of changes to the difference order, we first sample the number of difference orders
   to change from a Uniform(1, 16). Once this number is obtained, we then randomly sample the specific
   units that will have the difference order changed. This explores the space, but does not provide a sampling
   distribution that gives an equal probability to each rearrangement, because our sampling method is biased
   towards either too few or too many rearrangements.


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Case 2:20-cv-13134-LVP-RSW
       Case 1:21-cv-01169-TCBECF
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                                        35-2PageID.4300
                                             Filed 05/03/21
                                                          Filed
                                                              Page
                                                                01/26/21
                                                                   450 of 1677
                                                                          Page 9 of 24



                  9
   (2020) uses.



   3       A More Standard Estimation Strategy Produces No
           Evidence of Fraud in Absentee Voting
   Although Lott’s specification problematically depends on arbitrary coding decisions, Lott’s
   basic strategy of examining differences in voting patterns across a county boundary has
   some merit. Such differences in voting patterns could of course be explained by differences
   in voter behavior rather than fraud (particularly because county boundaries determine school
   districts and other policy outcomes, and some precincts along county boundaries are rather
   large geographically), but focusing on precincts along the county border does seem likely to
                                         10
   reduce the role of these differences.

       To more effectively achieve Lott’s objective of comparing voting patterns across county
   boundaries, we reanalyze Lott’s data using a more standard specification that does not
   suffer from the problems highlighted in the previous section. Rather than using within-pair
   differences as Lott does, we employ a simple fixed effects model. The regression equation
   can be written as
                                                                           K
               Absenteei = β1 InPersoni + δSuspectCountyi + ∑ αk I(pairi = k) + i                           (1)
                                                                          k=1

   where Absenteei and InPersoni denote Trump’s share of the absentee and in-person vote
   (respectively) in precinct i, SuspectCountyi indicates whether precinct i is located in a “sus-
   pect” county (Fulton or Allegheny, depending on the state being analyzed), and each precinct
   is identified with one of K precinct pairs indexed by k, with αk indicating the fixed effect for
   pair k. The regression thus asks whether Fulton or Allegheny county precincts have lower
   absentee support for Trump than would be expected controlling for their in-person support
   for Trump and any factors (observable or unobservable) that are common to paired precincts.
   Precinct pairs that do not involve a suspect county contribute to estimating the coefficient
   β1 but do not otherwise contribute to the estimation of the key coefficient δ. Crucially, no
   arbitrary coding decisions are necessary.

       We report the results of these analyses for Georgia in Table 1 below. In column 1 we
   simply regress Trump’s share of the absentee vote on Trump’s share of the in-person vote
   and a dummy for Fulton County; in column 2 we add precinct-pair fixed effects as in equa-
   tion 1, essentially allowing the intercept to vary across Lott’s precinct pairs; in column 3 we
   instead use county-pair fixed effects, with one intercept for Fulton-Coweta pairs, another for
   Carroll-Coweta pairs, etc. None of these specifications shows a substantively or statistically
       9
        See also Chapter 2 in Kenny, Kashy and Cook (2006) for a rigorous overview of the problems with
   unordered or indistinguishable pairs in dyadic data.
     10
        Even if we could find a difference in voting patterns between county A and county B that is so suspicious
   as to suggest fraud, we may not know which county conducted the fraud.

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Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4301
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      451 of Page
                                                                             1677 10 of 24




   significant difference between Trump’s share of the absentee vote in Fulton County precincts
   and other precincts.


       Table 1: A Fixed Effects Specification Shows Nothing Suspicious in Fulton County, GA


                                                                Dependent variable:
                                                               Trump Share Absentee
                                                               (1)       (2)          (3)
                      Trump Share, In-Person                  0.760     0.606       0.654
                                                             (0.049)   (0.077)     (0.056)

                      Fulton County                           0.019    −0.003       0.006
                                                             (0.019)   (0.020)     (0.018)

                      Observations                             44         44          44
                      Precinct-Pair Fixed Effects                         ✓
                      County-Pair Fixed Effects                                       ✓


      Table 2 shows the same analysis for Pennsylvania in the same manner. Again, none of
   the specifications shows a substantively or statistically significant difference between Trump’s
   share of the absentee vote in Allegheny County precincts and other precincts.

       In short, when we reanalyze Lott (2020)’s data with a more sensible fixed effects spec-
   ification, we find no evidence of differences in voting patterns between precincts in Fulton
   County or Allegheny County and adjacent precincts in Republican-leaning counties. If such
   differences existed they would hardly be convincing evidence of fraud, given possible dif-
   ferences between precincts located in different counties that are served by different school
                                                                                             11
   systems. But we find no such differences, undermining the basis for Lott (2020)’s claims.


   4      No Evidence of Distinctively High Turnout in “Sus-
          picious” Counties
   Lott (2020) provides a second analysis that he claims demonstrates evidence for voter fraud.
   First, Lott argues that fraud can increase turnout through a variety of mechanisms. He
   then claims to show that turnout rates increased more in 2020 in a set of counties where
   Republicans have alleged fraud. Lott argues that there was an “unexplained increase in voter
     11
       In the Appendix we also replicate and extend Lott’s analysis of provisional ballots in Pennsylvania. As
   with his analysis of absentee voting, his conclusions about provisional ballots depend on the arbitrary coding
   of non-Allegheny precinct pairs (Figures 8 and 9) and fixed effects estimation shows no difference in Biden’s
   share of the provisional vote in Allegheny precincts and other precincts (Tables 5 and 6).


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Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4302
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      452 of Page
                                                                             1677 11 of 24



    Table 2: A Fixed Effects Specification Shows Nothing Suspicious in Allegheny County, PA


                                                            Dependent variable:
                                                           Trump Share, Absentee
                                                           (1)        (2)         (3)
                     Trump Share, In-Person              0.511       0.307       0.442
                                                        (0.042)     (0.066)     (0.048)

                     Allegheny County                    0.003       0.003       0.006
                                                        (0.008)     (0.009)     (0.009)

                     Observations                          174        174         174
                     Precinct-Pair Fixed Effects                       ✓
                     County-Pair Fixed Effects                                    ✓


   turnout” in the key counties of between 1.26 and 2.42 percent, which Lott says is equivalent
   to 150,000 to 289,000 votes in those states. Lott concludes that this is evidence consistent
   with fraud.

       While the first half of Lott’s (2020) paper focuses on narrow comparisons across county
   boundaries, this section engages in analysis that spans hundreds of counties across nine
   states. Specifically, Lott checks whether turnout in the 2020 election was higher than would
   be expected (given previous turnout, political leaning, and local demographics) in counties
   where, according to Republican lawsuits, fraud may have taken place. Lott identifies 19
                                                                                             12
   counties across six swing states where Republicans have alleged that fraud took place.
   Lott (2020) compares turnout in these counties to turnout in other counties in the same six
   states plus counties in three other swing states (Florida, Ohio, and North Carolina). He
   argues that, if turnout is higher in these counties than would be expected given covariates,
   it would be evidence of fraud.

       Before digging deeper into Lott (2020)’s turnout analysis, we emphasize that we ques-
   tion the premise of Lott (2020)’s analysis; that is, we do not believe that even a robust
   finding of slightly higher than expected turnout in a set of counties Republicans targeted
   in post-election lawsuits would constitute convincing evidence of electoral fraud. The dif-
   ferences Lott claims to have found are small (1-2 percentage points), and in the absence of
   fraud turnout is not perfectly explained by the covariates Lott (2020) uses: a particularly
   energetic local mobilization campaign (on either side) or an especially effective down-ballot
   candidate could affect turnout by these amounts. Perhaps more to the point, Lott (2020)
     12
       Lott identifies the following “suspicious” counties—Georgia: Fulton, Dekalb; Pennsylvania: Allegheny,
   Centre, Chester, Delaware, Montgomery, Northampton, Philadelphia; Arizona: Apache, Coconino, Mari-
   copa, Navajo; Michigan: Wayne; Nevada: Clark, Washoe; Wisconsin: Dane.



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Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4303
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      453 of Page
                                                                             1677 12 of 24




   looks for unexplained turnout in places Republicans chose to target in post-election lawsuits.
   We do not know how Republicans chose which counties to target, but it seems plausible that
   they targeted counties based on district characteristics that are related to turnout (but not
   modeled by Lott (2020)) or even based on observed results (including turnout). This creates
   a thorny selection: was fraud the cause of high turnout, or was high turnout the cause of
   allegations of fraud? Highly anomalous turnout figures could provide evidence of a problem,
   but a percentage point or two of unexplained turnout has other more plausible explanations
   and could not on its own establish fraud.

       Nevertheless, given the possible implications of such a serious claim, we investigate the
   issue to see if Lott (2020) has shown a genuinely unexplained anomaly in the counties where
   Republicans have alleged that fraud took place. We assembled an original dataset that would
   allow us to assess Lott (2020)’s claims beyond his chosen set of states, if necessary. We use
   turnout rates for the county citizen voting-age population. For total votes, we use Dave
   Leip’s county-level vote results for 2020 and 2016. For the number of voting-aged citizens
                                                  13
   we use the five-year ACS from 2019 and 2015.

       If we visually examine how turnout in 2020 compared to turnout in 2016 for counties in
   the six states where Lott alleged fraud, we find that there is nothing remarkable about the
   turnout rate in the suspicious counties. In Figure 4 we plot turnout in 2020 against turnout
   in 2016 for counties in the six states with counties that Lott codes as having alleged fraud;
   we do this separately by state, with counties where fraud was alleged colored red and a lin-
                                     14
   ear regression line superimposed. On a simple visual inspection, there is nothing puzzling
   about 2020 turnout in the highlighted counties. In fact, turnout seems to have been lower
   on average in these counties than in other counties in the same state, conditional on prior
   turnout. In light of this observation, Lott (2020)’s finding is puzzling: why would he con-
   clude that turnout is suspiciously high in these counties, given the information in this figure?

       The answer is that Lott’s conclusions are driven by the inclusion of states that have lower
   turnout increases and no “suspicious” counties—namely Florida, North Carolina, and Ohio.
   Figure 5 shows that, conditional on turnout in 2016, turnout in Florida, Ohio, and North
   Carolina was lower than turnout in the six states that contain a suspicious county in Lott’s
   analysis. This is relevant because Lott (2020)’s analysis compares changes in turnout in
   suspicious counties with changes in turnout in all other counties, so these smaller increases
   in turnout rates across states will be conflated with the suspicious county indicator in his
   analysis. The smaller the turnout increase in these three “non-suspect” states, the more
   turnout in the suspect counties will appear to be suspiciously high, even if the changes in
   turnout in these suspect counties are unremarkable relative to the changes in turnout in
   other counties in their own state.

     13
        This follows best practice from Michael McDonald http://www.electproject.org/home/voter-turnout/
   faq/congress. We provide our county-average turnout rates by state in the appendix. We note that our
   estimates of turnout are lower than Lott (2020)’s average turnout rates, but closer to official statistics.
     14
        The regression line is drawn based on the non-suspect counties.



                                                       11
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4304
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      454 of Page
                                                                             1677 13 of 24




                                  AZ                  GA                         MI



                        80


                        60


                        40
    Pct turnout, 2020




                        20

                                  NV                  PA                         WI



                        80


                        60


                        40


                        20
                             30   50   70   30        50    70            30     50      70
                                             Pct turnout, 2016

   Figure 4: “Suspicious” counties (in red) are not remarkable relative to other counties in their
   state




                                                 12
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4305
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      455 of Page
                                                                             1677 14 of 24




                                            75.0
                                                                                                     ●
                                                                                                         WI
    Turnout in 2020 (avg across counties)




                                                                                           MI
                                                                                           ●
                                            72.5



                                                                                      NC
                                            70.0                             NV            ●    ●
                                                                             ●                  FL                 Contains county
                                                                                                                   with alleged fraud?
                                                                                                                    ●   No
                                            67.5                                                                    ●   Yes
                                                                         ●
                                                                        PA
                                                                                  OH
                                                                                  ●
                                            65.0

                                                            ●
                                                          AZ
                                                                GA
                                            62.5               ●


                                                   50              55        60                 65            70
                                                        Turnout in 2016 (avg across counties)

   Figure 5: Swing states without suspicious counties had smaller average turnout increases,
   which drives Lott’s (2020) results




                                                                                      13
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4306
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      456 of Page
                                                                             1677 15 of 24




                                                                                            ●

                                            1. Baseline
    Lott (2020)'s specification




                                                                                            ●
                                      2. Incl. quadratic
                                                 margin
                                                                                                            ●   a. Lott's implementation
                                                                                                                b. Excluding states
                                                                                                                w/o fraud allegations
                                                                                                ●               c. Dummy for state
                                                                                                                w/o fraud allegations
                                      3. Demographics                                                           d. State fixed effects




                                                                                        ●
                                  4. Demographics incl.
                                       Native American



                                                           −0.025          0.000            0.025
                                                                Unexplained turnout in counties where
                                                                Republicans claim that fraud took place

   Figure 6: Lott’s (2020) estimates of suspicious county differences in turnout are zero and
   null once we address state-level differences.


       Figure 6 shows that once we address the level differences across states, Lott’s (2020)
   estimates of the turnout differences in suspicious counties go to zero and become null. We
   examine all four of Lott’s (2020) models (organized on the vertical axis) and present the
   estimate of the average difference in turnout rates for suspicious counties. The circle/purple
   estimates of suspicious county turnout depict the estimates using the four specifications for
   which Lott (2020) presents results in his Table 10. The triangle/dark-green estimates depict
   our estimates when we exclude Florida, Ohio, and North Carolina - three states in which
   no fraud was alleged. Across models, the difference in suspicious counties is close to zero
   and—in the case of model 4—the estimate is negative. The square/light-green estimates are
   from a model where we merely include an indicator for a state that has suspicious counties.
   Again, this reduces the estimate to null. Finally, the last plus/lime-green estimate includes
   state-level fixed effects. Across models, this gives a close to zero and null difference for
   suspicious counties. Thus, simply by focusing only on states where at least one county had
   alleged fraud (i.e. swing states that Biden won) or allowing that state-wide turnout trends
   may differ across states or groups of states, we are able to explain what Lott (2020) claimed
   was unexplained turnout in counties where Republicans had claimed fraud.

                                  To highlight the deficiency of Lott’s approach, we undertake a falsification test. To reit-

                                                                                   14
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4307
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      457 of Page
                                                                             1677 16 of 24




   erate, the fundamental problem with Lott’s analysis is that it compares “suspect” counties
   in states that experienced large turnout increases against a pooled control group comprising
   of non-suspect counties in states that experienced large turnout increases and counties in
   states that experienced smaller turnout increases. Given this flaw, we should find similar
   evidence of fraud if we replace Lott’s coding of “suspect” counties with a random set of
   counties in the same states. To investigate this, we repeatedly draw a random set of counties
   from the states where Republicans alleged fraud, designate these counties (counterfactually)
                                                                       15
   as “suspect”, and conduct the same analyses reported in Figure 6. If Lott (2020)’s design is
   valid, the coefficient on “suspect county” should be significant in about 5% of random draws.
   We expected otherwise: by including states with lower turnout increases in the control group
   (without including state fixed effects or otherwise accounting for cross-state turnout differ-
   ences), Lott (2020)’s analysis builds in a bias toward finding “inexplicably” high turnout
   increases in counties where Republicans have alleged fraud.

       Figure 7 shows the distribution of t-statistics across 1000 random reshufflings. The top
   row shows Lott (2020)’s specifications: the estimate from the true coding of suspect counties
   is statistically significant in each specification (as shown by the vertical red line at or above
   2), but this t-statistic is actually typical of the distribution of t-statistics across random
   reshufflings (shown in the histogram). Across Lott (2020)’s specifications, the proportion
   of random reshufflings that produce a significant “effect” (the false discovery rate, or type
   I error, shown by the dark region of the histograms) is between .6 and .75. In fact, the
   t-statistic is larger on average when we randomly select counties than when we use the coun-
   ties in which Republicans actually alleged fraud (according to Lott (2020))).

      The next three rows of Figure 7 show the same exercise conducted for the alternative
   specifications we used in Figure 6 above. False discovery rates are near .05, suggesting that
   adjusting for differences in turnout across states renders Lott (2020)’s tests statistically valid.


   5      Conclusion
   Using precinct-level analysis of absentee voting in Georgia and Pennsylvania as well as
   county-level analysis of turnout, Lott (2020) claims to provide statistical evidence for voter
   fraud sufficient to explain Trump’s defeat. After scrutinizing Lott (2020)’s analysis we con-
   clude that this claim is false. Lott (2020)’s precinct-level findings in Georgia and Pennsyl-
   vania are reversed if we alter an entirely arbitrary coding rule, and we find no evidence of
   differences in voting behavior across county boundaries in those states using a more stan-
   dard and appropriate estimation technique. Lott (2020)’s analysis of voter turnout collapses
   when we make simple adjustments to his specifications: what he claims is inexplicably high
   voter turnout is easily explained by differences in turnout trends across states. Thus, even
   if we accepted the questionable premise that minor differences in voting behavior or slightly
   elevated turnout rates constituted convincing evidence of fraud (we do not), we find that
     15
       In a state where n counties had allegations of fraud, we randomly draw n counties to be the pseudo-
   suspect counties.



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Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4308
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      458 of Page
                                                                             1677 17 of 24




                                                        2. Incl. quadratic                                                  4. Demographics incl.
                           1. Baseline                                                          3. Demographics
                                                             margin                                                            Native American




                                                                                                                                                             a. Lott's implementation
            40


            20


            0




                                                                                                                                                        w/o fraud allegations
                                                                                                                                                         b. Excluding states
            40


            20
    Count




             0




                                                                                                                                                        w/o fraud allegations
                                                                                                                                                         c. Dummy for state
            40


            20


             0




                                                                                                                                                             d. State fixed effects
            40


            20


             0
                 −4   −2   0    2    4   6   −4    −2     0     2     4      6        −4   −2    0     2    4     6   −4   −2   0     2    4        6
                                                    t−statistic on indicator for randomly chosen counties
                                                  in states where Republicans claim that fraud took place


   Figure 7: If “suspicious” counties were chosen at random rather than identified from Repub-
   lican allegations as in Lott (2020), Lott (2020)’s test would usually find evidence of “fraud”;
   our improved specifications would not




                                                                                 16
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4309
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      459 of Page
                                                                             1677 18 of 24




   Lott (2020)’s analysis provides no such evidence.

      Like other claims of fraud following the 2020 election, Lott (2020)’s assertions have the
   potential to undermine belief in the integrity of American elections. Unlike most of these
   other claims, Lott’s analysis has the appearance of careful social scientific research and can-
   not easily be dismissed as obviously illogical or mere hearsay. Indeed, it is because Lott
   (2020) shares several characteristics with rigorous social scientific research that we consid-
   ered it especially important to investigate these claims more deeply.

       Observers concerned about the integrity of the 2020 election can be reassured that Lott
   (2020)’s claims of election fraud have no basis in fact. We hope that our analysis helps undo
   some of the damage that has already been done by these and other unfounded claims of
   election fraud.




                                                 17
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4310
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      460 of Page
                                                                             1677 19 of 24




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                                             18
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4311
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      461 of Page
                                                                             1677 20 of 24




   Appendix

   Table 3: Lott’s Conclusions Are Reversed if the Arbitrary Ordering of Precinct Differences
   is Reversed (Georgia)


                                                       Dependent variable:
                                              Difference, Trump Absentee
                                            (Lott (2020), Table 2)
                                                         (1)               (2)
        Difference, Trump In-Person Vote                0.574             0.574
                                                       (0.073)           (0.073)

        Fulton County                                  −0.072             0.055
                                                       (0.038)           (0.033)

        Observations                                     22                  22
        Reverse Coding                                                       ✓




   Table 4: Lott’s Conclusions Are Reversed if the Arbitrary Ordering of Precinct Differences
   is Reversed (Pennsylvania)


                                                          Dependent variable:
                                                       Difference, Trump Absentee
                                                     (Lott (2020), Table 5)
                                                                 (1)                (2)
             Difference, Trump In-Person Vote                   0.359              0.359
                                                               (0.069)            (0.069)

             Allegheny County                                  −0.034              0.041
                                                               (0.019)            (0.020)

             Observations                                        87                 87
             Reverse Coding                                                         ✓




                                                19
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4312
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      462 of Page
                                                                             1677 21 of 24




                        Table 5: Pennsylvania Provisional Ballot Results


                                                              Dependent variable:
                                       Difference, Trump Provisional        Trump Provisional Vote
                                           (Lott (2020), Table 6)
                                                      (1)                    (2)       (3)       (4)
   Difference, Trump In-Person Vote                  1.038
                                                    (0.558)

   Trump, In-Person Vote                                                    0.729     1.055     0.690
                                                                           (0.222)   (0.552)   (0.257)

   Allegheny County                                 −0.125                 −0.004    −0.036    −0.047
                                                    (0.141)                (0.036)   (0.044)   (0.048)
   Observations                                       34                    120       120       120
   Precinct-Pair Fixed Effects                                                         ✓
   County-Pair Fixed Effects                                                                     ✓



                 Table 6: Pennsylvania Provisional Ballot Results, Total Ballots


                                                              Dependent variable:
                                      Difference, Biden Share of Votes         Biden Share of Votes
                                          From Provisional Ballots           From Provisional Ballots
                                           (Lott (2020), Table 7a)
                                                      (1)                     (2)       (3)       (4)
   Difference, Share of Trump Vote                   0.364
   from Provisional Ballots                         (0.105)

   Share of Trump Vote                                                      0.371     0.385     0.342
   from Provisional Ballots                                                (0.078)   (0.103)   (0.082)

   Allegheny County                                  0.010                  0.007     0.007     0.007
                                                    (0.004)                (0.002)   (0.002)   (0.002)

   Observations                                       87                     174       174       174
   Precinct-Pair Fixed Effects                                                          ✓
   County-Pair Fixed Effects                                                                      ✓



                                               20
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4313
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      463 of Page
                                                                             1677 22 of 24




   Figure 8: Distribution of Estimates for Alternative Precinct Differencing Orders, Pennsyl-
   vania Provisional Ballots




                                              21
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4314
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      464 of Page
                                                                             1677 23 of 24




   Figure 9: Distribution of Estimates for Alternative Precinct Differencing Orders, Share of
   Biden Ballots from Pennsylvania Provisional Ballots




                                              22
Case 2:20-cv-13134-LVP-RSW
        Case 1:21-cv-01169-TCBECF
                                Document
                                  No. 103-16,
                                          35-2PageID.4315
                                                Filed 05/03/21
                                                            FiledPage
                                                                  01/26/21
                                                                      465 of Page
                                                                             1677 24 of 24




   6    Turnout Rate in States

                           Table 7: County-Average Turnout Rates

                                              Turnout 2016   Turnout 2020   Difference
             States with ”Suspect” Counties
                                       AZ             0.54           0.64        0.10
                                        MI            0.63           0.73        0.10
                                       NV             0.60           0.70        0.10
                                       PA             0.58           0.67        0.09
                                       GA             0.54           0.62        0.08
                                       WI             0.67           0.74        0.07
         States Without ”Suspect” Counties
                                       NC             0.63           0.70        0.07
                                        FL            0.64           0.70        0.06
                                       OH             0.61           0.66        0.05




                                              23
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-17,
                                        35-2 PageID.4316
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     466 of 1677
                                                                             Page 1 of 7




                    EXHIBIT 16
Case 2:20-cv-13134-LVP-RSWCourt
      Case 1:21-cv-01169-TCB ECFofNo.
                                   Claims
                              Document103-17,
                                         35-2  Filedand
                                           Opinion      Order
                                              PageID.4317
                                                     05/03/21
                                                            Filed
                                                               Page
                                                                  01/26/21
                                                                     467 of 1677
                                                                             Page 2 of 7




                                   STATE OF MICHIGAN

                                     COURT OF CLAIMS



   DONALD J. TRUMP FOR PRESIDENT, INC.
   and ERIC OSTEGREN,                                     OPINION AND ORDER

                  Plaintiffs,

   v                                                      Case No. 20-000225-MZ

   JOCELYN BENSON, in her official capacity as            Hon. Cynthia Diane Stephens
   Secretary of State,

               Defendants.
   ___________________________/




         Pending before the Court are two motions. The first is plaintiffs’ November 4, 2020

  emergency motion for declaratory relief under MCR 2.605(D). For the reasons stated on the record

  and incorporated herein, the motion is DENIED. Also pending before the Court is the motion to

  intervene as a plaintiff filed by the Democratic National Committee. Because the relief requested

  by plaintiffs in this case will not issue, the Court DENIES as moot the motion to intervene.


         According to the allegations in plaintiffs’ complaint, plaintiff Eric Ostegren is a

  credentialed election challenger under MCL 168.730. Paragraph 2 of the complaint alleges that

  plaintiff Ostegren was “excluded from the counting board during the absent voter ballot review

  process.” The complaint does not specify when, where, or by whom plaintiff was excluded. Nor

  does the complaint provide any details about why the alleged exclusion occurred.




                                                 -1-
      Case 1:21-cv-01169-TCBCourt
Case 2:20-cv-13134-LVP-RSW   ECF  of Claims
                              Document
                                  No.    35-2Opinion
                                      103-17,         and Order
                                              PageID.4318
                                               Filed 05/03/21
                                                            Filed
                                                               Page
                                                                  01/26/21
                                                                     468 of 1677
                                                                             Page 3 of 7




         The complaint contains allegations concerning absent voter ballot drop-boxes. Plaintiffs

  allege that state law requires that ballot containers must be monitored by video surveillance.

  Plaintiff contends that election challengers must be given an opportunity to observe video of ballot

  drop-boxes with referencing the provision(s) of the statute that purportedly grant such access, .

  See MCL 168.761d(4)(c).


         Plaintiffs’ emergency motion asks the Court to order all counting and processing of

  absentee ballots to cease until an “election inspector” from each political party is allowed to be

  present at every absent voter counting board, and asks that this court require the Secretary of State

  to order the immediate segregation of all ballots that are not being inspected and monitored as

  required by law. Plaintiffs argue that the Secretary of State’s failure to act has undermined the

  rights of all Michigan voters. While the advocate at oral argument posited the prayer for relief as

  one to order “meaningful access” to the ballot tabulation process, plaintiffs have asked the Court

  to enter a preliminary injunction to enjoin the counting of ballots. A party requesting this

  “extraordinary and drastic use of judicial power” must convince the Court of the necessity of the

  relief based on the following factors:


         (1) the likelihood that the party seeking the injunction will prevail on the merits,
         (2) the danger that the party seeking the injunction will suffer irreparable harm if
         the injunction is not issued, (3) the risk that the party seeking the injunction would
         be harmed more by the absence of an injunction than the opposing party would be
         by the granting of the relief, and (4) the harm to the public interest if the injunction
         is issued. [Davis v Detroit Fin Review Team, 296 Mich App 568, 613; 821 NW2d
         896 (2012).]

         As stated on the record at the November 5, 2020 hearing, plaintiffs are not entitled to the

  extraordinary form of emergency relief they have requested.


               I.    SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE MERITS


                                                   -2-
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                  No. 103-17,
                                          35-2 PageID.4319
                                                 Filed 05/03/21Filed
                                                                  Page
                                                                     01/26/21
                                                                        469 of 1677
                                                                                Page 4 of 7
                           Court of Claims Opinion and Order



                                         A. OSTEGREN CLAIM

           Plaintiff Ostegren avers that he was removed from an absent voter counting board. It is

  true that the Secretary of State has general supervisory control over the conduct of elections. See

  MCL 168.21; MCL 168.31. However, the day-to-day operation of an absent voter counting board

  is controlled by the pertinent city or township clerk. See MCL 168.764d. The complaint does not

  allege that the Secretary of State was a party to or had knowledge of, the alleged exclusion of

  plaintiff Ostegren from the unnamed absent voter counting board. Moreover, the Court notes that

  recent guidance from the Secretary of State, as was detailed in matter before this Court in Carra

  et al v Benson et al, Docket No. 20-000211-MZ, expressly advised local election officials to admit

  credentialed election challengers, provided that the challengers adhered to face-covering and

  social-distancing requirements. Thus, allegations regarding the purported conduct of an unknown

  local election official do not lend themselves to the issuance of a remedy against the Secretary of

  State.


                                       B. CONNARN AFFIDAVIT

           Plaintiffs have submitted what they refer to as “supplemental evidence” in support of their

  request for relief. The evidence consists of: (1) an affidavit from Jessica Connarn, a designated

  poll watcher; and (2) a photograph of a handwritten yellow sticky note. In her affidavit, Connarn

  avers that, when she was working as a poll watcher, she was contacted by an unnamed poll worker

  who was allegedly “being told by other hired poll workers at her table to change the date the ballot

  was received when entering ballots into the computer.” She avers that this unnamed poll worker

  later handed her a sticky note that says “entered receive date as 11/2/20 on 11/4/20.” Plaintiffs

  contend that this documentary evidence confirms that some unnamed persons engaged in




                                                   -3-
Case 2:20-cv-13134-LVP-RSW Court
      Case 1:21-cv-01169-TCB ECF ofNo.
                                   Claims
                              Document    Opinion
                                       103-17,
                                          35-2    and 05/03/21
                                                      Order Filed
                                               PageID.4320
                                                Filed          Page
                                                                  01/26/21
                                                                     470 of 1677
                                                                             Page 5 of 7




  fraudulent activity in order to count invalid absent voter ballots that were received after election

  day.


         This “supplemental evidence” is inadmissible as hearsay. The assertion that Connarn was

  informed by an unknown individual what “other hired poll workers at her table” had been told is

  inadmissible hearsay within hearsay, and plaintiffs have provided no hearsay exception for either

  level of hearsay that would warrant consideration of the evidence. See MRE 801(c). The note—

  which is vague and equivocal—is likewise hearsay. And again, plaintiffs have not presented an

  argument as to why the Court could consider the same, given the general prohibitions against

  hearsay evidence. See Ykimoff v Foote Mem Hosp, 285 Mich App 80, 105; 776 NW2d 114 (2009).

  Moreover, even overlooking the evidentiary issues, the Court notes that there are still no

  allegations implicating the Secretary of State’s general supervisory control over the conduct of

  elections. Rather, any alleged action would have been taken by some unknown individual at a

  polling location.


                                       C. BALLOT BOX VIDEOS

     It should be noted at the outset that the statute providing for video surveillance of drop boxes

  only applies to those boxes that were installed after October 1, 2020. See MCL 168.761d(2).

  There is no evidence in the record whether there are any boxes subject to this requirement, how

  many there are, or where they are. The plaintiffs have not cited any statutory authority that requires

  any video to be subject to review by election challengers. They have not presented this Court with

  any statute making the Secretary of State responsible for maintaining a database of such boxes.

  The clear language of the statute directs that “[t]he city or township clerk must use video

  monitoring of that drop box to ensure effective monitoring of that drop box.” MCL 168.761d(4)(c)

  Additionally, plaintiffs have not directed the Court’s attention to any authority directing the

                                                   -4-
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                   No. 103-17,
                                           35-2 PageID.4321
                                                 Filed 05/03/21Filed
                                                                  Page
                                                                     01/26/21
                                                                        471 of 1677
                                                                                Page 6 of 7
                           Court of Claims Opinion and Order



  Secretary of State to segregate the ballots that come from such drop-boxes, thereby undermining

  plaintiffs’ request to have such ballots segregated from other ballots, and rendering it impossible

  for the Court to grant the requested relief against this defendant. Not only can the relief requested

  not issue against the Secretary of State, who is the only named defendant in this action, but the

  factual record does not support the relief requested. As a result, plaintiffs are unable to show a

  likelihood of success on the merits.


                                           II.   MOOTNESS

         Moreover, even if the requested relief could issue against the Secretary of State, the Court

  notes that the complaint and emergency motion were not filed until approximately 4:00 p.m. on

  November 4, 2020—despite being announced to various media outlets much earlier in the day. By

  the time this action was filed, the votes had largely been counted, and the counting is now

  complete.   Accordingly, and even assuming the requested relief were available against the

  Secretary of State—and overlooking the problems with the factual and evidentiary record noted

  above—the matter is now moot, as it is impossible to issue the requested relief. See Gleason v

  Kincaid, 323 Mich App 308, 314; 917 NW2d 685 (2018)


         IT IS HEREBY ORDERED that plaintiff’s November 4, 2020 emergency motion for

  declaratory judgment is DENIED.


         IT IS HEREBY FURTHER ORDERED that proposed intervenor’s motion to intervene is

  DENIED as MOOT.


         This is not a final order and it does not resolve the last pending claim or close the case.




                                                   -5-
      Case 1:21-cv-01169-TCB Court
Case 2:20-cv-13134-LVP-RSW   ECF   of Claims
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                                       103-17,
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                                               PageID.4322
                                                      05/03/21    Page
                                                                     01/26/21
                                                                        472 of 1677
                                                                                Page 7 of 7




  November 6, 2020                                ____________________________________
                                                  Cynthia Diane Stephens
                                                  Judge, Court of Claims




                                            -6-
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4323
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     473 of 1677
                                                                             Page 1 of 9




                    EXHIBIT 17
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4324
                                              Filed 05/03/21Filed
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                                                                  01/26/21
                                                                     474 of 1677
                                                                             Page 2 of 9
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      Case 1:21-cv-01169-TCB ECF
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                                 No. 103-18,
                                        35-2 PageID.4325
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     475 of 1677
                                                                             Page 3 of 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4326
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     476 of 1677
                                                                             Page 4 of 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4327
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     477 of 1677
                                                                             Page 5 of 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4328
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     478 of 1677
                                                                             Page 6 of 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4329
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     479 of 1677
                                                                             Page 7 of 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4330
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     480 of 1677
                                                                             Page 8 of 9
Case 2:20-cv-13134-LVP-RSW
      Case 1:21-cv-01169-TCB ECF
                              Document
                                 No. 103-18,
                                        35-2 PageID.4331
                                              Filed 05/03/21Filed
                                                               Page
                                                                  01/26/21
                                                                     481 of 1677
                                                                             Page 9 of 9
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 482 of 1677




      IN THE UNITED STATES DISTRICCT COURT, NORTHERN
          DISTRCOICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,
GLORIA KAY GODWIN, JAMES
KENNETH CARROLL, , CAROLYN HALL                  CASE NO.
FISHER, CATHLEEN ALSTON LATHAM,
and BRIAN JAY VAN GUNDY,


      Plaintiffs.
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official
capacity as Secretary of State and Chair
of the Georgia State Election Board,
DAVID J. WORLEY, in his official
capacity as a member of the Georgia
State Election Board, REBECCA
N.SULLIVAN, in her official capacity as
a member of the Georgia State Election
Board, MATTHEW MASHBURN, in his
official capacity as a member of the
Georgia State Election Board, and ANH
LE, in her official capacity as a member
of the Georgia State Election Board,
      Defendants.




        COMPLAINT FOR DECLARATORY, EMERGENCY, AND
              PERMANENT INJUNCTIVE RELIEF




                                      1

                                                                   Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 483 of 1677




                          NATURE OF THE ACTION

       This civil action brings to light a massive election fraud, multiple

violations of Georgia laws, including O.C.G.A. §§ 21-2-30(d), 21-2-31, 21-2-

33.1 and §21-2-522, and multiple Constitutional violations, as shown by fact

witnesses to specific incidents, multiple expert witnesses and the sheer

mathematical impossibilities found in the Georgia 2020 General Election. 1

                                              1.

       As a civil action, the plaintiff’s burden of proof is a “preponderance of

the evidence” to show, as the Georgia Supreme Court has made clear that, “[i]

was not incumbent upon [Plaintiff] to show how the [] voters would have voted

if their [absentee] ballots had been regular. [Plaintiff] only had to show that

there were enough irregular ballots to place in doubt the result.” Mead v.

Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (2004) (citing Howell v. Fears,

275 Ga. 627, 571 S.E.2d 392 (2002).




1
   The same pattern of election fraud and voter fraud writ large occurred in all the swing
states with only minor variations, see expert reports, regarding Michigan, Pennsylvania,
Arizona and Wisconsin. (See William M. Briggs Decl., attached here to as Exh. 1, Report
with Attachment). Indeed, we believe that in Arizona at least 35,000 votes were illegally
added to Mr. Biden’s vote count.

                                              2

                                                                                  Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 484 of 1677




                                               2.

       The scheme and artifice to defraud was for the purpose of illegally and

fraudulently manipulating the vote count to make certain the election of Joe

Biden as President of the United States.

                                               3.

       The fraud was executed by many means, 2 but the most fundamentally

troubling, insidious, and egregious is the systemic adaptation of old-fashioned

“ballot-stuffing.” It has now been amplified and rendered virtually invisible

by computer software created and run by domestic and foreign actors for that

very purpose. Mathematical and statistical anomalies rising to the level of

impossibilities, as shown by affidavits of multiple witnesses, documentation,

and expert testimony evince this scheme across the state of Georgia.

Especially egregious conduct arose in Forsyth, Paulding, Cherokee, Hall, and

Barrow County. This scheme and artifice to defraud affected tens of

thousands of votes in Georgia alone and “rigged” the election in Georgia for

Joe Biden.




2
  50 USC § 20701 requires Retention and preservation of records and papers by officers of
elections; deposit with custodian; penalty for violation, but as will be shown wide pattern of
misconduct with ballots show preservation of election records have not been kept; and
Dominion logs are only voluntary, with no system wide preservation system.
                                              3

                                                                                   Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 485 of 1677




                                              4.

       The massive fraud begins with the election software and hardware

from Dominion Voting Systems Corporation (“Dominion”) only recently

purchased and rushed into use by Defendants Governor Brian Kemp,

Secretary of State Brad Raffensperger, and the Georgia Board of Elections.

Sequoia voting machines were used in 16 states and the District of Colombia

in 2006. Smartmatic, which has revenue of about $100 million, focuses on

Venezuela and other markets outside the U.S. 3

       After selling Sequoia, Smartmatic's chief executive, Anthony Mugica.

Mr. Mugica said, he hoped Smartmatic would work with Sequoia on projects

in the U.S., though Smartmatic wouldn't take an equity stake.” Id.

                                              5.

       Smartmatic and Dominion were founded by foreign oligarchs and

dictators to ensure computerized ballot-stuffing and vote manipulation to

whatever level was needed to make certain Venezuelan dictator Hugo Chavez

never lost another election. (See Redacted whistleblower affiant, attached as

Exh. 2) Notably, Chavez “won” every election thereafter.




3
 See WSJ.com, Smartmatic to Sell U.S. Unit, End Probe into Venezuelan Links, by Bob Davis,
12/22/2006, https://www.wsj.com/articles/SB116674617078557263
                                             4

                                                                                 Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 486 of 1677




                                        6.

      As set forth in the accompanying whistleblower affidavit, the

Smartmatic software was designed to manipulate Venezuelan elections in

favor of dictator Hugo Chavez:



      Smartmatic’s electoral technology was called “Sistema de Gestión
      Electoral” (the “Electoral Management System”). Smartmatic was a
      pioneer in this area of computing systems. Their system provided for
      transmission of voting data over the internet to a computerized
      central tabulating center. The voting machines themselves had a
      digital display, fingerprint recognition feature to identify the voter,
      and printed out the voter’s ballot. The voter’s thumbprint was linked
      to a computerized record of that voter’s identity. Smartmatic created
      and operated the entire system.

                                        7.

      A core requirement of the Smartmatic software design was the

software’s ability to hide its manipulation of votes from any audit. As the

whistleblower explains:

      Chavez was most insistent that Smartmatic design the system in a
      way that the system could change the vote of each voter without
      being detected. He wanted the software itself to function in such a
      manner that if the voter were to place their thumb print or
      fingerprint on a scanner, then the thumbprint would be tied to a
      record of the voter’s name and identity as having voted, but that voter
      would not be tracked to the changed vote. He made it clear that the
      system would have to be setup to not leave any evidence of the
      changed vote for a specific voter and that there would be no evidence
      to show and nothing to contradict that the name or the fingerprint or
      thumb print was going with a changed vote. Smartmatic agreed to
      create such a system and produced the software and hardware that


                                       5

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 487 of 1677




      accomplished that result for President Chavez. (See Id., see also Exh.
      3, Aff. Cardozo, attached hereto)).

                                         8.

      The design and features of the Dominion software do not permit a

simple audit to reveal its misallocation, redistribution, or deletion of votes.

First, the system's central accumulator does not include a protected real-time

audit log that maintains the date and time stamps of all significant election

events. Key components of the system utilize unprotected logs. Essentially

this allows an unauthorized user the opportunity to arbitrarily add, modify,

or remove log entries, causing the machine to log election events that do not

reflect actual voting tabulations—or more specifically, do not reflect the

actual votes of or the will of the people. (See Hursti August 2019 Declaration,

attached hereto as Exh. 4, at pars. 45-48; and attached hereto, as Exh. 4B,

October 2019 Declaration in Document 959-4, at p. 18, par. 28).

                                         9.

      Indeed, under the professional standards within the industry in

auditing and forensic analysis, when a log is unprotected, and can be altered,

it can no longer serve the purpose of an audit log. There is incontrovertible

physical evidence that the standards of physical security of the voting

machines and the software were breached, and machines were connected to




                                        6

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 488 of 1677




the internet in violation of professional standards and state and federal laws.

(See Id.)

                                         10.

      Moreover, lies and conduct of Fulton County election workers about a

delay in voting at State Farm Arena and the reasons for it evince the fraud.

                                         11.

      Specifically, video from the State Farm Arena in Fulton County shows

that on November 3rd after the polls closed, election workers falsely claimed

a water leak required the facility to close. All poll workers and challengers

were evacuated for several hours at about 10:00 PM. However, several

election workers remained unsupervised and unchallenged working at the

computers for the voting tabulation machines until after 1:00 AM.

                                         12.

      Defendants Kemp and Raffensperger rushed through the purchase of

Dominion voting machines and software in 2019 for the 2020 Presidential

Election 4. A certificate from the Secretary of State was awarded to Dominion




      4
           Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-
Constitution, AJC News Now, Credit: Copyright 2019 The Associated Press, June 2019.
https://www.ajc.com/blog/politics/georgia-governor-inks-law-replace-voting-
machines/xNXs0ByQAOvtXhd27kJdqO/




                                         7

                                                                          Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 489 of 1677




Voting Systems but is undated. (See attached hereto Exh. 5, copy

Certification for Dominion Voting Systems from Secretary of State).

Similarly a test report is signed by Michael Walker as Project Manager but is

also undated. (See Exh. 6, Test Report for Dominion Voting Systems,

Democracy Suite 5-4-A)

                                                13.

       Defendants Kemp and Raffensperger disregarded all the concerns that

caused Dominion software to be rejected by the Texas Board of Elections in

2018, namely that it was vulnerable to undetected and non-auditable

manipulation. An industry expert, Dr. Andrew Appel, Princeton Professor of

Computer Science and Election Security Expert has recently observed, with

reference to Dominion Voting machines: "I figured out how to make a slightly

different computer program that just before the polls were closed, it switches

some votes around from one candidate to another. I wrote that computer

program into a memory chip and now to hack a voting machine you just need

7 minutes alone with it and a screwdriver." (Attached hereto Exh. 7, Study,

Ballot-Marking Devices (BMDs) Cannot Assure the Will of the Voters by

Andrew W. Appel Princeton University, Richard A. DeMillo, Georgia Tech

Philip B. Stark, for the Univ. of California, Berkeley, December 27, 2019). 5


5
 Full unredacted copies of all exhibits have been filed under seal with the Court and Plaintiffs
have simultaneously moved for a protective order.
                                                8

                                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 490 of 1677




                                      14.

      As explained and demonstrated in the accompanying redacted

declaration of a former electronic intelligence analyst under 305th Military

Intelligence with experience gathering SAM missile system electronic

intelligence, the Dominion software was accessed by agents acting on behalf

of China and Iran in order to monitor and manipulate elections, including the

most recent US general election in 2020. This Declaration further includes a

copy of the patent records for Dominion Systems in which Eric Coomer is

listed as the first of the inventors of Dominion Voting Systems. (See

Attached hereto as Exh. 8, copy of redacted witness affidavit, 17 pages,

November 23, 2020).

                                      15.

      Expert Navid Keshavarez-Nia explains that US intelligence services

had developed tools to infiltrate foreign voting systems including Dominion.

He states that Dominion’s software is vulnerable to data manipulation by

unauthorized means and permitted election data to be altered in all

battleground states. He concludes that hundreds of thousands of votes that

were cast for President Trump in the 2020 general election were transferred

to former Vice-President Biden. (Exh. 26).




                                      9

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 491 of 1677




                                             16.

       Additionally, incontrovertible evidence Board of Elections records

demonstrates that at least 96,600 absentee ballots were requested and

counted but were never recorded as being returned to county election boards

by the voter. Thus, at a minimum, 96,600 votes must be disregarded. (See

Attached hereto, Exh. 9, R. Ramsland Aff.).

                                             17.

       The Dominion system used in Georgia erodes and undermines the

reconciliation of the number of voters and the number of ballots cast, such

that these figures are permitted to be unreconciled, opening the door to ballot

stuffing and fraud. The collapse of reconciliation was seen in Georgia’s

primary and runoff elections this year, and in the November election, where

it was discovered during the hand audit that 3,300 votes were found on

memory sticks that were not uploaded on election night, plus in Floyd county,

another 2,600 absentee ballots had not been scanned. These “found votes”

reduced Biden’s lead over Donald Trump 6.




6
 Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark Niesse and
David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-thousands-of-georgia-
votes-missing-from-initial-counts/ERDRNXPH3REQTM4SOINPSEP72M/
                                             10

                                                                                  Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 492 of 1677




                                         18.

      Georgia’s election officials and poll workers exacerbated and helped,

whether knowingly or unknowingly, the Dominion system carry out massive

voter manipulation by refusing to observe statutory safeguards for absentee

ballots. Election officials failed to verify signatures and check security

envelopes. They barred challengers from observing the count, which also

facilitated the fraud.

                                         19.

      Expert analysis of the actual vote set forth below demonstrates that at

least 96,600 votes were illegally counted during the Georgia 2020 general

election. All of the evidence and allegation herein is more than sufficient to

place the result of the election in doubt. More evidence arrives by the day

and discovery should be ordered immediately.

                                         20.

      Georgia law, (OCGA 21-5-552) provides for a contest of an election

where:

      (1) Misconduct, fraud, or irregularity by any primary or election
      official or officials sufficient to change or place in doubt the result; . .
      . (3) When illegal votes have been received or legal votes rejected at
      the polls sufficient to change or place in doubt the result; (4) For any
      error in counting the votes or declaring the result of the primary or
      election, if such error would change the result; or (5) For any other
      cause which shows that another was the person legally nominated,
      elected, or eligible to compete in a run-off primary or election.


                                         11

                                                                           Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 493 of 1677




                                         21.

         As further set forth below, all of the above grounds have been satisfied

and compel this Court to set aside the 2020 General Election results which

fraudulently concluded that Mr. Biden defeated President Trump by 12,670

votes.

                                         22.

         Separately, and independently, there are sufficient Constitutional

grounds to set aside the election results due to the Defendants’ failure to

observe statutory requirements for the processing and counting of absentee

ballots which led to the tabulation of more than fifty thousand illegal ballots.

                                 THE PARTIES

                                         23.

         Plaintiff Coreco Ja’Qan (“CJ”) Pearson, is a registered voter who

resides in Augusta, Georgia. He is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia. He has standing to

bring this action under Carson v. Simon, 2020 US App Lexis 34184 (8th Cir.

Oct. 29, 2020). He brings this action to set aside and decertify the election

results for the Office of President of the United States that was certified by

the Georgia Secretary of State on November 20, 2020. The certified results

showed a plurality of 12,670 votes in favor of former Vice-President Joe Biden

over President Trump.

                                         12

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 494 of 1677




                                      24.

      Plaintiff Vikki Townsend Consiglio, is a registered voter who resides in

Henry County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      25.

      Plaintiff Gloria Kay Godwin, is a registered voter who resides in

Pierece County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      26.

      Plaintiff James Kenneth Carroll, is a registered voter who resides in

Dodge County, Georgia. He is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      27.

      Plaintiff Carolyn Hall Fisher, is a registered voter who resides in

Forsyth County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      28.

      Plaintiff Cathleen Alston Latham, is a registered voter who resides in

Coffee County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.



                                      13

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 495 of 1677




                                            29.

       Plaintiff Jason M. Shepherd is the Chairman of the Cobb County

Republican Party and brings this action in his official capacity on behalf of

the Cobb County Republican Party.

                                            30.

       Plaintiff Brian Jay Van Gundy is registered voter in Gwinnett County,

Georgia. He is the Assistant Secretary of the Georgia Republican Party.

                                            31.

       Defendant Governor Brian Kemp (Governor of Georgia) is named

herein in his official capacity as Governor of the State of Georgia. On or

about June 9, 2019, Governor Kemp bought the new Dominion Voting

Systems for Georgia, budgeting 150 million dollars for the machines. Critics

are quoted, “Led by Abrams, Democrats fought the legislation and pointed to

cybersecurity experts who warned it would leave Georgia's elections

susceptible to hacking and tampering.” And “Just this week, the Fair Fight

voting rights group started by [Stacy] Abrams launched a television ad

critical of the bill. In a statement Thursday, the group called it “corruption at

its worst” and a waste of money on “hackable voting machines.” 7




7
 Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-Constitution,
AJC News Now, Credit: Copyright 2019 The Associated Press, June 2019
                                            14

                                                                                Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 496 of 1677




                                        32.

      Defendant Brad Raffensperger ("Secretary Raffensperger") is named

herein in his official capacity as Secretary of State of the State of Georgia and

the Chief Election Official for the State of Georgia pursuant to Georgia’s

Election Code and O.C.G.A. § 21-2-50. Secretary Raffensperger is a state

official subject to suit in his official capacity because his office "imbues him

with the responsibility to enforce the [election laws]." Grizzle v. Kemp, 634

F.3d 1314, 1319 (11th Cir. 2011). Secretary Raffensperger serves as the

Chairperson of Georgia's State Election Board, which promulgates and

enforces rules and regulations to (i) obtain uniformity in the practices and

proceedings of election officials as well as legality and purity in all primaries

and general elections, and (ii) be conducive to the fair, legal, and orderly

conduct of primaries and general elections. See O.C.G.A. §§ 21-2-30(d), 21-2-

31, 21-2-33.1. Secretary Raffensperger, as Georgia's chief elections officer, is

further responsible for the administration of the state laws affecting voting,

including the absentee voting system. See O.C.G.A. § 21-2-50(b).

                                        33.

      Defendants Rebecca N. Sullivan, David J. Worley, Matthew Mashburn,

and Anh Le (hereinafter the "State Election Board") are members of the State

Election Board in Georgia, responsible for "formulating, adopting, and

promulgating such rules and regulations, consistent with law, as will be

                                        15

                                                                         Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 497 of 1677




conducive to the fair, legal, and orderly conduct of primaries and elections."

O.C.G.A. § 21-2-31(2). Further, the State Election Board "promulgate[s] rules

and regulations to define uniform and nondiscriminatory standards

concerning what constitutes a vote and what will be counted as a vote for

each category of voting system" in Georgia. O.C.G.A. § 21-2-31(7). The State

Election Board, personally and through the conduct of the Board's employees,

officers, agents, and servants, acted under color of state law at all times

relevant to this action and are sued for emergency declaratory and injunctive

relief in their official capacities.

                       JURISDICTION AND VENUE

                                        34.

      This Court has subject matter jurisdiction under 28 U.S.C. 1331 which

provides, “The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.

                                        35.

      This Court also has subject matter jurisdiction under 28 U.S.C. 1343

because this action involves a federal election for President of the United

States. “A significant departure from the legislative scheme for appointing

Presidential electors presents a federal constitutional question.” Bush v.

Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm,

285 U.S. 355, 365 (1932).

                                        16

                                                                         Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 498 of 1677




                                        36.

      The jurisdiction of the Court to grant declaratory relief is conferred by

28 U.S.C. 2201 and 2202 and by Rule 57 and 65, Fed. R. Civ. P. 7.

                                        37.

      This Court has jurisdiction over the related Georgia Constitutional

claims and State law claims under 28 U.S.C. 1367.

                                        38.

      In Georgia, the "legislature" is the General Assembly. See Ga. Const.

Art. III, § I, Para. I.

                                        39.

      Because the United States Constitution reserves for state legislatures

the power to set the time, place, and manner of holding elections for Congress

and the President, state executive officers, including but not limited to

Secretary Raffensperger, have no authority to exercise that power

unilaterally, much less flout existing legislation or the Constitution itself.


                          STATEMENT OF FACTS

                                        40.

      Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and

under Georgia law, O.C.G.A. § 21-2-522 to remedy deprivations of rights,




                                       17

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 499 of 1677




privileges, or immunities secured by the Constitution and laws of the United

States and to contest the election results.

                                       41.

      The United States Constitution sets forth the authority to regulate

federal elections, the Constitution provides:

      The Times, Places and Manner of holding Elections for Senators and
      Representatives, shall be prescribed in each State by the Legislature
      thereof; but the Congress may at any time by Law make or alter such
      Regulations, except as to the Places of choosing Senators. U.S.
      CONST. art. I, § 4 (“Elections Clause”).

                                       42.

      With respect to the appointment of presidential electors, the

Constitution provides: Each State shall appoint, in such Manner as the

Legislature thereof may direct, a Number of Electors, equal to the whole

Number of Senators and Representatives to which the State may be entitled

in the Congress: but no Senator or Representative, or Person holding an

Office of Trust or Profit under the United States, shall be appointed an

Elector. U.S. CONST. art. II, § 1 (“Electors Clause”).

                                       43.

      Neither Defendant is a “Legislature” as required under the Elections

Clause or Electors Clause. The Legislature is “‘the representative body which

ma[kes] the laws of the people.’” Smiley 285 U.S. 365. Regulations of

congressional and presidential elections, thus, “must be in accordance with

                                       18

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 500 of 1677




the method which the state has prescribed for legislative enactments.” Id. at

367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576

U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

                                       44.

      While the Elections Clause "was not adopted to diminish a State's

authority to determine its own lawmaking processes," Ariz. State Legislature,

135 S. Ct. at 2677, it does hold states accountable to their chosen processes

when it comes to regulating federal elections, id. at 2668. "A significant

departure from the legislative scheme for appointing Presidential electors

presents a federal constitutional question." Bush, 531 U.S. at 113 (Rehnquist,

C.J., concurring); Smiley, 285 U.S. at 365.

                                       45.

      Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,

Grounds for Contest:

      A result of a primary or election may be contested on one or more of
      the following grounds:

      (1) Misconduct, fraud, or irregularity by any primary or election
      official or officials sufficient to change or place in doubt the result;

      (2) When the defendant is ineligible for the nomination or office in
      dispute;

      (3) When illegal votes have been received or legal votes rejected at
      the polls sufficient to change or place in doubt the result;

      (4) For any error in counting the votes or declaring the result of the
      primary or election, if such error would change the result; or

                                       19

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 501 of 1677




      (5) For any other cause which shows that another was the person
      legally nominated, elected, or eligible to compete in a run-off primary
      or election.

O.C.G.A. § 21-2-522.

                                       46.

      Under O.C.G.A. § 21-2-10, Presidential Electors are elected.

                                       47.

      Under O.C.G.A. § 21-2-386(a)(l)(B), the Georgia Legislature instructed

the county registrars and clerks (the "County Officials") to handle the

absentee ballots as directed therein. The Georgia Legislature set forth the

procedures to be used by each municipality for appointing the absentee ballot

clerks to ensure that such clerks would "perform the duties set forth in this

Article." See O.C.G.A. § 21-2-380.1.

                                       48.

      The Georgia Election Code instructs those who handle absentee ballots

to follow a clear procedure:

      Upon receipt of each [absentee] ballot, a registrar or clerk shall write
      the day and hour of the receipt of the ballot on its envelope. The
      registrar or clerk shall then compare the identifying information
      on the oath with the information on file in his or her office, shall
      compare the signature or make on the oath with the signature or
      mark on the absentee elector's voter card or the most recent update
      to such absentee elector's voter registration card and application for
      absentee ballot or a facsimile of said signature or maker taken from
      said card or application, and shall, if the information and signature
      appear to be valid and other identifying information appears to be
      correct, so certify by signing or initialing his or her name below the

                                       20

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 502 of 1677




      voter's oath. Each elector's name so certified shall be listed by the
      registrar or clerk on the numbered list of absentee voters prepared
      for his or her precinct.

O.C.G.A. § 21-2-386(a)(l )(B) (emphasis added).

                                        49.

      Under O.C.G.A. § 21-2-386(a)(l)(C), the Georgia Legislature also

established a clear and efficient process to be used by County Officials if

they determine that an elector has failed to sign the oath on the outside

envelope enclosing the ballot or that the signature does not conform with

the signature on file in the registrar's or clerk's office (a "defective absentee

ballot").

                                        50.

      The Georgia Legislature also provided for the steps to be followed by

County Officials with respect to defective absentee ballots:

             If the elector has failed to sign the oath, or if the
      signature does not appear to be valid, or if the elector has failed
      to furnish required information or information so furnished does
      not conform with that on file in the registrar's or clerk's office,
      or if the elector is otherwise found disqualified to vote, the registrar
      or clerk shall write across the face of the envelope "Rejected," giving
      the reason therefor. The board of registrars or absentee ballot clerk
      shall promptly notify the elector of such rejection, a copy of which
      notification shall be retained in the files of the board of registrars or
      absentee ballot clerk for at least one year.

O.C.G.A. § 21-2 -386(a) (l)(C) (emphasis added).




                                        21

                                                                         Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 503 of 1677




     I.  DEFENDANTS' UNAUTHORIZED ACTIONS VIOLATED THE
     GEORGIA ELECTION CODE AND CAUSED THE PROCESSING OF
                DEFECTIVE ABSENTEE BALLOTS.

                                            51.

       Notwithstanding the clarity of the applicable statutes and the

constitutional authority for the Georgia Legislature's actions, on March 6,

2020, the Secretary of State of the State of Georgia, Secretary Raffensperger,

and the State Election Board, who administer the state elections (the

"Administrators") entered into a "Compromise and Settlement Agreement

and Release" (the "Litigation Settlement") with the Democratic Party of

Georgia, Inc., the Democrat Senatorial Campaign Committee, and the

Democratic Congressional Campaign Committee (collectively, the "Democrat

Party Agencies"), setting forth different standards to be followed by the clerks

and registrars in processing absentee ballots in the State of Georgia8.

                                            52.

       Under the Settlement, however, the Administrators agreed to change

the statutorily prescribed manner of handling absentee ballots in a manner

that is not consistent with the laws promulgated by the Georgia Legislature

for elections in this state.


 8
  See Democratic Party of Georgia, Inc., et al. v. Raffensperger, et al., Civil Action File
 No. 1:l 9-cv-05028-WMR, United States District Court for the Northern District of
 Georgia, Atlanta Division, Doc. 56-1.


                                            22

                                                                                 Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 504 of 1677




                                      53.

      The Settlement provides that the Secretary of State would issue an

"Official Election Bulletin" to county Administrators overriding the statutory

procedures prescribed for those officials. That power, however, does not

belong to the Secretary of State under the United States Constitution.

                                      54.

      The Settlement also changed the signature requirement reducing it to a

broad process with discretion, rather than enforcement of the signature

requirement as statutorily required under O.C.G.A. 21-2-386(a)(l).

                                      55.

      The Georgia Legislature instructed county registers and clerks (the

“County Officials”) regarding the handling of absentee ballots in O.C.G.A. S

21-2-386(a)(1)(B), 21-2-380.1. The Georgia Election Code instructs those who

handle absentee ballots to follow a clear procedure:

      Upon receipt of each absentee ballot, a registrar or clerk shall write
      the day and hour of the receipt of the ballot on its envelope. The
      registrar or clerk shall then compare the identifying information on
      the oath with the information on file in his or her office, shall
      compare the signature or make on the oath with the signature or
      mark on the absentee elector’s voter card or the most recent update
      to such absent elector’s voter registration card and application for
      absentee ballot or a facsimile of said signature or maker taken from
      said card or application, and shall, if the information and signature
      appear to be valid and other identifying information appears to be
      correct, so certify by signing or initialing his or her name below the
      voter’s oath …


                                      23

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 505 of 1677




O.C.G.A. S 21-2-386(a)(1)(B).

                                        56.

      The Georgia Legislature prescribed procedures to ensure that any

request for an absentee ballot must be accompanied by sufficient

identification of the elector's identity. See O.C.G.A. § 21-2-38 l(b )(1)

(providing, in pertinent part, "In order to be found eligible to vote an

absentee ballot in person at the registrar's office or absentee ballot clerk's

office, such person shall show one of the forms of identification listed in Code

Section 21-2-417 ... ").

                                        57.

      An Affiant testified, under oath, that “It was also of particular interest

to me to see that signatures were not being verified and that there were no

corresponding envelopes seen in site.” (Attached hereto as Exh. 10, Mayra

Romera, at par. 7).

                                        58.

      To reflect the very reason for process, it was documented that in the

primary election, prior to the November 3, 2020 Presidential election, many

ballots got to voters after the election. Further it was confirmed that “Untold

thousands of absentee ballot requests went unfulfilled, and tens of thousands

of mailed ballots were rejected for multiple reasons including arriving too late



                                        24

                                                                            Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 506 of 1677




to be counted. See the Associated Press, Vote-by-Mail worries: A leaky

pipeline in many states, August 8, 2020. 9

                                            59.

       Pursuant to the Settlement, the Administrators delegated their

responsibilities for determining when there was a signature mismatch by

considering in good faith only partisan-based training - "additional guidance

and training materials" drafted by the Democrat Party Agencies’

representatives contradicting O.C.G.A. § 21-2-31.

     B. U N L A W F U L E A R L Y P R O C E S S I N G O F A B S E N T E E B A L L O T S

                                            60.

       In April 2020, the State Election Board adopted on a purportedly

“Emergency Basis” Secretary of State Rule 183-1-14-0.9-.15, Processing

Ballots Prior to Election Day. Under this rule, county election officials are

authorized to begin processing absentee ballots up to three weeks befoe

election day. Thus, the rule provides in part that “(1) Beginning at 8:00 AM

on the third Monday prior to Election Day, the county election

superintendent shall be authorized to open the outer envelope of

accepted absentee ballots …” (Emphasis added).




 9
        https://apnews.com/article/u-s-news-ap-top-news-election-2020-technology-politics-
 52e87011f4d04e41bfffccd64fc878e7

                                            25

                                                                                 Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 507 of 1677




                                       61.

      Rule 183-1-14-0.9-.15 is in direct and irreconcilable conflict with

O.C.G.A. § 21-2-386(a)(2), which prohibits the opening of absentee ballots

until election day:

      After the opening of the polls on the day of the primary, election,
      or runoff, the registrars or absentee ballot clerks shall be
      authorized to open the outer envelope on which is printed the
      oath of the elector in such a manner as not to destroy the oath printed
      thereon; provided, however, that the registrars or absentee ballot
      clerk shall not be authorized to remove the contents of such outer
      envelope or to open the inner envelope marked “Official Absentee
      Ballot,” except as otherwise provided in this Code section.

(Emphasis added).

                                       62.

      In plain terms, the statute clearly prohibits opening absentee ballots

prior to election day, while the rule authorizes doing so three weeks before

election day. There is no reconciling this conflict. The State Election Board

has authority under O.C.G.A. § 21-2-31 to adopt lawful and legal rules and

regulations, but no authority to promulgate a regulation that is directly

contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is therefore

plainly and indisputably unlawful.

                                       63.

      The State Election Board re-adopted Rule 183-1-14-0.9-.15 on

November 23, 2020 for the upcoming January 2021 runoff election.


                                       26

                                                                       Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 508 of 1677




                    C. U N L A W F U L A U D I T P R O C E D U R E S

                                           64.

      According to Secretary Raffensperger, in the presidential general

election, 2,457,880 votes were cast in Georgia for President Donald J. Trump,

and 2,472,002 votes were cast for Joseph R. Biden, which narrowed in

Donald Trump’s favor after the most recent recount.

                                           65.

      Secretary Raffensperger declared that for the Hand Recount:

      Per the instructions given to counties as they conduct their audit
      triggered full hand recounts, designated monitors will be given
      complete access to observe the process from the beginning. While the
      audit triggered recount must be open to the public and media,
      designated monitors will be able to observe more closely. The general
      public and the press will be restricted to a public viewing area.
      Designated monitors will be able to watch the recount while standing
      close to the elections’ workers conducting the recount.

      Political parties are allowed to designate a minimum of two monitors
      per county at a ratio of one monitor per party for every ten audit
      boards in a county... Beyond being able to watch to ensure the
      recount is conducted fairly and securely, the two-person audit boards
      conducting the hand recount call out the votes as they are recounted
      , providing monitors and the public an additional way to keep tabs
      on the process. 10




10
   Office of Brad Raffensperger, Monitors Closely Observing Audit-Triggered Full Hand
Recount: Transparency is Built Into Process,
https://sos.ga.gov/index.php/elections/monitors_closely_observing_audit-
triggered_full_hand_recount_transparency_is_built_into_process

                                           27

                                                                              Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 509 of 1677




                                       66.

      The audit was conducted O.C.G.A. § 21-2-498. This code section

requires that audits be completed “in public view” and authorizes the State

Board of Elections to promulgate regulations to administer an audit “to

ensure that collection of validly cast ballots is complete, accurate and

trustworthy throughout the audit.”

                                       67.

      Plaintiffs can show that Democrat-majority counties provided political

parties and candidates, including the Trump Campaign, no meaningful

access or actual opportunity to review and assess the validity of mail-in

ballots during the pre-canvassing meetings. While in the audit or recount,

they witnessed Trump votes being put into Biden piles.

                                       68.

      Non-parties Amanda Coleman and Maria Diedrich are two individuals

who volunteered to serve as designated monitors for the Donald J. Trump

Presidential Campaign, Inc. (the "Trump Campaign") on behalf of the

Georgia Republican Party (the "Republican Party") at the Hand Recount.

(Attached hereto and incorporated herein as Exhibits 2 and 3), respectively,

are true and correct copies of (1) the Affidavit of Amanda Coleman in Support

of Plaintiffs' Motion for Temporary Restraining Order (the "Coleman

Affidavit"), and (2) the Affidavit of Maria Diedrich in Support of Plaintiffs'

                                       28

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 510 of 1677




Motion for Temporary Restraining Order (the "Diedrich Affidavit"). (See

Exh. 11, Coleman Aff.,2; Exh. 12, Diedrich Aff., 2.)

                                       69.

      The Affidavits set forth various conduct amounting to federal crimes,

clear improprieties, insufficiencies, and improper handling of ballots by

County Officials and their employees that Ms. Coleman and Ms. Diedrich

personally observed while monitoring the Hand Recount. (See Exh. 11,

Coleman Aff., 3-10; Exh. 12, Diedrich Aff., 4-14.)

                                       70.

      As a result of her observations of the Hand Recount as a Republican

Party monitor, Ms. Diedrich declared, "There had been no meaningful way to

review or audit any activity" at the Hand Recount. (See Exh. 12, Diedrich

Aff.,14.)

                                       71.

      As a result of their observations of the Hand Recount as Republican

Party monitors, Ms. Coleman likewise declared, "There was no way to tell if

any counting was accurate or if the activity was proper." (See Exh. 12,

Coleman Aff.,10).

                                       72.

      On Election Day, when the Republican poll watchers were, for a limited

time, present and allowed to observe in various polling locations, they

                                       29

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 511 of 1677




observed and reported numerous instances of election workers failing to

follow the statutory mandates relating to two critical requirements, among

other issues:

              (1) a voter’s right to spoil their mail-in ballot at their polling

        place on election day and to then vote in-person, and

              (2) the ability for voters to vote provisionally on election day

        when a mail-in ballot has already been received for them, but when

        they did not cast those mail-in ballots, who sought to vote in person

        during early voting but was told she already voted; she emphasized

        that she had not. The clerk told her he would add her manually with

        no explanation as to who or how someone voted using her name.

        (Attached hereto as Exh. 13, Aff. Ursula Wolf)

                                          73.

        Another observer for the ballot recount testified that “at no time did I

witness any Recounter or individual participate in the recount verifying

signatures [on mail-in ballots].” (Attached hereto as Exh. 14, Nicholas Zeher

Aff).

                                          74.

        In some counties, there was no actual "hand" recounting of the ballots

during the Hand Recount, but rather, County Officials and their employees



                                          30

                                                                            Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 512 of 1677




simply conducted another machine count of the same ballots. (See. Exh. 9,

10). That will not reveal the massive fraud of which plaintiffs complain.

                                       75.

      A large number of ballots were identical and likely fraudulent. An

Affiant explains that she observed a batch of utterly pristine ballots:

      14. Most of the ballots had already been handled; they had been
      written on by people, and the edges were worn. They showed obvious
      use. However, one batch stood out. It was pristine. There was a
      difference in the texture of the paper - it was if they were intended
      for absentee use but had not been used for that purposes. There was
      a difference in the feel.

      15. These different ballots included a slight depressed pre-fold so
      they could be easily folded and unfolded for use in the scanning
      machines. There were no markings on the ballots to show where they
      had com~ from, or where they had been processed. These stood out.

      16. In my 20 years of experience of handling ballots, I observed that
      the markings for the candidates on these ballots were unusually
      uniform, perhaps even with a ballot-marking device. By my estimate
      in observing these ballots, approximately 98% constituted votes for
      Joe Biden. I only observed two of these ballots as votes for President
      Donald J. Trump.” (See Exh. 15 Attached hereto).

                                       76.

      The same Affiant further testified specifically to the breach of the chain

of custody of the voting machines the night before the election stating:

      we typically receive the machines, the ballot marking devices – on
      the Friday before the election, with a chain of custody letter to be
      signed on Sunday, indicating that we had received the machines and
      the counts on the machines when received, and that the machines
      have been sealed. In this case, we were asked to sign the chain
      of custody letter on Sunday, even though the machines were
      not delivered until 2:00 AM in the morning on Election Day.
                                       31

                                                                          Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 513 of 1677




      The Milton precinct received its machines at 1:00 AM in the morning
      on Election Day. This is unacceptable and voting machines should
      [not] be out of custody prior to an Election Day. Id.


                      II. EVIDENCE OF FRAUD

          A PATTERN SHOWING THE ABSENCE OF MISTAKE

                                      77.

      The stunning pattern of the nature and acts of fraud demonstrate an

absence of mistake.

                                      78.

      The same Affiant further explained, in sworn testimony, that the

breach included: “when we did receive the machines, they were not sealed or

locked, the serial numbers were not what were reflected on the related

documentation…” See Id.

                                      79.

      An affiant testified that “While in Henry County, I personally

witnessed ballots cast for Donald Trump being placed in the pile for Joseph

Biden, I witnessed this happen at table “A”.’ (See Exh. 14, par. 27).

                                      80.

      The Affiant further testified, that “when this was brought to Ms. Pitts

attention, it was met with extreme hostility. At no time did I witness any

ballot cast for Joseph Biden be placed in the pile for Donald Trump. (See

Exh. 14, par. 28).
                                      32

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 514 of 1677




                                       81.

      Another Affiant in the mail-in ballot and absentee ballot recounting

process, testified in her sworn affidavit, that “on November 16, 2020 … It was

also of particular interest to me to see that signatures were not being verified

and there were no corresponding envelopes seen in sight.” (See Exh. 10, at

Par. 7).

                                       82.

      Yet another Affiant, in the recount process, testified that he received

push back and a lack of any cooperation and was even threatened as if he did

something wrong, when he pointed out the failure to follow the rules with the

observers while open mail-in ballot re-counting was occurring, stating:

      “However, as an observer, I observed that the precinct had twelve
      (12) counting tables, but only one (1) monitor from the Republican
      Party. I brought it up to Erica Johnston since the recount rules
      provided for one (1) monitor from each Party per ten (10) tables or
      part thereof…”

(See Attached hereto, Exh. 16, Ibrahim Reyes Aff.)
                                       83.

      Another Affiant explains a pattern of behavior that is alarming, in his

position as an observer in the recount on absentee ballots with barcodes, he

testified:

      I witnessed two poll workers placing already separated paper
      machine receipt ballots with barcodes in the Trump tray,
      placing them in to the Biden tray. I also witnessed the same two
      poll workers putting the already separated paper receipt ballots in
                                       33

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 515 of 1677




      the “No Vote” and “Jorgensen” tray, and removing them and putting
      them inside the Biden tray, They then took out all of the ballots out
      of the Biden tray and stacked them on the table, writing on the count
      ballot sheet.

      (See Attached hereto, Exh.17, pars. 4-5, Aff. of Consetta Johson).

                                      84.

      Another Affiant, a Democrat, testified in his sworn affidavit, that

before he was forced to move back to where he could not see, he had in fact

seen “absentee ballots for Trump inserted into Biden’s stack, and counted as

Biden votes. This occurred a few times”. (See attached hereto, Exh. 18 at

Par. 12, Aff. of Carlos Silva).

                                      85.

      Yet another Affiant testified about the lack of process and the hostility

only towards the Republican party, which is a violation of the Equal

Protection Clause. He testified:

      I also observed throughout my three days in Atlanta, not once did
      anyone verify these ballots. In fact, there was no authentication
      process in place and no envelopes were observed or allowed to be
      observed. I saw hostility towards Republican observers but never
      towards Democrat observers. Both were identified by badges.

(See Id., at pars. 13-14).

                                      86.

      Another Affiant explained that his ballot was not only not processed in

accordance with Election law, he witnessed people reviewing his ballot to

decide where to place it, which violated the privacy of his ballot, and when he
                                      34

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 516 of 1677




tried to report it to a voter fraud line, he never received any contact or

cooperation stating:

      “I voted early on October 12 at the precinct at Lynwood Park …
      Because of irregularities at the polling location, I called the voter
      fraud line to ask why persons were discussing my ballot and
      reviewing it to decide where to place it. When I called the state fraud
      line, I was directed to a worker in the office of the Secretary of
      State…”

(See Attached hereto, Exh. 19, Andrea ONeal Aff, at par. 3).

                                       87.

      He further testified that when he was an Observer at the Lithonia

location, he saw many irregularities, and specifically “saw an auditor sort

Biden votes that he collected and sorted into ten ballot stacks, which [the

auditor] did not show anyone.” Id. at p. 8.

                                       88.

      Another Affiant testified about the use of different paper for ballots,

that would constitute fraud stating:

      I noticed that almost all of the ballots I reviewed were for Biden.
      Many batches went 100% for Biden. I also observed that the
      watermark on at least 3 ballots were solid gray instead of
      transparent, leading me to believe the ballot was counterfeit. I
      challenged this and the Elections Director said it was a legitimate
      ballot and was due to the use of different printers. Many ballots had
      markings for Biden only, and no markings on the rest of the ballot.

(See Attached hereto, Exh. 20, Aff of Debra J. Fisher, at pars. 4, 5, 6).




                                       35

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 517 of 1677




                                      89.

      An Affiant testified, that while at the Audit, ‘While in Henry County,

I personally witnessed ballots cast for Donald Trump being placed in

the pile for Joseph Biden. I witnessed this happen at table “A”’. (See

attached hereto as Exh. 22, Kevin Peterford, at par. 29).   Another Affiant

testified, that “I witnessed two poll workers placing already separated

paper machine receipt ballots with barcodes in the Trump tray,

placing them in to the Biden tray. I also witnessed the same two poll

workers putting the already separated paper receipt abllots in the “No

Vote” and “Jorgensen” tray, and removing them and putting them

inside the Biden tray, They then took out all of the ballots out of the

Biden tray and stacked them on the table, writing on the count ballot

sheet. (See Exh. 17, Johnson, pars. 4-5).

                                      90.

      Another Affiant, a Democrat, testified in his sworn affidavit,

  before he was forced to move back to where he could not see, he had

  in fact seen, “I also saw absentee ballots for Trump inserted




                                      36

                                                                     Exhibit H
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 518 of 1677




  into Biden’s stack, and counted as Biden votes. This occurred

  a few times”. (See Exh. 18, Par. 12).

                                             91.

       A Republican National Committee monitor in Georgia’s election

recount, Hale Soucie, told an undercover journalist there are individuals

counting ballots who have made continuous errors,” writes O’Keefe. Project

Veritas, Watch: Latest Project Veritas Video reveals “Multiple Ballots Meant

for Trump Went to Biden in Georgia. 11



                  B.     THE VOTING MACHINES, SECRECY

SOFTWARE USED BY VOTING MACHINES THROUGHOUT GEORGIA
                     IS CRUCIAL

                                             92.

       These violations of federal and state laws impacted the election of

November 3, 2020 and set the predicate for the evidence of deliberate

fraudulent conduct, manipulation, and lack of mistake that follows. The

commonality and statewide nature of these legal violations renders

certification of the legal vote untenable and warrants immediate




 11
          https://hannity.com/media-room/watch-latest-project-veritas-video-reveals-multiple-
 ballots-meant-for-trump-went-to-biden-in-georgia/


                                             37

                                                                                   Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 519 of 1677




impoundment of voting machines and software used throughout Georgia for

expert inspection and retrieval of the software.

                                      93.

      An Affiant, who is a network & information cyber-security expert,

under sworn testimony explains that after studying the user manual for

Dominion Voting Systems Democracy software, he learned that the

information about scanned ballots can be tracked inside the software

system for Dominion:

      (a)   When bulk ballot scanning and tabulation begins, the
      "ImageCast Central" workstation operator will load a batch of ballots
      into the scanner feed tray and then start the scanning procedure
      within the software menu. The scanner then begins to scan the
      ballots which were loaded into the feed tray while the "ImageCast
      Central" software application tabulates votes in real-time.
      Information about scanned ballots can be tracked inside the
      "ImageCast Central" software application.

(See attached hereto Exh 22, Declaration of Ronald Watkins, at par. 11).

                                      94.

      Affiant further explains that the central operator can remove

or discard batches of votes. “After all of the ballots loaded into the

scanner's feed tray have been through the scanner, the "ImageCast Central"

operator will remove the ballots from the tray then have the option to either

"Accept Batch" or "Discard Batch" on the scanning menu …. “(Id. at par. 8).




                                      38

                                                                     Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 520 of 1677




                                       95.

      Affiant further testifies that the Dominion/ Smartmatic user manual

itself makes clear that the system allows for threshold settings to be set to

mark all ballots as “problem ballots” for discretionary determinations on where

the vote goes. It states:

      During the scanning process, the "ImageCast Central" software will
      detect how much of a percent coverage of the oval was filled in by the
      voter. The Dominion customer determines the thresholds of which the
      oval needs to be covered by a mark in order to qualify as a valid vote.
      If a ballot has a marginal mark which did not meet the specific
      thresholds set by the customer, then the ballot is considered a
      "problem ballot" and may be set aside into a folder named
      "NotCastImages". Through creatively tweaking the oval coverage
      threshold settings it should be possible to set thresholds in such a way
      that a non-trivial amount of ballots are marked "problem ballots" and
      sent to the "NotCastImages" folder. It is possible for an administrator
      of the ImageCast Central work station to view all images of scanned
      ballots which were deemed "problem ballots" by simply navigating via
      the standard "Windows File Explorer" to the folder named
      "NotCastImages" which holds ballot scans of "problem ballots". It is
      possible for an administrator of the "ImageCast Central" workstation
      to view and delete any individual ballot scans from the
      "NotCastImages" folder by simply using the standard Windows delete
      and recycle bin functions provided by the Windows 10 Pro operating
      system.

Id. at pars. 9-10.

                                       96.

      The Affiant further explains the vulnerabilities in the system when the

copy of the selected ballots that are approved in the Results folder are made




                                       39

                                                                       Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 521 of 1677




to a flash memory card – and that is connected to a Windows computer

stating:

       It is possible for an administrator of the "ImageCast Central"
       workstation to view and delete any individual ballot scans from the
       "NotCastImages" folder by simply using the standard Windows delete
       and recycle bin functions provided by the Windows 10 Pro operating
       system. … The upload process is just a simple copying of a "Results"
       folder containing vote tallies to a flash memory card connected to the
       "Windows 10 Pro" machine. The copy process uses the standard drag-
       n-drop or copy/paste mechanisms within the ubiquitous "Windows
       File Explorer". While a simple procedure, this process may be error
       prone and is very vulnerable to malicious administrators.

Id. at par. 11-13 (emphasis supplied).

                                              97.

       It was announced on “Monday, [July 29, 2019], [that] Governor Kemp

awarded a contract for 30,000 new voting machines to Dominion Voting

Systems, scrapping the state’s 17-year-old electronic voting equipment and

replacing it with touchscreens that print out paper ballots.” 12 Critics are

quoted: “Led by Abrams, Democrats fought the legislation and pointed to

cybersecurity experts who warned it would leave Georgia's elections

susceptible to hacking and tampering.” And “Just this week, the Fair Fight

voting rights group started by [Stacy] Abrams launched a television ad




12
  Georgia Buys New Voting Machines for 2020 Presidential Election, by Mark Niesse, the
Atlanta Journal-Constitution, July 30, 2019, https://www.ajc.com/news/state--regional-govt--
politics/georgia-awards-contract-for-new-election-system-dominion-
voting/tHh3V8KZnZivJoVzZRLO4O/
                                              40

                                                                                    Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 522 of 1677




critical of the bill. In a statement Thursday, the group called it “corruption at

its worst” and a waste of money on “hackable voting machines.” 13

                                           98.

      It was further reported in 2019 that the new Dominion Voting

Machines in Georgia “[w]ith Georgia’s current voting system, there’s no way

to guarantee that electronic ballots accurately reflect the choices of

voters because there’s no paper backup to verify results, with it being

reported that:

      (a)   Recounts are meaningless on the direct-recording electronic
      voting machines because they simply reproduce the same numbers
      they originally generated.

      (b)   But paper ballots alone won’t protect the sanctity of elections
      on the new touchscreens, called ballot-marking devices.

      (c)    The new election system depends on voters to verify the printed
      text of their choices on their ballots, a step that many voters might
      not take. The State Election Board hasn't yet created regulations for
      how recounts and audits will be conducted. And paper ballots embed
      selections in bar codes that are only readable by scanning machines,
      leaving Georgians uncertain whether the bar codes match their
      votes. 14




13
  Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-Constitution,
AJC News Now, by Greg Bluestein and Mark Niesse, June 14, 2019; Credit: Copyright 2019 The
Associated Press, June 2019




                                           41

                                                                               Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 523 of 1677




   i.      As part of the scheme and artifice to defraud the plaintiffs, the
           candidates and the voters of undiminished and unaltered voting
           results in a free and legal election, the Defendants and other persons
           known and unknown committed the following violations of law:

        50 U.S.C. § 20701 requires the retention and preservation of records

and papers by officers of elections under penalty of fine and imprisonment:

        § 20701. Retention and preservation of records and papers by
        officers of elections; deposit with custodian; penalty for
        violation

        Every officer of election shall retain and preserve, for a period of
        twenty-two months from the date of any general, special, or primary
        election of which candidates for the office of President, Vice
        President, presidential elector, Member of the Senate, Member of the
        House of Representatives, or Resident Commissioner from the
        Commonwealth of Puerto Rico are voted for, all records and
        papers which come into his possession relating to any
        application, registration, payment of poll tax, or other act
        requisite to voting in such election, except that, when required
        by law, such records and papers may be delivered to another officer
        of election and except that, if a State or the Commonwealth of Puerto
        Rico designates a custodian to retain and preserve these records and
        papers at a specified place, then such records and papers may be
        deposited with such custodian, and the duty to retain and preserve
        any record or paper so deposited shall devolve upon such custodian.
        Any officer of election or custodian who willfully fails to comply with
        this section shall be fined not more than $1,000 or imprisoned not
        more than one year, or both.

50 U.S.C.§ 20701.

                                         99.

        In the primaries it was confirmed that, “The rapid introduction of new

technologies and processes in state voting systems heightens the risk of




                                        42

                                                                         Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 524 of 1677




foreign interference and insider tampering. That’s true even if simple human

error or local maneuvering for political advantage are more likely threats 15.

                                              100.

       A Penn Wharton Study from 2016 concluded that “Voters and their

representatives in government, often prompted by news of high-profile voting

problems, also have raised concerns about the reliability and integrity of the

voting process, and have increasingly called for the use of modern technology

such as laptops and tablets to improve convenience.” 16

                                              101.

       As evidence of the defects or features of the Dominion Democracy Suite,

as described above, the same Dominion Democracy Suite was denied

certification in Texas by the Secretary of State on January 24, 2020

specifically because of a lack of evidence of efficiency and accuracy and

to be safe from fraud or unauthorized manipulation.17




15
  See Threats to Georgia Elections Loom Despite New Paper Ballot Voting, By Mark Niesse, The
Atlanta Journal-Constitution and (The AP, Vote-by-Mail worries: A leaky pipeline in many states,
August 8, 2020).
16
  Penn Wharton Study by Matt Caufield, The Business of Voting, July 2018.
17Attached hereto, Exh. 23, copy of Report of Review of Dominion Voting Systems Democracy
Suite 5.5-A Elections Division by the Secretary of State’s office, Elections Division, January 24,
2020.
                                               43

                                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 525 of 1677




                                      102.

     Plaintiffs have since learned that the "glitches" in the Dominion

system–that have the uniform effect of taking votes from Trump and shifting

them to Biden—have been widely reported in the press and confirmed by the

analysis of independent experts.

                                      103.

     Plaintiffs can show, through expert and fact witnesses that:


     c.      Dominion/ Smartmatic Systems Have Massive End User
             Vulnerabilities.

     1. Users on the ground have full admin privileges to machines and
        software. Having been created to “rig” elections, the Dominion
        system is designed to facilitate vulnerability and allow a select few
        to determine which votes will be counted in any election. Workers
        were responsible for moving ballot data from polling place to the
        collector’s office and inputting it into the correct folder. Any
        anomaly, such as pen drips or bleeds, results in a ballot being
        rejected. It is then handed over to a poll worker to analyze and
        decide if it should count. This creates massive opportunity for purely
        discretionary and improper vote “adjudication.”

     2. Affiant witness (name redacted for security reasons18), in his sworn
        testimony explains he was selected for the national security guard
        detail of the President of Venezuela, and that he witnessed the
        creation of Smartmatic for the purpose of election vote manipulation
        to insure Venezuelan dictator Hugo Chavez never lost an election
        and he saw it work. Id.

          “The purpose of this conspiracy was to create and operate a voting
          system that could change the votes in elections from votes against




                                       44

                                                                      Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 526 of 1677




           persons running the Venezuelan government to votes in their
           favor in order to maintain control of the government.”


(See Exh. 2, pars. 6, 9, 10).

                                             104.

       Smartmatic’s incorporators and inventors have backgrounds evidencing

their foreign connections, including Venezuela and Serbia, specifically its

identified inventors:

       Applicant: SMARTMATIC, CORP.

       Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic,
       Jeffrey Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli,
       Gisela Goncalves, Yrem Caruso. 19

                                             105.

       The presence of Smartmatic in the United States—owned by foreign

nationals, and Dominion, a Canadian company with its offices such as the

Office of General Counsel in Germany, would have to be approved by CFIUS.

CFIUS was created in 1988 by the Exon-Florio Amendment to the Defense

Production Act of 1950. CFIUS’ authorizing statute was amended by the

Foreign Investment and National Security Act of 2007 (FINSA).

       As amended, section 721 of the DPA directs "the President, acting
       through [CFIUS]," to review a "covered transaction to determine
       the effects of the transaction on the national security of the
       United States." 50 U.S.C. app. § 2170(b)(1)(A). Section 721 defines


19 https://patents.justia.com/assignee/smartmatic-corp


                                              45

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 527 of 1677




      a covered transaction as "any merger, acquisition, or takeover …, by
      or with any foreign person which could result in foreign control of any
      person engaged in interstate commerce in the United States." Id. §
      2170(a)(3). Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 302,
      411 U.S. App. D.C. 105, 111, (2014). Review of covered transactions
      under section 721 begins with CFIUS. As noted, CFIUS is chaired by
      the Treasury Secretary and its members include the heads of
      various federal agencies and other high-ranking Government
      officials with foreign policy, national security and economic
      responsibilities.

                                      106.

      Then Congresswoman Carolyn Maloney wrote October 6, 2006 to the

Secretary of Treasury, Henry M. Paulson, Jr., Objecting to approval of

Dominion/Smartmatic by CFIUS because of its corrupt Venezuelan

origination, ownership and control. (See attached hereto as Exh. 24, Carolyn

Maloney Letter of October 6, 2006). Our own government has long known of

this foreign interference on our most important right to vote, and it had

either responded with incompetence, negligence, willful blindness, or abject

corruption. In every CFIUS case, there are two TS/SCI reports generated.

One by the ODNI on the threat and one by DHS on risk to critical

infrastructure. Smartmatic was a known problem when it was nonetheless

approved by CFIUS.

                                      107.

      The Wall Street Journal in 2006 did an investigative piece and found

that, “Smartmatic came to prominence in 2004 when its machines were used


                                      46

                                                                       Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 528 of 1677




in an election to recall President Chávez, which Mr. Chávez won handily --

and which the Venezuelan opposition said was riddled with fraud.

Smartmatic put together a consortium to conduct the recall elections,

including a company called Bizta Corp., in which Smartmatic owners had a

large stake. For a time, the Venezuelan government had a 28% stake in Bizta

in exchange for a loan.’ 20 …“Bizta paid off the loan in 2004, and Smartmatic

bought the company the following year. But accusations of Chávez

government control of Smartmatic never ended, especially since Smartmatic

scrapped a simple corporate structure, in which it was based in the U.S. with

a Venezuelan subsidiary, for a far more complex arrangement. The company

said it made the change for tax reasons, but critics, including Rep. Carolyn

Maloney (D., N.Y.) and TV journalist Lou Dobbs, pounded the company for

alleged links to the Chávez regime. Id. Since its purchase by Smartmatic,

Sequoia's sales have risen sharply to a projected $200 million in 2006, said

Smartmatic's chief executive, Anthony Mugica.” Id.

                                            108.

       Indeed, Mr. Cobucci testified, through his sworn affidavit, that he born

in Venezuela, is cousins with Antonio (‘Anthony’) Mugica, and he has




20
  See WSJ.com, Smartmatic to Sell U.S. Unit, End Probe into Venezuelan Links, by Bob Davis,
12/22/2006, https://www.wsj.com/articles/SB116674617078557263

                                             47

                                                                                 Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 529 of 1677




personal knowledge of the fact that Anthony Mugica incorporated

Smartmatic in the U.S. in 2000 with other family members in Venezuela

listed as owners. He also has personal knowledge that Anthony Mugica

manipulated Smartmatic to ensure the election for Chavez in the 2004

Referendum in Venezuela. He also testified, through his sworn affidavit, that

Anthony Mugica received tens of millions of dollars from 2003- 2015 from the

Venezuelan government to ensure Smartmatic technology would be

implemented around the world, including in the U.S. (See attached hereto,

Exh. 25, Juan Carlos Cobucci Aff.)

                                      109.

      Another Affiant witness testifies that in Venezuela, she was in an

official position related to elections and witnessed manipulations of petitions

to prevent a removal of President Chavez and because she protested, she was

summarily dismissed. Corroborating the testimony of our secret witness, and

our witness Mr. Cobucci, cousin of Anthony Mugica, who began Smartmatic,

and this witness explains the vulnerabilities of the electronic voting system

and Smartmatica to such manipulations. (See Exh. 3, Diaz Cardozo Aff).

                                      110.

      Specific vulnerabilities of the systems in question that have been

documented or reported include:



                                      48

                                                                      Exhibit H
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 530 of 1677




     a. Barcodes can override the voters’ vote: As one University of California,

        Berkeley study shows, “In all three of these machines [including

        Dominion Voting Systems] the ballot marking printer is in the same

        paper path as the mechanism to deposit marked ballots into an

        attached ballot box. This opens up a very serious security

        vulnerability: the voting machine can make the paper ballot (to add

        votes or spoil already-cast votes) after the last time the voter sees the

        paper, and then deposit that marked ballot into the ballot box without

        the possibility of detection.” (See Exh. 7).       21



     b. Voting machines were able to be connected to the internet by way of

        laptops that were obviously internet accessible. If one laptop was

        connected to the internet, the entire precinct was compromised.

     c. We … discovered that at least some jurisdictions were not aware that

        their systems were online,” said Kevin Skoglund, an independent

        security consultant who conducted the research with nine others, all of

        them long-time security professionals and academics with expertise in

        election security. Vice. August 2019.        22




21
   Ballot Marking Devices (BMDs) Cannot Assure the Will of the Voters, Andrew W. Appel,
Richard T. DeMillo, University of California, Berkeley, 12/27/2019.
22
   Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official
Denials, Motherboard Tech by Vice, by Kim Zetter, August 8, 2019,
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-have-been-left-
exposed-online-despite-official-denials

                                               49

                                                                                     Exhibit H
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 531 of 1677




     d. October 6, 2006 – Congresswoman Carolyn Maloney called on Secretary

        of Treasury Henry Paulson to conduct an investigation into Smartmatic

        based on its foreign ownership and ties to Venezuela. (See Exh. 24)

     e. Congresswoman Maloney wrote that “It is undisputed that Smartmatic

        is foreign owned and it has acquired Sequoia … Smartmatica now

        acknowledged that Antonio Mugica, a Venezuelan businessman has a

        controlling interest in Smartmatica, but the company has not revealed

        who all other Smartmatic owners are.” Id.

     f. Dominion “got into trouble” with several subsidiaries it used over

        alleged cases of fraud. One subsidiary is Smartmatic, a company “that

        has played a significant role in the U.S. market over the last decade,”

        according to a report published by UK-based AccessWire 23.

     g. Litigation over Smartmatic “glitches” alleges they impacted the 2010

        and 2013 mid-term elections in the Philippines, raising questions of

        cheating and fraud. An independent review of the source codes used in

        the machines found multiple problems, which concluded, “The software




23
  Voting Technology Companies in the U.S. – Their Histories and Present Contributions, Access
Wire, August 10, 2017, https://www.accesswire.com/471912/Voting-Technology-Companies-in-
the-US--Their-Histories.

                                             50

                                                                                  Exhibit H
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 532 of 1677




       inventory provided by Smartmatic is inadequate, … which brings into

       question the software credibility…” 24

     h. Dominion acquired Sequoia Voting Systems as well as Premier Election

       Solutions (formerly part of Diebold, which sold Premier to ES&S in

       2009, until antitrust issues forced ES&S to sell Premier, which then

       was acquired by Dominion). 25.

     i. Dominion entered into a 2009 contract with Smartmatic and provided

       Smartmatic with the PCOS machines (optical scanners) that were used

       in the 2010 Philippine election—the biggest automated election run by

       a private company. The international community hailed the

       automation of that first election in the Philippines. 26 The results’

       transmission reached 90% of votes four hours after polls closed and

       Filipinos knew for the first time who would be their new president on

       Election Day. In keeping with local election law requirements,

       Smartmatic and Dominion were required to provide the source code of




24
   Smartmatic-TIM running out of time to fix glitches, ABS-CBN News, May 4, 2010
https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-glitches
25
   The Business of Voting, Penn Wharton, Caufield, p. 16.
26
   Smartmatic-TIM running out of time to fix glitches, ABS-CBN News, May 4, 2010
https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-glitches
                                             51

                                                                                  Exhibit H
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 533 of 1677




       the voting machines prior to elections so that it could be independently

       verified. 27

     j. In late December of 2019, three Democrat Senators, Warren,

       Klobuchar, Wyden, and House Member Mark Pocan wrote about their

       ‘particularized concerns that secretive & “trouble -plagued

       companies”’ “have long skimped on security in favor of

       convenience,” in the context of how they described the voting machine

       systems that three large vendors – Election Systems & Software,

       Dominion Voting Systems, & Hart InterCivic – collectively provide

       voting machines & software that facilitate voting for over 90% of all

       eligible voters in the U.S.” (See attached hereto as Exh. 26, copy of

       Senator Warren, Klobuchar, Wyden’s December 6, 2019 letter).

     k. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting

       systems] are “yet another damning indictment of the profiteering

       election vendors, who care more about the bottom line than protecting

       our democracy.” It’s also an indictment, he said, “of the notion that

       important cybersecurity decisions should be left entirely to county




27
  Presumably the machiens were not altered following submission of the code. LONDON,
ENGLAND / ACCESSWIRE / August 10, 2017, Voting Technology Companies in the U.S. -
Their Histories and Present Contributions
                                         52

                                                                          Exhibit H
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 534 of 1677




       election offices, many of whom do not employ a single cybersecurity

       specialist.” 28

                                              111.

       An analysis of the Dominion software system by a former US Military

Intelligence expert concludes that the system and software have been

accessible and were certainly compromised by rogue actors, such as Iran and

China. By using servers and employees connected with rogue actors and

hostile foreign influences combined with numerous easily discoverable leaked

credentials, Dominion neglectfully allowed foreign adversaries to access data

and intentionally provided access to their infrastructure in order to monitor

and manipulate elections, including the most recent one in 2020. (See Exh.

7).

                                              112.

       An expert witness in pending litigation in the United States District

Court, Northern District Court of Georgia, Atlanta Div., 17-cv-02989

specifically testified to the acute security vulnerabilities, among other facts,

by declaration filed on October 4, 2020, (See Exh. 4B, Document 959-4




28
   Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official
Denials, Motherboard Tech by Vice, by Kim Zetter, August 8, 2019,
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-have-been-left-
exposed-online-despite-official-denials

                                               53

                                                                                     Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 535 of 1677




attached hereto, paragraph. 18 and 20 of p. 28, Exh. 4, Hursti Declaration).

wherein he testified or found:

       1)     The failure of the Dominion software “to meet the methods and

processes for national standards for managing voting system problems and

should not be accepted for use in a public election under any circumstances.”

       2)     In Hursti’s declaration he explained that “There is evidence of

remote access and remote troubleshooting which presents a grave security

implication and certified identified vulnerabilities should be considered an

“extreme security risk.” Id. Hari Hursti also explained that USB drives with

vote tally information were observed to be removed from the presence of poll

watchers during a recent election. Id. The fact that there are no controls of

the USB drives was seen recently seen the lack of physical security and

compliance with professional standards, " in one Georgia County, where it is

reported that 3,300 votes were found on memory sticks not loaded plus in

Floyd county, another 2,600 were unscanned, and the “found votes” reduced

Biden’s lead over Donald Trump 29.

              (a)    In the prior case against Dominion, supra, further

       implicating the secrecy behind the software used in Dominion Systems,




29
  Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark Niesse and
David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-thousands-of-georgia-
votes-missing-from-initial-counts/ERDRNXPH3REQTM4SOINPSEP72M/
                                             54

                                                                                  Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 536 of 1677




      Dr. Eric Coomer, a Vice President of Dominion Voting Systems,

      testified that even he was not sure of what testing solutions were

      available to test problems or how that was done, “ I have got to be

      honest, we might be a little bit out of my bounds of understanding the

      rules and regulations… and in response to a question on testing for

      voting systems problems in relation to issues identified in 2 counties,

      he explained that “Your Honor, I’m not sure of the complete test plan…

      Again Pro V&V themselves determine what test plan in necessary based

      on their analysis of the code itself.” (Id. at Document 959-4, pages 53,

      62 L.25- p. 63 L3).

                                      113.

      Hursti stated within said Declaration:

      “The security risks outlined above – operating system risks, the
      failure to harden the computers, performing operations directly on
      the operating systems, lax control of memory cards, lack of
      procedures, and potential remote access are extreme and destroy the
      credibility of the tabulations and output of the reports coming from a
      voting system.”

      (See Paragraph 49 of Hursti Declaration).

                                      114.

      Rather than engaging in an open and transparent process to give

credibility to Georgia’s brand-new voting system, the election processes were




                                      55

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 537 of 1677




hidden during the receipt, review, opening, and tabulation of those votes in

direct contravention of Georgia’s Election Code and federal law.

                                     115.

      The House of Representatives passed H.R. 2722 in an attempt to

address these very risks identified by Hursti, on June 27, 2019:

      This bill addresses election security through grant programs and
      requirements for voting systems and paper ballots.

      The bill establishes requirements for voting systems, including that
      systems (1) use individual, durable, voter-verified paper ballots; (2)
      make a voter's marked ballot available for inspection and verification
      by the voter before the vote is cast; (3) ensure that individuals with
      disabilities are given an equivalent opportunity to vote, including
      with privacy and independence, in a manner that produces a voter-
      verified paper ballot; (4) be manufactured in the United States; and
      (5) meet specified cybersecurity requirements, including the
      prohibition of the connection of a voting system to the internet.



                  ADDITIONAL SPECIFIC FRAUD

                                     116.

      On November 4, 2020, the Georgia GOP Chairman issued the following

statement:

      “Let me repeat. Fulton County elections officials told the media and
      our observers that they were shutting down the tabulation center at
      State Farm Arena at 10:30 p.m. on election night to continue counting
      ballots in secret until 1:00 a.m. 30




                                      56

                                                                      Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 538 of 1677




                                          117.

      It was widely reported that "As of 7 p.m. on Wednesday Fulton County

Elections officials said 30,000 absentee ballots were not processed due to a

pipe burst.” 31 Officials reassured voters that none of the ballots were

damaged and the water was quickly cleaned up. But the emergency delayed

officials from processing ballots between 5:30 a.m. and 9:30 a.m. Officials say

they continued to count beginning at 8:30 a.m. Wednesday. The statement

from Fulton County continues:

      "Tonight, Fulton County will report results for approximately 86,000
      absentee ballots, as well as Election Day and Early Voting results.
      These represent the vast majority of ballots cast within Fulton
      County.

      "As planned, Fulton County will continue to tabulate the remainder
      of absentee ballots over the next two days. Absentee ballot processing
      requires that each ballot is opened, signatures verified, and ballots
      scanned. This is a labor-intensive process that takes longer to
      tabulate than other forms of voting. Fulton County did not anticipate
      having all absentee ballots processed on Election Day." Officials said
      they will work to ensure every vote is counted and all laws and
      regulations are followed. 32




31
   “4,000 remaining absentee ballots being counted in Fulton County”, Fox 5 Atlanta,
November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-state-farm-arena-
delays-absentee-ballot-processing
32
    4,000 remaining absentee ballots being counted in Fulton County, Fox 5 Atlanta,
November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-state-farm-arena-
delays-absentee-ballot-processing
                                           57

                                                                              Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 539 of 1677




                                      118.

      Plaintiffs have learned that the representation about “a water leak

affecting the room where absentee ballots were counted” was not true. The

only water leak that needed repairs at State Farm Arena from November 3 –

November 5 was a toilet overflow that occurred earlier on November 3. It

had nothing to do with a room with ballot counting, but the false water break

representation led to “everyone being sent home.” Nonetheless, first six (6)

people, then three (3) people stayed until 1:05 a.m. working on the

computers.

                                      119.

      An Affiant recounts how she was present at State Farm Arena on

November 3, and saw election workers remaining behind after people were

told to leave. (See Exh. 28, Affidavit of Mitchell Harrison; Exh. 29, Affid. of

Michelle Branton)

                                      120.

      Plaintiffs have also learned through several reports that in 2010 Eric

Coomer joined Dominion as Vice President of U.S. Engineering. According to

his bio, Coomer graduated from the University of California, Berkeley with a

Ph.D. in Nuclear Physics. Eric Coomer was later promoted to Voting Systems

Officer of Strategy and Security although Coomer has since been removed

from the Dominion page of directors. Dominion altered its website after

                                       58

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 540 of 1677




Colorado resident Joe Oltmann disclosed that as a reporter he infiltrated

ANTIFA, a domestic terrorist organization where he recorded Eric Coomer

representing: “Don’t worry. Trump won’t win the election, we fixed that.” – as

well as social media posts with violence threatened against President Trump.

(See Joe Oltmann interview with Michelle Malkin dated November 13, 2020

which contains copies of Eric Coomer’s recording and tweets). 33

                                           121.

       While the bedrock of American elections has been transparency, almost

every crucial aspect of Georgia’s November 3, 2020, General Election was

shrouded in secrecy, rife with “errors,” and permeated with anomalies so

egregious as to render the results incapable of certification.

   MULTIPLE EXPERT REPORTS AND STATISTICAL
ANALYSES PROVE HUNDREDS OF THOUSANDS OF VOTES
WERE LOST OR SHIFTED THAT COST PRESIDENT TRUMP
      AND THE REPUBLICAN CANDIDATES OF
  CONGRESSIONAL DISTRICTS 6 AND 7 THEIR RACES.

                                           122.

       As evidenced by numerous public reports, expert reports, and witness

statements, Defendants egregious misconduct has included ignoring

legislative mandates concerning mail-in and ordinary ballots and led to


33 Malkin Live: Election Update, Interview of Joe Oltmann, by Michelle Malkin, November 13,
2020, available at:
https://www.youtube.com/watch?v=dh1X4s9HuLo&fbclid=IwAR2EaJc1M9RT3DaUraAjsycM
0uPKB3uM_-MhH6SMeGrwNyJ3vNmlcTsHxF4

                                            59

                                                                                Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 541 of 1677




disenfranchisement of an enormous number of Georgia voters. Plaintiffs

experts can show that, consistent with the above specific misrepresentations,

analysis of voting data reveals the following:


            (a)   Regarding uncounted mail ballots, based on evidence

      gathered by Matt Braynard in the form of recorded calls and

      declarations of voters, and analyzed by Plaintiff’s expert, Williams M.

      Briggs, PhD, shows, based on a statistically significant sample, that

      the total number of mail ballots that voters mailed in, but were

      never counted, have a 95% likelihood of falling between 31,559

      and 38,886 total lost votes. This range exceeds the margin of loss of

      President Trump of 12,670 votes by at least 18,889 lost votes and by as

      many as 26,196 lost votes. (See Exh. 1, Dr. Briggs’ Report, with

      attachments).

            (b)   Plaintiff’s expert also finds that voters received tens of

      thousands of ballots that they never requested.          (See Exh. 1).

      Specifically, Dr. Briggs found that in the state of Georgia, based on a

      statistically significant sample, the expected amount of persons that

      received an absentee ballot that they did not request ranges from

      16,938 to 22,771. This range exceeds the margin of loss of




                                      60

                                                                      Exhibit H
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 542 of 1677




 President Trump by 12,670 votes by at least 4,268 unlawful

 requests and by as many as 10,101 unlawful requests. Id.

       (c)   This widespread pattern, as reflected within the population

 of unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable

 reality that, in addition to the calculations herein, third parties voted

 an untold number of unlawfully acquired absentee or mail-in ballots,

 which would not be in the database of unreturned ballots analyzed

 here. See O.G.C.A. 21-2-522. These unlawfully voted ballots

 prohibited properly registered persons from voting and reveal

 a pattern of widespread fraud down ballot as well.


       (d)   Further, as calculated by Matt Braynard, there exists

 clear evidence of 20,311 absentee or early voters in Georgia that

 voted while registered as having moved out of state. (See Id.,

 attachment to report). Specifically, these persons were showing on the

 National Change of Address Database (NCOA) as having moved, or as

 having filed subsequent voter registration in another state also as

 evidence that they moved and even potentially voted in another state.

 The 20,311 votes by persons documented as having moved exceeds the

 margin by which Donald Trump lost the election by 7,641 votes.




                                  61

                                                                  Exhibit H
 Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 543 of 1677




   (e)   Applying pro-rata the above calculations separately to Cobb

   County based on the number of unreturned ballots, a range of 1,255

   and 1,687 ballots ordered by 3rd parties and a range of 2,338 and 2,897

   lost mail ballots, plus 10,684 voters documented in the NCOA as

   having moved, for a combined minimum of 14,276 missing and

   unlawful ballots, and maximum of 15,250 missing and unlawful

   ballots, which exceeds the statewide Presidential race total

   margin by a range of as few as 1,606 ballots and as many as

   2,580 in the County of Cobb alone impacting the Cobb County

   Republican Party (“Cobb County Republicans”).


                                   123.

As seen from the expert analysis of Eric Quinnell, mathematical

anomalies further support these findings, when in various districts within

Fulton County such as vote gains that exceed reasonable expectations

when compared to 2016, and a failure of gains to be normally distributed

but instead shifting substantially toward the tail of the distribution in

what is known as a platykurtic distribution. Dr. Quinell identifies

numerous anomalies such as votes to Biden in excess of 2016 exceed the

registrations that are in excess of 2016. Ultimately, he identifies the

counties in order of their excess performance over what would have fit in a


                                    62

                                                                    Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 544 of 1677




  normal distribution of voting gains, revealing a list of the most anomalous

  counties down to the least. These various anomalies provide evidence of

  voting irregularities. (See Exh.27, Declaration of Eric Quinnell, with

  attachments).

                                     124.

      In sum, with the expert analysis of William M. Briggs PhD based on

recorded calls and declarations, the extent of missing AND unlawfully

requested ballots create substantial evidence that the mail ballot system has

fundamentally failed to provide a fair voting mechanism. In short, tens of

thousands of votes did not count while the pattern of fraud makes clear that

tens of thousands were improperly counted. This margin of victory in the

election for Mr. Biden was only 12,670 and cannot withstand most of these

criticisms individually and certainly not in aggregate.

                                     125.

      Cobb county, based on lost votes, unlawfully requested votes and

NCOA data on these facts alone would consume more than the entire margin

of the statewide difference in the Presidential race. These election results

must be reversed.

                                     126.

      Applying pro-rata the above calculations separately to Cobb County

based on the number of unreturned ballots, a range of 1,255 and 1,687 ballots

                                      63

                                                                      Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 545 of 1677




ordered by 3rd parties and a range of 2,338 and 2,897 lost mail ballots, plus

10,684 voters documented in the NCOA as having moved, for a combined

minimum of 14,276 missing and unlawful ballots, and maximum of

15,250 missing and unlawful ballots, which exceeds the statewide

Presidential race total margin by a range of as few as 1,606 ballots

and as many as 2,580 in the County of Cobb alone impacting the

Cobb County Republican Party (“Cobb County Republicans”). (See

Exh. 1).

                                           127.

       Mr. Braynard also found a pattern in Georgia of voters registered at

totally fraudulent residence addresses, including shopping centers, mail drop

stores and other non-residential facilities 34.

                                           128.

       In sum, with the expert analysis of William M. Briggs PhD based on

extensive investigation, recorded calls and declarations collected by Matt

Braynard, (See attachments to Exh. 1, Briggs’ report) the extent of missing

and unlawfully requested ballots create substantial evidence that the mail

ballot system has fundamentally failed to provide a fair voting mechanism. In


34
   Matt Braynard, https://twitter.com/MattBraynard/status/1331324173910761476;
https://twitter.com/MattBraynard/status/1331299873556086787?s=20; (a)
         https://twitter.com/MattBraynard/status/1331299873556086787?s=20


                                            64

                                                                                 Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 546 of 1677




short, tens of thousands of votes did not count while the pattern of fraud and

mathematical anomalies that are impossible absent malign human agency

makes clear that tens of thousands were improperly counted. This margin of

victory in the election for Mr. Biden was only 12,670 and cannot withstand

most of these criticisms individually and certainly not in aggregate.

                                      129.

      Cobb county, based on lost votes, unlawfully requested votes and

NCOA data on these facts alone would consume more than the entire margin

of the statewide difference in the Presidential race.

                                      130.

      Russell Ramsland confirms that data breaches in the Dominion

software permitted rogue actors to penetrate and manipulate the

software during the recent general election. He further concludes

that at least 96,600 mail-in ballots were illegally counted as they

were not cast by legal voters.

                                      131.

      In sum, as set forth above, for a host of independent reasons, the

Georgia certified election results concluding that Joe Biden received 12,670

more votes that President Donald Trump must be set aside.




                                       65

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 547 of 1677




                                  COUNT I


D E F E N D A N T S VIOLATED T H E E L E C T I O N S C L A U S E A N D 42 U.S.C. §
                                     1983

                                      132.

      Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

                                      133.

      The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for

President. Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause

of the U.S. Constitution states that “[t]he Times, Places, and Manner of

holding Elections for Senators and Representatives, shall be prescribed in

each State by the Legislature thereof.” Art. I, § 4, cl. 1 (emphasis added).

                                      134.

      The Legislature is “‘the representative body which ma[kes] the laws of

the people.’” Smiley, 285 U.S. at 193. Regulations of congressional and

presidential elections, thus, “must be in accordance with the method which

the state has prescribed for legislative enactments.” Id. at 367; see also Ariz.

State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2668

(2015).




                                       66

                                                                         Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 548 of 1677




                                      135.

      Defendants are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to “tak[ing] care that

the laws be faithfully executed.” Pa. Const. Art. IV, § 2. Because the United

States Constitution reserves for the General Assembly the power to set the

time, place, and manner of holding elections for the President and Congress,

county boards of elections and state executive officers have no authority to

unilaterally exercise that power, much less to hold them in ways that conflict

with existing legislation.

                                      136.

      Defendants are not the legislature, and their unilateral decision to

create a “cure procedure” violates the Electors and Elections Clauses of the

United States Constitution.

                                      137.

      The Secretary of State and the State Election Board are not the

legislature, and their decision to permit early processing of absentee ballots

in direct violation of the unambiguous requirements of O.C.G.A. § 21-2-

386(a)(2) violates the Electors and Elections Clauses of the United States

Constitution.




                                      67

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 549 of 1677




                                      138.

      Many Affiants testified to many legal infractions in the voting process,

including specifically switching absentee ballots or mail-in ballots for Trump

to Biden. Even a Democrat testified in his sworn affidavit that before he was

forced to move back to where he could not see, he had in fact seen, “I also saw

absentee ballots for Trump inserted into Biden’s stack, and counted as Biden

votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                      139.

      Plaintiff’s expert also finds that voters received tens of thousands of

ballots that they never requested. (See Exh. 1, Dr. Briggs’ Report).

Specifically, Dr. Briggs found that in the state of Georgia, based on a

statistically significant sample, the expected amount of persons that received

an absentee ballot that they did not request one ranges from 16,938 to

22,771. This range exceeds the margin of loss of President Trump by 12,670

votes by at least 4,268 unlawful requests and by as many as 10,101 unlawful

requests.

                                      140.

      This widespread pattern, as reflected within the population of

unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable reality

that, in addition to the calculations herein, third parties voted an untold

number of unlawfully acquired absentee or mail-in ballots, which would not

                                       68

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 550 of 1677




be in the database of unreturned ballots analyzed here. See O.G.C.A. 21-2-

522. These unlawfully voted ballots prohibited properly registered persons

from voting and reveal a pattern of widespread fraud.

                                     141.

      Further, as shown by data collected by Matt Braynard, there exists

clear evidence of 20,311 absentee or early voters in Georgia that voted while

registered as having moved out of state. Specifically, these persons were

showing on the National Change of Address Database (NCOA) as having

moved, or as having filed subsequent voter registration in another state also

as evidence that they moved and even potentially voted in another state. The

20,311 votes by persons documented as having moved exceeds the margin by

which Donald Trump lost the election by 7,641 votes.

                                     142.

      Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

Defendants have acted and, unless enjoined, will act under color of state law

to violate the Elections Clauses of the Constitution. Accordingly, the results

for President and Congress in the November 3, 2020 election must be set

aside. The results are infected with Constitutional violations.

                                 COUNT II



                                      69

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 551 of 1677




 THE SECRETARY OF STATE AND GEORGIA COUNTIES VIOLATED
 T H E F O U R T E E N T H A M E N D M E N T U.S. C O N S T . A M E N D . XIV, 42
                                 U.S.C. § 1983

                    DENIAL OF EQUAL PROTECTION

          INVALID ENACTMENT OF REGULATIONS AFFECTING
          OBSERVATION AND MONITORING OF THE ELECTION

                                      143.

      Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length

herein.

                                      144.

      The Fourteenth Amendment of the United States Constitution provides

“nor shall any state deprive any person of life, liberty, or property, without

due process of law; nor deny to any person within its jurisdiction the equal

protection of the laws. See also Bush v. Gore, 531 U.S. 98, 104 (2000)(having

once granted the right to vote on equal terms, the State may not, by later

arbitrary and disparate treatment, value one person’s vote over the value of

another’s). Harper v. Virginia Board of Elections, 383 U.S. 663, 665 (1966)

(“Once the franchise is granted to the electorate, lines may not be drawn

which are inconsistent with the Equal Protection Clause of the Fourteenth

Amendment.”).




                                       70

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 552 of 1677




                                      145.

      The Court has held that to ensure equal protection, a “problem inheres

in the absence of specific standards to ensure its equal application. The

formulation of uniform rules to determine intent based on these recurring

circumstances is practicable and, we conclude, necessary.” Bush v. Gore, 531

U.S. 98, 106, 121 S. Ct. 525, 530, 148 L. Ed. 2d 388 (2000).

                                      146.

      The equal enforcement of election laws is necessary to preserve our

most basic and fundamental rights. The requirement of equal protection is

particularly stringently enforced as to laws that affect the exercise of

fundamental rights, including the right to vote.

                                      147.

      In statewide and federal elections conducted in the State of Georgia,

including without limitation the November 3, 2020, General Election, all

candidates, political parties, and voters, including without limitation

Plaintiffs, have a vested interest in being present and having meaningful

access to observe and monitor the electoral process in each County to ensure

that it is properly administered in every election district and otherwise free,

fair, and transparent.




                                       71

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 553 of 1677




                                      148.

      Moreover, through its provisions involving watchers and

representatives, the Georgia Election Code ensures that all candidates and

political parties in each County, including the Trump Campaign, have

meaningful access to observe and monitor the electoral process to ensure that

it is properly administered in every election district and otherwise free, fair,

and transparent. See, e.g. In plain terms, the statute clearly prohibits

opening absentee ballots prior to election day, while the rule authorizes doing

so three weeks before election day. There is no reconciling this conflict. The

State Election Board has authority under O.C.G.A. § 21-2-31 to adopt lawful

and legal rules and regulations, but no authority to promulgate a regulation

that is directly contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is

therefore plainly and indisputably unlawful.




                                       72

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 554 of 1677




   Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,

   Grounds for Contest:

                                       149.

   A result of a primary or election may be contested on one or more of the

   following grounds:

                                       150.

   (1) Misconduct, fraud, or irregularity by any primary or election official or

   officials sufficient to change or place in doubt the result;

  (2) When the defendant is ineligible for the nomination or office in dispute;

  (3) When illegal votes have been received or legal votes rejected at the polls

  sufficient to change or place in doubt the result;

  (4) For any error in counting the votes or declaring the result of the

  primary or election, if such error would change the result; or

  (5) For any other cause which shows that another was the person legally

  nominated, elected, or eligible to compete in a run-off primary or election.

  O.C.G.A. § 21-2-522.

                                       151.

      Several affiants testified to the improper procedures with absentee

ballots processing, with the lack of auditable procedures with the logs in the

computer systems, which violates Georgia law, and federal election law. See



                                        73

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 555 of 1677




also, 50 U.S.C. § 20701 requires the retention and preservation of records and

papers by officers of elections under penalty of fine and imprisonment.

                                      152.

      The State Election Board re-adopted Rule 183-1-14-0.9-.15 on

November 23, 2020 for the upcoming January 2021 runoff election.

                                      153.

      A large number of ballots were identical and likely fraudulent. An

Affiant explains that she observed a batch of utterly pristine ballots:

      14. Most of the ballots had already been handled; they had been
      written on by people, and the edges were worn. They showed obvious
      use. However, one batch stood out. It was pristine. There was a
      difference in the texture of the paper - it was if they were intended
      for absentee use but had not been used for that purposes. There was
      a difference in the feel.

      15. These different ballots included a slight depressed pre-fold so
      they could be easily folded and unfolded for use in the scanning
      machines. There were no markings on the ballots to show where they
      had com~ from, or where they had been processed. These stood out.

      16. In my 20 years of experience of handling ballots, I observed that
      the markings for the candidates on these ballots were unusually
      uniform, perhaps even with a ballot-marking device. By my estimate
      in observing these ballots, approximately 98% constituted votes for
      Joe Biden. I only observed two of these ballots as votes for President
      Donald J. Trump.” (See Exh. 15).

                                      154.

      The same Affiant further testified specifically to the breach of the chain

of custody of the voting machines the night before the election stating:



                                       74

                                                                          Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 556 of 1677




      we typically receive the machines, the ballot marking devices – on
      the Friday before the election, with a chain of custody letter to be
      signed on Sunday, indicating that we had received the machines and
      the counts on the machines when received, and that the machines
      have been sealed. In this case, we were asked to sign the chain
      of custody letter on Sunday, even though the machines were
      not delivered until 2:00 AM in the morning on Election Day.
      The Milton precinct received its machines at 1:00 AM in the morning
      on Election Day. This is unacceptable and voting machines should
      [not] be out of custody prior to an Election Day. Id.



                                       155.

      Defendants have a duty to treat the voting citizens in each County in

the same manner as the citizens in other counties in Georgia.

                                       156.

      As set forth in Count I above, Defendants failed to comply with the

requirements of the Georgia Election Code and thereby diluted the lawful

ballots of the Plaintiffs and of other Georgia voters and electors in violation of

the United States Constitution guarantee of Equal Protection.

                                       157.

      Specifically, Defendants denied the plaintiffs equal protection of the

law and their equal rights to meaningful access to observe and monitor the

electoral process enjoyed by citizens in other Georgia Counties by:

      (a) mandating that representatives at the pre-canvass and
      canvass of all absentee and mail-ballots be either Georgia barred



                                       75

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 557 of 1677




      attorneys or qualified registered electors of the county in which
      they sought to observe and monitor;
      (b) not allowing watchers and representatives to visibly see and
      review all envelopes containing official absentee and mail-in
      ballots either at or before they were opened and/or when such
      ballots were counted and recorded; and
      (c) allowing the use of Dominion Democracy Suite software and
      devices, which failed to meet the Dominion Certification Report’s
      conditions for certification.
                                      158.

      Instead, Defendants refused to credential all of the Trump Republican’s

submitted watchers and representatives and/or kept Trump Campaign’s

watchers and representatives by security and metal barricades from the

areas where the inspection, opening, and counting of absentee and mail-in

ballots were taking place. Consequently, Defendants created a system

whereby it was physically impossible for the candidates and political parties

to view the ballots and verify that illegally cast ballots were not opened and

counted

                                      159.

      Many Affiants testified to switching absentee ballots or mail-in ballots

for Trump to Biden, including a Democrat. He testified in his sworn

affidavit, that before he was forced to move back to where he could not see, he




                                      76

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 558 of 1677




had in fact seen, “absentee ballots for Trump inserted into Biden’s stack, and

counted as Biden votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                      160.

      Other Georgia county boards of elections provided watchers and

representatives of candidates and political parties, including without

limitation watchers and representatives of the Republicans and the Trump

Campaign, with appropriate access to view the absentee and mail-in ballots

being pre-canvassed and canvassed by those county election boards and

without restricting representatives by any county residency or Georgia bar

licensure requirements.

                                      161.

      Defendants intentionally and/or arbitrarily and capriciously denied

Plaintiffs access to and/or obstructed actual observation and monitoring of

the absentee and mail-in ballots being pre-canvassed and canvassed by

Defendants, depriving them of the equal protection of those state laws

enjoyed by citizens in other Counties.

                                      162.

      Defendants have acted and will continue to act under color of state law

to violate Plaintiffs’ right to be present and have actual observation and

access to the electoral process as secured by the Equal Protection Clause of

the United States Constitution.

                                         77

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 559 of 1677




                                        163.

        Defendants further violated Georgia voters’ rights to equal protection

insofar as Defendants allowed the Georgia counties to process and count

ballots in a manner that allowed ineligible ballots to be counted, and through

the use of Dominion Democracy Suite, allowed eligible ballots for Trump and

McCormick to be switched to Biden or lost altogether. Defendants thus failed

to conduct the general election in a uniform manner as required by the Equal

Protection Clause of the Fourteenth Amendment and the Georgia Election

Code.

                                        164.

        Plaintiffs seek declaratory and injunctive relief holding that the

election, under these circumstances, was improperly certified and that the

Governor be enjoined from transmitting Georgia’s certified Presidential

election results to the Electoral College. Georgia law forbids certifying a tally

that includes any ballots that were not legally cast, or that were switched

from Trump to Biden, through the unlawful use of Dominion Democracy

Suite software and devices.

                                        165.

        Alternatively, Plaintiffs seek declaratory and injunctive relief holding

that the election, under these circumstances, was improperly certified and

that the Governor be required to recertify the results declaring that Donald

                                        78

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 560 of 1677




Trump has won the election and transmitting Georgia’s certified Presidential

election result in favor of President Trump.

                                      166.

      Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the declaratory and injunctive relief requested

herein is granted. Indeed, the setting aside of an election in which the people

have chosen their representative is a drastic remedy that should not be

undertaken lightly, but instead should be reserved for cases in which a

person challenging an election has clearly established a violation of election

procedures and has demonstrated that the violation has placed the result of

the election in doubt. Georgia law allows elections to be contested through

litigation, both as a check on the integrity of the election process and as a

means of ensuring the fundamental right of citizens to vote and to have their

votes counted accurately. O.C.G.A. § 21-2-520 et seq.

                                      167.

      In addition to the alternative requests for relief in the preceding

paragraphs, hereby restated, Plaintiffs seek a permanent injunction

requiring the County Election Boards to invalidate ballots cast by: 1) voters

whose signatures on their registrations have not been matched with ballot,

envelope and voter registration check; 2) all “dead votes”; and 4) all 900

military ballots in Fulton county that supposedly were 100% for Joe Biden.

                                       79

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 561 of 1677




                                     COUNT III

  F O U R T E E N T H A M E N D M E N T E Q U A L P R O T E C T I O N C L A U S E U.S.
                   C O N S T . A M E N D . XIV, 42 U.S.C. § 1983

                           DENIAL OF DUE PROCESS

D I S P A R A T E T R E A T M E N T O F A B S E N T E E /M A I L -I N V O T E R S A M O N G
                               DIFFERENT COUNTIES

                                           168.

      Plaintiffs incorporate each of the prior allegations in this Complaint.

      Voting is a fundamental right protected by the Fourteenth Amendment

to the United States Constitution. The Fourteenth Amendment protects the

right to vote from conduct by state officials which seriously undermines the

fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,

889 (3d Cir. 1994); Griffin, 570 F.2d at 1077-78. “[H]aving once granted the

right to vote on equal terms, the State may not, by later arbitrary and

disparate treatment, value one person’s vote over that of another.” Bush, 531

U.S. at 104-05.

                                           169.

      Defendants are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to executing the laws

as passed by the legislature Although the Georgia General Assembly may

enact laws governing the conduct of elections, “no legislative enactment may



                                            80

                                                                                 Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 562 of 1677




contravene the requirements of the Georgia or United States Constitutions.”

Shankey, 257 A. 2d at 898.

                                        170.

      Federal courts “possess broad discretion to fashion an equitable

remedy.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers,

781 F.3d 1271, 1290 (11th Cir. 2015); Castle v. Sangamo Weston, Inc., 837

F.2d 1550, 1563 (11th Cir. 1988) (“The decision whether to grant equitable

relief, and, if granted, what form it shall take, lies in the discretion of the

district court.”).

                                        171.

      Moreover, “[t]o the extent that a voter is at risk for having his or her

ballot rejected due to minor errors made in contravention of those

requirements, … the decision to provide a ‘notice and opportunity to cure’

procedure to alleviate that risk is one best suited for the Legislature[,] . . .

particularly in light of the open policy questions attendant to that decision,

including what the precise contours of the procedure would be, how the

concomitant burdens would be addressed, and how the procedure would

impact the confidentiality and counting of ballots, all of which are best left to

the legislative branch of Georgia's government.” Id.




                                        81

                                                                          Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 563 of 1677




                                       172.

      The disparate treatment of Georgia voters, in subjecting one class of

voters to greater burdens or scrutiny than another, violates Equal Protection

guarantees because “the right of suffrage can be denied by a debasement or

dilution of the weight of a citizen’s vote just as effectively as by wholly

prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555. Rice

v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v.

Brown Grp., Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo.

Ct. App. 1982); Prince v. Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d

524, 536-37 (Utah 2002).

                                       173.

      Defendants are not the legislature, and their unilateral decision to

create and implement a cure procedure for some but not all absentee and

mail-in voters in this State violates the Due Process Clause of the United

States Constitution. Plaintiffs have no adequate remedy at law and will

suffer serious and irreparable harm unless the injunctive relief requested

herein is granted.




                                        82

                                                                         Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 564 of 1677




                                     COUNT IV

 F O U R T E E N T H A M E N D M E N T , U.S. C O N S T . A R T . I § 4, C L . 1; A R T .
               II, § 1, C L . 2; A M E N D . XIV, 42 U.S.C. § 1983

          DENIAL OF DUE PROCESS ON THE RIGHT TO VOTE

                                          174.

      Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length

herein.

                                          175.

      The right of qualified citizens to vote in a state election involving

federal candidates is recognized as a fundamental right under the Fourteenth

Amendment of the United States Constitution. Harper, 383 U.S. at See also

Reynolds, 377 U.S. at 554 (The Fourteenth Amendment protects the “the

right of all qualified citizens to vote, in state as well as in federal elections.”).

Indeed, ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the United

States Supreme Court has held that the Privileges or Immunities Clause of

the Fourteenth Amendment protects certain rights of federal citizenship from

state interference, including the right of citizens to directly elect members of

Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex parte

Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400

U.S. 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).



                                           83

                                                                               Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 565 of 1677




                                       176.

      The fundamental right to vote protected by the Fourteenth Amendment

is cherished in our nation because it “is preservative of other basic civil and

political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a

ballot in an election free from the taint of intimidation and fraud,” Burson v.

Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our

electoral processes is essential to the functioning of our participatory

democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

                                       177.

      “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots

and have them counted” if they are validly cast. United States v. Classic, 313

U.S. 299, 315 (1941). “[T]he right to have the vote counted” means counted

“at full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29

(quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

                                       178.

      “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right

under the Constitution to have his vote fairly counted, without its being

distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S.

211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or

                                        84

                                                                         Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 566 of 1677




fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote.

See Anderson, 417 U.S. at 227.

                                       179.

      The right to an honest [count] is a right possessed by each voting

elector, and to the extent that the importance of his vote is nullified, wholly

or in part, he has been injured in the free exercise of a right or privilege

secured to him by the laws and Constitution of the United States.” Anderson,

417 U.S. at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th

Cir.), aff'd due to absence of quorum, 339 U.S. 974 (1950)).

                                       180.

      Practices that promote the casting of illegal or unreliable ballots or fail

to contain basic minimum guarantees against such conduct, can violate the

Fourteenth Amendment by leading to the dilution of validly cast ballots. See

Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as

by wholly prohibiting the free exercise of the franchise.”).

                                       181.

      In Georgia, the signature verification requirement is a dead letter. The

signature rejection rate for the most recent election announced by the

Secretary of State was 0.15%. The signature rejection rate for absentee ballot

applications was .00167% - only 30 statewide. Hancock County, Georgia,

                                        85

                                                                        Exhibit H
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 567 of 1677




population 8,348, rejected nine absentee ballot applications for signature

mismatch. Fulton County rejected eight. No other metropolitan county in

Georgia rejected even a single absentee ballot application for signature

mismatch. The state of Colorado, which has run voting by mail for a number

of years, has a signature rejection rate of between .52% and .66%. 35 The State

of Oregon had a rejection rate of 0.86% in 2016. 36 The State of Washington

has a rejection rate of between 1% and 2%. 37If Georgia rejected absentee

ballots at a rate of .52% instead of the actual .15%, approximately 4,600 more

absentee ballots would have been rejected.

                                       COUNT V

               T H E R E W A S W I D E -S P R E A D B A L L O T F R A U D .

                                   OCGA 21-2-522

                                            182.

       Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length

herein.




35
   See https://duckduckgo.com/?q=colorado+signature+rejection+rate&t=osx&ia=web last
visited November 25,2020
36
   See https://www.vox.com/21401321/oregon-vote-by-mail-2020-presidential-election, last
visited November 25,2020.
37
   See https://www.salon.com/2020/09/08/more-than-550000-mail-ballots-rejected-so-far-heres-
how-to-make-sure-your-vote-gets-counted/ last visited November 25, 2020.
                                             86

                                                                                  Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 568 of 1677




                                       183.

      Plaintiffs contest the results of Georgia’s election, with Standing

conferred under pursuant to O.G.C.A. 21-2-521.

                                       184.

      Therefore, pursuant to O.G.C.A. 21-2-522, for misconduct, fraud, or

irregularity by any primary or election official or officials sufficient to change

or place in doubt the result. The foundational principle that Georgia law

“nonetheless allows elections to be contested through litigation, both as a

check on the integrity of the election process and as a means of ensuring the

fundamental right of citizens to vote and to have their votes counted

accurately.” Martin v. Fulton County Bd. of Registration & Elections, 307 Ga.

193, 194, 835 S.E.2d 245, 248 (2019). The Georgia Supreme Court has made

clear that Plaintiffs need not show how the [] voters would have voted if their

[absentee] ballots had been regular. [] only had to show that there were

enough irregular ballots to place in doubt the result.” See OCGA § 21-2-520 et

seq., Mead v. Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (1994) the

Supreme Court invalidated an election, and ordered a new election because it

found that,

      Thus, [i]t was not incumbent upon [the Plaintiff] to show how the
      [481] voters would have voted if their [absentee] ballots had
      been regular. He only had to show that there were enough irregular
      ballots to place in doubt the result. He succeeded in that task.


                                        87

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 569 of 1677




Id. at 271 (citing Howell v. Fears, 275 Ga. 627, 571 SE2d 392, (2002) (primary

results invalid where ballot in one precinct omitted names of both qualified

candidates).

                                       185.

      The "glitches" in the Dominion system—that seem to have the uniform

effect of hurting Trump and helping Biden have been widely reported in the

press and confirmed by the analysis of independent experts.

                                       186.

      Prima facie evidence in multiple affidavits shows specific fraudulent

acts, which directly resulted in the flipping of the race at issue:


   a) votes being switched in Biden’s favor away from Trump during the

      recount;

   b) the lack of procedures in place to follow the election code, and the

      purchase and use, Dominion Voting System despite evidence of serious

      vulnerabilities;

   c) a demonstration that misrepresentations were made about a pipe burst

      that sent everyone home, while first six, then three, unknown

      individuals were left alone until the morning hours working on the

      machines;




                                        88

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 570 of 1677




   d) further a failure to demonstrate compliance with the Georgia’s Election

      Codes, in maintaining logs on the Voting system for a genuine and

      sound audit, other than voluntary editable logs that prevent genuine

      audits. While the bedrock of this Democratic Republic rests on citizens’

      confidence in the validity of our elections and a transparent process,

      Georgia’s November 3, 2020 General Election remains under a pall of

      corruption and irregularity that reflects a pattern of the absence of

      mistake. At best, the evidence so far shows ignorance of the truth; at

      worst, it proves a knowing intent to defraud.


                                      187.

      Plaintiff’s expert also finds that voters received tens of thousands of

ballots that they never requested. (See Exh. 1, Dr. Briggs’ Report).

Specifically, Dr. Briggs found that in the state of Georgia, based on a

statistically significant sample, the expected amount of persons that received

an absentee ballot that they did not request ranges from 16,938 to

22,771. This range exceeds the margin of loss of President Trump by 12,670

votes by at least 4,268 unlawful requests and by as many as 10,101 unlawful

requests.




                                       89

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 571 of 1677




                                      188.

      This widespread pattern, as reflected within the population of

unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable reality

that, in addition to the calculations herein, third parties voted an untold

number of unlawfully acquired absentee or mail-in ballots, which would not

be in the database of unreturned ballots analyzed here. See O.G.C.A. 21-2-

522. These unlawfully voted ballots prohibited properly registered persons

from voting and reveal a pattern of widespread fraud.

                                      189.

      Further, there exists clear evidence of 20,311 absentee or early voters

in Georgia that voted while registered as having moved out of state.

Specifically, these persons were showing on the National Change of Address

Database (NCOA) as having moved, or as having filed subsequent voter

registration in another state also as evidence that they moved and even

potentially voted in another state. The 20,311 votes by persons documented

as having moved exceeds the margin by which Donald Trump lost the

election by 7,641 votes.

                                      190.

      Plaintiffs’’ expert Russell Ramsland concludes that at least 96,600

mail-in ballots were fraudulently cast. He further concludes that up to



                                       90

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 572 of 1677




136,098 ballots were illegally counted as a result of improper manipulation of

the Dominion software. (Ramsland Aff).

                                      191.

      The very existence of absentee mail in ballots created a heightened

opportunity for fraud. The population of unreturned ballots analyzed by

William Briggs, PhD, reveals the probability that a far greater number of

mail ballots were requested by 3rd parties or sent erroneously to persons and

voted fraudulently, undetected by a failed system of signature verification.

The recipients may have voted in the name of another person, may have not

had the legal right to vote and voted anyway, or may have not received the

ballot at the proper address and then found that they were unable to vote at

the polls, except provisionally, due to a ballot outstanding in their name.

                                      192.

      When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these

unordered ballots may in fact have been improperly voted and also prevented

proper voting at the polls, the mail ballot system has clearly failed in the

state of Georgia and did so on a large scale and widespread basis. The size of

the voting failures, whether accidental or intentional, are multiples larger

than the margin of votes between the presidential candidates in the



                                       91

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 573 of 1677




state. For these reasons, Georgia cannot reasonably rely on the results of the

mail vote.

                                        193.

      The right to vote includes not just the right to cast a ballot, but also the

right to have it fairly counted if it is legally cast. The right to vote is infringed

if a vote is cancelled or diluted by a fraudulent or illegal vote, including

without limitation when a single person votes multiple times. The Supreme

Court of the United States has made this clear in case after case. See, e.g.,

Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected

from the diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election

Bd., 553 U.S. 181, 196 (2008) (plurality op. of Stevens, J.) (“There is no

question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S.

533, 554-55 & n.29 (1964).

                                        194.

      Plaintiffs have no adequate remedy at law. As seen from the expert

analysis of William Higgs, PhD, based on actual voter data, tens of thousands

of votes did not count, and tens of thousands of votes were unlawfully

requested.




                                         92

                                                                           Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 574 of 1677




                                      195.

      The Fourteenth Amendment Due Process Clause protects the right to

vote from conduct by state officials which seriously undermines the

fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,

889 (3d Cir. 1994); Griffin v. Burns, 570 F.2d 1065, 1077-78 (1st Cir. 1978).

                                      196.

      Separate from the Equal Protection Clause, the Fourteenth

Amendment’s due process clause protects the fundamental right to vote

against “the disenfranchisement of a state electorate.” Duncan v. Poythress,

657 F.2d 691, 702 (5th Cir. 1981). “When an election process ‘reaches the

point of patent and fundamental unfairness,’ there is a due process

violation.” Florida State Conference of N.A.A.C.P. v. Browning, 522 F.3d

1153, 1183-84 (11th Cir. 2008) (quoting Roe v. Alabama, 43 F.3d 574, 580

(11th Cir.1995) (citing Curry v. Baker, 802 F.2d 1302, 1315 (11th Cir.1986))).

See also Griffin, 570 F.2d at 1077 (“If the election process itself reaches the

point of patent and fundamental unfairness, a violation of the due process

clause may be indicated and relief under § 1983 therefore in order.”); Marks

v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994) (enjoining winning state senate

candidate from exercising official authority where absentee ballots were

obtained and cast illegally).



                                       93

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 575 of 1677




                                       197.

      Part of courts’ justification for such a ruling is the Supreme Court’s

recognition that the right to vote and to free and fair elections is one that is

preservative of other basic civil and political rights. See Black, 209 F.Supp.2d

at 900 (quoting Reynolds, 377 U.S. at 561-62 (“since the right to exercise the

franchise in a free and unimpaired manner is preservative of other basic civil

and political rights, any alleged infringement of the right of citizens to vote

must be carefully and meticulously scrutinized.”)); see also Yick Wo v.

Hopkins, 118 U.S. 356, 370 (1886) (“the political franchise of voting … is

regarded as a fundamental political right, because [sic] preservative of all

rights.”).

                                       198.

      “[T]he right to vote, the right to have one’s vote counted, and the right

to have ones vote given equal weight are basic and fundamental

constitutional rights incorporated in the due process clause of the Fourteenth

Amendment to the Constitution of the United States.” Black, 209 F. Supp. 2d

at 900 (a state law that allows local election officials to impose different

voting schemes upon some portions of the electorate and not others violates

due process). “Just as the equal protection clause of the Fourteenth

Amendment prohibits state officials from improperly diluting the right to

vote, the due process clause of the Fourteenth amendment forbids state

                                        94

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 576 of 1677




officials from unlawfully eliminating that fundamental right.” Duncan, 657

F.2d at 704. “Having once granted the right to vote on equal terms,

[Defendants] may not, by later arbitrary and disparate treatment, value one

person's vote over that of another.” Bush, 531 U.S. at 104-05.

                                      199.

      In statewide and federal elections conducted in the State of Georgia,

including without limitation the November 3, 2020 General Election, all

candidates, political parties, and voters, including without limitation

Plaintiffs, have a vested interest in being present and having meaningful

access to observe and monitor the electoral process to ensure that it is

properly administered in every election district and otherwise free, fair, and

transparent.

                                      200.

      Moreover, through its provisions involving watchers and

representatives, the Georgia Election Code ensures that all candidates and

political parties, including without limitation Plaintiff, Republicans, and the

Trump Campaign, shall be “present” and have meaningful access to observe

and monitor the electoral process to ensure that it is properly administered in

every election district and otherwise free, fair, and transparent.




                                       95

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 577 of 1677




                                      201.

      Defendants have a duty to guard against deprivation of the right to

vote through the dilution of validly cast ballots by ballot fraud or election

tampering. Rather than heeding these mandates and duties, Defendants

arbitrarily and capriciously denied the Trump Campaign and Republicans

meaningful access to observe and monitor the electoral process by: (a)

mandating that representatives at the pre- canvass and canvass of all

absentee and mail-ballots be either Georgia barred attorneys or qualified

registered electors of the county in which they sought to observe and monitor;

and (b) not allowing watchers and representatives to visibly see and review

all envelopes containing official absentee and mail-in ballots either at the

time or before they were opened and/or when such ballots were counted and

recorded. Instead, Defendants refused to credential all of the Trump

Campaign’s submitted watchers and representatives and/or kept Trump

Campaign’s watchers and representatives by security and metal barricades

from the areas where the inspection, opening, and counting of absentee and

mail-in ballots were taking place. The lack of meaningful access with actual

access to see the ballots invited further fraud and cast doubt of the validity of

the proceedings.




                                       96

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 578 of 1677




                                      202.

      Consequently, Defendants created a system whereby it was physically

impossible for the candidates and political parties to view the ballots and

verify that illegally cast ballots were not opened and counted.

                                      203.

Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs

access to and/or obstructed actual observation and monitoring of the absentee

and mail-in ballots being pre-canvassed and canvassed by Defendants, and

included the unlawfully not counting and including uncounted mail ballots,

and that they failed to follow absentee ballot requirements when thousands

of voters received ballots that they never requested. Defendants have

acted and will continue to act under color of state law to violate the right to

vote and due process as secured by the Fourteenth Amendment to the United

States Constitution.

                                      204.

      Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.



                                      205.

      When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these

                                       97

                                                                        Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 579 of 1677




unordered ballots may in fact have been improperly voted and also prevented

proper voting at the polls, the mail ballot system has clearly failed in the

state of Georgia and did so on a large scale and widespread basis. The size of

the voting failures, whether accidental or intentional, are multiples larger

than the margin in the state. For these reasons, Georgia cannot reasonably

rely on the results of the mail vote.

                                        206.

      Relief sought is the elimination of the mail ballots from counting in the

2020 election. Alternatively, the Presidential electors for the state of Georgia

should be disqualified from counting toward the 2020 election.

                                        207.

      The United States Code (3 U.S.C. 5) provides that,

      “[i]f any State shall have provided, by laws enacted prior to the day
      fixed for the appointment of the electors, for its final determination
      of any controversy or contest concerning the appointment of all or
      any of the electors of such State, by judicial or other methods or
      procedures, and such determination shall have been made at least
      six days before the time fixed for the meeting of the electors, such
      determination made pursuant to such law so existing on said day,
      and made at least six days prior to said time of meeting of the
      electors, shall be conclusive, and shall govern in the counting of the
      electoral votes as provided in the Constitution, and as hereinafter
      regulated, so far as the ascertainment of the electors appointed by
      such State is concerned.

3 USCS § 5.




                                        98

                                                                       Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 580 of 1677




                         REQUEST FOR RELIEF

                                       208.

      Accordingly, Plaintiffs seek an emergency order instructing

Defendants to de-certify the results of the General Election for the Office of

President.

                                       209.

      In the alternative, Plaintiffs seek an emergency order prohibiting

Defendants from including in any certified results from the General Election

the tabulation of absentee and mailing ballots which do not comply with the

Election Code, including, without limitation, the tabulation of absentee and

mail-in ballots Trump Campaign’s watchers were prevented from observing

or based on the tabulation of invalidly cast absentee and mail-in ballots

which (i) lack a secrecy envelope, or contain on that envelope any text, mark,

or symbol which reveals the elector’s identity, political affiliation, or

candidate preference, (ii) do not include on the outside envelope a completed

declaration that is dated and signed by the elector, or (iii) are delivered in-

person by third parties for non-disabled voters.

                                       210.

      When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these

unordered ballots may in fact have been improperly voted and also prevented

                                        99

                                                                            Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 581 of 1677




proper voting at the polls, the mail ballot system has clearly failed in the

state of Georgia and did so on a large scale and widespread basis. The size of

the voting failures, whether accidental or intentional, are multiples larger

than the margin in the state. For these reasons, Georgia cannot reasonably

rely on the results of the mail vote. Relief sought is the elimination of the

mail ballots from counting in the 2020 election. Alternatively, the electors for

the state of Georgia should be disqualified from counting toward the 2020

election. Alternatively, the electors of the State of Georgia should be directed

to vote for President Donald Trump.

                                      211.

      For these reasons, Plaintiff asks this Court to enter a judgment in

their favor and provide the following emergency relief:


      1. An order directing Governor Kemp, Secretary Raffensperger and the

         Georgia State Board of Elections to de-certify the election results;


      2. An order enjoining Governor Kemp from transmitting the currently

         certified election results to the Electoral College;


      3. An order requiring Governor Kemp to transmit certified election

         results that state that President Donald Trump is the winner of the

         election;



                                       100

                                                                        Exhibit H
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 582 of 1677




 4. An immediate order to impound all the voting machines and

    software in Georgia for expert inspection by the Plaintiffs.


 5. An order that no votes received or tabulated by machines that were

    not certified as required by federal and state law be counted.


 6. A declaratory judgment declaring that Georgia Secretary of State

    Rule 183-1-14-0.9-.15 violates the Electors and Elections Clause,

    U.S. CONST. art. I, § 4;


 7. A declaratory judgment declaring that Georgia’s failed system of

    signature verification violates the Electors and Elections Clause by

    working a de facto abolition of the signature verification

    requirement;


 8. A declaratory judgment declaring that current certified election

    results violates the Due Process Clause, U.S. CONST. Amend. XIV;


 9. A declaratory judgment declaring that mail-in and absentee ballot

    fraud must be remedied with a Full Manual Recount or statistically

    valid sampling that properly verifies the signatures on absentee

    ballot envelopes and that invalidates the certified results if the

    recount or sampling analysis shows a sufficient number of ineligible

    absentee ballots were counted;

                                 101

                                                                   Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 583 of 1677




     10.   An emergency declaratory judgment that voting machines be

        Seized and Impounded immediately for a forensic audit—by

        plaintiffs’ expects;


     11.   A declaratory judgment declaring absentee ballot fraud occurred

        in violation of Constitutional rights, Election laws and under state

        law;


     12.   A permanent injunction prohibiting the Governor and Secretary

        of State from transmitting the currently certified results to the

        Electoral College based on the overwhelming evidence of election

        tampering;


     13.   Immediate production of 36 hours of security camera recording of

        all rooms used in the voting process at State Farm Arena in Fulton

        County, GA from 12:00am to 3:00am until 6:00pm on November 3.


     14.   Plaintiffs further request the Court grant such other relief as is

        just and proper, including but not limited to, the costs of this action

        and their reasonable attorney fees and expenses pursuant to 42

        U.S.C. 1988.



Respectfully submitted, this 25th day of November, 2020.


                                     102

                                                                      Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 584 of 1677




CALDWELL, PROPST & DELOACH, LLP

/s/ Harry W. MacDougald
Harry W. MacDougald
Georgia Bar No. 463076

CALDWELL, PROPST & DELOACH, LLP
Two Ravinia Drive, Suite 1600
Atlanta, GA 30346
(404) 843-1956 – Telephone
(404) 843-2737 – Facsimile
hmacdougald@cpdlawyers.com
Counsel for Plaintiffs

/s Sidney Powell*
Sidney Powell PC
Texas Bar No. 16209700
Julia Z. Haller *
Emily P. Newman*
Virginia Bar License No. 84265
2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
Forthcoming

L. Lin Wood
GA Bar No. 774588
L. LIN WOOD, P.C.
P.O. Box 52584
Atlanta, GA 30305-0584
Telephone: (404) 891-1402

Howard Kleinhendler*
NEW YORK BAR NO. 2657120Howard Kleinhendler Esquire
369 Lexington Avenue, 12th Floor
New York, New York 10017
Office (917) 793-1188
Mobile (347) 840-2188
howard@kleinhendler.com
www.kleinhendler.com

                                    103

                                                                  Exhibit H
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 585 of 1677




*Application for admission pro hac vice
Forthcoming

Attorneys for Plaintiffs




                                    104

                                                                  Exhibit H
    Case
       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
                            Document
                               Document
                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page586
                                                                  1 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 1 of 11



                                                               [DO NOT PUBLISH]

                IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH CIRCUIT
                           ________________________

                                 No. 20-14480
                           ________________________

                       D.C. Docket No. 1:20-cv-04809-TCB


CORECO JA’QUAN PEARSON, et al.,

                                                            Plaintiff - Appellants,

                                        versus

BRIAN KEMP, et al.,

                                                            Defendant - Appellees.

                           ________________________

                    Appeal from the United States District Court
                       for the Northern District of Georgia
                          ________________________

                                 (December 4, 2020)

Before WILSON, ROSENBAUM, and BRASHER, Circuit Judges.

BRASHER, Circuit Judge:

      This appeal arises from last-minute litigation that alleges widespread election-

related misconduct and seeks sweeping relief. The issue before us, however, is a

narrow question of appellate jurisdiction: has the district court entered an order that




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       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
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                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page587
                                                                  2 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 2 of 11



we have jurisdiction to review? Because the answer to that question is “no,” we must

dismiss this appeal for lack of jurisdiction and allow the proceedings to continue in

the district court.

                               I.     BACKGROUND

       The plaintiffs in this case are a group of Presidential Electors from Georgia.

On the Wednesday before Thanksgiving, they sued Georgia’s Governor, its

Secretary of State, and other defendants. They asserted that Georgia’s certified 2020

Presidential Election results were suspect because of alleged vulnerabilities in

Georgia’s election machines and alleged mathematical and statistical anomalies in

the vote count. Two days later—the Friday after Thanksgiving—the plaintiffs filed

a motion for injunctive relief, seeking (1) a temporary restraining order preventing

the defendants from erasing or altering forensic data on voting machines, (2) an

injunction de-certifying the Presidential election results, or alternatively a stay in the

delivery of the certified results to the Electoral College, and (3) an injunction making

the voting machines available to the plaintiffs for forensic analysis.

       The district court took the complaint and motion seriously and, on Sunday

night, held a hearing on the plaintiffs’ motion via Zoom. There, the plaintiffs’

counsel explained that the evidence the plaintiffs hoped to collect from Georgia’s

voting machines might be permanently lost if the defendants were not immediately

enjoined from altering the machines, since those machines needed to be recalibrated


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         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
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                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page588
                                                                  3 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 3 of 11



for upcoming state and local runoff elections. Rather than waiting for a ruling on the

motion for injunctive relief that covered ten counties, the plaintiffs proposed that the

district court order “very limited” relief in “two or three counties.” This solution

would allow the plaintiffs to quickly collect the data they sought without impeding

the runoff elections. The district judge agreed with the plaintiffs, and said that he

would “order and temporarily restrain the Defendants . . . from altering or destroying

or erasing[,] or allowing the alteration, destruction, or erasing of any of the computer

information on any of the [voting] machines” in Cobb, Gwinnett, and Cherokee

Counties.

      True to his word, the district judge issued a written temporary restraining

order on Sunday night that gave the plaintiffs what they said they wanted. That order

enjoined the defendants from erasing or altering data on voting machines in the three

counties listed above. It also ordered the defendants to produce a copy of the contract

between the State of Georgia and Dominion Voting Systems. Two follow-up orders

set an expedited evidentiary hearing for the morning of December 4, 2020 on the

broader relief requested in the plaintiffs’ motion and certified that the Sunday night

order contained the elements required for a permissive appeal under 28 U.S.C. §

1292(b).

      A few days later, the plaintiffs filed a notice of appeal as to the district court’s

Sunday night order. As a result, the district court canceled the hearing on the broader


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       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
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                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page589
                                                                  4 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 4 of 11



relief the plaintiffs had requested. The defendants filed a conditional cross-appeal.

Later, the plaintiffs also requested permission to appeal in this Court under 28 U.S.C.

§ 1292(b).

                                II.    DISCUSSION

      In our judicial system, the district court is the central forum for testing,

advancing, proving, or disproving a party’s allegations. It is where trials take place

and the parties present their evidence. As a court of appeals, “we are a court of

review, not of first view.” Cutter v. Wilkinson, 544 U.S. 709, 718, n.7 (2005).

Typically, we enter the picture only after the district court has considered the parties’

competing positions and a winner has emerged. Less frequently, we review

preliminary injunctions or orders that ask a particularly important, purely legal

question.

      The district court has not issued one of those appealable orders. In this case,

the district court issued an emergency temporary restraining order at the plaintiffs’

request, worked at a breakneck pace to provide them an opportunity for broader

relief, and was ready to enter an appealable order on the merits of their claims

immediately after its expedited hearing on December 4, 2020. But the plaintiffs

would not take the district court’s “yes” for an answer. They appealed instead. And,

because they appealed, the evidentiary hearing has been stayed and the case




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       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
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                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page590
                                                                  5 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 5 of 11



considerably delayed. For our part, the law requires that we dismiss the appeal and

return the case to the district court for further proceedings.

   A. The Sunday night order is not appealable under 28 U.S.C. §§ 1291 or
      1292(a)(1)

      We begin with the obvious: we cannot exercise our customary appellate

jurisdiction because the district court has not entered a final judgment. See 28 U.S.C.

§ 1291. A final judgment is a decision that “ends the litigation on the merits and

leaves nothing for the court to do but execute the judgment.” Ray Haluch Gravel Co.

v. Centr. Pension Fund of Operating Eng’rs and Participating Emp’rs, 571 U.S.

177, 183 (2014). An appeal from a final judgment may be taken as a matter of right.

Gelboim v. Bank of Am. Corp., 574 U.S. 405, 407 (2015).

      The plaintiffs concede no final judgment has been entered in this case. Instead,

the plaintiffs argue that the district court’s Sunday night order is immediately

appealable as an order denying their request for a temporary restraining order. The

plaintiffs argue that that—even though the Sunday night order granted their request

for a temporary restraining order in part and did not, on its face, deny anything—the

order effectively denied their request because of the exigent circumstances involved.

This argument fails for three reasons.

      First, the district court’s order does not deny the plaintiffs their requested

relief at all. The plaintiffs filed their motion on the Friday after Thanksgiving. The

district court held an emergency hearing over the weekend and, on Sunday,
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                                                                             Exhibit I
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       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
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                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page591
                                                                  6 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 6 of 11



November 29th, entered a TRO granting the plaintiffs’ request in part. Notably, this

Sunday night order gave the plaintiffs almost exactly what their counsel proposed as

a temporary solution at the hearing: it “identif[ied] a very limited . . . number of

counties” and enjoined the defendants from erasing or altering data contained on

Dominion voting machines in those counties, thus, preserving them for future

inspection. The district court then set an expedited briefing schedule and an

emergency evidentiary hearing for December 4th. The purpose of the briefing

schedule was to allow the defendants an opportunity to respond to the plaintiffs’

allegations. And the purpose of the evidentiary hearing was to allow the plaintiffs to

support their allegations with evidence and, potentially, to win the injunctive relief

that they were seeking. Nothing about that chain of events suggests an adverse ruling

on the plaintiffs’ motion.

      Second, even if the district court’s order were properly construed as the denial

of the plaintiffs’ request—again, ignoring the fact that it did not deny anything—we

do not ordinarily have jurisdiction over TRO rulings. McDougald v. Jenson, 786

F.2d 1465, 1472 (11th Cir. 1986). We exercise appellate jurisdiction over TRO

decisions only “when a grant or denial of a TRO might have a serious, perhaps

irreparable, consequence, and can be effectually challenged only by immediate

appeal[.]” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225 (11th Cir. 2005)

(quoting Ingram v. Ault, 50 F.3d 898, 900 (11th Cir.1995)). This is a high hurdle for


                                          6

                                                                            Exhibit I
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       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
                            Document
                               Document
                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page592
                                                                  7 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 7 of 11



appellants to clear, and our caselaw provides for emergency appeals from TRO

decisions only in the direst of circumstances. In Ingram, we permitted an appeal

where a prisoner was set to be executed within twenty-four hours of a TRO being

denied. Ingram, 50 F.3d at 899-900. In Schiavo, we permitted an appeal where a

court denied a TRO that would have put a terminally ill patient back on life support.

Schiavo, 403 F.3d at 1225.

      The plaintiffs here are not in the same position as an inmate about to be

executed or a patient removed from life support. The “irreparable” harm threatened

here is that voting machines will be “wiped,” erasing the data they contain and

preventing the plaintiffs from conducting the forensic inspection they request. But

the plaintiffs have not demonstrated that the alleged harm is imminent—that the

defendants would have wiped all these machines county-by-county, destroying all

the data they contain, unless the district court had granted broader relief on Sunday

night. In fact, the district court’s order was specifically designed to avoid this

consequence by enjoining the defendants from erasing or altering data on the

machines in three counties. It preserved the status quo in a way that gave the

plaintiffs what they said they wanted and was minimally disruptive to the State of

Georgia’s ability to conduct special run-off elections in other counties. Nothing

compelled an immediate appeal: had the plaintiffs not appealed the district court’s

Sunday night order, the district court would have held the evidentiary hearing it set


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         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
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                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page593
                                                                  8 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 8 of 11



for December 4th and, by now, would likely have ruled on the plaintiffs’ broader

request for injunctive relief. Afterwards, the plaintiffs could have appealed.

      Third, and for many of the same reasons, the district court’s Sunday night

order was not an appealable preliminary injunction order masquerading as a ruling

on a request for a TRO. To determine whether an order denominated as a TRO is

actually an appealable decision on a preliminary injunction, we review certain

factors including “the duration of the order” and “the extent of evidence submitted

to the district court.” Cuban Am. Bar Ass'n, Inc. v. Christopher, 43 F.3d 1412, 1422

(11th Cir. 1995). The Sunday night order lacks the hallmarks of a preliminary

injunction ruling. It does not engage the traditional four-factor test for granting

preliminary injunctions. Its duration is limited to ten days. And, although some

evidence has been submitted to the district court, no live witnesses have testified, no

discovery has been conducted, and the defendants have not even had a chance to file

a response to the complaint.

   B. The Sunday night order is not appealable under 28 U.S.C. § 1292(b)

      Alternatively, the plaintiffs ask that we permit them to appeal under 28 U.S.C.

§ 1292(b). Where no other avenue of appeal is open, Section 1292(b) allows a court

of appeals to exercise jurisdiction under certain specified conditions. Digital Equip.

Corp. v. Desktop Direct, Inc., 511 U.S. 863, 883 (1994). Review under this statute

was “intended, and should be reserved, for situations in which the court of appeals


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                                                                             Exhibit I
    Case
       Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCB
                            Document
                               Document
                                     35-273 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page594
                                                                  9 ofof13
                                                                         1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 9 of 11



can rule on a pure, controlling question of law without having to delve beyond the

surface of the record in order to determine the facts” and should not, in contrast, turn

on case-specific inquiries, such as “whether the district court properly applied settled

law to the facts or evidence of a particular case.” McFarlin v. Conseco Servs., LLC,

381 F.3d 1251, 1259 (11th Cir. 2004). This Court has identified five conditions

necessary for it to consider an issue in an interlocutory appeal under Section 1292(b):

“(1) the issue is a pure question of law, (2) the issue is controlling of at least a

substantial part of the case, (3) the issue was specified by the district court in its

order, (4) there are substantial grounds for difference of opinion on the issue, and

(5) resolution may well substantially reduce the amount of litigation necessary on

remand.” Mamani v. Berzain, 825 F.3d 1304, 1312 (11th Cir. 2016) (quotation marks

omitted).

      This avenue of appellate jurisdiction is also closed. The case does not meet

our criteria for Section 1292(b) interlocutory review for at least three reasons.

      First, Section 1292(b) does not countenance an interlocutory appeal at this

point in the case. The district court’s Sunday night order was entered after only a

weekend’s worth of litigation and does not conclusively answer any legal

questions. Cf. Ray v. American Nat. Red Cross, 921 F.2d 324, 325 (D.C. Cir. 1990)

(no appeal when the district court certified the question under § 1292(b) without first

deciding it). Perhaps for that reason, the order certifies that the case involves a


                                           9

                                                                              Exhibit I
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      Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCBDocument
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                                      35-2
                                        73 Filed
                                            Filed05/03/21
                                                  12/04/20 Page
                                                            Page595
                                                                 10 of
                                                                    of 13
                                                                       1677
        USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 10 of 11



controlling question of law but does not identify what that question is. See McFarlin,

381 F.3d at 1264 (“If the district court is unsure about which of the questions, if any,

that are answered by its order qualify for certification under § 1292(b), it should not

certify the order for review. If convinced that a particular question does qualify, the

district court should tell us which question it is.”). And, most problematic in our

view, the parties intended to present more evidence on the issues addressed in the

district court’s order, and the district court scheduled briefs and a hearing to allow

it. We cannot use Section 1292(b) to “offer advisory opinions rendered on

hypotheses which evaporate in the light of full factual development.” Paschall v.

Kansas City Star Co., 605 F.2d 403, 406 (8th Cir. 1979) (cleaned up).

      Second, we are not convinced the primary question the plaintiffs suggest we

answer—whether county-level election officials are the proper defendants to redress

the plaintiffs’ alleged injuries—is a “pure or abstract legal question” that can be

“stated at a high enough level of abstraction to lift the question out of the details of

the evidence or facts of a particular case.” McFarlin, 381 F.3d at 1259, 1262. This

issue goes to the redressability element of standing. “Standing for Article III

purposes requires a plaintiff to provide evidence of an injury in fact, causation and

redressability.” Dermer v. Miami-Dade Cnty., 599 F.3d 1217, 1220 (11th Cir. 2010).

A court must assess standing by making “a legal determination based on the facts

established by the record.” Church of Scientology Flag Serv. Org., Inc. v. City of


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                                                                              Exhibit I
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       Case
          1:21-cv-01169-TCB
             1:20-cv-04809-TCBDocument
                                Document
                                       35-2
                                         73 Filed
                                             Filed05/03/21
                                                   12/04/20 Page
                                                             Page596
                                                                  11 of
                                                                     of 13
                                                                        1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 11 of 11



Clearwater, 777 F.2d 598, 607 n.24 (11th Cir. 1985). The facts have played a role

in evaluating redressability in other election litigation, 1 and they could also play a

role here. Because the plaintiffs’ appeal asks us to apply “settled law to the facts or

evidence of [this] particular case,” it is “the antithesis of a proper § 1292(b) appeal.”

McFarlin, 381 F.3d at 1259.

       Third, a decision about whether the plaintiffs need to sue county officials will

not cut short the case. If the answer is that the plaintiffs do not need to add these

defendants, then the case will continue as is. If the answer is that the plaintiffs must

add these defendants, the case will continue with additional defendants. We have

“little doubt that a question is not controlling” if the litigation “can readily be

accommodated to whatever ruling is made.” 16 C. Wright & A. Miller, Federal

Practice & Procedure § 3930 (3d ed. 2020).

                                   III.    CONCLUSION

       Because we lack jurisdiction, the appeal is DISMISSED and the motion for

permissive appeal is DENIED. Because we must dismiss this appeal, the

defendants’ conditional cross appeal is also DISMISSED. Any other pending

motions are DENIED AS MOOT.



1
  Both parties cite our recent decision in Jacobson v. Fla. Sec’y of State, 974 F.3d 1236 (11th Cir.
2020), where the Florida Secretary of State argued that she could not remedy the alleged problem
and we held that “no contrary evidence” established otherwise. Id. at 1253. See also id. at 1254
(“absence of any evidence”), 1255 (“not proved”), 1255 (“not established”), 1257 (“no contrary
evidence”).
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           Case
              1:21-cv-01169-TCB
                 1:20-cv-04809-TCBDocument
                                    Document
                                           35-2
                                             73 Filed
                                                 Filed05/03/21
                                                       12/04/20 Page
                                                                 Page597
                                                                      12 of
                                                                         of 13
                                                                            1677
              USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 1 of 1


                                     UNITED STATES COURT OF APPEALS
                                        FOR THE ELEVENTH CIRCUIT

                                        ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                      56 Forsyth Street, N.W.
                                                      Atlanta, Georgia 30303


David J. Smith                                                                                             For rules and forms visit
Clerk of Court                                                                                             www.ca11.uscourts.gov


                                                  December 04, 2020

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 20-14480-RR
Case Style: Coreco Pearson, et al v. Gov. of the State of Georgia, et al
District Court Docket No: 1:20-cv-04809-TCB

This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
system, unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
system by registering for an account at www.pacer.gov. Information and training materials related to
electronic filing, are available at www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today
in this appeal. Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later
date in accordance with FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for
rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate
filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office within the
time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content
of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list
of all persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-
1. In addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition
for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time
spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of
a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404)
335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

For questions concerning the issuance of the decision of this court, please call the number referenced in the
signature block below. For all other questions, please call Regina A. Veals-Gillis, RR at (404) 335-6163.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Jeff R. Patch
Phone #: 404-335-6151

                                                                                       OPIN-1 Ntc of Issuance of Opinion




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      Case
         1:21-cv-01169-TCB
            1:20-cv-04809-TCBDocument
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                                      35-2
                                        73 Filed
                                            Filed05/03/21
                                                  12/04/20 Page
                                                            Page598
                                                                 13 of
                                                                    of 13
                                                                       1677
         USCA11 Case: 20-14480 Date Filed: 12/04/2020 Page: 1 of 1



20-14480 Pearson, et al. v. Governor of Georgia, et al.


ERRATA:


Corrected spelling of “Presidential” on p. 2.




                                                                      Exhibit I
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 599 of 1677




                        IN THE UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF WISCONSIN



WILLIAM FEEHAN and DERRICK VAN
ORDEN,
                                                          CASE NO. 2:20-cv-1771
                            Plaintiffs.
               v.

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK
L. THOMSEN, MARGE BOSTELMAN,
JULIE M. GLANCEY, DEAN KNUDSON,
ROBERT F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS, in
his official capacity,

                    Defendants.



       COMPLAINT FOR DECLARATORY, EMERGENCY, AND PERMANENT
                         INJUNCTIVE RELIEF




                                  NATURE OF THE ACTION

     1. This civil action brings to light a massive election fraud, multiple violations of the

Wisconsin Election Code, see, e.g., Wis. Stat. §§ 5.03, et. seq., in addition to the Election and

Electors Clauses and Equal Protection Clause of the U.S. Constitution. These violations occurred

during the 2020 General Election throughout the State of Wisconsin, as set forth in the affidavits

of dozens of eyewitnesses and the statistical anomalies and mathematical impossibilities detailed

in the affidavits of expert witnesses.

     2. The scheme and artifice to defraud was for the purpose of illegally and fraudulently

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                                                                                      Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 600 of 1677




manipulating the vote count to manufacture an election of Joe Biden as President of the United

States, and also of various down ballot democrat candidates in the 2020 election cycle. The fraud

was executed by many means, but the most fundamentally troubling, insidious, and egregious ploy

was the systemic adaptation of old-fashioned “ballot-stuffing.” It has now been amplified and

rendered virtually invisible by computer software created and run by domestic and foreign actors

for that very purpose. This Complaint details an especially egregious range of conduct in

Milwaukee County and the City of Milwaukee, along with Dane County, La Crosse County,

Waukesha County, St. Croix County, Washington County, Bayfield County, Ozaukee County and

various other counties throughout the Third District and throughout Wisconsin employing

Dominion Systems, though this conduct occurred throughout the State at the direction of

Wisconsin state election officials.

      3. The multifaceted schemes and artifices implemented by Defendants and their

collaborators to defraud resulted in the unlawful counting, or fabrication, of hundreds of thousands

of illegal, ineligible, duplicate or purely fictitious ballots in the State of Wisconsin, that collectively

add up to multiples of Biden’s purported lead in the State of 20,565 votes.

      4. While this Complaint, and the eyewitness and expert testimony incorporated herein,

identify with specificity sufficient ballots required to set aside the 2020 General Election results,

the entire process is so riddled with fraud, illegality, and statistical impossibility that this Court,

and Wisconsin’s voters, courts, and legislators, cannot rely on, or certify, any numbers resulting

from this election. Accordingly, this Court must set aside the results of the 2020 General Election

and grant the declaratory and injunctive relief requested herein.




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                                                                                              Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 601 of 1677




                     Dominion Voting Systems Fraud and Manipulation

     5. The fraud begins with the election software and hardware from Dominion Voting

Systems Corporation (“Dominion”) used by the Wisconsin Board of State Canvassers. The

Dominion systems derive from the software designed by Smartmatic Corporation, which became

Sequoia in the United States.

     6. Smartmatic and Dominion were founded by foreign oligarchs and dictators to ensure

computerized ballot-stuffing and vote manipulation to whatever level was needed to make certain

Venezuelan dictator Hugo Chavez never lost another election. See Ex. 1, Redacted Declaration of

Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”). Notably, Chavez

“won” every election thereafter.

     7. As set forth in the Dominion Whistleblower Report, the Smartmatic software was

contrived through a criminal conspiracy to manipulate Venezuelan elections in favor of dictator

Hugo Chavez:

       Importantly, I was a direct witness to the creation and operation of an electronic
       voting system in a conspiracy between a company known as Smartmatic and the
       leaders of conspiracy with the Venezuelan government. This conspiracy
       specifically involved President Hugo Chavez Frias, the person in charge of the
       National Electoral Council named Jorge Rodriguez, and principals, representatives,
       and personnel from Smartmatic. The purpose of this conspiracy was to create and
       operate a voting system that could change the votes in elections from votes against
       persons running the Venezuelan government to votes in their favor in order to
       maintain control of the government. In mid-February of 2009, there was a national
       referendum to change the Constitution of Venezuela to end term limits for elected
       officials, including the President of Venezuela. The referendum passed. This
       permitted Hugo Chavez to be re-elected an unlimited number of times. . . .

       Smartmatic’s electoral technology was called “Sistema de Gestión Electoral” (the
       “Electoral Management System”). Smartmatic was a pioneer in this area of
       computing systems. Their system provided for transmission of voting data over the
       internet to a computerized central tabulating center. The voting machines
       themselves had a digital display, fingerprint recognition feature to identify the
       voter, and printed out the voter’s ballot. The voter’s thumbprint was linked to a
       computerized record of that voter’s identity. Smartmatic created and operated the
                                               3


                                                                                      Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 602 of 1677




         entire system. Id. ¶¶ 10 & 14.

        8. A core requirement of the Smartmatic software design ultimately adopted by Dominion

for Wisconsin’s elections was the software’s ability to hide its manipulation of votes from any

audit. As the whistleblower explains:

         Chavez was most insistent that Smartmatic design the system in a way that the
         system could change the vote of each voter without being detected. He wanted the
         software itself to function in such a manner that if the voter were to place their
         thumb print or fingerprint on a scanner, then the thumbprint would be tied to a
         record of the voter’s name and identity as having voted, but that voter would not
         tracked to the changed vote. He made it clear that the system would have to be setup
         to not leave any evidence of the changed vote for a specific voter and that there
         would be no evidence to show and nothing to contradict that the name or the
         fingerprint or thumb print was going with a changed vote. Smartmatic agreed to
         create such a system and produced the software and hardware that accomplished
         that result for President Chavez. Id. ¶15.

        9. The design and features of the Dominion software do not permit a simple audit to reveal

its misallocation, redistribution, or deletion of votes. First, the system’s central accumulator does

not include a protected real-time audit log that maintains the date and time stamps of all significant

election events. Key components of the system utilize unprotected logs. Essentially this allows

an unauthorized user the opportunity to arbitrarily add, modify, or remove log entries, causing the

machine to log election events that do not reflect actual voting tabulations—or more specifically,

do not reflect the actual votes of or the will of the people.1

       10. This Complaint will show that Dominion violated physical security standards by

connecting voting machines to the Internet, allowing Dominion, domestic third parties or hostile

foreign actors to access the system and manipulate election results, and moreover potentially to


   1
     See Ex. 7, August 24, 2020 Declaration of Harri Hursti, ¶¶45-48 (expert testimony in Case
1:17-cv-02989 in the U.S. District Court for the Northern District of Georgia). The Texas
Secretary of State refused to certify Dominion for similar reasons as those cited by Mr. Hursti. See
Ex. 9, State of Texas Secretary of State, Elections Division, Report of Review of Dominion Voting
Systems Democracy Suite 5.5-A at 2 (Jan. 24, 2020).
                                                   4


                                                                                          Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 603 of 1677




cover their tracks due to Dominion’s unprotected log. Accordingly, a thorough forensic

examination of Dominion’s machines and source code (pursuant to Wisconsin Statute § 5.905) is

required to document these instances of voting fraud, as well as Dominion’s systematic violations

of the Voting Rights Act record retention requirements through manipulation, alteration,

destruction and likely foreign exfiltration of voting records. See 52 U.S.C. § 20701.

       11. These and other problems with Dominion’s software have been widely reported in the

press and been the subject of investigations. In certifying Dominion Voting Systems Democracy

Suite, Wisconsin officials disregarded all the concerns that caused Dominion software to be

rejected by the Texas Board of elections in 2020 because it was deemed vulnerable to undetected

and non-auditable manipulation. Texas denied Certification because of concerns that it was not

safe from fraud or unauthorized manipulation. (See Exhs 11 A and B).

       12. An industry expert, Dr. Andrew Appel, Princeton Professor of Computer Science and

Election Security Expert has recently observed, with reference to Dominion Voting machines: “I

figured out how to make a slightly different computer program that just before the polls were

closed, it switches some votes around from one candidate to another. I wrote that computer

program into a memory chip and now to hack a voting machine you just need 7 minutes alone with

a screwdriver.”2

       13. In addition to the Dominion computer fraud, this Complaint identifies several additional

categories of “traditional” voting fraud that occurred as a direct result of Defendant Wisconsin

Election Commission (“WEC”) and other Defendants directing Wisconsin clerks and other

election officials to ignore or violate the express requirements of the Wisconsin Election Code.



   2
    Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot Assure the Will of the
Voters” at (Dec. 27, 2019),( attached hereto as Exh. 10 (“Appel Study”)).
                                                  5


                                                                                        Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 604 of 1677




First, the WEC issued “guidance” to county and municipal clerks not to reject “indefinitely

confined” absentee voters, even if the clerks possess “reliable information” that the voter is no

longer indefinitely confined, in direct contravention of Wisconsin Statute § 6.86(2)(6), which

states that clerks must remove such voters. Second, the WEC issued further guidance directing

clerks – in violation of Wisconsin Statute § 6.87(6)(d), which states that an absentee envelope

certification “is missing the address of a witness, the ballot may not be counted” – to instead fill

in the missing address information.

    14. This Complaint presents expert witness testimony demonstrating that several hundred

thousand illegal, ineligible, duplicate or purely fictitious votes must be thrown out, in particular:

       A. A report from Dr. William Briggs, showing that there were approximately
          29,594 absentee ballots listed as “unreturned” by voters that either never
          requested them, or that requested and returned their ballots;

       B. Reports from Redacted Expert Witnesses who can show an algorithm was used
          to pick a winner.

    15. In the accompanying redacted declaration of a former electronic intelligence analyst with

305th Military Intelligence with experience gathering SAM missile system electronic intelligence,

the Dominion software was accessed by agents acting on behalf of China and Iran in order to

monitor and manipulate elections, including the most recent US general election in 2020. (See Ex.

12, copy of redacted witness affidavit).

    16. These and other “irregularities” demonstrate that at least 318,012 illegal ballots were

counted in Wisconsin. This provides the Court with sufficient grounds to set aside the results of

the 2020 General Election and provide the other declaratory and injunctive relief requested herein.

                                 JURISDICTION AND VENUE

    17. This Court has subject matter under 28 U.S.C. § 1331 which provides, “The district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

                                                  6


                                                                                           Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 605 of 1677




of the United States.”

    18. This Court also has subject matter jurisdiction under 28 U.S.C. § 1343 because this action

involves a federal election for President of the United States. “A significant departure from the

legislative scheme for appointing Presidential electors presents a federal constitutional question.”

Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm, 285 U.S.

355, 365 (1932).

    19. The jurisdiction of the Court to grant declaratory relief is conferred by 28 U.S.C. §§

2201 and 2202 and by Rule 57, Fed. R. Civ. P.

    20. This Court has jurisdiction over the related Wisconsin constitutional claims and state-law

claims under 28 U.S.C. § 1367.

    21. Venue is proper because a substantial part of the events or omissions giving rise to the

claim occurred in the Eastern District. 28 U.S.C. § 1391(b) & (c).

    22. Because the United States Constitution reserves for state legislatures the power to set the

time, place, and manner of holding elections for Congress and the President, state executive

officers have no authority to unilaterally exercise that power, much less flout existing legislation.

                                          THE PARTIES

    23. Plaintiff William Feehan, is a registered Wisconsin voter and a nominee of the Republican

Party to be a Presidential Elector on behalf of the State of Wisconsin. Mr. Feehan is a resident of

the City of La Crosse and La Crosse County, Wisconsin.

    24. Presidential Electors “have a cognizable interest in ensuring that the final vote tally

reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and particularized

injury to candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020)

(affirming that Presidential Electors have Article III and prudential standing to challenge actions

                                                  7


                                                                                           Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 606 of 1677




of state officials implementing or modifying State election laws); see also McPherson v. Blacker,

146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76 (2000) (per

curiam).

    25. Plaintiff Feehan has standing to bring this action as a voter and as a candidate for the

office of Elector under Wis. Stat. §§ 5.10, et seq (election procedures for Wisconsin electors). As

such, Presidential Electors “have a cognizable interest in ensuring that the final vote tally reflects

the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and particularized injury

to candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020)

(affirming that Presidential Electors have Article III and prudential standing to challenge actions

of state officials in implementing or modifying State election laws); see also McPherson v.

Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76 (2000)

(per curiam).

    26. Plaintiff Derrick Van Orden is a former United States Navy SEAL, who was the 2020

Republican nominee for Wisconsin’s Third Congressional District Seat for the United States

House of Representatives. Mr. Van Orden is a resident of Hager City, Pierce County, Wisconsin.

    27. Mr. Van Orden “lost” by approximately 10,000 votes to the Democrat incumbent, U.S.

Representative Ron Kind. Because of the illegal voting irregularities as will be shown below, Mr.

Van Orden seeks to have a new election ordered by this court in the Third District, with that

election being conducted under strict adherence with the Wisconsin Election Code.

    28. Plaintiff Van Orden has standing as the ostensible “defeated” candidate in the Third

Congressional District race, and seeks an order for a new election, complying with Wisconsin

election law. Plaintiff Van Order received 189,524 votes or 48.67% as tallied versus Ron Kind

who received 199,870 or 51.33% of the votes as reportedly tallied.

                                                  8


                                                                                          Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 607 of 1677




    29. Plaintiffs brings this action to prohibit certification of the election results for the Office

of President of the United States in the State of Wisconsin and to obtain the other declaratory and

injunctive relief requested herein. Those results were certified by Defendants on November 30,

2020, indicating a plurality for Mr. Biden of 20,565 votes out of 3,240,867 cast.

    30. The Defendants are Wisconsin Elections Commission (“WEC”), a state agency, and its

members Ann S. Jacobs, Mark L. Thomsen, Marge Bostelman, Julie M. Glancey, Dean Knudson,

and Robert F. Spindell, Jr., in their official capacities

    31. Defendant Governor Tony Evers is named as a defendant in his official capacity as

Wisconsin’s governor.

    32. Defendant WEC was created in 2015 by the Wisconsin Legislature as an independent

agency under the Executive branch to administer Wisconsin’s election laws. Wis. Stat. §§ 5.03 &

15.61. The WEC is authorized to adopt administrative rules pursuant to Chapter 227 of the

Wisconsin Statutes, but nothing under Wisconsin’s election laws authorizes the WEC to issue any

documents, make any oral determinations or instruct governmental officials administering

elections to perform any act contrary to Wisconsin law governing elections.

    33. Furthermore, the Wisconsin Legislature also created municipal elections commissions for

municipalities with a population greater than 500,000 and a county elections commissions for

counties with a population greater than 750,000. Wis Stat. § 7.20. As a result, the City of

Milwaukee Elections Commission was created as well as the Milwaukee County Elections

Commission and the Dane County Elections Commission. These county and municipal elections

commissions are responsible for administering the elections in their respective jurisdictions.




                                                   9


                                                                                          Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 608 of 1677




                                    STATEMENT OF FACTS

    34. Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, to remedy deprivations of

rights, privileges, or immunities secured by the Constitution and laws of the United States and to

contest the election results, and the corollary provisions under the Wisconsin Constitution.

    35. The United States Constitution sets forth the authority to regulate federal elections. With

respect to congressional elections, the Constitution provides:

       The Times, Places and Manner of holding Elections for Senators and
       Representatives, shall be prescribed in each State by the Legislature thereof; but the
       Congress may at any time by Law make or alter such Regulations, except as to the
       Places of choosing Senators.

       U.S. CONST. art. I, § 4 (“Elections Clause”).

    36. With respect to the appointment of presidential electors, the Constitution provides:

       Each State shall appoint, in such Manner as the Legislature thereof may direct, a
       Number of Electors, equal to the whole Number of Senators and Representatives to
       which the State may be entitled in the Congress: but no Senator or Representative,
       or Person holding an Office of Trust or Profit under the United States, shall be
       appointed an Elector.

       U.S. CONST. art. II, § 1 (“Electors Clause”).

    37. None of Defendants is a “Legislature” as required under the Elections Clause or Electors

Clause to set the rules governing elections. The Legislature is “‘the representative body which

ma[kes] the laws of the people.’” Smiley, 285 U.S. 365. Regulations of congressional and

presidential elections, thus, “must be in accordance with the method which the state has prescribed

for legislative enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting

Comm’n, 576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

    38. The WEC certified the Presidential Election results on November 30, 2020.                 The

Presidential election results in Wisconsin show a difference of 20,565 “tallied” votes in favor of

former Vice-President Joe Biden over President Trump.

                                                  10


                                                                                           Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 609 of 1677




    39. Based upon all the allegations of fraud, statutory violations, and other misconduct, as

stated herein and in the attached affidavits, it is necessary to enjoin the certification of the election

results pending a full investigation and court hearing, and to order an independent audit of the

November 3, 2020 election to ensure the accuracy and integrity of the election.

                   I. VIOLATIONS OF WISCONSIN ELECTION CODE

     A. WEC Directed Clerks to Violate Wisconsin Election Code Requirements for
        Absentee Voting by “Indefinitely Confined” without Photo ID.

    40. The Wisconsin State Legislature adopted Act 23 in 2011 to require Wisconsin electors to

present an identification containing a photograph, such as a driver’s license, to either a municipal or

county clerk, when registering to vote and when voting. Wis. Stat. §§ 6.34; 6.79 (2). The Wisconsin

State Legislature adopted the photo ID requirement to deter the casting of ballots by persons either not

eligible to vote or persons fraudulently casting multiple ballots. League of Women Voters of

Wisconsin Education Network, Inc. v. Walker, 851 N.W.2d 302, 314 (Wis. 2014).

    41. Wisconsin’s absentee voting is governed by Wisconsin Statutes § 6.84 - § 6.89. Under

Wisconsin Statutes §6.86, every absentee elector applicant must present a photo ID when registering

to vote absentee except absentee voters who registered as “indefinitely confined,” Wis. Stat. §6.86

(ac), meaning someone confined “because of age, physical illness or infirmity or is disabled for an

indefinite period.” Wis. Stat. § 6.86(2)(a). As a result, Wisconsin election procedures for voting

absentee based on “indefinitely confined” status circumvent the photo ID requirement, creating an

avenue for fraudulent voting.

    42. In order to ensure that only those who are “indefinitely confined” may use the “indefinitely

confined” absentee ballot in an election, Wisconsin Statutes §6.86 provides that any elector who files

an application for an absentee ballot based on indefinitely confined status may not use the absentee

ballot if the electoral is no longer “indefinitely confined.” Wisconsin Statutes § 6.86 (2)(b) further

                                                   11


                                                                                             Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 610 of 1677




provides that the municipal clerk “shall remove the name of any other elector from the list upon

request of the elector or upon receipt of reliable information that an elector no longer qualifies for

the service.”

    43. Despite this clear statutory requirement, the Administrator of the Wisconsin Election

Commission, Meagan Wolfe, issued a written directive on May 13, 2020 to the clerks across the

State of Wisconsin stating that the clerks cannot remove an allegedly “indefinitely confined”

absentee voter from the absentee voter register if the clerk had “reliable information” that an

allegedly “indefinitely confined” absentee voter is no longer “indefinitely confined.” The directive

specifically stated:

        Can I deactivate an absentee request if I believe the voter is not indefinitely
        confined? No. All changes to status must be made in writing and by the voter’s
        request. Not all medical illnesses or disabilities are visible or may only impact the
        voter intermittently. (See WEC May 13, 2020 Guidance Memorandum).

    44. The WEC’s directive thus directly contradicts Wisconsin law, which specifically provides

that clerks “shall” remove an indefinitely confined voter from the absentee voter list if the clerk

obtains “reliable information” that the voter is no longer indefinitely confined.

    45. As a result of the directive, clerks did not remove from the absentee voter lists maintained

by their jurisdictions the absentee voters who claimed “indefinitely confined” status but who in

fact were no longer “indefinitely confined.”       This resulted in electors who were allegedly

“indefinitely confined” absentee voters casting ballots as “indefinitely confined” absentee voters

who were not actually “indefinitely confined” absentee voters.

     B. WEC Directed Clerks to Violate Wisconsin Law Prohibiting Counting of
        Absentee Ballot Certificates Missing Witness Addresses.

    46. In 2015, the Wisconsin Legislature passed Act 261, amending Wisconsin’s election laws,

including a requirement, codified as Wisconsin Statute § 6.87(d), that absentee ballots include both


                                                 12


                                                                                          Exhibit J
          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 611 of 1677




elector and witness certifications, which must include the address of the witness. If the address

of the witness is missing from the witness certification, however, “the ballot may not be counted.”

Id.

          47. On October 18, 2016, WEC reacted to this legislation by issuing a memorandum, which,

among other things, permitted clerks to write in the witness address onto the absentee ballot

certificate itself, effectively nullifying this express requirement. (See WEC October 18, 2016

Guidance Memorandum).            Wisconsin election officials reiterated this unlawful directive in

publicly posted training videos. For example, in a Youtube video posted before the November 3,

2020 General Election by Clarie Woodall-Voog of the Milwaukee Elections Commission, Ms.

Woodall-Voog advised clerks that missing items “like witness address may be written in red.”3

          C. WEC Directed Clerks to Illegally Cure Absentee Ballots by Filling in Missing
             Information on Absentee Ballot Certificates and Envelopes.

          48. On October 19, 2020, WEC instructed its clerks that, without any legal basis in the

Wisconsin Election Code, they could simply fill in missing witness or voter certification

information using, e.g., personal knowledge, voter registration information, or calling the voter or

witness. The WEC further advised that voters or witnesses could cure any missing information at

the polling place, again without citing any authority to do so under Wisconsin Election Code.

                             II. EXPERT WITNESS TESTIMONY:
                          EVIDENCE OF WIDESPREAD VOTER FRAUD

          A. Approximately 15,000 Wisconsin Mail-In Ballots Were Lost, and
             Approximately 18,000 More Were Fraudulently Recorded for Voters who
             Never Requested Mail-In Ballots.

          49. The attached report of William M. Briggs, Ph.D. (“Dr. Briggs Report”) summarizes the

multi-state phone survey that includes a survey of Wisconsin voters collected by Matt Braynard,


      3
          See https://www.youtube.com/watch?v=hbm-pPaYiqk (video a 10:43 to 11:07).
                                                  13


                                                                                        Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 612 of 1677




which was conducted from November 15-17, 2020. See Ex. 101, Dr. Briggs Report at 1, and Att.

1 (“Braynard Survey”). The Briggs analysis identified two specific errors involving unreturned

mail-in ballots that are indicative of voter fraud, namely: “Error #1: those who were recorded as

receiving absentee ballots without requesting them;” and “Error #2: those who returned absentee

ballots but whose votes went missing (i.e., marked as unreturned).” Id. Dr. Briggs then conducted

a parameter-free predictive model to estimate, within 95% confidence or prediction intervals, the

number of ballots affected by these errors out of a total of 96,771 unreturned mail-in ballots for

the State of Wisconsin.

    50. With respect to Error #1, Dr. Briggs’ analysis estimated that 16,316-19,273 ballots out

of the total 96,771 unreturned ballots were recorded for voters who had not requested them. Id.

With respect to Error #2, he found 13,991 – 16,757 ballots out of 96,771 unreturned ballots

recorded for voters who did return their ballots were recorded as being unreturned. Id.

Taking the average of the two types of errors together, 29,594 ballots, or 31% of the total, are

“troublesome.”

    51. These errors are not only conclusive evidence of widespread fraud by the State of

Wisconsin, but they are fully consistent with the fact witness statements cited above regarding the

evidence about Dominion presented below insofar as these unreturned absentee ballots

represent a pool of blank ballots that could be filled in by third parties to shift the election

to Joe Biden, and also present the obvious conclusion that there must be absentee ballots

unlawfully ordered by third parties that were returned.

    52. With respect to Error #1, Dr. Briggs’ analysis demonstrates that approximately 17,795

absentee ballots were sent to someone besides the registered voter named in the request, and

thus could have been filled out by anyone and then submitted in the name of another voter.

                                                14


                                                                                       Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 613 of 1677




Regarding ballots ordered by third parties that were voted, those would no longer be in the

unreturned pool and therefore cannot be estimated from this data set.

       53. With respect to Error #2, Dr. Briggs’ analysis indicates that approximately 15,374

absentee ballots were either lost or destroyed (consistent with allegations of Trump ballot

destruction) and/or were replaced with blank ballots filled out by election workers, Dominion

or other third parties. Dr. Briggs’ analysis shows that 31% of “unreturned ballots” suffer from

one of the two errors above – which is consistent with his findings in the four other States analyzed

(Arizona 58%, Georgia 39%, Pennsylvania 37%, and Wisconsin 45%) – and provides further

support that these widespread “irregularities” or anomalies were one part of a much larger multi-

state fraudulent scheme to rig the 2020 General Election for Joe Biden.

       B. Nearly 7,000 Ineligible Voters Who Have Moved Out-of-State Illegally Voted
          in Wisconsin.

       54. Evidence compiled by Matt Braynard using the National Change of Address (“NCOA”)

Database shows that 6,207 Wisconsin voters in the 2020 General Election moved out-of-state prior

to voting, and therefore were ineligible. Mr. Braynard also identified 765 Wisconsin voters who

subsequently registered to vote in another state and were therefore ineligible to vote in the 2020

General Election. The merged number is 6,966 ineligible voters whose votes must be removed

from the total for the 2020 General Election.4

       C. A Statistical Study Reveals that Biden Overperformed in those Precincts that
          Relied on Dominion Voting Machines

       55. From November 13th, 2020 through November 28th, 2020, the Affiant conducted in-depth

statistical analysis of publicly available data on the 2020 U.S. Presidential Election. This data


   4
     Mr. Braynard posted the results of his analysis on Twitter.
See https://twitter.com/MattBraynard/status/1329700178891333634?s=20. This Complaint
includes a copy of his Report, (attached hereto as Exh. 3).
                                                 15


                                                                                         Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 614 of 1677




included vote counts for each county in the United States, U.S. Census data, and type of voting

machine data provided by the U.S. Election Assistance Committee. The Affiant’s analysis yielded

several “red flags” concerning the percentage of votes won by candidate Biden in counties using

voting machines provided by Dominion Voting Systems.          These red flags occurred in several

States in the country, including Wisconsin. (See attached hereto as Exh. 4, copy of redacted

Affiant, B.S. Mathematics and M.S. Statistics).

    56. The Affiant began by using Chi-Squared Automatic Interaction Detection (CHAID),

which treats the data in an agnostic way—that is, it imposes no parametric assumptions that could

otherwise introduce bias. Affiant posed the following question: “Do any voting machine types

appear to have unusual results?” The answer provided by the statistical technique/algorithm was

that machines from Dominion Voting Systems (Dominion) produced abnormal results. Id.

    57. Subsequent graphical and statistical analysis shows the unusual pattern involving

machines from Dominion occurs in at least 100 counties and multiple States, including Wisconsin.

The results from the vast majority of counties using the Dominion machines is 3 to 5.6 percentage

points higher in favor of candidate Biden. This pattern is seen easily in graphical form when the

results from “Dominion” counties are overlaid against results from “non-Dominion” counties. The

results from “Dominion” counties do not match the results from the rest of the counties in the

United States. The results are clearly statistically significant, with a p-value of < 0.00004. This

translates into a statistical impossibility that something unusual involving Dominion machines is

not occurring. This pattern appears in multiple States, including Wisconsin, and the margin of

votes implied by the unusual activity would easily sway the election results. Id.

    58. The following graph shows the pattern. The large red dots are counties in Wisconsin that

use Dominion voting machines. Almost all of them are above the blue prediction line, when in

                                                  16


                                                                                       Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 615 of 1677




normal situations approximately half of them would be below the prediction line (as evidence by

approximately half the counties in the U.S. (blue dots) that are below the blue centerline). The p-

value of statistical analysis regarding the centerline for the red dots (Wisconsin counties with

Dominion machines) is 0.000000049, pointing to a statistical impossibility that this is a “random”

statistical anomaly. Some external force caused this anomaly:




       Id.

    59. To confirm that Dominion machines were the source of the pattern/anomaly, Affiant

conducted further analysis using propensity scoring using U.S. census variables (including

ethnicities, income, professions, population density and other social/economic data) , which was

used to place counties into paired groups. Such an analysis is important because one concern could

be that counties with Dominion systems are systematically different from their counterparts, so


                                                17


                                                                                       Exhibit J
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 616 of 1677




abnormalities in the margin for Biden are driven by other characteristics unrelated to the election.

Id.

      60. After matching counties using propensity score analysis, the only difference between the

groups was the presence of Dominion machines. This approach again showed a highly statistically

significant difference between the two groups, with candidate Biden again averaging three

percentage points higher in Dominion counties than in the associated paired county.             The

associated p-value is < 0.00005, against indicating a statistical impossibility that something

unusual is not occurring involving Dominion machines. Id.

      61. The results of the analysis and the pattern seen in the included graph strongly suggest a

systemic, system-wide algorithm was enacted by an outside agent, causing the results of

Wisconsin’s vote tallies to be inflated by somewhere between three and five point six percentage

points. Statistical estimating yields that in Wisconsin, the best estimate of the number of

impacted votes is 181,440. Id.

      62. The summation of sections A through C above provide the following conclusions for the

reports cited above, respectively.

            •   returned ballots that were deemed unreturned by the state: 15,374

            •   unreturned mail ballots unlawfully ordered by third parties: 17,795

            •   votes by persons that moved out of state or subsequently registered to vote
                in another state for the 2020 election: 6,966

            •   Votes that were improperly relying on the “indefinitely confined”
                exemption to voter ID: 96,437

            •   And excess votes arising from the statistically significant outperformance
                of Dominion machines on behalf of Joe Biden: 181,440




                                                 18


                                                                                        Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 617 of 1677




   In Conclusion, the Reports cited above show a total amount of illegal votes identified that

   amount to 318,012 or over 15 times the margin by which candidate Biden leads President

   Trump in the state of Wisconsin.

  III. FACTUAL ALLEGATIONS REGARDING DOMINION VOTING SYSTEMS

    63. The State of Wisconsin, in many locations, used either Sequoia, a subsidiary of Dominion

Systems, and or Dominion Systems, Democracy Suite 4.14-D first, and then included Dominion

Systems Democracy Suite 5.0-S on or about January 27, 2017, which added a fundamental

modification: “dial-up and wireless results transmission capabilities to the ImageCast Precinct and

results transmission using the Democracy Suite EMS Results Transfer Manager module.” (See

Exh. 5, attached hereto, a copy of the Equipment for WI election systems).

      A. Dominion’s Results for 2020 General Election Demonstrate
         Dominion Manipulated Election Results.

    64. Affiant Keshel’s findings that reflect the discussion cited above:

       While Milwaukee County is focal for transparency and observation violations,
       including reporting statistically impossible vote counts in the early morning hours
       away from scrutiny, Dane County has surged far past support totals for President
       Obama, despite expected difficulties mobilizing student voters to polls. President
       Trump has reconsolidated the Republican base in suburban Milwaukee and far
       surpassed his 2016 support levels but has been limited in margin growth by
       historically improbable Democratic support in these strongholds, which defy years
       of data in Wisconsin in which the Republican party surged as the Democratic Party
       plunged. Finally, in strong Trump counties showing a double inversion cycle (one
       party up, the other down), particularly in rural and exurban Wisconsin, Trump’s
       totals are soaring, and against established trends, Biden’s totals are at improbable
       levels of support despite lacking registration population
       (See attached hereto, Exh. 9, Aff. of Seth Keshel, MBA)




                                                19


                                                                                       Exhibit J
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 618 of 1677




Id.

      65. Keshel provides a graph reflecting the voter returns in a time-series. The highly unlikely

and remarkably convenient attainment of this block of votes provides for a stunning depiction of

the election and generates many questions. The analysis provided by Plaintiffs’ multiple experts,

including data, statistics and cyber, will reveal clear evidence of the multiple frauds that combined

to change the outcome of the 2020 election.




                                                 20


                                                                                         Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 619 of 1677




See Id.

      B. Administrative and Judicial Decisions Regarding Dominion’s
         Security Flaws.

    66. Wisconsin. In 2018, Jill Stein was in litigation with Dominion Voting Systems

(“DVS”) after her 2016 recount request pursuant to WISCONSIN STAT.§5.905(4) wherein

DVS obtained a Court Order requiring confidentiality on information including voting counting

source code, which Dominion claims is proprietary – and must be kept secret from the public. (See

unpublished decision, Wisconsin Court of Appeals, No. 2019AP272 issued April 30, 2020).

Rather than engaging in an open and transparent process to give credibility to Wisconsin’s

Dominion-Democracy Suite voting system, the processes were hidden during the receipt,

review, opening, and tabulation of those votes in direct contravention of Wisconsin’s

Election Code and Federal law.

    67. Texas. The same Dominion Democracy Suite was denied certification in Texas by the

                                               21


                                                                                      Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 620 of 1677




Secretary of State on January 24, 2020, specifically because the “examiner reports raise concerns

about whether Democracy Suite 5.5-A system … is safe from fraudulent or unauthorized

manipulation.”5

       68. Georgia. Substantial evidence of this vulnerability was discussed in Judge Amy

Totenberg’s October 11, 2020 Order in the USDC N.D. Ga. case of Curling, et al. v. Kemp, et. al,

Case No. 1:17-cv-02989 Doc. No. 964. See, p. 22-23 (“This array of experts and subject matter

specialists provided a huge volume of significant evidence regarding the security risks and deficits

in the system as implemented in both witness declarations and live testimony at the preliminary

injunction hearing.”); p. 25 (“In particular, Dr. Halderman’s testing indicated the practical

feasibility through a cyber attack of causing the swapping or deletion of specific votes cast and the

compromise of the system through different cyber attack strategies, including through access to

and alteration or manipulation of the QR barcode.”) The full order should be read, for it is eye-

opening and refutes many of Dominion’s erroneous claims and talking points.

       69. A District Judge found that Dominion’s BMD ballots are not voter verifiable, and they

cannot be audited in a software independent way. The credibility of a BMD ballot can be no greater

than the credibility of Dominion’s systems, which copious expert analysis has shown is deeply

compromised. Similar to the issues in Wisconsin, Judge Totenberg of the District Court of Georgia

Northern District held:

         Georgia’s Election Code mandates the use of the BMD system as the uniform mode
         of voting for all in-person voters in federal and statewide elections. O.C.G.A. § 21-
         2-300(a)(2). The statutory provisions mandate voting on “electronic ballot
         markers” that: (1) use “electronic technology to independently and privately mark
         a paper ballot at the direction of an elector, interpret ballot selections, ... such
         interpretation for elector verification, and print an elector verifiable paper

   5
     See attached hereto, as Exh. 11, State of Texas Secretary of State, Elections Division, Report
of Review of Dominion Voting Systems Democracy Suite 5.5-A at 2 (Jan. 24, 2020) (emphasis
added).
                                                  22


                                                                                          Exhibit J
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 621 of 1677




       ballot;” and (2) “produce paper ballots which are marked with the elector’s choices
       in a format readable by the elector” O.C.G.A. § 21-2-2(7.1); O.C.G.A. § 21-2-
       300(a)(2). Plaintiffs and other voters who wish to vote in-person are required to
       vote on a system that does none of those things. Rather, the evidence shows that
       the Dominion BMD system does not produce a voter-verifiable paper ballot or
       a paper ballot marked with the voter’s choices in a format readable by the
       voter because the votes are tabulated solely from the unreadable QR code.

       See Order, pp. 81-82. (Emphasis added).

    70. This case was later affirmed in a related case, in the Eleventh Circuit in 2018 related to

Georgia’s voting system in Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270 (11th Cir.

2018). The Court found,

       In summary, while further evidence will be necessary in the future, the Court
       finds that the combination of the statistical evidence and witness declarations
       in the record here (and the expert witness evidence in the related Curling case
       which the Court takes notice of) persuasively demonstrates the likelihood of
       Plaintiff succeeding on its claims. Plaintiff has shown a substantial likelihood
       of proving that the Secretary’s failure to properly maintain a reliable and
       secure voter registration system has and will continue to result in the
       infringement of the rights of the voters to cast their vote and have their votes
       counted.

       Id.at 1294-1295.

    71. The expert witness in the above litigation in the United States District Court of

Georgia, Case 1:17-cv-02989-AT, Harri Hursti, specifically testified to the acute security

vulnerabilities, see Ex. 107, wherein he testified or found:

        A. “The scanner and tabulation software settings being employed to
           determine which votes to count on hand marked paper ballots are
           likely causing clearly intentioned votes to be counted” “The voting
           system is being operated in Fulton County in a manner that escalates
           the security risk to an extreme level” “Votes are not reviewing their
           BMD printed ballots, which causes BMD generated results to be un-
           auditable due to the untrustworthy audit trail.” 50% or more of voter
           selections in some counties were visible to poll workers. Dominion
           employees maintain near exclusive control over the EMS servers. “In
           my professional opinion, the role played by Dominion personnel in
           Fulton County, and other counties with similar arrangements, should
           be considered an elevated risk factor when evaluating the security
                                               23


                                                                                      Exhibit J
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 622 of 1677




           risks of Georgia’s voting system.” Id. ¶26.

        B. A video game download was found on one Georgia Dominion system
           laptop, suggesting that multiple Windows updates have been made on
           that respective computer.

        C. There is evidence of remote access and remote troubleshooting which
           presents a grave security implication.

        D. Certified identified vulnerabilities should be considered an “extreme
           security risk.”

        E. There is evidence of transfer of control the systems out of the physical
           perimeters and place control with a third party off site.

        F. USB drives with vote tally information were observed to be removed
           from the presence of poll watchers during a recent election.

        G. “The security risks outlined above – operating system risks, the
           failure to harden the computers, performing operations directly on the
           operating systems, lax control of memory cards, lack of procedures,
           and potential remote access are extreme and destroy the credibility of
           the tabulations and output of the reports coming from a voting
           system.” Id. ¶49.

     C. Foreign Interference/Hacking and/or Manipulation of Dominion
        Results.

          1. Evidence of Vulnerability to Foreign Hackers.

    72. In October of 2020 The FBI and CISA issued a JOINT CYBERSECURITY

ADVISORY ON October 30, 2020 titled: Iranian Advanced Persistent Threat Actor Identified

Obtained Voter Registration Data

      This joint cybersecurity advisory was coauthored by the Cybersecurity and
      Infrastructure Security Agency (CISA) and the Federal Bureau of Investigation
      (FBI). CISA and the FBI are aware of an Iranian advanced persistent threat (APT)
      actor targeting U.S. state websites to include election websites. CISA and the FBI
      assess this actor is responsible for the mass dissemination of voter intimidation
      emails to U.S. citizens and the dissemination of U.S. election-related
      disinformation in mid-October 2020.1 (Reference FBI FLASH message ME-
      000138-TT, disseminated October 29, 2020). Further evaluation by CISA and the
      FBI has identified the targeting of U.S. state election websites was an intentional
      effort to influence and interfere with the 2020 U.S. presidential election.


                                              24


                                                                                     Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 623 of 1677




(See CISA and FBI Joint Cyber Security Advisory of October 30, 2020, a copy attached hereto as

Exh. 18.)

    73. An analysis of the Dominion software system by a former US Military Intelligence

expert subsequently found that the Dominion Voting system and software are accessible - and was

compromised by rogue actors, including foreign interference by Iran and China. (See Exh. 1,

Spider Declaration, (who remains redacted for security reasons).)

    74. The expert does an analysis and explains how by using servers and employees connected

with rogue actors and hostile foreign influences combined with numerous easily discoverable

leaked credentials, Dominion allowed foreign adversaries to access data and intentionally provided

access to Dominion’s infrastructure in order to monitor and manipulate elections, including the

most recent one in 2020. (See Exh. 12, Spider Declaration. Several facts are set forth related to

foreign members of Dominion Voting Systems and foreign servers as well as foreign

interference.).

    75. Another Declarant first explains the foundations of her opinion and then addresses the

concerns of foreign interference in our elections through hardware components from companies

based in foreign countries with adverse interests. She explains that Dominion Voting Systems

works with SCYTL, and that votes on route, before reporting, go to SCYTL in foreign countries.

On the way, they get mixed and an algorithm is applied, which is done through a secretive process.

        The core software used by ALL SCYTL related Election Machine/Software
        manufacturers ensures “anonymity” Algorithms within the area of this “shuffling”
        to maintain anonymity allows for setting values to achieve a desired goal under the
        guise of “encryption” in the trap-door…

        (See Exh. 13, Aff. of Computer analysis, at par. 32).

    76. The Affiant goes on to explain the foreign relationships in the hardware used by

Dominion Voting Systems and its subsidiary Sequoia and explains specifically the port that

                                                25


                                                                                       Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 624 of 1677




Wisconsin uses, which is called Edge Gateway and that is a part of Akamai Technologies based in

Germany:

       “Wisconsin has EDGE GATEWAY port which is AKAMAI TECHNOLOGIES
       based out of GERMANY. Using AKAMAI Technologies is allowing .gov sites to
       obfuscate and mask their systems by way of HURRICANE ELECTRIC (he.net)”

    77. This Declarant further explains the foundations of her opinion and then addresses the

concerns of foreign interference in our elections through hardware components from companies

based in foreign countries with adverse interests.

       The concern is the HARDWARE and the NON – ACCREDITED VSTLs as by
       their own admittance use COTS. The purpose of VSTL’s being accredited and their
       importance is ensuring that there is no foreign interference / bad actors accessing
       the tally data via backdoors in equipment software. The core software used by ALL
       SCYTL related Election Machine/Software manufacturers ensures “anonymity”.
       Algorithms within the area of this “shuffling” to maintain anonymity allows
       for setting values to achieve a desired goal under the guise of “encryption” in
       the trap-door…

       (See Id. at ¶32).

    78. This Declarant goes on to explain the foreign relationships in the hardware used by

Dominion Voting Systems and its subsidiary Sequoia and specifically the port that Wisconsin uses:

       “Wisconsin has EDGE GATEWAY port which is AKAMAI TECHNOLOGIES
       based out of GERMANY. Using AKAMAI Technologies is allowing .gov sites to
       obfuscate and mask their systems by way of HURRICANE ELECTRIC (he.net)
       Kicking it to anonymous (AKAMAI Technologies) offshore servers.
       Wisconsin Port.

       China is not the only nation involved in COTS provided to election machines or the
       networking but so is Germany via a LAOS founded Chinese linked cloud service
       company that works with SCYTL named Akamai Technologies that have offices
       in China and are linked to the server [for] Dominion Software.

       (See Id. at par. 21).

    79. The Affiant explains the use of an algorithm and how it presents throughout the statement,

but specifically concludes that,

                                                26


                                                                                      Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 625 of 1677




       The “Digital Fix” observed with an increased spike in VOTES for Joe Biden
       can be determined as evidence of a pivot. Normally it would be assumed that the
       algorithm had a Complete Pivot. Wilkinson’s demonstrated the guarantee as:




       Such a conjecture allows the growth factor the ability to be upper bound by values
       closer to n. Therefore, complete pivoting can’t be observed because there would be
       too many floating points. Nor can partial as the partial pivoting would overwhelm
       after the “injection” of votes. Therefore, external factors were used which is evident
       from the “DIGITAL FIX.” (See Id. at pars. 67-69)

       “The algorithm looks to have been set to give Joe Biden a 52% win even with an
       initial 50K+ vote block allocation was provided initially as tallying began (as in
       case of Arizona too). In the am of November 4, 2020 the algorithm stopped
       working, therefore another “block allocation” to remedy the failure of the
       algorithm. This was done manually as ALL the SYSTEMS shut down
       NATIONWIDE to avoid detection.”

       (See Id. at par. 73)

           2. Background of Dominion Connections to Smartmatic and Hostile
              Foreign Governments.

    80. An expert analysis by Russ Ramsland agrees with the data reflecting the use of an

algorithm that causes the spike in the data feed, which is shown to be an injection of votes to

change the outcome, because natural reporting does not appear in such a way.

    81. And Russ Ramsland can support that further by documenting the data feed that came from

Dominion Voting Systems to Scytl -- and was reported with decimal points, which is contrary to

one vote as one ballot: “The fact that we observed raw vote data coming directly that includes

decimal places establishes selection by an algorithm, and not individual voter’s choice.

Otherwise, votes would be solely represented as whole numbers (votes cannot possibly be

added up and have decimal places reported).”

    82. The report concludes that “Based on the foregoing, I believe these statistical anomalies

and impossibilities compels the conclusion to a reasonable degree of professional certainty that the
                                                27


                                                                                         Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 626 of 1677




vote count in Wisconsin, in particular for candidates for President contain at least 119,430 (Para.

13) up to 384,085 (Para. 15) illegal votes that must be disregarded. In my opinion, it is not possible

at this time to determine the true results of the Wisconsin vote for President of the United States.”

                             The History of Dominion Voting Systems

       83. Plaintiffs can also show Smartmatic’s incorporation and inventors who have

backgrounds evidencing their foreign connections, including Serbia, specifically its

identified inventors:

         Applicant: SMARTMATIC, CORP.

         Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic, Jeffrey
         Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli, Gisela
         Goncalves, Yrem Caruso6

       84. Another Affiant witness testifies that in Venezuela, she was in official position

related to elections and witnessed manipulations of petitions to prevent a removal of

President Chavez and because she protested, she was summarily dismissed. She explains

the vulnerabilities of the electronic voting system and Smartmatica to such manipulations.

(See Ex. 17, Cardozo Aff. ¶8).

             3. US Government Warnings Regarding Hacking by Hostile Foreign
                Governments.

       85. In October of 2020 The FBI and CISA issued a JOINT CYBERSECURITY

ADVISORY ON October 30, 2020 titled: Iranian Advanced Persistent Threat Actor Identified

Obtained Voter Registration Data

         This joint cybersecurity advisory was coauthored by the Cybersecurity and
         Infrastructure Security Agency (CISA) and the Federal Bureau of Investigation
         (FBI). CISA and the FBI are aware of an Iranian advanced persistent threat (APT)
         actor targeting U.S. state websites to include election websites. CISA and the FBI

   6
    See Patents Assigned to Smartmatic Corp., available at:
https://patents.justia.com/assignee/smartmatic-corp
                                                 28


                                                                                          Exhibit J
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 627 of 1677




         assess this actor is responsible for the mass dissemination of voter intimidation
         emails to U.S. citizens and the dissemination of U.S. election-related
         disinformation in mid-October 2020.1 (Reference FBI FLASH message ME-
         000138-TT, disseminated October 29, 2020). Further evaluation by CISA and the
         FBI has identified the targeting of U.S. state election websites was an intentional
         effort to influence and interfere with the 2020 U.S. presidential election.

         (See Ex. 18, CISA and FBI Joint Cyber Security Advisory of October 30, 2020)

       D. Additional Independent Findings of Dominion Flaws.

      86. Further supportive of this pattern of incidents, reflecting an absence of mistake, Plaintiffs

have since learned that the “glitches” in the Dominion system, that have the uniform effect of

hurting Trump and helping Biden, have been widely reported in the press and confirmed by the

analysis of independent experts.

             1. Central Operator Can Remove, Discard or Manipulate Votes.

      87. Mr. Watkins further explains that the central operator can remove or discard batches

of votes. “After all of the ballots loaded into the scanner’s feed tray have been through the scanner,

the “ImageCast Central” operator will remove the ballots from the tray then have the option to

either “Accept Batch” or “Discard Batch” on the scanning menu …. “ (Ex. 106, Watkins aff. ¶11).

¶8.

      88. Mr. Watkins further testifies that the user manual makes clear that the system allows for

threshold settings to be set to find all ballots get marked as “problem ballots” for discretionary

determinations on where the vote goes stating:

         9. During the ballot scanning process, the “ImageCast Central” software will detect
         how much of a percent coverage of the oval was filled in by the voter. The
         Dominion customer determines the thresholds of which the oval needs to be
         covered by a mark in order to qualify as a valid vote. If a ballot has a marginal mark
         which did not meet the specific thresholds set by the customer, then the ballot is
         considered a “problem ballot” and may be set aside into a folder named
         “NotCastImages”.



                                                  29


                                                                                           Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 628 of 1677




       10. Through creatively tweaking the oval coverage threshold settings, and
       advanced settings on the ImageCase Central scanners, it may be possible to set
       thresholds in such a way that a non-trivial amount of ballots are marked “problem
       ballots” and sent to the “NotCastImages” folder.

       11. The administrator of the ImageCast Central work station may view all images
       of scanned ballots which were deemed “problem ballots” by simply navigating
       via the standard “Windows File Explorer” to the folder named “NotCastImages”
       which holds ballot scans of “problem ballots”. It may be possible for an
       administrator of the “ImageCast Central” workstation to view and delete any
       individual ballot scans from the “NotCastImages” folder by simply using the
       standard Windows delete and recycle bin functions provided by the Windows 10
       Pro operating system. Id. ¶¶ 9-11.

            2. Dominion – By Design – Violates Federal Election & Voting Record
               Retention Requirements.

    89. The Dominion System put in place by its own design violates the intent of Federal law

on the requirement to preserve and retain records – which clearly requires preservation of all

records requisite to voting in such an election.

       § 20701. Retention and preservation of records and papers by officers of
       elections; deposit with custodian; penalty for violation

       Every officer of election shall retain and preserve, for a period of twenty-
       two months from the date of any general, special, or primary election of
       which candidates for the office of President, Vice President, presidential
       elector, Member of the Senate, Member of the House of Representatives, or
       Resident Commissioner from the Commonwealth of Puerto Rico are voted
       for, all records and papers which come into his possession relating to
       any application, registration, payment of poll tax, or other act requisite
       to voting in such election, except that, when required by law, such records
       and papers may be delivered to another officer of election and except that,
       if a State or the Commonwealth of Puerto Rico designates a custodian to
       retain and preserve these records and papers at a specified place, then such
       records and papers may be deposited with such custodian, and the duty to
       retain and preserve any record or paper so deposited shall devolve upon
       such custodian. Any officer of election or custodian who willfully fails to
       comply with this section shall be fined not more than $1,000 or imprisoned
       not more than one year, or both.

See 52 USC § 20701.



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                                                                                     Exhibit J
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 629 of 1677




          3. Dominion Vulnerabilities to Hacking.

    90. Plaintiffs have since learned that the “glitches” in the Dominion system -- that

have the uniform effect of hurting Trump and helping Biden -- have been widely reported

in the press and confirmed by the analysis of independent experts, a partial summary of

which is included below.

       (1) Users on the ground have full admin privileges to machines and
           software. The Dominion system is designed to facilitate vulnerability
           and allow a select few to determine which votes will be counted in any
           election. Workers were responsible for moving ballot data from polling
           place to the collector’s office and inputting it into the correct folder. Any
           anomaly, such as pen drips or bleeds, is not counted and is handed over
           to a poll worker to analyze and decide if it should count. This creates
           massive opportunity for improper vote adjudication. (Ex. 106 Watkins
           aff. ¶¶8 & 11).

       (2) Affiant witness (name redacted for security reasons), in his sworn
           testimony explains he was selected for the national security guard detail
           of the President of Venezuela, and that he witnessed the creation of
           Smartmatic for the purpose of election vote manipulation:

          I was witness to the creation and operation of a sophisticated electronic
          voting system that permitted the leaders of the Venezuelan government
          to manipulate the tabulation of votes for national and local elections and
          select the winner of those elections in order to gain and maintain their
          power. Importantly, I was a direct witness to the creation and operation
          of an electronic voting system in a conspiracy between a company
          known as Smartmatic and the leaders of conspiracy with the Venezuelan
          government. This conspiracy specifically involved President Hugo
          Chavez Frias, the person in charge of the National Electoral Council
          named Jorge Rodriguez, and principals, representatives, and personnel
          from Smartmatic which included … The purpose of this conspiracy was
          to create and operate a voting system that could change the votes in
          elections from votes against persons running the Venezuelan
          government to votes in their favor in order to maintain control of the
          government. (Id. ¶¶6, 9, 10).

    91. Specific vulnerabilities of the systems in question that have been well documented

or reported include:

       A. Barcodes can override the voters’ vote: As one University of California,
          Berkeley study shows, “In all three of these machines [including
                                          31


                                                                                    Exhibit J
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 630 of 1677




          Dominion Voting Systems] the ballot marking printer is in the same
          paper path as the mechanism to deposit marked ballots into an attached
          ballot box. This opens up a very serious security vulnerability: the
          voting machine can make the paper ballot (to add votes or spoil already-
          case votes) after the last time the voter sees the paper, and then deposit
          that marked ballot into the ballot box without the possibility of
          detection.” (See Ex. 2, Appel Study).

       B. Voting machines were able to be connected to the internet by way of
          laptops that were obviously internet accessible. If one laptop was
          connected to the internet, the entire precinct was compromised.

       C. October 6, 2006 – Congresswoman Carolyn Maloney calls on
          Secretary of Treasury Henry Paulson to conduct an investigation
          into Smartmatic based on its foreign ownership and ties to
          Venezuela. (See Ex. 15). Congresswoman Maloney wrote that “It is
          undisputed that Smartmatic is foreign owned and it has acquired Sequoia
          … Smartmatic now acknowledged that Antonio Mugica, a Venezuelan
          businessman has a controlling interest in Smartmatica, but the company
          has not revealed who all other Smartmatic owners are. Id.

       D. Dominion “got into trouble” with several subsidiaries it used over
          alleged cases of fraud. One subsidiary is Smartmatic, a company “that
          has played a significant role in the U.S. market over the last decade.”7
          Dominion entered into a 2009 contract with Smartmatic and provided
          Smartmatic with the PCOS machines (optical scanners) that were used
          in the 2010 Philippine election, the biggest automated election run by a
          private company. The automation of that first election in the Philippines
          was hailed by the international community and by the critics of the
          automation. The results transmission reached 90% of votes four hours
          after polls closed and Filipinos knew for the first time who would be
          their new president on Election Day. In keeping with local Election law
          requirements, Smartmatic and Dominion were required to provide the
          source code of the voting machines prior to elections so that it could be
          independently verified. Id.

       E. Litigation over Smartmatic “glitches” alleges they impacted the 2010
          and 2013 mid-term elections in the Philippines, raising questions of
          cheating and fraud. An independent review of the source codes used in
          the machines found multiple problems, which concluded, “The software
          inventory provided by Smartmatic is inadequate, … which brings into


  7
     Voting Technology Companies in the U.S. – Their Histories and Present Contributions,
Access Wire, (Aug. 10, 2017), available at: https://www.accesswire.com/471912/Voting-
Technology-Companies-in-the-US--Their-Histories.
                                            32


                                                                                Exhibit J
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 631 of 1677




           question the software credibility.”8

        F. Dominion acquired Sequoia Voting Systems as well as Premier Election
           Solutions (formerly part of Diebold, which sold Premier to ES&S in
           2009, until antitrust issues forced ES&S to sell Premier, which then was
           acquired by Dominion). This map illustrates 2016 voting machine
           data—meaning, these data do not reflect geographic aggregation at the
           time of acquisition, but rather the machines that retain the Sequoia or
           Premier/Diebold brand that now fall under Dominion’s market share.
           Penn Wharton Study at 16.

        G. In late December of 2019, three Democrat Senators, Warren, Klobuchar,
           Wyden and House Member Mark Pocan wrote about their
           ‘particularized concerns that secretive & “trouble -plagued companies”‘
           “have long skimped on security in favor of convenience,” in the context
           of how they described the voting machine systems that three large
           vendors – Election Systems & Software, Dominion Voting Systems, &
           Hart InterCivic – collectively provide voting machines & software that
           facilitate voting for over 90% of all eligible voters in the U.S.” (See Ex.
           16).

        H. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting
           systems] are “yet another damning indictment of the profiteering
           election vendors, who care more about the bottom line than protecting
           our democracy.” It’s also an indictment, he said, “of the notion that
           important cybersecurity decisions should be left entirely to county
           election offices, many of whom do not employ a single cybersecurity
           specialist.”9

      92. The House of Representatives passed H.R. 2722 in an attempt to address these

very risks on June 27, 2019:

        This bill addresses election security through grant programs and
        requirements for voting systems and paper ballots.

        The bill establishes requirements for voting systems, including that
        systems (1) use individual, durable, voter-verified paper ballots; (2) make

  8
     Smartmatic-TIM Running Out of Time to Fix Glitches, ABS-CBN News (May 4, 2010),
available at: https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-
glitches.
  9
     Kim Zetter, Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite
Official Denials, VICE (Aug. 8, 2019) (“VICE Election Article”), available at:
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems have-been-left-
exposed-online-despite-official-denials.
                                              33


                                                                                     Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 632 of 1677




        a voter’s marked ballot available for inspection and verification by the
        voter before the vote is cast; (3) ensure that individuals with disabilities
        are given an equivalent opportunity to vote, including with privacy and
        independence, in a manner that produces a voter-verified paper ballot; (4)
        be manufactured in the United States; and (5) meet specified cybersecurity
        requirements, including the prohibition of the connection of a voting
        system to the internet.

        See H.R. 2722.

        E. Because Dominion Senior Management Has Publicly Expressed
           Hostility to Trump and Opposition to His Election, Dominion Is Not
           Entitled to Any Presumption of Fairness, Objectivity or
           Impartiality, and Should Instead Be Treated as a Hostile Partisan
           Political Actor.

    93. Dr. Eric Coomer is listed as the co-inventor for several patents on ballot

adjudication and voting machine-related technology, all of which were assigned to

Dominion.10 He joined Dominion in 2010, and most recently served as Voting Systems

Officer of Strategy and Director of Security for Dominion. Dr. Coomer first joined

Sequoia Voting Systems in 2005 as Chief Software Architect and became Vice President

of Engineering before Dominion Voting Systems acquired Sequoia.              Dr. Coomer’s

patented ballot adjudication technology into Dominion voting machines sold throughout



  10
     See “Patents by Inventor Eric Coomer,” available at:
https://patents.justia.com/inventor/eric-coomer. This page lists the following patents
issued to Dr. Coomer and his co-inventors: (1) U.S. Patent No. 9,202,113, Ballot
Adjudication in Voting Systems Utilizing Ballot Images (issued Dec. 1, 2015); (2) U.S.
Patent No. 8,913,787, Ballot Adjudication in Voting Systems Utilizing Ballot Images
(issued Dec. 16, 2014); (3) U.S. Patent No. 8,910,865, Ballot Level Security Features for
Optical Scan Voting Machine Capable of Ballot Image Processing, Secure Ballot
Printing, and Ballot Layout Authentication and Verification (issued Dec. 16, 2014); (4)
U.S. Patent No. 8,876,002, Systems for Configuring Voting Machines, Docking Device
for Voting Machines, Warehouse Support and Asset Tracking of Voting Machines (issued
Nov. 4, 2014); (5) U.S. Patent No. 8,864,026, Ballot Image Processing System and
Method for Voting Machines (issued Oct. 21, 2014); (6) U.S. Patent No. 8,714,450,
Systems and Methods for Transactional Ballot Processing, and Ballot Auditing (issued
May 6, 2014), available at: https://patents.justia.com/inventor/eric-coomer.
                                             34


                                                                                  Exhibit J
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 633 of 1677




the United States, including those used in Wisconsin. (See attached hereto Exh 6, Jo

Oltmann Aff.).

    94. In 2016, Dr. Coomer admitted to the State of Illinois that Dominion Voting

machines can be manipulated remotely.11 He has also publicly posted videos explaining

how Dominion voting machines can be remotely manipulated. See Id.12

    95. Dr. Coomer has emerged as Dominion’s principal defender, both in litigation

alleging that Dominion rigged elections in Georgia and in the media. An examination of

his previous public statements has revealed that Dr. Coomer is highly partisan and even

more anti-Trump, precisely the opposite of what would expect from the management of

a company charged with fairly and impartially counting votes (which is presumably why

he tried to scrub his social media history). (See Id.)

    96. Unfortunately for Dr. Coomer, however, a number of these posts have been

captured for perpetuity. Below are quotes from some of his greatest President Trump and

Trump voter hating hits to show proof of motive and opportunity. (See Id).

        If you are planning to vote for that autocratic, narcissistic, fascist ass-hat
        blowhard and his Christian jihadist VP pic, UNFRIEND ME NOW! No,
        I’m not joking. … Only an absolute F[**]KING IDIOT could ever vote for
        that wind-bag fuck-tard FASCIST RACIST F[**]K! … I don’t give a damn
        if you’re friend, family, or random acquaintance, pull the lever, mark an
        oval, touch a screen for that carnival barker … UNFRIEND ME NOW! I
        have no desire whatsoever to ever interact with you. You are beyond hope,
        beyond reason. You are controlled by fear, reaction and bullsh[*]t. Get
        your shit together. F[**]K YOU! Seriously, this f[**]king ass-clown stands

  11
     Jose Hermosa, Electoral Fraud: Dominion’s Vice President Warned in 2016 That Vote-
Counting Systems Are Manipulable, The BL (Nov. 13, 2020), available at: https://thebl.com/us-
news/electoral-fraud-dominions-vice-president-warned-in-2016-that-vote-counting-systems-are-
manipulable.html.
  12
      See, e.g., “Eric Coomer Explains How to Alter Votes in the Dominion Voting System” (Nov.
24, 2020) (excerpt of presentation delivered in Chicago in 2017), available at:
https://www.youtube.com/watch?v=UtB3tLaXLJE.
                                             35


                                                                                   Exhibit J
        Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 634 of 1677




         against everything that makes this country awesome! You want in on that?
         You [Trump voters] deserve nothing but contempt. Id. (July 21, 2016
         Facebook post).13

    97. In a rare moment of perhaps unintentional honesty, Dr. Coomer anticipates this

Complaint and many others, by slandering those seeking to hold election riggers like

Dominion to account and to prevent the United States’ descent into Venezuelan levels of

voting fraud and corruption out of which Dominion was born:

         Excerpts in stunning Trump-supporter logic, “I know there is a lot of voter
         fraud. I don’t know who is doing it, or how much is happening, but I know
         it is going on a lot.” This beautiful statement was followed by, “It happens
         in third world countries, this the US, we can’t let it happen here.” Id.
         (October 29, 2016 Facebook post); (See also Exh. 6)

        1. Dr. Coomer, who invented the technology for Dominion’s voting fraud and has

publicly explained how it can be used to alter votes, seems to be extremely hostile to those

who would attempt to stop it and uphold the integrity of elections that underpins the

legitimacy of the United States government:

         And in other news… There be some serious fuckery going on right here
         fueled by our Cheeto-in-Chief stoking lie after lie on the flames of [Kris]
         Kobach… [Linking Washington Post article discussing the Presidential
         Advisory Commission on Election Integrity, of which former Kansas
         Secretary of State Kris Kobach was a member, entitled, “The voting
         commission is a fraud itself. Shut it down.”] Id. (September 14, 2017
         Facebook post.] (Id.)

    98. Dr. Coomer also keeps good company, supporting and reposting ANTIFA

statements slandering President Trump as a “fascist” and by extension his supporters,

voters and the United States military (which he claims, without evidence, Trump will

make into a “fascist tool”). Id. (June 2, 2020 Facebook post). Lest someone claims that these



   13
     In this and other quotations from Dr. Coomer’s social media, Plaintiffs have redacted certain
profane terms.
                                               36


                                                                                      Exhibit J
        Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 635 of 1677




are “isolated statements” “taken out of context”, Dr. Coomer has affirmed that he shares

ANTIFA’s taste in music and hatred of the United States of America, id. (May 31, 2020 Facebook

post linking “F[**]k the USA” by the exploited), and the police. Id. (separate May 31, 2020

Facebook posts linking N.W.A. “F[**]k the Police” and a post promoting phrase “Dead Cops”).

Id. at 4-5.

        99. Affiant and journalist Joseph Oltmann researched ANTIFA in Colorado. Id. at

1. “On or about the week of September 27, 2020,” he attended an Antifa meeting which

appeared to be between Antifa members in Colorado Springs and Denver Colorado,”

where Dr. Coomer was present. In response to a question as to what Antifa would do “if

Trump wins this … election?”, Dr. Coomer responded “Don’t worry about the election.

Trump is not going to win. I made f[**]king sure of that … Hahaha.” Id. at 2.

   100. By putting an anti-Trump zealot like Dr. Coomer in charge of election “Security,” and

using his technology for what should be impartial “ballot adjudication,” Dominion has given the

fox the keys to the hen house and has forfeited any presumption of objectivity, fairness, or even

propriety. It appears that Dominion does not care about even an appearance of impropriety, as its

most important officer has his fingerprints all over a highly partisan, vindictive, and personal

vendetta against the Republican nominee both in 2016 and 2020, President Donald Trump. Dr.

Coomer’s highly partisan anti-Trump rages show clear motive on the part of Dominion to rig the

election in favor of Biden, and may well explain why for each of the so-called “glitches”

uncovered, it is always Biden receiving the most votes on the favorable end of such a “glitch.”

(Id.)

   101. In sum, as set forth above, for a host of independent reasons, the Wisconsin

election results concluding that Joe Biden received 20,608 more votes that President

                                               37


                                                                                      Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 636 of 1677




Donald Trump must be set aside.

                                             COUNT I

       Defendants Violated the Elections and Electors Clauses and 42 U.S.C. § 1983.

   102. Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

   103. The Electors Clause states that “[e]ach State shall appoint, in such Manner as the

Legislature thereof may direct, a Number of Electors” for President. U.S. Const. art. II, §1, cl. 2

(emphasis added). Likewise, the Elections Clause of the U.S. Constitution states that “[t]he Times,

Places, and Manner of holding Elections for Senators and Representatives, shall be prescribed in

each State by the Legislature thereof.” U.S. Const. art. I, § 4, cl. 1 (emphasis added).

   104. The Legislature is “‘the representative body which ma[kes] the laws of the

people.’” Smiley v. Holm, 285 U.S. 355, 365 (1932). Regulations of congressional and

presidential elections, thus, “must be in accordance with the method which the state has

prescribed for legislative enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz.

Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

   105. Defendants are not part of the Wisconsin Legislature and cannot exercise

legislative power. Because the United States Constitution reserves for the Wisconsin

Legislature the power to set the time, place, and manner of holding elections for the

President and Congress, county boards of elections and state executive officers have no

authority to unilaterally exercise that power, much less to hold them in ways that conflict

with existing legislation.

   106. Section I details three separate instances where Defendants violated the

Wisconsin Election Code. First, the WEC May 23, 2020 “guidance”, see Ex. 16, on the

treatment of “indefinitely confined” voters, who are exempt from Wisconsin’s photo ID


                                                 38


                                                                                           Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 637 of 1677




requirement for absentee ballot application, that directly contravened the express

requirement in Wisconsin Election Code that clerks “shall” remove an allegedly

“indefinitely confined” voter if the clerk has “reliable information” that that voter is not,

or is no longer, “indefinitely confined.” Second, the WEC’s October 18, 2016, see Ex.

18, directed clerks to violate the express requirements of Wisconsin Statutes § 6.87(6)(d),

which states “[i]f a certificate is missing the address of a witness the ballot may not be

counted,” when it directed clerks to fill in missing information on absentee ballot

envelopes. Third, WEC and Wisconsin election officials violated Wisconsin Election

Code, or acted ultra vires, insofar as they filled in missing witness or voter information

on absentee ballots and permitted voters to cure ballots without statutory authorization.

Section II provides expert witness testimony quantifying the number of illegal or

ineligible ballots that were counted, and lawful ballots that were not, as a result of these

and Defendants’ other violations.

   107. A report from Dr. William Briggs, shows that there were approximately 29,594 absentee

ballots listed as “unreturned” by voters that either never requested them, or that requested and

returned their ballots.

   108. Evidence compiled by Matt Braynard using the National Change of Address (“NCOA”)

Database shows that 6,207 Wisconsin voters in the 2020 General Election moved out-of-state prior

to voting, and therefore were ineligible. Mr. Braynard also identified 765 Wisconsin voters who

subsequently registered to vote in another state and were therefore ineligible to vote in the 2020

General Election. The merged number is 6,966 ineligible voters whose votes must be removed

from the total for the 2020 General Election.

   109. Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

                                                39


                                                                                      Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 638 of 1677




harm unless the injunctive relief requested herein is granted. Defendants have acted and,

unless enjoined, will act under color of state law to violate the Elections Clause.

   110. Accordingly, the results for President in the November 3, 2020 election must be

set aside, the State of Wisconsin should be enjoined from transmitting the certified the

results thereof, and this Court should grant the other declaratory and injunctive relief

requested herein.

                                         COUNT II

             Governor Evers and Other Defendants Violated The Equal
            Protection Clause of the Fourteenth Amendment U.S. Const.
                          Amend. XIV & 42 U.S.C. § 1983

             Invalid Enactment of Regulations & Disparate Treatment of
                            Absentee vs. Mail-In Ballots

   111. Plaintiffs refer to and incorporate by reference each of the prior paragraphs of this

Complaint as though the same were repeated at length herein.

   112. The Fourteenth Amendment of the United States Constitution provides “nor shall any

state deprive any person of life, liberty, or property, without due process of law; nor deny

to any person within its jurisdiction the equal protection of the laws. See also Bush v.

Gore, 531 U.S. 98, 104 (2000) (having once granted the right to vote on equal terms, the

State may not, by later arbitrary and disparate treatment, value one person’s vote over the

value of another’s). Harper v. Va. Bd. of Elections, 383 U.S. 663, 665 (1966) (“Once the

franchise is granted to the electorate, lines may not be drawn which are inconsistent with

the Equal Protection Clause of the Fourteenth Amendment.”). The Court has held that to

ensure equal protection, a problem inheres in the absence of specific standards to ensure

its equal application. Bush, 531 U.S. at 106 (“The formulation of uniform rules to

determine intent based on these recurring circumstances is practicable and, we conclude,
                                              40


                                                                                  Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 639 of 1677




necessary.”).

   113. The equal enforcement of election laws is necessary to preserve our most basic

and fundamental rights. The requirement of equal protection is particularly stringently

enforced as to laws that affect the exercise of fundamental rights, including the right to

vote.

   114. The disparate treatment of Wisconsin voters, in subjecting one class of voters to greater

burdens or scrutiny than another, violates Equal Protection guarantees because “the right of

suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

effectively as by wholly prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555.

Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown Grp., Inc.,

638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince v. Bear

River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d 524, 536-37 (Utah 2002).

   115. In statewide and federal elections conducted in the State of Wisconsin, including

without limitation the November 3, 2020 General Election, all candidates, political

parties, and voters, including without limitation Plaintiffs, in having the election laws

enforced fairly and uniformly.

   116. As set forth in Section I above, Defendants failed to comply with the requirements

of the Wisconsin Election Code and thereby diluted the lawful ballots of the Plaintiffs and

of other Wisconsin voters and electors in violation of the United States Constitution

guarantee of Equal Protection. Further, Defendants enacted regulations, or issued

guidance, that had the intent and effect of favoring one class of voters – Democratic

absentee voters – over Republican voters. Further, all of these invalidly enacted rules by

Defendant Wisconsin executive and administrative agencies, had the intent and effect of

                                                41


                                                                                        Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 640 of 1677




eliminating protections against voter fraud, and thereby enabled and facilitated the

counting of fraudulent, unlawful and ineligible votes, which were quantified in Section

II. Finally, Section III details the additional voting fraud and manipulation enabled by

the use Dominion voting machines, which had the intent and effect of favoring Biden and

Democratic voters and discriminating against Trump and Republican voters.

   117. Defendants have acted and will continue to act under color of state law to violate

Plaintiffs’ right to be present and have actual observation and access to the electoral

process as secured by the Equal Protection Clause of the United States Constitution.

Defendants thus failed to conduct the general election in a uniform manner as required by

the Equal Protection Clause of the Fourteenth Amendment, the corollary provisions of the

Wisconsin Constitution, and the Wisconsin Election Code.

   118. Plaintiffs seek declaratory and injunctive relief forbidding Defendants from

certifying a tally that includes any ballots that were not legally cast, or that were switched

from Trump to Biden through the unlawful use of Dominion Democracy Suite software

and devices.

   119. The Briggs analysis identified two specific errors involving unreturned mail-in ballots

that are indicative of voter fraud, namely: “Error #1: those who were recorded as receiving

absentee ballots without requesting them;” and “Error #2: those who returned absentee ballots

but whose votes went missing (i.e., marked as unreturned).” Clearly the dilution of lawful votes

violates the Equal Protection clause; and the counting of unlawful votes violates the rights of

lawful Citizens.

   120. In addition, Plaintiffs ask this Court to order that no ballot processed by a counting

board in the Wisconsin Counties can be included in the final vote tally unless a challenger

                                              42


                                                                                     Exhibit J
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 641 of 1677




was allowed to meaningfully observe the process and handling and counting of the ballot,

or that were unlawfully switched from Trump to Biden.

   121. Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

harm unless the declaratory and injunctive relief requested herein is granted. Indeed, the

setting aside of an election in which the people have chosen their representative is a

drastic remedy that should not be undertaken lightly, but instead should be reserved for

cases in which a person challenging an election has clearly established a violation of

election procedures and has demonstrated that the violation has placed the result of the

election in doubt. Wisconsin law allows elections to be contested through litigation, both

as a check on the integrity of the election process and as a means of ensuring the

fundamental right of citizens to vote and to have their votes counted accurately.

                                      COUNT III

             Fourteenth Amendment, Amend. XIV & 42 U.S.C. § 1983

                     Denial of Due Process On The Right to Vote

   122. Plaintiffs refer to and incorporate by reference each of the prior paragraphs of

this Complaint as though the same were repeated at length herein.

   123. The right of qualified citizens to vote in a state election involving federal

candidates is recognized as a fundamental right under the Fourteenth Amendment of the

United States Constitution. Harper, 383 U.S. at 665. See also Reynolds, 377 U.S. at 554

(The Fourteenth Amendment protects the “the right of all qualified citizens to vote, in

state as well as in federal elections.”). Indeed, ever since the Slaughter-House Cases, 83

U.S. 36 (1873), the United States Supreme Court has held that the Privileges or

Immunities Clause of the Fourteenth Amendment protects certain rights of federal

                                           43


                                                                                Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 642 of 1677




citizenship from state interference, including the right of citizens to directly elect

members of Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex

parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400 U.S.

112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

   124. The fundamental right to vote protected by the Fourteenth Amendment is

cherished in our nation because it “is preservative of other basic civil and political rights.”

Reynolds, 377 U.S. at 562. Voters have a “right to cast a ballot in an election free from

the taint of intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211 (1992), and

“[c]onfidence in the integrity of our electoral processes is essential to the functioning of

our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

   125. “Obviously included within the right to [vote], secured by the Constitution, is the

right of qualified voters within a state to cast their ballots and have them counted” if they

are validly cast. United States v. Classic, 313 U.S. 299, 315 (1941). “[T]he right to have

the vote counted” means counted “at full value without dilution or discount.” Reynolds,

377 U.S. at 555, n.29 (quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J.,

dissenting)).

   126. “Every voter in a federal . . . election, whether he votes for a candidate with little

chance of winning or for one with little chance of losing, has a right under the Constitution

to have his vote fairly counted, without its being distorted by fraudulently cast votes.”

Anderson v. United States, 417 U.S. 211, 227 (1974); see also Baker v. Carr, 369 U.S.

186, 208 (1962). Invalid or fraudulent votes “debase[]” and “dilute” the weight of each

validly cast vote. See Anderson, 417 U.S. at 227.

   127. The right to vote includes not just the right to cast a ballot, but also the right to have it

                                                 44


                                                                                         Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 643 of 1677




fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or diluted by

a fraudulent or illegal vote, including without limitation when a single person votes multiple times.

The Supreme Court of the United States has made this clear in case after case. See, e.g., Gray v.

Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the diluting effect of illegal

ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196 (2008) (plurality op. of

Stevens, J.) (“There is no question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 &

n.29 (1964).

   128. The right to an honest [count] is a right possessed by each voting elector, and to

the extent that the importance of his vote is nullified, wholly or in part, he has been injured

in the free exercise of a right or privilege secured to him by the laws and Constitution of

the United States.” Anderson, 417 U.S. at 226 (quoting Prichard v. United States, 181

F.2d 326, 331 (6th Cir.), aff’d due to absence of quorum, 339 U.S. 974 (1950)).

   129. Practices that promote the casting of illegal or unreliable ballots or fail to contain

basic minimum guarantees against such conduct, can violate the Fourteenth Amendment

by leading to the dilution of validly cast ballots. See Reynolds, 377 U.S. at 555 (“[T]he

right of suffrage can be denied by a debasement or dilution of the weight of a citizen’s

vote just as effectively as by wholly prohibiting the free exercise of the franchise.”).

   130. Section I details the Defendants violations of the Wisconsin Election Code.

Section II provides estimates of the number of fraudulent, illegal or ineligible votes

counted, and demonstrates that this number is many times larger than Biden’s margin of

victory.

   131. Plaintiffs seek declaratory and injunctive relief enjoining Defendants from

                                                   45


                                                                                             Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 644 of 1677




certifying the results of the General Election, or in the alternative, conduct a recount or

recanvas in which they allow a reasonable number of challengers to meaningfully observe

the conduct of the Wisconsin Board of State Canvassers and the Wisconsin county Boards

of Canvassers and that these canvassing boards exercise their duty and authority under

Wisconsin law, which forbids certifying a tally that includes any ballots that were not

legally cast, or that were switched from Trump to Biden through the unlawful use of

Dominion Democracy Suite software and devices.

                                            COUNT IV

                                     Wide-Spread Ballot Fraud

   132. Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

   133. The scheme of civil fraud can be shown with the pattern of conduct that includes motive

and opportunity, as exhibited by the high level official at Dominion Voting Systems, Eric Coomer,

and his visceral and public rage against the current U.S. President.

   134. Opportunity appears with the secretive nature of the voting source code, and the feed of

votes that make clear that an algorithm is applied, that reports in decimal points despite the law

requiring one vote for one ballot.

   135. The results of the analysis and the pattern seen in the included graph strongly suggest a

systemic, system-wide algorithm was enacted by an outside agent, causing the results of

Wisconsin’s vote tallies to be inflated by somewhere between 3 and 5.6 percentage points.

Statistical estimating yields that in Wisconsin, the best estimate of the number of impacted votes

is 181,440. Id.

   136. The Reports cited above show a total amount of illegal votes identified that amount to

318,012 or over 15 times the margin by which candidate Biden leads President Trump in the state


                                                 46


                                                                                      Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 645 of 1677




of Wisconsin.

   137. The right to vote includes not just the right to cast a ballot, but also the right to have it

fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or diluted by

a fraudulent or illegal vote, including without limitation when a single person votes multiple times.

The Supreme Court of the United States has made this clear in case after case. See, e.g., Gray v.

Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the diluting effect of illegal

ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196 (2008) (plurality op. of

Stevens, J.) (“There is no question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 &

n.29 (1964).

   138. Plaintiffs have no adequate remedy at law. Plaintiffs contest the results of Wisconsin’s

2020 General Election because it is fundamentally corrupted by fraud. Defendants intentionally

violated multiple provisions of the Wisconsin Election Code to elect Biden and other Democratic

candidates and defeat President Trump and other Republican candidates.


                                      PRAYER FOR RELIEF

   139. Accordingly, Plaintiffs seek an emergency order instructing Defendants to de-certify the

results of the General Election for the Office of President.

   140. Alternatively, Plaintiffs seek an order instructing the Defendants to certify the results of

the General Election for Office of the President in favor of President Donald Trump.

   141. In the alternative, Plaintiffs seek an emergency order prohibiting Defendants from

including in any certified results from the General Election the tabulation of absentee and mailing

ballots which do not comply with the Wisconsin Election Code, including, without limitation, the

tabulation of absentee and mail-in ballots Trump Campaign’s watchers were prevented from
                                                   47


                                                                                             Exhibit J
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 646 of 1677




observing or based on the tabulation of invalidly cast absentee and mail-in ballots which (i) lack a

secrecy envelope, or contain on that envelope any text, mark, or symbol which reveals the elector’s

identity, political affiliation, or candidate preference, (ii) do not include on the outside envelope a

completed declaration that is dated and signed by the elector, (iii) are delivered in-person by third

parties for non-disabled voters, or (iv) any of the other Wisconsin Election Code violations set

forth in Section II of this Complaint.

   142. Order production of all registration data, ballot applications, ballots, envelopes, etc.

required to be maintained by law. When we consider the harm of these uncounted votes, and

ballots not ordered by the voters themselves, and the potential that many of these unordered ballots

may in fact have been improperly voted and also prevented proper voting at the polls, the mail

ballot system has clearly failed in the state of Wisconsin and did so on a large scale and widespread

basis. The size of the voting failures, whether accidental or intentional, are multiples larger than

the margin in the state. For these reasons, Wisconsin cannot reasonably rely on the results of the

mail vote. Relief sought is the elimination of the mail ballots from counting in the 2020 election.

Alternatively, the electors for the State of Wisconsin should be disqualified from counting toward

the 2020 election. Alternatively, the electors of the State of Wisconsin should be directed to vote

for President Donald Trump.

   143. For these reasons, Plaintiffs ask this Court to enter a judgment in their favor and provide

the following emergency relief:


       1.   An order directing Governor Evers and the Wisconsin Elections Commission

            to de-certify the election results;




                                                  48


                                                                                           Exhibit J
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 647 of 1677




 2.   An order enjoining Governor Evers from transmitting the currently certified

      election results the Electoral College;


 3.   An order requiring Governor Evers to transmit certified election results that

      state that President Donald Trump is the winner of the election;


 4.   An immediate emergency order to seize and impound all servers, software,

      voting machines, tabulators, printers, portable media, logs, ballot applications,

      ballot return envelopes, ballot images, paper ballots, and all “election

      materials” referenced in Wisconsin Statutes § 9.01(1)(b)11. related to the

      November 3, 2020 Wisconsin election for forensic audit and inspection by the

      Plaintiffs;


 5.   An order that no votes received or tabulated by machines that were not certified

      as required by federal and state law be counted;


 6.   A declaratory judgment declaring that Wisconsin’s failed system of signature

      verification violates the Electors and Elections Clause by working a de facto

      abolition of the signature verification requirement;


 7.   A declaratory judgment declaring that currently certified election results

      violate the Due Process Clause, U.S. CONST. Amend. XIV;


 8.   A declaratory judgment declaring that mail-in and absentee ballot fraud must

      be remedied with a Full Manual Recount or statistically valid sampling that

      properly verifies the signatures on absentee ballot envelopes and that


                                          49


                                                                                   Exhibit J
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 648 of 1677




      invalidates the certified results if the recount or sampling analysis shows a

      sufficient number of ineligible absentee ballots were counted;


 9.   A declaratory judgment declaring absentee ballot fraud occurred in violation

      of Constitutional rights, Election laws and under state law;


 10. A permanent injunction prohibiting the Governor and Secretary of State from

      transmitting the currently certified results to the Electoral College based on the

      overwhelming evidence of election tampering;


 11. Immediate production of 48 hours of security camera recording of all rooms

      used in the voting process at the TCF Center for November 3, 2020 and

      November 4, 2020.


 12. Plaintiffs further request the Court grant such other relief as is just and proper,

      including but not limited to, the costs of this action and their reasonable

      attorney fees and expenses pursuant to 42 U.S.C. 1988.




                                           50


                                                                                    Exhibit J
  Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 649 of 1677




Respectfully submitted, this 1st day of December, 2020.

                                         LEAD COUNSEL FOR PLAINTIFFS


                                         /s Sidney Powell**
                                         Sidney Powell PC
                                         Texas Bar No. 16209700
                                         (517) 763-7499
                                         sidney@federalappeals.com

                                         Of Counsel:
                                         Julia Z. Haller (D.C. Bar No. 466921) **
                                         Brandon Johnson (D.C. 491730) **
                                         Emily P. Newman (Virginia Bar No. 84265) **

                                         2911 Turtle Creek Blvd.
                                         Suite 300
                                         Dallas, Texas 75219

                                         L. Lin Wood **
                                         GA Bar No. 774588
                                         L. LIN WOOD, P.C.
                                         P.O. Box 52584
                                         Atlanta, GA 30305-0584
                                         Telephone: (404) 891-1402

                                         Howard Kleinhendler **
                                         New York Bar No. 2657120
                                         Howard Kleinhendler Esquire
                                         369 Lexington Avenue, 12th Floor
                                         New York, New York 10017
                                         (917) 793-1188
                                         howard@kleinhendler.com

                                         ** Applications for admission forthcoming




                                           51


                                                                                Exhibit J
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 650 of 1677




                               Local Counsel for Plaintiffs
                               Michael D. Dean
                               Wis. Bar No.01019171
                               P.O. Box 2545
                               Brookfield, WI 53008
                               (262) 798-8044
                               miked@michaelddeanllc.com


                               Daniel J. Eastman
                               Wis. Bar No.1011433
                               P.O. Box 158
                               Mequon, Wisconsin 53092
                               (414) 881-9383
                               daneastman@me.com




                                 52


                                                               Exhibit J
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 651 of 1677




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

                    Plaintiff,
                                                     Case No. 20-cv-1771-pp
      v.

WISCONSIN ELECTIONS COMMISSION,
COMMISSIONER ANN S. JACOBS,
MARK L. THOMSEN, JULIE M. GLANCEY,
COMMISSIONER MARGE BOSTELMANN,
COMMISSIONER DEAN KNUDSON,
ROBERT F. SPINDELL, JR. and TONY EVERS,

                    Defendants.


        ORDER GRANTING DEFENDANTS’ MOTIONS TO DISMISS
 (DKT. NOS. 51, 53), DENYING AS MOOT PLAINTIFF’S AMENDED MOTION
     FOR INJUNCTIVE RELIEF (DKT. NO. 6) AND DISMISSING CASE


      At 8:24 a.m. on Tuesday, December 1, 2020—twenty-eight days after the

November 3, 2020 general Presidential election, thirteen days after President

Donald J. Trump petitioned for a recount in Milwaukee and Dane Counties and

one day after the Wisconsin Elections Commission and the Governor certified

that Joseph R. Biden and Kamala D. Harris had received the highest number of

votes following that recount—two plaintiffs filed this lawsuit in federal court for

the Eastern District of Wisconsin. Although state law governs the election

process, the plaintiffs brought the suit in a federal court, asking that federal

court to order state officials to decertify the election results that state officials

had certified the day before, order the Governor not to transmit to the Electoral


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           Case 2:20-cv-01771-PP Filed 12/09/20 Page 1 of 45 Document 83
                                                                             Exhibit K
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 652 of 1677




College the certified results he’d transmitted the day before and order the

Governor to instead transmit election results that declared Donald Trump to be

“the winner of this election.”

      The election that preceded this lawsuit was emotional and often divisive.

The pleadings that have been filed over the past week are passionate and

urgent. People have strong, deep feelings about the right to vote, the freedom

and opportunity to vote and the value of their vote. They should. But the legal

question at the heart of this case is simple. Federal courts have limited

jurisdiction. Does a federal court have the jurisdiction and authority to grant

the relief this lawsuit seeks? The answer is no.

      Federal judges do not appoint the president in this country. One wonders

why the plaintiffs came to federal court and asked a federal judge to do so.

After a week of sometimes odd and often harried litigation, the court is no

closer to answering the “why.” But this federal court has no authority or

jurisdiction to grant the relief the remaining plaintiff seeks. The court will

dismiss the case.

I.    Background

      According to defendant the Wisconsin Elections Commission’s November

18, 2020 canvass results, 3,297,352 Wisconsin residents voted in the

November 3, 2020 general election for President. https://elections.wi.gov/

sites/elections.wi.gov/files/Statewide%20Results%20All%20Offices%20%28pre

-Presidential%20recount%29.pdf. Of those, 49.45%—1,630,673—voted for

Biden for President and Harris for Vice-President. Id. Biden and Harris received

                                         2

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 2 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 653 of 1677




approximately 20,600 more votes than Donald J. Trump for President and

Michael R. Pence for Vice-President. Id.

      Under Wis. Stat. §9.01(1)(a)(1), any candidate in an election where more

than 4,000 votes were cast for the office the candidate seeks and who trails the

leading candidate by no more than 1 percent of the total votes cast for that

office may petition for a recount. On November 18, 2020, Donald J. Trump filed

a recount petition seeking a recount of “all ballots in all wards in every City,

Village, Town and other voting unit in Dane and Milwaukee Counties.”

https://elections.wi.gov/sites/elections.wi.gov/files/2020-11/WEC%20-

%20Final%20Recount%20Order_0.pdf. The Wisconsin Elections Commission

granted that petition and ordered a recount “using the ballot count method

selected per Wis. Stat. § 5.90(1) unless otherwise ordered by a court per Wis.

Stat. § 5.90(2).” Id. The WEC ordered the recount to be completed by 12:00

p.m. on December 1, 2020. Id.

      The partial recount was completed on November 29, 2020.

https://elections.wi.gov/elections-voting/recount. On November 30, 2020, the

chair of the Wisconsin Elections Commission signed the statement of canvass

certifying that Joseph R. Biden and Kamala D. Harris received the greatest

number of votes and certified their electors. https://elections.wi.gov/sites/

elections.wi.gov/files/2020-11/Jacobs%20-%20Signed%20Canvass%20for%20

President%20-%20Vice%20President.pdf. The same day—November 30, 2020—

Wisconsin Governor Tony Evers announced that he had signed the Certificate

of Ascertainment for the electors for Biden and Harris.

                                         3

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 3 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 654 of 1677




https://content.govdelivery.com/accounts/WIGOV/bulletins/2aef6ff. The web

site for the National Archives contains the Certificate of Ascertainment signed

by Evers on November 30, 2020, certifying that out of 3,298,041 votes cast,

Biden and Harris and their electors received 1,630,866 votes, while Trump and

Pence and their electors received 1,610,184 votes. https://www.archives.gov/

files/electoral-college/2020/ascertainment-wisconsin.pdf.

      On December 1, 2020, Donald J. Trump filed a petition for an original

action in the Wisconsin Supreme Court. Trump v. Evers, Case No.

2020AP001971-OA (available at https://wscca.wicourts.gov). On December 3,

2020, the court denied leave to commence an original petition because under

Wis. Stat. §9.01(6), appeals from the board of canvassers or the Wisconsin

Elections Commission must be filed in circuit court. Dkt. No. 59-7. The same

day—December 3, 2020—Donald J. Trump filed lawsuits in Milwaukee and

Dane Counties. Trump v. Biden, Case No. 2020CV007092 (Milwaukee County

Circuit Court; Trump v. Biden, Case No. 2020CV002514 (Dane County Circuit

Court) (both available at https://wcca.wicourts.gov). Those cases have been

consolidated and are scheduled for hearing on December 10, 2020 at 1:30 (or

for December 11, 2020 at 9:00 a.m. if the parties are litigating in another

court).

      Meanwhile, on December 2, 2020, Donald J. Trump filed suit in federal

court for the Eastern District of Wisconsin, suing the defendants in this case

and others. Trump v. Wisconsin Elections Commission, et al., Case No. 20-cv-




                                        4

          Case 2:20-cv-01771-PP Filed 12/09/20 Page 4 of 45 Document 83
                                                                        Exhibit K
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 655 of 1677




1785-BHL (E.D. Wis.). There is an evidentiary hearing scheduled for December

10, 2020 at 9:00 a.m. by videoconference. Id. at Dkt. No. 45.

II.    Procedural History of the Case

       On December 1, 2020—the day after Governor Evers signed the

Certificate of Ascertainment—William Feehan and Derrick Van Orden filed a

complaint in the federal court for the Eastern District of Wisconsin. Dkt. No. 1.

Feehan identified himself as a resident of La Crosse, Wisconsin, a registered

voter and “a nominee of the Republican Party to be a Presidential Elector on

behalf of the State of Wisconsin.” Id. at ¶23. Van Orden was identified as a

resident of Hager City, Wisconsin and the 2020 Republican nominee for

Wisconsin’s Third Congressional District Seat for the U.S. House of

Representatives. Id. at ¶26. The complaint alleged that “Mr. Van Orden ‘lost’ by

approximately 10,000 votes to the Democrat incumbent,” and stated that

“[b]ecause of the illegal voting irregularities as will be shown below, Mr. Van

Orden seeks to have a new election ordered by this court in the Third District,

with that election being conducted under strict adherence with the Wisconsin

Election Code.” Id. at ¶27.

       The complaint alleged “massive election fraud, multiple violations of the

Wisconsin Election Code, see e.g., Wis. Stat. §§5.03, et seq., in addition to the

Election and Electors Clauses and Equal Protection Clause of the U.S.

Constitution” based on “dozens of eyewitnesses and the statistical anomalies

and mathematical impossibilities detailed in the affidavits of expert witnesses.”

Dkt. No. 1 at ¶1. The plaintiffs alleged four causes of action: (1) violation of the

                                         5

         Case 2:20-cv-01771-PP Filed 12/09/20 Page 5 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 656 of 1677




Elections and Electors Clauses and 42 U.S.C. §1983; (2) violation of the Equal

Protection Clause of the Fourteenth Amendment, 42 U.S.C. §1983 and the

“invalid enactment of regulations & disparate treatment of absentee vs. mail-in

ballots”; (3) denial of the Fourteenth Amendment due process right to vote and

42 U.S.C. §1983; and (4) “wide-spread ballot fraud.” Id. at ¶¶106-138.      The

plaintiffs asked for the following emergency relief:

      1.    An order directing Governor Evers and the Wisconsin
      Elections Commission to de-certify the election results:

      2.    An order enjoining Governor Evers from transmitting the
      currently certified election results [sic] the Electoral College;

      3.     An order requiring Governor Evers to transmit certified
      election results that state that President Donald Trump is the
      winner of the election;

      4.    An immediate emergency order to seize and impound all
      servers, software, voting machines, tabulators, printers, portable
      media, logs, ballot applications, ballot return envelopes, ballot
      images, paper ballots, and all “election materials” referenced in
      Wisconsin Statutes §9.01(1)(b)11 related to the November 3, 2020
      Wisconsin election for forensic audit and inspection by the Plaintiffs;

      5.    An order that no votes received or tabulated by machines that
      were not certified as required by federal and state law be counted;

      6.    A declaratory judgment declaring that Wisconsin’s failed
      system of signature verification violates the Electors and Elections
      Clause by working a de facto abolition of the signature verification
      requirement;

      7.     A declaratory judgment declaring that currently certified
      election results violate the Due Process Clause, U.S. Const. Amend.
      XIV;

      8.     A declaratory judgment declaring that mail-in and absentee
      ballot fraud must be remedied with a Full Manual Recount or
      statistically valid sampling that properly verifies the signatures on
      absentee ballot envelopes and that invalidates the certified results if


                                         6

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 6 of 45 Document 83
                                                                         Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 657 of 1677




      the recount or sampling analysis shows a sufficient number of
      ineligible absentee ballots were counted;

      9.    A declaratory judgment declaring absentee ballot fraud
      occurred in violation of Constitutional rights, Election laws and
      under state law;

      10. A permanent injunction prohibiting the Governor and
      Secretary of State from transmitting the currently certified results
      to the Electoral College based on the overwhelming evidence of
      election tampering;

      11. Immediate production of 48 hours of security camera
      recording of all rooms used in the voting process at the TCF Center1
      for November 3, 2020 and November 4, 2020;

      12. Plaintiffs further request the Court grant such relief as is just
      and proper including but not limited to, the costs of this action and
      their reasonable attorney fees and expenses pursuant to 42 U.S.C.
      §1988.

Id. at 50.

      With the complaint, the plaintiffs filed a motion for declaratory,

emergency, and permanent injunctive relief, dkt. no. 2, and memorandum in

support of that motion, dkt. no. 3. The motion stated that the specific relief the

plaintiff requested was set out in an attached order, dkt. no. 2 at 1, but there

was no order attached. The memorandum asked the court to grant the motion

and enter the proposed order, dkt. no. 3 at 10; again, no proposed order was

provided.

      Later that day, the plaintiffs filed a corrected motion for declaratory,

emergency, and permanent injunctive relief. Dkt. No. 6. The plaintiff did not file

a memorandum in support of this motion but did file a proposed order. Dkt.


1The plaintiff may be referring to the TCF convention center in Detroit,
Michigan; the court is unaware of a “TCF Center” in Wisconsin.
                                        7

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 7 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 658 of 1677




No. 1. The relief described in the proposed order was almost identical to the

relief requested in the complaint, with a notable exception. Instead of the

request for an order requiring production of forty-eight hours of security

camera footage from the TCF Center, the plaintiffs asked for an order

prohibiting “any wiping or alteration of data or other records or materials” from

voting machines, tabulations machines, servers, software and printers, and

any alteration or destruction of ballot applications, ballot return envelopes,

ballot images, paper ballots, registration lists, poll lists or other election

materials, “across the state of Wisconsin.” Dkt. No. 6-1 at 7-8.

      Two days later, plaintiff Freehan filed an amended complaint removing

Derrick Van Orden as a plaintiff. Dkt. No. 9. It differed from the original

complaint only in the removal of Van Orden as a plaintiff.

      Along with the amended complaint, the plaintiff filed a motion for

temporary restraining order and preliminary injunction “to be considered in an

expedited manner.” Dkt. No. 10. The plaintiff did not file a memorandum in

support of the motion; his main purpose in filing the amended motion appears

to have been to ask the court to rule on the motion quickly. The plaintiff

attached a proposed briefing schedule, suggesting that the court should require

the defendants to respond by 8:00 p.m. on Friday, December 4, 2020 and

require him to file his reply by 8:00 p.m. on Saturday, December 5, 2020; he

proposed to submit the matter on briefs without argument. Dkt. No. 10-1. The

defendants objected to this severely truncated schedule. Dkt. Nos. 25




                                          8

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 8 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 659 of 1677




(defendant Evers), 26 (defendants Wisconsin Election Commission and its

members).

      Construing the amended motion as a Civil L.R. 7(h) expedited, non-

dispositive motion for an expedited briefing schedule, the court granted the

request on December 4, 2020, setting a schedule that, while not as expedited

as the plaintiff requested, gave the parties a short leash. Dkt. No. 29.

      Wisconsin voter James Gesbeck filed a motion to intervene, dkt. no. 14,

and later an expedited motion to intervene, dkt. no. 33. The Democratic

National Committee (DNC) also sought to intervene. Dkt. No. 22. The court

denied both requests, dkt. nos. 41 (DNC), 74 (Gesbeck), but allowed both to file

amicus curiae briefs by the December 7, 2020 deadline it had set for the

defendants to oppose the plaintiff’s motion for injunctive relief, dkt. nos. 37

(Gesbeck), 41 (DNC).

      Recall that the plaintiff had not filed a memorandum in support of the

December 1, 2020 corrected motion for injunctive relief or in support of the

December 3, 2020 amended motion. On Sunday, December 6, 2020, the

plaintiff filed an amended memorandum in support of the motion. Dkt. No. 42.

In the first paragraph, the plaintiff indicated that he filed the amended

memorandum to “avoid possible confusion from removal of Mr. Van Orden is

[sic] plaintiff.” Id. at 1. He said that the memorandum was identical to the

original memorandum “except for amending references to plaintiffs to refer to

Mr. Meehan [sic] only and correcting several inadvertent references to the State

of Georgia.” Id.

                                         9

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 9 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 660 of 1677




      On Sunday, December 6, the plaintiff also filed a motion asking the court

to schedule an evidentiary hearing “on the merits” for Wednesday, December 9,

2020 at 9:00 a.m. Dkt. No. 44. Although the plaintiff had not asked for a

hearing in any prior motion, and had represented in the amended motion that

he was submitting the matter on the briefs without argument, the plaintiff

explained that he had changed his position based on the court’s December 4,

2020 order. Id. at ¶4. The court denied the motion in a telephonic hearing on

December 8, 2020, explaining that before it could reach the merits of the

motion for injunctive relief, it must resolve issues regarding justiciability. Dkt.

Nos. 70, 71.

      In opposing the plaintiff’s amended motion for injunctive relief,

defendants Wisconsin Election Commission and its members argued that the

case has jurisdictional and procedural defects that require dismissal. Dkt. No.

52 at 5. They asserted that the plaintiff lacks Article III standing, id. at 6, that

the doctrine of laches bars consideration of his claims, id. at 8 and that the

Eleventh Amendment shields them from the relief he seeks, id. at 10. They

asserted that the complaint fails to state a claim for relief under the Election or

Electors Clauses, id. at 11, or under the Equal Protection or Due Process

Clauses, id. at 13, and they contended that the plaintiff’s purported evidence

fails to meet basic evidentiary standards, id. at 20.

      In his brief opposing injunctive relief, defendant Governor Evers argued

that there is no evidence of fraud in Wisconsin’s election results, dkt. no. 55 at

10, that the plaintiff’s witnesses and experts lack qualifications and are

                                         10

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 10 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 661 of 1677




unreliable, id. at 12, and that the plaintiff has failed to state valid claims, id. at

22. Evers also argued that an adequate remedy at law exists because the

recount procedures under Wis. Stat. §9.01 unambiguously constitute the

“exclusive remedy” for challenging election results. Id. at 55. With respect to

the balancing of harms, Evers argued that the requested relief would prejudice

the defendants and “retroactively deprive millions of Wisconsin voters of their

constitutional right to vote in the 2020 presidential election.” Id. at 32.

      James Gesbeck, filing as friend of the court, opposed the motion for

injunctive relief on the grounds that the plaintiff has not established subject

matter jurisdiction and that the court should defer to the Wisconsin courts and

Wisconsin’s procedural mechanism for resolving disputed elections. Dkt. No.

47 at 11, 12. Gesbeck applied the balancing analysis for injunctive relief,

asserting that relief in this court would moot the Wis. Stat. §9.01 challenge

pending in the Wisconsin courts. Id. at 17. He argued that this, in turn, would

put the “insurmountable weight of the Federal Government on the election

result in Wisconsin and would be unbalancing the scale created by the system

of checks and balances that have been maintained since the Constitution was

adopted.” Id. at 17.

      Amicus DNC opposed the motion on many of the same grounds as the

other defendants. Dkt. No. 57. The DNC argued that the plaintiff lacks

standing, that the doctrine of laches bars the plaintiff’s claims, that the

defendants are immune from suit under the Eleventh Amendment, that

principles of federalism and comity require abstention, and that the plaintiff

                                         11

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 11 of 45 Document 83
                                                                            Exhibit K
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 662 of 1677




fails to state a claim upon which relief can be granted. Dkt. No. 57. It asserted

that the plaintiff cannot establish irreparable harm and has an adequate

remedy of law. Id. at 36.

        The defendants have filed motions to dismiss the case. The WEC and its

members seek dismissal for failure to state a claim under Federal Rule of Civil

Procedure 12(b)(6). Dkt. No. 53. Defendant Evers seeks dismissal for lack of

subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1), failure to plead fraud

with particularity under Fed. R. Civ. P. 9(b) and failure to state a claim under

Fed. R. Civ. P. 12(b)(6).

        The Wisconsin State Conference of the NAACP and three of its members

(Dorothy Harrell, Wendell J. Harris, Jr. and Earnestine Moss) sought leave to

file an amicus brief on the question of whether the court should dismiss the

case. Dkt. No. 56. The court granted that motion. Dkt. No. 69.

III.    Procedural Posture

        From the outset, the plaintiff has sought to have the claims in the

complaint resolved through a motion for injunctive relief under Fed. R. Civ. P.

65. The relief he requests in the second iteration of his motion for injunctive

relief is the same relief he requests in the lawsuit itself. As defendant Evers

points out in his motion to dismiss, the plaintiff’s December 6, 2020 motion for

an evidentiary hearing (which the court has denied) “makes clear that what

[the plaintiff] seeks—without any discovery or basic adversarial development of

evidence—is a trial and final adjudication on the merits.” Dkt. No. 51 at 2.




                                        12

          Case 2:20-cv-01771-PP Filed 12/09/20 Page 12 of 45 Document 83
                                                                         Exhibit K
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 663 of 1677




       Evers points to Fed. R. Civ. P. 12(i), which states that “[i]f a party so

moves, any defense listed in Rule 12(b)(1)-(7)—whether made in a pleading or

by motion—and a motion under Rule 12(c) must be heard and decided before

trial unless the court orders a deferral until trial.” Because Evers has raised

defenses under Rule 12(b)(1) and (b)(6), and because in asking for a hearing the

plaintiff sought what would have been a trial on the merits of the causes of

action raised in the complaint, the court must resolve the defenses before

moving to the merits.

       As the court stated in the hearing on December 8, that requirement is

more than a procedural nicety. The defendants and the amici have raised

questions about this federal court’s authority to decide the claims alleged in

the amended complaint. If this court does not have jurisdiction to hear and

decide those claims, any decision it might make regarding the merits of the

claims would be invalid. For that reason, the court considers the motions to

dismiss before considering the plaintiff’s request for injunctive relief.

IV.    The Motions to Dismiss

       A.    Legal Standards

             1.     Rule 12(b)(1)—Lack of Subject Matter Jurisdiction

       In evaluating a motion to dismiss for lack of subject matter jurisdiction

under Fed. R. Civ. P. 12(b)(1), “the court must first determine whether a factual

or facial challenge has been raised.” Silha v. ACT, Inc., 807 F.3d 169, 173 (7th

Cir. 2015) (citing Apex Dig., Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443

(7th Cir. 2009). A factual challenge alleges that even if the pleadings are

                                         13

         Case 2:20-cv-01771-PP Filed 12/09/20 Page 13 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 664 of 1677




sufficient, no subject matter jurisdiction exists. A facial challenge alleges that

the complaint is deficient—that the plaintiff has not sufficiently alleged subject

matter jurisdiction. Id. The difference matters—a court reviewing a factual

challenge “may look beyond the pleadings and view any evidence submitted to

determine if subject matter exists,” while a court reviewing a facial challenge

“must accept all well-pleaded factual allegations as true and draw all

reasonable inferences in favor of the plaintiff.” Id.

             2.    Rule 12(b)(6)—Failure to State a Claim

      A motion to dismiss for failure to state a claim under Rule 12(b)(6)

challenges the legal sufficiency of the complaint. A complaint must include “a

short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). The complaint must contain enough facts,

accepted as true, to “state a claim for relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows a court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556). “[T]he plausibility determination is a context-

specific task that requires the reviewing court to draw on its judicial experience

and common sense.” W. Bend Mut. Ins. Co. v. Schumacher, 844 F.3d 670, 676

(7th Cir. 2016).




                                         14

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 14 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 665 of 1677




             3.    42 U.S.C. §1983

      To state a claim for a civil rights violation under 42 U.S.C. §1983, a

plaintiff must allege that someone deprived him of a right secured by the

Constitution or the laws of the United States and that whoever deprived him of

that right was acting under the color of state law. D.S. v. E. Porter Cty. Sch.

Corp., 799 F.3d 793, 798 (7th Cir. 2015) (citing Buchanan–Moore v. Cty. of

Milwaukee, 570 F.3d 824, 827 (7th Cir. 2009)).

      B.     Subject Matter Jurisdiction

      “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian

Life Ins. Co. of America, 511 U.S. 375, 377 (1994). Subject matter jurisdiction

has to do with “the courts’ statutory or constitutional power to adjudicate the

case.” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 89 (1998)

(emphasis in the original). “Article III, §2, of the Constitution extends the

‘judicial Power’ of the United States only to ‘Cases’ and ‘Controversies.’” Id. at

102. The defendants raise a factual challenge to the court’s subject matter

jurisdiction, arguing that regardless of the pleadings, subject matter

jurisdiction does not exist. The court may look outside the four corners of the

complaint in considering that challenge.

             1.    Standing

      Article III standing is an “essential component of Article III's case-or-

controversy requirement,” and therefore a “threshold jurisdictional question.”

Apex Dig., Inc., 572 F.3d at 443 (citing Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992)). “[N]o principle is more fundamental to the judiciary’s proper

                                        15

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 15 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 666 of 1677




role in our system of government than the constitutional limitation of federal-

court jurisdiction to actual cases or controversies.” Raines v. Byrd, 521 U.S.

811, 818 (1997). “Standing to sue is part of the common understanding of what

it takes to make a justiciable case.” Id. “Standing is an element of subject-

matter jurisdiction in a federal civil action . . . .” Moore v. Wells Fargo Bank,

N.A., 908 F.3d 1050, 1057 (7th Cir. 2018).

      The “irreducible constitutional minimum of standing contains three
      requirements. Lujan v. Defenders of Wildlife, [504 U.S. 555], at 560
      [1992)]. First and foremost, there must be (and ultimately proved)
      an “injury in fact”—a harm suffered by the plaintiff that is “concrete”
      and “actual or imminent, not ‘conjectural’ or ‘hypothetical.’”
      Whitmore v. Arkansas, [495 U.S. 149], at 149 [1990] (quoting Los
      Angeles v. Lyons, 461 U.S. 95, 101-102 . . . (1983)). Second, there
      must be causation—a fairly traceable connection between the
      plaintiff’s injury and the complained-of conduct of the defendant.
      Simon v. Eastern Ky. Welfare Rights Organization, 426 U.S. 26, 41-
      42 . . . (1976). And third, there must be redressability—a likelihood
      that the requested relief will redress the alleged injury. Id., at 45-46
      . . .; see also Warth v. Seldin, 422 U.S. 490, 505 . . . (1975). This
      triad of injury in fact, causation, and redressability constitutes the
      core of Article III’s case-or-controversy requirement, and the party
      invoking federal jurisdiction bears the burden of establishing its
      existence. See FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 . . . (1990).

Steel Co., 523 U.S. at 102-104.

      Regarding the “injury in fact” leg of the triad, the injury must be

“particularized,” such that it “affect[s] the plaintiff in a personal and individual

way.” Spokeo, Inc. v. Robins, ___ U.S. ___, 136 S. Ct. 1540, 1548 (2016)

(citations omitted). The injury also must be “concrete”—it must be “real,” not

“abstract.” Id. A plaintiff cannot show a particularized and concrete injury by

showing “that he has merely a general interest common to all members of the

public.” Ex parte Levitt, 302 U.S. 633, 634 (1937). A plaintiff may not use a

                                         16

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 16 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 667 of 1677




“federal court as a forum in which to air his generalized grievances about the

conduct of government . . . .” United States v. Richardson, 418 U.S. 166, 174

(1974) (quoting Flast v. Cohen, 392 U.S. 83, 106 (1942)).

      As for the redressability leg of the triad, “[r]elief that does not remedy the

injury suffered cannot bootstrap a plaintiff into federal court; that is the very

essence of the redressability requirement.” Steel Co., 523 U.S. at 107. The

plaintiff must show that it is “likely,” not merely “speculative,” that the injury

the plaintiff alleges will be “redressed by a favorable decision.” Lujan, 504 U.S.

at 561 (quoting Simon, 426 U.S. at 38).

      In addition to the Article III case-or-controversy requirement, there is a

prudential limitation in Fed. R. Civ. P. 17(a), requiring that “[e]very action must

be prosecuted in the name of the real party in interest,” Fed. R. Civ. P. 17(a),

and “requir[ing] that the complaint be brought in the name of the party to

whom that claim ‘belongs’ or the party who ‘according to the governing

substantive law, is entitled to enforce the right.’” Rawoof v. Texor Petroleum

Co., Inc., 521 F.3d 750, 756 (7th Cir. 2008) (quoting Oscar Gruss & Son, Inc.

v. Hollander, 337 F.3d 186, 193 (2d Cir. 2003)); see also RK Co. v. See, 622

F.3d 846, 850 (7th Cir. 2010) (“the real party in interest rule is only concerned

with whether an action can be maintained in the plaintiff's name,” and is

“similar to, but distinct from, constitutional ... standing”). The real party in

interest is “the one who by the substantive law, possesses the right sought to

be enforced, and not necessarily the person who will ultimately benefit from the

recovery.” Act II Jewelry, LLC v. Wooten, 301 F. Supp. 3d 905, 910-911 (N.D.

                                         17

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 17 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 668 of 1677




Ill. 2018) (quoting Checkers, Simon & Rosner v. Lurie Corp., 864 F.2d 1338,

1343 (7th Cir. 1988) (internal citations omitted)). The purpose of the rule is to

“protect the defendant against a subsequent action by the party actually

entitled to recover.” RK Co., 622 F.3d at 850 (citing Fed. R. Civ. P. 17(a)

advisory committee note (2009)).

      The amended complaint alleges that the plaintiff has standing “as a voter

and as a candidate for the office of Elector under Wis. Stat. §§ 5.10, et seq

(election procedures for Wisconsin electors).” Dkt. No. 9 at 8. The defendants

argue that the plaintiff lacks standing in either capacity. Dkt. No. 43 at 4-5;

Dkt. No. 59 at 8-9.

                   a.    Standing as a voter

      The amended complaint does not assert that the plaintiff voted in the

2020 general Presidential election in Wisconsin. It says that he is a registered

voter, but it does not affirmatively state that he voted in the election the results

of which he asks the court to decertify. His counsel asserts in the brief in

opposition to the defendants’ motion to dismiss—filed eight days after the

original complaint and five days after the amended complaint—that the plaintiff

“voted for President Trump in the 2020 General Election.” Dkt. No. 72 at 17.

For the first time at the motion to dismiss stage, the plaintiff provided his own

declaration, in which he attests that he voted for President Donald J. Trump in

the November 3, 2020 election. Dkt. No. 72-1.

      The plaintiff claims that the defendants failed to comply “with the

requirements of the Wisconsin Election Code and thereby diluted the lawful

                                        18

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 18 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 669 of 1677




ballots of the Plaintiff and of other Wisconsin voters and electors in violation of

the United States Constitution guarantee of Equal Protection.” Dkt. No. 9 at

¶116. He alleges that the defendants enacted regulations or issued guidance

that, in intent and effect, favored Democratic absentee voters over Republican

voters, and that these regulations and this guidance enable and facilitated

voter fraud. Id. The plaintiff also asserts that he has a right to have his vote

count and claims that a voter is injured if “the important of his vote is

nullified.” Id. at ¶127.

      Several lower courts have addressed the plaintiff’s theory that a single

voter has standing to sue as a result of his vote being diluted by the possibility

of unlawful or invalid ballots being counted. The district court for the Middle

District of North Carolina catalogued a few of those decisions, all finding that

the harm was too speculative and generalized—not sufficiently “concrete”—to

bestow standing. These courts concluded that the vote dilution argument fell

into the “generalized grievance” category. In Moore v. Circosta, the court wrote:

      Indeed, lower courts which have addressed standing in vote dilution
      cases arising out of the possibility of unlawful or invalid ballots
      being counted, as Plaintiffs have argued here, have said that this
      harm is unduly speculative and impermissibly generalized because
      all voters in a state are affected, rather than a small group of voters.
      See, e.g., Donald Trump for President, Inc. v. Cegavske, Case No.
      2:20-CV-1445 JCM (VCF), __ F. Supp. 3d __, __, 2020 WL 5626974,
      at *4 (D. Nev. Sept. 18, 2020) (“As with other generally available
      grievances about the government, plaintiffs seek relief on behalf of
      their member voters that no more tangibly benefits them than it does
      the public at large.”) (internal quotations and modifications omitted);
      Martel v. Condos, Case No. 5:20-cv-131, ___ F. Supp. 3d ___, ___,
      2020 WL 5755289, at *4 (D. Vt. Sept. 16, 2020) (“If every voter
      suffers the same incremental dilution of the franchise caused by
      some third-party’s fraudulent vote, then these voters have
      experienced a generalized injury.”); Paher v. Cegavske, 457 F. Supp.
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        Case 2:20-cv-01771-PP Filed 12/09/20 Page 19 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 670 of 1677




      3d 919, 926-27 (D. Nev. 2020) (“Plaintiffs’ purported injury of having
      their votes diluted due to ostensible election fraud may be
      conceivably raised by any Nevada voter.”); Am. Civil Rights Union v.
      Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D. Tex. 2015) (“[T]he
      risk of vote dilution [is] speculative and, as such, [is] more akin to a
      generalized grievance about the government than an injury in fact.”)

      Although “[i]t would over-simplify the standing analysis to conclude
      that no state-wide election law is subject to challenge simply
      because affects all voters,” Martel, __ F. Supp.3d at __, 2020 WL
      5755289, at *4, the notion that a single person’s vote will be less
      valuable as a result of unlawful or invalid ballots being cast is not a
      concrete and particularized injury necessary for Article III standing.
      Compared to a claim of gerrymandering, in which the injury is
      specific to a group of voters based on their racial identity or the
      district in which they live, all voters in North Carolina, not just
      Individual Plaintiffs, would suffer the injury Individual Plaintiffs
      allege. This court finds this injury to generalized to give rise to a
      claim of vote dilution . . . .

Moore v. Circosta, Nos. 1:20CV911, 1:20CV912, 2020 WL 6063332, at *14,

      The court agrees. The plaintiff’s alleged injuries are injuries that any

Wisconsin voter suffers if the Wisconsin election process were, as the plaintiff

alleges, “so riddled with fraud, illegality, and statistical impossibility that this

Court, and Wisconsin’s voters, courts, and legislators, cannot rely on, or

certify, any numbers resulting from this election.” Dkt. No. 9 at ¶5. The

plaintiff has not alleged that, as a voter, he has suffered a particularized,

concrete injury sufficient to confer standing.

      The plaintiff argues that it is incorrect to say that his standing is based

on a theory of vote dilution. Dkt. No. 72 at 19. He then proceeds to opine that

he has shown in great detail how his vote and the votes of others who voted for

Republican candidates was diluted. Id. at 19-20. He says the vote dilution did

not affect all Wisconsin voters equally, asserting that it had a negative impact

                                         20

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 20 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 671 of 1677




on those who voted for Republican candidates and a positive impact on those

who voted for Democratic candidates. Id. at 20. He asserts that he also has

shown that the defendants sought to actively disenfranchise voters for

Republican candidates. Id. These are the same arguments he made in the

amended complaint and they still show no more than a generalized grievance

common to any voter. Donald J. Trump carried some Wisconsin counties; the

voters who voted for Joseph R. Biden in those counties could make the same

complaints the plaintiff makes here.

      The plaintiff says that his interests and injury are “identical to that of

President Trump,” and cites to Bush v. Gore, 531 U.S. 98 (2000), which he

characterizes as holding that “then-candidate George W. Bush of Texas had

standing to raise the equal protection rights of Florida voters that a majority of

the Supreme Court deemed decisive.” Id. at 21 (quoting Hawkins v. Wayne

Twp. Bd. of Marion Cty., Ind, 183 F. Supp. 2d 1099, 1103 (S.D. Ind. 2002)).

The court is stymied by the plaintiff’s assertion that his interests and injury are

identical to that of President Trump. As the court will explain in the next

section, contrary to his assertions, the plaintiff is not a “candidate” in the way

that President Trump was a candidate for office. President Trump’s interest is

in being re-elected, while the plaintiff has said that his interest is in having his

vote count and not be diluted. If his interest is solely in getting President

Trump re-elected, as opposed to having his vote be counted as part of a valid

election process, the court is aware of no constitutional provision that gives

him the right to have his candidate of choice declared the victor.

                                         21

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 21 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 672 of 1677




      Nor does the decision in Bush v. Gore say what the plaintiff claims it

says. As far as the court can tell, the word “standing” does not appear in the

majority opinion. In the Indiana decision the plaintiff cites, then-district court

judge David Hamilton wrote: “If candidate Hawkins did not have standing to

raise equal protection rights of voters, it would be difficult to see how then-

candidate George W. Bush of Texas had standing to raise equal protection

rights of Florida voters . . . in Bush v. Gore.” Hawkins, 183 F. Supp.2d at 1103.

But the Supreme Court in Bush v. Gore never explained how candidate Bush

had standing, and even if it had, the plaintiff is not a candidate.

      Nor has the plaintiff demonstrated redressability. He complains that his

vote was diluted and that he wants his vote to count. But he asks the court to

order the results of the election de-certified and then to order defendant Evers

to certify the election for Donald J. Trump. Even if this federal court had the

authority to order the governor of the state of Wisconsin to certify the results of

a national presidential election for any candidate—and the plaintiff has

presented no case, statute or constitutional provision providing the court with

that authority—doing so would further invalidate and nullify the plaintiff’s vote.

The plaintiff wants Donald J. Trump to be certified as the winner of the

Wisconsin election as a result of the plaintiff’s vote. But what he asks is for

Donald J. Trump to be certified the winner as a result of judicial fiat. That

remedy does not redress the plaintiff’s alleged injury. Even the plaintiff

concedes in his brief in opposition to dismissal that “[d]efendant Evers can . . .

provide partial redress in terms of the requested injunctive relief, namely, by

                                        22

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 22 of 45 Document 83
                                                                          Exhibit K
       Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 673 of 1677




refusing to certify or transmit the election results, and providing access to

voting machines, records and other ‘election materials.’” Dkt. No. 72 at 21. The

plaintiff is wrong in that regard, as the court will explain when it discusses the

related doctrine of mootness; the point is that even from the plaintiff’s

perspective, the remedy he seeks will not fully redress the injury he claims.

        Circling back to Article III’s “case or controversy” requirement, the

Supreme Court has held that “[t]he remedy must of course be limited to the

inadequacy that produced the injury in fact that the plaintiff has established.”

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 (2006) (quoting Lewis v.

Casey, 518 U.S. 343, 357 (1996)). In other words, “[a] plaintiff’s remedy must

be tailored to redress the plaintiff’s particular injury.” Gill v. Whitford, ___ U.S.

___, 138 S. Ct. 1916, 1934 (2018) (citing Cuno, 547 U.S. at 353). Even if the

plaintiff had alleged a particularized, concrete injury and even if the relief he

seeks would redress that injury, that relief is not tailored to the alleged injury.

As the Michigan court explained in King v. Whitmer, Case No. 20-13134 at Dkt.

No. 62, page 25 (E.D. Mich. Dec. 7, 2020), “Plaintiffs’ alleged injury does not

entitle them to seek their requested remedy because the harm of having one’s

vote invalidated or diluted is not remedied by denying millions of others their

right to vote.”

        The plaintiff’s status as a registered voter does not give him standing to

sue.




                                         23

          Case 2:20-cv-01771-PP Filed 12/09/20 Page 23 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 674 of 1677




                   b.    Standing as a nominee for elector

      The amended complaint alleges that the plaintiff has standing to bring

the suit “as a candidate for the office of Elector under Wis. Stat. §§ 5.10, et

seq.” Dkt. No. 9 at ¶26. The amended complaint cites to “Wis. Stat. §§5.10, et

seq,” but the court is not sure what the “et seq.”—“and what follows”—

contributes to the plaintiff’s belief that he has standing. Wis. Stat. §5.10 is

followed by Wis. Stat. §5.15, which concerns the “Division of municipalities

into wards,” as well as other sections concerning polling places and voting

machines. The court assumes the plaintiff meant to reference only Wis. Stat.

§5.10.

      Wis. Stat. §5.10 states:

      Although the names of the electors do not appear on the ballot and
      no reference is made to them, a vote for the president and vice
      president named on the ballot is a vote for the electors of the
      candidates for whom an elector’s vote is cast. Under chs. 5 to 12, all
      references to the presidential election, the casting of votes and the
      canvassing of votes for president, or for president and vice president,
      mean votes for them through their pledged presidential electors.

      Relying on this section, the amended complaint directs the court’s

attention to Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020).2 In Carson,


2 The complaint also cites two Supreme Court cases: McPherson v. Blacker,
146 U.S. 1, 27 (1892) and Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S.
70, 76 (2000) (per curiam). Neither address the Article III standing of an elector.
In McPherson, the Court reviewed the Michigan supreme court’s decision on
the constitutionality of the Michigan statute governing selection of electors.
While the parties who brought the suit in state court were nominees for
presidential electors, the Court did not address their standing (or lack of it).
The petitioner in Bush was the then-Republican candidate, George W. Bush,
who was challenging the Florida supreme court’s interpretation of its election
statutes; again, the Court did not address (and had no need to address) the
standing of an elector to sue.
                                        24

         Case 2:20-cv-01771-PP Filed 12/09/20 Page 24 of 45 Document 83
                                                                          Exhibit K
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 675 of 1677




two certified nominees of the Republican Party to be presidential electors sued

the Minnesota secretary of state, challenging a consent decree that “essentially

ma[de] the statutorily-mandated absentee ballot receipt deadline inoperative.”

Id. at 1054. As a result of the decree, the secretary of state had directed

election officials “to count absentee ballots received up to a week after election

day, notwithstanding Minnesota law.” Id. The potential electors sought an

injunction in federal court, but the district court found they lacked standing.

Id.

       The Eighth Circuit reversed, finding that the potential electors had

standing as candidates “because the plain text of Minnesota law treats

prospective presidential electors as candidates.” Id. at 1057. The court found

that candidates suffered particularized and concrete injury from an inaccurate

vote tally. Id. at 1058.

       The plaintiff urges this court to reach the same conclusion. An Eighth

Circuit decision is not binding on this court, but the question is whether the

reasoning in that decision is persuasive. A member of the panel in Carson

dissented from the majority opinion and expressed doubt about the potential

electors’ standing. Circuit Judge Jane Kelley wrote:

       . . . I am not convinced the Electors have Article III standing to assert
       claims under the Electors Clause. Although Minnesota law at times
       refers to them as “candidates,” see, e.g., Minn. Stat. § 204B.03
       (2020), the Electors are not candidates for public office as that term
       is commonly understood. Whether they ultimately assume the office
       of elector depends entirely on the outcome of the state popular vote
       for president. Id. § 208.04 subdiv. 1 (“[A] vote cast for the party
       candidates for president and vice president shall be deemed a vote



                                          25

         Case 2:20-cv-01771-PP Filed 12/09/20 Page 25 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 676 of 1677




      for that party’s electors.”) They are not presented to and chosen by
      the voting public for their office, but instead automatically assume
      that office based on the public’s selection of entirely different
      individuals. But even if we nonetheless assume the Electors should
      be treated like traditional political candidates for standing purposes,
      I question whether these particular candidates have demonstrated
      the “concrete and particularized” injury necessary for Article III
      standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 . . . (1992).
      To the contrary, their claimed injury—a potentially “inaccurate vote
      tally” . . .—appears to be “precisely the kind of undifferentiated,
      generalized grievance about the conduct of government: that the
      Supreme Court has long considered inadequate for standing. Lance
      v. Coffman, 549 U.S. 437, 442 . . . (2007) (examining standing in the
      context of a claim under the Elections Clause). Because the Electors,
      should they in fact assume that office, must swear an oath to mark
      their Electoral College ballots for the presidential candidate who won
      the popular vote, Minn. Stat. § 208.43 (2015), it is difficult to discern
      how they have more of a “particularized stake,” Lance, 549 U.S. at
      442 . . . , in Minnesota conducting fair and transparent elections
      than do the rest of the state’s voters.

Id. at 1063.

      Judge Kelly’s reasoning is the more persuasive. Under Wisconsin law, a

vote for the candidates of president and vice president is a vote for the electors

of those candidates. Wis. Stat. § 5.65(3)(a). When the electors meet, they must

vote for the candidates of the party that nominated the electors. Wis. Stat.

§7.75(2). Like Minnesota electors, Wisconsin electors may be referred to as

“candidates” by statute but they are not traditional political candidates

presented to and chosen by the voting public. Their interest in seeing that

every valid vote is correctly counted and that no vote is diluted is no different

than that of an ordinary voter. And the court has concluded, as did Judge

Kelly, that the plaintiff’s status as a voter does not give him standing.

      The amended complaint does not mention the Elections Clause or the

Electors Clause of the Constitution in relation to standing. In his brief in
                                         26

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 26 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 677 of 1677




opposition to the motions to dismiss, the plaintiff alleges that he has standing

under “Electors and Elections Clause.” Dkt. No. 72 at 17. He asserts that the

Eighth Circuit found in Carson that electors had “both Article III and

Prudential standing under the Electors and Elections Clauses.” Id. The plaintiff

reads Carson differently than does this court. The Carson majority did not

mention the Electors or Elections Clause in its discussion of Article III

standing. The entire discussion of Article III standing was based on Minnesota

law. See Carson, 978 F.3d at 1-57-1058. In its discussion of prudential

standing, the Carson majority stated that “[a]lthough the Minnesota Legislature

may have been harmed by the Secretary’s usurpation of its constitutional right

under the Elector Clause, the Electors have been as well.” Id. at 1058-59.

      This court has found that the plaintiff does not have Article III standing,

but even if had not, it disagrees that the Elector Clause3 provides prudential

standing to electors. Article II, Section 1, Clause 2 of the Constitution—known

as the “Elector Clause”—states that “[e]ach State shall appoint, in such Manner

as the Legislature thereof may direct, a Number of Electors, equal to the whole

Number of Senators and Representatives to which the State may be entitled in

the Congress: but no Senator or Representative, or Person holding an Office of


3 The plaintiff cites the “Elector and Elections Clause” or “Clauses” in the same
breath but does not discuss the text of either. It is not clear how the plaintiff
sees the Elections Clause—Article II, Sec. 1, cl. 3—as providing him with
standing and the plaintiff has not developed that argument. The court notes
only that in Lance v. Coffman, the Supreme Court found that plaintiffs whose
only alleged injury was that the Elections Clause had not been followed did not
have standing because they alleged “precisely the kind of undifferentiated,
generalized grievance about the conduct of government that we have refused to
countenance in the past.” Lance, 549 U.S. at 442.
                                        27

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 27 of 45 Document 83
                                                                            Exhibit K
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 678 of 1677




Trust or Profit under the United States, shall be appointed an Elector.” The

clause confers on the state the right to appoint electors and confers on the

legislature the right to decide the way those electors will be appointed. It

confers no right on the electors themselves. Just a few months ago, the

Supreme Court stated as much in Chiafalo v. Washington, ___ U.S. ___, 140 S.

Ct. 2316, 2328 (July 6, 2020), in the context of considering whether a state

could penalize an elector for breaking his pledge and voting for someone other

than the candidate who won his state’s popular vote:4 “Article II and the

Twelfth Amendment give States broad powers over electors, and give electors

themselves no rights.” The Court went on to say,

       Early in our history, States decided to tie electors to the presidential
       choices of others, whether legislatures or citizens. Except that
       legislatures no longer play a role, that practice has continued for
       more than 200 years. Among the devices States have long used are
       pledge laws, designed to impress on electors their role as agents of
       others. A State follows in the same tradition if, like [the state of]
       Washington, it chooses to sanction an elector for breaching his
       promise. Then, too, the State instructs its electors that they have no
       ground for reversing the vote of millions of its citizens. That direction
       accords with the Constitution—as well as with the trust of a Nation
       that here, We the People rule.

Id.

       The plaintiff’s status as a nominee to be a Republican elector does not

give him Article III or prudential standing.




4 Wisconsin’s “pledge law”—Wis. Stat. §7.75(1)—does not impose a penalty on a
“faithless elector.”
                                          28

         Case 2:20-cv-01771-PP Filed 12/09/20 Page 28 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 679 of 1677




               2.   Mootness

      Mootness “has sometimes been called ‘the doctrine of standing set in a

time frame.’” Chi. Joe’s Tea Room, LLC v. Vill. of Broadview, 894 F.3d 807,

812-13 (7th Cir. 2018) (quoting Friends of the Earth, Inc. v. Laidlaw Envtl.

Services (TOC), Inc., 528 U.S. 167, 189 (2000)). A case becomes moot “‘when

the issues presented are no longer “live” or the parties lack a legally cognizable

interest in the outcome.’” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)

(quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982) (per curiam)). “Mootness

strips a federal court of subject-matter jurisdiction.” Id. at 815 (citing DJL

Farm LLC v. EPA, 813 F.3d 1048, 1050 (7th Cir. 2016). This is because “[a]

case that becomes moot at any point during the proceedings is ‘no longer a

“Case” or “Controversy” for purposes of Article III.’” United States v. Sanchez-

Gomez, __ U.S. __, 138 S. Ct. 1532, 1537 (2018) (quoting Already, LLC, 568

U.S. at 91).

      The amended complaint states that the plaintiff brought this suit “to

prohibit certification of the election results for the Office of President of the

United States in the State of Wisconsin . . . .” Dkt. No. 9 at ¶27. The plaintiff

asks the court to prohibit from occurring an event that already has occurred—

an event that occurred the day before he filed this lawsuit and nine days before

the court issues this order. He asks the court to enjoin defendant Evers from

transmitting the certified election results, id. at ¶142—an event that already

has occurred. He asks the court to order that certain votes not be counted, id.,

when the vote counting has been over since November 29.

                                         29

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 29 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 680 of 1677




      The plaintiff himself demonstrates the mootness problem in his brief in

opposition to dismissal. He states that defendant Evers can provide partial

redress for his alleged injuries “by refusing to certify or transmit the election

results.” Dkt. No. 72 at 21. But Evers already has certified and transmitted the

elections results—he cannot refuse to do that which he already has done.

      At the December 8 hearing, the plaintiff argued that there remains a live

controversy because the electors have not yet voted and will not do so until

Monday, December 14, 2020. Dkt. No. 70. This argument ignores the fact that

several of the events that dictate which slate of nominees are certified to vote

already have taken place and had taken place at the time the plaintiff filed his

complaint. The votes have been counted. In two counties, they’ve been counted

twice. The WEC chair has signed the canvass and certified electors for

Biden/Harris. The governor has signed the Certificate of Ascertainment and the

National Archive has that certificate.

      In his brief in opposition to dismissal, the plaintiff points to this court’s

own order earlier in this case, determining that the plaintiff had not

demonstrated why the December 8, 2020 “safe harbor” deadline under 3 U.S.C.

§5 was the date by which the plaintiff needed the court to issue a decision to

preserve his rights. Dkt. No. 72 at 25 (citing Dkt. No. 29 at 7). The court noted

in that order that the plaintiff’s brief in opposition to a motion to reassign

another case erroneously referred to December 8 as the date that the College of

Electors was scheduled to meet. Dkt. No. 29 at 7. The court pointed out that

that was incorrect, and that December 8 was the deadline by which the state

                                         30

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 30 of 45 Document 83
                                                                           Exhibit K
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 681 of 1677




would have to make its final determination of any election dispute in order to

avoid congressional challenge. Id. The court then said, “Because the electors do

not meet and vote until December 14, 2020, the court will impose a less

truncated briefing schedule than the one the plaintiff proposes . . . .” Dkt. No.

29.

       The plaintiff says that “[i]mplicit in this Court’s determination” is the

assumption that “this Court can still grant some or perhaps all of the relief

requested and this Plaintiff’s claims are not moot.” Dkt. No. 72 at 25. The

plaintiff reads more into the court’s language than the court intended. In the

plaintiff’s earliest pleadings—the first motion for injunctive relief, the

“corrected” motion for injunctive relief, the “amended” motion for injunctive

relief—the plaintiff failed to identify a date by which he needed the court to act.

The first time he identified such a date was in his brief in opposition to a

motion to reassign another case—and then, the reference was oblique. In his

opposition brief, the plaintiff stated, “With the College of Electors scheduled to

meet December 8, there could never be a clearer case of ‘justice delayed is

justice denied.’” Dkt. No. 18 at 1. From that, the court deduced that the

plaintiff needed the court to act by the date the College of Electors was

scheduled to meet. But the College of Electors was not scheduled to meet

December 8—it was (and is) scheduled to meet December 14. So the court set a

briefing schedule that would give the defendants a chance to respond, but

would complete briefing ahead of the event the plaintiff deemed important—the




                                         31

         Case 2:20-cv-01771-PP Filed 12/09/20 Page 31 of 45 Document 83
                                                                             Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 682 of 1677




electoral meeting and vote. That was not a decision by this court—implicit or

explicit—on the mootness of the plaintiff’s claims.

      The plaintiff also asserts that the “cutoff for election-related challenges,

at least in the Seventh Circuit, appears to be the date that the electors meet,

rather than the date of certification.” Dkt. No. 72 at 24. He cites Swaffer v.

Deininger, No. 08-CV-208, 2008 WL 5246167 (E.D. Wis. Dec. 17, 2008).

Swaffer is not a Seventh Circuit case, and the court is not aware of a Seventh

Circuit case that establishes a “cutoff for election-related challenges.” And the

plaintiff seems to have made up the “quote” in his brief that purports to be

from Swaffer. The plaintiff asserts that these words appear on page 4 of the

Swaffer decision: “even though the election has passed, the meeting of electors

obviously has not, so plaintiff’s claim here is hardly moot.” Dkt. No. 72 at 24-

25. The court has read page 4 of Swaffer—a decision by this court’s colleague,

Judge J.P. Stadtmueller—three times and cannot find these words. In fact,

Swaffer did not involve a challenge to a presidential election and it did not

involve electors. Mr. Swaffer sought to challenge a Wisconsin statute requiring

individuals or groups promoting or opposing a referendum to file a registration

statement and take other actions. Swaffer, 2008 WL 5246167, at *1. The

defendants argued that the election (in which the plaintiff had taken steps to

oppose a referendum on whether to allow liquor sales in the Town of

Whitewater) was over and that Swaffer’s claims thus were moot. Id. at 2. Judge

Stadtmueller disagreed, finding that because Swaffer alleged that he intended




                                        32

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 32 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 683 of 1677




to violate the statutes at issue in the future, a credible threat of prosecution

remained. Id. at 3.

      Some of the relief the plaintiff requests may not be moot. For example, he

asks for an immediate order seizing voting machines, ballots and other

materials relating to the physical mechanisms of voting. And there remain five

days until the electors vote—as the events of this year have shown, anything

can happen. But most of the relief the plaintiff seeks is beyond this court’s

ability to redress absent the mythical time machine.

             3.    Conclusion

      The plaintiff does not have Article III standing to sue in federal court for

the relief he seeks.

      C.     Other Arguments

      Standing is the sine qua non of subject matter jurisdiction. Absent

standing, the court does not have jurisdiction to consider the plaintiff’s claims

on the merits. Arguably, it has no jurisdiction to consider the other bases the

defendants and amici assert for why the court should dismiss the case. At the

risk of producing dicta (and spilling even more ink on a topic that has received

an ocean’s worth by now), the court will briefly address some of the other bases

for the sake of completeness.

             1.    Eleventh Amendment Immunity

      The defendants argue that the plaintiff’s claims are barred by the

Eleventh Amendment. Dkt. No. 59 at 15; Dkt. No. 54 at 10. The Eleventh

Amendment “bars most claims in federal court against a state that does not

                                        33

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 33 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 684 of 1677




consent to suit.” Carmody v. Bd. of Trs. of Univ. of Ill., 893 F.3d 397, 403 (7th

Cir. 2018) (citations omitted). States are immune from suit in federal court

“unless the State consents to the suit or Congress has abrogated their

immunity.” Tucker v. Williams, 682 F.3d 654, 658 (7th Cir. 2012) (citing

Seminole Tribe v. Florida, 517 U.S. 44 (1996)). This includes suits brought in

federal court against nonconsenting states by their own citizens. See, e.g.,

Edelman v. Jordan, 415 U.S. 651, 663 (1974); Hans v. Louisiana, 134 U.S. 1,

15 (1890) (“Can we suppose that, when the eleventh amendment was adopted,

it was understood to be left open for citizens of a state to sue their own state in

the federal courts, while the idea of suits by citizens of other states, or of

foreign states, was indignantly repelled?”).

      The plaintiff has sued the Governor of Wisconsin, Tony Evers, in his

official capacity; the Wisconsin Elections Commission and each member of the

WEC in his or her official capacity. Before going too much further down the

Eleventh Amendment road, the court notes that the vehicle for the plaintiff to

bring his constitutional claims—his claims under the Elector Clause, the

Elections Clause, the Equal Protection Clause and the Due Process Clause—is

42 U.S.C. §1983. Section 1983 prohibits a “person” acting under color of state

law from violating another’s civil rights. The Wisconsin Elections Commission

is not a “person.” It is an arm of the state of Wisconsin, Wis. Stat. §5.05, and

“states are not suable ‘persons’ under 42 U.S.C. § 1983.” Phillips v. Baxter, 768

F. App’x 555, 559-560 (7th Cir. 2019) (citing Sebesta v. Davis, 878 F.3d 226,

231 (7th Cir. 2017)). See also, Will v. Mich. Dept. of State Police, 491 U.S. 58,

                                         34

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 34 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 685 of 1677




64 (1989) (“a State is not a person within the meaning of § 1983”). “Section

1983 provides a federal forum to remedy many deprivations of civil liberties,

but it does not provide a federal forum for litigants who seek a remedy against

a State for alleged deprivations of civil liberties.” Will, 491 U.S. at 66. The WEC

is not the proper defendant for the plaintiff’s constitutional claims.

      The plaintiff faces the same problem with his claims against the

individual defendants, all of whom are state officials whom he sues in their

official capacities.5

      Obviously, state officials literally are persons. But a suit against a
      state official in his or her official capacity is not a suit against the
      official but rather is a suit against the official’s office. Brandon v.
      Holt, 469 U.S. 464, 471 . . . (1985). As such, it is no different from a
      suit against the State itself. See, e.g., Kentucky v. Graham, 473 U.S.
      159, 165-66 . . . (1985); Monell [v. New York City Dept. of Social
      Services, 436 U.S. 658], at 690 [(1978)].

Id. at 71. Arguably, none of the defendants are subject to suit under 42 U.S.C.

§1983, which means that even if the plaintiff had standing, the court would

have to dismiss Counts I, II and III of the amended complaint.

      Circling back to the defendants’ Eleventh Amendment argument, “The

Eleventh Amendment extends to state agencies and departments and, subject

to the Ex Parte Young doctrine, to state employees acting in their official

capacities.” Nelson v. LaCrosse Cty. Dist. Atty. (State of Wis.), 301 F.3d 820,




5Had the plaintiff sued the individual defendants in their personal capacities,
he could have sought relief against them under 42 U.S.C. §1983, assuming he
had standing.
                                        35

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 35 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 686 of 1677




827 n.7 (7th Cir. 2002) (citing Pennhurst State Sch. & Hosp. v. Halderman,

465 U.S. 89, 123-24 (1984)).

      There are three exceptions to Eleventh Amendment immunity: (1)

congressional abrogation, Nuñez v. Ind. Dep’t of Child Servs., 817 F.3d 1042,

1044 (7th Cir. 2016) (citing Alden v. Maine, 527 U.S. 706, 754-55 (1999); (2) “a

state’s waiver of immunity and consent to suit,” id. (citing College Savings

Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 675

(1999)); and (3) a suit “against state officials seeking only prospective equitable

relief,” id. (citing Ex parte Young, 209 U.S. 123, 159-60 (1908)). None of the

exceptions apply here.

      Congress did not abrogate the sovereign immunity of the states when it

enacted 42 U.S.C. §1983. Will, 491 U.S. at 66. Wisconsin has not waived its

immunity from civil actions under §1983. See Shelton v. Wis. Dep’t of Corr.,

376 Wis. 2d 525, *2 (Table) (Ct. App. 2017) (citing Boldt v. State, 101 Wis. 2d

566, 584-85 (1981)). And the Ex parte Young doctrine does not apply when a

plaintiff asserts a claim—regardless of the relief requested—against a state

official based on state law. Pennhurst, 465 U.S. at 106 (“A federal court’s grant

of relief against state officials on the basis of state law, whether prospective or

retroactive, does not vindicate the supreme authority of federal law. On the

contrary, it is difficult to think of a greater intrusion on state sovereignty than

when a federal court instructs state officials on how to conform their conduct

to state law.”). “In determining whether the Ex parte Young doctrine avoids an

Eleventh Amendment bar to suit, a court need only conduct a ‘straightforward

                                         36

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 36 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 687 of 1677




inquiry’ into whether the complaint alleges an ongoing violation of federal law

and seeks relief properly characterized as prospective.” Verizon Md., Inc. v.

Pub. Serv. Comm’n of Md., 535 U.S. 635, 636 (2002) (quoting Idaho v. Coeur

d’Alene Tribe of Idaho, 521 U.S. 261, 296 (1997); McDonough Assocs., Inc. v.

Grunloh, 722 F.3d 1043, 1051 (7th Cir. 2013)).

      Count IV of the amended complaint alleges “[w]ide-spread ballot fraud,” a

state-law claim. The Eleventh Amendment bars that claim against the

defendants in their official capacities. The Eleventh Amendment also bars the

plaintiff’s federal claims to the extent that the plaintiff seeks retrospective

relief. The Supreme Court has refused to extend the Ex Parte Young doctrine to

claims for retrospective relief. Green v. Mansour, 474 U.S. 64, 68 (1985) (citing

Pennhurst, 465 U.S. at 102-103). The amended complaint seeks (1) a

“temporary restraining order instructing Defendants to de-certify the results of

the General Election for the Office of President,” dkt. no. 9 at 47; (2) “an order

instructing the Defendants to certify the results of the General Election for

Office of the President in favor of President Donald Trump,” id.; (3) “a

temporary restraining order” prohibiting the tabulation of unlawful votes,” id.;

(4) an order preserving voting equipment and data, id.; (5) “the elimination of

the mail ballots from counting in the 2020 election,” id. at 48; (6) the

disqualification of Wisconsin’s electors from participating in the 2020 election,

id.; and (7) an order directing Wisconsin’s electors to vote for President Donald

Trump, id. As the court already has noted, with the possible exception of the




                                         37

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 37 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 688 of 1677




request for an order preserving voting equipment and data, the relief the

plaintiff requests is retrospective.

      The plaintiff disagrees—he characterizes the certification of the election

results as “ongoing violations of federal law . . . ongoing violations of the

Electors and Elections Clauses, the Equal Protection and Due Process Clauses,

as well as likely violations of federal law including the Voting Rights Act and

the Help America Vote Act.” Dkt. No. 72 at 25-26. The plaintiff has not brought

claims under the latter two statutes and saying that a completed event is an

ongoing violation doesn’t make it so.

             2.    Exclusive Remedy/Exhaustion/Abstention

      Defendant Evers moves to dismiss because Wisconsin provides a remedy

to address irregularities or defects during the voting or canvassing process:

Wis. Stat. §9.01(11). Four days ago, the Wisconsin Supreme Court held that

§9.01(6) requires that a party aggrieved after a recount must appeal by filing

suit in circuit court. Trump v. Evers, No. 2020AP1971-OA, Order at *2 (Wis.

Dec. 3, 2020). In a concurring opinion, Justice Hagedorn noted that Wis. Stat.

§9.01(11) provides that §9.01 is the exclusive judicial remedy for an aggrieved

candidate. Defendant Evers points out that President Trump has lawsuits

pending in state circuit courts and argues that those cases raise many of the

claims the plaintiff raises here. Dkt. No. 59 at 11. He argues that the process

detailed in Wis. Stat. §9.01 is designed to allow an aggrieved candidate to

resolve election challenges promptly, and that for this court to permit the




                                         38

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 38 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 689 of 1677




plaintiff to circumvent that process “would eviscerate Wisconsin’s careful

process for properly and quickly deciding election challenges.” Id. at 11-12.

      Of course, the plaintiff has no redress under Wis. Stat. §9.01, because he

is not a “candidate” in the sense of that statute. But Evers argues that there

was a form of state-law relief available to the plaintiff. He asserts that the

plaintiff should have filed a complaint with the Wisconsin Elections

Commission under Wis. Stat. §5.06. Dkt. No. 59 at 13. That statute allows a

voter dissatisfied with the Wisconsin election process to file a written, sworn

complaint with the elections board. Wis. Stat. §5.06(1). The statute states that

no voter may “commence an action or proceeding to test the validity of any

decision, action or failure to act on the part of any election official” without first

filing a complaint under §5.06(1). Wis. Stat. §5.06(2). Evers points out that the

plaintiff has not demonstrated that he followed this procedure and thus that

the plaintiff did not exhaust his remedies before coming to federal court. Dkt.

No. 59 at 14.

      The plaintiff does not directly respond to the exhaustion argument. He

simply maintains that he has a right to bring his constitutional claims in

federal court, argues that there is no evidence that the statute Evers cites is an

exhaustion requirement and asserts that the court has federal question

jurisdiction under 28 U.S.C. §1331 and supplemental jurisdiction over any

state-law claims under 28 U.S.C. §1367.6 Dkt. No. 72 at 27-28. He neatly


6 The court could exercise supplemental jurisdiction over state-law claims only
if there remained federal claims to which those state-law claims related. As the
court has noted, it likely would have been required to dismiss the federal
                                         39

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 39 of 45 Document 83
                                                                            Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 690 of 1677




sidesteps the question of why he did not follow a procedure that would have

allowed him to direct his concerns to the entity in charge of enforcing the

state’s election laws and in a way that likely would have brought those

concerns to that entity’s attention long before the election results were

certified.

       Because the court has concluded that the plaintiff does not have

standing, and because the plaintiff has sued defendants who either are not

suable under §1983 or are protected by Eleventh Amendment immunity, the

court will not accept the invitations of the defendants and amici to wade into

the waters of the various types of abstention. If this court does not have subject

matter jurisdiction, there is no case or controversy from which it should

abstain. The court agrees with the parties, however, that the relief the plaintiff

requests—asking a federal judge to order a state governor to decertify the

election results for an entire state and direct that governor to certify a different

outcome—constitutes “an extraordinary intrusion on state sovereignty from

which a federal court should abstain under longstanding precedent.” Dkt. No.

57 at 28.

             3.    Laches

       The defendants argue that the equitable defense of laches requires

dismissal, because the plaintiff “inexplicably waited until after the election,

after the canvassing, after the recount, after the audit, after results were


claims because the plaintiff asserted them through §1983 against state officials
in their official capacities, which in turn would have required dismissal of any
state claims for lack of subject matter jurisdiction.
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        Case 2:20-cv-01771-PP Filed 12/09/20 Page 40 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 691 of 1677




certified, and indeed until the eve of the electoral college vote, to bring his claim

of state law violations and widespread fraud . . . .” Dkt. No. 52 at 11. See also,

Dkt. No 59 at 17 (“the doctrine of laches bars [the plaintiff’s] claims because he

has unreasonably delayed bringing his claims to the detriment not only of

Defendants, but also of the nearly 3.3 million voters in Wisconsin who voted in

this last election under the good-faith belief that they were following the correct

procedures to have their votes counted.”).

      The doctrine of laches “addresses delay in the pursuit of a right when a

party must assert that right in order to benefit from it.” Hot Wax, Inc. v. Turtle

Wax, Inc., 191 F.3d 813, 820 (7th Cir. 1999). “For laches to apply in a

particular case, the party asserting the defense must demonstrate: (1) an

unreasonable lack of diligence by the party against whom the defense is

asserted and (2) prejudice arising therefrom.” Id. (citing Cannon v. Univ. of

Health Scis./The Chicago Med. Sch., 710 F.2d 351, 359 (7th Cir. 1983)).

“Timeliness must be judged by the knowledge of the plaintiffs as well as the

nature of the right involved.” Jones v. v. Markiewicz-Qualkinbush, 842 F.3d

1053, 1061 (7th Cir. 2016).

      “The obligation to seek injunctive relief in a timely manner in the election

context is hardly a new concept.” Id. at 1060-61. In fact, the Seventh Circuit

has held that such “claims must be brought expeditiously . . . to afford the

district court sufficient time in advance of an election to rule without

disruption of the electoral cycle.” Id. at 1061 (internal quotation marks and

citations omitted).

                                         41

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 41 of 45 Document 83
                                                                           Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 692 of 1677




      The amended complaint asserts that the alleged problems with the

Dominion voting machine software “have been widely reported in the press and

have been subject to investigation.” Dkt. No. 9 at ¶12. It cites to exhibits from

January and August of 2020. Dkt. No. 9 at 5 n.1. It cites to the WEC’s May 13,

2020 directive to clerks that they should not reject the ballots of “indefinitely

confined” absentee voters. Id. at ¶40. It cites an October 18, 2016

memorandum issued by the WEC instructing clerks on how to handle absentee

envelope certifications that did not bear the address of the witness. Id. at ¶44.

It cites October 19, 2020 instructions by the WEC to clerks about filling in

missing ballot information. Id. at ¶45.

      Defendant Evers points out that the plaintiff’s own allegations

demonstrate that he has known about the Dominion voting machine issues

since long before the election. Dkt. No. 59 at 17-18. He argues that the WEC

guidance about which the plaintiff complains came in directives issued in

October 2016, May 2020 and October 2020. Id. He asserts that the plaintiff has

made no effort “to offer a justifiable explanation for why he waited until weeks

after the election to challenge” these issues. Id. at 18. The WEC defendants

advise the court that the issue regarding “indefinitely confined” voters was

litigated in state court almost eight months ago. Dkt. No. 54 at 9 (citing Pet.

For Original Action dated March 27, 2020, Supreme Court of Wisconsin, No.

2020AP000557-OA). They assert that the plaintiff “waited to challenge widely-

known procedures until after millions of voters cast their ballots in reliance on

those procedures.” Id. at 6. They state that “[i]f the doctrine of laches means

                                          42

       Case 2:20-cv-01771-PP Filed 12/09/20 Page 42 of 45 Document 83
                                                                          Exhibit K
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 693 of 1677




anything, it is that Plaintiff here cannot overturn the results of a completed and

certified election through preliminary relief in this late-filed case.” Id.

      The plaintiff first responds that laches is a defense and shouldn’t be

raised on a motion to dismiss. Dkt. No. 72 at 22. He then claims that he could

not have known the bases of any of these claims until after the election. Id. at

22-23. He says that because Wisconsin election officials did not “announce or

publicize their misconduct,” and because, he alleges, they “prevented

Republican poll watchers from observing the ballot counting and handling,” it

took him time to gather the evidence and testimony he attached to the

amended complaint. Id. at 23. Finally, he alleges that the delay post-November

3, 2020 is attributable to the defendants’ failure to timely complete the election

count. Id. He insists that he filed this suit at the earliest possible moment—the

day after the certification. Id.

      The court has determined that the plaintiff does not have standing. That

means that the court does not have jurisdiction to assess the plaintiff’s

credibility, and it will refrain from doing so.

             4.     Failure to state a claim upon which relief can be granted

      Both defendants asked the court to dismiss the case for failure to state a

claim under Fed. R. Civ. P. 12(b)(6). Because the court does not have subject

matter jurisdiction, it will not address the sufficiency of the substantive claims

in the amended complaint.




                                         43

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 43 of 45 Document 83
                                                                              Exhibit K
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 694 of 1677




             5.     Requests for injunctive relief

      For the same reason, the court cannot address the merits of the

plaintiff’s request for preliminary injunctive relief.

V.    Conclusion

      This court’s authority to grant relief is confined by the limits of the

Constitution. Granting the relief the plaintiff requests would take the

court far outside those limits, and outside the limits of its oath to uphold

and defendant the Constitution. The court will grant the defendants’

motion to dismiss.

      The court GRANTS Defendant Governor Tony Evers’s Motion to

Dismiss Plaintiff’s Amended Complaint. Dkt. No. 51.

      The court GRANTS Defendant Wisconsin Elections Commission

and Its Members’ Motion to Dismiss. Dkt. No. 53.

      The court DENIES AS MOOT Plaintiff’s Corrected Motion for

Declaratory, Emergency, and Permanent Injunctive Relief. Dkt. No. 6.

      The court DENIES AS MOOT Plaintiff’s Amended Motion for

Temporary Restraining Order and Preliminary Injunction to be Considered

in an Expedited Manner Dkt. No. 10.

      The court DISMISSES the Amended Complaint for Declaratory,

Emergency, and Permanent Injunctive Relief. Dkt. No. 9.




                                         44

        Case 2:20-cv-01771-PP Filed 12/09/20 Page 44 of 45 Document 83
                                                                          Exhibit K
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 695 of 1677




 The court ORDERS that this case is DISMISSED.

 Dated in Milwaukee, Wisconsin this 9th day of December, 2020.

                               BY THE COURT:


                               _____________________________________
                               HON. PAMELA PEPPER
                               Chief United States District Judge




                                45

   Case 2:20-cv-01771-PP Filed 12/09/20 Page 45 of 45 Document 83
                                                               Exhibit K
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page696
                                                                  1 ofof531677



 1        Sidney Powell (pro hac application forthcoming)
 2        Sidney Powell PC
          Texas Bar No. 16209700
 3        (517) 763-7499
          Sidney@federalappeals.com
 4
 5
          Alexander Kolodin, AZ Bar No. 030826
 6        Christopher Viskovic, AZ Bar No. 0358601
          KOLODIN LAW GROUP PLLC
 7        3443 N. Central Ave. Ste. 1009
 8        Phoenix, AZ 85012
          Telephone: (602) 730-2985
 9        Facsimile: (602) 801-2539
          E-Mail:
10
          Alexander.Kolodin@KolodinLaw.com
11        CViskovic@KolodinLaw.com
          SAtkinson@KolodinLaw.com (file copies)
12
13        Attorneys for Plaintiffs
          (Additional counsel listed on signature page)
14
                             IN THE UNITED STATES DISTRICT COURT
15
16                                FOR THE DISTRICT OF ARIZONA
17        TYLER BOWYER, MICHAEL JOHN BURKE,
          NANCY COTTLE, JAKE HOFFMAN,                       Case No.
18        ANTHONY KERN, CHRISTOPHER M. KING,
          JAMES R. LAMON, SAM MOORHEAD,
19        ROBERT MONTGOMERY, LORAINE
          PELLEGRINO, GREG SAFSTEN,
20        SALVATORE LUKE SCARMARDO, KELLI                         COMPLAINT FOR
          WARD, and MICHAEL WARD                                  DECLARATORY,
21
                                                                 EMERGENCY, AND
                             Plaintiffs,
22                                                            PERMANENT INJUNCTIVE
                v.                                                   RELIEF
23
24                                                                     (Election Matter)
          DOUG DUCEY, in his official capacity as
          Governor of the State of Arizona, and KATIE
25        HOBBS, in her official capacity as the Arizona               (TRO Requested)
          Secretary of State
26
                             Defendants.
27
28    1
          District of Arizona admission scheduled for 12/9/2020.

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     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page697
                                                                  2 ofof531677



 1                                   NATURE OF THE ACTION

 2         1.       This civil action brings to light a massive election fraud, of the Election and

 3    Electors Clauses, and the Equal Protection and Due Process Clauses of the Fourteenth

 4    Amendment, of the U.S. Constitution and multiple violations of the Arizona election laws.

 5    These violations occurred during the 2020 General Election throughout the State of

 6    Arizona, as set forth in the affidavits of eyewitnesses and the voter data cited, the statistical

 7    anomalies and mathematical impossibilities detailed in the affidavits of expert witnesses.

 8         2.       The scheme and artifice to defraud was for the purpose of illegally and

 9    fraudulently manipulating the vote count to manufacture an election of Joe Biden as

10    President of the United States, and also of various down ballot democrat candidates in the

11    2020 election cycle. The fraud was executed by many means, but the most fundamentally

12    troubling, insidious, and egregious ploy was the systemic adaptation of old-fashioned

13    “ballot-stuffing.” It has now been amplified and rendered virtually invisible by computer

14    software created and run by domestic and foreign actors for that very purpose. This

15    Complaint details an especially egregious range of conduct in Maricopa County and other

16    Arizona counties using employing Dominion Systems, though this conduct occurred

17    throughout the State at the direction of Arizona state election officials.

18         3.       The multifaceted schemes and artifices implemented by Defendants and

19    their collaborators to defraud resulted in the unlawful counting, or fabrication, of

20    hundreds of thousands of illegal, ineligible, duplicate or purely fictitious ballots in the

21    State of Arizona, that collectively add up to multiples of Biden’s purported lead in the

22    State of 10,457 votes.

23         4.       While this Complaint, and the eyewitness and expert testimony incorporated

24    herein, identify with specificity sufficient ballots required to set aside the 2020 General

25    Election results, the entire process is so riddled with fraud, illegality, and statistical

26    impossibility that this Court, and Arizona’s voters, courts, and legislators, cannot rely on,

27    or certify, any numbers resulting from this election. Accordingly, this Court must set aside

28    the results of the 2020 General Election and grant the declaratory and injunctive relief


                                                     -2-
                                                                                     Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page698
                                                                  3 ofof531677



 1    requested herein.

 2                         Dominion Voting Systems Fraud and Manipulation

 3         5.      The fraud begins with the election software and hardware from Dominion

 4    Voting Systems Corporation (“Dominion”) used in Maricopa County. The Dominion

 5    systems derive from the software designed by Smartmatic Corporation, which became

 6    Sequoia in the United States.

 7         6.      Smartmatic and Dominion were founded by foreign oligarchs and dictators

 8    to ensure computerized ballot-stuffing and vote manipulation to whatever level was needed

 9    to make certain Venezuelan dictator Hugo Chavez never lost another election. See Ex. 1,

10    Redacted Declaration of Dominion Venezuela Whistleblower (“Dominion Whistleblower

11    Report”). Notably, Chavez “won” every election thereafter.

12         7.      As set forth in the Dominion Whistleblower Report, the Smartmatic software

13    was contrived through a criminal conspiracy to manipulate Venezuelan elections in favor

14    of dictator Hugo Chavez:
             Importantly, I was a direct witness to the creation and operation of an
15           electronic voting system in a conspiracy between a company known as
16           Smartmatic and the leaders of conspiracy with the Venezuelan government.
             This conspiracy specifically involved President Hugo Chavez Frias, the
17           person in charge of the National Electoral Council named Jorge Rodriguez,
             and principals, representatives, and personnel from Smartmatic. The
18
             purpose of this conspiracy was to create and operate a voting system that
19           could change the votes in elections from votes against persons running the
             Venezuelan government to votes in their favor in order to maintain control
20           of the government. In mid-February of 2009, there was a national
21           referendum to change the Constitution of Venezuela to end term limits for
             elected officials, including the President of Venezuela. The referendum
22           passed. This permitted Hugo Chavez to be re-elected an unlimited number
             of times. . . .
23

24          Smartmatic’s electoral technology was called “Sistema de Gestión
            Electoral” (the “Electoral Management System”). Smartmatic was a
25          pioneer in this area of computing systems. Their system provided for
26          transmission of voting data over the internet to a computerized central
            tabulating center. The voting machines themselves had a digital display,
27          fingerprint recognition feature to identify the voter, and printed out the
            voter’s ballot. The voter’s thumbprint was linked to a computerized record
28


                                                 -3-
                                                                              Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page699
                                                                  4 ofof531677


              of that voter’s identity. Smartmatic created and operated the entire system.
 1            See Exh. 1. ¶¶ 10 & 14.
 2
             8.      A core requirement of the Smartmatic software design ultimately adopted by
 3
      Dominion for Arizona’s elections was the software’s ability to hide its manipulation of
 4
      votes from any audit. As the whistleblower explains:
 5
             Chavez was most insistent that Smartmatic design the system in a way that
 6           the system could change the vote of each voter without being detected. He
             wanted the software itself to function in such a manner that if the voter
 7           were to place their thumb print or fingerprint on a scanner, then the
 8           thumbprint would be tied to a record of the voter’s name and identity as
             having voted, but that voter would not tracked to the changed vote. He
 9           made it clear that the system would have to be setup to not leave any
             evidence of the changed vote for a specific voter and that there would be no
10
             evidence to show and nothing to contradict that the name or the fingerprint
11           or thumb print was going with a changed vote. Smartmatic agreed to create
             such a system and produced the software and hardware that accomplished
12           that result for President Chavez. Id. ¶15.
13
             9.      The design and features of the Dominion software do not permit a simple
14
      audit to reveal its misallocation, redistribution, or deletion of votes. First, the system’s
15
      central accumulator does not include a protected real-time audit log that maintains the date
16
      and time stamps of all significant election events. Key components of the system utilize
17
      unprotected logs. Essentially this allows an unauthorized user the opportunity to arbitrarily
18
      add, modify, or remove log entries, causing the machine to log election events that do not
19
      reflect actual voting tabulations—or more specifically, do not reflect the actual votes of or
20
      the will of the people.2
21
            10.      This Complaint will show that Dominion violated physical security standards
22
      by connecting voting machines to the Internet, allowing Dominion, domestic third parties
23

24

25
        2
           See Ex. 7, August 24, 2020 Declaration of Harri Hursti, ¶¶45-48 (expert testimony
      in Case 1:17-cv-02989 in the U.S. District Court for the Northern District of Georgia).
26    The Texas Secretary of State refused to certify Dominion for similar reasons as those
27    cited by Mr. Hursti. See Ex. 11A, 11B, State of Texas Secretary of State, Elections
      Division, Report of Review of Dominion Voting Systems Democracy Suite 5.5-A at 2
28    (Jan. 24, 2020).

                                                   -4-
                                                                                 Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page700
                                                                  5 ofof531677



 1    or hostile foreign actors to access the system and manipulate election results, and moreover

 2    potentially to cover their tracks due to Dominion’s unprotected log. Accordingly, a

 3    thorough forensic examination of Dominion’s machines and source code is required to

 4    document these instances of voting fraud, as well as Dominion’s systematic violations of

 5    the Voting Rights Act record retention requirements through manipulation, alteration,

 6    destruction and likely foreign exfiltration of voting records. See 52 U.S.C. § 20701.

 7          11.     These and other problems with Dominion’s software have been widely

 8    reported in the press and been the subject of investigations. In using Dominion Voting

 9    Systems Democracy Suite, Arizona officials disregarded all the concerns that caused

10    Dominion software to be rejected by the Texas Board of elections in 2020 because it was

11    deemed vulnerable to undetected and non-auditable manipulation. Texas denied

12    Certification because of concerns that it was not safe from fraud or unauthorized

13    manipulation. (See Exhs 11A&11B ).

14          12.     An industry expert, Dr. Andrew Appel, Princeton Professor of Computer

15    Science and Election Security Expert has recently observed, with reference to Dominion

16    Voting machines: “I figured out how to make a slightly different computer program that

17    just before the polls were closed, it switches some votes around from one candidate to

18    another. I wrote that computer program into a memory chip and now to hack a voting

19    machine you just need 7 minutes alone with a screwdriver.”3

20          13.     Further, Dominion’s documented, and intentional, security flaws facilitated

21    foreign interference in the 2020 General Election. For example, in the accompanying

22    redacted declaration of a former electronic intelligence analyst with 305th Military

23    Intelligence with experience gathering SAM missile system electronic intelligence, the

24    Dominion software was accessed by agents acting on behalf of China and Iran in order to

25    monitor and manipulate elections, including the most recent US general election in 2020.

26    (See Ex. 12, copy of redacted witness affidavit).

27      3
           Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot Assure the Will
28    of the Voters” at (Dec. 27, 2019),( attached hereto as Ex. 10 (“Appel Study”)).

                                                  -5-
                                                                                 Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page701
                                                                  6 ofof531677



 1        14.       Because this Complaint concerns mainly federal questions, it was not styled

 2    as a Statement of Contest within the meaning of ARS §§ 16-671 - 16-678.

 3        15.       Nonetheless, the factual basis of this Complaint would also support an

 4    election contest under Arizona law since A.R.S. § 16-672 allows for contests on the

 5    grounds of misconduct, offenses against the elective franchise, on account of illegal votes,

 6    and by reason of erroneous count of votes.

 7        16.       Similarly, the relief sought is in accord with Arizona law. A.R.S. § 16-676

 8    provides clear remedies in the event of a successful contest, providing that the results of an

 9    election may either be annulled and set aside, A.R.S. § 16-676(B), or, if it appears that the

10    winner was other than the person certified, the erroneously declared winner's certificate of

11    election can be revoked A.R.S. § 16-676(C).

12        17.       In the event that the election is annulled and set aside, there would certainly

13    not be time to hold a new election, especially given the issues identified herein. However,

14    it would be eminently proper for the question of the choice of electors to then revert to the

15    legislature, for “[t]here is no doubt of the right of the legislature to resume the power [to

16    appoint electors] at any time, for it can neither be taken away nor abdicated.” Bush v. Gore,

17    531 U.S. 98, 104, 121 S. Ct. 525, 529-30, 148 L.Ed.2d 388, 398 (2000) (citing with

18    approval McPherson v. Blacker, 146 U.S. 1, 35, 13 S. Ct. 3, 10, 36 L.Ed. 869, 877 (1892)).

19        18.       Furthermore, this Court need not be concerned with whether such weighty

20    questions can be addressed on an expedited timeline, because Arizona law provides very

21    aggressive deadlines for the resolution of elections challenges. Specifically, Arizona law

22    provides for election challenges to be resolved on the merits within 10 days of filing.

23    A.R.S. § 16-676(A).

24                      Expert Witness Testimony on Widespread Voting Fraud
          19.       This Complaint presents expert witness testimony demonstrating that
25

26    several thousands of illegal, ineligible, duplicate or purely fictitious votes must be

27    thrown out, in particular:
28


                                                   -6-
                                                                                  Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page702
                                                                  7 ofof531677


                A. Unreturned mail ballots unlawfully ordered by third parties (average for
 1                 Dr. Briggs Error #1): 219,135
 2
                B. Returned ballots that were deemed unreturned by the state (average for
 3                 Dr. Briggs Error #2): 86,845
 4              C. Votes by persons that moved out of state or subsequently registered to
                   vote in another state for the 2020 election: 5,790.
 5

 6              D. “Excess votes” to historically unprecedented, and likely fraudulent
                   turnout levels of 80% or more in over half of Maricopa and Pima
 7                 County precincts: 100,724.
 8              E. And Plaintiffs can show Mr. Biden received a statistically significant
 9                 Advantage, based on fraud, from the use of Dominion Machines in a
                   nationwide Study, which conservatively estimates Biden’s advantage at
10                 62,282 Votes.
11
          20.         Except for the estimate of illegal out-of-state votes, each of these experts has
12
      identified distinct sources of illegal votes in sufficient numbers (i.e., greater than Biden’s
13
      purported margin of 10,457 votes), not only to affect, but to change the result of the 2020
14
      General Election in Arizona. Taken together, the irregularities, anomalies and physical
15
      and statistical impossibilities, account for at least 412,494 illegal ballots that were counted
16
      in Arizona. This provides the Court with sufficient grounds to set aside the results of the
17
      2020 General Election and provide the other declaratory and injunctive relief requested
18
      herein.
19
          21.         The specific factual allegations of fraud and statutory and constitutional
20
      violations are set forth in greater detail below. Section I describes specific violations of
21
      Arizona law. Section II provides expert witness testimony quantifying the number of
22
      illegal votes due to distinct categories of voting fraud and other unlawful conduct. Section
23
      III provides fact and expert witness testimony, as well as summaries of other publicly
24
      available evidence (including judicial and administrative proceedings) regarding
25
      Dominion voting systems’ voting fraud in Arizona during the 2020 General Election, the
26
      security flaws that allow election workers, or even hostile foreign actors, to manipulate
27
      Arizona election results, and the history of Dominion and its executives demonstrating that
28


                                                     -7-
                                                                                    Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page703
                                                                  8 ofof531677



 1    Dominion had the specific intent to interfere, and change the results of, the 2020 General

 2    Election.

 3                                     JURISDICTION AND VENUE

 4        22.       This Court has subject matter under 28 U.S.C. § 1331 which provides, “The

 5    district courts shall have original jurisdiction of all civil actions arising under the

 6    Constitution, laws, or treaties of the United States.”

 7        23.       This Court also has subject matter jurisdiction under 28 U.S.C. § 1343

 8    because this action involves a federal election for President of the United States. “A

 9    significant departure from the legislative scheme for appointing Presidential electors

10    presents a federal constitutional question.” Bush v. Gore, 531 U.S. 98, 113 (2000)

11    (Rehnquist, C.J., concurring); Smiley v. Holm, 285 U.S. 355, 365 (1932).

12        24.       The jurisdiction of the Court to grant declaratory relief is conferred by 28

13    U.S.C. §§ 2201 and 2202 and by Rule 57, Fed. R. Civ. P.

14        25.       This Court has jurisdiction over the related Arizona constitutional claims and

15    state-law claims under 28 U.S.C. § 1367.

16        26.       Venue is proper because a substantial part of the events or omissions giving

17    rise to the claim occurred in the District of Arizona. 28 U.S.C. § 1391(b) & (c).

18        27.       Because the United States Constitution reserves for state legislatures the

19    power to set the time, place, and manner of holding elections for Congress and the

20    President, state executive officers have no authority to unilaterally exercise that power,

21    much less flout existing legislation.

22                                            THE PARTIES

23        28.       Each of the following Plaintiffs is a registered Arizona voter and a nominee

24    of the Republican Party to be a Presidential Elector on behalf of the State of Arizona: Tyler

25    Bowyer, a resident of Maricopa County; Nancy Cottle, a resident of Maricopa County;

26    Jake Hoffman, a resident of Maricopa County; Anthony Kern, a resident of Maricopa

27    County; James R. Lamon, a resident of Maricopa County; Samuel Moorhead, a resident of

28    Gila County; Robert Montgomery, a resident of Cochise County; Loraine Pellegrino, a


                                                   -8-
                                                                                 Exhibit L
     CaseCase
          1:21-cv-01169-TCB
              2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed
                                             Filed05/03/21
                                                   12/02/20 Page
                                                             Page704
                                                                  9 ofof531677



 1    resident of Maricopa County; Greg Safsten, a resident of Maricopa County; Kelli Ward, a

 2    resident of Mohave County; and Michael Ward, a resident of Mohave County.

 3        29.       Plaintiff Michael John Burke is a registered Arizona voter residing in Pinal

 4    County. Mr. Burke is the Republican Party Chairman for Pinal County.

 5        30.       Plaintiff Christopher M. King is a registered Arizona voter residing in Pima

 6    County. Mr. Burke is the Republican Party Vice Chairman for Pima County.

 7        31.       Plaintiff Salvatore Luke Scarmado is a registered Arizona voter residing in

 8    Mohave County. Mr. Burke is the Republican Party Chairman for Mohave County.

 9        32.       Presidential Electors “have a cognizable interest in ensuring that the final

10    vote tally reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete

11    and particularized injury to candidates such as the Electors.” Carson v. Simon, 978 F.3d

12    1051, 1057 (8th Cir. 2020) (affirming that Presidential Electors have Article III and

13    prudential standing to challenge actions of state officials implementing or modifying State

14    election laws); see also McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach

15    Cty. Canvassing Bd., 531 U.S. 70, 76 (2000) (per curiam).

16        33.       Plaintiffs bring this action to prohibit certification of the election results for

17    the Office of President of the United States in the State of Arizona and to obtain the other

18    declaratory and injunctive relief requested herein. Defendants certified those results on

19    November 30, 2020, indicating a plurality for Mr. Biden of 10,457 votes out of 3,420,565

20    cast.

21        34.       The Defendants are Arizona Governor Doug Ducey, and Arizona Secretary

22    of State Katie Hobbs.

23        35.       Defendant Governor Doug Ducey is named as a defendant in his official

24    capacity as Arizona’s governor.

25        36.       Defendant Secretary of State Katie Hobbs is named as a defendant in her

26    official capacity as Arizona Secretary of State, who serves as the chief election officer in

27    the State of Arizona.

28                                    STATEMENT OF FACTS


                                                    -9-
                                                                                    Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 705
                                                                10 ofof53
                                                                        1677



 1        37.       Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, to remedy

 2    deprivations of rights, privileges, or immunities secured by the Constitution and laws of

 3    the United States and to contest the election results, and the corollary provisions under the

 4    Arizona Constitution.

 5        38.       The United States Constitution sets forth the authority to regulate federal

 6    elections. With respect to congressional elections, the Constitution provides:

 7        39.
             The Times, Places and Manner of holding Elections for Senators and
 8           Representatives, shall be prescribed in each State by the Legislature
             thereof; but the Congress may at any time by Law make or alter such
 9           Regulations, except as to the Places of choosing Senators.
             U.S. CONST. art. I, § 4 (“Elections Clause”).
10
          40.       With respect to the appointment of presidential electors, the Constitution
11
      provides:
12          Each State shall appoint, in such Manner as the Legislature thereof may
            direct, a Number of Electors, equal to the whole Number of Senators and
13          Representatives to which the State may be entitled in the Congress: but no
            Senator or Representative, or Person holding an Office of Trust or Profit
14          under the United States, shall be appointed an Elector.
            U.S. CONST. art. II, § 1 (“Electors Clause”).
15
          41.       None of Defendants is a “Legislature” as required under the Elections Clause
16
      or Electors Clause to set the rules governing elections. The Legislature is “‘the
17
      representative body which ma[kes] the laws of the people.’” Smiley, 285 U.S. 365.
18
      Regulations of congressional and presidential elections, thus, “must be in accordance with
19
      the method which the state has prescribed for legislative enactments.” Id. at 367; see also
20
      Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 135 S. Ct. 2652,
21
      2668 (U.S. 2015).
22
          42.       While the Elections Clause "was not adopted to diminish a State's authority
23
      to determine its own lawmaking processes," Ariz. State Legislature, 135 S. Ct. at 2677, it
24
      does hold states accountable to their chosen processes when it comes to regulating federal
25
      elections, id. at 2668. "A significant departure from the legislative scheme for appointing
26
      Presidential electors presents a federal constitutional question." Bush, 531 U.S. at 113
27
      (Rehnquist, C.J., concurring); Smiley, 285 U.S. at 365.
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                                                  - 10 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 706
                                                                11 ofof53
                                                                        1677



 1        43.        Secretary Hobbs certified the Presidential Election results on November 30,

 2    2020. The Presidential election results in Arizona show a difference of 10,457 “tallied”

 3    votes in favor of former Vice-President Joe Biden over President Trump.

 4        44.        The specific factual allegations of fraud and statutory and constitutional

 5    violations are set forth in greater detail below. Section I describes specific violations of

 6    Arizona law. Section II provides expert witness testimony quantifying the number of

 7    illegal votes due to distinct categories of voting fraud and other unlawful conduct. Section

 8    III provides fact and expert witness testimony, as well as summaries of other publicly

 9    available evidence (including judicial and administrative proceedings) regarding

10    Dominion voting systems’ voting fraud in Arizona during the 2020 General Election, the

11    security flaws that allow election workers, or even hostile foreign actors, to manipulate

12    Arizona election results, and includes a summary of information relating to the motive and

13    opportunity, and a pattern of behavior to prove that Dominion and its executives

14    demonstrating that Dominion had the specific intent to interfere, and change the results of,

15    the 2020 General Election.

16        45.        Based upon all the allegations of fraud, statutory violations, and other

17    misconduct, as stated herein and in the attached affidavits, it is necessary to enjoin the

18    certification of the election results and invalidate the election results...

19                     I. VIOLATIONS OF ARIZONA ELECTION LAW

20        A. Arizona Election Law

21        46.        Pursuant to A.R.S. § 16-550(A), the county recorder or other officer in

22    charge of elections shall compare the signatures on the early ballot affidavit with the

23    signature of the elector on the elector’s registration record. If the signature is inconsistent,

24    the county recorder or other officer in charge of elections shall make reasonable efforts to

25    contact the voter and allow the voter to correct or confirm the inconsistent signature.

26        47.        Pursuant to A.R.S. § 16-625, the officer in charge of elections shall ensure

27    that electronic data from and electronic or digital images of ballots are protected from

28    physical and electronic access, including unauthorized copying or transfer, and that all


                                                    - 11 -
                                                                                     Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 707
                                                                12 ofof53
                                                                        1677



 1    security measures are at least as protective as those prescribed for paper ballots.

 2         B. Fact Witness Testimony of Arizona Law Violations

 3         1. Poll Watchers Failed to Adequately Verify Signatures on Ballots.

 4        48.       Affiant Burns stated that, while she was not permitted to be within viewing

 5    range of computer screens or monitors, she did have an opportunity to view “High

 6    Confidence” signatures following a brief power outage. Id. Upon seeing these, she was

 7    “disturbed … that the signatures were not even close to the signatures that they were

 8    ‘comparing’ the ballot signature to,” and because she was told by the one poll worker with

 9    whom she was allowed to speak that “these signatures were counted.” (See Exh. 21)

10         2. Biased and Partisan Maricopa County Poll Referees.

11        49.       Affiant Low expressed concern that “the two Maricopa County referees, who

12    [were] called upon to settle any unresolved disputes between the adjudicators, were

13    registered ‘Independent Party’ members.” (See Exh. 20, Low aff. ¶7) (emphasis in

14    original). When asked about that, they told Mr. Low that “this set up was laid out per

15    Arizona Statute.” Id. (emphasis in original).

16                  Due to the high likelihood of the Dominion machine rejecting ballots, a “set

17    up” like the one discussed above, impacts the outcome of the results of theelection. The

18    machines make determinations on what ballots to invalidate or validate based on an

19    algorithm that operates offshore before tallying the votes locally..

20                  To begin, the judges that adjudicate ballots must be evenly distributed

21    amongst the major parties per A.R.S. § 16-531(A). There should be zero tolerance of fraud

22    like this in any election system.

23         3. Irregularities Involving Dominion Voting Machines & Employees.

24        50.       Affiant Low and fellow poll watcher Greg Wodynski repeatedly asked the

25    Dominion employee (named “Bruce”) at their polling location as to whether the Dominion

26    machines were connected to the internet and how data was backed up. The Dominion

27    employee repeatedly denied that the machines were connected to the Internet, id. ¶11, but

28    “admitted that he took a complete copy of the voter files, being stored in the Dominion


                                                  - 12 -
                                                                                  Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 708
                                                                13 ofof53
                                                                        1677



 1    system out of the building with him every night as a form of a ‘back up’ copy.” Id. ¶22.

 2       51.       Low’s fellow poll watcher, Affiant Gregory Wodynski, provides more detail

 3    on these regularities. First, Dominion employees and supervisors informed Mr. Wodynski

 4    “that about 12% of mail in ballots were being rejected and needed human intervention in

 5    the adjudication process,” which “amounted to tens of thousands of ballots that required

 6    intervention” in the days he was an observer. Ex. 22, Wodynski aff at ¶9. Mr. Wodynski

 7    confirms that “Bruce” stated that “he would perform a manual daily system backup to an

 8    external hard drive,” id. ¶10, and that “he made a daily second disk backup to a new spare

 9    hard drive[] … [that] were being physically moved off site to another building outside the

10    MTEC building,” but would not say where. Id. ¶11. Bruce further stated “there was NO

11    CHAIN OF CUSTODY on data backup hard drives leaving the MTEC facility on a

12    daily basis for an undisclosed location.” Id. (emphasis in original).

13       52.       Mr. Wodynski also testified to a conversation with Dominion employee

14    Bruce of the “the specifics of a process where he was manually manipulating stored scanner

15    tabulation data files,” which “he described as a processing issue at the numerous

16    adjudication computer workstations.” Id. ¶12. Bruce claimed that this was to split large

17    files into small files for adjudication. Id. ¶13. Mr. Wydnoski was concerned because this

18    “was a human intervention process and therefore creating a potential for intention or

19    non-intentional errors or lost ballot files.” Id.

20         4. Problems with Certification of Dominion Voting Machines.

21       53.       Affiant Linda Brickman, the 1st Vice-Chair of the Maricopa County

22    Republican Committee, oversaw the Secretary of State certification of Dominion voting

23    machines on November 18, 2020. Ex. 23, Brickman Aff at 1. Mr. Brickman observed the

24    following problems:
                •         Signature verification standards were constantly being lowered by
25
                   Supervisors in order to more quickly process that higher amount of early
26                 and mail-in ballots (from approx. 15 points of similarities, to a minimum of
                   3, lowered to 1, and ultimately to none – “Just pass each signature
27                 verification through”) …
28


                                                - 13 -
                                                                               Exhibit L
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        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 709
                                                                14 ofof53
                                                                        1677


               •         Challenged signatures on envelopes where the signature was a
 1
                   completely different person than the name of the listed voter, was let
 2                 through and approved by supervisors.

 3             •          Challenged runs or batches of envelopes for signature verification
                   observed by me to be the exact same handwriting on the affidavit envelopes
 4
                   on numerous envelopes. When I asked if the County Attorney would be
 5                 alerted for possible ballot fraud, I was told no, but supervisors would take
                   care of it. …
 6
               •           In the Duplication room, I observed with my Democratic partner the
 7
                   preparation of a new ballot since the original may have been soiled,
 8                 damaged, or ripped, and wouldn’t go through the tabulator. I read her a
                   Trump/Republican ballot and as soon as she entered it into the system the
 9                 ballot defaulted on the screen to a Biden/Democratic ballot. We reported
10                 this to supervisors, and others in the room commented that they had
                   witnessed the same manipulation. We were never told what, if any,
11                 corrective action was taken.
12             •          Election Office Observers – when it became apparent that more and
13                 more early and mail-in ballots would need to be processed, I mentioned that
                   the current rule of the number of observers per party was not adequate (1
14                 per party, unless all parties agreed to more). And since the Governor
                   refused to call the Legislature into session for any reason, and little
15
                   incentive for the Democrats to agree to a higher adequate number, there
16                 was no way 1 observer per Party, forced to the back of a room, or behind a
                   see-through wall, had a legitimate opportunity to see what elections
17                 workers were seeing in real time and doing, especially where up to 20 or
18                 more workers processing tasks, sometimes in 10 seconds or less! And I
                   personally observed most observers acting “clueless”, and do not believe
19                 any of them even realized the challenges I made and referenced above.
20             •          And lastly, one of the most egregious incidents in both the
21                 Duplication and Adjudication rooms which I worked, I observed the
                   problem of Trump votes with voters checking the bubble for a vote for
22                 Trump, but ALSO, writing in the name “Donald Trump” and checking the
                   bubble next to his hand written name again, as a duplicated vote, counting
23
                   as an “OVERVOTE,” which means – no vote was counted at all, despite
24                 the policy having been changed to allow these overvotes. Supervisors
                   contradicted their own policies where the intent was clear. Ray Valenzuela,
25                 Director of Elections, told me openly at the morning of the Dominion
26                 Certification (November 18, 2020), that this was incorrect, the Supervisors
                   were terribly mistaken and as an Adjudicator, I was instructed incorrectly,
27                 and these many votes SHOULD HAVE BEEN COUNTED AND NOT
                   TURNED AWAY AS AN OVERVOTE.
28


                                                - 14 -
                                                                               Exhibit L
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        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
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                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 710
                                                                15 ofof53
                                                                        1677


             Id. at 5-6.
 1

 2                            II. EXPERT WITNESS TESTIMONY:

 3                         EVIDENCE OF WIDESPREAD VOTER FRAUD

 4           1.      In Arizona 86,845 Mail-In Ballots Were Lost, and 219,135 More

 5              Were Fraudulently Recorded for Voters who Never Requested Mail-

 6              In Ballots.

 7        54.        The attached report of William M. Briggs, Ph.D. (“Dr. Briggs Report”)

 8    summarizes the multi-state phone survey that includes a survey of Arizona voters collected

 9    by Matt Braynard, which was conducted from November 15-17, 2020. See Ex., Dr. Briggs

10    Report at 1, and Att. 1 (“Briggs Survey”). The Briggs Survey identified two specific errors

11    involving unreturned mail-in ballots that are indicative of voter fraud, namely: “Error #1:

12    those who were recorded as receiving absentee ballots without requesting them;” and

13    “Error #2: those who returned absentee ballots but whose votes went missing (i.e., marked

14    as unreturned).” Id. Dr. Briggs then conducted a parameter-free predictive model to

15    estimate, within 95% confidence or prediction intervals, the number of ballots affected by

16    these errors are from a total population of 518,560 unreturned mail-in ballots for the State

17    of Arizona.

18        55.        With respect to Error #1, Dr. Briggs’ analysis estimated that 208,333 to

19    229,337 ballots out of the total 518,560 unreturned ballots were recorded for voters who

20    had not requested them. Id. All of these absentee ballots were sent to someone besides

21    the registered voter named in the request, and thus could have been filled out by anyone

22    and then submitted in the name of another voter. Id. (Ballots ordered by third parties that

23    were voted, those would no longer be in the unreturned pool and therefore cannot be

24    estimated from this data set.)

25        56.        With respect to Error #2, he found 78,714 to 94,975 ballots out of 518,560

26    unreturned ballots recorded for voters who did return their ballots, but were recorded

27    as being unreturned. Id. These absentee ballots were either lost or destroyed (consistent

28    with allegations of Trump ballot destruction) and/or were replaced with blank ballots filled


                                                 - 15 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 711
                                                                16 ofof53
                                                                        1677



 1    out by election workers, Dominion or other third parties.

 2       57.         Taking the average of the two types of errors together, 303,305 ballots, or

 3    58% of the total, are disenfranchisement and unlawful.Id. These errors are not only

 4    conclusive evidence of widespread fraud by the State of Arizona, but they are fully

 5    consistent with the evidence about Dominion presented in Section III below insofar as

 6    these unreturned absentee ballots represent a pool of blank ballots that could be filled

 7    in by third parties to shift the election to Joe Biden, and also present the obvious

 8    conclusion that there must be absentee ballots unlawfully ordered by third parties that were

 9    returned.

10       58.         Dr. Briggs’ finding that 58% of “unreturned ballots” suffer from one of the

11    two errors above is consistent with his findings in the four other States analyzed (Georgia

12    39%, Michigan 45%, Pennsylvania 37%, and Wisconsin 45%). His analysis also provides

13    further support that these widespread “irregularities” or anomalies were one part of a much

14    larger multi-state fraudulent scheme to rig the 2020 General Election for Joe Biden.

15           2.      Evidence That At Least 5,790 Ineligible Voters Who Have Moved

16             Out-of-State Illegally Voted in Arizona.

17           3.      Evidence compiled by Matt Braynard using the National Change of

18             Address (“NCOA”) Database shows that 5,085 Arizona voters in the 2020

19             General Election moved out-of-state prior to voting, and therefore were

20             ineligible.   Mr. Braynard also identified 744 Arizona voters who

21             subsequently registered to vote in another state and were therefore

22             ineligible to vote in the 2020 General Election. The merged number is

23             5,790 ineligible voters whose votes must be removed from the total for the

24             2020 General ElectionEstimate of Illegal or Fictitious Votes Due to

25             Dominion Voting Fraud and Manipulation.

26       59.         Expert witness Russell James Ramsland, Jr. identifies two types of statistical

27    anomalies that he concludes are the result of voting fraud. (See Ex. 17). First, as in other

28    States Mr. Ramsland has analyzed (Georgia, Michigan and Wisconsin), Mr. Ramsland


                                                  - 16 -
                                                                                  Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 712
                                                                17 ofof53
                                                                        1677



 1    finds historically unprecedented levels of turnout in specific counties or precincts. Using

 2    publicly available data, Mr. Ramsland determined that 66 percent of Pima County precincts

 3    (164 of 248) had turn out above 80%, and at least 36 had turnout above 90%, and that 54

 4    percent of Maricopa County precincts (300 of 558) had turnout of 80% or more, and at

 5    least 30 over 90%. Id. ¶14. The report concludes that these extraordinary, and likely

 6    fraudulent, turnout levels “compels the conclusion to a reasonable degree of professional

 7    certainty that the vote count in Arizona, in particular for Maricopa and Pima counties for

 8    candidates for President contain at least 100,724 illegal votes that must be disregarded.

 9    Id.¶14.

10        60.       Mr. Ramsland also identifies an impossibility: “an improbable, and possibly

11    impossible spike in processed votes,” id. ¶16, like those also found in Georgia, Michigan

12    and Wisconsin. Specifically, at 8:06:40 PM on November 3, 2020, there was a spike of

13    143,100 votes for Biden in Maricopa and Pima Counties. Id. Mr. Ramsland believes that

14    the spike in Arizona, like those in the other three States he analyzed could have been

15    manufactured by Dominion voting machines through a method described in greater detail

16    in Section III below. Id.

17        61.       The summation of sections A through C above provide the following

18    conclusions for the reports cited above, respectively.

19              • Returned ballots that were deemed unreturned by the state (average

20                  for Briggs Error #1): 219,135.

21
                • Unreturned mail ballots unlawfully ordered by third parties (average
22
                    for Briggs Error #1): 86,845.
23

24              • Votes by persons that moved out of state or subsequently registered

25                  to vote in another state for the 2020 election: 5,790.

26
                • “Excess votes” to historically unprecedented, and likely fraudulent
27
                    turnout levels of 80% or more in over half of Maricopa and Pima
28


                                                 - 17 -
                                                                                Exhibit L
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        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 713
                                                                18 ofof53
                                                                        1677



 1                 County precincts: 100,724.

 2
          62.      In Conclusion, the Reports cited above show a total amount of illegal votes
 3
      identified that amount to 412,494 or over 40 times the margin by which candidate Biden
 4
      leads President Trump in the state of Arizona.
 5
     III. FACTUAL ALLEGATIONS REGARDING DOMINION VOTING SYSTEMS
 6
            5. The State of Arizona used Dominion Voting Systems in Maricopa County.
 7
                Dominion’s Results for 2020 General Election Demonstrate
 8
                Dominion Manipulated Election Results.
 9
          63.      ]
10
          64.      Mr. Ramsland analyzed the Edison data reported to, and posted by, the New
11
      York Times, and concludes that this data “strongly suggests” the use of an “additive
12
      algorithm” (referred to as “ranked choice voting algorithm” (“RCV”) in Dominion’s user
13
      guide), combined with blank ballots loaded by the election workers or system operators, to
14
      manipulate votes in Arizona.6
15
          65.      Mr. Ramsland cites two specific examples from the Edison data
16
      demonstrating Dominion’s algorithmic vote manipulation. The figure below, reproduced
17
      from his testimony, graphs the Edison data on election night for Arizona, where the blue
18
      bars “indicate the percentage of the batch that went for Biden,” while the red trend lines
19
      and arrows “indicate the impossible consistencies” in that vote percentage. Id. ¶15. In
20
      other words, the blue bars and the horizontal trend lines show that “the percentage of the
21
      votes submitted in each batch that went towards candidate [Biden] remain unchanged for
22
      a series of time and for a number of consecutive batches …” Id. Mr. Ramsland concludes
23

24    6
        See Ex. 17, ¶15 (quoting Democracy Suite EMS Results Tally and Reporting User
25    Guide, Chapter 11, Settings 11.2.2, which reads in part, “RCV METHOD: This will
      select the specific method of tabulating RCV votes to elect a winner.”) Using the
26    RCV method allows the operator to enter “blank ballots … into the system and treated as
27    ‘write-ins.’ Then the operator can enter an allocation of the write-ins among candidates
      as he or she wishes. The result then awards the winner based on “points” that the
28    algorithm computes, not actual voter votes.” Id.

                                                - 18 -
                                                                               Exhibit L
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        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 714
                                                                19 ofof53
                                                                        1677



 1    that the probability of such a consistent percentage in multiple consecutive batches

 2    “approaches zero,” and “makes clear an algorithm is allocating votes based on a

 3    percentage.” Id.

 4

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12
                  Impossible consistency in percentage of votes counted
13

14
         66.       The second example analyzed by Mr. Ramsland is “the improbable, and
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          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 715
                                                                20 ofof53
                                                                        1677



 1    possibly impossible spike in processed votes” for Biden, namely, the insertion of 143,100

 2    Biden votes in Maricopa and Pima Counties at 8:06:40 PM on November 3, 2020. See id.

 3    ¶16.

 4    This spike, cast largely for Biden, could easily be produced in the Dominion EMS
 5
      control system by pre-loading batches of blank ballots in files such as Write-Ins or other
 6
      adjudication-type files then casting them almost all for Biden using the Override
 7

 8    Procedure (to cast Write-In, Blank, or Error ballots) that is available to the operator of the

 9    system. A few batches of blank ballots electronically pre-loaded into the adjudication
10
      files could easily produce a processed ballot stream this extreme so that actual paper
11
      ballots would not be needed until later to create “corroboration” for the electronic count.
12

13    Id.

14
              6. Administrative and Judicial Decisions Regarding Dominion’s
15
                  Security Flaws.
16
            67.      Texas. Texas, through its by the Secretary of State, denied certification to
17
      nearly the same Dominion Democracy Suite on January 24, 2020, specifically because the
18
      “examiner reports raise concerns about whether Democracy Suite 5.5-A system … is safe
19
      from fraudulent or unauthorized manipulation.”7
20
            68.      Wisconsin. In 2018, Jill Stein was in litigation with Dominion Voting
21
      Systems (“DVS”) after her 2016 recount request pursuant to WISCONSIN
22
      STAT.§5.905(4) wherein DVS obtained a Court Order requiring confidentiality on
23
      information including voting counting source code, which Dominion claims is proprietary
24
      – and must be kept secret from the public. (See unpublished decision, Wisconsin Court of
25
      Appeals, No. 2019AP272 issued April 30, 2020). Rather than engaging in an open and
26
27
      7
        See attached hereto, as Exh. 11, State of Texas Secretary of State, Elections Division,
      Report of Review of Dominion Voting Systems Democracy Suite 5.5-A at 2 (Jan. 24,
28    2020) (emphasis added).

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        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 716
                                                                21 ofof53
                                                                        1677



 1    transparent process to give credibility to Wisconsin’s Dominion-Democracy Suite

 2    voting system, the processes were hidden during the receipt, review, opening, and

 3    tabulation of those votes in direct contravention of Wisconsin’s Election Code and

 4    Federal law.

 5        69.        Georgia. Substantial evidence of this vulnerability was discussed in Judge

 6    Amy Totenberg’s October 11, 2020 Order in the USDC N.D. Ga. case of Curling, et al. v.

 7    Kemp, et. al, Case No. 1:17-cv-02989 Doc. No. 964. See, p. 22-23 (“This array of experts

 8    and subject matter specialists provided a huge volume of significant evidence regarding

 9    the security risks and deficits in the system as implemented in both witness declarations

10    and live testimony at the preliminary injunction hearing.”); p. 25 (“In particular, Dr.

11    Halderman’s testing indicated the practical feasibility through a cyber attack of causing the

12    swapping or deletion of specific votes cast and the compromise of the system through

13    different cyber attack strategies, including through access to and alteration or manipulation

14    of the QR barcode.”) The full order should be read, for it is eye-opening and refutes many

15    of Dominion’s erroneous claims and talking points.

16        70.        The Secretary of State appoints a committee of three people to test different

17    voting systems. The committee is required to submit their recommendations to the

18    Secretary of state who then makes the final decision on which voting system(s) to adopt.

19    A.R.S. § 16-442(A) and (C)In explaining that “In summary, [the court] rejected the

20    Secretary's argument that her certification of voting machines for use in Arizona is a

21    political question that is inappropriate for judicial review.” In doing so, the court

22    explained the application of HAVA because Arizona requires that its voting systems are

23    HAVA compliant which includes accreditation pursuant to HAVA. Chavez v. Brewer,

24    222 Ariz. 309, 317, 214 P.3d 397, 405, 2009). During the subsequent four years, the

25    Arizona Legislature amended and enacted several statutes to effectuate HAVA. Among

26    these changes, the legislature amended Arizona Revised Statutes (A.R.S.) section 16-

27    442(A) to require that the secretary of state determine the voting machines that are

28    "certified for use" in elections. 2003 Ariz. Sess. Laws, ch. 260, § 9 (1st Reg. Sess.). The


                                                  - 21 -
                                                                                   Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 717
                                                                22 ofof53
                                                                        1677



 1    legislature also amended the process for selecting electronic voting machines by

 2    requiring that the secretary of state certify only voting machines that "comply with

 3    [HAVA]" and requiring that all election machines or devices be "tested and approved by

 4    a laboratory that is accredited pursuant to [HAVA]." Id.; A.R.S. § 16-442(B) (2006). The

 5    legislature also authorized the secretary of state to revoke the certification of any voting

 6    system that fails to meet the new standards. 2003 Ariz. Sess. Laws, ch. 260, § 9; 2005

 7    Ariz. Sess. Laws, ch. 144, § 2; A.R.S. § 16-442(C), (D).

 8    Chavez v. Brewer, 222 Ariz. 309, 312, 214 P.3d 397, 400, (App. 2009).
       Dominion Voting Systems is not currently certified pursuant to the EAC Voting
 9     Systems
10        71.       A District Judge found that Dominion’s BMD ballots are not voter verifiable,

11    and they cannot be audited in a software independent way. The credibility of a BMD ballot

12    can be no greater than the credibility of Dominion’s systems, which copious expert analysis

13    has shown is deeply compromised. Similar to the issues in Arizona and Wisconsin, Judge

14    Totenberg of the District Court of Georgia Northern District held:

15
             Georgia’s Election Code mandates the use of the BMD system as the
16           uniform mode of voting for all in-person voters in federal and statewide
17           elections. O.C.G.A. § 21-2-300(a)(2). The statutory provisions mandate
             voting on “electronic ballot markers” that: (1) use “electronic technology to
18           independently and privately mark a paper ballot at the direction of an
             elector, interpret ballot selections, ... such interpretation for elector
19
             verification, and print an elector verifiable paper ballot;” and (2)
20           “produce paper ballots which are marked with the elector’s choices in a
             format readable by the elector” O.C.G.A. § 21-2-2(7.1); O.C.G.A. § 21-
21           2-300(a)(2). Plaintiffs and other voters who wish to vote in-person are
22           required to vote on a system that does none of those things. Rather, the
             evidence shows that the Dominion BMD system does not produce a voter-
23           verifiable paper ballot or a paper ballot marked with the voter’s
             choices in a format readable by the voter because the votes are
24
             tabulated solely from the unreadable QR code.
25
             See Order, pp. 81-82. (Emphasis added).
26
          72.       This case was later affirmed in a related case, in the Eleventh Circuit in 2018
27
      related to Georgia’s voting system in Common Cause Georgia v. Kemp, 347 F. Supp. 3d
28


                                                  - 22 -
                                                                                  Exhibit L
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        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 718
                                                                23 ofof53
                                                                        1677



 1    1270 (11th Cir. 2018). The Court found that:

 2
            In summary, while further evidence will be necessary in the future, the
 3          Court finds that the combination of the statistical evidence and witness
 4          declarations in the record here (and the expert witness evidence in the
            related Curling case which the Court takes notice of) persuasively
 5          demonstrates the likelihood of Plaintiff succeeding on its claims. Plaintiff
            has shown a substantial likelihood of proving that the Secretary’s failure to
 6
            properly maintain a reliable and secure voter registration system has and
 7          will continue to result in the infringement of the rights of the voters to cast
            their vote and have their votes counted. Id.at 1294-1295.
 8

 9       73.       The expert witness in the above litigation in the United States District
10    Court of Georgia, Case 1:17-cv-02989-AT, Harri Hursti, specifically testified to
11    the acute security vulnerabilities, see Ex. 107, wherein he testified or found:
              A. “The scanner and tabulation software settings being employed
12
                 to determine which votes to count on hand marked paper ballots
13               are likely causing clearly intentioned votes to be counted” “The
                 voting system is being operated in Fulton County in a manner
14               that escalates the security risk to an extreme level” “Votes are
15               not reviewing their BMD printed ballots, which causes BMD
                 generated results to be un-auditable due to the untrustworthy
16               audit trail.” 50% or more of voter selections in some counties
                 were visible to poll workers. Dominion employees maintain
17
                 near exclusive control over the EMS servers.              “In my
18               professional opinion, the role played by Dominion personnel in
                 Fulton County, and other counties with similar arrangements,
19               should be considered an elevated risk factor when evaluating the
20               security risks of Georgia’s voting system.” Id. ¶26.

21             B. A video game download was found on one Georgia Dominion
                  system laptop, suggesting that multiple Windows updates have
22                been made on that respective computer.
23
               C. There is evidence of remote access and remote troubleshooting
24                which presents a grave security implication.

25             D. Certified identified vulnerabilities should be considered an
                  “extreme security risk.”
26
27             E. There is evidence of transfer of control the systems out of the
                  physical perimeters and place control with a third party off site.
28


                                                 - 23 -
                                                                                  Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 719
                                                                24 ofof53
                                                                        1677


                  F. USB drives with vote tally information were observed to be
 1                   removed from the presence of poll watchers during a recent
 2                   election.

 3                G. “The security risks outlined above – operating system risks, the
                     failure to harden the computers, performing operations directly
 4                   on the operating systems, lax control of memory cards, lack of
 5                   procedures, and potential remote access are extreme and destroy
                     the credibility of the tabulations and output of the reports
 6                   coming from a voting system.” Id. ¶49.
 7
              7. Foreign      Interference/Hacking         and/or   Manipulation      of
 8
                   Dominion Results.
 9
                       a. The Origins of Dominion Voting Systems
10
            74.        Smartmatic and its inventors have backgrounds evidencing foreign
11
      connections with countries such as Serbia. Upon information and belief, the
12
      inventors listed below have such connections:
13          Applicant: SMARTMATIC, CORP.
14
              Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic,
15            Jeffrey Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli,
              Gisela Goncalves, Yrem Caruso8
16

17          75.        Another Affiant witness testifies that in Venezuela, she was in official
18    position related to elections and witnessed manipulations of petitions to prevent a
19    removal of President Chavez and because she protested, she was summarily
20    dismissed. She explains the vulnerabilities of the electronic voting system and
21    Smartmatica to such manipulations. (See Ex. 17, Cardozo Aff. ¶8).
22                     b. US Government Advisory on Vulnerability to Foreign
23                        Hackers.
24          76.        In October of 2020 The FBI and CISA issued a JOINT CYBERSECURITY
25    ADVISORY ON October 30, 2020 titled: Iranian Advanced Persistent Threat Actor
26    Identified Obtained Voter Registration Data
27      8
          See Patents Assigned to Smartmatic Corp., available at:
28    https://patents.justia.com/assignee/smartmatic-corp

                                                  - 24 -
                                                                               Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 720
                                                                25 ofof53
                                                                        1677


             This joint cybersecurity advisory was coauthored by the Cybersecurity and
 1           Infrastructure Security Agency (CISA) and the Federal Bureau of
 2           Investigation (FBI). CISA and the FBI are aware of an Iranian advanced
             persistent threat (APT) actor targeting U.S. state websites to include
 3           election websites. CISA and the FBI assess this actor is responsible for the
             mass dissemination of voter intimidation emails to U.S. citizens and the
 4
             dissemination of U.S. election-related disinformation in mid-October
 5           2020.1 (Reference FBI FLASH message ME-000138-TT, disseminated
             October 29, 2020). Further evaluation by CISA and the FBI has identified
 6           the targeting of U.S. state election websites was an intentional effort to
 7           influence and interfere with the 2020 U.S. presidential election.

 8
      (See CISA and FBI Joint Cyber Security Advisory of October 30, 2020, a copy attached
 9
      hereto as Ex. 18.)
10
                    c. Expert Witness Testimony on Dominion Vulnerability to
11
                       Foreign Interference and Ties to Hostile Foreign
12
                       Governments
13
          77.       A PhD Declarant analyzed the cumulative vote percentages sorted by ward
14
      or precinct sizes. This concept was previously used throughout the report on voter
15
      irregularities in lulu Fries’dat and Anselmo Sampietro’s “An electoral system in crisis” at
16
      http://www. electoralsystemincrisis.org/.   In Fries’ dat’s report there was an anomalous
17
      dependency on precinct size in many of the 2016 primary elections. The larger precincts
18
      had introduced the use of voting machines.           However, one could also theorize the
19
      opportunity for cheaters to cheat in small precincts, where there may be less oversight.
20
      Normally, we would expect the cumulative vote percentage to converge to an asymptote,
21
      and bounce around the mean until convergence. An example of this can be found from the
22
      2000 Florida Democratic presidential primary between Gore and Bradley. (See Exh. __, at
23
      p. 8). This is shown in Figure 8, and is taken from Fries’ dat’s report:
24

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                                                  - 25 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 721
                                                                26 ofof53
                                                                        1677



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15           (See Exh. __, at p. 9).
16

17    The Declarant then analyzed Maricopa county in Arizona, in addition to other swing

18    states. The data was obtained from the Maricopa county recorder website at

19    https://recorder.maricopa.gov/media/ArizonaExportByPrecinct_110320.txt

20    The Declarant sorted precincts by size and tallied the cumulative vote percentages. It

21    should rapidly approach an asymptote, but again in Figure 18 we see an anomaly. The

22    Biden percentage is higher in the smaller precincts, primarily at the expense of Trump,

23    again suggesting vote switching, since the 3rd party percentages immediately approach

24    the asymptote.

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                                                 - 26 -
                                                                                Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 722
                                                                27 ofof53
                                                                        1677



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13           (See Exh. 19, at p. 14).
14           In Figure 19 the Declarant focuses on the third-party percentages, which we see

15    are indeed independent of precinct size and converge quickly to the asymptote. This is

16    about what we would expect if the third-party candidates were counted fairly. It is in

17    sharp contrast to the precinct size dependency and slow convergence of the Trump and

18    Biden percentages.

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                                                 - 27 -
                                                                                Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 723
                                                                28 ofof53
                                                                        1677



 1           (See Exh. 19, at p. 15).

 2        78.       An analysis of the Dominion software system by a former US Military

 3    Intelligence expert subsequently found that the Dominion Voting system and software are

 4    accessible - and was compromised by rogue actors, including foreign interference by Iran

 5    and China. (See Ex. 12, Spider Declaration (redacted for security reasons).)

 6        79.       The expert does an analysis and explains how by using servers and

 7    employees connected with rogue actors and hostile foreign influences combined with

 8    numerous easily discoverable leaked credentials, Dominion allowed foreign adversaries to

 9    access data and intentionally provided access to Dominion’s infrastructure in order to

10    monitor and manipulate elections, including the most recent one in 2020. Id. Several facts

11    are set forth related to foreign members of Dominion Voting Systems and foreign servers

12    as well as foreign interference.).

13        80.       Another Declarant first explains the foundations of her opinion and then

14    addresses the concerns of foreign interference in our elections through hardware

15    components from companies based in foreign countries with adverse interests. (See Ex.

16    13). She explains that Dominion Voting Systems works with SCYTL, and that votes on

17    route, before reporting, go to SCYTL in foreign countries. On the way, they get mixed and

18    an algorithm is applied, which is done through a secretive process.

19
             The core software used by ALL SCYTL related Election Machine/Software
20
             manufacturers ensures “anonymity” Algorithms within the area of this
21           “shuffling” to maintain anonymity allows for setting values to achieve a
22
             desired goal under the guise of “encryption” in the trap-door… Id.

23
          81.       The Affiant goes on to explain the foreign relationships in the hardware used
24
      by Dominion Voting Systems and its subsidiary Sequoia and explains specifically the port
25
      that Dominion uses, which is called Edge Gateway and that is a part of Akamai
26
      Technologies based in Germany and China.
27
          82.       This Declarant further explains the foundations of her opinion and then
28


                                                 - 28 -
                                                                                Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 724
                                                                29 ofof53
                                                                        1677



 1    addresses the concerns of foreign interference in our elections through hardware

 2    components from companies based in foreign countries with adverse interests.

 3
             The concern is the HARDWARE and the NON – ACCREDITED VSTLs
 4
             as by their own admittance use COTS. The purpose of VSTL’s being
 5           accredited and their importance is ensuring that there is no foreign
 6
             interference / bad actors accessing the tally data via backdoors in
             equipment software. The core software used by ALL SCYTL related
 7           Election Machine/Software manufacturers ensures “anonymity”.
 8           Algorithms within the area of this “shuffling” to maintain anonymity
             allows for setting values to achieve a desired goal under the guise of
 9
             “encryption” in the trap-door…
10

11           (See Id. at ¶32).
          83.       Scytle, contracts with the AP – which receives the results tallied by SCYTL
12
      on behalf of Dominion. (See Exh. 13 at par. 33). This becomes highly relevant since
13
      SCYTLE is complete offshore. (See Exh. 13 at par.44) And where the ballots go through
14
      a process described in three categories for a ballot cast, Step 1 involves Configuring the
15
      Data; Step 2 involves Cleansing which means determining which ballots are valid and
16
      which are not; and Step 3 involves “Shuffling” where the ballots get mixed and the
17
      algorithm is applied to distribute the votes. It is when the algorithm is applied, that happens
18
      secretly and the parameters of that algorithm are only known to SCYTL and Dominion.
19
      (See Exh. 13, pars. 44-50) – and where it gets encrypted as “ciphertexts.”
20
21
        Certification Program, nor is its’ provider. China is not currently the only nation
22      involved with COTS system provided to election machines or the networking, so is
23      Germany via a LAOS founded Chinese linked cloud service company that works with
        SCYTL named Akamai Technologies – that have their offices in China and are linked
24      to the server for Dominion Software. (See Exh. 13 at par. 36))
25
      Mathematical evidence of the seeding “injection” of votes can be seen from the data feed
26
      on November 3, 2020 for Maricopa and Pima counties, where a spike can be seen which
27
      means a large number of votes were injected into the totals. (See Exh. 13 at par. 69).
28


                                                  - 29 -
                                                                                   Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 725
                                                                30 ofof53
                                                                        1677



 1        84.       The Affiant explains the use of an algorithm and how it presents throughout

 2    the statement, but specifically concludes that,

 3
             The “Digital Fix” observed with an increased spike in VOTES for Joe
 4
             Biden can be determined as evidence of a pivot. Normally it would be
 5
             assumed that the algorithm had a Complete Pivot. Wilkinson’s
 6
             demonstrated the guarantee as:
 7

 8

 9

10           Such a conjecture allows the growth factor the ability to be upper bound by
             values closer to n. Therefore, complete pivoting can’t be observed because
11
             there would be too many floating points. Nor can partial as the partial
12           pivoting would overwhelm after the “injection” of votes. Therefore,
13           external factors were used which is evident from the “DIGITAL FIX.”
             (See Id. at pars. 67-69)
14

15           “The algorithm looks to have been set to give Joe Biden a 52% win even
             with an initial 50K+ vote block allocation was provided initially as tallying
16           began (as in case of Arizona too). In the am of November 4, 2020 the
17           algorithm stopped working, therefore another “block allocation” to remedy
             the failure of the algorithm. This was done manually as ALL the
18
             SYSTEMS shut down NATIONWIDE to avoid detection.”
19
             (See Id. at par. 73)
20
21        85.       And Russ Ramsland can support that further by documenting the data feed

22    that came from Dominion Voting Systems to Scytl based on certain available data, that it
23
      was reported with decimal points, which is contrary to one vote as one ballot: “The fact
24
      that we observed raw vote data coming directly that includes decimal places
25

26    establishes selection by an algorithm, and not individual voter’s choice. Otherwise,

27    votes would be solely represented as whole numbers (votes cannot possibly be added
28
      up and have decimal places reported).”

                                                 - 30 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 726
                                                                31 ofof53
                                                                        1677


            8. Additional Independent Findings of Dominion Flaws.
 1
         86.        Further supportive of this pattern of incidents, reflecting an absence of
 2

 3    mistake, Plaintiffs have since learned that the “glitches” in the Dominion system, that have
 4    the uniform effect of hurting Trump and helping Biden, have been widely reported in the
 5
      press and confirmed by the analysis of independent experts.
 6
                 1.Central Operator Can Remove, Discard or Manipulate Votes.
 7

 8       87.        Mr. Watkins further explains that the central operator can remove or

 9    discard batches of votes. “After all of the ballots loaded into the scanner’s feed tray have
10
      been through the scanner, the “ImageCast Central” operator will remove the ballots from
11
      the tray then have the option to either “Accept Batch” or “Discard Batch” on the scanning
12

13    menu …. “ (Ex. 14, Watkins aff. ¶11). ¶8.

14       88.        Mr. Watkins further testifies that the user manual makes clear that the system
15
      allows for threshold settings to be set to find all ballots get marked as “problem ballots”
16
      for discretionary determinations on where the vote goes stating:
17

18           9. During the ballot scanning process, the “ImageCast Central” software
             will detect how much of a percent coverage of the oval was filled in by the
19           voter. The Dominion customer determines the thresholds of which the oval
20           needs to be covered by a mark in order to qualify as a valid vote. If a ballot
             has a marginal mark which did not meet the specific thresholds set by the
21
             customer, then the ballot is considered a “problem ballot” and may be set
22           aside into a folder named “NotCastImages”.
23
             10. Through creatively tweaking the oval coverage threshold settings, and
24           advanced settings on the ImageCase Central scanners, it may be possible to
25
             set thresholds in such a way that a non-trivial amount of ballots are marked
             “problem ballots” and sent to the “NotCastImages” folder.
26
             11. The administrator of the ImageCast Central work station may view all
27
             images of scanned ballots which were deemed “problem ballots” by simply
28           navigating via the standard “Windows File Explorer” to the folder named

                                                 - 31 -
                                                                                  Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 727
                                                                32 ofof53
                                                                        1677


             “NotCastImages” which holds ballot scans of “problem ballots”. It may be
 1
             possible for an administrator of the “ImageCast Central” workstation to
 2           view and delete any individual ballot scans from the “NotCastImages”
 3
             folder by simply using the standard Windows delete and recycle bin
             functions provided by the Windows 10 Pro operating system. Id. ¶¶ 9-11.
 4

 5       89.        The Voting Rights Act, 52 U.S.C. §10101(e), provides, in relevant part:
 6    … When used in the subsection, the word “vote” includes all action necessary to make a
 7    vote effective including, but not limited to, registration or other action required by State
 8    law prerequisite to voting, casting a ballot, and having such ballot counted and included in
 9    the appropriate totals of votes cast with respect to candidates for public office and
10    propositions for which votes are received in an election;
                a. The VRA, 52 U.S.C. § 10307, also provides, in relevant part, that,
11

12              b. No person acting under color of law shall fail or refuse to permit any person
13                  to vote who is entitled to vote under any provision of chapters 103 to 107 of
14
                    this title or is otherwise qualified to vote, or willfully fail or refuse to tabulate,
15
                    count, and report such person’s vote.
16

17              c. Federal law also requires the states to maintain uniform voting standards.

18                  Section 301 of the Help America Vote Act of 2002 [HAVA], (Pub. L. 107–
19
                    252, 116 Stat. 1704, codified at 42 U.S.C. § 15481.
20
                d. Each voting system used in an election for Federal office shall meet the
21

22                  following requirements:          (6) Each State shall adopt uniform and

23                  nondiscriminatory standards that define what constitutes a vote and what will
24
                    be counted as a vote for each category of voting system used in the State. 42
25
                    U.S.C. §15481(a)(6)
26
27              e. State laws define a “vote” as a “ballot” that clearly indicates the intent of the

28                  voter to choose a candidate. “Ballot” means a ballot label, sheet of paper or

                                                    - 32 -
                                                                                       Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 728
                                                                33 ofof53
                                                                        1677


                   envelope on which votes are recorded. The term also includes a sheet or card,
 1

 2                 filmstrip or other device listing or containing information relative to offices,

 3                 candidates and referenda which is placed, projected or composed on the
 4
                   board or screen inside a voting machine. Wis. Stat. § 5.02Every ballot, except
 5
                   a voting machine ballot, shall bear substantially the following information on the
 6
                   face: “Notice to electors: This ballot may be invalid unless initialed by 2 election
 7

 8                 inspectors. If cast as an absentee ballot, the ballot must bear the initials of the

 9                 municipal clerk or deputy clerk.        Wis. Stat. Ann. § 5.54 (emphasis in

10                 originalFederal law also requires the states to maintain uniform voting standards.
11
                   Section 301 of the Help America Vote Act of 2002 [HAVA], (Pub. L. 107–252,
12
                   116 Stat. 1704, codified at 42 U.S.C. § 15481. Among other things, it provides that,
13
                   “Each voting system used in an election for Federal office shall meet the following
14
                   requirements: …     (6) Each State shall adopt uniform and nondiscriminatory
15

16                 standards that define what constitutes a vote and what will be counted as a vote for

17                 each category of voting system used in the State.” 42 U.S.C. §15481(a)(6)
18
           2.Dominion – By Design – Violates Federal Election & Voting Record
19
               Retention Requirements.
20
         90.       The Dominion System put in place by its own design violates the intent of
21
      Federal law on the requirement to preserve and retain records – which clearly requires
22
      preservation of all records requisite to voting in such an election.
23           § 20701. Retention and preservation of records and papers by officers
24           of elections; deposit with custodian; penalty for violation
25          Every officer of election shall retain and preserve, for a period of
26          twenty-two months from the date of any general, special, or primary
            election of which candidates for the office of President, Vice
27
            President, presidential elector, Member of the Senate, Member of the
28          House of Representatives, or Resident Commissioner from the

                                                  - 33 -
                                                                                    Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 729
                                                                34 ofof53
                                                                        1677


            Commonwealth of Puerto Rico are voted for, all records and
 1
            papers which come into his possession relating to any
 2          application, registration, payment of poll tax, or other act
 3
            requisite to voting in such election, except that, when required by
            law, such records and papers may be delivered to another officer of
 4          election and except that, if a State or the Commonwealth of Puerto
 5          Rico designates a custodian to retain and preserve these records and
            papers at a specified place, then such records and papers may be
 6
            deposited with such custodian, and the duty to retain and preserve
 7          any record or paper so deposited shall devolve upon such custodian.
 8          Any officer of election or custodian who willfully fails to comply
            with this section shall be fined not more than $1,000 or imprisoned
 9          not more than one year, or both.
10

11    See 52 USC § 20701.

12              3.Dominion Vulnerabilities to Hacking.

13       91.      Plaintiffs have since learned that the “glitches” in the Dominion

14    system -- that have the uniform effect of hurting Trump and helping Biden -- have

15    been widely reported in the press and confirmed by the analysis of independent

16    experts, a partial summary of which is included below.

17
            (1) Users on the ground have full admin privileges to machines and
18             software. The Dominion system is designed to facilitate vulnerability
19             and allow a select few to determine which votes will be counted in any
               election. Workers were responsible for moving ballot data from polling
20             place to the collector’s office and inputting it into the correct folder.
21             Any anomaly, such as pen drips or bleeds, is not counted and is handed
               over to a poll worker to analyze and decide if it should count. This
22             creates massive opportunity for improper vote adjudication. (Ex. 14
23             Watkins aff. ¶¶8 & 11).

24          (2) Affiant witness (name redacted for security reasons), in his sworn
25             testimony explains he was selected for the national security guard
               detail of the President of Venezuela, and that he witnessed the
26             creation of Smartmatic for the purpose of election vote
27             manipulation:

28             I was witness to the creation and operation of a sophisticated electronic

                                               - 34 -
                                                                              Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 730
                                                                35 ofof53
                                                                        1677


               voting system that permitted the leaders of the Venezuelan government
 1             to manipulate the tabulation of votes for national and local elections and
 2             select the winner of those elections in order to gain and maintain their
               power. Importantly, I was a direct witness to the creation and operation
 3             of an electronic voting system in a conspiracy between a company
 4             known as Smartmatic and the leaders of conspiracy with the Venezuelan
               government. This conspiracy specifically involved President Hugo
 5             Chavez Frias, the person in charge of the National Electoral Council
 6             named Jorge Rodriguez, and principals, representatives, and personnel
               from Smartmatic which included … The purpose of this conspiracy was
 7             to create and operate a voting system that could change the votes in
 8             elections from votes against persons running the Venezuelan
               government to votes in their favor in order to maintain control of the
 9             government. (Id. ¶¶6, 9, 10).
10
         92.       Specific vulnerabilities of the systems in question that have been well
11
      documented or reported include:
12
            A. Barcodes can override the voters’ vote: As one University of California,
13             Berkeley study shows, “In all three of these machines [including
               Dominion Voting Systems] the ballot marking printer is in the same
14
               paper path as the mechanism to deposit marked ballots into an attached
15             ballot box. This opens up a very serious security vulnerability: the
               voting machine can make the paper ballot (to add votes or spoil already-
16
               case votes) after the last time the voter sees the paper, and then deposit
17             that marked ballot into the ballot box without the possibility of
               detection.” (See Ex. 10, Appel Study).
18

19          B. Voting machines were able to be connected to the internet by way of
               laptops that were obviously internet accessible. If one laptop was
20             connected to the internet, the entire precinct was compromised.
21          C. October 6, 2006 – Congresswoman Carolyn Maloney calls on
22             Secretary of Treasury Henry Paulson to conduct an investigation
               into Smartmatic based on its foreign ownership and ties to
23             Venezuela. (See Ex. 15). Congresswoman Maloney wrote that “It is
24             undisputed that Smartmatic is foreign owned and it has acquired Sequoia
               … Smartmatic now acknowledged that Antonio Mugica, a Venezuelan
25             businessman has a controlling interest in Smartmatica, but the company
26             has not revealed who all other Smartmatic owners are. Id.

27          D. Dominion “got into trouble” with several subsidiaries it used over
               alleged cases of fraud. One subsidiary is Smartmatic, a company “that
28


                                                - 35 -
                                                                               Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 731
                                                                36 ofof53
                                                                        1677


                has played a significant role in the U.S. market over the last decade.”9
 1              Dominion entered into a 2009 contract with Smartmatic and provided
 2              Smartmatic with the PCOS machines (optical scanners) that were used
                in the 2010 Philippine election, the biggest automated election run by a
 3              private company. The automation of that first election in the Philippines
 4              was hailed by the international community and by the critics of the
                automation. The results transmission reached 90% of votes four hours
 5              after polls closed and Filipinos knew for the first time who would be
 6              their new president on Election Day. In keeping with local Election law
                requirements, Smartmatic and Dominion were required to provide the
 7              source code of the voting machines prior to elections so that it could be
 8              independently verified. Id.

 9           E. Litigation over Smartmatic “glitches” alleges they impacted the 2010
                and 2013 mid-term elections in the Philippines, raising questions of
10
                cheating and fraud. An independent review of the source codes used in
11              the machines found multiple problems, which concluded, “The software
                inventory provided by Smartmatic is inadequate, … which brings into
12
                question the software credibility.”10
13
             F. Dominion acquired Sequoia Voting Systems as well as Premier Election
14              Solutions (formerly part of Diebold, which sold Premier to ES&S in
15              2009, until antitrust issues forced ES&S to sell Premier, which then was
                acquired by Dominion). This map illustrates 2016 voting machine
16              data—meaning, these data do not reflect geographic aggregation at the
17              time of acquisition, but rather the machines that retain the Sequoia or
                Premier/Diebold brand that now fall under Dominion’s market share.
18              Penn Wharton Study at 16.
19           G. In late December of 2019, three Democrat Senators, Warren, Klobuchar,
20              Wyden and House Member Mark Pocan wrote about their
                ‘particularized concerns that secretive & “trouble -plagued companies”‘
21              “have long skimped on security in favor of convenience,” in the context
22              of how they described the voting machine systems that three large
                vendors – Election Systems & Software, Dominion Voting Systems, &
23
        9
24         Voting Technology Companies in the U.S. – Their Histories and Present
      Contributions, Access Wire, (Aug. 10, 2017), available at:
25
      https://www.accesswire.com/471912/Voting-Technology-Companies-in-the-US--Their-
26    Histories.

27
        10
            Smartmatic-TIM Running Out of Time to Fix Glitches, ABS-CBN News (May 4,
      2010), available at: https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-
28    out-time-fix-glitches.

                                                - 36 -
                                                                               Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 732
                                                                37 ofof53
                                                                        1677


                Hart InterCivic – collectively provide voting machines & software that
 1              facilitate voting for over 90% of all eligible voters in the U.S.” (See Ex.
 2              16).

 3           H. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting
                systems] are “yet another damning indictment of the profiteering
 4
                election vendors, who care more about the bottom line than protecting
 5              our democracy.” It’s also an indictment, he said, “of the notion that
                important cybersecurity decisions should be left entirely to county
 6
                election offices, many of whom do not employ a single cybersecurity
 7              specialist.”11
 8       93.       The House of Representatives passed H.R. 2722 in an attempt to
 9
      address these very risks on June 27, 2019:
10
             This bill addresses election security through grant programs and
11
             requirements for voting systems and paper ballots.
12           The bill establishes requirements for voting systems, including that
             systems (1) use individual, durable, voter-verified paper ballots; (2)
13
             make a voter’s marked ballot available for inspection and verification by
14           the voter before the vote is cast; (3) ensure that individuals with
             disabilities are given an equivalent opportunity to vote, including with
15
             privacy and independence, in a manner that produces a voter-verified
16           paper ballot; (4) be manufactured in the United States; and (5) meet
             specified cybersecurity requirements, including the prohibition of the
17
             connection of a voting system to the internet.
18
             See H.R. 2722.
19
             9. Because     Dominion       Senior     Management         Has     Publicly
20
               Expressed Hostility to Trump and Opposition to His Election,
21
               Dominion Is Not Entitled to Any Presumption of Fairness,
22
               Objectivity or Impartiality, and Should Instead Be Treated as
23
               a Hostile Partisan Political Actor.
24
         94.       Dr. Eric Coomer is listed as the co-inventor for several patents on
25

26      11
            Kim Zetter, Exclusive: Critical U.S. Election Systems Have Been Left Exposed
27    Online Despite Official Denials, VICE (Aug. 8, 2019) (“VICE Election Article”),
      available at: https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-
28    systems have-been-left-exposed-online-despite-official-denials.

                                                 - 37 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 733
                                                                38 ofof53
                                                                        1677



 1    ballot adjudication and voting machine-related technology, all of which were

 2    assigned to Dominion.12 He joined Dominion in 2010, and most recently served

 3    as Voting Systems Officer of Strategy and Director of Security for Dominion. Dr.

 4    Coomer first joined Sequoia Voting Systems in 2005 as Chief Software Architect

 5    and became Vice President of Engineering before Dominion Voting Systems

 6    acquired Sequoia. Dr. Coomer’s patented ballot adjudication technology is built

 7    into Dominion voting machines sold throughout the United States, including those

 8    used in Arizona. (See attached hereto Exh 6, Jo Oltmann Aff.).

 9       95.       In 2016, Dr. Coomer admitted to the State of Illinois that Dominion

10    Voting machines can be manipulated remotely.13 He has also publicly posted

11    videos explaining how Dominion voting machines can be remotely manipulated.

12    See Id.14

13

14
        12
           See “Patents by Inventor Eric Coomer,” available at:
      https://patents.justia.com/inventor/eric-coomer. This page lists the following
15    patents issued to Dr. Coomer and his co-inventors: (1) U.S. Patent No. 9,202,113,
      Ballot Adjudication in Voting Systems Utilizing Ballot Images (issued Dec. 1,
16
      2015); (2) U.S. Patent No. 8,913,787, Ballot Adjudication in Voting Systems
17    Utilizing Ballot Images (issued Dec. 16, 2014); (3) U.S. Patent No. 8,910,865,
      Ballot Level Security Features for Optical Scan Voting Machine Capable of
18    Ballot Image Processing, Secure Ballot Printing, and Ballot Layout
19    Authentication and Verification (issued Dec. 16, 2014); (4) U.S. Patent No.
      8,876,002, Systems for Configuring Voting Machines, Docking Device for
20    Voting Machines, Warehouse Support and Asset Tracking of Voting Machines
      (issued Nov. 4, 2014); (5) U.S. Patent No. 8,864,026, Ballot Image Processing
21
      System and Method for Voting Machines (issued Oct. 21, 2014); (6) U.S. Patent
22    No. 8,714,450, Systems and Methods for Transactional Ballot Processing, and
      Ballot Auditing (issued May 6, 2014), available at:
23    https://patents.justia.com/inventor/eric-coomer.
24      13
           Jose Hermosa, Electoral Fraud: Dominion’s Vice President Warned in 2016 That
      Vote-Counting Systems Are Manipulable, The BL (Nov. 13, 2020), available at:
25
      https://thebl.com/us-news/electoral-fraud-dominions-vice-president-warned-in-2016-that-
26    vote-counting-systems-are-manipulable.html.

27
        14
           See, e.g., “Eric Coomer Explains How to Alter Votes in the Dominion Voting
      System” (Nov. 24, 2020) (excerpt of presentation delivered in Chicago in 2017),
28    available at: https://www.youtube.com/watch?v=UtB3tLaXLJE.

                                               - 38 -
                                                                             Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 734
                                                                39 ofof53
                                                                        1677



 1           96.      Dr. Coomer has emerged as Dominion’s principal defender, both in

 2    litigation alleging that Dominion rigged elections in Georgia and in the media. An

 3    examination of his previous public statements has revealed that Dr. Coomer is

 4    highly partisan and even more anti-Trump, precisely the opposite of what would

 5    expect from the management of a company charged with fairly and impartially

 6    counting votes (which is presumably why he tried to scrub his social media

 7    history). (See Id.)

 8           97.      Unfortunately for Dr. Coomer, however, a number of these posts have

 9    been captured for perpetuity. Below are quotes from some of his greatest President

10    Trump and Trump voter hating hits to show proof of motive and opportunity. (See

11    Id).
               If you are planning to vote for that autocratic, narcissistic, fascist ass-hat
12             blowhard and his Christian jihadist VP pic, UNFRIEND ME NOW! No,
13             I’m not joking. … Only an absolute F[**]KING IDIOT could ever vote
               for that wind-bag fuck-tard FASCIST RACIST F[**]K! … I don’t give a
14             damn if you’re friend, family, or random acquaintance, pull the lever,
15             mark an oval, touch a screen for that carnival barker … UNFRIEND ME
               NOW! I have no desire whatsoever to ever interact with you. You are
16             beyond hope, beyond reason. You are controlled by fear, reaction and
17             bullsh[*]t. Get your shit together. F[**]K YOU! Seriously, this f[**]king
               ass-clown stands against everything that makes this country awesome!
18             You want in on that? You [Trump voters] deserve nothing but contempt.
19             Id. (July 21, 2016 Facebook post).15

20
             98.      In a rare moment of perhaps unintentional honesty, Dr. Coomer
21
      anticipates this Complaint and many others, by slandering those seeking to hold
22
      election riggers like Dominion to account and to prevent the United States’ descent
23
      into Venezuelan levels of voting fraud and corruption out of which Dominion was
24
      born:
25             Excerpts in stunning Trump-supporter logic, “I know there is a lot of voter
               fraud. I don’t know who is doing it, or how much is happening, but I
26
27      15
           In this and other quotations from Dr. Coomer’s social media, Plaintiffs have
28    redacted certain profane terms.

                                                   - 39 -
                                                                                   Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 735
                                                                40 ofof53
                                                                        1677


            know it is going on a lot.” This beautiful statement was followed by, “It
 1          happens in third world countries, this the US, we can’t let it happen here.”
 2          Id. (October 29, 2016 Facebook post); (See also Exh. 6)

 3
           1.      Dr. Coomer, who invented the technology for Dominion’s voting
 4
      fraud and has publicly explained how it can be used to alter votes, seems to be
 5
      extremely hostile to those who would attempt to stop it and uphold the integrity of
 6
      elections that underpins the legitimacy of the United States government:
 7          And in other news… There be some serious fuckery going on right here
            fueled by our Cheeto-in-Chief stoking lie after lie on the flames of [Kris]
 8
            Kobach… [Linking Washington Post article discussing the Presidential
 9          Advisory Commission on Election Integrity, of which former Kansas
            Secretary of State Kris Kobach was a member, entitled, “The voting
10
            commission is a fraud itself. Shut it down.”] Id. (September 14, 2017
11          Facebook post.] (Id.)
12
         99.       Dr. Coomer also keeps good company, supporting and reposting
13
      ANTIFA statements slandering President Trump as a “fascist” and by extension his
14
      supporters, voters and the United States military (which he claims, without
15
      evidence, Trump will make into a “fascist tool”). Id. (June 2, 2020 Facebook post).
16
      Lest someone claims that these are “isolated statements” “taken out of context”, Dr.
17
      Coomer has affirmed that he shares ANTIFA’s taste in music and hatred of the United
18
      States of America, id. (May 31, 2020 Facebook post linking “F[**]k the USA” by the
19
      exploited), and the police. Id. (separate May 31, 2020 Facebook posts linking N.W.A.
20
      “F[**]k the Police” and a post promoting phrase “Dead Cops”). Id. at 4-5.
21
        100.       Affiant and journalist Joseph Oltmann researched ANTIFA in
22
      Colorado. Id. at 1. “On or about the week of September 27, 2020,” he attended an
23
      Antifa meeting which appeared to be between Antifa members in Colorado
24
      Springs and Denver Colorado,” where Dr. Coomer was present. In response to a
25
      question as to what Antifa would do “if Trump wins this … election?”, Dr. Coomer
26
      responded “Don’t worry about the election. Trump is not going to win. I made
27
      f[**]king sure of that … Hahaha.” Id. at 2.
28


                                                - 40 -
                                                                               Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 736
                                                                41 ofof53
                                                                        1677



 1      101.        By putting an anti-Trump zealot like Dr. Coomer in charge of election

 2    “Security,” and using his technology for what should be impartial “ballot adjudication,”

 3    Dominion has given the fox the keys to the hen house and has forfeited any presumption

 4    of objectivity, fairness, or even propriety. It appears that Dominion does not care about

 5    even an appearance of impropriety, as its most important officer has his fingerprints all

 6    over a highly partisan, vindictive, and personal vendetta against the Republican nominee

 7    both in 2016 and 2020, President Donald Trump. Dr. Coomer’s highly partisan anti-Trump

 8    rages show clear motive on the part of Dominion to rig the election in favor of Biden, and

 9    may well explain why for each of the so-called “glitches” uncovered, it is always Biden

10    receiving the most votes on the favorable end of such a “glitch.” (Id.)

11      102.        In sum, as set forth above, for a host of independent reasons, the

12    Arizona election results concluding that Joe Biden received more votes that

13    President Donald Trump must be set aside.

14                                             COUNT I

15        Defendants Violated the Elections and Electors Clauses and 42 U.S.C. § 1983.

16      103.        Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

17      104.        The Electors Clause states that “[e]ach State shall appoint, in such Manner

18    as the Legislature thereof may direct, a Number of Electors” for President. U.S. Const. art.

19    II, §1, cl. 2 (emphasis added). Likewise, the Elections Clause of the U.S. Constitution

20    states that “[t]he Times, Places, and Manner of holding Elections for Senators and

21    Representatives, shall be prescribed in each State by the Legislature thereof.” U.S. Const.

22    art. I, § 4, cl. 1 (emphasis added).

23      105.        The Legislature is “‘the representative body which ma[kes] the laws of

24    the people.’” Smiley v. Holm, 285 U.S. 355, 365 (1932).                     Regulations of

25    congressional and presidential elections, thus, “must be in accordance with the

26    method which the state has prescribed for legislative enactments.” Id. at 367; see

27    also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652,

28    2668 (2015).


                                                  - 41 -
                                                                                  Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 737
                                                                42 ofof53
                                                                        1677



 1      106.       Defendants are not part of the Arizona Legislature and cannot exercise

 2    legislative power. Because the United States Constitution reserves for the Arizona

 3    Legislature the power to set the time, place, and manner of holding elections for

 4    the President and Congress, county boards of elections and state executive officers

 5    have no authority to unilaterally exercise that power, much less to hold them in

 6    ways that conflict with existing legislation.

 7                   i.     The VRA, 52 U.S.C. § 10307, also provides, in relevant part, that,

 8                   ii.    No person acting under color of law shall fail or refuse to permit

 9                          any person to vote who is entitled to vote under any provision of

10                          chapters 103 to 107 of this title or is otherwise qualified to vote, or

11                          willfully fail or refuse to tabulate, count, and report such person’s

12                          vote.

13                   iii.   Federal law also requires the states to maintain uniform voting

14                          standards. Section 301 of the Help America Vote Act of 2002

15                          [HAVA], (Pub. L. 107–252, 116 Stat. 1704, codified at 42 U.S.C. §

16                          15481.

17                   iv.    Each voting system used in an election for Federal office shall meet

18                          the following requirements: (6) Each State shall adopt uniform and

19                          nondiscriminatory standards that define what constitutes a vote and

20                          what will be counted as a vote for each category of voting system

21                          used in the State. 42 U.S.C. §15481(a)(6).

22      107.       With respect to unreturned ballots recorded for voters who did return
23    their ballot but were recorded as being unreturned, Plaintiffs have identified 78,714
24    to 94,975 ballots out of 518,560 absentee / mail ballots. Id. These absentee ballots
25    were either lost or destroyed (consistent with allegations of Trump ballot
26    destruction) and/or were replaced with blank ballots filled out by election workers,
27    Dominion or other third parties.
28      108.       Taking the average of the two types of errors together, 303,305 ballots, or


                                                - 42 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 738
                                                                43 ofof53
                                                                        1677



 1    58% of the total, are defective. These errors are not only conclusive evidence of widespread

 2    fraud by the State of Arizona, but they are fully consistent with the evidence about

 3    Dominion presented in Section III below insofar as these unreturned absentee ballots

 4    represent a pool of blank ballots that could be filled in by third parties to shift the election

 5    to Joe Biden, and also present the obvious conclusion that there must be absentee ballots

 6    unlawfully ordered by third parties that were returned.

 7      109.        There are also thousands of absentee ballots that Plaintiffs can show were

 8    sent to someone besides the registered voter named in the request, and thus could have

 9    been filled out by anyone and then submitted in the name of another voter specifically in

10    violation of election law, one vote is one ballot.

11      110.        Plaintiffs have no adequate remedy at law and will suffer serious and

12    irreparable harm unless the injunctive relief requested herein is granted.

13    Defendants have acted and, unless enjoined, will act under color of state law to

14    violate the Elections Clause.

15      111.        Accordingly, the results for President in the November 3, 2020 election

16    must be set aside, the State of Arizona should be enjoined from transmitting the

17    certified the results thereof, and this Court should grant the other declaratory and

18    injunctive relief requested herein.

19                                             COUNT II

20                Defendants Violated The Equal Protection Clause of the

21             Fourteenth Amendment U.S. Const. Amend. XIV & 42 U.S.C.

22                                               § 1983

23      112.        Plaintiffs refer to and incorporate by reference each of the prior paragraphs

24    of this Complaint as though the same were repeated at length herein.

25      113.        The Fourteenth Amendment of the United States Constitution provides “nor

26    shall any state deprive any person of life, liberty, or property, without due process

27    of law; nor deny to any person within its jurisdiction the equal protection of the

28    laws. See also Bush v. Gore, 531 U.S. 98, 104 (2000) (having once granted the


                                                   - 43 -
                                                                                    Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 739
                                                                44 ofof53
                                                                        1677



 1    right to vote on equal terms, the State may not, by later arbitrary and disparate

 2    treatment, value one person’s vote over the value of another’s). Harper v. Va. Bd.

 3    of Elections, 383 U.S. 663, 665 (1966) (“Once the franchise is granted to the

 4    electorate, lines may not be drawn which are inconsistent with the Equal Protection

 5    Clause of the Fourteenth Amendment.”). The Court has held that to ensure equal

 6    protection, a problem inheres in the absence of specific standards to ensure its

 7    equal application. Bush, 531 U.S. at 106 (“The formulation of uniform rules to

 8    determine intent based on these recurring circumstances is practicable and, we

 9    conclude, necessary.”).

10      114.        The equal enforcement of election laws is necessary to preserve our

11    most basic and fundamental rights.           The requirement of equal protection is

12    particularly stringently enforced as to laws that affect the exercise of fundamental

13    rights, including the right to vote.

14      115.        The disparate treatment of Arizona voters, in subjecting one class of voters

15    to greater burdens or scrutiny than another, violates Equal Protection guarantees because

16    “the right of suffrage can be denied by a debasement or dilution of the weight of a citizen’s

17    vote just as effectively as by wholly prohibiting the free exercise of the franchise.”

18    Reynolds, 377 U.S. at 555. Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265

19    (1975); Heitman v. Brown Grp., Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159,

20    at *4 (Mo. Ct. App. 1982); Prince v. Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d

21    524, 536-37 (Utah 2002).

22      116.        In statewide and federal elections conducted in the State of Arizona,

23    including without limitation the November 3, 2020 General Election, all

24    candidates, political parties, and voters, including without limitation Plaintiffs,

25    have an interest in having the election laws enforced fairly and uniformly.
        117.       Defendants failed to comply with the requirements of Arizona law and the
26
      Equal Protection Clause and thereby diluted the lawful ballots of the Plaintiffs and of
27

28    other Arizona voters and electors in violation of the United States Constitution guarantee


                                                  - 44 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 740
                                                                45 ofof53
                                                                        1677


      of Equal Protection. In Section II, Plaintiff experts provide testimony quantifying the
 1
      number of illegal votes resulting from Defendants’ statutory and constitutional violations.
 2

 3    Finally, Section III details the additional voting fraud and manipulation enabled by the

 4    use Dominion voting machines, which had the intent and effect of favoring Biden and
 5    Democratic voters and discriminating against Trump and Republican voters.
 6
        118.        Defendants have acted and will continue to act under color of state
 7
      law to violate Plaintiffs’ right to be present and have actual observation and access
 8
      to the electoral process as secured by the Equal Protection Clause of the United
 9
      States Constitution and Arizona law. Defendants thus failed to conduct the general
10
      election in a uniform manner as required by the Equal Protection Clause of the
11
      Fourteenth Amendment, the corollary provisions of Arizona election law.
12
        119.        Plaintiffs seek declaratory and injunctive relief forbidding Defendants
13
      from certifying a tally that includes any ballots that were not legally cast, or that
14
      were switched from Trump to Biden through the unlawful use of Dominion
15
      Democracy Suite software and devices.
16
        120.        In addition, Plaintiffs ask this Court to order that no ballot processed
17
      by a counting board in Arizona can be included in the final vote tally unless a
18
      challenger was allowed to meaningfully observe the process and handling and
19
      counting of the ballot, or that were unlawfully switched from Trump to Biden.
20
        121.        Clearly the dilution of lawful votes violates the Equal Protection clause;
21
      and the counting of unlawful votes violates the rights of lawful Citizens.
22
        122.        There are also thousands of absentee ballots that Plaintiffs can show were
23
      sent to someone besides the registered voter named in the request, and thus could have
24
      been filled out by anyone and then submitted in the name of another voter specifically in
25
      violation of election law, one vote is one ballot. That is the dilution of lawful votes, while
26
      78,714 to 94,975 ballots out of 518,560 unreturned ballots recorded for voters who did
27
      return their ballot but were recorded as being unreturned, and their vote was taken from
28


                                                  - 45 -
                                                                                   Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 741
                                                                46 ofof53
                                                                        1677



 1    them.

 2      123.       Plaintiffs have no adequate remedy at law and will suffer serious and

 3    irreparable harm unless the declaratory and injunctive relief requested herein is

 4    granted. Indeed, the setting aside of an election in which the people have chosen

 5    their representative is a drastic remedy that should not be undertaken lightly, but

 6    instead should be reserved for cases in which a person challenging an election has

 7    clearly established a violation of election procedures and has demonstrated that the

 8    violation has placed the result of the election in doubt. Arizona law allows

 9    elections to be contested through litigation, both as a check on the integrity of the

10    election process and as a means of ensuring the fundamental right of citizens to

11    vote and to have their votes counted accurately.

12                                        COUNT III

13              Fourteenth Amendment, Amend. XIV & 42 U.S.C. § 1983

14                      Denial of Due Process On The Right to Vote

15      124.       Plaintiffs refer to and incorporate by reference each of the prior

16    paragraphs of this Complaint as though the same were repeated at length herein.

17      125.       The right of qualified citizens to vote in a state election involving

18    federal candidates is recognized as a fundamental right under the Fourteenth

19    Amendment of the United States Constitution. Harper, 383 U.S. at 665.           See

20    also Reynolds, 377 U.S. at 554 (The Fourteenth Amendment protects the “the right

21    of all qualified citizens to vote, in state as well as in federal elections.”). Indeed,

22    ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the United States

23    Supreme Court has held that the Privileges or Immunities Clause of the Fourteenth

24    Amendment protects certain rights of federal citizenship from state interference,

25    including the right of citizens to directly elect members of Congress. See Twining

26    v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex parte Yarbrough, 110 U.S. 651,

27    663-64 (1884)).     See also Oregon v. Mitchell, 400 U.S. 112, 148-49 (1970)

28    (Douglas, J., concurring) (collecting cases).


                                               - 46 -
                                                                             Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 742
                                                                47 ofof53
                                                                        1677



 1      126.         The fundamental right to vote protected by the Fourteenth Amendment

 2    is cherished in our nation because it “is preservative of other basic civil and

 3    political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a ballot

 4    in an election free from the taint of intimidation and fraud,” Burson v. Freeman,

 5    504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our electoral

 6    processes is essential to the functioning of our participatory democracy.” Purcell

 7    v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

 8      127.         “Obviously included within the right to [vote], secured by the

 9    Constitution, is the right of qualified voters within a state to cast their ballots and

10    have them counted” if they are validly cast. United States v. Classic, 313 U.S. 299,

11    315 (1941). “[T]he right to have the vote counted” means counted “at full value

12    without dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting South v.

13    Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

14      128.         “Every voter in a federal . . . election, whether he votes for a candidate

15    with little chance of winning or for one with little chance of losing, has a right under

16    the Constitution to have his vote fairly counted, without its being distorted by

17    fraudulently cast votes.” Anderson v. United States, 417 U.S. 211, 227 (1974); see

18    also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or fraudulent votes

19    “debase[]” and “dilute” the weight of each validly cast vote. See Anderson, 417

20    U.S. at 227.

21      129.         The right to vote includes not just the right to cast a ballot, but also the right

22    to have it fairly counted if it is legally cast. The right to vote is infringed if a vote is

23    cancelled or diluted by a fraudulent or illegal vote, including without limitation when a

24    single person votes multiple times. The Supreme Court of the United States has made this

25    clear in case after case. See, e.g., Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote

26    must be “protected from the diluting effect of illegal ballots.”); Crawford v. Marion Cnty.

27    Election Bd., 553 U.S. 181, 196 (2008) (plurality op. of Stevens, J.) (“There is no question

28    about the legitimacy or importance of the State’s interest in counting only the votes of


                                                   - 47 -
                                                                                     Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 743
                                                                48 ofof53
                                                                        1677



 1    eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 & n.29 (1964).

 2      130.        The right to an honest [count] is a right possessed by each voting

 3    elector, and to the extent that the importance of his vote is nullified, wholly or in

 4    part, he has been injured in the free exercise of a right or privilege secured to him

 5    by the laws and Constitution of the United States.” Anderson, 417 U.S. at 226

 6    (quoting Prichard v. United States, 181 F.2d 326, 331 (6th Cir.), aff’d due to

 7    absence of quorum, 339 U.S. 974 (1950)).

 8      131.        Practices that promote the casting of illegal or unreliable ballots or

 9    fail to contain basic minimum guarantees against such conduct, can violate the

10    Fourteenth Amendment by leading to the dilution of validly cast ballots. See

11    Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a debasement

12    or dilution of the weight of a citizen’s vote just as effectively as by wholly

13    prohibiting the free exercise of the franchise.”).

14      132.        Arizona law makes clear with regard to the electronic voting systems, that

15    “[a]fter the close of the polls and after compliance with section 16-602 the members of the

16    election board shall prepare a report in duplicate of the number of voters who have voted,

17    as indicated on the poll list, and place this report in the ballot box or metal container, in

18    which the voted ballots have been placed, which thereupon shall be sealed with a numbered

19    seal and delivered promptly by two members of the election board of different political

20    parties to the central counting place or other receiving station designated by the board of

21    supervisors or officer in charge of elections, which shall not be more than fifty miles from

22    the polling place from which the ballots are delivered. The person in charge of receiving

23    ballots shall give a numbered receipt acknowledging receipt of such ballots to the person

24    in charge who delivers such ballots. B. The chairman of the county committee of each

25    political party represented on the ballot may designate a member of his party to accompany

26    the ballots from each polling place to the central counting place. A.R.S. § 16-608.

27      133.        As Plaintiffs have shown the ballots processed by Dominion Voting Systems

28    reports to SCYTL, which is offshore, and uses an algorithm, that is secretive, and applies


                                                  - 48 -
                                                                                  Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 744
                                                                49 ofof53
                                                                        1677



 1    a cleansing of invalid versus valid ballots, before the votes get tallied for distribution.

 2      134.         Plaintiffs seek declaratory and injunctive relief enjoining Defendants

 3    from certifying the results of the General Election. This Court should enjoin

 4    Defendants from certifying a tally that includes any ballots that were not legally

 5    cast, or that were switched from Trump to Biden through the unlawful use of

 6    Dominion Democracy Suite software and devices.

 7                                              COUNT IV

 8                                     Wide-Spread Ballot Fraud

 9      135.         Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

10      136.         The scheme of civil fraud can be shown with the pattern of conduct that

11    includes motive and opportunity, as exhibited by the high level official at Dominion Voting

12    Systems, Eric Coomer, and his visceral and public rage against the current U.S. President.

13      137.         Opportunity appears with the secretive nature of the voting source code, and

14    the feed of votes that make clear that an algorithm is applied, that reports in decimal points

15    despite the law requiring one vote for one ballot.

16      138.         The Supreme Court of Arizona set forth the standard of fraud for elections

17    when it that held in the State of Arizona, fraud in an election is based on ballots procured

18    in violation to the law: “We therefore hold that HN5 a showing of fraud is not a necessary

19    condition to invalidate absentee balloting. It is sufficient that an express non-

20    technical statute was violated, and ballots cast in violation of the statute affected the

21    election. Miller v. Picacho Elementary Sch. Dist. No. 33, 179 Ariz. 178, 180, 877 P.2d

22    277, 279, (S. Ct.1994).

23      “Contrary to Findley, election statutes are mandatory, not "advisory," or else they
        would not be law at all. If a statute expressly provides that non-compliance
24
        invalidates the vote, then the vote is invalid. If the statute does not have such a
25      provision, non-compliance may or may not invalidate the vote depending on its
        effect. In the context of this case, "affect the result, or at least render it uncertain,"
26
        id. at 269, 276 P. at 844, means ballots procured in violation of a non-technical
27      statute in sufficient numbers to alter the outcome of the election.
28    Id.

                                                    - 49 -
                                                                                       Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 745
                                                                50 ofof53
                                                                        1677


        139.         This Complaint presents expert witness testimony demonstrating that several
 1

 2    hundred thousand illegal, ineligible, duplicate or purely fictitious votes must be thrown

 3    out, in particular:
 4
             A. Unreturned mail ballots unlawfully ordered by third parties: 219,135
 5
             B. Returned ballots that were deemed unreturned by the state: 86,845
 6
             C. Votes by persons that moved out of state or subsequently registered to
 7               vote in another state for the 2020 election: 5,790.
 8
             D. “Excess votes” to historically unprecedented, and likely fraudulent
 9               turnout levels of 80% or more in over half of Maricopa and Pima
                 County precincts: 100,724.
10
             E. And Plaintiffs can show Mr. Biden received a statistically significant
11
                 Advantage from the use of Dominion Machines in a nationwide Study,
12               which conservatively estimates Biden’s advantage at 62,282 Votes.
13
        140.         The right to vote includes not just the right to cast a ballot, but also the right
14
      to have it fairly counted if it is legally cast. The right to vote is infringed if a vote is
15
      cancelled or diluted by a fraudulent or illegal vote, including without limitation when a
16
      single person votes multiple times. The Supreme Court of the United States has made this
17
      clear in case after case. See, e.g., Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote
18
      must be “protected from the diluting effect of illegal ballots.”); Crawford v. Marion Cnty.
19
      Election Bd., 553 U.S. 181, 196 (2008) (plurality op. of Stevens, J.) (“There is no question
20
      about the legitimacy or importance of the State’s interest in counting only the votes of
21
      eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 & n.29 (1964).
22
        141.         Plaintiffs have no adequate remedy at law. Plaintiffs contest the results of
23
      Arizona’s 2020 General Election because it is fundamentally corrupted by fraud.
24
      Defendants should be enjoined from certifying an election where there were intentional
25
      violations of multiple provisions of Arizona law to elect Biden and other Democratic
26
      candidates and defeat President Trump and other Republican candidates.
27

28


                                                   - 50 -
                                                                                     Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 746
                                                                51 ofof53
                                                                        1677



 1                                     PRAYER FOR RELIEF

 2      142.        Accordingly, Plaintiffs seek an emergency order instructing Defendants to

 3    de-certify the results of the General Election for the Office of President.

 4      143.        In the alternative, Plaintiffs seek an emergency order prohibiting Defendants

 5    from including in any certified results from the General Election the tabulation of absentee

 6    and mailing ballots which do not comply with Arizona law.

 7      144.        Further, Plaintiffs ask this Court to order production of all registration data,

 8    ballot applications, ballots, envelopes, etc. required to be maintained by law. When we

 9    consider the harm of these uncounted votes, and ballots not ordered by the voters

10    themselves, and the potential that many of these unordered ballots may in fact have been

11    improperly voted and also prevented proper voting at the polls, the mail ballot system has

12    clearly failed in the state of Arizona and did so on a large scale and widespread basis. The

13    size of the voting failures, whether accidental or intentional, are multiples larger than the

14    margin in the state. For these reasons, Arizona cannot reasonably rely on the results of the

15    mail vote. Relief sought is the elimination of the mail ballots from counting in the 2020

16    election. Alternatively, the electors for the State of Arizona should be disqualified from

17    counting toward the 2020 election. Alternatively, the electors of the State of Arizona

18    should be directed to vote for President Donald Trump.

19      145.        For these reasons, Plaintiffs ask this Court to enter a judgment in their favor

20    and provide the following emergency relief:

21
             1. An order directing Governor Ducey and Secretary Hobbs to de-certify the
22
                election results;
23

24           2. An order enjoining Governor Ducey from transmitting the currently

25               certified election results the Electoral College;

26
             3. An immediate emergency order to seize and impound all servers,
27
                 software, voting machines, tabulators, printers, portable media, logs,
28


                                                  - 51 -
                                                                                    Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 747
                                                                52 ofof53
                                                                        1677



 1              ballot applications, ballot return envelopes, ballot images, paper ballots,

 2              and all election materials related to the November 3, 2020 Arizona

 3              election for forensic audit and inspection by the Plaintiffs;

 4
            4. An order that no votes received or tabulated by machines that were not
 5
                certified as required by federal and state law be counted;
 6

 7          5. A declaratory judgment declaring that Arizona’s failed system of

 8              signature verification violates the Electors and Elections Clause by

 9              working a de facto abolition of the signature verification requirement;

10
            6. A declaratory judgment declaring that currently certified election results
11
                violate the Due Process Clause, U.S. CONST. Amend. XIV;
12

13          7. A declaratory judgment declaring that mail-in and absentee ballot fraud

14              must be remedied with a Full Manual Recount or statistically valid

15              sampling that properly verifies the signatures on absentee ballot

16              envelopes and that invalidates the certified results if the recount or

17              sampling analysis shows a sufficient number of ineligible absentee

18              ballots were counted;

19
            8. A declaratory judgment declaring absentee ballot fraud occurred in
20
                violation of Constitutional rights, Election laws and under state law;
21

22          9. A permanent injunction prohibiting the Governor and Secretary of State

23              from transmitting the currently certified results to the Electoral College

24              based on the overwhelming evidence of election tampering;

25
            10. Immediate production of 48 hours of security camera recording of all
26
                rooms used in Maricopa County for November 3, 2020 and November
27
                4, 2020.
28


                                                - 52 -
                                                                                 Exhibit L
     Case
        Case
          1:21-cv-01169-TCB
             2:20-cv-02321-DJH
                             Document
                                Document
                                      35-21 Filed 05/03/21
                                                  12/02/20 Page 748
                                                                53 ofof53
                                                                        1677



 1          11. Plaintiffs further request the Court grant such other relief as is just and

 2              proper, including but not limited to, the costs of this action and their

 3              reasonable attorney fees and expenses pursuant to 42 U.S.C. 1988.

 4

 5

 6
            Respectfully submitted, this 1st day of December 2020.
 7

 8
      /s Sidney Powell*                                                    /s Alexander Kolodin

 9
      Sidney Powell PC                                               Kolodin Law Group PLLC
      Texas Bar No. 16209700                                               AZ Bar No. 030826
10    2911 Turtle Creek Blvd, Suite 300                           3443 N. Central Ave Ste 1009
11
      Dallas, Texas 75219                                                  Phoenix, AZ 85012

12
      *Application for admission pro hac vice
      forthcoming
13    Of Counsel:
14
      Emily P. Newman (Virginia Bar No. 84265)
      Julia Z. Haller (D.C. Bar No. 466921)
15
      Brandon Johnson (D.C. Bar No. 491730)

16
      2911 Turtle Creek Blvd. Suite 300
      Dallas, Texas 75219
17    *Application for admission pro hac vice Forthcoming
18    L. Lin Wood (Georgia Bar No. 774588)
19
      L. LIN WOOD, P.C.
      P.O. Box 52584
20
      Atlanta, GA 30305-0584
      Telephone: (404) 891-1402
21    Howard Kleinhendler (New York Bar No. 2657120)
22
      Howard Kleinhendler Esquire
      369 Lexington Ave. 12th Floor
23
      New York, New York 10017
      (917) 793-1188
24
      howard@kleinhendler.com

25

26
27

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                                                 - 53 -
                                                                                 Exhibit L
           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 749 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)




                  2020 WL 7238261                                Motions to dismiss granted, remaining pending motions
    Only the Westlaw citation is currently available.            denied as moot, and preliminary injunction vacated.
       United States District Court, D. Arizona.

         Tyler BOWYER, et al., Plaintiffs,
                                                                  West Headnotes (57)
                      v.
         Doug DUCEY, et al., Defendants.
                                                                 [1]    Federal Courts     Rights and interests at
                No. CV-20-02321-PHX-DJH                                 stake; adverseness
                             |                                          To ensure that the Federal Judiciary respects the
                    Signed 12/09/2020                                   proper and properly limited role of the courts in
                                                                        a democratic society, a plaintiff may not invoke
Synopsis                                                                federal-court jurisdiction unless he can show a
Background: Voters, Republican nominees for Arizona's                   personal stake in the outcome of the controversy.
presidential electors, and Republican county chairs brought             U.S. Const. art. 3, § 2, cl. 1.
action against Arizona's governor and secretary of state,
seeking injunctive relief setting aside results of general
election on basis of alleged fraud and election misconduct.
                                                                 [2]    Federal Civil Procedure        In general;
Plaintiffs moved for temporary restraining order (TRO)
                                                                        injury or interest
and, after county board of supervisors and county recorder
intervened as defendants, defendants filed motions to dismiss.          Federal Courts       Case or Controversy
                                                                        Requirement
                                                                        For there to be a case or controversy over which
                                                                        federal courts may exercise judicial power, the
Holdings: The District Court, Diane J. Humetewa, J., held
                                                                        plaintiff must have standing to sue. U.S. Const.
that:
                                                                        art. 3, § 2, cl. 1.

[1] county chairs failed to establish their standing to bring
action for violation of the Elections Clause;
                                                                 [3]    Federal Civil Procedure        In general;
[2] electors lacked standing to bring action for violations of          injury or interest
the Electors and Elections Clauses;                                     Whether a plaintiff has standing presents a
                                                                        threshold question in every federal case, because
[3] plaintiffs lacked standing to bring vote dilution claim             it determines the power of the court to entertain
under the Equal Protection Clause;                                      the suit. U.S. Const. art. 3, § 2, cl. 1.

[4] Colorado River abstention was warranted in light of
parallel litigation in state court;                              [4]    Federal Courts       Case or Controversy
                                                                        Requirement
[5] Eleventh Amendment barred plaintiffs' claims under §                No principle is more fundamental to the
1983;                                                                   judiciary's proper role in the country's system
                                                                        of government than the constitutional limitation
[6] Ex parte Young doctrine did not apply so as to provide              of federal court jurisdiction to actual cases or
exception to Eleventh Amendment immunity as bar to                      controversies. U.S. Const. art. 3, § 2, cl. 1.
plaintiffs' claims for prospective injunctive relief; and

[7] plaintiffs' claim for injunctive relief was moot.




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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 750 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)




 [5]    Federal Civil Procedure          In general;           [9]    Federal Civil Procedure           In general;
        injury or interest                                            injury or interest
        Federal Courts        Case or Controversy                     To establish an injury in fact, as required
        Requirement                                                   to have Article III standing, a plaintiff must
        A suit brought by a plaintiff without Article III             show that he or she suffered an invasion of
        standing is not a case or controversy, and an                 a legally protected interest that is concrete
        Article III federal court therefore lacks subject             and particularized and actual or imminent, not
        matter jurisdiction. U.S. Const. art. 3, § 2, cl. 1.          conjectural or hypothetical. U.S. Const. art. 3, §
                                                                      2, cl. 1.


 [6]    Federal Civil Procedure          In general;
        injury or interest                                     [10]   Federal Civil Procedure           In general;
                                                                      injury or interest
        Federal Civil Procedure          Rights of third
        parties or public                                             To establish an injury in fact, as required to have
                                                                      Article III standing, the plaintiff must establish
        To have Article III standing, a plaintiff seeking
                                                                      a “particularized injury,” which means that the
        relief in federal court must first demonstrate a
                                                                      injury must affect the plaintiff in a personal and
        personal stake in the outcome, distinct from a
                                                                      individual way. U.S. Const. art. 3, § 2, cl. 1.
        generally available grievance about government.
        U.S. Const. art. 3, § 2, cl. 1.                               1 Cases that cite this headnote


                                                               [11]   Federal Civil Procedure           In general;
 [7]    Constitutional Law         Nature and scope in
                                                                      injury or interest
        general
                                                                      Although imminence is concededly a somewhat
        Federal Civil Procedure          In general;
                                                                      elastic concept in the context of establishing
        injury or interest
                                                                      Article III standing, it cannot be stretched beyond
        The threshold requirement for standing that                   its purpose, which is to ensure that the alleged
        the plaintiff must demonstrate a personal stake               injury is not too speculative for Article III
        in the outcome, distinct from a generally                     purposes, that the injury is certainly impending.
        available grievance about government, ensures                 U.S. Const. art. 3, § 2, cl. 1.
        that the federal courts act as judges, and do not
        engage in policymaking properly left to elected
        representatives. U.S. Const. art. 3, § 2, cl. 1.
                                                               [12]   Federal Courts        Dismissal or other
                                                                      disposition
                                                                      When a plaintiff has not established the elements
 [8]    Federal Civil Procedure          In general;
                                                                      of standing, the case must be dismissed for lack
        injury or interest
                                                                      of subject matter jurisdiction. U.S. Const. art. 3,
        Federal Civil Procedure          Causation;                   § 2, cl. 1; Fed. R. Civ. P. 12(b)(1).
        redressability
        To establish Article III standing, a plaintiff has
        the burden of clearly demonstrating that she           [13]   Federal Courts        Pleadings and motions
        has: (1) suffered an injury in fact; (2) that is
                                                                      Federal Courts        Evidence; Affidavits
        fairly traceable to the challenged conduct of the
        defendant; and (3) that is likely to be redressed             A challenge on a motion to dismiss for lack of
        by a favorable judicial decision. U.S. Const. art.            subject matter jurisdiction may be either facial or
        3, § 2, cl. 1.                                                factual. Fed. R. Civ. P. 12(b)(1).




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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 751 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)




 [14]   Federal Courts         Dismissal or other                [19]   Injunction       Persons entitled to apply;
        disposition                                                      standing
        In a facial attack on a motion to dismiss for                   United States       In general; election contests
        lack of subject matter jurisdiction, the court                  Republican county chairs failed to establish
        may dismiss a complaint when the allegations                    their standing to bring action against Arizona's
        of and documents attached to the complaint are                  governor and secretary of state, alleging
        insufficient to confer subject matter jurisdiction.             violation of the Elections Clause of the
        Fed. R. Civ. P. 12(b)(1).                                       Constitution and seeking injunctive relief setting
                                                                        aside results of general election on basis of
                                                                        alleged fraud and election misconduct, where
 [15]   Federal Courts         Pleadings and motions                    chairs did not allege any grounds for their
        In a facial attack on a motion to dismiss for lack              standing in their complaint, and their briefings
        of subject matter jurisdiction, all allegations of              did not contain any arguments that they had
        material fact are taken as true and construed in                standing to assert claim under the Elections
        the light most favorable to the nonmoving party.                Clause. U.S. Const. art. 3, § 2, cl. 1; U.S. Const.
        Fed. R. Civ. P. 12(b)(1).                                       art. 1, § 4, cl. 1.



 [16]   Federal Courts         Weight and sufficiency            [20]   Injunction       Persons entitled to apply;
                                                                         standing
        When a court evaluates a factual challenge to
        jurisdiction, on a motion to dismiss for lack of                United States       In general; election contests
        subject matter jurisdiction, the court is free to               United States       Presidential electors
        weigh the evidence and satisfy itself as to the                 Republican nominees for Arizona's presidential
        existence of its power to hear the case. Fed. R.                electors were not considered candidates for
        Civ. P. 12(b)(1).                                               office under Arizona law, and, thus, they
                                                                        lacked standing to bring action against Arizona's
                                                                        governor and secretary of state, alleging
 [17]   United States        Relation to state law;                     violations of the Electors and Elections Clauses
        preemption                                                      of the Constitution and seeking injunctive relief
        The Elections Clause of the United States                       setting aside results of general election on
        Constitution authorizes the state governments                   basis of alleged fraud and election misconduct,
        to regulate federal elections held in the state,                where electors were limited to merely fulfilling
        while Congress retains exclusive control to alter               ministerial function, and voters in Arizona did
        a state's regulations. U.S. Const. art. 1, § 4, cl. 1.          not vote for any single electors listed next to
                                                                        presidential candidates’ names. U.S. Const. art.
                                                                        1, § 4, cl. 1; U.S. Const. art. 2, § 1, cl. 2; U.S.
 [18]   United States        Regulation of Election of                  Const. art. 3, § 2, cl. 1; Ariz. Rev. Stat. Ann. §§
        Members                                                         16-212(C), 16-344, 16-507(B).

        United States        Presidential electors                      1 Cases that cite this headnote
        While the Electors Clause and Elections Clause
        are separate Constitutional provisions, they share
                                                                 [21]   Constitutional Law         Elections
        considerable similarity and are therefore often
                                                                        Voters, Republican nominees for Arizona's
        considered together. U.S. Const. art. 1, § 4, cl. 1;
                                                                        presidential electors, and Republican county
        U.S. Const. art. 2, § 1, cl. 2.
                                                                        chairs failed to allege they suffered any concrete
                                                                        harm, as required to establish injury in fact
                                                                        required to have Article III standing to bring vote


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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 752 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


        dilution claim under Equal Protection Clause                 Generally, a federal court has a duty to exercise
        against Arizona's governor and secretary of state,           the jurisdiction conferred by Congress.
        in action seeking injunctive relief setting aside
        results of general election on basis of alleged
        fraud and election misconduct, where state            [26]   Federal Courts       Right to Decline
        actors' alleged counting of ballots in violation of          Jurisdiction; Abstention
        state election law did not involve any votes being
                                                                     Under certain circumstances, it is prudent for a
        weighed differently in violation of the Equal
                                                                     federal court to abstain from hearing a matter.
        Protection Clause, and plaintiffs raised only
        generally available grievance about government.
        U.S. Const. art. 3, § 2, cl. 1; U.S. Const. Amend.
                                                              [27]   Federal Courts       Right to Decline
        14.
                                                                     Jurisdiction; Abstention
                                                                     Abstention by a federal court may be warranted
                                                                     by considerations of proper constitutional
 [22]   Constitutional Law     Equality of Voting
                                                                     adjudication, regard for federal-state relations, or
        Power (One Person, One Vote)
                                                                     wise judicial administration.
        Vote dilution under the Equal Protection
        Clause is concerned with votes being weighed
        differently. U.S. Const. Amend. 14.
                                                              [28]   Federal Courts        Colorado River abstention
                                                                     Colorado River abstention permits a federal
                                                                     court to abstain from exercising jurisdiction
 [23]   Constitutional Law         Ballots in general
                                                                     over a matter in deference to a state court suit
        State actors counting ballots in violation of
                                                                     regarding similar claims and allegations.
        state election law is not a concrete harm under
        the Equal Protection Clause of the Fourteenth
        Amendment. U.S. Const. Amend. 14.
                                                              [29]   Federal Courts        Colorado River abstention
                                                                     The factors for determining whether Colorado
                                                                     River abstention is warranted are: (1) which court
 [24]   Constitutional Law         Elections
                                                                     first assumed jurisdiction over any property at
        Voters, Republican nominees for Arizona's
                                                                     stake; (2) the inconvenience of the federal forum;
        presidential electors, and Republican county
                                                                     (3) the desire to avoid piecemeal litigation;
        chairs did not request relief that was redressable
                                                                     (4) the order in which the forums obtained
        in tailored way, as required to establish
                                                                     jurisdiction; (5) whether federal law or state
        Article III standing to bring vote dilution
                                                                     law provides the rule of decision on the merits;
        claim under Equal Protection Clause against
                                                                     (6) whether the state court proceedings can
        Arizona's governor and secretary of state, in
                                                                     adequately protect the rights of the federal
        action seeking injunctive relief setting aside
                                                                     litigants; (7) the desire to avoid forum shopping;
        results of general election on basis of alleged
                                                                     and (8) whether the state court proceedings will
        fraud and election misconduct, where providing
                                                                     resolve all issues before the federal court.
        relief requested would disenfranchise nearly 3.4
        million Arizonans that voted in general election,
        transforming all allegedly diluted votes from
                                                              [30]   Federal Courts        Elections, Voting, and
        being diluted to being destroyed. U.S. Const. art.
                                                                     Political Rights
        3, § 2, cl. 1; U.S. Const. Amend. 14.
                                                                     Colorado River abstention was warranted
                                                                     in action brought by voters, Republican
                                                                     nominees for Arizona's presidential electors,
 [25]   Federal Courts       Right to Decline
                                                                     and Republican county chairs against Arizona's
        Jurisdiction; Abstention


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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 753 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


        governor and secretary of state, seeking                     Federal Courts        Suits for injunctive or
        injunctive relief setting aside results of general           other prospective or equitable relief; Ex parte
        election on basis of alleged fraud and election              Young doctrine
        misconduct, although plaintiffs' allegations of              The jurisdictional bar of a suit against a
        widespread fraud in relation to vote tabulation              state, under the Eleventh Amendment, applies
        systems and software were not before state                   regardless of the nature of the relief sought. U.S.
        courts, where plaintiffs’ claims were similar                Const. Amend. 11.
        to those raised in ongoing state court cases,
        federal forum was less convenient than state
        forum considering state election law violations
                                                              [35]   Federal Courts        Agencies, officers, and
        alleged, state actors involved, and interplay of
                                                                     public employees
        state election law, many of same parties and
                                                                     When the suit is brought only against state
        attorneys were litigating related matters in both
                                                                     officials, a question arises as to whether that
        forums, federal action was last filed case, crux
                                                                     suit is a suit against the State itself, as would
        of plaintiffs' arguments and statutes upon which
                                                                     be barred under the Eleventh Amendment. U.S.
        they relied involved Arizona election law, and
                                                                     Const. Amend. 11.
        state courts were adequately equipped to protect
        rights of named plaintiffs.

                                                              [36]   Federal Courts        What Are Suits Against
                                                                     States; Entities and Individuals Entitled to
 [31]   Federal Courts       Right to Decline
                                                                     Immunity
        Jurisdiction; Abstention
                                                                     The general rule is that a suit is against the
        When        considering    abstention,    proper
                                                                     sovereign, for purposes of Eleventh Amendment
        constitutional adjudication, regard for federal-
                                                                     immunity, if the effect of the judgment would
        state relations, and wise judicial administration
                                                                     be to restrain the government from acting, or to
        inform the court.
                                                                     compel it to act. U.S. Const. Amend. 11.


 [32]   Federal Courts   Suits Against States;
                                                              [37]   Federal Courts        Exceptions to Immunity
        Eleventh Amendment and Sovereign Immunity
                                                                     Federal Courts        Agencies, officers, and
        Eleventh Amendment immunity applies when a
                                                                     public employees
        citizen brings a claim against their own state.
        U.S. Const. Amend. 11.                                       There are three recognized exceptions to a state's
                                                                     Eleventh Amendment immunity: (1) Congress
                                                                     has abrogated the immunity within a federal
 [33]   Federal Courts        Agencies, officers, and                statute; (2) the state has waived immunity
        public employees                                             and allowed individuals to sue it pursuant
                                                                     to specific state statutes; and (3) in claims
        Eleventh Amendment immunity extends to suits
                                                                     seeking prospective injunctive relief against state
        against state officials when the state is the real,
                                                                     officials to remedy a state's ongoing violation of
        substantial party in interest. U.S. Const. Amend.
                                                                     federal law. U.S. Const. Amend. 11.
        11.


                                                              [38]   Federal Courts       Civil rights and
 [34]   Federal Courts   Suits Against States;
                                                                     discrimination in general
        Eleventh Amendment and Sovereign Immunity
                                                                     Federal Courts        Other particular entities
                                                                     and individuals




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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 754 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


        Congress did not abrogate states’ immunity from
        suit in enacting language of § 1983, as would
        provide exception to Eleventh Amendment               [42]   Federal Courts        Other particular entities
        immunity as bar to claims brought in § 1983                  and individuals
        action by voters, Republican nominees for
                                                                     Ex parte Young doctrine did not apply
        Arizona's presidential electors, and Republican
                                                                     so as to provide exception to Eleventh
        county chairs against Arizona's governor and
                                                                     Amendment immunity as bar to claim for
        secretary of state, seeking injunctive relief
                                                                     prospective injunctive relief brought by voters,
        setting aside results of general election on basis
                                                                     Republican nominees for Arizona's presidential
        of alleged fraud and election misconduct. U.S.
                                                                     electors, and Republican county chairs against
        Const. Amend. 11; 42 U.S.C.A. § 1983.
                                                                     Arizona's governor and secretary of state,
                                                                     seeking injunctive relief setting aside results
                                                                     of general election on basis of alleged fraud
 [39]   Federal Courts        Waiver by State; Consent               and election misconduct, where plaintiffs'
        State of Arizona did not explicitly waive its                fraud claims were entirely based on state
        immunity for elections challenges, as would                  election law, and even if plaintiffs had
        provide exception to Eleventh Amendment                      asserted independent federal claims, those claims
        immunity as bar to claims brought in § 1983                  concerned past conduct related to alleged issues
        action by voters, Republican nominees for                    with signature verification, ballot duplication,
        Arizona's presidential electors, and Republican              and poll observation, and did not assert any
        county chairs against Arizona's governor and                 ongoing violation of federal law. U.S. Const.
        secretary of state, seeking injunctive relief                Amends. 11, 14.
        setting aside results of general election on basis
        of alleged fraud and election misconduct. U.S.
        Const. Amend. 11; 42 U.S.C.A. § 1983.                 [43]   Equity       Prejudice from Delay in General
                                                                     Laches will bar a claim when the party asserting
                                                                     it shows the plaintiff unreasonably delayed in
 [40]   Federal Courts        Suits for injunctive or                filing the action and the delay caused prejudice
        other prospective or equitable relief; Ex parte              to the defendant or the administration of justice.
        Young doctrine
        In determining whether the doctrine of Ex parte
        Young avoids an Eleventh Amendment bar to             [44]   Constitutional Law         Delay in assertion of
        suit, a court need only conduct a straightforward            rights; laches
        inquiry into whether the complaint alleges an
                                                                     Election Law        Limitations and laches
        ongoing violation of federal law and seeks
                                                                     Laches can bar untimely claims for relief in
        relief properly characterized as prospective. U.S.
                                                                     election cases, even when the claims are framed
        Const. Amend. 11.
                                                                     as constitutional challenges.


 [41]   Federal Courts        Suits for injunctive or
                                                              [45]   Injunction        Laches
        other prospective or equitable relief; Ex parte
        Young doctrine                                               Doctrine of laches barred claims asserted by
                                                                     voters, Republican nominees for Arizona's
        When claims are state law claims, masked
                                                                     presidential electors, and Republican county
        as federal law claims, Ex parte Young is
                                                                     chairs against Arizona's governor and secretary
        inapplicable and the Eleventh Amendment
                                                                     of state, seeking injunctive relief setting aside
        clearly bars the suit, whether the relief requested
                                                                     results of general election on basis of alleged
        is prospective or retroactive in nature. U.S.
                                                                     fraud and election misconduct, where plaintiffs
        Const. Amend. 11.



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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 755 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


        delayed nearly a month after general election               to be brought in state court. 3 U.S.C.A. § 6; Ariz.
        in seeking to decertify election results, even              Rev. Stat. Ann. § 16-672.
        though basis for their claims was either known
        well before election day or soon thereafter,
        and Arizona state election challenge law, which      [49]   Federal Civil Procedure          Fraud, mistake
        required electors to file challenge to election in          and condition of mind
        state court within five days of certification of
                                                                    A motion to dismiss a complaint or claim
        election, did not excuse plaintiffs' delay because
                                                                    grounded in fraud for failure to plead fraud with
        they opted to file their federal constitutional
                                                                    requisite particularity is the functional equivalent
        challenges in federal court. Ariz. Rev. Stat. Ann.
                                                                    of a motion to dismiss for failure to state a claim.
        § 16-673.
                                                                    Fed. R. Civ. P. 9(b), 12(b)(6).


 [46]   Federal Courts        Mootness
                                                             [50]   Federal Civil Procedure          Fraud, mistake
        Federal Courts       Inception and duration of              and condition of mind
        dispute; recurrence; "capable of repetition yet
                                                                    The particularity requirement of the rule
        evading review"
                                                                    requiring that, in all averments of fraud or
        Mootness is a jurisdictional issue, and federal             mistake, the circumstances constituting fraud or
        courts have no jurisdiction to hear a case that is          mistake be stated with particularity demands a
        moot, that is, where no actual or live controversy          higher degree of notice than that required for
        exists.                                                     other claims; the claim must identify who, what,
                                                                    where, when, and how. Fed. R. Civ. P. 9(b).

 [47]   Federal Courts        Available and effective
        relief                                               [51]   Federal Civil Procedure          Fraud, mistake
        A case is moot when a party cannot obtain relief            and condition of mind
        for its claim.                                              The rule requiring that, in all averments of fraud
                                                                    or mistake, the circumstances constituting fraud
                                                                    or mistake be stated with particularity serves
 [48]   Injunction       Mootness and ripeness;                     not only to give notice to defendants of the
         ineffectual remedy                                         specific fraudulent conduct against which they
        Injunction       Conduct of elections                       must defend, but also to deter the filing of
                                                                    complaints as a pretext for the discovery of
        Claim for permanent injunction enjoining
                                                                    unknown wrongs, to protect defendants from
        governor from transmitting certified results
                                                                    the harm that comes from being subject to
        of general election, and decertifying election
                                                                    fraud charges, and to prohibit plaintiffs from
        results, was moot, in action asserted by voters,
                                                                    unilaterally imposing upon the court, the parties,
        Republican nominees for Arizona's presidential
                                                                    and society enormous social and economic costs
        electors, and Republican county chairs against
                                                                    absent some factual basis. Fed. R. Civ. P. 9(b).
        Arizona's governor and secretary of state,
        seeking injunctive relief setting aside results of
        general election on basis of alleged fraud and
        election misconduct, where governor had already      [52]   Federal Civil Procedure          Fraud, mistake
        transmitted results, District Court lacked power            and condition of mind
        to decertify results, and even if the Court could           Voters, Republican nominees for Arizona's
        decertify election, such relief would necessarily           presidential electors, and Republican county
        run afoul of the Electoral Count Act by ignoring            chairs failed to plead fraud with requisite
        Arizona law that required election contest claims           particularity, and failed to plead facts that could
                                                                    plausibly give rise to inference that Arizona's


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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 756 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


        secretary of state and governor conspired with                 Voters, Republican nominees for Arizona's
        various domestic and international actors to                   presidential electors, and Republican county
        manipulate Arizona's general election results                  chairs seeking temporary restraining order
        allowing Democratic candidate to defeat                        (TRO) and preliminary injunction setting
        Republican candidate in presidential race,                     aside results of general election failed
        as required to state claim against Arizona's                   to show substantial likelihood of success
        governor and secretary of state for injunctive                 on merits of their claims of fraud and
        relief setting aside results of general election on            election misconduct, where they faced serious
        basis of alleged fraud and election misconduct.                jurisdictional impediments in bringing their
        Fed. R. Civ. P. 9(b).                                          claims to federal court at eleventh hour, and those
                                                                       insurmountable legal hurdles were exacerbated
                                                                       by insufficiently pled allegations of fraud,
 [53]   Injunction      Relation or conversion to                      rendered implausible by multiple inadmissible
        preliminary injunction                                         affidavits, declarations, and expert reports upon
                                                                       which their complaint relied.
        The standard for issuing a temporary restraining
        order is identical to that for issuing a preliminary
        injunction.
                                                                [57]   Injunction       Conduct of elections
                                                                       Public interest did not support grant of temporary
 [54]   Injunction       Extraordinary or unusual nature               restraining order (TRO) and preliminary
        of remedy                                                      injunction setting aside results of general
                                                                       election in Arizona on basis of alleged fraud
        Injunction       Extraordinary or unusual nature
                                                                       and election misconduct, where relief requested
        of remedy
                                                                       would cause enormous harm to Arizonans,
        Injunction       Clear showing or proof
                                                                       supplanting will of nearly 3.4 million voters
        Under normal circumstances, both a temporary                   reflected in certified election results and
        restraining order and a preliminary injunction are             potentially imperiling Arizona's participation in
        extraordinary and drastic remedies, and should                 Electoral College.
        not be granted unless the movant, by a clear
        showing, carries the burden of persuasion.



 [55]   Injunction       Grounds in general; multiple          Attorneys and Law Firms
        factors
                                                               Alexander Michael Kolodin, Christopher Alfredo Viskovic,
        Injunction       Grounds in general; multiple
                                                               Kolodin Law Group PLLC, Phoenix, AZ, Brandon Johnson,
        factors
                                                               Emily P. Newman, Sidney Katherine Powell, Pro Hac Vice,
        A plaintiff seeking a temporary restraining order      Sidney Powell PC, Dallas, TX, Howard Kleinhendler, Pro
        or preliminary injunction must show that: (1) he       Hac Vice, New York, NY, Julia Zuszua Haller, Defending the
        or she is likely to succeed on the merits; (2) he      Republic, Washington, DC, L. Lin Wood, Wood Hernacki &
        or she is likely to suffer irreparable harm without    Evans LLC, Atlanta, GA, for Plaintiffs.
        an injunction; (3) the balance of equities tips in
        his or her favor; and (4) an injunction is in the      Anni Lori Foster, Office of the Governor, Brett William
        public interest.                                       Johnson, Colin Patrick Ahler, Derek Conor Flint, Ian R.
                                                               Joyce, Snell & Wilmer LLP, Phoenix, AZ, for Defendant
                                                               Doug Ducey.
 [56]   Injunction       Other particular cases
                                                               David Andrew Gaona, Kristen Michelle Yost, Roopali H.
        Injunction       Sufficiency, particular cases         Desai, Coppersmith Brockelman PLC, Phoenix, AZ, Davida
                                                               Brook, Pro Hac Vice, Susman Godfrey LLP, Los Angeles,


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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 757 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


CA, Elizabeth B. Hadaway, Pro Hac Vice, Justin A. Nelson,           transmitted to the United States Archivist pursuant to the
Pro Hac Vice, Susman Godfrey LLP, Houston, TX, Stephen              Electoral Count Act. (Id.); see also 3 U.S.C. § 6.
Edward Morrissey, Pro Hac Vice, Susman Godfrey LLP,
Seattle, WA, Stephen Lee Shackelford, Jr., Pro Hac Vice,            In their Complaint and the accompanying Motion for
Susman Godfrey LLP, New York, NY, for Defendant Katie               Temporary Restraining Order (“TRO”) filed on December
Hobbs.                                                              2, Plaintiffs “contest” the election and ask this Court to
                                                                    compel the Governor to “de-certify” these results. (Docs.
                                                                    1 ¶ 145; 2 at 10). The Complaint also requests that this
ORDER                                                               Court grant a permanent injunction “enjoining Secretary
                                                                    Hobbs and Governor Ducey from transmitting the currently
Diane J. Humetewa, United States District Judge                     certified election results to the Electoral College,” declare
                                                                    the election results unconstitutional, and seize all voting
 *1 Plaintiffs bring their Complaint seeking injunctive
                                                                    machines, equipment, software, and other election-related
relief from this Court, specifically, to “set aside the results
                                                                    records and materials, including all ballots cast.3 (Doc. 1
of the 2020 General Election,” because they claim the
                                                                    at 51–52). The Complaint claims to show “multifaceted
election process and results were “so riddled with fraud,
                                                                    schemes and artifices implemented by Defendants and their
illegality and statistical impossibility ... that Arizona voters,
                                                                    collaborators” to defraud the election. (Id. at ¶ 3). And these
courts and legislators cannot rely on or certify” its results.
                                                                    schemes allegedly resulted in “the unlawful counting, or
(Doc. 1 at 2). By any measure, the relief Plaintiffs seek
                                                                    fabrication, of hundreds of thousands of illegal, ineligible,
is extraordinary. If granted, millions of Arizonans who
                                                                    duplicate or purely fictitious ballots.” (Id.)
exercised their individual right to vote in the 2020 General
Election would be utterly disenfranchised. Such a request
                                                                     *2 Of the fourteen named Plaintiffs, three are registered
should then be accompanied by clear and conclusive facts to
                                                                    voters and GOP Chairs for various Arizona counties. (Id. at
support the alleged “egregious range of conduct in Maricopa
                                                                    ¶¶ 29–31). The remaining eleven are Republican nominees
County and other Arizona counties ... at the direction of
                                                                    for Arizona's presidential electors. (Id. at ¶ 28). One of
Arizona state election officials.” (Id.) Yet the Complaint's
                                                                    the eleven, Dr. Kelli Ward, filed suit in state-court over
allegations are sorely wanting of relevant or reliable evidence,
                                                                    allegations of fraud in this election. See Ward v. Jackson,
and Plaintiffs’ invocation of this Court's limited jurisdiction
                                                                    Case No. CV2020-015285, slip. op. (Ariz. Super. Ct. Dec. 4,
is severely strained. Therefore, for the reasons stated herein,
                                                                    2020) (finding no evidence of alleged fraud and dismissing
the Complaint shall be dismissed.
                                                                    claims of election misconduct); (Doc. 55-1). In that case, on
                                                                    December 8, 2020, the Arizona Supreme Court affirmed the
I. Background                                                       Maricopa County Superior Court's findings that there was no
In Arizona, more than 3.4 million voters participated in the        evidence of fraud or misconduct in Arizona's election. (Ward
November 3, 2020, General Election. Thereafter, pursuant to         v. Jackson, CV2020-015285 (Ariz. 2020); (Doc. 81-1).
A.R.S. § 16-602, several counties performed a hand count
of sample ballots to test the tabulation equipment, and either      Plaintiffs’ Complaint contains four counts, three of which
no discrepancies were found or, if there were, they were            assert 42 U.S.C. § 1983 claims for violations of the
“within the acceptable margin.”1 Arizona law also requires          Constitution's Elections and Electors Clauses, as well as the
the secretary of state, in the governor's presence, to certify      Fourteenth Amendment's Due Process and Equal Protection
the statewide canvas on the fourth Monday after a general           guarantees. (Doc. 1 ¶¶ 103–34). The final count, which does
election. A.R.S. § 16-648. On November 30, 2020, Secretary          not specify a cause of action, is for “Wide-Spread Ballot
of State Katie Hobbs, in the presence of Governor Doug              Fraud.” (Id. at ¶¶ 135–41).
Ducey, certified the statewide canvas. (Doc. 40 at 4). The
Canvas shows that former Vice President Joseph Biden                On December 3, the day after Plaintiffs filed their Complaint,
prevailed over President Donald Trump by more than ten              the Court received a Motion to Intervene from the Arizona

thousand votes.2 On that same day, Governor Ducey signed            Democratic Party, which was subsequently denied.4 (Docs.
the Certificate of Ascertainment for Vice President Biden's         26 and 69). The Court also received a Motion to Intervene
presidential electors. (Doc. 40 at 4). The Certificate was then     from the Maricopa County Board of Supervisors and
                                                                    Maricopa County Recorder Adrian Fontes, which was


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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 758 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


granted. (Docs. 27 and 32). The Court held a status conference   court therefore lacks subject matter jurisdiction. Steel Co. v.
on the same day, in which it scheduled a December 8 hearing      Citizens for a Better Environment, 523 U.S. 83, 101, 118 S.Ct.
on the TRO. (Doc. 28). By subsequent Order (Doc. 43),            1003, 140 L.Ed.2d 210 (1998).
the Court converted that hearing to oral argument on the
Motions to Dismiss filed on December 4. (Docs. 36, 38,            *3 [6] [7] [8] “[A] plaintiff seeking relief in federal court
and 40). Plaintiffs have filed their Response to the Motions     must first demonstrate ... a personal stake in the outcome,”
(Doc. 44), and Defendants have filed their Replies. (Docs.       Baker v. Carr, 369 U.S. 186, 204, 82 S.Ct. 691, 7 L.Ed.2d 663
53, 54, and 55). On December 8, 2020, the Court held oral        (1962), distinct from a “generally available grievance about
argument on the Motions to Dismiss and took this matter          government,” Lance v. Coffman, 549 U.S. 437, 439, 127 S.Ct.
under advisement. Being fully briefed on the matter, the Court   1194, 167 L.Ed.2d 29 (2007) (per curiam). “That threshold
now issues its ruling.                                           requirement ensures that we act as judges, and do not engage
                                                                 in policymaking properly left to elected representatives.” Gill,
                                                                 138 S. Ct. at 1923. To establish standing, a plaintiff has the
II. Analysis                                                     burden of clearly demonstrating that she has: “(1) suffered
Given the import of the overarching subject—a United States      an injury in fact, (2) that is fairly traceable to the challenged
Presidential Election—to the citizens of Arizona, and to the     conduct of the defendant, and (3) that is likely to be redressed
named Plaintiffs, the Court is compelled to make clear why       by a favorable judicial decision.” Spokeo II, 136 S. Ct. at
it finds it inappropriate to reach the merits of Plaintiffs’     1547 (quoting Warth, 422 U.S. at 518, 95 S.Ct. 2197); accord
Complaint and why it must grant the Motions to Dismiss this      Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
matter in its entirety. The Court will endeavor to lay bare      377, 114 S.Ct. 1673, 128 L.Ed.2d 391 (1994) (noting the party
the independent reasons for its conclusions, including those     asserting jurisdiction bears the burden of establishing subject
related to Article III standing, abstention, laches, mootness,   matter jurisdiction on a Rule 12(b)(1) motion to dismiss).
and the federal pleading standards, which govern its review.
                                                                   [9]     [10]    [11]    [12] To establish an injury in fact, “a
                                                                  plaintiff must show that he or she suffered ‘an invasion of a
   A. Article III Standing
                                                                  legally protected interest’ that is ‘concrete and particularized’
 [1] [2] [3] [4] [5] “To ensure that the Federal Judiciary
                                                                  and ‘actual or imminent, not conjectural or hypothetical.’ ”
respects the proper—and properly limited—role of the courts
                                                                  Spokeo II, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at
in a democratic society, a plaintiff may not invoke federal-
                                                                  560, 112 S.Ct. 2130). “When we have used the adjective
court jurisdiction unless he can show a personal stake in
                                                                  ‘concrete,’ we have meant to convey the usual meaning of
the outcome of the controversy.” Gill v. Whitford, ––– U.S.
                                                                  the term—‘real,’ and not ‘abstract.’ ” Id. The plaintiff must
––––, 138 S. Ct. 1916, 1929, 201 L.Ed.2d 313 (2018)
                                                                  establish a “particularized” injury, which means that “the
(internal citations omitted). Article III provides that federal
                                                                  injury must affect the plaintiff in a personal and individual
courts may only exercise judicial power in the context of
                                                                  way.” Raines v. Byrd, 521 U.S. 811, 819, 117 S.Ct. 2312,
“cases” and “controversies.” U.S. Const. Art. III, § 2, cl.
                                                                  138 L.Ed.2d 849 (1997). Moreover, “[a]lthough imminence is
1; Lujan v. Defs. of Wildlife, 504 U.S. 555, 559, 112 S.Ct.
                                                                  concededly a somewhat elastic concept, it cannot be stretched
2130, 119 L.Ed.2d 351 (1992). For there to be a case or
                                                                  beyond its purpose, which is to ensure that the alleged injury is
controversy, the plaintiff must have standing to sue. Spokeo,
                                                                  not too speculative for Article III purposes—that the injury is
Inc. v. Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547, 194
                                                                  certainly impending.” Clapper v. Amnesty Int'l USA, 568 U.S.
L.Ed.2d 635 (2016) (“Spokeo II”). Whether a plaintiff has
                                                                  398, 409, 133 S.Ct. 1138, 185 L.Ed.2d 264 (2013). Where
standing presents a “threshold question in every federal case
                                                                  a plaintiff has not established the elements of standing, the
[because it determines] the power of the court to entertain the
                                                                  case must be dismissed pursuant to Federal Rule of Civil
suit.” Warth v. Seldin, 422 U.S. 490, 498, 95 S.Ct. 2197, 45
                                                                  Procedure 12(b)(1).
L.Ed.2d 343 (1975). “No principle is more fundamental to the
judiciary's proper role in our system of government than the
                                                                   [13] [14] [15] [16] Rule 12(b)(1) authorizes a court to
constitutional limitation of federal-court jurisdiction to actual
                                                                  dismiss claims over which it lacks subject-matter jurisdiction.
cases or controversies.” DaimlerChrysler Corp. v. Cuno, 547
                                                                  A Rule 12(b)(1) challenge may be either facial or factual.
U.S. 332, 341, 126 S.Ct. 1854, 164 L.Ed.2d 589 (2006).
                                                                  Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th
A suit brought by a plaintiff without Article III standing
                                                                  Cir. 2004). In a facial attack, the court may dismiss a
is not a “case or controversy,” and an Article III federal


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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 759 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


complaint when the allegations of and documents attached          Plaintiffs’ briefing does not contain any arguments that the
to the complaint are insufficient to confer subject-matter        GOP Chairs have standing to assert this claim and the Court
jurisdiction. See Savage v. Glendale Union High Sch. Dist.        will dismiss the claim as to the GOP Chairs outright.
No. 205, 343 F.3d 1036, 1039 n.2 (9th Cir. 2003). In this
context, all allegations of material fact are taken as true and    [20] Plaintiffs argue that the Plaintiff Electors should be
construed in the light most favorable to the nonmoving party.     considered “candidates,” and thus that they have standing
Fed'n of African Am. Contractors v. City of Oakland, 96           under the Electors and Elections Clause pursuant to an Eighth
F.3d 1204, 1207 (9th Cir. 1996). In contrast, when a court        Circuit case, Carson v. Simon, 978 F.3d 1051 (8th Cir. 2020).
evaluates a factual challenge to jurisdiction, a court is “free   (Doc. 44 at 5). That case, which is based on the operation of
to weigh the evidence and satisfy itself as to the existence      Minnesota state election law, allowed electors to bring claims
of its power to hear the case.” Safe Air for Everyone, 373        under the Elections Clause because electors were treated as
F.3d at 1039 (“In resolving a factual attack on jurisdiction,     candidates for office under Minnesota law and thus would be
the district court may review evidence beyond the complaint       injured by the governor's failure to seat them if chosen as the
without converting the motion to dismiss into a motion for        state's electors. See Carson, 978 F.3d at 1057.
summary judgment.”).
                                                                 Plaintiff Electors likewise assert that under Arizona law they
                                                                 should also be considered “candidates.” (Doc. 44 at 5–6)
                                                                 (citing A.R.S. § 16-344). However, the Electors are not
1. Elections and Electors Clause – Count One
                                                                 candidates for office as the term is generally understood.
Plaintiffs allege in Count One that Defendants violated the      Arizona law makes clear that the duty of an Elector is to
Elections and Electors Clauses and 42 U.S.C. § 1983 by,          fulfill a ministerial function, which is extremely limited in
among other things, losing or destroying absentee ballots,       scope and duration, and that they have no discretion to deviate
and/or replacing those ballots with “blank ballots filled        at all from the duties imposed by the statute. See A.R.S. §
out by election workers, Dominion or other third parties”        16-212(C) (“After the secretary of state issues the statewide
sending thousands of absentee ballots to someone besides         canvass containing the results of a presidential election, the
the registered voter that “could have been filled out by         presidential electors of this state shall cast their electoral
anyone.” (Doc. 1 at 41). Defendants argue that Plaintiffs do     college votes for the candidate for president and the
not have standing to assert such a claim. (Doc. 40 at 8–9).      candidate for vice president who jointly received the highest
                                                                 number of votes in this state as prescribed in the canvass.”)
 [17]      [18] The Elections Clause of the United States (emphasis added). Arizona voters do not show up to vote for
Constitution states: “The Times, Places and Manner of            any single Electors listed next to the presidential candidates’
holding Elections for Senators and Representatives, shall be     names; they vote for their preferred presidential candidate. By
prescribed in each State by the Legislature thereof[.]” U.S.     specifying that the electors “shall be enclosed in a bracketed
Const. Art. I, § 4, cl. 1. The Elections Clause authorizes the   list” next to “the surname of the presidential candidate and
state governments to regulate federal elections held in the      vice-presidential candidate,” A.R.S. § 16-507(B) clarifies
state, while Congress retains “exclusive control” to alter a     and distinguishes the Electors’ ministerial status from that
state's regulations. Colegrove v. Green, 328 U.S. 549, 554, 66   of  the presidential candidate running for office, the latter
S.Ct. 1198, 90 L.Ed. 1432 (1946). A separate provision, the      who unquestionably suffers the discrete injury required for
“Electors Clause” of the Constitution, states: “Each State shall standing.6 Notably, the Republican candidate whose name
appoint, in such Manner as the Legislature thereof may direct,   was on the ballot is not a plaintiff in this case.
a Number of Electors ....” U.S. Const. Art. II, § 1, cl. 2.5
                                                                  Other circuit courts to reach the issue have cited the Carson
 *4 [19] Plaintiffs’ Complaint alleges that Defendants            decision with disapproval, noting that there was no precedent
violated the Elections Clause. However, the Complaint does        for expanding standing in the way that it did.7 See Bognet v.
not allege grounds for standing to assert this claim, nor does    Sec'y of Commonwealth of Pa., 980 F.3d 336, 351 n.6 (3d Cir.
it distinguish between the status of the groups of Plaintiffs.    2020) (“Our conclusion departs from the recent decision of
At oral argument, Plaintiffs’ counsel stated that eleven of the   an Eighth Circuit panel which, over a dissent, concluded that
Plaintiffs were Republican Party nominees to be electors, and     candidates for the position of presidential elector had standing
the other three were county GOP Chairs. As an initial matter,     under Bond [v. United States, 564 U.S. 211, 131 S.Ct. 2355,


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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 760 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


180 L.Ed.2d 269 (2011)] to challenge a Minnesota state-court        [22] [23] Here, Plaintiffs have not alleged a concrete harm
consent decree that effectively extended the receipt deadline      that would allow the Court to find Article III Standing for
for mailed ballots.... The Carson court appears to have            their vote dilution claim. As courts have routinely explained,
cited language from Bond without considering the context—          vote dilution is a very specific claim that involves votes
specifically, the Tenth Amendment and the reserved police          being weighed differently and cannot be used generally
powers—in which the U.S. Supreme Court employed that               to allege voter fraud. “Contrary to the Voter Plaintiffs’
language. There is no precedent for expanding Bond beyond          conceptualization, vote dilution under the Equal Protection
this context, and the Carson court cited none.”). Indeed,          Clause is concerned with votes being weighed differently.”
as numerous other courts have held, where, as here, the            Bognet, 980 F.3d at 355; see also Rucho v. Common Cause,
injury alleged by plaintiffs is that defendants failed to follow   ––– U.S. ––––, 139 S. Ct. 2484, 2501, 204 L.Ed.2d 931 (2019)
the Elections Clause, the Supreme Court has stated that the        (“[V]ote dilution in the one-person, one-vote cases refers to
“injury is precisely the kind of undifferentiated, generalized     the idea that each vote must carry equal weight.”). “This
grievance about the conduct of government that [courts] have       conceptualization of vote dilution—state actors counting
refused to countenance.” Lance, 549 U.S. at 442, 127 S.Ct.         ballots in violation of state election law—is not a concrete
1194.                                                              harm under the Equal Protection Clause of the Fourteenth
                                                                   Amendment. Violation of state election laws by state officials
 *5 Elector Plaintiffs have not established they can               or other unidentified third parties is not always amenable to
personally bring suit, and therefore, they do not have standing    a federal constitutional claim.” Bognet, 980 F.3d at 355; see
to bring Count One.8 Therefore, the Court will dismiss Count       also Shipley v. Chicago Bd. of Election Comm'rs, 947 F.3d
One.                                                               1056, 1062 (7th Cir. 2020) (“A deliberate violation of state
                                                                   election laws by state election officials does not transgress
                                                                   against the Constitution.”); Powell v. Power, 436 F.2d 84,
                                                                   88 (2d Cir. 1970) (rejecting Equal Protection claim where
2. Vote Dilution – Count Two                                       allegations of state's erroneous counting of votes cast by
                                                                   voters unqualified to participate).
 [21] In Count Two, Plaintiffs allege Equal Protection
violations based on Defendants’ failure to comply with
                                                                    *6 Additionally, Plaintiffs cannot sustain their Equal
Arizona law by permitting “illegal votes,” allowing
                                                                   Protection Clause claim on a vote dilution theory. See
“voting fraud and manipulation,” and in preventing “actual
                                                                   Bognet, 980 F.3d at 355 (rejecting Equal Protection theory
observation and access to the elector process,” which
                                                                   and explaining “[t]his conceptualization of vote dilution—
allegedly resulted in “the dilution of lawful votes ... and the
                                                                   state actors counting ballots in violation of state election
counting of unlawful votes.” (Doc. 1 at 45). Plaintiffs ask
                                                                   law—is not a concrete harm under the Equal Protection
the Court to order that “no ballot processed by a counting
                                                                   Clause of the Fourteenth Amendment”); see also Shipley,
board in Arizona can be included in the final vote tally
                                                                   947 F.3d at 1062 (“A deliberate violation of state election
unless a challenger [i]s allowed to meaningfully observe
                                                                   laws by state election officials does not transgress against the
the process.” (Doc 1 ¶ 120). Absent from the Complaint
                                                                   Constitution”) (internal citations omitted); Am. Civil Rights
is an allegation that Plaintiffs (or any registered Arizona
                                                                   Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D.
voter for that matter) were deprived of their right to vote.
                                                                   Tex. 2015) (holding that allegations of “vote dilution” as a
Instead, they bring baseless claims of “disparate treatment of
                                                                   result of alleged voting process irregulates “[are] speculative
Arizona voters, in subjecting one class of voters to greater
                                                                   and, as such, are more akin to a generalized grievance about
burdens or scrutiny than another.” (Doc. 1 ¶ 115). They do
                                                                   the government than an injury in fact.”); Powell, 436 F.2d
not allege what “class” of voters were treated disparately. Nor
                                                                   at 88 (rejecting Equal Protection Clause claim arising from
do the Elector Plaintiffs cite to any authority that they, as
                                                                   state's erroneous counting of votes cast by voters unqualified
“elector delegates,” are a class of protected voters. Defendants
                                                                   to participate in closed primary); Snowden v. Hughes, 321
contend that Plaintiffs do not have standing to assert these
                                                                   U.S. 1, 11, 64 S.Ct. 397, 88 L.Ed. 497 (1944) (“It was not
claims and point out that these allegations are nothing more
                                                                   intended by the Fourteenth Amendment ... that all matters
than generalized grievances that any one of the 3.4 million
                                                                   formerly within the exclusive cognizance of the states should
Arizonans who voted could make if they were so allowed.
                                                                   become matters of national concern.”).
The Court agrees.




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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 761 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


 [24] Setting aside that Plaintiffs’ claims regarding the             election misconduct, including illegal votes and erroneous
election are not viable vote dilution claims, Plaintiffs also         counting. (Doc. 1 at ¶ 15). A.R.S. § 16-672 also provides
have not requested relief that is redressable in a tailored way       that an elections contest brought under this statute should
as is required. See Gill, 138 S. Ct. at 1934 (“A plaintiff's          be filed in the superior court of the county in which the
remedy must be tailored to redress the plaintiff's particular         person contesting resides or in the superior court of Maricopa
injury.”); see also Lewis v. Casey, 518 U.S. 343, 357, 116            county. A.R.S. § 16-672(B). Plaintiffs aver that their claims
S.Ct. 2174, 135 L.Ed.2d 606 (1996) (“The remedy must of               seek federal action under federal statutes, and therefore, their
course be limited to the inadequacy that produced the injury          claims are distinguishable from the claims being litigated in
in fact that the plaintiff has established.”). Therefore, even        the state court. The Court disagrees.
if Plaintiffs could somehow establish that their vote dilution
claim was more than a generalized grievance to the point               [25]     [26]     [27]     [28] Generally, a federal court has a
of asserting an injury, Plaintiffs have not established that          duty to exercise the jurisdiction conferred by Congress.
the Court can redress this grievance. To give Plaintiffs the          However, under certain circumstances, it is prudent for a
relief they desire would disenfranchise the nearly 3.4 million        federal court to abstain from hearing a matter. “Indeed,
Arizonans that voted in the 2020 General Election. Under              we have held that federal courts may decline to exercise
Plaintiffs’ theory of dilution, this would transform all of the       its jurisdiction, in otherwise ‘exceptional circumstances,’
alleged diluted votes from being “diluted” to being destroyed.        where denying a federal forum would clearly serve an
As Plaintiffs raise “only a generally available grievance about       important countervailing interest.” Quackenbush v. Allstate
government—claiming only harm to his and every citizen's              Ins. Co., 517 U.S. 706, 716, 116 S.Ct. 1712, 135 L.Ed.2d
interest in proper application of the Constitution and laws, and      1 (1996) (citing County of Allegheny v. Frank Mashuda
seeking relief that no more directly and tangibly benefits him        Co., 360 U.S. 185, 189, 79 S.Ct. 1060, 3 L.Ed.2d 1163
than it does the public at large,” the Court finds that Plaintiffs’   (1959)). Abstention may be “warranted by considerations
Count Two “does not state an Article III case or controversy.”        of proper constitutional adjudication, regard for federal-state
See Lance, 549 U.S. 437 at 439, 127 S.Ct. 1194. Therefore,            relations, or wise judicial administration.” Id. Colorado River
Plaintiffs do not have standing to bring suit in this forum.9         abstention permits a federal court to abstain from exercising
                                                                      jurisdiction over a matter in deference to a state court suit
                                                                      regarding similar claims and allegations. Colorado River
   B. Abstention                                                      Water Conservation District v. United States, 424 U.S. 800,
Defendants also argue the Court should abstain from reaching          813, 817, 96 S.Ct. 1236, 47 L.Ed.2d 483 (1976).
Plaintiffs’ claims based on their similarities with ongoing
state court cases. Yesterday, the Arizona Supreme Court ruled          [29] The Ninth Circuit has enumerated an eight-part test for
on one such case—filed by Dr. Kelli Ward—seeking to “set              whether Colorado River abstention is warranted, stressing
aside the 2020 General Election results.” See Ward, CV                that the factors are “not a mechanical checklist,” with some
2020-015285 (Ariz. 2020); (Doc. 81-1). That case was filed            factors that “may not have any applicability to a case.”
pursuant to A.R.S. § 16-672 and was also filed after Governor         Seneca Ins. Co., Inc. v. Strange Land, Inc., 862 F.3d 835,
Ducey certified the election results on November 30, 2020.            841–42 (9th Cir. 2017). The factors are: (1) which court
(Doc. 58-1 at 17). The Ward plaintiffs alleged an insufficient        first assumed jurisdiction over any property at stake; (2)
opportunity to observe election officials, an overcounting of         the inconvenience of the federal forum; (3) the desire to
mail-in ballots by not adequately comparing signatures on the         avoid piecemeal litigation; (4) the order in which the forums
ballot envelopes, and errors in the ballot duplication process.       obtained jurisdiction; (5) whether federal law or state law
(Id. at 17–21). After an evidentiary hearing, the Maricopa            provides the rule of decision on the merits; (6) whether the
County Superior Court issued a ruling on December 4, 2020,            state court proceedings can adequately protect the rights of
finding that there was no misconduct, fraud, or effect on the         the federal litigants; (7) the desire to avoid forum shopping;
outcome of the election.10 (Id.) This ruling was unanimously          and (8) whether the state court proceedings will resolve all
affirmed by an en banc panel of the Arizona Supreme Court             issues before the federal court. Id.
on expedited review.11
                                                                      [30] Factors two through seven all support abstaining from
 *7 Here, Plaintiffs’ Complaint similarly relies upon A.R.S.          this case.12 To begin, this federal forum is less convenient
§ 16-672 and its provisions related to bringing suit for alleged      than the state forum, considering the state election law



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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 762 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


violations alleged, the claims are brought against state actors,    relief Plaintiffs seek is not prospective, and that the claims are
and the interplay of state election law. Moreover, the present      barred.
suit reflects the very essence of “piecemeal litigation,” with
many of the same parties and attorneys litigating related            [32] [33] [34] [35]               [36] The Eleventh Amendment to
matters in both forums. As to the primacy of cases, this            the Constitution provides:
case was the last filed case. All of the state court litigation
filed related to the election preceded this action. As to the          The Judicial power of the United States shall not be
nature of the claims, while Plaintiffs bring their claims under        construed to extend to any suit in law or equity, commenced
federal laws, the crux of their arguments, and the statutes upon       or prosecuted against one of the United States by Citizens
which they rely, involve Arizona election law and the election         of another State, or by Citizens or Subjects of any Foreign
procedures carried out at the county and state level by state          State.
officials. The state courts are adequately equipped to protect      U.S. Const. Amend. XI. Such immunity applies when a
the rights of the named Plaintiffs, especially considering          citizen brings a claim against their own state. See Hans v.
that Plaintiff Ward already pursued her grievances there.           Louisiana, 134 U.S. 1, 19, 10 S.Ct. 504, 33 L.Ed. 842 (1890).
Moreover, as Congress has conferred concurrent jurisdiction         The immunity extends to “suit[s] against state officials when
on state courts to adjudicate Section 1983 claims, there is         the state is the real, substantial party in interest.” Pennhurst
no concern that the state is unable to adjudicate Plaintiffs’       State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100, 104 S.Ct.
Section 1983 claims. Felder v. Casey, 487 U.S. 131, 139, 108        900, 79 L.Ed.2d 67 (1984). “This jurisdictional bar applies
S.Ct. 2302, 101 L.Ed.2d 123 (1988). Lastly, abstention would        regardless of the nature of the relief sought.” Id. “When the
alleviate the necessity to consider whether this matter was         suit is brought only against state officials, a question arises as
filed in this Court as a form of forum shopping, especially         to whether that suit is a suit against the State itself.” Id. at 101,
considering that a number of other related state court lawsuits     104 S.Ct. 900. “The general rule is that a suit is against the
have already been disposed of. The eighth factor is the only        sovereign ... if the effect of the judgment would be to restrain
factor that weighs against abstention, as it does not appear that   the Government from acting, or to compel it to act.” Dugan v.
Plaintiffs’ allegations of widespread fraud in relation to the      Rank, 372 U.S. 609, 620, 83 S.Ct. 999, 10 L.Ed.2d 15 (1963).
tabulation systems and software were before the state court.
However, as discussed infra, the Court finds that claim lacks        [37] There are three recognized exceptions to the above: (1)
Rule 9(b) particularity and plausibility.                           Congress has abrogated the immunity within a federal statute;
                                                                    (2) the State has waived immunity and allowed individuals
 *8 [31] Moreover, when considering abstention, “proper             to sue it pursuant to specific state statutes; and (3) in “claims
constitutional adjudication, regard for federal-state relations,    seeking prospective injunctive relief against state officials
or wise judicial administration,” also inform this Court.           to remedy a state's ongoing violation of federal law.” Ariz.
Quackenbush, 517 U.S. at 716, 116 S.Ct. 1712. If the Court          Students’ Ass'n v. Ariz. Bd. of Regents, 824 F.3d 858, 865 (9th
were to reach the merits of Plaintiffs’ claims, it would            Cir. 2016) (citing Ex parte Young, 209 U.S. 123, 28 S.Ct. 441,
be entirely possible today for it to reach a different legal        52 L.Ed. 714 (1908)) (emphasis added).
determination, or the same conclusion but with a different
analysis, than the Arizona Supreme Court reached in Ward v.          [38] [39] None of these exceptions are present here. As for
Jackson. The Court cannot think of a more troubling affront         Plaintiffs’ 42 U.S.C. § 1983 claims, Congress did not abrogate
to “federal-state relations” than this. See Quackenbush, 517        the states’ immunity from suit in the enacting language of
U.S. at 716, 116 S.Ct. 1712. Therefore, the Court finds that        Section 1983, and therefore, the Eleventh Amendment bars
abstention of these parallel issues is appropriate and indeed       those claims. See Will v. Michigan Dep't of State Police,
necessary.                                                          491 U.S. 58, 66, 109 S.Ct. 2304, 105 L.Ed.2d 45 (1989)
                                                                    (holding that Section 1983 “does not provide a federal
                                                                    forum for litigants who seek a remedy against a State for
  C. Eleventh Amendment                                             alleged deprivations of civil liberties”). Plaintiffs provided
Defendants also argue that the Eleventh Amendment bars              no argument or authority that the state has explicitly waived
Plaintiffs’ demands for relief because they, as state officials     its immunity for elections challenges. Therefore, the second
who have not consented to being sued, are immune from               exception does not apply. As for the remaining claims,
suit. Further, they argue that no exception applies, that the       the Court must determine whether Plaintiffs are seeking
                                                                    prospective relief to cure an ongoing violation of federal law.


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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 763 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


                                                                  identified an ongoing violation to enjoin. In short, “Plaintiffs
 [40] [41] “In determining whether the doctrine of Ex parte are seeking to undo what has already occurred, as their
Young avoids an Eleventh Amendment bar to suit, a court           requested relief reflects.” See King v. Whitmer, ––– F.Supp.3d
need only conduct a straightforward inquiry into whether          ––––, ––––, 2020 WL 7134198, at *5 (E.D. Mich. Dec. 7,
[the] complaint alleges an ongoing violation of federal           2020).
law and seeks relief properly characterized as prospective.”
Verizon Md., Inc. v. Pub. Serv. Comm'n, 535 U.S. 635, 645,        The Eleventh Amendment bars the injunctive relief sought.
122 S.Ct. 1753, 152 L.Ed.2d 871 (2002) (internal citations
omitted). However, where the claims are state law claims,
masked as federal law claims, Ex parte Young is inapplicable         D. Laches
and the Eleventh Amendment clearly bars the suit. See              [43] [44] Defendants also argue that the doctrine of laches
Massey v. Coon, 865 F.2d 264 (9th Cir. 1989) (affirming           bars Plaintiffs’ claims. Laches will bar a claim when the party
dismissal where “on its face the complaint states a claim         asserting it shows the plaintiff unreasonably delayed in filing
under the due process and equal protection clauses of the         the action and the delay caused prejudice to the defendant or
Constitution, [but] these constitutional claims are entirely      the administration of justice. Danjaq LLC v. Sony Corp., 263
based on the failure of defendants to conform to state law”);     F.3d 942, 951–52 (9th Cir. 2001) (noting that laches requires
see also Pennhurst, 465 U.S. at 90, 104 S.Ct. 900 (“[W]hen        a “defendant   [ ] prove both an unreasonable delay by the
a plaintiff alleges that a state official has violated state law” plaintiff and prejudice to itself”). Laches can bar untimely
and “when a federal court instructs state officials on how        claims for relief in election cases, even when the claims are
to conform their conduct to state law, this conflicts directly    framed as constitutional challenges. Soules v. Kauaians for
with the principles of federalism that underlie the Eleventh      Nukolii Campaign Comm., 849 F.2d 1176, 1181 (9th Cir.
Amendment.”). This is true whether the relief requested is        1988); U.S. v. Clintwood Elkhorn Min. Co., 553 U.S. 1, 9,
“prospective or retroactive” in nature. Pennhurst, 465 U.S. at    128 S.Ct. 1511, 170 L.Ed.2d 392 (2008) (“[A] ‘constitutional
106, 104 S.Ct. 900.                                               claim can become time-barred just as any other claim can.’
                                                                  ”) (quoting Block v. North Dakota ex rel. Board of Univ. and
 *9 [42] Here, Plaintiffs face a number of difficulties in        School  Lands, 461 U.S. 273, 292, 103 S.Ct. 1811, 75 L.Ed.2d
their attempt to pierce Defendants’ sovereign immunity.           840 (1983)).
Defendants argue that all of Plaintiffs’ allegations are actually
state law allegations masked under federal law. Defendants              [45] Plaintiffs filed their Complaint and request for TRO
point to numerous instances in Plaintiffs’ Complaint where             seeking to “de-certify” the election results on December 2,
Arizona state election law is relied on, including their catch-        2020, nearly a month after the General Election on November
all fraud claims, which are entirely based on state law.               3, 2020. Plaintiffs conclusively argue that they waited this
The Eleventh Amendment clearly bars such claims. See                   long because they “could not have known the basis of their
Pennhurst, 465 U.S. at 106, 104 S.Ct. 900 (“On the contrary,           claim, or presented evidence substantiating their claim, until
it is difficult to think of a greater intrusion on state sovereignty   after the election.” (Doc. 44 at 9). They further state that,
than when a federal court instructs state officials on how to          because “Arizona election officials and other third parties
conform their conduct to state law.”).                                 did not announce or publicize their misconduct, and in fact
                                                                       prevented Republican poll watchers from observing the ballot
However, even assuming that Plaintiffs established that their          counting and handling, it took Plaintiffs additional time post-
claims are indeed independent federal claims, it is unclear            election to gather the fact and expert witness testimony
what ongoing violation of federal law is being asserted.               presented in the Complaint.” (Id.) During oral argument,
Plaintiffs allege Due Process and Equal Protection claims,             Plaintiffs’ counsel repeatedly stated that the alleged fraud
along with a catch-all fraud claim, that arise from Defendants’        related to the Dominion voting machines was not known
alleged failure to follow Arizona state election laws. (Doc. 1 at      until election night, when their experts noted a “blip” in their
¶¶ 106–120). These numerous alleged violations—related to              reporting data that showed an increase in votes for Joe Biden
alleged issues with signature verification, ballot duplication,        around 8:00 p.m. Plaintiffs also argue that A.R.S. § 16-673
                                                                       supports the timeliness of their Complaint because it requires
and poll observation—concern past conduct.13 The relief
                                                                       an elector to file a challenge to the election in state court
requested—compelling the Governor to decertify the election
                                                                       within five days of certification of the election.
—similarly seeks to alter past conduct. Plaintiffs have not



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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 764 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


 *10 Plaintiffs’ Complaint includes a hodge-podge of alleged       observing the signature verification and ballot processing on
misconduct by Arizona elections officials, occurring on            October 17, 2020 and October 21, 2020). In a statement from
various dates over the past weeks, months, and even years. In      Ms. Linda Brickman, the First Vice-Chair of the Maricopa
addition to the objections regarding poll watchers’ inability to   County Republican Committee, she represents that she had
observe ballot counting and handling, Plaintiffs also object to    ongoing concerns regarding the signature verification for
the manner and process by which Arizona election officials         early and mail-in ballots during her time as an elections
matched signatures on absentee ballots (Doc. 1 ¶¶ 46–48);          worker “from 10/19/20 to 11/11/20” (Doc. 1-10 at 38, Ex. 23)
to the process and role assigned to poll referees in settling      and had objections to the Logic and Accuracy Certification
unresolved disputes between adjudicators (Id. at ¶ 49); to         of the Dominion voting systems that occurred on November
“irregularities” with the voting machines on Election Day          18, 2020. (Id. at 35). Indeed, at least one Plaintiff has
and before (Id. at ¶¶ 50–52); and to the certification of the      already raised some of these complaints in state court.14
Dominion voting system on November 18, 2020 (Id. at ¶ 53).         Ward, CV2020-015285 (Super. Ct. of Ariz. Dec. 4, 2020)
                                                                   (dismissing the Petition with prejudice); (Doc. 58-1 at 14,
The affidavits or declarations upon which Plaintiffs rely          Ex. B). Dr. Ward clearly knew the basis of her claim before
clearly shows that the basis for each of these claims was          December 2, 2020 but offers no reasonable explanation for the
either known well before Election Day or soon thereafter,          delay in bringing this suit in federal court. When contesting
and thus cannot be excused by a lack of knowledge nor              an election, any delay is prejudicial, but waiting until a month
an inability to substantiate their claims through December         after Election Day and two days after certification of the
2. For example, Plaintiffs’ Complaint cites to documents           election is inexcusable. See Kelly v. Penn., 2020 WL 7018314,
showing that Plaintiffs were in possession of information          at *1 (Pa. Nov. 28, 2020) (“Petitioners failed to act with
about suspected irregularities with the Dominion voting            due diligence in presenting the instant claim” when they
machines as early as 2018. (Id. at ¶¶ 21, 69, 71–73)               waited until November 21 to sue to invalidate Pennsylvania's
(referencing “publicly available evidence (including judicial      election); Kistner v. Simon, No. A20-1486, slip op. at 3–4
and administrative proceedings)” that discuss concerns with        (Minn. Dec. 4, 2020); see also, e.g., Ariz. Libertarian Party
security flaws in Dominion voting machines dating back to          v. Reagan, 189 F. Supp. 3d 920, 922–23 (D. Ariz. 2016).
2018); (Doc. 1-10 at 19, Ex. 20, Declaration of Mark Paul
Law dated November 24, 2020 (describing his concerns over           *11 The Court does not find that the Arizona state election
Maricopa County Dominion voting machine security and               challenge deadline excuses delay on Plaintiffs’ part in these
observations while poll watching on October 25, 2020 and           circumstances. See A.R.S. § 16-673. As noted above, the
November 1, 2020); id. at 30, Ex. 22, Declaration of Gregory       facts underlying the suspected irregularities complained of
Wodynski dated November 23, 2020 (describing his concerns          were either known to Plaintiffs prior to Election Day or
over Maricopa County Dominion voting machine security              soon thereafter. Although Arizona electors may have a
and his perception that “Bruce,” a Dominion employee, could        deadline by which to file election contests in Arizona state
manually manipulate voter data files while poll watching on        court, Plaintiffs here opted to file their federal constitutional
October 24, 2020 and November 1, 2020).                            challenges in federal court. The exhibits to the Complaint
                                                                   confirm that the events complained of occurred on or before
Plaintiffs also include documents showing that the                 Election Day. Accordingly, the Court rejects Plaintiffs’ self-
facts underlying their allegations of ballot counting and          serving statement that they did not know the basis for
verification misconduct occurred weeks before Election Day.        their claims before December 2, 2020. The documents they
Canvassing in Arizona began in October, and the poll watcher       submit with their Complaint plainly shows the contrary is
declarations and affidavits attached to the Complaint object to    true, and the delay—which has resulted in a rush by this
the signature verification and ballot process during this time.    Court and Defendants to resolve these issues before the
(See Doc. 1-3 at 7, Ex. 5) (containing unsigned Declaration        Electoral College meeting deadline of December 14, 2020—
dated October 25, 2020 from poll watcher objecting to “NO          is unreasonable.
EFFECTIVE oversight” in signature verification rooms); id.
at 9, Ex. 5A (document listing poll watcher objections made        The second part of the laches test—prejudice—is also
on 10/7/20, 10/23/20, 10/24/20, 10/29/20); (Doc. 1-10 at           unquestionably met. First, the prejudice to the Defendants
25, Ex. 21) (containing a Declaration of poll watcher Judith       and the nearly 3.4 million Arizonans who voted in the
Burns dated November 16, 2020 and noting her objections in         2020 General Election would be extreme, and entirely



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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 765 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


unprecedented, if Plaintiff were allowed to have their claims
heard at this late date. SW Voter Registration Educ. Project       Obviously, the Court cannot enjoin the transmission of the
v. Shelley, 344 F.3d 914, 919 (9th Cir. 2003) (“Interference       certified results because they have already been transmitted.
with impending elections is extraordinary, and interference        (Doc. 40 at 4). Plaintiffs’ counsel orally argued that
with an election after voting has begun is unprecedented.”).       Defendants had the power to de-certify the election under 3
As an Eastern District of Michigan Court stated in a nearly        U.S.C. § 6. Nothing in that statute authorizes this Court to de-
identical case, “[the prejudice] is especially so considering      certify the results. The manner provided to contest elections
that Plaintiffs’ claims for relief are not merely last-minute—     under Arizona law requires election contest claims to be
they are after the fact. While Plaintiffs delayed, the ballots     brought, “in the superior court of the county in which the
were cast; the votes were counted; and the results were            person contesting resides or in the superior court of Maricopa
certified. The rationale for interposing the doctrine of laches    County.” A.R.S. § 16-672. Therefore, if de-certification were
is now at its peak.” King, ––– F.Supp.3d at ––––, 2020 WL          possible, it would only be possible through an action brought
7134198, at *7.                                                    in Arizona superior court. In other words, this Court has no
                                                                   power to de-certify the results. But even assuming the Court
Second, the challenges that Plaintiffs assert quite simply         were able to grant the extraordinary relief requested, ordering
could have been made weeks ago, when the Court would               Governor Ducey to de-certify the election, such relief would
have had more time to reflect and resolve the issues.              necessarily run afoul of 3 U.S.C. § 6 by ignoring Arizona
“Unreasonable delay can prejudice the administration of            law. In this instance, the Court cannot allow Plaintiffs to
justice by compelling the court to steamroll through ...           circumvent both federal and Arizona law.
delicate legal issues in order to meet election deadlines.”
Arizona Libertarian Party, 189 F. Supp. 3d at 923 (quotation     *12 Because this Court cannot de-certify the results, it
marks and citations omitted). Plaintiffs offer no reasonable    would be meaningless to grant Plaintiffs any of the remaining
explanation why their claims were brought in federal court      relief they seek. See Wood v. Raffensperger, ––– F.3d ––––,
at this late date. Their delay and the resulting prejudice bars ––––, 2020 WL 7094866, at *6 (11th Cir. Dec. 5, 2020) (“[I]t
their claims by laches.                                         is not possible for us to delay certification nor meaningful
                                                                to order a new recount when the results are already final
                                                                and certified.”); King, ––– F.Supp.3d at ––––, 2020 WL
   E. Mootness                                                  7134198, at *5 n.3 (“[T]he evidence Plaintiffs seek to gather
 [46]     [47] Defendants also argue that this case is moot. by inspecting voting machines and software and security
(Docs. 38 at 5; 40 at 22). The Court agrees. “Mootness is a     camera footage only would be useful if an avenue remained
jurisdictional issue, and ‘federal courts have no jurisdiction  open for them to challenge the election results.”). Plaintiffs’
to hear a case that is moot, that is, where no actual or live   claims are moot.
controversy exists.’ ” Foster v. Carson, 347 F.3d 742, 745
(9th Cir. 2003) (quoting Cook Inlet Treaty Tribes v. Shalala,
166 F.3d 986, 989 (9th Cir. 1999)). In addition, a case is moot    F. Failure to State a Claim
when a party cannot obtain relief for its claim. Id.; see also   [49] “A motion to dismiss a complaint or claim ‘grounded in
Ruvalcaba v. City of L.A., 167 F.3d 514, 521 (9th Cir. 1999).   fraud’ under Rule 9(b)15 for failure to plead with particularity
                                                                   is the functional equivalent of a motion to dismiss under
 [48] Plaintiffs request an injunction that (a) enjoins Governor   Rule 12(b)(6) for failure to state a claim.” Vess v. Ciba-
Ducey from transmitting the certified results, (b) orders          Geigy Corp. USA, 317 F.3d 1097, 1107 (9th Cir. 2003). In a
Defendants to “de-certify” the election results, (c) nullifies     Rule 12(b)(6) context, courts must consider all well-pleaded
votes tabulated by uncertified machines, (d) declares that         factual allegations as true and interpret them in the light most
illegal ballot fraud occurred in violation of the Electors         favorable to the plaintiff. Schlegel v. Wells Fargo Bank, NA,
and Elections Clauses and the Fourteenth Amendment's Due           720 F.3d 1204, 1207 (9th Cir. 2013). Dismissal is proper
Process and Equal Protections Clauses, (e) mandates a manual       when there is either (1) a lack of a cognizable legal theory
recount or statistical sampling of all mail-in and absentee        or (2) insufficient facts to support a cognizable legal claim.
ballots, and (f) allows Plaintiffs to seize and inspect voting     Conservation Force v. Salazar, 646 F.3d 1240, 1242 (9th Cir.
hardware and software as well as security camera recordings        2011), cert. denied, Blasquez v. Salazar, 565 U.S. 1261, 132
“of all rooms used in Maricopa County” from November 3 to          S.Ct. 1762, 182 L.Ed.2d 532 (2012).
4. (Doc. 1 at ¶ 145).


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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 766 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


                                                                   between Rule 8's roots in relatively liberal notice pleading
 [50] When pleading allegations concerning fraudulent              and the need to prevent “a plaintiff with a largely groundless
conduct, Rule 9(b) requires something more than Rule 8:            claim” from “ ‘tak[ing] up the time of a number of other
particularity. Ashcroft v. Iqbal, 556 U.S. 662, 686, 129           people, with the right to do so representing an in terrorem
S.Ct. 1937, 173 L.Ed.2d 868 (2009); see also Fed. R. Civ.          increment of settlement value.’ ” Twombly, 550 U.S. at 557–
P. 9(b) (“In alleging fraud or mistake, a party must state         58, 127 S.Ct. 1955 (quoting Dura Pharmaceuticals, Inc. v.
with particularity the circumstances constituting fraud or         Broudo, 544 U.S. 336, 347, 125 S.Ct. 1627, 161 L.Ed.2d 577
mistake.”). “This particularity requirement demands a higher       (2005)).
degree of notice than that required for other claims. The claim
must identify who, what, where, when, and how.” U.S. ex rel.        [52] Advancing several different theories, Plaintiffs allege
Costner v. United States, 317 F.3d 883, 888 (8th Cir. 2003).       that Arizona's Secretary of State and Governor conspired
                                                                   with various domestic and international actors to manipulate
 [51] Moreover, “claims of fraud or mistake ... must, in           Arizona's 2020 General Election results allowing Joseph
addition to pleading with particularity, also plead plausible      Biden to defeat Donald Trump in the presidential race. The
allegations. That is, the pleading must state enough facts         allegations they put forth to support their claims of fraud
to raise a reasonable expectation that discovery will reveal       fail in their particularity and plausibility. Plaintiffs append
evidence of the misconduct alleged.” Cafasso, U.S. ex rel. v.      over three hundred pages of attachments, which are only
Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir.         impressive for their volume. The various affidavits and expert
2011) (internal citations omitted). Indeed, “Rule 9(b) serves      reports are largely based on anonymous witnesses, hearsay,
not only to give notice to defendants of the specific fraudulent   and irrelevant analysis of unrelated elections. Because
conduct against which they must defend, but also ‘to deter the     the Complaint is grounded in these fraud allegations, the
filing of complaints as a pretext for the discovery of unknown     Complaint shall be dismissed. Vess, 317 F.3d at 1107 (“When
wrongs, to protect [defendants] from the harm that comes           an entire complaint, or an entire claim within a complaint,
from being subject to fraud charges, and to prohibit plaintiffs    is grounded in fraud and its allegations fail to satisfy the
from unilaterally imposing upon the court, the parties and         heightened pleadings requirements of Rule 9(b), a district
society enormous social and economic costs absent some             court may dismiss the complaint or claim.”).
factual basis.’ ” Bly-Magee v. California, 236 F.3d 1014, 1018
(9th Cir. 2001) (citing In re Stac Elec. Sec. Litig., 89 F.3d      Plaintiffs first “describe specific violations of Arizona law”
1399, 1405 (9th Cir. 1996)).                                       to support their fraud claims.16 In doing so, they attach
                                                                   declarations from poll watchers that observed election
 *13 Establishing the plausibility of a complaint's allegations    officials during the November General Election. (Doc. 1 ¶¶
is a two-step process that is “context-specific” and “requires     46–53). As Intervenor-Defendant Maricopa County points
the reviewing court to draw on its judicial experience and         out, these are the only declarants offered by Plaintiffs with
common sense.” Iqbal, 556 U.S. at 679, 129 S.Ct. 1937. First,      first-hand observation of the election administration. (Doc.
a court must “identif[y] pleadings that, because they are no       36 at 4). But these four declarants do not allege fraud at all.
more than conclusions, are not entitled to the assumption          (See Doc. 1-10 at 18–24). Instead, they raise objections to
of truth.” Id. Then, assuming the truth only of well-pleaded       the manner and process by which Arizona election officials
factual allegations, a court must “determine whether they          matched signatures on absentee ballots (Doc. 1 ¶¶ 46–48);
plausibly give rise to an entitlement to relief.” Id.; see also    to the process and role assigned to poll referees in settling
Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d        unresolved disputes between adjudicators (Id. at ¶ 49); to
990, 996 (9th Cir. 2014) (identifying the two-step process for     “irregularities” with the voting machines on Election Day
evaluating pleadings). Although a plaintiff's specific factual     and before (Id. at ¶¶ 50–52); and to the certification of
allegations may be consistent with a plaintiff's claim, a          the Dominion voting system on November 18, 2020 (Id.
district court must assess whether there are other “more likely    at ¶ 53). These objections to the manner in which Arizona
explanations” for a defendant's conduct such that a plaintiff's    officials administered the election cannot serve to overturn the
claims cannot cross the line “ ‘from conceivable to plausible.’    results of the 2020 presidential election in Arizona because
” Iqbal, 556 U.S. at 680, 129 S.Ct. 1937 (quoting Bell Atl.        they fail to present evidence that supports the underlying
Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167           fraud claim. At most, these are the type of “garden variety
L.Ed.2d 929 (2007)). This standard represents a balance            election irregularities” federal courts are “not equipped nor



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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 767 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


empowered to supervise ....” Griffin v. Burns, 570 F.2d 1065,        “analysis” of Mr. Braynard's “data” cannot plausibly serve as
1076, 1077 (1st Cir. 1978) (“If every election irregularity or       a basis to overturn a presidential election, much less support
contested vote involved a federal violation, the court would         plausible fraud claims against these Defendants.
be thrust into the details of virtually every election, tinkering
with the state's election machinery, reviewing petitioners,          The Complaint is equally void of plausible allegations
registration cards, vote tallies, and certificates of election for   that Dominion voting machines were actually hacked or
all manner of error and insufficiency under state and federal        compromised in Arizona during the 2020 General Election.
law.”).                                                              Plaintiffs are clearly concerned about the vulnerabilities of
                                                                     voting machines used in some counties across Arizona and
 *14 Plaintiffs next argue that they have expert witnesses           in other states. They cite sources that attest to knowledge
who can attest to widespread voter fraud in Arizona. As              of “well-known” vulnerabilities, have included letters from
an initial matter, none of Plaintiffs’ witnesses identify            concerned citizens, Arizona elected officials, and United
Defendants as committing the alleged fraud, or state what            States senators. Plaintiffs even attach an affidavit of an
their participation in the alleged fraudulent scheme was.            anonymous witness with connections to the late Venezuelan
Instead, they allege that, absentee ballots “could have been         dictator Hugo Chavez claiming to be privy as to how officials
filled out by anyone and then submitted in the name of               in Venezuela rigged their elections with the help of a voting
another voter,” “could be filled in by third parties to shift        systems company whose software “DNA” is now used in
the election to Joe Biden,” or that ballots were destroyed or        voting machines in the United States. (Doc. 1-1, Ex. 1).
replaced “with blank ballots filled out by election workers,         These concerns and stated vulnerabilities, however, do not
Dominion or other third parties.” (Doc. 1 ¶¶ 54–58) (emphasis        sufficiently allege that any voting machine used in Arizona
added). These innuendoes fail to meet Rule 9(b) standards.           was in fact hacked or compromised in the 2020 General
But perhaps more concerning to the Court is that the “expert         Election. Rather, what is present is a lengthy collection of
reports” reach implausible conclusions, often because they           phrases beginning with the words “could have, possibly,
are derived from wholly unreliable sources.                          might,” and “may have.” (Doc. 1 ¶¶ 8, 53, 55, 57, 60, 66,
                                                                     77, 88, 91, 108, 109, 122). To lend support to this theory,
Plaintiffs’ expert Mr. William Briggs (“Briggs”), for example,       Plaintiffs offer expert Russell Ramsland, Jr., who asserts
concludes that “troublesome” errors by Arizona election              there was “an improbable, and possibly impossible spike in
officials “involving unreturned mail-in ballots [ ] are              processed votes” in Maricopa and Pima Counties at 8:46 p.m.
indicative of voter fraud” and that the election should              on November 3, 2020. (Doc. 1 ¶ 60); (Doc. 1-9, Ex. 17)
consequently be overturned. (Doc. 1 at ¶ 54). Briggs relies          (emphasis added). He suggests that this spike “could easily
on data provided by an unknown person named “Matt                    be explained” by presuming that Dominion “pre-load[ed]
Braynard,” a person who may or may not have tweeted                  batches of blank ballots in files such as Write-Ins or other
a “Residency Analysis of ABS/EV Voters” on his Twitter               adjudication-type files then casting them almost all for Biden
account on November 20, 2020 (Doc. 1-2 at 14, Ex. 2); (Id.           using the Override Procedure ....” (Doc. 1-9 at 9, Ex. 17). This
at 52, Ex. 3). Apart from a screenshot of Mr. Braynard's             scenario is conceivable. However, Defendant Hobbs points to
tweets that day, Plaintiffs offer nothing further about Mr.          a much more likely plausible explanation: because Arizona
Braynard's identity, qualifications, or methodologies used           begins processing early ballots before the election, the spike
in conducting his telephone “survey.” But according to               represented a normal accounting of the early ballot totals from
the Briggs’ report, Mr. Braynard conducted his survey of             Maricopa and Pima Counties, which were reported shortly
unknown size and to unknown persons in Georgia, Michigan,            after in-person voting closed. (Doc. 40 at 17–18). Thus, the
Wisconsin, Arizona, and Pennsylvania regarding absentee              Court finds that while this “spike” could be explained by
ballots, and his “findings” were conveyed to Mr. Briggs. (Id.)       an illicit hacking of voting machinery in Arizona, the spike
In concluding that there were “clearly a large number of             is “not only compatible with, but indeed was more likely
troublesome ballots in each state,” Mr. Briggs assumed Mr.           explained by, lawful, unchoreographed” reporting of early
Braynard's “survery [sic] respondents [were] representative          ballot tabulation in those counties. See Iqbal, 556 U.S. at 680,
and the data [was] accurate.” (Id.) This cavalier approach           129 S.Ct. 1937. Plaintiffs have not moved the needle for their
to establishing that hundreds of thousands of Arizona votes          fraud theory from conceivable to plausible, which they must
were somehow cast in error is itself troublesome. The                do to state a claim under Federal pleading standards. Id.
sheer unreliability of the information underlying Mr. Briggs’



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           Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 768 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)


                                                                  by Defendant Hobbs, “the requested relief would cause
*15 Because Plaintiffs have failed to plead their fraud claims
                                                                  enormous harm to Arizonans, supplanting the will of nearly
with particularity and because the Complaint is grounded in
                                                                  3.4 million voters reflected in the certified election results and
these claims, it must be dismissed.17
                                                                  potentially imperiling Arizona's participation in the Electoral
                                                                  College. It would be more difficult to envision a case in which
   G. Motion for TRO and Preliminary Injunction                   the balance of hardships would tip more strongly against a
There are multiple independent grounds upon which to              plaintiff.” (Doc. 40 at 24). The Court agrees. The significant
dismiss Plaintiffs’ Complaint. Accordingly, it is not necessary   weight of these two Winters factors requires that the Court
to reach the merits of Plaintiffs’ requests for a temporary       deny Plaintiffs’ requests for injunctive relief.18
restraining order and preliminary injunction and the Court
will therefore only briefly addresses those Motions here.
                                                                   III. Conclusion
 [53]     [54]     [55] “The standard for issuing a temporary *16 Not only have Plaintiffs failed to provide the Court
restraining order is identical to that for issuing a preliminary   with factual support for their extraordinary claims, but they
                                                                   have wholly failed to establish that they have standing for
injunction.” Taylor-Failor v. Cty of Hawaii, 90 F. Supp. 3d
                                                                   the Court to consider them. Allegations that find favor in the
1095, 1098 (D. Haw. 2015). Under normal circumstances,
                                                                   public sphere of gossip and innuendo cannot be a substitute
both are extraordinary and drastic remedies, and “ ‘should not
                                                                   for earnest pleadings and procedure in federal court. They
be granted unless the movant, by a clear showing, carries the
                                                                   most certainly cannot be the basis for upending Arizona's
burden of persuasion.’ ” Lopez v. Brewer, 680 F.3d 1068, 1072
                                                                   2020 General Election. The Court is left with no alternative
(9th Cir. 2012) (quoting Mazurek v. Armstrong, 520 U.S. 968,
                                                                   but to dismiss this matter in its entirety.
972, 117 S.Ct. 1865, 138 L.Ed.2d 162 (1997) (per curiam));
see also Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,
                                                                   Accordingly,
24, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008) (“A preliminary
injunction is an extraordinary remedy never awarded as of
                                                                   IT IS HEREBY ORDERED that Defendants’ Governor
right.”) (citation omitted). A plaintiff seeking a temporary
                                                                   Doug Ducey, Secretary of State Katie Hobbs, and Intervenor
restraining order or preliminary injunction must show that (1)
                                                                   Defendants Maricopa County Board of Supervisors and
he or she is likely to succeed on the merits, (2) is likely to
                                                                   Adrian Fontes’ Motions to Dismiss the Complaint (Docs. 36,
suffer irreparable harm without an injunction, (3) the balance
                                                                   38, and 40) are GRANTED for the reasons stated herein.
of equities tips in his or her favor, and (4) an injunction is in
the public interest. Winter, 555 U.S. at 20, 129 S.Ct. 365.
                                                                   IT IS FURTHER ORDERED that all remaining pending
                                                                   motions (Docs. 14, 62, 65 and 66) are denied as moot, and
 [56] Plaintiffs simply cannot establish they have a likelihood
                                                                   the hearing on Plaintiffs’ TRO and Preliminary Injunction set
of success on their claims. Plaintiffs face serious jurisdictional
                                                                   for December 10, 2020 is vacated.
impediments in bringing their claims to federal court at
the eleventh hour. These insurmountable legal hurdles are
                                                                   IT IS FINALLY ORDERED that this matter is dismissed,
exacerbated by insufficiently plead allegations of fraud,
                                                                   and the Clerk of Court is kindly directed to terminate this
rendered implausible by the multiple inadmissible affidavits,
                                                                   action.
declarations, and expert reports upon which their Complaint
relies.
                                                                  All Citations
 [57] Furthermore, granting Plaintiffs the injunctive relief
they seek would greatly harm the public interest. As stated       --- F.Supp.3d ----, 2020 WL 7238261


Footnotes
1      Ariz. Sec'y of State, Summary of Hand Count Audits–2020 General Election (Nov. 17, 2020), https://azsos.gov/
       election/2020-general-election-hand-count-results.
2      Ariz.    Sec'y    of     State,    State    of     Arizona Official Canvass,  https://azsos.gov/sites/default/
       files/2020_General_State_Canvass.pdf.




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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 769 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)



3      Under 3 U.S.C. § 5, if a state enacts and applies procedures to decide election controversies before election day, and
       a decision regarding a contested election is made at least six days before the electors’ meetings, then the decision is
       conclusive and will apply in counting the electoral votes. That deadline, referred to as the “safe harbor” deadline, was
       December 8, 2020, as the Electoral College will meet on December 14, 2020. See 3 U.S.C. § 7.
4      The Arizona Democratic Party sought intervention under theories of permissive joinder. While the Court did not believe
       the Motion was inappropriate, the Court did not find their presence necessary to this lawsuit and therefore denied the
       Motion to Intervene.
5      While the Electors Clause and Elections Clause are separate Constitutional provisions, they share “considerable
       similarity.” Ariz. State Leg. v. Ariz. Indep. Redistricting Comm'n, 576 U.S. 787, 839, 135 S.Ct. 2652, 192 L.Ed.2d 704
       (2015) (Roberts, C.J., dissenting). These provisions are therefore often considered together. See Bognet v. Sec'y of
       Commonwealth of Pa., 980 F.3d 336, 348–52 (3d Cir. 2020) (analyzing standing for Elections Clause and Electors Clause
       under the same test); Wood v. Raffensperger, 2020 WL 6817513, at *1 (N.D. Ga. Nov. 20, 2020) (same); U.S. Term
       Limits, Inc. v. Thornton, 514 U.S. 779, 804–05, 115 S.Ct. 1842, 131 L.Ed.2d 881 (1995) (holding that state's “duty” under
       Elections Clause “parallels the duty” described by Electors Clause). Plaintiffs do not meaningfully distinguish between
       the two clauses in their Complaint or briefing.
6      A.R.S. § 16-507(B) in its entirety reads: “Presidential electors, which, shall be enclosed in a bracketed list and next to
       the bracketed list shall be printed in bold type the surname of the presidential candidate and vice-presidential candidate
       who is seeking election jointly with the presidential candidate shall be listed directly below the name of the presidential
       candidate. The indicator for the selection of the presidential and vice-presidential candidates shall be directly next to the
       surname of the presidential candidate, and one mark directly next to a presidential candidate's surname shall be counted
       as a vote for each elector in the bracketed list next to the presidential and vice-presidential candidates.”
7      See also Carson, 978 F.3d at 1063 (Kelly, J., dissenting) (“I am not convinced the Electors have Article III standing to
       assert claims under the Electors Clause. Although Minnesota law at times refers to them as ‘candidates,’ see, e.g., Minn.
       Stat. § 204B.03 (2020), the Electors are not candidates for public office as that term is commonly understood. Whether
       they ultimately assume the office of elector depends entirely on the outcome of the state popular vote for president. Id. §
       208.04 subdiv. 1 (‘[A] vote cast for the party candidates for president and vice president shall be deemed a vote for that
       party's electors.’). They are not presented to and chosen by the voting public for their office, but instead automatically
       assume that office based on the public's selection of entirely different individuals.”).
8      The Court notes that Count One of the Complaint makes passing references to the “VRA and HAVA,” (the Voting Rights
       Act and the Help America Vote Act of 2002) but does not bring any claims under these statutes. (Doc. 1 ¶ 106).
9      Having established that the Court does not have jurisdiction over Plaintiffs’ Counts One through Three, the Court will
       decline to exercise supplemental jurisdiction over Count Four, which pleads no federal cause of action and is entirely
       based on alleged fraud under Arizona law.
10     Judge Randall H. Warner of the Maricopa County Superior Court addressed Ward's allegations of election misconduct.
       First, Ward argued that there was an insufficient opportunity to observe the actions of election officials. The State Court
       dismissed that claim as untimely, holding that “[t]he observation procedures for the November general election were
       materially the same as for the August primary election, and any objection to them should have been brought at a time
       when any legal deficiencies could have been cured,” and citing Lubin v. Thomas, 213 Ariz. 496, 144 P.3d 510, 511 (2006)
       (“In the context of election matters, the laches doctrine seeks to prevent dilatory conduct and will bar a claim if a party's
       unreasonable delay prejudices the opposing party or the administration of justice.”). Second, Ward alleged that “election
       officials overcounted mail-in ballots by not being sufficiently skeptical in their comparison of signatures on the mail-in
       envelope/affidavits with signatures on file.” The state court allowed Ward to examine a sampling of mail-in ballots, and
       the court held that “[t]he evidence does not show that these affidavits are fraudulent, or that someone other than the
       voter signed them. There is no evidence that the manner in which signatures were reviewed was designed to benefit
       one candidate or another, or that there was any misconduct, impropriety, or violation of Arizona law with respect to the
       review of mail-in ballots.” Lastly, Ward alleged errors with duplication of ballots. The state court also allowed Ward to
       examine a sampling of duplicate ballots and held that “[t]he duplication process prescribed by the Legislature necessarily
       requires manual action and human judgment, which entail a risk of human error. Despite that, the duplication process for
       the presidential election was 99.45% accurate. And there is no evidence that the inaccuracies were intentional or part
       of a fraudulent scheme. They were mistakes. And given both the small number of duplicate ballots and the low error
       rate, the evidence does not show any impact on the outcome.” The state court concluded by holding that “[t]he Court
       finds no misconduct, no fraud, and no effect on the outcome of the election.” Ward, CV 2020-015285 (Ariz. Super. Ct.
       Dec. 4, 2020); (Doc. 58-1).



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          Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 770 of 1677
Bowyer v. Ducey, --- F.Supp.3d ---- (2020)



11     “The Court concludes, unanimously, that the trial judge did not abuse his discretion in denying the request to continue
       the hearing and permit additional inspection of the ballots.” Ward, CV 2020-015285, at *7 (Ariz. 2020); (Doc. 81-1).
12     The Court finds that the first factor is not relevant to the facts alleged herein.
13     These include objections regarding poll watchers’ ability to observe ballot counting, issues related to the manner and
       process by which Arizona election officials matched signatures on absentee ballots (Doc. 1 at ¶¶ 46–48); issues related
       to the process and role assigned to poll referees in settling unresolved disputes between adjudicators (Id. at ¶ 49);
       “irregularities” with the voting machines (Id. at ¶¶ 50–52); and certification of the Dominion voting system on November
       18, 2020 (Id. at ¶ 53).
14     As she does here, Ms. Ward's state court action claimed that poll watchers were given insufficient opportunity to observe
       the actions of election officials. Notably, the state court judge found this claim barred by the doctrine of laches, as Ms. Ward
       had failed to assert it during a time when it could have been corrected. (Doc. 1-10 at 19 (“The observation procedures for
       the November general election were materially the same as for the August primary election, and any objection to them
       should have been brought at a time when any legal deficiencies could have been cured.”).
15     Although Plaintiffs strenuously argue that they can bring their Arizona election law-based claims in federal court because
       of the presence of federal allegations, they also boldly assert in their Reply that they need not follow the heightened
       pleading standard of Federal Rule of Civil Procedure 9(b) in pleading their fraud claims with particularity, because the
                                                                                                       15
       federal rules are somehow abrogated by “controlling Arizona Supreme Court precedent. ” (Doc. 44 at 23). Plaintiffs
       cannot have it both ways. Plaintiffs have not provided any authority that a state court decision can alter the pleading
       requirements in federal court established by United States Supreme Court precedent and the Federal Rules of Civil
       Procedure.
16     Plaintiffs’ often scattershot pleadings allege that “Defendants failed to administer the November 3, 2020 election in
       compliance with the manner prescribed by the Georgia legislature.” (Doc 2 at 6) (emphasis added). Plaintiffs also
       nonsensically include references to Wisconsin state statutes. (Doc. 1 at 33).
17     Throughout their pleadings, Plaintiffs allege that there were “spikes” of votes for Joe Biden that occurred in Arizona,
       which also occurred in other states that certified the election for Joe Biden, including Georgia, Wisconsin, Michigan, and
       Pennsylvania. Regardless of whether these “spikes” shifting the vote majorities from President Trump to Vice President
       Biden occurred in other states, Plaintiffs have presented nothing to support the claim that these same “spikes” occurred
       in Arizona, where Biden never trailed Trump in the vote tally.
18     The Court will vacate the hearing on Plaintiffs’ TRO and Request for Preliminary Injunction scheduled for December
       10, 2020.


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                                               01/25/21
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                                                          PagePage
                                                               1 of 771
                                                                    30 PageID
                                                                        of 1677#: 1062




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ROSLYN LA LIBERTE,                          Case No.: 1:18-cv-05398-DLI-VMS

                               Plaintiff,

                 - against -

  JOY REID,

                               Defendant.




         DEFENDANT JOY REID’S MEMORANDUM OF LAW IN SUPPORT
     OF HER MOTION TO REVOKE L. LIN WOOD’S PRO HAC VICE ADMISSION



                                                    Respectfully submitted,

                                                    JOHNREICHMANLAW LLC
                                                    56 Oakwood Avenue
                                                    Montclair, New Jersey 07043
                                                    (917) 626-8025

                                                    -and-

                                                    GIBSON, DUNN & CRUTCHER LLP
                                                    333 S. Grand Avenue
                                                    Los Angeles, California 90071
                                                    (213) 229-7000

                                                    Attorneys for Defendant Joy Reid




                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
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                                                    05/03/21
                                                          PagePage
                                                               2 of 772
                                                                    30 PageID
                                                                        of 1677#: 1063




                                                   TABLE OF CONTENTS

  TABLE OF AUTHORITIES ........................................................................................................(ii)

  INTRODUCTION ...........................................................................................................................1

     I.     BACKGROUND .................................................................................................................3

    II.     ARGUMENT .......................................................................................................................4

            A.         The Governing Legal Standards ............................................................................. 4

            B.         Mr. Wood Has Sought to Subvert the Constitution and the Rule of Law .............. 8

            C.         Mr. Wood’s Attacks on Chief Justice John Roberts ............................................. 12

                       1. Mr. Wood’s Maliciously False, Scurrilous Attacks on the Chief Justice ....... 12

                       2. Mr. Wood’s Attacks on the Chief Justice Violate the RPC and Make
                          Mr. Wood Unfit to Practice in This or Any Other Court ................................ 13

            D.         Mr. Wood’s Frivolous Filings and Rule 11 and RPC 3.1 Violations ................... 15

                       1. Mr. Wood’s False, Frivolous, and Vexatious Actions Filed
                          Around the Country Have Already Led to the Revocation of
                          His Admission in Delaware ............................................................................ 16

                       2. Other Frivolous Cases Mr. Wood Filed, But Not Relied Upon By the
                          Delaware Court, Provide Separate and Independent Grounds for the
                          Revocation of His Pro Hac Vice Admission .................................................. 19

                       3. Mr. Wood Is Responsible and Answerable for the False Filings ................... 21

            E.         Mr. Wood’s False Statements to This Court......................................................... 21

  III.      CONCLUSION ..................................................................................................................24




                                                                      i

                                                                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               3 of 773
                                                                    30 PageID
                                                                        of 1677#: 1064




                                                  TABLE OF AUTHORITIES

  Cases                                                                                                                           Page(s)

  In re 60 East 80th Street Equities, Inc.,
  218 F.3d 109, 120 (2d Cir. 2000).................................................................................................. 15

  Aird v. Ford Motor Co.,
  86 F.3d 216 (D.C. Cir. 1996) ........................................................................................................ 21

  Betts v. Townsends, Inc.,
  765 A.2d 531, 535 (Del. Supr. 2000)............................................................................................ 18

  Bowyer v. Ducey,
  CV-20-02321, 2020 WL 7238261 (D. Az. Dec. 9, 2020) ................................................ 16, 20, 22

  Chambers v. NASCO, Inc.,
  501 U.S. 32, 43 (1991) .................................................................................................................... 6

  Doe v. Mastoloni,
  307 F.R.D. 305, 310-311 (D. Conn. 2015) ..................................................................................... 7

  Erbacci, Cerone, and Moriarty, Ltd. v. U.S.,
  923 F. Supp. 482, 485-86 (S.D.N.Y. 1996) .................................................................................. 20

  In re Paul G. Evans,
  801 F.2d 703, 706–7 (4th Cir. 1986) ............................................................................................ 14

  Feehan v. Wisc. Elections Comm'n,
  No. 20-cv-1771, 2020 WL 7250219 (E.D. Wis. Dec. 9, 2020) .................................................... 16

  In re Goldstein,
  430 F.3d 106, 112 (2d Cir. 2005)................................................................................................ 2, 6

  Matter of Holtzman,
  78 N.Y.2d 184, 192 (1991) ........................................................................................................... 14

  In re Jaffe,
  585 F.3d 118, 137-38 (2d Cir. 2009) .......................................................................................... 2, 6

  King v. Whitmer,
  No. 20-13134, 2020 WL 7134198 (E.D. Mich. Dec. 7, 2020) ......................................... 16, 19, 23

  Matter of Kramer,
  919 F.2d 135 (3d Cir. 1990).......................................................................................................... 15



                                                                       ii

                                                                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               4 of 774
                                                                    30 PageID
                                                                        of 1677#: 1065




  L. Lin Wood Jr. v. Raffensperger,
  No. 1:20-cv-04651, 2020 WL 6817513 (N.D. Ga. Nov. 20, 2020),
  aff’d, 981 F.3d 1307 (11th Cir. 2020) ..................................................................................... 16, 17

  Matter of Luna v. Dotson,
  97 N.Y.2d 178, 182-83 (2001) ...................................................................................................... 18

  Martens v. Thomann,
  273 F.3d 159, 175 (2d Cir. 2001)................................................................................................ 7, 8

  Matthews v. Freedman,
  128 F.R.D. 194, 203 (E.D. Pa. 1989), aff’d sub nom .................................................................... 15

  Matter of Morisseau,
  763 F. Supp. 2d 648, 663 (S.D.N.Y. 2011)............................................................................. 13, 15

  Page v. Oath, Inc.,
  No. S20C-07-030 (Del. Supr. Ct. Dec. 18, 2020) ......................................................................... 16

  Page v. Oath, Inc.,
  No. S20C-07-030 (Del. Supr. Ct. Jan. 11, 2021) ..................................................................... 17-19

  Matter of Palmisano,
  70 F.3d 483, 487 (7th Cir. 1995) .................................................................................................. 14

  Pearson v. Kemp,
  No. 1:20-cv-4809, 2020 WL 7040582 (N.D. Ga. Dec. 7, 2020) .................................................. 16

  Pintur v. Rogic,
  No. 16-cv-09696, 2017 WL 5565620, at *6 (S.D.N.Y. Oct. 25, 2017) .................................. 20, 24

  Raylon LLC v. Complus Data Innovations, Co.,
  Nos. 6:09-CV-355, 6:09-CV-356, 6:09-CV-357,
  2015 WL 11121530, at *8-*9 (E.D. Tex. May 4, 2015)............................................................... 21

  Reynolds v. Sims,
  377 U.S. 533, 562 (1964) .............................................................................................................. 12

  Ritchie v. Gano,
  No. 07 Civ. 7269, 2008 WL 4178152, at *3 (S.D.N.Y. Sept. 8, 2008) .......................................... 6

  Sedona Corp. v. Ladenburg Thalmann & Co., Inc.,
  No. 03Civ.3120, 2003 WL 22339357 *3 (S.D.N.Y. Oct. 14, 2003) .............................................. 7

  Steele v. Bell,
  No. 11 Civ. 9343, 2012 WL 6641491, at *2 n.1 (S.D.N.Y. Dec. 19, 2012) ................................... 6

                                                                     iii

                                                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               5 of 775
                                                                    30 PageID
                                                                        of 1677#: 1066




  United States v. Seltzer,
  227 F.3d 36, 42 (2d Cir. 2000)........................................................................................................ 6

  Matter of Terry,
  271 Ind. 499, 502 (Ind. 1979) ....................................................................................................... 14

  Ward v. Jackson,
  CV 2020-015285 at p. 8 (Maricopa Co. Supr. Ct. Dec. 4, 2020),
  aff'd, CV 2020-0343 (Az. Dec. 8, 2020) .................................................................................. 22-23

  Matter of Wisehart,
  281 A.D.2d 23, 31-32 (1st Dep’t 2001) ........................................................................................ 14

  Matter of Yao,
  231 A.D.2d 346, 348 (1st Dep’t 1997) ......................................................................................... 18

  Statutes and Rules

  U.S. Const. art. I, § 3, cl. 4. ............................................................................................................. 8

  N.Y. Const. art. XIII, § 1 ...................................................................................................... 1, 5, 12

  N.Y. Jud. Law, § 466 (McKinney 2020) ............................................................................... 1, 5, 12

  Fed. R. Civ. P. 11 ...................................................................................................................... 5, 15

  Fed. R. Civ. P. 11, Advisory Committee Note to 1993 Amendment............................................ 21

  E.D.N.Y. Local Rule 1.3 ............................................................................................................ 6, 17

  E.D.N.Y. Local Rule 1.5 ............................................................................................................ 6, 17

  New York Rules of Professional Conduct Preamble ....................................................................... 5

  New York Rule of Professional Conduct 3.1............................................................................. 5, 15

  New York Rule of Professional Conduct 3.3............................................................................. 5, 21

  New York Rule of Professional Conduct 4.1............................................................................. 4, 12

  New York Rule of Professional Conduct 8.3................................................................................... 5

  New York Rule of Professional Conduct 8.4............................................................................. 4, 12




                                                                        iv

                                                                                                                                Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               6 of 776
                                                                    30 PageID
                                                                        of 1677#: 1067




  Treatises

  Roy D. Simon, Jr., Simon’s N.Y. Rules of Prof. Conduct Annotated § 8.4:15 (2020) .................. 13




                                                    v

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               7 of 777
                                                                    30 PageID
                                                                        of 1677#: 1068




                                                    INTRODUCTION

             Defendant Joy Reid submits this memorandum of law in support of her motion to revoke

  the pro hac vice admission of L. Lin Wood, one of Plaintiff Roslyn La Liberte’s attorneys in this

  action.

             Mr. Wood’s pro hac vice admission should be revoked for four reasons. First, the oath of

  admission to practice in any federal court requires each attorney to pledge that he “will conduct

  [himself] uprightly and according to law, and that [he] will support the Constitution of the United

  States.”       Declaration of John H. Reichman (“Reichman Decl.”) Ex. AA 1 .          In New York

  specifically, every attorney must likewise pledge to “solemnly swear (or affirm) that [he] will

  support the Constitution of the United States.” N.Y. Const. art. XIII, § 1; N.Y. Jud. Law § 466

  (McKinney 2020). Mr. Wood, however, has sought and is seeking to subvert, not support, the rule

  of law, Article II, Section 1 of the Constitution, and the Twelfth Amendment, which call for the

  peaceful transfer of power and the election of the President and Vice President, culminating with

  the Vice President presiding over the counting of the electoral college votes at a joint session of

  Congress. Mr. Wood sought to prevent this constitutional process from going forward by urging

  the imposition of martial law, making false statements about election results, encouraging the siege

  of the United States Capitol, and even calling for the arrest and assassination of then-Vice President

  Mike Pence. See Reichman Decl. ¶¶ 8-11, 14, 22-23, 25.

             Second, Mr. Wood’s outrageous and unfounded attacks on the Chief Justice of the United

  States, John G. Roberts, Jr., violate RPC 8.4 and 4.1 and are grounds for revocation of his pro hac

  vice status. Mr. Wood has accused the Chief Justice of arranging “an illegal adoption of two young

  children from Wales through Jeffrey Epstein” and saying during a telephone call that former


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      All citations to exhibits refer to exhibits within the Reichman Declaration.

                                                               1

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               8 of 778
                                                                    30 PageID
                                                                        of 1677#: 1069




  President Trump is a “m-----f-------” who could not be allowed another term. Ex. Y at 4; Reichman

  Decl. ¶ 32. Mr. Wood has also suggested that the Chief Justice is a murderous pedophile, was

  mixed up with Jeffrey Epstein and involved in the death of Justice Scalia, was being blackmailed,

  and was trafficking children. Ex. Y at 3-4; Reichman Decl. ¶ 33. Even after Ms. Reid’s counsel

  raised these issues with this Court on January 11 and Mr. Wood denied them, he repeated and

  amplified these false claims on the social media website Telegram. Reichman Decl. ¶¶ 25, 34.

  Numerous decisions in New York have held that far tamer false statements and misconduct are

  grounds for discipline, including loss of the privilege to practice in the jurisdiction. See, e.g., In

  re Jaffe, 585 F.3d 118, 137-38 (2d Cir. 2009) (holding that sanction requiring withdrawal from the

  bar was appropriate following a pattern of “repeated neglect of . . . cases”); In re Goldstein, 430

  F.3d 106, 112 (2d Cir. 2005) (affirming sanctions where attorney’s breach of his “representational

  duties” resulted in his client personally seeking the aid of the court to finalize the settlement of

  their case).

          Third, Mr. Wood has consistently violated Federal Rule of Civil Procedure (“FRCP”) 11

  and New York Rule of Professional Conduct (“RPC”) 3.1 by filing at least five frivolous lawsuits

  relating to the 2020 presidential election based on outright lies and non-existent legal theories.

  One Delaware court has already revoked Mr. Wood’s pro hac vice admission, finding that the

  “conduct of Mr. Wood, albeit not in my jurisdiction, exhibited a toxic stew of mendacity,

  prevarication and surprising incompetence. What has been shown in court decisions in our sister

  States satisfies me that it would be inappropriate and inadvisable to continue Mr. Wood’s

  permission to practice before this Court.” Ex. X at 7. This Court should reach the same conclusion.

  This Court’s Local Rules 1.3 and 1.5 make suspension or discipline in another State a basis for

  refusing pro hac vice admission and imposing discipline. Moreover, the doctrine of collateral



                                                    2

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     6335-2
                                         FiledFiled
                                               01/25/21
                                                    05/03/21
                                                          PagePage
                                                               9 of 779
                                                                    30 PageID
                                                                        of 1677#: 1070




  estoppel precludes Mr. Wood from contesting the Delaware court’s findings that “the Georgia case

  [brought by Mr. Wood] was textbook frivolous litigation” and that Mr. Wood filed or caused to be

  filed an affidavit which contained materially false information. Id. at 6.

         Fourth, Mr. Wood has exhibited a lack of candor with this Court and a lack of respect for

  his duties as an officer of the court. At the January 11 conference, Mr. Wood made a number of

  false statements: i) he never called for people to go to the Capitol, ii) he never said anyone should

  break the law, and iii) no court had found that evidence of election fraud was lacking, each of

  which are demonstrably belied by Mr. Wood’s tweets and other social media posts, and the

  dismissal of all five of the cases he brought around the country falsely claiming election fraud.

  Moreover, Mr. Wood told this Court he “didn’t have anything to do with” the complaints that were

  filed bearing his name—a claim that, if true, would be a violation of FRCP 11 in and of itself. Ex.

  K at 10.

         Importantly, this motion is not based on what Mr. Wood during the January 11 conference

  called “rhetorical hyperbole,” or on his ideology or viewpoint. Id. at 12. The First Amendment

  protects the right to express one’s opinions, even offensive opinions using colorful and hyperbolic

  language. But Mr. Wood has traveled far beyond that boundary, encouraging the siege on the

  Capitol to thwart the vote count, falsely attacking the Chief Justice and the judicial system, filing

  frivolous lawsuits, and violating with impunity the rules of the legal profession. This Court should

  revoke his pro hac vice status to protect the rule of law and the public’s confidence in it.

                                         I. BACKGROUND

         Mr. Wood’s motion for admission pro hac vice was granted at the outset of this case on

  October 11, 2018. Order on 10/11/18. At the time, two of Mr. Wood’s former partners also moved

  for and were granted pro hac vice admission. Id.



                                                    3

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               10 of780
                                                                     30 PageID
                                                                        of 1677#: 1071




          Mr. Wood’s former partners subsequently withdrew from this action. Dkt. 42. They also

  sued Mr. Wood for fraud, among other claims for relief. Ex. A at 61. Their complaint alleges that

  Mr. Wood engaged in physical and verbal assaults on his former partners, including by

  communicating anti-Semitic slurs and participating in other misconduct. Id. at 42-43.

          Mr. Wood’s application for pro hac vice admission in this Court stated that he was not the

  subject of any disciplinary proceedings, as required by Local Rule 1.3. Dkt. 7 at 1. As described

  below, infra § II, that is no longer the case and Mr. Wood has not informed this Court that there

  are pending disciplinary proceedings against him in Michigan, or that a court has already revoked

  his pro hac vice admission in Delaware.

          Mr. Wood has had scant personal involvement in this case. One of his former partners was

  primarily responsible for opposing Defendant’s motion to dismiss and successfully arguing the

  appeal of that dismissal in the Second Circuit. Reichman Decl. ¶ 5. Mr. Wood did not participate

  in any of the attorney conferences regarding scheduling and discovery prior to the January 11

  conference—Defendant’s counsel was repeatedly informed that Mr. Wood was too busy attending

  to his election lawsuits to participate in this action. Id.

                                            II. ARGUMENT

  A.      The Governing Legal Standards

          RPC 8.4(c) provides:

          A lawyer or law firm shall not:
          (a) violate or attempt to violate the Rules of Professional Conduct, knowingly assist
          or induce another to do so, or do so through the acts of another;
          (b) engage in illegal conduct that adversely reflects on the lawyer’s honesty,
          trustworthiness or fitness as a lawyer;
          (c) engage in conduct involving dishonesty, fraud, deceit or misrepresentation;
          (d) engage in conduct that is prejudicial to the administration of justice. . . .

          Moreover, RPC 4.1 states that “[i]n the course of representing a client, a lawyer shall not

  knowingly make a false statement of fact or law to a third person.” This Rule is not limited to

                                                     4

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               11 of781
                                                                     30 PageID
                                                                        of 1677#: 1072




  statements made in court. See also RPC 3.3 (a “lawyer shall not knowingly . . . make a false

  statement of fact or law to a tribunal”).

          In addition, a lawyer practicing before the federal and New York courts has a duty to

  respect the law and conduct himself in a way that encourages others to do so, and must take an

  oath to follow the law and support the Constitution. Ex. AA; N.Y. Const. art. XIII, § 1; N.Y. Jud.

  Law § 466 (McKinney 2020). A lawyer is “an officer of the legal system” with “a duty to uphold

  the legal process; to demonstrate respect for the legal system; . . . and to promote . . . the

  administration of justice.” RPC Preamble § 1. “In addition, a lawyer should further the public’s

  understanding of and confidence in the rule of law and the justice system because, in a

  constitutional democracy, legal institutions depend on popular participation and support to

  maintain their authority.” Id.

          While “[e]very lawyer is responsible for observance of the Rules,” each is also supposed

  to “aid in securing their observance by other lawyers.” Id. at § 5. When a lawyer becomes aware

  of another lawyer’s violation of the RPC that “raises a substantial question as to that lawyer’s

  honesty, trustworthiness or fitness,” he or she is obligated to make a report to an authority

  empowered to investigate or act. RPC 8.3(a).

          FRCP 11 and RPC 3.1 forbid lawyers from filing frivolous and unwarranted lawsuits with

  no basis in fact or law. See Fed. R. Civ. P. 11 (“By presenting to the court a pleading, written

  motion, or other paper . . . an attorney . . . certifies that . . . it is not being presented for any improper

  purpose . . . ; the claims, defenses, and other legal contentions are warranted . . . ; [and] the factual

  contentions have evidentiary support. . . .”); RPC 3.1 (“A lawyer shall not bring . . . a proceeding,

  or assert or controvert an issue therein, unless there is a basis in law and fact for doing so that is

  not frivolous.”).



                                                        5

                                                                                                  Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               12 of782
                                                                     30 PageID
                                                                        of 1677#: 1073




           The New York Rules of Professional Conduct govern the conduct of attorneys in federal

  courts sitting in New York as well as in New York state courts. Ritchie v. Gano, No. 07 Civ. 7269,

  2008 WL 4178152, at *3 (S.D.N.Y. Sept. 8, 2008) (“New York’s Code of Professional

  Responsibility . . . establishes appropriate guidelines for the professional conduct of attorneys in

  the United States District Courts in this state.”); see also Steele v. Bell, No. 11 Civ. 9343, 2012

  WL 6641491, at *2 n.1 (S.D.N.Y. Dec. 19, 2012). Attorneys arguing before this Court must thus

  abide by New York’s RPC. E.D.N.Y. Local Rule 1.3. To interpret the RPC, federal courts sitting

  in New York look to decisions of the New York state courts. Id. at Rule 1.5(b)(5).

           Local Rule 1.3(c) requires a pro hac vice applicant to disclose “whether the applicant has

  ever been censured, suspended, disbarred or denied admission or readmission by any court,” and

  Rule 1.5(b)(2) specifically recognizes that clear and convincing evidence that an attorney was

  subject to suspension or disciplinary action in another State provides grounds for discipline in this

  Court.

           A court may “determine, based on an attorney’s prior behavior, that []he will be unable to

  conform h[is] future conduct to expected professional norms, and, as a result, that h[is] ability to

  practice in this Court should be barred as a corrective measure in order to protect the public, other

  attorneys and litigants, the Court, and the administration of justice.” In re Jaffe, 585 F.3d at 121.

  RPC 8.5 provides that an attorney is subject to disciplinary authority such as this for improper

  conduct that occurs in other jurisdictions. Moreover, a federal court possesses certain inherent

  powers “to discipline attorneys who appear before it.” Chambers v. NASCO, Inc., 501 U.S. 32, 43

  (1991). This includes the power to “police the conduct of attorneys as officers of the court” and

  to impose sanctions for attorney misconduct. United States v. Seltzer, 227 F.3d 36, 42 (2d Cir.

  2000); In re Goldstein, 430 F.3d at 110.



                                                   6

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               13 of783
                                                                     30 PageID
                                                                        of 1677#: 1074




         “Admission pro hac vice is not a right but a privilege, the granting of which rests in the

  sound discretion of the presiding judge.” Sedona Corp. v. Ladenburg Thalmann & Co., Inc., No.

  03 Civ. 3120, 2003 WL 22339357 *3 (S.D.N.Y. Oct. 14, 2003) (internal quotations omitted).

  Exercising this discretion involves considering:

         [O]n the one hand, a litigant’s right to choose its counsel, which should not lightly
         be interfered with, and, on the other hand, the Court’s right to assure itself that an
         attorney applicant is familiar with the Federal Rules of Civil Procedure, the Local
         Rules . . . , this Court’s Individual Rules, and the customs and practices of this
         Court, and that the attorney will conduct himself professionally and ethically, and
         will not disrupt the proper functioning of the Court.

  Id. (internal citations and quotations omitted).

         In some instances, prior to revoking an attorney’s pro hac vice status, other intermediary

  steps are considered, such as motions to compel or orders imposing monetary sanctions. See Doe

  v. Mastoloni, 307 F.R.D. 305, 310-11 (D. Conn. 2015) (finding revocation of pro hac vice

  admission was not yet warranted where attorney failed to provide adequate discovery responses or

  agree to a protective order because the moving party could have first moved for a motion to

  compel, which would have allowed the court to make a finding of bad faith). Here, as shown

  below, no intermediary motion or order is necessary before the Court can revoke Mr. Wood’s pro

  hac vice status. This is not a discovery complaint—Mr. Wood cannot correct the violence he

  encouraged, or the lies he told about the Chief Justice, or the frivolous actions he filed in other

  jurisdictions. Further, a Delaware court already found that Mr. Wood’s filings in numerous

  jurisdictions were frivolous. See infra § D(1). As such, cases like Doe v. Mastoloni are

  inapplicable here.

         Due process requires that courts provide notice and an opportunity to be heard before

  imposing any kind of sanction such as the revocation of pro hac vice status. Martens v. Thomann,

  273 F.3d 159, 175 (2d Cir. 2001). The revocation of such status must be evaluated as though the

                                                     7

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               14 of784
                                                                     30 PageID
                                                                        of 1677#: 1075




  court was considering disqualifying a “regular member” of the district’s bar. Id. at 175-76. As

  demonstrated below, no regular member of the New York bar who acted as Mr. Wood has would

  be allowed to set foot in a New York courtroom.

  B.     Mr. Wood Has Sought to Subvert the Constitution and The Rule of Law

         Article II, Section 1, Clauses 2 and 3, and the Twelfth Amendment of the United States

  Constitution provide for states to appoint electors and for those electors to then elect the President

  and Vice President. The votes are then counted on January 6 in a joint session of Congress,

  presided over by the President of the Senate, who the Constitution designates to be the sitting Vice

  President of the United States. U.S. Const. art. I, § 3, cl. 4. These constitutional provisions form

  a cornerstone of our democracy, and Mr. Wood sought to subvert them.

          Mr. Wood is a major proponent of the falsehood that former President Trump won the

  2020 presidential election in a landslide, and that President Biden stole the election. See Ex. B;

  Reichman Decl. ¶ 8. In furtherance of that view, Mr. Wood objected to the counting of the electoral

  votes and the peaceful transfer of power. For example, in early December, Mr. Wood led a rally

  in Georgia, where he called for the imprisonment of the Georgia Governor and Secretary of State

  for carrying out their duty of counting Georgia’s votes in the presidential election. Reichman Decl.

  ¶ 7 n.3, video at 3:10. He instructed those present to “go to the [Georgia] Governor’s mansion”

  and “circle it” to force the Georgia legislature into a special session. Id. Later that month, Mr.

  Wood called for no electoral vote to occur in any State. Ex. V at 24 (stating “there should be NO

  Electoral College vote in any state today”). That effort failed, but Mr. Wood persisted.

         On social media sites like Twitter and Parler, Mr. Wood advocated for martial law, i.e., for

  the military to replace our duly elected representatives with President Trump remaining as the




                                                    8

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               15 of785
                                                                     30 PageID
                                                                        of 1677#: 1076




  Commander in Chief. See Reichman Decl. ¶ 8. Disturbingly, on January 1, Mr. Wood tweeted

  that Vice President Pence should face arrest and “execution by firing squad.” Id. ¶ 9.

          Early on January 6, the day on which Vice President Pence was scheduled to count the

  electoral votes and the day of the siege of the United States Capitol, Mr. Wood posted a tweet

  saying it was “1776 Again” and that “[t]he time ha[d] come . . . to take back our country . . . [and]

  fight for our freedom.” Id. ¶ 10. As people were gathering for the assault on the Capitol, Mr.

  Wood told his followers to “lock up Traitor Mike Pence” for allegedly conspiring with Rod

  Rosenstein to “overthrow our government.” Id. ¶ 11.

          At 12:47 p.m., six minutes before the Capitol breach, see Ex. C at 5, Mr. Wood called Mr.

  Pence a “TRAITOR” and said he had evidence to support his claims. Reichman Decl. ¶ 12. A

  few hours later, as the siege continued, Mr. Wood tweeted to his 1.1 million followers, saying

  everyone should follow the advice of Bill White, who urged the mob to “enter the US Capitol

  building . . . sit in the peoples seats . . . fight for us . . . [and] fight for Trump. . . .” Reichman Decl.

  ¶ 13.

          Mr. Wood’s words were heard by individuals who attacked the Capitol on January 6. The

  social media account of Ashli Babbitt, a woman killed during the assault on the Capitol when she

  tried to invade the House chamber, followed Mr. Wood on Twitter. Ex. D at 7-13 (chronicling

  Babbitt’s repeated retweets of Mr. Wood’s posts). Her final tweet before her death was a retweet

  of one of Mr. Wood’s posts on the day of the insurrection. The tweet contained what Mr. Wood

  deemed his “MUST BE DONE LIST,” and listed his three goals of charging Mike Pence with

  treason, charging Rod Rosenstein with treason, and demanding that Chief Justice John Roberts

  resign. Reichman Decl. ¶ 14.




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                                                                                                 Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
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                                      63 35-2
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                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               16 of786
                                                                     30 PageID
                                                                        of 1677#: 1077




         The “Three Percenters”—one of “the two most prominent rightwing militia groups that

  participated in the mob onslaught on Congress,” Ex. E at 1—are also significant supporters of Mr.

  Wood. The Three Percenters posted a short manifesto expressing their preparedness “‘to take back

  our country from the pure evil that is conspiring to steal our country away from the American

  people.’” Ex. F at 5. That statement praised Mr. Wood as an “inspirational figure[] in th[at]

  looming battle.” Id.

         At the insurrection, the Three Percenters raised their “Release the Kraken” flag, which is a

  reference to a comment made by Mr. Wood’s co-counsel in the election litigations, Sidney Powell

  (and then amplified by Mr. Wood), that Mr. Wood and Ms. Powell were releasing the Kraken, i.e.,

  exposing baseless voter fraud claims and planning to overturn the presidential election. See

  Reichman Decl. ¶ 16 n.10. Ms. Powell and Mr. Wood are known as the “‘Kraken’ lawyers.” Ex.

  H at 17.

         Mr. Wood is also a hero to the followers of the QAnon conspiracy theory, see Ex. D at 2,

  who believe that Mr. Trump and a secret military intelligence team are battling a “deep state” made

  up of Satan-worshipping pedophiles in the government, media, and Hollywood. Ex. G at 1-2. In

  the wake of the Capitol siege, Mr. Wood falsely claimed Antifa and Black Lives Matter were

  responsible for the insurrection. He has alleged that no one died during the Capitol insurrection

  (five people died), that the event was “staged,” and that those who breached the Capitol were

  “Antifa dressed up as Trump people.” Ex. HH at 2-3. In one instance, Mr. Wood posted a

  photograph of a man named Josiah Colt, falsely suggesting he was not a supporter of Mr. Trump.

  Reichman Decl. ¶ 18. Mr. Colt, however, confirmed he was the man in the photograph and sitting

  in former Vice President Pence’s chair in the well of the Senate, and Mr. Colt is in fact a supporter

  of Mr. Trump. See Ex. I at 1.



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                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               17 of787
                                                                     30 PageID
                                                                        of 1677#: 1078




            Mr. Wood also tweeted a photo of Jake Angeli, the now infamous “QAnon Shaman” who

  occupied the Senate floor, Reichman Decl. ¶ 20 n.14, video at 0:36, 7:36, and falsely claimed Mr.

  Angeli was part of Antifa, writing “Indisputable photographic evidence that antifa violently broke

  into Congress today. . . .” Id. ¶ 17.

            Mr. Wood repeated his demonstrably false claims about Antifa to this Court on January

  11, saying, “a Capitol Police Officer had opened the doors to let people in that appear to be, and

  the evidence seems to be suggesting, were members of either Antifa or Black Lives Matter.” Ex.

  K at 12. There is no evidence suggesting the siege at the Capitol had anything to do with Antifa

  or Black Lives Matter.

            Following Mr. Wood’s barrage of false and violent tweets, his Twitter account was

  terminated on January 7. One of his final tweets accused Vice President Pence of being a

  “TRAITOR, a Communist Sympathizer & a Child Molester.” Reichman Decl. ¶ 22. The tweet

  also said to “Lock him up.” Id. Following his Twitter suspension, Mr. Wood turned to the social

  media sites Parler and Telegram to communicate with his followers.

            On January 7, only a day after the attack on the Capitol, Mr. Wood again directly urged

  Mr. Pence’s execution, saying “Get the firing squads ready. Pence goes FIRST.” Reichman Decl.

  ¶ 23. This call for the execution of the sitting Vice President was directed toward user feeds nearly

  three million times, Ex. L at 6, and was viewed at least 788,000 times, according to a screenshot

  on the Internet Archive. Ex. M at 7. According to Fox News, Mr. Wood is being investigated by

  the United States Secret Service concerning his death threats against the Vice President. Ex. MM

  at 1-2.

            On January 18, 2021, two days before Inauguration Day and still continuing to sow doubt

  over the election, Mr. Wood posted on Telegram that “the ‘election’ of Biden was a fraud” and



                                                   11

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               18 of788
                                                                     30 PageID
                                                                        of 1677#: 1079




  claiming “Trump won a landslide re-election” and will be “President for at least 4 more years.”

  Reichman Decl. ¶ 25. The following day he continued to attack Mr. Pence, saying “Vice President

  Pence must resign today. Pence is on videos captured by FBI. Discussions about murdering

  judges.” Id.

         The right to vote is fundamental and preserves all other rights in the United States

  Constitution. See Reynolds v. Sims, 377 U.S. 533, 562 (1964). Mr. Wood’s conduct and lies

  sought to undermine democracy and this bedrock right. Mr. Wood has violated his solemn oath

  that he “will conduct [himself] uprightly and according to law, and that [he] will support the

  Constitution of the United States.” Ex. AA; see also N.Y. Const. art. XIII, § 1; N.Y. Jud. Law §

  466 (McKinney 2020). Through his numerous false statements in support of this effort, he violated

  RPC 4.1 and 8.4 many times over. See RPC 4.1 (“lawyer shall not knowingly make a false

  statement of fact or law to a third person”); RPC 8.4 (“lawyer shall not engage in conduct involving

  dishonesty, fraud, deceit or misrepresentation”). He should be disqualified from appearing in this

  Court because of his many actions to subvert the Constitution and the rule of law.

  C.     Mr. Wood’s Attacks on Chief Justice John Roberts

         1.      Mr. Wood’s Maliciously False, Scurrilous Attacks on the Chief Justice

         Mr. Wood has repeatedly, viciously, and falsely attacked Chief Justice John Roberts. He

  has stated that the Chief Justice arranged the “illegal adoptions” of two children through Jeffrey

  Epstein, and linked the Chief Justice with the death of Justice Scalia and pedophilia. After

  pondering Justice Robert’s motives on Twitter, Mr. Wood then asked if the Chief Justice was a

  member of any “club or cabal requiring minor children as an initiation fee” in the following tweets:

         A couple of more questions for Chief Justice John Roberts:
         (1) You are recorded discussing Justice Scalia’s successor before date of his sudden
         death. How did you know Scalia was going to die?
         (2) Are you a member of any club or cabal requiring minor children as initiation
         fee? pic.twitter.com/jGxfgLCk4D
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                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               19 of789
                                                                     30 PageID
                                                                        of 1677#: 1080




         — Lin Wood (@LLinWood) December 31, 2020

  Reichman Decl. ¶ 31.

         I have linked Roberts to illegal adoption, Jeffrey Epstein, pedophilia & prior
         knowledge of Scalia’s death.
         — Lin Wood (@LLinWood) December 31, 2020

  Id. Mr. Wood has alleged that the Chief Justice was being blackmailed, including in tweets that

  were retweeted by Ashli Babbitt shortly before her death as she stormed the Capitol. Mr. Wood

  has also implied that the Chief Justice said, during a phone call in August, that then

  President Trump is a “m-----f-----” who could not be allowed to have another term. Id. ¶ 32. Mr.

  Wood’s attacks on Chief Justice Roberts have continued unabated to this day via the social media

  website Telegram. Id. ¶¶ 25, 34. For example, on January 19, Mr. Wood posted that “Chief Justice

  John Roberts must resign. . . . Jeffrey Epstein arranged for the adoption of Roberts’ children.

  Roberts used the children to gain entry into the cabal of power & influence.” Id. ¶ 34.

         Mr. Wood has also attacked the judiciary as a whole. In trying to explain away that he and

  other lawyers have lost all 60 lawsuits they brought challenging the presidential election results,

  he was quoted in The New Yorker falsely claiming, “Nobody loses 0-60, unless the deck is

  stacked!” Ex. HH at 1.

         2.      Mr. Wood’s Attacks on the Chief Justice Violate the RPC and Make Mr.
                 Wood Unfit to Practice in This or Any Other Court

         Mr. Wood’s false attacks on the Chief Justice violate RPC 8.4(c), which “encompasses

  every kind of dishonesty, fraud, deceit, or misrepresentation, whether inside or outside law practice

  and whether civil or criminal.” Roy D. Simon, Jr., Simon’s N.Y. Rules of Prof. Conduct Annotated

  § 8.4:15 (2020). Unsupported attacks on a judge violate this Rule and, in New York and the federal

  courts, are grounds for disbarment. Matter of Morisseau, 763 F. Supp. 2d 648, 663 (S.D.N.Y.

  2011) (“[T]he direct and implied accusations that Judge Kaplan is dishonest, violate a number of

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                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               20 of790
                                                                     30 PageID
                                                                        of 1677#: 1081




  Disciplinary Rules and Rules of Professional Conduct as reflected in the findings below.”

  (citing In re Paul G. Evans, 801 F.2d 703, 706–7 (4th Cir. 1986) (unsubstantiated allegations that

  judge had religious bias merited disbarment from federal court))).

            The reason for the prohibition against false and unfounded attacks on judges is not to

  protect individual judicial officers, but rather to safeguard the administration of justice, see RPC

  8.4(d), and the integrity of the judicial system:

            Unlike defamation cases, “[p]rofessional misconduct, although it may directly
            affect an individual, is not punished for the benefit of the affected person; the wrong
            is against society as a whole, the preservation of a fair, impartial judicial system,
            and the system of justice as it has evolved for generations.”

  Matter of Holtzman, 78 N.Y.2d 184, 192 (1991) (citing Matter of Terry, 271 Ind. 499, 502 (Ind.

  1979)).

            An attorney who makes serious accusations of wrongdoing against a judge must be able to

  present evidence demonstrating the reasonableness of his belief that those accusations are true.

  Matter of Palmisano, 70 F.3d 483, 487 (7th Cir. 1995) (finding that attorney’s failure to provide

  support for the slurs he made against the judiciary was grounds to justify the disciplinary action

  taken). Mr. Wood told this Court that his statements were simply “rhetorical hyperbole,” Ex. K at

  12, but his attacks on the Chief Justice are false statements of fact, not hyperbole or opinion, and

            [i]n this jurisdiction, an attorney who makes false, scandalous or other improper
            attacks upon a judicial officer is subject to discipline. Attacks such as respondent’s
            derogatory, undignified and inexcusable remarks tend to undermine the respect and
            confidence of the members of his profession and of the society which he serves,
            and will not be countenanced.

  Matter of Wisehart, 281 A.D.2d 23, 31-32 (1st Dep’t 2001) (imposing a suspension on an attorney

  for making false statements about sitting judges) (internal citations and quotations omitted); see

  also Matter of Palmisano, 70 F.3d at 487.




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                                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               21 of791
                                                                     30 PageID
                                                                        of 1677#: 1082




          Unless Mr. Wood can present in his answering papers plausible evidence to support each

  of his slurs against the Chief Justice, he should be disqualified from practicing in this Court. He

  of course cannot do so because those allegations are maliciously false—as such, this motion should

  be granted.

  D.      Mr. Wood’s Frivolous Filings and Rule 11 and RPC 3.1 Violations

          FRCP 11 provides that when presenting a pleading to a court, “whether by signing, filing,

  submitting, or later advocating it . . . an attorney . . . certifies that to the best of [his] knowledge,

  information, and belief . . . it is not being presented for any improper purpose, . . . [and] the claims

  . . . are warranted . . . .” “[G]iven the important function of Rule 11 sanctions as a deterrent against

  an attorney’s misconduct in the future,” an attorney’s past brushes with Rule 11 are relevant in

  determining appropriate discipline and whether to permit the attorney’s admission pro hac vice.

  Matthews v. Freedman, 128 F.R.D. 194, 203 (E.D.Pa. 1989), aff’d sub nom.; Matter of Kramer,

  919 F.2d 135 (3d Cir. 1990); see also In re 60 East 80th Street Equities, Inc., 218 F.3d 109, 120

  (2d Cir. 2000) (finding attorney’s past sanctionable conduct was relevant to court’s inquiry on the

  imposition of sanctions).

          RPC 3.1 provides that an attorney shall not bring non-meritorious claims and contentions,

  and an attorney’s conduct is “frivolous” if the lawyer “knowingly advances a claim or defense that

  is unwarranted. . . .” In Morisseau, 763 F. Supp. 2d at 663-65, the court revoked an attorney’s

  ability to appear pro hac vice based on various violations of the RPC, including Rule 3.1, where

  the attorney had filed numerous, frivolous filings and had “commenced a series of unsupported

  and hate-filled public attacks” against Southern District Judge Lewis Kaplan. Violations even

  more severe have occurred here.




                                                     15

                                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               22 of792
                                                                     30 PageID
                                                                        of 1677#: 1083




          After the presidential election, Mr. Wood and his co-counsel, Sidney Powell, filed four

  frivolous lawsuits in swing states, Georgia, Wisconsin, Arizona, and Michigan, where they falsely

  claimed voter fraud and sought to overturn the election results. Each of these cases was dismissed

  as Mr. Wood and his co-counsel could not even state a legally cognizable theory, let alone provide

  evidence, for their unsupported claims. See Feehan v. Wisc. Elections Comm’n, No. 20-cv-1771,

  2020 WL 7250219 (E.D. Wis. Dec. 9, 2020); Bowyer v. Ducey, No. CV-20-02321, 2020 WL

  7238261 (D. Az. Dec. 9, 2020); Pearson v. Kemp, No. 1:20-cv-4809, Ex. Q at 2; King v. Whitmer,

  No. 20-13134, 2020 WL 7134198 (E.D. Mich. Dec. 7, 2020). Mr. Wood also filed a pro se action

  in Georgia, in which the district court denied his motion for a temporary restraining order. L. Lin

  Wood Jr. v. Raffensperger, No. 1:20-cv-04651, 2020 WL 6817513 (N.D. Ga. Nov. 20, 2020).

          1.      Mr. Wood’s False, Frivolous, and Vexatious Actions Filed Around the
                  Country Have Already Led to the Revocation of His Admission in Delaware

          In Page v. Oath, Inc., No. S20C-07-030, the Superior Court of Delaware sua sponte issued

  a “Rule to Show Cause” with respect to whether Mr. Wood’s pro hac vice status should be revoked

  because of his role in the Wisconsin action and the pro se lawsuit in Georgia. Ex. W. The order

  stated that in the Wisconsin case it appeared that i) the suit was filed on behalf of a person who

  had not authorized it; ii) the complaint and related papers had multiple, serious deficiencies as

  outlined in the order of dismissal of the Wisconsin action; and iii) a citation to a case regarding a

  point of critical law, including a quotation, was found to be fictitious. Id. at 3. The Delaware court

  further stated that Mr. Wood’s conduct in Wisconsin appeared to violate Delaware’s rules of

  professional conduct with respect to competence, meritorious claims and contentions, candor to

  the tribunal, and misconduct. Id. at 1. The Delaware court also cited the decision in the Georgia

  pro se case, where Mr. Wood sought to prevent Georgia’s certification of the votes in the general

  election for President. Id. at 2.


                                                   16

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               23 of793
                                                                     30 PageID
                                                                        of 1677#: 1084




          After providing Mr. Wood with a full opportunity to respond to its show cause order, the

  Superior Court in Delaware revoked his pro hac vice status. Ex. W at 4; Ex. X at 8. The court

  began its analysis by stating, as is the case here, that it is required to ensure those practicing before

  the court “are of sufficient character, and conduct themselves with sufficient civility and

  truthfulness.” Ex. X at 5. The court rejected Mr. Wood’s argument that he merely made harmless

  errors in the Georgia litigation, finding “the Georgia case was textbook frivolous litigation.” Id.

  at 6; see also Wood, 2020 WL 6817513, at *6, *13 (“[T]he futility of Wood’s standing argument

  is particularly evident in that his sole relied-on authority—Meek v. Metropolitan Dade County,

  Florida, 985 F.2d 1471 (11th Cir. 1993)—is no longer good law. The Eleventh Circuit expressly

  abrogated its holding in that case over thirteen years ago”), aff’d, 981 F.3d 1307 (11th Cir. 2020).

  The Delaware court further found that Mr. Wood’s submission of an error-ridden affidavit of an

  expert witness was “either mendacious or incompetent.” Ex. X at 6.

          Eastern District Local Rules 1.3 and 1.5 specifically contemplate disciplinary actions in

  other jurisdictions and their impact on admission in this district. Rule 1.3(c) requires any pro hac

  vice applicant to disclose “whether the applicant has ever been censured, suspended, disbarred or

  denied admission or readmission by any court.” Rule 1.5(b)(2) states that clear and convincing

  evidence that an attorney was subject to suspension or disciplinary action in another state provides

  grounds for discipline in the Eastern District of New York. The disciplinary action taken in

  Delaware is, standing alone, grounds to grant this motion.

          Moreover, under the doctrine of collateral estoppel, Mr. Wood is precluded from contesting

  the Delaware court’s findings. As shown above, federal courts sitting in New York look to

  decisions of the New York state courts to determine attorney discipline. Id. at Rule 1.5(b)(5).

  Under New York’s conflict of laws rules, New York gives the same preclusive effect to the



                                                     17

                                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               24 of794
                                                                     30 PageID
                                                                        of 1677#: 1085




  Delaware order as Delaware would under its law. See Matter of Luna v. Dotson, 97 N.Y.2d 178,

  182-83 (2001).

          Under Delaware law, the collateral estoppel doctrine may be invoked to preclude a party

  from raising an issue where:

          (1) the issue previously decided is identical with the one presented in the action in
          question, (2) the prior action has been finally adjudicated on the merits, (3) the party
          against whom the doctrine is invoked was a party or in privity with a party to the
          prior adjudication, and (4) the party against whom the doctrine is raised had a full
          and fair opportunity to litigate the issue in the prior action.2

  Betts v. Townsends, Inc., 765 A.2d 531, 535 (Del. Supr. 2000). Whether Mr. Wood made baseless,

  false, and incompetent filings was an issue already adjudicated by the court in Delaware, and Mr.

  Wood had a full and fair opportunity to litigate those issues there.

          The Delaware court also considered and rejected Mr. Wood’s excuses for the incompetence

  he exhibited in the Wisconsin action. The court found these were not “‘proof reading errors’” as

  Mr. Wood claimed. Ex. X at 6-7. “Failure to certify a complaint for injunction or even serve the

  Defendants are not ‘proof reading errors.’ The Complaint would not survive a law school civil

  procedure class.” Id.

          The Delaware court concluded:

          Prior to the pandemic, I watched daily counsel practice before me in a civil, ethical
          way to tirelessly advance the interests of their clients. It would dishonor them were
          I to allow this pro hac vice order to stand.

  Id. at 7.

          Finally, the Delaware court made these findings regarding Mr. Wood’s incitement of the

  insurrection at the Capitol on January 6:



  2
   New York’s collateral estoppel doctrine is similar to Delaware’s, and the Delaware ruling would have the same
  preclusive effect under New York’s doctrine as it does under Delaware’s. See Matter of Yao, 231 A.D.2d 346, 348
  (1st Dep’t 1997) (applying collateral estoppel in a disciplinary proceeding).

                                                        18

                                                                                                   Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               25 of795
                                                                     30 PageID
                                                                        of 1677#: 1086




          One final matter. A number of events have occurred since the filing of the Rule to
          Show Cause. I have seen reports of “tweets” attributable to Mr. Wood. At least
          one tweet called for the arrest and execution of our Vice-President. Another alleged
          claims against the Chief Justice of the Supreme Court of the United States which
          are too disgusting and outrageous to repeat. Following on top of these are the events
          of January 6, 2021 in our Nation’s Capitol. No doubt these tweets, and many other
          things, incited these riots.

  Id. at 7-8.

          2.     Other Frivolous Cases Mr. Wood Filed, But Not Relied Upon By the
                 Delaware Court, Provide Separate and Independent Grounds for the
                 Revocation of His Pro Hac Vice Admission

          Other frivolous election cases Mr. Wood filed, apart from the Wisconsin and Georgia pro

  se actions addressed by the Delaware court, provide additional grounds for the revocation of his

  pro hac vice status. In Michigan, the district court found that the plaintiffs’ claims were clearly

  barred by Sovereign Immunity under the Eleventh Amendment of the Constitution, laches,

  mootness, and the plaintiffs’ lack of standing. King, 2020 WL 7134198, at *3-9. In denying the

  Michigan plaintiffs’ motion for injunctive relief, the court concluded:

          Plaintiffs are far from likely to succeed in this matter. In fact, this lawsuit seems to
          be less about achieving the relief Plaintiffs seek—as much of that relief is beyond
          the power of this Court—and more about the impact of their allegations on People’s
          faith in the democratic process and their trust in our government. Plaintiffs ask this
          Court to ignore the orderly statutory scheme established to challenge elections and
          to ignore the will of millions of voters. This, the Court cannot, and will not, do.
          The People have spoken.

  Id. at *13. The Michigan action led to sanctions motions being filed against Mr. Wood. The City

  of Detroit’s motion, which is pending, seeks Mr. Wood’s disbarment and disqualification, alleging

  there was no basis in law for plaintiffs’ claims and that plaintiffs’ expert reports were rife with

  misstatements and misinformation, which should have been easily discovered by Mr. Wood and

  his team with any due diligence. Ex. V at 17-18.




                                                    19

                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
                                          FiledFiled
                                               01/25/21
                                                     05/03/21
                                                          PagePage
                                                               26 of796
                                                                     30 PageID
                                                                        of 1677#: 1087




         The district court in Arizona likewise left no doubt that Mr. Wood’s lawsuit was unfounded

  and warranted in its order dismissing the action:

         By any measure, the relief Plaintiffs seek is extraordinary. If granted, millions of
         Arizonans who exercised their individual right to vote in the 2020 General Election
         would be utterly disenfranchised. . . . Not only have Plaintiffs failed to provide the
         Court with factual support for their extraordinary claims, but they have wholly
         failed to establish that they have standing for the Court to consider them.
         Allegations that find favor in the public sphere of gossip and innuendo cannot be a
         substitute for earnest pleadings and procedure in federal court.

  Bowyer, 2020 WL 7238261, at *1, *16.

         Pro hac vice admission should be revoked where the court does not have reasonable

  assurance that an attorney is familiar with and will abide by the FRCP, the Local Rules for the

  Eastern District of New York, this Court’s Individual Rules, the New York RPC, and the customs

  and practices of this Court. See Pintur v. Rogic, No. 16-cv-09696, 2017 WL 5565620, at *6

  (S.D.N.Y. Oct. 25, 2017); see also Erbacci, Cerone, and Moriarty, Ltd. v. U.S., 923 F. Supp. 482,

  485-86 (S.D.N.Y. 1996) (“[B]efore this Court will admit an attorney to practice pro hac vice, this

  Court must have some reasonable assurance that such attorney is familiar with the Federal Rules

  of Civil Procedure, the Local Rules . . . , this Court’s Individual Rules, and the customs and

  practices of this Court.”).

         Mr. Wood has shown that he either cannot or will not comply with his professional

  obligations. Indeed, in the January 11 conference before this Court, he defended his actions,

  falsely claiming that there was ample evidence of fraud to support the allegations universally

  rejected by multiple courts. Ex. K at 11 (“[The election fraud litigation is] based on a wealth of

  material and admissible evidence.”). This baseless contention has been rejected by approximately

  60 courts throughout the country. See Reichman Decl. ¶ 26, n.23.




                                                  20

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCBDocument
                               Document
                                      63 35-2
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          3.       Mr. Wood Is Responsible and Answerable for the False Filings

          During the January 11 conference with this Court, Mr. Wood stated:

          What I have done with Sidney Powell is, she asked me to sign on to two or three
          lawsuits where she was the lead counsel, in anticipation that there may be a need
          for a trial lawyer. I didn’t draft the lawsuits. There were some typographical errors
          and things done in some of them that upset a judge in Wisconsin, I believe, maybe
          Michigan. But if you had a full hearing on what happened there, I didn’t have
          anything to do with that, other than I did agree to sign on to help Sidney.

  Ex. K at 9-10.

          But Mr. Wood’s claim that it was all the fault of Sidney Powell, his co-counsel, does not

  shelter him from responsibility for the meritless and frivolous filings. See Aird v. Ford Motor Co.,

  86 F.3d 216, 223 (D.C. Cir. 1996) (finding that a lawyer was jointly and severally liable for

  sanctions while he was a counsel of record, even if he did not participate in the offending activities

  and even though he actively sought to remove his name from some of the offending filings, and

  subsequently withdrew from case); Raylon LLC v. Complus Data Innovations, Co., Nos. 6:09-CV-

  355, 6:09-CV-356, 6:09-CV-357, 2015 WL 11121530, at *8-9 (E.D. Tex. May 4, 2015) (finding

  that an attorney who was not involved in the drafting of the pleadings, but benefited from the

  representation, is liable under Rule 11); see also Fed. R. Civ. P. 11, Advisory Committee Note to

  1993 Amendment (stating multiple attorneys can be held accountable for the actions of their co-

  counsel if they had a part in “causing the violation”).

  E.      Mr. Wood’s False Statements to This Court

          RPC 3.3 provides that a “lawyer shall not knowingly . . . make a false statement of fact or

  law to a tribunal or fail to correct a false statement of material fact or law previously made to the

  tribunal by the lawyer. . . .”

          In the course of one short conference, Mr. Wood made numerous false statements to the

  Court. Space limitations preclude us from addressing all of his false contentions, but three

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       Case 1:21-cv-01169-TCBDocument
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  statements go to the heart of this motion in particular, and are demonstrably false as shown by

  irrefutable documentary evidence.3

  “I didn’t call for the people to go up there and meet, I didn’t call for anybody to go to the
  Capitol.” Ex. K at 9.

           Mr. Wood did, in fact, “call for” his supporters to storm and occupy the United States

  Capitol. Id. On the morning of January 6, Mr. Wood posted to his 1.1 million Twitter followers

  that “[t]he time ha[d] come . . . to take back our country . . . to fight for our freedom.” Reichman

  Decl. ¶ 10. He wrote those words alongside an image stating that it was “1776 Again.” Id. During

  the insurrection, as the mob was storming the Capitol building, Mr. Wood tweeted to his followers

  that they should follow the advice of Bill White to “enter the US Capitol Building . . . enter both

  houses . . . fight for us [and] . . . fight for Trump. . . .” Id. ¶ 13.

  “So there’s been no finding by any court that the evidence of election fraud is lacking. In
  fact, if they discussed it, they would have to say it was literally conclusive that there was
  fraud.” Ex. K at 11.

           As set forth above, several courts specifically found “that the evidence of election fraud is

  lacking,” id., in the election lawsuits filed by Mr. Wood. For example, in Arizona, the district

  court, in dismissing the complaint, declared that Mr. Wood had failed to provide any factual

  support for the claims:

           Not only have Plaintiffs failed to provide the Court with factual support for their
           extraordinary claims, but they have wholly failed to establish that they have
           standing for the Court to consider them. Allegations that find favor in the public
           sphere of gossip and innuendo cannot be a substitute for earnest pleadings and
           procedure in federal court. They most certainly cannot be the basis for upending


  3
    As shown in Defendant’s motion to strike the amended complaint, there are numerous material allegations in that
  complaint which are also belied by documentary evidence. That evidence refutes Plaintiff’s allegations that the
  Defendant was responsible for the public learning about Plaintiff’s conduct and disclosing Plaintiff’s home and
  business information. These allegations go to the heart of Plaintiff’s liability and damage claims and are the putative
  rationale for suing the Defendant and not the countless others who made the same accusations against Plaintiff
  including well-known political commentators, entertainers, actors, and musical artists. A quick Google search by Mr.
  Wood would have revealed that numerous material allegations in the amended complaint are false. See Dkt. 18. We
  are not, however, basing this motion on those false allegations.

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       Case 1:21-cv-01169-TCBDocument
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           Arizona’s 2020 General Election. The Court is left with no alternative but to
           dismiss this matter in its entirety.

  Bowyer, 2020 WL 7238261 at *16.4

           In the Michigan case, the district court denied the plaintiffs’ motion for injunctive relief in

  all respects,5 and noted that the plaintiffs had not presented any evidence to support the allegations

  of fraud, but instead relied on nothing more than “speculation and conjecture”:

           Plaintiffs’ equal protection claim is not supported by any allegation that
           Defendants’ alleged schemes caused votes for President Trump to be changed to
           votes for Vice President Biden. . . . [T]he closest Plaintiffs get to alleging that
           physical ballots were altered in such a way is the following statement in an election
           challenger’s sworn affidavit: “I believe some of these workers were changing votes
           that had been cast for Donald Trump and other Republican candidates.” But of
           course, “[a] belief is not evidence” and falls far short of what is required to obtain
           any relief, much less the extraordinary relief Plaintiffs request. . . . With nothing
           but speculation and conjecture that votes for President Trump were destroyed,
           discarded or switched to votes for Vice President Biden, Plaintiffs’ equal protection
           claim fails.

  King, 2020 WL 7134198 *12-13 (internal citations omitted).

  “I have never advocated that anyone should break the law. I’ve advocated for people to
  follow the law.” Ex. K at 15.

           As set forth above, Mr. Wood encouraged the conduct of individuals who committed

  federal offenses by breaking into the Capitol to unseat our duly elected representatives and prevent

  the counting of electoral college votes and the peaceful transfer of power. As of the date of this

  brief, over 100 people have been arrested and so charged with the FBI investigating hundreds




  4
    Similarly, an Arizona state court found after a trial in another election case that there was “no misconduct, no fraud,
  and no effect on the outcome of the election,” Ward v. Jackson, CV 2020-015285, at 8 (Maricopa Co. Supr. Ct. Dec.
  4, 2020), https://www.clerkofcourt.maricopa.gov/Home/ShowDocument?id=1930, in a ruling that was unanimously
  affirmed by an en banc panel of the Arizona Supreme Court, No. CV-20-0343 (Az. Dec. 8, 2020),
  https://embed.documentcloud.org/documents/20421492-arizona-supreme-cv-20-0343-decision-
  order/?embed=1&title=1.
  5
    The Court in the Michigan case did not have an opportunity to rule on the Defendants’ motion to dismiss because
  the Plaintiffs voluntarily dismissed their complaint on January 14, 2021 while that motion was pending.

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       Case 1:21-cv-01169-TCBDocument
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  more. Ex. Z at 1. By calling for the execution of the Vice President, Mr. Wood is also urging his

  followers to break the law.

          An attorney’s lack of candor is a sufficient ground, standing alone, to revoke his pro hac

  vice admission. Pintur, 2017 WL 5565620, at *6. Mr. Wood’s false statements to this Court

  should deprive him of the privilege of practicing before it.

                                         III. CONCLUSION

          The Court should grant Defendant’s motion to revoke the pro hac vice admission of L. Lin

  Wood.

  Dated: Montclair, New Jersey
         January 25, 2021

                                                JOHNREICHMANLAW LLC


                                                By:    s/ John Reichman
                                                John H. Reichman
                                                David Yeger, Of Counsel
                                                56 Oakwood Avenue
                                                Montclair, New Jersey 07043
                                                (917) 626-8025
                                                john@johnreichmanlaw.com
                                                david@yegeresq.com

                                                -and-

                                                GIBSON, DUNN & CRUTCHER LLP
                                                Theodore J. Boutrous Jr.
                                                Marcellus A. McRae
                                                Marissa Moshell
                                                333 S. Grand Avenue
                                                Los Angeles, California 90071
                                                (213) 229-7000
                                                TBoutrous@gibsondunn.com
                                                MMcRae@gibsondunn.com
                                                MMoshell@gibsondunn.com

                                                Attorneys for Defendant Joy Reid



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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ROSLYN LA LIBERTE,                                      Case No.: 1:18-cv-05398-DLI-VMS

                                    Plaintiff,           NOTICE OF MOTION

                    - against -

 JOY REID,

                                    Defendant.

        PLEASE TAKE NOTICE, that upon the Declaration of John H. Reichman, dated January

 25, 2020, and the exhibits annexed thereto, and the Memorandum of Law in Support, dated January

 25, 2020, defendant Joy Reid, by and through her undersigned counsel, will move this Court, at

 the United States District Court for the Eastern District of New York, located at 225 Cadman Plaza

 East, Brooklyn, New York 11201, at a date and time to be designated by this Court, for an Order:

 (i) revoking the pro hac vice admission of plaintiff’s counsel L. Lin Wood; and (ii) granting such

 other and further relief as is right and proper.

 Dated: Montclair, New Jersey
        January 25, 2021

                                                 JOHNREICHMANLAW LLC


                                                 By:    s/ John Reichman
                                                     John H. Reichman
                                                     David Yeger, Of Counsel
                                                 56 Oakwood Avenue
                                                 Montclair, New Jersey 07043
                                                 (917) 626-8025
                                                 john@johnreichmanlaw.com
                                                 david@yegeresq.com

                                                 -and-

                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 Theodore J. Boutrous Jr.
                                                 Marcellus A. McRae

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                                          Marissa Moshell
                                          333 S. Grand Avenue
                                          Los Angeles, California 90071
                                          (213) 229-7000
                                          TBoutrous@gibsondunn.com
                                          MMcRae@gibsondunn.com
                                          MMoshell@gibsondunn.com

                                          Attorneys for Defendant Joy Reid


 To:   David M. Olasov
       Olasov LLP
       485 Madison Avenue, 7th Fl.
       New York, New York 10022
       (212) 588-0540
       dolasov@olasov.com

       -and-

       L. Lin Wood (Admitted Pro Hac Vice)
       L. Lin Wood, P.C.
       1180 West Peachtree Street, Ste. 2040
       Atlanta, Georgia 30309
       (404) 891-1402
       lwood@linwoodlaw.com

       Attorneys for Plaintiff




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ROSLYN LA LIBERTE,                                           Case No.: 1:18-cv-05398-DLI-VMS

                                         Plaintiff,            DECLARATION IN SUPPORT OF
                                                               DEFENDANT’S MOTION TO
                       - against -                             REVOKE THE PRO HAC VICE
                                                               ADMISSION OF L. LIN WOOD
  JOY REID,

                                         Defendant.

          JOHN H. REICHMAN declares under penalty of perjury and pursuant to 28 U.S.C. § 1746,

  as follows:

          1.       I am a member of Johnreichmanlaw LLC, attorneys for Defendant Joy Reid, along

  with Gibson, Dunn & Crutcher LLP. I submit this declaration in support of Defendant’s motion

  to revoke the pro hac vice admission of L. Lin Wood, one of Plaintiff’s attorneys (the “Motion”).

          2.       The legal arguments supporting this application are set forth in the accompanying

  Memorandum of Law. In this Declaration, I set out the factual support for the Motion. The

  documents attached hereto are all a matter of public record.

  Background

          3.       Mr. Wood’s motion for admission pro hac vice was granted at the outset of this

  case on October 11, 2018. Order at 10/11/18. At the time, two of Mr. Wood’s former partners

  also moved for and were granted pro hac vice admission. Id.

          4.       Mr. Wood’s former partners subsequently withdrew from this action. Dkt. 42.

  They also sued Mr. Wood for fraud, among other claims for relief.1




  1
   Annexed hereto as Exhibit A is a true and correct copy of the verified complaint filed by Mr. Wood’s law partners
  on August 31, 2020.


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      Case 1:21-cv-01169-TCBDocument
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                                                                        of 1677#: 1093




          5.       Mr. Wood has had scant personal involvement in the case. One of his former

  partners was primarily responsible for opposing Defendant’s motion to dismiss and successfully

  arguing the appeal of that dismissal in the Second Circuit. Mr. Wood did not participate in any of

  the attorney conferences regarding scheduling and discovery prior to the January 11 conference—

  Defendant’s counsel was repeatedly informed that Mr. Wood was too busy attending to his election

  lawsuits to participate in this action.

  Mr. Wood’s Posts Regarding the Election and Insurrection

          6.       The accompanying Memorandum of Law argues that Mr. Wood’s pro hac vice

  admission should be revoked because, among other things, he has acted and is acting to subvert

  the United States Constitution2 and the rule of law, violated his ethical obligations under the New

  York Rules of Professional Conduct (“RPC”) and the New York Constitution, violated Federal

  Rule of Civil Procedure 11 and RPC 3.1, falsely attacked the Chief Justice of the United States

  Supreme Court, has recently been disciplined in another state court, and made misrepresentations

  to this Court. We submit the following in support of this proposition.

          7.       On December 2, 2021, Mr. Wood led a rally in Georgia, where he called for the

  imprisonment of the Georgia Governor and Secretary of State for carrying out their duty of

  counting Georgia’s votes in the presidential election.3 He instructed those present to “go to the

  [Georgia] Governor’s mansion” and “circle it” to force the Georgia legislature into a special

  session.

          8.       Mr. Wood had 1.1 million Twitter followers before he was banned from Twitter.

  He used Twitter to claim that the 2020 election was fraudulent; then-President Elect Biden “stole”


  2
    Annexed hereto as Exhibit AA is a true and correct copy of the “Oath on Admission” attorneys must take to practice
  in federal court.
  3
     A true and correct copy of the video where Mr. Wood made these statements can be found here:
  https://www.youtube.com/watch?v=ep1yCTpMJvc (last visited January 22, 2021).


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  the 2020 election; and then President Trump should declare martial law to remain in power.4 The

  following are some examples of his social media posts5:




  4
      Annexed hereto as Exhibit B is a true and correct copy of a January 17, 2021 article from The Washington Post.
  5
      Because Twitter has suspended Mr. Wood’s account, the public no longer has access to all of Mr. Wood’s tweets.


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                                                                        of 1677#: 1095




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      Case 1:21-cv-01169-TCBDocument
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                                                                        of 1677#: 1096




          9.      On January 1, 2021, Mr. Wood tweeted that then-Vice President Pence should face

  arrest and “execution by firing squad”:




          10.     On January 6, 2021, when the Capitol was under siege, Mr. Wood posted the

  following tweets throughout the day. At 11:23 a.m., he tweeted6:




  6
    Annexed hereto as Exhibit C is a true and correct copy of a January 12, 2021 article from The New York Times
  establishing the timeline with respect to the siege of the Capitol.


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         11.     At 11:57 a.m., when the mob was gathering for its eventual assault on the Capitol,

  Mr. Wood tweeted:




         12.     At 12:47 p.m., as individuals were poised to breach the Capitol, Mr. Wood tweeted

  that the Vice President was a traitor for attempting to perform his constitutional duties:




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                                                               7 of 809
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                                                                        of 1677#: 1098




             13.     As the siege of the Capitol was ongoing, Mr. Wood tweeted to his 1.1 million

  followers, encouraging them to occupy the Capitol and fight for President Trump:




             14.     The social media account of Ashli Babbitt, a woman killed on January 6 when she

  tried to invade the House chamber, demonstrates that she followed Mr. Wood on Twitter and often

  retweeted his posts.7 Ms. Babbitt’s final tweet before her death was a retweet of one of Mr. Wood’s

  posts on the day of the insurrection. The tweet contained what Mr. Wood deemed his “MUST BE

  DONE LIST”:



  7
      Annexed hereto as Exhibit D is a true and correct copy of a January 6, 2021 article from Law&Crime.


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          15.      Many prominent right wing conspiracy groups who were part of the mob at the

  Capitol have voiced their support for Mr. Wood, including the “Three Percenters” 8 and QAnon.9

  The Three Percenters posted a short manifesto expressing their preparedness “‘to take back our

  country from the pure evil that is conspiring to steal our country away from the American people.’”

  Ex. F at 5. That statement praised Mr. Wood as an “inspirational figure[] in th[at] looming battle.”

  Id.

          16.      At the insurrection, the Three Percenters raised their “Release the Kraken” flag,

  shown below, which is a reference to comments made by Mr. Wood and his co-counsel in the

  election litigations, Sidney Powell.10 Ms. Powell and Mr. Wood are known as the “‘Kraken’

  lawyers.”11




  8
    Annexed hereto as Exhibit E is a true and correct copy of a January 9, 2021 article from The Guardian. Annexed
  hereto as Exhibit F is a true and correct copy of a January 9, 2021 article from The Washington Post.
  9
    Annexed hereto as Exhibit G is a true and correct copy of a November 24, 2020 article from CBS News.
  10
      A true and correct copy of the video where Mr. Wood references the “Kraken” can be found here:
  https://www.youtube.com/watch?v=TaiL4KZOGRI (last visited January 22, 2021).
  11
     Annexed hereto as Exhibit H is a true and correct copy of a January 10, 2021 article from BBC News.


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                                                               9 of 811
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             17.      In the wake of the Capitol siege, Mr. Wood claimed Antifa and Black Lives Matter

  were responsible for the insurrection12:




             18.      In one instance, Mr. Wood posted a photograph of a man named Josiah Colt,

  suggesting he was not a supporter of then-President Trump:




  12
       Annexed hereto as Exhibit HH is a true and correct copy of a January 23, 2021 article from The New Yorker.


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                                                                     18 PageID
                                                                        of 1677#: 1101




          19.      Mr. Colt, a Trump supporter, confirmed he was the man in the photograph and

  sitting in Vice President Pence’s chair in the Senate.13

          20.      Mr. Wood also tweeted a photo of Jake Angeli, see supra, ¶ 17, the “QAnon

  Shaman” who occupied the Senate floor.14 Mr. Wood claimed Angeli was part of Antifa, writing

  “Indisputable photographic evidence that antifa violently broke into Congress today. . . .” Id.

          21.      Mr. Wood repeated his claims about Antifa to this Court at the January 11, 2021

  conference.15

          22.      Mr. Wood’s Twitter account was terminated on Thursday, January 7. One of his

  final tweets accused Vice President Pence of being a “TRAITOR, a Communist Sympathizer & a

  Child Molester”:




          23.      Following his Twitter suspension, Mr. Wood turned to the social media sites Parler

  and Telegram to communicate with his followers. On Thursday, January 7, Mr. Wood posted the

  following on Parler:




  13
     Annexed hereto as Exhibit I is a true and correct copy of a January 13, 2021 article from CNN.
  14
     Annexed hereto as Exhibit J is a true and correct copy of a January 17, 2021 article from The New Yorker. A true
  and correct copy of the video accompanying the article can be found here: https://www.newyorker.com/news/video-
  dept/a-reporters-footage-from-inside-the-capitol-siege (last visited January 22, 2021).
  15
     Annexed hereto as Exhibit K is a true and correct copy of the transcript of the hearing on January 11, 2021.


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                                                          PagePage
                                                               11 of813
                                                                     18 PageID
                                                                        of 1677#: 1102




          24.      This call for the execution of the Vice President was directed toward user feeds

  nearly three million times16 and was viewed at least 788,000 times.17 According to Fox News, Mr.

  Wood is being investigated by the United States Secret Service concerning his death threats against

  Mr. Pence.18

          25.      Mr. Wood has remained active on social media, primarily through Telegram, to this

  day:




  16
     Annexed hereto as Exhibit L is a true and correct copy of a January 7, 2021 article from The Washington Post.
  17
     Annexed hereto as Exhibit M is a true and correct copy of a January 9, 2021 article from The New York Times.
  18
     Annexed hereto as Exhibit MM is a true and correct copy of a January 10, 2021 article from Fox News.


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                                                                        of 1677#: 1103




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       Case 1:21-cv-01169-TCBDocument
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                                                               14 of816
                                                                     18 PageID
                                                                        of 1677#: 1105




  Mr. Wood’s Frivolous Filings in Numerous Courts

          26.      After the presidential election, Mr. Wood and his co-counsel, Sidney Powell, filed

  four lawsuits in swing states, Georgia, Wisconsin, Arizona, and Michigan, where they claimed

  voter fraud and sought to overturn the election results. See Feehan v. Wisc. Elections Comm’n,

  No. 20-cv-1771, 2020 WL 7250219 (E.D. Wis. Dec. 9, 2020)19; Bowyer v. Ducey, No. 20-cv-



  19
    Annexed hereto as Exhibit N is a true and correct copy of the complaint filed by Mr. Wood in the Eastern District
  of Wisconsin, Feehan v. Wisc. Elections Comm’n, No. 20-cv-1771, seeking to overturn the election results in


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       Case 1:21-cv-01169-TCBDocument
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                                                               15 of817
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                                                                        of 1677#: 1106




  02321, 2020 WL 7238261 (D. Az. Dec. 9, 2020); Pearson v. Kemp, No. 1:20-cv-4809, 2020 WL

  7040582 (N.D. Ga. Dec. 7, 2020)20; King v. Whitmer, No. 20-cv-13134, 2020 WL 7134198 (E.D.

  Mich. Dec. 7, 2020).21 Each of these cases was dismissed. Mr. Wood also filed a pro se action in

  Georgia, in which the district court denied his motion for a temporary restraining order. L. Lin

  Wood Jr. v. Raffensperger, No. 1:20-cv-04651, 2020 WL 6817513 (N.D. Ga. Nov. 20, 2020).22

  The pleadings, oral arguments, and court decisions in these and other election cases are catalogued

  by the Moritz College of Law at Ohio State University.23 The Michigan action led to sanctions

  motions being filed against Mr. Wood. The City of Detroit’s motion sought Mr. Wood’s

  disbarment and disqualification.24

           27.      In Page v. Oath, Inc., the Superior Court of Delaware sua sponte issued a “Rule to

  Show Cause” with respect to whether Mr. Wood’s pro hac vice status should be revoked because

  of his role in the Wisconsin action and the pro se lawsuit in Georgia.25 After providing Mr. Wood




  Wisconsin (the “Wisconsin Action”). Annexed hereto as Exhibit O is a true and correct copy of the decision
  dismissing the Wisconsin Action.
  20
     Annexed hereto as Exhibit P is a true and correct copy of the complaint Mr. Wood filed in the Northern District of
  Georgia, Pearson v. Kemp, No. 1:20-cv-4809, seeking to overturn the election results in Georgia (the “Georgia
  Action”). Annexed hereto as Exhibit Q is a true and correct copy of the decision dismissing the Georgia Action.
  21
     Annexed hereto as Exhibit R is a true and correct copy of the complaint filed by Mr. Wood in the Eastern District
  of Michigan, King v. Whitmer, No. 20-cv-13134, seeking to overturn the election results in Michigan (the “Michigan
  Action”). Annexed hereto as Exhibit S is a true and correct copy of the decision denying Plaintiffs relief in the
  Michigan Action.
  22
     Annexed hereto as Exhibit T is a true and correct copy of the complaint Mr. Wood filed pro se in Georgia, L. Lin
  Wood Jr. v. Raffensperger, No. 20-cv-4651, seeking to overturn the election results in Georgia (the “Georgia Pro Se
  Action”). Annexed hereto as Exhibit U is a true and correct copy of the decision denying Plaintiffs relief in the
  Georgia Pro Se Action.
  23
        A true and correct link to the election case database at Ohio State University can be found here:
  https://electioncases.osu.edu/case-tracker/?sortby=filing_date_desc&keywords=&status=all&state=all&topic=25
  (last visited January 23, 2021).
  24
     Annexed hereto as Exhibit V is a true and correct copy of the City of Detroit’s motion for sanctions, disqualification,
  and disbarment of Mr. Wood filed in the Michigan Action.
  25
     Annexed hereto as Exhibit W is a true and correct copy of the Order issued by the Superior Court of Delaware in
  Page v. Oath, Inc., No. S20C-07-030, for Mr. Wood to show cause why he should not be disqualified from practicing
  law in a pending Delaware action (the “Delaware Action”).


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       Case 1:21-cv-01169-TCBDocument
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  with an opportunity to respond to its show cause order, the Superior Court in Delaware revoked

  his pro hac vice status.26

  Mr. Wood’s False Attacks on Chief Justice John Roberts

          28.      As set forth in the accompanying memorandum of law, Mr. Wood has repeatedly

  falsely attacked Chief Justice John Roberts on social media.

          29.      Mr. Wood has stated that the Chief Justice arranged the “illegal adoptions” of two

  children through Jeffrey Epstein. See Ex. Y at 4.

          30.      Mr. Wood linked the Chief Justice with the death of Justice Scalia and with

  pedophilia. See id. at 3-4.

          31.      Mr. Wood asked if the Chief Justice was a member of any “club or cabal requiring

  minor children as an initiation fee” in the following tweets27:

          A couple of more questions for Chief Justice John Roberts:
          (1) You are recorded discussing Justice Scalia’s successor before date of his
          sudden death. How did you know Scalia was going to die?
          (2) Are you a member of any club or cabal requiring minor children as initiation
          fee? pic.twitter.com/jGxfgLCk4D
          — Lin Wood (@LLinWood) December 31, 2020

          I have linked Roberts to illegal adoption, Jeffrey Epstein, pedophilia & prior
          knowledge of Scalia’s death.
          — Lin Wood (@LLinWood) December 31, 2020

          32.      In another tweet, Mr. Wood implied that the Chief Justice said, during a phone call

  in August, that President Trump is a “m-----f-----” who could not be allowed to have another term:




  26
     Annexed hereto as Exhibit X is a true and correct copy of the Order issued in the Delaware Action revoking Mr.
  Wood’s pro hac vice admission in Delaware.
  27
     Annexed hereto as Exhibit Y is a true and correct copy of a December 31, 2020 article from The Daily Beast.


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       Case 1:21-cv-01169-TCBDocument
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                                                                        of 1677#: 1108




         33.    Mr. Wood alleged that the Chief Justice was being blackmailed, including in the

  tweets below, which were retweeted by Ashli Babbitt shortly before her death at the Capitol:




         34.    Mr. Wood’s attacks on Justice Roberts have continued to this day via the social

  media website Telegram:




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       Case 1:21-cv-01169-TCBDocument
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                                                                         of 1677 #: 1110




                 EXHIBIT A




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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

   NICOLE WADE; JONATHAN GRUNBERG;
   TAYLOR WILSON;
   WADE, GRUNBERG & WILSON, LLC;

   Plaintiffs,
                                                                                  2020CV339937
                                                           Civil Action File No:______________
   v.
                                                           JURY TRIAL DEMANDED
   L. LIN WOOD and L. LIN WOOD, P.C.,

   Defendants.



                                      VERIFIED COMPLAINT

           COME NOW Nicole Wade, Jonathan Grunberg, Taylor Wilson, and Wade, Grunberg &

   Wilson, LLC (collectively, “Plaintiffs”), and file this their Verified Complaint against

   Defendants L. Lin Wood and L. Lin Wood, P.C. (collectively, “Defendants”), showing the Court

   as follows:

                                          INTRODUCTION

                                                   1.

           This lawsuit arises out of the breach of a Settlement Agreement and General Release

   executed by the Parties on March 17, 2020 (the “Settlement Agreement”). A true and correct

   copy of the Settlement Agreement is attached hereto as Exhibit A. 1




   1
     Certain portions of the Settlement Agreement have been redacted for client confidentiality
   purposes, including the liquidated sum owed to Plaintiffs under the Settlement Agreement.
   Contemporaneous with serving this Complaint, Plaintiffs are serving discovery upon Defendants
   and third parties to allow for the disclosure of the liquidated sum. Plaintiffs will promptly amend
   the Complaint to provide the liquidated sum as soon as permitted.
                                                   1

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       Case 1:21-cv-01169-TCB
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                                                            Page
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                                                   2.

           The parties to the Settlement Agreement are all attorneys who practiced law successfully

   together in the firm of L. Lin Wood P.C. (hereinafter “LLW PC”) for a number of years, working

   on many cases together, including each of the cases identified in the Settlement Agreement.

                                                   3.

           In early 2020, due to the erratic, abusive, and unprofessional behavior of Defendant L.

   Lin Wood (hereinafter “Wood”) as described herein, Plaintiffs sought to leave Defendant LLW

   PC and entered into the Settlement Agreement rather than litigate – and despite – the issues

   described herein. Indeed, Plaintiffs Wade, Grunberg, and Wilson made significant financial

   concessions in the Settlement Agreement, despite having no legal obligation to do so,

   specifically to avoid filing this lawsuit in favor of protecting the privacy of Defendant Wood and

   various third parties.

                                                   4.

           Pursuant to the Settlement Agreement, Defendants owe Plaintiffs a liquidated sum arising

   from the fees for certain cases and eventual resolution of other business disputes as set forth in

   the Settlement Agreement.

                                                   5.

           The amount owed to Plaintiffs is owed by Defendants out of fees they have already

   collected from clients for work performed by Plaintiffs when they were lawyers at LLW PC;

   thus, enforcement of Defendants’ payment obligations under the Settlement Agreement does not

   require clients to pay fees beyond those paid to Defendants. And, indeed, it does not involve

   clients at all.




                                                   2

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       Case 1:21-cv-01169-TCB
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                                                                         of 1677 #: 1113




                                                   6.

           Defendants have failed to honor the terms of the Settlement Agreement and further

   advised Plaintiffs that they will not make the payment required by the Settlement Agreement.

                                                   7.

           Defendants’ stated position for breaching the Settlement Agreement is that the individual

   Plaintiffs “were not in Lin’s firm [LLW PC] at any time relevant” to the cases addressed in the

   Settlement Agreement but only “shared office space and worked on cases with LLW PC” and,

   thus, client consent is required to split fees with said Plaintiffs, pursuant to Georgia Rule of

   Professional Conduct 1.5.

                                                   8.

           Defendants’ position that Plaintiffs Wade, Grunberg, and Wilson were never associated

   with Defendant LLW PC is apparently based solely on the fact that each Plaintiff received his or

   her compensation from Defendant LLW PC via separate LLCs, each owned only by the

   individual Plaintiffs, for which Defendants issued 1099s rather than W-2s, which is not only

   irrelevant to the issue, but also was an act taken by Defendants solely in their own discretion for

   the apparent purpose of not having to account for taxes on compensation paid to Plaintiffs Wade,

   Grunberg, and Wilson, who were required to account for their own income taxes via separate

   LLCs.

                                                   9.

           Defendants have taken this position to avoid payment of the largest fee identified in the

   Settlement Agreement – the one case which, because of the size of its fee, was the primary

   motivation for the parties to enter into the Settlement Agreement (the “Disputed Case”).

   Defendants were at the time of the Settlement Agreement and remain to this day lead counsel on



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       Case 1:21-cv-01169-TCB
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   this case. Defendants now contend that this client has refused consent for Plaintiffs Wade,

   Grunberg, and Wilson to be paid the fee split Defendants agreed to in the Settlement Agreement

   – even though the entire fee has already been paid to Defendant LLW PC, and the division of

   compensation between the former lawyers of LLW PC should not involve clients in any way.

                                                   10.

          The bad faith of Defendants’ position is plain from every fact attendant to the parties’

   relationship and practice of law. For instance, Defendants acknowledged Wade’s, Grunberg’s,

   and Wilson’s status as lawyers and partners of Defendant LLW PC by:

          (a) Creating, or causing to be created, Defendant LLW PC’s website, which identified

             Wade, Grunberg, and Wilson as partners of LLW PC;

          (b) Making public announcements via the Fulton County Daily Report, the State Bar

             Journal, and other publications regarding each individual Plaintiff’s hiring and/or

             promotion to partners of Defendant LLW PC;

          (c) Allowing and directing countless representations to be made to many courts, both

             federal and state, that each individual Plaintiff was a member of Defendant LLW PC

             by virtue of every filing by any of the individual Plaintiffs and every hearing, trial,

             deposition, mediation, and/or arbitration attended by any individual Plaintiff;

          (d) Drafting, or causing to be drafted, countless engagement agreements entered into by

             Defendant LLW PC wherein one or more of the individual Plaintiffs were identified

             as lawyers of LLW PC who would be working on that client’s matter;

          (e) Providing to the individual Plaintiffs business cards identifying each individual

             Plaintiff as an attorney of LLW PC;




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       Case 1:21-cv-01169-TCB
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          (f) Providing each of the individual Plaintiffs with email addresses at LLW PC’s domain

              “linwoodlaw.com”;

          (g) Making countless introductions in court, in depositions, to clients, and to third parties

              of each of the individual Plaintiffs as “Partners” of LLW PC;

          (h) Drafting countless emails, texts, tweets, and conversations over a period of years

              acknowledging and holding out the individual Plaintiffs as “Partners” of Wood and

              LLW PC; and

          (i) Expressly acknowledging in the Settlement Agreement that Plaintiffs Wade,

              Grunberg, and Wilson “never held any ownership interest in L. Lin Wood, P.C.

              (hereinafter “LLW PC”) but have worked as lawyers of L. Lin Wood, P.C. on cases

              since 2018.”

                                                  11.

          Thus, despite the avalanche of evidence to the contrary and their agreement in the

   Settlement Agreement, Defendants now apparently contend that Plaintiffs Wade, Grunberg, and

   Wilson were not “associated in a law firm” with Defendant Wood.

                                                  12.

          It is now clear that Defendants committed fraud because they never intended to pay the

   majority of the money they owe to Plaintiffs under the Settlement Agreement. Defendants’

   fraudulent intent is evidenced in their first draft of the Settlement Agreement which contained a

   false recital that was a poison pill, as it mirrors Defendants’ now-stated reason for breaching the

   contract: “Nicole Wade, Jonathan Grunberg, and Taylor Wilson and L. Lin Wood, P.C. are

   lawyers who practiced law, co-counseled cases, and shared office space together.”




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       Case 1:21-cv-01169-TCB
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                                                   13.

          The Parties heavily negotiated Defendants’ false recital about Plaintiffs Wade, Grunberg,

   and Wilson working as partners of Defendant LLW PC, ultimately resulting in the statement that

   Plaintiffs “have worked as lawyers of L. Lin Wood, P.C. on cases since 2018.” (Ex. A emphasis

   added). The attention Defendants cast on this detail reveals their fraudulent intent.

                                                   14.

          Defendants’ breach of contract was premeditated; Defendant Wood never intended to

   make the payment required by the Settlement Agreement as he has repeatedly sworn since

   February 10, 2020 and as quoted herein.

                                                   15.

          Defendants’ bad faith in entering into a contract under which they never intended to

   perform, as shown herein, demonstrates that they fraudulently induced Plaintiffs to enter into the

   Settlement Agreement so that they could exact financial concessions from Plaintiffs for which

   Plaintiffs had no legal liability in exchange for finally obtaining Defendants’ false promise to pay

   to Plaintiffs a larger sum, to which they were entitled, which Defendants never ultimately

   intended to pay.

                             PARTIES, JURISDICTION AND VENUE

                                                   16.

          Plaintiff Nicole Wade (“Wade”) is a citizen and resident of the State of Georgia.

                                                   17.

          Plaintiff Jonathan Grunberg (“Grunberg”) is a citizen and resident of the State of

   Georgia.




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       Case 1:21-cv-01169-TCB        64-1
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                                                              Page    72 PageID
                                                                         of 1677 #: 1117




                                                    18.

          Plaintiff Taylor Wilson (“Wilson”) is a citizen and resident of the State of Georgia.

                                                    19.

           Plaintiff Wade, Grunberg & Wilson, LLC (“WGW LLC”) is a limited liability company

   registered to transact business in the State of Georgia. Its principal place of business is located in

   Fulton County, Georgia 30309. Its only members are Plaintiffs’ individual LLCs: Wade Law,

   LLC, J.D. Grunberg, LLC, and G. Taylor Wilson, LLC, each a single member Georgia limited

   liability company, owned solely by the individual Plaintiff identified in the LLC name.

                                                    20.

          Defendant L. Lin Wood (“Wood”) is a citizen of the State of Georgia and a resident of

   Fulton County, Georgia and may be served at his residence at



                                                    21.

          Defendant L. Lin Wood P.C. (“LLW PC”) is a professional corporation registered to

   transact business in Georgia. L. Lin Wood, P.C. may be served through its Registered Agent, L.

   Lin Wood, 1180 West Peachtree Street, Suite 2040, Atlanta, Fulton County, Georgia 30309. Its

   only shareholder is individual Defendant Lin Wood.

                                                    22.

          Pursuant to O.C.G.A. § 15-6-8 and GA. CONST. art. VI, § 4, ¶ I, this Court has

   jurisdiction over this action and over Defendant Wood, a resident in Fulton County, Georgia, and

   Defendant LLW PC, a corporation operating in Fulton County and whose registered agent is

   located in Fulton County, Georgia.       All actions giving rise to the basis of this Complaint




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       Case 1:21-cv-01169-TCB
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   occurred in Fulton County, Georgia, and pursuant to O.C.G.A. §14-2-510(b)(4), venue is proper

   in this Court.

                                      STATEMENT OF FACTS

                           Detailed Facts Pertinent to Breach of Contract

                    Background of Plaintiffs’ Association with Defendant LLW PC

                                                   23.

          Plaintiffs Wade, Grunberg, Wilson, and Defendant Wood are lawyers who are licensed to

   practice law in the State of Georgia.

                                                   24.

          In or around September 2014, Plaintiff Grunberg was hired as an associate – a W-2

   employee – by Defendant LLW PC when Wood’s former firm, Wood, Hernacki & Evans, LLC

   disbanded.

                                                   25.

          In May 2015, Plaintiff Wade joined LLW PC as a Partner.

                                                   26.

          Effective May 2015, Plaintiff Wade and Defendant LLW PC entered into an agreement

   titled “Agreement for Nicole Jennings Wade to Join L. Lin Wood, P.C.” with a term sheet

   providing, in material part, that “Nicole will join L. Lin Wood, P.C. between May 11, 2015 and

   June 15, 2015,” that “Nicole will agree to work full-time and exclusively for L. Lin Wood, P.C.,”

   that she will join “L. Lin Wood, P.C. as a ‘Partner,’” and that “[t]he structure, and Nicole’s

   partnership, will be re-evaluated, and potentially re-negotiated, after one year.”




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        Case 1:21-cv-01169-TCB
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                                                  27.

          Defendants’ hiring of Wade as a partner was announced in the Fulton County Daily

   Report (the “Daily Report”), stating as follows: “Trial law firm L. Lin Wood, P.C. has added

   Nicole Jennings Wade as a partner from Bryan Cave—the fourth lawyer for the firm. Wade

   handles fiduciary, trust and estate, and general business litigation. Until now, she had practiced

   at Bryan Cave and predecessor firm Powell Goldstein for her 20-year legal career.”

                                                  28.

          Defendants also arranged for an email blast from the Daily Report as follows:




                                                  29.

          Plaintiff Wilson was hired as an associate – a W-2 employee – by Defendant LLW PC in

   November of 2015.



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                                                 30.

           Following Wilson’s arrival in November 2015, LLW PC operated as a law firm with 4

   lawyers – Defendant Wood and Plaintiffs Wade, Grunberg, and Wilson – until January/February

   2020.

                                                 31.

           In early 2018, Defendant Wood indicated his intent to begin practicing law alone as the

   sole lawyer of Defendant LLW PC.

                                                 32.

           At that time, Defendant Wood began looking for office space for himself and one non-

   attorney employee.

                                                 33.

           In light of Defendant Wood’s stated intention, Plaintiffs Wade, Grunberg, and Wilson

   formed WGW LLC.

                                                 34.

           WGW LLC agreed to hire the other non-attorney employee of LLW PC who Defendant

   Wood did not plan to keep at LLW PC.

                                                 35.

           Plaintiffs Wade, Grunberg, and Wilson also began searching for office space, and with

   Defendant Wood’s knowledge and approval, they employed Defendants’ own real estate brokers

   to canvas for space.




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        Case 1:21-cv-01169-TCB
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                                                                              1677 #: 1121




                                                   36.

          During this time, Plaintiffs Wade, Grunberg, and Wilson had numerous discussions with

   Defendant Wood in which they sought his advice about the formation and structure of WGW

   LLC.

                                                   37.

          For example, Plaintiff Wade specifically discussed with Defendant Wood the anticipated

   compensation structure of WGW LLC, and he provided his opinion on that issue.

                                                   38.

          Defendant Wood indicated that he planned to continue to work with Plaintiffs’ new firm

   as he anticipated that the individual Plaintiffs would continue doing the same work for

   Defendants’ clients that they had been doing.

                                                   39.

          Indeed, the individual Plaintiffs had lengthy written and oral discussions about Defendant

   Wood potentially serving as “of counsel” at Plaintiff WGW LLC, and Plaintiff Wilson undertook

   research regarding whether Defendant Wood could ethically practice with two different law

   firms, and determined that he could by express authority of the Georgia Bar via advisory

   opinion.

                                                   40.

          In or around April 2018, Defendant Wood changed his mind and elected to keep

   Defendant LLW PC together with Plaintiffs Wade, Grunberg, and Wilson continuing as

   attorneys of Defendant LLW PC.




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                                                    41.

          Effective May 1, 2018, Defendants promoted Plaintiffs Grunberg and Wilson to non-

   equity partners of Defendant LLW PC and announced their promotions to partner via the Daily

   Report and the Georgia Bar Journal as follows:




                                                    42.

          Plaintiffs Wade, Grunberg, and Wilson then abandoned Plaintiff WGW LLC, which

   never operated prior to their departure from Defendant LLW PC in February 2020.

                                                    43.

          Defendant Wood changed his office space search to find space sufficient for Defendant

   LLW PC to continue operating with four lawyers and two assistants, and in July 2018, Defendant

   LLW PC ultimately signed a lease at 1180 W. Peachtree St. NE, Suite 2040, Atlanta, GA 30309

   (the “Lease”).




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        Case 1:21-cv-01169-TCB
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                                                             Page
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                                                                  14 of834
                                                                        72 of
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                                                   44.

          At Defendant Wood’s instruction, Plaintiffs Wade, Grunberg, and Wilson executed the

   Lease on July 17, 2018, only as “Partners” of Defendant LLW PC. The Lease makes no mention

   of any of the Plaintiffs’ LLCs, and Plaintiffs did not execute personal guarantees.

                                                   45.

          Defendant LLW PC moved into the new office space at Suite 2040 in September of

   2018—along with its attorneys Defendant Wood and Plaintiffs Wade, Grunberg, and Wilson.

                                                   46.

          By the middle of 2019, Defendant Wood indicated that he planned to enter into semi-

   retirement at the beginning of 2020.

                                                   47.

          As part of his anticipated transition out of the practice of law, in late January 2020, Wood

   decided to re-brand Defendant LLW PC as a partnership named Wood, Wilson, Grunberg &

   Wade (“WWG&W”).

                                                   48.

          Defendants publicly announced the formation of WWG&W on or about January 24, 2020

   in the Daily Report as follows:




                                                   13

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                                              1677 #: 1124




                                                49.

          Pursuant to Defendant Wood’s instruction, the receptionist began answering the office

   phone with “Wood, Wilson, Grunberg & Wade” on the morning of Monday, January 27, 2020.

                                                50.

          No written documentation was ever prepared or executed setting forth the relationships

   between the partners of WWG&W, and no paperwork regarding the entity was ever filed with

   the Georgia Secretary of State.

                                                51.

          Neither Defendants nor Plaintiffs ever filed any document in any court under the name

   and or firm WWG&W; and thus for every case that Plaintiffs Wade, Grunberg, and Wilson were

   actively litigating as of February 14, 2020, they were listed on the docket as attorneys of

   Defendant LLW PC.

                                                52.

          For reasons more fully described below, Plaintiffs Wade, Grunberg, and Wilson

   determined that they could no longer practice law with Defendant Wood and terminated their

   association with Defendants on Friday, February 14, 2020.


                                                 14

                                                                                    Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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         Individual Plaintiffs Were Non-Equity “Partners” of LLW PC After May 1, 2018

                                                     53.

           Upon information and belief, Defendant Wood always has been the sole member of LLW

   PC.

                                                     54.

           At all times from May 1, 2018, until their departure on February 14, 2020 (hereinafter,

   the “relevant time period”), Plaintiffs Wade, Grunberg, and Wilson were held out as “Partners”

   of Defendant Wood, whether in the entity LLW PC or the rebranded WWG&W.

                                                     55.

           Throughout the relevant time period, the individual Plaintiffs received compensation for

   their work as lawyers and partners of LLW PC through their individual LLCs.

                                                     56.

           Irrespective of their titles, at all times during the relevant time period, Plaintiffs Wade,

   Grunberg, and Wilson were lawyers of LLW PC, including the rebranded firm WWG&W.

                                                     57.

           Throughout the relevant time period, Plaintiffs Wade, Grunberg, and Wilson were

   “associated with” Defendant LLW PC and Defendant Wood, including for the few weeks when

   the firm was rebranded as WWG&W..

                                                     58.

           Throughout the relevant time period, Defendant Wood referred to Plaintiffs Wade,

   Grunberg, and Wilson as his partners and as partners of LLW PC in court appearances, in

   depositions, to clients, to third parties, and in countless emails, texts, and tweets.




                                                     15

                                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                   59.

          During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson were identified

   on the website of LLW PC, at linwoodlaw.com, as “Partners.”

                                                   60.

          Screenshots of pages on linwoodlaw.com as of January 2020, show each of the individual

   Plaintiffs represented as Partners of LLW PC:




                                                   16

                                                                                    Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                  L. LIN WOOD, P.C.
                                                       TRIAL LAWYERS
                                                        (hnpsy/web arcmve.org/web/zuzoo1 1 71 8420alhnpwwwwIinwoodxawvcoml)




                                                                 Taylor Wilson practices complex civil litigation
                                                                 in both federal and state court. His principal
                                                                 areas of representation include business and
                                                                 commercial litigation in both contract and tort,
                                                                 False Claims Act cases, and actions for
                                                                 defamation and related First Amendment issues.
                                   Pam‘er
                                                                 He also has experience handling trademark
                                   Direct 678736541107
                                                                 infringement cases and a wide variety of
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                                                 61.

          During the relevant time period, Defendants provided to the individual Plaintiffs e-mail

   addresses at Defendants’ domain www.linwoodlaw.com.

                                                 62.

          During the relevant time period, Plaintiffs Wade’s, Grunberg’s, and Wilson’s

   @linwoodlaw.com e-mail addresses were their only professional e-mail addresses for

   corresponding with clients or any other purpose.

                                                 63.

          During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson each sent

   hundreds of emails to Defendant Wood with a signature block identifying themselves as

   “Partner” of “L. Lin Wood, P.C.”

                                                 64.

          During the relevant time period, Defendant Wood never told Plaintiffs Wade, Grunberg,

   or Wilson that identifying themselves as “Partner” of “L. Lin Wood, P.C.” was incorrect.

                                                 65.

          During the relevant time period, Defendants provided to the individual Plaintiffs business

   cards evidencing their association in the law firm of LLW PC, for example:




                                                  18

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                  66.

          During the relevant time period, Defendants filed countless court documents identifying

   the individual Plaintiffs as attorneys of LLW PC in the block identifying counsel. For example,

   in a pleading signed by Defendant Wood in December of 2019, the block stated:




                                                67.

          During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson and Defendant

   Wood maintained equal access to all current client files of Defendant LLW PC.

                                                 19

                                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                    68.

          During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson and Defendant

   Wood shared operating expenses, 25% each, including for, inter alia, office space lease, salary

   of a non-lawyer employee, file maintenance, website hosting, telephones, internet, cable,

   Westlaw, malpractice insurance for Defendant LLW PC, office supplies, copier/scanner,

   technical support, file storage and archiving, and other miscellaneous overhead expenses.

             Plaintiffs Wade, Grunberg, and Wilson Practiced Law Only for LLW PC

                                                    69.

          During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson practiced law as

   attorneys acting solely on behalf of Defendant LLW PC.

                                                    70.

          During the relevant time period, Defendant Wood originated the majority of the clients

   and business at Defendant LLW PC.

                                                    71.

          Any client originated by Plaintiffs Wade, Grunberg, or Wilson during the relevant time

   period executed an engagement agreement with Defendant LLW PC, was billed by LLW PC,

   and made payments to LLW PC.

                                                    72.

          At no time did WGW LLC, Wade LLC, Grunberg LLC, Wilson LLC, or Grunberg &

   Wilson LLC ever enter into an engagement agreement with a client, bill a client, collect fees

   from a client, or take any actions to represent a client during the relevant time period.




                                                    20

                                                                                               Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                   73.

          For example, while paragraph 1.A of the Settlement Agreement says of each of the

   clients in subparagraphs iv, v, and vi that he, she, or it “was and is the client of WGW,” (Ex. A.),

   this simply referred to who originated the client and/or would manage the client’s on-going

   matter. During the relevant time period: (1) each of those clients had an engagement agreement

   with Defendant LLW PC; (2) none of those clients had an engagement agreement with WGW

   LLC, Wade LLC, Grunberg LLC, Wilson LLC, or Grunberg & Wilson LLC; (3) Defendants

   were counsel of record for each of those clients; and (4) at least one of Wade, Grunberg, or

   Wilson were also counsel of record for those clients as attorneys of Defendant LLW PC.

                                                   74.

          During the relevant time period, every correspondence or court filing made by Plaintiffs

   Wade, Grunberg, and/or Wilson on behalf of a client was made in their capacities as attorneys of

   LLW PC—with the exception of several letters that may have been sent after January 24, 2020,

   bearing the letter head of the rebranded firm, WWG&W.

                                                   75.

          At all times during the relevant time period, Plaintiffs Wade, Grunberg, and Wilson never

   represented a client through any law firm other than Defendant LLW PC (or possibly its

   rebranded name WWG&W after January 24, 2020).

                                                   76.

          During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson never entered

   into an attorney engagement agreement to represent a client under a firm other than Defendant

   LLW PC (or possibly its rebranded name WWG&W after January 24, 2020).




                                                   21

                                                                                           Exhibit N
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        Case 1:21-cv-01169-TCB
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                                                    77.

           During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson never made an

   appearance in any case on behalf of any client under any firm name other than Defendant LLW

   PC.

             Individual Plaintiffs Performed Significant Work for All LLW PC Clients

                                                    78.

           During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson generated nearly

   all of the work product for the clients of Defendant LLW PC.

                                                    79.

           During the relevant time period, one or more of the individual Plaintiffs made an

   appearance on behalf of LLW PC in every proceeding in which Defendant LLW PC was counsel

   of record, in at least eight different states.

                                                    80.

           Indeed, as of February 14, 2020, Plaintiffs Wade, Grunberg, and/or Wilson originally

   authored every pleading, substantive motion, and brief prepared by LLW PC and filed with the

   court for the cases subject of the Settlement Agreement for which a lawsuit had been filed, all

   pursuant to Defendant Wood’s instruction and supervision, some of which were edited by

   Defendant Wood.

                                                    81.

           During the relevant time period, every hourly fee engagement entered into by and

   between Defendant LLW PC and any client specifically listed one or more of Plaintiffs Wade,

   Grunberg, or Wilson as attorneys of Defendant LLW PC who were expected to perform work on

   behalf of the client.



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                                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                                              1677 #: 1133




                                                 82.

           During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson communicated

   extensively with clients of LLW PC on whose cases they were working.

                                                 83.

           Specifically, the individual Plaintiffs communicated and worked with the clients for

   every case addressed in the Settlement Agreement, in some of those cases acting as the primary

   client contact.

                                     The Settlement Agreement

                                                 84.

           Within 48 hours of Plaintiffs’ departure from LLW PC, and before the individual

   Plaintiffs had even discussed re-activating WGW LLC, the Parties began negotiating a resolution

   of the issues arising from Plaintiffs’ separation from LLW PC.

                                                 85.

           On February 17, 2020, the Parties reached an agreement with respect to compensation to

   be paid on past and pending cases, which Defendant Wood subsequently reneged on – only to

   agree to the same fee split one month later when represented by counsel.

                                                 86.

           On March 17, 2020, Plaintiffs and Defendants entered into the global Settlement

   Agreement, which provided that Plaintiffs and Defendants would separate and practice law

   separately, which resolved issues regarding compensation to the individual Plaintiffs for their

   work on certain of Defendant LLW PC’s pending cases, and which allocated expenses related to

   the Lease.




                                                  23

                                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                                              1677 #: 1134




                                                    87.

          In the Settlement Agreement, the Parties resolved fee disputes: (1) regarding

   compensation already earned by Defendant LLW PC on cases for which Plaintiffs Wade,

   Grunberg, and Wilson had performed substantial work; (2) regarding compensation to be earned

   by Defendant LLW PC for cases on which Plaintiffs Wade, Grunberg, and Wilson had

   performed substantial work; (3) regarding compensation to be earned by Plaintiff WGW LLC on

   cases originating with Defendant LLW PC; and (4) regarding Defendants’ claim that Plaintiffs

   owed to Defendant LLW PC rent due under the Lease for LLW PC’s office space after they

   departed, even though Plaintiffs Wade, Grunberg and Wilson signed the Lease only as partners

   of Defendant LLW PC, the Lease does not contain any personal guaranty, and Defendants

   evicted Plaintiffs from the space on February 14, 2020.

                                                    88.

          Specifically, the Settlement Agreement provided that Plaintiffs would pay to Defendant

   LLW PC a percentage of fees eventually recovered in three cases that they would take and

   continue to work on, and that Defendant LLW PC would pay Plaintiffs a specific dollar amount

   of its fees collected on three separate cases that had either officially or functionally been resolved

   but for which Defendant LLW PC had not yet been paid its attorneys’ fees, as well as fees to be

   collected in connection with several other cases that had not yet resolved.

                                                    89.

          Plaintiffs Wade, Grunberg, and Wilson performed substantial work—if not the majority

   of the work—during the relevant time period on behalf of LLW PC on each of the cases for

   which Defendants agreed to compensate Plaintiffs in the Settlement Agreement.




                                                    24

                                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                    90.

          Plaintiffs were not compensated for any of their substantial work on the cases included in

   the Settlement Agreement, but Plaintiffs reasonably expected compensation from Defendant

   LLW PC based on the firm’s practice and procedure and assurances by Defendant Wood.

                                                    91.

          During the relevant time period, Plaintiffs Wade, Grunberg, and/or Wilson had

   communicated and worked with each client whose cases were included in the Settlement

   Agreement, such that each client was familiar with the fact that one of more of the individual

   Plaintiffs was working on his, her, or their case.

                                                    92.

          In regard to the three cases that were already settled or functionally settled, Defendant

   LLW PC agreed to pay Plaintiffs a specific dollar amount, with payment to be made within

   seventy-two hours of LLW PC’s receipt of its portion of the fees in the Disputed Case, less

   payment for a portion of the Lease.

                                                    93.

          Thus, as drafted by Defendants, the Settlement Agreement provided that all payments

   from Defendant LLW PC would become due and owing only upon receipt of the proceeds for its

   attorneys’ fees from the Disputed Case.

                                                    94.

          At all times during the relevant time period, including at the time the Settlement

   Agreement was executed, Defendants were counsel for the clients in the Disputed Case.




                                                    25

                                                                                        Exhibit N
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        Case 1:21-cv-01169-TCB
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                                                   95.

          Following execution of the Settlement Agreement, Defendants reported to Plaintiffs on

   multiple occasions regarding the status of the trigger for payment under the Settlement

   Agreement.

                                                   96.

          Subsequently, however, Defendants advised Plaintiffs (through counsel) of their

   purported belief that client consent was required for the payments to Plaintiffs agreed to in the

   Settlement Agreement pursuant to Georgia Rule of Professional Conduct 1.5(e), that the client in

   the Disputed Case refused consent, and that after off-setting the fees to be paid to Plaintiffs from

   the other cases that had already been resolved, Plaintiffs owed Defendant LLW PC a significant

   sum pursuant to Paragraph 2 of the Settlement Agreement concerning the Lease.

                                                   97.

          With respect to the Lease, the Settlement Agreement provides as follows: “WGW shall

   pay to LLW PC the amount of [redacted] in full satisfaction of any obligations WGW may have,

   or be alleged to have, under the lease agreement …” which “amount shall be deducted from the

   payment by LLW PC to WGW referenced in Section 1(B) above.”

                                                   98.

          Thus, there is no provision in the Settlement Agreement requiring Plaintiffs to

   affirmatively pay to Defendants any amount of money, nor any time frame by which Plaintiffs

   would have to do so. Instead, the Settlement Agreement explicitly provides for a net lump sum

   payment to Plaintiffs.




                                                   26

                                                                                           Exhibit N
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        Case 1:21-cv-01169-TCB
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                                                                              1677 #: 1137




                                                  99.

           Despite Defendants’ counsel expressly intertwining the payments to Plaintiffs with the

   Lease payment, and despite Defendants’ receipt and retention of all fees in the resolved cases

   subject of the Settlement Agreement, Defendant LLW PC stated its intent to hold Plaintiffs liable

   for the Lease payment.

                                                 100.

           Thereafter, Plaintiffs notified Defendants that Georgia Rule of Professional Conduct

   1.5(e) does not apply to this situation because the rule governs only “lawyers who are not in the

   same firm” and that it does not “regulate division of fees to be received in the future for work

   done when lawyers were previously associated in a law firm.” See Rule 1.5, cmt. 8.

                                                 101.

           Prior to the execution of the Settlement Agreement, Defendants did not seek client

   consent for the purpose of paying compensation to Plaintiffs Wade, Grunberg, and Wilson as a

   matter of practice, both for hourly and contingency arrangements, and only Defendant LLW PC

   was listed as receiving fees in the settlement statement sent to clients following settlement of a

   contingency fee case.

                                                 102.

           Upon information and belief, over seventy-hours (72) have passed since Defendant LLW

   PC received funds identified in the Settlement Agreement as the trigger for Defendants’ payment

   to Plaintiffs.

                                                 103.

           Thus, Defendants are obliged to pay to Plaintiffs the liquidated sum due under the

   Settlement Agreement, as well as additional funds due to Plaintiffs.



                                                  27

                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                                              1677 #: 1138




                                                 104.

           Plaintiffs have repeatedly demanded that Defendants honor their obligation to pay

   Plaintiffs the liquidated sum for fees required by the Settlement Agreement, as well as additional

   funds due to Plaintiffs, and have reminded Defendants’ counsel of the facts and allegations

   contained herein.

                                                 105.

           Defendants have continued in bad faith to refuse to pay the amount they agreed to pay

   Plaintiffs under the Settlement Agreement.

                               Detailed Facts Pertinent to Fraud Claims

                                     Deterioration of the Law Firm

                                                 106.

           Beginning in the fall of 2019 and continuing through 2020, Defendant Wood’s behavior

   became increasingly erratic, hostile, abusive, and threatening toward Plaintiffs Wade, Grunberg,

   and Wilson, as well as many other individuals.

                                                 107.

           While in the years before the Fall of 2019, Defendant Wood could at times be abusive,

   his bad behavior became far more serious and persistent than in years past.

                                                 108.

           Plaintiffs Wade, Grunberg, and Wilson nevertheless remained in Defendant LLW PC

   because they were committed to serving as attorneys for a trial scheduled for early-December

   2020, and Defendant Wood repeatedly assured them he would be stepping away from the

   practice of law after the trial ended.




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                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                       05/03/21
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                                                  109.

          Although relevant, Plaintiffs will avoid pleading the specifics of Defendant Wood’s

   erratic behavior prior to February 14, 2020—except as to facts specifically and demonstrably

   related to Defendants’ fraudulent and malicious intent to induce Plaintiffs to enter into the

   Settlement Agreement that Defendants would ultimately refuse to honor.

                                                  110.

          The vast majority of the alleged communications below were made by Defendant Wood,

   and there is a noticeable void of responses by Plaintiffs Wade, Grunberg, and Wilson—who

   refused to respond in kind to Defendant Wood’s behavior.

                                                  111.

          Throughout late 2019 and January and February 2020, abusive, incoherent phone calls,

   voicemails, texts, and emails by Defendant Wood to Plaintiffs Wade, Grunberg, and Wilson sent

   in the middle of the night were the norm. All of these erratic communications have a few things

   in common: most of these emails profess that God or the Almighty was commanding his

   actions; many were stating his refusal to pay the Plaintiffs “one thin dime;” and virtually all were

   abusive.

                                                  112.

          Defendant Wood’s behavior continued to deteriorate, including assault and battery on

   Wilson in Defendant Wood’s home after he had traveled there to check on Wood. In the Fall of

   2019, Defendant Wood also committed assault and battery on Grunberg in an elevator of a hotel

   during an out of town deposition. In both assaults, there was essentially no reason whatsoever

   for the attack, and Defendant Wood later acknowledged and apologized for this violence.




                                                   29

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                                             1677 #: 1140




                                                  113.

           Defendant Wood, himself, acknowledged during late 2019 that his behavior was abusive

   on October 2, 2019, when he e-mailed Plaintiffs Wade, Grunberg, and Wilson, stating, in

   relevant part, “The Boss, Pops, Lin, Asshole – whatever you wish to call me – knows that I have

   allowed a combination of pressures over the past many weeks, if not months, to become

   justifications for treatment of each of you, to varying degrees and at various times, that can only

   be described as rude, overly demanding, and at times abusive.”

                                                  114.

           Unfortunately, that acknowledgement changed nothing and his behavior toward Plaintiffs

   Wade, Grunberg, and Wilson continued to worsen.

                                                  115.

           On February 10, 2020, Defendant Wood contacted Plaintiffs and begged for them to

   come to his house around 1:00 am, which Plaintiff Grunberg and Wade did. Once there,

   Defendant Wood urged them to stay with him until morning, with Plaintiff Grunberg leaving at

   approximately 4:30 am and Plaintiff Wade leaving after sunrise. This experience unnerved the

   Plaintiffs.

                                                  116.

           That day, Plaintiffs Grunberg and Wilson confronted Defendant Wood about his

   behavior.

                                                  117.

           Even at that early juncture, Defendant Wood immediately threatened Plaintiff Wilson that

   leaving his firm was “professional suicide” and threatened not to pay Wilson the money he was

   owed for his work in the Disputed Case, stating as follows: “let me tell you what’s gonna



                                                   30

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  32 of852
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1141




   happen to you … watch what happens with the [Disputed Case] fee. I’ll show you what I think

   of what you’ve done to me.”

                                                    118.

           That evening, Defendant Wood called Plaintiff Wade and, during a call that lasted

   approximately two hours, Wood advised Wade that he was going to destroy Plaintiffs Grunberg

   and Wilson. During this conversation, Defendant Wood could not help but revisit his obsession

   with Plaintiff Wilson’s wife, stating: “by the time I am through with Taylor Wilson, he’s going

   to wish all I had done was fuck his wife.”

                                                    119.

           On February 11, 2020, at 1:03 a.m., Defendant Wood e-mailed Plaintiffs Wade,

   Grunberg, and Wilson, firing the Plaintiffs and changing the firm, while insisting that Plaintiffs

   had the “fiduciary duties” of partners, stating, in material part, as follows 2:

           Taylor, Jonathan, and Nicole,

           Effectively immediately, the law firm of L. Lin Wood, P.C. hereby withdraws
           from any and all law partnerships with your law firms and you, including, but not
           limited to the partnership of Wood, Wilson, Grunberg & Wade….

           I want Taylor and Jonathan physically out of my office space as soon as possible.
           I am willing to be more lenient with Nicole but I want the physical separate of the
           lawyers from 1180 West Peachtree St., Suite 2040 executed with no delay....

           I request that each of you provide me with a list of outstanding cases of LLW PC
           on which you are presently working…. I would like from each of you the number
           of hours (with description) you each have expended on the [Disputed Case].
           Hours on the pending [redacted] can be submitted separately by end of week. If
           you have any other [redacted] hours … please include them with some reasonable
           detail by the end of the week….

   2
     To protect the privacy of many third-parties, Plaintiffs will not be tendering copies of
   Defendant Wood’s e-mail correspondence and other communications with this Complaint but
   provide as much context as is appropriate in each quote.
                                                     31

                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  33 of853
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1142




          In meantime, I remind you of the fiduciary duty of non-disparagement which
          shall be strictly enforced. You are hereby prohibited from contacting any of my
          clients, referring attorneys or co-counsel without my specific written
          authorization….

   (Emphasis in original).

                                                   120.

          Plaintiffs Wade, Grunberg, and Wilson began moving out of Defendant LLW PC’s office

   space on February 11, 2020.

                                                   121.

          By the afternoon of that same day, February 11, 2020, Defendant Wood had completely

   changed his mind and left voicemails for each of Plaintiffs Wade, Grunberg, and Wilson,

   rescinding his withdrawal from their partnership and their eviction from his office space.       For

   example, Defendant Wood stated in part in a voicemail to Plaintiff Wade:

            . . . This law firm is going to go forward as Wood, Wilson, Grunberg & Wade.
            Business as usual is back now being business as usual. Keep doing what you’re
            doing on the cases you’re doing. I don’t need your hours in the [Disputed] case
            – I never have. No reason to do it now except in billable cases. . . . We are
            going to continue as a partnership. A partnership under that name that is going
            to be one of the great partnerships in the history of the law. . . . I’m going to ask
            you to do the big word “T.” Trust me. . . . I’m going to let God’s will be done
            for our law firm. . . Everything I said in that letter last night is rescinded.

                                                   122.

          Plaintiffs Wade, Grunberg, and Wilson decided to give it one more shot in the hopes of

   helping Defendant Wood and in the hopes that the work environment would return to status quo.

                                                   123.

          On February 13, 2020, the day before all 5 people who worked for Defendant Wood at

   Defendant LLW PC terminated their employment, Defendant Wood hosted an approximately 3.5

   hour teleconference with Plaintiffs Grunberg and Wilson in which he spoke almost non-stop.

                                                    32

                                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  34 of854
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1143




                                                 124.

          During the 3.5-hour teleconference, Defendant Wood referred to himself as Almighty;

   offered to fight the individual Plaintiffs to the death; demanded the Plaintiffs’ undying loyalty;

   threatened to “hurt” the Plaintiffs; offered to have the Plaintiffs stay in the firm; and called

   Plaintiff Grunberg a “Chilean Jew” and demanded that he admit he does not look like the other

   lawyers in the firm. Unfortunately, the list goes on, as reflected by the following pertinent

   portion of the transcript of the call (except as indicated by brackets and double quotation marks,

   the words are Defendant Wood’s):


          … I own that office. Y’all know that now. I showed you who had power, didn’t
          I? But I didn’t exercise it. Cause I right now would never do anything in the
          exercise of my power do anything to hurt any of y’all or your families. Do you
          believe me? Cause if you don’t believe that, this conversation is over. It will not
          be a problem solved. If you tell me you believe that, and I just showed you that,
          by not hurting you, by showing you who had the power to hurt ya, to hurt
          your families, to hurt your law careers, and didn’t exercise it, yes or no, let’s
          get a vote. Taylor, does everyone in that room believe, believe, choose to believe,
          that Lin Wood would never exercise his power in a fashion that he knew would
          hurt any one of you, personally or professionally, including your families, and
          your legacy as a lawyer. Yes or no, guys, gal? [Said by Wilson] “Lin, I
          certainly.” I just wanted a yes or no, I didn’t ask for a discussion, and I own that
          office and if you don’t do what I say this time, you’re gonna pack your bags,
          that’s how much power I have, I don’t wanna exercise that power, it would hurt
          you, don’t force me, that’s the point.

          I’m telling you I have the power to hurt you and would never do so, and if you
          don’t believe I have the power to hurt you, you are wrong. I can hurt you the
          minute I take you off that name [Wood, Wilson, Grunberg & Wade]. That will be
          a bad stain on your life, and if you try to hurt me back, you will be laughed
          at. Anybody in this law office that attacks Lin Wood may be right, but
          everybody’s gonna disrespect you for doing it. There’s a time to speak. There’s a
          time to be silent. You people don’t know the difference….

          Now, would you accept this kind and loving admonishment. I could have thrown
          by my own free will every damn one of you out of my law office, off of the damn

                                                  33

                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                      05/03/21
                                                             Page
                                                                Page
                                                                  35 of
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                                                                             1677 #: 1144




         letterhead with my name on it, and Nicole is included, by doing one of two things,
         I could have pulled my name off that door in a heartbeat if I wanted to … I could
         have pulled all three of your names off of that damn thing and it would just be me,
         if I wanted to I’d have the power to do it, right? …

         . . . If you keep showing me disrespect, Jonathan, there’s gonna be a man come up
         there in your office … but if you ever don’t give me respect in that office,
         knowingly … but if I ever discern that I think you are disrespecting me in that law
         office, that little man or woman is gonna come up in ten minutes and they’re
         gonna throw your ass out. Do you understand, whether you agree with it or not,
         you concede that I have the power to do it. Do you understand what’s gonna
         happen to ya if you ever, if I ever discern that you show me an act of disrespect
         again? … if you [interrupt me] in a disrespectful way, in my judgment alone, any
         one of the three of you is gonna be escorted out of my law office within ten
         minutes … they’re gonna take you out and throw you on the street if they want to
         … do you understand what I’m telling you? Cause if you don’t we got a
         problem. You hear me? Does everybody hear me? Now I’m gonna tell you
         something very surprising, y’all just heard from the Almighty Lin and it sounds
         powerful and you believe it don’t ya? … Almighty Lin just told you what would
         happen if he thinks you ever, in his opinion, discerns that you’re being
         disrespectful to me by anything other than an accident or mistake, he’s gonna
         throw you out. Ya hear me? … Now Almighty Lin’s gonna tell you this … the
         power that I just had can change your life if I ever decide … even if it’s good or
         bad, I can change your life with the exercise of that power, right? …

         I’ll commit sins. I’ll [physically] push you when you piss me off. Maybe you
         deserve it and I’m the only one that will inflict it upon you because I’m the only
         one that has the courage to tell you the lesson you fucked up don’t do it again.
         Swear I’ll never do it again to either one of you, although interestingly I’ve done
         it to both of you at once. I’ll never do it to you again. Don’t ever do anything that
         would even make me think about doing it again. Cause I might make the same
         mistake then that I made then, I might push you and I wouldn’t mean to hurt you.
         I wouldn’t mean to push you around, especially cause either one of you would
         whip my ass or maybe you wouldn’t cause you don’t have the courage I have.
         Maybe I would fight you till you damn die. Or both of us died. Cause I got
         courage inside of every bone in my body that you’ll never know. I wish you had
         it. I wish everybody had it. Everybody doesn’t have it guys. You’re practicing
         law with a man that has courage, to take on the big ones….

         The best man you’ll ever see in life won’t be your daddy, Taylor. It won’t be
         your daddy, Jonathan. It won’t be your daddy, [redacted]. The best damn man

                                                  34

                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                   01/25/21
                                                       05/03/21
                                                              Page
                                                                 Page
                                                                   36 of
                                                                      85672ofPageID
                                                                              1677 #: 1145




          you’ve ever met in life is Lin Wood. Don’t you forget it…. Or just plain member
          of one damn law firm, like we all are….

          One nation, one law firm, one law firm, under law, all members are created
          equal. All members of this one law firm are the same….

                                                125.

          By the date of the 3.5-hour teleconference on February 13, 2020, Defendant Wood had

   effectively not been in the office for weeks since a December 2019 trial—with the exception of

   several brief appearances at the office. And from the time that Defendant Wood and Plaintiffs

   Wade, Grunberg, and Wilson traveled to and attended a hearing out-of-state in mid-January, the

   only time any of the Plaintiffs had seen Wood was when he assaulted Plaintiff Wilson on January

   27th and when Plaintiffs Grunberg and Wade were called to his home in the early morning hours

   of February 10th when Defendant Wood called them over saying it was a matter of life or death.

   Defendant Wood spent most of this period outside of Atlanta.

                                                126.

          All of LLW PC’s cases were being handled primarily by one or more of the individual

   Plaintiffs, who coordinated with third party co-counsel. And LLW PC had active co-counsel

   outside the firm in every active case as of February 14, 2020, all of whom were on notice when

   Wade, Grunberg, and Wilson left the firm.

                                                127.

          Defendant Wood called for an in-person meeting on the morning of February 14, 2020.

                                                128.

          In the hours preceding this February 14 meeting, Defendant Wood repeatedly called

   Plaintiffs Wade, Grunberg, and Wilson, berating them, and also threatening them with alleged




                                                 35

                                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
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                                      64-135-2
                                            FiledFiled
                                                   01/25/21
                                                       05/03/21
                                                              Page
                                                                 Page
                                                                   37 of
                                                                      85772ofPageID
                                                                              1677 #: 1146




   civil claims arising from their purported fiduciary duty as his law partners not to disparage him,

   although he failed to specify what words or actions he felt were disrespectful.

                                                  129.

           Plaintiffs Wade, Grunberg, and Wilson – together with the only other two employees of

   Defendant LLW PC – all walked out of the LLW PC offices prior to Defendant Wood arriving

   out of fear for their physical safety.

                                                  130.

           All five were forced to terminate their employment and association with Defendants on

   February 14, 2020.

                                                  131.

           Immediately thereafter, Defendant Wood asked building security to escort all five out of

   the office, and he then changed the locks to the Leased space.

                                                  132.

           At this point, Defendant Wood began a series of irrational and incomprehensible email,

   text, and voicemail threats. All of these emails, most of which are sent in the middle of the

   night, have a few common themes: False and manufactured accusations that Plaintiffs did some

   heinous federal crimes that he has chosen not to identify, Defendant is doing God’s will, and

   Defendant will never pay the Plaintiffs anything, while reiterating nonetheless that the individual

   Plaintiffs were his law partners.

                                                  133.

           On February 15, 2020, at 1:42 am, Defendant Wood e-mailed Plaintiff Wilson and 13

   others, stating again that he felt he had somehow been victimized by some unspecified action




                                                   36

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                Document
                                      64-135-2
                                            FiledFiled
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                                                       05/03/21
                                                              Page
                                                                 Page
                                                                   38 of
                                                                      85872of
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                                                                              1677 #: 1147




   which required him bringing down the “wrath of God” and referencing punishment “at the

   discretion of Almighty God.”

                                                    134.

          Two hours later, at 3:45 a.m., Defendant Wood e-mailed Plaintiffs Wade, Grunberg, and

   Wilson, as well as 9 others, to continue his incoherent allegations and his belief that God was

   somehow commanding him or directing him to accuse the Plaintiffs and repeating his threat

   never to pay the Plaintiffs anything for their services. He began the email by stating “God has

   given me permission to be profane in this email, which is my last email of the night,” and

   additionally stating, in material part, as follows:

          You damn dumb motherfuckers.

          You have now subjected yourselves and your families to the fact that you are all
          guilty of federal crimes. And you are going to be ruined financially, if necessary,
          in civil and criminal lawsuit. You committed computer fraud today and possibly
          bank fraud. Your lies and fraud upon law firms and your employers are going to
          come back quickly to haunt you for the rest of your lives.

          You fucked with the wrong guy. You fucked with Lin Wood. Bad fucking
          choice.

          Here are the findings of your final judgment day on earth for today, the day after
          my Valentine’s Day massacre:

          Taylor, you’re not going to get one thin d[i]me from me on any case. That
          includes [cases subject of the Settlement Agreement, including the Disputed
          Case]. Sue me. You will lose. You can tell your co-conspirators, Nicole,
          Jon[a]tha[n], [redacted] and [redacted]. All the damn criminal conspirator wars
          who deleted emails and Word documents related to the [redacted] and [redacted]
          cases are in fucking serious criminal and civil exposure…. You are all dumb as
          hell. I am not. I will be setting up a meeting next week with the US Attorney for
          the Northern District of Georgia. He will meet with me. He knows who I am.
          You apparently never did…. Nobody fucks with me and [redacted]. You have
          been all been playing your Bullshit games of lies for too long. Too long is too


                                                     37

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
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                                      64-135-2
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  39 of859
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1148




          long. Always has been. Always shall be. God Almighty told me to get you back
          to where you belong. Broke and essentially homeless….

          The fact that you, Taylor, involved innocent people like [redacted] and maybe
          even [redacted], is going to haunt you and your wife and your children for the rest
          of your lives on earth. Shame on you. You are disgusting….

          You all better get on your knees and pray to Almighty God that He now asks me
          to show you mercy. If he does, I will show it, if he does not, I will deliver a fiery
          judgment against you on earth. Who the fuck did you think you were dealing
          with? You were screwing around me with, but I was someone else in disguise.
          You in fact have been screwing around with God Almighty. I am not God. You
          lied when you told others that I thought I was…. I am L. Lin Wood – the sole
          member of L. Lin Wood, P.C. The architect of the most masterful and powerful
          Valentine’s Day massacre known in American history. The last one killed seven.
          Mine will ruin many more before it is over. Deservedly so.

          You are the ones who are crazy, not me. You are all the fools, not me. You are
          all driven by fame and fortune, not me…. You are going to have to spend every
          day for the rest of your lives on earth by your every act and deed proving to God
          that you are genuinely sorry for the sins you have committed against HIM. I’m
          not going to waste anymore time listing your sins. You know them. God knows
          them….

          Buckle up your damn seatbelts. Unless I change my mind under the instructions
          of God, you are in for the roughest ride of your lives. I’m going to teach you all a
          lesson that you are going to learn….

          I shall sleep well tonight even though I’m writing a bunch of crazy people at a
          crazy person’s hour. I live on God’s time clock. This sane man had a lot of
          business to conduct tonight. Business that God Almighty exposed to him and told
          him to expose to others.

          I bet it’s going to be a long, long time before any of you ever sleep well again.
          Taylor, you are a damn pussy. You didn’t even have the balls to show up for your
          little meeting that I already knew you were going to try to have before you had
          it….

          Good night. I know you will not sleep well.



                                                   38

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  40 of860
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1149




          PS: Taylor, tell all of you damn co-conspirators that their asses are in criminal
          and civil liability trouble. Be sure to tell Jonathan and Nicole. I listened to that
          damn blowhard Jonathan run his mouth. At midday, silently. Because I knew
          that I was getting ready to slam his ass deep into the ground with [when] my time
          came. My time came. His ass in trouble and this time, he will not land on his 2
          feet [a reference to Plaintiff Grunberg’s handicap after he had a rock climbing
          incident falling from more than 40 feet in the air resulting in several surgeries and
          permanent disabilities]. He will be on his damn two knees begging me and
          Almighty God for mercy. They will never get a dime from me. I dare you to sue
          me for it. You don’t have the balls to do it and if you do it, you shall lose and in
          the process, lose more of your damn asses if there’s anything left of your assess
          after I finish with your assess tomorrow if you don’t call [redacted] and beg for
          mercy like damn dogs begging for a damn piece of meat after not eating for 3
          months. I think my message is clear. God has now asked me to refrain for the
          rest of this night and tomorrow from further profanity. I shall always follow my
          God’s’s will and never anyone’s on earth, including mine.

          Last word, if any of you get within missile range of my office or home, I will
          have you arrested. You make one more threat, at false accusation or attempt to
          interrupt me and as far as I’m concerned, you can all rot to hell in jail.

          You know me, always one more last word…. It’s not going to be pretty for you.
          Fraud is never pretty. Ask Michael Avenatti. Never has been. Never shall.

          Good night.

          L. Lin Wood

   (Emphasis added).

                                                  135.

          Plaintiff Wilson responded respectfully on February 15, 2020 at 8:15 a.m., denying

   Defendant Wood’s fantastical accusations and conspiracy theories.

                                                  136.

          Defendant Wood responded, again copying the 9 additional individuals, stating, in

   material part, as follows:



                                                   39

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  41 of861
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1150




          Keep lying. USDOJ shall be checking ALL computers. I know liars. You been
          lying ever since your yelled at me and accused me of being insane. Liar.

          You miserably lying sack of shit. You low life lying snake….

          You are ALL in trouble. Big trouble. Computer fraud. Conspiracy to commit
          computer fraud. Violation of fiduciary duties. Conspiracy to violate fiduciary
          duties. Slander and defamation. Conspiracy to slander and defame. Conspiracy
          to interfere with my business relations, including clients and co-counsel. I think
          you are in more criminal and civil trouble than the former big mouth, Michael
          Avenatti.

          Your time would best be served on your knees telling me you are sorry….

          Best outcome for you in eternity Is Hell for repeatedly interfering with God’s
          commandment to children to honor their father.

          I will make sure that you never practice law again ever if you do not admit your
          sins, all of them by 10:30 am. Extensions grants each quarter hour thereafter
          depending on the amount of truth you tell me with each email. Start with
          admitting your lies.

          Tell the truth or suffer through full pains thereafter….

          I want those facts by 10:30 AM. If you want to have a chance to save your
          future for your career, yourself and your family. You better come clean and tell
          the truthgiver the truth starting NOW.

          I am going to learn that information in a criminal case involving you if necessary.
          I am going to learn that information from you in a civil case involving you that is
          an almost certainty. Your best chance for mercy from L. Lin Wood is for you to
          start pouring the truth on me regarding information on [redacted]/[redacted] by
          10:30 AM this morning. Save your child. Save your wife. Save your life….

          Your are doing to want a major dose of mercy from me. The sooner you come
          clean, the better. The longer it takes, the worse….

   (Emphasis added).




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                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  42 of862
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1151




                                                  137.

           On February 15, 2020, at 2:18 pm, Defendant Wood left a voicemail for Plaintiff Wilson

   stating, in material part, as follows:

           Taylor Wilson, your former partner… You’re lucky you and I share something in
           common: I care about and love your wife, I care about and love your little
           boy. Right now, I don’t give a damn about you. But if I hurt you bad enough, it’s
           gonna hurt them. I don’t wanna hurt you, Taylor…. I want you to tell me in an
           email in 15 minutes who in the hell asked for those computer files to be deleted. I
           think it was Jonathan Grunberg. I think he did it because [redacted] wanted it
           done… I’m going after [redacted]. I’ve already gone after [redacted]. . . . I’m
           going to get [redacted]. I don’t want to get you cause it will hurt your wife and
           your child. Send me an email and just tell me the truth without getting a lawyer,
           without trying to cover your ass …

                                                  138.

           After leaving voicemails for Plaintiff Wilson and Grunberg stating that he felt that

   Plaintiff Grunberg was the chief force behind these unspecified criminal acts, on February 17,

   2020 at 12:17 a.m., Defendant Wood left a voicemail for Plaintiff Wilson stating, in material

   part, as follows:

           Taylor, I hate to call you at 12:14 am because it’s the act of a crazy man, but it’s
           not son. You need to watch out for Nicole Wade. She would be the person that
           would go in and get this information. She’s evil…. [Redacted] was sent here by
           [redacted].... The FBI is going to be involved tomorrow. There’s going to be
           some serious stuff going down. Watch your ass. I’m telling you. Watch out for
           Nicole Wade… You don’t want to be unwittingly involved in a federal
           crime. [Redacted] could go to jail for the rest of his life…. If I’m right about
           Nicole, she’s gonna come crashing down. She’ll try to take everybody down that
           she can. I know Nicole Wade… He’s gonna be in federal trouble because the FBI
           is on it. I don’t want you to get hurt, Taylor… I love you. This is the time to
           understand that Lin Wood really loves you. Cause I’m trying to give you
           information to protect you and your family. You got some thieves and criminals
           around you. Don’t get involved it in OK...




                                                   41

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                   01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  43 of
                                                                      863
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1152




                                                    139.

          That same day at 6:16 a.m., Defendant Wood sent to Plaintiff Wilson and 8 other

   individuals an e-mail stating, in material part, as follows:

          All,

          Attached is the IC3 Complaint Referral Form I filed with the FBI this morning
          related to [redacted] and his co-conspirators this morning….

                                                    140.

          In Defendant Wood’s FBI complaint alleging federal crimes, Defendant Wood refers to

   Plaintiffs Wade, Grunberg, and Wilson as “one or more former members of my law firm of L.

   Lin Wood, P.C.” (Emphasis added).

                                                    141.

          Defendant Wood followed up with another voicemail to Plaintiff Wilson on February 17,

   2020, at 7:18 a.m., stating, in material part, as follows:

          . . . You have damn fucked up your life. Shame on you. Your wife, your kid. I
          take back everything I said nice about you. You better get the word, that
          somebody better call me, and somebody better get over to my damn house, and
          tell me what the hell the truth is about what y’all did…. You people gotta get a
          criminal lawyer…. I’m gonna burn your asses. Y’all fucked up. Shame on
          you…. You’re a son of a bitch, Taylor Wilson. And you gonna rot in hell when
          I’m done with you, buddy, you got that? Pass that message to every damn one of
          them…. All of y’all are going down…. Goodbye sir. Get me the name of the
          person that’s gonna get me the damn truth about this and they better call me in 30
          fucking minutes. You hear the rage? You ain't seen nothing yet, buddy. Goodbye.

                                                    142.

          Defendant Wood followed up with another voicemail to Plaintiff Wilson on February 17,

   2020 at 7:23 a.m., stating as follows:

          Let me tell you something you little snotty ass son of a bitch. Don’t write me
          back and tell me you’re taking care of your son. Your son’s looking into the eyes
          of a damn low life, cheating, lying, probably criminal defendant. How could you

                                                     42

                                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                                  44 of864
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1153




           do this to your family, Taylor? The FBI’s not gonna play around. You’ve all
           engaged in computer fraud. I don’t give a damn whether you did it or if Nicole
           did it. I know who did it, and you got [redacted] involved in it. You’ve ruined
           everybody’s life. You’re not gonna get one thin dime from me. Sue me. I don’t
           think they allow you to file lawsuits like that when you’re behind
           bars. Somebody better call me, put their baby down, and give me the damn truth
           if there’s gonna be any mercy shown by anybody for you, including the FBI,
           cause I’m one of their number one witnesses. [Redacted] is going to jail. Don’t
           go with him. Quit playing your games ya snotty ass little bastard, you came in
           here and ran your damn mouth in my office and yelled at me. You’re lucky I’m
           not with you right now, Taylor, cause I’d do to you what I’d do to [redacted]
           and I’d beat your ass with a switch till you couldn’t sit down for 20 fucking
           years.

                                                  143.

           Also on February 17, 2020, Defendant Wood left a voicemail for Plaintiff Grunberg

   stating, in material part, as follows:

           I’m gonna be a little calmer with you than I have been with Taylor and [redacted]
           on their voicemail messages, Jonathan Grunberg, you sorry slimy piece of shit.
           How do you look at those babies? I’ve got it all, I know what y’all been doing.
           But here’s your problem, you teamed up with [redacted], he’s going to federal
           penitentiary, I’m afraid y’all need criminal defense attorneys, in fact I know, I’ve
           been up all night dealing with this, I’ve locked it all down…. The FBI’s gonna be
           knocking on your door, Jonathan. You need to go get a criminal defense lawyer.
           Somebody in that damn former piece of shit firm I had better get on the phone and
           tell me the damn truth so I can tell the FBI that at least somebody’s gonna be
           good to them and cooperate. You got in bed with [redacted] and you
           manufactured shit from [redacted]…. In the process, you look at those two little
           babies, you hurt them. You look at your wife, you hurt her. You’re not gonna
           get one thin dime from me about anything. You might even get sued by me.
           What the hell were you thinking. Man oh man, you’re glad you’re not with me in
           an elevator with me right now buddy [referring to his prior battery of Grunberg],
           cause you’re damn lucky, I’m that mad…. That’s how serious it is you little
           fucker. You look in the mirror and you’re gonna see a Chilean Jewish fucking
           crook. Goodbye, Jonathan … you sorry bastard.




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                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                      05/03/21
                                                             Page
                                                                Page
                                                                  45 of
                                                                     86572ofPageID
                                                                             1677 #: 1154




                                                  144.

          Then on February 18, 2020, at 8:20 a.m., Defendant Wood recanted every one of his

   accusations in an e-mail to Plaintiffs Wade, Grunberg, and Wilson, along with 18 other

   individuals, subject “Correction and Retraction of False Accusations,” stating, in material part, as

   follows:

          I know that I am generally recognized as an experienced and skilled lawyer in the
          area of First Amendment defamation law. I am also by my own admission, fully
          capable of being a dumb ass or worse. Given some of my recent emails and the
          filing of a IC3 Complaint Referral Form [with the FBI], the latter description may
          be more applicable to me than the former….

          The primary purpose of this email is [sic] correct and retract some very hurtful
          and false accusations that I recently made against [redacted], [redacted],
          [redacted], [redacted], and my current law partners and employees. In the
          worse example of a defamer, I published accusatory statements with incomplete
          information and out of anger, coupled with a tried brain and body….

          Allow me to make clear that in all of the recipients of this email, there is not a
          dishonest or criminal bone in any of their bodies. I say this unequivocally and in
          direct contradiction to any suggestions or accusations or statements that I may
          have made against anyone on this email. In recent days. My legal career has
          been one of pursuing for truth and achieving justice which I define as providing
          fairness and respect to all within our legal system. The recent emails to which I
          refer are the worst examples of the failure by an individual – ME – to pursue truth
          and achieve justice. My statements against the identified individuals were not
          true and inflicted an injustice upon them, and all of the recipients[.] In addition to
          asking for your forgiveness, I want to make it very clear that the individuals who
          were falsely accused are innocent of any wrongdoing and are encouraged to seek
          any further remedies against me for my wrongdoing, which they feel are
          appropriate or necessary.

          With the help of [redacted], [redacted], [redacted], and individuals identified by
          [redacted], I have now completed an examination of my office computer system,
          and while my office computer system was hacked, no accused individual was
          involved in any manner in that improper and illegal activity. After careful
          examination, no office emails have been deleted or otherwise altered in a manner
          that was not intended by authorized users of my system. If I had bothered to

                                                   44

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                                  46 of866
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                                                                           PageID
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          undertake the complete examination prior to making my unfounded accusations, I
          would never have made the accusations against the individuals….

          For the past several months, particularly since Thanksgiving, I have been
          besieged by a variety of individuals, all of whom I love dearly with their own
          concerns about my mental health and my relationship with [redacted]…. Sadly, I
          did not serve well the best interest of my [redacted] and making my false
          statements and accusations against others. I can only hope and pray that my
          stupidity serves as a shining example to them of why statements should always be
          investigated before published and should never be made out of a state of mind that
          might alter reality. I have assessed my mental health and spent some time with
          [redacted] discussing it. I am a little crazy, but I’m also mainly sane and possess
          a healthy mind….

          I love each and every one of individuals on this email and I love and respect
          [redacted] as a law firm. I hope and pray that my own law partners at the present
          time and all of the individuals who serve me so well at my firm will be willing to
          forgive me and continue to practice with me in the profession I love dearly and
          have loved for 43 years…..

   (Emphasis added).
                                                 145.

          Unfortunately, three hours later, Defendant Wood changed his mind again. On February

   18, 2020 at 11:38 a.m., Defendant Wood e-mailed co-counsel in the Disputed Case stating, in

   material part, as follows:

          [Redacted],

          Please inform your firm members that Taylor is NOT to be copied on any other
          emails on any [Disputed Case] matters. He and the former members of my firm
          will not be working on any of the other [Disputed Case] in the future. We have
          reached a binding agreement on other cases so their transfer out of L. Lin Wood,
          P.C. will be smooth going forward despite the recent bumps….

          The former members of my firm are now off to a new and exciting adventure of
          their own….

   (Emphasis added).


                                                  45

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                                   47 of
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                                                                              1677 #: 1156




                                                  146.

          The very next day, at midnight, Defendant Wood changed his mind yet again. Following

   this e-mail, on February 18 and 19, 2020, Defendant Wood made multiple requests to Plaintiff

   Wilson for the individual Plaintiffs to return to work. Wilson, continuing to try to avoid Wood’s

   wrath, politely declined to return to work at Defendant LLW PC.

                                                  147.

          After Plaintiff Wilson again refused to return to work at Defendant LLW PC with

   Defendant Wood, Wood left Wilson another voicemail on February 19, 2020 at 6:29 p.m., in

   contradiction to all other prior statements he had made, contrary to the Lease for the LLW PC

   office space, and contrary to the Parties’ February 17 agreement, stating as follows:

          Taylor, hey buddy, give me one call back tonight, cause I’m close to making a
          decision. [Redacted] is not coming back, and I that’s a good thing, I think that I
          need a clean break. And, I don’t want to stay in that space and I don’t need to
          cause I don’t need the space as much as y’all do, and that means y’all gotta pick it
          up or pay three quarters of the lease. Y’all are indemnitors on that, each one of ya
          individually. I’m the, L. Lin Wood, P.C., is the leaseholder, and then our liability
          is a fourth, a fourth, a fourth, y’all signed it, so you’ve got three quarters of the
          liability for that space. I figured under that scenario, y’all would wanna come up
          and take the space, strike a deal with me, I’ll pay my quarter but I’m not gonna
          pay it up front, I’m not gonna pay it over the months, we’d have to kind of present
          cash dollar it down. Or, if you don’t do that, Taylor, and I’m stuck with that lease,
          I’m gonna have to hold every dime of your [Disputed Case] money against your
          liability until the end of that lease. So, it’s easier for me to move out, which I’d
          like to do, candidly, Taylor, and for y’all to stay in there. That may be the win-
          win. So, give me a call and let me know what you think. Bye bye.

                                                  148.

          Defendant Wood left a similar voicemail on February 19, 2020, for Plaintiff Grunberg,

   threatening that he would hold Plaintiffs liable on the Lease for which they are not, and never




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                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                      05/03/21
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                                                                             1677 #: 1157




   were, liable, and that he would withhold the money he agreed to pay in the February 17

   agreement until the Lease was satisfied.

                                                     149.

          Defendant Wood then e-mailed Plaintiffs Wade, Grunberg, and Wilson on February 19,

   2020, at 8:01 p.m., along with four other individuals, stating, in material part, as follows:

          Nicole, Jonathan, and Taylor:

          … As Nicole has heard me say before, I do not intend to pay you “one thin
          dime” in satisfaction of your legal obligations….

          Until the matter is resolved between us and the building, I do not intend to make
          any payments to you on fees owed to you in any case. I will escrow the amount
          that I agreed to pay you until I am satisfied that my escrow account has covered
          me for your amount of the entire remaining lease obligation and other legal
          liabilities you owe to me for your misconduct….

   (Emphasis added).

                                                     150.

          Even after recanting all of his false and malicious accusations against Plaintiffs Wade,

   Grunberg, and Wilson, one day later on February 19, 2020, at 8:01 p.m., Wood again accused

   Plaintiffs of unspecified acts, referring to himself as “their partner” and threatening to hurt them

   “in the court of public opinion.”

                                                     151.

          The next morning, Defendant Wood had changed his mind again and wanted to profess

   his love for Plaintiffs. On February 20, 2020, Defendant Wood left a voicemail for Plaintiff

   Grunberg stating, in material part, as follows:

          Jonathan … I want y’all to come over to my house tonight. I don’t want another
          night of this nonsense that y’all have created. If ya wanna go to war and you
          think you’re gonna beat me, you’re gonna lose. I got ya every which way,
          coming and going…. The last thing you wanna do is start off your law firm,
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                                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                                  49 of869
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1158




          before you even get started getting crushed by me, and I got the power to do it….
          I’ve been two steps ahead of you at every damn…. I love you, I love your family,
          I love your babies….

                                                    152.

          That same day, Defendant Wood emailed again to profess his love, and this time to make

   a variety of threats, all based upon his desire to get Plaintiffs to help him pay for his Lease.

                                                    153.

          Defendant Wood followed up with another voicemail to Plaintiff Wilson on February 20,

   2020 at 6:59 p.m., stating, in material part, that Plaintiffs had to pay for the Lease and he

   threatened to drag out any claims or suits for any amounts that he owed Plaintiffs:

          Taylor Wilson, man oh man, it’s your old boss, the guy you love one minute, test
          one minute, love one minute, test one minute. Taylor, you’re in a damn mess, and
          you know it, and if you don’t, you’re gonna talk to a lawyer and you’re gonna
          know it then.

          This is not the way to start your law firm, Taylor. Here’s what we’re gonna
          do. You’re gonna get off your ass and put your pride aside, and you’re gonna
          come over here and you’re gonna talk to me. And I’m gonna tell you exactly what
          I’m willing to do to get y’all out of the mess you got yourselves in with your
          damn foolishness. You’re playing with fire when you come after Lin Wood.

          [talking to himself] “Now stop being mad, Lin. Okay, God.”

          Taylor, I don’t want to hurt you guys, but you’ve set it up where I could destroy
          you before you even got your foot off the ground. You can’t pay for a
          lawyer. You can’t afford to litigate with me and you’re gonna lose, cause you
          owe 75% of that lease to me. Not a guarantor, you signed on that for me. I’ll pay
          the building, and then I’ll hold your money until I litigate it with you….

          If you wanna sit down, Taylor, with me, I’ll be humble, you’ll be humbler. We’ll
          talk about what you did wrong, we’ll talk about how you’re gonna fix it. And I’m
          gonna fix it, cause you did just about what I thought you were gonna do. I’m
          always one step, two steps ahead of everybody. I see around corners, Taylor.



                                                     48

                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                      64-135-2
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                                                       05/03/21
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                                                                  50 of870
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1159




           Now why don’t you come over and talk to me, it won’t take an hour, and we’ll
           settle this mess that y’all created? … But if you wanna go to war, you wanna bash
           egos with me, you wanna do your free will versus mine, you’re gonna lose and it’s
           gonna affect your family and your baby boy, and I’m not gonna let that happen if I
           can avoid it. If it happens, it’s gonna be on your watch, not mine.

           So, please, Taylor, stop the foolishness. Come talk to a man that loves you, that
           wants you to succeed, that’s taken a lot of abuse from you but at every turn has
           reached out and tried to get you to do the right thing. You’re gonna be able to
           practice law with your people, you’re not gonna have me around much to worry
           about, I’m gonna get out, I wanted to get out, I wanted to be by myself …
           everything’s together, everything in your life is not. Call me, bye.

                                                        154.

           On February 22, 2020, at 5:07 a.m., Defendant Wood e-mailed Plaintiffs Wade,

   Grunberg, and Wilson, and their counsel, stating, in material part, as follows:

           [Disputed case] – As you were informed by [redacted], he will deposit … the
           [Disputed Case compensation] into his firm’s escrow account. [The client], not
           me, control the amount of fees to be paid to WGW, and the clients will only agree
           at best to pay to WGW quantum meruit for services strictly related to the
           [Disputed Case] which will be very difficult for WGW to calculate….

   (Emphasis added).

                                                        155.

           On February 22, 2020 at 7:29 p.m., Defendant Wood e-mailed Plaintiffs’ counsel and a

   third party stating, in material part, as follows:

           … If I am right, and I and others believe I am, further discord, disagreement, or
           even God forbid, litigation will destroy the chances your clients have if [sic]
           building a successful and financially viable law firm…. With respect to the
           [Disputed Case], your client will have to submit to me their actual hours worked
           on the [Disputed Case] and Their proposed hourly rate. Taylor can include any
           hours that he feels were reasonably dedicated to [the Disputed Case] when he
           began his initial [work]. To be clear, I will not pay Nicole Wade any money on
           the [Disputed Case]. So only Jonathan and Taylor need to bother will [sic]
           compiling and submitting to you to provide to me their actual hours worked or
           their best estimate of them….
                                                        49

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                Document
                                      64-135-2
                                            FiledFiled
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                                                       05/03/21
                                                              Page
                                                                 Page
                                                                   51 of
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                                                                              1677 #: 1160




   (Emphasis added).

                                                      156.

          On February 25, 2020 at 4:51 a.m., Defendant Wood e-mailed Plaintiffs’ counsel copying

   five third parties, referring to Plaintiffs’ counsel’s first name on 66 separate occasions and

   otherwise stating, in material part, as follows:

          … Take whatever action you and your clients believe is necessary, Drew. I will
          be prepared to respond with the full legal wrath and vengeance like an angry God,
          Drew….

          One last matter, Drew. I shall not voluntarily pay you or your clients one thin
          damn dime, Drew.

   (Emphasis added).

                                                      157.

          Shortly thereafter, Defendants engaged their current counsel.

                                                      158.

          Hiring new counsel did not stop Defendant Wood from contacting Plaintiffs in a

   threatening and abusive manner.

                                                      159.

          On March 3, 2020, at approximately 10:30 p.m., Defendant Wood called and left a

   voicemail for Plaintiff Wilson’s wife professing his love for her and her family in a manner she

   found terrifying and stating, in material part, as follows:

          [Redacted] Wilson. You’ve got a handsome little baby boy, I need to see him
          soon, I know I will. Listen, I know I’m calling you, I’m not calling Taylor, I’m
          not supposed to. You’re gonna learn some things, Taylor’s gonna learn some
          things in the next day or two, involving Taylor, Nicole, and Jonathan, and me and
          the lease. It’s gonna sound bad for him at first. Bad for you. I want you to know
          something, [redacted]. I told you I loved you. I told you I loved your son, I love
          your husband, Taylor. I’m not gonna let anybody get hurt too badly…. I think

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                                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                Document
                                      64-135-2
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                                                      05/03/21
                                                             Page
                                                               Page
                                                                  52 of
                                                                     87272ofPageID
                                                                             1677 #: 1161




           Taylor Wilson’s one of the best damn young lawyers I’ve ever seen. A lot of
           things about Taylor remind me of me. I meant it every time I told you I love you,
           I meant it then I mean it now. I meant every time I told Taylor I loved him, I
           meant it then I mean it now. Just relax, hang loose, it’s all gonna be good, it’s not
           gonna be good as everybody wants it to be on your side, his side, but it will be
           good in the long run…. We’ll talk one day soon. It’ll be when you decide to call
           me or maybe we’ll run into each other, but we’ll talk again and we’ll be friends,
           cause I love you and you love me. That answers every dispute that we have in
           life, doesn’t it? We don’t have disputes, we’re different. We’re different but
           we’re alike, we love each other…. I love you and you love me. I love Taylor, he
           loves me. We’ll talk soon…. When you listen to this in the next day or two,
           you’ll understand why. I see around corners before I cross the corner. Buh-bye,
           talk soon.
                                                  160.

           Throughout this entire ordeal, Defendant Wood has continued to text Plaintiff Wilson’s

   wife, despite being instructed to stop by Plaintiffs’ counsel multiple times.

                                                   161.

           On March 4, 2020 at 3:40 a.m., Defendant Wood made clear his intentions not to pay any

   amounts on the fee distribution agreement he had previously made with Plaintiffs on February 17

   when he e-mailed Plaintiffs Wade, Grunberg, and Wilson, their counsel, and a third-party,

   alleging a series of unspecified criminal conduct in violation of their “fiduciary duties” and

   stating, in material part, as follows:

           In any event, you may rest assured that I shall never voluntarily pay your
           clients one thin damn dime. Your clients shall be required to pay their 75% of
           the lease obligations even if they find themselves prohibited from engaging in the
           practice of law in the State of Georgia in the future….

   (Emphasis added).

                                                   162.

           Two days after Defendants stated they would not honor the terms of the Settlement

   Agreement for the reasons stated herein, Defendant Wood texted Plaintiff Grunberg, again


                                                    51

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  53 of873
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1162




   threatening criminal liability based upon his admittedly blatantly false and recanted conspiracy

   theory that Grunberg, along with Defendants’ former law partners, somehow committed some

   unspecified criminal act involving tampering with his computers:




                Defendants’ Conduct During Negotiations of Settlement Agreement

                                                  163.

          Defendants’ fraudulent and malicious intent is also revealed by and through their drafts

   of the Settlement Agreement.

                                                  164.

          Upon information and belief, when they entered in the Settlement Agreement,

   Defendants were intent on forestalling a lawsuit by Plaintiffs Wade, Grunberg, and Wilson that

   would reveal Defendant Wood’s indisputable pattern of violent, abusive, and erratic behavior

   supporting claims for assault, battery, intentional infliction of emotional distress, and

   defamation. Defendant Wood had repeatedly voiced his concerns about his misconduct being

   disclosed as he feared it would interfere with his imminent receipt of the Presidential Medal of

   Freedom and appointment as Chief Justice of United States Supreme Court. The latter belief was

   based, in part, on (1) a decade-plus old “prophecy” Defendant Wood heard in a YouTube video,

   and (2) a conspiracy theory that Chief Justice Roberts would be revealed to be part of Jeffrey

   Epstein’s sex trafficking ring and was being blackmailed by liberals to rule in their favor.


                                                   52

                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
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                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  54 of874
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1163




                                                165.

          More specifically, in reviewing Defendants’ drafts of the Settlement Agreement, it is

   apparent that Defendants were always planning to find a way to “never pay one thin dime” and

   attempted to have Plaintiffs agree to a Settlement Agreement that would allow Defendants to

   renege on their covenant to pay Plaintiffs fee splits when the time came for performance, on the

   purported basis that client consent was required, by setting forth a false recital of their

   relationship as lawyers, fully cognizant of Georgia Rule of Professional Conduct 1.5(e) and its

   application.

                                                166.

          Defendants’ first draft of the Settlement Agreement stated: “Nicole Wade, Jonathan

   Grunberg, and Taylor Wilson have never been law partners in L. Lin Wood, P.C. (hereinafter

   ‘LLW PC’) but have worked with L. Lin Wood, P.C. by agreement on a case-by-case basis

   while sharing office space since 2018.” (Emphasis added).

                                                167.

          Plaintiffs objected to the above false description of their indisputable association with

   Defendant LLW PC. Plaintiffs Wade, Grunberg, and Wilson did not work with Defendant LLW

   PC by agreement on a case-by-case basis. Defendant Wood never handled any litigation solely

   by himself. Since 2018, if not earlier, every case for which Defendant LLW PC entered into an

   engagement was worked on by Plaintiffs Wade, Grunberg, and/or Wilson, all as lawyers of

   Defendant LLW PC. While Defendant Wood and Plaintiffs Wade, Grunberg, and Wilson would

   discuss which attorneys should work on which matters, Defendant Wood would direct Plaintiffs

   Wade, Grunberg, and Wilson what work to handle for what case, because he was their “boss.”




                                                 53

                                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  55 of875
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1164




                                                 168.

          When Plaintiffs objected, Defendants claimed that this language was there “for insurance

   purposes.”

                                                 169.

          Defendants then edited this recital to state: “Nicole Wade, Jonathan Grunberg, and

   Taylor Wilson have never held any ownership interest in L. Lin Wood, P.C. (hereinafter ‘LLW

   PC’) but, through Wade Law, LLC and Grunberg & Wilson, LLC, have worked with L. Lin

   Wood, P.C. by general agreement on hourly fee cases and by agreement on a case-by-case

   basis on contingency fee cases while sharing office space since 2018.” (Emphasis added)

                                                 170.

          Plaintiffs again objected to the above false language. The distinction between hourly

   cases and contingency cases was a complete farce, plainly intended by Defendants as a material

   representation of the agreement, a false representation of the parties’ relationship, and plainly

   designed to allow Defendants to renege on their promises to pay fee splits.

                                                 171.

          Defendants edited this recital again to state: “WGW never held any ownership interest in

   L. Lin Wood, P.C. (hereinafter ‘LLW PC’) but worked with L. Lin Wood, P.C. on cases and

   were held out as partners since 2018.” (Emphasis added).

                                                 172.

          Plaintiffs again objected to the above false language, questioning why – if Defendants

   insisted on a recital setting forth the facts and nature of their relationship with Defendant LLW

   PC – Defendants insisted on falsely stating Plaintiffs were anything but lawyers of Defendant

   LLW PC.



                                                  54

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  56 of876
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1165




                                                     173.

             Defendants finally edited this recital a fourth time, arriving at the agreed upon language,

   which is the truth: “WGW never held any ownership interest in L. Lin Wood, P.C. (hereinafter

   ‘LLW PC’) but have worked as lawyers of L. Lin Wood, P.C. on cases since 2018.” (Emphasis

   added).

                                                     174.

             As demonstrated by the number of negotiations on this point, Defendants’ agreement to

   this fact was a material representation inducing Plaintiffs to enter into the Settlement Agreement,

   as both parties knew this representation was integral to payment of fees under Rule 1.5 and

   liability for the Lease.

                                                     175.

             Georgia Rule of Professional Conduct 1.5(e) “does not prohibit or regulate division of

   fees to be received in the future for work done when lawyers were previously associated in a law

   firm.” Rule 1.5(e), cmt. 8.

                                                     176.

             Because Plaintiffs Wade, Grunberg, and Wilson acted as lawyers of Defendant LLW PC

   at the time they performed work in the Disputed Case (and all cases subject of the Settlement

   Agreement), Georgia Rule of Professional Conduct 1.5(e) is inapplicable with respect to

   Plaintiffs’ claim for breach of contract.

                                                     177.

             Defendants always intended to take the position that Plaintiffs were not lawyers of

   Defendant LLW PC, including prior to, at the time of, and after executing the Settlement

   Agreement.



                                                      55

                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                  01/25/21
                                                      05/03/21
                                                             Page
                                                                Page
                                                                  57 of
                                                                     87772ofPageID
                                                                             1677 #: 1166




                                                   178.

          Defendants always intended to take the position that client consent was required and

   knew as counsel for the clients in the Disputed Case, that such consent would not be given,

   including prior to, at the time of, and after executing the Settlement Agreement.

                                                   179.

          Defendants’ intent prior to, at the time of, and after executing the Settlement Agreement

   was as they had repeatedly stated: never to pay to Plaintiffs “one thin dime.”

                                                   180.

          As set forth herein, Defendants thereafter and prior to executing the Settlement

   Agreement, including as early as their February 11, 2020 e-mail, repeatedly threatened that they

   would pay to Plaintiffs only quantum meruit for their work on the Disputed Case even though

   Defendant Wood had already agreed to pay Plaintiffs a fee comparable to his previous practice

   and procedure with respect to distribution of attorneys’ fees in cases.

                                                   181.

          After multiple settlement offers of quantum meruit were rejected by Plaintiffs,

   Defendants agreed to the terms of the Settlement Agreement, which required payment to

   Plaintiffs on a lump sum basis rather than a quantum meruit basis.

                                                   182.

          However, Defendants attempted to draft the agreement in a manner that would allow

   Defendants to do exactly what they always intended to do despite their express agreements to the

   contrary in the Settlement Agreement that (1) Plaintiffs were acting as lawyers of Defendant

   LLW PC and (2) Defendant LLW PC would pay to Plaintiffs the agreed sum: never pay to




                                                    56

                                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                      05/03/21
                                                             Page
                                                                Page
                                                                  58 of
                                                                     87872ofPageID
                                                                             1677 #: 1167




   Plaintiffs “one thin dime,” except possibly as quantum meruit as Defendants, or purportedly their

   clients, determine is appropriate in their sole authority.

                                                    183.

          Moreover, despite the Settlement Agreement not containing a single provision requiring

   the payment of any money by Plaintiffs to Defendants – providing instead that Defendants would

   pay a lump sum to Plaintiffs after withholding the Lease payment (stating, “LLW PC shall pay

   the stated portion of said fees … to WGW, minus the lease amount referenced in Section 2

   below,” which itself provides that “[t]his amount [for the Lease] shall be deducted from the

   payment by LLW PC to WGW referenced” above) – Defendants took the position that they both

   get to keep the fees they were supposed to pay to Plaintiffs and Plaintiffs had to pay to

   Defendants the Lease payment, i.e., Defendants would not be paying Plaintiffs “one thin dime.”

                                                    184.

          In summary: (1) after months of repeatedly reiterating that Plaintiffs were partners and

   otherwise associated in Defendants’ law firm LLW PC, falsely accusing Plaintiffs of various

   crimes, threatening them with various fantastical civil liabilities, making up various acts

   allegedly committed by Plaintiffs, assaulting and battering Plaintiffs Grunberg and Wilson,

   repeatedly reiterating that Defendants would never pay Plaintiffs “one thin dime” on the cases

   subject of the Settlement Agreement, repeatedly claiming Defendant Wood would destroy

   Plaintiffs’ careers, and making repeated threats of physical harm against Plaintiffs Grunberg and

   Wilson, Defendants executed a Settlement Agreement promising to pay them a lump sum on

   various cases in return for which Plaintiffs made financial concessions totaling hundreds of

   thousands of dollars and giving Defendants a release for their conduct specifically in order to

   avoid filing this lawsuit; and (2) after executing the Settlement Agreement, Defendants made



                                                     57

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  59 of879
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1168




   good on their repeated statements that they would never pay Plaintiffs “one thin dime” by

   claiming that the client in the Disputed Case, for whom Defendants were and remain counsel,

   refused his consent to the compensation required by the Settlement Agreement, which

   Defendants claimed was required because, despite the conduct described herein, it is Defendants’

   position that Plaintiffs were never associated with Defendants’ law firm.

                                               COUNT I:
                                          BREACH OF CONTRACT

                                                  185.

           Plaintiffs hereby incorporate by reference paragraphs 1 through 184 of their Complaint,

   as if specifically set forth herein.

                                                  186.

           The parties entered into the Settlement Agreement on or around March 17, 2020,

   whereby Defendant LLW PC would pay Plaintiffs a portion of its fees for their work on certain

   cases, including the Disputed Case.

                                                  187.

           The portion of Defendant LLW PC’s fees in the Disputed Case is a liquidated sum.

                                                  188.

           All conditions precedent under the Settlement Agreement have been satisfied to trigger

   the payment by Defendant LLW PC of a portion of its fees for the cases to Plaintiffs, including

   the Disputed Case.

                                                  189.

           Defendants breached the terms of the Settlement Agreement by failing and refusing to

   pay to Plaintiffs the agreed amounts within 72 hours of Defendant LLW PC’s receipt of its

   portion of its fees in the Disputed Case, as required in the Settlement Agreement.

                                                  58

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
                                                  01/25/21
                                                       05/03/21
                                                             Page
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                                                                  60 of
                                                                      880
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1169




                                                     190.

          Defendants’ refusal to pay Plaintiffs the agreed-upon amounts was in bad faith as it was

   purportedly based upon a Georgia Rule of Professional Conduct which Defendants knew was

   inapplicable, especially since Defendants had personal knowledge that Plaintiffs Wade,

   Grunberg, and Wilson had acted as lawyers of Defendant LLW PC in all matters related to the

   Disputed Case, and no such consent was required for the fee sharing set forth in the Settlement

   Agreement because, inter alia, Plaintiffs Wade, Grunberg and Wilson were lawyers of Defendant

   LLW PC—i.e., they were associated in the law firm with Defendant Wood.

                                                     191.

          The Settlement Agreement, itself, recites as follows: “WHEREAS, Nicole Wade,

   Jonathan Grunberg, and Taylor Wilson and Wood are lawyers who practiced law and shared

   office space together for several years.”

                                                     192.

          The Settlement Agreement, itself, recites as follows: “WHEREAS, WGW never held any

   ownership interest in L. Lin Wood, P.C. (hereinafter ‘LLW PC’) but have worked as lawyers of

   L. Lin Wood, P.C. on cases since 2018.”

                                                     193.

          In addition to the many indisputable facts contained herein establishing that Plaintiffs

   Wade, Grunberg, and Wilson have at all times acted as lawyers of Defendant LLW PC, the

   above recital is conclusive proof of that fact.

                                                     194.

          The amounts owed by Defendants are owed for the substantial work that Plaintiffs

   performed for the clients of LLW PC and for which they have not yet been paid. The clients for



                                                     59

                                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  61 of881
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1170




   the cases in question have already paid the fees to LLW PC, and the issue resolved in the

   Settlement Agreement was how those fees would be distributed among the lawyers who worked

   on the cases.

                                                  195.

          In addition, Defendants executed the Settlement Agreement representing that clients in

   the Disputed Case were specifically clients of Defendant LLW PC and that Defendant Wood was

   their attorney. As such, Defendant Wood had the apparent authority to bind the clients in the

   Disputed Case to the terms of the Agreement, and in fact, did so bind these clients.

                                                  196.

          Defendants further breached the Settlement Agreement by breaching the implied

   covenant of good faith and fair dealing, and by failing “to use [their] best efforts to bring about

   the happening of the condition to his promise,” to the extent client consent can be said to have

   been a condition to performance. Cf. Turner Broadcasting System, Inc. v. McDavid, 303 Ga.

   App. 593, 602 (2010).

                                                  197.

          Defendants’ breach of the Settlement Agreement proximately caused Plaintiffs to suffer

   damages for the liquidated sum set forth in the Settlement Agreement, as well as other amounts

   owed under the Settlement Agreement.

                                                  198.

          Defendant LLW PC is liable to Plaintiffs in the amount of the fees set forth in the

   Settlement Agreement owed to Plaintiffs for their work on those cases, together with attorney’s

   fees for Defendants’ bad faith refusal to pay and with interest pursuant to O.C.G.A. § 7-4-12.




                                                   60

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
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                                      64-135-2
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                                                       05/03/21
                                                             Page
                                                                Page
                                                                  62 of882
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1171




                                            COUNT II:
                                     FRAUDULENT INDUCEMENT

                                                  199.

           Plaintiffs hereby incorporate by reference paragraphs 1 through 184 of their Complaint,

   as if specifically set forth herein.

                                                  200.

           Defendants fraudulently induced Plaintiffs to enter into the Settlement Agreement.

                                                  201.

           At the time they entered into the Settlement Agreement, Defendants did not intend to

   perform their obligations under the Settlement Agreement, including to pay a portion of the fees

   for the Disputed Case and to honor the non-disparagement provision, which was a

   misrepresentation of a material fact.

                                                  202.

           Plaintiffs reasonably relied on Defendants’ affirmative but fraudulent representation that

   they would perform their obligations under the Settlement Agreement, including to pay the

   promised fees for the Disputed Case and the other cases and to honor the non-disparagement

   provision.

                                                  203.

           At the time they entered into the Settlement Agreement, Plaintiffs reasonably relied on

   Defendants’ statement and representation in the Settlement Agreement that, inter alia, Plaintiffs

   Wade, Grunberg, and Wilson “worked as lawyers of L. Lin Wood, P.C. on cases since 2018”—a

   clause that was heavily negotiated, as Defendants initially drafted it to falsely convey that

   Plaintiffs Wade, Grunberg, and Wilson were not attorneys of Defendant LLW PC.




                                                   61

                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                  01/25/21
                                                      05/03/21
                                                             Page
                                                                Page
                                                                  63 of
                                                                     88372ofPageID
                                                                             1677 #: 1172




                                                 204.

          As Defendants have themselves proven, they never intended to abide by this true

   statement of fact that Plaintiffs Wade, Grunberg, and Wilson “worked as lawyers of L. Lin

   Wood, P.C. on cases since 2018”.

                                                 205.

          Defendants always intended to take the position that client consent to the fee splits in the

   Settlement Agreement was required, and they knew at the time they entered into the Settlement

   Agreement that such consent from the clients in the Disputed Case had been withheld or would

   be withheld, and/or that Defendants would ensure that it was withheld; i.e., that the future event

   would not take place.

                                                 206.

          Defendants’ fraud is proven by additional substantial and irrefutable circumstantial

   evidence concerning their fraudulent intent – prior to and at the time of executing the Settlement

   Agreement – to induce Plaintiffs to enter into the Settlement Agreement with false promises.

                                                 207.

          Defendants represented as early as February 10, 2020, and on multiple occasions

   thereafter and prior to the Settlement Agreement, that the clients in the Disputed Case would

   only agree to compensate Plaintiffs in quantum meruit.

                                                 208.

          To induce Plaintiffs to sign the Settlement Agreement, Defendant drafted the Settlement

   Agreement to state that Defendants were indeed counsel for the clients in all of the cases

   referenced therein, including the Disputed Case, and therefore, as their counsel, that Defendant

   Wood had all requisite authority to enter into the Settlement Agreement. Defendants further



                                                  62

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                      05/03/21
                                                             Page
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                                                                             1677 #: 1173




   induced Plaintiffs to enter into the Settlement Agreement by drafting language that asserted that

   Plaintiffs at all times acted as lawyers of Defendant LLW PC, thereby eliminating any purported

   need for client consent.

                                                 209.

          Defendants further expressly instructed and demanded under threats of civil liability,

   criminal liability, and repercussions with the State Bar, that Plaintiffs were not permitted to

   contact Defendant LLW PC’s clients or co-counsel, including the clients in the Disputed Case.

                                                 210.

          Defendants at all times relevant hereto acted as counsel to the clients in the Disputed

   Case, allowing Plaintiffs to reasonably rely on Defendants’ apparent authority (1) to bind the

   clients in the Disputed Case and/or (2) rely on Defendants’ implicit representation that said

   clients knew of and agreed to the terms of the Settlement Agreement.

                                                 211.

          Defendants’ fraudulent intention to never pay to Plaintiffs “one thin dime” is further

   evidenced by the manner in which they drafted the terms triggering Defendant LLW PC’s

   payment obligations to Plaintiffs. For instance, at the time the Settlement Agreement was

   entered into, Defendants had already received the compensation necessary to pay Plaintiffs fees

   in multiple cases subject of the Settlement Agreement, but they drafted the Agreement only to

   trigger payment to Plaintiffs upon receipt of compensation in the Disputed Case at a later date.

   Meanwhile, the Lease obligation Plaintiffs agreed to in the Settlement Agreement (but were not

   otherwise responsible for) was larger than the fees owed in cases other than the Disputed Case

   and would only be paid out of the fees in the Settlement Agreement. Thus, Defendants have




                                                  63

                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                       05/03/21
                                                              Page
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                                                                              1677 #: 1174




   attempted to make good on the “one thin dime” statements by withholding for months fees owed

   so that they could later claim the Lease obligation swallowed all fees owed to Plaintiffs.

                                                    212.

          Defendants attempted to make good on their repeated statements they would never pay to

   Plaintiffs “one thin dime” by attempting (and failing) to build into the Settlement Agreement the

   very fraudulent defense on which they now rely: that Plaintiffs were not lawyers of Defendant

   LLW PC in the years preceding this dispute.

                                                    213.

          All of Defendant Wood’s prior conduct leads to one inescapable conclusion – that he

   never intended to pay Plaintiffs. That conduct includes his assault and battery of Plaintiffs

   Grunberg and Wilson; additional threats of physical harm against Plaintiffs Grunberg and

   Wilson, including that he would fight them to the death; repeatedly reiterating that he would

   never pay to Plaintiffs “one thin dime” prior to executing the Settlement Agreement; making

   repeated threats to destroy Plaintiffs’ careers prior to executing the Settlement Agreement;

   making repeated false, fantastical, and malicious accusations of criminal conduct against

   Plaintiffs prior to executing the Settlement Agreement; making repeated fantastical threats that

   Plaintiffs would spend many years or the rest of their lives in prison for Defendant Wood’s

   fantastical conspiracy theories about their alleged and false criminal acts; repeatedly threatening

   the families, including Plaintiffs Grunberg and Wilson’s wives and young children aged between

   3 months and approximately 2 years; and making numerous false, fantastical, and defamatory

   statements against Plaintiffs in addition to those relating to criminal acts, including that Plaintiffs

   were extortionists attempting to extort money from him to which they were not entitled (it

   appears based solely on Plaintiffs’ request that Defendants honor his previous promises



                                                     64

                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
                                            FiledFiled
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                                                       05/03/21
                                                             Page
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                                                                  66 of886
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1175




   regarding their compensation), including the payment of the compensation owed to them in the

   Disputed Case.

                                                  214.

           Plaintiffs reasonably relied upon Defendant Wood’s status as counsel to the clients in the

   Disputed Case and his implicit representations that he had all requisite authority and consent to

   enter into the Settlement Agreement and would otherwise employ best efforts to ensure his

   compliance with the Settlement Agreement.

                                                  215.

           Defendants’ fraudulent inducement of Plaintiffs to enter into the Settlement Agreement

   proximately caused damage to Plaintiffs, including but not limited to by inducing them to enter

   into the Settlement Agreement and to give up their valuable claims for fees as well as tort

   claims and to agree to allow LLW PC to retain certain sums as payment on the Lease, all in the

   promise of payment on the Disputed Case, which Defendants never intended to pay. As such,

   Defendant Wood’s fraudulent inducement bars Defendants from raising the defense they

   fraudulently attempted to build into the Settlement Agreement.

                                                  216.

           Plaintiffs are entitled to a verdict against Defendant Wood individually and against

   Defendant LLW PC for compensatory damages consisting of the full value of the Settlement

   Agreement, punitive damages, and attorneys’ fees in an amount to be proven at trial.

                                           COUNT III:
                                       PUNITIVE DAMAGES

                                                  217.

           Plaintiffs hereby incorporate by reference paragraphs 1-216 of their Complaint, as if

   specifically set forth herein.

                                                  65

                                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                  01/25/21
                                                      05/03/21
                                                             Page
                                                                Page
                                                                  67 of
                                                                     88772ofPageID
                                                                             1677 #: 1176




                                                    218.

           Defendants’ actions showed willful misconduct, malice, fraud, wantonness, oppression,

   and that entire want of care which would raise the presumption of conscious indifference to

   consequences as to entitle Plaintiffs to punitive damages against Defendants in accordance

   with O.C.G.A. § 51-12-5.1.

                                             COUNT IV:
                                          ATTORNEY’S FEES

                                                    219.

           Plaintiffs hereby incorporate by reference paragraphs 1 – 216 of their Complaint, as if

   specifically set forth herein.

                                                    220.

           Plaintiffs are entitled to the recovery of the costs of litigation and their attorney’s fees

   under O.C.G.A. § 13-6-11 as Defendants have acted in bad faith, been stubbornly litigious, and

   caused Plaintiffs unnecessary trouble and expense. Accordingly, Plaintiffs are entitled to

   expenses of litigation, including attorney’s fees, under O.C.G.A. § 13-6-11.

                                                    221.

           Further, Plaintiffs are entitled to the recovery of attorneys’ fees and the costs of litigation

   from Defendants for the fraud they engaged in, including by fraudulently inducing Plaintiffs to

   enter into the Settlement Agreement. Defendants’ behavior in negotiating, entering into, and

   carrying out the Settlement Agreement evidences that species of bad faith sufficient to justify an

   award of attorney’s fee and the expenses of litigation under Georgia law.



           WHEREFORE, Plaintiffs respectfully pray of this Court as follows:

   A. Enter judgment in favor of Plaintiffs against Defendants as set forth in each count of this

                                                     66

                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
                             Document
                                Document
                                      64-135-2
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                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  68 of888
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1177




      Complaint;

   B. Award Plaintiffs actual, special, and compensatory damages as set forth above in an amount

      to be determined at trial, plus interest pursuant to O.C.G.A. § 7-4-12;

   C. Award Plaintiffs punitive damages pursuant to O.C.G.A. § 51-12-5.1;

   D. Award Plaintiffs their reasonable attorneys’ fees and expenses of litigation;

   E. For an award of Plaintiffs’ costs of this action against Defendants; and

   F. For such other and further relief as this Court deems just, proper and equitable under the

      circumstances.

          Respectfully submitted this 31st day of August, 2020.


                                                               /s/Andrew M. Beal
                                                               Andrew M. Beal
                                                               abeal@buckleybeal.com
                                                               Georgia Bar No. 043842
                                                               Milinda Brown
                                                               mbrown@buckleybeal.com
                                                               Georgia Bar No. 363307

   BUCKLEY BEAL LLP
   600 Peachtree Street, NE
   Suite 3900
   Atlanta, Georgia 30308
   T: (404) 781-1100
   F: (404) 688-2988
   Counsel for Plaintiffs




                                                   67

                                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
        Case 1:21-cv-01169-TCB
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                                                             Page
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                                                                  69 of889
                                                                        72 of
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                                                                              1677 #: 1178




                           IN   THE SUPERIOR COURT OF FULTON COUNTY
                                         STATE OF GEORGIA
    NICOLE WADE; JONATHAN (iRUNBliRG;
    TAYLOR WILSON:
    WADE, GRUNBERG & WILSON, LLC;

    Plaintiffs,
                                                            Civil Action File No: 2020CV339937
    V.
                                                            JURY TRIAL DEMANDED
    L. LIN WOOD and L. LIN WOOD, P.C.,

    Defendants.




                                            VEEIEIQATIQN
             I.   NICOLE WADE, Plaintiff in   the above-styled matter, hereby   cenify under penalty of
    perjury, before the undersigned ofcer      authorized to administer oaths, that the information
    contained in the foregoing Complaint is true and correct to the best           of my knowledge,
    information, and belief.


             This   Q3 Hay of                   .2020.           K



                                                         By: Nicole Wade
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        Case 1:21-cv-01169-TCB
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                                                       05/03/21
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                                                                Page
                                                                  70 of890
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1179



                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                          STATE OF GEORGIA

   NICOLE WADE; JONATHAN GRUNBERG;
   TAYLOR WILSON;
   WADE, GRUNBERG & WILSON, LLC;

   Plaintiffs,
                                                            Civil Action File No:
   v.
                                                            JURY TRIAL DEMANDED
   L. LIN WOOD and L. LIN WOOD, P.C.,

   Defendants.




                                            VERIFICATION

            1,   Jonathan Grunberg, member of   WADE, GRUNBERG & WILSON, LLC, Plaintiff in
                                                            of perjury, before the undersigned   ofcer
    the above-styled matter, hereby certify under penalty

    authorized to administer oaths, that the information contained in the foregoing Veried
                                                                            and belief.
    Complaint is true and correct to the best of my knowledge, information,


            Thiswln day
                             dwi—J                2020.




                        '
    Sworn and subsc ed before me
    this Qghday of u          l
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        Case 1:21-cv-01169-TCB
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                                                  01/25/21
                                                       05/03/21
                                                             Page
                                                                Page
                                                                  71 of891
                                                                        72 of
                                                                           PageID
                                                                              1677 #: 1180




                             IN THE SUPERIOR COURT OF FULTON COUNTY
                                         STATE OF GEORGIA
   NICOLE WADE; JONATHAN GRUNBERG;
   TAYLOR WILSON;
   WADE, GRUNBERG & WILSON, LLC;

   Plaintiffs,
                                                            Civil Action File N0:
   V.
                                                            JURY TRIAL DEMANDED
   L. LIN WOOD and L. LIN WOOD, P.C.,

   Defendants.




                                             VERIFICATION
             I,   TAYLOR WILSON, Plaintiff in the above-styled matter, hereby certify under penalty
   of perjury, before the undersigned officer authorized t0 administer oaths, that the information
   contained in the foregoing Complaint is true and correct to the best of my knowledge,

   information, and belief.


             This      Zrr   day of   hvu    'I'   ,2020.




   Sworn and subscri ed before me
   this 9‘2; day of         , 2020.


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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                         STATE OF GEORGIA
   NICOLE WADE; JONATHAN GRUNBERG;
   TAYLOR WIL SON;
   WADE, GRUNBERG & WILSON, LLC;

   Plaintiffs,
                                                        Civil Action File No:
   V.
                                                        JURY TRIAL DEMANDED
   L. LIN WOOD and L. LN WOOD, P.C.,

   Defendants.




                                          VERIFICATION
           I, JONATHAN GRUNBERG, Plaintiff in the above—styled matter, hereby certify under
   penalty of peijury, before the undersigned ofcer    authorized to administer oaths, that the
   information contained in the foregoing Complaint is true and correct to the best of my

   knowledge, information, and belief.


           Thisié’idayof UjUJ‘h               2020.

                                                                   é
                                                                  Grunberg
                                                      Byzwaian


   Sworn and subscri ed before me
   this Qgikday of           2020.




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Three ways the media can vanquish the Big Lie that will linger even after Trump is gone - The Washington Post
                                                                                               1/22/21, 10:23 AM




                         Democracy Dies in Darkness



                    Three ways the media can vanquish the
                    Big Lie that will linger even after
                    Trump is gone
                       By Margaret Sullivan

                    Jan. 17, 2021 at 3:00 a.m. PST


                    His administration is down to its last hours, but you can bet that the false belief held by
                    millions of Americans that the election was rigged is not going away when President
                    Trump does.

                    Journalists, if they take their core mission seriously, should think hard about how
                    they’re going to confront this Big Lie, as it’s become known.

                    Our goal should go beyond merely putting truthful information in front of the public.
                    We should also do our best to make sure it’s widely accepted — “to create a public
                    square with a common set of facts,” as Tom Rosenstiel, an author and the executive
                    director of the Virginia-based American Press Institute, put it.

                    But how? Here are a few ideas I’ve gathered.

                    Stop relying on shorthand.

                    Too often, even the most credible journalists who are trying to cover the disastrous
                    effects of the Big Lie explain it by sprinkling phrases into their reporting like “baseless
                    claims” or “without evidence” — and seem to expect them to do all the work.

                    But that’s simply ineffective. “People don’t notice this boilerplate language after a
                    while,” Rosenstiel said, “or even begin to bristle at it.”




https://www.washingtonpost.com/lifestyle/media/media-fight-trump-big-lie/2021/01/15/d3cafa3c-5745-11eb-a08b-f1381ef3d207_story.html     Page 1 of 5

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                    What’s the alternative? Journalists should take the time — even in an ordinary news
                    story or brief broadcast segment — to be more specific. Let’s offer a few sentences that
                    give detail on why the claims are baseless and how they’ve been debunked.

                    The second paragraph of this January national security report in The Washington Post
                    does just that: “By mid-December, President Trump’s fraudulent claims of a rigged
                    election were failing in humiliating fashion. Lawsuits were being laughed out of courts.
                    State officials, including Republicans, were refusing to bend to his will and alter the
                    vote. And in a seemingly decisive blow on Dec. 14, the electoral college certified the win
                    for Joe Biden.”

                    That’s far better than a mere nod to “baseless claims.” As Rosenstiel put it: “Engage in
                    verification and explanation, not labeling.”

                    Use an honesty litmus test.

                    Journalists long ago made a virtue of getting input from both sides of an issue. It’s
                    generally a healthy practice, but it also became a crutch. And when one side
                    consistently engages in bad-faith falsehoods, it’s downright destructive to give them
                    equal time.

                    Joe Lockhart, President Bill Clinton’s former press secretary, offers an extreme
                    example: “If I went on the air and said the Holocaust didn’t happen, the interview
                    would end right there.”

                    Similarly, the election-fraud lie — which was the foundation for the Jan. 6 attack on the
                    Capitol — shouldn’t be given a huge megaphone either. But you can expect some
                    Republican members of Congress will trot this out during Trump’s Senate
                    impeachment trial, Lockhart warned. He argues that news organizations should think
                    hard before allowing these claims to be broadcast live and at length.

                    “It’s no longer a case of no harm, no foul,” Lockhart told me. We know what damage
                    has come from helping the Big Lie to spread.




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                 Case 1:21-cv-01169-TCBDocument
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                                                                                    of 1677#: 1185
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                    The NYU professor and press critic Jay Rosen put it memorably: “In the same way that
                    you might begin an interview with a pro forma, ‘this is on the record,’ or ‘how do you
                    spell your name?’ journalists (and talk show bookers) should set the ground rules with,
                    ‘Very quickly before we start: who was the legitimate winner of the 2020 election?’ ” If
                    the answer is “we need to investigate that” or “President Trump,” simply withdraw the
                    opportunity.

                    In the bad-faith political world we live in, these kinds of sound policies will be branded
                    as liberal bias and a free-speech violation. Not so.

                    “This isn’t a cancel culture,” Christopher Krebs, whom Trump fired as head of
                    Cybersecurity and Infrastructure Security Agency, told CNN last week in arguing why
                    it’s essential to shoot down harmful false claims as he did. “There has to be an
                    accountability culture in the United States right now.”

                    Learn the science about how people absorb truthful information.

                    We know how propaganda works — largely through repetition, which Trump was a
                    master of. He sowed the seeds of the election-fraud lie long before his voters went to
                    the polls.

                    But how do you counter propaganda? How do you present the truth so it is accepted?
                    Rosenstiel says we need “to understand the neuroscience of creating receptivity for
                    reasonable but skeptical audiences.”

                    Part of that involves going back to journalism fundamentals. We need to provide
                    evidence and verification, instead of blustery claims and outrage — the bread-and-
                    butter of cable news.

                    As one example, he pointed to the New York Times columnist Thomas Edsall, formerly
                    of The Washington Post, who often helps his readers get underneath the surface of
                    current issues by introducing research with significant depth.

                    In a column last week, he dug into the root causes of the largely White riot at the
                    Capitol. While fully acknowledging racism as a cause, he also asked, “How toxic is the
                    combination of pessimism and anger that stems from a deterioration in standing and
                    authority?” And he provides some detailed, illuminating answers.

                    These methods — which admittedly are just a start — may be a poor match for what’s
                    out there: a fetid, endlessly renewing Niagara Falls of lies and disinformation.


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                                                                                    of 1677#: 1186
Three ways the media can vanquish the Big Lie that will linger even after Trump is gone - The Washington Post
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                    But given that democracy depends on a society accepting a common set of facts, it is
                    urgently necessary to do something. Something, that is, beyond what we’ve always done
                    before.

                    READ MORE by Margaret Sullivan:

                    Four years ago, I wondered if the media could handle Trump. Now we know.

                    There are flickers of hope for local journalism. So far, it’s not nearly enough.

                    What Obama gets right — and very wrong — about the media


                    For more by Margaret Sullivan visit wapo.st/sullivan


                         Updated January 7, 2021


                         Election 2020: Biden defeats Trump

                             The latest: Congress affirms Biden’s presidential win following riot at U.S.
                             Capitol

                             Graphic: How members of Congress voted on counting the electoral college
                             vote

                             Live updates: Trump pledges ‘orderly transition’ after Biden is declared
                             winner at the end of a violent day

                             25th Amendment: Senior officials have discussed removing Trump. Here’s
                             how that could work.

                             Election results under attack: Here are the facts

                             Full election results




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                                                                                    of 1677#: 1187
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                  EXHIBIT B




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                                                                                      VISUAL INVESTIGATIONS



                                                  How a Presidential Rally Turned Into a Capitol Rampage
                              By Lauren Leatherby, Arielle Ray, Anjali Singhvi, Christiaan Triebert, Derek Watkins and
                                                            Haley Willis Jan. 12, 2021


                                                                                       When President Trump railed against the election results from a stage
                                                                                       near the White House on Wednesday, his loyalists were already gathering
                                                                                       at the Capitol. Soon, they would storm it. We analyzed a crucial two-hour
Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 2 of 18 PageID #: 1189




                                                                                       period to reconstruct how a rally gave way to a mob that nearly came face
                                                                                       to face with Congress.




                                                                                                                                                                                         500 feet
                                                                                                              WASHINGTON, D.C.
                                N                        White House




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                                                                                                                                   sylva
                                                                                                                                        nia Av
                                                      Trump speech                                                                            e.


                                                                                                                                                                                        Supporters alread
                                                 Supporters gathered                                      Constitution Ave.                                                   Fencing     at the Capitol

                                                                                                                                     Supporters marching to the Capitol


                                                           Washington                                                                                                                               Barricad
                                                                                            NATIONAL MALL
                                                           Monument



                                                                                                                                                                             U.S. Capitol




                                                          Tidal Basin




                                                                                       The day’s events were captured by protesters and witnesses who live-
                                                                                       streamed the action or posted the scenes on social media. The footage
                                                                                       shows the simultaneous and alternating perspectives of Mr. Trump at the
                                                                                       podium, the lawmakers inside the Capitol and the swelling numbers — and
                                                                                       growing violence — of the rioters on the ground.




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                                                                                                     Before Noon

                                                                                                                       A Brewing Storm




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 3 of 18 PageID #: 1190


                                                                                                             President Trump                            Supporters gather at
                                                                                                              prepares to go                                the Capitol.
                                                                                                                 onstage.


                                                                                      For weeks, Mr. Trump had urged his supporters to go to Washington to
                                                                                      stop the certiﬁcation of the election results, and several simultaneous
                                                                                      rallies were planned for Wednesday.

                                                                                      As the morning arrives, hundreds assemble on the Capitol lawn, more than
                                                                                      a mile away from where Trump will soon speak near the White House.
                                                                                      Among them are the Proud Boys, a far-right group, identiﬁable here by
                                                                                      their orange hats.


                                                                                      11:50 a.m. East side of Capitol




                                                                                      Amanda Andrade-Rhoades/For The Washington Post via Getty Images




                                                                                      At the same time, near the White House, Donald Trump Jr. ﬁlms the
                                                                                      president and his inner circle backstage before his father’s speech. In a
                                                                                      video uploaded to his Facebook page, they are listening to the song
                                                                                      “Gloria” and marveling at the size of the crowd.


                                                                                      11:54 a.m. South of White House




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                                                                                                              902Times
                                                                                                                                                    of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 4 of 18 PageID #: 1191




                                                                                      Donald Trump Jr. via Facebook




                                                                                                                         12:15 p.m.–12:50 p.m.

                                                                                                                      Capitol Crowds Grow




                                                                                                          Trump calls for march        A large crowd heads in
                                                                                                              on Capitol.                   that direction.


                                                                                      About 15 minutes into his speech, Mr. Trump tells rally attendees to walk
                                                                                      to the Capitol. “You have to show strength,” he says.

                                                                                      At this moment, the Capitol grounds are protected by temporary
                                                                                      perimeter fences, and there are few ofﬁcers equipped to defend them.


                                                                                      12:17 p.m. South of White House




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
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                                                                                                                                              903Times
                                                                                                                                                    of 1677

                                                                                      U.S. Network Pool




                                                                                      Supporters leave the rally in a steady stream before Mr. Trump’s speech
                                                                                      ends, and they head toward the Capitol.


                                                                                      12:29 p.m. Constitution Ave.




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 5 of 18 PageID #: 1192




                                                                                      Talia Jane via Twitter




                                                                                      As they arrive, another crowd of Trump supporters that has already
                                                                                      gathered along the west perimeter fence becomes more agitated.


                                                                                      12:49 p.m. West of the Capitol grounds




                                                                                      Status Coup via Storyful




                                                                                      Around this time, a pipe bomb is reported at the Republican National
                                                                                      Committee building, just a block away from the Capitol. Not long after,
                                                                                      another device is discovered nearby at the Democratic National
                                                                                      Committee headquarters.




                                                                                            N




                                                                                                                 U.S. CAPITOL

         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                                                                                              Explosives reported     R.N.C.
                                                                                                                               at party buildings     Building


                                                                                                                        D.N.C.
                                                                                                                       Building




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 6 of 18 PageID #: 1193



                                                                                                                          12:53 p.m.–1:03 p.m.

                                                                                                                    First Barriers Breached




                                                                                      Trump continues                        Rioters topple a fence        Congress begins joint
                                                                                         speaking.                           to the Capitolʼs west.              session.


                                                                                      About 20 minutes before Trump’s speech ends, some people in the Capitol
                                                                                      crowd harass ofﬁcers posted at the barricades and start to get physical.
                                                                                      Others follow suit, until they violently overwhelm the police and breach
                                                                                      the building’s outer perimeter.


                                                                                      12:53 p.m. Northwest side of the Capitol




                                                                                      Elijah Schaffer via Twitter




                                                                                      The mob quickly breaks through three additional barricades, forcing
                                                                                      ofﬁcers back onto the west Capitol steps.




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
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                                                                                                                         Happened - ThePage
                                                                                                                                        New York
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                                                                                                                                                    of 1677

                                                                                                                 12:53 p.m.
                                                                                                                 First barricades breached
                                                                                                                                                  Fencing
                                                                                                 N



                                                                                                                                   Capitol                             Supporters
                                                                                                                                    steps                              gathering
                                                                                      Supporters marching
                                                                                        from Trump rally
                                                               NATIONAL MALL                                                                                             East side
                                                                                                                                                                         barricades



Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 7 of 18 PageID #: 1194




                                                                                                                          U.S. CAPITOL

                                                                                                                                             1 p.m. Joint session of
                                                                                                                                             Congress convenes in
                                                                                                                                             House chamber




                   1 12:53 p.m. First barricades breached.

                   2 1 p.m. Joint session of Congress convenes in House chamber.




                                                                                      Once at the steps, the group clashes with a small contingent of ofﬁcers.
                                                                                      After a few minutes, Capitol Police ofﬁcers in riot gear arrive to help
                                                                                      control the crowd.


                                                                                      12:58 p.m. West side of Capitol




                                                                                      Status Coup via Storyful




                                                                                      At this time, the speaker of the House, Nancy Pelosi, begins the
                                                                                      proceedings to certify the Electoral College vote at a joint session of
                                                                                      Congress, alongside Vice President Mike Pence.

                                                                                      Outside, the chants begin: “Whose house? Our house!”


                                                                                      1:03 p.m. House Chamber



         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                                                                                         Happened - ThePage
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                                                                                                                                                    of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 8 of 18 PageID #: 1195
                                                                                         C-SPAN




                                                                                                                          1:12 p.m.–2:00 p.m.

                                                                                                                    Trumpʼs Call to Action




                                                                                      Trump again calls for a                Mob continues to       Ted Cruz objects to
                                                                                      march on the Capitol.                  clash with police.        certiﬁcation.


                                                                                         As Mr. Trump’s speech comes to an end, he calls on his supporters to “walk
                                                                                         down Pennsylvania Avenue” toward the Capitol. Rioters there continue to
                                                                                         violently clash with ofﬁcers, including reinforcements from the local police
                                                                                         department who have arrived on the scene. Both sides spray chemical
                                                                                         agents.


                                                                                         1:15 p.m. West side of Capitol




                                                                                         Status Coup via Storyful




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
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                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
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                                                                                                                                                    of 1677
                                                                                      Inside the Capitol, members of Congress seem unaware of the extent of the
                                                                                      violence outside. The House and Senate have moved to their separate
                                                                                      chambers to debate certifying the vote. Senator Ted Cruz, Republican of
                                                                                      Texas, argues that the Senate should not certify Arizona’s electoral votes.


                                                                                      1:48 p.m. Senate Chamber




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 9 of 18 PageID #: 1196




                                                                                      C-SPAN




                                                                                      A minute later, Chief Steven Sund of the Capitol Police makes the request
                                                                                      for immediate assistance from the D.C. National Guard. Outside, rioters
                                                                                      tear through scaffolding in front of the Capitol’s northwest steps and make
                                                                                      their way closer to the building.


                                                                                      1:50 p.m. West side of Capitol




                                                                                      Lev Radin/Paciﬁc Press/LightRocket via Getty Images




                                                                                                                                      Around 2 p.m.

                                                                                                               Assault on the East Side


         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
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                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
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                                                                                                                                                    of 1677




                                                                                                      Groups breach police               Amy Klobuchar and
                                                                                                          barricades.                     other legislators
                                                                                                                                              debate.


                                                                                       On the east side of the Capitol, where the police presence is much smaller,
                                                                                       another mob is about to reach the doors of the building.

Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 10 of 18 PageID #: 1197




                                                                                                                                              Fencing
                                                                                              N
                                                                                                                              Mob continues
                                                                                                                                 to riot                      Around 2:00 p.m.
                                                                                                                                                              Police barricades
                                                                                                                                                              are breached
                                                                                                                                                              on the east side


                                                                NATIONAL MALL                                          West side
                                                                                                                       barricades




                                                                                                                        U.S. CAPITOL


                                                                                                                                    Lawmakers continue to
                                                                                                                                    debate in both chambers




                    1 Around 2:00 p.m. Police barricades are breached on the east side

                    2 Lawmakers continue to debate in both chambers

                    3 Mob continues to riot




                                                                                       The police remove a barricade at the northeast corner of the building after
                                                                                       violent confrontations between ofﬁcers and the crowd.


                                                                                       1:58 p.m. Northeast side of Capitol




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
                                                                                                                                                                                  Exhibit N   9/17
         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              909Times
                                                                                                                                                    of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 11 of 18 PageID #: 1198




                                                                                       Marcus DiPaola via TikTok




                                                                                       A YouTube live stream captures the exact moment a massive crowd also
                                                                                       breaches a separate, larger barricade on the east side. This is the last
                                                                                       physical barrier protecting that side of the Capitol.


                                                                                       2:00 p.m. East side of Capitol




                                                                                       Stephen Ignoramus via YouTube




                                                                                                                                  2:10 p.m.

                                                                                                  Mob Reaches Doors on West Side




                                                                                                            Group breaches west               Legislators continue
                                                                                                              side barricades.                      debate.


         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              910Times
                                                                                                                                                    of 1677
                                                                                       Back on the northwest side of the Capitol, another YouTube livestream
                                                                                       captures the mob chasing ofﬁcers up the steps and breaching the ﬁnal
                                                                                       barrier on that side.


                                                                                       2:10 p.m. Northwest side of Capitol




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 12 of 18 PageID #: 1199




                                                                                       John Sullivan via YouTube




                                                                                       Violent clashes with the police have been ongoing for more than an hour
                                                                                       by the time the mob ﬁnally breaks through.

                                                                                       The mob approaches an entrance near the Senate chamber, one ﬂoor
                                                                                       below where senators continue to debate.




                                                                                                                                            Fencing
                                                                                                  N
                                                                                                                              2:10 p.m.
                                                                                                                              Group breaches
                                                                                                                              the ﬁnal barrier




                                                                NATIONAL MALL                                         West side                              East side
                                                                                                                      barricades                             barricades
                                                                                                                                                             already breached




                                                                                                                       U.S. CAPITOL


                                                                                                                                   Lawmakers continue to
                                                                                                                                   debate in both chambers




                    1 2:10 p.m. Group breaches the ﬁnal barrier on the west side

                    2 Lawmakers continue to debate


         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              911Times
                                                                                                                                                    of 1677
                                                                                       Rioters surround the building on both sides, but there’s no indication that
                                                                                       the lawmakers inside know the extent of the breach. As the mob
                                                                                       approaches the doors of the Senate wing, Senator Kyrsten Sinema,
                                                                                       Democrat of Arizona, urges her colleagues to “reject this meritless
                                                                                       challenge and uphold the will of Arizona’s voters.”


                                                                                       2:10 p.m. Senate Chamber




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 13 of 18 PageID #: 1200




                                                                                       C-SPAN




                                                                                                            Around 2:11 p.m. to 2:16 p.m.

                                                                                                Rioters Break Into the Building




                                                                                                       Mob enters the               Senators continue
                                                                                                         building.                  debate just steps
                                                                                                                                         away.


                                                                                       Rioters on the west side break into the building around 2:11 p.m. Two
                                                                                       minutes later, as they reach the stairs next to the Senate chamber, the
                                                                                       Senate is called into recess.


                                                                                       2:13 p.m. Senate Chamber




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              912Times
                                                                                                                                                    of 1677




                                                                                       C-SPAN




                                                                                       Rioters continue to stream into the building. They enter through a door
                                                                                       and a broken window on the northwest side.


                                                                                       2:15 p.m. Northwest side of Capitol

Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 14 of 18 PageID #: 1201




                                                                                       John Sullivan via YouTube




                                                                                       Rioters chase an ofﬁcer to the top of a staircase where there are entrances
                                                                                       to the Senate chamber in both directions.


                                                                                       2:14 p.m. Inside the Capitol




                                                                                                          0:00

                                                                                                          Cinemagraph Sample

                                                                                       Igor Bobic/HuffPost via Storyful



         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              913Times
                                                                                                                                                    of 1677
                                                                                       The ofﬁcer leads the rioters one way, and backup arrives — while the
                                                                                       police inside the chamber are still trying to lock the doors.



                                                                                            N

                                                                                                                                                    U.S. CAPITOL
                                                                                                                                                      S e c o nd Flo o r




                                                                                                                           2:14 p.m.
                                                                                                                           Mob makes it to top of
                                                                                                                                                         East side
                                                                                                                           stairs near Senate
                                                                                                                           chamber entrance
Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 15 of 18 PageID #: 1202


                                                                                                                                                           Hallways


                                                                                                                                        Mob faces off
                                                                                                                                        with ofﬁcers
                                                                                                                     Senate
                                                                                                                    Chamber
                                                                                                                    2:13 p.m.
                                                                                                                  Senate goes
                                                                                                                   into recess




                                                                                                                                                         West side
                                                                                                                                           2:11 p.m.
                                                                                                                                           Mob breaks through
                                                                                                                                           doors and windows
                                                                                                                                           on ﬁrst ﬂoor


                                                                                                Capitol grounds and
                                                                                                   National Mall




                                                                                        1 2:11 p.m. Mob breaks through doors and windows on ﬁrst ﬂoor

                                                                                        2 2:13 p.m. Senate goes into recess

                                                                                        3 2:14 p.m. Mob makes it to top of stairs near Senate chamber entrance

                                                                                        4 Mob faces off with ofﬁcers




                                                                                       Now rioters stand off with the police in the hall, feet away from the
                                                                                       entrance to the Senate chamber. Senators are still milling about inside.


                                                                                       2:16 p.m. Hall outside Senate chamber




                                                                                       Win Mcnamee/Getty Images


         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
                                                                                                                                                                           Exhibit N   14/17
         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              914Times
                                                                                                                                                    of 1677
                                                                                                                    After the breach

                                                                                                         The Siege Continues




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 16 of 18 PageID #: 1203


                                                                                                    Thousands reach the            Congress is halted.
                                                                                                         Capitol.


                                                                                       More than ﬁve minutes after the ﬁrst rioters break into the building, the
                                                                                       House also goes into recess. Now, the police are clashing with the mob
                                                                                       inside the building as some members of Congress are able to evacuate.
                                                                                       Others are trapped inside while rioters pound on the doors.

                                                                                       Outside the building, the crowd grows as attendees from President
                                                                                       Trump’s rally continue to stream in. The mob becomes more violent,
                                                                                       dragging and beating ofﬁcers.

                                                                                       Three hours will pass before the sergeant-at-arms declares the building
                                                                                       secure.


                  2:19 p.m. Near Capitol grounds on the west side




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
                                                                                                                                                                   Exhibit N   15/17
         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              915Times
                                                                                                                                                    of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 17 of 18 PageID #: 1204




                                                                                       Jim Lo Scalzo/EPA, via Shutterstock




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                  Reporting was contributed by Stella Cooper, Cora Engelbrecht, Evan Hill, Robin Stein, Ben Decker and Malachy Browne.
                  Additional production by Meg Felling, Dave Horn, Whitney Hurst, Christina Kelso and Scott Reinhard.
         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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         1/13/2021                                                        Insurrection atDocument
                                                         Case 1:21-cv-01169-TCB           the Capitol: A Timeline
                                                                                                         35-2 ofFiled
                                                                                                                  How It 05/03/21
                                                                                                                         Happened - ThePage
                                                                                                                                        New York
                                                                                                                                              916Times
                                                                                                                                                    of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-3 Filed 01/25/21 Page 18 of 18 PageID #: 1205




         https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
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                                     64-4
                                        35-2
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                                                  01/25/21
                                                     05/03/21
                                                            Page
                                                              Page
                                                                 1 of917
                                                                      50 PageID
                                                                         of 1677 #: 1206




                  EXHIBIT C




                                                                           Exhibit N
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 918 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 2 of 50 PageID #: 1207




                       The attack on the Capitol was a predictable culmination of a months-long ferment. Throughout the
                       pandemic, right-wing protesters had been gathering at statehouses, demanding entry and shouting
                       things like “Treason!” and “Let us in!” Photograph by Balazs Gardi for The New Yorker


                                                                                      A Reporter at Large   January 25, 2021 Issue


                                                                    Among the Insurrectionists
                              The Capitol was breached by Trump supporters who had been declaring, at rally
                             after rally, that they would go to violent lengths to keep the President in power. A
         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   1/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 919 of 1677
                                                                                                chronicle of an attack foretold.

                                                                                                         By Luke Mogelson
                                                                                                           January 15, 2021




                                                                                                                          0:00 / 1:17:42
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 3 of 50 PageID #: 1208




                                     Audio: Listen to this article. To hear more, download Audm for iPhone or Android.




                       B
                                             y the end of President Donald Trump’s crusade against American democracy—after a relentless
                                             deployment of propaganda, demagoguery, intimidation, and fearmongering aimed at
                       persuading as many Americans as possible to repudiate their country’s foundational principles—a
                       single word suﬃced to nudge his most fanatical supporters into open insurrection. Thousands of
                       them had assembled on the Mall, in Washington, D.C., on the morning of January 6th, to hear
                       Trump address them from a stage outside the White House. From where I stood, at the foot of the
                       Washington Monument, you had to strain to see his image on a jumbotron that had been set up on
                       Constitution Avenue. His voice, however, projected clearly through powerful speakers as he rehashed
                       the debunked allegations of massive fraud which he’d been propagating for months. Then he
                       summarized the supposed crimes, simply, as “bullshit.”

                       “Bullshit! Bullshit!” the crowd chanted. It was a peculiar mixture of emotion that had become
                       familiar at pro-Trump rallies since he lost the election: half mutinous rage, half gleeful excitement at
                       being licensed to act on it. The profanity signalled a nal jettisoning of whatever residual deference
                       to political norms had survived the past four years. In front of me, a middle-aged man wearing a
                       Trump ag as a cape told a young man standing beside him, “There’s gonna be a war.” His tone was
                       resigned, as if he were at last embracing a truth that he had long resisted. “I’m ready to ght,” he said.
                       The young man nodded. He had a thin mustache and hugged a life-size mannequin with duct tape
                       over its eyes, “                                               ” scrawled on its chest, and a noose around its neck.

                       “We want to be so nice,” Trump said. “We want to be so respectful of everybody, including bad
                       people. We’re going to have to ght much harder. And Mike Pence is going to have to come through

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                              Exhibit N   2/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 920 of 1677
                       for us.”

                       About a mile and a half away, at the east end of the Mall, Vice-President Pence and both houses of
                       Congress had convened to certify the Electoral College votes that had made Joe Biden and Kamala
                       Harris the next President and Vice-President of the United States. In December, a hundred and forty
                       Republican representatives—two-thirds of the caucus—had said that they would formally object to
                       the certi cation of several swing states. Fourteen Republican senators, led by Josh Hawley, of
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 4 of 50 PageID #: 1209


                       Missouri, and Ted Cruz, of Texas, had joined the eﬀort. The lawmakers lacked the authority to
                       overturn the election, but Trump and his allies had concocted a fantastical alternative: Pence, as the
                       presiding oﬃcer of the Senate, could single-handedly nullify votes from states that Biden had won.
                       Pence, though, had advised Congress that the Constitution constrained him from taking such action.

                       “After this, we’re going to walk down, and I’ll be there with you,” Trump told the crowd. The people
                       around me exchanged looks of astonishment and delight. “We’re going to walk down to the Capitol,
                       and we’re going to cheer on our brave senators and congressmen and women. We’re probably not
                       going to be cheering so much for some of them—because you’ll never take back our country with
                       weakness. You have to show strength.”

                       “No weakness!” a woman cried.

                       Before Trump had even nished his speech, approximately eight thousand people started moving up
                       the Mall. “We’re storming the Capitol!” some yelled.

                       There was an eerie sense of inexorability, the throngs of Trump supporters advancing up the long
                       lawn as if pulled by a current. Everyone seemed to understand what was about to happen. The past
                       nine weeks had been steadily building toward this moment. On November 7th, mere hours after
                       Biden’s win was projected, I attended a protest at the Pennsylvania state capitol, in Harrisburg.
                       Hundreds of Trump supporters, including heavily armed militia members, vowed to revolt. When I
                       asked a man with an assault ri e—a “combat-skills instructor” for a militia called the Pennsylvania
                       Three Percent—how likely he considered the prospect of civil con ict, he told me, “It’s coming.”
                       Since then, Trump and his allies had done everything they could to spread and intensify this bitter
                       aggrievement. On December 5th, Trump acknowledged, “I’ve probably worked harder in the last
                       three weeks than I ever have in my life.” (He was not talking about managing the pandemic, which


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   3/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 921 of 1677
                       since the election has claimed a hundred and fty thousand American lives.) Militant pro-Trump
                       out ts like the Proud Boys—a national organization dedicated to “reinstating a spirit of Western
                       chauvinism” in America—had been openly gearing up for major violence. In early January, on Parler,
                       an un ltered social-media site favored by conservatives, Joe Biggs, a top Proud Boys leader, had
                       written, “Every law makers who breaks their own stupid Fucking laws should be dragged out of oﬃce
                       and hung.”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 5 of 50 PageID #: 1210


                       On the Mall, a makeshift wooden gallows, with stairs and a rope, had been constructed near a statue
                       of Ulysses S. Grant. Some of the marchers nearby carried Confederate ags. Up ahead, the dull thud
                       of stun grenades could be heard, accompanied by bright ashes. “They need help!” a man shouted.
                       “It’s us versus the cops!” Someone let out a rebel yell. Scattered groups wavered, debating whether to
                       join the confrontation. “We lost the Senate—we need to make a stand now,” a bookish-looking
                       woman in a down coat and glasses appealed to the person next to her. The previous day, a runoﬀ in
                       Georgia had ipped two Republican Senate seats to the Democrats, giving them majority control.

                       Hundreds of Trump supporters had forced their way past barricades to the Capitol steps. In
                       anticipation of Biden’s Inauguration, bleachers had been erected there, and the sides of the
                       scaﬀolding were wrapped in ripstop tarpaulin. Oﬃcers in riot gear blocked an open ap in the fabric;
                       the mob pressed against them, screaming insults.

                       “You are traitors to the country!” a man barked at the police through a megaphone plastered with
                       stickers from “InfoWars,” the incendiary Web program hosted by the right-wing conspiracist Alex
                       Jones. Behind the man stood Biggs, the Proud Boys leader. He wore a radio clipped onto the breast
                       pocket of his plaid annel shirt. Not far away, I spotted a “straight pride” ag.

                       There wasn’t nearly enough law enforcement to fend oﬀ the mob, which pelted the oﬃcers with cans
                       and bottles. One man angrily invoked the pandemic lockdown: “Why can’t I work? Where’s my
                       ‘pursuit of happiness’?” Many people were equipped with ak jackets, helmets, gas masks, and tactical
                       apparel. Guns were prohibited for the protest, but a man in a cowboy hat, posing for a photograph,
                       lifted his jacket to reveal a revolver tucked into his waistband. Other Trump supporters had Tasers,
                       baseball bats, and truncheons. I saw one man holding a coiled noose.

                       “Hang Mike Pence!” people yelled.


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   4/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 922 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 6 of 50 PageID #: 1211




                       On the day Joe Biden’s win was projected, hundreds of Trump supporters protested at the Pennsylvania
                       state capitol. Photograph by Balazs Gardi for The New Yorker



         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   5/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 923 of 1677
                       Soon the mob swarmed past the oﬃcers, into the understructure of the bleachers, and scrambled
                       through its metal braces, up the building’s granite steps. Toward the top was a temporary security
                       wall with three doors, one of which was instantly breached. Dozens of police stood behind the wall,
                       using shields, nightsticks, and pepper spray to stop people from crossing the threshold. Other oﬃcers
                       took up positions on planks above, ring a steady barrage of nonlethal munitions into the solid mass
                       of bodies. As rounds tinked oﬀ metal, and caustic chemicals lled the space as if it were a fumigation
                       tent, some of the insurrectionists panicked: “We need to retreat and assault another point!” But most
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 7 of 50 PageID #: 1212




                       remained resolute. “Hold the line!” they exhorted. “Storm!” Martial bagpipes blared through portable
                       speakers.

                       “Shoot the politicians!” somebody yelled.

                       “Fight for Trump!”

                       A jet of pepper spray incapacitated me for about twenty minutes. When I regained my vision, the
                       mob was streaming freely through all three doors. I followed an overweight man in a Roman-era
                       costume—sandals, cape, armguards, dagger—away from the bleachers and onto an open terrace on
                       the Capitol’s main level. People clambered through a shattered window. Video later showed that a
                       Proud Boy had smashed it with a riot shield. A dozen police stood in a hallway softly lit by ornate
                       chandeliers, mutely watching the rioters—many of them wearing Trump gear or carrying Trump
                            ags— ood into the building. Their cries resonated through colonnaded rooms: “Where’s the
                       traitors?” “Bring them out!” “Get these fucking cocksucking Commies out!”

                       The attack on the Capitol was a predictable apotheosis of a months-long ferment. Throughout the
                       pandemic, right-wing protesters had been gathering at statehouses, demanding entry. In April, an
                       armed mob had lled the Michigan state capitol, chanting “Treason!” and “Let us in!” In December,
                       conservatives had broken the glass doors of the Oregon state capitol, overrunning oﬃcers and
                       spraying them with chemical agents. The occupation of restricted government sanctums was an
                       aﬃrmation of dominance so emotionally satisfying that it was an end in itself—proof to elected
                       oﬃcials, to Biden voters, and also to the occupiers themselves that they were still in charge. After one
                       of the Trump supporters breached the U.S. Capitol, he insisted through a megaphone, “We will not
                       be denied.” There was an unmistakable subtext as the mob, almost entirely white, shouted, “Whose
                       house? Our house!” One man carried a Confederate ag through the building. A Black member of

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
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         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 924 of 1677
                       the Capitol Police later told BuzzFeed News that, during the assault, he was called a racial slur fteen
                       times.

                       I followed a group that broke oﬀ to advance on ve policemen guarding a side corridor. “Stand
                       down,” a man in a                                              hat commanded. “You’re outnumbered. There’s a fucking million of us out
                       there, and we are listening to Trump—your boss.”

                       “We can take you out,” a man beside him warned.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 8 of 50 PageID #: 1213




                       The oﬃcers backpedalled the length of the corridor, until we arrived at a marble staircase. Then they
                       moved aside. “We love you guys—take it easy!” a rioter yelled as he bounded up the steps, which led
                       to the Capitol’s central rotunda.




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                               Exhibit N        7/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 925 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 9 of 50 PageID #: 1214




          On an open terrace on the U.S. Capitol’s main level, Trump supporters clambered through a shattered
          window. “Where’s the traitors?” they shouted.
          Photograph by Balazs Gardi for The New Yorker




                       Beneath the soaring dome, surrounded by statues of former Presidents and by large oil paintings
                       depicting such historical scenes as the embarkation of the Pilgrims and the presentation of the
                       Declaration of Independence, a number of young men chanted, “America rst!” The phrase was
                       popularized in 1940 by Nazi sympathizers lobbying to keep the U.S. out of the Second World War;
                       in 2016, Trump resurrected it to describe his isolationist foreign and immigration policies. Some of


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   8/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 926 of 1677
                       the chanters, however, waved or wore royal-blue ags inscribed with “AF,” in white letters. This is
                       the logo for the program “America First,” which is hosted by Nicholas Fuentes, a twenty-two-year-
                       old Holocaust denier, who promotes a brand of white Christian nationalism that views politics as a
                       means of preserving demographic supremacy. Though America Firsters revile most mainstream
                       Republicans for lacking suﬃcient commitment to this priority—especially neoconservatives, whom
                       they accuse of being subservient to Satan and Jews—the group’s loyalty to Trump is, according to
                       Fuentes, “unconditional.”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 10 of 50 PageID #: 1215




                       The America Firsters and other invaders fanned out in search of lawmakers, breaking into oﬃces and
                       revelling in their own astounding impunity. “Nancy, I’m ho-ome! ” a man taunted, mimicking Jack
                       Nicholson’s character in “The Shining.” Someone else yelled, “1776—it’s now or never.” Around this
                       time, Trump tweeted, “Mike Pence didn’t have the courage to do what should have been done to
                       protect our Country. . . . USA demands the truth!” Twenty minutes later, Ashli Babbitt, a thirty- ve-
                       year-old woman from California, was fatally shot while climbing through a barricaded door that led
                       to the Speaker’s lobby in the House chamber, where representatives were sheltering. The
                       congresswoman Alexandria Ocasio-Cortez, a Democrat from New York, later said that she’d had a
                       “close encounter” with rioters during which she thought she “was going to die.” Earlier that morning,
                       another representative, Lauren Boebert—a newly elected Republican, from Colorado, who has
                       praised QAnon and promised to wear her Glock in the Capitol—had tweeted, “Today is 1776.”

                       When Babbitt was shot, I was on the opposite side of the Capitol, where people were growing
                       frustrated by the empty halls and oﬃces.

                       “Where the fuck are they?”

                       “Where the fuck is Nancy?”

                       No one seemed quite sure how to proceed. “While we’re here, we might as well set up a government,”
                       somebody suggested.

                       Then a man with a large “AF ” ag—college-age, cheeks spotted with acne—pushed through a series
                       of tall double doors, the last of which gave onto the Senate chamber.

                       “Praise God!”

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   9/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 927 of 1677
                       There were signs of a hasty evacuation: bags and purses on the plush blue-and-red carpet, personal
                       belongings on some of the desks. From the gallery, a man in a ak jacket called down, “Take
                       everything! Take all that shit!”

                       “No!” an older man, who wore an ammo vest and held several plastic ex cuﬀs, shouted. “We do not
                       take anything.” The man has since been identi ed as Larry Rendall Brock, Jr., a retired Air Force
                       lieutenant colonel.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 11 of 50 PageID #: 1216




                       The young America Firster went directly to the dais and installed himself in the leather chair recently
                       occupied by the Vice-President. Another America Firster lmed him extemporizing a speech:
                       “Donald Trump is the emperor of the United States . . .”

                       “Hey, get out of that chair,” a man about his age, with a thick Southern drawl, said. He wore cowhide
                       work gloves and a camou age hunting jacket that was several sizes too large for him. Gauze hung
                       loosely around his neck, and blood, leaking from a nasty wound on his cheek, encrusted his beard.
                       Later, when another rioter asked for his name, he responded, “Mr. Black.” The America Firster
                       turned and looked at him uncertainly.

                       “We’re a democracy,” Mr. Black said.

                       “Bro, we just broke into the Capitol,” the America Firster scoﬀed. “What are you talking about?”

                       Brock, the Air Force veteran, said, “We can’t be disrespectful.” Using the military acronym for
                       “information operations,” he explained, “You have to understand—it’s an I.O. war.”


                       Watch: A Reporter’s Footage From Inside the Capitol Siege


                       The America Firster grudgingly left the chair. More than a dozen Trump supporters led into the
                       chamber. A hundred antique mahogany desks with engraved nameplates were arranged in four tiered
                       semicircles. Several people swung open the hinged desktops and began ri ing through documents
                       inside, taking pictures with their phones of private notes and letters, partly completed crossword
                       puzzles, manuals on Senate procedure. A man in a construction hard hat held up a hand-signed
                       document, on oﬃcial stationery, addressed from “Mitt” to “Mike”—presumably, Romney and Pence.
                       It was the speech that Romney had given, in February, 2020, when he voted to impeach Trump for

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   10/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 928 of 1677
                       pressuring the President of Ukraine to produce dirt on Biden. “Corrupting an election to keep oneself
                       in oﬃce is perhaps the most abusive and disruptive violation of one’s oath of oﬃce that I can
                       imagine,” Romney had written.




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 12 of 50 PageID #: 1217




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   11/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 929 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 13 of 50 PageID #: 1218




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   12/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 930 of 1677
                       Armed militia members attended a Stop the Steal rally in Harrisburg, Pennsylvania, on November
                       7th. Photograph by Balazs Gardi for The New Yorker


                       Some senators had printed out their prepared remarks for the election certi cation that the
                       insurrectionists had disrupted. The man in the hard hat found a piece of paper belonging to Ted
                       Cruz and said, “He was gonna sell us out all along—look! ‘Objection to counting the electoral votes
                       of the state of Arizona.’ ” He paused. “Oh, wait, that’s actually O.K.”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 14 of 50 PageID #: 1219




                       “He’s with us,” an America Firster said.

                       Another young man, wearing sweatpants and a long-sleeved undershirt, seemed unconvinced.
                       Frantically ipping through a three-ring binder on Cruz’s desk, he muttered, “There’s gotta be
                       something in here we can fucking use against these scumbags.” Someone looking on commented,
                       with serene con dence, “Cruz would want us to do this, so I think we’re good.”

                       Mr. Black wandered around in a state of childlike wonder. “This don’t look big enough,” he
                       muttered. “This can’t be the right place.” On January 14th, Joshua Black was arrested, in Leeds,
                       Alabama, after he posted a confession on YouTube in which he explained, “I just felt like the spirit of
                       God wanted me to go in the Senate room.” On the day of the riot, as he took in the chamber, he
                       ordered everyone, “Don’t trash the place. No disrespect.” After a while, rather than defy him, nearly
                       everybody left the chamber. For a surreal interlude, only a few people remained. Black’s blood-
                       smeared cheek was grotesquely swollen, and as I looked closer I glimpsed the smooth surface of a
                       yellow plastic projectile embedded deeply within it.

                       “I’m gonna call my dad,” he said, and sat down on the oor, leaning his back against the dais.

                       A moment later, the door at the back of the chamber’s center aisle swung open, and a man strode
                       through it wearing a fur headdress with horns, carrying a spear attached to an American ag. He was
                       shirtless, his chest covered with Viking and pagan tattoos, his face painted red, white, and blue. It
                       was Jacob Chansley, a vocal QAnon proponent from Arizona, popularly known by his pseudonym,
                       the Q Shaman. Both on the Mall and inside the Capitol, I’d seen countless signs and banners
                       promoting QAnon, whose acolytes believe that Trump is working to dismantle an occult society of
                       cannibalistic pedophiles. At the base of the Washington Monument, I’d watched Chansley assure
                       people, “We got ’em right where we want ’em! We got ’em by the balls, baby, and we’re not lettin’ go!”
         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   13/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 931 of 1677
                       “Fuckin’ A, man,” he said now, looking around with an impish grin. A young policeman had followed
                       closely behind him. Pudgy and bespectacled, with a medical mask over red facial hair, he approached
                       Black, and asked, with concern, “You good, sir? You need medical attention?”

                       “I’m good, thank you,” Black responded. Then, returning to his phone call, he said, “I got shot in the
                       face with some kind of plastic bullet.”

                       “Any chance I could get you guys to leave the Senate wing?” the oﬃcer inquired. It was the tone of
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 15 of 50 PageID #: 1220




                       someone trying to lure a suicidal person into climbing down from a ledge.

                       “We will,” Black assured him. “I been making sure they ain’t disrespectin’ the place.”

                       “O.K., I just want to let you guys know—this is, like, the sacredest place.”

                       Chansley had climbed onto the dais. “I’m gonna take a seat in this chair, because Mike Pence is a
                       fucking traitor,” he announced. He handed his cell phone to another Trump supporter, telling him,
                       “I’m not one to usually take pictures of myself, but in this case I think I’ll make an exception.” The
                       policeman looked on with a pained expression as Chansley exed his biceps.




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   14/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 932 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 16 of 50 PageID #: 1221




           Rioters forced their way past barricades to the Capitol steps, over which bleachers had been erected in
           anticipation of Biden’s Inauguration. There wasn’t nearly enough law enforcement to fend oﬀ the mob.
           Photograph by Balazs Gardi for The New Yorker




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   15/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 933 of 1677
                       A skinny man in dark clothes told the oﬃcer, “This is so weird—like, you should be stopping us.”

                       The oﬃcer pointed at each person in the chamber: “One, two, three, four, ve.” Then he pointed at
                       himself: “One.” After Chansley had his photographs, the oﬃcer said, “Now that you’ve done that,
                       can I get you guys to walk out of this room, please?”

                       “Yes, sir,” Chansley said. He stood up and took a step, but then stopped. Leaning his spear against
                       the Vice-President’s desk, he found a pen and wrote something on a sheet of paper.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 17 of 50 PageID #: 1222




                       “I feel like you’re pushing the line,” the oﬃcer said.

                       Chansley ignored him. After he had set down the pen, I went behind the desk. Over a roll-call list of
                       senators’ names, the Q Shaman had scrawled, “                                                             /                    !”



                       T
                                               he Capitol siege was so violent and chaotic that it has been hard to discern the speci c political
                                               agendas of its various participants. Many of them, however, went to D.C. for two previous
                       events, which were more clarifying. On November 14th, tens of thousands of Republicans, convinced
                       that the Democrats had subverted the will of the people in what amounted to a bloodless coup,
                       marched to the Supreme Court, demanding that it overturn the election. For four years, Trump had
                       batted away every inconvenient fact with the phrase “fake news,” and his base believed him when he
                       attributed his decisive defeat in both the Electoral College and the popular vote to “rigged” machines
                       and “massive voter fraud.” While the President’s lawyers inundated battleground states with spurious
                       litigation, one of them, during an interview on Fox Business, acknowledged the basis of their
                       strategy: “We’re waiting for the United States Supreme Court, of which the President has nominated
                       three Justices, to step in and do something.” After nearly every suit had collapsed—with judges
                       appointed by Republicans and Democrats alike harshly criticizing the accusations as “speculative,”
                       “incorrect,” and “not credible,” and Trump’s own Justice Department vouching for the integrity of the
                       election—the attorney general of Texas petitioned the Supreme Court to invalidate all the votes from
                       Wisconsin, Georgia, Pennsylvania, and Michigan (swing states that went for Biden). On December
                       11th, the night before the second D.C. demonstration, the Justices declined to hear the case,
                       dispelling once and for all the fantasy that Trump, despite losing the election, might legally remain in
                       oﬃce.



         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N        16/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 934 of 1677
                       The next afternoon, throngs of Trump supporters crowded into Freedom Plaza, an unadorned public
                       square equidistant from the Justice Department and the White House. On one side, a large audience
                       pressed around a group of preppy-looking young men wearing plaid shirts, windbreakers, khakis, and
                       sunglasses. Some held rosaries and crosses, others royal-blue “AF ” ags. The organizers had not
                       included Fuentes, the “America First” host, in their lineup, but when he arrived at Freedom Plaza the
                       crowd parted for him, chanting, “Groyper!” The name, which America Firsters call one another,
                       derives from a variation of the Pepe the Frog meme, which is fashionable among white supremacists.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 18 of 50 PageID #: 1223




                       Diminutive and clean-shaven, with boyish features and a toothy smile, Fuentes resembled, in his suit
                       and red tie, a recent graduate dressed for a job interview. (He dropped out of Boston University after
                       his freshman year, when other students became hostile toward him for participating in the deadly
                       neo-Nazi rally in Charlottesville, Virginia, in 2017, and for writing on Facebook that “a tidal wave of
                       white identity is coming.”) Fuentes climbed atop a granite retaining wall, and someone handed him a
                       megaphone. As his speech approached a crescendo of indignation, more and more attendees
                       gravitated to the groypers. “It is us and our ancestors that created everything good that you see in this
                       country,” Fuentes said. “All these people that have taken over our country—we do not need them.”

                       The crowd roared, “Take it back!”—a phrase that would soon ring inside the Capitol.

                       “It’s time for us to start saying another word again,” Fuentes shouted. “A very important word that
                       describes the situation we’re in. That word is ‘parasite.’ What is happening in this country is
                       parasitism.” Arguing that Trump alone represented “our interests”—an end to all legal and illegal
                       immigration, gay rights, abortion, free trade, and secularism—Fuentes distilled America Firstism
                       into concise terms: “It is the American people, and our leader, Donald Trump, against everybody else
                       in this country and this world.” The Republican governors, judges, and legislators who had refused to
                       leverage their authority to secure Trump four more years in the White House—“traitors within our
                       own ranks”—were on “a list” of people to be taken down. Fuentes also opposed the Constitution’s
                       checks and balances, which had enabled Biden to prevail. “Make no mistake about it,” he declared.
                       “The system is our enemy.”

                       During the nine weeks between November 3rd and January 6th, extremists like Fuentes did their
                       utmost to take advantage of the opening that Trump created for them by refusing to concede. They
                       were frank about their intentions: undoing not just the 2020 Presidential outcome but also any form

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   17/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 935 of 1677
                       of representative government that allows Democrats to obtain and exercise power. Correctly pointing
                       out that a majority of Republicans believed that the election had been stolen, Fuentes argued, “This
                       is the opportunity to galvanize the patriots of this country behind a real solution to these problems
                       that we’re facing.” He also said, “If we can’t get a country that we deserve to live in through the
                       legitimate process, then maybe we need to begin to explore some other options.” In case anybody was
                       confused about what those options might be, Fuentes explained, “Our Founding Fathers would get in
                       the streets, and they would take this country back by force if necessary. And that is what we must be
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 19 of 50 PageID #: 1224




                       prepared to do.”

                       In the days before January 6th, calls for a “real solution” became progressively louder. Trump, by both
                       amplifying these voices and consolidating his control over the Republican Party, conferred
                       extraordinary in uence on the most deranged and hateful elements of the American right. On
                       December 20th, he retweeted a QAnon supporter who used the handle @cjtruth: “It was a rigged
                       election but they were busted. Sting of the Century! Justice is coming!” A few weeks later, a barbarian
                       with a spear was sitting in the Vice-President’s chair.

                       As Fuentes wrapped up his diatribe, he noticed a drag queen standing on the periphery of the crowd.
                       She wore a blond wig and an evening gown with a beauty-queen sash identifying her as Lady                                         .
                       At the November D.C. rally, I had been surprised to see Trump supporters lining up to have their
                       pictures taken with her. Now Fuentes yelled, “That is disgusting! I don’t want to see that!,” and the
                       groypers wheeled on her, bellowing in unison, “Shame!”

                       No one in the crowd objected.



                       W
                                                         hile Fuentes was proposing a movement to “take this country back by force,” a large
                                                         contingent of Proud Boys marched by. Members from Illinois, Pennsylvania, Oregon,
                       California, and elsewhere were easy to identify. Most were dressed in the organization’s black-and-
                       yellow colors. Some had “                                       ”—Right-Wing Death Squad—hats and patches; others wore
                       balaclavas, kilts, hockey masks, or batting helmets. One man was wearing a T-shirt with an image of
                       South American dissidents being thrown out of a helicopter and the words “
                                                 !” Another T-shirt featured a Nazi eagle perched on a fasces, below the acronym “6                 ”—
                       Six Million Wasn’t Enough—a reference to the number of Jews slaughtered in the Holocaust.



         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N          18/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 936 of 1677
                       Many of the Proud Boys were drunk. At around nine-thirty that morning, I’d stopped by Harry’s
                       Pub, a dive bar close to Freedom Plaza, and found the street outside lled with men drinking
                       Budweiser and White Claw. “We are going to own this town!” one of them howled. At the
                       November 14th rally, clashes between the Proud Boys and antifascists had left a number of people
                       injured. Although most of the ghts I witnessed then had been instigated by the Proud Boys, Trump
                       had tweeted, “ANTIFA SCUM ran for the hills today when they tried attacking the people at the
                       Trump Rally, because those people aggressively fought back.” It was clear that the men outside
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 20 of 50 PageID #: 1225




                       Harry’s on December 12th had travelled to D.C. to engage in violence, and that they believed the
                       President endorsed their doing so. Trump had made an appearance at the previous rally, waving
                       through the window of his limousine; now I overheard a Proud Boy tell his comrade, “I wanna see
                       Trump drive by and give us one of these.” He ashed an “O.K.” hand sign, which has become a
                       gesture of allegiance among white supremacists. There would be no motorcade this time, but while
                       Fuentes addressed the groypers Trump circled Freedom Plaza in Marine One, the Presidential
                       helicopter.




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   19/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 937 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 21 of 50 PageID #: 1226




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   20/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 938 of 1677
                       The conspiracist Alex Jones dominated a pro-Trump rally on November 14th. “Down with the deep
                       state!” Jones yelled. “The answer to their ‘1984’ tyranny is 1776!” Photograph by Balazs Gardi for The New
                       Yorker




                       The Proud Boys who marched past Fuentes at the end of his December 12th speech were heading to
                       the Washington Monument. When I got there, hundreds of them covered the grassy expanse near
                       the obelisk. “Let’s take Black Lives Matter Plaza!” someone suggested. In June, the security fence
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 22 of 50 PageID #: 1227


                       around the White House had been expanded, subsuming green spaces previously open to the public,
                       in response to protests over the killing of George Floyd, in Minneapolis. Muriel Bowser, the mayor
                       of D.C., had renamed two blocks adjacent to the fence Black Lives Matter Plaza, and commissioned
                       the city to paint “                                              ” across the pavement in thirty- ve-foot-high letters.
                       Throughout the latter half of 2020, Trump had sought to dismiss the popular uprisings that Floyd’s
                       death had precipitated by ascribing them to Antifa, which he vili ed as a terrorist organization. The
                       Proud Boys had seized on Trump’s con ation to recast their small-scale rivalry with antifascists in
                       leftist strongholds like Berkeley and Portland as the front line of a national culture war. During the
                       Presidential campaign, Trump’s histrionic exaggerations of the threat posed by Antifa fuelled
                       conservative support for the Proud Boys, allowing them to vastly expand their operations and
                       recruitment. The day after a Presidential debate in which Trump told the Proud Boys to “stand back
                       and stand by,” Lauren Witzke, a Republican Senate candidate in Delaware, publicly thanked the
                       group for having provided her with “free security.” (She lost the race.)

                       As Proud Boys from across the nation walked downhill from the Washington Monument toward
                       Black Lives Matter Plaza on December 12th, they chanted, “Whose plaza? Our plaza!” Many of
                       them carried staﬀs, canes, and holstered Maglites. There was a heavy police presence downtown, and
                       it was still broad daylight. “We got numbers, let’s do this!” a Proud Boy with a newsboy cap and a
                       gray goatee shouted. “Fuck these gender-confused terrorists! They’ll put the girls out rst—they
                       think that’s gonna stop us?” His name was Richard Schwetz, though he went by Dick Sweats. (He
                       could not be reached for comment.) While some Proud Boys hesitated, others followed Schwetz,
                       including a taciturn man with a high-and-tight military haircut and a large Confederate ag attached
                       to a wooden dowel. I saw him again at the Capitol on January 6th.

                       On Constitution Avenue, the Proud Boys encountered an unsuspecting Black man coming up the
                       sidewalk. They began shoving and jeering at him. As the man ran away, several of them chased him,
         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   21/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 939 of 1677
                       swinging punches at his back.

                       Oﬃcers had cordoned oﬀ Black Lives Matter Plaza, but the group soon reached Farragut Square,
                       where half a dozen counter-protesters—two men and four women—stood outside the Army and
                       Navy Club, dressed in black clothes marked with medic crosses made from red tape. They were
                       smaller and younger than most of the Proud Boys, and visibly unnerved. As Schwetz and others
                       closed in on them, the medics retreated until they were pressed against a waist-high hedge. “Fucking
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 23 of 50 PageID #: 1228


                       pussies!” Schwetz barked, hitting two of the women. Other Proud Boys took his cue, assailing the
                       activists, who disappeared into the hedge under a barrage of boots and sts. Policemen stopped the
                       beating by deploying pepper spray, but they did not arrest any Proud Boys, who staggered oﬀ in
                       search of a new target.

                       They promptly found one: another Black man, passing through on his bicycle. He wore Lycra
                       exercise gear and looked perplexed by what was happening on the streets. He said nothing to
                       anybody, but “Black Lives Matter” was written in small letters on his helmet. The Proud Boys
                       surrounded him. Pointing at some oﬃcers watching from a few feet away, a man in a bulletproof vest,
                       carrying a cane, said, “They’re here now, but eventually they won’t be. And we’re gonna take this
                       country back—believe that shit. Fuck Black Lives Matter.” Before walking oﬀ, he added, “What y’all
                       need to do is take your sorry asses to the ghetto.”

                       This was the tenor of the next eight hours, as hundreds of Proud Boys, groypers, militia members,
                       and other Trump supporters openly marauded on the streets around the White House, becoming
                       more inebriated and belligerent as the night wore on, hunting for people to harass and assault. “Fight
                       for Trump!” they chanted. At one point, Proud Boys outside Harry’s Pub ganged up on another
                       Black man, Philip Johnson, who took out a knife in self-defense, wounding four of them. Police
                       intervened and rushed Johnson to the hospital, where he was arrested. The charges were later
                       dropped. Outside Harry’s, I heard a Proud Boy joking about Johnson’s injuries: “He’s going to look
                       diﬀerent tomorrow.”

                       Shortly thereafter, I followed a number of groypers past a hair salon with a rainbow poster attached
                       to its window. Tearing the poster to pieces, a young man screamed, “This is sodomy!”

                       “Fuck the fags!” others cried.


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   22/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 940 of 1677
                       By eleven, I was following another group, which happened upon the Metropolitan African
                       Methodist Episcopal Church. Built in the late nineteenth century, the steepled red brick building
                       had hosted the funerals of Frederick Douglass and Rosa Parks. President Barack Obama had
                       attended a service there on the morning of his second Inauguration. Outside the entrance, a large
                       Black Lives Matter sign, illuminated by oodlamps, hung below a cruci x. Climbing over a low
                       fence, several Proud Boys and men in red                                   hats ripped down the sign and pried oﬀ boards from
                       its scaﬀolding to use as weapons, eliciting wild cheers.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 24 of 50 PageID #: 1229




                       “Whose streets?”

                       “Our streets!”




                                                                  WATCH

                                                                  December 12th, just after 11 P.M., outside the
                                                                  Metropolitan African Methodist Episcopal Church.

                       December 12th, just after 11 P.M., outside the Metropolitan African Methodist Episcopal Church.


                       More people piled into the garden of the church, stomping on the sign and slashing it with knives.
                       Amid the frenzy, one of the Trump supporters removed another placard from a diﬀerent display. It
                       had a verse from the Bible: “I shall not sacri ce to the Lord my God that which costs me nothing.”

                       “Hey, that’s Christian,” someone admonished.


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N    23/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 941 of 1677
                       The man nodded and gingerly set the placard down.



                       T
                                               he cascade of destruction and ugliness triggered by Trump’s lies about the election
                                               consummates a narrative that predates his tenure in the White House. In 2011, Trump
                       became an evangelist for birtherism, the false assertion that Obama had been born in Kenya and was
                       therefore an illegitimate President. Whether or not Trump believed the racist slander, he had been
                       apprised of its political utility by his friend Roger Stone, who made his political reputation as a dirty
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 25 of 50 PageID #: 1230


                       trickster for President Richard Nixon. Five years later, in the months before the 2016 election, Stone
                       created a Web site called Stop the Steal, which he used to undermine Hillary Clinton’s expected
                       victory by insisting that the election had been rigged—a position that Trump maintained even after
                       he won, to explain his de cit in the popular vote.

                       The day after the 2020 election, a new Facebook page appeared: Stop the Steal. Among its earliest
                       posts was a video from the T.C.F. Center, in downtown Detroit, where Michigan ballots were
                       counted. The video showed Republican protesters who were said to have been denied access to the
                       room where absentee votes were being processed. Overnight, Stop the Steal gained more than three
                       hundred and twenty thousand followers—making it among the fastest-growing groups in Facebook
                       history. The company quickly deleted it.

                       I spent much of Election Day at the T.C.F. Center.                                   -19 had killed three thousand residents of
                       Wayne County, which includes Detroit, causing an unprecedented number of people to vote by mail.
                       Nearly two hundred thousand absentee ballots were being tallied in a huge exhibit hall. Roughly
                       eight hundred election workers were opening envelopes, removing ballots from sealed secrecy sleeves,
                       and logging names into an electronic poll book. (Before Election Day, the clerk’s oﬃce had compared
                       and veri ed signatures.) The ballots were then brought to a row of high-speed tabulators, which
                       could process some fty sheets a minute.

                       Republican and Democratic challengers roamed the hall. The press was con ned to a taped-oﬀ area,
                       but, as far as I could see, the Republicans were given free rein of the space. They checked computer
                       monitors that displayed a growing list of names. A man’s voice came over a loudspeaker to remind the
                       election workers to “provide for transparency and openness.” Christopher Thomas, who served as
                       Michigan’s election director for thirty-six years and advised the clerk’s oﬃce in 2020, told me that
                       things had gone remarkably smoothly. The few challengers who’d raised objections had mostly

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N      24/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 942 of 1677
                       misunderstood technical aspects of the process. “We work through it with them,” Thomas said.
                       “We’re happy to have them here.”

                       Early returns showed Trump ahead in Michigan, but many absentee ballots had yet to be processed.
                       Because Trump had relentlessly denigrated absentee voting throughout the campaign, in-person
                       votes had been expected to skew his way. It was similarly unsurprising when his lead diminished after
                       results arrived from Wayne County and other heavily Democratic jurisdictions. Nonetheless, shortly
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 26 of 50 PageID #: 1231


                       after midnight, Trump launched his post-election misinformation campaign: “We are up BIG, but
                       they are trying to STEAL the Election.”




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   25/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 943 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 27 of 50 PageID #: 1232




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   26/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 944 of 1677
                       A makeshift wooden gallows, with stairs and a rope, was erected near the Capitol on January 6th.
                       Since November, militant pro-Trump out ts had been openly gearing up for major violence. In early
                       January, on Parler, a Proud Boys leader had written, “Every law makers who breaks their own stupid
                       Fucking laws should be dragged out of oﬃce and hung.” Photograph by Balazs Gardi for The New Yorker


                       The next day, I found an angry mob outside the T.C.F. Center. Police oﬃcers guarded the doors.
                       Most of the protesters had driven down from Macomb County, which is eighty per cent white and
                       went for Trump in both 2016 and 2020. “We know what’s going on here,” one man told me.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 28 of 50 PageID #: 1233




                       “They’re stuﬃng the ballot box.” He said that his local Republican Party had sent out an e-mail
                       urging people to descend on the center. Politico later reported that Laura Cox, the chairwoman of
                       the Michigan G.O.P., had personally implored conservative activists to go there. I had seen Cox
                       introduce Trump at a rally in Grand Rapids the night before the election; she had promised the
                       crowd “four more years—or twelve, we’ll talk about that later.”

                       Dozens of protesters had entered the T.C.F. Center before it was sealed. Downstairs, they pressed
                       against a glass wall of the exhibit hall, chanting at the election workers on the other side. The most
                       strident member of the group was Ken Licari, a Macomb County resident with a thin beard and a
                       receding hairline. The two parties had been allocated one challenger for each table in the hall, but
                       Republicans had already exceeded that limit, and Licari was irate about being shut out. When an
                       elderly A.C.L.U. observer was ushered past him, Licari demanded to know where she was from. The
                       woman ignored him, and he shouted, “You’re a coward, is where you’re from!”

                       “Be civil,” a woman standing near him said. A forty-eight-year-old caretaker named Lisa, she had
                       stopped by the convention center on a whim, “just to see.” Unlike almost everyone else there, Lisa
                       was Black and from Detroit. She gently asked Licari, “If this place has cameras, and you’ve got media
                       observing, you’ve got diﬀerent people from both sides looking—why do you think someone would be
                       intentionally trying to cheat with all those eyes?”

                       “You would have to have a hundred thirty-four cameras to track every ballot,” Licari answered.

                       “These ballots are from Detroit,” Lisa said. “Detroit is an eighty-per-cent African-American city.
                       There’s a huge percentage of Democrats. That’s just a fact.” She gestured at the predominantly Black
                       poll workers across the glass. “This is my whole thing—I have a basic level of respect for these
                       people.”
         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   27/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 945 of 1677
                       Rather than respond to this tacit accusation of bias, Licari told Lisa that a batch of illegal ballots had
                       been clandestinely delivered to the center at three in the morning. This was a reference to another
                       cell-phone video, widely shared on social media, that showed a man removing a case from the back of
                       a van, loading it in a wagon, and pulling the wagon into the building. I had watched the video and
                       had recognized the man as a member of a local TV news crew I’d noticed the previous day. I
                       distinctly recall admiring the wagon, which he had used to transport his camera gear.
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 29 of 50 PageID #: 1234


                       “There’s a lot of suspicious activity that goes on down here in Detroit,” another Republican from
                       Macomb County told me. “There’s a million ways you can commit voter fraud, and we’re afraid it
                       was committed on a massive scale.” I had seen the man on Election Day, working as a challenger
                       inside the exhibit hall. Now, as then, he wore old Army dog tags and a hooded Michigan National
                       Guard sweatshirt with the sleeves cut oﬀ. I asked him if he had observed any fraud with his own eyes.
                       He had not. “It wasn’t committed by these people,” he said. “But the ballots that they were given and
                       ran through the scanners—we don’t know where they came from.”

                       Like many of the Republicans in the T.C.F. Center, the man had been involved in anti-lockdown
                       demonstrations against Michigan’s governor, Gretchen Whitmer, a Democrat. While reporting on
                       those protests, I’d been struck by how the mostly white participants saw themselves as upholding the
                       tradition of the civil-rights movement. Whitmer’s public-health measures were condemned as
                       oppressive infringements on sacrosanct liberties, and those who de ed them compared themselves to
                       Rosa Parks. The equivalency became even more bizarre after George Floyd was killed and anti-
                       lockdown activists in Michigan adopted Trump’s law-and-order rhetoric. Yet I never had the
                       impression that those Republican activists were disingenuous. Similarly, the white people shouting at
                       the Black election workers in Detroit seemed truly convinced of their own persecution.

                       That conviction had been instilled at least in part by politicians who bene tted from it. In April, in
                       response to Whitmer’s aggressive public-health measures, Trump had tweeted, “Liberate Michigan!”
                       Two weeks later, heavily armed militia members entered the state capitol, terrifying lawmakers. Mike
                       Shirkey, the Republican majority leader in the Michigan Senate, denounced the organizers of the
                       action—a group called the American Patriot Council—as “a bunch of jackasses” who had brandished
                       “the threat of physical harm to stir up fear and rancor.” But, as Trump and other Republicans stoked
                       anti-lockdown resentment across the U.S., Shirkey reversed himself. In May, he appeared at an


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   28/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 946 of 1677
                       American Patriot Council event in Grand Rapids, where he told the assembled militia members,
                       “We need you now more than ever.” A few months later, two brothers in the audience that day,
                       William and Michael Null, were arrested for providing material support to a network of right-wing
                       terrorists.




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 30 of 50 PageID #: 1235




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   29/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 947 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 31 of 50 PageID #: 1236




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   30/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 948 of 1677
                       Trump supporters inside the Capitol on January 6th. For right-wing protesters, the occupation of
                       restricted government sanctums was an aﬃrmation of dominance so emotionally satisfying that it was
                       an end in itself—proof to elected oﬃcials, to Biden voters, and also to themselves that they were still in
                       charge. Photograph by Balazs Gardi for The New Yorker


                       Outside the T.C.F. Center, I ran into Michelle Gregoire, a twenty-nine-year-old school-bus driver
                       from Battle Creek. The sleeves of her sweatshirt were pushed up to reveal a “We the People” tattoo,
                       and she wore a handgun on her belt. We had met at several anti-lockdown protests, including the
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 32 of 50 PageID #: 1237




                       one in Grand Rapids where Shirkey spoke. In April, Gregoire had entered the gallery overlooking
                       the House chamber in the Michigan state capitol, in violation of                                    -19 protocols. She had to be
                       dragged out by the chief sergeant at arms, and she is now charged with committing a felony assault
                       against him. (She has pleaded not guilty.)

                       Gregoire is also an acquaintance of the Nulls. “They’re innocent,” she told me in Detroit. “There’s an
                       attack on conservatives right now.” She echoed many Republicans I have met in the past nine months
                       who have described to me the same animating emotion: fear. “A lot of conservatives are really scared,”
                       she said. “Extreme government overreach” during the pandemic had proved that the Democrats
                       aimed, above all, to subjugate citizens. In October, Facebook deleted Gregoire’s account, which
                       contained posts about a militia that she belonged to at the time. She told me, “If the left gets their
                       way, they will silence whoever they want.” She then expressed another prevalent apprehension on the
                       right: that Democrats intend to disarm Americans, in order to render them defenseless against
                       autocracy. “That terri es me,” Gregoire said. “In other countries, they’ve said, ‘That will never
                       happen here,’ and before you know it their guns are con scated and they’re living under
                       communism.”

                       The sense of embattlement that Trump and other Republican politicians encouraged throughout the
                       pandemic primed many conservatives to assume Democratic foul play even before voting began. Last
                       month, at a State Senate hearing on the count at the T.C.F. Center, a witness, oﬀering no evidence of
                       fraud, demanded to see evidence that none had occurred. “We believe,” he testi ed. “Prove us
                       wrong.” The witness was Randy Bishop, a conservative Christian-radio host and a former county
                       G.O.P. chairman, as well as a felon with multiple convictions for fraud. I’d watched Bishop deliver a
                       rousing speech in June at an American Patriot Council rally, which Gregoire and the Null brothers
                       had attended. “Carrying a gun with you at all times and being a member of a militia is also your civic

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N       31/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 949 of 1677
                       duty,” Bishop had argued. According to the F.B.I., the would-be terrorists whom the Nulls abetted
                       used the rally to meet and further their plans, which included televised executions of Democratic
                       lawmakers. When I was under the bleachers at the U.S. Capitol, while the mob pushed up the steps,
                       I noticed Jason Howland, a founder of the American Patriot Council, a few feet behind me in the
                       scrum, leaning all his weight into the mass of bodies.

                       Even if it were possible to prove that the election was not stolen, it seems doubtful whether
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 33 of 50 PageID #: 1238


                       conservatives who already feel under attack could be convinced. When Gregoire cited the man with
                       the van smuggling a case of ballots into the T.C.F. Center, I told her that he was a journalist and that
                       the case contained equipment. Gregoire shook her head. “No,” she said. “Those were ballots. It’s not
                       a conspiracy when it’s documented and recorded.”



                       C
                                                onspiracy theories have always helped rationalize white grievance, and people who exploit
                                                white grievance for political or nancial gain often purvey conspiracy theories. Roger Stone
                       became Trump’s adviser for the 2016 Republican primaries, and frequently appeared on Alex Jones’s
                       “InfoWars” show, which warned that the “deep state”—a nefarious shadow authority manipulating
                       U.S. policy for the pro t of élites—opposed Trump because he threatened its power. Jones has
                       asserted that the Bush Administration was responsible for 9/11 and that the Sandy Hook Elementary
                       School massacre never happened. During the 2016 campaign, Stone arranged for Trump to be a
                       guest on “InfoWars.” “I will not let you down,” Trump promised Jones.

                       This compact with the conspiracist right strengthened over the next four years, as the President
                       characterized his impeachment and the special counsel Robert Mueller’s report on Russian election
                       meddling as “hoaxes” designed to “overthrow” him. (Stone was convicted of seven felonies related to
                       the Mueller investigation, including making false statements and witness tampering. Trump
                       pardoned him in December. Ten days later, Stone reactivated his Stop the Steal Web site, which
                       began collecting donations for “security” in D.C. on January 6th.) This past year, the scale of the
                       pandemic helped conspiracists broaden the scope of their theories. Many                                     -19 skeptics believe
                       that lockdowns, mask mandates, vaccines, and contact tracing are laying the groundwork for the New
                       World Order—a genocidal communist dystopia that, Jones says, will look “just like ‘The Hunger
                       Games.’ ” The architects of this apocalypse are such “globalists” as the Clintons, Bill Gates, and
                       George Soros; their instruments are multinational institutions like the European Union,                                      , and


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N         32/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 950 of 1677
                       the U.N. Whereas Trump has enfeebled these organizations, Biden intends to reinvigorate them.
                       The claim of a plot to steal the election makes sense to people who see Trump as a warrior against
                       deep-state chicanery. Like all good conspiracy theories, it aﬃrms and elaborates preëxisting ones.
                       Rejecting it can require renouncing an entire world view.

                       Trump’s allegations of vast election fraud have been a boon for professional conspiracists. Not long
                       ago, Jones seemed to be at risk of sliding into obsolescence. Facebook, Twitter, Apple, Spotify, and
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 34 of 50 PageID #: 1239


                       YouTube had expelled him from their platforms in 2018, after he accused the bereaved parents of
                       children murdered at Sandy Hook of being paid actors, prompting “InfoWars” fans to harass and
                       threaten them. The bans curtailed Jones’s reach, but a deluge of                                  -19 propaganda drew millions
                       of people to his proprietary Web sites. To some Americans, Jones’s dire warnings about the deep state
                       and the New World Order looked prophetic, an impression that Trump’s claim of a stolen election
                       only bolstered.

                       After Facebook removed the Stop the Steal group that had posted the video from the T.C.F. Center,
                       its creator, Kylie Jane Kremer, a thirty-year-old activist, conceived the November 14th rally in
                       Washington, D.C., which became known as the Million                                        March. That day, Jones joined tens of
                       thousands of Trump supporters gathered at Freedom Plaza. Kremer, stepping behind a lectern with a
                       microphone, promised “an incredible lineup” of speakers, after which, she said, everyone would
                       proceed up Pennsylvania Avenue, to the Supreme Court. But, before Kremer could introduce her rst
                       guest, Jones had shouted through a bullhorn, “If the globalists think they’re gonna keep America
                       under martial law, and they’re gonna put that Communist Chinese agent Biden in, they got another
                       thing coming!”

                       Hundreds of people cheered. Jones, who is all chest and no neck, pumped a st in the air. “The
                       march starts now!” he soon declared. His usual security detail was supplemented by about a dozen
                       Proud Boys, who formed a protective ring around him. The national chairman of the Proud Boys,
                       Henry (Enrique) Tarrio, walked at his side. Tarrio, the chief of staﬀ of Latinos for Trump, is the son
                       of Cuban immigrants who ed Fidel Castro’s revolution. Although he served time in federal prison
                       for rebranding and relabelling stolen medical devices, he often cites his family history to portray
                       himself and the Proud Boys in a noble light. At an event in Miami in 2019, he stood behind Trump,
                       wearing a T-shirt that said “                                                               !”


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N       33/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 951 of 1677
                       “Down with the deep state!” Jones yelled through his bullhorn. “The answer to their ‘1984’ tyranny is
                       1776!” As he and Tarrio continued along Pennsylvania Avenue, more and more people abandoned
                       Kremer’s event to follow them. As we climbed toward the U.S. Capitol, I turned and peered down at
                       a procession of Trump supporters stretching back for more than a mile. Flags waved like the sails of a
                       bottlenecked armada. From this vantage, the Million                                    March appeared to have been led by the
                       Proud Boys and Jones. On the steps of the Supreme Court, he cried, “This is the beginning of the
                       end of their New World Order!”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 35 of 50 PageID #: 1240




                       Invocations of the New World Order often raise the age-old spectre of Jewish cabals, and the Stop
                       the Steal movement has been rife with anti-Semitism. At the protest that I attended on November
                       7th in Pennsylvania, a speaker elicited applause with the exhortation “Do not become a cog in the
                                     !” The acronym stands for “Zionist-occupied government.” Among the Trump supporters was an
                       elderly woman who gripped a walker with her left hand and a homemade “Stop the Steal” sign with
                       her right. The rst letters of “Stop” and “Steal” were stylized to resemble Nazi S.S. bolts. In videos of
                       the shooting inside the Capitol on January 6th, amid the mob attempting to reach members of
                       Congress, a man—subsequently identi ed as Robert Keith Packer—can be seen in a sweatshirt
                       emblazoned with the words “Camp Auschwitz.” (Packer has been arrested.)

                       On my way back down Pennsylvania Avenue on November 14th, after Jones’s speech, I fell in with a
                       group of groypers chanting “Christian nation!” and “Emperor Trump!” I followed the young men to
                       Freedom Plaza, where one of them read aloud an impassioned screed about “globalist scum” and the
                       need to “strike down this foreign invasion.” When he nished, I noticed that two groypers standing
                       near me were laughing. The response felt incongruous, until I recognized it as the juvenile thrill of
                       transgression. One of them, his voice high with excitement, marvelled, “He just gave a fascist
                       speech!”



                       A
                                                few days later, Nicholas Fuentes appeared on an “InfoWars” panel with Alex Jones and other
                                                right-wing conspiracists. During the discussion, Fuentes warned of the “Great Replacement.”
                       This is the contention that Europe and the United States are under siege from nonwhites and non-
                       Christians, and that these groups are incompatible with Western culture, identity, and prosperity.
                       Many white supremacists maintain that the ultimate outcome of the Great Replacement will be
                       “white genocide.” (In Charlottesville, neo-Nazis chanted, “Jews will not replace us!”; the perpetrators


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N    34/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 952 of 1677
                       of the New Zealand mosque massacre and the El Paso Walmart massacre both cited the Great
                       Replacement in their manifestos.) “What people have to begin to realize is that if we lose this battle,
                       and if this transition is allowed to take place, that’s it,” Fuentes said. “That’s the end.”

                       “Submitting now will destroy you forever,” Jones agreed.

                       Because Fuentes and Jones characterize Democrats as an existential menace—Jones because they
                       want to incrementally enslave humanity, Fuentes because they want to make whites a demographic
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 36 of 50 PageID #: 1241




                       minority—their ght transcends partisan politics. The same is true for the many evangelicals who
                       have exalted Trump as a Messianic gure divinely empowered to deliver the country from satanic
                       in uences. Right-wing Catholics, for their part, have mobilized around the “church militant”
                       movement—fostered by Stephen Bannon, Trump’s former chief strategist—which puts Trump at the
                       forefront of a worldwide clash between Western civilization and Islamic “barbarity.” Crusader ags
                       and patches were widespread at the Capitol insurrection.




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   35/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 953 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 37 of 50 PageID #: 1242




                       Members of Trump’s base went to observe the tabulation of the vote in battleground states, and
                       believed him when he attributed his decisive defeat to “rigged” machines and “massive voter

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   36/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 954 of 1677
                       fraud.”                      Photograph by Balazs Gardi for The New Yorker




                       In the Senate chamber on January 6th, Jacob Chansley took oﬀ his horns and led a group prayer
                       through a megaphone, from behind the Vice-President’s desk. The insurrectionists bowed their
                       heads while Chansley thanked the “heavenly Father” for allowing them to enter the Capitol and
                       “send a message” to the “tyrants, the communists, and the globalists.” Joshua Black, the Alabaman
                       who had been shot in the face with a rubber bullet, said in his YouTube confession, “I praised the
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 38 of 50 PageID #: 1243




                       name of Jesus on the Senate oor. That was my goal. I think that was God’s goal.”

                       While the religiously charged demonization of globalists dovetails with QAnon, religious
                       maximalism has also gone mainstream. Under Trump, Republicans throughout the country have
                       consistently situated American politics in the context of an eternal, cosmic struggle between good
                       and evil. In doing so, they have rendered constitutional principles of representation, pluralism, and
                       the separation of powers less inviolable, given the magnitude of what is at stake.

                       Trump played to this sensibility on June 1st, a week after George Floyd was killed. Police oﬃcers
                       used rubber bullets, batons, tear gas, and pepper-ball grenades to violently disperse peaceful
                       protesters in Lafayette Square so that he could walk unmolested from the White House to a church
                       and pose for a photograph while holding a Bible. Liberals were appalled. For many of the President’s
                       supporters, however, the image was symbolically resonant. Lafayette Square was subsequently
                       enclosed behind a tall metal fence, which racial-justice protesters decorated with posters, converting
                       it into a makeshift memorial to victims of police violence. On the morning of the November 14th
                       rally, thousands of Trump supporters passed the fence on their way to Freedom Plaza. Some of them
                       stopped to rip down posters, and by nine o’clock cardboard littered the sidewalk.

                       “White folks feel real emboldened these days,” Toni Sanders, a local activist, told me. Sanders had
                       been at the square on June 1st, with her wife and her nine-year-old stepson. “He was tear-gassed,”
                       she said. “He’s traumatized.” She had returned there the day of the march to prevent people from
                       defacing the fence, and had already been in several confrontations. While we spoke, people carrying
                       religious signs approached. They were aﬃliates of Patriot Prayer, a conservative Christian movement,
                       based in Vancouver, Washington, whose rallies have often attracted white supremacists. Kyle
                       Chapman, a prominent Patriot Prayer gure from California (and a felon), once headed the Fraternal


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   37/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 955 of 1677
                       Order of Alt-Knights, a “tactical defense arm” of the Proud Boys. A few days before the march,
                       Chapman had posted a statement on social media proposing that the Proud Boys change their name
                       to the Proud Goys, purge all “undesirables,” and “boldly address the issues of White Genocide” and
                       “the right for White men and women to have their own countries where White interests are written
                       into law.”

                       The founder of Patriot Prayer, Joey Gibson, has praised Chapman as “a true patriot” and “an icon.”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 39 of 50 PageID #: 1244


                       (He also publicly disavows racism and anti-Semitism.) In December, Gibson led the group that
                       broke into the Oregon state capitol. “Look at them,” Sanders said as Gibson passed us, yelling about
                       Biden being a communist. “Full of hate, and proud of it.” She shook her head. “If God were here, He
                       would smite these motherfuckers.”



                       S
                                          ince January 6th, some Republican politicians have distanced themselves from Trump. A few,
                                          such as Romney, have denounced him. But the Republican Party’s cynical embrace of Trump’s
                       attempted power grab all the way up to January 6th has strengthened its radical ank while sidelining
                       moderates. Seventeen Republican-led states and a hundred and six Republican members of Congress
                       —well over half—signed on to the Texas suit asking the Supreme Court to disenfranchise more than
                       twenty million voters. Republican oﬃcials shared microphones with white nationalists and
                       conspiracists at every Stop the Steal event I attended. At the Million                                  March, Louie Gohmert,
                       a congressman from Texas, spoke shortly after Alex Jones on the steps of the Supreme Court. “This
                       is a multidimensional war that the U.S. intelligence people have used on other governments,”
                       Gohmert said—words that might have come from Jones’s mouth. “You not only steal the vote but
                       you use the media to convince people that they’re not really seeing what they’re seeing.”

                       “We see!” a woman in the crowd cried.

                       In late December, Gohmert and other Republican legislators led a lawsuit asking the courts to
                       aﬃrm Vice-President Pence’s right to unilaterally determine the results of the election. When federal
                       judges dismissed the case, Gohmert declared on TV that the ruling had left patriots with only one
                       form of recourse: “You gotta go to the streets and be as violent as Antifa and B.L.M.”

                       Gohmert is a mainstay of the Tea Party insurgency that facilitated Trump’s political rise. Both that
                       movement and Trumpism are preoccupied as much with heretical conservatives as they are with


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N    38/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 956 of 1677
                       liberals. At an October rally, Trump derided                                s—Republicans in name only—as “the lowest form
                       of human life.” After the election, any Republican who accepted Biden’s victory was similarly
                       maligned. When Chris Krebs, a Trump appointee in charge of national cybersecurity, deemed the
                       election “the most secure in American history,” the President red him. Joe diGenova, Trump’s
                       attorney, then said that Krebs “should be drawn and quartered—taken out at dawn and shot.”


Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 40 of 50 PageID #: 1245




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   39/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 957 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 41 of 50 PageID #: 1246




           There was an unmistakable subtext as the mob inside the Capitol, almost entirely white, shouted, “Whose
           house? Our house!”
           Photograph by Balazs Gardi for The New Yorker




                       As Republican oﬃcials scrambled to prove their fealty to the President, some joined Gohmert in
                       invoking the possibility of violent rebellion. In December, the Arizona Republican Party reposted a
                       tweet from Ali Alexander, a chief organizer of the Stop the Steal movement, that stated, “I am
                       willing to give my life for this ght.” The Twitter account of the Republican National Committee
                       appended the following comment to the retweet: “He is. Are you?”

                       Alexander is a convicted felon, having pleaded guilty to property theft in 2007 and credit-card abuse
                       in 2008. In November, he appeared on the “InfoWars” panel with Jones and Fuentes, during which
                       he alluded to the belief that the New World Order would forcibly implant people with digital-
                       tracking microchips. “I’m just not going to go into that world,” Alexander said. He also expressed




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   40/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 958 of 1677
                       jubilant surprise at how successful he, Jones, and Fuentes had been in recruiting mainstream
                       Republicans to their cause: “We are the crazy ones, rushing the gates. But we are winning!”

                       Jones, Fuentes, and Alexander were not seen rushing the gates when lives were lost at the Capitol on
                       January 6th. Nor, for that matter, was Gohmert. Ashli Babbitt, the woman who was fatally shot, was
                       an Air Force veteran who appears to have been indoctrinated in conspiracy theories about the
                       election. She was killed by an oﬃcer protecting members of Congress—perhaps Gohmert among
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 42 of 50 PageID #: 1247


                       them. In her nal tweet, on January 5th, Babbitt declared, “The storm is here”—a reference to a
                       QAnon prophecy that Trump would expose and execute all his enemies. The same day that Babbitt
                       wrote this, Alexander led crowds at Freedom Plaza in chants of “Victory or death!” During the
                       sacking of the Capitol, he recorded a video from a rooftop, with the building in the distance behind
                       him. “I do not denounce this,” he said.

                       Trump was lying when, after dispatching his followers to the Capitol, he assured them, “I’ll be with
                       you.” But, in a sense, he was there—as were Jones, Fuentes, and Alexander. Their messaging was
                       ubiquitous: on signs, clothes, patches, and ags, and in the way that the insurrectionists articulated
                       what they were doing. At one point, I watched a man with a long beard and a Pittsburgh Pirates hat
                       facing oﬀ against several policemen on the main oor of the Capitol. “I will not let this country be
                       taken over by globalist communist scum!” he yelled, hoarse and shaking. “They want us all to be
                       slaves! Everybody’s seen the documentation—it’s out in the open!” He could not comprehend why
                       the oﬃcers would want to interfere in such a virtuous uprising. “You know what’s right,” he told
                       them. Then he gestured vaguely at the rest of the rampaging mob. “Just like these people know
                       what’s right.”



                       A
                                                fter Chansley, the Q Shaman, left his note on the dais, a new group entered the Senate
                                                chamber. Milling around was a man in a black-and-yellow plaid shirt, with a bandanna over
                       his face. Ahead of January 6th, Tarrio, the Proud Boys chairman, had released a statement
                       announcing that his men would “turn out in record numbers” for the event—but would be
                       “incognito.” The man in the plaid shirt was the rst Proud Boy I had seen openly wearing the
                       organization’s signature colors. At several points, however, I heard grunts of “Uhuru!,” a Proud Boys
                       battle cry, and a group attacking a police line outside the Capitol had sung “Proud of Your Boy”—
                       from the Broadway version of “Aladdin”—for which the organization is sardonically named. One


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   41/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 959 of 1677
                       member of the group had ashed the “O.K.” sign and shouted, “Fuck George Floyd! Fuck Breonna
                       Taylor! Fuck them all!” He seemed overcome with emotion, as if at last giving expression to a
                       sentiment that he had long suppressed.

                       On January 4th, Tarrio had been arrested soon after his arrival at Dulles International Airport, for a
                       destruction-of-property charge related to the December 12th event, where he’d set re to a Black
                       Lives Matter banner stolen from a historic Black church. (In an intersection outside Harry’s Pub, he
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 43 of 50 PageID #: 1248


                       had stood over the ames while Proud Boys chanted, “Fuck you, faggots!”) He was released shortly
                       after his arrest but was barred from remaining in D.C. On the eve of the siege, followers of the
                       oﬃcial Proud Boys account on Parler were incensed. “Every cop involved should be executed
                       immediately,” one user commented. “Time to resist and revolt!” another added. A third wrote, “Fuck
                       these DC Police. Fuck those cock suckers up. Beat them down. You dont get to return to your
                       families.”

                       Since George Floyd’s death, demands from leftists to curb police violence have inspired a Back the
                       Blue movement among Republicans, and most right-wing out ts present themselves as ardently pro-
                       law enforcement. This alliance is conditional, however, and tends to collapse whenever laws intrude
                       on conservative values and priorities. In Michigan, I saw anti-lockdown protesters ridicule oﬃcers
                       enforcing                                                -19 restrictions as “Gestapo” and “ lthy rats.” When police cordoned oﬀ Black Lives
                       Matter Plaza, Proud Boys called them “communists,” “cunts,” and “pieces of shit.” At the Capitol on
                       January 6th, the interactions between Trump supporters and law enforcement vacillated from
                       homicidal belligerence to borderline camaraderie—a schizophrenic dynamic that compounded the
                       dark unreality of the situation. When a phalanx of oﬃcers at last marched into the Senate chamber,
                       no arrests were made, and everyone was permitted to leave without questioning. As we passed
                       through the central doors, a sergeant with a shaved head said, “Appreciate you being peaceful.” His
                       uniform was half untucked and missing buttons, and his necktie was ripped and crooked. Beside him,
                       another oﬃcer, who had been sprayed with a re extinguisher, looked as if a sack of our had been
                       emptied on him.

                       A policeman loitering in the lobby escorted us down a nearby set of stairs, where we overtook an
                       elderly woman carrying a “                                                ” tote bag. “We scared them oﬀ—that’s what we did, we scared the
                       bastards,” she said, to no one in particular.


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                                    Exhibit N         42/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 960 of 1677
                       The man in front of me had a salt-and-pepper beard and a baseball cap with a “We the People” patch
                       on the back. I had watched him collect papers from various desks in the Senate chamber and put
                       them in a glossy blue folder. As police directed us to an exit, he walked out with the folder in his
                       hand.

                       The afternoon was cold and blustery. Thousands of people still surrounded the building. On the
                       north end of the Capitol, a renewed oﬀensive was being mounted, on another entrance guarded by
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 44 of 50 PageID #: 1249


                       police. The rioters here were far more bitter and combative, for a simple reason: they were outside,
                       and they wanted inside. They repeatedly charged the police and were repulsed with opaque clouds of
                       tear gas and pepper spray.

                       “Fuck the blue!” people chanted.

                       “We have guns, too, motherfuckers!” one man yelled. “With a lot bigger rounds!” Another man,
                       wearing a do-rag that said “                                               ,” told his friend, “If we have to tool up, it’s gonna be
                       over. It’s gonna come to that. Next week, Trump’s gonna say, ‘Come to D.C.’ And we’re coming
                       heavy.”

                       Later, I listened to a woman talking on her cell phone. “We need to come back with guns,” she said.
                       “One time with guns, and then we’ll never have to do this again.”

                       Although the only shot red on January 6th was the one that killed Ashli Babbitt, two suspected
                       explosive devices were found near the Capitol, and a seventy-year-old Alabama man was arrested for
                       possessing multiple loaded weapons, ammunition, and eleven Molotov cocktails. As the sun fell,
                       clashes with law enforcement at times descended into vicious hand-to-hand brawling. During the
                       day, more than fty oﬃcers were injured and fteen hospitalized. I saw several Trump supporters
                       beat policemen with blunt instruments. Videos show an oﬃcer being dragged down stairs by his
                       helmet and clobbered with a pole attached to an American ag. In another, a mob crushes a young
                       policeman in a door as he screams in agony. One oﬃcer, Brian Sicknick, a forty-two-year-old, died
                       after being struck in the head with a re extinguisher. Several days after the siege, Howard
                       Liebengood, a fty-one-year-old oﬃcer assigned to protect the Senate, committed suicide.

                       Right-wing extremists justify such inconsistency by assigning the epithet “oath-breaker” to anyone in
                       uniform who executes his duties in a manner they dislike. It is not diﬃcult to imagine how, once

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N       43/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 961 of 1677
                       Trump is no longer President, his most fanatical supporters could apply this caveat to all levels of
                       government, including local law enforcement. At the rally on December 12th, Nicholas Fuentes
                       underscored the irreconcilability of a radical-right ethos and pro-police, pro-military patriotism:
                       “When they go door to door mandating vaccines, when they go door to door taking your rearms,
                       when they go door to door taking your children, who do you think it will be that’s going to do that?
                       It’s going to be the police and the military.”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 45 of 50 PageID #: 1250




                       D
                                                  uring Trump’s speech on January 6th, he said, “The media is the biggest problem we have.”
                                                  He went on, “It’s become the enemy of the people. . . . We gotta get them straightened out.”
                       Several journalists were attacked during the siege. Men assaulted a Times photographer inside the
                       Capitol, near the rotunda, as she screamed for help. After National Guard soldiers and federal agents
                            nally arrived and expelled the Trump supporters, some members of the mob shifted their attention
                       to television crews in a park on the east side of the building. Earlier, a man had accosted an Israeli
                       journalist in the middle of a live broadcast, calling him a “lying Israeli” and telling him, “You are
                       cattle today.” Now the Trump supporters surrounded teams from the Associated Press and other
                       outlets, chasing oﬀ the reporters and smashing their equipment with bats and sticks.

                       There was a ritualistic atmosphere as the crowd stood in a circle around the piled-up cameras, lights,
                       and tripods. “This is the old media,” a man said, through a megaphone. “This is what it looks like.
                       Turn oﬀ Fox, turn oﬀ CNN.”




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   44/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 962 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 46 of 50 PageID #: 1251




                       Outside the Capitol, rioters surrounded news crews, chasing oﬀ the reporters and smashing their
                       equipment with bats. Photograph by Balazs Gardi for The New Yorker

         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   45/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 963 of 1677
                       Another man, in a black leather jacket and wraparound sunglasses, suggested that journalists should
                       be killed: “Start makin’ a list! Put all those names down, and we start huntin’ them down, one by
                       one!”

                       “Traitors to the guillotine!”

                       “They won’t be able to walk down the streets!”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 47 of 50 PageID #: 1252



                       The radicalization of the Republican Party has altered the world of conservative media, which is, in
                       turn, accelerating that radicalization. On November 7th, Fox News, which has often seemed to
                       function as a civilian branch of the Trump Administration, called the race for Biden, along with
                       every other major network. Furious, Trump encouraged his supporters to instead watch Newsmax,
                       whose ratings skyrocketed as a result. Newsmax hosts have dismissed                                     -19 as a “scamdemic” and
                       have speculated that Republican politicians were being infected with the virus as a form of
                       “sabotage.” The Newsmax headliner Michelle Malkin has praised Fuentes as one of the “New Right
                       leaders” and the groypers as “patriotic.”

                       At the December 12th rally, I ran into the Pennsylvania Three Percent member whom I’d met in
                       Harrisburg on November 7th. Then he had been a Fox News devotee, but since Election Day he’d
                       discovered Newsmax. “I’d had no idea what it even was,” he told me. “Now the only thing that
                       anyone I know watches anymore is Newsmax. They ask the hard questions.”

                       It seems unlikely that what happened on January 6th will turn anyone who inhabits such an
                       ecosystem against Trump. On the contrary, there are already indications that the mayhem at the
                       Capitol will further isolate and galvanize many right-wingers. The morning after the siege, an
                       alternative narrative, pushed by Jones and other conspiracists, went viral on Parler: the assault on the
                       Capitol had actually been instigated by Antifa agitators impersonating Trump supporters. Mo
                       Brooks, an Alabama congressman who led the House eﬀort to contest the certi cation of the
                       Electoral College votes, tweeted, “Evidence growing that fascist ANTIFA orchestrated Capitol
                       attack with clever mob control tactics.” (Brooks had warmed up the crowd for Trump on January 6th,
                       with a speech whose bellicosity far surpassed the President’s. “Today is the day American patriots
                       start takin’ down names and kickin’ ass!” he’d hollered.) Most of the “evidence” of Antifa involvement
                       seems to be photographs of rioters clad in black. Never mind that, in early January, Tarrio, the Proud


         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N       46/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 964 of 1677
                       Boys chairman, wrote on Parler, “We might dress in all BLACK for the occasion.” Or that his
                       colleague Joe Biggs, addressing antifascist activists, added, “We are going to smell like you, move like
                       you, and look like you.”

                       Not long after the Brooks tweet, I got a call from a woman I’d met at previous Stop the Steal rallies.
                       She had been unable to come to D.C., owing to a recent surgery. She asked if I could tell her what I’d
                       seen, and if the stories about Antifa were accurate. She was upset—she did not believe that “Trump
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 48 of 50 PageID #: 1253


                       people” could have done what the media were alleging. Before I responded, she put me on
                       speakerphone. I could hear other people in the room. We spoke for a while, and it was plain that they
                       desperately wanted to know the truth. I did my best to convey it to them as I understood it.

                       Less than an hour after we got oﬀ the phone, the woman texted me a screenshot of a CNN broadcast
                       with a news bulletin that read, “                                                                                              .”
                       The image, which had been circulating on social media, was crudely Photoshopped (and poorly
                       spelled). “Thought you might want to see this,” she wrote.



                       I
                                    n the year 2088, a ve-hundred-pound time capsule is scheduled to be exhumed from beneath the
                                    stone slabs of Freedom Plaza. Inside an aluminum cylinder, historians will nd relics honoring
                       the legacy of Martin Luther King, Jr.: a Bible, clerical robes, a cassette tape with King’s “I Have a
                       Dream” speech, part of which he wrote in a nearby hotel. What will those historians know about the
                       lasting consequences of the 2020 Presidential election, which culminated with the incumbent
                       candidate inciting his supporters to storm the Capitol and threaten to lynch his adversaries? Will this
                       year’s campaign against the democratic process have evolved into a durable insurgency? Something
                       worse?

                       On January 8th, Trump was permanently banned from Twitter. Five days later, he became the only
                       U.S. President in history to be impeached twice. (During the Capitol siege, the man in the hard hat
                       withdrew from one of the Senate desks a manual, from a year ago, titled “
                                                                                                                                                .”)
                       Although the President has nally agreed to submit to a peaceful transition of power, he has admitted
                       no responsibility for the deadly riot. “People thought that what I said was totally appropriate,” he told
                       reporters on January 12th.



         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N        47/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 965 of 1677
                       He will not disappear. Neither will the baleful forces that he has conjured and awakened. This is why
                       iconoclasts like Fuentes and Jones have often seemed more exultant than angry since Election Day.
                       For them, the disappointment of Trump’s defeat has been eclipsed by the prospect of upheaval that it
                       has brought about. As Fuentes said on the “InfoWars” panel, “This is the best thing that can happen,
                       because it’s destroying the legitimacy of the system.” Fuentes was at the Capitol riot, though he
                       denies going inside. On his show the next day, he called the siege “the most awe-inspiring and
                       inspirational and incredible thing I have seen in my entire life.”
Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 49 of 50 PageID #: 1254




                       At the heap of wrecked camera gear outside the Capitol, the man in the leather jacket and sunglasses
                       declared to the crowd, “We are at war. . . . Mobilize in your own cities, your own counties. Storm
                       your own capitol buildings. And take down every one of these corrupt motherfuckers.” Behind him,
                       lights glowed in the rotunda. The sky darkened. At 8 . ., Congress reconvened and resumed
                       certifying the election. For six hours, Americans had held democracy hostage in the name of
                       patriotism.

                       The storm might be here. ♦


                       Published in the print edition of the January 25, 2021, issue, with the headline “The
                       Storm.”



                       Luke Mogelson has written for The New Yorker since 2013. He is the author of “These
                       Heroic, Happy Dead.”


                       More:                     Capitol Hill                          Riots   Far Right   Donald Trump   Protests   Congress   Mob       U.S. Senate    Proud Boys

                       2020 Election                                     Republicans            Conspiracy Theories   Right Wing     QAnon   Extremists     Trump-Biden Transition




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                                                        Exhibit N     48/49
         1/19/2021                                       Case 1:21-cv-01169-TCB Among the Insurrectionists
                                                                                 Document        35-2 atFiled
                                                                                                           the Capitol | The New Yorker
                                                                                                                 05/03/21        Page 966 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-4 Filed 01/25/21 Page 50 of 50 PageID #: 1255




         https://www.newyorker.com/magazine/2021/01/25/among-the-insurrectionists
                                                                                                                                          Exhibit N   49/49
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
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                                                     05/03/21
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                                                                 1 of967
                                                                      17 PageID
                                                                         of 1677 #: 1256




                 EXHIBIT D




                                                                           Exhibit N
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 968 of 1677


               Pro-Trump Woman Shot and
               Killed at U.S. Capitol Retweeted
               Attorney Lin Wood’s ‘Must Be
               Done’ List Before She Died
               AARON KELLER Jan 6th, 2021, 11:19 pm
Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 2 of 17 PageID #: 1257
                                                                                              552




                                                    A woman shot and killed during violent protests that aimed to stop
                                                    the certification of Joe Biden as the next President of the United
                                                    States has been identified as 35-year-old Ashli Babbitt.
                                                    Washington, D.C. Metropolitan Police Chief Robert J. Contee
                                                    III and the U.S. Capitol Police
                                                    both confirmed Babbitt’s name Thursday. Her relatives, including
                                                    her husband, previously identified her Wednesday evening to
                                                    media outlets such as KUSI-TV, an independent television station
                                                    in San Diego, Calif., the New York Post, and various Washington,
                                                    D.C. television stations.

                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   1/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 969 of 1677
                                                    A Twitter account linked to Babbitt, which was reviewed
                                                    extensively by Law&Crime Wednesday night, indicates that
                                                    Babbitt was a staunch QAnon adherent who retweeted dozens of
                                                    conspiracy-theory-laden missives originally posted by Georgia
                                                    attorney L. Lin Wood.

                                                    Wood was at the helm of independent litigation in support
                                                    President Donald Trump but lost every court case he has filed in
Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 3 of 17 PageID #: 1258




                                                    support of keeping Trump in office. Indeed, Babbitt’s final tweet
                                                    was a retweet of an original message by Wood. The tweet
                                                    contained what Wood — and, ergo, Babbitt — deemed to be a
                                                    “MUST BE DONE LIST before Congress meets today” to certify
                                                    Biden’s election. The list demanded the resignation of and
                                                    charges brought against Vice President Mike Pence and former
                                                    Deputy Attorney General Rod Rosenstein. It also demanded the
                                                    resignation of U.S. Supreme Court Chief Justice John Roberts.
                                                    Babbitt issued the retweet of Wood’s list without adding her own
                                                    comment.




                                                    Most of Babbitt’s Twitter activity consisted of retweets.
                                                    Occasionally, however, she posted pictures of herself wearing

                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   2/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 970 of 1677
                                                    QAnon clothing and parroting the QAnon rallying cry
                                                    “WWG1GWA,” meaning “Where We Go One, We Go All.”




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 4 of 17 PageID #: 1259




                                                    Other tweets showed Babbitt’s obvious and staunch support for
                                                    Trump. Images showed her standing next to mountains of Trump
                                                    flags and displaying a pile of Trump bumper stickers.




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   3/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 971 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 5 of 17 PageID #: 1260




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   4/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
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                                                                                                                    05/03/21       Page 972 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 6 of 17 PageID #: 1261




                                                    Her retweets also indicated she strongly supported what
                                                    ultimately occurred at the U.S. Capitol Building. In one rare
                                                    comment tweeted by her own hand, she answered “Jan 6, 2021”
                                                    to the question, “When do we start winning???”

                                                    That was the date she lost her life.




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   5/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 973 of 1677
                                                    Other tweets suggested Babbitt was heavily invested in whatever
                                                    was to occur Jan. 6th. In one retweet, she echoed President
                                                    Trump’s call to the capital starting at 11:00 a.m., two hours before
                                                    Congress was scheduled by federal law to meet to certify Biden’s
                                                    win, for a so-called “Stop the Steal!” rally.


Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 7 of 17 PageID #: 1262




                                                    Another retweet appeared to suggest a “COUP” was being staged
                                                    against Trump.




                                                    In yet another, she rubber-stamped the concept that Jan. 6th
                                                    would “be 1776 all over again . . . only bigger and better.”




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   6/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 974 of 1677
                                                    Another retweet was about planes full of Trump supporters,
                                                    presumably en route to Washington, D.C., the day before the rally
                                                    and the violence at the Capitol Building,




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 8 of 17 PageID #: 1263




                                                    But Babbitt’s nearly incessant retweets of content posted by Lin
                                                    Wood, which are almost too numerous to count, stand out among
                                                    a broader sea of retweets from other conservatives due to their
                                                    sheer volume. Among the bizarre messages by Wood — again,
                                                    retweeted by Babbitt — were the following:




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   7/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
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                                                                                                                    05/03/21       Page 975 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 9 of 17 PageID #: 1264




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   8/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
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Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 10 of 17 PageID #: 1265




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-di…   9/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
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Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 11 of 17 PageID #: 1266




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-…   10/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
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                                                                                                            Filed      She Died | Law&Crime
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Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 12 of 17 PageID #: 1267




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-d… 11/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
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Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 13 of 17 PageID #: 1268




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-…   12/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 980 of 1677
                                                    The Lin Wood retweets could go on and on. Notably, Babbitt also
                                                    retweeted the recently pardoned Lt. Gen. Michael Flynn and his
                                                    pro-Trump attorney Sidney Powell.




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 14 of 17 PageID #: 1269




                                                    Babbitt also retweeted a video call for supported to come to
                                                    Washington issued by Donald Trump himself. And, she retweeted
                                                    an answer as to why she (and others) were going to D.C. on Jan.
                                                    6th, the date she ultimately died: “Because my President asked
                                                    me to.”




                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-…   13/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
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                                                                                                                    05/03/21       Page 981 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 15 of 17 PageID #: 1270




                                                    Rep. Markwayne Mullin, an Oklahoma Republican, told NBC
                                                    News late Wednesday afternoon that the woman shot and killed
                                                    — who has since been identified as Babbitt — “died because she
                                                    stormed through the door and an officer had to make the split
                                                    decision and had to shoot her.” Mullin said the officer’s life is now
                                                    changed forever and that he grieved for the family of the victim.
                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-…   14/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 982 of 1677
                                                    But he also claimed he would “have a hard time believing these
                                                    [protesters] are actual, true Trump supporters” because he did not
                                                    think genuine Trump fans were capable of such behavior.

                                                    Babbitt served four tours with the U.S. Air Force as part of a total
                                                    enlistment of 14 years, KUSI-TV reported. She “was a high level
                                                    security official,” the station said; however, the Air Force on
                                                    Thursday said Babbitt served for 12 years — slightly less time —
Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 16 of 17 PageID #: 1271




                                                    as a “Security Forces Controller.” Officials said Babbitt held the
                                                    “enlisted rank of senior Airman,” WJLA-TV reported, and that
                                                    Babbitt served across multiple branches: she was in the Air
                                                    Force itself from 2004 to 2008, in the Air Force Reserves from
                                                    2008 to 2010, and in the Air National Guard from 2010 to 2016.
                                                    People with her rank and title “are responsible for providing
                                                    security at Air Force bases,” the Air Force told WJLA.

                                                    NPR reported that Babbitt was unarmed when she was shot.

                                                    The Capitol Police on Thursday described her death this way:


                                                     As protesters were forcing their way toward the House Chamber
                                                     where Members of Congress were sheltering in place, a sworn
                                                     USCP employee discharged their service weapon, striking an adult
                                                     female. Medical assistance was rendered immediately, and the
                                                     female was transported to the hospital where she later succumbed
                                                     to her injuries. She has been identified as Ashli Babbitt.


                                                    Multiple videos circulating online showed a woman who appeared
                                                    to be Babbitt amid a group of people in the capitol who crowded a
                                                    doorway area which separated a stair well from a hallway.
                                                    Several law enforcement officers appeared to be guarding the
                                                    hallway beyond the doors; others dressed as officers appeared to
                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-…   15/16
         1/13/2021                                                            Ashli Babbitt
                                                         Case 1:21-cv-01169-TCB     DocumentRetweeted Lin Wood
                                                                                                    35-2       the Day
                                                                                                            Filed      She Died | Law&Crime
                                                                                                                    05/03/21       Page 983 of 1677
                                                    be among the protesters in the stair well. The doorway windows
                                                    appeared smashed, and the doors themselves appeared
                                                    barricaded. A woman wearing a red, white, and blue backpack
                                                    and who was draped with a Trump flag attempted to climb
                                                    through one of the busted windows. A single shot rang out, and
                                                    the woman fell backwards. Panic ensued. A voice audible on
                                                    one video of the scene said the sound was “just a flash bang.” A
Case 1:18-cv-05398-DLI-VMS Document 64-5 Filed 01/25/21 Page 17 of 17 PageID #: 1272




                                                    man in a suit and tie began arguing with people dressed as
                                                    officers who were among the protesters. In other recordings,
                                                    voices accused the police of “murdering” the woman. Other
                                                    voices questioned why she was shot. A still image which
                                                    circulated online showed a man wearing a Capitol Police patch
                                                    applying pressure to the woman’s wound as she bled over his
                                                    hand through her nose and mouth. Additional recordings showed
                                                    emergency resuscitation efforts by who appeared to be Capitol
                                                    Police officers. The officers argued with protesters that they could
                                                    not attend to the woman unless the protesters moved out of the
                                                    way.

                                                    Lin Wood’s Twitter account was suspended early Thursday
                                                    morning.

                                                    [featured image via Ashli Babbit/Twitter]

                                                    Editor’s note: this report has been updated after its initial
                                                    publication to contain a verbal description of the videos and
                                                    photos circulating online and to note that Wood’s account was
                                                    suspended. It was updated again to add official confirmation of
                                                    Babbitt’s identity and to clarify official confirmation of her military
                                                    service.

                                                    Have a tip we should know? tips@lawandcrime.com


                                                                                                                                            Exhibit N
         https://lawandcrime.com/2020-election/pro-trump-woman-shot-and-killed-at-u-s-capitol-retweeted-attorney-lin-woods-must-be-done-list-before-she-…   16/16
Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
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                                                                 1 of984
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                 EXHIBIT E




                                                                          Exhibit N
        1/20/2021                                                   Capitol attackers have Document
                                                         Case 1:21-cv-01169-TCB            long threatened violence
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                                                                                                                                                               1677




Case 1:18-cv-05398-DLI-VMS Document 64-6 Filed 01/25/21 Page 2 of 6 PageID #: 1274




                    This land is your land
                    Capitol attackers have long threatened violence in rural
                    American west

                    Supported by




                    About this content

                    Christopher Ketcham
                    Sat 9 Jan 2021 05.30 EST

                    When the full story of the 6 January storming of the US Capitol building is told,
                    historians will have to make sense of what might seem an odd footnote. The two most
                    prominent rightwing militia groups that participated in the mob onslaught on Congress
                    – the Three Percenters, based in Idaho, and the Oath Keepers, based in Nevada – cut
                    their teeth in obscure corners of the American west, where for close to a decade they
                    have threatened violence against federal employees and institutions that steward the
                    nation’s public lands.

        https://www.theguardian.com/environment/2021/jan/09/us-capitol-attackers-violence-rural-west
                                                                                                                                                             Exhibit N   1/5
        1/20/2021                                                   Capitol attackers have Document
                                                         Case 1:21-cv-01169-TCB            long threatened violence
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                                                                                                                    rural American
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                    “The mob violence that swarmed the halls of the Capitol building and other
                    government oﬃces ﬂows from a series of smaller armed insurrections by domestic
                    terrorists across the west,” says Erik Molvar, executive director of the Western
                    Watersheds Project, a non-proﬁt that advocates for environmental regulation of public
                    lands.

                    Time after time in Idaho, Nevada and Utah, the Three Percenters and Oath Keepers,
                    paramilitary organizations formed in the wake of Barack Obama’s election in 2008,
                    have come to the rescue of ranchers, miners and loggers who have violated federal
Case 1:18-cv-05398-DLI-VMS Document 64-6 Filed 01/25/21 Page 3 of 6 PageID #: 1275




                    environmental regulations on the public domain but who the militias said were
                    innocent commoners oppressed by a vicious state apparatus.

                    Brandishing arms and threatening their use against federal oﬃcials, the militias have
                    enjoyed spectacular successes – with the Capitol only the latest example.

                                           Enter your email address                                                                                        Sign up

                    Sign up for monthly updates on America’s public lands

                    The Three Percenters and Oath Keepers came to public attention in 2014, when they
                    encamped with the notorious anti-government rancher Cliven Bundy. The recalcitrant
                    old cowboy refused to remove his trespassing cattle from public lands around his 160-
                    acre spread in Bunkerville, Nevada.

                    Holed up in his ranch house, Bundy issued a statement decrying “federal tyranny” and
                    vowed “to do whatever it takes” to protect his “property”, meaning the public land he
                    was utilizing.

                    He put out a call for militia units. The Three Percenters and Oath Keepers, with other
                    loosely aﬃliated citizens, arrived from across the nation with assault riﬂes and
                    Gadsden ﬂags – the ones with the coiled snake that says “Don’t Tread on Me” (and
                    which were also seen on 6 January in the halls of Congress). In a sprawl of tents and
                    guard posts ringing Bundy’s ranch, the militiamen established Liberty Camp. They
                    spoke of Bundy as a modern-day hero of the west, a true-grit cowboy, deﬁant and free.

                    Soon a crowd of Bundyites numbering in the hundreds shut down a freeway in both
                    directions, their riﬂes trained on federal oﬃcers gathered behind a line of SUVs. The
                    standoﬀ continued for two hours – until the government backed down.




        https://www.theguardian.com/environment/2021/jan/09/us-capitol-attackers-violence-rural-west
                                                                                                                                                             Exhibit N   2/5
        1/20/2021                                                   Capitol attackers have Document
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                                                                                                                                                               1677




Case 1:18-cv-05398-DLI-VMS Document 64-6 Filed 01/25/21 Page 4 of 6 PageID #: 1276




                           Cliven Bundy in Las Vegas on 10 January 2018. Photograph: LE Baskow/AP

                    By the morning of 13 April, oﬃcials announced that due to “threats to public safety” it
                    would immediately cease the removal of Bundy’s cattle herd.

                    Two years later, the Bundy clan, with Cliven’s son Ammon Bundy in the lead,
                    memorably stormed and occupied the Malheur national wildlife refuge in Oregon,
                    holding it at gunpoint for 40 days, again in protest of federal environmental
                    regulations and the alleged oppression of local ranchers.

                    With Ammon were members of the Three Percenters and Oath Keepers, armed to the
                    teeth. Federal law enforcement treated them with kid gloves, while Ammon promised
                    a violent response if authorities attempted to remove his crew. The FBI stood back,
                    afraid, and waited Ammon out. Federal authorities allowed the Bundyite militiamen to
                    come and go from the refuge as they pleased, arguing – as government oﬃcials would
                    later explain – that any confrontation would lead to bloodshed. The occupiers were
                    even allowed to receive mail.

                    Meanwhile, federal employees who worked at Malheur and lived in the nearby town of
                    Burns were being stalked. Having got hold of their street addresses, Ammon’s
                    militiamen – wandering in and out of the government facility they had occupied at
                    gunpoint – went door to door issuing threats to the employees, telling them not to
                    return to the refuge. Burns became a terrorized town. At least one Malheur employee
                    was targeted for kidnapping. The refuge’s 17 employees, traumatized, ﬂed the area,
        https://www.theguardian.com/environment/2021/jan/09/us-capitol-attackers-violence-rural-west
                                                                                                                                                             Exhibit N   3/5
        1/20/2021                                                   Capitol attackers have Document
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                    living at government expense in hotels across the state for weeks, a relocation eﬀort
                    that cost taxpayers $2m.

                    The question lingered of how law enforcement might have acted at Malheur if it had
                    been seized by Black Panthers. Or, more appropriately, by militiamen representing the
                    native and historically oppressed Paiutes.

                    The siege ended in the death of one occupier, and the arrests of a dozen perpetrators,
                    but in the end, not one member of the Bundy clan was successfully prosecuted, and
Case 1:18-cv-05398-DLI-VMS Document 64-6 Filed 01/25/21 Page 5 of 6 PageID #: 1277



                    only a few associates of the militia groups that backed them went to jail.

                    Today, on the public lands around Bunkerville, Cliven Bundy’s cows continue to roam
                    freely, trampling the fragile desert landscape, and he has yet to pay the ﬁnes he owes.
                    Cliven won – with the help of the same militiamen who stormed the Capitol.

                    As Molvar of the Western Watersheds Project observed: “The rarity of arrests and
                    indictments, and the botched prosecutions, that followed in the wake of these acts of
                    terrorism in the west sent a message that law enforcement will turn a blind eye to ‘alt-
                    right’ lawlessness by overwhelmingly white perpetrators.”

                    In this analysis, years of selective law enforcement have privileged politically
                    motivated crimes from the extreme right against government agencies, public lands
                    and public property. And this has enabled and empowered militant rightwingers like
                    the Bundys, the Three Percenters and the Oath Keepers to act with impunity.

                    Cheerleading the attack on the Capitol from afar, Cliven Bundy had this to say: “At
                    Bundy Ranch, we had a job to do, go get it done, and We the People went forward and
                    ﬁnished the job.”

                    He added: “Today President Trump had hundreds of thousands of people and he
                    pointed the way – pointed towards Congress and nodded his head go get the job done.”

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                      ... we have a favour to ask. Millions are ﬂocking to the Guardian for open,
                      independent, quality news every day. Readers in all 50 states and in 180 countries
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                      As the inauguration approaches, America has the opportunity for a fresh start. Despite
                      unprecedented threats to democracy and bitter divisions, there are also reasons for
                      hope. In the coming months, the US will rejoin the Paris climate accord. And the new
                      leadership has pledged to put science ﬁrst in its ﬁght against the pandemic. Also,

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                      America’s ﬁrst female, ﬁrst Black and ﬁrst Asian vice-president will be sworn into
                      oﬃce, taking the nation a step further toward building a more inclusive government.
                      The incoming administration has an opportunity to steer the nation toward a path of
                      greater equality and justice. But every government needs to be invigilated. And this
                      will be no diﬀerent. The Guardian will do that. And we will continue to report on the
                      corrosive forces that will continue to threaten US democracy, long after Donald Trump
                      has left oﬃce – from a misinformation crisis to a surge in white nationalism to a
                      crackdown on voting rights.
Case 1:18-cv-05398-DLI-VMS Document 64-6 Filed 01/25/21 Page 6 of 6 PageID #: 1278




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A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
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                         Democracy Dies in Darkness



                    A mob insurrection stoked by false
                    claims of election fraud and promises of
                    violent restoration
                    By Greg Miller, Greg Jaffe and Razzan Nakhlawi

                    Jan. 9, 2021 at 5:49 p.m. PST


                    The problem with devotion to a prophet of falsehoods is that reality eventually
                    intrudes.

                    By mid-December, President Trump’s fraudulent claims of a rigged election were
                    failing in humiliating fashion. Lawsuits were being laughed out of courts. State officials,
                    including Republicans, were refusing to bend to his will and alter the vote. And in a
                    seemingly decisive blow on Dec. 14, the electoral college certified the win for Joe Biden.

                    It was a disorienting sequence for legions of supporters who believed Trump’s lies that
                    the election had been stolen from him but that he would prevail and reclaim it —
                    especially those who had already descended into deeper, more disturbing conspiracies.

                    Some clung to the hope that Vice President Pence would use his procedural role on Jan.
                    6 to write an alternative ending. But as it became clear that Pence would refuse with the
                    backing of most Senate Republicans, Trump’s most ardent abettors began planning the
                    siege of the Capitol.

                    “War it is,” read a post on TheDonald.win, a rabid pro-Trump forum that exploded in
                    fury at post-election realities. “We kill now,” said another user identified only as
                    “AngloMercia.”




https://www.washingtonpost.com/national-security/trump-capitol-mob…origins/2021/01/09/0cb2cf5e-51d4-11eb-83e3-322644d82356_story.html   Page 1 of 8

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A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
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                    Sam Andrews, a Missouri gun-range manager and former member of the Oath Keepers
                    movement, appeared on a video that spread rapidly on right-wing sites urging followers
                    to descend on Washington “armed, in large groups.” A Trump army, Andrews said,
                    needed to arrive “en-masse in D.C., armed, demanding, not asking, that we get a
                    peaceful resolution on these voter corruption issues.”

                    By Dec. 19, Trump was, as he so often does, feeding these flames with accelerant. “Big
                    protest in D.C. on January 6th,” he tweeted. “Be there, will be wild!”

                    Come they did. And by day’s end, insurrectionist fantasies nursed online culminated in
                    one of the most harrowing, horrifying events in the 244-year history of U.S. democracy.

                    The sacking of the Capitol was enabled by a host of factors, including catastrophic
                    security failures now being investigated. But the temporary seizure of a global seat of
                    power was, at its core, an outgrowth of delusional and destructive forces cultivated
                    online and unleashed by the president.

                    Among the dead were Brian D. Sicknick, a U.S. Capitol Police officer, and Ashli Babbitt,
                    an Air Force veteran whose social media postings trace a descent into deep-state
                    conspiracies.

                    Some Americans have traveled a path to radicalization that reminds current and former
                    U.S. national security officials of the indoctrination of Islamist militants.

                    Cindy Storer, a former CIA counterterrorism analyst, said that adherents in both cases
                    were drawn to an ideology that emphasizes a loss in control or status. “We had this
                    glorious past and it got screwed up and now we need to do something about it,” she
                    said, summarizing the mind-set. What makes such movements turn violent, she said, is
                    the additional belief that some other entity — usually based on race, religion, or
                    nationality — is to blame for perceived humiliation.

                    “The world used to be a better place and it’s someone else’s fault that it isn’t any
                    longer,” Storer said, noting that Trump’s entire approach to politics employs this
                    pervasive sense of victimhood and demonization of enemies.

                    “Trump played on and amplified these messages” leading up to the attack on the
                    Capitol, she said. The conspiracy theories that he put forward, echoed by allies and
                    prominent Republican lawmakers, morphed for thousands of followers into a call for
                    action.



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A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
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                    In Greenville, N.C., cardiac sonographer Gena Shinn hung on the president’s
                    pronouncements, and by early December had reached what seemed an inescapable
                    conclusion: Her country, the world’s greatest democracy, was in peril.

                    “You have just witnessed a coup,” she wrote on Facebook on Dec. 9, “the end of our
                    constitutional republic.” In the days that followed, even as Shinn shopped for
                    Christmas presents for her 13-year-old son and decorated her home for the holidays,
                    she spent hours online following Trump’s desperate maneuvers to reverse the election.

                    At times, she had faith that he would prevail. “EVERYONE...CALM DOWN. NO NEED
                    TO PANIC,” she wrote when the Supreme Court rejected a lawsuit brought by
                    Republican-led states alleging election fraud. Electoral college delegates might reject
                    the vote tallies on Dec. 14, she prayed. She read a report on Parler, a right-wing
                    alternative to Twitter, suggesting that Biden was a member of the KKK and another
                    promising that Trump’s director of national intelligence would soon release a dossier
                    documenting the full extent of foreign interference in the 2020 election.

                    But the DNI’s bombshell report never came, and Shinn’s attention shifted to the Jan. 6
                    protest in Washington that Trump depicted as a final stand against tyranny. “We all
                    need to stand up and fight back. NOW is our time,” she wrote in response to posts from
                    groups such as Wildprotest.com touting the rally.

                    In California, 3,000 miles away, Babbitt, a former Air Force airman and co-owner of a
                    struggling swimming pool supply company, was consumed by the same apocalyptic
                    pronouncements. Her Twitter feed starts in November with retweets, but builds to a
                    conspiratorial crescendo.




                    “Nothing will stop us...They can try and try but the storm is here and it is descending
                    upon DC in less than 24 hours,” she wrote the day before she was shot and killed while
                    trying to breach a police barrier in the Capitol. “Dark to light!” her message ended.


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A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
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                    By early January, raiding Congress had emerged as a clear objective in dozens of far-
                    right forums.

                    “If Congress illegally certifies Biden,” a Jan. 4 post on TheDonald.win said, “Trump
                    would have absolutely no choice but to demand us to storm Congress and kill/beat
                    them up for it.” Some referred to Trump as GEOTUS: “God Emperor of the United
                    States.”

                    Discussion boards filled with messages on implements to bring for violent
                    confrontation, including riot shields and flagsticks that could also serve as bayonets or
                    clubs for breaking windows. Some sought guidance on how to smuggle weapons into
                    the District of Columbia with its strict gun possession restrictions.

                    “There is not enough cops in DC to stop what is coming,” wrote one user.

                    Trump continued to goad them. “JANUARY SIXTH, SEE YOU IN DC!” he tweeted on
                    Dec. 30. But his scheme to derail certification would have remained in the realm of
                    fringe fantasy were it not legitimized by some Republican lawmakers.

                    When Sen. Josh Hawley (R-Mo.) declared his intent to object to accepting the Biden
                    victory in Arizona, Sen. Ted Cruz (R-Tex.) and 11 other Republican senators fell in line
                    behind him.

                    Their decisions to back Trump’s baseless charges further convinced fanatics of their
                    cause’s righteousness, said Bruce Hoffman, a terrorism expert and senior fellow for
                    homeland security at the Council on Foreign Relations.

                    Hoffman described radicalized Trump loyalists as a floating force of intimidation that
                    Trump has been able to mobilize against shifting adversaries and targets. “ ‘End the
                    lockdown’ translates very smoothly into ‘stop the steal,’ ” Hoffman said, referring to
                    rallies last year by Trump supporters against state measures to contain the coronavirus.

                    The 2017 protests in Charlottesville showed the potential of such a mob to overwhelm
                    law enforcement, Hoffman said. The occupation of the Michigan Capitol last spring,
                    and the exposed plot to take the governor hostage, provided templates for this month’s
                    assault in Washington.

                    “When you have a president pushing them to descend on state capitols and take them
                    over with few consequences,” Hoffman said, “the next logical step is to move from
                    states’ to the nation’s capitol.”


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A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
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                    One after another, far-right groups declared their violent intentions.

                    The “Three Percenters” — a name based on the erroneous belief that only 3 percent of
                    U.S. colonists fought the British — posted a short manifesto expressing their
                    preparedness “to take back our country from the pure evil that is conspiring to steal our
                    country away from the American people.”

                    The statement mentioned Cruz and praised Trump lawyers Rudolph W. Giuliani,
                    Sidney Powell and Lin Wood as inspirational figures in this looming battle. But it
                    voiced particular reverence for former U.S. Army Gen. Michael Flynn, who after being
                    pardoned by Trump appeared at rallies, spread falsehoods about the election and urged
                    using the U.S. military to reverse the election outcome.

                    “We are ready to enter into battle with General Flynn leading the charge,” the Three
                    Percenters’ statement said.

                    On the eve of the assault on the Capitol, Flynn delivered an incendiary speech riddled
                    with falsehoods, claiming that more dead voters had cast ballots for Biden than filled
                    the cemeteries of Gettysburg and Normandy.

                    He then issued a veiled threat to members of Congress. “Those of you who are feeling
                    weak tonight, those of you who don’t have the moral fiber in your body — get some
                    tonight because tomorrow we the people are going to be here,” Flynn said.

                    The next morning, Giuliani appeared before the same crowd and called for a “trial by
                    combat.” Then, as Pence made his way to the Senate chamber, Trump took the stage —
                    behind sheets of bulletproof glass — and instructed the sea of red-clad supporters to
                    follow the vice president and refuse to accept anything short of victory.

                    “You’ll never take back our country with weakness,” Trump said. “You have to show
                    strength, you have to be strong.”

                    Clint Watts, a former FBI counterterrorism analyst, compared the rhetoric of Flynn,
                    Giuliani and Trump with the radicalizing messages from leaders of al-Qaeda and the
                    Islamic State that so worried U.S. security officials in the aftermath of the 9/11 attacks.

                    “A decade ago, we worried [about] al-Qaeda ideologues inciting violence with speech,
                    sending terrorists into places like [the] Capitol,” Watts said in a Jan. 7 post on Twitter.
                    “What did we observe over the past week by our elected leaders, their surrogates and
                    their supporters?”


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                                                                                    of 1677#: 1285
A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
                                                                                               1/19/21, 10:48 AM



                    Like many who gathered in Washington on Wednesday, Shinn and Babbitt weren’t
                    especially interested in the speeches from Trump and his allies, which were just
                    restatements of the screeds they had already absorbed on social media.

                    In an interview, Shinn said she came to Washington for one purpose: to confront
                    lawmakers who Trump insisted had stolen the election. “We went in to storm the
                    Capitol so our voices would be heard,” she said.

                    Before Trump had even finished speaking, Shinn began marching down the Mall
                    toward the Capitol dome. She was joined in the crowd by Babbitt and Thomas Baranyi,
                    a 28-year-old from New Jersey, who wore a Trump baseball cap and a New York Giants
                    sweatshirt.

                    As he marched, Baranyi, in an interview posted online, recalled gazing up at the U.S.
                    Justice Department building. Through the windows he said he could see federal
                    workers “filming us and laughing at us.”

                    Babbitt was filming herself for her social media followers: “We’re walking to the Capitol
                    in a mob. There’s an estimated 3 million people here today,” she said, using an utterly
                    fictitious number.

                    A police officer fired and struck Babbitt, who fell back into Baranyi. Her body started to
                    spasm. Blood spurted from her neck, nose and mouth, Baranyi said in an interview
                    posted online. Minutes later Baranyi, who had come to Washington animated by
                    Trump’s fantasies, described in a trembling voice the gory reality he had just
                    encountered.

                    “It was a joke to them until we got inside and then all of a sudden guns came out. We
                    have to do something. People have to do something, because this could be you or your
                    kids,” he said, holding up his hand, still coated in Babbitt’s blood.

                    For all its horror, experts said the event could have been — and perhaps was intended
                    to be — scarier and deadlier.

                    Law enforcement officials have recovered suspected pipe bombs. Images showed
                    armored people inside the Capitol brandishing plastic bands used to cuff prisoners —
                    an indication, Hoffman said, that some intended to take lawmakers hostage.




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                                                                                    of 1677#: 1286
A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
                                                                                               1/19/21, 10:48 AM



                    Rep. Adam B. Schiff (D-Calif.), a constant target of Trump’s ire for his role in the
                    president’s impeachment, said that during lawmakers’ frantic evacuation he was urged
                    to stay out of sight of the mob by a worried Republican colleague.

                    “I know these people and can talk to them,” the Republican said, according to a
                    statement from Schiff, who did not identify his GOP counterpart. “You are in a whole
                    different situation.”

                    Shinn, who said a police officer pushed her down the Capitol’s steps, still clung to the
                    belief that she had been engaged in a righteous, peaceful protest sanctioned by the
                    president.

                    In its aftermath, she embraced a new delusion advanced by some Republican
                    lawmakers that the violence was the work of leftists who had infiltrated an otherwise
                    peaceful gathering.

                    “We were unarmed, American citizens who came to Washington to have our voices
                    heard, and now we’re being called rioters and domestic terrorists,” she said in an
                    interview.

                    She spent the day after the riot driving around Washington with a friend flying a
                    Trump and QAnon flag from the back of their convertible. She was bruised in her
                    tumble down the steps, but clung as tightly as ever to the president’s evidence-free
                    conspiracies.

                    “We were not only robbed of our vote, we have had our voices silenced,” she wrote on
                    her Facebook page as she prepared to return home. “The fight is NOT over...”

                    .


                    Devlin Barrett, Dalton Bennett and Julie Tate contributed to this report.

                    Clarification: An earlier version of this story included descriptions of Gena Shinn
                    witnessing Ashli Babbitt’s shooting, based on accounts provided by Shinn in
                    interviews. After this story was published, Shinn recanted those statements, stating
                    that she had misled The Post about witnessing Babbitt’s shooting and entering the
                    Capitol. The descriptions have been removed.




https://www.washingtonpost.com/national-security/trump-capitol-mob…origins/2021/01/09/0cb2cf5e-51d4-11eb-83e3-322644d82356_story.html   Page 7 of 8

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                                                                                    of 1677#: 1287
A mob insurrection stoked by false claims of election fraud and promises of violent restoration - The Washington Post
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What is QAnon? What does WWG1WGA mean? The conspiracy theory that explains everything and nothing - CBS News

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                                                                                                 What is the QAnon conspiracy theory?
                                                                                                 NOVEMBER 24, 2020 / 10:26 AM / CBS NEWS




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                                                                                                 What started as a fringe movement among President Trump's supporters, confined to the shadier corners of the
                                                                                                 internet, has taken a mainstream turn. The QAnon conspiracy theory started on 4chan, the bulletin board known
                                                                                                 for creating and spreading memes, but has moved to larger social media platforms. Facebook has taken action
                                                                                                 against QAnon groups and pages, while Twitter removed several thousand QAnon-linked accounts in 2020.

                                                                                                 The FBI has warned that fringe conspiracy theories like QAnon pose a growing domestic terrorism threat.

                                                                                                 What is the QAnon conspiracy theory? What do its followers believe? Those questions have become more
                                                                                                 difficult to answer as the movement has expanded since its inception in 2017.



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                                                                                                 comes from a high-ranking government official who posts cryptic clues on 4chan and the even more unfettered
                                                                                                 site 8chan under the name "Q."

                                                                                                 President Trump rally -- Tampa, Florida




                                                                                                 Supporters of President Trump shout down a CNN news crew before a rally Tuesday, July 31, 2018, in Tampa, Fla.
                                                                                                 AP



                                                                                                 That's the central gist of the theory. The rest is open to some degree of interpretation, which is necessary because
                                                                                                 Q's posts tend to read like riddles. But YouTube videos created by QAnon believers help fill in the gaps and
                                                                                                 create a storyline that's more-or-less comprehensible.


                                                                                                 QAnon exists as a kind of parallel history, in which a "deep state" took over decades ago. An all-encompassing
                                                                                                 theory of the world, it appears to tie together and explain everything from "Pizzagate" to ISIS to the prevalence
                                                                                                 of mass shootings and the JFK assassination.

                                                                                                 It claims the military, supposedly eager to see the deep state overthrown, recruited President Trump to run for
                                                                                                 president. But the deep state, which controls the media, quickly tried to smear him through "fake news" and
                                                                                                 unfounded allegations of collusion with Russia. It goes on to insist that despite the deep state's best efforts,
                                                                                                 however, President Trump is winning, and that Q is releasing sanctioned leaks to the public in order to galvanize
                                                                                                 them ahead of "The Storm," which is the moment when the deep state's leaders are arrested and sent to
                                                                                                 Guantanamo Bay. QAnon believers have called this process "The Great Awakening."




                                                                                                                            "Sesame Street" star Elmo gives kids tips on how to stay
                                                                                                                            healthy and happy during the pandemic                                                                            Exhibit N
https://www.cbsnews.com/news/what-is-the-qanon-conspiracy-theory/[1/14/2021 10:11:07 AM]
What is QAnon? What does WWG1WGA mean? The conspiracy theory that explains everything and nothing - CBS News

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                                                                                                 Enter "the storm"

                                                                                                 The storm takes its name from President Trump's enigmatic comment from October 2018 about "the calm before
                                                                                                 the storm." Q began posting soon after and said that the storm Mr. Trump referenced is a coming series of mass
                                                                                                 arrests that would end the deep state forever.

                                                                                                 In QAnon lore, President Trump was secretly working with special counsel Robert Mueller to bring the deep
                                                                                                 state down, and the storm is a kind of Judgment Day in which the evildoers are punished and the faithful are
                                                                                                 redeemed. Q has repeatedly suggested that the storm would hit in the very near future and has even said certain
                                                                                                 people would be arrested at certain dates.

                                                                                                 When those dates come and go without any arrests, Q says that they needed to be delayed for one reason or
                                                                                                 another, but that President Trump still has the situation well in hand.


                                                                                                 Bakers and breadcrumbs

                                                                                                 Q's posts tend to be either vague or totally incomprehensible, but QAnon believers are more than happy to try
                                                                                                 and decipher them. Last year, for example, Q posted a photo of an unnamed island chain. Eager to divine the
                                                                                                 reasoning behind the post, QAnon adherents tried to "prove" that the photo must have been taken on Air Force
                                                                                                 One and thus that Q was traveling with the president.

                                                                                                 The Q posts are known to the faithful as "breadcrumbs." The people who then try to figure out what they mean
                                                                                                 are called "bakers." According to The Daily Beast's Will Sommer, QAnon believers also spend a lot of time
                                                                                                 trying to figure out who in the government is a "white hat" Trump supporter and who is a "black hat" in league
                                                                                                 with the deep state. Their rallying cry is "where we go one, we go all," a line from the 1996 Jeff Bridges sailing
                                                                                                 adventure "White Squall" that they misattribute to President Kennedy.

                                                                                                 The phrase is frequently abbreviated to "WWG1WGA," which Roseanne Barr — one of several celebrity QAnon
                                                                                                 supporters — tweeted in June 2018. Former Red Sox pitcher and current right-wing radio host Curt Schilling has
                                                                                                 also promoted QAnon online.




                                                                                                 Q's identity

                                                                                                 The name refers to Q-level clearance at the Energy Department. But who's behind the posts is anybody's guess.
                                                                                                 According to Sommer, the QAnon faithful sometimes point to former national security adviser Michael Flynn
                                                                                                 and White House aide Dan Scavino as possibilities. Others believe it's Mr. Trump himself. Another theory is that
                                                                                                 John F. Kennedy Jr. faked his death and now posts on 8chan as QAnon.

                                                                                                 On November 3, Election Day, 8chan (now 8kun) administrator Ron Watkins resigned from his post. Q did not
                                                                                                 post for the next week, raising questions about a connection.


                                                                                                 Evolution of QAnon

                                                                                                 As the QAnon movement has migrated to more mainstream social media platforms such as Facebook and
                                                                                                 Twitter, it has developed new conspiracy theories that have helped subsume more followers.

                                                                                                 Many QAnon supporters believe that President Kennedy was set to reveal the existence of the secret government
                                                                                                 when he was assassinated. They also believe President Reagan was shot on the deep state's orders, and that all the   Exhibit N
https://www.cbsnews.com/news/what-is-the-qanon-conspiracy-theory/[1/14/2021 10:11:07 AM]
What is QAnon? What does WWG1WGA mean? The conspiracy theory that explains everything and nothing - CBS News

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                                                                                                 QAnon believers have also latched onto other conspiracies, such as the 9/11 "truther" movement and the
                                                                                                 Rothschild family owning the world's banks. Different QAnon followers identify with different conspiracies,
                                                                                                 though they all believe in the central conspiracy of child sex trafficking rings perpetrated by members of the
                                                                                                 Democratic party.

                                                                                                 Most recently, followers have staged several #SaveOurChildren demonstrations.


                                                                                                 "It seems like they've hijacked the 'Save Our Children' movement, infiltrating it and putting their spin on it," says
                                                                                                 Daryl Johnson, who previously researched right-wing terrorism for the Department of Homeland Security.
                                                                                                 "Think about children and how vulnerable they are. The issue really tugs at the hearts of anybody. But they're
                                                                                                 linking it to their conspiracy theories, which are crazy and very dangerous."


                                                                                                 According to political science professor Joe Uscinski, who studies conspiracy theories, "The beliefs themselves
                                                                                                 are almost an incitement to violence. I mean, there isn't anything worse you can say about your political
                                                                                                 competitors than that they are satanic sex traffickers who molest and eat children."




                                                                                                 "It has a lot of properties that make it more like a cult," Uscinski said.


                                                                                                 QAnon in Congress

                                                                                                 At least 19 House Republican candidates who support or have elevated the QAnon movement were on the
                                                                                                 November ballot, according to tracking by Media Matters. Two QAnon supporters were elected to the United
                                                                                                 States House of Representatives:


                                                                                                        Marjorie Taylor Greene won her race for Georgia's 14th congressional district

                                                                                                        Lauren Boebert won her race for Colorado's 3rd congressional district


                                                                                                 QAnon on social media

                                                                                                 QAnon spread from its fringe beginnings on 4chan and 8chan to larger social media platforms such as Facebook,
                                                                                                 Twitter, and YouTube. These platforms have faced increasing pressure to crack down on these accounts and
                                                                                                 groups, but have found it difficult to do so.

                                                                                                 "QAnon is not one organization that you can just cancel or remove," says CNET senior producer and CBSN
                                                                                                 correspondent Dan Patterson.

                                                                                                 "For a long time they did little" to moderate QAnon activity, says Patterson. Only in the summer and fall of 2020
                                                                                                 have the larger platforms — Facebook, Twitter, and YouTube — taken stronger action, removing groups and
                                                                                                 banning accounts.

                                                                                                 Still, Patterson says, these platforms provide little information beyond numbers of accounts affected. "These
                                                                                                 organizations are heavily driven by algorithms, and these algorithms really favor engagement, which QAnon is
                                                                                                 really good at doing."


                                                                                                 First published on August 2, 2018 / 6:00 AM

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                                                                                                                                       05/03/21Page
                                                                                                                                                Page6 of
                                                                                                                                                      1004
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                                                                                                                                                            of 1677#: 1293




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                                                                           CBS NEWS                                                                                                    CBS NEWS




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                                                                    1007
                                                                      22 PageID
                                                                         of 1677#: 1296




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         1/20/2021                                     Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
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                                                                                                                   05/03/21             News
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                   Trump riots: 65 days that led to chaos at the
                   Capitol
                   By Shayan Sardarizadeh and Jessica Lussenhop
                   BBC Monitoring and BBC News Washington

                           10 January


                                                        US Capitol riots




                                                                                                                                                GETTY IMAGES


                          Many were taken by surprise by the events in Washington, but to those who
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                                                    closely follow conspiracy and extreme right groups online, the warning signs
                                                    were all there.

                                                    At 02:21 Eastern Standard Time on election night, President Trump walked
                                                    onto a stage set up in the East Room of the White House and declared victory.


                                                    "We were getting ready to win this election. Frankly, we did win this election."

                                                    His speech came an hour aer he'd tweeted: "They are trying to steal the
                                                    election".
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 3 of 22 PageID #: 1298




                                                    He hadn't won. There was no victory to steal. But to many of his most fervent
                                                    supporters, these facts didn't matter, and still don't.




                                                    Sixty ﬁve days later, a motley coalition of rioters stormed the US Capitol
                                                    building. They included believers in the QAnon conspiracy theory, members of
                                                    "Stop the Steal" groups, far-right activists, online trolls and others.

                                                    On Friday 8 January - some 48 hours aer the Washington riots - Twitter
                                                    began a purge of some of the most inﬂuential pro-Trump accounts that had
                                                    been pushing conspiracies and urging direct action to overturn the election
                                                    result.

                                                    Then came the big one - Mr Trump himself.

                                                    The president was permanently banned from tweeting to his more than 88
                                                    million followers "due to the risk of further incitement of violence".

                                                    The violence in Washington shocked the world and seemed to catch the
                                                    authorities oﬀ guard.                                               Exhibit N
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                                                    But for anyone who had been carefully watching the unfolding story - online
                                                    and on the streets of American cities - it came as no surprise.




                                                    The idea of a rigged election was seeded by the president in speeches and on
                                                    Twitter, months before the vote.

                                                    On election day, the rumors started just as Americans were going to the polls.
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 4 of 22 PageID #: 1299




                                                    A video of a Republican poll watcher being denied entry to a Philadelphia
                                                    polling station went viral. It was a genuine error, caused by confusion about
                                                    the rules. The man was later allowed into the station to observe the count.


                                                                                      Will Chamberlain
                                                                                      @willchamberlain

                                                                    A poll watcher in Philly was just wrongfully prevented from
                                                                    entering the polling place

                                                                    #StopTheSteal




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                                                                    5:19 AM · Nov 3, 2020

                                                                                  34.9K   27.3K people are Tweeting about this


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                                                    View original tweet on Twitter

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                                                    But it became the ﬁrst of many videos, images, graphics and claims that went
                                                    viral in the days that followed, giving rise to a hashtag: #StopTheSteal.

                                                    The message behind it was clear - Mr Trump had won a landslide victory, but
                                                    dark forces in the establishment "deep state" had stolen it from him.




                                                    In the early hours of Wednesday 4 November, while votes were still being
                                                    counted and three days before the US networks called the election for Joe
                                                    Biden, President Trump claimed victory, alleging "a fraud on the American
                                                    public".

                                                    Mr Trump did not provide any evidence to back up his claims. Studies carried
                                                    out for previous US elections have shown that voter fraud is extremely rare.




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                                                                                                                                     Page  1012 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 6 of 22 PageID #: 1301




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                                                    By mid-aernoon a Facebook group called "Stop the Steal" was created and
                                                    quickly became one of the fastest-growing in the platform's history. By
                                                    Thursday morning, it had added more than 300,000 members.

                                                    Many of the posts focused on unsubstantiated allegations of mass voter fraud,
                                                    including manufactured claims that thousands of dead people had voted and
                                                    that voting machines had somehow been programmed to ﬂip votes from Mr
                                                    Trump to Mr Biden.

                                                                'Stop the steal': The deep roots of Trump’s 'voter fraud' strategy

                                                                US Election 2020: The 'dead voters' in Michigan who are still alive

                                                                US Election 2020: Trump claims about Dominion machines fact-checked

                                                    But some of the posts were more alarming, speaking of the need for a "civil
                                                    war" or "revolution".

                                                    By Thursday aernoon, Facebook had taken down Stop the Steal, but not
                                                    before it had generated nearly half a million comments, shares, likes, and
                                                    reactions.

                                                    Dozens of other groups quickly sprang up in its place.




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                                                                                                                                     Page  1013 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 7 of 22 PageID #: 1302




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                                                    The idea of a stolen election continued to spread online and take hold. Soon, a
                                                    dedicated Stop the Steal website was launched in a bid to register "boots on
                                                    the ground to protect the integrity of the vote".




                                                    On Saturday 7 November, major news organisations declared that Joe Biden
                                                    had won the election. In Democratic strongholds, throngs of people took to
                                                    the streets to celebrate. But the reaction online from Mr Trump's most ardent
                                                    supporters was one of anger and deﬁance.

                                                    They planned a rally in Washington DC for the following Saturday, dubbed the
                                                    Million MAGA (Make America Great Again) March.

                                                    Trump tweeted that he might try to stop by the demonstration and "say hello".




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Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 8 of 22 PageID #: 1303


                                                    Previous pro-Trump rallies in Washington had failed to attract large crowds.
                                                    But thousands gathered at Freedom Plaza that sunny morning.

                                                    One extremism researcher called it the "debut of the pro-Trump insurgency".

                                                    As Trump's motorcade drove through the city, supporters screaming with
                                                    delight rushed to catch a glimpse of the president, who beamed at them
                                                    wearing a red MAGA hat.




                                                                                                                                                      REUTERS


                                                    While mainstream conservative ﬁgures were present, the event was dominated
                                                    by far-right groups.

                                                    Dozens of members of the far-right, anti-immigrant, all-male group Proud
                                                    Boys, who have repeatedly been involved in violent street protests and were
         https://www.bbc.com/news/world-us-canada-55592332
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                                                    among those who would later break into the US Capitol, joined the march.
                                                    Militia groups, far-right media ﬁgures and promoters of conspiracy theories
                                                    were also there.

                                                                Capitol riots: Who broke into the building?


                                                                US Election 2020: Who are the Proud Boys - and who are antifa?

                                                    As night fell, clashes between Trump supporters and counter-protesters broke
                                                    out, including a brawl about ﬁve blocks from the White House.
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 9 of 22 PageID #: 1304




                                                    The violence - although largely contained by police on this occasion - was a
                                                    clear sign of things to come.




                                                    By now, President Trump and his legal team had invested their hopes in
                                                    dozens of legal cases.




                                                    Although a number of courts had already dismissed fraud allegations, many in
                                                    the pro-Trump online world became fascinated with two lawyers with close
                                                    ties to the president - Sidney Powell and L Lin Wood.

                                                    Ms Powell and Mr Wood promised they were preparing cases of voter fraud so
                                                    comprehensive that when released, they would destroy the case for Mr Biden
                                                    having won the presidency.




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                                                                                                                   05/03/21             News
                                                                                                                                     Page  1016 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 10 of 22 PageID #: 1305




                                                                 Watch Aleem Maqbool's ﬁlm America: Storming the Capitol, in which he
                                                                 examines the question - how safe is American democracy?




                                                    Ms Powell, 65, a conservative activist and former federal prosecutor, told Fox
                                                    News that the eﬀort would "release the Kraken" - a reference to a gigantic sea
                                                    monster from Scandinavian folklore that rises up from the ocean to devour its
                                                    enemies.

                                                    The "Kraken" quickly became an internet meme, representing sprawling,
                                                    unsubstantiated claims of widespread election fraud.

                                                    Ms Powell and Mr Wood became heroes to followers of the QAnon conspiracy
                                                    theory - who believe President Trump and a secret military intelligence team
                                                    are battling a deep state made up of Satan-worshipping paedophiles in the
                                                    Democratic Party, media, business and Hollywood.

                                                                 What is QAnon?

                                                                 What is the 'Kraken' conspiracy?

                                                    The lawyers became a conduit between the president and his most conspiracy-
                                                    minded supporters - a number of whom ended up inside the Capitol on 6
                                                    January.

                                                    Ms Powell and Mr Wood were successful in whipping up sound and fury online,
         https://www.bbc.com/news/world-us-canada-55592332
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                                                                                                           chaos at the Capitol - BBC
                                                                                                                 05/03/21             News
                                                                                                                                   Page  1017 of 1677
                                                    but their legal eﬀorts came to nothing.

                                                    When they released almost 200 pages of documents in late November, it
                                                    became clear that their lawsuit consisted predominantly of conspiracy
                                                    theories and debunked allegations that had already been rejected by dozens
                                                    of courts.
                                                    The ﬁlings contained simple legal errors - and basic misspellings and typos.

                                                    Still, the meme lived on. The terms "Kraken" and "Release the Kraken" were
                                                    used more than a million times on Twitter before the Capitol riot.
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 11 of 22 PageID #: 1306




                                                    As courts rejected Mr Trump's legal cases, far-right activists increasingly
                                                    targeted election workers and oﬃcials.

                                                    Death threats were made against a Georgia election worker, and Republican
                                                    oﬃcials in the state - including Governor Brian Kemp, Secretary of State Brad
                                                    Raﬀensperger and the oﬃcial in charge of the state's voting systems, Gabriel
                                                    Sterling - were branded "traitors" online.

                                                    Mr Sterling issued an emotional and prescient warning to the president in a
                                                    press conference on 1 December.




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                                                                                                                   05/03/21             News
                                                                                                                                     Page  1018 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 12 of 22 PageID #: 1307




                           "This has to stop... someone's gonna get killed": Mr Sterling calls on President Trump to condemn the
                           threats



                                                    "Someone's going to get hurt, someone's going to get shot, someone's going
                                                    to get killed, and it's not right," he said.

                                                    In Michigan in early December, Secretary of State Jocelyn Benson, a
                                                    Democrat, had just ﬁnished trimming her Christmas tree with her four-year-
                                                    old son when she heard a commotion outside her Detroit home.

                                                    About 30 protesters with banners stood outside, shouting "Stop the steal!"
                                                    through megaphones.

                                                    "Benson, you are a villain," one person yelled.

                                                    "You're a threat to democracy!" called another.

                                                    One of the demonstrators live-streamed the protest on Facebook, stating that
                                                    her group was "not going away".

                                                    It was just one of a rash of protests targeting people involved in the vote.

                                                    In Georgia, a constant stream of Trump supporters drove past Mr
                                                    Raﬀensperger's home, honking their horns. His wife received threats of sexual
                                                    violence.

                                                    In Arizona, demonstrators gathered outside of the home of Secretary of State
                                                    Katie Hobbs, a Democrat, at one point warning: "We are watching you."




                                                    On 11 December, the Supreme Court rejected an attempt by the state of
                                                    Texas to throw out election results.

                                                    As the president's legal and political windows continued to close the
         https://www.bbc.com/news/world-us-canada-55592332
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                                                                                                                  05/03/21             News
                                                                                                                                    Page  1019 of 1677
                                                    As the president s legal and political windows continued to close, the
                                                    language in pro-Trump online circles became increasingly violent.

                                                    On 12 December, a second Stop the Steal rally was held in the capital. Once
                                                    again, thousands attended, and once again prominent far-right activists,


                                                    QAnon supporters, fringe MAGA groups and militia movements were among
                                                    the demonstrators.

Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 13 of 22 PageID #: 1308




                                                                                                                                               GETTY IMAGES


                                                    Michael Flynn, Mr Trump's former national security advisor, likened the
                                                    protesters to the biblical soldiers and priests breaching the walls of Jericho.
                                                    This echoed the rally organisers' call for "Jericho Marches" to overturn the
                                                    election result.

                                                    Nick Fuentes, the leader of Groypers, a far-right movement that targets
                                                    Republican politicians and ﬁgures they deem too moderate, told the crowd:
                                                    "We are going to destroy the GOP!"

                                                    The march once again turned violent.

                                                    Then two days later, the Electoral College certiﬁed Mr Biden's victory, one of
                                                    the ﬁnal steps required for him to take oﬃce.


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                                                                                                                        Exhibit
                                                    On online platforms supporters were becoming resigned to the view that all  N                         12/21
         1/20/2021                                   Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
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                                                    On online platforms, supporters were becoming resigned to the view that all
                                                    legal avenues were dead ends, and only direct action could save the Trump
                                                    presidency.

                                                    Since election day, alongside Mr Flynn, Ms Powell and Mr Wood, a new ﬁgure
                                                    had rapidly gained prominence among pro-Trump circles online.

                                                    Ron Watkins is the son of Jim Watkins, the man behind 8chan and 8kun -
                                                    message boards ﬁlled with extreme language and views, violence and extreme
                                                    sexual content. They gave rise to the QAnon movement.
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 14 of 22 PageID #: 1309




                                                    In a series of viral tweets on 17 December, Ron Watkins suggested President
                                                    Trump should follow the example of Roman leader Julius Caesar, and
                                                    capitalise on "ﬁerce loyalty of the military" in order to "restore the Republic".




                                                    Ron Watkins encouraged his more than 500,000 followers to make
                                                    #CrossTheRubicon a Twitter trend, referring to the moment when Caesar
                                                    launched a civil war by crossing the Rubicon river in 49BC. The hashtag was
                                                    also used by more mainstream ﬁgures - including the chairwoman of Arizona
                                                    Republican Party, Kelli Ward.

                                                    In a separate tweet, Ron Watkins said Mr Trump must invoke the Insurrection
                                                    Act, which empowers the president to deploy the military and federal forces.




                                                    Mr Trump met Ms Powell, Mr Flynn and others at a strategy meeting at the
                                                    White House the following day, 18 December.

                                                    During the meeting, according to the New York Times, Mr Flynn called on Mr
         https://www.bbc.com/news/world-us-canada-55592332
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         1/20/2021                                     Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
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                                                                                                             chaos at the Capitol - BBC
                                                                                                                   05/03/21             News
                                                                                                                                     Page  1021 of 1677
                                                    Trump to impose martial law and deploy the military to "rerun" the election.

                                                    The meeting further stoked online chatter about "war" and "revolution" in far-
                                                    right circles. Many came to see the joint session of Congress on 6 January,
                                                    normally a formality, as a last roll of the dice.


                                                    A wishful story began to take hold among QAnon and some MAGA
                                                    supporters. They hoped that Vice-President Mike Pence, who was set to
                                                    preside over the 6 January ceremony, would ignore the electoral college votes.
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 15 of 22 PageID #: 1310




                                                    The president, they said, would then deploy the military to quell any unrest,
                                                    order the mass arrest of the "deep state cabal" who had rigged the election
                                                    and send them to Guantanamo Bay military prison.

                                                    Back in the land of reality, none of this was remotely feasible. But it launched a
                                                    movement for "patriot caravans" to organise ride shares to help transport
                                                    thousands from around the country to Washington DC on 6 January.




                                                                                                                                                GETTY IMAGES


                                                    Long processions of vehicles ﬂying Trump ﬂags and sometimes towing
                                                    elaborately decorated trailers gathered in car parks in cities including
                                                    Louisville, Kentucky, Atlanta, Georgia, and Scranton, Pennsylvania.

                          "We are on our way," one caravaner posted on Twitter with a picture of about
                          t    d                   t
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                                                                                                           chaos at the Capitol - BBC
                                                                                                                 05/03/21             News
                                                                                                                                   Page  1022 of 1677
                                                    two dozen supporters.

                                                    At an Ikea parking lot in North Carolina, another man showed oﬀ his truck.
                                                    "The ﬂags are a little tattered - we'll call them battle ﬂags now," he said.



                                                    As it became clear that Mr Pence and other key Republicans would follow the
                                                    law and allow Congress to certify Mr Biden's win, the language towards them
                                                    became vicious.
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 16 of 22 PageID #: 1311




                                                    "Pence will be in jail awaiting trial for treason," Mr Wood tweeted. "He will face
                                                    execution by ﬁring squad."

                                                    Online discussion reached boiling point. References to ﬁrearms, war and
                                                    violence were rife on self-styled "free speech" social platforms such as Gab
                                                    and Parler, which are popular with Trump supporters, as well as on other sites.

                                                    In Proud Boys groups, where members had once supported police, some
                                                    turned against authorities, whom they deemed to no longer be on their side.

                                                    Hundreds of posts on a popular pro-Trump site, TheDonald, openly discussed
                                                    plans to cross barricades, carry ﬁrearms and other weapons to the march in
                                                    deﬁance of Washington's strict gun laws. There was open chatter about
                                                    storming the Capitol and arresting "treasonous" members of Congress.

                                                    On Wednesday 6 January, Mr Trump addressed a crowd of thousands at the
                                                    Ellipse, a park just south of the White House, for more than an hour.

                                                    Early on he encouraged supporters to "peacefully and patriotically make your
                                                    voices heard", but he ended with a warning. "We ﬁght like hell, and if you don't
                                                    ﬁght like hell, you're not going to have a country anymore.

                                                    "So we're going to, we're going to walk down Pennsylvania Avenue… and we're
                                                    going to the Capitol."




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         1/20/2021                                     Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
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                                                                                                             chaos at the Capitol - BBC
                                                                                                                   05/03/21             News
                                                                                                                                     Page  1023 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 17 of 22 PageID #: 1312
                                                                                                                                                REX FEATURES


                                                    To some observers, the potential for violence that day was clear from the
                                                    outset.

                                                    Michael Chertoﬀ, former secretary of homeland security under President
                                                    George W Bush, blamed the Capitol Police, who reportedly turned down oﬀers
                                                    of assistance from the much larger National Guard ahead of time. He
                                                    characterised it as "the worst failure of a police force I can think of".

                                                    "I think it was a very foreseeable potential negative turn of events," Mr
                                                    Chertoﬀ said.




                           Phone footage reveals chaotic scenes inside US Capitol



                                                    "To be blunt, it was obvious. If you read the newspaper and were awake, you
                                                    understood that you've got a lot of people who have been convinced there was
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                                                                                                             chaos at the Capitol - BBC
                                                                                                                   05/03/21             News
                                                                                                                                     Page  1024 of 1677
                                                    a fraudulent election. Some of them are extremists, and violent. Some of the
                                                    groups openly said, 'Bring your guns'."

                                                    Still, many Americans were astonished by Wednesday's scenes, like James
                                                    Clark, a 68-year-old Republican from Virginia.

                                                    "I ﬁnd it absolutely shocking. I didn't think it would come to this," he told the
                                                    BBC.

                                                    But the signs were there for weeks. A hodgepodge of extreme and
Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 18 of 22 PageID #: 1313




                                                    conspiratorial groups were convinced that the election was stolen. Online,
                                                    they repeatedly talked about arming themselves, and violence.

                                                    Perhaps the authorities didn't think their posts were serious, or speciﬁc
                                                    enough to investigate. They now face pointed questions.

                                                    For Joe Biden's inauguration on 20 January, Mr Chertoﬀ is expecting a "much
                                                    stronger showing" by security services than last Wednesday night.

                                                    But that hasn't stopped many on extreme platforms calling for further
                                                    violence and disruption on the day.

                                                    There are questions, too, for the major social media platforms, which enabled
                                                    conspiracy theories to reach millions of people.

                                                    Late on Friday, Twitter deleted the accounts of Mr Flynn, the former Trump
                                                    advisor, the "Kraken" lawyers Ms Powell and Mr Wood, and Mr Watkins. Then
                                                    Mr Trump himself.

                                                                 Twitter permanently suspends Trump's account

                                                    Arrests of those who stormed the Capitol continue. But most of the rioters
                                                    still live in a parallel online universe - a subterranean world ﬁlled with
                                                    alternative facts.

                                                    They have already come up with fanciful explanations to dismiss Mr Trump's
                                                    video statement, posted on Twitter the day aer the riots, in which he
                                                    acknowledged for the ﬁrst time that "a new administration will be inaugurated
                                                    on 20 January".

                                                    He can't possibly be giving up, they contend. Among their new theories - it's
                                                    not really him in the video but a computer-generated "deep fake". Or perhaps
                                                    the president is being held hostage.

                                                    Many still believe Mr Trump will prevail.

                                                    There's no evidence behind any of this, but it does prove one thing.

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                                                    No matter what happens to Donald Trump, the rioters who stormed the US
                                                    Capitol are not backing down anytime soon.

                                                    Additional reporting: Olga Robinson and Jake Horton



                                                    All photographs subject to copyright


Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 19 of 22 PageID #: 1314




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         1/20/2021                                     Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
                                                                                Document         that led toFiled
                                                                                                             chaos at the Capitol - BBC
                                                                                                                   05/03/21             News
                                                                                                                                     Page  1026 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 20 of 22 PageID #: 1315




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         1/20/2021                                     Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
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                                                                                                             chaos at the Capitol - BBC
                                                                                                                   05/03/21             News
                                                                                                                                     Page  1027 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 21 of 22 PageID #: 1316




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         1/20/2021                                     Case 1:21-cv-01169-TCBTrump riots: 65 days35-2
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                                                                                                             chaos at the Capitol - BBC
                                                                                                                   05/03/21             News
                                                                                                                                     Page  1028 of 1677




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Case 1:18-cv-05398-DLI-VMS Document 64-9 Filed 01/25/21 Page 22 of 22 PageID #: 1317




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      Case 1:21-cv-01169-TCBDocument
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                                             Filed01/25/21
                                                   05/03/21 Page
                                                             Page11029
                                                                   of 5 PageID
                                                                        of 1677 #: 1318




                 EXHIBIT HH




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                                                       Case 1:21-cv-01169-TCB Document    35-2in Atlanta
                                                                                                 Filed| 05/03/21
                                                                                                         The New YorkerPage 1030 of 1677




                                                                                            Atlanta Postcard February 1, 2021 Issue



                                                                                      A Trump Holdout in Atlanta
                        L. Lin Wood, a Georgia defamation attorney who cried when Nixon resigned, still believes that the former
                                   President won the election, and he wants Mike Pence to be charged with treason.
Case 1:18-cv-05398-DLI-VMS Document 64-10 Filed 01/25/21 Page 2 of 5 PageID #: 1319




                                                                                                      By Charles Bethea
                                                                                                         January 23, 2021




                    T
                                       wo weeks before Joe Biden’s Inauguration, L. Lin Wood answered his telephone. The defamation attorney and conspiracy
                                       theorist was at home, in Atlanta, watching a human-traﬃcking segment on the One America News Network. “I saw there
                    was a warning out,” Wood told the caller. Maybe there was work in it for him? His recent clients have included the Georgia
                    congresswoman Marjorie Taylor Greene (Wood appends heart emojis to their correspondences) and Kyle Rittenhouse (“a hero”),
                    and he has litigated on behalf of Donald Trump, whose election-fraud suits in Georgia had failed under Wood’s watch. “Nobody
                    loses 0–60,” Wood said, “unless the deck is stacked!” Twitter had permanently banned Wood, as it had Trump, for inciting
                    violence. Parler was shut down. Wood lost more than a million followers on the two platforms combined. He’d soon be removed
                    from a case in Delaware, owing to “textbook frivolous litigation.” There was also the matter of the Capitol insurrection, which
                    Wood’s words (“rhetorical hyperbole!”) had arguably helped provoke.




         https://www.newyorker.com/magazine/2021/02/01/a-trump-holdout-in-atlanta
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         1/23/2021                                                               A Trump Holdout
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                                                                                                 Filed| 05/03/21
                                                                                                         The New YorkerPage 1031 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-10 Filed 01/25/21 Page 3 of 5 PageID #: 1320




                    L. Lin Wood                           Illustration by João Fazenda


                    Still, at home, watching OAN, Wood remained upbeat. “I have eternal life,” he said at one point during the hour-long call. He
                        itted from ring squads to what makes a good father to the pitching mechanics of a Double-A guy known as Flame Fleming,
                    “who threw like a cannonball.” He waved away the fact that there had been a Trumpist insurrection the day before. “I don’t believe
                    anybody died yesterday,” Wood said of the violence, which killed at least ve, including a San Diego woman who, before she died



         https://www.newyorker.com/magazine/2021/02/01/a-trump-holdout-in-atlanta
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                                                                                                         The New YorkerPage 1032 of 1677

                    storming the Capitol, had retweeted Wood’s call for Mike Pence to be charged with treason. “I think it was all staged,” he went
                    on. “It was Antifa dressed up as Trump people.”

                    How did he know? “I apply critical thinking and the instincts God gave me,” he said, adding, “I’m not God!” Moments later,
                    though, he did compare himself to King David. He continued, “I’m just a person who understands what’s going on and why.” He
                    added a hedge: “If I am God, I’ve got one bad memory! I don’t remember creating myself, the clouds, the oceans, the stars. But do
                    I try to live like God? This is the second harvest. God is getting ready to show he’s real again.”

                    Wood was not referring to Biden’s Inauguration. To make this point clear, he bet the caller a dinner at one of Atlanta’s most
                    expensive steakhouses that Trump would be re-inaugurated on the twentieth. The idea may have held some purely theoretical
Case 1:18-cv-05398-DLI-VMS Document 64-10 Filed 01/25/21 Page 4 of 5 PageID #: 1321




                    appeal had Wood not already explained that he almost never wore a mask and had never taken a              test, “and wouldn’t believe
                    it if I did.” Still, would Wood pay up? A few days later, his curious correspondent sent him a screenshot of Trump admitting that a
                    new Administration would be inaugurated on the twentieth. Wood replied, by text, “Ha! Not so quick! I prefer to wait to see who
                    is inaugurated rst!” What did Wood think, then, a few days later, when moving vans showed up at the White House? As a
                    former sportswriter for the Macon News, Wood quoted Yogi Berra in his response: “It ain’t over till it’s over.” On January 19th, the
                    baseball metaphors continued. “9 innings,” Wood texted. “Sometimes extra innings!”

                    The next morning, Trump nally ew oﬀ. Wood was among the millions who watched. What did he think now? The lawyer
                    answered with a question: “What do you make of the gold-trimmed ags behind him when he spoke?” The caller noted that there
                    were seventeen of them—much to the delight of the QAnon press corps. (“Q” is the seventeenth letter of the alphabet.) “I did not
                    count them,” Wood wrote of the ags. “I was just enjoying the beauty of the gold trim.” And he added, in another text, referring
                    to Biden’s speech, “Waiting for it to end so I can play with my puppies!”

                    Now in his late sixties, Wood said that he’d cried, as a young man, when Richard Nixon resigned. He had not cried, however,
                    when Trump got on the plane to Mar-a-Lago. “I’m pretty calm about everything,” he said, television audible in the background,
                    “even though a lot of people are pulling their hair out.” He went on, “It’s a way of God saying, ‘Hey, you better trust me.’ ” As for
                    his own future, Wood looked on the bright side. “I’ve always wanted to write,” he said. “But I’ve never had the time to do it.”
                    Before hanging up, he added, “I’m afraid they’re going to put me in jail, but that’s where Paul wrote some of his greatest chapters
                    of the Bible.” ♦


                    Published in the print edition of the February 1, 2021, issue, with the headline “Holdout.”




                    Charles Bethea is a staﬀ writer at The New Yorker.




         https://www.newyorker.com/magazine/2021/02/01/a-trump-holdout-in-atlanta
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                                                                                                 Filed| 05/03/21
                                                                                                         The New YorkerPage 1033 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-10 Filed 01/25/21 Page 5 of 5 PageID #: 1322




         https://www.newyorker.com/magazine/2021/02/01/a-trump-holdout-in-atlanta
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      Case 1:21-cv-01169-TCBDocument
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                                                   05/03/21 Page
                                                             Page11034
                                                                   of 5 PageID
                                                                        of 1677 #: 1323




                 EXHIBIT I




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                                                                                                                                             Page      Capitol riot
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                                                                                                                                                                      in custody - CNN




                    Man seen hanging oﬀ Senate balcony and sitting in Vice
                President's chair during Capitol riot is in custody
                By Madeline Holcombe and Andy Rose, CNN
                 Updated 3:13 AM ET, Wed January 13, 2021




Case 1:18-cv-05398-DLI-VMS Document 64-11 Filed 01/25/21 Page 2 of 5 PageID #: 1324




                                                US                                                                                                              LIVE TV




                The FBI said that Josiah Colt was identiﬁed by a relative.


                (CNN) — The man who was photographed hanging o the Senate balcony and then sitting in the Vice President's
                chair during the riots at the US Capitol has been identiﬁed and is in custody, according to o cials.

                In a sworn a davit, an FBI agent says a relative of Josiah Colt conﬁrmed that Colt is the person seen in a photo
                sitting in a chair where Vice President Mike Pence had been minutes earlier during the session to count
                presidential electoral votes. The a davit included three two photos of the man identiﬁed as Colt in the chamber.

                Colt was photographed hanging o a balcony and landing on the ﬂoor of the Senate chambers, the FBI a davit
                said. Colt claimed in a Facebook video that he was the ﬁrst person to sit in the House Speaker's chair, according to
                the a davit, but the FBI said he "appears to be mistaken as he was also photographed in the seat reserved for the
                vice president, and not Speaker Pelosi."




         https://www.cnn.com/2021/01/13/us/man-vice-president-chair-capitol-riot-trnd/index.html
                                                                                                                                                                 Exhibit N               1/4
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                                                                                                                                                                of is1677
                                                                                                                                                                      in custody - CNN




Case 1:18-cv-05398-DLI-VMS Document 64-11 Filed 01/25/21 Page 3 of 5 PageID #: 1325




                                                US                                                                                                              LIVE TV




                  Police say Josiah Colt is the man who was photographed in the seat where Vice President Mike
                  Pence was earlier.

                The Ada County Sheri 's O ce in Boise, Idaho conﬁrmed to CNN on Tuesday night that Colt was in custody on a
                hold for the US Marshals Service.

                "In the moment I thought I was doing the right thing," Colt said in a text to CNN a liate KBOI last week. "I realize
                now that my actions were in appropriate and I beg for forgiveness from America and my home state of Idaho." Colt
                and his family have not returned repeated requests for comment from CNN.

                According to the FBI a davit, there is probable cause that Colt violated a federal law against entering a restricted
                building without lawful authority, as well as a law against entering the Capitol to disrupt a session of Congress.

                Colt is scheduled to have his ﬁrst appearance before a judge Wednesday morning via videoconference.

                                                                                                           The FBI has opened more than 170 case ﬁles in the six days
                                                                                                           since the attack, and prosecutors have already charged more
                                                                                                           than 70 cases.

                                                                                                           CNN's Sonia Moghe, Ted Barrett, Manu Raju and Peter
                                                                                                           Nickeas contributed to this report.




                Related Article: Republicans begin
                backing impeachment in 'vote of
                conscience'
         https://www.cnn.com/2021/01/13/us/man-vice-president-chair-capitol-riot-trnd/index.html
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                                                                                                                                             Page      Capitol riot
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                                                                                                                                                                      in custody - CNN




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Case 1:18-cv-05398-DLI-VMS Document 64-11 Filed 01/25/21 Page 4 of 5 PageID #: 1326




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                                                US                                                                                                              LIVE TV
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Case 1:18-cv-05398-DLI-VMS Document 64-11 Filed 01/25/21 Page 5 of 5 PageID #: 1327




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                                                             Page11039
                                                                   of 8 PageID
                                                                        of 1677 #: 1328




                 EXHIBIT J




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A Reporter’s Footage from Inside the Capitol Siege | The New Yorker
                   Case 1:18-cv-05398-DLI-VMS
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                                                                Filed01/25/21
                                                                      05/03/21 Page
                                                                                Page2 1040
                                                                                      of 8 PageID
                                                                                            of 1677#: 1329




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                     A Reporter’s Footage from Inside the Capitol Siege
                                                                           By The New Yorker         January 17, 2021


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                           Luke Mogelson followed Trump supporters as they forced their way into the Senate
                           chamber.



 W
         hen Luke Mogelson attended President Donald Trump’s speech on the National Mall, in Washington, D.C.,
         on January 6th, he was prepared for the possibility that violence might erupt that day. Mogelson, a veteran
 war correspondent and a contributing writer at The New Yorker, had spent the previous ten months reporting on the
 radical fringe of Trump supporters, from anti-lockdown militias to fascist groups such as the Proud Boys. After
 Election Day, he interviewed Trump supporters who showed up at ballot-tabulation sites, and who believed the
 President’s lies that the results had been “rigged” and his victory “stolen.” At one post-election pro-Trump rally in
 D.C., Mogelson witnessed racist violence against Black residents of the nation’s capital. At another event, he
 watched the host of the white-supremacist Web program “America First” declare, “Our Founding Fathers would
                                                                                                                                                                    Exhibit N
https://www.newyorker.com/news/video-dept/a-reporters-footage-from-inside-the-capitol-siege[1/21/2021 11:00:41 AM]
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                                                                Filed01/25/21
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                                                                                Page3 1041
                                                                                      of 8 PageID
                                                                                            of 1677#: 1330
 get in the streets, and they would take this country back by force if necessary. And that is what we must be
 prepared to do.”

 After Trump’s incendiary speech, Mogelson followed the President’s supporters as they forced their way into the
 U.S. Capitol, using his phone’s camera as a reporter’s notebook. What follows is a video that includes some of that
 raw footage. Mogelson harnessed this material while writing his panoramic, definitive report, “Among the
 Insurrectionists,” which the magazine posted online on Friday. (It appears in print in the January 25th issue.) His
 prose vividly captures how the raging anger and violence of the initial breach of the Capitol was followed by an
 eerily quiet and surreal interlude inside the Senate chamber, where Mogelson watched people rummaging through
 desks and posing for photographs. Although the footage was not originally intended for publication, it documents a
 historic event and serves as a visceral complement to Mogelson’s probing, illuminating report.

 Click here to read “Among the Insurrectionists.”




 Read More About the Attack on the Capitol

           Donald Trump, the Inciter-in-Chief.
           He must be held accountable.
           An Air Force combat veteran was part of the mob in the Senate.
           The invaders enjoyed the privilege of not being taken seriously.
           The crisis of the Republican Party has only begun.
           A Pelosi staffer recounts the breach.
           Sign up for our daily newsletter for insight and analysis from our reporters and columnists.


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 21, 1925.
 More:Donald TrumpCapitol HillTrump-Biden Transition



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                   Case 1:18-cv-05398-DLI-VMS
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                                                                                      of 8 PageID
                                                                                            of 1677#: 1331
 Rioters at the Capitol




 The Presidential Transition
 Among the Insurrectionists
 The Capitol was breached by Trump supporters who had been declaring, at rally after rally, that they would go to violent lengths to
 keep the President in power. A chronicle of an attack foretold.

 By Luke Mogelson




                                                                                                                                 Exhibit N
https://www.newyorker.com/news/video-dept/a-reporters-footage-from-inside-the-capitol-siege[1/21/2021 11:00:41 AM]
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                                                                      05/03/21 Page
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                                                                                      of 8 PageID
                                                                                            of 1677#: 1332
 A photo collage of Donald Trump with the White House in the background.




 The Presidential Transition
 The Trial of Donald Trump Must Tell the Full Story of the Capitol Insurrection
 We need a truth-finding mission rather than just a punitive undertaking, and it requires the support of President-elect Biden.

 By Masha Gessen




                                                                                                                                  Exhibit N
https://www.newyorker.com/news/video-dept/a-reporters-footage-from-inside-the-capitol-siege[1/21/2021 11:00:41 AM]
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                                                                                Page6 1044
                                                                                      of 8 PageID
                                                                                            of 1677#: 1333




 Video
 “That’s Not Who We Are” Is the Wrong Reaction to the Attack on the Capitol
 Andrew Marantz talks about why such sweeping statements, issued by many public figures after a mob of Trump supporters rioted in
 the halls of Congress, can stand in the way of necessary change.




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https://www.newyorker.com/news/video-dept/a-reporters-footage-from-inside-the-capitol-siege[1/21/2021 11:00:41 AM]
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                                                                      05/03/21 Page
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                                                                                      of 8 PageID
                                                                                            of 1677#: 1334
 Donald Trump walks away from a bright spotlight.




 Letter from Trump’s Washington
 Obituary for a Failed Presidency
 One final dispatch from Trump’s Washington.

 By Susan B. Glasser




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                    Case 1:18-cv-05398-DLI-VMS
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                                                                       05/03/21 Page
                                                                                 Page8 1046
                                                                                       of 8 PageID
                                                                                             of 1677#: 1335




 Sections


 News                                                                                                          Crossword


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                                                     05/03/21 Page
                                                               Page1 1047
                                                                     of 27 of
                                                                           PageID
                                                                              1677 #: 1336




                  EXHIBIT K




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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                                    05/03/21Page
                                                             Page2 of
                                                                   1048
                                                                      27 PageID
                                                                         of 1677 #: 1337



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK




             -----------------------------X
                                          :
             ROSLYN LA LIBERTE,           :
                                          :            18-CV-5398 (DLI)(VMS)
                             Plaintiff,   :
                                          :            January 11, 2021
                                          :
                        V.                :            Brooklyn, New York
                                          :
             JOY REID,                    :
                                          :
                             Defendant.   :
             -----------------------------X


                 TRANSCRIPT OF CIVIL CAUSE FOR TELEPHONE CONFERENCE
                        BEFORE THE HONORABLE VERA M. SCANLON
                           UNITED STATES MAGISTRATE JUDGE

             APPEARANCES:

             For the Plaintiff:                 DAVID OLASOV, ESQ.
                                                LUCIEN L. WOOD, ESQ.


             For the Defendant:                 JOHN REICHMAN, ESQ.
                                                DAVID YEGER, ESQ.
                                                THEODORE BOUTROUS, ESQ.

             Audio Operator:


             Court Transcriber:                 ARIA SERVICES, INC.
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page3 of
                                                                   1049
                                                                      27 PageID
                                                                         of 1677 #: 1338
                                                                                      2



     1                   THE COURT:      La Liberte v. Reid, 18-CV-5398.

      2                  Let’s start with plaintiff’s counsel’s

      3   appearance.

      4                  MR. OLASOV:       David Olasov for Roslyn La

      5   Liberte and Lin Wood for Roslyn La Liberte.

      6                  MR. WOOD:      Yes, good morning, your Honor,

     7    this is Lin Wood.

     8                   THE COURT:      Hello.

     9                   All right, for the defendant?

    10                   MR. REICHMAN:       Good morning, your Honor.

    11    This is John Reichman from John Reichman Law, and I am

    12    joined by my colleague, David Yeger.                We also have our

    13    co-counsel from Gibson Dunn, who will introduce

    14    themselves.

    15                   MR. BOUTROUS:       Yes, your Honor.         This is

    16    Theodore Boutrous from Gibson Dunn & Crutcher for Ms.

    17    Reid, and I’m joined by my colleagues, Marissa Moshell

    18    and Marcellus McRea.

    19                   THE COURT:      All right.       So we’re here for

    20    the discovery issues since you’re back from the

    21    circuit.      So we have at 57 your proposed order and then

    22    at 58, the letter complaining about the initial

    23    disclosures.       I’ve read the letter.          I think it’s

    24    premature.      We don’t have a scheduling order and so you

    25    can complain that there wasn’t a need to have these



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                                                  01/25/21
                                                    05/03/21Page
                                                             Page4 of
                                                                   1050
                                                                      27 PageID
                                                                         of 1677 #: 1339
                                                                                      3



      1   initial disclosures done.            I know you submitted your

      2   initial -- proposed initial scheduling order having

      3   some earlier dates on there but they’re not the

      4   effective dates from a court order, so I’m just going

      5   to reset it.

      6                  Plaintiff, you should look at the criticism

      7   that the defendant is offering as to the alleged

      8   incompleteness of your initial disclosures and you

      9   should both have a conversation.              Then if you still

    10    can’t work it out, you can let me know.

    11                   Obviously, there’s a fairly extensive record

    12    already in this case on that legal issue.                  Is there

    13    anything anybody wants to say with regard to the merits

    14    that you think I should know.             Mostly, does it affect

    15    discovery, and then we’ll talk about the particulars of

    16    the discovery schedule.           So for plaintiff?

    17                   MR. OLASOV:       This is David Olasov.          Mr.

    18    Reichman and I have had a conversation in which I

    19    pointed out to him that the answer to the amended

    20    complaint that was filed after the Second Circuit’s

    21    decision in our view pleaded matters that we believe

    22    are foreclosed by the decision.              I’ve agreed to -- for

    23    plaintiff to provide them with a letter that indicates

    24    which defenses that they’ve raised we believe are

    25    foreclosed by this decision.             Of course, that has some



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       Case 1:21-cv-01169-TCB
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                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page5 of
                                                                   1051
                                                                      27 PageID
                                                                         of 1677 #: 1340
                                                                                      4



      1   bearing on the scope of discovery since there’s no

      2   point in having discovery on matters that are

     3    foreclosed by the decision.

      4                  THE COURT:      All right.       Defendants, your

     5    view?

      6                  MR. REICHMAN:       Well, we await the letter but

      7   I don’t think it’s really going to have an impact

      8   whatsoever on discovery.           In our view, I think the only

      9   defense that is arguably precluded is the legal defense

    10    with respect to whether the posts were opinion or not,

    11    but that wouldn’t be the subject of discovery in any

    12    event.

    13                   THE COURT:      All right.       And before we dive

    14    into the discovery, is there any possibility of having

    15    settlement discussions?           You’ve been at this for a

    16    while now.      Has there been anything?            I mean, you could

    17    have discussions with each other, you could have a

    18    mediator try to bridge whatever gap there is because

    19    you obviously having been doing this, what, since 2018?

    20                   MR. WOOD:      Your Honor, this is Lin Wood.             I

    21    think it’s standard handling, from my experience at

    22    least, that from the plaintiff’s perspective, the

    23    plaintiff is always willing to listen to any reasonable

    24    offer that a defendant makes.             But if the defendant has

    25    no interest, then obviously, our hands our tied.                    So I



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       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-13
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                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page6 of
                                                                   1052
                                                                      27 PageID
                                                                         of 1677 #: 1341
                                                                                      5



      1   would kind of throw the ball over to the defense to say

      2   if there’s an interest and, if so, if there are any

      3   suggestions on how a discussion could take place.                     If

      4   there’s no interest, then we obviously can just

     5    continue to move forward.

      6                  MR. REICHMAN:       This is John Reichman, your

      7   Honor.     I think for reasons that we set out already to

      8   the Court with respect to the initial disclosures, we

      9   don’t know of any real damages that the plaintiff has

    10    sustained.      And before even considering any kind of

    11    settlement, we need to know at least what the

    12    plaintiff’s damages are and the basis for them, and we

    13    could then take it from there.

    14                   THE COURT:      All right, so I’ll take that as

    15    a maybe and say that we’re going to set the dates --

    16                   MR. WOOD:      I like -- Judge, I appreciate

    17    someone who is always on the optimistic side.

    18                   THE COURT:      I try.     All right, what --

    19                   MR. REICHMAN:       Your Honor -- I’m sorry.

    20    There is another matter that we’d like to bring to the

    21    Court’s attention, and it involves Mr. Wood,

    22    plaintiff’s lead counsel.            Over the weekend, we have

    23    come across some very disturbing information about the

    24    conduct of Mr. Wood.          I’m sure you’re aware that since

    25    the election, Mr. Wood has been actively engaged in



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       Case 1:21-cv-01169-TCB
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                                     64-13
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page7 of
                                                                   1053
                                                                      27 PageID
                                                                         of 1677 #: 1342
                                                                                      6



      1   attempting to overturn the election results.                   All of

      2   those cases have been dismissed.              There have also been

     3    sanctions and disqualification motions filed.

     4                   MR. WOOD:      I have not been sanctioned.

     5                   MR. REICHMAN:       Now Mr. Wood --

     6                   THE COURT:      One at a time.

      7                  MR. REICHMAN:       -- has taken an even far

      8   darker turn.       He is actively and has actively supported

      9   the insurrection against our government and called for

    10    the execution of the Vice President.

    11                   MR. WOOD:      Oh, nonsense.

    12                   MR. REICHMAN:       He’s been permanently barred

    13    from Twitter and his recent attempt to submit a post on

    14    Parler calling for the Vice President’s execution was

    15    not permitted.        In fact, the posting of his tweet on

    16    Parler was one of the reasons cited by Apple and Google

    17    to ban Parler from their platforms.               The right to

    18    appear pro hac vice in this District is a privilege and

    19    not a right, and we believe there are at least three

    20    reasons why that privilege should be revoked by the

    21    Court.

    22                   First, in New York, every attorney pledges

    23    to solemnly swear that he or she will support the

    24    Constitution of the United States.               Mr. Wood is seeking

    25    to undermine, not support the U.S. Constitution.                    His



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                              Document
                                     64-13
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page8 of
                                                                   1054
                                                                      27 PageID
                                                                         of 1677 #: 1343
                                                                                      7



      1   call for violence in the streets and his tweets and

      2   public utterances have been an impetus of the

      3   insurrections to seize the Capitol.               It’s noteworthy

      4   that the last tweet of the woman shot at the Capitol,

      5   Ashley Babbitt, was a re-posting of one of Mr. Wood’s

     6    posts.

      7                  Second, in violation of the disciplinary

      8   rules, Mr. Wood has gone around the country filing

      9   utterly frivolous lawsuits based on outright lies and

    10    nonexistent legal theories.             In Delaware, a court has

    11    issued a show-cause order, citing his conduct in

    12    Wisconsin and Georgia actions, asking him to show cause

    13    why he should not be disqualified from practicing law

    14    in Delaware.       In Michigan, after the dismissal of the

    15    lawsuit he filed there, a motion has been filed seeking

    16    sanctions and disqualification and disbarment.

    17                   Third, Mr. Wood is actively threatening the

    18    well-being of the judiciary, especially Justice

    19    Roberts.      He has painted Justice Roberts as a murderous

    20    pedofile.      He suggested that the Chief Justice was

    21    mixed up in the death of Justice Scalia, was

    22    trafficking in children, and apparently hinting that he

    23    may have had Epstein killed if he was killed at all.

    24    He recently tweeted, “My information from reliable

    25    sources is that Roberts arranged an illegal adoption of



                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-13
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page9 of
                                                                   1055
                                                                      27 PageID
                                                                         of 1677 #: 1344
                                                                                      8



      1   two children from Wales through Jeffrey Epstein.”

      2                  Now, as we all now clearly and sadly know,

      3   words can and will lead to violence.                So under the

      4   Disciplinary Rules at Section 8.3, we believe we have

      5   an ethical duty to report this matter to the Court and

     6    we would --

     7                   MR. OLASOV:       Who is speaking now?

     8                   MR. REICHMAN:       Please.

     9                   MR. OLASOV:       Who is speaking?

    10                   MR. REICHMAN:       John Reichman.

    11                   THE COURT:      Please stop, stop interrupting.

    12                   MR. REICHMAN:       And we welcome --

    13                   THE COURT:      All right, continue.

    14                   MR. REICHMAN:       So we welcome the Court’s

    15    guidance with respect to whether and how to further

    16    this issue.       You know, we are prepared to provide more

    17    information about Mr. Wood’s activity.                 I would add

    18    that all of these are matters of public record.                    It

    19    seems to us there are at least two options with respect

    20    to how to proceed.         We could submit a letter brief

    21    under your Honor’s rules directly seeking the

    22    revocation of the pro hac vice order.                The other way

    23    would be to present the information and ask the Court

    24    whether it could issue a show-cause order such as was

    25    done in Delaware.         That’s a procedure that some judges



                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1056
                                                                10 of of
                                                                      271677
                                                                         PageID #:
                                      1345
                                                                                9



   1    have used in considering the revocation of the right to

   2    practice.

   3                  THE COURT:      All right, let’s first hear from

   4    Mr. Wood.     Then we’ll talk about the procedure.

   5                  Go ahead, Mr. Wood.

   6                  MR. WOOD:      Thank you, your Honor.          It’s kind

   7    of hard to respond to such serious accusations when I

   8    am not at all sure about the accuracy of some of the

   9    things that have been said to the Court.                In fact, I

  10    know some of them are inaccurate.             And I have not been

  11    sanctioned by any court in 43 and a half years, not any

  12    court over the course of my career, nor any court now.

  13                  It’s almost like I’m being -- trying to make

  14    me into a scapegoat.         I’ve had nothing to do, number

  15    one, with what happened in Washington D.C.                I didn’t

  16    call for the people to go up there and meet, I didn’t

  17    call for anybody to go to the Capitol.               I certainly

  18    didn’t call for anybody to create a scene of what

  19    appeared to be some type of violence.               So whether this

  20    lady that died had re-tweeted me, I have no control

  21    over that.

  22                  What I can say to the Court and, if

  23    necessary, at the appropriate time, present to the

  24    Court is that what I have said publicly, I have

  25    reliable information to support the truth of it.                  What



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1057
                                                                11 of of
                                                                      271677
                                                                         PageID #:
                                      1346
                                                                               10



   1    I have done with Sidney Powell is, she asked me to sign

   2    on to two or three lawsuits where she was the lead

   3    counsel, in anticipation that there may be a need for a

   4    trial lawyer.       I didn’t draft the lawsuits.            There were

   5    some typographical errors and things done in some of

   6    them that upset a judge in Wisconsin, I believe, maybe

   7    Michigan.     But if you had a full hearing on what

   8    happened there, I didn’t have anything to do with that,

   9    other than I did agree to sign on to help Sidney.

  10                  I know for a matter of fact that all of the

  11    information that Sidney Powell has presented in the

  12    litigation with respect to the fraud in the election,

  13    there is a mountain of admissible evidence in the form

  14    of affidavits, authenticated videos, expert evidence

  15    from reliable and credible experts.              So the lawsuits

  16    were filed as they are allowed to be filed.

  17                  The only other lawsuits that I’ve been

  18    involved in, I filed for myself as it related to the

  19    Georgia election, where I contended that the election

  20    was conducted illegally and in violation of precedent

  21    of the Supreme Court that requires that the election

  22    rules be set by the state legislature.               In Georgia,

  23    they conducted the election with absentee ballots and

  24    mail-in ballots based on a procedure that came up --

  25    that came up from a settlement agreement by the



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1058
                                                                12 of of
                                                                      271677
                                                                         PageID #:
                                      1347
                                                                               11



   1    Secretary of State with the Democratic Party.                 It was

   2    never adopted by the legislature, so that any

   3    allegation that I filed a frivolous lawsuit is in fact

   4    frivolous.

   5                  The lawsuit that I have presently have is

   6    pending before the United States Supreme Court in a

   7    writ of certiorari.         It has not yet been ruled on but

   8    yet it’s been pending for some almost three weeks.

   9    They may still accept it.           So the Georgia litigation

  10    I’m involved in is certainly within the rules and the

  11    laws of this country.         The litigation that Sidney

  12    Powell has filed, where I’ve been asked to sign on to,

  13    is also based on legitimate causes of action, and I

  14    know for a fact based on a wealth of material and

  15    admissible evidence to support the allegations.

  16                  No court in any of the rulings -- no court

  17    for some reason has mentioned the evidence of the

  18    election fraud.       So there’s been no finding by any

  19    court that the evidence of election fraud is lacking.

  20    In fact, if they discussed it, they would have to say

  21    it was literally conclusive that there was fraud.                   So

  22    now I’m being attacked for taking legitimate actions as

  23    a lawyer, legitimate actions as a plaintiff in Georgia.

  24    They’re trying to pin on me the sad tragedy of what

  25    happened in Washington D.C., and now they’re even



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1059
                                                                13 of of
                                                                      271677
                                                                         PageID #:
                                      1348
                                                                               12



   1    saying that my tweet brought down Parler.                I’ve never

   2    heard of where one man -- I know the pen is mightier

   3    than the sword but what I tweeted about the Vice

   4    President was rhetorical hyperbole.              I did not call for

   5    any violence against any individual that would result

   6    in immanent harm or a serious threat of harm to that

   7    person.

   8                  I’ve seen tweets and posts where people have

   9    asked protestors to be shot.            I didn’t do that.           I’ve

  10    seen tweets where they hold the President’s head up

  11    where it’s been beheaded.           I didn’t do that.        So this

  12    is a matter of what’s in the eye of the beholder.                     What

  13    I did was, I posted a photograph of where a Capitol

  14    police officer had opened the doors to let people in

  15    that appear to be, and the evidence seems to be

  16    suggesting, were members of either Antifa or Black

  17    Lives Matter.       I posted the photograph of that and I

  18    said, they let them in.          They’re all traitors, get the

  19    firing squads ready, tense first.

  20                  Now, I don’t control firing squads.               I

  21    couldn’t run out and put together a firing squad and go

  22    shoot the Vice President.           But the law is that if you

  23    are guilty of treason, one of the penalties available,

  24    as publicly ratified recently in the last month by the

  25    Department of Justice is the death penalty by firing



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1060
                                                                14 of of
                                                                      271677
                                                                         PageID #:
                                      1349
                                                                               13



   1    squad, even by hanging.

   2                  If you look over and say that the doctor who

   3    commits an abortion is a murderer, that’s rhetorical

   4    hyperbole.      So what I said, because I know the law of

   5    defamation, my statement was rhetorical hyperbole.                   It

   6    was not intended, nor did anybody seriously think that

   7    that was a call to run out and put the Vice President

   8    in front of a firing squad.           But for some reason, my

   9    voice has reached a level, not because I wanted it to

  10    -- I’ve never sought recognition in my life as a

  11    lawyer.     I just do my job.        But for some reason, my

  12    voice has reached a level where many people listen to

  13    me.   That’s their choice.          But I talk about facts and

  14    truth, I don’t make things up.

  15                  But what I do differently than most I guess

  16    people that are voices to be heard is I relate almost

  17    all of what I say to people to my belief in God, so

  18    that my voice is one both of truth and a voice that

  19    talks about things from a faith basis.               So I’m entitled

  20    to those opinions and I don’t think I ought to be

  21    chastised and called upon to be put on trial in effect

  22    for doing what the law allows me to do and saying

  23    things that I believe are consistent with what I know

  24    to be the teachings of Jesus Christ.

  25                  So I’ve been accused of being crazy, nuts.



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1061
                                                                15 of of
                                                                      271677
                                                                         PageID #:
                                      1350
                                                                               14



   1    I’ve never read such things about me.               If you went back

   2    a few months ago, people would have told you I was the

   3    greatest, smartest defamation lawyer in the world.

   4    I’ve fought for truth and I’ve handled some big cases,

   5    starting with Richard Jewell in 1996, where I went up

   6    against the FBI and the media through representing a

   7    number of other people in high-profile cases.

   8                  I’ve had cases of success against CNN,

   9    Washington Post, a number of media outlets.                 I

  10    represent Nicholas Sandman (ph) and we’ve had very good

  11    success in Kentucky.         Nobody has complained about my

  12    conduct in Kentucky.         I just won a motion to dismiss

  13    against Gannett newspapers, and then I did some work

  14    when I formed a 501(c)(4) foundation this summer,

  15    #fightback.      The foundation’s purpose was, I thought

  16    and still believe that the country is undergoing a

  17    color revolution.        So I said our constitutional rights

  18    are going to be at risk and I formed that foundation

  19    to, in the future, be an advocate for maintaining and

  20    protecting our constitutional rights.

  21                  Right after I formed it, people asked me to

  22    help a young man named Kyle Rittenhouse.                I did.     I

  23    went out and I took the time and made the effort to

  24    raise two million dollars to make the boy’s cash bond

  25    in Kenosha.      Actually -- yeah, in Kenosha.            Then since



                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1062
                                                                16 of of
                                                                      271677
                                                                         PageID #:
                                      1351
                                                                               15



   1    that time, I’m not doing anything with respect to

   2    raising any more money for Kyle, but I was trying to

   3    help the young boy because I believe, based on the

   4    video evidence, that the young man was exercising his

   5    right of self defense and he was in effect a political

   6    prisoner and he ought to be let out.              I was worried

   7    about them hurting him when he was in jail.

   8                  So if you want to, your Honor, look at these

   9    recent accusations against me, I would question why are

  10    they being made, who’s behind it?             But I would also

  11    urge the Court to take the time to look at the body of

  12    my life’s work for 43 years.            I love this country.         I

  13    love the rule of law.         I have never advocated that

  14    anyone should break the law.            I’ve advocated for people

  15    to follow the law.

  16                  I’ve been upset with what I’ve seen from the

  17    evidence about how this election was conducted.                  I

  18    believe it was a fraud.          Now, I’m not going to be the

  19    ultimate arbiter of that but I have the right to serve

  20    as a lawyer for people that do litigate it, and I have

  21    the right, in the case of Georgia, to be a plaintiff

  22    because I believe my constitutional right to vote has

  23    been diminished and it’s in violation of equal

  24    protection.

  25                  So how Lin Wood, the lawyer, has become now



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1063
                                                                17 of of
                                                                      271677
                                                                         PageID #:
                                      1352
                                                                               16



   1    Lin Wood, the guy that this man would sit there and

   2    represent to you is advocating the overthrow of our

   3    government, the death of our Vice President, and

   4    violence in the streets, you know, I can only say this:

   5    It’s errant nonsense.         I believe it’s part of a

   6    political agenda to harm me because of my message.                      If

   7    you can’t shoot the message because it’s solid, shoot

   8    the messenger.       That’s what they’re trying to do,

   9    Judge.    They’re trying to attack the messenger because

  10    they can’t attack the message.

  11                  THE COURT:      So --

  12                  MR. WOOD:      So I would ask for at least -- if

  13    the Court is interested in hearing all of this stuff, I

  14    believe I’m entitled to due process and an opportunity

  15    to respond to, with evidence and other information, any

  16    type of accusation that’s made against me before your

  17    Honor does something that has never been done to me.

  18    I’ve practiced law in 27 states.             Even in Michigan, the

  19    City of Detroit is trying to get me disbarred.                   Why?

  20    I’m not a member of the Michigan Bar.               They’re taking

  21    action -- they’re saying that I ought to be sanctioned

  22    in Delaware for what I did in Wisconsin.                Well,

  23    Wisconsin hasn’t taken any action against me.                   So

  24    something is not right about this, your Honor, and I

  25    hope that you’ll treat me fairly because I’ve spent my



                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1064
                                                                18 of of
                                                                      271677
                                                                         PageID #:
                                      1353
                                                                               17



   1    life working for the law, representing people that

   2    needed help, putting them first and myself second.

   3                  MR. McRAE:      Your Honor --

   4                  MR. WOOD:      So I would -- I would simply end

   5    by saying I’m entitled to respond with due process to

   6    any of these accusations being made against because

   7    they’re false.       I reject the idea that I’m a scapegoat

   8    in all of this.       I think it’s an effort to hurt the

   9    messenger because the message frightens them.                 I don’t

  10    know.    That’s up to them to decide.

  11                  THE COURT:      So the question --

  12                  MR. McREA:      Your Honor, Mr. Boutrous got

  13    dropped from the call.          I’m sorry to interrupt.          This

  14    is Mr. McRea.

  15                  THE COURT:      Okay.

  16                  MR. McREA:      I wouldn’t interrupt, except my

  17    partner got dropped from the call and the host has to

  18    let him back in.        He got dropped a while ago but I

  19    didn’t want to interrupt.

  20                  THE CLERK:      I can do that.        The only problem

  21    is, the other conference will be let in as well, Judge.

  22                  THE COURT:      That’s fine.       If you do that,

  23    then I’ll ask them to --

  24                  THE CLERK:      Okay.

  25                  THE COURT:      -- not to speak.



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1065
                                                                19 of of
                                                                      271677
                                                                         PageID #:
                                      1354
                                                                               18



   1                  MR. McREA:      Thank you, your Honor.

   2                  THE CLERK:      It takes a few minutes.

   3                  MR. REICHMAN:       Your Honor, if I may --

   4                  THE COURT:      Hold on, just wait until

   5    everybody is back.

   6                  MR. BOUTROUS:       I’m back.      Thank you, your

   7    Honor.

   8                  THE COURT:      We only heard one person come

   9    in.   If anyone is on --

  10                  MR. BRAND:      Your Honor, Ian Brand (ph) for

  11    plaintiff in the Hargrave/State Farm litigation.

  12                  THE COURT:      If you’re on for Hargrave, just

  13    mute yourself.       We’re not on the Hargrave case yet.

  14                  MR. BRAND:      Okay.

  15                  THE COURT:      We have probably another five or

  16    ten minutes on what we’re talking about now.                 It’s up

  17    to you.     You can stay on or you can call back in a

  18    couple of minutes, whatever you like.

  19                  MR. BRAND:      I’ll mute.

  20                  THE COURT:      So on this point about whether

  21    plaintiff’s counsel should continue as counsel in this

  22    case, I think the cleanest posture of this would be, if

  23    the defendants want to make a motion to disqualify or

  24    revoke the pro hac grant, then you can do that.                  Let’s

  25    then have a schedule for your papers and counsel’s



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1066
                                                                20 of of
                                                                      271677
                                                                         PageID #:
                                      1355
                                                                               19



   1    papers, and a brief reply if that’s what you want.                   I

   2    think it’s a serious set of allegations so if you’re

   3    pursuing it, I think -- yes, I agree, I normally do

   4    things by letter motion but this probably should have

   5    some more formality.

   6                  So on the defendant’s side, if you’re going

   7    to do this motion, what do you think, two weeks?

   8                  MR. REICHMAN:       That would be fine.

   9                  THE COURT:      All right.      So you will serve

  10    your papers by the 25 th of January.

  11                  And then, plaintiff’s counsel, if you want

  12    to respond, can you do that by the 8 th ?

  13                  MR. WOOD:      The date for the defense’s papers

  14    would be when?

  15                  THE COURT:      The 25 th .

  16                  MR. WOOD:      The 25 th ?    And then two weeks for

  17    us to respond on the 8 th ?        Is that what I understood?

  18                  THE COURT:      Yes.    And then a reply by -- is

  19    the 15 th a holiday weekend that weekend?

  20                  MR. REICHMAN:       Yes, the 15 th if Presidents’

  21    Day.

  22                  THE COURT:      So the 16 th for your reply.

  23                  MR. REICHMAN:       Okay.     Thank you, your Honor,

  24    that works for us.

  25                  THE COURT:      All right.      Now let’s talk about



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1067
                                                                21 of of
                                                                      271677
                                                                         PageID #:
                                      1356
                                                                               20



   1    the discovery schedule.          In terms of the initial

   2    disclosures, they should both -- both of your sets of

   3    papers should be exchanged by the same date.                 Except

   4    for this motion practice, I would say two weeks is

   5    enough time given the length of time that this case has

   6    been pending, so you can tell me.             What I want

   7    obviously is that before you raise anything with me,

   8    that you speak with each other about it.

   9                  MR. REICHMAN:       Yes, your Honor.        This is

  10    John Reichman again.         We did -- each side has already

  11    served the initial disclosures.

  12                  THE COURT:      Yes.

  13                  MR. REICHMAN:       I don’t think the plaintiff

  14    has any problem with our disclosures and our problem is

  15    limited to the disclosure with respect to damages, as

  16    we’ve laid out.       So I’m not sure if -- so I’m not sure

  17    where that puts us in terms of what you are suggesting.

  18                  THE COURT:      So let’s say you try to work out

  19    your concerns about the damages and have a date --

  20    today is the 11 th .     By the 29 th of January, a revised,

  21    complete set of the initial disclosures.                And then if

  22    you still have your concerns about the damages issues

  23    or any other issues, you can raise it as you go.

  24                  Then initial document requests and

  25    interrogatories -- defendants, you’ve said you’ve done



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1068
                                                                22 of of
                                                                      271677
                                                                         PageID #:
                                      1357
                                                                               21



   1    it, and plaintiff, you’re going to.              You can start

   2    obviously responding as you like but the time line for

   3    when those responses are due -- we’ll count off.                    So

   4    I’m going to put you down as the same date.                 So by

   5    February 8 th , thirty days from there.            Is there any

   6    possibility of joinder or amendment at this stage,

   7    given again how long this has been around for?

   8                  MR. OLASOV:       We don’t think so.

   9                  MR. REICHMAN:       I don’t think either side --

  10    we don’t, either.

  11                  THE COURT:      Okay, all right, so we’ll just

  12    leave that as it is.         All right, the fact discovery

  13    date is fine.       I’m going to change some of the dates

  14    for the expert disclosures.           So the expert disclosure

  15    should be provided with the close of fact discovery,

  16    and I’ll just tell you how I look at it.                I don’t know

  17    if this is going to match with what you have as a

  18    general matter.

  19                  The way I would see it is, whoever is

  20    carrying the burden of proof or raising an issue

  21    uniquely -- so for example, if one of those defenses

  22    that was mentioned required the burden of proof and you

  23    were offering an expert with regard to that, that’s the

  24    moving report, the initial report.              So if you fall into

  25    that category, your initial report disclosures would be



                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1069
                                                                23 of of
                                                                      271677
                                                                         PageID #:
                                      1358
                                                                               22



   1    due May 31 st , and then we’ll put the June 30 th date for

   2    the initial report, so that’s 7(b) on this list.                  Then

   3    I will for now leave 8/6 as the rebuttal.                I think it

   4    depends on what the topics are, whether a month is a

   5    reasonable turnaround time or not.              I don’t know yet

   6    and we don’t need to figure it out on this call.                  We’ll

   7    have a status conference before you get to that.                  Then

   8    the other dates you have are largely -- they’re all

   9    fine.

  10                  So with the text order that comes out of

  11    this conference, we’ll have a status conference set

  12    sometime in April.        And then a week or a little more

  13    than a week before that, I’ll ask you for -- submit a

  14    letter letting me know what you’ve covered, what you

  15    still have to cover.         And then particular at that

  16    point, I would like to know, are you going to have

  17    expert discovery or not?          If you’re not, then many of

  18    these dates will be moved up.            You won’t need the

  19    couple of months that are indicated on the schedule for

  20    that.

  21                  A pretrial conference, that will be with the

  22    district judge.       You have dates here that you put in

  23    for having a demand and a response, and I see that

  24    you’re not asking for ADR at this point.                If you change

  25    your mind and you want a referral to ADR, we could give



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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1070
                                                                24 of of
                                                                      271677
                                                                         PageID #:
                                      1359
                                                                               23



   1    you that.

   2                  A couple of other things.           Let me just pull

   3    up the docket here.         So you do have a jury demand.

   4    Again, this is something we can talk about more in the

   5    future.     But as you can imagine, the trial calendar is

   6    quite backed up.        Just so you know, there haven’t been

   7    many trials here since March of last year and the

   8    general preference will be given to criminal trials

   9    over civil trials.        The (ui) that was taken in the fall

  10    when we were having trials was to have a criminal trial

  11    calendar and a backup civil trial-ready calendar.                   So

  12    basically, if the criminal cases pled out, we would

  13    bring the civil cases in because the jurors have been

  14    summoned and we could move along that way.

  15                  I imagine in this case, there will be some

  16    motion practice.        So this issue of when you’re having a

  17    jury trial, if you’re having a jury trial, may be a

  18    ways out.     To the extent you’re thinking about how long

  19    you’re going to be litigating this, if you’re

  20    envisioning a trial at the end or almost the end, it’s

  21    going to be a while.         So just take that into account

  22    when you’re thinking about whether you want to have

  23    settlement discussions or not.

  24                  All right, anything else?           Let me just say,

  25    if you have (ui) on the way, for example if you don’t



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Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1071
                                                                25 of of
                                                                      271677
                                                                         PageID #:
                                      1360
                                                                               24



   1    resolve your question of what damages information needs

   2    to be turned over, you can raise it, preferably by a

   3    joint letter.       Other issues we should talk about?

   4                  MR. WOOD:      Your Honor, this is Mr. Wood.

   5    Because I’m not the best note taker in the world --

   6                  THE COURT:      There will be an order.

   7                  MR. WOOD:      Could I ask the Court to also

   8    have, and we’ll certainly pay whatever cost, an

   9    expedited transcript of this hearing prepared and filed

  10    with the record of the Court?

  11                  THE COURT:      So we’ll do two things:           There

  12    will be a text order coming out of this and on the text

  13    order, it will have the time stamp for the recording.

  14    If you look on our court’s website, there’s a number

  15    for ESR, which is our transcription service, and you

  16    order the transcript there.           They give different rates

  17    for the speed at which they do it, so I think you have

  18    a couple of options with regard to the turnaround time.

  19                  MR. WOOD:      I bet the sooner you ask for it,

  20    the more it costs, as it should.

  21                  THE COURT:      Yeah.     It’s quite a difference

  22    and you can decide what you need.

  23                  Okay, anything else?

  24                  MR. REICHMAN:       No, your Honor.

  25                  THE COURT:      All right, take care, Happy New



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Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1072
                                                                26 of of
                                                                      271677
                                                                         PageID #:
                                      1361
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   1    Year.

   2                  MR. OLASOV:       Thank you very much, your

   3    Honor.

   4                  MR. WOOD:      Thank you very much, your Honor.

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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1073
                                                                27 of of
                                                                      271677
                                                                         PageID #:
                                      1362
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  18           I certify that the foregoing is a correct

  19    transcript from the electronic sound recording of the

  20    proceedings in the above-entitled matter.

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  25   ELIZABETH BARRON                                 January 12, 2021



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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                     64-14
                                        35-2Filed
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page1 of
                                                                   1074
                                                                      12 PageID
                                                                         of 1677 #: 1363




                  EXHIBIT L




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How online rage and real-world violence collided in Capitol siege - The Washington Post
              Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCB
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                                                   64-14
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                                                                01/25/21
                                                                  05/03/21Page
                                                                           Page2 of
                                                                                 1075
                                                                                    12 PageID
                                                                                       of 1677 #: 1364

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 Democracy Dies in Darkness
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 ‘Nothing can stop what’s coming’: Far-right forums that
 fomented Capitol riots voice glee in aftermath
 Online rage and real-world violence collided in the siege, with deadly consequences: “It’s a new age of terrorism that
 can’t exist without the Internet.”




                                                                                                  Exhibit N
https://www.washingtonpost.com/technology/2021/01/07/trump-online-siege/[1/19/2021 10:39:04 AM]
How online rage and real-world violence collided in Capitol siege - The Washington Post
              Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCB
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                                                   64-14
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                                                            Filed
                                                                01/25/21
                                                                  05/03/21Page
                                                                           Page3 of
                                                                                 1076
                                                                                    12 PageID
                                                                                       of 1677 #: 1365
 Trump supporters gather Wednesday at the Capitol.




 Trump supporters gather Wednesday at the Capitol. (Matt McClain/The Washington Post)
 By Craig Timberg, Drew Harwell, Razzan Nakhlawi and Harrison Smith
 Jan. 7, 2021 at 12:05 p.m. PST
 Men wearing camouflage shirts began building a makeshift defensive camp outside the Capitol on Wednesday
 afternoon. They moved barricades and green fencing into a circle, and then pulled helmets from a crate and donned
 goggles in preparation for a clash that had been brewing for weeks and, arguably, for years on far-right forums
 devoted to President Trump.

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https://www.washingtonpost.com/technology/2021/01/07/trump-online-siege/[1/19/2021 10:39:04 AM]
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       Case 1:18-cv-05398-DLI-VMS
               Case 1:21-cv-01169-TCB       Document
                                               Document64-14
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                                                                 Filed
                                                                     01/25/21
                                                                        05/03/21Page
                                                                                  Page 4 of
                                                                                         1077
                                                                                            12 PageID
                                                                                               of 1677 #: 1366
 “TheDonald.win, that’s where it’s at,” said one of the men, referring to the website where defiant talk, conspiracy
 theories and tips on how best to lay siege to Washington have grown since Trump lost the Nov. 3 election.

     Violent scene unfolds as pro-Trump mob storms Capitol




 Trump supporters overtook Capitol Police officers to enter the building as lawmakers attempted to count the electoral college
 votes on Jan. 6. (The Washington Post)
 The comment underscored the potent, interactive role between the online and offline worlds in Wednesday’s
 breach of the Capitol. Violent talk on far-right forums fomented violent real-world action, which was then captured
 by smartphones, uploaded and celebrated on the same forums. The boundaries between the digital and analog all
 but disappeared as rage, provocation and gloating bounced back and forth, again and again.
 [Facebook bans President Trump indefinitely, CEO Mark Zuckerberg says]
 TheDonald, as the camouflaged men at the Capitol suggested, offered a particularly vivid view of this combustible
 dynamic. The forum, banned last year from Reddit for hate speech and violent talk and now turned into a website,
 had been one of many online staging grounds for Wednesday’s riot, and the success of the takeover of the Capitol
 spurred celebration and calls for further action, including the execution of leading Democrats. For days before, the
 forum had featured advice on how best to sneak guns into Washington, despite its strict weapons laws.




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              Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCB
                                          Document
                                            Document
                                                   64-14
                                                      35-2Filed
                                                            Filed
                                                                01/25/21
                                                                  05/03/21Page
                                                                           Page5 of
                                                                                 1078
                                                                                    12 PageID
                                                                                       of 1677 #: 1367


 By Thursday morning, though, different moods had set in on this and other pro-Trump forums. Anger and gloating
 were still there, but so was unease at the furious public and political backlash against the events of the day before,
 which led to dozens of arrests and left one person fatally shot by police and three people dead after medical
 emergencies. Some posters worried their favorite forums, including TheDonald, would get knocked offline by
 chastened Internet service providers. There also was a pitched effort to redirect blame against left-wing activists,
 such as antifa, for somehow dressing up as marauding Trump supporters — a claim that was obviously ridiculous to
 anyone who watched the events unfold on their televisions, computers or smartphones.
 [Pro-Trump forums erupt with violent threats ahead of Wednesday’s rally against the 2020 election]
 On TheDonald, as users argued that the removal of some violent comments suggested the site’s leaders had been
 “compromised,” one moderator wrote, “What do you want? Us to try to lead a [expletive] revolution … from a
 forum on the internet, which ends up getting the site shut down in a matter of days and all of us sent to the gulag?”
 Many things born on the darkest corners of the Internet found their way to the heart of American democracy on
 Wednesday. Ludicrous claims among adherents of the QAnon conspiracy theory — including that leading
 Democrats are satanic pedophiles — got shouted by the mobs taking over the Capitol. The emerging garb of the far-
 right — camouflage, goggles, American flags draped as shawls — leaped directly from the far-right memeworld into
 the nation’s capital.




                                                                                          AD




 Years of social media comments about “lynching” political leaders opposed to Trump, meanwhile, manifested
 themselves as an actual noose, hanging from a makeshift gallows on the Mall. Someone wrote “BIDEN,” in
 reference to President-elect Joe Biden, on the wooden structure, with an arrow pointing toward the noose.
 It was not clear if TheDonald or any similar pro-Trump forum directly coordinated the takeover of the Capitol, or if
 posters simply shared general advice, promotion and celebration of the idea of thronging to Washington in support
 of the president. Much of that was included in a popular thread called “PATRIOTS STORM THE CAPITOL |
 WATCH PARTY.”
 The resulting mayhem appeared to proceed without obvious leaders, a common feature of political action
 developed and coordinated online, said Rita Katz, executive director of SITE Intelligence Group, which tracks
 political extremism.


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              Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCB
                                          Document
                                            Document
                                                   64-14
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                                                            Filed
                                                                01/25/21
                                                                  05/03/21Page
                                                                           Page6 of
                                                                                 1079
                                                                                    12 PageID
                                                                                       of 1677 #: 1368




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 “It’s a new age of terrorism that can’t exist without the Internet,” Katz said. “Having said that, the movement has a
 spiritual leader, which is Trump.”
 Advance Democracy, a group headed by former FBI analyst and Senate investigator Daniel J. Jones, who led the
 review of the CIA’s torture program, also was tracking pro-Trump forums as they built toward Wednesday’s
 assault.
 “In the lead-up to yesterday’s violence, the Capitol rioters needed a place to plan for how the violence would unfold.
 They found this on unmoderated pro-Trump forums such as TheDonald.win,” Jones said. “There, they posted their
 plans to take matters into their own hands and literally threatened to kill lawmakers. They encouraged each other
 to bring illegal weapons. When this came to fruition, the real-life actions provided fodder for those on the forum.”
 [As QAnon grew, Facebook and Twitter missed years of warning signs about the conspiracy theory’s violent
 nature]
 In the aftermath, pro-Trump forums wavered between glee, deflection and recrimination, shunting blame for the
 chaos onto a mass of scapegoats. They blamed Vice President Pence, for not subverting the reality of Trump’s loss,
 and old foes like Democrats, the media and the “deep state.” They also blamed the Capitol Police and other
 members of law enforcement.




                                                                                          AD




 Some pro-Trump posters conjured new conspiracy theories to explain away the damage: “Does anyone else feel like
 this was all a complete setup?” conservative commentator Evan Kilgore tweeted late Wednesday, in a message that
 was “liked” more than 114,000 times.
 Social media sites like Facebook and Twitter worked belatedly to tamp down some of the fervor. Facebook
 indefinitely suspended Trump‘s accounts Thursday, while Twitter blocked him from tweeting for 12 hours. A
 number of less-moderated alternatives offered refuge for Trump supporters eager to egg the chaos on.

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        Case 1:18-cv-05398-DLI-VMS
               Case 1:21-cv-01169-TCB  Document
                                          Document64-14
                                                     35-2Filed
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                                                                01/25/21
                                                                  05/03/21Page
                                                                           Page7 of
                                                                                 1080
                                                                                    12 PageID
                                                                                       of 1677 #: 1369
 The pro-Trump attorney L. Lin Wood, whose Twitter account was suspended Wednesday after he baselessly
 accused Pence of being a “child molester,” leaped quickly to the alternative social network Parler, where he urged
 Trump-supporting “patriots” to keep fighting, saying, “Almighty God is with you. TODAY IS OUR DAY.”




                                                                                          AD




 “Get the firing squads ready. Pence goes FIRST.” Wood wrote in a Parler post that has been directed toward user
 feeds nearly 3 million times.
 TheDonald, Wood and Parler did not respond to requests for comment.




 Parler positions itself as the "free speech" alternative to Twitter and Facebook. And after the 2020 election, conservatives
 welcome that. (The Washington Post)
 Seeing the chaos as a marketing opportunity, extreme right-wing groups used encrypted messaging services to
 coach their followers on recruitment strategies for winning newly disillusioned Trump supporters to their cause.
 One self-identified neo-Nazi account wrote to more than 7,000 followers on Telegram, advising them that many
 people normally averse to a violent ideology could now be more vulnerable to radicalization.

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How online rage and real-world violence collided in Capitol siege - The Washington Post
           Case 1:18-cv-05398-DLI-VMS
                   Case 1:21-cv-01169-TCB    Document
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                                                        64-14
                                                            35-2Filed
                                                                   Filed
                                                                       01/25/21
                                                                         05/03/21Page
                                                                                   Page8 of
                                                                                         1081
                                                                                            12 PageID
                                                                                               of 1677 #: 1370
 “It will soon be the time to start individually reaching out to Rightwing types and spreading our ‘There is No
 Political Solution’ message,” the account said.
 [Reddit closes long-running forum supporting President Trump after years of policy violations]
 Another white supremacist “fraternity” discussed the possibility of a White-led uprising after Wednesday’s
 attempted insurrection. “Your mission is to invite [Trump supporters] into our spaces. Tell them there is a solution
 to their problem. Invite them to telegram. Seize the opportunity,” the administrator posted. “I’m sure a lot of them
 lost faith with [Trump] today,” one commenter responded.




                                                                                          AD




 On TheDonald, where users had proudly shared their travel itineraries for Wednesday’s demonstrations and
 planned meetups at hotels and restaurants near the White House, the triumphant mood quickly soured after Pence
 refused to intervene, with thousands of commenters labeling him a criminal traitor compromised by the “swamp.”
 Even as they posted, their real-world compatriots tore through the Capitol building voicing the same anger.
 “Where's Pence, show yourself!” one rioter said after barging onto the Senate floor.
 When Trump tweeted a video asking protesters to return home, a barrage of posts ripped through the forum
 expressing a mix of disbelief and frustration.
 “HE ASKED US TO COME. ‘JAn 6 WILL BE WILD,’ ” wrote the user “RiverFenix” in a post quoting Trump’s tweet
 from last month. “IM AM SO CONFUSED SOMEONE SHAKE ME AWAKE,” the account added.




                                                                                          AD




 While some posters expressed continued allegiance to the president, many others responded with cynicism. “Let’s
 move on to someone that will actually fight and isn’t afraid of scrutiny,” one user commented. “He led us to
 slaughter,” said another.
 Still, a contingent of Trump supporters and believers in the QAnon conspiracy theory voiced the belief that the

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         Case 1:18-cv-05398-DLI-VMS
                  Case 1:21-cv-01169-TCB   Document
                                               Document
                                                      64-14
                                                         35-2Filed
                                                                Filed
                                                                    01/25/21
                                                                      05/03/21Page
                                                                               Page9 of
                                                                                     1082
                                                                                        12 PageID
                                                                                           of 1677 #: 1371
 siege was all part of a plan to keep Trump in power — and that more tumult would come in the days ahead.
 “Sleep well tonight patriots. … You are going to love how this movie ends,” wrote “StormIsUponUs,” a QAnon-
 espousing account with more than 450,000 followers on Parler. “'Nothing can stop what’s coming’ wasn’t just a
 catch-phrase.”
 Michael E. Ruane contributed to this report.
 Updated January 17, 2021
 Complete coverage: Pro-Trump mob storms Capitol building
 Security
 Live updates: State capitols, D.C. brace for potentially violent protests
 Arrests: Here are some of the people charged
 What happened on Jan. 6
 Video timeline: 41 minutes of fear from inside the Capitol siege
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 Attacked with bear spray and their own batons: D.C. police describe brutal and chaotic moments
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How online rage and real-world violence collided in Capitol siege - The Washington Post
                  Case Case
                       1:18-cv-05398-DLI-VMS
                             1:21-cv-01169-TCB Document
                                                Document64-14
                                                         35-2 Filed 05/03/21
                                                                    01/25/21 Page 1083
                                                                                  10 of of
                                                                                        121677
                                                                                           PageID #:
                                                        1372
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                  Case Case
                       1:18-cv-05398-DLI-VMS
                             1:21-cv-01169-TCB Document
                                                Document64-14
                                                         35-2 Filed 05/03/21
                                                                    01/25/21 Page 1084
                                                                                  11 of of
                                                                                        121677
                                                                                           PageID #:
                                                        1373




 1
 Analysis
 The Capitol rioters kept posting incriminating things on social media. Unsurprisingly,
 they were mocked — and arrested.
 2
 Misinformation dropped dramatically the week after Twitter
 banned Trump and some allies
 3
 QAnon reshaped Trump’s party and radicalized believers. The
 Capitol siege may just be the start.
 4
 These are the platforms that have banned Trump and his allies

 5
 Apple sued by group insisting it curb Telegram after Capitol
 attack

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How online rage and real-world violence collided in Capitol siege - The Washington Post
                  Case Case
                       1:18-cv-05398-DLI-VMS
                             1:21-cv-01169-TCB Document
                                                Document64-14
                                                         35-2 Filed 05/03/21
                                                                    01/25/21 Page 1085
                                                                                  12 of of
                                                                                        121677
                                                                                           PageID #:
          Newspaper in Education                        1374
          Today's Paper
          WP BrandStudio
          Events
          Policies & Standards


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Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
                              Document
                                     64-15
                                       35-2 Filed
                                             Filed01/25/21
                                                   05/03/21 Page
                                                             Page1 1086
                                                                   of 9 PageID
                                                                         of 1677#: 1375




                 EXHIBIT M




                                                                          Exhibit N
Amazon, Apple and Google Cut Off Parler, an App That Drew Trump Supporters - The New York Times
               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
                                             Document
                                                    64-15
                                                      35-2 Filed
                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page2 1087
                                                                                  of 9 PageID
                                                                                        of 1677#: 1376


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                              Amazon, Apple and Google Cut Off
                              Parler, an App That Drew Trump
                              Supporters
                                    The companies pulled support for the “free speech” social network,
                                    all but killing the service just as many conservatives are seeking
                                    alternatives to Facebook and Twitter.




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https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
Amazon, Apple and Google Cut Off Parler, an App That Drew Trump Supporters - The New York Times
               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
                                             Document
                                                    64-15
                                                      35-2 Filed
                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page3 1088
                                                                                  of 9 PageID
                                                                                        of 1677#: 1377




                                    A rally by supporters of President Trump in Washington on Nov. 14 to protest the election
                                    results. Kenny Holston for The New York Times




                                    By Jack Nicas and Davey Alba

                                    Published Jan. 9, 2021      Updated Jan. 13, 2021


                                    Parler, a social network that pitches itself as a “free speech” alternative to
                                    Twitter and Facebook, is suffering from whiplash.

                                    Over the past several months, Parler has become one of the fastest-growing

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https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
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               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
                                             Document
                                                    64-15
                                                      35-2 Filed
                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page4 1089
                                                                                  of 9 PageID
                                                                                        of 1677#: 1378
                                    apps in the United States. Millions of President Trump’s supporters have
                                    flocked to it as Facebook and Twitter increasingly cracked down on posts
                                    that spread misinformation and incited violence, including muzzling Mr.
                                    Trump by removing his accounts this past week. By Saturday morning,
                                    Apple listed Parler as the No. 1 free app for its iPhones.

                                    But, by Saturday night, Parler was suddenly fighting for its life.

                                    First, Apple and Google removed the app from their app stores because
                                    they said it had not sufficiently policed its users’ posts, allowing too many
                                    that encouraged violence and crime. Then, late Saturday, Amazon told
                                    Parler it would boot the company from its web-hosting service on Sunday
                                    night because of repeated violations of Amazon’s rules.

                                    Amazon’s move meant that Parler’s entire platform would soon go offline
                                    unless it was able to find a new hosting service on Sunday.
                                                                                      ADVERTISEMENT




                                    “Big tech really wants to kill competition,” John Matze, Parler’s chief
                                    executive, said in a text message. “And I have a lot of work to do in the next
                                    24 hours to make sure everyone’s data is not permanently deleted off the
                                    internet.”

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                                    In a statement online, Mr. Matze added that the tech giants had acted in a
                                    “coordinated effort” to “completely remove free speech off the internet.”
                                    Parler, he said, would probably be unavailable on the internet for up to a
                                    week, starting at midnight on Sunday. But, he went on, the company had
                                    “prepared” by not relying on Amazon’s proprietary infrastructure and was
                                    looking for a new hosting provider.

                                    A day earlier, Parler appeared poised to capitalize on growing anger at
                                    Silicon Valley in conservative circles and was even a logical choice to
                                    become Mr. Trump’s next megaphone after he was kicked off Twitter. Now
                                    its future is looking bleak.
                                                                                                                    Exhibit N
https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
Amazon, Apple and Google Cut Off Parler, an App That Drew Trump Supporters - The New York Times
               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
                                             Document
                                                    64-15
                                                      35-2 Filed
                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page5 1090
                                                                                  of 9 PageID
                                                                                        of 1677#: 1379

                                    In a letter to Parler on Saturday, Amazon said that it had sent the company
                                    98 examples of posts on its site that encouraged violence and that many
                                    remained active. “It’s clear that Parler does not have an effective process to
                                    comply with” Amazon’s rules, the company said in the letter. Amazon
                                    “provides technology and services to customers across the political
                                    spectrum, and we continue to respect Parler’s right to determine for itself
                                    what content it will allow on its site. However, we cannot provide services
                                    to a customer that is unable to effectively identify and remove content that
                                    encourages or incites violence against others.”

                                    On Friday, Apple gave Parler 24 hours to clean up its app or face removal
                                    from its App Store. Parler appeared to take down some posts over that
                                    period, but on Saturday, Apple told the company its measures were
                                    inadequate. “We have always supported diverse points of view being
                                    represented on the App Store, but there is no place on our platform for
                                    threats of violence and illegal activity,” Apple said in a statement.
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                                    “This is very huge,” Amy Peikoff, Parler’s policy chief, told Fox News after
                                    Apple gave its warning on Friday. Without access to the App Store, she
                                    said, “we’re toast.”

 On Tech with Shira Ovide: Your guide to how technology is transforming our lives — in the time of coronavirus and beyond.
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                                    Several Parler executives accused the tech companies’ moves as being
                                    politically motivated and anticompetitive.

                                    Mr. Matze pointed to the fact that Twitter had recently promoted the
                                    phrase “Hang Mike Pence” as a trending topic. (The majority of the
                                    discussion on Twitter was about rioters chanting the phrase about the vice
                                    president on Wednesday.) “I have seen no evidence Apple is going after
                                    them,” Mr. Matze said. “This would appear to be an unfair double standard
                                    as every other social media site has the same issues, arguably on a worse
                                    scale.”
                                                                                                                     Exhibit N
https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
Amazon, Apple and Google Cut Off Parler, an App That Drew Trump Supporters - The New York Times
               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
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                                                    64-15
                                                      35-2 Filed
                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page6 1091
                                                                                  of 9 PageID
                                                                                        of 1677#: 1380
                                    The actions against Parler were part of a wider crackdown by tech
                                    companies on President Trump and some of his most extreme supporters
                                    after Wednesday’s deadly riot in Washington. But unlike Twitter and
                                    Facebook, which make decisions about the content that appears on their
                                    own sites, Amazon, Apple and Google weighed in on how another company
                                    was operating.

                                    Amazon Web Services supports a large share of the websites and apps
                                    across the internet, while Apple and Google make the operating systems
                                    that back nearly all of the world’s smartphones. Now that the companies
                                    have made it clear that they will take action against sites and apps that
                                    don’t sufficiently police what their users post, it could have significant side
                                    effects.

                                    Several upstarts have courted Mr. Trump’s supporters with promises of
                                    “unbiased” and “free speech” social networks, which have proven to be, in
                                    effect, free-for-all digital town squares where users hardly have to worry
                                    about getting banned for spreading conspiracy theories, making threats or
                                    posting hate speech. The tougher enforcement from the tech companies
                                    could preclude such apps from becoming realistic alternatives to the
                                    mainstream social networks. They now face the choice of either stepping up
                                    their policing of posts — undercutting their main feature in the process —
                                    or losing their ability to reach a wide audience.

                                    That may reinforce the primacy of the social-media incumbents, Facebook,
                                    Twitter and Instagram. It also gives those companies’ decisions more teeth.
                                    If they ban a pundit for violating their rules, that person will lack a strong
                                    alternative.
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                                    Amazon, Apple and Google’s moves could also spur other apps to
                                    strengthen their enforcement.

                                    DLive, a livestreaming site that rioters storming the Capitol used to
                                                                                                                      Exhibit N
https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
Amazon, Apple and Google Cut Off Parler, an App That Drew Trump Supporters - The New York Times
               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
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                                                    64-15
                                                      35-2 Filed
                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page7 1092
                                                                                  of 9 PageID
                                                                                        of 1677#: 1381
                                    broadcast the moment, said on Friday that it had indefinitely suspended
                                    seven channels and permanently removed over 100 previous broadcasts of
                                    the mob. It added that the “lemons,” a DLive currency that can be
                                    converted into real money, sent to the suspended channels would be
                                    refunded to donors in the next few days.

                                    Other platforms that host posts by right-wing influencers, including
                                    CloutHub and MyMilitia — a forum for militia groups — adjusted their
                                    terms of service recently to ban threats of violence.

                                    DLive was pressured by Tipalti, a payment company that helps it operate.
                                    Tipalti said in a statement that it had suspended its service until DLive
                                    removed the accounts that had broadcast the riots on Wednesday.

                                    Such third-party companies that help apps and websites function, from
                                    payment processors to cybersecurity firms to web-hosting providers like
                                    Amazon, have used their positions to influence how their customers handle
                                    extremist or criminal activity. In 2019, Cloudflare, a company that protects
                                    sites from cyberattacks, effectively delivered the death knell to 8chan, an
                                    anonymous online message board that hosted the manifesto of a mass
                                    shooter, by halting its protections for the site. After Cloudflare backed away
                                    from 8chan, the site struggled to find other service providers that could
                                    keep it active.

                                    Parler could have the same problem now that it lacked a way to host its
                                    website, particularly as the company suddenly became a pariah after
                                    Wednesday’s riot, which was partially planned on Parler. Amazon had
                                    faced pressure from its own employees and at least one member of
                                    Congress before it pulled its support for Parler, and other companies could
                                    fear unwanted attention if they took its business.

                                    BuzzFeed News first reported Amazon’s decision to pull its support for
                                    Parler.

                                    If Parler is able to find a provider and resume its service, it will still have an
                                    uphill journey to find new users without a place in the major app stores.
                                    Apple’s decision blocks iPhone owners from downloading the Parler app.
                                    People who already have the app will still be able to use it — if it comes
                                    back online — but their versions of the app will soon become obsolete as
                                    Apple updates the iPhone software.

                                    Google cut Parler out of its flagship Android app store, but it also allows
                                    apps to be downloaded from elsewhere, meaning Android users would still

                                                                                                                     Exhibit N
https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
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               Case 1:18-cv-05398-DLI-VMS
                     Case 1:21-cv-01169-TCBDocument
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                                                    64-15
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                                                            Filed01/25/21
                                                                  05/03/21 Page
                                                                            Page8 1093
                                                                                  of 9 PageID
                                                                                        of 1677#: 1382
                                    be able to find the Parler app, just with a bit more work. If Parler finds a
                                    new web-hosting provider, its website would also be available via web
                                    browsers on phones and computers.
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                                    After Apple had given the company 24 hours to improve its moderation to
                                    avoid removal from the App Store, it appeared that Parler had tried to
                                    remove some posts that seemed to call for violence.

                                    For instance, L. Lin Wood, a lawyer who had sued to overturn Mr. Trump’s
                                    election loss, posted on Parler on Thursday morning: “Get the firing squad
                                    ready. Pence goes FIRST.” The post was viewed at least 788,000 times,
                                    according to a screenshot on the Internet Archive. By Saturday morning,
                                    the post had been removed.

                                    In a text message, Mr. Matze said the post had been removed “in
                                    compliance with Parler’s terms of service and rules against incitement of
                                    violence.”

                                    In a notice to Parler on Saturday, Apple said that it had “continued to find
                                    direct threats of violence and calls to incite lawless action” on the app.
                                    Apple told the company its app would not be allowed on the App Store until
                                    “you have demonstrated your ability to effectively moderate and filter the
                                    dangerous and harmful content on your service.”

                                    In an interview, Jeffrey Wernick, Parler’s chief operating officer, blamed “a
                                    cancel culture” at the tech companies for his company’s dimming
                                    prospects. He said he would advise other platforms not to try to compete
                                    on Apple’s App Store. “Because if you raise money and get investors and
                                    end up like Parler, what’s the point?” he said.



                                    Apple, Google and
                                    Amazon kick Parler off
                                    their platforms
                                                                                                                   Exhibit N
https://www.nytimes.com/2021/01/09/technology/apple-google-parler.html?smid=em-share[1/19/2021 10:37:55 AM]
Amazon, Apple and Google Cut Off Parler, an App That Drew Trump Supporters - The New York Times
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                     Case 1:21-cv-01169-TCBDocument
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                                                            Filed01/25/21
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                                                                            Page9 1094
                                                                                  of 9 PageID
                                                                                        of 1677#: 1383




                                    Apple and Google said they would
                                    remove Parler from its App
                                    Stores. Amazon said it would no
                                    longer host Parler on its web
                                    hosting service.




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                                                    05/03/21Page
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                                                                   of 12 of
                                                                         PageID
                                                                            1677 #: 1384




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                                                                                       MIKE PENCE   ·   Published January 10


                     Secret Service investigating death threats against Pence
                                                 Source reveals while Pence was sheltering amid riot, Trump did not reach out to him
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 2 of 12 PageID #: 1385




                                                                                           By Bradford Betz | Fox News




                                                                                                        

                   Big Tech bans Trump from social media
                   Fox News contributors Ed Rollins and Jessica Tarlov weighs in on ‘America’s News HQ.’




                   The U.S. Secret Service is investigating death threats against Vice President Mike Pence made by
                   pro-Trump lawyer Lin Wood, Fox News has learned.

                   Wood, who was banned from Twitter last week, is suspected of writing a now-deleted post on
                   Parler: "Get the ring squads ready. Pence goes FIRST."




         https://www.foxnews.com/politics/secret-service-investigative-death-threats-against-pence
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                                                                                                                                         1097 of 1677




Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 3 of 12 PageID #: 1386




                   Vice President Mike Pence listens after reading the nal certi cation of Electoral College votes cast in November's presidential
                   election during a joint session of Congress after working through the night, at the Capitol in Washington, Jan. 7. (AP)


                   "We are aware of the comments and take all threats against our protectees seriously," a Secret
                   Service spokesman told Fox News on Saturday.

                   The Secret Service and other federal agencies also are investigating others seen on a video inside
                   the U.S. Capitol yelling "Hang Pence."

                   The threats to the vice president come days after a pro-Trump group stormed the U.S. Capitol to
                   protest the formal certi cation of President-elect Joe Biden’s victory. Lawmakers, staff
                   members and others hid under tables and evacuated as the rioters roamed the halls of the Capitol,
                   bearing pro-Trump ags and pounding on doors.

                   ARNOLD SCHWARZENEGGER CONDEMNS TRUMP AS ‘WORST PRESIDENT EVER’ AFTER CAPITOL
                   RIOT

                   A source close to Pence told Fox News on Wednesday that while Pence was sheltering in "hardened
                   rooms" in the Capitol, President Trump did not reach out to him to check on his status or condemn
                   those who said the vice president "should be executed."

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                   Later in the week the hashtag "Hang Mike Pence" was trending on Twitter. A Twitter spokesperson
                   told Fox News on Saturday that the company had "blocked the phrase and other variations of it from
                   trending."
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                                                                                                                                         1098 of 1677
                   Fox News’ David Spunt and The Associated Press contributed to this report.


                   Bradford Betz is an editor for Fox News. Follow him on Twitter @bradford_betz.




Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 4 of 12 PageID #: 1387




                               Conversation                                                  13K Comments




                                        What do you think?


                               Sort by Best


                                                   TheAmericanWay
                                                   10 January, 2021

                                                    It's been a rough four years. One concern that I've had since there's been so much drama since
                                                    President Trump was elected is the impact it has on younger children. Some parents allow their
                                                    children to hear and see just about everything. How many children have been negatively affected
                                                    by what they hear on the news or from what their parents are saying about world events? And
                                                    then you have public school teachers who also are not doing a great job helping our children to
                                                    thrive. What a world...

                                                   Reply                               385   69

                                                   Show 11 previous replies

                                                                jeff2018957                  TheAmericanWay
                                                                10 January, 2021

                                                                Why did you bring up teachers? Depending on the age the child should be made aware of
                                                                what is going on so we don't repeat this ever again.

                                                                R           l
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                                                                                                                                         1099 of 1677
                                                                Reply
                                                                                             31        14

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                                                                uckfay_idenbay TheAmericanWay
                                                                10 January, 2021

                                                                Were there any politico types not hiding under tables? The US is just an international joke full
                                                                of cowardly sheep. "Comfort cowards" who kinda liked having a free country but don't really
                                                                want to put anything on the line to preserve it. How long will foreign allies like Taiwan last now
                                                                that China and others see we are just a bunch of kneeling paper tigers?
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 5 of 12 PageID #: 1388


                                                                Reply                        29        25



                                                   Nyrepublucan
                                                   10 January, 2021

                                                    Death threats against any American citizen should be taken equally seriously. Putting a politicians
                                                    life above even the poorest person shows inequality. Only the wealthy and heartless would think
                                                    once life is more important than another. People who threaten a life should not be allowed to
                                                    escape justice. End life terms for Congress and you will see the value of individuals increase.

                                                   Reply                               999        88

                                                   Show 28 previous replies

                                                                MedicalCorpsAlum                            Nyrepublucan
                                                                10 January, 2021

                                                                Sorry, but uneducated rural farmers and factory workers that make 1/20th my annual salary
                                                                and couldn’t get accepted to university even if they wanted to are objectively less important
                                                                than me and less important than Mike Pence. (Edited)

                                                                Reply                             109

                                                                Show 1 more replies

                                                                dogbreath191                           Nyrepublucan
                                                                10 January, 2021

                                                                I think some in congress deserve life terms.

                                                                Reply                        37        22

                                                                Show 4 more replies


                                                   regalley556
                                                   10 January, 2021

                                                    I really feel bad for our young people who never knew the goodwill and cooperative spirit of the
                                                    USA.

                                                   Reply                               2389       41

         https://www.foxnews.com/politics/secret-service-investigative-death-threats-against-pence
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                                                   Show 84 previous replies

                                                                USA1ST77777                        regalley556

                                                                10 January, 2021


                                                                I feel sorry for all our young people who have been indoctrinated into a cult that is destroying
                                                                our way of life. The DNC is the most nefarious political party to ever represent any country
                                                                and that's saying a lot.

                                                                Reply
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 6 of 12 PageID #: 1389
                                                                                             79        92

                                                                Show 1 more replies

                                                                This post violated our policy.

                                                                              Show 1 previous reply

                                                                              whatacircus
                                                                              10 January, 2021

                                                                               the commie boogeyman. Yeah, you go with that. Not even worth my time to point out
                                                                               how many social programs or regulations you benefit from or accept without question.

                                                                              Reply               12        5


                                                                              claymatthews11
                                                                              10 January, 2021

                                                                               If we were on the edge of communism, the stock market would be crashing. It’s actually
                                                                               booming


                                                                               Sorry you have been lied to

                                                                              Reply               13        6



                                                   Atticus_Finch
                                                   10 January, 2021

                                                    I don’t agree with Pence politically. In fact I don’t agree with him on almost anything. But he did not
                                                    deserve this. I read yesterday that he was told by the State Department he would have to evacuate
                                                    the building during the insurrection and he refused. He didn’t want to leave his colleagues behind.
                                                    Can you imagine Donald Trump ever suggesting such a thing?

                                                   Reply                               672        126

                                                   Show 25 previous replies

                                                                nolabels228                       Atticus_Finch
                                                                10 January, 2021

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                                                                                                                  05/03/21       | Fox News
                                                                                                                                         1101 of 1677
                                                                No one deserves this. But you spend 4 years helping trump build an uncontrollable
                                                                steamroller it’s not a great look when it rolls over you.


                                                                He found out the hard way how transactional the transactional President really is.

                                                                Reply                        34         18

                                                                Show 1 more replies

                                                                mattMN                        Atticus_Finch
                                                                10 January, 2021
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 7 of 12 PageID #: 1390




                                                                never would. he would be crying like a little bi00ch

                                                                Reply                        23         32



                                                   guru970
                                                   10 January, 2021

                                                    All Americans need to condemn this in the strongest terms, any threat against any leader on the
                                                    left or the right is not acceptable . Hopefully both sides of the pollical divide can agree. It's
                                                    becoming very obvious that we have very radical people on both sides not thinking clearly and are
                                                    dangerous !

                                                   Reply                               550         34

                                                   Show 13 previous replies

                                                                Chinasucks884                           guru970
                                                                10 January, 2021

                                                                This is why china or russia will conquer the us

                                                                Reply                        18         4

                                                                Show 2 more replies

                                                                ohiotpm1                          guru970
                                                                10 January, 2021

                                                                Ha. I wanna see Mad Maxine’s condemnation of The actions of Antifa and BLM.

                                                                Reply                        45         12

                                                                Show 2 more replies


                                                   my2centsworth
                                                   10 January, 2021

                                                    Pence should get a medal! For standing up to the pressure and threats and sticking to the
                                                    Constitution. The fact that he got death threats over this, tells us a lot about the low brow level of
                                                    the argument.

         https://www.foxnews.com/politics/secret-service-investigative-death-threats-against-pence
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                                                                                                                  05/03/21       | Fox News
                                                                                                                                         1102 of 1677
                                                   Reply                               172        14

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                                                                nolabels228                          my2centsworth
                                                                11 January, 2021

                                                                You don’t get to spend 4 years helping trump create a disinformation monster and then, at the
                                                                11th hour, be commended for doing your job in the face of said monster.

                                                                Reply
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 8 of 12 PageID #: 1391




                                                                butcher99                        my2centsworth
                                                                10 January, 2021

                                                                That is true. Took him 4 years but he finally grew a spine

                                                                Reply                        6       4



                                                   HWells13
                                                   10 January, 2021

                                                    The threats against Mike Pence are alarming for many reasons. He is a man who seems to give his
                                                    best to our nation and its Constitution, even when he must stand alone. We could use more
                                                    politicians like him. Trump's treatment of him, after all he has done for Trump, says much more
                                                    about Trump than is does Pence.

                                                   Reply                               32        6



                                                   gotem2020
                                                   10 January, 2021

                                                    people people we need to unite and rail against the profiteering power hungry tyrants that make
                                                    money dividing us...they are not red blue left right they are themselves they believe only in profits
                                                    and power...as long as they can keep us fighting each other and profiting off it they have won and
                                                    nothing will change ever. since the mid 80s they've been taking taking taking from us and dividing
                                                    us more and more. yeah I know it started before the 80s but at that time it got put into high gear
                                                    and more violent in purpose and result.

                                                   Reply                               13



                                                   Trommie
                                                   10 January, 2021

                                                    It’s unacceptable to make death threats against public officials, whether you agree with their
                                                    decisions or not. If you don’t like them, then be sure that you cast your vote for the candidate that
                                                    you prefer.

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                                                                                                         Filed      against PencePage
                                                                                                                  05/03/21       | Fox News
                                                                                                                                         1103 of 1677
                                                   Reply                               29         3

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                                                                AnneBonney                            Trommie
                                                                10 January, 2021

                                                                Think that we need to know exactly who is doing that...

                                                                Reply                        1

Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 9 of 12 PageID #: 1392


                                                                no8uddysbus1ness                           Trommie
                                                                10 January, 2021

                                                                REALLY? well i'll be... then its way past time for the liberals in Hollywood and leftist to be put in
                                                                prison,,,, Trump has been threatened ... continually these past 5 yrs... hell they want to blow
                                                                the WHITE HOUSE UP, CHOP HIS HEAD OFF BAH BAH..

                                                                Reply                        23       6



                                                   lmephd424
                                                   10 January, 2021

                                                    Full disclosure, I voted for President Trump twice because I believed in his policies, although I was
                                                    always critical of his rhetoric which was beneath the President of the United States. But now, I am
                                                    disgusted with his actions and just want him gone, but not by further dividing the country with
                                                    impeachment, just let him ride into the sunset without frustrating and angering half of America. If
                                                    the democrats do this, their stance of unity is nothing more than partisan politics - telling people
                                                    what they want to hear and doing the same old thing - fighting with each other. It may be good
                                                    short term optics but long term it's devastating.

                                                   Reply                               324        169

                                                   Show 21 previous replies

                                                                open2change                           lmephd424
                                                                10 January, 2021

                                                                Agree with you. Trump maybe effective on executing some of his promised policies but he
                                                                wants to win at any cost. It is in his nature. If you are on his side great if you are not he
                                                                considers you worthless and can demean and bully you in the most disgusting way. Now we
                                                                are not talking about just another citizen we are talking about the President of USA, a sitting
                                                                president of USA. Few years ago nobody would have believed that a President of the most
                                                                powerful nation on the planet can rally people against his own country's institutions, blatantly
                                                                disregard election results even after unbelievable number of frivolous cases of voter fraud
                                                                were dismissed. Such a disrespect and callous disregard of our election process and judicial
                                                                system by THE PRESIDENT OF USA just because it didn't go in his favor? is this for real?


         https://www.foxnews.com/politics/secret-service-investigative-death-threats-against-pence
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                                                                                                                05/03/21       | Fox News
                                                                                                                                       1104 of 1677
                                                              unfortunately for America, Yes it is. How much ever it gives me heartache on not making him
                                                              accountable, I agree for the larger good avoiding impeachment might be a good idea.

                                                             Reply   3   4
                                                             Wordsmith965 lmephd424
                                                             10 January, 2021

                                                              How did you not see this coming out of him? His policies? You could have voted for a number
                                                              of partisan Republicans that have the same policies so that's no reason. This mess is on all of
                                                              you who didn't have a clue in 2016.
                                    1393
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 10 of 12 PageID #:




                                                             Reply                 8   6

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                                                                                                      Crime
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                                                     Case 1:21-cv-01169-TCB     Service investigating
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                                                                                                                05/03/21       | Fox News
                                                                                                                                       1105 of 1677
                 Politics                                                                        Entertainment
                 Executive                                                                       Celebrity News
                 Senate                                                                          Movies
                 House                                                                           TV News
                 Judiciary                                                                       Music News
                 Foreign Policy                                                                  Style News
                 Polls                                                                           Entertainment Video
                 Elections
                                    1394
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 11 of 12 PageID #:




                 Business                                                                        Lifestyle
                 Personal Finance                                                                Food + Drink
                 Economy                                                                         Cars + Trucks
                 Markets                                                                         Travel + Outdoors
                 Watchlist                                                                       House + Home
                 Lifestyle                                                                       Fitness + Well-being
                 Real Estate                                                                     Style + Beauty
                 Tech                                                                            Family
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                 Science                                                                         Tech
                 Archaeology                                                                     Security
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                 Planet Earth                                                                    Drones
                 Wild Nature                                                                     Computers
                 Natural Science                                                                 Video Games
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                                                                                                       Filed      against PencePage
                                                                                                                05/03/21       | Fox News
                                                                                                                                       1106 of 1677
                 Health                                                                               TV
                 Coronavirus                                                                          Shows
                 Healthy Living                                                                       Personalities
                 Medical Research                                                                     Watch Live
                 Mental Health                                                                        Full Episodes
                 Cancer                                                                               Show Clips
                 Heart Health                                                                         News Clips
                 Children's Health
                                    1395
Case 1:18-cv-05398-DLI-VMS Document 64-16 Filed 01/25/21 Page 12 of 12 PageID #:




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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page1 of
                                                                   1107
                                                                      53 PageID
                                                                         of 1677 #: 1396




                  EXHIBIT N




                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page2 of
                                                                   1108
                                                                      53 PageID
                                                                         of 1677 #: 1397




                           IN THE UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF WISCONSIN



   WILLIAM FEEHAN and DERRICK VAN
   ORDEN,
                                                             CASE NO. 2:20-cv-1771
                               Plaintiffs.
                  v.

   WISCONSIN ELECTIONS COMMISSION,
   and its members ANN S. JACOBS, MARK
   L. THOMSEN, MARGE BOSTELMAN,
   JULIE M. GLANCEY, DEAN KNUDSON,
   ROBERT F. SPINDELL, JR., in their official
   capacities, GOVERNOR TONY EVERS, in
   his official capacity,

                       Defendants.



          COMPLAINT FOR DECLARATORY, EMERGENCY, AND PERMANENT
                            INJUNCTIVE RELIEF




                                     NATURE OF THE ACTION

        1. This civil action brings to light a massive election fraud, multiple violations of the

   Wisconsin Election Code, see, e.g., Wis. Stat. §§ 5.03, et. seq., in addition to the Election and

   Electors Clauses and Equal Protection Clause of the U.S. Constitution. These violations occurred

   during the 2020 General Election throughout the State of Wisconsin, as set forth in the affidavits

   of dozens of eyewitnesses and the statistical anomalies and mathematical impossibilities detailed

   in the affidavits of expert witnesses.

        2. The scheme and artifice to defraud was for the purpose of illegally and fraudulently

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                                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page3 of
                                                                   1109
                                                                      53 PageID
                                                                         of 1677 #: 1398




   manipulating the vote count to manufacture an election of Joe Biden as President of the United

   States, and also of various down ballot democrat candidates in the 2020 election cycle. The fraud

   was executed by many means, but the most fundamentally troubling, insidious, and egregious ploy

   was the systemic adaptation of old-fashioned “ballot-stuffing.” It has now been amplified and

   rendered virtually invisible by computer software created and run by domestic and foreign actors

   for that very purpose. This Complaint details an especially egregious range of conduct in

   Milwaukee County and the City of Milwaukee, along with Dane County, La Crosse County,

   Waukesha County, St. Croix County, Washington County, Bayfield County, Ozaukee County and

   various other counties throughout the Third District and throughout Wisconsin employing

   Dominion Systems, though this conduct occurred throughout the State at the direction of

   Wisconsin state election officials.

         3. The multifaceted schemes and artifices implemented by Defendants and their

   collaborators to defraud resulted in the unlawful counting, or fabrication, of hundreds of thousands

   of illegal, ineligible, duplicate or purely fictitious ballots in the State of Wisconsin, that collectively

   add up to multiples of Biden’s purported lead in the State of 20,565 votes.

         4. While this Complaint, and the eyewitness and expert testimony incorporated herein,

   identify with specificity sufficient ballots required to set aside the 2020 General Election results,

   the entire process is so riddled with fraud, illegality, and statistical impossibility that this Court,

   and Wisconsin’s voters, courts, and legislators, cannot rely on, or certify, any numbers resulting

   from this election. Accordingly, this Court must set aside the results of the 2020 General Election

   and grant the declaratory and injunctive relief requested herein.




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                                                                                                 Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page4 of
                                                                   1110
                                                                      53 PageID
                                                                         of 1677 #: 1399




                        Dominion Voting Systems Fraud and Manipulation

        5. The fraud begins with the election software and hardware from Dominion Voting

   Systems Corporation (“Dominion”) used by the Wisconsin Board of State Canvassers. The

   Dominion systems derive from the software designed by Smartmatic Corporation, which became

   Sequoia in the United States.

        6. Smartmatic and Dominion were founded by foreign oligarchs and dictators to ensure

   computerized ballot-stuffing and vote manipulation to whatever level was needed to make certain

   Venezuelan dictator Hugo Chavez never lost another election. See Ex. 1, Redacted Declaration of

   Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”). Notably, Chavez

   “won” every election thereafter.

        7. As set forth in the Dominion Whistleblower Report, the Smartmatic software was

   contrived through a criminal conspiracy to manipulate Venezuelan elections in favor of dictator

   Hugo Chavez:

          Importantly, I was a direct witness to the creation and operation of an electronic
          voting system in a conspiracy between a company known as Smartmatic and the
          leaders of conspiracy with the Venezuelan government. This conspiracy
          specifically involved President Hugo Chavez Frias, the person in charge of the
          National Electoral Council named Jorge Rodriguez, and principals, representatives,
          and personnel from Smartmatic. The purpose of this conspiracy was to create and
          operate a voting system that could change the votes in elections from votes against
          persons running the Venezuelan government to votes in their favor in order to
          maintain control of the government. In mid-February of 2009, there was a national
          referendum to change the Constitution of Venezuela to end term limits for elected
          officials, including the President of Venezuela. The referendum passed. This
          permitted Hugo Chavez to be re-elected an unlimited number of times. . . .

          Smartmatic’s electoral technology was called “Sistema de Gestión Electoral” (the
          “Electoral Management System”). Smartmatic was a pioneer in this area of
          computing systems. Their system provided for transmission of voting data over the
          internet to a computerized central tabulating center. The voting machines
          themselves had a digital display, fingerprint recognition feature to identify the
          voter, and printed out the voter’s ballot. The voter’s thumbprint was linked to a
          computerized record of that voter’s identity. Smartmatic created and operated the
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                                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page5 of
                                                                   1111
                                                                      53 PageID
                                                                         of 1677 #: 1400




            entire system. Id. ¶¶ 10 & 14.

           8. A core requirement of the Smartmatic software design ultimately adopted by Dominion

   for Wisconsin’s elections was the software’s ability to hide its manipulation of votes from any

   audit. As the whistleblower explains:

            Chavez was most insistent that Smartmatic design the system in a way that the
            system could change the vote of each voter without being detected. He wanted the
            software itself to function in such a manner that if the voter were to place their
            thumb print or fingerprint on a scanner, then the thumbprint would be tied to a
            record of the voter’s name and identity as having voted, but that voter would not
            tracked to the changed vote. He made it clear that the system would have to be setup
            to not leave any evidence of the changed vote for a specific voter and that there
            would be no evidence to show and nothing to contradict that the name or the
            fingerprint or thumb print was going with a changed vote. Smartmatic agreed to
            create such a system and produced the software and hardware that accomplished
            that result for President Chavez. Id. ¶15.

           9. The design and features of the Dominion software do not permit a simple audit to reveal

   its misallocation, redistribution, or deletion of votes. First, the system’s central accumulator does

   not include a protected real-time audit log that maintains the date and time stamps of all significant

   election events. Key components of the system utilize unprotected logs. Essentially this allows

   an unauthorized user the opportunity to arbitrarily add, modify, or remove log entries, causing the

   machine to log election events that do not reflect actual voting tabulations—or more specifically,

   do not reflect the actual votes of or the will of the people.1

          10. This Complaint will show that Dominion violated physical security standards by

   connecting voting machines to the Internet, allowing Dominion, domestic third parties or hostile

   foreign actors to access the system and manipulate election results, and moreover potentially to


      1
        See Ex. 7, August 24, 2020 Declaration of Harri Hursti, ¶¶45-48 (expert testimony in Case
   1:17-cv-02989 in the U.S. District Court for the Northern District of Georgia). The Texas
   Secretary of State refused to certify Dominion for similar reasons as those cited by Mr. Hursti. See
   Ex. 9, State of Texas Secretary of State, Elections Division, Report of Review of Dominion Voting
   Systems Democracy Suite 5.5-A at 2 (Jan. 24, 2020).
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                                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page6 of
                                                                   1112
                                                                      53 PageID
                                                                         of 1677 #: 1401




   cover their tracks due to Dominion’s unprotected log. Accordingly, a thorough forensic

   examination of Dominion’s machines and source code (pursuant to Wisconsin Statute § 5.905) is

   required to document these instances of voting fraud, as well as Dominion’s systematic violations

   of the Voting Rights Act record retention requirements through manipulation, alteration,

   destruction and likely foreign exfiltration of voting records. See 52 U.S.C. § 20701.

          11. These and other problems with Dominion’s software have been widely reported in the

   press and been the subject of investigations. In certifying Dominion Voting Systems Democracy

   Suite, Wisconsin officials disregarded all the concerns that caused Dominion software to be

   rejected by the Texas Board of elections in 2020 because it was deemed vulnerable to undetected

   and non-auditable manipulation. Texas denied Certification because of concerns that it was not

   safe from fraud or unauthorized manipulation. (See Exhs 11 A and B).

          12. An industry expert, Dr. Andrew Appel, Princeton Professor of Computer Science and

   Election Security Expert has recently observed, with reference to Dominion Voting machines: “I

   figured out how to make a slightly different computer program that just before the polls were

   closed, it switches some votes around from one candidate to another. I wrote that computer

   program into a memory chip and now to hack a voting machine you just need 7 minutes alone with

   a screwdriver.”2

          13. In addition to the Dominion computer fraud, this Complaint identifies several additional

   categories of “traditional” voting fraud that occurred as a direct result of Defendant Wisconsin

   Election Commission (“WEC”) and other Defendants directing Wisconsin clerks and other

   election officials to ignore or violate the express requirements of the Wisconsin Election Code.



      2
       Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot Assure the Will of the
   Voters” at (Dec. 27, 2019),( attached hereto as Exh. 10 (“Appel Study”)).
                                                     5


                                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page7 of
                                                                   1113
                                                                      53 PageID
                                                                         of 1677 #: 1402




   First, the WEC issued “guidance” to county and municipal clerks not to reject “indefinitely

   confined” absentee voters, even if the clerks possess “reliable information” that the voter is no

   longer indefinitely confined, in direct contravention of Wisconsin Statute § 6.86(2)(6), which

   states that clerks must remove such voters. Second, the WEC issued further guidance directing

   clerks – in violation of Wisconsin Statute § 6.87(6)(d), which states that an absentee envelope

   certification “is missing the address of a witness, the ballot may not be counted” – to instead fill

   in the missing address information.

       14. This Complaint presents expert witness testimony demonstrating that several hundred

   thousand illegal, ineligible, duplicate or purely fictitious votes must be thrown out, in particular:

          A. A report from Dr. William Briggs, showing that there were approximately
             29,594 absentee ballots listed as “unreturned” by voters that either never
             requested them, or that requested and returned their ballots;

          B. Reports from Redacted Expert Witnesses who can show an algorithm was used
             to pick a winner.

       15. In the accompanying redacted declaration of a former electronic intelligence analyst with

   305th Military Intelligence with experience gathering SAM missile system electronic intelligence,

   the Dominion software was accessed by agents acting on behalf of China and Iran in order to

   monitor and manipulate elections, including the most recent US general election in 2020. (See Ex.

   12, copy of redacted witness affidavit).

       16. These and other “irregularities” demonstrate that at least 318,012 illegal ballots were

   counted in Wisconsin. This provides the Court with sufficient grounds to set aside the results of

   the 2020 General Election and provide the other declaratory and injunctive relief requested herein.

                                    JURISDICTION AND VENUE

       17. This Court has subject matter under 28 U.S.C. § 1331 which provides, “The district courts

   shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

                                                     6


                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page8 of
                                                                   1114
                                                                      53 PageID
                                                                         of 1677 #: 1403




   of the United States.”

       18. This Court also has subject matter jurisdiction under 28 U.S.C. § 1343 because this action

   involves a federal election for President of the United States. “A significant departure from the

   legislative scheme for appointing Presidential electors presents a federal constitutional question.”

   Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm, 285 U.S.

   355, 365 (1932).

       19. The jurisdiction of the Court to grant declaratory relief is conferred by 28 U.S.C. §§

   2201 and 2202 and by Rule 57, Fed. R. Civ. P.

       20. This Court has jurisdiction over the related Wisconsin constitutional claims and state-law

   claims under 28 U.S.C. § 1367.

       21. Venue is proper because a substantial part of the events or omissions giving rise to the

   claim occurred in the Eastern District. 28 U.S.C. § 1391(b) & (c).

       22. Because the United States Constitution reserves for state legislatures the power to set the

   time, place, and manner of holding elections for Congress and the President, state executive

   officers have no authority to unilaterally exercise that power, much less flout existing legislation.

                                             THE PARTIES

       23. Plaintiff William Feehan, is a registered Wisconsin voter and a nominee of the Republican

   Party to be a Presidential Elector on behalf of the State of Wisconsin. Mr. Feehan is a resident of

   the City of La Crosse and La Crosse County, Wisconsin.

       24. Presidential Electors “have a cognizable interest in ensuring that the final vote tally

   reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and particularized

   injury to candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020)

   (affirming that Presidential Electors have Article III and prudential standing to challenge actions

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                                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-17
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page9 of
                                                                   1115
                                                                      53 PageID
                                                                         of 1677 #: 1404




   of state officials implementing or modifying State election laws); see also McPherson v. Blacker,

   146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76 (2000) (per

   curiam).

       25. Plaintiff Feehan has standing to bring this action as a voter and as a candidate for the

   office of Elector under Wis. Stat. §§ 5.10, et seq (election procedures for Wisconsin electors). As

   such, Presidential Electors “have a cognizable interest in ensuring that the final vote tally reflects

   the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and particularized injury

   to candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020)

   (affirming that Presidential Electors have Article III and prudential standing to challenge actions

   of state officials in implementing or modifying State election laws); see also McPherson v.

   Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76 (2000)

   (per curiam).

       26. Plaintiff Derrick Van Orden is a former United States Navy SEAL, who was the 2020

   Republican nominee for Wisconsin’s Third Congressional District Seat for the United States

   House of Representatives. Mr. Van Orden is a resident of Hager City, Pierce County, Wisconsin.

       27. Mr. Van Orden “lost” by approximately 10,000 votes to the Democrat incumbent, U.S.

   Representative Ron Kind. Because of the illegal voting irregularities as will be shown below, Mr.

   Van Orden seeks to have a new election ordered by this court in the Third District, with that

   election being conducted under strict adherence with the Wisconsin Election Code.

       28. Plaintiff Van Orden has standing as the ostensible “defeated” candidate in the Third

   Congressional District race, and seeks an order for a new election, complying with Wisconsin

   election law. Plaintiff Van Order received 189,524 votes or 48.67% as tallied versus Ron Kind

   who received 199,870 or 51.33% of the votes as reportedly tallied.

                                                     8


                                                                                            Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1116
                                                                10 of of
                                                                      531677
                                                                         PageID #:
                                      1405



     29. Plaintiffs brings this action to prohibit certification of the election results for the Office

 of President of the United States in the State of Wisconsin and to obtain the other declaratory and

 injunctive relief requested herein. Those results were certified by Defendants on November 30,

 2020, indicating a plurality for Mr. Biden of 20,565 votes out of 3,240,867 cast.

     30. The Defendants are Wisconsin Elections Commission (“WEC”), a state agency, and its

 members Ann S. Jacobs, Mark L. Thomsen, Marge Bostelman, Julie M. Glancey, Dean Knudson,

 and Robert F. Spindell, Jr., in their official capacities

     31. Defendant Governor Tony Evers is named as a defendant in his official capacity as

 Wisconsin’s governor.

     32. Defendant WEC was created in 2015 by the Wisconsin Legislature as an independent

 agency under the Executive branch to administer Wisconsin’s election laws. Wis. Stat. §§ 5.03 &

 15.61. The WEC is authorized to adopt administrative rules pursuant to Chapter 227 of the

 Wisconsin Statutes, but nothing under Wisconsin’s election laws authorizes the WEC to issue any

 documents, make any oral determinations or instruct governmental officials administering

 elections to perform any act contrary to Wisconsin law governing elections.

     33. Furthermore, the Wisconsin Legislature also created municipal elections commissions for

 municipalities with a population greater than 500,000 and a county elections commissions for

 counties with a population greater than 750,000. Wis Stat. § 7.20. As a result, the City of

 Milwaukee Elections Commission was created as well as the Milwaukee County Elections

 Commission and the Dane County Elections Commission. These county and municipal elections

 commissions are responsible for administering the elections in their respective jurisdictions.




                                                    9


                                                                                          Exhibit N
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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1117
                                                                11 of of
                                                                      531677
                                                                         PageID #:
                                      1406



                                     STATEMENT OF FACTS

     34. Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, to remedy deprivations of

 rights, privileges, or immunities secured by the Constitution and laws of the United States and to

 contest the election results, and the corollary provisions under the Wisconsin Constitution.

     35. The United States Constitution sets forth the authority to regulate federal elections. With

 respect to congressional elections, the Constitution provides:

        The Times, Places and Manner of holding Elections for Senators and
        Representatives, shall be prescribed in each State by the Legislature thereof; but the
        Congress may at any time by Law make or alter such Regulations, except as to the
        Places of choosing Senators.

        U.S. CONST. art. I, § 4 (“Elections Clause”).

     36. With respect to the appointment of presidential electors, the Constitution provides:

        Each State shall appoint, in such Manner as the Legislature thereof may direct, a
        Number of Electors, equal to the whole Number of Senators and Representatives to
        which the State may be entitled in the Congress: but no Senator or Representative,
        or Person holding an Office of Trust or Profit under the United States, shall be
        appointed an Elector.

        U.S. CONST. art. II, § 1 (“Electors Clause”).

     37. None of Defendants is a “Legislature” as required under the Elections Clause or Electors

 Clause to set the rules governing elections. The Legislature is “‘the representative body which

 ma[kes] the laws of the people.’” Smiley, 285 U.S. 365. Regulations of congressional and

 presidential elections, thus, “must be in accordance with the method which the state has prescribed

 for legislative enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting

 Comm’n, 576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

     38. The WEC certified the Presidential Election results on November 30, 2020.                 The

 Presidential election results in Wisconsin show a difference of 20,565 “tallied” votes in favor of

 former Vice-President Joe Biden over President Trump.

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                                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1118
                                                                12 of of
                                                                      531677
                                                                         PageID #:
                                      1407



     39. Based upon all the allegations of fraud, statutory violations, and other misconduct, as

 stated herein and in the attached affidavits, it is necessary to enjoin the certification of the election

 results pending a full investigation and court hearing, and to order an independent audit of the

 November 3, 2020 election to ensure the accuracy and integrity of the election.

                    I. VIOLATIONS OF WISCONSIN ELECTION CODE

      A. WEC Directed Clerks to Violate Wisconsin Election Code Requirements for
         Absentee Voting by “Indefinitely Confined” without Photo ID.

     40. The Wisconsin State Legislature adopted Act 23 in 2011 to require Wisconsin electors to

 present an identification containing a photograph, such as a driver’s license, to either a municipal or

 county clerk, when registering to vote and when voting. Wis. Stat. §§ 6.34; 6.79 (2). The Wisconsin

 State Legislature adopted the photo ID requirement to deter the casting of ballots by persons either not

 eligible to vote or persons fraudulently casting multiple ballots. League of Women Voters of

 Wisconsin Education Network, Inc. v. Walker, 851 N.W.2d 302, 314 (Wis. 2014).

     41. Wisconsin’s absentee voting is governed by Wisconsin Statutes § 6.84 - § 6.89. Under

 Wisconsin Statutes §6.86, every absentee elector applicant must present a photo ID when registering

 to vote absentee except absentee voters who registered as “indefinitely confined,” Wis. Stat. §6.86

 (ac), meaning someone confined “because of age, physical illness or infirmity or is disabled for an

 indefinite period.” Wis. Stat. § 6.86(2)(a). As a result, Wisconsin election procedures for voting

 absentee based on “indefinitely confined” status circumvent the photo ID requirement, creating an

 avenue for fraudulent voting.

     42. In order to ensure that only those who are “indefinitely confined” may use the “indefinitely

 confined” absentee ballot in an election, Wisconsin Statutes §6.86 provides that any elector who files

 an application for an absentee ballot based on indefinitely confined status may not use the absentee

 ballot if the electoral is no longer “indefinitely confined.” Wisconsin Statutes § 6.86 (2)(b) further

                                                    11


                                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1119
                                                                13 of of
                                                                      531677
                                                                         PageID #:
                                      1408



 provides that the municipal clerk “shall remove the name of any other elector from the list upon

 request of the elector or upon receipt of reliable information that an elector no longer qualifies for

 the service.”

     43. Despite this clear statutory requirement, the Administrator of the Wisconsin Election

 Commission, Meagan Wolfe, issued a written directive on May 13, 2020 to the clerks across the

 State of Wisconsin stating that the clerks cannot remove an allegedly “indefinitely confined”

 absentee voter from the absentee voter register if the clerk had “reliable information” that an

 allegedly “indefinitely confined” absentee voter is no longer “indefinitely confined.” The directive

 specifically stated:

         Can I deactivate an absentee request if I believe the voter is not indefinitely
         confined? No. All changes to status must be made in writing and by the voter’s
         request. Not all medical illnesses or disabilities are visible or may only impact the
         voter intermittently. (See WEC May 13, 2020 Guidance Memorandum).

     44. The WEC’s directive thus directly contradicts Wisconsin law, which specifically provides

 that clerks “shall” remove an indefinitely confined voter from the absentee voter list if the clerk

 obtains “reliable information” that the voter is no longer indefinitely confined.

     45. As a result of the directive, clerks did not remove from the absentee voter lists maintained

 by their jurisdictions the absentee voters who claimed “indefinitely confined” status but who in

 fact were no longer “indefinitely confined.”       This resulted in electors who were allegedly

 “indefinitely confined” absentee voters casting ballots as “indefinitely confined” absentee voters

 who were not actually “indefinitely confined” absentee voters.

      B. WEC Directed Clerks to Violate Wisconsin Law Prohibiting Counting of
         Absentee Ballot Certificates Missing Witness Addresses.

     46. In 2015, the Wisconsin Legislature passed Act 261, amending Wisconsin’s election laws,

 including a requirement, codified as Wisconsin Statute § 6.87(d), that absentee ballots include both


                                                  12


                                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1120
                                                                14 of of
                                                                      531677
                                                                         PageID #:
                                      1409



 elector and witness certifications, which must include the address of the witness. If the address

 of the witness is missing from the witness certification, however, “the ballot may not be counted.”

 Id.

           47. On October 18, 2016, WEC reacted to this legislation by issuing a memorandum, which,

 among other things, permitted clerks to write in the witness address onto the absentee ballot

 certificate itself, effectively nullifying this express requirement. (See WEC October 18, 2016

 Guidance Memorandum).            Wisconsin election officials reiterated this unlawful directive in

 publicly posted training videos. For example, in a Youtube video posted before the November 3,

 2020 General Election by Clarie Woodall-Voog of the Milwaukee Elections Commission, Ms.

 Woodall-Voog advised clerks that missing items “like witness address may be written in red.”3

           C. WEC Directed Clerks to Illegally Cure Absentee Ballots by Filling in Missing
              Information on Absentee Ballot Certificates and Envelopes.

           48. On October 19, 2020, WEC instructed its clerks that, without any legal basis in the

 Wisconsin Election Code, they could simply fill in missing witness or voter certification

 information using, e.g., personal knowledge, voter registration information, or calling the voter or

 witness. The WEC further advised that voters or witnesses could cure any missing information at

 the polling place, again without citing any authority to do so under Wisconsin Election Code.

                              II. EXPERT WITNESS TESTIMONY:
                           EVIDENCE OF WIDESPREAD VOTER FRAUD

           A. Approximately 15,000 Wisconsin Mail-In Ballots Were Lost, and
              Approximately 18,000 More Were Fraudulently Recorded for Voters who
              Never Requested Mail-In Ballots.

           49. The attached report of William M. Briggs, Ph.D. (“Dr. Briggs Report”) summarizes the

 multi-state phone survey that includes a survey of Wisconsin voters collected by Matt Braynard,


       3
           See https://www.youtube.com/watch?v=hbm-pPaYiqk (video a 10:43 to 11:07).
                                                   13


                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1121
                                                                15 of of
                                                                      531677
                                                                         PageID #:
                                      1410



 which was conducted from November 15-17, 2020. See Ex. 101, Dr. Briggs Report at 1, and Att.

 1 (“Braynard Survey”). The Briggs analysis identified two specific errors involving unreturned

 mail-in ballots that are indicative of voter fraud, namely: “Error #1: those who were recorded as

 receiving absentee ballots without requesting them;” and “Error #2: those who returned absentee

 ballots but whose votes went missing (i.e., marked as unreturned).” Id. Dr. Briggs then conducted

 a parameter-free predictive model to estimate, within 95% confidence or prediction intervals, the

 number of ballots affected by these errors out of a total of 96,771 unreturned mail-in ballots for

 the State of Wisconsin.

     50. With respect to Error #1, Dr. Briggs’ analysis estimated that 16,316-19,273 ballots out

 of the total 96,771 unreturned ballots were recorded for voters who had not requested them. Id.

 With respect to Error #2, he found 13,991 – 16,757 ballots out of 96,771 unreturned ballots

 recorded for voters who did return their ballots were recorded as being unreturned. Id.

 Taking the average of the two types of errors together, 29,594 ballots, or 31% of the total, are

 “troublesome.”

     51. These errors are not only conclusive evidence of widespread fraud by the State of

 Wisconsin, but they are fully consistent with the fact witness statements cited above regarding the

 evidence about Dominion presented below insofar as these unreturned absentee ballots

 represent a pool of blank ballots that could be filled in by third parties to shift the election

 to Joe Biden, and also present the obvious conclusion that there must be absentee ballots

 unlawfully ordered by third parties that were returned.

     52. With respect to Error #1, Dr. Briggs’ analysis demonstrates that approximately 17,795

 absentee ballots were sent to someone besides the registered voter named in the request, and

 thus could have been filled out by anyone and then submitted in the name of another voter.

                                                 14


                                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1122
                                                                16 of of
                                                                      531677
                                                                         PageID #:
                                      1411



 Regarding ballots ordered by third parties that were voted, those would no longer be in the

 unreturned pool and therefore cannot be estimated from this data set.

        53. With respect to Error #2, Dr. Briggs’ analysis indicates that approximately 15,374

 absentee ballots were either lost or destroyed (consistent with allegations of Trump ballot

 destruction) and/or were replaced with blank ballots filled out by election workers, Dominion

 or other third parties. Dr. Briggs’ analysis shows that 31% of “unreturned ballots” suffer from

 one of the two errors above – which is consistent with his findings in the four other States analyzed

 (Arizona 58%, Georgia 39%, Pennsylvania 37%, and Wisconsin 45%) – and provides further

 support that these widespread “irregularities” or anomalies were one part of a much larger multi-

 state fraudulent scheme to rig the 2020 General Election for Joe Biden.

        B. Nearly 7,000 Ineligible Voters Who Have Moved Out-of-State Illegally Voted
           in Wisconsin.

        54. Evidence compiled by Matt Braynard using the National Change of Address (“NCOA”)

 Database shows that 6,207 Wisconsin voters in the 2020 General Election moved out-of-state prior

 to voting, and therefore were ineligible. Mr. Braynard also identified 765 Wisconsin voters who

 subsequently registered to vote in another state and were therefore ineligible to vote in the 2020

 General Election. The merged number is 6,966 ineligible voters whose votes must be removed

 from the total for the 2020 General Election.4

        C. A Statistical Study Reveals that Biden Overperformed in those Precincts that
           Relied on Dominion Voting Machines

        55. From November 13th, 2020 through November 28th, 2020, the Affiant conducted in-depth

 statistical analysis of publicly available data on the 2020 U.S. Presidential Election. This data


    4
      Mr. Braynard posted the results of his analysis on Twitter.
 See https://twitter.com/MattBraynard/status/1329700178891333634?s=20. This Complaint
 includes a copy of his Report, (attached hereto as Exh. 3).
                                                  15


                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1123
                                                                17 of of
                                                                      531677
                                                                         PageID #:
                                      1412



 included vote counts for each county in the United States, U.S. Census data, and type of voting

 machine data provided by the U.S. Election Assistance Committee. The Affiant’s analysis yielded

 several “red flags” concerning the percentage of votes won by candidate Biden in counties using

 voting machines provided by Dominion Voting Systems.          These red flags occurred in several

 States in the country, including Wisconsin. (See attached hereto as Exh. 4, copy of redacted

 Affiant, B.S. Mathematics and M.S. Statistics).

     56. The Affiant began by using Chi-Squared Automatic Interaction Detection (CHAID),

 which treats the data in an agnostic way—that is, it imposes no parametric assumptions that could

 otherwise introduce bias. Affiant posed the following question: “Do any voting machine types

 appear to have unusual results?” The answer provided by the statistical technique/algorithm was

 that machines from Dominion Voting Systems (Dominion) produced abnormal results. Id.

     57. Subsequent graphical and statistical analysis shows the unusual pattern involving

 machines from Dominion occurs in at least 100 counties and multiple States, including Wisconsin.

 The results from the vast majority of counties using the Dominion machines is 3 to 5.6 percentage

 points higher in favor of candidate Biden. This pattern is seen easily in graphical form when the

 results from “Dominion” counties are overlaid against results from “non-Dominion” counties. The

 results from “Dominion” counties do not match the results from the rest of the counties in the

 United States. The results are clearly statistically significant, with a p-value of < 0.00004. This

 translates into a statistical impossibility that something unusual involving Dominion machines is

 not occurring. This pattern appears in multiple States, including Wisconsin, and the margin of

 votes implied by the unusual activity would easily sway the election results. Id.

     58. The following graph shows the pattern. The large red dots are counties in Wisconsin that

 use Dominion voting machines. Almost all of them are above the blue prediction line, when in

                                                   16


                                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1124
                                                                18 of of
                                                                      531677
                                                                         PageID #:
                                      1413



 normal situations approximately half of them would be below the prediction line (as evidence by

 approximately half the counties in the U.S. (blue dots) that are below the blue centerline). The p-

 value of statistical analysis regarding the centerline for the red dots (Wisconsin counties with

 Dominion machines) is 0.000000049, pointing to a statistical impossibility that this is a “random”

 statistical anomaly. Some external force caused this anomaly:




        Id.

     59. To confirm that Dominion machines were the source of the pattern/anomaly, Affiant

 conducted further analysis using propensity scoring using U.S. census variables (including

 ethnicities, income, professions, population density and other social/economic data) , which was

 used to place counties into paired groups. Such an analysis is important because one concern could

 be that counties with Dominion systems are systematically different from their counterparts, so


                                                 17


                                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1125
                                                                19 of of
                                                                      531677
                                                                         PageID #:
                                      1414



 abnormalities in the margin for Biden are driven by other characteristics unrelated to the election.

 Id.

       60. After matching counties using propensity score analysis, the only difference between the

 groups was the presence of Dominion machines. This approach again showed a highly statistically

 significant difference between the two groups, with candidate Biden again averaging three

 percentage points higher in Dominion counties than in the associated paired county.             The

 associated p-value is < 0.00005, against indicating a statistical impossibility that something

 unusual is not occurring involving Dominion machines. Id.

       61. The results of the analysis and the pattern seen in the included graph strongly suggest a

 systemic, system-wide algorithm was enacted by an outside agent, causing the results of

 Wisconsin’s vote tallies to be inflated by somewhere between three and five point six percentage

 points. Statistical estimating yields that in Wisconsin, the best estimate of the number of

 impacted votes is 181,440. Id.

       62. The summation of sections A through C above provide the following conclusions for the

 reports cited above, respectively.

             •   returned ballots that were deemed unreturned by the state: 15,374

             •   unreturned mail ballots unlawfully ordered by third parties: 17,795

             •   votes by persons that moved out of state or subsequently registered to vote
                 in another state for the 2020 election: 6,966

             •   Votes that were improperly relying on the “indefinitely confined”
                 exemption to voter ID: 96,437

             •   And excess votes arising from the statistically significant outperformance
                 of Dominion machines on behalf of Joe Biden: 181,440




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                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1126
                                                                20 of of
                                                                      531677
                                                                         PageID #:
                                      1415



    In Conclusion, the Reports cited above show a total amount of illegal votes identified that

    amount to 318,012 or over 15 times the margin by which candidate Biden leads President

    Trump in the state of Wisconsin.

   III. FACTUAL ALLEGATIONS REGARDING DOMINION VOTING SYSTEMS

     63. The State of Wisconsin, in many locations, used either Sequoia, a subsidiary of Dominion

 Systems, and or Dominion Systems, Democracy Suite 4.14-D first, and then included Dominion

 Systems Democracy Suite 5.0-S on or about January 27, 2017, which added a fundamental

 modification: “dial-up and wireless results transmission capabilities to the ImageCast Precinct and

 results transmission using the Democracy Suite EMS Results Transfer Manager module.” (See

 Exh. 5, attached hereto, a copy of the Equipment for WI election systems).

       A. Dominion’s Results for 2020 General Election Demonstrate
          Dominion Manipulated Election Results.

     64. Affiant Keshel’s findings that reflect the discussion cited above:

        While Milwaukee County is focal for transparency and observation violations,
        including reporting statistically impossible vote counts in the early morning hours
        away from scrutiny, Dane County has surged far past support totals for President
        Obama, despite expected difficulties mobilizing student voters to polls. President
        Trump has reconsolidated the Republican base in suburban Milwaukee and far
        surpassed his 2016 support levels but has been limited in margin growth by
        historically improbable Democratic support in these strongholds, which defy years
        of data in Wisconsin in which the Republican party surged as the Democratic Party
        plunged. Finally, in strong Trump counties showing a double inversion cycle (one
        party up, the other down), particularly in rural and exurban Wisconsin, Trump’s
        totals are soaring, and against established trends, Biden’s totals are at improbable
        levels of support despite lacking registration population
        (See attached hereto, Exh. 9, Aff. of Seth Keshel, MBA)




                                                 19


                                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1127
                                                                21 of of
                                                                      531677
                                                                         PageID #:
                                      1416




 Id.

       65. Keshel provides a graph reflecting the voter returns in a time-series. The highly unlikely

 and remarkably convenient attainment of this block of votes provides for a stunning depiction of

 the election and generates many questions. The analysis provided by Plaintiffs’ multiple experts,

 including data, statistics and cyber, will reveal clear evidence of the multiple frauds that combined

 to change the outcome of the 2020 election.




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                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1128
                                                                22 of of
                                                                      531677
                                                                         PageID #:
                                      1417




 See Id.

       B. Administrative and Judicial Decisions Regarding Dominion’s
          Security Flaws.

     66. Wisconsin. In 2018, Jill Stein was in litigation with Dominion Voting Systems

 (“DVS”) after her 2016 recount request pursuant to WISCONSIN STAT.§5.905(4) wherein

 DVS obtained a Court Order requiring confidentiality on information including voting counting

 source code, which Dominion claims is proprietary – and must be kept secret from the public. (See

 unpublished decision, Wisconsin Court of Appeals, No. 2019AP272 issued April 30, 2020).

 Rather than engaging in an open and transparent process to give credibility to Wisconsin’s

 Dominion-Democracy Suite voting system, the processes were hidden during the receipt,

 review, opening, and tabulation of those votes in direct contravention of Wisconsin’s

 Election Code and Federal law.

     67. Texas. The same Dominion Democracy Suite was denied certification in Texas by the

                                                21


                                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1129
                                                                23 of of
                                                                      531677
                                                                         PageID #:
                                      1418



 Secretary of State on January 24, 2020, specifically because the “examiner reports raise concerns

 about whether Democracy Suite 5.5-A system … is safe from fraudulent or unauthorized

 manipulation.”5

        68. Georgia. Substantial evidence of this vulnerability was discussed in Judge Amy

 Totenberg’s October 11, 2020 Order in the USDC N.D. Ga. case of Curling, et al. v. Kemp, et. al,

 Case No. 1:17-cv-02989 Doc. No. 964. See, p. 22-23 (“This array of experts and subject matter

 specialists provided a huge volume of significant evidence regarding the security risks and deficits

 in the system as implemented in both witness declarations and live testimony at the preliminary

 injunction hearing.”); p. 25 (“In particular, Dr. Halderman’s testing indicated the practical

 feasibility through a cyber attack of causing the swapping or deletion of specific votes cast and the

 compromise of the system through different cyber attack strategies, including through access to

 and alteration or manipulation of the QR barcode.”) The full order should be read, for it is eye-

 opening and refutes many of Dominion’s erroneous claims and talking points.

        69. A District Judge found that Dominion’s BMD ballots are not voter verifiable, and they

 cannot be audited in a software independent way. The credibility of a BMD ballot can be no greater

 than the credibility of Dominion’s systems, which copious expert analysis has shown is deeply

 compromised. Similar to the issues in Wisconsin, Judge Totenberg of the District Court of Georgia

 Northern District held:

          Georgia’s Election Code mandates the use of the BMD system as the uniform mode
          of voting for all in-person voters in federal and statewide elections. O.C.G.A. § 21-
          2-300(a)(2). The statutory provisions mandate voting on “electronic ballot
          markers” that: (1) use “electronic technology to independently and privately mark
          a paper ballot at the direction of an elector, interpret ballot selections, ... such
          interpretation for elector verification, and print an elector verifiable paper

    5
      See attached hereto, as Exh. 11, State of Texas Secretary of State, Elections Division, Report
 of Review of Dominion Voting Systems Democracy Suite 5.5-A at 2 (Jan. 24, 2020) (emphasis
 added).
                                                   22


                                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1130
                                                                24 of of
                                                                      531677
                                                                         PageID #:
                                      1419



        ballot;” and (2) “produce paper ballots which are marked with the elector’s choices
        in a format readable by the elector” O.C.G.A. § 21-2-2(7.1); O.C.G.A. § 21-2-
        300(a)(2). Plaintiffs and other voters who wish to vote in-person are required to
        vote on a system that does none of those things. Rather, the evidence shows that
        the Dominion BMD system does not produce a voter-verifiable paper ballot or
        a paper ballot marked with the voter’s choices in a format readable by the
        voter because the votes are tabulated solely from the unreadable QR code.

        See Order, pp. 81-82. (Emphasis added).

     70. This case was later affirmed in a related case, in the Eleventh Circuit in 2018 related to

 Georgia’s voting system in Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270 (11th Cir.

 2018). The Court found,

        In summary, while further evidence will be necessary in the future, the Court
        finds that the combination of the statistical evidence and witness declarations
        in the record here (and the expert witness evidence in the related Curling case
        which the Court takes notice of) persuasively demonstrates the likelihood of
        Plaintiff succeeding on its claims. Plaintiff has shown a substantial likelihood
        of proving that the Secretary’s failure to properly maintain a reliable and
        secure voter registration system has and will continue to result in the
        infringement of the rights of the voters to cast their vote and have their votes
        counted.

        Id.at 1294-1295.

     71. The expert witness in the above litigation in the United States District Court of

 Georgia, Case 1:17-cv-02989-AT, Harri Hursti, specifically testified to the acute security

 vulnerabilities, see Ex. 107, wherein he testified or found:

         A. “The scanner and tabulation software settings being employed to
            determine which votes to count on hand marked paper ballots are
            likely causing clearly intentioned votes to be counted” “The voting
            system is being operated in Fulton County in a manner that escalates
            the security risk to an extreme level” “Votes are not reviewing their
            BMD printed ballots, which causes BMD generated results to be un-
            auditable due to the untrustworthy audit trail.” 50% or more of voter
            selections in some counties were visible to poll workers. Dominion
            employees maintain near exclusive control over the EMS servers. “In
            my professional opinion, the role played by Dominion personnel in
            Fulton County, and other counties with similar arrangements, should
            be considered an elevated risk factor when evaluating the security
                                                23


                                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1131
                                                                25 of of
                                                                      531677
                                                                         PageID #:
                                      1420



            risks of Georgia’s voting system.” Id. ¶26.

         B. A video game download was found on one Georgia Dominion system
            laptop, suggesting that multiple Windows updates have been made on
            that respective computer.

         C. There is evidence of remote access and remote troubleshooting which
            presents a grave security implication.

         D. Certified identified vulnerabilities should be considered an “extreme
            security risk.”

         E. There is evidence of transfer of control the systems out of the physical
            perimeters and place control with a third party off site.

         F. USB drives with vote tally information were observed to be removed
            from the presence of poll watchers during a recent election.

         G. “The security risks outlined above – operating system risks, the
            failure to harden the computers, performing operations directly on the
            operating systems, lax control of memory cards, lack of procedures,
            and potential remote access are extreme and destroy the credibility of
            the tabulations and output of the reports coming from a voting
            system.” Id. ¶49.

      C. Foreign Interference/Hacking and/or Manipulation of Dominion
         Results.

           1. Evidence of Vulnerability to Foreign Hackers.

     72. In October of 2020 The FBI and CISA issued a JOINT CYBERSECURITY

 ADVISORY ON October 30, 2020 titled: Iranian Advanced Persistent Threat Actor Identified

 Obtained Voter Registration Data

       This joint cybersecurity advisory was coauthored by the Cybersecurity and
       Infrastructure Security Agency (CISA) and the Federal Bureau of Investigation
       (FBI). CISA and the FBI are aware of an Iranian advanced persistent threat (APT)
       actor targeting U.S. state websites to include election websites. CISA and the FBI
       assess this actor is responsible for the mass dissemination of voter intimidation
       emails to U.S. citizens and the dissemination of U.S. election-related
       disinformation in mid-October 2020.1 (Reference FBI FLASH message ME-
       000138-TT, disseminated October 29, 2020). Further evaluation by CISA and the
       FBI has identified the targeting of U.S. state election websites was an intentional
       effort to influence and interfere with the 2020 U.S. presidential election.


                                               24


                                                                                     Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1132
                                                                26 of of
                                                                      531677
                                                                         PageID #:
                                      1421



 (See CISA and FBI Joint Cyber Security Advisory of October 30, 2020, a copy attached hereto as

 Exh. 18.)

     73. An analysis of the Dominion software system by a former US Military Intelligence

 expert subsequently found that the Dominion Voting system and software are accessible - and was

 compromised by rogue actors, including foreign interference by Iran and China. (See Exh. 1,

 Spider Declaration, (who remains redacted for security reasons).)

     74. The expert does an analysis and explains how by using servers and employees connected

 with rogue actors and hostile foreign influences combined with numerous easily discoverable

 leaked credentials, Dominion allowed foreign adversaries to access data and intentionally provided

 access to Dominion’s infrastructure in order to monitor and manipulate elections, including the

 most recent one in 2020. (See Exh. 12, Spider Declaration. Several facts are set forth related to

 foreign members of Dominion Voting Systems and foreign servers as well as foreign

 interference.).

     75. Another Declarant first explains the foundations of her opinion and then addresses the

 concerns of foreign interference in our elections through hardware components from companies

 based in foreign countries with adverse interests. She explains that Dominion Voting Systems

 works with SCYTL, and that votes on route, before reporting, go to SCYTL in foreign countries.

 On the way, they get mixed and an algorithm is applied, which is done through a secretive process.

         The core software used by ALL SCYTL related Election Machine/Software
         manufacturers ensures “anonymity” Algorithms within the area of this “shuffling”
         to maintain anonymity allows for setting values to achieve a desired goal under the
         guise of “encryption” in the trap-door…

         (See Exh. 13, Aff. of Computer analysis, at par. 32).

     76. The Affiant goes on to explain the foreign relationships in the hardware used by

 Dominion Voting Systems and its subsidiary Sequoia and explains specifically the port that

                                                 25


                                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1133
                                                                27 of of
                                                                      531677
                                                                         PageID #:
                                      1422



 Wisconsin uses, which is called Edge Gateway and that is a part of Akamai Technologies based in

 Germany:

        “Wisconsin has EDGE GATEWAY port which is AKAMAI TECHNOLOGIES
        based out of GERMANY. Using AKAMAI Technologies is allowing .gov sites to
        obfuscate and mask their systems by way of HURRICANE ELECTRIC (he.net)”

     77. This Declarant further explains the foundations of her opinion and then addresses the

 concerns of foreign interference in our elections through hardware components from companies

 based in foreign countries with adverse interests.

        The concern is the HARDWARE and the NON – ACCREDITED VSTLs as by
        their own admittance use COTS. The purpose of VSTL’s being accredited and their
        importance is ensuring that there is no foreign interference / bad actors accessing
        the tally data via backdoors in equipment software. The core software used by ALL
        SCYTL related Election Machine/Software manufacturers ensures “anonymity”.
        Algorithms within the area of this “shuffling” to maintain anonymity allows
        for setting values to achieve a desired goal under the guise of “encryption” in
        the trap-door…

        (See Id. at ¶32).

     78. This Declarant goes on to explain the foreign relationships in the hardware used by

 Dominion Voting Systems and its subsidiary Sequoia and specifically the port that Wisconsin uses:

        “Wisconsin has EDGE GATEWAY port which is AKAMAI TECHNOLOGIES
        based out of GERMANY. Using AKAMAI Technologies is allowing .gov sites to
        obfuscate and mask their systems by way of HURRICANE ELECTRIC (he.net)
        Kicking it to anonymous (AKAMAI Technologies) offshore servers.
        Wisconsin Port.

        China is not the only nation involved in COTS provided to election machines or the
        networking but so is Germany via a LAOS founded Chinese linked cloud service
        company that works with SCYTL named Akamai Technologies that have offices
        in China and are linked to the server [for] Dominion Software.

        (See Id. at par. 21).

     79. The Affiant explains the use of an algorithm and how it presents throughout the statement,

 but specifically concludes that,

                                                 26


                                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1134
                                                                28 of of
                                                                      531677
                                                                         PageID #:
                                      1423



        The “Digital Fix” observed with an increased spike in VOTES for Joe Biden
        can be determined as evidence of a pivot. Normally it would be assumed that the
        algorithm had a Complete Pivot. Wilkinson’s demonstrated the guarantee as:




        Such a conjecture allows the growth factor the ability to be upper bound by values
        closer to n. Therefore, complete pivoting can’t be observed because there would be
        too many floating points. Nor can partial as the partial pivoting would overwhelm
        after the “injection” of votes. Therefore, external factors were used which is evident
        from the “DIGITAL FIX.” (See Id. at pars. 67-69)

        “The algorithm looks to have been set to give Joe Biden a 52% win even with an
        initial 50K+ vote block allocation was provided initially as tallying began (as in
        case of Arizona too). In the am of November 4, 2020 the algorithm stopped
        working, therefore another “block allocation” to remedy the failure of the
        algorithm. This was done manually as ALL the SYSTEMS shut down
        NATIONWIDE to avoid detection.”

        (See Id. at par. 73)

            2. Background of Dominion Connections to Smartmatic and Hostile
               Foreign Governments.

     80. An expert analysis by Russ Ramsland agrees with the data reflecting the use of an

 algorithm that causes the spike in the data feed, which is shown to be an injection of votes to

 change the outcome, because natural reporting does not appear in such a way.

     81. And Russ Ramsland can support that further by documenting the data feed that came from

 Dominion Voting Systems to Scytl -- and was reported with decimal points, which is contrary to

 one vote as one ballot: “The fact that we observed raw vote data coming directly that includes

 decimal places establishes selection by an algorithm, and not individual voter’s choice.

 Otherwise, votes would be solely represented as whole numbers (votes cannot possibly be

 added up and have decimal places reported).”

     82. The report concludes that “Based on the foregoing, I believe these statistical anomalies

 and impossibilities compels the conclusion to a reasonable degree of professional certainty that the
                                                 27


                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1135
                                                                29 of of
                                                                      531677
                                                                         PageID #:
                                      1424



 vote count in Wisconsin, in particular for candidates for President contain at least 119,430 (Para.

 13) up to 384,085 (Para. 15) illegal votes that must be disregarded. In my opinion, it is not possible

 at this time to determine the true results of the Wisconsin vote for President of the United States.”

                              The History of Dominion Voting Systems

        83. Plaintiffs can also show Smartmatic’s incorporation and inventors who have

 backgrounds evidencing their foreign connections, including Serbia, specifically its

 identified inventors:

          Applicant: SMARTMATIC, CORP.

          Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic, Jeffrey
          Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli, Gisela
          Goncalves, Yrem Caruso6

        84. Another Affiant witness testifies that in Venezuela, she was in official position

 related to elections and witnessed manipulations of petitions to prevent a removal of

 President Chavez and because she protested, she was summarily dismissed. She explains

 the vulnerabilities of the electronic voting system and Smartmatica to such manipulations.

 (See Ex. 17, Cardozo Aff. ¶8).

              3. US Government Warnings Regarding Hacking by Hostile Foreign
                 Governments.

        85. In October of 2020 The FBI and CISA issued a JOINT CYBERSECURITY

 ADVISORY ON October 30, 2020 titled: Iranian Advanced Persistent Threat Actor Identified

 Obtained Voter Registration Data

          This joint cybersecurity advisory was coauthored by the Cybersecurity and
          Infrastructure Security Agency (CISA) and the Federal Bureau of Investigation
          (FBI). CISA and the FBI are aware of an Iranian advanced persistent threat (APT)
          actor targeting U.S. state websites to include election websites. CISA and the FBI

    6
     See Patents Assigned to Smartmatic Corp., available at:
 https://patents.justia.com/assignee/smartmatic-corp
                                                  28


                                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1136
                                                                30 of of
                                                                      531677
                                                                         PageID #:
                                      1425



          assess this actor is responsible for the mass dissemination of voter intimidation
          emails to U.S. citizens and the dissemination of U.S. election-related
          disinformation in mid-October 2020.1 (Reference FBI FLASH message ME-
          000138-TT, disseminated October 29, 2020). Further evaluation by CISA and the
          FBI has identified the targeting of U.S. state election websites was an intentional
          effort to influence and interfere with the 2020 U.S. presidential election.

          (See Ex. 18, CISA and FBI Joint Cyber Security Advisory of October 30, 2020)

        D. Additional Independent Findings of Dominion Flaws.

       86. Further supportive of this pattern of incidents, reflecting an absence of mistake, Plaintiffs

 have since learned that the “glitches” in the Dominion system, that have the uniform effect of

 hurting Trump and helping Biden, have been widely reported in the press and confirmed by the

 analysis of independent experts.

              1. Central Operator Can Remove, Discard or Manipulate Votes.

       87. Mr. Watkins further explains that the central operator can remove or discard batches

 of votes. “After all of the ballots loaded into the scanner’s feed tray have been through the scanner,

 the “ImageCast Central” operator will remove the ballots from the tray then have the option to

 either “Accept Batch” or “Discard Batch” on the scanning menu …. “ (Ex. 106, Watkins aff. ¶11).

 ¶8.

       88. Mr. Watkins further testifies that the user manual makes clear that the system allows for

 threshold settings to be set to find all ballots get marked as “problem ballots” for discretionary

 determinations on where the vote goes stating:

          9. During the ballot scanning process, the “ImageCast Central” software will detect
          how much of a percent coverage of the oval was filled in by the voter. The
          Dominion customer determines the thresholds of which the oval needs to be
          covered by a mark in order to qualify as a valid vote. If a ballot has a marginal mark
          which did not meet the specific thresholds set by the customer, then the ballot is
          considered a “problem ballot” and may be set aside into a folder named
          “NotCastImages”.



                                                   29


                                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1137
                                                                31 of of
                                                                      531677
                                                                         PageID #:
                                      1426



        10. Through creatively tweaking the oval coverage threshold settings, and
        advanced settings on the ImageCase Central scanners, it may be possible to set
        thresholds in such a way that a non-trivial amount of ballots are marked “problem
        ballots” and sent to the “NotCastImages” folder.

        11. The administrator of the ImageCast Central work station may view all images
        of scanned ballots which were deemed “problem ballots” by simply navigating
        via the standard “Windows File Explorer” to the folder named “NotCastImages”
        which holds ballot scans of “problem ballots”. It may be possible for an
        administrator of the “ImageCast Central” workstation to view and delete any
        individual ballot scans from the “NotCastImages” folder by simply using the
        standard Windows delete and recycle bin functions provided by the Windows 10
        Pro operating system. Id. ¶¶ 9-11.

             2. Dominion – By Design – Violates Federal Election & Voting Record
                Retention Requirements.

     89. The Dominion System put in place by its own design violates the intent of Federal law

 on the requirement to preserve and retain records – which clearly requires preservation of all

 records requisite to voting in such an election.

        § 20701. Retention and preservation of records and papers by officers of
        elections; deposit with custodian; penalty for violation

        Every officer of election shall retain and preserve, for a period of twenty-
        two months from the date of any general, special, or primary election of
        which candidates for the office of President, Vice President, presidential
        elector, Member of the Senate, Member of the House of Representatives, or
        Resident Commissioner from the Commonwealth of Puerto Rico are voted
        for, all records and papers which come into his possession relating to
        any application, registration, payment of poll tax, or other act requisite
        to voting in such election, except that, when required by law, such records
        and papers may be delivered to another officer of election and except that,
        if a State or the Commonwealth of Puerto Rico designates a custodian to
        retain and preserve these records and papers at a specified place, then such
        records and papers may be deposited with such custodian, and the duty to
        retain and preserve any record or paper so deposited shall devolve upon
        such custodian. Any officer of election or custodian who willfully fails to
        comply with this section shall be fined not more than $1,000 or imprisoned
        not more than one year, or both.

 See 52 USC § 20701.



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                                                                                     Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1138
                                                                32 of of
                                                                      531677
                                                                         PageID #:
                                      1427



           3. Dominion Vulnerabilities to Hacking.

     90. Plaintiffs have since learned that the “glitches” in the Dominion system -- that

 have the uniform effect of hurting Trump and helping Biden -- have been widely reported

 in the press and confirmed by the analysis of independent experts, a partial summary of

 which is included below.

        (1) Users on the ground have full admin privileges to machines and
            software. The Dominion system is designed to facilitate vulnerability
            and allow a select few to determine which votes will be counted in any
            election. Workers were responsible for moving ballot data from polling
            place to the collector’s office and inputting it into the correct folder. Any
            anomaly, such as pen drips or bleeds, is not counted and is handed over
            to a poll worker to analyze and decide if it should count. This creates
            massive opportunity for improper vote adjudication. (Ex. 106 Watkins
            aff. ¶¶8 & 11).

        (2) Affiant witness (name redacted for security reasons), in his sworn
            testimony explains he was selected for the national security guard detail
            of the President of Venezuela, and that he witnessed the creation of
            Smartmatic for the purpose of election vote manipulation:

           I was witness to the creation and operation of a sophisticated electronic
           voting system that permitted the leaders of the Venezuelan government
           to manipulate the tabulation of votes for national and local elections and
           select the winner of those elections in order to gain and maintain their
           power. Importantly, I was a direct witness to the creation and operation
           of an electronic voting system in a conspiracy between a company
           known as Smartmatic and the leaders of conspiracy with the Venezuelan
           government. This conspiracy specifically involved President Hugo
           Chavez Frias, the person in charge of the National Electoral Council
           named Jorge Rodriguez, and principals, representatives, and personnel
           from Smartmatic which included … The purpose of this conspiracy was
           to create and operate a voting system that could change the votes in
           elections from votes against persons running the Venezuelan
           government to votes in their favor in order to maintain control of the
           government. (Id. ¶¶6, 9, 10).

     91. Specific vulnerabilities of the systems in question that have been well documented

 or reported include:

        A. Barcodes can override the voters’ vote: As one University of California,
           Berkeley study shows, “In all three of these machines [including
                                           31


                                                                                    Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1139
                                                                33 of of
                                                                      531677
                                                                         PageID #:
                                      1428



           Dominion Voting Systems] the ballot marking printer is in the same
           paper path as the mechanism to deposit marked ballots into an attached
           ballot box. This opens up a very serious security vulnerability: the
           voting machine can make the paper ballot (to add votes or spoil already-
           case votes) after the last time the voter sees the paper, and then deposit
           that marked ballot into the ballot box without the possibility of
           detection.” (See Ex. 2, Appel Study).

       B. Voting machines were able to be connected to the internet by way of
          laptops that were obviously internet accessible. If one laptop was
          connected to the internet, the entire precinct was compromised.

       C. October 6, 2006 – Congresswoman Carolyn Maloney calls on
          Secretary of Treasury Henry Paulson to conduct an investigation
          into Smartmatic based on its foreign ownership and ties to
          Venezuela. (See Ex. 15). Congresswoman Maloney wrote that “It is
          undisputed that Smartmatic is foreign owned and it has acquired Sequoia
          … Smartmatic now acknowledged that Antonio Mugica, a Venezuelan
          businessman has a controlling interest in Smartmatica, but the company
          has not revealed who all other Smartmatic owners are. Id.

       D. Dominion “got into trouble” with several subsidiaries it used over
          alleged cases of fraud. One subsidiary is Smartmatic, a company “that
          has played a significant role in the U.S. market over the last decade.”7
          Dominion entered into a 2009 contract with Smartmatic and provided
          Smartmatic with the PCOS machines (optical scanners) that were used
          in the 2010 Philippine election, the biggest automated election run by a
          private company. The automation of that first election in the Philippines
          was hailed by the international community and by the critics of the
          automation. The results transmission reached 90% of votes four hours
          after polls closed and Filipinos knew for the first time who would be
          their new president on Election Day. In keeping with local Election law
          requirements, Smartmatic and Dominion were required to provide the
          source code of the voting machines prior to elections so that it could be
          independently verified. Id.

       E. Litigation over Smartmatic “glitches” alleges they impacted the 2010
          and 2013 mid-term elections in the Philippines, raising questions of
          cheating and fraud. An independent review of the source codes used in
          the machines found multiple problems, which concluded, “The software
          inventory provided by Smartmatic is inadequate, … which brings into


   7
      Voting Technology Companies in the U.S. – Their Histories and Present Contributions,
 Access Wire, (Aug. 10, 2017), available at: https://www.accesswire.com/471912/Voting-
 Technology-Companies-in-the-US--Their-Histories.
                                             32


                                                                                 Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1140
                                                                34 of of
                                                                      531677
                                                                         PageID #:
                                      1429



            question the software credibility.”8

         F. Dominion acquired Sequoia Voting Systems as well as Premier Election
            Solutions (formerly part of Diebold, which sold Premier to ES&S in
            2009, until antitrust issues forced ES&S to sell Premier, which then was
            acquired by Dominion). This map illustrates 2016 voting machine
            data—meaning, these data do not reflect geographic aggregation at the
            time of acquisition, but rather the machines that retain the Sequoia or
            Premier/Diebold brand that now fall under Dominion’s market share.
            Penn Wharton Study at 16.

         G. In late December of 2019, three Democrat Senators, Warren, Klobuchar,
            Wyden and House Member Mark Pocan wrote about their
            ‘particularized concerns that secretive & “trouble -plagued companies”‘
            “have long skimped on security in favor of convenience,” in the context
            of how they described the voting machine systems that three large
            vendors – Election Systems & Software, Dominion Voting Systems, &
            Hart InterCivic – collectively provide voting machines & software that
            facilitate voting for over 90% of all eligible voters in the U.S.” (See Ex.
            16).

         H. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting
            systems] are “yet another damning indictment of the profiteering
            election vendors, who care more about the bottom line than protecting
            our democracy.” It’s also an indictment, he said, “of the notion that
            important cybersecurity decisions should be left entirely to county
            election offices, many of whom do not employ a single cybersecurity
            specialist.”9

       92. The House of Representatives passed H.R. 2722 in an attempt to address these

 very risks on June 27, 2019:

         This bill addresses election security through grant programs and
         requirements for voting systems and paper ballots.

         The bill establishes requirements for voting systems, including that
         systems (1) use individual, durable, voter-verified paper ballots; (2) make

   8
      Smartmatic-TIM Running Out of Time to Fix Glitches, ABS-CBN News (May 4, 2010),
 available at: https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-
 glitches.
   9
      Kim Zetter, Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite
 Official Denials, VICE (Aug. 8, 2019) (“VICE Election Article”), available at:
 https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems have-been-left-
 exposed-online-despite-official-denials.
                                               33


                                                                                     Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1141
                                                                35 of of
                                                                      531677
                                                                         PageID #:
                                      1430



        a voter’s marked ballot available for inspection and verification by the
        voter before the vote is cast; (3) ensure that individuals with disabilities
        are given an equivalent opportunity to vote, including with privacy and
        independence, in a manner that produces a voter-verified paper ballot; (4)
        be manufactured in the United States; and (5) meet specified cybersecurity
        requirements, including the prohibition of the connection of a voting
        system to the internet.

        See H.R. 2722.

        E. Because Dominion Senior Management Has Publicly Expressed
           Hostility to Trump and Opposition to His Election, Dominion Is Not
           Entitled to Any Presumption of Fairness, Objectivity or
           Impartiality, and Should Instead Be Treated as a Hostile Partisan
           Political Actor.

     93. Dr. Eric Coomer is listed as the co-inventor for several patents on ballot

 adjudication and voting machine-related technology, all of which were assigned to

 Dominion.10 He joined Dominion in 2010, and most recently served as Voting Systems

 Officer of Strategy and Director of Security for Dominion. Dr. Coomer first joined

 Sequoia Voting Systems in 2005 as Chief Software Architect and became Vice President

 of Engineering before Dominion Voting Systems acquired Sequoia.             Dr. Coomer’s

 patented ballot adjudication technology into Dominion voting machines sold throughout



   10
      See “Patents by Inventor Eric Coomer,” available at:
 https://patents.justia.com/inventor/eric-coomer. This page lists the following patents
 issued to Dr. Coomer and his co-inventors: (1) U.S. Patent No. 9,202,113, Ballot
 Adjudication in Voting Systems Utilizing Ballot Images (issued Dec. 1, 2015); (2) U.S.
 Patent No. 8,913,787, Ballot Adjudication in Voting Systems Utilizing Ballot Images
 (issued Dec. 16, 2014); (3) U.S. Patent No. 8,910,865, Ballot Level Security Features for
 Optical Scan Voting Machine Capable of Ballot Image Processing, Secure Ballot
 Printing, and Ballot Layout Authentication and Verification (issued Dec. 16, 2014); (4)
 U.S. Patent No. 8,876,002, Systems for Configuring Voting Machines, Docking Device
 for Voting Machines, Warehouse Support and Asset Tracking of Voting Machines (issued
 Nov. 4, 2014); (5) U.S. Patent No. 8,864,026, Ballot Image Processing System and
 Method for Voting Machines (issued Oct. 21, 2014); (6) U.S. Patent No. 8,714,450,
 Systems and Methods for Transactional Ballot Processing, and Ballot Auditing (issued
 May 6, 2014), available at: https://patents.justia.com/inventor/eric-coomer.
                                             34


                                                                                 Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1142
                                                                36 of of
                                                                      531677
                                                                         PageID #:
                                      1431



 the United States, including those used in Wisconsin. (See attached hereto Exh 6, Jo

 Oltmann Aff.).

     94. In 2016, Dr. Coomer admitted to the State of Illinois that Dominion Voting

 machines can be manipulated remotely.11 He has also publicly posted videos explaining

 how Dominion voting machines can be remotely manipulated. See Id.12

     95. Dr. Coomer has emerged as Dominion’s principal defender, both in litigation

 alleging that Dominion rigged elections in Georgia and in the media. An examination of

 his previous public statements has revealed that Dr. Coomer is highly partisan and even

 more anti-Trump, precisely the opposite of what would expect from the management of

 a company charged with fairly and impartially counting votes (which is presumably why

 he tried to scrub his social media history). (See Id.)

     96. Unfortunately for Dr. Coomer, however, a number of these posts have been

 captured for perpetuity. Below are quotes from some of his greatest President Trump and

 Trump voter hating hits to show proof of motive and opportunity. (See Id).

        If you are planning to vote for that autocratic, narcissistic, fascist ass-hat
        blowhard and his Christian jihadist VP pic, UNFRIEND ME NOW! No,
        I’m not joking. … Only an absolute F[**]KING IDIOT could ever vote for
        that wind-bag fuck-tard FASCIST RACIST F[**]K! … I don’t give a damn
        if you’re friend, family, or random acquaintance, pull the lever, mark an
        oval, touch a screen for that carnival barker … UNFRIEND ME NOW! I
        have no desire whatsoever to ever interact with you. You are beyond hope,
        beyond reason. You are controlled by fear, reaction and bullsh[*]t. Get
        your shit together. F[**]K YOU! Seriously, this f[**]king ass-clown stands

   11
      Jose Hermosa, Electoral Fraud: Dominion’s Vice President Warned in 2016 That Vote-
 Counting Systems Are Manipulable, The BL (Nov. 13, 2020), available at: https://thebl.com/us-
 news/electoral-fraud-dominions-vice-president-warned-in-2016-that-vote-counting-systems-are-
 manipulable.html.
   12
       See, e.g., “Eric Coomer Explains How to Alter Votes in the Dominion Voting System” (Nov.
 24, 2020) (excerpt of presentation delivered in Chicago in 2017), available at:
 https://www.youtube.com/watch?v=UtB3tLaXLJE.
                                              35


                                                                                   Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1143
                                                                37 of of
                                                                      531677
                                                                         PageID #:
                                      1432



          against everything that makes this country awesome! You want in on that?
          You [Trump voters] deserve nothing but contempt. Id. (July 21, 2016
          Facebook post).13

     97. In a rare moment of perhaps unintentional honesty, Dr. Coomer anticipates this

 Complaint and many others, by slandering those seeking to hold election riggers like

 Dominion to account and to prevent the United States’ descent into Venezuelan levels of

 voting fraud and corruption out of which Dominion was born:

          Excerpts in stunning Trump-supporter logic, “I know there is a lot of voter
          fraud. I don’t know who is doing it, or how much is happening, but I know
          it is going on a lot.” This beautiful statement was followed by, “It happens
          in third world countries, this the US, we can’t let it happen here.” Id.
          (October 29, 2016 Facebook post); (See also Exh. 6)

         1. Dr. Coomer, who invented the technology for Dominion’s voting fraud and has

 publicly explained how it can be used to alter votes, seems to be extremely hostile to those

 who would attempt to stop it and uphold the integrity of elections that underpins the

 legitimacy of the United States government:

          And in other news… There be some serious fuckery going on right here
          fueled by our Cheeto-in-Chief stoking lie after lie on the flames of [Kris]
          Kobach… [Linking Washington Post article discussing the Presidential
          Advisory Commission on Election Integrity, of which former Kansas
          Secretary of State Kris Kobach was a member, entitled, “The voting
          commission is a fraud itself. Shut it down.”] Id. (September 14, 2017
          Facebook post.] (Id.)

     98. Dr. Coomer also keeps good company, supporting and reposting ANTIFA

 statements slandering President Trump as a “fascist” and by extension his supporters,

 voters and the United States military (which he claims, without evidence, Trump will

 make into a “fascist tool”). Id. (June 2, 2020 Facebook post). Lest someone claims that these



    13
      In this and other quotations from Dr. Coomer’s social media, Plaintiffs have redacted certain
 profane terms.
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                                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1144
                                                                38 of of
                                                                      531677
                                                                         PageID #:
                                      1433



 are “isolated statements” “taken out of context”, Dr. Coomer has affirmed that he shares

 ANTIFA’s taste in music and hatred of the United States of America, id. (May 31, 2020 Facebook

 post linking “F[**]k the USA” by the exploited), and the police. Id. (separate May 31, 2020

 Facebook posts linking N.W.A. “F[**]k the Police” and a post promoting phrase “Dead Cops”).

 Id. at 4-5.

         99. Affiant and journalist Joseph Oltmann researched ANTIFA in Colorado. Id. at

 1. “On or about the week of September 27, 2020,” he attended an Antifa meeting which

 appeared to be between Antifa members in Colorado Springs and Denver Colorado,”

 where Dr. Coomer was present. In response to a question as to what Antifa would do “if

 Trump wins this … election?”, Dr. Coomer responded “Don’t worry about the election.

 Trump is not going to win. I made f[**]king sure of that … Hahaha.” Id. at 2.

    100. By putting an anti-Trump zealot like Dr. Coomer in charge of election “Security,” and

 using his technology for what should be impartial “ballot adjudication,” Dominion has given the

 fox the keys to the hen house and has forfeited any presumption of objectivity, fairness, or even

 propriety. It appears that Dominion does not care about even an appearance of impropriety, as its

 most important officer has his fingerprints all over a highly partisan, vindictive, and personal

 vendetta against the Republican nominee both in 2016 and 2020, President Donald Trump. Dr.

 Coomer’s highly partisan anti-Trump rages show clear motive on the part of Dominion to rig the

 election in favor of Biden, and may well explain why for each of the so-called “glitches”

 uncovered, it is always Biden receiving the most votes on the favorable end of such a “glitch.”

 (Id.)

    101. In sum, as set forth above, for a host of independent reasons, the Wisconsin

 election results concluding that Joe Biden received 20,608 more votes that President

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                                                                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1145
                                                                39 of of
                                                                      531677
                                                                         PageID #:
                                      1434



 Donald Trump must be set aside.

                                              COUNT I

        Defendants Violated the Elections and Electors Clauses and 42 U.S.C. § 1983.

    102. Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

    103. The Electors Clause states that “[e]ach State shall appoint, in such Manner as the

 Legislature thereof may direct, a Number of Electors” for President. U.S. Const. art. II, §1, cl. 2

 (emphasis added). Likewise, the Elections Clause of the U.S. Constitution states that “[t]he Times,

 Places, and Manner of holding Elections for Senators and Representatives, shall be prescribed in

 each State by the Legislature thereof.” U.S. Const. art. I, § 4, cl. 1 (emphasis added).

    104. The Legislature is “‘the representative body which ma[kes] the laws of the

 people.’” Smiley v. Holm, 285 U.S. 355, 365 (1932). Regulations of congressional and

 presidential elections, thus, “must be in accordance with the method which the state has

 prescribed for legislative enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz.

 Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

    105. Defendants are not part of the Wisconsin Legislature and cannot exercise

 legislative power. Because the United States Constitution reserves for the Wisconsin

 Legislature the power to set the time, place, and manner of holding elections for the

 President and Congress, county boards of elections and state executive officers have no

 authority to unilaterally exercise that power, much less to hold them in ways that conflict

 with existing legislation.

    106. Section I details three separate instances where Defendants violated the

 Wisconsin Election Code. First, the WEC May 23, 2020 “guidance”, see Ex. 16, on the

 treatment of “indefinitely confined” voters, who are exempt from Wisconsin’s photo ID


                                                  38


                                                                                            Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1146
                                                                40 of of
                                                                      531677
                                                                         PageID #:
                                      1435



 requirement for absentee ballot application, that directly contravened the express

 requirement in Wisconsin Election Code that clerks “shall” remove an allegedly

 “indefinitely confined” voter if the clerk has “reliable information” that that voter is not,

 or is no longer, “indefinitely confined.” Second, the WEC’s October 18, 2016, see Ex.

 18, directed clerks to violate the express requirements of Wisconsin Statutes § 6.87(6)(d),

 which states “[i]f a certificate is missing the address of a witness the ballot may not be

 counted,” when it directed clerks to fill in missing information on absentee ballot

 envelopes. Third, WEC and Wisconsin election officials violated Wisconsin Election

 Code, or acted ultra vires, insofar as they filled in missing witness or voter information

 on absentee ballots and permitted voters to cure ballots without statutory authorization.

 Section II provides expert witness testimony quantifying the number of illegal or

 ineligible ballots that were counted, and lawful ballots that were not, as a result of these

 and Defendants’ other violations.

    107. A report from Dr. William Briggs, shows that there were approximately 29,594 absentee

 ballots listed as “unreturned” by voters that either never requested them, or that requested and

 returned their ballots.

    108. Evidence compiled by Matt Braynard using the National Change of Address (“NCOA”)

 Database shows that 6,207 Wisconsin voters in the 2020 General Election moved out-of-state prior

 to voting, and therefore were ineligible. Mr. Braynard also identified 765 Wisconsin voters who

 subsequently registered to vote in another state and were therefore ineligible to vote in the 2020

 General Election. The merged number is 6,966 ineligible voters whose votes must be removed

 from the total for the 2020 General Election.

    109. Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

                                                 39


                                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1147
                                                                41 of of
                                                                      531677
                                                                         PageID #:
                                      1436



 harm unless the injunctive relief requested herein is granted. Defendants have acted and,

 unless enjoined, will act under color of state law to violate the Elections Clause.

    110. Accordingly, the results for President in the November 3, 2020 election must be

 set aside, the State of Wisconsin should be enjoined from transmitting the certified the

 results thereof, and this Court should grant the other declaratory and injunctive relief

 requested herein.

                                          COUNT II

              Governor Evers and Other Defendants Violated The Equal
             Protection Clause of the Fourteenth Amendment U.S. Const.
                           Amend. XIV & 42 U.S.C. § 1983

              Invalid Enactment of Regulations & Disparate Treatment of
                             Absentee vs. Mail-In Ballots

    111. Plaintiffs refer to and incorporate by reference each of the prior paragraphs of this

 Complaint as though the same were repeated at length herein.

    112. The Fourteenth Amendment of the United States Constitution provides “nor shall any

 state deprive any person of life, liberty, or property, without due process of law; nor deny

 to any person within its jurisdiction the equal protection of the laws. See also Bush v.

 Gore, 531 U.S. 98, 104 (2000) (having once granted the right to vote on equal terms, the

 State may not, by later arbitrary and disparate treatment, value one person’s vote over the

 value of another’s). Harper v. Va. Bd. of Elections, 383 U.S. 663, 665 (1966) (“Once the

 franchise is granted to the electorate, lines may not be drawn which are inconsistent with

 the Equal Protection Clause of the Fourteenth Amendment.”). The Court has held that to

 ensure equal protection, a problem inheres in the absence of specific standards to ensure

 its equal application. Bush, 531 U.S. at 106 (“The formulation of uniform rules to

 determine intent based on these recurring circumstances is practicable and, we conclude,
                                               40


                                                                                  Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1148
                                                                42 of of
                                                                      531677
                                                                         PageID #:
                                      1437



 necessary.”).

    113. The equal enforcement of election laws is necessary to preserve our most basic

 and fundamental rights. The requirement of equal protection is particularly stringently

 enforced as to laws that affect the exercise of fundamental rights, including the right to

 vote.

    114. The disparate treatment of Wisconsin voters, in subjecting one class of voters to greater

 burdens or scrutiny than another, violates Equal Protection guarantees because “the right of

 suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

 effectively as by wholly prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555.

 Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown Grp., Inc.,

 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince v. Bear

 River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d 524, 536-37 (Utah 2002).

    115. In statewide and federal elections conducted in the State of Wisconsin, including

 without limitation the November 3, 2020 General Election, all candidates, political

 parties, and voters, including without limitation Plaintiffs, in having the election laws

 enforced fairly and uniformly.

    116. As set forth in Section I above, Defendants failed to comply with the requirements

 of the Wisconsin Election Code and thereby diluted the lawful ballots of the Plaintiffs and

 of other Wisconsin voters and electors in violation of the United States Constitution

 guarantee of Equal Protection. Further, Defendants enacted regulations, or issued

 guidance, that had the intent and effect of favoring one class of voters – Democratic

 absentee voters – over Republican voters. Further, all of these invalidly enacted rules by

 Defendant Wisconsin executive and administrative agencies, had the intent and effect of

                                                 41


                                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1149
                                                                43 of of
                                                                      531677
                                                                         PageID #:
                                      1438



 eliminating protections against voter fraud, and thereby enabled and facilitated the

 counting of fraudulent, unlawful and ineligible votes, which were quantified in Section

 II. Finally, Section III details the additional voting fraud and manipulation enabled by

 the use Dominion voting machines, which had the intent and effect of favoring Biden and

 Democratic voters and discriminating against Trump and Republican voters.

    117. Defendants have acted and will continue to act under color of state law to violate

 Plaintiffs’ right to be present and have actual observation and access to the electoral

 process as secured by the Equal Protection Clause of the United States Constitution.

 Defendants thus failed to conduct the general election in a uniform manner as required by

 the Equal Protection Clause of the Fourteenth Amendment, the corollary provisions of the

 Wisconsin Constitution, and the Wisconsin Election Code.

    118. Plaintiffs seek declaratory and injunctive relief forbidding Defendants from

 certifying a tally that includes any ballots that were not legally cast, or that were switched

 from Trump to Biden through the unlawful use of Dominion Democracy Suite software

 and devices.

    119. The Briggs analysis identified two specific errors involving unreturned mail-in ballots

 that are indicative of voter fraud, namely: “Error #1: those who were recorded as receiving

 absentee ballots without requesting them;” and “Error #2: those who returned absentee ballots

 but whose votes went missing (i.e., marked as unreturned).” Clearly the dilution of lawful votes

 violates the Equal Protection clause; and the counting of unlawful votes violates the rights of

 lawful Citizens.

    120. In addition, Plaintiffs ask this Court to order that no ballot processed by a counting

 board in the Wisconsin Counties can be included in the final vote tally unless a challenger

                                               42


                                                                                     Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1150
                                                                44 of of
                                                                      531677
                                                                         PageID #:
                                      1439



 was allowed to meaningfully observe the process and handling and counting of the ballot,

 or that were unlawfully switched from Trump to Biden.

    121. Plaintiffs have no adequate remedy at law and will suffer serious and irreparable

 harm unless the declaratory and injunctive relief requested herein is granted. Indeed, the

 setting aside of an election in which the people have chosen their representative is a

 drastic remedy that should not be undertaken lightly, but instead should be reserved for

 cases in which a person challenging an election has clearly established a violation of

 election procedures and has demonstrated that the violation has placed the result of the

 election in doubt. Wisconsin law allows elections to be contested through litigation, both

 as a check on the integrity of the election process and as a means of ensuring the

 fundamental right of citizens to vote and to have their votes counted accurately.

                                       COUNT III

              Fourteenth Amendment, Amend. XIV & 42 U.S.C. § 1983

                      Denial of Due Process On The Right to Vote

    122. Plaintiffs refer to and incorporate by reference each of the prior paragraphs of

 this Complaint as though the same were repeated at length herein.

    123. The right of qualified citizens to vote in a state election involving federal

 candidates is recognized as a fundamental right under the Fourteenth Amendment of the

 United States Constitution. Harper, 383 U.S. at 665. See also Reynolds, 377 U.S. at 554

 (The Fourteenth Amendment protects the “the right of all qualified citizens to vote, in

 state as well as in federal elections.”). Indeed, ever since the Slaughter-House Cases, 83

 U.S. 36 (1873), the United States Supreme Court has held that the Privileges or

 Immunities Clause of the Fourteenth Amendment protects certain rights of federal

                                            43


                                                                                Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1151
                                                                45 of of
                                                                      531677
                                                                         PageID #:
                                      1440



 citizenship from state interference, including the right of citizens to directly elect

 members of Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex

 parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400 U.S.

 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

    124. The fundamental right to vote protected by the Fourteenth Amendment is

 cherished in our nation because it “is preservative of other basic civil and political rights.”

 Reynolds, 377 U.S. at 562. Voters have a “right to cast a ballot in an election free from

 the taint of intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211 (1992), and

 “[c]onfidence in the integrity of our electoral processes is essential to the functioning of

 our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

    125. “Obviously included within the right to [vote], secured by the Constitution, is the

 right of qualified voters within a state to cast their ballots and have them counted” if they

 are validly cast. United States v. Classic, 313 U.S. 299, 315 (1941). “[T]he right to have

 the vote counted” means counted “at full value without dilution or discount.” Reynolds,

 377 U.S. at 555, n.29 (quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J.,

 dissenting)).

    126. “Every voter in a federal . . . election, whether he votes for a candidate with little

 chance of winning or for one with little chance of losing, has a right under the Constitution

 to have his vote fairly counted, without its being distorted by fraudulently cast votes.”

 Anderson v. United States, 417 U.S. 211, 227 (1974); see also Baker v. Carr, 369 U.S.

 186, 208 (1962). Invalid or fraudulent votes “debase[]” and “dilute” the weight of each

 validly cast vote. See Anderson, 417 U.S. at 227.

    127. The right to vote includes not just the right to cast a ballot, but also the right to have it

                                                  44


                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1152
                                                                46 of of
                                                                      531677
                                                                         PageID #:
                                      1441



 fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or diluted by

 a fraudulent or illegal vote, including without limitation when a single person votes multiple times.

 The Supreme Court of the United States has made this clear in case after case. See, e.g., Gray v.

 Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the diluting effect of illegal

 ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196 (2008) (plurality op. of

 Stevens, J.) (“There is no question about the legitimacy or importance of the State’s interest in

 counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 &

 n.29 (1964).

    128. The right to an honest [count] is a right possessed by each voting elector, and to

 the extent that the importance of his vote is nullified, wholly or in part, he has been injured

 in the free exercise of a right or privilege secured to him by the laws and Constitution of

 the United States.” Anderson, 417 U.S. at 226 (quoting Prichard v. United States, 181

 F.2d 326, 331 (6th Cir.), aff’d due to absence of quorum, 339 U.S. 974 (1950)).

    129. Practices that promote the casting of illegal or unreliable ballots or fail to contain

 basic minimum guarantees against such conduct, can violate the Fourteenth Amendment

 by leading to the dilution of validly cast ballots. See Reynolds, 377 U.S. at 555 (“[T]he

 right of suffrage can be denied by a debasement or dilution of the weight of a citizen’s

 vote just as effectively as by wholly prohibiting the free exercise of the franchise.”).

    130. Section I details the Defendants violations of the Wisconsin Election Code.

 Section II provides estimates of the number of fraudulent, illegal or ineligible votes

 counted, and demonstrates that this number is many times larger than Biden’s margin of

 victory.

    131. Plaintiffs seek declaratory and injunctive relief enjoining Defendants from

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                                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1153
                                                                47 of of
                                                                      531677
                                                                         PageID #:
                                      1442



 certifying the results of the General Election, or in the alternative, conduct a recount or

 recanvas in which they allow a reasonable number of challengers to meaningfully observe

 the conduct of the Wisconsin Board of State Canvassers and the Wisconsin county Boards

 of Canvassers and that these canvassing boards exercise their duty and authority under

 Wisconsin law, which forbids certifying a tally that includes any ballots that were not

 legally cast, or that were switched from Trump to Biden through the unlawful use of

 Dominion Democracy Suite software and devices.

                                             COUNT IV

                                      Wide-Spread Ballot Fraud

    132. Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

    133. The scheme of civil fraud can be shown with the pattern of conduct that includes motive

 and opportunity, as exhibited by the high level official at Dominion Voting Systems, Eric Coomer,

 and his visceral and public rage against the current U.S. President.

    134. Opportunity appears with the secretive nature of the voting source code, and the feed of

 votes that make clear that an algorithm is applied, that reports in decimal points despite the law

 requiring one vote for one ballot.

    135. The results of the analysis and the pattern seen in the included graph strongly suggest a

 systemic, system-wide algorithm was enacted by an outside agent, causing the results of

 Wisconsin’s vote tallies to be inflated by somewhere between 3 and 5.6 percentage points.

 Statistical estimating yields that in Wisconsin, the best estimate of the number of impacted votes

 is 181,440. Id.

    136. The Reports cited above show a total amount of illegal votes identified that amount to

 318,012 or over 15 times the margin by which candidate Biden leads President Trump in the state


                                                  46


                                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1154
                                                                48 of of
                                                                      531677
                                                                         PageID #:
                                      1443



 of Wisconsin.

    137. The right to vote includes not just the right to cast a ballot, but also the right to have it

 fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or diluted by

 a fraudulent or illegal vote, including without limitation when a single person votes multiple times.

 The Supreme Court of the United States has made this clear in case after case. See, e.g., Gray v.

 Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the diluting effect of illegal

 ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196 (2008) (plurality op. of

 Stevens, J.) (“There is no question about the legitimacy or importance of the State’s interest in

 counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S. 533, 554-55 &

 n.29 (1964).

    138. Plaintiffs have no adequate remedy at law. Plaintiffs contest the results of Wisconsin’s

 2020 General Election because it is fundamentally corrupted by fraud. Defendants intentionally

 violated multiple provisions of the Wisconsin Election Code to elect Biden and other Democratic

 candidates and defeat President Trump and other Republican candidates.


                                       PRAYER FOR RELIEF

    139. Accordingly, Plaintiffs seek an emergency order instructing Defendants to de-certify the

 results of the General Election for the Office of President.

    140. Alternatively, Plaintiffs seek an order instructing the Defendants to certify the results of

 the General Election for Office of the President in favor of President Donald Trump.

    141. In the alternative, Plaintiffs seek an emergency order prohibiting Defendants from

 including in any certified results from the General Election the tabulation of absentee and mailing

 ballots which do not comply with the Wisconsin Election Code, including, without limitation, the

 tabulation of absentee and mail-in ballots Trump Campaign’s watchers were prevented from
                                                    47


                                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1155
                                                                49 of of
                                                                      531677
                                                                         PageID #:
                                      1444



 observing or based on the tabulation of invalidly cast absentee and mail-in ballots which (i) lack a

 secrecy envelope, or contain on that envelope any text, mark, or symbol which reveals the elector’s

 identity, political affiliation, or candidate preference, (ii) do not include on the outside envelope a

 completed declaration that is dated and signed by the elector, (iii) are delivered in-person by third

 parties for non-disabled voters, or (iv) any of the other Wisconsin Election Code violations set

 forth in Section II of this Complaint.

    142. Order production of all registration data, ballot applications, ballots, envelopes, etc.

 required to be maintained by law. When we consider the harm of these uncounted votes, and

 ballots not ordered by the voters themselves, and the potential that many of these unordered ballots

 may in fact have been improperly voted and also prevented proper voting at the polls, the mail

 ballot system has clearly failed in the state of Wisconsin and did so on a large scale and widespread

 basis. The size of the voting failures, whether accidental or intentional, are multiples larger than

 the margin in the state. For these reasons, Wisconsin cannot reasonably rely on the results of the

 mail vote. Relief sought is the elimination of the mail ballots from counting in the 2020 election.

 Alternatively, the electors for the State of Wisconsin should be disqualified from counting toward

 the 2020 election. Alternatively, the electors of the State of Wisconsin should be directed to vote

 for President Donald Trump.

    143. For these reasons, Plaintiffs ask this Court to enter a judgment in their favor and provide

 the following emergency relief:


        1.   An order directing Governor Evers and the Wisconsin Elections Commission

             to de-certify the election results;




                                                   48


                                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1156
                                                                50 of of
                                                                      531677
                                                                         PageID #:
                                      1445



       2.   An order enjoining Governor Evers from transmitting the currently certified

            election results the Electoral College;


       3.   An order requiring Governor Evers to transmit certified election results that

            state that President Donald Trump is the winner of the election;


       4.   An immediate emergency order to seize and impound all servers, software,

            voting machines, tabulators, printers, portable media, logs, ballot applications,

            ballot return envelopes, ballot images, paper ballots, and all “election

            materials” referenced in Wisconsin Statutes § 9.01(1)(b)11. related to the

            November 3, 2020 Wisconsin election for forensic audit and inspection by the

            Plaintiffs;


       5.   An order that no votes received or tabulated by machines that were not certified

            as required by federal and state law be counted;


       6.   A declaratory judgment declaring that Wisconsin’s failed system of signature

            verification violates the Electors and Elections Clause by working a de facto

            abolition of the signature verification requirement;


       7.   A declaratory judgment declaring that currently certified election results

            violate the Due Process Clause, U.S. CONST. Amend. XIV;


       8.   A declaratory judgment declaring that mail-in and absentee ballot fraud must

            be remedied with a Full Manual Recount or statistically valid sampling that

            properly verifies the signatures on absentee ballot envelopes and that


                                                49


                                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1157
                                                                51 of of
                                                                      531677
                                                                         PageID #:
                                      1446



            invalidates the certified results if the recount or sampling analysis shows a

            sufficient number of ineligible absentee ballots were counted;


       9.   A declaratory judgment declaring absentee ballot fraud occurred in violation

            of Constitutional rights, Election laws and under state law;


       10. A permanent injunction prohibiting the Governor and Secretary of State from

            transmitting the currently certified results to the Electoral College based on the

            overwhelming evidence of election tampering;


       11. Immediate production of 48 hours of security camera recording of all rooms

            used in the voting process at the TCF Center for November 3, 2020 and

            November 4, 2020.


       12. Plaintiffs further request the Court grant such other relief as is just and proper,

            including but not limited to, the costs of this action and their reasonable

            attorney fees and expenses pursuant to 42 U.S.C. 1988.




                                                 50


                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1158
                                                                52 of of
                                                                      531677
                                                                         PageID #:
                                      1447




   Respectfully submitted, this 1st day of December, 2020.

                                            LEAD COUNSEL FOR PLAINTIFFS


                                            /s Sidney Powell**
                                            Sidney Powell PC
                                            Texas Bar No. 16209700
                                            (517) 763-7499
                                            sidney@federalappeals.com

                                            Of Counsel:
                                            Julia Z. Haller (D.C. Bar No. 466921) **
                                            Brandon Johnson (D.C. 491730) **
                                            Emily P. Newman (Virginia Bar No. 84265) **

                                            2911 Turtle Creek Blvd.
                                            Suite 300
                                            Dallas, Texas 75219

                                            L. Lin Wood **
                                            GA Bar No. 774588
                                            L. LIN WOOD, P.C.
                                            P.O. Box 52584
                                            Atlanta, GA 30305-0584
                                            Telephone: (404) 891-1402

                                            Howard Kleinhendler **
                                            New York Bar No. 2657120
                                            Howard Kleinhendler Esquire
                                            369 Lexington Avenue, 12th Floor
                                            New York, New York 10017
                                            (917) 793-1188
                                            howard@kleinhendler.com

                                            ** Applications for admission forthcoming




                                              51


                                                                                  Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-17
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1159
                                                                53 of of
                                                                      531677
                                                                         PageID #:
                                      1448




                                     Local Counsel for Plaintiffs
                                     Michael D. Dean
                                     Wis. Bar No.01019171
                                     P.O. Box 2545
                                     Brookfield, WI 53008
                                     (262) 798-8044
                                     miked@michaelddeanllc.com


                                     Daniel J. Eastman
                                     Wis. Bar No.1011433
                                     P.O. Box 158
                                     Mequon, Wisconsin 53092
                                     (414) 881-9383
                                     daneastman@me.com




                                       52


                                                                      Exhibit N
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
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                                     64-18
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page1 of
                                                                   1160
                                                                      46 PageID
                                                                         of 1677 #: 1449




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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                     64-18
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page2 of
                                                                   1161
                                                                      46 PageID
                                                                         of 1677 #: 1450




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


   WILLIAM FEEHAN,

                       Plaintiff,
                                                        Case No. 20-cv-1771-pp
         v.

   WISCONSIN ELECTIONS COMMISSION,
   COMMISSIONER ANN S. JACOBS,
   MARK L. THOMSEN, JULIE M. GLANCEY,
   COMMISSIONER MARGE BOSTELMANN,
   COMMISSIONER DEAN KNUDSON,
   ROBERT F. SPINDELL, JR. and TONY EVERS,

                       Defendants.


           ORDER GRANTING DEFENDANTS’ MOTIONS TO DISMISS
    (DKT. NOS. 51, 53), DENYING AS MOOT PLAINTIFF’S AMENDED MOTION
        FOR INJUNCTIVE RELIEF (DKT. NO. 6) AND DISMISSING CASE


         At 8:24 a.m. on Tuesday, December 1, 2020—twenty-eight days after the

   November 3, 2020 general Presidential election, thirteen days after President

   Donald J. Trump petitioned for a recount in Milwaukee and Dane Counties and

   one day after the Wisconsin Elections Commission and the Governor certified

   that Joseph R. Biden and Kamala D. Harris had received the highest number of

   votes following that recount—two plaintiffs filed this lawsuit in federal court for

   the Eastern District of Wisconsin. Although state law governs the election

   process, the plaintiffs brought the suit in a federal court, asking that federal

   court to order state officials to decertify the election results that state officials

   had certified the day before, order the Governor not to transmit to the Electoral


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              Case 2:20-cv-01771-PP Filed 12/09/20 Page 1 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
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                                     64-18
                                        35-2Filed
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page3 of
                                                                   1162
                                                                      46 PageID
                                                                         of 1677 #: 1451




   College the certified results he’d transmitted the day before and order the

   Governor to instead transmit election results that declared Donald Trump to be

   “the winner of this election.”

         The election that preceded this lawsuit was emotional and often divisive.

   The pleadings that have been filed over the past week are passionate and

   urgent. People have strong, deep feelings about the right to vote, the freedom

   and opportunity to vote and the value of their vote. They should. But the legal

   question at the heart of this case is simple. Federal courts have limited

   jurisdiction. Does a federal court have the jurisdiction and authority to grant

   the relief this lawsuit seeks? The answer is no.

         Federal judges do not appoint the president in this country. One wonders

   why the plaintiffs came to federal court and asked a federal judge to do so.

   After a week of sometimes odd and often harried litigation, the court is no

   closer to answering the “why.” But this federal court has no authority or

   jurisdiction to grant the relief the remaining plaintiff seeks. The court will

   dismiss the case.

   I.    Background

         According to defendant the Wisconsin Elections Commission’s November

   18, 2020 canvass results, 3,297,352 Wisconsin residents voted in the

   November 3, 2020 general election for President. https://elections.wi.gov/

   sites/elections.wi.gov/files/Statewide%20Results%20All%20Offices%20%28pre

   -Presidential%20recount%29.pdf. Of those, 49.45%—1,630,673—voted for

   Biden for President and Harris for Vice-President. Id. Biden and Harris received

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                                                                       Exhibit N
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 2 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-18
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page4 of
                                                                   1163
                                                                      46 PageID
                                                                         of 1677 #: 1452




   approximately 20,600 more votes than Donald J. Trump for President and

   Michael R. Pence for Vice-President. Id.

         Under Wis. Stat. §9.01(1)(a)(1), any candidate in an election where more

   than 4,000 votes were cast for the office the candidate seeks and who trails the

   leading candidate by no more than 1 percent of the total votes cast for that

   office may petition for a recount. On November 18, 2020, Donald J. Trump filed

   a recount petition seeking a recount of “all ballots in all wards in every City,

   Village, Town and other voting unit in Dane and Milwaukee Counties.”

   https://elections.wi.gov/sites/elections.wi.gov/files/2020-11/WEC%20-

   %20Final%20Recount%20Order_0.pdf. The Wisconsin Elections Commission

   granted that petition and ordered a recount “using the ballot count method

   selected per Wis. Stat. § 5.90(1) unless otherwise ordered by a court per Wis.

   Stat. § 5.90(2).” Id. The WEC ordered the recount to be completed by 12:00

   p.m. on December 1, 2020. Id.

         The partial recount was completed on November 29, 2020.

   https://elections.wi.gov/elections-voting/recount. On November 30, 2020, the

   chair of the Wisconsin Elections Commission signed the statement of canvass

   certifying that Joseph R. Biden and Kamala D. Harris received the greatest

   number of votes and certified their electors. https://elections.wi.gov/sites/

   elections.wi.gov/files/2020-11/Jacobs%20-%20Signed%20Canvass%20for%20

   President%20-%20Vice%20President.pdf. The same day—November 30, 2020—

   Wisconsin Governor Tony Evers announced that he had signed the Certificate

   of Ascertainment for the electors for Biden and Harris.

                                            3

                                                                       Exhibit N
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 3 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-18
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page5 of
                                                                   1164
                                                                      46 PageID
                                                                         of 1677 #: 1453




   https://content.govdelivery.com/accounts/WIGOV/bulletins/2aef6ff. The web

   site for the National Archives contains the Certificate of Ascertainment signed

   by Evers on November 30, 2020, certifying that out of 3,298,041 votes cast,

   Biden and Harris and their electors received 1,630,866 votes, while Trump and

   Pence and their electors received 1,610,184 votes. https://www.archives.gov/

   files/electoral-college/2020/ascertainment-wisconsin.pdf.

         On December 1, 2020, Donald J. Trump filed a petition for an original

   action in the Wisconsin Supreme Court. Trump v. Evers, Case No.

   2020AP001971-OA (available at https://wscca.wicourts.gov). On December 3,

   2020, the court denied leave to commence an original petition because under

   Wis. Stat. §9.01(6), appeals from the board of canvassers or the Wisconsin

   Elections Commission must be filed in circuit court. Dkt. No. 59-7. The same

   day—December 3, 2020—Donald J. Trump filed lawsuits in Milwaukee and

   Dane Counties. Trump v. Biden, Case No. 2020CV007092 (Milwaukee County

   Circuit Court; Trump v. Biden, Case No. 2020CV002514 (Dane County Circuit

   Court) (both available at https://wcca.wicourts.gov). Those cases have been

   consolidated and are scheduled for hearing on December 10, 2020 at 1:30 (or

   for December 11, 2020 at 9:00 a.m. if the parties are litigating in another

   court).

         Meanwhile, on December 2, 2020, Donald J. Trump filed suit in federal

   court for the Eastern District of Wisconsin, suing the defendants in this case

   and others. Trump v. Wisconsin Elections Commission, et al., Case No. 20-cv-




                                           4

                                                                         Exhibit N
             Case 2:20-cv-01771-PP Filed 12/09/20 Page 4 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-18
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page6 of
                                                                   1165
                                                                      46 PageID
                                                                         of 1677 #: 1454




   1785-BHL (E.D. Wis.). There is an evidentiary hearing scheduled for December

   10, 2020 at 9:00 a.m. by videoconference. Id. at Dkt. No. 45.

   II.   Procedural History of the Case

         On December 1, 2020—the day after Governor Evers signed the

   Certificate of Ascertainment—William Feehan and Derrick Van Orden filed a

   complaint in the federal court for the Eastern District of Wisconsin. Dkt. No. 1.

   Feehan identified himself as a resident of La Crosse, Wisconsin, a registered

   voter and “a nominee of the Republican Party to be a Presidential Elector on

   behalf of the State of Wisconsin.” Id. at ¶23. Van Orden was identified as a

   resident of Hager City, Wisconsin and the 2020 Republican nominee for

   Wisconsin’s Third Congressional District Seat for the U.S. House of

   Representatives. Id. at ¶26. The complaint alleged that “Mr. Van Orden ‘lost’ by

   approximately 10,000 votes to the Democrat incumbent,” and stated that

   “[b]ecause of the illegal voting irregularities as will be shown below, Mr. Van

   Orden seeks to have a new election ordered by this court in the Third District,

   with that election being conducted under strict adherence with the Wisconsin

   Election Code.” Id. at ¶27.

         The complaint alleged “massive election fraud, multiple violations of the

   Wisconsin Election Code, see e.g., Wis. Stat. §§5.03, et seq., in addition to the

   Election and Electors Clauses and Equal Protection Clause of the U.S.

   Constitution” based on “dozens of eyewitnesses and the statistical anomalies

   and mathematical impossibilities detailed in the affidavits of expert witnesses.”

   Dkt. No. 1 at ¶1. The plaintiffs alleged four causes of action: (1) violation of the

                                            5

                                                                       Exhibit N
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 5 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-18
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page7 of
                                                                   1166
                                                                      46 PageID
                                                                         of 1677 #: 1455




   Elections and Electors Clauses and 42 U.S.C. §1983; (2) violation of the Equal

   Protection Clause of the Fourteenth Amendment, 42 U.S.C. §1983 and the

   “invalid enactment of regulations & disparate treatment of absentee vs. mail-in

   ballots”; (3) denial of the Fourteenth Amendment due process right to vote and

   42 U.S.C. §1983; and (4) “wide-spread ballot fraud.” Id. at ¶¶106-138.      The

   plaintiffs asked for the following emergency relief:

         1.    An order directing Governor Evers and the Wisconsin
         Elections Commission to de-certify the election results:

         2.    An order enjoining Governor Evers from transmitting the
         currently certified election results [sic] the Electoral College;

         3.     An order requiring Governor Evers to transmit certified
         election results that state that President Donald Trump is the
         winner of the election;

         4.    An immediate emergency order to seize and impound all
         servers, software, voting machines, tabulators, printers, portable
         media, logs, ballot applications, ballot return envelopes, ballot
         images, paper ballots, and all “election materials” referenced in
         Wisconsin Statutes §9.01(1)(b)11 related to the November 3, 2020
         Wisconsin election for forensic audit and inspection by the Plaintiffs;

         5.    An order that no votes received or tabulated by machines that
         were not certified as required by federal and state law be counted;

         6.    A declaratory judgment declaring that Wisconsin’s failed
         system of signature verification violates the Electors and Elections
         Clause by working a de facto abolition of the signature verification
         requirement;

         7.     A declaratory judgment declaring that currently certified
         election results violate the Due Process Clause, U.S. Const. Amend.
         XIV;

         8.     A declaratory judgment declaring that mail-in and absentee
         ballot fraud must be remedied with a Full Manual Recount or
         statistically valid sampling that properly verifies the signatures on
         absentee ballot envelopes and that invalidates the certified results if


                                            6

                                                                       Exhibit N
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 6 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-18
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page8 of
                                                                   1167
                                                                      46 PageID
                                                                         of 1677 #: 1456




         the recount or sampling analysis shows a sufficient number of
         ineligible absentee ballots were counted;

         9.    A declaratory judgment declaring absentee ballot fraud
         occurred in violation of Constitutional rights, Election laws and
         under state law;

         10. A permanent injunction prohibiting the Governor and
         Secretary of State from transmitting the currently certified results
         to the Electoral College based on the overwhelming evidence of
         election tampering;

         11. Immediate production of 48 hours of security camera
         recording of all rooms used in the voting process at the TCF Center1
         for November 3, 2020 and November 4, 2020;

         12. Plaintiffs further request the Court grant such relief as is just
         and proper including but not limited to, the costs of this action and
         their reasonable attorney fees and expenses pursuant to 42 U.S.C.
         §1988.

   Id. at 50.

         With the complaint, the plaintiffs filed a motion for declaratory,

   emergency, and permanent injunctive relief, dkt. no. 2, and memorandum in

   support of that motion, dkt. no. 3. The motion stated that the specific relief the

   plaintiff requested was set out in an attached order, dkt. no. 2 at 1, but there

   was no order attached. The memorandum asked the court to grant the motion

   and enter the proposed order, dkt. no. 3 at 10; again, no proposed order was

   provided.

         Later that day, the plaintiffs filed a corrected motion for declaratory,

   emergency, and permanent injunctive relief. Dkt. No. 6. The plaintiff did not file

   a memorandum in support of this motion but did file a proposed order. Dkt.


   1The plaintiff may be referring to the TCF convention center in Detroit,
   Michigan; the court is unaware of a “TCF Center” in Wisconsin.
                                           7

                                                                       Exhibit N
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 7 of 45 Document 83
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
                            Document
                              Document
                                     64-18
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page9 of
                                                                   1168
                                                                      46 PageID
                                                                         of 1677 #: 1457




   No. 1. The relief described in the proposed order was almost identical to the

   relief requested in the complaint, with a notable exception. Instead of the

   request for an order requiring production of forty-eight hours of security

   camera footage from the TCF Center, the plaintiffs asked for an order

   prohibiting “any wiping or alteration of data or other records or materials” from

   voting machines, tabulations machines, servers, software and printers, and

   any alteration or destruction of ballot applications, ballot return envelopes,

   ballot images, paper ballots, registration lists, poll lists or other election

   materials, “across the state of Wisconsin.” Dkt. No. 6-1 at 7-8.

         Two days later, plaintiff Freehan filed an amended complaint removing

   Derrick Van Orden as a plaintiff. Dkt. No. 9. It differed from the original

   complaint only in the removal of Van Orden as a plaintiff.

         Along with the amended complaint, the plaintiff filed a motion for

   temporary restraining order and preliminary injunction “to be considered in an

   expedited manner.” Dkt. No. 10. The plaintiff did not file a memorandum in

   support of the motion; his main purpose in filing the amended motion appears

   to have been to ask the court to rule on the motion quickly. The plaintiff

   attached a proposed briefing schedule, suggesting that the court should require

   the defendants to respond by 8:00 p.m. on Friday, December 4, 2020 and

   require him to file his reply by 8:00 p.m. on Saturday, December 5, 2020; he

   proposed to submit the matter on briefs without argument. Dkt. No. 10-1. The

   defendants objected to this severely truncated schedule. Dkt. Nos. 25




                                             8

                                                                       Exhibit N
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 8 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1169
                                                                10 of of
                                                                      461677
                                                                         PageID #:
                                      1458



 (defendant Evers), 26 (defendants Wisconsin Election Commission and its

 members).

       Construing the amended motion as a Civil L.R. 7(h) expedited, non-

 dispositive motion for an expedited briefing schedule, the court granted the

 request on December 4, 2020, setting a schedule that, while not as expedited

 as the plaintiff requested, gave the parties a short leash. Dkt. No. 29.

       Wisconsin voter James Gesbeck filed a motion to intervene, dkt. no. 14,

 and later an expedited motion to intervene, dkt. no. 33. The Democratic

 National Committee (DNC) also sought to intervene. Dkt. No. 22. The court

 denied both requests, dkt. nos. 41 (DNC), 74 (Gesbeck), but allowed both to file

 amicus curiae briefs by the December 7, 2020 deadline it had set for the

 defendants to oppose the plaintiff’s motion for injunctive relief, dkt. nos. 37

 (Gesbeck), 41 (DNC).

       Recall that the plaintiff had not filed a memorandum in support of the

 December 1, 2020 corrected motion for injunctive relief or in support of the

 December 3, 2020 amended motion. On Sunday, December 6, 2020, the

 plaintiff filed an amended memorandum in support of the motion. Dkt. No. 42.

 In the first paragraph, the plaintiff indicated that he filed the amended

 memorandum to “avoid possible confusion from removal of Mr. Van Orden is

 [sic] plaintiff.” Id. at 1. He said that the memorandum was identical to the

 original memorandum “except for amending references to plaintiffs to refer to

 Mr. Meehan [sic] only and correcting several inadvertent references to the State

 of Georgia.” Id.

                                          9

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 9 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1170
                                                                11 of of
                                                                      461677
                                                                         PageID #:
                                      1459



       On Sunday, December 6, the plaintiff also filed a motion asking the court

 to schedule an evidentiary hearing “on the merits” for Wednesday, December 9,

 2020 at 9:00 a.m. Dkt. No. 44. Although the plaintiff had not asked for a

 hearing in any prior motion, and had represented in the amended motion that

 he was submitting the matter on the briefs without argument, the plaintiff

 explained that he had changed his position based on the court’s December 4,

 2020 order. Id. at ¶4. The court denied the motion in a telephonic hearing on

 December 8, 2020, explaining that before it could reach the merits of the

 motion for injunctive relief, it must resolve issues regarding justiciability. Dkt.

 Nos. 70, 71.

       In opposing the plaintiff’s amended motion for injunctive relief,

 defendants Wisconsin Election Commission and its members argued that the

 case has jurisdictional and procedural defects that require dismissal. Dkt. No.

 52 at 5. They asserted that the plaintiff lacks Article III standing, id. at 6, that

 the doctrine of laches bars consideration of his claims, id. at 8 and that the

 Eleventh Amendment shields them from the relief he seeks, id. at 10. They

 asserted that the complaint fails to state a claim for relief under the Election or

 Electors Clauses, id. at 11, or under the Equal Protection or Due Process

 Clauses, id. at 13, and they contended that the plaintiff’s purported evidence

 fails to meet basic evidentiary standards, id. at 20.

       In his brief opposing injunctive relief, defendant Governor Evers argued

 that there is no evidence of fraud in Wisconsin’s election results, dkt. no. 55 at

 10, that the plaintiff’s witnesses and experts lack qualifications and are

                                          10

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 10 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1171
                                                                12 of of
                                                                      461677
                                                                         PageID #:
                                      1460



 unreliable, id. at 12, and that the plaintiff has failed to state valid claims, id. at

 22. Evers also argued that an adequate remedy at law exists because the

 recount procedures under Wis. Stat. §9.01 unambiguously constitute the

 “exclusive remedy” for challenging election results. Id. at 55. With respect to

 the balancing of harms, Evers argued that the requested relief would prejudice

 the defendants and “retroactively deprive millions of Wisconsin voters of their

 constitutional right to vote in the 2020 presidential election.” Id. at 32.

       James Gesbeck, filing as friend of the court, opposed the motion for

 injunctive relief on the grounds that the plaintiff has not established subject

 matter jurisdiction and that the court should defer to the Wisconsin courts and

 Wisconsin’s procedural mechanism for resolving disputed elections. Dkt. No.

 47 at 11, 12. Gesbeck applied the balancing analysis for injunctive relief,

 asserting that relief in this court would moot the Wis. Stat. §9.01 challenge

 pending in the Wisconsin courts. Id. at 17. He argued that this, in turn, would

 put the “insurmountable weight of the Federal Government on the election

 result in Wisconsin and would be unbalancing the scale created by the system

 of checks and balances that have been maintained since the Constitution was

 adopted.” Id. at 17.

       Amicus DNC opposed the motion on many of the same grounds as the

 other defendants. Dkt. No. 57. The DNC argued that the plaintiff lacks

 standing, that the doctrine of laches bars the plaintiff’s claims, that the

 defendants are immune from suit under the Eleventh Amendment, that

 principles of federalism and comity require abstention, and that the plaintiff

                                          11

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 11 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1172
                                                                13 of of
                                                                      461677
                                                                         PageID #:
                                      1461



 fails to state a claim upon which relief can be granted. Dkt. No. 57. It asserted

 that the plaintiff cannot establish irreparable harm and has an adequate

 remedy of law. Id. at 36.

        The defendants have filed motions to dismiss the case. The WEC and its

 members seek dismissal for failure to state a claim under Federal Rule of Civil

 Procedure 12(b)(6). Dkt. No. 53. Defendant Evers seeks dismissal for lack of

 subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1), failure to plead fraud

 with particularity under Fed. R. Civ. P. 9(b) and failure to state a claim under

 Fed. R. Civ. P. 12(b)(6).

        The Wisconsin State Conference of the NAACP and three of its members

 (Dorothy Harrell, Wendell J. Harris, Jr. and Earnestine Moss) sought leave to

 file an amicus brief on the question of whether the court should dismiss the

 case. Dkt. No. 56. The court granted that motion. Dkt. No. 69.

 III.   Procedural Posture

        From the outset, the plaintiff has sought to have the claims in the

 complaint resolved through a motion for injunctive relief under Fed. R. Civ. P.

 65. The relief he requests in the second iteration of his motion for injunctive

 relief is the same relief he requests in the lawsuit itself. As defendant Evers

 points out in his motion to dismiss, the plaintiff’s December 6, 2020 motion for

 an evidentiary hearing (which the court has denied) “makes clear that what

 [the plaintiff] seeks—without any discovery or basic adversarial development of

 evidence—is a trial and final adjudication on the merits.” Dkt. No. 51 at 2.




                                         12

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 12 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1173
                                                                14 of of
                                                                      461677
                                                                         PageID #:
                                      1462



       Evers points to Fed. R. Civ. P. 12(i), which states that “[i]f a party so

 moves, any defense listed in Rule 12(b)(1)-(7)—whether made in a pleading or

 by motion—and a motion under Rule 12(c) must be heard and decided before

 trial unless the court orders a deferral until trial.” Because Evers has raised

 defenses under Rule 12(b)(1) and (b)(6), and because in asking for a hearing the

 plaintiff sought what would have been a trial on the merits of the causes of

 action raised in the complaint, the court must resolve the defenses before

 moving to the merits.

       As the court stated in the hearing on December 8, that requirement is

 more than a procedural nicety. The defendants and the amici have raised

 questions about this federal court’s authority to decide the claims alleged in

 the amended complaint. If this court does not have jurisdiction to hear and

 decide those claims, any decision it might make regarding the merits of the

 claims would be invalid. For that reason, the court considers the motions to

 dismiss before considering the plaintiff’s request for injunctive relief.

 IV.   The Motions to Dismiss

       A.     Legal Standards

              1.    Rule 12(b)(1)—Lack of Subject Matter Jurisdiction

       In evaluating a motion to dismiss for lack of subject matter jurisdiction

 under Fed. R. Civ. P. 12(b)(1), “the court must first determine whether a factual

 or facial challenge has been raised.” Silha v. ACT, Inc., 807 F.3d 169, 173 (7th

 Cir. 2015) (citing Apex Dig., Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443

 (7th Cir. 2009). A factual challenge alleges that even if the pleadings are

                                          13

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 13 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1174
                                                                15 of of
                                                                      461677
                                                                         PageID #:
                                      1463



 sufficient, no subject matter jurisdiction exists. A facial challenge alleges that

 the complaint is deficient—that the plaintiff has not sufficiently alleged subject

 matter jurisdiction. Id. The difference matters—a court reviewing a factual

 challenge “may look beyond the pleadings and view any evidence submitted to

 determine if subject matter exists,” while a court reviewing a facial challenge

 “must accept all well-pleaded factual allegations as true and draw all

 reasonable inferences in favor of the plaintiff.” Id.

              2.    Rule 12(b)(6)—Failure to State a Claim

       A motion to dismiss for failure to state a claim under Rule 12(b)(6)

 challenges the legal sufficiency of the complaint. A complaint must include “a

 short and plain statement of the claim showing that the pleader is entitled to

 relief.” Fed. R. Civ. P. 8(a)(2). The complaint must contain enough facts,

 accepted as true, to “state a claim for relief that is plausible on its face.”

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

 plaintiff pleads factual content that allows a court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.” Id. (citing

 Twombly, 550 U.S. at 556). “[T]he plausibility determination is a context-

 specific task that requires the reviewing court to draw on its judicial experience

 and common sense.” W. Bend Mut. Ins. Co. v. Schumacher, 844 F.3d 670, 676

 (7th Cir. 2016).




                                          14

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 14 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1175
                                                                16 of of
                                                                      461677
                                                                         PageID #:
                                      1464



              3.    42 U.S.C. §1983

       To state a claim for a civil rights violation under 42 U.S.C. §1983, a

 plaintiff must allege that someone deprived him of a right secured by the

 Constitution or the laws of the United States and that whoever deprived him of

 that right was acting under the color of state law. D.S. v. E. Porter Cty. Sch.

 Corp., 799 F.3d 793, 798 (7th Cir. 2015) (citing Buchanan–Moore v. Cty. of

 Milwaukee, 570 F.3d 824, 827 (7th Cir. 2009)).

       B.     Subject Matter Jurisdiction

       “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian

 Life Ins. Co. of America, 511 U.S. 375, 377 (1994). Subject matter jurisdiction

 has to do with “the courts’ statutory or constitutional power to adjudicate the

 case.” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 89 (1998)

 (emphasis in the original). “Article III, §2, of the Constitution extends the

 ‘judicial Power’ of the United States only to ‘Cases’ and ‘Controversies.’” Id. at

 102. The defendants raise a factual challenge to the court’s subject matter

 jurisdiction, arguing that regardless of the pleadings, subject matter

 jurisdiction does not exist. The court may look outside the four corners of the

 complaint in considering that challenge.

              1.    Standing

       Article III standing is an “essential component of Article III's case-or-

 controversy requirement,” and therefore a “threshold jurisdictional question.”

 Apex Dig., Inc., 572 F.3d at 443 (citing Lujan v. Defenders of Wildlife, 504 U.S.

 555, 560 (1992)). “[N]o principle is more fundamental to the judiciary’s proper

                                         15

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 15 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1176
                                                                17 of of
                                                                      461677
                                                                         PageID #:
                                      1465



 role in our system of government than the constitutional limitation of federal-

 court jurisdiction to actual cases or controversies.” Raines v. Byrd, 521 U.S.

 811, 818 (1997). “Standing to sue is part of the common understanding of what

 it takes to make a justiciable case.” Id. “Standing is an element of subject-

 matter jurisdiction in a federal civil action . . . .” Moore v. Wells Fargo Bank,

 N.A., 908 F.3d 1050, 1057 (7th Cir. 2018).

       The “irreducible constitutional minimum of standing contains three
       requirements. Lujan v. Defenders of Wildlife, [504 U.S. 555], at 560
       [1992)]. First and foremost, there must be (and ultimately proved)
       an “injury in fact”—a harm suffered by the plaintiff that is “concrete”
       and “actual or imminent, not ‘conjectural’ or ‘hypothetical.’”
       Whitmore v. Arkansas, [495 U.S. 149], at 149 [1990] (quoting Los
       Angeles v. Lyons, 461 U.S. 95, 101-102 . . . (1983)). Second, there
       must be causation—a fairly traceable connection between the
       plaintiff’s injury and the complained-of conduct of the defendant.
       Simon v. Eastern Ky. Welfare Rights Organization, 426 U.S. 26, 41-
       42 . . . (1976). And third, there must be redressability—a likelihood
       that the requested relief will redress the alleged injury. Id., at 45-46
       . . .; see also Warth v. Seldin, 422 U.S. 490, 505 . . . (1975). This
       triad of injury in fact, causation, and redressability constitutes the
       core of Article III’s case-or-controversy requirement, and the party
       invoking federal jurisdiction bears the burden of establishing its
       existence. See FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 . . . (1990).

 Steel Co., 523 U.S. at 102-104.

       Regarding the “injury in fact” leg of the triad, the injury must be

 “particularized,” such that it “affect[s] the plaintiff in a personal and individual

 way.” Spokeo, Inc. v. Robins, ___ U.S. ___, 136 S. Ct. 1540, 1548 (2016)

 (citations omitted). The injury also must be “concrete”—it must be “real,” not

 “abstract.” Id. A plaintiff cannot show a particularized and concrete injury by

 showing “that he has merely a general interest common to all members of the

 public.” Ex parte Levitt, 302 U.S. 633, 634 (1937). A plaintiff may not use a

                                          16

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 16 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1177
                                                                18 of of
                                                                      461677
                                                                         PageID #:
                                      1466



 “federal court as a forum in which to air his generalized grievances about the

 conduct of government . . . .” United States v. Richardson, 418 U.S. 166, 174

 (1974) (quoting Flast v. Cohen, 392 U.S. 83, 106 (1942)).

       As for the redressability leg of the triad, “[r]elief that does not remedy the

 injury suffered cannot bootstrap a plaintiff into federal court; that is the very

 essence of the redressability requirement.” Steel Co., 523 U.S. at 107. The

 plaintiff must show that it is “likely,” not merely “speculative,” that the injury

 the plaintiff alleges will be “redressed by a favorable decision.” Lujan, 504 U.S.

 at 561 (quoting Simon, 426 U.S. at 38).

       In addition to the Article III case-or-controversy requirement, there is a

 prudential limitation in Fed. R. Civ. P. 17(a), requiring that “[e]very action must

 be prosecuted in the name of the real party in interest,” Fed. R. Civ. P. 17(a),

 and “requir[ing] that the complaint be brought in the name of the party to

 whom that claim ‘belongs’ or the party who ‘according to the governing

 substantive law, is entitled to enforce the right.’” Rawoof v. Texor Petroleum

 Co., Inc., 521 F.3d 750, 756 (7th Cir. 2008) (quoting Oscar Gruss & Son, Inc.

 v. Hollander, 337 F.3d 186, 193 (2d Cir. 2003)); see also RK Co. v. See, 622

 F.3d 846, 850 (7th Cir. 2010) (“the real party in interest rule is only concerned

 with whether an action can be maintained in the plaintiff's name,” and is

 “similar to, but distinct from, constitutional ... standing”). The real party in

 interest is “the one who by the substantive law, possesses the right sought to

 be enforced, and not necessarily the person who will ultimately benefit from the

 recovery.” Act II Jewelry, LLC v. Wooten, 301 F. Supp. 3d 905, 910-911 (N.D.

                                          17

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 17 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1178
                                                                19 of of
                                                                      461677
                                                                         PageID #:
                                      1467



 Ill. 2018) (quoting Checkers, Simon & Rosner v. Lurie Corp., 864 F.2d 1338,

 1343 (7th Cir. 1988) (internal citations omitted)). The purpose of the rule is to

 “protect the defendant against a subsequent action by the party actually

 entitled to recover.” RK Co., 622 F.3d at 850 (citing Fed. R. Civ. P. 17(a)

 advisory committee note (2009)).

       The amended complaint alleges that the plaintiff has standing “as a voter

 and as a candidate for the office of Elector under Wis. Stat. §§ 5.10, et seq

 (election procedures for Wisconsin electors).” Dkt. No. 9 at 8. The defendants

 argue that the plaintiff lacks standing in either capacity. Dkt. No. 43 at 4-5;

 Dkt. No. 59 at 8-9.

                    a.    Standing as a voter

       The amended complaint does not assert that the plaintiff voted in the

 2020 general Presidential election in Wisconsin. It says that he is a registered

 voter, but it does not affirmatively state that he voted in the election the results

 of which he asks the court to decertify. His counsel asserts in the brief in

 opposition to the defendants’ motion to dismiss—filed eight days after the

 original complaint and five days after the amended complaint—that the plaintiff

 “voted for President Trump in the 2020 General Election.” Dkt. No. 72 at 17.

 For the first time at the motion to dismiss stage, the plaintiff provided his own

 declaration, in which he attests that he voted for President Donald J. Trump in

 the November 3, 2020 election. Dkt. No. 72-1.

       The plaintiff claims that the defendants failed to comply “with the

 requirements of the Wisconsin Election Code and thereby diluted the lawful

                                         18

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 18 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1179
                                                                20 of of
                                                                      461677
                                                                         PageID #:
                                      1468



 ballots of the Plaintiff and of other Wisconsin voters and electors in violation of

 the United States Constitution guarantee of Equal Protection.” Dkt. No. 9 at

 ¶116. He alleges that the defendants enacted regulations or issued guidance

 that, in intent and effect, favored Democratic absentee voters over Republican

 voters, and that these regulations and this guidance enable and facilitated

 voter fraud. Id. The plaintiff also asserts that he has a right to have his vote

 count and claims that a voter is injured if “the important of his vote is

 nullified.” Id. at ¶127.

       Several lower courts have addressed the plaintiff’s theory that a single

 voter has standing to sue as a result of his vote being diluted by the possibility

 of unlawful or invalid ballots being counted. The district court for the Middle

 District of North Carolina catalogued a few of those decisions, all finding that

 the harm was too speculative and generalized—not sufficiently “concrete”—to

 bestow standing. These courts concluded that the vote dilution argument fell

 into the “generalized grievance” category. In Moore v. Circosta, the court wrote:

       Indeed, lower courts which have addressed standing in vote dilution
       cases arising out of the possibility of unlawful or invalid ballots
       being counted, as Plaintiffs have argued here, have said that this
       harm is unduly speculative and impermissibly generalized because
       all voters in a state are affected, rather than a small group of voters.
       See, e.g., Donald Trump for President, Inc. v. Cegavske, Case No.
       2:20-CV-1445 JCM (VCF), __ F. Supp. 3d __, __, 2020 WL 5626974,
       at *4 (D. Nev. Sept. 18, 2020) (“As with other generally available
       grievances about the government, plaintiffs seek relief on behalf of
       their member voters that no more tangibly benefits them than it does
       the public at large.”) (internal quotations and modifications omitted);
       Martel v. Condos, Case No. 5:20-cv-131, ___ F. Supp. 3d ___, ___,
       2020 WL 5755289, at *4 (D. Vt. Sept. 16, 2020) (“If every voter
       suffers the same incremental dilution of the franchise caused by
       some third-party’s fraudulent vote, then these voters have
       experienced a generalized injury.”); Paher v. Cegavske, 457 F. Supp.
                                         19

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 19 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1180
                                                                21 of of
                                                                      461677
                                                                         PageID #:
                                      1469



       3d 919, 926-27 (D. Nev. 2020) (“Plaintiffs’ purported injury of having
       their votes diluted due to ostensible election fraud may be
       conceivably raised by any Nevada voter.”); Am. Civil Rights Union v.
       Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D. Tex. 2015) (“[T]he
       risk of vote dilution [is] speculative and, as such, [is] more akin to a
       generalized grievance about the government than an injury in fact.”)

       Although “[i]t would over-simplify the standing analysis to conclude
       that no state-wide election law is subject to challenge simply
       because affects all voters,” Martel, __ F. Supp.3d at __, 2020 WL
       5755289, at *4, the notion that a single person’s vote will be less
       valuable as a result of unlawful or invalid ballots being cast is not a
       concrete and particularized injury necessary for Article III standing.
       Compared to a claim of gerrymandering, in which the injury is
       specific to a group of voters based on their racial identity or the
       district in which they live, all voters in North Carolina, not just
       Individual Plaintiffs, would suffer the injury Individual Plaintiffs
       allege. This court finds this injury to generalized to give rise to a
       claim of vote dilution . . . .

 Moore v. Circosta, Nos. 1:20CV911, 1:20CV912, 2020 WL 6063332, at *14,

       The court agrees. The plaintiff’s alleged injuries are injuries that any

 Wisconsin voter suffers if the Wisconsin election process were, as the plaintiff

 alleges, “so riddled with fraud, illegality, and statistical impossibility that this

 Court, and Wisconsin’s voters, courts, and legislators, cannot rely on, or

 certify, any numbers resulting from this election.” Dkt. No. 9 at ¶5. The

 plaintiff has not alleged that, as a voter, he has suffered a particularized,

 concrete injury sufficient to confer standing.

       The plaintiff argues that it is incorrect to say that his standing is based

 on a theory of vote dilution. Dkt. No. 72 at 19. He then proceeds to opine that

 he has shown in great detail how his vote and the votes of others who voted for

 Republican candidates was diluted. Id. at 19-20. He says the vote dilution did

 not affect all Wisconsin voters equally, asserting that it had a negative impact

                                          20

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 20 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1181
                                                                22 of of
                                                                      461677
                                                                         PageID #:
                                      1470



 on those who voted for Republican candidates and a positive impact on those

 who voted for Democratic candidates. Id. at 20. He asserts that he also has

 shown that the defendants sought to actively disenfranchise voters for

 Republican candidates. Id. These are the same arguments he made in the

 amended complaint and they still show no more than a generalized grievance

 common to any voter. Donald J. Trump carried some Wisconsin counties; the

 voters who voted for Joseph R. Biden in those counties could make the same

 complaints the plaintiff makes here.

       The plaintiff says that his interests and injury are “identical to that of

 President Trump,” and cites to Bush v. Gore, 531 U.S. 98 (2000), which he

 characterizes as holding that “then-candidate George W. Bush of Texas had

 standing to raise the equal protection rights of Florida voters that a majority of

 the Supreme Court deemed decisive.” Id. at 21 (quoting Hawkins v. Wayne

 Twp. Bd. of Marion Cty., Ind, 183 F. Supp. 2d 1099, 1103 (S.D. Ind. 2002)).

 The court is stymied by the plaintiff’s assertion that his interests and injury are

 identical to that of President Trump. As the court will explain in the next

 section, contrary to his assertions, the plaintiff is not a “candidate” in the way

 that President Trump was a candidate for office. President Trump’s interest is

 in being re-elected, while the plaintiff has said that his interest is in having his

 vote count and not be diluted. If his interest is solely in getting President

 Trump re-elected, as opposed to having his vote be counted as part of a valid

 election process, the court is aware of no constitutional provision that gives

 him the right to have his candidate of choice declared the victor.

                                          21

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 21 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1182
                                                                23 of of
                                                                      461677
                                                                         PageID #:
                                      1471



       Nor does the decision in Bush v. Gore say what the plaintiff claims it

 says. As far as the court can tell, the word “standing” does not appear in the

 majority opinion. In the Indiana decision the plaintiff cites, then-district court

 judge David Hamilton wrote: “If candidate Hawkins did not have standing to

 raise equal protection rights of voters, it would be difficult to see how then-

 candidate George W. Bush of Texas had standing to raise equal protection

 rights of Florida voters . . . in Bush v. Gore.” Hawkins, 183 F. Supp.2d at 1103.

 But the Supreme Court in Bush v. Gore never explained how candidate Bush

 had standing, and even if it had, the plaintiff is not a candidate.

       Nor has the plaintiff demonstrated redressability. He complains that his

 vote was diluted and that he wants his vote to count. But he asks the court to

 order the results of the election de-certified and then to order defendant Evers

 to certify the election for Donald J. Trump. Even if this federal court had the

 authority to order the governor of the state of Wisconsin to certify the results of

 a national presidential election for any candidate—and the plaintiff has

 presented no case, statute or constitutional provision providing the court with

 that authority—doing so would further invalidate and nullify the plaintiff’s vote.

 The plaintiff wants Donald J. Trump to be certified as the winner of the

 Wisconsin election as a result of the plaintiff’s vote. But what he asks is for

 Donald J. Trump to be certified the winner as a result of judicial fiat. That

 remedy does not redress the plaintiff’s alleged injury. Even the plaintiff

 concedes in his brief in opposition to dismissal that “[d]efendant Evers can . . .

 provide partial redress in terms of the requested injunctive relief, namely, by

                                         22

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 22 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1183
                                                                24 of of
                                                                      461677
                                                                         PageID #:
                                      1472



 refusing to certify or transmit the election results, and providing access to

 voting machines, records and other ‘election materials.’” Dkt. No. 72 at 21. The

 plaintiff is wrong in that regard, as the court will explain when it discusses the

 related doctrine of mootness; the point is that even from the plaintiff’s

 perspective, the remedy he seeks will not fully redress the injury he claims.

        Circling back to Article III’s “case or controversy” requirement, the

 Supreme Court has held that “[t]he remedy must of course be limited to the

 inadequacy that produced the injury in fact that the plaintiff has established.”

 DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 (2006) (quoting Lewis v.

 Casey, 518 U.S. 343, 357 (1996)). In other words, “[a] plaintiff’s remedy must

 be tailored to redress the plaintiff’s particular injury.” Gill v. Whitford, ___ U.S.

 ___, 138 S. Ct. 1916, 1934 (2018) (citing Cuno, 547 U.S. at 353). Even if the

 plaintiff had alleged a particularized, concrete injury and even if the relief he

 seeks would redress that injury, that relief is not tailored to the alleged injury.

 As the Michigan court explained in King v. Whitmer, Case No. 20-13134 at Dkt.

 No. 62, page 25 (E.D. Mich. Dec. 7, 2020), “Plaintiffs’ alleged injury does not

 entitle them to seek their requested remedy because the harm of having one’s

 vote invalidated or diluted is not remedied by denying millions of others their

 right to vote.”

        The plaintiff’s status as a registered voter does not give him standing to

 sue.




                                          23

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 23 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1184
                                                                25 of of
                                                                      461677
                                                                         PageID #:
                                      1473



                    b.    Standing as a nominee for elector

       The amended complaint alleges that the plaintiff has standing to bring

 the suit “as a candidate for the office of Elector under Wis. Stat. §§ 5.10, et

 seq.” Dkt. No. 9 at ¶26. The amended complaint cites to “Wis. Stat. §§5.10, et

 seq,” but the court is not sure what the “et seq.”—“and what follows”—

 contributes to the plaintiff’s belief that he has standing. Wis. Stat. §5.10 is

 followed by Wis. Stat. §5.15, which concerns the “Division of municipalities

 into wards,” as well as other sections concerning polling places and voting

 machines. The court assumes the plaintiff meant to reference only Wis. Stat.

 §5.10.

       Wis. Stat. §5.10 states:

       Although the names of the electors do not appear on the ballot and
       no reference is made to them, a vote for the president and vice
       president named on the ballot is a vote for the electors of the
       candidates for whom an elector’s vote is cast. Under chs. 5 to 12, all
       references to the presidential election, the casting of votes and the
       canvassing of votes for president, or for president and vice president,
       mean votes for them through their pledged presidential electors.

       Relying on this section, the amended complaint directs the court’s

 attention to Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020).2 In Carson,


 2 The complaint also cites two Supreme Court cases: McPherson v. Blacker,
 146 U.S. 1, 27 (1892) and Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S.
 70, 76 (2000) (per curiam). Neither address the Article III standing of an elector.
 In McPherson, the Court reviewed the Michigan supreme court’s decision on
 the constitutionality of the Michigan statute governing selection of electors.
 While the parties who brought the suit in state court were nominees for
 presidential electors, the Court did not address their standing (or lack of it).
 The petitioner in Bush was the then-Republican candidate, George W. Bush,
 who was challenging the Florida supreme court’s interpretation of its election
 statutes; again, the Court did not address (and had no need to address) the
 standing of an elector to sue.
                                         24

                                                                      Exhibit N
          Case 2:20-cv-01771-PP Filed 12/09/20 Page 24 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1185
                                                                26 of of
                                                                      461677
                                                                         PageID #:
                                      1474



 two certified nominees of the Republican Party to be presidential electors sued

 the Minnesota secretary of state, challenging a consent decree that “essentially

 ma[de] the statutorily-mandated absentee ballot receipt deadline inoperative.”

 Id. at 1054. As a result of the decree, the secretary of state had directed

 election officials “to count absentee ballots received up to a week after election

 day, notwithstanding Minnesota law.” Id. The potential electors sought an

 injunction in federal court, but the district court found they lacked standing.

 Id.

       The Eighth Circuit reversed, finding that the potential electors had

 standing as candidates “because the plain text of Minnesota law treats

 prospective presidential electors as candidates.” Id. at 1057. The court found

 that candidates suffered particularized and concrete injury from an inaccurate

 vote tally. Id. at 1058.

       The plaintiff urges this court to reach the same conclusion. An Eighth

 Circuit decision is not binding on this court, but the question is whether the

 reasoning in that decision is persuasive. A member of the panel in Carson

 dissented from the majority opinion and expressed doubt about the potential

 electors’ standing. Circuit Judge Jane Kelley wrote:

       . . . I am not convinced the Electors have Article III standing to assert
       claims under the Electors Clause. Although Minnesota law at times
       refers to them as “candidates,” see, e.g., Minn. Stat. § 204B.03
       (2020), the Electors are not candidates for public office as that term
       is commonly understood. Whether they ultimately assume the office
       of elector depends entirely on the outcome of the state popular vote
       for president. Id. § 208.04 subdiv. 1 (“[A] vote cast for the party
       candidates for president and vice president shall be deemed a vote



                                          25

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 25 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1186
                                                                27 of of
                                                                      461677
                                                                         PageID #:
                                      1475



       for that party’s electors.”) They are not presented to and chosen by
       the voting public for their office, but instead automatically assume
       that office based on the public’s selection of entirely different
       individuals. But even if we nonetheless assume the Electors should
       be treated like traditional political candidates for standing purposes,
       I question whether these particular candidates have demonstrated
       the “concrete and particularized” injury necessary for Article III
       standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 . . . (1992).
       To the contrary, their claimed injury—a potentially “inaccurate vote
       tally” . . .—appears to be “precisely the kind of undifferentiated,
       generalized grievance about the conduct of government: that the
       Supreme Court has long considered inadequate for standing. Lance
       v. Coffman, 549 U.S. 437, 442 . . . (2007) (examining standing in the
       context of a claim under the Elections Clause). Because the Electors,
       should they in fact assume that office, must swear an oath to mark
       their Electoral College ballots for the presidential candidate who won
       the popular vote, Minn. Stat. § 208.43 (2015), it is difficult to discern
       how they have more of a “particularized stake,” Lance, 549 U.S. at
       442 . . . , in Minnesota conducting fair and transparent elections
       than do the rest of the state’s voters.

 Id. at 1063.

       Judge Kelly’s reasoning is the more persuasive. Under Wisconsin law, a

 vote for the candidates of president and vice president is a vote for the electors

 of those candidates. Wis. Stat. § 5.65(3)(a). When the electors meet, they must

 vote for the candidates of the party that nominated the electors. Wis. Stat.

 §7.75(2). Like Minnesota electors, Wisconsin electors may be referred to as

 “candidates” by statute but they are not traditional political candidates

 presented to and chosen by the voting public. Their interest in seeing that

 every valid vote is correctly counted and that no vote is diluted is no different

 than that of an ordinary voter. And the court has concluded, as did Judge

 Kelly, that the plaintiff’s status as a voter does not give him standing.

       The amended complaint does not mention the Elections Clause or the

 Electors Clause of the Constitution in relation to standing. In his brief in
                                          26

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 26 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1187
                                                                28 of of
                                                                      461677
                                                                         PageID #:
                                      1476



 opposition to the motions to dismiss, the plaintiff alleges that he has standing

 under “Electors and Elections Clause.” Dkt. No. 72 at 17. He asserts that the

 Eighth Circuit found in Carson that electors had “both Article III and

 Prudential standing under the Electors and Elections Clauses.” Id. The plaintiff

 reads Carson differently than does this court. The Carson majority did not

 mention the Electors or Elections Clause in its discussion of Article III

 standing. The entire discussion of Article III standing was based on Minnesota

 law. See Carson, 978 F.3d at 1-57-1058. In its discussion of prudential

 standing, the Carson majority stated that “[a]lthough the Minnesota Legislature

 may have been harmed by the Secretary’s usurpation of its constitutional right

 under the Elector Clause, the Electors have been as well.” Id. at 1058-59.

       This court has found that the plaintiff does not have Article III standing,

 but even if had not, it disagrees that the Elector Clause3 provides prudential

 standing to electors. Article II, Section 1, Clause 2 of the Constitution—known

 as the “Elector Clause”—states that “[e]ach State shall appoint, in such Manner

 as the Legislature thereof may direct, a Number of Electors, equal to the whole

 Number of Senators and Representatives to which the State may be entitled in

 the Congress: but no Senator or Representative, or Person holding an Office of


 3 The plaintiff cites the “Elector and Elections Clause” or “Clauses” in the same
 breath but does not discuss the text of either. It is not clear how the plaintiff
 sees the Elections Clause—Article II, Sec. 1, cl. 3—as providing him with
 standing and the plaintiff has not developed that argument. The court notes
 only that in Lance v. Coffman, the Supreme Court found that plaintiffs whose
 only alleged injury was that the Elections Clause had not been followed did not
 have standing because they alleged “precisely the kind of undifferentiated,
 generalized grievance about the conduct of government that we have refused to
 countenance in the past.” Lance, 549 U.S. at 442.
                                         27

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 27 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1188
                                                                29 of of
                                                                      461677
                                                                         PageID #:
                                      1477



 Trust or Profit under the United States, shall be appointed an Elector.” The

 clause confers on the state the right to appoint electors and confers on the

 legislature the right to decide the way those electors will be appointed. It

 confers no right on the electors themselves. Just a few months ago, the

 Supreme Court stated as much in Chiafalo v. Washington, ___ U.S. ___, 140 S.

 Ct. 2316, 2328 (July 6, 2020), in the context of considering whether a state

 could penalize an elector for breaking his pledge and voting for someone other

 than the candidate who won his state’s popular vote:4 “Article II and the

 Twelfth Amendment give States broad powers over electors, and give electors

 themselves no rights.” The Court went on to say,

       Early in our history, States decided to tie electors to the presidential
       choices of others, whether legislatures or citizens. Except that
       legislatures no longer play a role, that practice has continued for
       more than 200 years. Among the devices States have long used are
       pledge laws, designed to impress on electors their role as agents of
       others. A State follows in the same tradition if, like [the state of]
       Washington, it chooses to sanction an elector for breaching his
       promise. Then, too, the State instructs its electors that they have no
       ground for reversing the vote of millions of its citizens. That direction
       accords with the Constitution—as well as with the trust of a Nation
       that here, We the People rule.

 Id.

       The plaintiff’s status as a nominee to be a Republican elector does not

 give him Article III or prudential standing.




 4 Wisconsin’s “pledge law”—Wis. Stat. §7.75(1)—does not impose a penalty on a
 “faithless elector.”
                                          28

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 28 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1189
                                                                30 of of
                                                                      461677
                                                                         PageID #:
                                      1478



                2.   Mootness

       Mootness “has sometimes been called ‘the doctrine of standing set in a

 time frame.’” Chi. Joe’s Tea Room, LLC v. Vill. of Broadview, 894 F.3d 807,

 812-13 (7th Cir. 2018) (quoting Friends of the Earth, Inc. v. Laidlaw Envtl.

 Services (TOC), Inc., 528 U.S. 167, 189 (2000)). A case becomes moot “‘when

 the issues presented are no longer “live” or the parties lack a legally cognizable

 interest in the outcome.’” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)

 (quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982) (per curiam)). “Mootness

 strips a federal court of subject-matter jurisdiction.” Id. at 815 (citing DJL

 Farm LLC v. EPA, 813 F.3d 1048, 1050 (7th Cir. 2016). This is because “[a]

 case that becomes moot at any point during the proceedings is ‘no longer a

 “Case” or “Controversy” for purposes of Article III.’” United States v. Sanchez-

 Gomez, __ U.S. __, 138 S. Ct. 1532, 1537 (2018) (quoting Already, LLC, 568

 U.S. at 91).

       The amended complaint states that the plaintiff brought this suit “to

 prohibit certification of the election results for the Office of President of the

 United States in the State of Wisconsin . . . .” Dkt. No. 9 at ¶27. The plaintiff

 asks the court to prohibit from occurring an event that already has occurred—

 an event that occurred the day before he filed this lawsuit and nine days before

 the court issues this order. He asks the court to enjoin defendant Evers from

 transmitting the certified election results, id. at ¶142—an event that already

 has occurred. He asks the court to order that certain votes not be counted, id.,

 when the vote counting has been over since November 29.

                                          29

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 29 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1190
                                                                31 of of
                                                                      461677
                                                                         PageID #:
                                      1479



       The plaintiff himself demonstrates the mootness problem in his brief in

 opposition to dismissal. He states that defendant Evers can provide partial

 redress for his alleged injuries “by refusing to certify or transmit the election

 results.” Dkt. No. 72 at 21. But Evers already has certified and transmitted the

 elections results—he cannot refuse to do that which he already has done.

       At the December 8 hearing, the plaintiff argued that there remains a live

 controversy because the electors have not yet voted and will not do so until

 Monday, December 14, 2020. Dkt. No. 70. This argument ignores the fact that

 several of the events that dictate which slate of nominees are certified to vote

 already have taken place and had taken place at the time the plaintiff filed his

 complaint. The votes have been counted. In two counties, they’ve been counted

 twice. The WEC chair has signed the canvass and certified electors for

 Biden/Harris. The governor has signed the Certificate of Ascertainment and the

 National Archive has that certificate.

       In his brief in opposition to dismissal, the plaintiff points to this court’s

 own order earlier in this case, determining that the plaintiff had not

 demonstrated why the December 8, 2020 “safe harbor” deadline under 3 U.S.C.

 §5 was the date by which the plaintiff needed the court to issue a decision to

 preserve his rights. Dkt. No. 72 at 25 (citing Dkt. No. 29 at 7). The court noted

 in that order that the plaintiff’s brief in opposition to a motion to reassign

 another case erroneously referred to December 8 as the date that the College of

 Electors was scheduled to meet. Dkt. No. 29 at 7. The court pointed out that

 that was incorrect, and that December 8 was the deadline by which the state

                                          30

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 30 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1191
                                                                32 of of
                                                                      461677
                                                                         PageID #:
                                      1480



 would have to make its final determination of any election dispute in order to

 avoid congressional challenge. Id. The court then said, “Because the electors do

 not meet and vote until December 14, 2020, the court will impose a less

 truncated briefing schedule than the one the plaintiff proposes . . . .” Dkt. No.

 29.

       The plaintiff says that “[i]mplicit in this Court’s determination” is the

 assumption that “this Court can still grant some or perhaps all of the relief

 requested and this Plaintiff’s claims are not moot.” Dkt. No. 72 at 25. The

 plaintiff reads more into the court’s language than the court intended. In the

 plaintiff’s earliest pleadings—the first motion for injunctive relief, the

 “corrected” motion for injunctive relief, the “amended” motion for injunctive

 relief—the plaintiff failed to identify a date by which he needed the court to act.

 The first time he identified such a date was in his brief in opposition to a

 motion to reassign another case—and then, the reference was oblique. In his

 opposition brief, the plaintiff stated, “With the College of Electors scheduled to

 meet December 8, there could never be a clearer case of ‘justice delayed is

 justice denied.’” Dkt. No. 18 at 1. From that, the court deduced that the

 plaintiff needed the court to act by the date the College of Electors was

 scheduled to meet. But the College of Electors was not scheduled to meet

 December 8—it was (and is) scheduled to meet December 14. So the court set a

 briefing schedule that would give the defendants a chance to respond, but

 would complete briefing ahead of the event the plaintiff deemed important—the




                                          31

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 31 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1192
                                                                33 of of
                                                                      461677
                                                                         PageID #:
                                      1481



 electoral meeting and vote. That was not a decision by this court—implicit or

 explicit—on the mootness of the plaintiff’s claims.

       The plaintiff also asserts that the “cutoff for election-related challenges,

 at least in the Seventh Circuit, appears to be the date that the electors meet,

 rather than the date of certification.” Dkt. No. 72 at 24. He cites Swaffer v.

 Deininger, No. 08-CV-208, 2008 WL 5246167 (E.D. Wis. Dec. 17, 2008).

 Swaffer is not a Seventh Circuit case, and the court is not aware of a Seventh

 Circuit case that establishes a “cutoff for election-related challenges.” And the

 plaintiff seems to have made up the “quote” in his brief that purports to be

 from Swaffer. The plaintiff asserts that these words appear on page 4 of the

 Swaffer decision: “even though the election has passed, the meeting of electors

 obviously has not, so plaintiff’s claim here is hardly moot.” Dkt. No. 72 at 24-

 25. The court has read page 4 of Swaffer—a decision by this court’s colleague,

 Judge J.P. Stadtmueller—three times and cannot find these words. In fact,

 Swaffer did not involve a challenge to a presidential election and it did not

 involve electors. Mr. Swaffer sought to challenge a Wisconsin statute requiring

 individuals or groups promoting or opposing a referendum to file a registration

 statement and take other actions. Swaffer, 2008 WL 5246167, at *1. The

 defendants argued that the election (in which the plaintiff had taken steps to

 oppose a referendum on whether to allow liquor sales in the Town of

 Whitewater) was over and that Swaffer’s claims thus were moot. Id. at 2. Judge

 Stadtmueller disagreed, finding that because Swaffer alleged that he intended




                                         32

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 32 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1193
                                                                34 of of
                                                                      461677
                                                                         PageID #:
                                      1482



 to violate the statutes at issue in the future, a credible threat of prosecution

 remained. Id. at 3.

       Some of the relief the plaintiff requests may not be moot. For example, he

 asks for an immediate order seizing voting machines, ballots and other

 materials relating to the physical mechanisms of voting. And there remain five

 days until the electors vote—as the events of this year have shown, anything

 can happen. But most of the relief the plaintiff seeks is beyond this court’s

 ability to redress absent the mythical time machine.

              3.    Conclusion

       The plaintiff does not have Article III standing to sue in federal court for

 the relief he seeks.

       C.     Other Arguments

       Standing is the sine qua non of subject matter jurisdiction. Absent

 standing, the court does not have jurisdiction to consider the plaintiff’s claims

 on the merits. Arguably, it has no jurisdiction to consider the other bases the

 defendants and amici assert for why the court should dismiss the case. At the

 risk of producing dicta (and spilling even more ink on a topic that has received

 an ocean’s worth by now), the court will briefly address some of the other bases

 for the sake of completeness.

              1.    Eleventh Amendment Immunity

       The defendants argue that the plaintiff’s claims are barred by the

 Eleventh Amendment. Dkt. No. 59 at 15; Dkt. No. 54 at 10. The Eleventh

 Amendment “bars most claims in federal court against a state that does not

                                         33

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 33 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1194
                                                                35 of of
                                                                      461677
                                                                         PageID #:
                                      1483



 consent to suit.” Carmody v. Bd. of Trs. of Univ. of Ill., 893 F.3d 397, 403 (7th

 Cir. 2018) (citations omitted). States are immune from suit in federal court

 “unless the State consents to the suit or Congress has abrogated their

 immunity.” Tucker v. Williams, 682 F.3d 654, 658 (7th Cir. 2012) (citing

 Seminole Tribe v. Florida, 517 U.S. 44 (1996)). This includes suits brought in

 federal court against nonconsenting states by their own citizens. See, e.g.,

 Edelman v. Jordan, 415 U.S. 651, 663 (1974); Hans v. Louisiana, 134 U.S. 1,

 15 (1890) (“Can we suppose that, when the eleventh amendment was adopted,

 it was understood to be left open for citizens of a state to sue their own state in

 the federal courts, while the idea of suits by citizens of other states, or of

 foreign states, was indignantly repelled?”).

       The plaintiff has sued the Governor of Wisconsin, Tony Evers, in his

 official capacity; the Wisconsin Elections Commission and each member of the

 WEC in his or her official capacity. Before going too much further down the

 Eleventh Amendment road, the court notes that the vehicle for the plaintiff to

 bring his constitutional claims—his claims under the Elector Clause, the

 Elections Clause, the Equal Protection Clause and the Due Process Clause—is

 42 U.S.C. §1983. Section 1983 prohibits a “person” acting under color of state

 law from violating another’s civil rights. The Wisconsin Elections Commission

 is not a “person.” It is an arm of the state of Wisconsin, Wis. Stat. §5.05, and

 “states are not suable ‘persons’ under 42 U.S.C. § 1983.” Phillips v. Baxter, 768

 F. App’x 555, 559-560 (7th Cir. 2019) (citing Sebesta v. Davis, 878 F.3d 226,

 231 (7th Cir. 2017)). See also, Will v. Mich. Dept. of State Police, 491 U.S. 58,

                                          34

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 34 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1195
                                                                36 of of
                                                                      461677
                                                                         PageID #:
                                      1484



 64 (1989) (“a State is not a person within the meaning of § 1983”). “Section

 1983 provides a federal forum to remedy many deprivations of civil liberties,

 but it does not provide a federal forum for litigants who seek a remedy against

 a State for alleged deprivations of civil liberties.” Will, 491 U.S. at 66. The WEC

 is not the proper defendant for the plaintiff’s constitutional claims.

       The plaintiff faces the same problem with his claims against the

 individual defendants, all of whom are state officials whom he sues in their

 official capacities.5

       Obviously, state officials literally are persons. But a suit against a
       state official in his or her official capacity is not a suit against the
       official but rather is a suit against the official’s office. Brandon v.
       Holt, 469 U.S. 464, 471 . . . (1985). As such, it is no different from a
       suit against the State itself. See, e.g., Kentucky v. Graham, 473 U.S.
       159, 165-66 . . . (1985); Monell [v. New York City Dept. of Social
       Services, 436 U.S. 658], at 690 [(1978)].

 Id. at 71. Arguably, none of the defendants are subject to suit under 42 U.S.C.

 §1983, which means that even if the plaintiff had standing, the court would

 have to dismiss Counts I, II and III of the amended complaint.

       Circling back to the defendants’ Eleventh Amendment argument, “The

 Eleventh Amendment extends to state agencies and departments and, subject

 to the Ex Parte Young doctrine, to state employees acting in their official

 capacities.” Nelson v. LaCrosse Cty. Dist. Atty. (State of Wis.), 301 F.3d 820,




 5Had the plaintiff sued the individual defendants in their personal capacities,
 he could have sought relief against them under 42 U.S.C. §1983, assuming he
 had standing.
                                         35

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 35 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1196
                                                                37 of of
                                                                      461677
                                                                         PageID #:
                                      1485



 827 n.7 (7th Cir. 2002) (citing Pennhurst State Sch. & Hosp. v. Halderman,

 465 U.S. 89, 123-24 (1984)).

       There are three exceptions to Eleventh Amendment immunity: (1)

 congressional abrogation, Nuñez v. Ind. Dep’t of Child Servs., 817 F.3d 1042,

 1044 (7th Cir. 2016) (citing Alden v. Maine, 527 U.S. 706, 754-55 (1999); (2) “a

 state’s waiver of immunity and consent to suit,” id. (citing College Savings

 Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 675

 (1999)); and (3) a suit “against state officials seeking only prospective equitable

 relief,” id. (citing Ex parte Young, 209 U.S. 123, 159-60 (1908)). None of the

 exceptions apply here.

       Congress did not abrogate the sovereign immunity of the states when it

 enacted 42 U.S.C. §1983. Will, 491 U.S. at 66. Wisconsin has not waived its

 immunity from civil actions under §1983. See Shelton v. Wis. Dep’t of Corr.,

 376 Wis. 2d 525, *2 (Table) (Ct. App. 2017) (citing Boldt v. State, 101 Wis. 2d

 566, 584-85 (1981)). And the Ex parte Young doctrine does not apply when a

 plaintiff asserts a claim—regardless of the relief requested—against a state

 official based on state law. Pennhurst, 465 U.S. at 106 (“A federal court’s grant

 of relief against state officials on the basis of state law, whether prospective or

 retroactive, does not vindicate the supreme authority of federal law. On the

 contrary, it is difficult to think of a greater intrusion on state sovereignty than

 when a federal court instructs state officials on how to conform their conduct

 to state law.”). “In determining whether the Ex parte Young doctrine avoids an

 Eleventh Amendment bar to suit, a court need only conduct a ‘straightforward

                                          36

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 36 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1197
                                                                38 of of
                                                                      461677
                                                                         PageID #:
                                      1486



 inquiry’ into whether the complaint alleges an ongoing violation of federal law

 and seeks relief properly characterized as prospective.” Verizon Md., Inc. v.

 Pub. Serv. Comm’n of Md., 535 U.S. 635, 636 (2002) (quoting Idaho v. Coeur

 d’Alene Tribe of Idaho, 521 U.S. 261, 296 (1997); McDonough Assocs., Inc. v.

 Grunloh, 722 F.3d 1043, 1051 (7th Cir. 2013)).

       Count IV of the amended complaint alleges “[w]ide-spread ballot fraud,” a

 state-law claim. The Eleventh Amendment bars that claim against the

 defendants in their official capacities. The Eleventh Amendment also bars the

 plaintiff’s federal claims to the extent that the plaintiff seeks retrospective

 relief. The Supreme Court has refused to extend the Ex Parte Young doctrine to

 claims for retrospective relief. Green v. Mansour, 474 U.S. 64, 68 (1985) (citing

 Pennhurst, 465 U.S. at 102-103). The amended complaint seeks (1) a

 “temporary restraining order instructing Defendants to de-certify the results of

 the General Election for the Office of President,” dkt. no. 9 at 47; (2) “an order

 instructing the Defendants to certify the results of the General Election for

 Office of the President in favor of President Donald Trump,” id.; (3) “a

 temporary restraining order” prohibiting the tabulation of unlawful votes,” id.;

 (4) an order preserving voting equipment and data, id.; (5) “the elimination of

 the mail ballots from counting in the 2020 election,” id. at 48; (6) the

 disqualification of Wisconsin’s electors from participating in the 2020 election,

 id.; and (7) an order directing Wisconsin’s electors to vote for President Donald

 Trump, id. As the court already has noted, with the possible exception of the




                                          37

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 37 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1198
                                                                39 of of
                                                                      461677
                                                                         PageID #:
                                      1487



 request for an order preserving voting equipment and data, the relief the

 plaintiff requests is retrospective.

       The plaintiff disagrees—he characterizes the certification of the election

 results as “ongoing violations of federal law . . . ongoing violations of the

 Electors and Elections Clauses, the Equal Protection and Due Process Clauses,

 as well as likely violations of federal law including the Voting Rights Act and

 the Help America Vote Act.” Dkt. No. 72 at 25-26. The plaintiff has not brought

 claims under the latter two statutes and saying that a completed event is an

 ongoing violation doesn’t make it so.

              2.    Exclusive Remedy/Exhaustion/Abstention

       Defendant Evers moves to dismiss because Wisconsin provides a remedy

 to address irregularities or defects during the voting or canvassing process:

 Wis. Stat. §9.01(11). Four days ago, the Wisconsin Supreme Court held that

 §9.01(6) requires that a party aggrieved after a recount must appeal by filing

 suit in circuit court. Trump v. Evers, No. 2020AP1971-OA, Order at *2 (Wis.

 Dec. 3, 2020). In a concurring opinion, Justice Hagedorn noted that Wis. Stat.

 §9.01(11) provides that §9.01 is the exclusive judicial remedy for an aggrieved

 candidate. Defendant Evers points out that President Trump has lawsuits

 pending in state circuit courts and argues that those cases raise many of the

 claims the plaintiff raises here. Dkt. No. 59 at 11. He argues that the process

 detailed in Wis. Stat. §9.01 is designed to allow an aggrieved candidate to

 resolve election challenges promptly, and that for this court to permit the




                                          38

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 38 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1199
                                                                40 of of
                                                                      461677
                                                                         PageID #:
                                      1488



 plaintiff to circumvent that process “would eviscerate Wisconsin’s careful

 process for properly and quickly deciding election challenges.” Id. at 11-12.

       Of course, the plaintiff has no redress under Wis. Stat. §9.01, because he

 is not a “candidate” in the sense of that statute. But Evers argues that there

 was a form of state-law relief available to the plaintiff. He asserts that the

 plaintiff should have filed a complaint with the Wisconsin Elections

 Commission under Wis. Stat. §5.06. Dkt. No. 59 at 13. That statute allows a

 voter dissatisfied with the Wisconsin election process to file a written, sworn

 complaint with the elections board. Wis. Stat. §5.06(1). The statute states that

 no voter may “commence an action or proceeding to test the validity of any

 decision, action or failure to act on the part of any election official” without first

 filing a complaint under §5.06(1). Wis. Stat. §5.06(2). Evers points out that the

 plaintiff has not demonstrated that he followed this procedure and thus that

 the plaintiff did not exhaust his remedies before coming to federal court. Dkt.

 No. 59 at 14.

       The plaintiff does not directly respond to the exhaustion argument. He

 simply maintains that he has a right to bring his constitutional claims in

 federal court, argues that there is no evidence that the statute Evers cites is an

 exhaustion requirement and asserts that the court has federal question

 jurisdiction under 28 U.S.C. §1331 and supplemental jurisdiction over any

 state-law claims under 28 U.S.C. §1367.6 Dkt. No. 72 at 27-28. He neatly


 6 The court could exercise supplemental jurisdiction over state-law claims only
 if there remained federal claims to which those state-law claims related. As the
 court has noted, it likely would have been required to dismiss the federal
                                          39

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 39 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1200
                                                                41 of of
                                                                      461677
                                                                         PageID #:
                                      1489



 sidesteps the question of why he did not follow a procedure that would have

 allowed him to direct his concerns to the entity in charge of enforcing the

 state’s election laws and in a way that likely would have brought those

 concerns to that entity’s attention long before the election results were

 certified.

        Because the court has concluded that the plaintiff does not have

 standing, and because the plaintiff has sued defendants who either are not

 suable under §1983 or are protected by Eleventh Amendment immunity, the

 court will not accept the invitations of the defendants and amici to wade into

 the waters of the various types of abstention. If this court does not have subject

 matter jurisdiction, there is no case or controversy from which it should

 abstain. The court agrees with the parties, however, that the relief the plaintiff

 requests—asking a federal judge to order a state governor to decertify the

 election results for an entire state and direct that governor to certify a different

 outcome—constitutes “an extraordinary intrusion on state sovereignty from

 which a federal court should abstain under longstanding precedent.” Dkt. No.

 57 at 28.

              3.    Laches

        The defendants argue that the equitable defense of laches requires

 dismissal, because the plaintiff “inexplicably waited until after the election,

 after the canvassing, after the recount, after the audit, after results were


 claims because the plaintiff asserted them through §1983 against state officials
 in their official capacities, which in turn would have required dismissal of any
 state claims for lack of subject matter jurisdiction.
                                          40

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 40 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1201
                                                                42 of of
                                                                      461677
                                                                         PageID #:
                                      1490



 certified, and indeed until the eve of the electoral college vote, to bring his claim

 of state law violations and widespread fraud . . . .” Dkt. No. 52 at 11. See also,

 Dkt. No 59 at 17 (“the doctrine of laches bars [the plaintiff’s] claims because he

 has unreasonably delayed bringing his claims to the detriment not only of

 Defendants, but also of the nearly 3.3 million voters in Wisconsin who voted in

 this last election under the good-faith belief that they were following the correct

 procedures to have their votes counted.”).

       The doctrine of laches “addresses delay in the pursuit of a right when a

 party must assert that right in order to benefit from it.” Hot Wax, Inc. v. Turtle

 Wax, Inc., 191 F.3d 813, 820 (7th Cir. 1999). “For laches to apply in a

 particular case, the party asserting the defense must demonstrate: (1) an

 unreasonable lack of diligence by the party against whom the defense is

 asserted and (2) prejudice arising therefrom.” Id. (citing Cannon v. Univ. of

 Health Scis./The Chicago Med. Sch., 710 F.2d 351, 359 (7th Cir. 1983)).

 “Timeliness must be judged by the knowledge of the plaintiffs as well as the

 nature of the right involved.” Jones v. v. Markiewicz-Qualkinbush, 842 F.3d

 1053, 1061 (7th Cir. 2016).

       “The obligation to seek injunctive relief in a timely manner in the election

 context is hardly a new concept.” Id. at 1060-61. In fact, the Seventh Circuit

 has held that such “claims must be brought expeditiously . . . to afford the

 district court sufficient time in advance of an election to rule without

 disruption of the electoral cycle.” Id. at 1061 (internal quotation marks and

 citations omitted).

                                          41

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 41 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1202
                                                                43 of of
                                                                      461677
                                                                         PageID #:
                                      1491



       The amended complaint asserts that the alleged problems with the

 Dominion voting machine software “have been widely reported in the press and

 have been subject to investigation.” Dkt. No. 9 at ¶12. It cites to exhibits from

 January and August of 2020. Dkt. No. 9 at 5 n.1. It cites to the WEC’s May 13,

 2020 directive to clerks that they should not reject the ballots of “indefinitely

 confined” absentee voters. Id. at ¶40. It cites an October 18, 2016

 memorandum issued by the WEC instructing clerks on how to handle absentee

 envelope certifications that did not bear the address of the witness. Id. at ¶44.

 It cites October 19, 2020 instructions by the WEC to clerks about filling in

 missing ballot information. Id. at ¶45.

       Defendant Evers points out that the plaintiff’s own allegations

 demonstrate that he has known about the Dominion voting machine issues

 since long before the election. Dkt. No. 59 at 17-18. He argues that the WEC

 guidance about which the plaintiff complains came in directives issued in

 October 2016, May 2020 and October 2020. Id. He asserts that the plaintiff has

 made no effort “to offer a justifiable explanation for why he waited until weeks

 after the election to challenge” these issues. Id. at 18. The WEC defendants

 advise the court that the issue regarding “indefinitely confined” voters was

 litigated in state court almost eight months ago. Dkt. No. 54 at 9 (citing Pet.

 For Original Action dated March 27, 2020, Supreme Court of Wisconsin, No.

 2020AP000557-OA). They assert that the plaintiff “waited to challenge widely-

 known procedures until after millions of voters cast their ballots in reliance on

 those procedures.” Id. at 6. They state that “[i]f the doctrine of laches means

                                           42

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 42 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1203
                                                                44 of of
                                                                      461677
                                                                         PageID #:
                                      1492



 anything, it is that Plaintiff here cannot overturn the results of a completed and

 certified election through preliminary relief in this late-filed case.” Id.

       The plaintiff first responds that laches is a defense and shouldn’t be

 raised on a motion to dismiss. Dkt. No. 72 at 22. He then claims that he could

 not have known the bases of any of these claims until after the election. Id. at

 22-23. He says that because Wisconsin election officials did not “announce or

 publicize their misconduct,” and because, he alleges, they “prevented

 Republican poll watchers from observing the ballot counting and handling,” it

 took him time to gather the evidence and testimony he attached to the

 amended complaint. Id. at 23. Finally, he alleges that the delay post-November

 3, 2020 is attributable to the defendants’ failure to timely complete the election

 count. Id. He insists that he filed this suit at the earliest possible moment—the

 day after the certification. Id.

       The court has determined that the plaintiff does not have standing. That

 means that the court does not have jurisdiction to assess the plaintiff’s

 credibility, and it will refrain from doing so.

              4.     Failure to state a claim upon which relief can be granted

       Both defendants asked the court to dismiss the case for failure to state a

 claim under Fed. R. Civ. P. 12(b)(6). Because the court does not have subject

 matter jurisdiction, it will not address the sufficiency of the substantive claims

 in the amended complaint.




                                          43

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 43 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1204
                                                                45 of of
                                                                      461677
                                                                         PageID #:
                                      1493



              5.     Requests for injunctive relief

       For the same reason, the court cannot address the merits of the

 plaintiff’s request for preliminary injunctive relief.

  V.   Conclusion

       This court’s authority to grant relief is confined by the limits of the

 Constitution. Granting the relief the plaintiff requests would take the

 court far outside those limits, and outside the limits of its oath to uphold

 and defendant the Constitution. The court will grant the defendants’

 motion to dismiss.

       The court GRANTS Defendant Governor Tony Evers’s Motion to

 Dismiss Plaintiff’s Amended Complaint. Dkt. No. 51.

       The court GRANTS Defendant Wisconsin Elections Commission

 and Its Members’ Motion to Dismiss. Dkt. No. 53.

       The court DENIES AS MOOT Plaintiff’s Corrected Motion for

 Declaratory, Emergency, and Permanent Injunctive Relief. Dkt. No. 6.

       The court DENIES AS MOOT Plaintiff’s Amended Motion for

 Temporary Restraining Order and Preliminary Injunction to be Considered

 in an Expedited Manner Dkt. No. 10.

       The court DISMISSES the Amended Complaint for Declaratory,

 Emergency, and Permanent Injunctive Relief. Dkt. No. 9.




                                          44

                                                                     Exhibit N
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 44 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-18
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1205
                                                                46 of of
                                                                      461677
                                                                         PageID #:
                                      1494



       The court ORDERS that this case is DISMISSED.

       Dated in Milwaukee, Wisconsin this 9th day of December, 2020.

                                     BY THE COURT:


                                     _____________________________________
                                     HON. PAMELA PEPPER
                                     Chief United States District Judge




                                       45

                                                                    Exhibit N
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 45 of 45 Document 83
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1206
                                                                1 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1495




                EXHIBIT P




                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1207
                                                                2 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1496




 IN THE UNITED STATES DISTRICT COURT, NORTHERN DISTRICT
              OF GEORGIA, ATLANTA DIVISION

 CORECO JA’QAN PEARSON,
 VIKKI TOWNSEND CONSIGLIO,
 GLORIA KAY GODWIN, JAMES
 KENNETH CARROLL, CAROLYN HALL                      CASE NO.
 FISHER, and BRIAN JAY VAN GUNDY,


       Plaintiffs.
 v.
 BRIAN KEMP, in his official capacity as
 Governor of Georgia, BRAD
 RAFFENSPERGER, in his official
 capacity as Secretary of State and Chair
 of the Georgia State Election Board,
 DAVID J. WORLEY, in his official
 capacity as a member of the Georgia
 State Election Board, REBECCA
 N.SULLIVAN, in her official capacity as
 a member of the Georgia State Election
 Board, MATTHEW MASHBURN, in his
 official capacity as a member of the
 Georgia State Election Board, and ANH
 LE, in her official capacity as a member
 of the Georgia State Election Board,
       Defendants.




         COMPLAINT FOR DECLARATORY, EMERGENCY, AND
               PERMANENT INJUNCTIVE RELIEF




                                        1

                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1208
                                                                3 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1497



                        NATURE OF THE ACTION

       This civil action brings to light a massive election fraud, multiple

 violations of Georgia laws, including O.C.G.A. §§ 21-2-30(d), 21-2-31, 21-2-

 33.1 and §21-2-522, and multiple Constitutional violations, as shown by fact

 witnesses to specific incidents, multiple expert witnesses and the sheer

 mathematical impossibilities found in the Georgia 2020 General Election.1

                                         1.

       As a civil action, the plaintiff’s burden of proof is a “preponderance of

 the evidence” to show, as the Georgia Supreme Court has made clear that, “[i]

 was not incumbent upon [Plaintiff] to show how the [] voters would have voted

 if their [absentee] ballots had been regular. [Plaintiff] only had to show that

 there were enough irregular ballots to place in doubt the result.” Mead v.

 Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (2004) (citing Howell v. Fears,

 275 Ga. 627, 571 S.E.2d 392 (2002).




 1  The same pattern of election fraud and voter fraud writ large occurred in all
 the swing states with only minor variations, see expert reports, regarding
 Michigan, Pennsylvania, Arizona and Wisconsin. (See William M. Briggs Decl.,
 attached here to as Exh. 1, Report with Attachment). Indeed, we believe that in
 Arizona at least 35,000 votes were illegally added to Mr. Biden’s vote count.

                                         2

                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1209
                                                                4 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1498



                                           2.

       The scheme and artifice to defraud was for the purpose of illegally and

 fraudulently manipulating the vote count to make certain the election of Joe

 Biden as President of the United States.

                                           3.

       The fraud was executed by many means,2 but the most fundamentally

 troubling, insidious, and egregious is the systemic adaptation of old-fashioned

 “ballot-stuffing.” It has now been amplified and rendered virtually invisible

 by computer software created and run by domestic and foreign actors for that

 very purpose. Mathematical and statistical anomalies rising to the level of

 impossibilities, as shown by affidavits of multiple witnesses, documentation,

 and expert testimony evince this scheme across the state of Georgia.

 Especially egregious conduct arose in Forsyth, Spalding, Cherokee, Hall, and

 Barrow County. This scheme and artifice to defraud affected tens of

 thousands of votes in Georgia alone and “rigged” the election in Georgia for

 Joe Biden.




 2 50 USC § 20701 requires Retention and preservation of records and papers by
 officers of elections; deposit with custodian; penalty for violation, but as will be
 shown wide pattern of misconduct with ballots show preservation of election
 records have not been kept; and Dominion logs are only voluntary, with no
 system wide preservation system.
                                          3

                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1210
                                                                5 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1499



                                         4.

       The massive fraud begins with the election software and hardware

 from Dominion Voting Systems Corporation (“Dominion”) only recently

 purchased and rushed into use by Defendants Governor Brian Kemp,

 Secretary of State Brad Raffensperger, and the Georgia Board of Elections.

 Sequoia voting machines were used in 16 states and the District of Colombia

 in 2006. Smartmatic, which has revenue of about $100 million, focuses on

 Venezuela and other markets outside the U.S. 3

       After selling Sequoia, Smartmatic's chief executive, Anthony Mugica.

 Mr. Mugica said, he hoped Smartmatic would work with Sequoia on projects

 in the U.S., though Smartmatic wouldn't take an equity stake.” Id.

                                         5.

       Smartmatic and Dominion were founded by foreign oligarchs and

 dictators to ensure computerized ballot-stuffing and vote manipulation to

 whatever level was needed to make certain Venezuelan dictator Hugo Chavez

 never lost another election. (See Redacted whistleblower affiant, attached as

 Exh. 2) Notably, Chavez “won” every election thereafter.




 3See WSJ.com, Smartmatic to Sell U.S. Unit, End Probe into Venezuelan Links, by
 Bob Davis, 12/22/2006, https://www.wsj.com/articles/SB116674617078557263
                                        4

                                                                       Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1211
                                                                6 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1500



                                         6.

       As set forth in the accompanying whistleblower affidavit, the

 Smartmatic software was designed to manipulate Venezuelan elections in

 favor of dictator Hugo Chavez:



       Smartmatic’s electoral technology was called “Sistema de Gestión
       Electoral” (the “Electoral Management System”). Smartmatic was a
       pioneer in this area of computing systems. Their system provided for
       transmission of voting data over the internet to a computerized
       central tabulating center. The voting machines themselves had a
       digital display, fingerprint recognition feature to identify the voter,
       and printed out the voter’s ballot. The voter’s thumbprint was linked
       to a computerized record of that voter’s identity. Smartmatic created
       and operated the entire system.

                                         7.

       A core requirement of the Smartmatic software design was the

 software’s ability to hide its manipulation of votes from any audit. As the

 whistleblower explains:

       Chavez was most insistent that Smartmatic design the system in a
       way that the system could change the vote of each voter without
       being detected. He wanted the software itself to function in such a
       manner that if the voter were to place their thumb print or
       fingerprint on a scanner, then the thumbprint would be tied to a
       record of the voter’s name and identity as having voted, but that voter
       would not be tracked to the changed vote. He made it clear that the
       system would have to be setup to not leave any evidence of the
       changed vote for a specific voter and that there would be no evidence
       to show and nothing to contradict that the name or the fingerprint or
       thumb print was going with a changed vote. Smartmatic agreed to
       create such a system and produced the software and hardware that


                                        5

                                                                        Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1212
                                                                7 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1501



       accomplished that result for President Chavez. (See Id., see also Exh.
       3, Aff. Cardozo, attached hereto).

                                          8.

       The design and features of the Dominion software do not permit a

 simple audit to reveal its misallocation, redistribution, or deletion of votes.

 First, the system's central accumulator does not include a protected real-time

 audit log that maintains the date and time stamps of all significant election

 events. Key components of the system utilize unprotected logs. Essentially

 this allows an unauthorized user the opportunity to arbitrarily add, modify,

 or remove log entries, causing the machine to log election events that do not

 reflect actual voting tabulations—or more specifically, do not reflect the

 actual votes of or the will of the people. (See Hursti August 2019 Declaration,

 attached hereto as Exh. 4, at pars. 45-48; and attached hereto, as Exh. 4B,

 October 2019 Declaration in Document 959-4, at p. 18, par. 28).

                                          9.

       Indeed, under the professional standards within the industry in

 auditing and forensic analysis, when a log is unprotected, and can be altered,

 it can no longer serve the purpose of an audit log. There is incontrovertible

 physical evidence that the standards of physical security of the voting

 machines and the software were breached, and machines were connected to




                                         6

                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1213
                                                                8 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1502



 the internet in violation of professional standards and state and federal laws.

 (See Id.)

                                         10.

       Moreover, lies and conduct of Fulton County election workers about a

 delay in voting at State Farm Arena and the reasons for it evince the fraud.

                                         11.

       Specifically, video from the State Farm Arena in Fulton County shows

 that on November 3rd after the polls closed, election workers falsely claimed

 a water leak required the facility to close. All poll workers and challengers

 were evacuated for several hours at about 10:00 PM. However, several

 election workers remained unsupervised and unchallenged working at the

 computers for the voting tabulation machines until after 1:00 AM.

                                         12.

       Defendants Kemp and Raffensperger rushed through the purchase of

 Dominion voting machines and software in 2019 for the 2020 Presidential

 Election4. A certificate from the Secretary of State was awarded to Dominion




       4  Georgia Governor Inks Law to Replace Voting Machines, The Atlanta
 Journal-Constitution, AJC News Now, Credit: Copyright 2019 The Associated Press,
 June 2019.     https://www.ajc.com/blog/politics/georgia-governor-inks-law-replace-
 voting-machines/xNXs0ByQAOvtXhd27kJdqO/




                                         7

                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-19
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1214
                                                                9 of 105
                                                                      of 1677
                                                                          PageID #:
                                      1503



 Voting Systems but is undated. (See attached hereto Exh. 5, copy

 Certification for Dominion Voting Systems from Secretary of State).

 Similarly a test report is signed by Michael Walker as Project Manager but is

 also undated. (See Exh. 6, Test Report for Dominion Voting Systems,

 Democracy Suite 5-4-A)

                                          13.

       Defendants Kemp and Raffensperger disregarded all the concerns that

 caused Dominion software to be rejected by the Texas Board of Elections in

 2018, namely that it was vulnerable to undetected and non-auditable

 manipulation. An industry expert, Dr. Andrew Appel, Princeton Professor of

 Computer Science and Election Security Expert has recently observed, with

 reference to Dominion Voting machines: "I figured out how to make a slightly

 different computer program that just before the polls were closed, it switches

 some votes around from one candidate to another. I wrote that computer

 program into a memory chip and now to hack a voting machine you just need

 7 minutes alone with it and a screwdriver." (Attached hereto Exh. 7, Study,

 Ballot-Marking Devices (BMDs) Cannot Assure the Will of the Voters by

 Andrew W. Appel Princeton University, Richard A. DeMillo, Georgia Tech

 Philip B. Stark, for the Univ. of California, Berkeley, December 27, 2019).5



 5Full unredacted copies of all exhibits have been filed under seal with the Court
 and Plaintiffs have simultaneously moved for a protective order.
                                          8

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 10
                                                                1215
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1504



                                        14.

        As explained and demonstrated in the accompanying redacted

  declaration of a former electronic intelligence analyst under 305th Military

  Intelligence with experience gathering SAM missile system electronic

  intelligence, the Dominion software was accessed by agents acting on behalf

  of China and Iran in order to monitor and manipulate elections, including the

  most recent US general election in 2020. This Declaration further includes a

  copy of the patent records for Dominion Systems in which Eric Coomer is

  listed as the first of the inventors of Dominion Voting Systems. (See

  Attached hereto as Exh. 8, copy of redacted witness affidavit, 17 pages,

  November 23, 2020).

                                        15.

        Expert Navid Keshavarez-Nia explains that US intelligence services

  had developed tools to infiltrate foreign voting systems including Dominion.

  He states that Dominion’s software is vulnerable to data manipulation by

  unauthorized means and permitted election data to be altered in all

  battleground states. He concludes that hundreds of thousands of votes that

  were cast for President Trump in the 2020 general election were transferred

  to former Vice-President Biden. (Exh. 26).




                                        9

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 11
                                                                1216
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1505



                                         16.

        Additionally, incontrovertible evidence Board of Elections records

  demonstrates that at least 96,600 absentee ballots were requested and

  counted but were never recorded as being returned to county election boards

  by the voter. Thus, at a minimum, 96,600 votes must be disregarded. (See

  Attached hereto, Exh. 9, R. Ramsland Aff.).

                                         17.

        The Dominion system used in Georgia erodes and undermines the

  reconciliation of the number of voters and the number of ballots cast, such

  that these figures are permitted to be unreconciled, opening the door to ballot

  stuffing and fraud. The collapse of reconciliation was seen in Georgia’s

  primary and runoff elections this year, and in the November election, where

  it was discovered during the hand audit that 3,300 votes were found on

  memory sticks that were not uploaded on election night, plus in Floyd county,

  another 2,600 absentee ballots had not been scanned. These “found votes”

  reduced Biden’s lead over Donald Trump6.




  6Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark
  Niesse and David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-
  thousands-of-georgia-votes-missing-from-initial-
  counts/ERDRNXPH3REQTM4SOINPSEP72M/
                                         10

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 12
                                                                1217
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1506



                                           18.

        Georgia’s election officials and poll workers exacerbated and helped,

  whether knowingly or unknowingly, the Dominion system carry out massive

  voter manipulation by refusing to observe statutory safeguards for absentee

  ballots. Election officials failed to verify signatures and check security

  envelopes. They barred challengers from observing the count, which also

  facilitated the fraud.

                                           19.

        Expert analysis of the actual vote set forth below demonstrates that at

  least 96,600 votes were illegally counted during the Georgia 2020 general

  election. All of the evidence and allegation herein is more than sufficient to

  place the result of the election in doubt. More evidence arrives by the day

  and discovery should be ordered immediately.

                                           20.

        Georgia law, (OCGA 21-5-552) provides for a contest of an election

  where:

        (1) Misconduct, fraud, or irregularity by any primary or election
        official or officials sufficient to change or place in doubt the result; . .
        . (3) When illegal votes have been received or legal votes rejected at
        the polls sufficient to change or place in doubt the result; (4) For any
        error in counting the votes or declaring the result of the primary or
        election, if such error would change the result; or (5) For any other
        cause which shows that another was the person legally nominated,
        elected, or eligible to compete in a run-off primary or election.


                                           11

                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 13
                                                                1218
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1507



                                           21.

           As further set forth below, all of the above grounds have been satisfied

  and compel this Court to set aside the 2020 General Election results which

  fraudulently concluded that Mr. Biden defeated President Trump by 12,670

  votes.

                                           22.

           Separately, and independently, there are sufficient Constitutional

  grounds to set aside the election results due to the Defendants’ failure to

  observe statutory requirements for the processing and counting of absentee

  ballots which led to the tabulation of more than fifty thousand illegal ballots.

                                   THE PARTIES

                                           23.

           Plaintiff Coreco Ja’Qan (“CJ”) Pearson, is a registered voter who is

  registered to vote in Columbia County, Georgia. He is a nominee of the

  Republican Party to be a Presidential Elector on behalf of the State of

  Georgia. He has standing to bring this action under Carson v. Simon, 2020

  US App Lexis 34184 (8th Cir. Oct. 29, 2020). He brings this action to set aside

  and decertify the election results for the Office of President of the United

  States that was certified by the Georgia Secretary of State on November 20,

  2020. The certified results showed a plurality of 12,670 votes in favor of

  former Vice-President Joe Biden over President Trump.

                                           12

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 14
                                                                1219
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1508



                                         24.

        Plaintiff Vikki Townsend Consiglio, is a registered voter who resides in

  Henry County, Georgia. She is a nominee of the Republican Party to be a

  Presidential Elector on behalf of the State of Georgia.

                                         25.

        Plaintiff Gloria Kay Godwin, is a registered voter who resides in Pierce

  County, Georgia. She is a nominee of the Republican Party to be a

  Presidential Elector on behalf of the State of Georgia.

                                         26.

        Plaintiff James Kenneth Carroll, is a registered voter who resides in

  Dodge County, Georgia. He is a nominee of the Republican Party to be a

  Presidential Elector on behalf of the State of Georgia.

                                         27.

        Plaintiff Carolyn Hall Fisher, is a registered voter who resides in

  Forsyth County, Georgia. She is a nominee of the Republican Party to be a

  Presidential Elector on behalf of the State of Georgia.

                                         28.

        Plaintiff Cathleen Alston Latham, is a registered voter who resides in

  Coffee County, Georgia. She is a nominee of the Republican Party to be a

  Presidential Elector on behalf of the State of Georgia.



                                        13

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 15
                                                                1220
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1509




                                         29.

        Plaintiff Brian Jay Van Gundy is registered voter in Gwinnett County,

  Georgia. He is the Assistant Secretary of the Georgia Republican Party.

                                         30.

        Defendant Governor Brian Kemp (Governor of Georgia) is named

  herein in his official capacity as Governor of the State of Georgia. On or

  about June 9, 2019, Governor Kemp bought the new Dominion Voting

  Systems for Georgia, budgeting 150 million dollars for the machines. Critics

  are quoted, “Led by Abrams, Democrats fought the legislation and pointed to

  cybersecurity experts who warned it would leave Georgia's elections

  susceptible to hacking and tampering.” And “Just this week, the Fair Fight

  voting rights group started by [Stacey] Abrams launched a television ad

  critical of the bill. In a statement Thursday, the group called it “corruption at

  its worst” and a waste of money on “hackable voting machines.”7

                                         31.

        Defendant Brad Raffensperger ("Secretary Raffensperger") is named

  herein in his official capacity as Secretary of State of the State of Georgia and




  7Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-
  Constitution, AJC News Now, Credit: Copyright 2019 The Associated Press, June
  2019
                                         14

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 16
                                                                1221
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1510



  the Chief Election Official for the State of Georgia pursuant to Georgia’s

  Election Code and O.C.G.A. § 21-2-50. Secretary Raffensperger is a state

  official subject to suit in his official capacity because his office "imbues him

  with the responsibility to enforce the [election laws]." Grizzle v. Kemp, 634

  F.3d 1314, 1319 (11th Cir. 2011). Secretary Raffensperger serves as the

  Chairperson of Georgia's State Election Board, which promulgates and

  enforces rules and regulations to (i) obtain uniformity in the practices and

  proceedings of election officials as well as legality and purity in all primaries

  and general elections, and (ii) be conducive to the fair, legal, and orderly

  conduct of primaries and general elections. See O.C.G.A. §§ 21-2-30(d), 21-2-

  31, 21-2-33.1. Secretary Raffensperger, as Georgia's chief elections officer, is

  further responsible for the administration of the state laws affecting voting,

  including the absentee voting system. See O.C.G.A. § 21-2-50(b).

                                          32.

        Defendants Rebecca N. Sullivan, David J. Worley, Matthew Mashburn,

  and Anh Le (hereinafter the "State Election Board") are members of the State

  Election Board in Georgia, responsible for "formulating, adopting, and

  promulgating such rules and regulations, consistent with law, as will be

  conducive to the fair, legal, and orderly conduct of primaries and elections."

  O.C.G.A. § 21-2-31(2). Further, the State Election Board "promulgate[s] rules

  and regulations to define uniform and nondiscriminatory standards

                                          15

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 17
                                                                1222
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1511



  concerning what constitutes a vote and what will be counted as a vote for

  each category of voting system" in Georgia. O.C.G.A. § 21-2-31(7). The State

  Election Board, personally and through the conduct of the Board's employees,

  officers, agents, and servants, acted under color of state law at all times

  relevant to this action and are sued for emergency declaratory and injunctive

  relief in their official capacities.

                         JURISDICTION AND VENUE

                                          33.

        This Court has subject matter jurisdiction under 28 U.S.C. 1331 which

  provides, “The district courts shall have original jurisdiction of all civil

  actions arising under the Constitution, laws, or treaties of the United States.”

                                          34.

        This Court also has subject matter jurisdiction under 28 U.S.C. 1343

  because this action involves a federal election for President of the United

  States. “A significant departure from the legislative scheme for appointing

  Presidential electors presents a federal constitutional question.” Bush v.

  Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm,

  285 U.S. 355, 365 (1932).

                                          35.

        The jurisdiction of the Court to grant declaratory relief is conferred by

  28 U.S.C. 2201 and 2202 and by Rule 57 and 65, Fed. R. Civ. P. 7.

                                          16

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 18
                                                                1223
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1512



                                          36.

        This Court has jurisdiction over the related Georgia Constitutional

  claims and State law claims under 28 U.S.C. 1367.

                                          37.

        In Georgia, the "legislature" is the General Assembly. See Ga. Const.

  Art. III, § I, Para. I.

                                          38.

        Because the United States Constitution reserves for state legislatures

  the power to set the time, place, and manner of holding elections for Congress

  and the President, state executive officers, including but not limited to

  Secretary Raffensperger, have no authority to exercise that power

  unilaterally, much less flout existing legislation or the Constitution itself.


                            STATEMENT OF FACTS

                                          39.

        Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and

  under Georgia law, O.C.G.A. § 21-2-522 to remedy deprivations of rights,

  privileges, or immunities secured by the Constitution and laws of the United

  States and to contest the election results.




                                         17

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 19
                                                                1224
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1513



                                         40.

        The United States Constitution sets forth the authority to regulate

  federal elections, the Constitution provides:

        The Times, Places and Manner of holding Elections for Senators and
        Representatives, shall be prescribed in each State by the Legislature
        thereof; but the Congress may at any time by Law make or alter such
        Regulations, except as to the Places of choosing Senators. U.S.
        CONST. art. I, § 4 (“Elections Clause”).

                                         41.

        With respect to the appointment of presidential electors, the

  Constitution provides: Each State shall appoint, in such Manner as the

  Legislature thereof may direct, a Number of Electors, equal to the whole

  Number of Senators and Representatives to which the State may be entitled

  in the Congress: but no Senator or Representative, or Person holding an

  Office of Trust or Profit under the United States, shall be appointed an

  Elector. U.S. CONST. art. II, § 1 (“Electors Clause”).

                                         42.

        Neither Defendant is a “Legislature” as required under the Elections

  Clause or Electors Clause. The Legislature is “‘the representative body which

  ma[kes] the laws of the people.’” Smiley 285 U.S. 365. Regulations of

  congressional and presidential elections, thus, “must be in accordance with

  the method which the state has prescribed for legislative enactments.” Id. at



                                        18

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 20
                                                                1225
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1514



  367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576

  U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

                                         43.

        While the Elections Clause "was not adopted to diminish a State's

  authority to determine its own lawmaking processes," Ariz. State Legislature,

  135 S. Ct. at 2677, it does hold states accountable to their chosen processes

  when it comes to regulating federal elections, id. at 2668. "A significant

  departure from the legislative scheme for appointing Presidential electors

  presents a federal constitutional question." Bush, 531 U.S. at 113 (Rehnquist,

  C.J., concurring); Smiley, 285 U.S. at 365.

                                         44.

        Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,

  Grounds for Contest:

        A result of a primary or election may be contested on one or more of
        the following grounds:

        (1) Misconduct, fraud, or irregularity by any primary or election
        official or officials sufficient to change or place in doubt the result;

        (2) When the defendant is ineligible for the nomination or office in
        dispute;

        (3) When illegal votes have been received or legal votes rejected at
        the polls sufficient to change or place in doubt the result;

        (4) For any error in counting the votes or declaring the result of the
        primary or election, if such error would change the result; or



                                         19

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 21
                                                                1226
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1515



        (5) For any other cause which shows that another was the person
        legally nominated, elected, or eligible to compete in a run-off primary
        or election.

  O.C.G.A. § 21-2-522.

                                         45.

        Under O.C.G.A. § 21-2-10, Presidential Electors are elected.

                                         46.

        Under O.C.G.A. § 21-2-386(a)(l)(B), the Georgia Legislature instructed

  the county registrars and clerks (the "County Officials") to handle the

  absentee ballots as directed therein. The Georgia Legislature set forth the

  procedures to be used by each municipality for appointing the absentee ballot

  clerks to ensure that such clerks would "perform the duties set forth in this

  Article." See O.C.G.A. § 21-2-380.1.

                                         47.

        The Georgia Election Code instructs those who handle absentee ballots

  to follow a clear procedure:

        Upon receipt of each [absentee] ballot, a registrar or clerk shall write
        the day and hour of the receipt of the ballot on its envelope. The
        registrar or clerk shall then compare the identifying information
        on the oath with the information on file in his or her office, shall
        compare the signature or make on the oath with the signature or
        mark on the absentee elector's voter card or the most recent update
        to such absentee elector's voter registration card and application for
        absentee ballot or a facsimile of said signature or maker taken from
        said card or application, and shall, if the information and signature
        appear to be valid and other identifying information appears to be
        correct, so certify by signing or initialing his or her name below the

                                         20

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 22
                                                                1227
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1516



        voter's oath. Each elector's name so certified shall be listed by the
        registrar or clerk on the numbered list of absentee voters prepared
        for his or her precinct.

  O.C.G.A. § 21-2-386(a)(l )(B) (emphasis added).

                                          48.

        Under O.C.G.A. § 21-2-386(a)(l)(C), the Georgia Legislature also

  established a clear and efficient process to be used by County Officials if

  they determine that an elector has failed to sign the oath on the outside

  envelope enclosing the ballot or that the signature does not conform with

  the signature on file in the registrar's or clerk's office (a "defective absentee

  ballot").

                                          49.

        The Georgia Legislature also provided for the steps to be followed by

  County Officials with respect to defective absentee ballots:

               If the elector has failed to sign the oath, or if the
        signature does not appear to be valid, or if the elector has failed
        to furnish required information or information so furnished does
        not conform with that on file in the registrar's or clerk's office,
        or if the elector is otherwise found disqualified to vote, the registrar
        or clerk shall write across the face of the envelope "Rejected," giving
        the reason therefor. The board of registrars or absentee ballot clerk
        shall promptly notify the elector of such rejection, a copy of which
        notification shall be retained in the files of the board of registrars or
        absentee ballot clerk for at least one year.

  O.C.G.A. § 21-2 -386(a) (l)(C) (emphasis added).




                                          21

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 23
                                                                1228
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1517



       I.     D E F E N DA N T S ' U N A UT H O R IZ E D A C T I O NS V I O L A T E D T H E
       G E O R G I A E L E CT I O N C O D E A N D C A U S E D T H E P R OC E S S I N G OF
                           D E F E C T I V E A B S E NT E E B A L L O T S .

                                               50.

          Notwithstanding the clarity of the applicable statutes and the

  constitutional authority for the Georgia Legislature's actions, on March 6,

  2020, the Secretary of State of the State of Georgia, Secretary Raffensperger,

  and the State Election Board, who administer the state elections (the

  "Administrators") entered into a "Compromise and Settlement Agreement

  and Release" (the "Litigation Settlement") with the Democratic Party of

  Georgia, Inc., the Democrat Senatorial Campaign Committee, and the

  Democratic Congressional Campaign Committee (collectively, the "Democrat

  Party Agencies"), setting forth different standards to be followed by the clerks

  and registrars in processing absentee ballots in the State of Georgia8.

                                               51.

          Under the Settlement, however, the Administrators agreed to change

  the statutorily prescribed manner of handling absentee ballots in a manner

  that is not consistent with the laws promulgated by the Georgia Legislature

  for elections in this state.


   8See Democratic Party of Georgia, Inc., et al. v. Raffensperger, et al., Civil Action
   File No. 1:l 9-cv-05028-WMR, United States District Court for the Northern
   District of Georgia, Atlanta Division, Doc. 56-1.


                                               22

                                                                                   Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 24
                                                                1229
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1518



                                        52.

        The Settlement provides that the Secretary of State would issue an

  "Official Election Bulletin" to county Administrators overriding the statutory

  procedures prescribed for those officials. That power, however, does not

  belong to the Secretary of State under the United States Constitution.

                                        53.

        The Settlement also changed the signature requirement reducing it to a

  broad process with discretion, rather than enforcement of the signature

  requirement as statutorily required under O.C.G.A. 21-2-386(a)(l).

                                        54.

        The Georgia Legislature instructed county registers and clerks (the

  “County Officials”) regarding the handling of absentee ballots in O.C.G.A. S

  21-2-386(a)(1)(B), 21-2-380.1. The Georgia Election Code instructs those who

  handle absentee ballots to follow a clear procedure:

        Upon receipt of each absentee ballot, a registrar or clerk shall write
        the day and hour of the receipt of the ballot on its envelope. The
        registrar or clerk shall then compare the identifying information on
        the oath with the information on file in his or her office, shall
        compare the signature or make on the oath with the signature or
        mark on the absentee elector’s voter card or the most recent update
        to such absent elector’s voter registration card and application for
        absentee ballot or a facsimile of said signature or maker taken from
        said card or application, and shall, if the information and signature
        appear to be valid and other identifying information appears to be
        correct, so certify by signing or initialing his or her name below the
        voter’s oath …


                                        23

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 25
                                                                1230
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1519



  O.C.G.A. S 21-2-386(a)(1)(B).

                                          55.

        The Georgia Legislature prescribed procedures to ensure that any

  request for an absentee ballot must be accompanied by sufficient

  identification of the elector's identity. See O.C.G.A. § 21-2-38 l(b )(1)

  (providing, in pertinent part, "In order to be found eligible to vote an

  absentee ballot in person at the registrar's office or absentee ballot clerk's

  office, such person shall show one of the forms of identification listed in Code

  Section 21-2-417 ... ").

                                          56.

        An Affiant testified, under oath, that “It was also of particular interest

  to me to see that signatures were not being verified and that there were no

  corresponding envelopes seen in site.” (Attached hereto as Exh. 10, Mayra

  Romera, at par. 7).

                                          57.

        To reflect the very reason for process, it was documented that in the

  primary election, prior to the November 3, 2020 Presidential election, many

  ballots got to voters after the election. Further it was confirmed that “Untold

  thousands of absentee ballot requests went unfulfilled, and tens of thousands

  of mailed ballots were rejected for multiple reasons including arriving too late



                                          24

                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 26
                                                                1231
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1520



  to be counted. See the Associated Press, Vote-by-Mail worries: A leaky

  pipeline in many states, August 8, 2020.9

                                           58.

         Pursuant to the Settlement, the Administrators delegated their

  responsibilities for determining when there was a signature mismatch by

  considering in good faith only partisan-based training - "additional guidance

  and training materials" drafted by the Democrat Party Agencies’

  representatives contradicting O.C.G.A. § 21-2-31.

       B. U N L A WF UL E A R L Y P R O CE S S I NG O F A B S E NT E E B A L L OT S

                                           59.

         In April 2020, the State Election Board adopted on a purportedly

  “Emergency Basis” Secretary of State Rule 183-1-14-0.9-.15, Processing

  Ballots Prior to Election Day. Under this rule, county election officials are

  authorized to begin processing absentee ballots up to three weeks befoe

  election day. Thus, the rule provides in part that “(1) Beginning at 8:00 AM

  on the third Monday prior to Election Day, the county election

  superintendent shall be authorized to open the outer envelope of

  accepted absentee ballots …” (Emphasis added).




   9    https://apnews.com/article/u-s-news-ap-top-news-election-2020-technology-
   politics-52e87011f4d04e41bfffccd64fc878e7

                                           25

                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 27
                                                                1232
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1521



                                         60.

        Rule 183-1-14-0.9-.15 is in direct and irreconcilable conflict with

  O.C.G.A. § 21-2-386(a)(2), which prohibits the opening of absentee ballots

  until election day:

        After the opening of the polls on the day of the primary, election,
        or runoff, the registrars or absentee ballot clerks shall be
        authorized to open the outer envelope on which is printed the
        oath of the elector in such a manner as not to destroy the oath printed
        thereon; provided, however, that the registrars or absentee ballot
        clerk shall not be authorized to remove the contents of such outer
        envelope or to open the inner envelope marked “Official Absentee
        Ballot,” except as otherwise provided in this Code section.

  (Emphasis added).

                                         61.

        In plain terms, the statute clearly prohibits opening absentee ballots

  prior to election day, while the rule authorizes doing so three weeks before

  election day. There is no reconciling this conflict. The State Election Board

  has authority under O.C.G.A. § 21-2-31 to adopt lawful and legal rules and

  regulations, but no authority to promulgate a regulation that is directly

  contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is therefore

  plainly and indisputably unlawful.

                                         62.

        The State Election Board re-adopted Rule 183-1-14-0.9-.15 on

  November 23, 2020 for the upcoming January 2021 runoff election.


                                         26

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 28
                                                                1233
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1522



                    C. U N L A WF UL A U D I T P R O C E D UR E S

                                         63.

        According to Secretary Raffensperger, in the presidential general

  election, 2,457,880 votes were cast in Georgia for President Donald J. Trump,

  and 2,472,002 votes were cast for Joseph R. Biden, which narrowed in

  Donald Trump’s favor after the most recent recount.

                                         64.

        Secretary Raffensperger declared that for the Hand Recount:

        Per the instructions given to counties as they conduct their audit
        triggered full hand recounts, designated monitors will be given
        complete access to observe the process from the beginning. While the
        audit triggered recount must be open to the public and media,
        designated monitors will be able to observe more closely. The general
        public and the press will be restricted to a public viewing area.
        Designated monitors will be able to watch the recount while standing
        close to the elections’ workers conducting the recount.

        Political parties are allowed to designate a minimum of two monitors
        per county at a ratio of one monitor per party for every ten audit
        boards in a county... Beyond being able to watch to ensure the
        recount is conducted fairly and securely, the two-person audit boards
        conducting the hand recount call out the votes as they are
        recounted,providing monitors and the public an additional way to
        keep tabs on the process.10




  10Office of Brad Raffensperger, Monitors Closely Observing Audit-Triggered Full
  Hand Recount: Transparency is Built Into Process,
  https://sos.ga.gov/index.php/elections/monitors_closely_observing_audit-
  triggered_full_hand_recount_transparency_is_built_into_process

                                         27

                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 29
                                                                1234
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1523



                                         65.

        The audit was conducted O.C.G.A. § 21-2-498. This code section

  requires that audits be completed “in public view” and authorizes the State

  Board of Elections to promulgate regulations to administer an audit “to

  ensure that collection of validly cast ballots is complete, accurate and

  trustworthy throughout the audit.”

                                         66.

        Plaintiffs can show that Democrat-majority counties provided political

  parties and candidates, including the Trump Campaign, no meaningful

  access or actual opportunity to review and assess the validity of mail-in

  ballots during the pre-canvassing meetings. While in the audit or recount,

  they witnessed Trump votes being put into Biden piles.

                                         67.

        Non-parties Amanda Coleman and Maria Diedrich are two individuals

  who volunteered to serve as designated monitors for the Donald J. Trump

  Presidential Campaign, Inc. (the "Trump Campaign") on behalf of the

  Georgia Republican Party (the "Republican Party") at the Hand Recount.

  (Attached hereto and incorporated herein as Exhibits 2 and 3), respectively,

  are true and correct copies of (1) the Affidavit of Amanda Coleman in Support

  of Plaintiffs' Motion for Temporary Restraining Order (the "Coleman

  Affidavit"), and (2) the Affidavit of Maria Diedrich in Support of Plaintiffs'

                                         28

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 30
                                                                1235
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1524



  Motion for Temporary Restraining Order (the "Diedrich Affidavit"). (See

  Exh. 11, Coleman Aff.,2; Exh. 12, Diedrich Aff., 2.)

                                         68.

        The Affidavits set forth various conduct amounting to federal crimes,

  clear improprieties, insufficiencies, and improper handling of ballots by

  County Officials and their employees that Ms. Coleman and Ms. Diedrich

  personally observed while monitoring the Hand Recount. (See Exh. 11,

  Coleman Aff., 3-10; Exh. 12, Diedrich Aff., 4-14.)

                                         69.

        As a result of her observations of the Hand Recount as a Republican

  Party monitor, Ms. Diedrich declared, "There had been no meaningful way to

  review or audit any activity" at the Hand Recount. (See Exh. 12, Diedrich

  Aff.,14.)

                                         70.

        As a result of their observations of the Hand Recount as Republican

  Party monitors, Ms. Coleman likewise declared, "There was no way to tell if

  any counting was accurate or if the activity was proper." (See Exh. 12,

  Coleman Aff.,10).

                                         71.

        On Election Day, when the Republican poll watchers were, for a limited

  time, present and allowed to observe in various polling locations, they

                                         29

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 31
                                                                1236
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1525



  observed and reported numerous instances of election workers failing to

  follow the statutory mandates relating to two critical requirements, among

  other issues:

                (1) a voter’s right to spoil their mail-in ballot at their polling

          place on election day and to then vote in-person, and

                (2) the ability for voters to vote provisionally on election day

          when a mail-in ballot has already been received for them, but when

          they did not cast those mail-in ballots, who sought to vote in person

          during early voting but was told she already voted; she emphasized

          that she had not. The clerk told her he would add her manually with

          no explanation as to who or how someone voted using her name.

          (Attached hereto as Exh. 13, Aff. Ursula Wolf)

                                            72.

          Another observer for the ballot recount testified that “at no time did I

  witness any Recounter or individual participate in the recount verifying

  signatures [on mail-in ballots].” (Attached hereto as Exh. 14, Nicholas Zeher

  Aff).

                                            73.

          In some counties, there was no actual "hand" recounting of the ballots

  during the Hand Recount, but rather, County Officials and their employees



                                            30

                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 32
                                                                1237
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1526



  simply conducted another machine count of the same ballots. (See. Exh. 9,

  10). That will not reveal the massive fraud of which plaintiffs complain.

                                         74.

        A large number of ballots were identical and likely fraudulent. An

  Affiant explains that she observed a batch of utterly pristine ballots:

        14. Most of the ballots had already been handled; they had been
        written on by people, and the edges were worn. They showed obvious
        use. However, one batch stood out. It was pristine. There was a
        difference in the texture of the paper - it was if they were intended
        for absentee use but had not been used for that purposes. There was
        a difference in the feel.

        15. These different ballots included a slight depressed pre-fold so
        they could be easily folded and unfolded for use in the scanning
        machines. There were no markings on the ballots to show where they
        had come from, or where they had been processed. These stood out.

        16. In my 20 years of experience of handling ballots, I observed that
        the markings for the candidates on these ballots were unusually
        uniform, perhaps even with a ballot-marking device. By my estimate
        in observing these ballots, approximately 98% constituted votes for
        Joe Biden. I only observed two of these ballots as votes for President
        Donald J. Trump.” (See Exh. 15 Attached hereto).

                                         75.

        The same Affiant further testified specifically to the breach of the chain

  of custody of the voting machines the night before the election stating:

        we typically receive the machines, the ballot marking devices – on
        the Friday before the election, with a chain of custody letter to be
        signed on Sunday, indicating that we had received the machines and
        the counts on the machines when received, and that the machines
        have been sealed. In this case, we were asked to sign the chain
        of custody letter on Sunday, even though the machines were
        not delivered until 2:00 AM in the morning on Election Day.
                                         31

                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 33
                                                                1238
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1527



        The Milton precinct received its machines at 1:00 AM in the morning
        on Election Day. This is unacceptable and voting machines should
        [not] be out of custody prior to an Election Day. Id.


                         II. EVIDENCE OF FRAUD

            A P A T T E R N S H OW I N G T H E A B S E NC E O F M IS T A K E

                                          76.

        The stunning pattern of the nature and acts of fraud demonstrate an

  absence of mistake.

                                          77.

        The same Affiant further explained, in sworn testimony, that the

  breach included: “when we did receive the machines, they were not sealed or

  locked, the serial numbers were not what were reflected on the related

  documentation…” See Id.

                                          78.

        An affiant testified that “While in Henry County, I personally

  witnessed ballots cast for Donald Trump being placed in the pile for Joseph

  Biden, I witnessed this happen at table “A”.’ (See Exh. 14, par. 27).

                                          79.

        The Affiant further testified, that “when this was brought to Ms. Pitts

  attention, it was met with extreme hostility. At no time did I witness any

  ballot cast for Joseph Biden be placed in the pile for Donald Trump. (See

  Exh. 14, par. 28).
                                          32

                                                                               Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 34
                                                                1239
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1528



                                         80.

        Another Affiant in the mail-in ballot and absentee ballot recounting

  process, testified in her sworn affidavit, that “on November 16, 2020 … It was

  also of particular interest to me to see that signatures were not being verified

  and there were no corresponding envelopes seen in sight.” (See Exh. 10, at

  Par. 7).

                                         81.

        Yet another Affiant, in the recount process, testified that he received

  push back and a lack of any cooperation and was even threatened as if he did

  something wrong, when he pointed out the failure to follow the rules with the

  observers while open mail-in ballot re-counting was occurring, stating:

        “However, as an observer, I observed that the precinct had twelve
        (12) counting tables, but only one (1) monitor from the Republican
        Party. I brought it up to Erica Johnston since the recount rules
        provided for one (1) monitor from each Party per ten (10) tables or
        part thereof…”

  (See Attached hereto, Exh. 16, Ibrahim Reyes Aff.)
                                         82.

        Another Affiant explains a pattern of behavior that is alarming, in his

  position as an observer in the recount on absentee ballots with barcodes, he

  testified:

        I witnessed two poll workers placing already separated paper
        machine receipt ballots with barcodes in the Trump tray,
        placing them in to the Biden tray. I also witnessed the same two
        poll workers putting the already separated paper receipt ballots in
                                         33

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 35
                                                                1240
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1529



        the “No Vote” and “Jorgensen” tray, and removing them and putting
        them inside the Biden tray, They then took out all of the ballots out
        of the Biden tray and stacked them on the table, writing on the count
        ballot sheet.

        (See Attached hereto, Exh.17, pars. 4-5, Aff. of Consetta Johson).

                                         83.

        Another Affiant, a Democrat, testified in his sworn affidavit, that

  before he was forced to move back to where he could not see, he had in fact

  seen “absentee ballots for Trump inserted into Biden’s stack, and counted as

  Biden votes. This occurred a few times”. (See attached hereto, Exh. 18 at

  Par. 12, Aff. of Carlos Silva).

                                         84.

        Yet another Affiant testified about the lack of process and the hostility

  only towards the Republican party, which is a violation of the Equal

  Protection Clause. He testified:

        I also observed throughout my three days in Atlanta, not once did
        anyone verify these ballots. In fact, there was no authentication
        process in place and no envelopes were observed or allowed to be
        observed. I saw hostility towards Republican observers but never
        towards Democrat observers. Both were identified by badges.

  (See Id., at pars. 13-14).

                                         85.

        Another Affiant explained that his ballot was not only not processed in

  accordance with Election law, but he also witnessed people reviewing his

  ballot to decide where to place it, which violated the privacy of his ballot, and
                                         34

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 36
                                                                1241
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1530



  when he tried to report it to a voter fraud line, he never received any contact

  or cooperation stating:

        “I voted early on October 12 at the precinct at Lynwood Park …
        Because of irregularities at the polling location, I called the voter
        fraud line to ask why persons were discussing my ballot and
        reviewing it to decide where to place it. When I called the state fraud
        line, I was directed to a worker in the office of the Secretary of
        State…”

  (See Attached hereto, Exh. 19, Andrea ONeal Aff, at par. 3).

                                         86.

        He further testified that when he was an Observer at the Lithonia

  location, he saw many irregularities, and specifically “saw an auditor sort

  Biden votes that he collected and sorted into ten ballot stacks, which [the

  auditor] did not show anyone.” Id. at p. 8.

                                         87.

        Another Affiant testified about the use of different paper for ballots,

  that would constitute fraud stating:

        I noticed that almost all of the ballots I reviewed were for Biden.
        Many batches went 100% for Biden. I also observed that the
        watermark on at least 3 ballots were solid gray instead of
        transparent, leading me to believe the ballot was counterfeit. I
        challenged this and the Elections Director said it was a legitimate
        ballot and was due to the use of different printers. Many ballots had
        markings for Biden only, and no markings on the rest of the ballot.

  (See Attached hereto, Exh. 20, Aff of Debra J. Fisher, at pars. 4, 5, 6).




                                         35

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 37
                                                                1242
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1531




                                        88.

        An Affiant testified, that while at the Audit, ‘While in Henry County,

  I personally witnessed ballots cast for Donald Trump being placed in

  the pile for Joseph Biden. I witnessed this happen at table “A”’. (See

  attached hereto as Exh. 22, Kevin Peterford, at par. 29).   Another Affiant

  testified, that “I witnessed two poll workers placing already separated

  paper machine receipt ballots with barcodes in the Trump tray,

  placing them in to the Biden tray. I also witnessed the same two poll

  workers putting the already separated paper receipt abllots in the “No

  Vote” and “Jorgensen” tray, and removing them and putting them

  inside the Biden tray, They then took out all of the ballots out of the

  Biden tray and stacked them on the table, writing on the count ballot

  sheet. (See Exh. 17, Johnson, pars. 4-5).

                                        89.

        Another Affiant, a Democrat, testified in his sworn affidavit,

    before he was forced to move back to where he could not see, he had

    in fact seen, “I also saw absentee ballots for Trump inserted




                                        36

                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 38
                                                                1243
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1532



    into Biden’s stack, and counted as Biden votes. This occurred

    a few times”. (See Exh. 18, Par. 12).

                                           90.

        A Republican National Committee monitor in Georgia’s election

  recount, Hale Soucie, told an undercover journalist there are individuals

  counting ballots who have made continuous errors,” writes O’Keefe. Project

  Veritas, Watch: Latest Project Veritas Video reveals “Multiple Ballots Meant

  for Trump Went to Biden in Georgia.”11



                  B.     T H E V OT I N G M A C H I NE S , S E CR E CY

  S O F T W A R E U S E D B Y V O T I N G M A C H I NE S T H R O U GH O U T G E OR G I A
                                      I S C R U C IA L

                                           91.

        These violations of federal and state laws impacted the election of

  November 3, 2020 and set the predicate for the evidence of deliberate

  fraudulent conduct, manipulation, and lack of mistake that follows. The

  commonality and statewide nature of these legal violations renders

  certification of the legal vote untenable and warrants immediate




   11    https://hannity.com/media-room/watch-latest-project-veritas-video-reveals-
   multiple-ballots-meant-for-trump-went-to-biden-in-georgia/


                                           37

                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 39
                                                                1244
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1533



  impoundment of voting machines and software used throughout Georgia for

  expert inspection and retrieval of the software.

                                        92.

        An Affiant, who is a network & information cyber-security expert,

  under sworn testimony explains that after studying the user manual for

  Dominion Voting Systems Democracy software, he learned that the

  information about scanned ballots can be tracked inside the software

  system for Dominion:

        (a)   When bulk ballot scanning and tabulation begins, the
        "ImageCast Central" workstation operator will load a batch of ballots
        into the scanner feed tray and then start the scanning procedure
        within the software menu. The scanner then begins to scan the
        ballots which were loaded into the feed tray while the "ImageCast
        Central" software application tabulates votes in real-time.
        Information about scanned ballots can be tracked inside the
        "ImageCast Central" software application.

  (See attached hereto Exh 22, Declaration of Ronald Watkins, at par. 11).

                                        93.

        Affiant further explains that the central operator can remove

  or discard batches of votes. “After all of the ballots loaded into the

  scanner's feed tray have been through the scanner, the "ImageCast Central"

  operator will remove the ballots from the tray then have the option to either

  "Accept Batch" or "Discard Batch" on the scanning menu …. “(Id. at par. 8).




                                        38

                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 40
                                                                1245
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1534



                                         94.

        Affiant further testifies that the Dominion/Smartmatic user manual

  itself makes clear that the system allows for threshold settings to be set to

  mark all ballots as “problem ballots” for discretionary determinations on where

  the vote goes. It states:

        During the scanning process, the "ImageCast Central" software will
        detect how much of a percent coverage of the oval was filled in by the
        voter. The Dominion customer determines the thresholds of which the
        oval needs to be covered by a mark in order to qualify as a valid vote.
        If a ballot has a marginal mark which did not meet the specific
        thresholds set by the customer, then the ballot is considered a
        "problem ballot" and may be set aside into a folder named
        "NotCastImages". Through creatively tweaking the oval coverage
        threshold settings it should be possible to set thresholds in such a way
        that a non-trivial amount of ballots are marked "problem ballots" and
        sent to the "NotCastImages" folder. It is possible for an administrator
        of the ImageCast Central work station to view all images of scanned
        ballots which were deemed "problem ballots" by simply navigating via
        the standard "Windows File Explorer" to the folder named
        "NotCastImages" which holds ballot scans of "problem ballots". It is
        possible for an administrator of the "ImageCast Central" workstation
        to view and delete any individual ballot scans from the
        "NotCastImages" folder by simply using the standard Windows delete
        and recycle bin functions provided by the Windows 10 Pro operating
        system.

  Id. at pars. 9-10.

                                         95.

        The Affiant further explains the vulnerabilities in the system when the

  copy of the selected ballots that are approved in the Results folder are made




                                         39

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 41
                                                                1246
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1535



  to a flash memory card – and that is connected to a Windows computer

  stating:

        It is possible for an administrator of the "ImageCast Central"
        workstation to view and delete any individual ballot scans from the
        "NotCastImages" folder by simply using the standard Windows delete
        and recycle bin functions provided by the Windows 10 Pro operating
        system. … The upload process is just a simple copying of a "Results"
        folder containing vote tallies to a flash memory card connected to the
        "Windows 10 Pro" machine. The copy process uses the standard drag-
        n-drop or copy/paste mechanisms within the ubiquitous "Windows
        File Explorer". While a simple procedure, this process may be error
        prone and is very vulnerable to malicious administrators.

  Id. at par. 11-13 (emphasis supplied).

                                           96.

        It was announced on “Monday, [July 29, 2019], [that] Governor Kemp

  awarded a contract for 30,000 new voting machines to Dominion Voting

  Systems, scrapping the state’s 17-year-old electronic voting equipment and

  replacing it with touchscreens that print out paper ballots.”12 Critics are

  quoted: “Led by Abrams, Democrats fought the legislation and pointed to

  cybersecurity experts who warned it would leave Georgia's elections

  susceptible to hacking and tampering.” And “Just this week, the Fair Fight

  voting rights group started by [Stacey] Abrams launched a television ad




  12Georgia Buys New Voting Machines for 2020 Presidential Election, by Mark
  Niesse, the Atlanta Journal-Constitution, July 30, 2019,
  https://www.ajc.com/news/state--regional-govt--politics/georgia-awards-contract-
  for-new-election-system-dominion-voting/tHh3V8KZnZivJoVzZRLO4O/
                                           40

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 42
                                                                1247
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1536



  critical of the bill. In a statement Thursday, the group called it “corruption at

  its worst” and a waste of money on “hackable voting machines.”13

                                         97.

        It was further reported in 2019 that the new Dominion Voting

  Machines in Georgia “[w]ith Georgia’s current voting system, there’s no way

  to guarantee that electronic ballots accurately reflect the choices of

  voters because there’s no paper backup to verify results, with it being

  reported that:

        (a)   Recounts are meaningless on the direct-recording electronic
        voting machines because they simply reproduce the same numbers
        they originally generated.

        (b)   But paper ballots alone won’t protect the sanctity of elections
        on the new touchscreens, called ballot-marking devices.

        (c)    The new election system depends on voters to verify the printed
        text of their choices on their ballots, a step that many voters might
        not take. The State Election Board hasn't yet created regulations for
        how recounts and audits will be conducted. And paper ballots embed
        selections in bar codes that are only readable by scanning machines,
        leaving Georgians uncertain whether the bar codes match their
        votes.14




  13Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-
  Constitution, AJC News Now, by Greg Bluestein and Mark Niesse, June 14, 2019;
  Credit: Copyright 2019 The Associated Press, June 2019




                                         41

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 43
                                                                1248
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1537



     i.      As part of the scheme and artifice to defraud the plaintiffs, the
             candidates and the voters of undiminished and unaltered voting
             results in a free and legal election, the Defendants and other persons
             known and unknown committed the following violations of law:

          50 U.S.C. § 20701 requires the retention and preservation of records

  and papers by officers of elections under penalty of fine and imprisonment:

          § 20701. Retention and preservation of records and papers by
          officers of elections; deposit with custodian; penalty for
          violation

          Every officer of election shall retain and preserve, for a period of
          twenty-two months from the date of any general, special, or primary
          election of which candidates for the office of President, Vice
          President, presidential elector, Member of the Senate, Member of the
          House of Representatives, or Resident Commissioner from the
          Commonwealth of Puerto Rico are voted for, all records and
          papers which come into his possession relating to any
          application, registration, payment of poll tax, or other act
          requisite to voting in such election, except that, when required
          by law, such records and papers may be delivered to another officer
          of election and except that, if a State or the Commonwealth of Puerto
          Rico designates a custodian to retain and preserve these records and
          papers at a specified place, then such records and papers may be
          deposited with such custodian, and the duty to retain and preserve
          any record or paper so deposited shall devolve upon such custodian.
          Any officer of election or custodian who willfully fails to comply with
          this section shall be fined not more than $1,000 or imprisoned not
          more than one year, or both.

  50 U.S.C.§ 20701.

                                           98.

          In the primaries it was confirmed that, “The rapid introduction of new

  technologies and processes in state voting systems heightens the risk of




                                          42

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 44
                                                                1249
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1538



  foreign interference and insider tampering. That’s true even if simple human

  error or local maneuvering for political advantage are more likely threats.”15

                                          99.

        A Penn Wharton Study from 2016 concluded that “Voters and their

  representatives in government, often prompted by news of high-profile voting

  problems, also have raised concerns about the reliability and integrity of the

  voting process, and have increasingly called for the use of modern technology

  such as laptops and tablets to improve convenience.”16

                                         100.

        As evidence of the defects or features of the Dominion Democracy Suite,

  as described above, the same Dominion Democracy Suite was denied

  certification in Texas by the Secretary of State on January 24, 2020

  specifically because of a lack of evidence of efficiency and accuracy and

  to be safe from fraud or unauthorized manipulation.17




  15See Threats to Georgia Elections Loom Despite New Paper Ballot Voting, By Mark
  Niesse, The Atlanta Journal-Constitution and (The AP, Vote-by-Mail worries: A leaky
  pipeline in many states, August 8, 2020).
  16Penn Wharton Study by Matt Caufield, The Business of Voting, July 2018.
  17Attached hereto, Exh. 23, copy of Report of Review of Dominion Voting Systems
  Democracy Suite 5.5-A Elections Division by the Secretary of State’s office,
  Elections Division, January 24, 2020.
                                          43

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 45
                                                                1250
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1539



                                         101.

        Plaintiffs have since learned that the "glitches" in the Dominion

  system–that have the uniform effect of taking votes from Trump and shifting

  them to Biden—have been widely reported in the press and confirmed by the

  analysis of independent experts.

                                         102.

        Plaintiffs can show, through expert and fact witnesses that:


        c.      Dominion/ Smartmatic Systems Have Massive End User
                Vulnerabilities.

        1. Users on the ground have full admin privileges to machines and
           software. Having been created to “rig” elections, the Dominion
           system is designed to facilitate vulnerability and allow a select few
           to determine which votes will be counted in any election. Workers
           were responsible for moving ballot data from polling place to the
           collector’s office and inputting it into the correct folder. Any
           anomaly, such as pen drips or bleeds, results in a ballot being
           rejected. It is then handed over to a poll worker to analyze and
           decide if it should count. This creates massive opportunity for purely
           discretionary and improper vote “adjudication.”

        2. Affiant witness (name redacted for security reasons18), in his sworn
           testimony explains he was selected for the national security guard
           detail of the President of Venezuela, and that he witnessed the
           creation of Smartmatic for the purpose of election vote manipulation
           to insure Venezuelan dictator Hugo Chavez never lost an election
           and he saw it work. Id.

             “The purpose of this conspiracy was to create and operate a voting
             system that could change the votes in elections from votes against




                                          44

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 46
                                                                1251
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1540



           persons running the Venezuelan government to votes in their
           favor in order to maintain control of the government.”


  (See Exh. 2, pars. 6, 9, 10).

                                       103.

        Smartmatic’s incorporators and inventors have backgrounds evidencing

  their foreign connections, including Venezuela and Serbia, specifically its

  identified inventors:

        Applicant: SMARTMATIC, CORP.

        Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic,
        Jeffrey Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli,
        Gisela Goncalves, Yrem Caruso.19

                                       104.

        The presence of Smartmatic in the United States—owned by foreign

  nationals, and Dominion, a Canadian company with its offices such as the

  Office of General Counsel in Germany, would have to be approved by CFIUS.

  CFIUS was created in 1988 by the Exon-Florio Amendment to the Defense

  Production Act of 1950. CFIUS’ authorizing statute was amended by the

  Foreign Investment and National Security Act of 2007 (FINSA).

        As amended, section 721 of the DPA directs "the President, acting
        through [CFIUS]," to review a "covered transaction to determine
        the effects of the transaction on the national security of the
        United States." 50 U.S.C. app. § 2170(b)(1)(A). Section 721 defines


  19 https://patents.justia.com/assignee/smartmatic-corp


                                        45

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 47
                                                                1252
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1541



        a covered transaction as "any merger, acquisition, or takeover …, by
        or with any foreign person which could result in foreign control of any
        person engaged in interstate commerce in the United States." Id. §
        2170(a)(3). Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 302,
        411 U.S. App. D.C. 105, 111, (2014). Review of covered transactions
        under section 721 begins with CFIUS. As noted, CFIUS is chaired by
        the Treasury Secretary and its members include the heads of
        various federal agencies and other high-ranking Government
        officials with foreign policy, national security and economic
        responsibilities.

                                        105.

        Then-Congresswoman Carolyn Maloney wrote October 6, 2006 to the

  Secretary of Treasury, Henry M. Paulson, Jr., Objecting to approval of

  Dominion/Smartmatic by CFIUS because of its corrupt Venezuelan

  origination, ownership and control. (See attached hereto as Exh. 24, Carolyn

  Maloney Letter of October 6, 2006). Our own government has long known of

  this foreign interference on our most important right to vote, and it had

  either responded with incompetence, negligence, willful blindness, or abject

  corruption. In every CFIUS case, there are two TS/SCI reports generated.

  One by the ODNI on the threat and one by DHS on risk to critical

  infrastructure. Smartmatic was a known problem when it was nonetheless

  approved by CFIUS.

                                        106.

        The Wall Street Journal in 2006 did an investigative piece and found

  that, “Smartmatic came to prominence in 2004 when its machines were used


                                        46

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 48
                                                                1253
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1542



  in an election to recall President Chávez, which Mr. Chávez won handily --

  and which the Venezuelan opposition said was riddled with fraud.

  Smartmatic put together a consortium to conduct the recall elections,

  including a company called Bizta Corp., in which Smartmatic owners had a

  large stake. For a time, the Venezuelan government had a 28% stake in Bizta

  in exchange for a loan.’20 …“Bizta paid off the loan in 2004, and Smartmatic

  bought the company the following year. But accusations of Chávez

  government control of Smartmatic never ended, especially since Smartmatic

  scrapped a simple corporate structure, in which it was based in the U.S. with

  a Venezuelan subsidiary, for a far more complex arrangement. The company

  said it made the change for tax reasons, but critics, including Rep. Carolyn

  Maloney (D., N.Y.) and TV journalist Lou Dobbs, pounded the company for

  alleged links to the Chávez regime. Id. Since its purchase by Smartmatic,

  Sequoia's sales have risen sharply to a projected $200 million in 2006, said

  Smartmatic's chief executive, Anthony Mugica.” Id.

                                        107.

        Indeed, Mr. Cobucci testified, through his sworn affidavit, that he was

  born in Venezuela, is cousins with Antonio (‘Anthony’) Mugica, and he has




  20See WSJ.com, Smartmatic to Sell U.S. Unit, End Probe into Venezuelan Links, by
  Bob Davis, 12/22/2006, https://www.wsj.com/articles/SB116674617078557263

                                        47

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 49
                                                                1254
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1543



  personal knowledge of the fact that Anthony Mugica incorporated

  Smartmatic in the U.S. in 2000 with other family members in Venezuela

  listed as owners. He also has personal knowledge that Anthony Mugica

  manipulated Smartmatic to ensure the election for Chavez in the 2004

  Referendum in Venezuela. He also testified, through his sworn affidavit, that

  Anthony Mugica received tens of millions of dollars from 2003- 2015 from the

  Venezuelan government to ensure Smartmatic technology would be

  implemented around the world, including in the U.S. (See attached hereto,

  Exh. 25, Juan Carlos Cobucci Aff.)

                                        108.

        Another Affiant witness testifies that in Venezuela, she was in an

  official position related to elections and witnessed manipulations of petitions

  to prevent a removal of President Chavez and because she protested, she was

  summarily dismissed. Corroborating the testimony of our secret witness, and

  our witness Mr. Cobucci, cousin of Anthony Mugica, who began Smartmatic,

  and this witness explains the vulnerabilities of the electronic voting system

  and Smartmatica to such manipulations. (See Exh. 3, Diaz Cardozo Aff).

                                        109.

        Specific vulnerabilities of the systems in question that have been

  documented or reported include:



                                        48

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 50
                                                                1255
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1544



       a. Barcodes can override the voters’ votes: As one University of California,

          Berkeley study shows, “In all three of these machines [including

          Dominion Voting Systems] the ballot marking printer is in the same

          paper path as the mechanism to deposit marked ballots into an

          attached ballot box. This opens up a very serious security

          vulnerability: the voting machine can make the paper ballot (to add

          votes or spoil already-cast votes) after the last time the voter sees the

          paper, and then deposit that marked ballot into the ballot box without

          the possibility of detection.” (See Exh. 7). 21

       b. Voting machines were able to be connected to the internet by way of

          laptops that were obviously internet accessible. If one laptop was

          connected to the internet, the entire precinct was compromised.

       c. We … discovered that at least some jurisdictions were not aware that

          their systems were online,” said Kevin Skoglund, an independent

          security consultant who conducted the research with nine others, all of

          them long-time security professionals and academics with expertise in

          election security. Vice. August 2019. 22


  21 Ballot Marking Devices (BMDs) Cannot Assure the Will of the Voters, Andrew W.
  Appel, Richard T. DeMillo, University of California, Berkeley, 12/27/2019.
  22 Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite

  Official Denials, Motherboard Tech by Vice, by Kim Zetter, August 8, 2019,
  https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-
  have-been-left-exposed-online-despite-official-denials

                                            49

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 51
                                                                1256
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1545



       d. October 6, 2006 – Congresswoman Carolyn Maloney called on Secretary

          of Treasury Henry Paulson to conduct an investigation into Smartmatic

          based on its foreign ownership and ties to Venezuela. (See Exh. 24)

       e. Congresswoman Maloney wrote that “It is undisputed that Smartmatic

          is foreign owned and it has acquired Sequoia … Smartmatica now

          acknowledged that Antonio Mugica, a Venezuelan businessman has a

          controlling interest in Smartmatica, but the company has not revealed

          who all other Smartmatic owners are.” Id.

       f. Dominion “got into trouble” with several subsidiaries it used over

          alleged cases of fraud. One subsidiary is Smartmatic, a company “that

          has played a significant role in the U.S. market over the last decade,”

          according to a report published by UK-based AccessWire23.

       g. Litigation over Smartmatic “glitches” alleges they impacted the 2010

          and 2013 mid-term elections in the Philippines, raising questions of

          cheating and fraud. An independent review of the source codes used in

          the machines found multiple problems, which concluded, “The software




  23Voting Technology Companies in the U.S. – Their Histories and Present
  Contributions, Access Wire, August 10, 2017,
  https://www.accesswire.com/471912/Voting-Technology-Companies-in-the-US--
  Their-Histories.

                                          50

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 52
                                                                1257
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1546



         inventory provided by Smartmatic is inadequate, … which brings into

         question the software credibility…”24

       h. Dominion acquired Sequoia Voting Systems as well as Premier Election

         Solutions (formerly part of Diebold, which sold Premier to ES&S in

         2009, until antitrust issues forced ES&S to sell Premier, which then

         was acquired by Dominion).25.

       i. Dominion entered into a 2009 contract with Smartmatic and provided

         Smartmatic with the PCOS machines (optical scanners) that were used

         in the 2010 Philippine election—the biggest automated election run by

         a private company. The international community hailed the

         automation of that first election in the Philippines.26 The results’

         transmission reached 90% of votes four hours after polls closed and

         Filipinos knew for the first time who would be their new president on

         Election Day. In keeping with local election law requirements,

         Smartmatic and Dominion were required to provide the source code of




  24 Smartmatic-TIM running out of time to fix glitches, ABS-CBN News, May 4,
  2010 https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-
  time-fix-glitches
  25 The Business of Voting, Penn Wharton, Caufield, p. 16.
  26 Smartmatic-TIM running out of time to fix glitches, ABS-CBN News, May 4, 2010

  https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-
  glitches
                                          51

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 53
                                                                1258
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1547



         the voting machines prior to elections so that it could be independently

         verified.27

       j. In late December of 2019, three Democrat Senators, Warren,

         Klobuchar, Wyden, and House Member Mark Pocan wrote about their

         ‘particularized concerns that secretive & “trouble -plagued

         companies”’ “have long skimped on security in favor of

         convenience,” in the context of how they described the voting machine

         systems that three large vendors – Election Systems & Software,

         Dominion Voting Systems, & Hart InterCivic – collectively provide

         voting machines & software that facilitate voting for over 90% of all

         eligible voters in the U.S.” (See attached hereto as Exh. 26, copy of

         Senator Warren, Klobuchar, Wyden’s December 6, 2019 letter).

       k. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting

         systems] are “yet another damning indictment of the profiteering

         election vendors, who care more about the bottom line than protecting

         our democracy.” It’s also an indictment, he said, “of the notion that

         important cybersecurity decisions should be left entirely to county




  27Presumably the machiens were not altered following submission of the code.
  LONDON, ENGLAND / ACCESSWIRE / August 10, 2017, Voting Technology
  Companies in the U.S. - Their Histories and Present Contributions
                                         52

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 54
                                                                1259
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1548



        election offices, many of whom do not employ a single cybersecurity

        specialist.”28

                                         110.

        An analysis of the Dominion software system by a former US Military

  Intelligence expert concludes that the system and software have been

  accessible and were certainly compromised by rogue actors, such as Iran and

  China. By using servers and employees connected with rogue actors and

  hostile foreign influences combined with numerous easily discoverable leaked

  credentials, Dominion neglectfully allowed foreign adversaries to access data

  and intentionally provided access to their infrastructure in order to monitor

  and manipulate elections, including the most recent one in 2020. (See Exh.

  7).

                                         111.

        An expert witness in pending litigation in the United States District

  Court, Northern District Court of Georgia, Atlanta Div., 17-cv-02989

  specifically testified to the acute security vulnerabilities, among other facts,

  by declaration filed on October 4, 2020, (See Exh. 4B, Document 959-4




  28Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite
  Official Denials, Motherboard Tech by Vice, by Kim Zetter, August 8, 2019,
  https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-
  have-been-left-exposed-online-despite-official-denials

                                         53

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 55
                                                                1260
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1549



  attached hereto, paragraph. 18 and 20 of p. 28, Exh. 4, Hursti Declaration).

  wherein he testified or found:

        1)    The failure of the Dominion software “to meet the methods and

  processes for national standards for managing voting system problems and

  should not be accepted for use in a public election under any circumstances.”

        2)    In Hursti’s declaration he explained that “There is evidence of

  remote access and remote troubleshooting which presents a grave security

  implication and certified identified vulnerabilities should be considered an

  “extreme security risk.” Id. Hari Hursti also explained that USB drives with

  vote tally information were observed to be removed from the presence of poll

  watchers during a recent election. Id. The fact that there are no controls of

  the USB drives was seen recently seen the lack of physical security and

  compliance with professional standards, " in one Georgia County, where it is

  reported that 3,300 votes were found on memory sticks not loaded plus in

  Floyd county, another 2,600 were unscanned, and the “found votes” reduced

  Biden’s lead over Donald Trump29.

              (a)   In the prior case against Dominion, supra, further

        implicating the secrecy behind the software used in Dominion Systems,



  29Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark
  Niesse and David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-
  thousands-of-georgia-votes-missing-from-initial-
  counts/ERDRNXPH3REQTM4SOINPSEP72M/
                                         54

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 56
                                                                1261
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1550



        Dr. Eric Coomer, a Vice President of Dominion Voting Systems,

        testified that even he was not sure of what testing solutions were

        available to test problems or how that was done, “ I have got to be

        honest, we might be a little bit out of my bounds of understanding the

        rules and regulations… and in response to a question on testing for

        voting systems problems in relation to issues identified in 2 counties,

        he explained that “Your Honor, I’m not sure of the complete test plan…

        Again Pro V&V themselves determine what test plan in necessary based

        on their analysis of the code itself.” (Id. at Document 959-4, pages 53,

        62 L.25- p. 63 L3).

                                        112.

        Hursti stated within said Declaration:

        “The security risks outlined above – operating system risks, the
        failure to harden the computers, performing operations directly on
        the operating systems, lax control of memory cards, lack of
        procedures, and potential remote access are extreme and destroy the
        credibility of the tabulations and output of the reports coming from a
        voting system.”

        (See Paragraph 49 of Hursti Declaration).

                                        113.

        Rather than engaging in an open and transparent process to give

  credibility to Georgia’s brand-new voting system, the election processes were




                                        55

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 57
                                                                1262
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1551



  hidden during the receipt, review, opening, and tabulation of those votes in

  direct contravention of Georgia’s Election Code and federal law.

                                       114.

        The House of Representatives passed H.R. 2722 in an attempt to

  address these very risks identified by Hursti, on June 27, 2019:

        This bill addresses election security through grant programs and
        requirements for voting systems and paper ballots.

        The bill establishes requirements for voting systems, including that
        systems (1) use individual, durable, voter-verified paper ballots; (2)
        make a voter's marked ballot available for inspection and verification
        by the voter before the vote is cast; (3) ensure that individuals with
        disabilities are given an equivalent opportunity to vote, including
        with privacy and independence, in a manner that produces a voter-
        verified paper ballot; (4) be manufactured in the United States; and
        (5) meet specified cybersecurity requirements, including the
        prohibition of the connection of a voting system to the internet.



                    ADDITIO NAL S PECIFIC FRAU D

                                       115.

        On November 4, 2020, the Georgia GOP Chairman issued the following

  statement:

        “Let me repeat. Fulton County elections officials told the media and
        our observers that they were shutting down the tabulation center at
        State Farm Arena at 10:30 p.m. on election night to continue counting
        ballots in secret until 1:00 a.m. 30




                                        56

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 58
                                                                1263
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1552



                                        116.

        It was widely reported that "As of 7 p.m. on Wednesday Fulton County

  Elections officials said 30,000 absentee ballots were not processed due to a

  pipe burst.”31 Officials reassured voters that none of the ballots were

  damaged and the water was quickly cleaned up. But the emergency delayed

  officials from processing ballots between 5:30 a.m. and 9:30 a.m. Officials say

  they continued to count beginning at 8:30 a.m. Wednesday. The statement

  from Fulton County continues:

        "Tonight, Fulton County will report results for approximately 86,000
        absentee ballots, as well as Election Day and Early Voting results.
        These represent the vast majority of ballots cast within Fulton
        County.

        "As planned, Fulton County will continue to tabulate the remainder
        of absentee ballots over the next two days. Absentee ballot processing
        requires that each ballot is opened, signatures verified, and ballots
        scanned. This is a labor-intensive process that takes longer to
        tabulate than other forms of voting. Fulton County did not anticipate
        having all absentee ballots processed on Election Day." Officials said
        they will work to ensure every vote is counted and all laws and
        regulations are followed.32




  31“4,000 remaining absentee ballots being counted in Fulton County”, Fox 5
  Atlanta, November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-
  state-farm-arena-delays-absentee-ballot-processing
  32 4,000 remaining absentee ballots being counted in Fulton County, Fox 5

  Atlanta, November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-
  state-farm-arena-delays-absentee-ballot-processing
                                         57

                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 59
                                                                1264
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1553



                                        117.

        Plaintiffs have learned that the representation about “a water leak

  affecting the room where absentee ballots were counted” was not true. The

  only water leak that needed repairs at State Farm Arena from November 3 –

  November 5 was a toilet overflow that occurred earlier on November 3. It

  had nothing to do with a room with ballot counting, but the false water break

  representation led to “everyone being sent home.” Nonetheless, first six (6)

  people, then three (3) people stayed until 1:05 a.m. working on the

  computers.

                                        118.

        An Affiant recounts how she was present at State Farm Arena on

  November 3, and saw election workers remaining behind after people were

  told to leave. (See Exh. 28, Affidavit of Mitchell Harrison; Exh. 29, Affid. of

  Michelle Branton)

                                        119.

        Plaintiffs have also learned through several reports that in 2010 Eric

  Coomer joined Dominion as Vice President of U.S. Engineering. According to

  his bio, Coomer graduated from the University of California, Berkeley with a

  Ph.D. in Nuclear Physics. Eric Coomer was later promoted to Voting Systems

  Officer of Strategy and Security although Coomer has since been removed

  from the Dominion page of directors. Dominion altered its website after

                                         58

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 60
                                                                1265
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1554



  Colorado resident Joe Oltmann disclosed that as a reporter he infiltrated

  ANTIFA, a domestic terrorist organization where he recorded Eric Coomer

  representing: “Don’t worry. Trump won’t win the election, we fixed that.” – as

  well as social media posts with violence threatened against President Trump.

  (See Joe Oltmann interview with Michelle Malkin dated November 13, 2020

  which contains copies of Eric Coomer’s recording and tweets).33

                                        120.

        While the bedrock of American elections has been transparency, almost

  every crucial aspect of Georgia’s November 3, 2020, General Election was

  shrouded in secrecy, rife with “errors,” and permeated with anomalies so

  egregious as to render the results incapable of certification.

     MULTIP LE EX PERT R EPOR T S AND S TATI S TICAL
  ANALYS ES P R OVE HU NDRE D S OF T HOUSA N DS OF V OTES
  WERE L OST O R SHIF TED T H AT COS T PRE S IDENT T RUMP
         AND TH E REP UBLICA N CAN DIDATE S OF
    CONGR ESSIO N AL DIST RICT S 6 AND 7 THEI R RACES.

                                        121.

        As evidenced by numerous public reports, expert reports, and witness

  statements, Defendants’ egregious misconduct has included ignoring

  legislative mandates concerning mail-in and ordinary ballots and led to


  33 Malkin Live: Election Update, Interview of Joe Oltmann, by Michelle Malkin,
  November 13, 2020, available at:
  https://www.youtube.com/watch?v=dh1X4s9HuLo&fbclid=IwAR2EaJc1M9RT3DaUr
  aAjsycM0uPKB3uM_-MhH6SMeGrwNyJ3vNmlcTsHxF4

                                         59

                                                                       Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 61
                                                                1266
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1555



  disenfranchisement of an enormous number of Georgia voters. Plaintiffs

  experts can show that, consistent with the above specific misrepresentations,

  analysis of voting data reveals the following:


              (a)   Regarding uncounted mail ballots, based on evidence

        gathered by Matt Braynard in the form of recorded calls and

        declarations of voters, and analyzed by Plaintiff’s expert, Williams M.

        Briggs, PhD, shows, based on a statistically significant sample, that

        the total number of mail ballots that voters mailed in, but were

        never counted, have a 95% likelihood of falling between 31,559

        and 38,886 total lost votes. This range exceeds the margin of loss of

        President Trump of 12,670 votes by at least 18,889 lost votes and by as

        many as 26,196 lost votes. (See Exh. 1, Dr. Briggs’ Report, with

        attachments).

              (b)   Plaintiff’s expert also finds that voters received tens of

        thousands of ballots that they never requested.          (See Exh. 1).

        Specifically, Dr. Briggs found that in the state of Georgia, based on a

        statistically significant sample, the expected amount of persons that

        received an absentee ballot that they did not request ranges from

        16,938 to 22,771. This range exceeds the margin of loss of




                                         60

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 62
                                                                1267
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1556



        President Trump by 12,670 votes by at least 4,268 unlawful

        requests and by as many as 10,101 unlawful requests. Id.

              (c)   This widespread pattern, as reflected within the population

        of unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable

        reality that, in addition to the calculations herein, third parties voted

        an untold number of unlawfully acquired absentee or mail-in ballots,

        which would not be in the database of unreturned ballots analyzed

        here. See O.G.C.A. 21-2-522. These unlawfully voted ballots

        prohibited properly registered persons from voting and reveal

        a pattern of widespread fraud down ballot as well.


              (d)   Further, as calculated by Matt Braynard, there exists

        clear evidence of 20,311 absentee or early voters in Georgia that

        voted while registered as having moved out of state. (See Id.,

        attachment to report). Specifically, these persons were showing on the

        National Change of Address Database (NCOA) as having moved, or as

        having filed subsequent voter registration in another state also as

        evidence that they moved and even potentially voted in another state.

        The 20,311 votes by persons documented as having moved exceeds the

        margin by which Donald Trump lost the election by 7,641 votes.




                                         61

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 63
                                                                1268
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1557



        (e)   Applying pro-rata the above calculations separately to Cobb

        County based on the number of unreturned ballots, a range of 1,255

        and 1,687 ballots ordered by 3rd parties and a range of 2,338 and 2,897

        lost mail ballots, plus 10,684 voters documented in the NCOA as

        having moved, for a combined minimum of 14,276 missing and

        unlawful ballots, and maximum of 15,250 missing and unlawful

        ballots, which exceeds the statewide Presidential race total

        margin by a range of as few as 1,606 ballots and as many as

        2,580 in the County of Cobb alone impacting the Cobb County

        Republican Party (“Cobb County Republicans”).


                                       122.

    As seen from the expert analysis of Eric Quinnell, mathematical

    anomalies further support these findings, when in various districts within

    Fulton County such as vote gains that exceed reasonable expectations

    when compared to 2016, and a failure of gains to be normally distributed

    but instead shifting substantially toward the tail of the distribution in

    what is known as a platykurtic distribution. Dr. Quinell identifies

    numerous anomalies such as votes to Biden in excess of 2016 exceed the

    registrations that are in excess of 2016. Ultimately, he identifies the

    counties in order of their excess performance over what would have fit in a


                                        62

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 64
                                                                1269
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1558



    normal distribution of voting gains, revealing a list of the most anomalous

    counties down to the least. These various anomalies provide evidence of

    voting irregularities. (See Exh.27, Declaration of Eric Quinnell, with

    attachments).

                                        123.

        In sum, with the expert analysis of William M. Briggs PhD based on

  recorded calls and declarations, the extent of missing AND unlawfully

  requested ballots create substantial evidence that the mail ballot system has

  fundamentally failed to provide a fair voting mechanism. In short, tens of

  thousands of votes did not count while the pattern of fraud makes clear that

  tens of thousands were improperly counted. This margin of victory in the

  election for Mr. Biden was only 12,670 and cannot withstand most of these

  criticisms individually and certainly not in aggregate.

                                        124.

        Cobb County, based on lost votes, unlawfully requested votes and

  NCOA data on these facts alone would consume more than the entire margin

  of the statewide difference in the Presidential race. These election results

  must be reversed.

                                        125.

        Applying pro-rata the above calculations separately to Cobb County

  based on the number of unreturned ballots, a range of 1,255 and 1,687 ballots

                                        63

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 65
                                                                1270
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1559



  ordered by 3rd parties and a range of 2,338 and 2,897 lost mail ballots, plus

  10,684 voters documented in the NCOA as having moved, for a combined

  minimum of 14,276 missing and unlawful ballots, and maximum of

  15,250 missing and unlawful ballots, which exceeds the statewide

  Presidential race total margin by a range of as few as 1,606 ballots

  and as many as 2,580 in the County of Cobb alone impacting the

  Cobb County Republican Party (“Cobb County Republicans”). (See

  Exh. 1).

                                         126.

        Mr. Braynard also found a pattern in Georgia of voters registered at

  totally fraudulent residence addresses, including shopping centers, mail drop

  stores and other non-residential facilities34.

                                         127.

        In sum, with the expert analysis of William M. Briggs, PhD, based on

  extensive investigation, recorded calls and declarations collected by Matt

  Braynard, (See attachments to Exh. 1, Briggs’ report) the extent of missing

  and unlawfully requested ballots create substantial evidence that the mail

  ballot system has fundamentally failed to provide a fair voting mechanism. In


  34Matt Braynard, https://twitter.com/MattBraynard/status/1331324173910761476;
  https://twitter.com/MattBraynard/status/1331299873556086787?s=20; (a)
         https://twitter.com/MattBraynard/status/1331299873556086787?s=20


                                          64

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 66
                                                                1271
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1560



  short, tens of thousands of votes did not count while the pattern of fraud and

  mathematical anomalies that are impossible absent malign human agency

  makes clear that tens of thousands were improperly counted. This margin of

  victory in the election for Mr. Biden was only 12,670 and cannot withstand

  most of these criticisms individually and certainly not in aggregate.

                                        128.

        Cobb County, based on lost votes, unlawfully requested votes and

  NCOA data on these facts alone would consume more than the entire margin

  of the statewide difference in the Presidential race.

                                        129.

        Russell Ramsland confirms that data breaches in the Dominion

  software permitted rogue actors to penetrate and manipulate the

  software during the recent general election. He further concludes

  that at least 96,600 mail-in ballots were illegally counted as they

  were not cast by legal voters.

                                        130.

        In sum, as set forth above, for a host of independent reasons, the

  Georgia certified election results concluding that Joe Biden received 12,670

  more votes that President Donald Trump must be set aside.




                                         65

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 67
                                                                1272
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1561



                                    COUNT I


  D E F E N DA N T S VIOLATED T H E E L E C T I O N S C L A US E A ND 42 U.S. C. §
                                      1983

                                        131.

        Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

                                        132.

        The Electors Clause states that “[e]ach State shall appoint, in such

  Manner as the Legislature thereof may direct, a Number of Electors” for

  President. Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause

  of the U.S. Constitution states that “[t]he Times, Places, and Manner of

  holding Elections for Senators and Representatives, shall be prescribed in

  each State by the Legislature thereof.” Art. I, § 4, cl. 1 (emphasis added).

                                        133.

        The Legislature is “‘the representative body which ma[kes] the laws of

  the people.’” Smiley, 285 U.S. at 193. Regulations of congressional and

  presidential elections, thus, “must be in accordance with the method which

  the state has prescribed for legislative enactments.” Id. at 367; see also Ariz.

  State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2668

  (2015).




                                         66

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 68
                                                                1273
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1562



                                        134.

        Defendants are not part of the General Assembly and cannot exercise

  legislative power. Rather, Defendants’ power is limited to “tak[ing] care that

  the laws be faithfully executed.” Pa. Const. Art. IV, § 2. Because the United

  States Constitution reserves for the General Assembly the power to set the

  time, place, and manner of holding elections for the President and Congress,

  county boards of elections and state executive officers have no authority to

  unilaterally exercise that power, much less to hold them in ways that conflict

  with existing legislation.

                                        135.

        Defendants are not the legislature, and their unilateral decision to

  create a “cure procedure” violates the Electors and Elections Clauses of the

  United States Constitution.

                                        136.

        The Secretary of State and the State Election Board are not the

  legislature, and their decision to permit early processing of absentee ballots

  in direct violation of the unambiguous requirements of O.C.G.A. § 21-2-

  386(a)(2) violates the Electors and Elections Clauses of the United States

  Constitution.




                                        67

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 69
                                                                1274
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1563



                                        137.

        Many Affiants testified to many legal infractions in the voting process,

  including specifically switching absentee ballots or mail-in ballots for Trump

  to Biden. Even a Democrat testified in his sworn affidavit that before he was

  forced to move back to where he could not see, he had in fact seen, “I also saw

  absentee ballots for Trump inserted into Biden’s stack, and counted as Biden

  votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                        138.

        Plaintiff’s expert also finds that voters received tens of thousands of

  ballots that they never requested. (See Exh. 1, Dr. Briggs’ Report).

  Specifically, Dr. Briggs found that in the state of Georgia, based on a

  statistically significant sample, the expected amount of persons that received

  an absentee ballot that they did not request one ranges from 16,938 to

  22,771. This range exceeds the margin of loss of President Trump by 12,670

  votes by at least 4,268 unlawful requests and by as many as 10,101 unlawful

  requests.

                                        139.

        This widespread pattern, as reflected within the population of

  unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable reality

  that, in addition to the calculations herein, third parties voted an untold

  number of unlawfully acquired absentee or mail-in ballots, which would not

                                         68

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 70
                                                                1275
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1564



  be in the database of unreturned ballots analyzed here. See O.G.C.A. 21-2-

  522. These unlawfully voted ballots prohibited properly registered persons

  from voting and reveal a pattern of widespread fraud.

                                       140.

        Further, as shown by data collected by Matt Braynard, there exists

  clear evidence of 20,311 absentee or early voters in Georgia that voted while

  registered as having moved out of state. Specifically, these persons were

  showing on the National Change of Address Database (NCOA) as having

  moved, or as having filed subsequent voter registration in another state also

  as evidence that they moved and even potentially voted in another state. The

  20,311 votes by persons documented as having moved exceeds the margin by

  which Donald Trump lost the election by 7,641 votes.

                                       141.

        Plaintiffs have no adequate remedy at law and will suffer serious and

  irreparable harm unless the injunctive relief requested herein is granted.

  Defendants have acted and, unless enjoined, will act under color of state law

  to violate the Elections Clauses of the Constitution. Accordingly, the results

  for President and Congress in the November 3, 2020 election must be set

  aside. The results are infected with Constitutional violations.

                                   COUNT II



                                        69

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 71
                                                                1276
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1565



   T H E S E CR E T A R Y O F S T A T E A N D G E O R GI A C O U NT IE S V I OL A T E D
    T H E F O UR T E E NT H A M E N DM E NT U.S. C O N S T . A M E ND . XIV, 42
                                    U.S.C. § 1983

                         D E N I A L OF E Q U A L P R OT E C T I O N

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            O B S E R V A T I O N A N D M O N I T OR I N G O F T H E E L E CT I ON

                                             142.

        Plaintiffs refer to and incorporate by reference each of the prior

  paragraphs of this Complaint as though the same were repeated at length

  herein.

                                             143.

        The Fourteenth Amendment of the United States Constitution provides

  “nor shall any state deprive any person of life, liberty, or property, without

  due process of law; nor deny to any person within its jurisdiction the equal

  protection of the laws. See also Bush v. Gore, 531 U.S. 98, 104 (2000)(having

  once granted the right to vote on equal terms, the State may not, by later

  arbitrary and disparate treatment, value one person’s vote over the value of

  another’s). Harper v. Virginia Board of Elections, 383 U.S. 663, 665 (1966)

  (“Once the franchise is granted to the electorate, lines may not be drawn

  which are inconsistent with the Equal Protection Clause of the Fourteenth

  Amendment.”).




                                              70

                                                                                  Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 72
                                                                1277
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1566



                                        144.

        The Court has held that to ensure equal protection, a “problem inheres

  in the absence of specific standards to ensure its equal application. The

  formulation of uniform rules to determine intent based on these recurring

  circumstances is practicable and, we conclude, necessary.” Bush v. Gore, 531

  U.S. 98, 106, 121 S. Ct. 525, 530, 148 L. Ed. 2d 388 (2000).

                                        145.

        The equal enforcement of election laws is necessary to preserve our

  most basic and fundamental rights. The requirement of equal protection is

  particularly stringently enforced as to laws that affect the exercise of

  fundamental rights, including the right to vote.

                                        146.

        In statewide and federal elections conducted in the State of Georgia,

  including without limitation the November 3, 2020, General Election, all

  candidates, political parties, and voters, including without limitation

  Plaintiffs, have a vested interest in being present and having meaningful

  access to observe and monitor the electoral process in each County to ensure

  that it is properly administered in every election district and otherwise free,

  fair, and transparent.




                                         71

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 73
                                                                1278
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1567



                                        147.

        Moreover, through its provisions involving watchers and

  representatives, the Georgia Election Code ensures that all candidates and

  political parties in each County, including the Trump Campaign, have

  meaningful access to observe and monitor the electoral process to ensure that

  it is properly administered in every election district and otherwise free, fair,

  and transparent. See, e.g. In plain terms, the statute clearly prohibits

  opening absentee ballots prior to election day, while the rule authorizes doing

  so three weeks before election day. There is no reconciling this conflict. The

  State Election Board has authority under O.C.G.A. § 21-2-31 to adopt lawful

  and legal rules and regulations, but no authority to promulgate a regulation

  that is directly contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is

  therefore plainly and indisputably unlawful.




                                         72

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 74
                                                                1279
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1568



    Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,

     Grounds for Contest:

                                         148.

     A result of a primary or election may be contested on one or more of the

     following grounds:

                                         149.

     (1) Misconduct, fraud, or irregularity by any primary or election official or

     officials sufficient to change or place in doubt the result;

    (2) When the defendant is ineligible for the nomination or office in dispute;

    (3) When illegal votes have been received or legal votes rejected at the polls

    sufficient to change or place in doubt the result;

    (4) For any error in counting the votes or declaring the result of the

    primary or election, if such error would change the result; or

    (5) For any other cause which shows that another was the person legally

    nominated, elected, or eligible to compete in a run-off primary or election.

    O.C.G.A. § 21-2-522.

                                         150.

        Several affiants testified to the improper procedures with absentee

  ballots processing, with the lack of auditable procedures with the logs in the

  computer systems, which violates Georgia law, and federal election law. See



                                          73

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 75
                                                                1280
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1569



  also, 50 U.S.C. § 20701 requires the retention and preservation of records and

  papers by officers of elections under penalty of fine and imprisonment.

                                        151.

        The State Election Board re-adopted Rule 183-1-14-0.9-.15 on

  November 23, 2020 for the upcoming January 2021 runoff election.

                                        152.

        A large number of ballots were identical and likely fraudulent. An

  Affiant explains that she observed a batch of utterly pristine ballots:

        14. Most of the ballots had already been handled; they had been
        written on by people, and the edges were worn. They showed obvious
        use. However, one batch stood out. It was pristine. There was a
        difference in the texture of the paper - it was if they were intended
        for absentee use but had not been used for that purposes. There was
        a difference in the feel.

        15. These different ballots included a slight depressed pre-fold so
        they could be easily folded and unfolded for use in the scanning
        machines. There were no markings on the ballots to show where they
        had com~ from, or where they had been processed. These stood out.

        16. In my 20 years of experience of handling ballots, I observed that
        the markings for the candidates on these ballots were unusually
        uniform, perhaps even with a ballot-marking device. By my estimate
        in observing these ballots, approximately 98% constituted votes for
        Joe Biden. I only observed two of these ballots as votes for President
        Donald J. Trump.” (See Exh. 15).

                                        153.

        The same Affiant further testified specifically to the breach of the chain

  of custody of the voting machines the night before the election stating:



                                         74

                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 76
                                                                1281
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1570



        we typically receive the machines, the ballot marking devices – on
        the Friday before the election, with a chain of custody letter to be
        signed on Sunday, indicating that we had received the machines and
        the counts on the machines when received, and that the machines
        have been sealed. In this case, we were asked to sign the chain
        of custody letter on Sunday, even though the machines were
        not delivered until 2:00 AM in the morning on Election Day.
        The Milton precinct received its machines at 1:00 AM in the morning
        on Election Day. This is unacceptable and voting machines should
        [not] be out of custody prior to an Election Day. Id.



                                         154.

        Defendants have a duty to treat the voting citizens in each County in

  the same manner as the citizens in other counties in Georgia.

                                         155.

        As set forth in Count I above, Defendants failed to comply with the

  requirements of the Georgia Election Code and thereby diluted the lawful

  ballots of the Plaintiffs and of other Georgia voters and electors in violation of

  the United States Constitution guarantee of Equal Protection.

                                         156.

        Specifically, Defendants denied the plaintiffs equal protection of the

  law and their equal rights to meaningful access to observe and monitor the

  electoral process enjoyed by citizens in other Georgia Counties by:

        (a) mandating that representatives at the pre-canvass and
        canvass of all absentee and mail-ballots be either Georgia barred



                                         75

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 77
                                                                1282
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1571



        attorneys or qualified registered electors of the county in which
        they sought to observe and monitor;
        (b) not allowing watchers and representatives to visibly see and
        review all envelopes containing official absentee and mail-in
        ballots either at or before they were opened and/or when such
        ballots were counted and recorded; and
        (c) allowing the use of Dominion Democracy Suite software and
        devices, which failed to meet the Dominion Certification Report’s
        conditions for certification.
                                        157.

        Instead, Defendants refused to credential all of the Trump Republicans’

  submitted watchers and representatives and/or kept Trump Campaign’s

  watchers and representatives by security and metal barricades from the

  areas where the inspection, opening, and counting of absentee and mail-in

  ballots were taking place. Consequently, Defendants created a system

  whereby it was physically impossible for the candidates and political parties

  to view the ballots and verify that illegally cast ballots were not opened and

  counted

                                        158.

        Many Affiants testified to switching absentee ballots or mail-in ballots

  for Trump to Biden, including a Democrat. He testified in his sworn

  affidavit, that before he was forced to move back to where he could not see, he




                                        76

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 78
                                                                1283
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1572



  had in fact seen, “absentee ballots for Trump inserted into Biden’s stack, and

  counted as Biden votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                        159.

        Other Georgia county boards of elections provided watchers and

  representatives of candidates and political parties, including without

  limitation watchers and representatives of the Republicans and the Trump

  Campaign, with appropriate access to view the absentee and mail-in ballots

  being pre-canvassed and canvassed by those county election boards and

  without restricting representatives by any county residency or Georgia bar

  licensure requirements.

                                        160.

        Defendants intentionally and/or arbitrarily and capriciously denied

  Plaintiffs access to and/or obstructed actual observation and monitoring of

  the absentee and mail-in ballots being pre-canvassed and canvassed by

  Defendants, depriving them of the equal protection of those state laws

  enjoyed by citizens in other Counties.

                                        161.

        Defendants have acted and will continue to act under color of state law

  to violate Plaintiffs’ right to be present and have actual observation and

  access to the electoral process as secured by the Equal Protection Clause of

  the United States Constitution.

                                           77

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 79
                                                                1284
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1573



                                          162.

          Defendants further violated Georgia voters’ rights to equal protection

  insofar as Defendants allowed the Georgia counties to process and count

  ballots in a manner that allowed ineligible ballots to be counted, and through

  the use of Dominion Democracy Suite, allowed eligible ballots for Trump and

  McCormick to be switched to Biden or lost altogether. Defendants thus failed

  to conduct the general election in a uniform manner as required by the Equal

  Protection Clause of the Fourteenth Amendment and the Georgia Election

  Code.

                                          163.

          Plaintiffs seek declaratory and injunctive relief holding that the

  election, under these circumstances, was improperly certified and that the

  Governor be enjoined from transmitting Georgia’s certified Presidential

  election results to the Electoral College. Georgia law forbids certifying a tally

  that includes any ballots that were not legally cast, or that were switched

  from Trump to Biden, through the unlawful use of Dominion Democracy

  Suite software and devices.

                                          164.

          Alternatively, Plaintiffs seek declaratory and injunctive relief holding

  that the election, under these circumstances, was improperly certified and

  that the Governor be required to recertify the results declaring that Donald

                                          78

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 80
                                                                1285
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1574



  Trump has won the election and transmitting Georgia’s certified Presidential

  election result in favor of President Trump.

                                        165.

        Plaintiffs have no adequate remedy at law and will suffer serious and

  irreparable harm unless the declaratory and injunctive relief requested

  herein is granted. Indeed, the setting aside of an election in which the people

  have chosen their representative is a drastic remedy that should not be

  undertaken lightly, but instead should be reserved for cases in which a

  person challenging an election has clearly established a violation of election

  procedures and has demonstrated that the violation has placed the result of

  the election in doubt. Georgia law allows elections to be contested through

  litigation, both as a check on the integrity of the election process and as a

  means of ensuring the fundamental right of citizens to vote and to have their

  votes counted accurately. O.C.G.A. § 21-2-520 et seq.

                                        166.

        In addition to the alternative requests for relief in the preceding

  paragraphs, hereby restated, Plaintiffs seek a permanent injunction

  requiring the County Election Boards to invalidate ballots cast by: 1) voters

  whose signatures on their registrations have not been matched with ballot,

  envelope and voter registration check; 2) all “dead votes”; and 4) all 900

  military ballots in Fulton County that supposedly were 100% for Joe Biden.

                                         79

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 81
                                                                1286
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1575




                                       COUNT III

    F O U R T E E NT H A M E N D ME NT E Q UA L P R OT E CT I O N C L A US E U.S.
                    C O N S T . A ME N D . XIV, 42 U.S.C. § 1983

                             D E N I A L OF D U E P R O C E S S

   D I S P A R A T E T R E A T M E NT OF A B S E N T E E /M A IL -I N V O T E R S A M O N G
                                  D I F F E R E N T C O UN T IE S

                                            167.

        Plaintiffs incorporate each of the prior allegations in this Complaint.

        Voting is a fundamental right protected by the Fourteenth Amendment

  to the United States Constitution. The Fourteenth Amendment protects the

  right to vote from conduct by state officials which seriously undermines the

  fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,

  889 (3d Cir. 1994); Griffin, 570 F.2d at 1077-78. “[H]aving once granted the

  right to vote on equal terms, the State may not, by later arbitrary and

  disparate treatment, value one person’s vote over that of another.” Bush, 531

  U.S. at 104-05.

                                            168.

        Defendants are not part of the General Assembly and cannot exercise

  legislative power. Rather, Defendants’ power is limited to executing the laws

  as passed by the legislature Although the Georgia General Assembly may

  enact laws governing the conduct of elections, “no legislative enactment may



                                             80

                                                                                 Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 82
                                                                1287
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1576



  contravene the requirements of the Georgia or United States Constitutions.”

  Shankey, 257 A. 2d at 898.

                                          169.

        Federal courts “possess broad discretion to fashion an equitable

  remedy.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers,

  781 F.3d 1271, 1290 (11th Cir. 2015); Castle v. Sangamo Weston, Inc., 837

  F.2d 1550, 1563 (11th Cir. 1988) (“The decision whether to grant equitable

  relief, and, if granted, what form it shall take, lies in the discretion of the

  district court.”).

                                          170.

        Moreover, “[t]o the extent that a voter is at risk for having his or her

  ballot rejected due to minor errors made in contravention of those

  requirements, … the decision to provide a ‘notice and opportunity to cure’

  procedure to alleviate that risk is one best suited for the Legislature[,] . . .

  particularly in light of the open policy questions attendant to that decision,

  including what the precise contours of the procedure would be, how the

  concomitant burdens would be addressed, and how the procedure would

  impact the confidentiality and counting of ballots, all of which are best left to

  the legislative branch of Georgia's government.” Id.




                                          81

                                                                            Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 83
                                                                1288
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1577



                                         171.

        The disparate treatment of Georgia voters, in subjecting one class of

  voters to greater burdens or scrutiny than another, violates Equal Protection

  guarantees because “the right of suffrage can be denied by a debasement or

  dilution of the weight of a citizen’s vote just as effectively as by wholly

  prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555. Rice

  v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v.

  Brown Grp., Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo.

  Ct. App. 1982); Prince v. Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d

  524, 536-37 (Utah 2002).

                                         172.

        Defendants are not the legislature, and their unilateral decision to

  create and implement a cure procedure for some but not all absentee and

  mail-in voters in this State violates the Due Process Clause of the United

  States Constitution. Plaintiffs have no adequate remedy at law and will

  suffer serious and irreparable harm unless the injunctive relief requested

  herein is granted.




                                          82

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 84
                                                                1289
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1578



                                      COUNT IV

   F O U R T E E NT H A M E N D ME NT , U.S. C O N S T . A R T . I § 4, C L . 1; A R T .
                 II, § 1, C L . 2; A M E N D . XIV, 42 U. S.C. § 1 983

            D E N I A L OF D U E P R O C E S S O N T H E R I G H T T O V O T E

                                           173.

        Plaintiffs refer to and incorporate by reference each of the prior

  paragraphs of this Complaint as though the same were repeated at length

  herein.

                                           174.

        The right of qualified citizens to vote in a state election involving

  federal candidates is recognized as a fundamental right under the Fourteenth

  Amendment of the United States Constitution. Harper, 383 U.S. at See also

  Reynolds, 377 U.S. at 554 (The Fourteenth Amendment protects “the right of

  all qualified citizens to vote, in state as well as in federal elections.”).

  Indeed, ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the United

  States Supreme Court has held that the Privileges or Immunities Clause of

  the Fourteenth Amendment protects certain rights of federal citizenship from

  state interference, including the right of citizens to directly elect members of

  Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex parte

  Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400

  U.S. 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).



                                            83

                                                                               Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 85
                                                                1290
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1579



                                         175.

        The fundamental right to vote protected by the Fourteenth Amendment

  is cherished in our nation because it “is preservative of other basic civil and

  political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a

  ballot in an election free from the taint of intimidation and fraud,” Burson v.

  Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our

  electoral processes is essential to the functioning of our participatory

  democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

                                         176.

        “Obviously included within the right to [vote], secured by the

  Constitution, is the right of qualified voters within a state to cast their ballots

  and have them counted” if they are validly cast. United States v. Classic, 313

  U.S. 299, 315 (1941). “[T]he right to have the vote counted” means counted

  “at full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29

  (quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

                                         177.

        “Every voter in a federal . . . election, whether he votes for a candidate

  with little chance of winning or for one with little chance of losing, has a right

  under the Constitution to have his vote fairly counted, without its being

  distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S.

  211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or

                                          84

                                                                           Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 86
                                                                1291
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1580



  fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote.

  See Anderson, 417 U.S. at 227.

                                         178.

        The right to an honest [count] is a right possessed by each voting

  elector, and to the extent that the importance of his vote is nullified, wholly

  or in part, he has been injured in the free exercise of a right or privilege

  secured to him by the laws and Constitution of the United States.” Anderson,

  417 U.S. at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th

  Cir.), aff'd due to absence of quorum, 339 U.S. 974 (1950)).

                                         179.

        Practices that promote the casting of illegal or unreliable ballots or fail

  to contain basic minimum guarantees against such conduct, can violate the

  Fourteenth Amendment by leading to the dilution of validly cast ballots. See

  Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a

  debasement or dilution of the weight of a citizen’s vote just as effectively as

  by wholly prohibiting the free exercise of the franchise.”).

                                         180.

        In Georgia, the signature verification requirement is a dead letter. The

  signature rejection rate for the most recent election announced by the

  Secretary of State was 0.15%. The signature rejection rate for absentee ballot

  applications was .00167% - only 30 statewide. Hancock County, Georgia,

                                          85

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 87
                                                                1292
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1581



  population 8,348, rejected nine absentee ballot applications for signature

  mismatch. Fulton County rejected eight. No other metropolitan county in

  Georgia rejected even a single absentee ballot application for signature

  mismatch. The state of Colorado, which has run voting by mail for a number

  of years, has a signature rejection rate of between .52% and .66%.35 The State

  of Oregon had a rejection rate of 0.86% in 2016.36 The State of Washington

  has a rejection rate of between 1% and 2%.37If Georgia rejected absentee

  ballots at a rate of .52% instead of the actual .15%, approximately 4,600 more

  absentee ballots would have been rejected.

                                     COUNT V

               T H E R E W A S W I DE -S P R E A D B A L L O T F R A U D .

                                 OCGA 2 1-2-52 2

                                          181.

        Plaintiffs refer to and incorporate by reference each of the prior

  paragraphs of this Complaint as though the same were repeated at length

  herein.




  35 See https://duckduckgo.com/?q=colorado+signature+rejection+rate&t=osx&ia=web
  last visited November 25,2020
  36 See https://www.vox.com/21401321/oregon-vote-by-mail-2020-presidential-

  election, last visited November 25,2020.
  37 See https://www.salon.com/2020/09/08/more-than-550000-mail-ballots-rejected-so-

  far-heres-how-to-make-sure-your-vote-gets-counted/ last visited November 25, 2020.
                                           86

                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 88
                                                                1293
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1582



                                         182.

        Plaintiffs contest the results of Georgia’s election, with Standing

  conferred under pursuant to O.G.C.A. 21-2-521.

                                         183.

        Therefore, pursuant to O.G.C.A. 21-2-522, for misconduct, fraud, or

  irregularity by any primary or election official or officials sufficient to change

  or place in doubt the result. The foundational principle that Georgia law

  “nonetheless allows elections to be contested through litigation, both as a

  check on the integrity of the election process and as a means of ensuring the

  fundamental right of citizens to vote and to have their votes counted

  accurately.” Martin v. Fulton County Bd. of Registration & Elections, 307 Ga.

  193, 194, 835 S.E.2d 245, 248 (2019). The Georgia Supreme Court has made

  clear that Plaintiffs need not show how the voters would have voted if their

  [absentee] ballots had been regular. [] only had to show that there were

  enough irregular ballots to place in doubt the result.” See OCGA § 21-2-520 et

  seq., Mead v. Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (1994) the

  Supreme Court invalidated an election, and ordered a new election because it

  found that,

        Thus, [i]t was not incumbent upon [the Plaintiff] to show how the
        [481] voters would have voted if their [absentee] ballots had
        been regular. He only had to show that there were enough irregular
        ballots to place in doubt the result. He succeeded in that task.


                                          87

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 89
                                                                1294
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1583



  Id. at 271 (citing Howell v. Fears, 275 Ga. 627, 571 SE2d 392, (2002) (primary

  results invalid where ballot in one precinct omitted names of both qualified

  candidates).

                                         184.

        The "glitches" in the Dominion system—that seem to have the uniform

  effect of hurting Trump and helping Biden have been widely reported in the

  press and confirmed by the analysis of independent experts.

                                         185.

        Prima facie evidence in multiple affidavits shows specific fraudulent

  acts, which directly resulted in the flipping of the race at issue:


     a) votes being switched in Biden’s favor away from Trump during the

        recount;

     b) the lack of procedures in place to follow the election code, and the

        purchase and use of Dominion Voting System despite evidence of

        serious vulnerabilities;

     c) a demonstration that misrepresentations were made about a pipe burst

        that sent everyone home, while first six, then three, unknown

        individuals were left alone until the morning hours working on the

        machines;




                                          88

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 90
                                                                1295
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1584



     d) further a failure to demonstrate compliance with the Georgia’s Election

        Codes, in maintaining logs on the Voting system for a genuine and

        sound audit, other than voluntary editable logs that prevent genuine

        audits. While the bedrock of this Democratic Republic rests on citizens’

        confidence in the validity of our elections and a transparent process,

        Georgia’s November 3, 2020 General Election remains under a pall of

        corruption and irregularity that reflects a pattern of the absence of

        mistake. At best, the evidence so far shows ignorance of the truth; at

        worst, it proves a knowing intent to defraud.


                                        186.

        Plaintiff’s expert also finds that voters received tens of thousands of

  ballots that they never requested. (See Exh. 1, Dr. Briggs’ Report).

  Specifically, Dr. Briggs found that in the state of Georgia, based on a

  statistically significant sample, the expected amount of persons that received

  an absentee ballot that they did not request ranges from 16,938 to

  22,771. This range exceeds the margin of loss of President Trump by 12,670

  votes by at least 4,268 unlawful requests and by as many as 10,101 unlawful

  requests.




                                         89

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 91
                                                                1296
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1585



                                        187.

        This widespread pattern, as reflected within the population of

  unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable reality

  that, in addition to the calculations herein, third parties voted an untold

  number of unlawfully acquired absentee or mail-in ballots, which would not

  be in the database of unreturned ballots analyzed here. See O.G.C.A. 21-2-

  522. These unlawfully voted ballots prohibited properly registered persons

  from voting and reveal a pattern of widespread fraud.

                                        188.

        Further, there exists clear evidence of 20,311 absentee or early voters

  in Georgia that voted while registered as having moved out of state.

  Specifically, these persons were showing on the National Change of Address

  Database (NCOA) as having moved, or as having filed subsequent voter

  registration in another state also as evidence that they moved and even

  potentially voted in another state. The 20,311 votes by persons documented

  as having moved exceeds the margin by which Donald Trump lost the

  election by 7,641 votes.

                                        189.

        Plaintiffs’’ expert Russell Ramsland concludes that at least 96,600

  mail-in ballots were fraudulently cast. He further concludes that up to



                                         90

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 92
                                                                1297
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1586



  136,098 ballots were illegally counted as a result of improper manipulation of

  the Dominion software (Ramsland Aff).

                                        190.

        The very existence of absentee mail in ballots created a heightened

  opportunity for fraud. The population of unreturned ballots analyzed by

  William Briggs, PhD, reveals the probability that a far greater number of

  mail ballots were requested by 3rd parties or sent erroneously to persons and

  voted fraudulently, undetected by a failed system of signature verification.

  The recipients may have voted in the name of another person, may have not

  had the legal right to vote and voted anyway, or may have not received the

  ballot at the proper address and then found that they were unable to vote at

  the polls, except provisionally, due to a ballot outstanding in their name.

                                        191.

        When we consider the harm of these uncounted votes, and ballots not

  ordered by the voters themselves, and the potential that many of these

  unordered ballots may in fact have been improperly voted and also prevented

  proper voting at the polls, the mail ballot system has clearly failed in the

  state of Georgia and did so on a large scale and widespread basis. The size of

  the voting failures, whether accidental or intentional, are multiples larger

  than the margin of votes between the presidential candidates in the



                                         91

                                                                         Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 93
                                                                1298
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1587



  state. For these reasons, Georgia cannot reasonably rely on the results of the

  mail vote.

                                          192.

        The right to vote includes not just the right to cast a ballot, but also the

  right to have it fairly counted if it is legally cast. The right to vote is infringed

  if a vote is cancelled or diluted by a fraudulent or illegal vote, including

  without limitation when a single person votes multiple times. The Supreme

  Court of the United States has made this clear in case after case. See, e.g.,

  Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected

  from the diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election

  Bd., 553 U.S. 181, 196 (2008) (plurality op. of Stevens, J.) (“There is no

  question about the legitimacy or importance of the State’s interest in

  counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S.

  533, 554-55 & n.29 (1964).

                                          193.

        Plaintiffs have no adequate remedy at law. As seen from the expert

  analysis of William Higgs, PhD, based on actual voter data, tens of thousands

  of votes did not count, and tens of thousands of votes were unlawfully

  requested.




                                           92

                                                                             Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 94
                                                                1299
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1588



                                         194.

        The Fourteenth Amendment Due Process Clause protects the right to

  vote from conduct by state officials which seriously undermines the

  fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,

  889 (3d Cir. 1994); Griffin v. Burns, 570 F.2d 1065, 1077-78 (1st Cir. 1978).

                                         195.

        Separate from the Equal Protection Clause, the Fourteenth

  Amendment’s due process clause protects the fundamental right to vote

  against “the disenfranchisement of a state electorate.” Duncan v. Poythress,

  657 F.2d 691, 702 (5th Cir. 1981). “When an election process ‘reaches the

  point of patent and fundamental unfairness,’ there is a due process

  violation.” Florida State Conference of N.A.A.C.P. v. Browning, 522 F.3d

  1153, 1183-84 (11th Cir. 2008) (quoting Roe v. Alabama, 43 F.3d 574, 580

  (11th Cir.1995) (citing Curry v. Baker, 802 F.2d 1302, 1315 (11th Cir.1986))).

  See also Griffin, 570 F.2d at 1077 (“If the election process itself reaches the

  point of patent and fundamental unfairness, a violation of the due process

  clause may be indicated and relief under § 1983 therefore in order.”); Marks

  v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994) (enjoining winning state senate

  candidate from exercising official authority where absentee ballots were

  obtained and cast illegally).



                                         93

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 95
                                                                1300
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1589



                                         196.

        Part of courts’ justification for such a ruling is the Supreme Court’s

  recognition that the right to vote and to free and fair elections is one that is

  preservative of other basic civil and political rights. See Black, 209 F.Supp.2d

  at 900 (quoting Reynolds, 377 U.S. at 561-62 (“since the right to exercise the

  franchise in a free and unimpaired manner is preservative of other basic civil

  and political rights, any alleged infringement of the right of citizens to vote

  must be carefully and meticulously scrutinized.”)); see also Yick Wo v.

  Hopkins, 118 U.S. 356, 370 (1886) (“the political franchise of voting … is

  regarded as a fundamental political right, because [sic] preservative of all

  rights.”).

                                         197.

        “[T]he right to vote, the right to have one’s vote counted, and the right

  to have one’s vote given equal weight are basic and fundamental

  constitutional rights incorporated in the due process clause of the Fourteenth

  Amendment to the Constitution of the United States.” Black, 209 F. Supp. 2d

  at 900 (a state law that allows local election officials to impose different

  voting schemes upon some portions of the electorate and not others violates

  due process). “Just as the equal protection clause of the Fourteenth

  Amendment prohibits state officials from improperly diluting the right to

  vote, the due process clause of the Fourteenth amendment forbids state

                                          94

                                                                          Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 96
                                                                1301
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1590



  officials from unlawfully eliminating that fundamental right.” Duncan, 657

  F.2d at 704. “Having once granted the right to vote on equal terms,

  [Defendants] may not, by later arbitrary and disparate treatment, value one

  person's vote over that of another.” Bush, 531 U.S. at 104-05.

                                        198.

        In statewide and federal elections conducted in the State of Georgia,

  including without limitation the November 3, 2020 General Election, all

  candidates, political parties, and voters, including without limitation

  Plaintiffs, have a vested interest in being present and having meaningful

  access to observe and monitor the electoral process to ensure that it is

  properly administered in every election district and otherwise free, fair, and

  transparent.

                                        199.

        Moreover, through its provisions involving watchers and

  representatives, the Georgia Election Code ensures that all candidates and

  political parties, including without limitation Plaintiff, Republicans, and the

  Trump Campaign, shall be “present” and have meaningful access to observe

  and monitor the electoral process to ensure that it is properly administered in

  every election district and otherwise free, fair, and transparent.




                                         95

                                                                        Exhibit N
Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
                             Document64-19
                                       35-2 Filed
                                            Filed 01/25/21
                                                  05/03/21 Page
                                                           Page 97
                                                                1302
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
                                      1591



                                        200.

        Defendants have a duty to guard against deprivation of the right to

  vote through the dilution of validly cast ballots by ballot fraud or election

  tampering. Rather than heeding these mandates and duties, Defendants

  arbitrarily and capriciously denied the Trump Campaign and Republicans

  meaningful access to observe and monitor the electoral process by: (a)

  mandating that representatives at the pre- canvass and canvass of all

  absentee and mail-ballots be either Georgia barred attorneys or qualified

  registered electors of the county in which they sought to observe and monitor;

  and (b) not allowing watchers and representatives to visibly see and review

  all envelopes containing official absentee and mail-in ballots either at the

  time or before they were opened and/or when such ballots were counted and

  recorded. Instead, Defendants refused to credential all of the Trump

  Campaign’s submitted watchers and representatives and/or kept Trump

  Campaign’s watchers and representatives by security and metal barricades

  from the areas where the inspection, opening, and counting of absentee and

  mail-in ballots were taking place. The lack of meaningful access with actual

  access to see the ballots invited further fraud and cast doubt of the validity of

  the proceedings.




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Case 1:18-cv-05398-DLI-VMS
     Case 1:21-cv-01169-TCB Document
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                                                           Page 98
                                                                1303
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
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                                        201.

        Consequently, Defendants created a system whereby it was physically

  impossible for the candidates and political parties to view the ballots and

  verify that illegally cast ballots were not opened and counted.

                                        202.

  Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs

  access to and/or obstructed actual observation and monitoring of the absentee

  and mail-in ballots being pre-canvassed and canvassed by Defendants, and

  included the unlawfully not counting and including uncounted mail ballots,

  and that they failed to follow absentee ballot requirements when thousands

  of voters received ballots that they never requested. Defendants have

  acted and will continue to act under color of state law to violate the right to

  vote and due process as secured by the Fourteenth Amendment to the United

  States Constitution.

                                        203.

        Plaintiffs have no adequate remedy at law and will suffer serious and

  irreparable harm unless the injunctive relief requested herein is granted.



                                        204.

        When we consider the harm of these uncounted votes, and ballots not

  ordered by the voters themselves, and the potential that many of these

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     Case 1:21-cv-01169-TCB Document
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                                                           Page 99
                                                                1304
                                                                   of 105
                                                                      of 1677
                                                                          PageID #:
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  unordered ballots may in fact have been improperly voted and also prevented

  proper voting at the polls, the mail ballot system has clearly failed in the

  state of Georgia and did so on a large scale and widespread basis. The size of

  the voting failures, whether accidental or intentional, are multiples larger

  than the margin in the state. For these reasons, Georgia cannot reasonably

  rely on the results of the mail vote.

                                          205.

        Relief sought is the elimination of the mail ballots from counting in the

  2020 election. Alternatively, the Presidential electors for the state of Georgia

  should be disqualified from counting toward the 2020 election.

                                          206.

        The United States Code (3 U.S.C. 5) provides that,

        “[i]f any State shall have provided, by laws enacted prior to the day
        fixed for the appointment of the electors, for its final determination
        of any controversy or contest concerning the appointment of all or
        any of the electors of such State, by judicial or other methods or
        procedures, and such determination shall have been made at least
        six days before the time fixed for the meeting of the electors, such
        determination made pursuant to such law so existing on said day,
        and made at least six days prior to said time of meeting of the
        electors, shall be conclusive, and shall govern in the counting of the
        electoral votes as provided in the Constitution, and as hereinafter
        regulated, so far as the ascertainment of the electors appointed by
        such State is concerned.

  3 USCS § 5.




                                          98

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Case 1:18-cv-05398-DLI-VMS
      Case 1:21-cv-01169-TCBDocument
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                                                                  1305
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                                                                        1051677
                                                                             PageID #:
                                      1594



                           REQUEST FOR RELIEF

                                         207.

        Accordingly, Plaintiffs seek an emergency order instructing

  Defendants to de-certify the results of the General Election for the Office of

  President.

                                         208.

        In the alternative, Plaintiffs seek an emergency order prohibiting

  Defendants from including in any certified results from the General Election

  the tabulation of absentee and mailing ballots which do not comply with the

  Election Code, including, without limitation, the tabulation of absentee and

  mail-in ballots Trump Campaign’s watchers were prevented from observing

  or based on the tabulation of invalidly cast absentee and mail-in ballots

  which (i) lack a secrecy envelope, or contain on that envelope any text, mark,

  or symbol which reveals the elector’s identity, political affiliation, or

  candidate preference, (ii) do not include on the outside envelope a completed

  declaration that is dated and signed by the elector, or (iii) are delivered in-

  person by third parties for non-disabled voters.

                                         209.

        When we consider the harm of these uncounted votes, and ballots not

  ordered by the voters themselves, and the potential that many of these

  unordered ballots may in fact have been improperly voted and also prevented

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      Case 1:21-cv-01169-TCBDocument
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                                                                             PageID #:
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  proper voting at the polls, the mail ballot system has clearly failed in the

  state of Georgia and did so on a large scale and widespread basis. The size of

  the voting failures, whether accidental or intentional, are multiples larger

  than the margin in the state. For these reasons, Georgia cannot reasonably

  rely on the results of the mail vote. Relief sought is the elimination of the

  mail ballots from counting in the 2020 election. Alternatively, the electors for

  the state of Georgia should be disqualified from counting toward the 2020

  election. Alternatively, the electors of the State of Georgia should be directed

  to vote for President Donald Trump.

                                         210.

        For these reasons, Plaintiff asks this Court to enter a judgment in

  their favor and provide the following emergency relief:


        1. An order directing Governor Kemp, Secretary Raffensperger and the

            Georgia State Board of Elections to de-certify the election results;


        2. An order enjoining Governor Kemp from transmitting the currently

            certified election results to the Electoral College;


        3. An order requiring Governor Kemp to transmit certified election

            results that state that President Donald Trump is the winner of the

            election;



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      Case 1:21-cv-01169-TCBDocument
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                                                                        1051677
                                                                             PageID #:
                                      1596



        4. An immediate order to impound all the voting machines and

            software in Georgia for expert inspection by the Plaintiffs.


        5. An order that no votes received or tabulated by machines that were

            not certified as required by federal and state law be counted.


        6. A declaratory judgment declaring that Georgia Secretary of State

            Rule 183-1-14-0.9-.15 violates the Electors and Elections Clause,

            U.S. CONST. art. I, § 4;


        7. A declaratory judgment declaring that Georgia’s failed system of

            signature verification violates the Electors and Elections Clause by

            working a de facto abolition of the signature verification

            requirement;


        8. A declaratory judgment declaring that current certified election

            results violates the Due Process Clause, U.S. CONST. Amend. XIV;


        9. A declaratory judgment declaring that mail-in and absentee ballot

            fraud must be remedied with a Full Manual Recount or statistically

            valid sampling that properly verifies the signatures on absentee

            ballot envelopes and that invalidates the certified results if the

            recount or sampling analysis shows a sufficient number of ineligible

            absentee ballots were counted;

                                         101

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      Case 1:21-cv-01169-TCBDocument
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                                                             Page103
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                                                                        1051677
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                                      1597



        10.      An emergency declaratory judgment that voting machines be

            Seized and Impounded immediately for a forensic audit—by

            plaintiffs’ expects;


        11.      A declaratory judgment declaring absentee ballot fraud occurred

            in violation of Constitutional rights, Election laws and under state

            law;


        12.      A permanent injunction prohibiting the Governor and Secretary

            of State from transmitting the currently certified results to the

            Electoral College based on the overwhelming evidence of election

            tampering;


        13.      Immediate production of 36 hours of security camera recording of

            all rooms used in the voting process at State Farm Arena in Fulton

            County, GA from 12:00 AM to 3:00 AM until 6:00 PM on November

            3.


        14.      Plaintiffs further request the Court grant such other relief as is

            just and proper, including but not limited to, the costs of this action

            and their reasonable attorney fees and expenses pursuant to 42

            U.S.C. 1988.




                                           102

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      Case 1:21-cv-01169-TCBDocument
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  Respectfully submitted, this 25th day of November, 2020.

  CALDWELL, PROPST & DELOACH, LLP

  /s/ Harry W. MacDougald
  Harry W. MacDougald
  Georgia Bar No. 463076

  CALDWELL, PROPST & DELOACH, LLP
  Two Ravinia Drive, Suite 1600
  Atlanta, GA 30346
  (404) 843-1956 – Telephone
  (404) 843-2737 – Facsimile
  hmacdougald@cpdlawyers.com
  Counsel for Plaintiffs

  /s Sidney Powell*
  Sidney Powell PC
  Texas Bar No. 16209700
  Julia Z. Haller *
  Emily P. Newman*
  Virginia Bar License No. 84265
  2911 Turtle Creek Blvd, Suite 300
  Dallas, Texas 75219

  *Application for admission pro hac vice
  Forthcoming

  L. Lin Wood
  GA Bar No. 774588
  L. LIN WOOD, P.C.
  P.O. Box 52584
  Atlanta, GA 30305-0584
  Telephone: (404) 891-1402

  Howard Kleinhendler*
  NEW YORK BAR NO. 2657120Howard Kleinhendler Esquire
  369 Lexington Avenue, 12th Floor
  New York, New York 10017
  Office (917) 793-1188
  Mobile (347) 840-2188

                                         103

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      Case 1:21-cv-01169-TCBDocument
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  howard@kleinhendler.com
  www.kleinhendler.com

  *Application for admission pro hac vice
  Forthcoming

  Attorneys for Plaintiffs




                                         104

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                 EXHIBIT Q




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                                                  1:20-cv-04809-TCB
                                              Pearson et al v. Kemp et al
                                            Honorable Timothy C. Batten, Sr.

                                Minute Sheet for proceedings held In Open Court on 12/07/2020.


              TIME COURT COMMENCED: 10:00 A.M.
              TIME COURT CONCLUDED: 11:06 A.M.                    COURT REPORTER: Lori Burgess
              TIME IN COURT: 1:06                                 DEPUTY CLERK: Uzma Wiggins
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Joshua Belinfante representing Brad Raffensperger
         PRESENT:                   Joshua Belinfante representing Brian Kemp
                                    Joshua Belinfante representing David J. Worley
                                    Joshua Belinfante representing Matthew Mashburn
                                    Joshua Belinfante representing Rebecca N. Sullivan
                                    Amanda Callais representing DCCC
                                    Amanda Callais representing DSCC
                                    Amanda Callais representing Democratic Party of Georgia, Inc.
                                    Julia Haller representing Brian Jay Van Gundy
                                    Julia Haller representing Carolyn Hall Fisher
                                    Julia Haller representing Cathleen Alston Latham
                                    Julia Haller representing Coreco Jaqan Pearson
                                    Julia Haller representing Gloria Kay Godwin
                                    Julia Haller representing James Kenneth Carroll
                                    Julia Haller representing Vikki Townsend Consiglio
                                    Harry MacDougald representing Brian Jay Van Gundy
                                    Harry MacDougald representing Carolyn Hall Fisher
                                    Harry MacDougald representing Cathleen Alston Latham
                                    Harry MacDougald representing Coreco Jaqan Pearson
                                    Harry MacDougald representing Gloria Kay Godwin
                                    Harry MacDougald representing James Kenneth Carroll
                                    Harry MacDougald representing Vikki Townsend Consiglio
                                    Charlene McGowan representing Anh Le
                                    Charlene McGowan representing Brad Raffensperger
                                    Charlene McGowan representing Brian Kemp
                                    Charlene McGowan representing David J. Worley
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                                    Charlene McGowan representing Matthew Mashburn
                                    Charlene McGowan representing Rebecca N. Sullivan
                                    Carey Miller representing Anh Le
                                    Carey Miller representing Brad Raffensperger
                                    Carey Miller representing Brian Kemp
                                    Carey Miller representing David J. Worley
                                    Carey Miller representing Matthew Mashburn
                                    Carey Miller representing Rebecca N. Sullivan
                                    Sidney Powell representing Brian Jay Van Gundy
                                    Sidney Powell representing Carolyn Hall Fisher
                                    Sidney Powell representing Cathleen Alston Latham
                                    Sidney Powell representing Coreco Jaqan Pearson
                                    Sidney Powell representing Gloria Kay Godwin
                                    Sidney Powell representing James Kenneth Carroll
                                    Sidney Powell representing Vikki Townsend Consiglio
                                    ** Abigail Frye
         PROCEEDING
                                    Motion Hearing(PI or TRO Hearing-Evidentiary);
         CATEGORY:
         MOTIONS RULED              [43]Motion to Dismiss GRANTED
         ON:                        [63]Motion to Dismiss GRANTED

         MINUTE TEXT:               Defendants' motions are GRANTED. TRO is DISSOLVED. Case is
                                    DISMISSED. Clerk shall close the case.
         HEARING STATUS:            Hearing Concluded




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                  EXHIBIT R




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                          IN THE UNITED STATES DISTRICT COURT

                             EASTERN DISTRCT OF MICHIGAN



   TIMOTHY KING,MARIAN ELLEN
   SHERIDAN, JOHN EARL HAGGARD,
   CHARLES JAMES RITCHARD, JAMES                    CASE NO.
   DAVID HOOPER and DAREN WADE
   RUBINGH,

          Plaintiffs.
   v.

   GRETCHEN WHITMER, in her official
   capacity as Governor of the State of
   Michigan, JOCELYN BENSON, in her
   official capacity as Michigan Secretary of
   State and the Michigan BOARD OFSTATE
   CANVASSERS.

          Defendants.




                        COMPLAINT FOR DECLARATORY, EMERGENCY,
                           AND PERMANENT INJUNCTIVE RELIEF




                                                1                            Exhibit N
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          2:20-cv-13134-LVP-RSW
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                                                                           of 1677
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                                      NATURE OF THE ACTION

          1.      This civil action brings to light a massive election fraud, multiple violations of the

   Michigan Election Code, see, e.g., MCL §§ 168.730-738, in addition to the Election and Electors

   Clauses and Equal Protection Clause of the U.S. Constitution violations that occurred during the

   2020 General Election throughout the State of Michigan, 1as set forth in the affidavits of dozens

   of eye witnesses and the statistical anomalies and mathematical impossibilities detailed in the

   affidavits of expert witnesses.

          2.      The scheme and artifice to defraud was for the purpose of illegally and

   fraudulently manipulating the vote count to manufacture an election of Joe Biden as President of

   the United States. The fraud was executed by many means, 2 but the most fundamentally

   troubling, insidious, and egregious ploy was the systemic adaptation of old-fashioned “ballot-

   stuffing.” It has now been amplified and rendered virtually invisible by computer software

   created and run by domestic and foreign actors for that very purpose. This Complaint details an

   especially egregious range of conduct in Wayne County and the City of Detroit, though this

   conduct occurred throughout the State at the direction of Michigan state election officials.

          3.      The multifaceted schemes and artifices implemented by Defendants and their

   collaborators to defraud resulted in the unlawful counting, or manufacturing, of hundreds of

   thousands of illegal, ineligible, duplicate or purely fictitious ballots in the State of Michigan, that

   1
      The same pattern of election fraud and voter fraud writ large occurred in all the swing states
   with only minor variations in Michigan, Pennsylvania, Arizona and Wisconsin. See Exh. 101,
   William M. Briggs, Ph.D. “An Analysis Regarding Absentee Ballots Across Several States”
   (Nov. 23, 2020) (“Dr. Briggs Report”).
   2
    50 U.S.C. § 20701 requires Retention and preservation of records and papers by officers of
   elections; deposit with custodian; penalty for violation, but as will be shown wide-pattern of
   misconduct with ballots show preservation of election records have not been kept; and Dominion
   logs are only voluntary, with no system wide preservation system. Without an incorruptible
   audit log, there is no acceptable system.


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                                                                               3 of 75
                                                                                    #: 1606




   constitute a multiple of Biden’s purported lead in the State. While this Complaint, and the

   eyewitness and expert testimony incorporated herein, identify with specificity sufficient ballots

   required to overturn and reverse the election results, the entire process is so riddled with fraud,

   illegality, and statistical impossibility that this Court, and Michigan’s voters, courts, and

   legislators, cannot rely on, or certify, any numbers resulting from this election.

          Dominion Voting Systems Fraud and Manipulation

          4.      The fraud begins with the election software and hardware from Dominion Voting

   Systems Corporation (“Dominion”) used by the MichiganBoard of State Canvassers.                The

   Dominion systems derive from the software designed by Smartmatic Corporation, which became

   Sequoia in the United States.

          5.      Smartmatic and Dominion were founded by foreign oligarchs and dictators to

   ensure computerized ballot-stuffing and vote manipulation to whatever level was needed to make

   certain Venezuelan dictator Hugo Chavez never lost another election.See Exh. 1, Redacted

   Declaration of Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”).

   Notably, Chavez “won” every election thereafter.

          6.      As set forth in the DominionWhistleblower Report, the Smartmatic software was

   contrived through a criminal conspiracy to manipulate Venezuelan elections in favor of dictator

   Hugo Chavez:

          Importantly, I was a direct witness to the creation and operation of an electronic
          voting system in a conspiracy between a company known as Smartmatic and the
          leaders of conspiracy with the Venezuelan government. This conspiracy
          specifically involved President Hugo Chavez Frias, the person in charge of the
          National Electoral Council named Jorge Rodriguez, and principals,
          representatives, and personnel from Smartmatic. The purpose of this conspiracy
          was to create and operate a voting system that could change the votes in elections
          from votes against persons running the Venezuelan government to votes in their
          favor in order to maintain control of the government. In mid-February of 2009,
          there was a national referendum to change theConstitution of Venezuela to end



                                                     3                                    Exhibit N
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                                                               Page5 of
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                                                                           PageID
                                                                           of 1677
                                                                               4 of 75
                                                                                    #: 1607




          term limits for elected officials, including the President of Venezuela. The
          referendum passed. This permitted Hugo Chavez to be re-elected an unlimited
          number of times. . . .

          Smartmatic’s electoral technology was called “Sistema de Gestión Electoral” (the
          “Electoral Management System”). Smartmatic was a pioneer in this area of
          computing systems. Their system provided for transmission of voting data over
          the internet to a computerized central tabulating center. The voting machines
          themselves had a digital display, fingerprint recognition feature to identify the
          voter, and printed out the voter’s ballot. The voter’s thumbprint was linked to a
          computerized record of that voter’s identity. Smartmatic created and operated the
          entire system. Id. ¶¶ 10 & 14.

          7.      A core requirement of the Smartmatic software design ultimately adopted by

   Dominion for the Michigan’s elections was the software’s ability to hide its manipulation of

   votes from any audit. As the whistleblower explains:

          Chavez was most insistent that Smartmatic design the system in a way that the
          system could change the vote of each voter without being detected. He wanted the
          software itself to function in such a manner that if the voter were to place their
          thumb print or fingerprint on a scanner, then the thumbprint would be tied to a
          record of the voter’s name and identity as having voted, but that voter would not
          tracked to the changed vote. He made it clear that the system would have to be
          setup to not leave any evidence of the changed vote for a specific voter and that
          there would be no evidence to show and nothing to contradict that the name or the
          fingerprint or thumb print was going with a changed vote. Smartmatic agreed to
          create such a system and produced the software and hardware that accomplished
          that result for President Chavez.Id. ¶15.

          8.      The design and features of the Dominion software do not permit a simple audit to

   reveal its misallocation, redistribution, or deletion of votes. First, the system's central

   accumulator does not include a protected real-time audit log that maintains the date and time

   stamps of all significant election events. Key components of the system utilize unprotected logs.

   Essentially this allows an unauthorized user the opportunity to arbitrarily add, modify, or remove

   log entries, causing the machine to log election events that do not reflect actual voting

   tabulations—or more specifically, do not reflect the actual votes of or the will of the people. See

   Exh. 107, August 24, 2020 Declaration of HarriHursti, ¶¶45-48).




                                                   4                                      Exhibit N
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                                                               Page6 of
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                                                                           PageID
                                                                           of 1677
                                                                               5 of 75
                                                                                    #: 1608




          9.      Indeed, under the professional standards within the industry in auditing and

   forensic analysis, when a log is unprotected, and can be altered, it can no longer serve the

   purpose of an audit log.There is incontrovertible physical evidence that the standards of physical

   security of the voting machines and the software were breached, and machines were connected to

   the internet in violation of professional standards, which violates federal election law on the

   preservation of evidence.

          10.     In deciding to award Dominion a$25 million, ten-year contract (to a Dominion

   project team led by Kelly Garrett, former Deputy Director of the Michigan Democratic Party),

   and then certifying Dominion software, Michigan officials disregarded all the concerns that

   caused Dominion software to be rejected by the Texas Board of elections in 2018 because it was

   deemed vulnerable to undetected and non-auditable manipulation. An industry expert, Dr.

   Andrew Appel, Princeton Professor of Computer Science and Election Security Expert has

   recently observed, with reference to Dominion Voting machines: "I figured out how to make a

   slightly different computer program that just before the polls were closed, it switches some votes

   around from one candidate to another. I wrote that computer program into a memory chip and

   now to hack a voting machine you just need 7 minutes alone with it and a screwdriver." 3

          11.     Plaintiff’s expert witness, Russell James Ramsland, Jr. (Exh. 101, “Ramsland

   Affidavit”), has concluded that Dominion alone is responsible for the injection, or fabrication, of

   289,866 illegal votes in Michigan, that must be disregarded. This is almost twice the number of

   Mr. Biden’s purported lead in the Michigan vote (without consideration of the additional illegal,

   ineligible, duplicate or fictitious votes due to the unlawful conduct outlined below), and thus by

   itself is grounds to set aside the 2020 General Election and grant the declaratory and injunctive


   Andrew W. Appel, et al., “Ballot Marking Devices (BMDs) Cannot Assure the Will of the
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   Voters” at (Dec. 27, 2019), attached hereto as Exhibit 2 (“Appel Study”).


                                                   5                                      Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
       Case
          2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                  ECF64-21
                                      No.35-2
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                                                              11/25/20
                                                               Page7 of
                                                                     1320
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                                                                           PageID
                                                                           of 1677
                                                                               6 of 75
                                                                                    #: 1609




   relief requested herein.

          12.     In addition to the Dominion computer fraud, this Complaint identifies several

   additional categories of “traditional” voting fraud and Michigan Election Code violations,

   supplemented by healthy doses of harassment, intimidation, discrimination, abuse and even

   physical removal of Republican poll challengers to eliminate any semblance of transparency,

   objectivity or fairness from the vote counting process. While this illegal conduct by election

   workers and state, county and city employees in concert with Dominion, even if considered in

   isolation, the following three categories of systematic violations of the Michigan Election Code

   cast significant doubt on the results of the election and mandate this Court to set aside the 2020

   General Election and grant the declaratory and injunctive relief requested herein.

          Fact Witness Testimony of Voting Fraud & Other Illegal Conduct

          13.     There were three broad categories of illegal conduct by election workers in

   collaboration with other employee state, county and/or city employees and Democratic poll

   watchers and activists.First, to facilitate and cover-up the voting fraud and counting of

   fraudulent, illegal or ineligible voters, election workers:

          A.      Denied Republican election challengers access to the TCF Center, where all
                  Wayne County, Michigan ballots were processed and counted;

          B.      Denied Republic poll watchers at the TCF Center meaningful access to view
                  ballot        handling,        processing,         or         counting     and
                  lockedcredentialedchallengersoutofthe counting room so they could not observe
                  the process, during which time tens of thousands of ballots wereprocessed;

          C.      Engaged in a systematic pattern of harassment, intimidation and even physical
                  removal of Republican election challengers or locking them out of the TCF
                  Center;

          D.      Systematically discriminated against Republican poll watchers and favored
                  Democratic poll watchers;

          E.      Ignored or refused to record Republican challenges to the violations outlined
                  herein;



                                                     6                                   Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
       Case
          2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                  ECF64-21
                                      No.35-2
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                                                              11/25/20
                                                               Page8 of
                                                                     1321
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                                                                           PageID
                                                                           of 1677
                                                                               7 of 75
                                                                                    #: 1610




          F.      Refused to permit Republican poll challengers to observe ballot duplication and
                  other instances where they allowed ballots to be duplicated by hand without
                  allowing poll challengers to check if the duplication was accurate;

          G.      Unlawfully coached voters to vote for Joe Biden and to vote a straight Democrat
                  ballot, including by going overtothevotingboothswithvotersinorder to watch them
                  vote and coach them for whom to vote;

          H.      As a result of the above, Democratic election challengers outnumbered
                  Republicans by 2:1 or 3:1 (or sometimes 2:0 at voting machines); and

          I.      Collaborated with Michigan State, Wayne County and/or City of Detroit
                  employees (including police) in all of the above unlawful and discriminatory
                  behavior.

          14.     Second, election workers illegally forged, added, removed or otherwise altered

   information on ballots, the Qualified Voter File (QVF) and Other Voting Records, including:

          A.      Fraudulently adding “tens of thousands” of new ballots and/or new voters to QVF
                  in two separate batches on November 4, 2020, all or nearly all of which were
                  votes for Joe Biden;

          B.      Forging voter information and fraudulently adding new voters to the QVF Voters,
                  in particular, e.g., when a voter’s name could not be found, the election worker
                  assigned the ballot to a random name already in the QVF to a person who had
                  notvoted and recordedthesenewvotersashavingabirthdate of1/1/1900;

          C.      Changing dates on absenteeballots received after 8:00 PM Election Day deadline
                  to indicate that such ballots were received before the deadline;

          D.      Changing Votes for Trump and other Republican candidates; and

          E.      Added votes to “undervote” ballots and removing votes from “Over-Votes”.

          15.     Third, election workers committed several additional categories of violations of

   the Michigan Election Code to enable them to accept and count other illegal, ineligible or

   duplicate ballots, or reject Trump or Republican ballots, including:

          A.      Permitting illegal double voting by persons that had voted by absentee ballot and
                  in person;

          B.      Counting ineligible ballots – and in many cases – multiple times;

          C.      Counting ballots without signatures, or without attempting to match signatures,
                  and ballots without postmarks, pursuant to direct instructions from Defendants;



                                                   7                                   Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
       Case
          2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                      No.35-2
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                                                               Page9 of
                                                                     1322
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                                                                           PageID
                                                                           of 1677
                                                                               8 of 75
                                                                                    #: 1611




          D.      Counting “spoiled” ballots;

          E.      Systematic violations of ballot secrecy requirements;

          F.      Unsecured ballots arrived at the TCF Center loading garage, not in sealed ballot
                  boxes, without any chain of custody, and withoutenvelopes, after the 8:00 PM
                  Election Day deadline, in particular, the tens of thousands of ballots that arrived
                  on November 4, 2020; and

          G.      Accepting and counting ballots from deceased voters.

          Expert Witness Testimony Regarding Voting Fraud

          16.     In addition to the above fact witnesses, this Complaint presents expert witness

   testimony demonstrating that several hundred thousand illegal, ineligible, duplicate or purely

   fictitious votes must be thrown out, in particular: (1) a report from Russel Ramsland, Jr. showing

   the “physical impossibility” of nearly 385,000 votes injected by four precincts/township on

   November 4, 2020, that resulted in the counting of nearly 290,000 more ballots processed than

   available capacity (which is based on statistical analysis that is independent of his analysis of

   Dominion’s flaws); (2) a report from Dr. William Briggs, showing that there were approximately

   60,000 absentee ballots listed as “unreturned” by voters that either never requested them, or that

   requested and returned their ballots; and (3) a report from Dr. Eric Quinell analyzing the

   anomalous turnout figures in Wayne and Oakland Counties showing that Biden gained nearly

   100% and frequently more than 100% of all “new” voters in certain townships/precincts over

   2016, and thus indicated that nearly 87,000 anomalous and likely fraudulent votes from these

   precincts.

          17.     As explained and demonstrated in the accompanying redacted declaration of a

   former electronic intelligence analyst under 305th Military Intelligence with experience

   gathering SAM missile system electronic intelligence, the Dominion software was accessed by

   agents acting on behalf of China and Iran in order to monitor and manipulate elections, including




                                                   8                                     Exhibit N
Case
  Case
     Case
     1:18-cv-05398-DLI-VMS
        2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                                ECF No.
                                      64-21
                                       35-2
                                        1, PageID.9
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1323
                                                                   10 Page
                                                                      of of
                                                                         761677
                                                                            9
                                                                            PageID
                                                                              of 75 #:
                                      1612



 the most recent US general election in 2020. This Declaration further includes a copy of the

 patent records for Dominion Systems in which Eric Coomer is listed as the first of the inventors

 of Dominion Voting Systems. (See Attached hereto as Ex. 105, copy of redacted witness

 affidavit, November 23, 2020).

           18.   Expert Navid Keshavarez-Nia explains that US intelligence services had

 developed tools to infiltrate foreign voting systems including Dominion.             He states that

 Dominion's software is vulnerable to data manipulation by unauthorized means and permitted

 election data to be altered in all battleground states. He concludes that hundreds of thousands of

 votes that were cast for President Trump in the 2020 general election were transferred to former

 Vice-President Biden. (Ex. 109).

           19.   These and other “irregularities” provide this Court grounds to set aside the results

 of the 2020 General Election and provide the other declaratory and injunctive relief requested

 herein.


                                   JURISDICTION ANDVENUE

           20.   This Court has subject matter under 28 U.S.C. § 1331 which provides, “The

 district courts shall have original jurisdiction of all civil actions arising under the Constitution,

 laws, or treaties of the United States.”

           21.   This Court also has subject matter jurisdiction under 28 U.S.C. § 1343 because

 this action involves a federal election for President of the United States. “A significant departure

 from the legislative scheme for appointing Presidential electors presents a federal constitutional

 question.” Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm,

 285 U.S. 355, 365(1932).

           22.   ThejurisdictionoftheCourttograntdeclaratoryreliefisconferredby28U.S.C. §§ 2201




                                                  9                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.10
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1324
                                                                   11 Page
                                                                      of of
                                                                         761677
                                                                            10
                                                                            PageID
                                                                               of 75#:
                                      1613



 and 2202 and by Rule 57, Fed. R. Civ. P.

        23.     This Court has jurisdiction over the related Michigan constitutional claims and

 state-law claims under 28 U.S.C.§ 1367.Venueisproperbecausea substantial part of the events or

 omissions giving rise to the claim occurred in the Eastern District. 28 U.S.C. § 1391(b) &(c).

        24.     Because the United States Constitution reserves for state legislatures the power to

 set the time, place, and manner of holding elections for Congress and the President, state

 executive officers, including but not limited to Secretary Benson, have no authority to

 unilaterally exercise that power, much less flout existinglegislation.

                                          THE PARTIES

        25.     Each of the following Plaintiffs are registered Michigan voters and nominees of

 the Republican Party to be a Presidential Elector on behalf of the State of Michigan: Timothy

 King, a resident of Washtenaw County, Michigan; Marian Ellen Sheridan, a resident of Oakland

 County, Michigan; and,John Earl Haggard, a resident of Charlevoix, Michigan;

        26.     Each of these Plaintiffshas standing to bring this action as voters and as

 candidates for the office of Elector under MCL §§ 168.42 & 168.43 (election procedures for

 Michigan electors).As such, Presidential Electors “have a cognizable interest in ensuring that the

 final vote tally reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete

 and particularized injury to candidates such as the Electors.” Carson v. Simon, 978 F.3d 1051,

 1057 (8th Cir. 2020) (affirming that Presidential Electors have Article III and prudential standing

 to challenge actions of Secretary of State in implementing or modifying State election laws); see

 also McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty. Canvassing Bd.,

 531 U.S. 70, 76 (2000) (per curiam). Each brings this action to set aside and decertify the

 election results for the Office of President of the United States that was certified by the Michigan

 Secretary of State on November 23, 2020. The certified results showed a plurality of 154,188


                                                  10                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.11
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1325
                                                                   12 Page
                                                                      of of
                                                                         761677
                                                                            11
                                                                            PageID
                                                                               of 75#:
                                      1614



 votes in favor of former Vice-President Joe Biden over President Trump.

        27.       Plaintiff James Ritchard is a registered voter residing in Oceana County. He is

 the Republican Party Chairman of Oceana County.

        28.       Plaintiff James David Hooper is a registered voter residing in Wayne County. He

 is the Republican Party Chairman for the Wayne County Eleventh District.

        29.       Plaintiff Daren Wade Ribingh is a registered voter residing in Antrim County. He

 is the Republican Party Chairman of Antrim County. is

        30.       Defendant Gretchen Whitmer (Governor of Michigan) is named herein in her

 official capacity as Governor of the State of Michigan.

        31.       Defendant      JocelynBenson         (“Secretary    Benson”)       isnamed      as

 adefendantinherofficial capacity as Michigan’sSecretaryofState. Jocelyn Benson is the “chief

 elections officer” responsible for overseeing the conduct of Michigan elections. MCL § 168.21

 (“The secretary of state shall be the chief election officer of the state and shall have supervisory

 control over local election officials in the performance of their duties under the provisions of

 this         act.”);     MCL          § 168.31(1)(a)(the“SecretaryofStateshall…issueinstructions

 andpromulgaterules…fortheconduct of elections and registrations in accordance with the laws

 of this state”). Local election officials must follow Secretary Benson’s instructions regarding

 the conduct of elections. Michigan law provides that Secretary Benson “[a]dvise and direct

 local election officials as to the proper methods of conducting elections.” MCL § 168.31(1)(b).

 See also Hare v. Berrien Co Bd. of Election, 129 N.W.2d 864 (Mich. 1964); Davis v. Secretary

 of State, 2020 Mich. App. LEXIS 6128, at *9 (Mich. Ct. App. Sep. 16, 2020). Secretary

 Bensonis       responsibleforassuringMichigan’slocalelectionofficialsconductelectionsinafair,just,

 and lawful manner. See MCL 168.21; 168.31; 168.32. See also League of Women Voters of




                                                  11                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.12
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1326
                                                                   13 Page
                                                                      of of
                                                                         761677
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                                                                            PageID
                                                                               of 75#:
                                      1615



 Michigan v. Secretary of State, 2020 Mich. App. LEXIS 709, *3 (Mich. Ct. App. Jan. 27,

 2020); Citizens Protecting Michigan's Constitution v. Secretary of State, 922 N.W.2d

 404(Mich.Ct.App.2018),aff’d921N.W.2d247(Mich.2018);Fitzpatrickv.Secretaryof State, 440

 N.W.2d 45 (Mich. Ct. App. 1989).

        32.     Defendant Michigan Board of State Canvassers is “responsible for approv[ing]

 votingequipmentforuseinthestate,certify[ing]theresultofelectionsheldstatewide….”        Michigan

 Election Officials’ Manual, p. 4. See also MCL 168.841, etseq. On March 23, 2020, the Board

 of State Canvassers certified the results of the 2020 election finding that Joe Biden had received

 154,188 more votes than President Donald Trump.


                                    STATEMENT OF FACTS

        33.     Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and under MCL

 168.861, to remedy deprivations of rights, privileges, or immunities secured by the Constitution

 and laws of the United States and to contest the election results, and the corollary under the

 Michigan Constitution.

        34.     The United States Constitution sets forth the authority to regulate federal

 elections. With respect to congressional elections, the Constitution provides.

        35.     The Times, Places and Manner of holding Elections for Senators and

 Representatives, shall be prescribed in each State by the Legislature thereof; but the Congress

 may at any time by Law make or alter such Regulations, except as to the Places of choosing

 Senators. U.S. CONST. art. I, § 4 (“Elections Clause”).

        36.     With respect to the appointment of presidential electors, the Constitution

 provides: Each State shall appoint, in such Manner as the Legislature thereof may direct, a

 Number of Electors, equal to the whole Number of Senators and Representatives to which the



                                                 12                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.13
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1327
                                                                   14 Page
                                                                      of of
                                                                         761677
                                                                            13
                                                                            PageID
                                                                               of 75#:
                                      1616



 State may be entitled in the Congress: but no Senator or Representative, or Person holding an

 Office of Trust or Profit under the United States, shall be appointed an Elector. U.S. CONST.

 art. II, § 1 (“Electors Clause”). Under the Michigan Election Code, the Electors of the President

 and Vice President for the State of Michigan are elected by each political party at their state

 convention in each Presidential election year. See MCL §§ 168.42 & 168.43.

        37.     Neither Defendant is a “Legislature” as required under the Elections Clause or

 Electors Clause. The Legislature is “‘the representative body which ma[kes] the laws of the

 people.’” Smiley, 285 U.S. 365. Regulations of congressional and presidential elections, thus,

 “must be in accordance with the method which the state has prescribed for legislative

 enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,

 576 U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

        38.     While the Elections Clause "was not adopted to diminish a State's authority to

 determine its own lawmaking processes," Ariz.State Legislature, 135 S. Ct. at 2677, it does

 hold states accountable to their chosen processes when it comes to regulating federal

 elections, id. at 2668. "A significant departure from the legislative scheme for appointing

 Presidential electors presents a federal constitutional question." Bush, 531 U.S. at 113

 (Rehnquist, C.J., concurring); Smiley, 285 U.S. at 365.

        39.     And Plaintiffs bring this action,to vindicate his constitutional right to a free and

 fair election ensuring the accuracy and integrity of the process pursuant to the Michigan

 Constitution, art. 2, sec. 4, par. 1(h), which states all Michigan citizenshave:

        The right to have the results of statewide elections audited, in such a manner as
        prescribed by law, to ensure the accuracy and integrity of elections.

        40.     TheMich.Const.,art.2,sec.4,furtherstates,“Allrightssetforthinthissubsection       shall

 be self-executing. This subsection shall be liberally construed in favor of voters' rights in order to



                                                  13                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.14
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1328
                                                                   15 Page
                                                                      of of
                                                                         761677
                                                                            14
                                                                            PageID
                                                                               of 75#:
                                      1617



  effectuate itspurposes.”

          41.     Based upon all the allegations of fraud, statutory violations, and other misconduct,

  as stated herein and in the attached affidavits, it is necessary to enjoin the certification of the

  election results pending a full investigation and court hearing, and to order an independent audit

  of the November 3, 2020 election to ensure the accuracy and integrity of theelection


I.        LEGAL BACKGROUND: RELEVANT PROVISIONS OF THE MICHIGAN
          ELECTION CODE AND ELECTION CANVASSING PROCEDURES.

          A.      Michigan law requires Secretary Benson and local election officials to
                  provide designated challengers a meaningful opportunity to observe the
                  conduct ofelections.

          42.     Challengers representing a political party, candidate, or organization interested in

  the outcome of the election provide a critical role in protecting the integrity

  ofelectionsincludingthepreventionofvoterfraudandotherconduct(whethermaliciously          undertaken

  or by incompetence) that could affect the conduct of the election. See MCL § 168.730-738.

          43.     MichiganrequiresSecretaryofStateBenson,localelectionauthorities,and

  stateandcountycanvassingboardstoprovidechallengerstheopportunitytomeaningfully           participate

  in, and oversee, the conduct of Michigan elections and the counting ofballots.

          44.     Michigan’selectioncodeprovidesthatchallengersshallhavethefollowing rights and

  responsibilities:

            a.        An election challenger shall be provided a space within a polling place where
                      they can observe the election procedure and each person applyingto vote.
                      MCL§ 168.733(1).

            b.        An election challenger must be allowed opportunity to inspect poll books as
                      ballots are issued to electors and witness the electors’ names being entered in
                      the poll book. MCL§ 168.733(1)(a).

            c.        AnelectionChallengermustbeallowedtoobservethemannerinwhichthe duties of
                      the election inspectors are being performed. MCL§ 168.733(1)(b).




                                                    14                                    Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.15
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1329
                                                                   16 Page
                                                                      of of
                                                                         761677
                                                                            15
                                                                            PageID
                                                                               of 75#:
                                      1618



          d.      An election challenger is authorized to challenge the voting rights of a person
                  who the challenger has good reason to believe is not a registered elector.
                  MCL§ 168.733(1)(c).

          e.      Anelectionchallengerisauthorizedtochallengeanelectionprocedurethat is         not
                  being properly performed. MCL§ 168.733(1)(d).

          f.      Anelectionchallengermaybringtoanelectioninspector’sattentionanyof    the
                  following: (1) improper handling of a ballot by an elector or election
                  inspector; (2) a violation of a regulation made by the board of election
                  inspectors with regard to the time in which an elector may remain in the
                  polling place; (3) campaigning and fundraising being performed by an
                  electioninspectororotherpersoncoveredbyMCL§168.744;and/or(4)any
                  otherviolationofelectionlaworotherprescribedelectionprocedure.MCL
                  § 168.733(1)(e).

          g.      An election challenger may remain present during the canvass of votesand
                  until the statement of returns is duly signed and made. MCL§168.733(1)(f).

          h.      An election challenger may examine each ballot as it is being counted.
                  MCL§ 168.733(1)(g).

          i.      An election challenger may keep records of votes cast and other election
                  procedures as the challenger desires. MCL §168.733(1)(h).

          j.      Anelectionchallengermayobservetherecordingofabsentvoterballotson           voting
                  machines. MCL§168.733(1)(i).

        45.     The Michigan Legislature adopted these provisions to prevent and deter

 votefraud,requiretheconductofMichiganelectionstobetransparent,andtoassurepublic

 confidenceintheoutcomeoftheelectionnomatterhowclosethefinalballottallymaybe.

        46.     Michigan values the important role challengers perform in assuring the

 transparency and integrity of elections. For example, Michigan law provides it is a felony

 punishable by up to two years in state prison for any person to threaten or intimidate a challenger

 who is performing any activity described in Michigan law. MCL § 168.734(4).

 Itisafelonypunishablebyuptotwoyearsinstateprisonforanypersontopreventthepresence          of         a

 challenger exercising their rights or to fail to provide a challenger with “conveniences for the

 performance of the[ir] duties.” MCL 168.734.



                                                 15                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.16
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1330
                                                                   17 Page
                                                                      of of
                                                                         761677
                                                                            16
                                                                            PageID
                                                                               of 75#:
                                      1619



             47. TheresponsibilitiesofchallengersareestablishedbyMichiganstatute.MCL § 168.730

   states:


             (1)     Atanelection,apoliticalpartyor[anorganization]interestedinpreserving        the
                     purity of elections and in guarding against the abuse of the elective franchise,
                     may designate challengers as provided in this act. Except as otherwise
                     provided in this act, a political party [or interested organization] may
                     designate not more than 2 challengers to serve in a precinct at any 1 time. A
                     political party [or interested organization] may designate not more than 1
                     challenger to serve at each countingboard.

             (2)     A challenger shall be a registered elector ofthisstate ........... A candidateforthe
                     office of delegate to a county convention may serve as a challenger in a
                     precinct other than the 1 in which he or she is a candidate. . . .

             (3)     A challenger may be designated to serve in more than 1 precinct. The
                     politicalparty[orinterestedorganization]shallindicatewhichprecinctsthe
                     challenger will serve when designating challengers under subsection (1). If
                     more than 1 challenger of a political party [or interested organization] is
                     servinginaprecinctatany1time,only1ofthechallengershastheauthority to initiate
                     a challenge at any given time. The challengers shall indicate to the board of
                     election inspectors which of the 2 will have thisauthority. The challengers may
                     change this authority and shall indicate the change to the board of
                     electioninspectors.

        48.        SecretaryBensonandWayneCountyviolatedtheseprovisionsofMichigan             law and

 violated the constitutional rights of Michigan citizens and voters when they did not conduct this

 general election in conformity with Michigan law and the United States Constitution.

        B.         The canvassing process in Michigan.

        49.        Michigan has entrusted the conduct of elections to three categories of

 individuals,a“boardofinspectors,”a“boardofcountycanvassers,”andthe“boardofstate canvassers.”

        50.        The board of inspectors, among its other duties, canvasses the ballots and

 compares the ballots to the poll books. See MCL § 168.801. “Such canvass shall be public and

 the doors to the polling places and at least 1 door in the building housing the polling places and

 giving ready access to them shall not be locked during such canvas.” Id. The members of the




                                                    16                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.17
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1331
                                                                   18 Page
                                                                      of of
                                                                         761677
                                                                            17
                                                                            PageID
                                                                               of 75#:
                                      1620



 board    of    inspectors   (one   from   each    party)     are     required    to   seal     the     ballots

 andelectionequipmentandcertifythestatementofreturnsandtallysheetsanddeliverthe

 statementofreturnsandtallysheettothetownshiporcityclerk,whoshalldeliverittothe               probate    court

 judge, who will than deliver the statement of returns and tally sheet to the “board of county

 canvassers.”      MCL       § 168.809.    “All    election         returns,     including      poll      lists,

 statements,tallysheets,absentvoters’returnenvelopesbearingthestatementrequired[to                cast      an

 absentee ballot] … must be carefully preserved.” MCL § 810a and § 168.811 (emphasis added).

         51.     After the board of inspectors completes its duties, the board of county canvassers

 is to meet at the county clerk’s office “no later than 9 a.m. on the Thursday after” the election.

 November 5, 2020 is the date for the meeting. MCL 168.821. The board of county canvassers

 has power to summon and open ballot boxes, correct errors, and summon election inspectors to

 appear. Among other duties and responsibilities, the board of county canvassers shall do the

 following provided in MCL168.823(3).

         52.     The board of county canvassers shall correct obvious mathematical errors in the

 tallies and returns.

                The board of county canvassers may, if necessary for a proper determination,
                summon the election inspectors before them, and require them to count any ballots
                that the election inspectors failed to count, to make correct returns in case, in the
                judgment of the board of county canvassers after examining the returns, poll lists,
                or tally sheets, the returns already made are incorrect or incomplete, and the board
                of county canvassers shall canvass the votes from the corrected returns. In the
                alternative to summoning the election inspectors before them, the board of county
                canvassers may designate staff members from the county clerk’s office to count
                any ballots that the election inspectors failed to count, to make correct returns in
                case, in the judgment of the board of county canvassers after examining the
                returns, poll lists, or tally sheets, thereturns already made are incorrect or
                incomplete, and the board of county canvassers shall canvass the votes from the
                corrected returns. When the examination of the papers is completed, or the ballots
                have                                   been                                 counted,
                theyshallbereturnedtotheballotboxesordeliveredtothepersonsentitled by law to
                their custody, and the boxes shall be locked and sealed and delivered to the



                                                  17                                             Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.18
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1332
                                                                   19 Page
                                                                      of of
                                                                         761677
                                                                            18
                                                                            PageID
                                                                               of 75#:
                                      1621



               legalcustodians. The county board of canvassers shall “conclude the canvass at the
               earliest possible time and in every case no later than the fourteenth day after the
               election,”                                                                     which
               isNovember17.MCL168.822(1).But,“[i]ftheboardofcountycanvassersfailstocertify
               the results of any election for any officer or proposition by the fourteenth day after
               the election as provided, the board of county canvassers shall immediately deliver
               to the secretary of the board of state canvassers all records and other information
               pertaining                                                                          to
               theelection.Theboardofstatecanvassersshallmeetimmediatelyandmakethenecessary
               determinationsandcertifytheresultswithinthe10daysimmediatelyfollowingthereceip
               t of the records from the board of county canvassers.” MCL168.822(2).

        53.     The Michigan board of state canvassers then meets at the Secretary of State’s

 office the twentieth day after the election and announce its determination of the canvass “not

 later than the fortieth day after the election.” For this general election that is November 23 and

 December 3. MCL 168.842. There is provision for the Secretary of State to direct an expedited

 canvass of the returns for the election of electors for President and VicePresident.

        54.     The county board of canvassers shall “conclude the canvass at the earliest

 possible time and in every case no later than the fourteenth day after the election,” which

 isNovember17.MCL168.822(1).But,“[i]ftheboardofcountycanvassersfailstocertify the results of

 any election for any officer or proposition by the fourteenth day after the election as provided,

 the board of county canvassers shall immediately deliver to the secretary of the board of state

 canvassers       all      records       and        other       information        pertaining       to

 theelection.Theboardofstatecanvassersshallmeetimmediatelyandmakethenecessary

 determinationsandcertifytheresultswithinthe10daysimmediatelyfollowingthereceipt            of     the

 records from the board of county canvassers.” MCL168.822(2).

        55.     The Michigan board of state canvassers then meets at the Secretary of State’s

 office the twentieth day after the election and announce its determination of the canvass “not

 later than the fortieth day after the election.” For this general election that is November 23 and

 December 3. MCL 168.842. There is provision for the Secretary of State to direct an expedited


                                                  18                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.19
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1333
                                                                   20 Page
                                                                      of of
                                                                         761677
                                                                            19
                                                                            PageID
                                                                               of 75#:
                                      1622



 canvass of the returns for the election of electors for President and VicePresident.

           56.   The federal provisions governing the appointment of electors to the Electoral

 College, 3 U.S.C. §§ 1-18, require Michigan Governor Whitmer to preparea Certificate of

 Ascertainment by December 14, the date the Electoral Collegemeets.

           57.   The United States Code (3 U.S.C. §5) provides that if election results are

 contestedinanystate,andifthestate,priortoelectionday,hasenactedprocedurestosettle controversies

 or contests over electors and electoral votes, and if these procedures have been applied, and the

 results     have   been     determined      six    days     before    the    electors’    meetings,

 thentheseresultsareconsideredtobeconclusiveandwillapplyinthecountingofthe         electoral   votes.

 This date (the “Safe Harbor” deadline) falls on December 8, 2020. The governor of any state

 where there was a contest, and in which the contest was decided according to established state

 procedures, is required (by 3 U.S.C. § 6) to send a certificate describing the form and manner by

 which the determination was made to the Archivist as soon as practicable.

           58.   The members of the board of state canvassers are Democrat Jeannette Bradshaw,

 Republican Aaron Van Langeveide, Republican Norman Shinkle, and Democrat Julie Matuzak.

 Jeanette Bradshaw is the Board Chairperson. The members of the Wayne County board of

 county canvassers are Republican Monica Palmer, Democrat Jonathan Kinloch, Republican

 William Hartmann, and Democrat Allen Wilson. Monica Palmer is the BoardChairperson.

           59.   More than one hundred credentialed election challengers provided sworn

 affidavits.Theseaffidavitsstated,amongothermatters,thatthesecredentialedchallengers were denied

 a meaningful opportunity to review election officials in Wayne County handling ballots,

 processing absent voter ballots, validating the legitimacy of absentvoterballots, and the general

 conduct of the election and ballot counting. See Exhibit 1 (affidavits of election challengers).




                                                   19                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.20
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1334
                                                                   21 Page
                                                                      of of
                                                                         761677
                                                                            20
                                                                            PageID
                                                                               of 75#:
                                      1623



II.          FACTUAL       ALLEGATIONS       AND      FACT      WITNESS
             TESTIMONYREGARDINGMICHIGAN ELECTION CODE VIOLATIONS AND
             OTHER UNLAWFUL CONDUCT BY ELECTION WORKERS AND MICHIGAN
             STATE, WAYNE COUNTY AND/OR CITY OF DETROIT EMPLOYEES.

             60.    Wayne County used the TCF Center in downtown Detroit to consolidate, collect,

   and              tabulate             all          of          the            ballots            for

   theCounty.TheTCFCenterwastheonlyfacilitywithinWayneCountyauthorizedtocountthe ballots.

             A.     Republican Election ChallengersWere Denied Opportunity to Meaningfully
                    Observe the Processing and Counting of Ballots.

             61.    There is a difference between a ballot and a vote. A ballot is a piece of paper. A

   vote is a ballot that has been completed by a citizen registered to vote who has the right to cast a

   vote and has done so in compliance with Michigan election law by, among other things,

  verifying their identity and casting the ballot on or before Election Day. It is the task of Secretary

   Benson and Michigan election officials to assure that only ballots cast by individuals entitled to

   cast       a      vote      in    the       election    are     counted       and       to     make

   surethatallballotscastbylawfulvotersarecountedandtheelectionisconductedinaccord                 with

   Michigan’s Election Code uniformly throughoutMichigan.

             62.    Challengers provide the transparency and accountability to assure ballots are

   lawfully cast and counted as provided in Michigan’s Election Code and voters can be

   confidenttheoutcomeoftheelectionwashonestlyandfairlydeterminedbyeligiblevoters.

             63.    WayneCountyexcludedcertifiedchallengersfrommeaningfullyobserving                the

   conduct of the election in violation of the Michigan Election Code. This allowed a substantial

   number of ineligible ballots to be counted, as outlined in Section B. below.        These systematic

      Michigan Election Code violations, and the disparate treatment of Republican vs. Democratic

      poll challengers, also violated the Equal Protection Clause and other provisions of the U.S.

      Constitution as detailed herein.     The following affidavits describe the specifics that were



                                                     20                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.21
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1335
                                                                   22 Page
                                                                      of of
                                                                         761677
                                                                            21
                                                                            PageID
                                                                               of 75#:
                                      1624



 observed. This conduct was pervasive in Wayne County as attested to in the affidavits attached at

 EXHIBIT3.

                 1.     Republican Observers Denied Access to TCF Center

         64.     Many individuals designated as challengers to observe the conduct of the election

 were denied meaningful opportunity to observe the conduct of the election. For example,

 challengers designated by the Republican Party or Republican candidates were denied access to

 the TCF Center (formerly called Cobo Hall) ballot counting location in Detroit while Democratic

 challengers were allowed access. Exhibit 3 (Deluca aff. ¶¶7-9, 16-18; Langer aff. ¶3; Papsdorf

 aff. ¶3; Frego aff. ¶9; Downing aff. ¶¶2-9, 11, 15, 22; Sankey aff. ¶¶5-8; Ostin aff. ¶¶5-7;

 Cavaliere aff. ¶3; Cassin aff. ¶4; Rose aff. ¶18; Zimmerman aff. ¶8; Langer aff. ¶3; Poplawski

 aff. ¶3; Henderson aff. ¶7; Fuqua-Freyaff.¶5; Ungar aff. ¶4; Eilf aff. ¶¶9, 17; Jeup aff. ¶¶6-7;

 Tietz         aff.      ¶¶9-18;        McCall          aff.       ¶¶5-6;         Arnoldyaff.¶¶5,8-

 9(unlimitedmembersofthemediawerealsoallowedinsideregardless of COVID restrictions while

 Republican challengers were excluded)).

         65.     Many challengers stated that Republican challengers who had been admitted to the

 TCF Center but who left were not allowed to return. Id. (Bomer aff.¶16; Paschke aff. ¶4;

 Schneider aff., p. 2; Arnoldy aff. ¶6; Boller aff. ¶¶13-15 (removed and not allowed to serve as

 challenger); Kilunen aff. ¶7; Gorman aff. ¶¶6-8; Wirsing aff.,p. 1; Rose aff. ¶19; Krause aff. ¶¶9,

 11; Roush aff. ¶16; M. Seely aff. ¶6; Fracassi aff. ¶6; Whitmore aff. ¶5). Furthermore,

 Republican challengers who left the TCF Center were not allowed to be replaced by other

 Republican challengers while Democratic challengers were replaced.

                 2.     Disparate and Discriminatory           Treatment     of   Republican     vs.
                        Democratic Challengers.

         66.     As a result of Republican challengers not being admitted or re-admitted, while




                                                 21                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.22
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1336
                                                                   23 Page
                                                                      of of
                                                                         761677
                                                                            22
                                                                            PageID
                                                                               of 75#:
                                      1625



 Democratic challengers were freely admitted, there were many more Democratic challengers

 allowed to observe the processing and counting of absent voter ballots than Republican

 challengers. Id. (Helminen aff. ¶12 (Democratic challengers out- numbered Republican

 challengers        by      at     least   a      two-to-one       ratio);   Daavettila   aff.,   p.     2   (ten

 timesasmanyDemocraticchallengersasRepublican);A.Seelyaff.¶19;Schneideraff.,p. 2; Wirsing

 aff., p. 1; Rauf aff. ¶21; Roush aff. ¶¶16-17; Topini aff.¶4).

        67.         Many challengers testified that election officials strictly and exactingly enforced a

 six-foot distancing rule for Republican challengers but not for Democratic challengers. Id.

 (Paschke aff. ¶4; Wirsing aff., p. 1; Montie aff. ¶4; Harris aff. ¶3; Krause aff. ¶7; Vaupel aff. ¶5;

 Russel aff. ¶7; Duus aff. ¶9; Topini aff. ¶6). As a result, Republican challengers were not

 allowed to meaningfully observe the ballot counting process.

                    3.       Republican Challengers Not Permitted to View Ballot Handling,
                             Processing or Counting.

        68.         Many challengers testified that their ability to view the handling, processing, and

 counting      of        ballots     was       physically    and      intentionally   blocked     by     election

 officials.I d . (A.Seelyaff.¶15;Milleraff.¶¶13-14;Pennalaaff.¶4;Tysonaff.¶¶12- 13, 16; Ballew aff.

 ¶8; Schornak aff. ¶4; Williamson aff. ¶¶3, 6; Steffans aff. ¶¶15-16, 23- 24; Zaplitny aff. ¶15;

 Sawyer aff. ¶5; Cassin aff. ¶9; Atkins aff. ¶3; Krause aff. ¶5;Shereraff. ¶¶15, 24; Basler aff. ¶¶7-

 8; Early aff. ¶7; Posch aff. ¶7; Chopjian aff. ¶11; Shock aff.¶7; Schmidt aff. ¶¶7-8; M. Seely aff.

 ¶4; Topini aff. ¶8).

        69.         At least three challengers said they were physically pushed away from counting

 tables by election officials to a distance that was too far to observe the counting. Id. (Helminen

 aff. ¶4; Modlin aff. ¶¶4, 6; Sitek aff. ¶4). Challenger Glen Sitek reported that he was pushed

 twice by an election worker, the second time in the presence of police officers. Id. (Sitek aff. ¶4).




                                                            22                                         Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.23
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1337
                                                                   24 Page
                                                                      of of
                                                                         761677
                                                                            23
                                                                            PageID
                                                                               of 75#:
                                      1626



 Sitek filed a police complaint.Id.

        70.      Challenger Pauline Montie stated that she was prevented from viewing the

 computer monitor because election workers kept pushing it further away and made her stand

 back away from the table. Id. (Montie aff. ¶¶4-7). When Pauline Montie told an election worker

 that she was not able to see the monitor because they pushed it farther away from her, the

 election worker responded, “too bad.” Id.¶8.

        71.      Many challengers witnessed Wayne County election officials covering the

 windows of the TCF Center ballot counting center so that observers could not observe the ballot

 counting process. Id. (A. Seely aff. ¶¶9, 18; Helminen aff. ¶¶9, 12; Deluca aff. ¶13; Steffans aff.

 ¶22;    Frego        aff.    ¶11;    Downing      aff.     ¶21;      Sankey    aff.    ¶14;    Daavettila

 aff.,p.4;Zimmermanaff.¶10;Krauseaff.¶12;Shereraff.¶22;Johnsonaff.¶7;Poschaff.¶10;Raufaff.¶23

 ;Lukeaff.,p.1;M.Seelyaff.¶8;Zelaskoaff.¶8;Ungaraff.¶12;Storm aff. ¶7; Fracassi aff. ¶8; Eilf aff.

 ¶25; McCall aff.¶9).

                 4.          Harassment, Intimidation & Removal of Republican Challengers

        72.      Many challengers testified that they were intimidated, threatened, and harassed by

 election officials during the ballot processing and counting process. Id. (Ballew aff. ¶¶7, 9;

 Gaicobazzi           aff.       ¶¶12-14        (threatened        repeatedly          and      removed);

 Schneideraff.,p.1;Piontekaff.¶11;Steffansaff.¶26(intimidationmadeherfeeltooafraid             to     make

 challenges); Cizmar aff. ¶8(G); Antonie aff. ¶3; Zaplitny aff. ¶20; Moss aff. ¶4; Daavettila aff.,

 pp. 2-3; Tocco aff. ¶¶1-2; Cavaliere ¶3; Kerstein aff. ¶3; Rose aff. ¶16; Zimmerman aff. ¶5;

 Langer aff. ¶3; Krause aff. ¶4; Sherer aff. ¶24; Vaupel aff. ¶4; Basler aff. ¶8; Russell aff. ¶5;

 Burton aff. ¶5; Early aff. ¶7; Pannebecker aff. ¶10; Sitek aff. ¶4; Klamer aff. ¶4; Leonard aff.

 ¶¶6,    15;     Posch         aff.   ¶¶7,   14;     Rauf      aff.     ¶24;    Chopjian       aff.   ¶10;

 Cooperaff.¶12;Shockaff.¶9;Schmidtaff.¶¶9-10;Duusaff.¶10;M.Seelyaff.¶4;Storm aff. ¶¶5, 7;


                                                     23                                        Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.24
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1338
                                                                   25 Page
                                                                      of of
                                                                         761677
                                                                            24
                                                                            PageID
                                                                               of 75#:
                                      1627



 DePerno aff. ¶¶5-6; McCall aff. ¶¶5, 13). ArticiaBomer was called a “racist name” by an election

 worker and also harassed by other election workers. Id. (Bomeraff.¶7). Zachary Vaupel reported

 that      an           election      supervisor      called      him     an       “obscene           name”

 andtoldhimnottoaskquestionsaboutballotprocessingandcounting. Id.(Vaupelaff.¶4). Kim Tocco

 was personally intimidated and insulted by election workers. Id. (Tocco aff. ¶¶1-2). Qian

 Schmidt was the target of racist comments and asked, “what gives you the right to be here since

 you are not American?” Id. (Schmidt aff. ¶9).

         73.         Other challengers were threatened with removal from the counting area if they

 continued to ask questions about the ballot counting process. Id. (A. Seely aff. ¶¶6, 13, 15;

 Pennalaaff. ¶5).           Challenger Kathleen Daavettila observed that Democratic challengers

 distributed a packet of information among themselves entitled, “Tactics to Distract GOP

 Challengers.” Id. (Daavettila aff., p. 2). An election official told challenger Ulrike Sherer that the

 election authority had a police SWAT team waiting outside if Republican challengers argued too

 much.         Id.      (Sherer      aff.     ¶24).   An       election   worker     told          challenger

 JazmineEarlythatsince“Englishwasnot[her]firstlanguage…[she]shouldnotbetaking part in this

 process.” Id. (Early aff. ¶11).

         74.         Election officials at the TCF Center in Detroit participated in the intimidation

 experienced by Republican challengers when election officials would applaud, cheer, and yell

 whenever a Republican challenger was ejected from the counting area. Id. (Helminen aff. ¶9;

 Pennala             aff.      ¶5;          Ballew     aff.        ¶9;     Piontek          aff.        ¶11;

 Papsdorfaff.¶3;Steffansaff.¶25;Cizmaraff.¶8(D);Kilunenaff.¶5;Daavettilaaff.,p.4; Cavaliere aff.

 ¶3; Cassin aff. ¶10; Langer aff. ¶3; Johnson aff. ¶5; Early aff. ¶13; Klamer aff. ¶8; Posch aff.

 ¶12; Rauf aff. ¶22; Chopjian aff. ¶13; Shock aff.¶10).




                                                      24                                       Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.25
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1339
                                                                   26 Page
                                                                      of of
                                                                         761677
                                                                            25
                                                                            PageID
                                                                               of 75#:
                                      1628



                 5.          Poll Workers Ignored or Refused to Record Republican Challenges.

        75.      Unfortunately, this did not happen in Wayne County. Many challengers testified

 that their challenges to ballots were ignored and disregarded. Id. (A.Seely aff. ¶4; Helminen aff.

 ¶5;    Miller        aff.        ¶¶10-11;    Schornak          aff.     ¶¶9,       15;   Piontek     aff.    ¶6;

 Daavettilaaff.,p.3;Valiceaff.¶2;Sawyeraff.¶7;Kerstein                 aff.¶3;Modlinaff.¶4;Cassin      aff.   ¶6;

 Brigmon aff. ¶5; Sherer aff. ¶11; Early aff. ¶18; Pannebecker aff. ¶9; Vanker aff. ¶5; M. Seely

 aff. ¶11; Ungar aff. ¶¶16-17; Fracassi aff. ¶4).

        76.      As an example of challenges being disregarded and ignored, challenger Alexandra

 Seely stated that at least ten challenges she made were not recorded. Id. (A. Seely aff. ¶4).

 ArticiaBomer         observed       that    ballots     with      votes      for    Trump     were    separated

 fromotherballots.Id.(Bomeraff.¶5).ArticiaBomerstated,“Iwitnessedelectionworkers open ballots

 with Donald Trump votes and respond by rolling their eyes and showing it to other poll workers.

 I believe some of these ballots may not have been properly counted.” Id. ¶8. Braden Gaicobazzi

 challenged thirty-five ballots for whom the voter records did not exist in the poll book, but his

 challenge was ignored and disregarded. Id. (Giacobazzi aff. ¶10). When Christopher Schornak

 attempted                   to              challenge                  the               counting            of

 ballots,anelectionofficialtoldhim,“Wearenottalkingtoyou,youcannotchallengethis.”

 Id.(Schornakaff.¶15).WhenStephanieKrauseattemptedtochallengeballots,anelection

 workertoldherthatchallengeswerenolongerbeingacceptedbecausethe“rules‘nolonger applied.’” Id.

 (Krause aff.¶13).

                 6.          Unlawful Ballot Duplication.

        77.      If a ballot is rejected by a ballot-tabulator machine and cannot be read by the

 machine, the ballot must be duplicated onto a new ballot. The Michigan Secretary of State has

 instructed, “If the rejection is due to a false read the ballot must be duplicatedby two election



                                                         25                                           Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.26
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1340
                                                                   27 Page
                                                                      of of
                                                                         761677
                                                                            26
                                                                            PageID
                                                                               of 75#:
                                      1629



 inspectors who have expressed a preference for different political parties.” Michigan Election

 Officials’ Manual, ch. 8, p. 6 (emphasis added). Thus, the ballot-duplicating process must be

 performed by bipartisan teams of election officials. It must also be performed where it can be

 observed bychallengers.

         78.     But Wayne County prevented many challengers from observing the ballot

 duplicating     process.    Id.   (Miller     aff.        ¶¶6-8;   Steffans   aff.   ¶¶15-16,    23-24;

 Mandelbaumaff.¶6;Shereraff.¶¶16-

 17;Burtonaff.¶7;Drzewieckiaff.¶7;Klameraff.¶9;Chopjianaff.¶10;Schmidtaff.¶7;Champagneaff.¶

 12;Shinkleaff.,p.1).Challenger John Miller said he was not allowed to observe election workers

 duplicating                                               a                                       ballot

 becausethe“duplicationprocesswaspersonallikevoting.”Id.(Milleraff.¶8).Challenger Mary Shinkle

 stated that she was told by an election worker that she was not allowed to

 observeaballotduplicationbecause“ifwemakeamistakethenyouwouldbealloverus.”               Id.    (Shinkle

 aff., p. 1).Anotherchallengerobservedelectionofficialsmakingmistakeswhen duplicating ballots.

 Id. (Piontek aff. ¶9).

         79.     Many challengers testified that ballot duplication was performed only by

 Democratic election workers, not bipartisan teams. Exhibit 1 (Pettibone aff. ¶3; Kinney

 aff.,p.1;Wasilewskiaff.,p.1;Schornakaff.¶¶18-19;Dixonaff.,p.1;Kolanagireddyaff.,p.                    1;

 Kordenbrock aff. ¶¶3-4; Seidl aff., p. 1; Kerstein aff. ¶4; Harris aff. ¶3; Sitek aff. ¶4).

                 7.       Democratic Election Challengers Frequently                     Outnumbered
                          Republican Poll Watchers 2:1 or Even 2:0.

         80.     Dominon contractor Melissa Carrone testified that there were significantly more

 Democrats than Republicans at the TCF Center, and that as a result there were “over 20

 machines [that] had two democrats judging the ballots-resulting in an unfair process.” Exh. 5 ¶5.




                                                      26                                       Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.27
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1341
                                                                   28 Page
                                                                      of of
                                                                         761677
                                                                            27
                                                                            PageID
                                                                               of 75#:
                                      1630



 Other affiants testified to the fact that Democrats outnumbered Republicans by 2:1 or more Id.

 (Helminon aff. ¶12). Democrats also impersonated Republican poll watchers. Id. (Seely aff.

 ¶19).

                8.      Collaboration Between Election Workers, City/County Employees,
                        and Democratic Party Challengers and Activists.

         81.    Affiants testified to systematic and routine collaboration between election

 workers, Michigan public employees and Democratic election challengers and activists present,

 in particular to intimidate, harass, distract or remove Republic election watchers. See, e.g., Exh.

 1 (Ballow aff. ¶9; Gaicobazzi aff. ¶¶12, 14; Piontek aff. ¶11).

         B.     Election Workers Fraudulent Forged, Added, Removed or Otherwise
                Altered Information on Ballots, Qualified Voter List and Other Voting
                Records

         82.    A lawsuit recently filed by the Great Lakes Justice Center (“GLJC”) raises similar

 allegations of vote fraud and irregularities that occurred in Wayne County. See Exhibit 4

 (copyofcomplaintfiledintheCircuitCourtofWayneCountyinCostantino,etal.v.City of Detroit, et

 al.) (“GLJC Complaint”).The allegations and affidavits included in the GLJC Complaint are

 incorporated by reference in the body of this Complaint.

                1.      Election Workers Fraudulently Added “Tens of Thousands” of New
                        Ballots and New Voters in the Early Morning and Evening
                        November 4.

         83.    The most egregious example of election workers fraudulent and illegal behavior

 concerns two batches of new ballots brought to the TCF Center after the 8:00 PM Election Day

 deadline. First, at approximately 4:30 AM on November 4, 2020, poll challenger Andrew Sitto

 observed “tens of thousands of new ballots” being brought into the counting room, and “[u]nlike

 the other ballots, these boxes were brought in from the rear of the room.” Exh. 4, GLJC

 Complaint, Exh. C at ¶ 10. Mr. Sitto heard other Republican challengers state that “several




                                                 27                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.28
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1342
                                                                   29 Page
                                                                      of of
                                                                         761677
                                                                            28
                                                                            PageID
                                                                               of 75#:
                                      1631



 vehicles with out-of-state license plates pulled up to the TCF Center a little before 4:30 a.m. and

 unloaded boxes of ballots.” Id. at ¶ 11. “All ballots sampled that I heard and observed were for

 Joe Biden.” Id. at ¶ 12.

          84.   A second set of new boxes of ballots arrived at the TCF Center around 9:00 PM

 on November 4, 2020. According to poll watcher Robert Cushman, contained “several thousand

 new ballots.” Exh. 4, GLJC Complaint, Exh. D at ¶ 5. Mr. Cushman noted that “none of the

 names on the new ballots were on the QVF or the Supplemental Sheets,” id. at ¶ 7, and he

 observed “computer operators at several counting boards manually adding the names and

 addresses of these thousands of ballots to the QVF system.” Id. at ¶ 8. Further, “[e]very ballot

 was being fraudulently and manually entered into the [QVF], as having been born on January 1,

 1990.”     Id. at ¶ 15.    When Mr. Cushman challenged the validity of the votes and the

 impossibility of each ballot having the same birthday, he “was told that this was the instruction

 that came down from the Wayne County Clerk’s office.” Id. at ¶ 16.

          85.   Perhaps the most probative evidence comes from Melissa Carone, who was

 “contracted to do IT work at the TCF Center for the November 3, 2020 election.” Exh. 5, ¶1.

 On November 4, Ms. Carrone testified that there were “two vans that pulled into the garage of

 the counting room, one on day shift and one on night shift.” Id. ¶8. She thought that the vans

 were bring food, however, she “never saw any food coming out of these vans,” and noted the

 coincidence that “Michigan had discovered over 100,000 more ballots – not even two hours after

 the last van left.” Id. Ms. Carrone witnessed this of this illegal vote dump, as well as several

 other violations outlined below.

                2.     Election Workers Forged and Fraudulently Added Voters to the
                       Qualified Voter List.

          86.   Many challengers reported that when a voter was not in the poll book, the election




                                                 28                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.29
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1343
                                                                   30 Page
                                                                      of of
                                                                         761677
                                                                            29
                                                                            PageID
                                                                               of 75#:
                                      1632



 officials would enter a new record for that voter with a birth date of January 1, 1900. Exhibit 1

 (Gaicobazzi aff. ¶10; Piontek aff. ¶10; Cizmer aff. ¶8(F); Wirsing aff., p. 1; Cassin aff. ¶9;

 Langer aff. ¶3; Harris aff. ¶3; Brigmon aff. ¶5; Sherer aff. ¶¶10-11; Henderson aff. ¶9; Early ¶16;

 Klamer aff. ¶13; Shock aff. ¶8; M. Seely aff. ¶9). See also id. (Gorman aff. ¶¶23-26; Chopjian

 aff. ¶12; Ungar aff. ¶15; Valden aff. ¶17). Braden Gaicobazzi reported that a stack of thirty-five

 ballots was counted even though there was no voter record. Id. (Giacobazzi aff.¶10).

        87.     The GLJC Complaint alleges the Detroit Election Commission “systematically

 processed and counted ballots from voters whose name failed to appear in either the Qualified

 Voter File (QVF) or in the supplemental sheets.” Exh. 3, GLJC Complaintat 3. The GLJC

 Complaint provides additional witness affidavits detailing the fraudulent conduct of election

 workers, in particular, that of Zachary Larsen, who served as a Michigan Assistant Attorney

 General from 2012 through 2020 and was a certified poll challenger at the TCF Center. “Mr.

 Larsen reviewed the running list of scanned in ballots in the computer system, where it appeared

 that the voter had already been counted as having voted. An official operating the computer then

 appeared to assign this ballot to a different voter as he observed a completely different name that

 was added to the list of voters at the bottom of a running tab of processed ballots on the right side

 of the screen.” Id. at ¶ 16. Mr. Larsen observed this “practice of assigning names and numbers”

 to non-eligible voters who did not appear in either the poll book or the supplement poll book. Id.

 at ¶ 17. Moreover, this appeared to be the case for the majority of the voters whose ballots he

 personally observed being scanned. Id.

                3.      Changing Dates on Absentee Ballots.

        88.     All absentee ballots that existed were required to be inputted into the QVF system

 by 9:00 p.m. on November 3, 2020. This was required to be done in order to have a final list of

 absentee voters who returned their ballots prior to 8:00 p.m. on November 3, 2020. In order to


                                                  29                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.30
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1344
                                                                   31 Page
                                                                      of of
                                                                         761677
                                                                            30
                                                                            PageID
                                                                               of 75#:
                                      1633



 have enough time to process the absentee ballots, all polling locations were instructed to collect

 the absentee ballots from the drop-box once every hour on November 3, 2020.

         89.     Jessica Connarn is an attorney who was acting as a Republican challenger

 attheTCFCenterinWayneCounty.EXHIBIT6.JessicaConnarn’saffidavitdescribeshow

 anelectionpollworkertoldJessicaConnarnthatthepollworker“wasbeingtoldtochange the date on

 ballots to reflect that the ballots were received on an earlier date.” Id. ¶1. Jessica Connarn also

 provided a photograph of a note handed to her by the poll worker in which the poll worker

 indicated she (the poll worker) was instructed to change the date ballots were received. See id.

 Jessica Connarn’s       affidavit   demonstrates     that   poll   workers    inWayneCountywerepre-

 datingabsentvoterballots,sothatabsentvoterballotsreceived after 8:00 p.m. on Election Day could

 be counted.

         90.     Plaintiffs have learned of a United States Postal Service (“USPS”) worker

 Whistleblower, on November 4, 2020 told Project Veritas that a supervisor named Johnathan

 Clarke in Traverse City, Michigan potentially issued a directive to collect ballots and stamp them

 as received on November 3, 2020, even though there were not received timely, as required by

 law: "We were issued a directive this morning to collect any ballots we find in mailboxes,

 collection boxes, just outgoing mail in general, separate them at the end of the day so that they

 could hand stamp them with the previous day's date," the whistleblower stated. "Today is

 November 4th for clarification." 4 This is currently under IG Investigation at the U.S. Post

 Office. According to the Postal worker whistleblower, the ballots are in "express bags" so they

 could be sent to the USPS distribution center. Id.

         91.     As set forth in the GLJC Complaint and in the Affidavit of Jessy Jacob, an


 https://townhall.com/tipsheet/bethbaumann/2020/11/04/usps-whistleblower-in-michigan-claims-higher-ups-
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 were-engaging-in-voter-fraud-n2579501



                                                    30                                       Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.31
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1345
                                                                   32 Page
                                                                      of of
                                                                         761677
                                                                            31
                                                                            PageID
                                                                               of 75#:
                                      1634



 employee of the City of Detroit Elections Department, “on November 4, 2020, I was instructed

 to improperly pre-date the absentee ballots receive date that were not in the QVF as if they

 hadbeen received on or before November 3, 2020. I was told to alter the information in the QVF

 to falselyshowthattheabsenteeballotshadbeenreceivedintimetobevalid.Sheestimatesthatthis was

 done to thousands of ballots.” Exh. 4, GLJC Complaint, Exh. B at ¶ 17.

                    4.        Election Workers Changed Votes for Trump and Other Republican
                              Candidates.

           92.      Challenger ArticiaBomer stated, “I observed a station where election workers

 were working on scanned ballots that had issues that needed to be manually corrected. I believe

 some of these workers were changing votes that had been cast for Donald Trump and other

 Republican candidates.” Id. (Bomer aff. ¶9). In addition to this eyewitness testimony of election

 workers manually changing votes for Trump to votes for Biden, there is evidence that Dominion

 Voting Systems did the same thing on a much larger scale with its Dominion Democracy Suite

 software. See generally infra Section IV.D, Paragraphs 123-131.

                    5.        Election Officials Added Votes and Removed Votes from “Over-
                              Votes”.

           93.      Another challenger observed over-votes on ballots being “corrected” so that the

 ballots    could        be   counted.     Exh.   3(Zaplitny      aff.¶13).   At   least   one   challenger

 observedpollworkersaddingmarkstoaballotwheretherewasnomarkforanycandidate.

 Id.(Tysonaff.¶17).

           C.       Additional Violations of Michigan Election Code That Caused Ineligible,
                    Illegal or Duplicate Ballots to Be Counted.

                    1.        Illegal Double Voting.

           94.      At                   least              one               election              worker

 “observedalargenumberofpeoplewhocametothesatellite location to vote in-person, but they had




                                                       31                                        Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.32
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1346
                                                                   33 Page
                                                                      of of
                                                                         761677
                                                                            32
                                                                            PageID
                                                                               of 75#:
                                      1635



 already applied for an absentee ballot. These people were allowed to vote in-person and were not

 required to return the mailed absentee ballot or sign an affidavit that the voter lost the mailed

 absentee       ballot.”     Exh.     4,   GLJC     Complaint     (Exh.     B)     Jacob   aff.   at   ¶    10.

 Thiswouldpermitapersontovoteinpersonandalsosendinhis/herabsentee ballot, and thereby vote at

 least twice.

                   2.      Ineligible Ballots Were Counted – Some Multiple Times.

         95.       Challengersreportedthatbatchesofballotswererepeatedlyrunthroughthe                      vote

 tabulation machines. Exh. 3 (Helminen aff. ¶4; Waskilewski aff., p. 1; Mandelbaum aff. ¶5; Rose

 aff. ¶¶4-14; Sitek aff. ¶3; Posch aff. ¶8; Champagne aff. ¶8). Challenger Patricia Rose stated she

 observed a stack of about fifty ballots being fed multiple times into a ballot scanner counting

 machine. Id. (Rose aff. ¶¶4-14). ArticiaBomer further stated thatshe witnessed the same group of

 ballots being rescanned into the counting machine “at least five times.” Id. ¶12. Dominion

 contractor Melissa Carone observed that this was a routine practice at the TCF Center, where she

 “witnessed countless workers rescanning the batches without discarding them first” – as required

 under Michigan rules and Dominion’s procedures – “which resulted in ballots being counted 4-5

 times” by the “countless” number of election workers. Carone aff. ¶3. When she observed that a

 computer indicated that it had “a number of over 400 ballots scanned – which means one batch

 [of 50] was counted over 8 times,” and complained to her Dominion supervisor, she was

 informed that “we are here to do assist with IT work, not to run their election.” Id. at ¶4.

                   3.      Ballots Counted with Ballot Numbers Not Matching Ballot Envelope.

         96.       Many challengers stated that the ballot number on the ballot did not match

 thenumberontheballotenvelope,butwhentheyraisedachallenge,thosechallengeswere                     disregarded

 and   ignored       by    election   officials,   not    recorded,   and    the    ballots   wereprocessed

 andcounted.Exh. 3(A.Seelyaff.¶15;Wasilewskiaff.,p.1;Schornakaff.¶13;Brunell aff. ¶¶17, 19;



                                                         32                                       Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.33
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1347
                                                                   34 Page
                                                                      of of
                                                                         761677
                                                                            33
                                                                            PageID
                                                                               of 75#:
                                      1636



 Papsdorf aff. ¶3; Spalding aff. ¶¶8, 11; Antonie aff. ¶3; Daavettila aff., p. 3; Atkins aff. ¶3;

 Harris aff. ¶3; Sherer aff. ¶21; Drzewiecki aff. ¶¶5-6; Klamer aff. ¶4; Rauf aff. ¶¶9-14; Roush

 aff. ¶¶5-7; Kinney aff. ¶5). For example, when challenger Abbie Helminen raised a challenge

 that the name on the ballot envelope did not match the name on the voter list, she was told by an

 election      official         to     “get       away”       and       that         the       counting

 tableshewasobservinghad“adifferentprocessthanothertables.”Id.(Helminenaff.¶5).

                4.         Election Officials Counted Ineligible Ballots with No Signatures or
                           with No Postmark on Ballot Envelope.

        97.     Atleasttwochallengersobservedballotsbeingcountedwheretherewasno signature or

 postmark     on     the     ballot   envelope.    Id.    (Brunell   aff.    ¶¶17,     19;     Spalding

 aff.¶13;Shereraff.¶13).ChallengerAnneVankerobservedthat“60%ormoreof[ballot] envelopes [in a

 batch] bore the same signature on the opened outer envelope.” Id.(Vanker aff. ¶5).Challenger

 William Henderson observed that a counting table of election workers lost eight ballot

 envelopes. Exhibit 1 (Henderson aff.¶8).The GLJCComplaint further alleges the Election

 Commission “instructed election workers to not verify signatures on absentee ballots, to

 backdate absentee ballots, and to process such ballots regardless of their validity.”

                5.         Election Officials Counted “Spoiled” Ballots.

        98.     At least two challengers observed spoiled ballots being counted. Id. (Schornak aff.

 ¶¶6-8; Johnson aff. ¶4). At least one challenger observed a box of provisional ballots being

 placed in a tabulation box at the TCF Center. Exhibit 1 (Cizmar aff. ¶5).

                6.         Systematic Violations of Ballot Secrecy Requirements

        99.     Affiant Larsen identified a consistent practice whereby election officials would

 remove ballots from the “secrecy sleeve” or peek into the envelopes, visually inspect the ballots,

 and based on this visual inspection of the ballot (and thereby identify the votes cast), determine




                                                  33                                         Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.34
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1348
                                                                   35 Page
                                                                      of of
                                                                         761677
                                                                            34
                                                                            PageID
                                                                               of 75#:
                                      1637



 whether to “place the ballot back in its envelope and into a ‘problem ballots’ box that required

 additional attention to determine whether they would be processed and counted.” Exh. 4, GLJC

 Complaint, Exh. A at ¶14. Mr. Larsen also observed that some ballots arriving without any

 secrecy sleeve at all were counted after visual inspection, whereas many ballots without a

 secrecy sleeve were placed in the “problem ballots” box. Id. at ¶¶21-22. “So the differentiation

 among these ballots despite both ballots arriving in secrecy sleeves was perplexing and again

 raised concerns that some ballots were being marked as ‘problem ballots’ based on who the

 person had voted for rather on any legitimate concern about the ability to count and process the

 ballot appropriately.” Id. at ¶24.

                7.      Election Workers Accepted Unsecured Ballots, without Chain of
                        Custody, after 8:00 PM Election Day Deadline.

        100.    Poll challengers observed two batches of new ballots brought to the TCF Center

 after the 8:00 PM Election Day deadline, as detailed in the GLJC Complaint and Paragraphs 79-

 81above. Affiant Daniel Gustafson further observed that these batches of ballots “were delivered

 to the TCF Center in what appeared to be mail bins with open tops.” Exh. 4, GLJC Complaint,

 Exh. E at¶4. Mr. Gustafson further observed that these bins and containers “did not have lids,

 were not sealed, and did not have the capability of having a metal seal,” id. at ¶5, nor were they

 “marked or identified in any way to indicated their source of origin.” Id. at ¶6.

        101.    An election challenger at the Detroit Department of Elections office observed

 passengers in cars dropping off more ballots than there were people in the car. Exh. 3 (Meyers

 aff. ¶3). This challenger also observed an election worker accepting a ballot after 8:00 p.m. on

 Election Day. Id.¶7.

        102.    An election challenger at the Detroit Department of Elections office observed

 ballots being deposited in a ballot drop box located at the Detroit Department of Elections after




                                                 34                                    Exhibit N
 Case
  CaseCase
      1:18-cv-05398-DLI-VMS
        2:20-cv-13134-LVP-RSW
            1:21-cv-01169-TCB Document
                               Document
                                ECF No.64-21
                                        35-2
                                        1, PageID.35
                                              Filed 05/03/21
                                                    01/25/21
                                                       Filed 11/25/20
                                                              Page 1349
                                                                    36 Page
                                                                       of of
                                                                          761677
                                                                             35
                                                                             PageID
                                                                                of 75#:
                                       1638



       8:00 p.m. on Election Day. Id. (Meyers aff.¶6).

              103.    On November 4, 2020, Affiant Matt Ciantar came forward who, independently

       witnessed, while walking his dog, a young couple delivered 3-4 large plastic clear bags, that

       appear to be “express bags”, as reflected in photographs taken contemporaneously, to a U.S.

       Postal vehicle waiting. See generallyExh. 7 Matt Ciantar Declaration. The use of clear “express

       bags” is consistent with the USPS whistleblower Johnathan Clarke in Traverse City, Michigan.

       See infra Paragraph 78.

                      8.     Ballots from Deceased Voters Were Counted.

              104.    One Michigan voter stated that her deceased son has been recorded as voting

       twice since he passed away, most recently in the 2020 general election. Exh. 3 (Chase aff.¶3).

III.          EXPERT WITNESS TESTIMONY SUPPORTING INDICATING WIDESPREAD
              VOTING FRAUD AND MANIPULATION

              A.      Approximately 30,000 Michigan Mail-In Ballots Were Lost, and
                      Approximately 30,000 More Were Fraudulently Recorded for Voters who
                      Never Requested Mail-In Ballots.

              105.    The attached report of William M. Briggs, Ph.D. (“Dr. Briggs Report”)

       summarizes the multi-state phone survey data of 248 Michigan Republican voters collected by

       Matt Braynard, which was conducted from November 15-17, 2020 and covered voters in

       Arizona, Georgia, Michigan, Pennsylvania, and Wisconsin. See Exh. 101, Dr. Briggs Reportat 1,

       and Att. 1 (“Braynard Survey”). The Braynard Survey sought to identify two specific errors

       involving unreturned mail-in ballots that are indicative of voter fraud, namely: “Error #1: those

   who were recorded as receiving absentee ballots withoutrequesting them;” and “Error #2: those

   who returned absentee ballots but whose votes went missing (i.e., marked as unreturned).” Id.

   Dr. Briggs then conducted a parameter-free predictive model to estimate, within 95% confidence

   or prediction intervals, the number of ballots affected by these errors out of a total of 139,190




                                                         35                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.36
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1350
                                                                   37 Page
                                                                      of of
                                                                         761677
                                                                            36
                                                                            PageID
                                                                               of 75#:
                                      1639



 unreturned mail-in ballots for the State of Michigan.

        106.    With respect to Error #1, Dr. Briggs analysis estimated that 29,611 to 36,529

 ballots out of the total 139,190 unreturned ballots (21.27% - 26.24%) were recorded for voters

 who had not requested them. Id. With respect to Error #2, the numbers are similar with 27,928

 to 34,710 ballots out of 139,190 unreturned ballots (20.06% - 24.93%) recorded for voters who

 did return their ballots were recorded as being unreturned. Id. Taking the average of the

 two types of errors together, 62,517 ballots, or 45% of the total, are “troublesome.”

        107.    These errors are not only conclusive evidence of widespread fraud by the State of

 Michigan, 5 but they are fully consistent with the fact witness statements above the evidence

 regarding Dominion presented below insofar as these purportedly unreturned absentee ballots

 provide a pool of 60,000-70,000 unassigned and blank ballots that could be filled in by

 Michigan election workers, Dominion or other third parties to shift the election to Joe

 Biden. With respect to Error #1, Dr. Briggs’ analysis, combined with the statements of the

 Michigan voters in the Braynard Survey, demonstrates that approximately 30,000 absentee

 ballots were sent to someone besides the registered voter named in the request, and thus

 could have been filled out by anyone and then submitted in the name of another voter. With

 respect to Error #2, Dr. Briggs’ analysis indicates that approximately 30,000 absentee ballots

 were either lost or destroyed (consistent with allegations of Trump ballot destruction) and/or

 were replaced with blank ballots filled out by election workers, Dominion or other third

 parties. Accordingly, Dr. Briggs’ analysis showing that almost half of purportedly “unreturned

 5
  The only other possible explanations for the statements of 248 Michigan mail-in voters included
 in the Braynard Survey data is (a) that the 248 voters (who had no known pre-existing
 relationship apart from being listed as having unreturned absentee ballots) somehow contrived to
 collude together to submit false information or (b) that these 248 suffered from amnesia,
 dementia or some other condition that caused them to falsely claim that they had requested a
 mail-in ballot or returned a mail-in ballot.



                                                 36                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.37
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1351
                                                                   38 Page
                                                                      of of
                                                                         761677
                                                                            37
                                                                            PageID
                                                                               of 75#:
                                      1640



 ballots” suffers from one of the two errors above – which is consistent with his findings in the

 four other States analyzed (Arizona 58%, Georgia 39%, Pennsylvania 37%, and Wisconsin 31%)

 – provides further support that these widespread “irregularities” or anomalies was one part of

 much larger interstate fraudulent scheme to rig the 2020 General Election for Joe Biden.

        B.     Statistical Analysis of Anomalous and Unprecedented Turnout Increases in
               Specific Precincts Indicate that There Were at Least 40,000 “Excess Voters”
               in Wayne County and At Least 46,000 in Oakland County.

        108.   The attached affidavit of Eric Quinell, Ph.D. (“Dr. Quinell Report”) analyzes the

 extraordinary increase in turnout from 2016 to 2020 in a relatively small subset of townships and

 precincts outside of Detroit in Wayne County and Oakland County, and more importantly how

 nearly 100% or more of all “new” voters from 2016 to 2020 voted for Biden. See Exh. 102.

 Using publicly available information from Wayne County and Oakland County, Dr. Quinell first

 found that for the votes received up to the 2016 turnout levels, the 2020 vote Democrat vs.

 Republican two-ways distributions (i.e., excluding third parties) tracked the 2016 Democrat vs.

 Republican distribution very closely, which was 55%-45% for Wayne County (outside Detroit)

 and 54%/46% for Oakland County. Id. at ¶¶18 & 20.

        109.   However, after the 2016 turnout levels were reached, the Democrat vs.

 Republican vote share shifts decisively towards Biden by approximately 15 points, resulting in a

 72%/28% D/R split for Oakland County and 70%/30% D/R split for Wayne County (outside of

 Detroit). What is even more anomalous – and suspicious – is the fact that nearly all of these

 “new” votes in excess of 2016 come from a small number of townships/precincts where the

 increased Biden vote share is nearly 100% or over 100% for Biden. Id. For example, in the

 township of Livonia in Wayne County, Biden gained 3.2 voters for every 1 new Trump voter,

 and Biden receive 97% of all “new” votes over 2016 and 151% of all new voter registrations. Id.

 at ¶6. In the township of Troy in Oakland County, the vote share shifted from 51%/49% in 2016


                                                37                                    Exhibit N
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 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.38
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1352
                                                                   39 Page
                                                                      of of
                                                                         761677
                                                                            38
                                                                            PageID
                                                                               of 75#:
                                      1641



 to 80%/20% in 2020 due to Biden receiving 98% of new votes above 2016 and 109% of new

 voter registrations. Id. at ¶20. Looking county-wide, Biden gained 2.32 new voters over 2016

 levels to every 1 new Trump voter in Wayne County (outside Detroit) and 2.54 additional new

 voters per Trump voter for Oakland County. Id. ¶5.

        110.   Based on these statistically anomalous results that occurred in a handful of

 townships in these two counties, Dr. Quinell’s model determined that there were 40,771

 anomalous votes in Wayne County (outside Detroit) and 46,125 anomalous votes in Oakland

 County, for a total of nearly 87,000 anomalous votes or approximately 65% of Biden’s purported

 lead in Michigan.

        C.     Over 13,000 Ineligible Voters Who Have Moved Out-of-State Illegally Voted
               in Michigan.

        111.   Evidence compiled by Matt Braynard using the National Change of Address

 (“NCOA”) Database shows that 12,120 Michigan voters in the 2020 General Election moved

 out-of-state prior to voting, and therefore were ineligible.      Mr. Braynerd identified 1,170

 Michigan voters in the 2020 General Election who subsequently registered to vote in another

 state, and were therefore ineligible to vote in the 2020 General Election. When duplicates from

 the two databases are eliminated, the merged number is 13,248 ineligible voters whose votes

 must be removed from the total for the 2020 General Election. 6

        D.     There Were At Least 289,866 More Ballots Processed in Four Michigan
               Counties on November 4 Than There Was Processing Capacity.

        112.   The expert witness testimony of Russell James Ramsland, Jr. (“Ramsland

 Affidavit”), which is described in greater detail below, identifies an event that occurred in

 Michigan on November 4 that is “physically impossible” See Exh. 104 at ¶14. The “event”

 6
  Mr. Braynard posted the results of his analysis on Twitter.                          See
 https://twitter.com/MattBraynard/status/1329700178891333634?s=20. This Complaint includes
 a copy of his posting as Exhibit 103.


                                                38                                   Exhibit N
 Case
  CaseCase
      1:18-cv-05398-DLI-VMS
        2:20-cv-13134-LVP-RSW
            1:21-cv-01169-TCB Document
                               Document
                                ECF No.64-21
                                        35-2
                                        1, PageID.39
                                              Filed 05/03/21
                                                    01/25/21
                                                       Filed 11/25/20
                                                              Page 1353
                                                                    40 Page
                                                                       of of
                                                                          761677
                                                                             39
                                                                             PageID
                                                                                of 75#:
                                       1642



   reflected in the data are “4 spikes totaling 384,733 ballots allegedly processed in a combined

      interval of 2 hour[s] and 38 minutes” for four precincts/townships in four Michigan counties

      (Wayne, Oakland, Macomb ne and Kent). Id. Based on Mr. Ramsland’s analysis of the voting

      machines available at the referenced locations, he determined that the maximum processing

      capability during this period was only 94,867 ballots, so that “there were 289,866 more ballots

      processed in the time available for processing in the four precincts/townships, than there was

   processing capacity.” Id. This amount is alone is nearly twice the number of ballots by which

   Biden purportedly leads President Trump (i.e., approximately 154,180).

IV.          FACTUAL ALLEGATIONS RE DOMINION VOTING SYSTEMS

             A.       Evidence of Specific Fraud Wayne County used ballot tabulators that were
                      shown to miscount votes cast for President Trump and Vice President Pence
                      and instead count them for the Biden-Harristicket.

             113.     On the morning of November 4, unofficial results posted by the Antrim County

   Clerk showed that Joe Biden had over 7,700 votes — 3,000 more than Donald Trump. Antrim

      County voted 62% in favor of President Trump in 2016. The Dominion Voting Systems election

      management system and voting machines (tabulators), which were used in Antrim County, are

      also used in many other Michigan counties, including Wayne County, were atfault.

             114.     However, Malfunctioning voting equipment or defective ballots may have

   affectedtheoutcomeofavoteonanofficeappearingontheballot.”MichiganManualfor            Boards   of

   County         Canvassers.    Thesevotetabulatorfailuresareamechanicalmalfunctionthat,underMCL

   168.831-168.839, requires a “special election” in the precincts affected.

             115.     SecretaryofStateBensonreleasedastatementblamingthecountyclerkfor

   notupdatingcertain“mediadrives,”butherstatementfailedtoprovideanycoherentexplanation of how




                                                    39                                    Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.40
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1354
                                                                   41 Page
                                                                      of of
                                                                         761677
                                                                            40
                                                                            PageID
                                                                               of 75#:
                                      1643



 the Dominion Voting Systems software and vote tabulators produced such a massive miscount. 7

           116.       Secretary Benson continued: “After discovering the error in reporting the

 unofficial results, the clerk worked diligently to report correct unofficial results by reviewing the

 printed totals tape on each tabulator and hand-entering the results for each race, for each

 precinct in the county.”Id.What Secretary Benson fails to address is what would have happened

 if no one “discover[ed] the error,” for instance, in Wayne County, where the number of

 registered voters is much greater than Antrim County, and where the tabulators were not

 individuallytested.

           117.       Wayne County used the same Dominion voting system tabulators as did

 AntrimCounty,andWayneCountytestedonlyasingleoneofitsvotetabulatingmachines                     before    the

 election. The Trump campaign asked Wayne County to have an observer physically present to

 witness        the     process.   See    Exhibit     4.    Wayne       County     denied     the      Trump

 campaigntheopportunitytobephysicallypresent.RepresentativesoftheTrumpcampaign                   did     have

 opportunity to watch a portion of the test of a single machine by Zoomvideo.

           B.         The Pattern Of Incidents Shows An Absence Of Mistake - Always In
                      The Favor Of Biden.

           118.       Rules of Evidence, 404(b), applicable to civil matters makes clear that,

           (b) Evidence of other crimes, wrongs, or acts shall not be admissible to prove the
           character of a person in order to show action in conformity therewith. It may,
           however, be admissible for other purposes, including, but not limited to,
           proof of motive, opportunity, intent, preparation, plan, knowledge, identity,
           or absence of mistake or accident.

           119.       Tabulator issues and election violations occurred elsewhere in Michigan

 reflecting a pattern, where multiple incidents occurred. In Oakland County, votes flipped a seat

 to an incumbent Republican, Adam Kochenderfer, from the Democrat challenger when

 7
     https://www.michigan.gov/documents/sos/Antrim_Fact_Check_707197_7.pdf (emphasis in original).




                                                       40                                       Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                       35-2
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                                             Filed 05/03/21
                                                   01/25/21
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                                                             Page 1355
                                                                   42 Page
                                                                      of of
                                                                         761677
                                                                            41
                                                                            PageID
                                                                               of 75#:
                                      1644



        120.      “A computer issue in Rochester Hills caused them to send us results for seven

 precincts as both precinct votes and absentee votes. They should only have beensent to us as

 absentee votes,” Joe Rozell, Oakland County Director of Elections for the City of Huntington

 Woods, said. 8

        121.      This Oakland County flip of votes is significant not only because it reflects a

 second systems error wherein both favored the Democrats, precinct votes were sent out to be

 counted, and they were counted twice as a result until the error was caught on a recount, but

 precinct votes should never be counted outside of the precinct, instead they are required to be

 sealed in the precinct.

        C.        Dominion Voting Machines and Forensic Evidence of Wide-Spread
                  Fraud in Defendant Counties

        122.      The State of Michigan entered into a contract with Dominion Systems’

 Democracy Suite 4.14-D first, and then included Dominion Systems Democracy Suite 5.0-S on

 or about January 27, 2017, which added a fundamental modification: “dial-up and wireless

 results transmission capabilities to the ImageCast Precinct and results transmission using the

 Democracy Suite EMS Results Transfer Manager module.”

        123.      Whereas the same Dominion software in an updated contract with Pennsylvania,

 unlike in Michigan’s contract, sets forth the standard as requiring physical security:              No

 components of the Democracy Suite 5.5A shall be connected to any modem or network interface,

 including the Internet, at any time, except when a standalone local area wired network

 configuration in which all connected devices are certified voting system components.” Id. at 41

 (Condition C).

        124.      The Michigan Contract with Dominion Voting Systems Democracy packages

 8
   Detroit Free Press, https://www.freep.com/story/news/local/michigan/oakland/2020/11/06/oakland-county-
 election-2020-race-results/6184186002/



                                                   41                                       Exhibit N
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 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.42
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1356
                                                                   43 Page
                                                                      of of
                                                                         761677
                                                                            42
                                                                            PageID
                                                                               of 75#:
                                      1645



 include language that describes Safety and Security, which in part makes the risks of potential

 breach clear where keys can be lost despite the fact that they provide full access to the unit, and

 while it is clear that the electronic access provides control to the unit, and the ability to alter

 results, combined with the lack of observers, creates a lack of security that becomes part of a

 pattern of the absence of mistake, or fraud:

        The ImageCast tabulators are unlocked by an iButton security key, which is used
        to:
        • Authenticate the software version (ensuring it is a certified version that has not
        been tampered with)
        • Decrypt election files while processing ballots during the election
        • Encrypt results files during the election
        • Provide access control to the unit
        It is anticipated that the iButton security keys may get lost; therefore, any
        substitute key created for the same tabulator will allow the unit to work
        fully. 9

        125.    In late December of 2019, three Senators, Warren, Klobuchar, Wyden and House

 Member Mark Pocanwrote about their ‘particularized concerns that secretive & “trouble -

 plagued companies”’“have long skimped on security in favor of convenience,” in the context of

 how they described the voting machine systems that three large vendors – Election Systems &

 Software, Dominion Voting Systems, & Hart InterCivic – collectively provide voting machines

 & software that facilitate voting for over 90% of all eligible voters in the U.S.”

        126.    As evidence of the risks of the Dominion Democracy Suite, as described above,

 the same Dominion Democracy Suite was denied certification in Texas by the Secretary of State

 on January 24, 2020 specifically because of a lack of evidence of efficiency and accuracy and




 9SeeExh. 8, State of Michigan Enterprise Procurement, Notice of Contract, Contract No.
 071B770017 between the State of Michigan and Dominion Voting Systems Inc. at ¶2.6.2
 (“Dominion Michigan Contract”).


                                                  42                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.43
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1357
                                                                   44 Page
                                                                      of of
                                                                         761677
                                                                            43
                                                                            PageID
                                                                               of 75#:
                                      1646



 identified vulnerabilitiesto fraud and unauthorized manipulation. 10

        D.      “Red Flags” in Dominion’s Michigan Results for 2020 General
                Election Demonstrate Dominion Manipulated Election Results, and
                that the Number of Illegal Votes Is Nearly Twice As Great as Biden’s
                Purported Margin of Victory.

        127.    The expert witness testimony of Russell James Ramsland, Jr. (“Ramsland

 Affidavit”) 11analyzes several “red flags” in Dominion’s Michigan results for the 2020 election,

 and flaws in the system architecture more generally, to conclude that Dominion manipulated

 election results. Dominion’s manipulation of election results enabled Defendants to engage in

 further voting fraud violations above and beyond the litany of violations recited above in Section

 II.A through Section II.C.

                1.     Antrim County “Glitch” Was Not “Isolated Error” and May Have
                       Affected Other Counties.

        128.    The first red flag is the Antrim County, Michigan “glitch” that switched 6,000

 Trump ballots to Biden, and that was only discoverable through a manual hand recount. See

 supra Paragraph 94. The “glitch” was later attributed to “clerical error” by Dominion and

 Antrim Country, presumably because if it were correctly identified as a “glitch”, “the system

 would be required to be ‘recertified’ according to Dominion officials. This was not done.” Exh.

 104, Ramsland Aff. at ¶10. Mr. Ramsland is skeptical because “the problem most likely did

 occur due to a glitch where an update file did not properly synchronize the ballot barcode

 generation and reading portions of the system.” Id. Further, such a glitch would not be an



 10
    See Texas Analysis of February 15, 2019 from the Voting Systems Examiner to the Director
 of Elections (emphasis added).
 11
   As detailed in the Ramsland Affidavit and the CV attached thereto, Mr. Ramsland is a member
 of the management team Allied Security Operations Group, LLC (“ASOG”), a firm specializing
 in cybersecurity, OSINT and PEN testing of networks for election security and detecting election
 fraud through tampering with electronic voting systems.


                                                43                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.44
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1358
                                                                   45 Page
                                                                      of of
                                                                         761677
                                                                            44
                                                                            PageID
                                                                               of 75#:
                                      1647



 “isolated error,” as it “would cause entire ballot uploads to read as zero in the tabulation

 batch, which we also observed happening in the data (provisional ballots were accepted

 properly but in-person ballots were being rejected (zeroed out and/or changed (flipped)).” Id.

 Accordingly, Mr. Ramsland concludes that it is likely that other Michigan counties using

 Dominion may “have the same problem.” Id.

                    2.      Fractional Vote Counts in Raw Data Strongly Indicate Voting
                            Manipulation through “Ranked Choice Voting Algorithm”

            129.    Mr. Ramsland’s analysis of the raw data , which provides votes counts, rather

 than just vote shares, in decimal form provides highly probative evidence that, in his

 professional opinion, demonstrates that Dominion manipulated votes through the use of an

 “additive” or “Ranked Choice Voting” algorithm (or what Dominion’s user guide refers to as

 the “RCV Method”). See id. at ¶12. 12 Mr. Ramsland presents the following example of this data

 – taken from “Dominion’s direct feed to news outlets” – in the table below. Id.

  state                  timestamp        eevp    trump    biden         TV               BV

 michigan          2020-11-04T06:54:48Z    64     0.534    0.448     1925865.66       1615707.52

 michigan          2020-11-04T06:56:47Z    64     0.534    0.448     1930247.664     1619383.808

 michigan          2020-11-04T06:58:47Z    64     0.534    0.448     1931413.386     1620361.792

 michigan          2020-11-04T07:00:37Z    64     0.533     0.45     1941758.975      1639383.75

 michigan          2020-11-04T07:01:46Z    64     0.533     0.45     1945297.562      1642371.3

 michigan          2020-11-04T07:03:17Z    65     0.533     0.45     1948885.185      1645400.25

            130.    Mr. Ramsland describes how the RCV algorithm can be implemented, and the

 significance of the use of fractional vote counts, with decimal places, rather than whole numbers,

 in demonstrating that Dominion did just that to manipulate Michigan votes.

 12
   See id. (quotingDemocracy Suite EMS Results Tally and Reporting User Guide, Chapter 11,
 Settings 11.2.2., which reads, in part, “RCV METHOD: This will select the specific method of
 tabulating RCV votes to elect a winner.”).


                                                  44                                   Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.45
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1359
                                                                   46 Page
                                                                      of of
                                                                         761677
                                                                            45
                                                                            PageID
                                                                               of 75#:
                                      1648



        For instance, blank ballots can be entered into the system and treated as “write-
        ins.” Then the operator can enter an allocation of the write-ins among candidates
        as he wishes. The final result then awards the winner based on “points” the
        algorithm in the compute, not actual votes. The fact that we observed raw vote
        data that includes decimal places suggests strongly that this was, in fact, done.
        Otherwise, votes would be solely represented as whole numbers. Below is an
        excerpt from Dominion’s direct feed to news outlets showing actual calculated
        votes with decimals. Id.

                3.      StrongEvidence That Dominion Shifted Votes from Trump to Biden.

        131.    A third red flag identified by Mr. Ramslund is the dramatic shift in votes between

 the two major party candidates as the tabulation of the turnout increased, and more importantly,

 the change in voting share before and after 2 AM on November 4, 2020, after Wayne County and

 other Michigan election officials had supposedly halted counting.

        Until the tabulated voter turnout reached approximately 83%, Trump was
        generally winning between 55% and 60% of every turnout point. Then, after the
        counting was closed at 2:00 am, the situation dramatically reversed itself,
        starting with a series of impossible spikes shortly after counting was
        supposed to have stopped. Id. at ¶13.

        132.    Once again the means through which Dominion appears to have implemented this

 scheme is through the use of blank ballots that were all, or nearly all, cast for Biden.

        The several spikes cast solely for Biden could easily be produced in the Dominion
        system by pre-loading batches of blank ballots in files such as Write-Ins, then
        casting them all for Biden using the Override Procedure (to cast Write-In ballots)
        that is available to the operator of the system. A few batches of blank ballots
        could easily produce a reversal this extreme, a reversal that is almost as
        statistically difficult to explain as is the impossibility of the votes cast to number
        of voters described in Paragraph 11 above.Id.

                4.      The November 4 Ballot Dumps Wayne County and Other Michigan
                        Counties Was “Physically Impossible” Because There Were More
                        Ballots Than Machines in Those Four Counties Could Have Counted
                        Or Processed.

        133.    Mr Ramsland and his team analyzed the sudden injection of totaling 384,733

 ballots by four Michigan counties (Wayne, Oakland, Macomb, and Kent) in a 2 hour 38 minute

 period in the early morning of November 4 (which would have included the first ballot dump



                                                  45                                        Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
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                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1360
                                                                   47 Page
                                                                      of of
                                                                         761677
                                                                            46
                                                                            PageID
                                                                               of 75#:
                                      1649



 described above in Paragraph 72), and concluded that “[t]his is an impossibility, given the

 equipment available at the 4 reference locations (precincts/townships).” Id. at ¶14.

        134.   Specifically, Mr. Ramslund calculated that “94,867 ballots as the maximum

 number of ballots that could be processed” in that time period, and thus that “[t]here were

 289,866 more ballots processed in the time available for processing in four precincts/townships,

 than the capacity of the system allows.” Id. Mr. Ramsland concludes that “[t]he documented

 existence of the spikes are strongly indicative of a manual adjustment either by the operator of

 the system (see paragraph 12 above) or an attack by outside actors.” Id. The vote totals added

 for all Michigan counties, including Wayne, Oakland, Macomb and Kent counties, for the period

 analyzed by Mr. Ramsland are reproduced in the figure below.




                                               46                                    Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.47
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1361
                                                                   48 Page
                                                                      of of
                                                                         761677
                                                                            47
                                                                            PageID
                                                                               of 75#:
                                      1650



                5.      The Number of Illegal Votes Attributable to Dominion Is Nearly
                        Twice the Biden’s Purported Margin in Michigan.

        135.    Based on his analysis of the red flags and statistical anomalies discussed below,

 Mr. Ramsland concludes that:

        [T]hese statistical anomalies and impossibilities compels the conclusion to a
        reasonable degree of professional certainty that the vote count in Michigan and in
        Wayne County, in particular for candidates for President contain at least 289,866
        illegal votes that must be disregarded.

 Given that Mr. Biden’s currently purported margin of victory is approximately 154,000, the

 number of illegal votes attributable Dominion’s fraudulent and illegal conduct is by itself

 (without considering the tens or hundreds of thousands of illegal votes due to the unlawful

 conduct described in Section II), is nearly twice Mr. Biden’s current purported lead in the State

 of Michigan. Thus Mr. Ramsland affidavit alone provides this Court more than sufficient basis

 to grant the relief requested herein.

        E.      Additional Independent Findings of Dominion Flaws.

        136.     Further supportive of this pattern of incidents, reflecting an absence of mistake,

 Plaintiffs have since learned that the "glitches" in the Dominion system -- that have the uniform

 effect of hurting Trump and helping Biden -- have been widely reported in the press and

 confirmed by the analysis of independent experts.

                1.      Central Operator Can Remove, Discard or Manipulate Votes.

        137.    Plaintiffs have also learned of the connection between Dominion Voting Systems,

 Smartmatic and the voting systems used in Venuezela and the Phillipines.

           a. Dominion Voting has also contradicted itself in a rush to denial a pattern of errors
              that lead to fraud. For example, Dominion Voting Systems machines can read all
              of these instruments, including Sharpies.https://www.dominionvoting.com/

           b. but Dominion Voting’s Democracy Suite contract with Michigan specifically
              requires:




                                                47                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.48
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1362
                                                                   49 Page
                                                                      of of
                                                                         761677
                                                                            48
                                                                            PageID
                                                                               of 75#:
                                      1651



        Black Inc: Black ink (or toner) must be dense, opaques, light-fast and permanent,
        with a measured minimum 1.2 reflection density (log) above the paper base. 13

        138.    An Affiant, who is a network & Information cybersecurities expert, under sworn

 testimony explains that after studying the user manual for Dominion Voting Systems Democracy

 software, he learned that the information about scanned ballots can be tracked inside the

 software system for Dominion:

        (a)    When bulk ballot scanning and tabulation begins, the "ImageCast Central"
        workstation operator will load a batch of ballots into the scanner feed tray and
        then start the scanning procedure within the software menu. The scanner then
        begins to scan the ballots which were loaded into the feed tray while the
        "ImageCast Central" software application tabulates votes in real-time. Information
        about scanned ballots can be tracked inside the "ImageCast Central" software
        application.
        (See Exh.Aff. of Watkins __, at par.11).

        139.    The Affiant further explains that the central operator can remove or discard

 batches of votes. “After all of the ballots loaded into the scanner's feed tray have been through

 the scanner, the "ImageCast Central" operator will remove the ballots from the tray then have the

 option to either "Accept Batch" or "Discard Batch" on the scanning menu …. “Id. at ¶ 12.

        140.    Affiantfurther testifies that the user manual makes clear that the system allows for

 threshold settings to be set to find all ballots get marked as “problem ballots” for discretionary

 determinations on where the vote goes stating:

        “During the voting process, the voter will mark an oval on the ballot using a
        writing device. During the scanning process, the "ImageCast Central" software
        will detect how much of a percent coverage of the oval was filled in by the voter.
        The Dominion customer determines the thresholds of which the oval needs to be
        covered by a mark in order to qualify as a valid vote. If a ballot has a marginal
        mark which did not meet the specific thresholds set by the customer, then the
        ballot is considered a "problem ballot" and may be set aside into a folder named
        "NotCastImages". Through creatively tweaking the oval coverage threshold
        settings it should be possible to set thresholds in such a way that a non-trivial
        amount of ballots are marked "problem ballots" and sent to the "NotCastImages"


  See Exh. 8, par. 2.6.2 of contract # 071B770017.
 13




                                                  48                                    Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.49
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1363
                                                                   50 Page
                                                                      of of
                                                                         761677
                                                                            49
                                                                            PageID
                                                                               of 75#:
                                      1652



        folder. It is possible for an administrator of the ImageCast Central work station
        to view all images of scanned ballots which were deemed "problem ballots" by
        simply navigating via the standard "Windows File Explorer" to the folder named
        "NotCastImages" which holds ballot scans of "problem ballots". It is possible for
        an administrator of the "ImageCast Central" workstation to view and delete any
        individual ballot scans from the "NotCastImages" folder by simply using the
        standard Windows delete and recycle bin functions provided by the Windows 10
        Pro operating system.

        Id. at ¶¶ 13-14.

        141.    The Affiant further explains the vulnerabilities in the system when the copy of the

 selected ballots that are approved in the Results folder are made to a flash memory card – and

 that is connected to a Windows computer stating:

        It is possible for an administrator of the "ImageCast Central" workstation toview
        and delete any individual ballot scans from the "NotCastImages" folder by simply
        using the standard Windows delete and recycle bin functions provided by the
        Windows 10 Pro operating system. … The upload process is just a simple copying
        of a "Results" folder containing vote tallies to a flash memory card connected to
        the "Windows 10 Pro" machine. The copy process uses the standard drag-n-drop
        or copy/paste mechanisms within the ubiquitous "Windows File Explorer". While
        a simple procedure, this process may be error prone and is very vulnerable to
        malicious administrators.

        Id. at par. 14 and 15.

                2.      Dominion – By Design – Violates Federal Election & Voting Record
                        Retention Requirements.

        142.    The Dominion System put in place by its own design violates the intent of Federal

 law on the requirement to preserve and retain records – which was clearly requires preservation

 of all records requisite to voting in such an election.

        F.      § 20701. Retention and preservation of records and papers by officers of
                elections; deposit with custodian; penalty for violation


        Every officer of election shall retain and preserve, for a period of twenty-
        two months from the date of any general, special, or primary election of
        which candidates for the office of President, Vice President, presidential
        elector, Member of the Senate, Member of the House of Representatives,
        or Resident Commissioner from the Commonwealth of Puerto Rico are



                                                   49                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.50
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1364
                                                                   51 Page
                                                                      of of
                                                                         761677
                                                                            50
                                                                            PageID
                                                                               of 75#:
                                      1653



        voted for, all records and papers which come into his possession
        relating to any application, registration, payment of poll tax, or other
        act requisite to voting in such election, except that, when required by
        law, such records and papers may be delivered to another officer of
        election and except that, if a State or the Commonwealth of Puerto Rico
        designates a custodian to retain and preserve these records and papers at a
        specified place, then such records and papers may be deposited with such
        custodian, and the duty to retain and preserve any record or paper so
        deposited shall devolve upon such custodian. Any officer of election or
        custodian who willfully fails to comply with this section shall be fined not
        more than $1,000 or imprisoned not more than one year, or both.

        143.   A Penn Wharton Study from 2016 concluded that “Voters and their

 representatives in government, often prompted by news of high-profile voting problems,

 also have raised concerns about the reliability and integrity of the voting process, and

 have increasingly called for the use of modern technology such as laptops and tablets to

 improve convenience.

        144.   As evidence of the risks of the Dominion Democracy Suite, as described

 above, the same Dominion Democracy Suite was denied certification in Texas by the

 Secretary of State on January 24, 2020 specifically because of a lack of evidence of

 efficiency and accuracy and to be safe from fraud or unauthorized manipulation. 14

               3.    Dominion Vulnerabilities To Hacking.

        145.   Plaintiffs have since learned that the "glitches" in the Dominion system --

 that have the uniform effect of hurting Trump and helping Biden -- have been widely

 reported in the press and confirmed by the analysis of independent experts.

        146.   Plaintiffs can show, through expert and fact witnesses that:

        A.     Massive End User Vulnerabilities.




  See Exh. X, Report of Review of Dominion Voting Systems Democracy Suite 5.5-A Elections
 14

 Division by the Secretary of State’s office, Elections Division, January 24, 2020.



                                             50                                 Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.51
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1365
                                                                   52 Page
                                                                      of of
                                                                         761677
                                                                            51
                                                                            PageID
                                                                               of 75#:
                                      1654



        (1) Users on the ground have full admin privileges to machines and software. The
            Dominion system is designed to facilitate vulnerability and allow a select few
            to determine which votes will be counted in any election. Workers were
            responsible for moving ballot data from polling place to the collector’s office
            and inputting it into the correct folder. Any anomaly, such as pen drips or
            bleeds, is not counted and is handed over to a poll worker to analyze and
            decide if it should count. This creates massive opportunity for improper vote
            adjudication. (See Exh.____ For Affiant Watkins).

        (2) Affiant witness (name redacted for security reasons 15), in his sworn testimony
            explains he was selected for the national security guard detail of the President
            of Venezuela, and that he witnessed the creation of Smartmatic for the purpose
            of election vote manipulation:

            “I was witness to the creation and operation of a sophisticated
            electronic voting system that permitted the leaders of the Venezuelan
            government to manipulate the tabulation of votes for national and local
            elections and select the winner of those elections in order to gain and
            maintain their power. Importantly, I was a direct witness to the
            creation and operation of an electronic voting system in a conspiracy
            between a company known as Smartmatic and the leaders of
            conspiracy with the Venezuelan government. This conspiracy
            specifically involved President Hugo Chavez Frias, the person in
            charge of the National Electoral Council named Jorge Rodriguez, and
            principals, representatives, and personnel from Smartmatic which
            included … The purpose of this conspiracy was to create and operate a
            voting system that could change the votes in elections from votes
            against persons running the Venezuelan government to votes in their
            favor in order to maintain control of the government.”

        (See Exh. 14, pars. 6, 9, 10).

        147.   Specific vulnerabilities of the systems in question that have been

 documented or reported include:

        A. Barcodes can override the voters’ vote: As one University of California,
           Berkeley study shows, “In all three of these machines [including Dominion
           Voting Systems] the ballot marking printer is in the same paper path as the
           mechanism to deposit marked ballots into an attached ballot box. This opens
           up a very serious security vulnerability: the voting machine can make the
           paper ballot (to add votes or spoil already-case votes) after the last time the
           voter sees the paper, and then deposit that marked ballot into the ballot box


    The Affiant’s name will be produced in camera to the court, with a motion for seal of the
 1515

 information.


                                             51                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.52
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1366
                                                                   53 Page
                                                                      of of
                                                                         761677
                                                                            52
                                                                            PageID
                                                                               of 75#:
                                      1655


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               without the possibility of detection.” (See Ex. __,)

           B. Voting machines were able to be connected to the internet by way of laptops
              that were obviously internet accessible. If one laptop was connected to the
              internet, the entire precinct was compromised.

           C. “We … discovered that at least some jurisdictions were not aware that their
              systems were online,” said Kevin Skoglund, an independent security
              consultant who conducted the research with nine others, all of them long-time
              security professionals and academics with expertise in election security. Vice.
              August 2019. 17

           D. October 6, 2006 – Congresswoman Carolyn Maloney calls on Secretary of
              Treasury Henry Paulson to conduct an investigation into Smartmatic based on
              its foreign ownership and ties to Venezuela. (See Exh. __,).

           E. Congresswoman Maloney wrote that “It is undisputed that Smartmatic is
              foreign owned and it has acquired Sequoia … Smartmatica now
              acknowledged that Antonio Mugica, a Venezuelan businessman has a
              controlling interest in Smartmatica, but the company has not revealed who all
              other Smartmatic owners are.

           F. Dominion “got into trouble” with several subsidiaries it used over alleged
              cases of fraud. One subsidiary is Smartmatic, a company “that has played a
              significant role in the U.S. market over the last decade,” according to a report
              published by UK-based AccessWire.

           G. Litigation over Smartmatic “glitches” alleges they impacted the 2010 and
              2013 mid-term elections in the Philippines, raising questions of cheating and
              fraud. An independent review of the source codes used in the machines found
              multiple problems, which concluded, “The software inventory provided by
              Smartmatic is inadequate, … which brings into question the software
              credibility,” ABS-CBN reported.

           H. Dominion acquired Sequoia Voting Systems as well as Premier Election
              Solutions (formerly part of Diebold, which sold Premier to ES&S in 2009,
              until antitrust issues forced ES&S to sell Premier, which then was acquired by
              Dominion). This map illustrates 2016 voting machine data—meaning, these
              data do not reflect geographic aggregation at the time of acquisition, but

  Ballot Marking Devices (BMDs) Cannot Assure the Will of the Voters, Andrew W. Appel,
 16

 Richard T. DeMello, University of California, Berkeley, 12/27/2019.
 17
      https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems have-been-left-

 exposed-online-despite-official-denials




                                                  52                                   Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.53
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1367
                                                                   54 Page
                                                                      of of
                                                                         761677
                                                                            53
                                                                            PageID
                                                                               of 75#:
                                      1656



             rather the machines that retain the Sequoia or Premier/Diebold brand that now
             fall under Dominion’s market share. (The Business of Voting, Penn Wharton,
             Caufield, p. 16).

        I.   Dominion entered into a 2009 contract with Smartmatic and provided
             Smartmatic with the PCOS machines (optical scanners) that were used in the
             2010 Philippine election, the biggest automated election run by a private
             company. The automation of that first election in the Philippines was hailed
             by the international community and by the critics of the automation. The
             results transmission reached 90% of votes four hours after polls closed and
             Filipinos knew for the first time who would be their new president on
             Election Day. In keeping with local Election law requirements, Smartmatic
             and Dominion were required to provide the source code of the voting
             machines prior to elections so that it could be independently verified.18

        J. In late December of 2019, three Democrat Senators, Warren, Klobuchar,
           Wyden and House Member Mark Pocan wrote about their ‘particularized
           concerns that secretive & “trouble -plagued companies”’ “have long skimped
           on security in favor of convenience,” in the context of how they described the
           voting machine systems that three large vendors – Election Systems &
           Software, Dominion Voting Systems, & Hart InterCivic – collectively provide
           voting machines & software that facilitate voting for over 90% of all eligible
           voters in the U.S.” (See Exh. __, attached copy of Senators’ letter).

        K. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting
           systems] are “yet another damning indictment of the profiteering election
           vendors, who care more about the bottom line than protecting our
           democracy.” It’s also an indictment, he said, “of the notion that important
           cybersecurity decisions should be left entirely to county election offices,
           many of whom do not employ a single cybersecurity specialist.” Vice. August
           2019.19

        148.    The expert witness in pending litigation in the United States District Court

 of Georgia, _______, Harri Hursti, specifically testified to the acute security

 vulnerabilities, among other facts, by declaration filed on August 24, 2020, (See Exhibit



  LONDON, ENGLAND / ACCESSWIRE / August 10, 2017, Voting Technology Companies
 18


 in the U.S. - Their Histories and Present Contributions
 19
   https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-

 have-been-left-exposed-online-despite-official-denials




                                             53                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.54
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1368
                                                                   55 Page
                                                                      of of
                                                                         761677
                                                                            54
                                                                            PageID
                                                                               of 75#:
                                      1657



 “___” attached hereto) wherein he testified or found:

        A. “The scanner and tabulation software settings being employed to determine
           which votes to count on hand marked paper ballots are likely causing clearly
           intentioned votes to be counted” “The voting system is being operated in
           Fulton County in a manner that escalates the security risk to an extreme level”
           “Votes are not reviewing their BMD printed ballots, which causes BMD
           generated results to be un-auditable due to the untrustworthy audit trail.” 50%
           or more of voter selections in some counties were visible to poll workers.
           Dominion employees maintain near exclusive control over the EMS servers.
           “In my professional opinion, the role played by Dominion personnel in Fulton
           County, and other counties with similar arrangements, should be considered
           an elevated risk factor when evaluating the security risks of Georgia’s voting
           system.” See Paragraph 26 of Hursti Declaration.

        B. A video game download was found on one Georgia Dominion system laptop,
           suggesting that multiple Windows updates have been made on that respective
           computer.

        C. There is evidence of remote access and remote troubleshooting which
           presents a grave security implication.

        D. Certified identified vulnerabilities should be considered an “extreme security
           risk.”

        E. There is evidence of transfer of control the systems out of the physical
           perimeters and place control with a third party off site.

        F. USB drives with vote tally information were observed to be removed from the
           presence of poll watchers during a recent election.

        1.       Hursti stated within said Declaration:

        “The security risks outlined above – operating system risks, the failure to
        harden the computers, performing operations directly on the operating
        systems, lax control of memory cards, lack of procedures, and potential
        remote access are extreme and destroy the credibility of the tabulations
        and output of the reports coming from a voting system.” (See Paragraph
        49 of Hursti Declaration).

        149.   Rather than engaging in an open and transparent process to give credibility

 to Michigan’s Dominion-Democracy Suite voting system, the processes were hidden

 during the receipt, review, opening, and tabulation of those votes in direct contravention

 of Michigan’s Election Code and Federal law.



                                            54                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.55
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1369
                                                                   56 Page
                                                                      of of
                                                                         761677
                                                                            55
                                                                            PageID
                                                                               of 75#:
                                      1658



        150.   Finally, an analysis of the Dominion software system by a former US Military

 Intelligence expert concludes that the system and software have been accessible and were

 certainly compromised by rogue actors, such as Iran and China. By using servers and employees

 connected with rogue actors and hostile foreign influences combined with numerous easily

 discoverable leaked credentials, Dominion neglectfully allowed foreign adversaries to access

 data and intentionally provided access to their infrastructure in order to monitor and manipulate

 elections, including the most recent one in 2020. See Exh. 105, Spider Declaration.

               4.      Dominion Connections to Smartmatic and Hostile Foreign
                       Governments and Domestic Groups Such as Antifa.

        151.   Plaintiffs can also show Smartmatic’s incorporation and inventors who

 have backgrounds evidencing their foreign connections, including Serbia, specifically

 its identified inventors:

        Applicant: SMARTMATIC, CORP.

        Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic, Jeffrey
        Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli, Gisela Goncalves,
        Yrem Caruso 20

        152.   Another Affiant witness testifies that in Venezuela, she was in official

 position related to elections and witnessed manipulations of petitions to prevent a

 removal of President Chavez and because she protested, she was summarily dismissed.

 She explains the vulnerabilities of the electronic voting system and Smartmatica to such

 manipulations. (See Exh. __, Anna Mercedes Diaz Cardozo).

        153.   Plaintiffs have also learned through several reports that in 2010 Eric

 Coomer joined Dominion as Vice President of U.S. Engineering. According to his bio,



 20https://patents.justia.com/assignee/smartmatic-corp



                                                55                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.56
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1370
                                                                   57 Page
                                                                      of of
                                                                         761677
                                                                            56
                                                                            PageID
                                                                               of 75#:
                                      1659



 Coomer graduated from the University of California, Berkeley with a Ph.D. in Nuclear

 Physics. Eric Coomer was later promoted to Voting Systems Officer of Strategy and

 Security although Coomer has since been removed from the Dominion page of directors

 after Joe Oltmann disclosed that as a reporter he infiltrated ANTIFA< a domestic

 terrorist organization where he recorded Eric Coomer representing that “Don’t worry

 Trump won’t win the election, we fixed that.” – as well as twitter posts with violence

 threatened against President Trump. (See Joe Oltmann interview with Michelle Malkin

 dated November 13, 2020 which contains copies of Eric Coomer’s recording and

 tweets). 21

        154.    In sum, as set forth above, for a host of independent reasons, the Michigan

 certified election results concluding that Joe Biden received 154,180 more votes that

 President Donald Trump must be set aside.


                                              COUNT I

         Defendants Violated the Elections and Electors Clauses and 42 U.S.C. § 1983.

        155.    Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

        156.    The Electors Clause states that “[e]ach State shall appoint, in such Manner as the

 Legislaturethereofmaydirect,aNumberofElectors”forPresident.U.S.Const.art.           II,     §1,   cl.   2

 (emphasis added).Likewise, the Elections Clause of the U.S. Constitution states that “[t]he

 Times,Places,andMannerofholdingElectionsforSenatorsandRepresentatives,shallbe prescribed in

 each State by the Legislature thereof.” U.S. Const. art. I, §4, cl. 1 (emphasis added).

        157.    The Legislature is “‘the representative body which ma[kes] the laws of the

 21
 https://www.youtube.com/watch?v=dh1X4s9HuLo&fbclid=IwAR2EaJc1M9RT3DaUraAjsycM
 0uPKB3uM_-MhH6SMeGrwNyJ3vNmlcTsHxF4



                                                  56                                         Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.57
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1371
                                                                   58 Page
                                                                      of of
                                                                         761677
                                                                            57
                                                                            PageID
                                                                               of 75#:
                                      1660



 people.’” Smiley, 285 U.S. at 193.         Regulations of congressional and presidential

 elections, thus, “must be in accordance with the method which the state has prescribed

 for legislative enactments.” Id. at 367; see also Ariz. State Legislature v. Ariz. Indep.

 Redistricting Comm’n, 135 S. Ct. 2652, 2668 (2015).

        158.      Defendantsare not part of the Michigan Legislature and cannot exercise

 legislative power. Because the United States Constitution reserves for the Michigan

 Legislature the power to set the time, place, and manner of holding elections for the

 President and Congress, county boards of elections and state executive officers have no

 authority to unilaterally exercise that power, much less to hold them in ways that

 conflict with existing legislation. Defendants are not the legislature, and their unilateral

 decision to deviate from the requirements of the Michigan Election Code violates the

 Electors and Elections Clause of the United States Constitution.

        159.      Many affiants testified to Defendants’ failure to follow the requirements of

 the Michigan Election Code, as enacted by the Michigan Legislature, MCL §§ 168.730-

 738, relating to the rights of partisan election challengers to provide transparency and

 accountability to ensure that all, and only, lawful ballots casts be counted, and that the

 outcome of the election was honestly and fairly determined by eligible voters casting

 legal ballots.     As detailed in Section II, many of these requirements were either

 disregarded altogether or applied in a discriminatory manner to Republican poll

 watchers.     Specifically, election officials violated Michigan’s Election Code by: (a)

 disregarding or violating MCL § 168.730 and § 168.733 requiring election challengers

 to have meaningful access to observe the counting and processing of ballots, see supra

 Paragraphs 59-75; (b) wanton and widespread forgery and alteration, addition or




                                               57                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.58
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1372
                                                                   59 Page
                                                                      of of
                                                                         761677
                                                                            58
                                                                            PageID
                                                                               of 75#:
                                      1661



 removal of votes, voters, or other information from ballots, the QVF or other voting

 records, see supra Paragraphs 76-86; and (c) illegal double voting, counting ineligible

 ballots, failure to check signatures or postmarks, and several other practices in clear

 violation of the Michigan Election Code (and in some cases at the express direction of

 supervisors or Wayne County officials). See supra Paragraphs 87-98.

        160.   Plaintiffs have no adequate remedy at law and will suffer serious and

 irreparable harm unless the injunctive relief requested herein is granted. Defendants

 have acted and, unless enjoined, will act under color of state law to violate the Elections

 Clause.

        161.   Accordingly, the results for President in the November 3, 2020 election

 must be set aside.

                                           COUNT II

        Governor Whitmer, Secretary Benson and Other Defendants Violated
        TheFourteenth Amendment U.S. Const. Amend. XIV, 42 U.S.C. § 1983

                                 Denial of Equal Protection

   Invalid Enactment of Regulations Affecting Observation and Monitoring of the
                                     Election

        162.   Plaintiffs refer to and incorporate by reference each of the prior paragraphs of this

 Complaint as though the same were repeated at length herein.

        163.   The Fourteenth Amendment of the United States Constitution provides “nor shall

 any state deprive any person of life, liberty, or property, without due process of law; nor

 deny to any person within its jurisdiction the equal protection of the laws. See also Bush

 v. Gore, 531 U.S. 98, 104 (2000)(having once granted the right to vote on equal terms,

 the State may not, by later arbitrary and disparate treatment, value one person’s vote




                                                58                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.59
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1373
                                                                   60 Page
                                                                      of of
                                                                         761677
                                                                            59
                                                                            PageID
                                                                               of 75#:
                                      1662



 over the value of another’s). Harper v. Virginia Board of Elections, 383 U.S. 663, 665

 (1966) (“Once the franchise is granted to the electorate, lines may not be drawn which

 are inconsistent with the Equal Protection Clause of the Fourteenth Amendment.”). The

 Court has held that to ensure equal protection, a problem inheres in the absence of

 specific standards to ensure its equal application. Bush, 531 U.S. at 106 (“The

 formulation of uniform rules to determine intent based on these recurring circumstances

 is practicable and, we conclude, necessary.”).

        164.   The equal enforcement of election laws is necessary to preserve our most

 basic and fundamental rights.       The requirement of equal protection is particularly

 stringently enforced as to laws that affect the exercise of fundamental rights, including

 the right to vote.

        165.   In statewide and federal elections conducted in the State of Michigan,

 including without limitation the November 3, 2020 General Election, all candidates,

 political parties, and voters, including without limitation Plaintiffs, have a vested

 interest in being present and having meaningful access to observe and monitor the

 electoral process in each County to ensure that it is properly administered in every

 election district and otherwise free, fair, and transparent.

        166.   Moreover, through its provisions involving watchers and representatives,

 the Michigan Election Code ensures that all candidates and political parties in each

 County, including the Trump Campaign, have meaningful access to observe and

 monitor the electoral process to ensure that it is properly administered in every election

 district and otherwise free, fair, and transparent. See, e.g.,MCL § 168.730

 &§ 168.733(1). Further, the Michigan Election Code provides it is a felony punishable by




                                              59                                Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.60
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1374
                                                                   61 Page
                                                                      of of
                                                                         761677
                                                                            60
                                                                            PageID
                                                                               of 75#:
                                      1663



 up to two years in state prison for any person to threaten or intimidate a challenger who is

 performing any activity described in Michigan law. MCL § 168.734(4).    Defendants have a

 duty to treat the voting citizens in each County in the same manner as the citizens in

 other Counties in Michigan.

        167.   As set forth in Count I above, Defendants failed to comply with the

 requirements of the Michigan Election Code and thereby diluted the lawful ballots of

 the Plaintiffs and of other Michigan voters and electors in violation of the United States

 Constitution guarantee of Equal Protection.

        168.   Specifically, Defendants denied the Trump Campaign equal protection of

 the law and their equal rights to meaningful access to observe and monitor the electoral

 process enjoyed by citizens in other Michigan Counties by: (a) denying Republican poll

 challengers access to the TCF Center or physically removing them or locking them out

 for pretextual reasons; (b) denied Republican poll watchers meaningful access to, or

 even physically blocking their view of, ballot handling, processing, or counting; (c)

 engaged in a systematic pattern of harassment, intimidation, verbal insult, and even

 physical removal of Republican poll challengers; (d) systematically discriminated

 against Republican poll watchers and in favor of Democratic poll watchers and activists

 in enforcing rules (in particular, through abuse of “social distancing” requirements); (e)

 ignored or refused to record Republican challenges to the violations set forth herein; (f)

 refusing to permit Republican poll watchers to observe ballot duplication or to check if

 duplication was accurate; (g) unlawfully coached voters to vote for Biden and other

 democratic candidates, including at voting stations; and (h) colluded with other

 Michigan State, Wayne County and City of Detroit employees (including police) and




                                             60                                   Exhibit N
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 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
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                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1375
                                                                   62 Page
                                                                      of of
                                                                         761677
                                                                            61
                                                                            PageID
                                                                               of 75#:
                                      1664



 Democratic poll watchers and activists to engage in the foregoing violations.       See

 generally supra Section II.A, Paragraphs 56-75.

        169.   Defendants further violated Michigan voters’ rights to equal protection

 insofar as it allowed Wayne County and City of Detroit election workers to process and

 count ballots in a manner that allowed ineligible ballots to be counted, including:

 (a) fraudulently adding tens of thousands of new ballots and/or new voters to the QVF

 in two separate batches on November 4, 2020, all or nearly all of which were votes for

 Joe Biden; (b) systematically forging voter information and fraudulently adding new

 voters to the QVF (in particular, where a voter’s name could not be found, assigning the

 ballot to a random name already in the QVF to a person who had not voted and recorded

 these new voters as having a birthdate of 1/1/1900); (c) fraudulently changing dates on

 absentee ballots received after 8:00 PM Election Day deadline to indicate that such

 ballots were received before the deadline; (d) changing Votes for Trump and other

 Republican candidates; (e) adding votes to “undervote” ballots and removing votes from

 “Over-Votes”; (f) permitting illegal double voting by persons that had voted by absentee

 ballot and in person; (g) counting ineligible ballots – and in many cases – multiple

 times; (h) counting ballots without signatures, or without attempting to match

 signatures, and ballots without postmarks, pursuant to direct instructions from

 Defendants; (i) counting “spoiled” ballots; (j) systematic violations of ballot secrecy

 requirements; (k) accepting unsecured ballots arrived at the TCF Center loading garage,

 not in sealed ballot boxes, without any chain of custody, and without envelopes, after

 the 8:00 PM Election Day deadline; (l) accepting and counting ballots from deceased

 voters; and (m) accepting and counting ballots collected from unattended remote drop




                                           61                                 Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
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                                       35-2
                                       1, PageID.62
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1376
                                                                   63 Page
                                                                      of of
                                                                         761677
                                                                            62
                                                                            PageID
                                                                               of 75#:
                                      1665



 boxes. See generally infra Section II.B. and II.C, Paragraphs 76-98.

        170.   Plaintiffs have obtained direct eyewitness testimony confirming that

 certain of these unlawful practices were at the express direction of Wayne County

 election officials. With respect to (a) and (b), Affiant Cushman testified that election

 supervisor Miller informed him that the Wayne County Clerk’s office had expressly

 instructed them to manually to enter thousands of ballots arriving around 9 PM on

 November 4, 2020, from voters not in the QVF, and to manually enter these

 unregistered voters in the QVF with the birthdate of 1/1/1900.             Exh. 3, GLJC

 Complaint, Exh. D at¶¶ 14-17. With respect to (c), fraudulently back-dating absentee

 ballots, City of Detroit election worker Affiant Jacob affirmed that she was instructed

 by supervisors to “improperly pre-date the absentee ballots receive date … to falsely

 show that absentee ballots had been received in time to be valid.” Id. Exh. B at ¶17.

 With respect to (h) (accepting ballots without signatures or postmarks), affiants testified

 that election workers did so at the express direction of Wayne County election officials.

 See id. at ¶15.

        171.   Other Michigan county boards of elections provided watchers and

 representatives of candidates and political parties, including without limitation watchers

 and representatives of the Trump Campaign, with appropriate access to view the

 absentee and mail-in ballots being pre-canvassed and canvassed by those county

 election boards without the restrictions and discriminatory treatment outline

 above.Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs

 access to and/or obstructed actual observation and monitoring of the absentee and mail-

 in ballots being pre-canvassed and canvassed by Defendants, depriving them of the




                                             62                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
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                                       35-2
                                       1, PageID.63
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1377
                                                                   64 Page
                                                                      of of
                                                                         761677
                                                                            63
                                                                            PageID
                                                                               of 75#:
                                      1666



 equal protection of those state laws enjoyed by citizens in other Counties.

        172.   Defendants have acted and will continue to act under color of state law to

 violate Plaintiffs’ right to be present and have actual observation and access to the

 electoral process as secured by the Equal Protection Clause of the United States

 Constitution.Defendants thus failed to conduct the general election in a uniform manner

 as required by the Equal Protection Clause of the Fourteenth Amendment, the corollary

 provisions of the Michigan Constitution, and the Michigan Election Code.

        173.   Plaintiffs seek declaratory and injunctive relief requiring Secretary Benson

 to direct that the Michigan Counties allow a reasonable number of challengers to

 meaningfully observe the conduct of the Michigan Counties canvassers and board of

 state canvassers and that these canvassing boards exercise their duty and authority under

 Michigan law, which forbids certifying a tally that includes any ballots that were not

 legally cast, or that were switched from Trump to Biden through the unlawful use of

 Dominion Democracy Suite software and devices.

        174.   In addition, Plaintiffs ask this Court to order that no ballot processed by a

 counting board in the Michigan Counties can be included in the final vote tally unless a

 challenger was allowed to meaningfully observe the process and handling and counting

 of the ballot, or that were unlawfully switched from Trump to Biden.

        175.   Plaintiffs have no adequate remedy at law and will suffer serious and

 irreparable harm unless the declaratory and injunctive relief requested herein is granted.

 Indeed, the setting aside of an election in which the people have chosen their

 representative is a drastic remedy that should not be undertaken lightly, but instead

 should be reserved for cases in which a person challenging an election has clearly




                                             63                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.64
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1378
                                                                   65 Page
                                                                      of of
                                                                         761677
                                                                            64
                                                                            PageID
                                                                               of 75#:
                                      1667



 established a violation of election procedures and has demonstrated that the violation

 has placed the result of the election in doubt. Michigan law allows elections to be

 contested through litigation, both as a check on the integrity of the election process and

 as a means of ensuring the fundamental right of citizens to vote and to have their votes

 counted accurately.

        176.     In addition to the alternative requests for relief in the preceding

 paragraphs, hereby restated, Plaintiffs seek a permanent injunction

 requiring the Wayne County and other Michigan Election Boards to

 invalidate ballots cast by: (1) any voter added to the QVF after the 8:00 PM

 Election Day deadline; (3) any absentee or mail-in ballot received without a

 signature or postmark; (4) any ballot cast by a voter who submitted a mail-

 in ballot and voted in person; (5) any ballot cast by a voter not in the QVF

 that was assigned the name of a voter in the QVF; (6) voters whose

 signatures on their registrations have not been matched with ballot,

 envelope and voter registration check; and (7) all “dead votes”.See generally

 supra Section II.A-II.C.

                                             COUNT III

               Fourteenth Amendment, U.S. Const. Art. I § 4, cl. 1; Art. II, § 1, cl. 2;
                             Amend. XIV, 42 U.S.C. § 1983

                            Denial of Due Process On The Right to Vote

        177.     Plaintiffs refer to and incorporate by reference each of the prior

 paragraphs of this Complaint as though the same were repeated at length herein.

        178.     The right of qualified citizens to vote in a state election involving federal




                                               64                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.65
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1379
                                                                   66 Page
                                                                      of of
                                                                         761677
                                                                            65
                                                                            PageID
                                                                               of 75#:
                                      1668



 candidates is recognized as a fundamental right under the Fourteenth Amendment of the

 United States Constitution. Harper, 383 U.S. at 665. See also Reynolds, 377 U.S. at

 554 (The Fourteenth Amendment protects the “the right of all qualified citizens to vote,

 in state as well as in federal elections.”).     Indeed, ever since the Slaughter-House

 Cases,83 U.S. 36 (1873), the United States Supreme Court has held that the Privileges

 or Immunities Clause of the Fourteenth Amendment protects certain rights of federal

 citizenship from state interference, including the right of citizens to directly elect

 members of Congress. SeeTwining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex

 parte Yarbrough, 110 U.S. 651, 663-64 (1884)). See alsoOregon v. Mitchell,400 U.S.

 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).

        179.    The fundamental right to vote protected by the Fourteenth Amendment is

 cherished in our nation because it “is preservative of other basic civil and political

 rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a ballot in an election

 free from the taint of intimidation and fraud,” Burson v. Freeman, 504 U.S. 191, 211

 (1992), and “[c]onfidence in the integrity of our electoral processes is essential to the

 functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)

 (percuriam).

        180.    “Obviously included within the right to [vote], secured by the

 Constitution, is the right of qualified voters within a state to cast their ballots and have

 them counted” if they are validly cast. United States v. Classic, 313 U.S. 299,315

 (1941). “[T]he right to have the vote counted” means counted “at full value without

 dilution or discount.” Reynolds, 377 U.S. at 555, n.29 (quoting South v. Peters, 339

 U.S. 276, 279 (1950) (Douglas, J., dissenting)).




                                             65                                  Exhibit N
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 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.66
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1380
                                                                   67 Page
                                                                      of of
                                                                         761677
                                                                            66
                                                                            PageID
                                                                               of 75#:
                                      1669



        181.     “Every voter in a federal . . . election, whether he votes for a candidate

 with little chance of winning or for one with little chance of losing, has a right under the

 Constitution to have his vote fairly counted, without its being distorted by fraudulently

 cast votes.” Anderson v. United States, 417 U.S. 211, 227 (1974); see also Baker v.

 Carr, 369 U.S. 186, 208 (1962). Invalid or fraudulent votes “debase[]” and “dilute” the

 weight of each validly cast vote. See Anderson, 417 U.S. at 227.

        182.     The right to an honest [count] is a right possessed by each voting elector,

 and to the extent that the importance of his vote is nullified, wholly or in part, he has

 been injured in the free exercise of a right or privilege secured to him by the laws and

 Constitution of the United States.” Anderson, 417 U.S. at 226 (quoting Prichard v.

 United States, 181 F.2d 326, 331 (6th Cir.), aff'd due to absence of quorum, 339 U.S.

 974 (1950)).

        183.     Practices that promote the casting of illegal or unreliable ballots or fail to

 contain basic minimum guarantees against such conduct, can violate the Fourteenth

 Amendment by leading to the dilution of validly cast ballots. See Reynolds, 377 U.S. at

 555 (“[T]he right of suffrage can be denied by a debasement or dilution of the weight of

 a citizen’s vote just as effectively as by wholly prohibiting the free exercise of the

 franchise.”).

        184.     Section II of this Complaint and the exhibits attached hereto describe

 widespread and systematic violations of the Michigan Election Code and/or the Equal

 Protection Clause described, namely: (A) Section II.A, Republican poll challengers

 were denied the opportunity to meaningfully observe the processing and counting of

 ballots; (B) Section II.B, election workers forged, added, removed or otherwise altered




                                               66                                  Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.67
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1381
                                                                   68 Page
                                                                      of of
                                                                         761677
                                                                            67
                                                                            PageID
                                                                               of 75#:
                                      1670



 information on ballots, the QFV and other voting records; and (C) Section II.C, several

 other Michigan Election Code violations that caused or facilitated the counting of tens

 of thousands of ineligible, illegal or duplicate ballots.

           185.   Plaintiffs seek declaratory and injunctive relief requiring Secretary Benson

 to direct that Secretary Benson and Wayne County are enjoined from certifying the

 results of the General Election, or in the alternative, conduct a recount or recanvas in

 which they allow a reasonable number of challengers to meaningfully observe the

 conduct of the Michigan Counties canvassers and board of state canvassers and that

 these canvassing boards exercise their duty and authority under Michigan law, which

 forbids certifying a tally that includes any ballots that were not legally cast, or that were

 switched from Trump to Biden through the unlawful use of Dominion Democracy Suite

 software and devices.

                                            COUNT IV

                                     Wide-SpreadBallot Fraud

           186.   Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

           187.   The "glitches" in the Dominion system -- that seem to have the uniform

 effect of hurting Trump and helping Biden -- have been widely reported in the press and

 confirmed by the analysis of independent experts. See generally supra Section IV.

           188.   And as evidenced by numerous sworn statements, Defendants egregious

 misconduct has included ignoring legislative mandates concerning mail-in ballots– including the

 mandate that mail-in ballots be post-marked on or before Election Day, and critically, preventing

 Plaintiff’s poll watchers from observing the receipt, review, opening, and tabulation of mail-in

 ballots. Those mail-in ballots are evaluated on an entirely parallel track to those ballots cast in

 person.


                                                 67                                     Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.68
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1382
                                                                   69 Page
                                                                      of of
                                                                         761677
                                                                            68
                                                                            PageID
                                                                               of 75#:
                                      1671



        189.    The right to vote includes not just the right to cast a ballot, but also the right to

 have it fairly counted if it is legally cast. The right to vote is infringed if a vote is cancelled or

 diluted by a fraudulent or illegal vote, including without limitation when a single person votes

 multiple times. The Supreme Court of the United States has made this clear in case after case.

 See, e.g., Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected from the

 diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 196

 (2008) (plurality op. of Stevens, J.) (“There is no question about the legitimacy or importance of

 the State’s interest in counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377

 U.S. 533, 554-55 & n.29 (1964).

        190.    The disparate treatment of Michigan voters, in subjecting one class of voters to

 greater burdens or scrutiny than another, violates Equal Protection guarantees because “the right

 of suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

 effectively as by wholly prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at

 555. Rice v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown Grp.,

 Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince v.

 Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d 524, 536-37 (Utah 2002).

                                              COUNT V

                 MICHIGAN STATUTORY ELECTION LAW VIOLATIONS

        191.    Plaintiffs refer to and incorporate by reference each of the prior

 paragraphs of this Complaint as though the same were repeated at length herein

                                    Violation of MCL 168.765a.

        192.    Absent voter ballots must only be counted when “at all times” there is “at least 1

 election inspector from each major political party.” MCL 168.765a.

        193.    Per eyewitness accounts described in this Complaint and its attached sworn


                                                  68                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.69
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1383
                                                                   70 Page
                                                                      of of
                                                                         761677
                                                                            69
                                                                            PageID
                                                                               of 75#:
                                      1672



 affidavits, Defendants habitually and systematically disallowed election inspectors from the

 Republican party, including Plaintiff, to be present in the voter counting place and refused

 access to election inspectors from the Republican party, including Plaintiff, to be within a

 closeenoughdistancefromtheabsentvoterballotstobeabletoseeforwhomtheballotswerecast.

 See generally supra Section II.A., Paragraphs56-75.


        194.   Defendants refused entry to official election inspectors from the Republican

 party, including Plaintiff, into the counting place to observe the counting of absentee voter

 ballots. Defendants even physically blocked and obstructed election inspectors from the

 Republicanparty,includingPlaintiff,byadheringlargepiecesofcardboardtothetransparent glass

 doors so the counting of absent voter ballots was notviewable.

                                    Violation of MCL 168.733

        195.   MCL 168.733requires sets forth the procedures for election challengers and the

 powers of election inspectors. See generally supra Paragraph 39.

        196.   Per eyewitness accounts described in this Complaint and its attached sworn

 affidavits, Defendants habitually and systematically failed to provide space for election

 inspectors from the Republican party, including Plaintiff, to observe election procedure,

 failed to allow the inspection of poll books, failed to share the names of the electors being

 entered in the poll books, failed to allow the examination of each ballot as it was being

 counted, and failed to keep records of obvious and observedfraud.See generally supra

 Section II.A., Paragraphs 56-75.

        197.   Pollchallengers,includingPlaintiff,observedelectionworkersandsupervisors

 writing on ballots themselves to alter them, apparently manipulating spoiled ballots by hand

 and then counting the ballots as valid, counting the same ballot more than once, adding




                                               69                                 Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.70
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1384
                                                                   71 Page
                                                                      of of
                                                                         761677
                                                                            70
                                                                            PageID
                                                                               of 75#:
                                      1673



 information to incomplete affidavits accompanying absentee ballots, counting absentee

 ballots returned late, counting unvalidated and unreliable ballots, and counting the ballots of

 “voters”whohadnorecordedbirthdatesandwerenotregisteredintheState’sQualifiedVoter               File

 or on any Supplemental voterlists.

                           Violation of MCL 168.765(5) and 168.764a

        198.    Michigan election law, MCL 168.765(5), requires Defendants to post the

 specific absentee voting information anytime an election is conducted which involves a state

 or federal office, in particular, the number of absentee ballots distributed to absent voters.

        199.    Upon information and belief, Defendants failed to post by 8:00 a.m. on

 Election Day the number of absentee ballots distributed to absent voters and failed to post

 before 9:00 p.m. the number of absent voters returned before on Election Day.

        200.    Per Michigan Election law, all absentee voter ballots must be returned to the

 clerk before polls close at 8pm. MCL 168.764a. Any absentee voter ballots received by the

 clerk after the close of the polls on election day will not be counted.

        201.    Michigan allows for early counting of absentee votes prior to the closings of

 the polls for large jurisdictions, such as the City of Detroit and Wayne County.

        202.    Upon information and belief, receiving tens of thousands additional absentee

 ballots in the early morning hours after election day and after the counting of the absentee ballots

 had concluded, without proper oversight, with tens of thousands of ballots attributed to just one

 candidate, Joe Biden, indicates Defendants failed to follow proper electionprotocol.See generally

 supra Section II.B.1, Paragraphs 77-78.

                                    Violation of MCL 168.730

        203.    MCL 168.730 sets forth the rights and requirements for election challengers.

 MCL 168.734 provides, among other things:



                                                 70                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                               ECF No.64-21
                                       35-2
                                       1, PageID.71
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1385
                                                                   72 Page
                                                                      of of
                                                                         761677
                                                                            71
                                                                            PageID
                                                                               of 75#:
                                      1674



           Any officer or election board who shall prevent the presence of any such
           challenger as above provided, or shall refuse or fail to provide such challenger
           with conveniences for the performance of the duties expectedof
           him,shall,uponconviction,bepunishedbyafinenotexceeding$1,000.00, or by
           imprisonment in the state prison not exceeding 2 years, or by both such fine
           and imprisonment in the discretion of thecourt.

        204.    WayneCounty’sandSecretaryBenson’sdenialofRepublicanchallengers’

 righttoparticipateandobservetheprocessingofballotsviolatesMichigan’sElectionCodeand resulting

 in the casting and counting of ballots that were ineligible to be counted and diluted or canceled

 out the lawfully cast ballots of other Michigan voters.

        205.    Further, Secretary of State Benson and the election officials in Wayne County

 violatedMCL168.730-168.734bydenyingRepublicanchallengers’rightstomeaningfully                observe

 and participate in the ballot processing and countingprocess.

        206.    Based upon the above allegations of fraud, statutory violations, and other

 misconduct, as stated herein and in the attached affidavits, it is necessary to order appropriate

 relief,including,butnotlimitedto,enjoiningthecertificationoftheelectionresultspendingafull

 investigation and court hearing, ordering a recount of the election results, or voiding the election

 and        ordering        a        new         election,        to        remedy         thefraud.




                                                 71                                      Exhibit N
Case
 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                       1, PageID.72
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1386
                                                                   73 Page
                                                                      of of
                                                                         761677
                                                                            72
                                                                            PageID
                                                                               of 75#:
                                      1675




                                      PRAYER FOR RELIEF


        207.    Accordingly, Plaintiffs seek an emergency order instructing Defendants to de-

 certify the results of the General Election for the Office of President.

        208.    Alternatively, Plaintiffs seek an order instructing the Defendants to certify the

 results of the General Election for Office of the President in favor of President Donald Trump.

        209.    In the alternative, Plaintiffs seek an emergency order prohibiting Defendants from

 including in any certified results from the General Election the tabulation of absentee and

 mailing ballots which do not comply with the Michigan Election Code, including, without

 limitation, the tabulation of absentee and mail-in ballots Trump Campaign’s watchers were

 prevented from observing or based on the tabulation of invalidly cast absentee and mail-in

 ballots which (i) lack a secrecy envelope, or contain on that envelope any text, mark, or symbol

 which reveals the elector’s identity, political affiliation, or candidate preference, (ii) do not

 include on the outside envelope a completed declaration that is dated and signed by the elector,

 (iii) are delivered in-person by third parties for non-disabled voters, or (iv) any of the other

 Michigan Election Code violations set forth in Section II of this Complaint.

        210.    Order production of all registration data, ballots, envelopes, etc. required to be

 maintained by law. When we consider the harm of these uncounted votes, and ballots not ordered

 by the voters themselves, and the potential that many of these unordered ballots may in fact have

 been improperly voted and also prevented proper voting at the polls, the mail ballot system has

 clearly failed in the state of Michigan and did so on a large scale and widespread basis. The size

 of the voting failures, whether accidental or intentional, are multiples larger than the margin in

 the state. For these reasons, Michigan cannot reasonably rely on the results of the mail
                                                  72


                                                                                       Exhibit N
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 CaseCase
     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                       1, PageID.73
                                             Filed 05/03/21
                                                   01/25/21
                                                      Filed 11/25/20
                                                             Page 1387
                                                                   74 Page
                                                                      of of
                                                                         761677
                                                                            73
                                                                            PageID
                                                                               of 75#:
                                      1676



 vote.Relief sought is the elimination of the mail ballots from counting in the 2020 election.

 Alternatively, the electors for the State of Michigan should be disqualified from counting toward

 the 2020 election. Alternatively, the electors of the State of Michigan should be directed to vote

 for President Donald Trump.

        211.    For these reasons, Plaintiffs ask this Court to enter a judgment in their favor and

 provide the following emergency relief:


        1. An order directing Secretary Benson, Governor Whitmer, the Board of State

            Canvassers and Wayne County to de-certify the election results;


        2. An order enjoining Secretary Benson and Governor Whitmer from transmitting the

            currently certified election results to the Electoral College;


        3. An order requiring Governor Whitmer to transmit certified election results that state

            that President Donald Trump is the winner of the election;


        4. An immediate order to impound all the voting machines and software in Michigan for

            expert inspection by the Plaintiffs.


        5. An order that no votes received or tabulated by machines that were not certified as

            required by federal and state law be counted.


        6. A declaratory judgment declaring that Michigan’s failed system of signature

            verification violates the Electors and Elections Clause by working a de facto abolition

            of the signature verification requirement;




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     1:18-cv-05398-DLI-VMS
       2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         761677
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                                                                            PageID
                                                                               of 75#:
                                      1677



        7. A declaratory judgment declaring that current certified election results violatesthe

           Due Process Clause, U.S. CONST. Amend. XIV;


        8. A declaratory judgment declaring that mail-in and absentee ballot fraud must be

           remedied with a Full Manual Recount or statistically valid sampling that properly

           verifies the signatures on absentee ballot envelopes and thatinvalidates the certified

           results if the recount or sampling analysis shows a sufficient number of ineligible

           absentee ballots were counted;


        9. An emergency declaratory judgment that voting machines be Seized and Impounded

           immediately for a forensic audit—by Plaintiffs’ expects;


        10. A declaratory judgment declaring absentee ballot fraud occurred in violation of

           Constitutional rights, Election laws and under state law;


        11. A permanent injunction prohibiting the Governor and Secretary of State from

           transmitting the currently certified results to the Electoral College based on the

           overwhelming evidence of election tampering;


        12. Immediate production of 48 hours of security camera recording of all rooms used in

           the voting process at the TCF Center for November 3 and November 4.


        13. Plaintiffs further request the Court grant such other relief as is just and proper,

           including but not limited to, the costs of this action and their reasonable attorney fees

           and expenses pursuant to 42 U.S.C. 1988.




                                                74


                                                                                       Exhibit N
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                                                                               of 75#:
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 Respectfully submitted, this 25th day of November, 2020.

 /s Sidney Powell*                                          /s/ Scott Hagerstrom
 Sidney Powell PC                                           Michigan State Bar No. 57885
                                                            222 West Genesee
 Texas Bar No. 16209700                                     Lansing, MI 48933
                                                            (517) 763-7499
                                                            Scotthagerstrom @yahoo.com

                                                   /s/ Gregory J. Rohl P39185
                                                   The Law Offices of Gregory J. Rohl, P.C.
                                                   41850 West 11 Mile Road, Suite 110
                                                   Novi, MI 48375
                                                   248-380-9404
                                                   gregoryrohl@yahoo.com
 Of Counsel:
 Emily P. Newman (Virginia Bar No. 84265)
 Julia Z. Haller (D.C. Bar No. 466921)

 2911 Turtle Creek Blvd, Suite 300
 Dallas, Texas 75219

 *Application for admission pro hac vice
 Forthcoming


 L. Lin Wood
 GA Bar No. 774588
 L. LIN WOOD, P.C.
 P.O. Box 52584
 Atlanta, GA 30305-0584
 Telephone: (404) 891-1402


 Howard Kleinhendler
 New York Bar No. 2657120
 Howard Kleinhendler Esquire
 369 Lexington Avenue, 12th Floor
 New York, New York 10017
 (917) 793-1188
 howard@kleinhendler.com
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

   TIMOTHY KING, MARIAN ELLEN
   SHERIDAN, JOHN EARL HAGGARD,
   CHARLES JAMES RITCHARD,
   JAMES DAVID HOOPER, and
   DAREN WADE RUBINGH,

                      Plaintiffs,

   v.                                                  Civil Case No. 20-13134
                                                       Honorable Linda V. Parker
   GRETCHEN WHITMER, in her official
   capacity as Governor of the State of Michigan,
   JOCELYN BENSON, in her official capacity as
   Michigan Secretary of State, and MICHIGAN
   BOARD OF STATE CANVASSERS,

                      Defendants,

   and

   CITY OF DETROIT, DEMOCRATIC
   NATIONAL COMMITTEE and
   MICHIGAN DEMOCRATIC PARTY, and
   ROBERT DAVIS,

                  Intervenor-Defendants.
   ___________________________________/

         OPINION AND ORDER DENYING PLAINTIFFS’ “EMERGENCY
        MOTION FOR DECLARATORY, EMERGENCY, AND PERMANENT
                    INJUNCTIVE RELIEF” (ECF NO. 7)

          The right to vote is among the most sacred rights of our democracy and, in

   turn, uniquely defines us as Americans. The struggle to achieve the right to vote is

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        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                                                                   #: 36
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   one that has been both hard fought and cherished throughout our country’s history.

   Local, state, and federal elections give voice to this right through the ballot. And

   elections that count each vote celebrate and secure this cherished right.

          These principles are the bedrock of American democracy and are widely

   revered as being woven into the fabric of this country. In Michigan, more than 5.5

   million citizens exercised the franchise either in person or by absentee ballot

   during the 2020 General Election. Those votes were counted and, as of November

   23, 2020, certified by the Michigan Board of State Canvassers (also “State

   Board”). The Governor has sent the slate of Presidential Electors to the Archivist

   of the United States to confirm the votes for the successful candidate.

          Against this backdrop, Plaintiffs filed this lawsuit, bringing forth claims of

   widespread voter irregularities and fraud in the processing and tabulation of votes

   and absentee ballots. They seek relief that is stunning in its scope and breathtaking

   in its reach. If granted, the relief would disenfranchise the votes of the more than

   5.5 million Michigan citizens who, with dignity, hope, and a promise of a voice,

   participated in the 2020 General Election. The Court declines to grant Plaintiffs

   this relief.

   I.     Background

          In the weeks leading up to, and on, November 3, 2020, a record 5.5 million

   Michiganders voted in the presidential election (“2020 General Election”). (ECF

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        2:20-cv-13134-LVP-RSW
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                                                                                 3 of
                                                                                   #: 36
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   No. 36-4 at Pg ID 2622.) Many of those votes were cast by absentee ballot. This

   was due in part to the coronavirus pandemic and a ballot measure the Michigan

   voters passed in 2018 allowing for no-reason absentee voting. When the polls

   closed and the votes were counted, Former Vice President Joseph R. Biden, Jr. had

   secured over 150,000 more votes than President Donald J. Trump in Michigan.

   (Id.)

           Michigan law required the Michigan State Board of Canvassers to canvass

   results of the 2020 General Election by November 23, 2020. Mich. Comp. Laws

   § 168.842. The State Board did so by a 3-0 vote, certifying the results “for the

   Electors of President and Vice President,” among other offices. (ECF No. 36-5 at

   Pg ID 2624.) That same day, Governor Gretchen Whitmer signed the Certificates

   of Ascertainment for the slate of electors for Vice President Biden and Senator

   Kamala D. Harris. (ECF No. 36-6 at Pg ID 2627-29.) Those certificates were

   transmitted to and received by the Archivist of the United States. (Id.)

           Federal law provides that if election results are contested in any state, and if

   the state, prior to election day, has enacted procedures to decide controversies or

   contests over electors and electoral votes, and if these procedures have been

   applied, and the decisions are made at least six days before the electors’ meetings,

   then the decisions are considered conclusive and will apply in counting the

   electoral votes. 3 U.S.C. § 5. This date (the “Safe Harbor” deadline) falls on

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                                                                           of 1677
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                                                                                   #: 36
                                                                                      1683




   December 8, 2020. Under the federal statutory timetable for presidential elections,

   the Electoral College must meet on “the first Monday after the second Wednesday

   in December,” 3 U.S.C. § 7, which is December 14 this year.

          Alleging widespread fraud in the distribution, collection, and counting of

   ballots in Michigan, as well as violations of state law as to certain election

   challengers and the manipulation of ballots through corrupt election machines and

   software, Plaintiffs filed the current lawsuit against Defendants at 11:48 p.m. on

   November 25, 2020—the eve of the Thanksgiving holiday. (ECF No. 1.)

   Plaintiffs are registered Michigan voters and nominees of the Republican Party to

   be Presidential Electors on behalf of the State of Michigan. (ECF No. 6 at Pg ID

   882.) They are suing Governor Whitmer and Secretary of State Jocelyn Benson in

   their official capacities, as well as the Michigan Board of State Canvassers.

          On November 29, a Sunday, Plaintiffs filed a First Amended Complaint

   (ECF No. 6), “Emergency Motion for Declaratory, Emergency, and Permanent

   Injunctive Relief and Memorandum in Support Thereof” (ECF No. 7), and

   Emergency Motion to Seal (ECF No. 8). In their First Amended Complaint,

   Plaintiffs allege three claims pursuant to 42 U.S.C. § 1983: (Count I) violation of

   the Elections and Electors Clauses; (Count II) violation of the Fourteenth

   Amendment Equal Protection Clause; and, (Count III) denial of the Fourteenth




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        2:20-cv-13134-LVP-RSW
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   Amendment Due Process Clause. (ECF No. 6.) Plaintiffs also assert one count

   alleging violations of the Michigan Election Code. (Id.)

          By December 1, motions to intervene had been filed by the City of Detroit

   (ECF No. 15), Robert Davis (ECF No. 12), and the Democratic National

   Committee and Michigan Democratic Party (“DNC/MDP”) (ECF No. 14). On that

   date, the Court entered a briefing schedule with respect to the motions. Plaintiffs

   had not yet served Defendants with their pleading or emergency motions as of

   December 1. Thus, on December 1, the Court also entered a text-only order to

   hasten Plaintiffs’ actions to bring Defendants into the case and enable the Court to

   address Plaintiffs’ pending motions. Later the same day, after Plaintiffs filed

   certificates of service reflecting service of the summons and Amended Complaint

   on Defendants (ECF Nos. 21), the Court entered a briefing schedule with respect to

   Plaintiffs’ emergency motions, requiring response briefs by 8:00 p.m. on

   December 2, and reply briefs by 8:00 p.m. on December 3 (ECF No. 24).

          On December 2, the Court granted the motions to intervene. (ECF No. 28.)

   Response and reply briefs with respect to Plaintiffs’ emergency motions were

   thereafter filed. (ECF Nos. 29, 31, 32, 34, 35, 36, 37, 39, 49, 50.) Amicus curiae

   Michigan State Conference NAACP subsequently moved and was granted leave to

   file a brief in support of Defendants’ position. (ECF Nos. 48, 55.) Supplemental

   briefs also were filed by the parties. (ECF Nos. 57, 58.)

                                             5

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          In light of the limited time allotted for the Court to resolve Plaintiffs’

   emergency motion for injunctive relief—which Plaintiffs assert “must be granted

   in advance of December 8, 2020” (ECF No. 7 at Pg ID 1846)—the Court has

   disposed of oral argument with respect to their motion pursuant to Eastern District

   of Michigan Local Rule 7.1(f).1

   II.    Standard of Review

          A preliminary injunction is “an extraordinary remedy that may only be

   awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.

   Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (citation omitted). The plaintiff

   bears the burden of demonstrating entitlement to preliminary injunctive relief.

   Leary v. Daeschner, 228 F.3d 729, 739 (6th Cir. 2000). Such relief will only be

   granted where “the movant carries his or her burden of proving that the

   circumstances clearly demand it.” Overstreet v. Lexington-Fayette Urban Cnty.

   Gov’t, 305 F.3d 566, 573 (6th Cir. 2002). “Evidence that goes beyond the

   unverified allegations of the pleadings and motion papers must be presented to




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     “‘[W]here material facts are not in dispute, or where facts in dispute are not
   material to the preliminary injunction sought, district courts generally need not
   hold an evidentiary hearing.’” Nexus Gas Transmission, LLC v. City of Green,
   Ohio, 757 Fed. Appx. 489, 496-97 (6th Cir. 2018) (quoting Certified Restoration
   Dry Cleaning Network, LLC v. Tenke Corp., 511 F.3d 535, 553 (6th Cir. 2007))
   (citation omitted).

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        2:20-cv-13134-LVP-RSW
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                                                                                   #: 36
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   support or oppose a motion for a preliminary injunction.” 11A Mary Kay Kane,

   Fed. Prac. & Proc. § 2949 (3d ed.).

          Four factors are relevant in deciding whether to grant preliminary injunctive

   relief: “‘(1) whether the movant has a strong likelihood of success on the merits;

   (2) whether the movant would suffer irreparable injury absent the injunction; (3)

   whether the injunction would cause substantial harm to others; and (4) whether the

   public interest would be served by the issuance of an injunction.’” Daunt v.

   Benson, 956 F.3d 396, 406 (6th Cir. 2020) (quoting Bays v. City of Fairborn, 668

   F.3d 814, 818-19 (6th Cir. 2012)). “At the preliminary injunction stage, ‘a plaintiff

   must show more than a mere possibility of success,’ but need not ‘prove his case in

   full.’” Ne. Ohio Coal. for Homeless v. Husted, 696 F.3d 580, 591 (6th Cir. 2012)

   (quoting Certified Restoration Dry Cleaning Network, LLC v. Tenke Corp., 511

   F.3d 535, 543 (6th Cir. 2007)). Yet, “the proof required for the plaintiff to obtain a

   preliminary injunction is much more stringent than the proof required to survive a

   summary judgment motion ….” Leary, 228 F.3d at 739.

   III.   Discussion

          The Court begins by discussing those questions that go to matters of subject

   matter jurisdiction or which counsel against reaching the merits of Plaintiffs’

   claims. While the Court finds that any of these issues, alone, indicate that

   Plaintiffs’ motion should be denied, it addresses each to be thorough.

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                                                                     1398
                                                                        37 PageID
                                                                           Page
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                                                                                 8 of
                                                                                   #: 36
                                                                                      1687




          A.    Eleventh Amendment Immunity

          The Eleventh Amendment to the United States Constitution provides:

                The judicial power of the United States shall not be
                construed to extend to any suit in law or equity,
                commenced or prosecuted against one of the United
                States by Citizens of another State, or by Citizens or
                Subjects of any Foreign State.

   U.S. Const. amend. XI. This immunity extends to suits brought by citizens against

   their own states. See, e.g., Ladd v. Marchbanks, 971 F.3d 574, 578 (6th Cir. 2020)

   (citing Hans v. Louisiana, 134 U.S. 1, 18-19 (1890)). It also extends to suits

   against state agencies or departments, Pennhurst State Sch. & Hosp. v. Halderman,

   465 U.S. 89, 100 (1984) (citations omitted), and “suit[s] against state officials

   when ‘the state is the real, substantial party in interest[,]’” id. at 101 (quoting Ford

   Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464 (1945)).

          A suit against a State, a state agency or its department, or a state official is in

   fact a suit against the State and is barred “regardless of the nature of the relief

   sought.” Pennhurst State Sch. & Hosp., 465 U.S. at 100-02 (citations omitted).

   “‘The general rule is that a suit is against the sovereign if the judgment sought

   would expend itself on the public treasury or domain, or interfere with the public

   administration, or if the effect of the judgment would be to restrain the

   Government from acting, or to compel it to act.’” Id. at 101 n.11 (quoting Dugan

   v. Rank, 372 U.S. 609, 620 (1963)) (internal quotation marks omitted).

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                                                                             9 of 36
                                                                                   #:
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       Eleventh Amendment immunity is subject to three exceptions: (1)

 congressional abrogation; (2) waiver by the State; and (3) “a suit against a state

 official seeking prospective injunctive relief to end a continuing violation of

 federal law.” See Carten v. Kent State Univ., 282 F.3d 391, 398 (6th Cir. 2002)

 (citations omitted). Congress did not abrogate the States’ sovereign immunity

 when it enacted 42 U.S.C. § 1983. Will v. Mich. Dep’t of State Police, 491 U.S.

 58, 66 (1989). “The State of Michigan has not consented to being sued in civil

 rights actions in the federal courts.” Johnson v. Unknown Dellatifa, 357 F.3d 539,

 545 (6th Cir. 2004) (citing Abick v. Michigan, 803 F.2d 874, 877 (6th Cir. 1986)).

 The Eleventh Amendment therefore bars Plaintiffs’ claims against the Michigan

 Board of State Canvassers. See McLeod v. Kelly, 7 N.W.2d 240, 242 (Mich. 1942)

 (“The board of State canvassers is a State agency …”); see also Deleeuw v. State

 Bd. of Canvassers, 688 N.W.2d 847, 850 (Mich. Ct. App. 2004). Plaintiffs’ claims

 are barred against Governor Whitmer and Secretary Benson unless the third

 exception applies.

       The third exception arises from the Supreme Court’s decision in Ex parte

 Young, 209 U.S. 123 (1908). But as the Supreme Court has advised:

                 To interpret Young to permit a federal-court action to
              proceed in every case where prospective declaratory and
              injunctive relief is sought against an officer, named in his
              individual capacity, would be to adhere to an empty
              formalism and to undermine the principle … that
              Eleventh Amendment immunity represents a real
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              limitation on a federal court’s federal-question
              jurisdiction. The real interests served by the Eleventh
              Amendment are not to be sacrificed to elementary
              mechanics of captions and pleading. Application of the
              Young exception must reflect a proper understanding of
              its role in our federal system and respect for state courts
              instead of a reflexive reliance on an obvious fiction.

 Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 270 (1997). Further, “the

 theory of Young has not been provided an expansive interpretation.” Pennhurst

 State Sch. & Hosp., 465 U.S. at 102. “‘In determining whether the doctrine of Ex

 parte Young avoids an Eleventh Amendment bar to suit, a court need only conduct

 a straightforward inquiry into whether [the] complaint alleges an ongoing violation

 of federal law and seeks relief properly characterized as prospective.’” Verizon

 Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002) (quoting Coeur d’Alene

 Tribe of Idaho, 521 U.S. 296 (O’Connor, J., concurring)).

        Ex parte Young does not apply, however, to state law claims against state

 officials, regardless of the relief sought. Pennhurst State Sch. & Hosp., 465 U.S. at

 106 (“A federal court’s grant of relief against state officials on the basis of state

 law, whether prospective or retroactive, does not vindicate the supreme authority

 of federal law. On the contrary, it is difficult to think of a greater intrusion on state

 sovereignty than when a federal court instructs state officials on how to conform

 their conduct to state law.”); see also In re Ohio Execution Protocol Litig., 709 F.

 App’x 779, 787 (6th Cir. 2017) (“If the plaintiff sues a state official under state law

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     2:20-cv-13134-LVP-RSW
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                                                                         371677
                                                                            PageID
                                                                             11 of 36
                                                                                    #:
                                       1690



 in federal court for actions taken within the scope of his authority, sovereign

 immunity bars the lawsuit regardless of whether the action seeks monetary or

 injunctive relief.”). Unquestionably, Plaintiffs’ state law claims against

 Defendants are barred by Eleventh Amendment immunity.

        The Court then turns its attention to Plaintiffs’ § 1983 claims against

 Defendants. Defendants and Intervenor DNC/MDP contend that these claims are

 not in fact federal claims as they are premised entirely on alleged violations of

 state law. (ECF No. 31 at Pg ID 2185 (“Here, each count of Plaintiffs’

 complaint—even Counts I, II, and III, which claim to raise violations of federal

 law—is predicated on the election being conducted contrary to Michigan law.”);

 ECF No. 36 at Pg ID 2494 (“While some of [Plaintiffs’] allegations concern

 fantastical conspiracy theories that belong more appropriately in the fact-free outer

 reaches of the Internet[,] … what Plaintiffs assert at bottom are violations of the

 Michigan Election Code.”) Defendants also argue that even if properly stated as

 federal causes of action, “it is far from clear whether Plaintiffs’ requested

 injunction is actually prospective in nature, as opposed to retroactive.” (ECF No.

 31 at Pg ID 2186.)

        The latter argument convinces this Court that Ex parte Young does not

 apply. As set forth earlier, “‘[i]n order to fall with the Ex parte Young exception, a

 claim must seek prospective relief to end a continuing violation of federal law.’”

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                         371677
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                                                                             12 of 36
                                                                                    #:
                                       1691



 Russell v. Lundergan-Grimes, 784 F.3d 1037, 1047 (6th Cir. 2015) (quoting Diaz

 v. Mich. Dep’t of Corr., 703 F.3d 956, 964 (6th Cir. 2013)). Unlike Russell, which

 Plaintiffs cite in their reply brief, this is not a case where a plaintiff is seeking to

 enjoin the continuing enforcement of a statute that is allegedly unconstitutional.

 See id. at 1044, 1047 (plaintiff claimed that Kentucky law creating a 300-foot no-

 political-speech buffer zone around polling location violated his free-speech

 rights). Instead, Plaintiffs are seeking to undo what has already occurred, as their

 requested relief reflects.2 (See ECF No. 7 at Pg ID 1847; see also ECF No. 6 at Pg

 955-56.)

        Before this lawsuit was filed, the Michigan Board of State Canvassers had

 already certified the election results and Governor Whitmer had transmitted the

 State’s slate of electors to the United States Archivist. (ECF Nos. 31-4, 31-5.)

 There is no continuing violation to enjoin. See Rios v. Blackwell, 433 F. Supp. 2d

 848 (N.D. Ohio Feb. 7, 2006); see also King Lincoln Bronzeville Neighborhood

 Ass’n v. Husted, No. 2:06-cv-00745, 2012 WL 395030, at *4-5 (S.D. Ohio Feb. 7,

 2012); cf. League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 475 (6th Cir.

 2008) (finding that the plaintiff’s claims fell within the Ex parte Young doctrine




 2
  To the extent Plaintiffs ask the Court to certify the results in favor of President
 Donald J. Trump, such relief is beyond its powers.
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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         371677
                                                                            PageID
                                                                             13 of 36
                                                                                    #:
                                       1692



 where it alleged that the problems that plagued the election “are chronic and will

 continue absent injunctive relief”).

        For these reasons, the Court concludes that the Eleventh Amendment bars

 Plaintiffs’ claims against Defendants.

        B.    Mootness

        This case represents well the phrase: “this ship has sailed.” The time has

 passed to provide most of the relief Plaintiffs request in their Amended Complaint;

 the remaining relief is beyond the power of any court. For those reasons, this

 matter is moot.

        “‘Under Article III of the Constitution, federal courts may adjudicate only

 actual, ongoing cases or controversies.’” Kentucky v. U.S. ex rel. Hagel, 759 F.3d

 588, 595 (6th Cir. 2014) (quoting Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477

 (1990)). A case may become moot “when the issues presented are no longer live

 or the parties lack a legally cognizable interest in the outcome.” U.S. Parole

 Comm’n v. Geraghty, 445 U.S. 388, 396, 410 (1980) (internal quotation marks and

 citation omitted). Stated differently, a case is moot where the court lacks “the

 ability to give meaningful relief[.]” Sullivan v. Benningfield, 920 F.3d 401, 410

 (6th Cir. 2019). This lawsuit was moot well before it was filed on November 25.

        In their prayer for relief, Plaintiffs ask the Court to: (a) order Defendants to

 decertify the results of the election; (b) enjoin Secretary Benson and Governor

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         371677
                                                                            PageID
                                                                             14 of 36
                                                                                    #:
                                       1693



 Whitmer from transmitting the certified election results to the Electoral College;

 (c) order Defendants “to transmit certified election results that state that President

 Donald Trump is the winner of the election”; (d) impound all voting machines and

 software in Michigan for expert inspection; (e) order that no votes received or

 tabulated by machines not certified as required by federal and state law be counted;

 and, (f) enter a declaratory judgment that mail-in and absentee ballot fraud must be

 remedied with a manual recount or statistically valid sampling.3 (ECF No. 6 at Pg

 ID 955-56, ¶ 233.) What relief the Court could grant Plaintiffs is no longer

 available.

        Before this lawsuit was filed, all 83 counties in Michigan had finished

 canvassing their results for all elections and reported their results for state office

 races to the Secretary of State and the Michigan Board of State Canvassers in

 accordance with Michigan law. See Mich. Comp. Laws § 168.843. The State

 Board had certified the results of the 2020 General Election and Governor

 Whitmer had submitted the slate of Presidential Electors to the Archivists. (ECF



 3
   Plaintiffs also seek an order requiring the impoundment of all voting machines
 and software in Michigan for expert inspection and the production of security
 camera footage from the TCF Center for November 3 and 4. (ECF No. 6 at Pg ID
 956, ¶ 233.) This requested relief is not meaningful, however, where the remaining
 requests are no longer available. In other words, the evidence Plaintiffs seek to
 gather by inspecting voting machines and software and security camera footage
 only would be useful if an avenue remained open for them to challenge the election
 results.
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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         371677
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                                                                             15 of 36
                                                                                    #:
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 No. 31-4 at Pg ID 2257-58; ECF No. 31-5 at Pg ID 2260-63.) The time for

 requesting a special election based on mechanical errors or malfunctions in voting

 machines had expired. See Mich. Comp. Laws §§ 168.831, 168.832 (petitions for

 special election based on a defect or mechanical malfunction must be filed “no

 later than 10 days after the date of the election”). And so had the time for

 requesting a recount for the office of President. See Mich. Comp. Laws § 168.879.

        The Michigan Election Code sets forth detailed procedures for challenging

 an election, including deadlines for doing so. Plaintiffs did not avail themselves of

 the remedies established by the Michigan legislature. The deadline for them to do

 so has passed. Any avenue for this Court to provide meaningful relief has been

 foreclosed. As the Eleventh Circuit Court of Appeals recently observed in one of

 the many other post-election lawsuits brought to specifically overturn the results of

 the 2020 presidential election:

              “We cannot turn back the clock and create a world in
              which” the 2020 election results are not certified.
              Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015).
              And it is not possible for us to delay certification nor
              meaningful to order a new recount when the results are
              already final and certified.

 Wood v. Raffensperger, -- F.3d -- , 2020 WL 7094866 (11th Cir. Dec. 5, 2020).

 And as one Justice of the Supreme Court of Pennsylvania advised in another 2020

 post-election lawsuit: “there is no basis in law by which the courts may grant

 Petitioners’ request to ignore the results of an election and recommit the choice to
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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                         371677
                                                                            PageID
                                                                             16 of 36
                                                                                    #:
                                       1695



 the General Assembly to substitute its preferred slate of electors for the one chosen

 by a majority of Pennsylvania’s voters.” Kelly v. Commonwealth, No. 68 MAP

 2020, 2020 WL 7018314, at *3 (Pa. Nov. 28, 2020) (Wecht, J., concurring); see

 also Wood v. Raffensperger, No. 1:20-cv-04651, 2020 WL 6817513, at *13 (N.D.

 Ga. Nov. 20, 2020) (concluding that “interfer[ing] with the result of an election

 that has already concluded would be unprecedented and harm the public in

 countless ways”).

         In short, Plaintiffs’ requested relief concerning the 2020 General Election is

 moot.

         C.    Laches

         Defendants argue that Plaintiffs are unlikely to succeed on the merits

 because they waited too long to knock on the Court’s door. (ECF No. 31 at Pg ID

 2175-79; ECF No. 39 at Pg ID 2844.) The Court agrees.

         The doctrine of laches is rooted in the principle that “equity aids the vigilant,

 not those who slumber on their rights.” Lucking v. Schram, 117 F.2d 160, 162 (6th

 Cir. 1941); see also United States v. Clintwood Elkhorn Min. Co., 553 U.S. 1, 9

 (2008) (“A constitutional claim can become time-barred just as any other claim

 can.”). An action may be barred by the doctrine of laches if: (1) the plaintiff

 delayed unreasonably in asserting his rights and (2) the defendant is prejudiced by

 this delay. Brown-Graves Co. v. Central States, Se. and Sw. Areas Pension Fund,

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                                                                               Exhibit N
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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                            PageID
                                                                             17 of 36
                                                                                    #:
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 206 F.3d 680, 684 (6th Cir. 2000); Ottawa Tribe of Oklahoma v. Logan, 577 F.3d

 634, 639 n.6 (6th Cir. 2009) (“Laches arises from an extended failure to exercise a

 right to the detriment of another party.”). Courts apply laches in election cases.

 Detroit Unity Fund v. Whitmer, 819 F. App’x 421, 422 (6th Cir. 2020) (holding

 that the district court did not err in finding plaintiff’s claims regarding deadline for

 local ballot initiatives “barred by laches, considering the unreasonable delay on the

 part of [p]laintiffs and the consequent prejudice to [d]efendants”). Cf. Benisek v.

 Lamone, 138 S. Ct. 1942, 1944 (2018) (“[A] party requesting a preliminary

 injunction must generally show reasonable diligence. That is as true in election law

 cases as elsewhere.”).

        First, Plaintiffs showed no diligence in asserting the claims at bar. They

 filed the instant action on November 25—more than 21 days after the 2020

 General Election—and served it on Defendants some five days later on December

 1. (ECF Nos. 1, 21.) If Plaintiffs had legitimate claims regarding whether the

 treatment of election challengers complied with state law, they could have brought

 their claims well in advance of or on Election Day—but they did not. Michigan’s

 83 Boards of County Canvassers finished canvassing by no later than November

 17 and, on November 23, both the Michigan Board of State Canvassers and

 Governor Whitmer certified the election results. Mich. Comp. Laws §§ 168.822,

 168.842.0. If Plaintiffs had legitimate claims regarding the manner by which

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                         371677
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                                                                             18 of 36
                                                                                    #:
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 ballots were processed and tabulated on or after Election Day, they could have

 brought the instant action on Election Day or during the weeks of canvassing that

 followed—yet they did not. Plaintiffs base the claims related to election machines

 and software on “expert and fact witness” reports discussing “glitches” and other

 alleged vulnerabilities that occurred as far back as 2010. (See e.g., ECF No. 6 at

 Pg ID 927-933, ¶¶ 157(C)-(E), (G), 158, 160, 167.) If Plaintiffs had legitimate

 concerns about the election machines and software, they could have filed this

 lawsuit well before the 2020 General Election—yet they sat back and did nothing.

        Plaintiffs proffer no persuasive explanation as to why they waited so long to

 file this suit. Plaintiffs concede that they “would have preferred to file sooner, but

 [] needed some time to gather statements from dozens of fact witnesses, retain and

 engage expert witnesses, and gather other data supporting their Complaint.” (ECF

 No. 49 at Pg ID 3081.) But according to Plaintiffs themselves, “[m]anipulation of

 votes was apparent shortly after the polls closed on November 3, 2020.” (ECF No.

 7 at Pg ID 1837 (emphasis added).) Indeed, where there is no reasonable

 explanation, there can be no true justification. See Crookston v. Johnson, 841 F.3d

 396, 398 (6th Cir. 2016) (identifying the “first and most essential” reason to issue a

 stay of an election-related injunction is plaintiff offering “no reasonable

 explanation for waiting so long to file this action”). Defendants satisfy the first

 element of their laches defense.

                                           18

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
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                                                                             19 of 36
                                                                                    #:
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        Second, Plaintiffs’ delay prejudices Defendants. See Kay v. Austin, 621 F.2d

 809, 813 (6th Cir. 1980) (“As time passes, the state’s interest in proceeding with

 the election increases in importance as resources are committed and irrevocable

 decisions are made, and the candidate’s claim to be a serious candidate who has

 received a serious injury becomes less credible by his having slept on his rights.”)

 This is especially so considering that Plaintiffs’ claims for relief are not merely

 last-minute—they are after the fact. While Plaintiffs delayed, the ballots were cast;

 the votes were counted; and the results were certified. The rationale for

 interposing the doctrine of laches is now at its peak. See McDonald v. Cnty. of San

 Diego, 124 F. App’x 588 (9th Cir. 2005) (citing Soules v. Kauaians for Nukolii

 Campaign Comm., 849 F.2d 1176, 1180 (9th Cir. 1988)); Soules, 849 F.2d at 1180

 (quoting Hendon v. N.C. State Bd. Of Elections, 710 F.2d 177, 182 (4th Cir. 1983))

 (applying doctrine of laches in post-election lawsuit because doing otherwise

 would, “permit, if not encourage, parties who could raise a claim to lay by and

 gamble upon receiving a favorable decision of the electorate and then, upon losing,

 seek to undo the ballot results in a court action”).

        Plaintiffs could have lodged their constitutional challenges much sooner than

 they did, and certainly not three weeks after Election Day and one week after

 certification of almost three million votes. The Court concludes that Plaintiffs’

 delay results in their claims being barred by laches.

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                             20 of 36
                                                                                    #:
                                       1699



        D.    Abstention

        As outlined in several filings, when the present lawsuit was filed on

 November 25, 2020, there already were multiple lawsuits pending in Michigan

 state courts raising the same or similar claims alleged in Plaintiffs’ Amended

 Complaint. (See, e.g., ECF No. 31 at Pg ID 2193-98 (summarizing five state court

 lawsuits challenging President Trump’s defeat in Michigan’s November 3, 2020

 General Election).) Defendants and the City of Detroit urge the Court to abstain

 from deciding Plaintiffs’ claims in deference to those proceedings under various

 abstention doctrines. (Id. at Pg ID 2191-2203; ECF No. 39 at Pg ID 2840-44.)

 Defendants rely on the abstention doctrine outlined by the Supreme Court in

 Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976).

 The City of Detroit relies on the abstention doctrines outlined in Colorado River,

 as well as those set forth in Railroad Commission of Texas v. Pullman Co., 312

 U.S. 496, 500-01 (1941), and Burford v. Sun Oil Co., 319 U.S. 315 (1943). The

 City of Detroit maintains that abstention is particularly appropriate when resolving

 election disputes in light of the autonomy provided to state courts to initially settle

 such disputes.

        The abstention doctrine identified in Colorado River permits a federal court

 to abstain from exercising jurisdiction over a matter in deference to parallel state-

 court proceedings. Colorado River, 424 U.S. at 813, 817. The exception is found

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                   22 ofPage
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                                                                             21 of 36
                                                                                    #:
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 warranted “by considerations of ‘proper constitutional adjudication,’ ‘regard for

 federal-state relations,’ or ‘wise judicial administration.’” Quackenbush v. Allstate

 Ins. Co., 517 U.S. 706, 716 (1996) (quoting Colorado River, 424 U.S. at 817). The

 Sixth Circuit has identified two prerequisites for abstention under this doctrine.

 Romine v. Compuserve Corp., 160 F.3d 337, 339-40 (6th Cir. 1998).

        First, the court must determine that the concurrent state and federal actions

 are parallel. Id. at 339. Second, the court must consider the factors outlined by the

 Supreme Court in Colorado River and subsequent cases:

              (1) whether the state court has assumed jurisdiction over
              any res or property; (2) whether the federal forum is less
              convenient to the parties; (3) avoidance of piecemeal
              litigation; … (4) the order in which jurisdiction was
              obtained; … (5) whether the source of governing law is
              state or federal; (6) the adequacy of the state court action
              to protect the federal plaintiff’s rights; (7) the relative
              progress of the state and federal proceedings; and (8) the
              presence or absence of concurrent jurisdiction.

 Romine, 160 F.3d at 340-41 (internal citations omitted). “These factors, however,

 do not comprise a mechanical checklist. Rather, they require ‘a careful balancing

 of the important factors as they apply in a give[n] case’ depending on the particular

 facts at hand.” Id. (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr.

 Corp., 460 U.S. 1, 16 (1983)).

        As summarized in Defendants’ response brief and reflected in their exhibits

 (see ECF No. 31 at Pg ID 2193-97; see also ECF Nos. 31-7, 31-9, 31-11, 31-12,

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                                                                             Exhibit N
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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
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                                                                         371677
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                                                                             22 of 36
                                                                                    #:
                                       1701



 31-14), the allegations and claims in the state court proceedings and the pending

 matter are, at the very least, substantially similar, Romine, 160 F.3d at 340 (“Exact

 parallelism is not required; it is enough if the two proceedings are substantially

 similar.” (internal quotation marks and citation omitted)). A careful balancing of

 the factors set forth by the Supreme Court counsel in favor of deferring to the

 concurrent jurisdiction of the state courts.

        The first and second factor weigh against abstention. Id. (indicating that the

 weight is against abstention where no property is at issue and neither forum is

 more or less convenient). While the Supreme Court has stated that “‘the presence

 of federal law issues must always be a major consideration weighing against

 surrender of federal jurisdiction in deference to state proceedings[,]’” id. at 342

 (quoting Moses H. Cone, 460 U.S. at 26), this “‘factor has less significance where

 the federal courts’ jurisdiction to enforce the statutory rights in question is

 concurrent with that of the state courts.’”4 Id. (quoting Moses H. Cone, 460 U.S. at

 25). Moreover, the Michigan Election Code seems to dominate even Plaintiffs’

 federal claims. Further, the remaining factors favor abstention.

        “Piecemeal litigation occurs when different courts adjudicate the identical

 issue, thereby duplicating judicial effort and potentially rendering conflicting



 4
  State courts have concurrent jurisdiction over § 1983 actions. Felder v. Casey,
 487 U.S. 131, 139 (1988).
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     2:20-cv-13134-LVP-RSW
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                                      64-22
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                                          PageID.3317
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                                                                         371677
                                                                            PageID
                                                                             23 of 36
                                                                                    #:
                                       1702



 results.” Id. at 341. The parallel proceedings are premised on similar factual

 allegations and many of the same federal and state claims. The state court

 proceedings were filed well before the present matter and at least three of those

 matters are far more advanced than this case. Lastly, as Congress conferred

 concurrent jurisdiction on state courts to adjudicate § 1983 claims, Felder v. Casey,

 487 U.S. 131, 139 (1988), “[t]here can be no legitimate contention that the

 [Michigan] state courts are incapable of safeguarding [the rights protected under

 this statute],” Romine, 160 F.3d at 342.

        For these reasons, abstention is appropriate under the Colorado River

 doctrine. The Court finds it unnecessary to decide whether abstention is

 appropriate under other doctrines.

        E.    Standing

        Under Article III of the United States Constitution, federal courts can

 resolve only “cases” and “controversies.” U.S. Const. art. III § 2. The case-or-

 controversy requirement is satisfied only where a plaintiff has standing to bring

 suit. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), as revised (May 24,

 2016). Each plaintiff must demonstrate standing for each claim he seeks to press.5


 5
   Plaintiffs assert a due process claim in their Amended Complaint and twice state
 in their motion for injunctive relief that Defendants violated their due process
 rights. (See ECF No. 7 at Pg ID 1840, 1844.) Plaintiffs do not pair either
 statement with anything the Court could construe as a developed argument. (Id.)
 The Court finds it unnecessary, therefore, to further discuss the due process claim.
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     2:20-cv-13134-LVP-RSW
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                                                                         371677
                                                                            PageID
                                                                             24 of 36
                                                                                    #:
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 DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (citation omitted) (“[A]

 plaintiff must demonstrate standing separately for each form of relief sought.”).

 To establish standing, a plaintiff must show that: (1) he has suffered an injury in

 fact that is “concrete and particularized” and “actual or imminent”; (2) the injury is

 “fairly . . . trace[able] to the challenged action of the defendant”; and (3) it is

 “likely, as opposed to merely speculative, that the injury will be redressed by a

 favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-62 (1992)

 (internal quotation marks and citations omitted).

              1.     Equal Protection Claim

        Plaintiffs allege that Defendants engaged in “several schemes” to, among

 other things, “destroy,” “discard,” and “switch” votes for President Trump, thereby

 “devalu[ing] Republican votes” and “diluting” the influence of their individual

 votes. (ECF No. 49 at Pg ID 3079.) Plaintiffs contend that “the vote dilution

 resulting from this systemic and illegal conduct did not affect all Michigan voters

 equally; it had the intent and effect of inflating the number of votes for Democratic

 candidates and reducing the number of votes for President Trump and Republican

 candidates.” (ECF No. 49 at Pg ID 3079.) Even assuming that Plaintiffs establish




 McPherson v. Kelsey, 125 F.3d 989, 995 (6th Cir. 1997) (“Issues adverted to in a
 perfunctory manner, unaccompanied by some effort at developed argumentation,
 are deemed waived.”).
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                                                                                Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                   1415
                                                                   26 ofPage
                                                                         of
                                                                         371677
                                                                            PageID
                                                                             25 of 36
                                                                                    #:
                                       1704



 injury-in-fact and causation under this theory,6 their constitutional claim cannot

 stand because Plaintiffs fall flat when attempting to clear the hurdle of

 redressability.

        Plaintiffs fail to establish that the alleged injury of vote-dilution can be

 redressed by a favorable decision from this Court. Plaintiffs ask this Court to de-

 certify the results of the 2020 General Election in Michigan. But an order de-

 certifying the votes of approximately 2.8 million people would not reverse the

 dilution of Plaintiffs’ vote. To be sure, standing is not “dispensed in gross: A

 plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.” Gill,

 138 S. Ct. at 1934 (citing Cuno, 547 U.S. at 353); Cuno, 547 U.S. at 353 (“The

 remedy must of course be limited to the inadequacy that produced the injury in fact

 that the plaintiff has established.” (quoting Lewis v. Casey, 518 U.S. 343, 357

 (1996)). Plaintiffs’ alleged injury does not entitle them to seek their requested

 remedy because the harm of having one’s vote invalidated or diluted is not

 remedied by denying millions of others their right to vote. Accordingly, Plaintiffs

 have failed to show that their injury can be redressed by the relief they seek and

 thus possess no standing to pursue their equal protection claim.




 6
   To be clear, the Court does not find that Plaintiffs satisfy the first two elements of
 the standing inquiry.
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                                                                               Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 62,
                                      64-22
                                        35-2
                                          PageID.3320
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              12/07/20
                                                                   1416
                                                                   27 ofPage
                                                                         of
                                                                         371677
                                                                            PageID
                                                                             26 of 36
                                                                                    #:
                                       1705



              2.     Elections Clause & Electors Clause Claims

        The provision of the United States Constitution known as the Elections

 Clause states in part: “The Times, Places and Manner of holding Elections for

 Senators and Representatives, shall be prescribed in each State by the Legislature

 thereof[.]” U.S. Const. art. I, § 4, cl. 1. “The Elections Clause effectively gives

 state governments the ‘default’ authority to regulate the mechanics of federal

 elections, Foster v. Love, 522 U.S. 67, 69, 118 S. Ct. 464, 139 L.Ed.2d 369 (1997),

 with Congress retaining ‘exclusive control’ to ‘make or alter’ any state’s

 regulations, Colegrove v. Green, 328 U.S. 549, 554, 66 S. Ct. 1198, 90 L.Ed. 1432

 (1946).” Bognet, 2020 WL 6686120, *1. The “Electors Clause” of the

 Constitution states: “Each State shall appoint, in such Manner as the Legislature

 thereof may direct, a Number of Electors ….” U.S. Const. art. II, § 1, cl. 2.

        Plaintiffs argue that, as “nominees of the Republican Party to be Presidential

 Electors on behalf of the State of Michigan, they have standing to allege violations

 of the Elections Clause and Electors Clause because “a vote for President Trump

 and Vice-President Pence in Michigan … is a vote for each Republican elector[],

 and … illegal conduct aimed at harming candidates for President similarly injures

 Presidential Electors.” (ECF No. 7 at Pg ID 1837-38; ECF No. 49 at Pg ID 3076-

 78.)




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                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
                                        35-2
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                                                              12/07/20
                                                                   1417
                                                                   28 ofPage
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                                                                         371677
                                                                            PageID
                                                                             27 of 36
                                                                                    #:
                                       1706



        But where, as here, the only injury Plaintiffs have alleged is that the

 Elections Clause has not been followed, the United States Supreme Court has made

 clear that “[the] injury is precisely the kind of undifferentiated, generalized

 grievance about the conduct of government that [courts] have refused to

 countenance.”7 Lance v. Coffman, 549 U.S. 437, 442 (2007). Because Plaintiffs

 “assert no particularized stake in the litigation,” Plaintiffs fail to establish injury-

 in-fact and thus standing to bring their Elections Clause and Electors Clause

 claims. Id.; see also Johnson v. Bredesen, 356 F. App’x 781, 784 (6th Cir. 2009)

 (citing Lance, 549 U.S. at 441-42) (affirming district court’s conclusion that

 citizens did not allege injury-in-fact to support standing for claim that the state of

 Tennessee violated constitutional law).




 7
   Although separate constitutional provisions, the Electors Clause and Elections
 Clause share “considerable similarity,” Ariz. State Leg. v. Ariz. Indep. Redistricting
 Comm’n, 576 U.S. 787, 839, (2015) (Roberts, C.J., dissenting), and Plaintiffs do
 not at all distinguish the two clauses in their motion for injunctive relief or reply
 brief (ECF No. 7; ECF No. 49 at Pg ID 3076-78). See also Bognet v. Sec’y
 Commonwealth of Pa., No. 20-3214, 2020 WL 6686120, at *7 (3d Cir. Nov. 13,
 2020) (applying same test for standing under both Elections Clause and Electors
 Clause); Wood, 2020 WL 6817513, at *1 (same); Foster, 522 U.S. at 69
 (characterizing Electors Clause as Elections Clauses’ “counterpart for the
 Executive Branch”); U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 804-05
 (1995) (noting that state’s “duty” under Elections Clause “parallels the duty”
 described by Electors Clause).


                                             27

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
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                                          PageID.3322
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                                                              12/07/20
                                                                   1418
                                                                   29 ofPage
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                                                                         371677
                                                                            PageID
                                                                             28 of 36
                                                                                    #:
                                       1707



        This is so because the Elections Clause grants rights to “the Legislature” of

 “each State.” U.S. Const. art. I, § 4, cl. 1. The Supreme Court interprets the words

 “the Legislature,” as used in that clause, to mean the lawmaking bodies of a state.

 Ariz. State Legislature, 135 S.Ct. at 2673. The Elections Clause, therefore, grants

 rights to state legislatures and to other entities to which a State may delegate

 lawmaking authority. See id. at 2668. Plaintiffs’ Elections Clause claims thus

 belong, if to anyone, Michigan’s state legislature. Bognet v. Secy. Commonwealth

 of Pa., -- F.3d. --, 2020 WL 6686120, *7 (3d Cir. Nov. 13, 2020). Plaintiffs here

 are six presidential elector nominees; they are not a part of Michigan’s lawmaking

 bodies nor do they have a relationship to them.

        To support their contention that they have standing, Plaintiffs point to

 Carson v. Simon, 78 F.3d 1051 (8th Cir. 2020), a decision finding that electors had

 standing to bring challenges under the Electors Clause. (ECF No. 7 at Pg ID 1839

 (citing Carson, 978 F.3d at 1057).) In that case, which was based on the specific

 content and contours of Minnesota state law, the Eighth Circuit Court of Appeals

 concluded that because “the plain text of Minnesota law treats prospective electors

 as candidates,” it too would treat presidential elector nominees as candidates.

 Carson, 78 F.3d at 1057. This Court, however, is as unconvinced about the

 majority’s holding in Carson as the dissent:

              I am not convinced the Electors have Article III standing
              to assert claims under the Electors Clause. Although
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                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                              ECF No. 62,
                                      64-22
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                                                                         371677
                                                                            PageID
                                                                             29 of 36
                                                                                    #:
                                       1708



              Minnesota law at times refers to them as “candidates,”
              see, e.g., Minn. Stat. § 204B.03 (2020), the Electors are
              not candidates for public office as that term is commonly
              understood. Whether they ultimately assume the office
              of elector depends entirely on the outcome of the state
              popular vote for president. Id. § 208.04 subdiv. 1 (“[A]
              vote cast for the party candidates for president and vice
              president shall be deemed a vote for that party’s
              electors.”). They are not presented to and chosen by the
              voting public for their office, but instead automatically
              assume that office based on the public’s selection of
              entirely different individuals.

 78 F.3d at 1063 (Kelly, J., dissenting).8

        Plaintiffs contend that the Michigan Election Code and relevant Minnesota

 law are similar. (See ECF No. 49 at Pg ID 3076-78.) Even if the Court were to




 8
  In addition, at least one Circuit Court, the Third Circuit Court of Appeals, has
 distinguished Carson’s holding, noting:

              Our conclusion departs from the recent decision of an
              Eighth Circuit panel which, over a dissent, concluded
              that candidates for the position of presidential elector had
              standing under Bond to challenge a Minnesota state-court
              consent decree that effectively extended the receipt
              deadline for mailed ballots. . . . The Carson court appears
              to have cited language from Bond without considering
              the context—specifically, the Tenth Amendment and the
              reserved police powers—in which the U.S. Supreme
              Court employed that language. There is no precedent for
              expanding Bond beyond this context, and the Carson
              court cited none.

 Bognet, 2020 WL 6686120, at *8 n.6.

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                   1420
                                                                   31 ofPage
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                                                                         371677
                                                                            PageID
                                                                             30 of 36
                                                                                    #:
                                       1709



 agree, it finds that Plaintiffs lack standing to sue under the Elections and Electors

 Clauses.

        F.       The Merits of the Request for Injunctive Relief

                 1.    Likelihood of Success on the Merits

        The Court may deny Plaintiffs’ motion for injunctive relief for the reasons

 discussed above. Nevertheless, the Court will proceed to analyze the merits of

 their claims.

                       a.    Violation of the Elections & Electors Clauses

        Plaintiffs allege that Defendants violated the Elections Clause and Electors

 Clause by deviating from the requirements of the Michigan Election Code. (See,

 e.g., ECF No. 6 at Pg ID 884-85, ¶¶ 36-40, 177-81, 937-38.) Even assuming

 Defendants did not follow the Michigan Election Code, Plaintiffs do not explain

 how or why such violations of state election procedures automatically amount to

 violations of the clauses. In other words, it appears that Plaintiffs’ claims are in

 fact state law claims disguised as federal claims.

        A review of Supreme Court cases interpreting these clauses supports this

 conclusion. In Cook v. Gralike, the Supreme Court struck down a Missouri law

 that required election officials to print warnings on the ballot next to the name of

 any congressional candidate who refused to support term limits after concluding

 that such a statute constituted a “‘regulation’ of congressional elections,” as used in

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 62,
                                      64-22
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                                          PageID.3325
                                             Filed 05/03/21
                                                   01/25/21
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                                                              12/07/20
                                                                   1421
                                                                   32 ofPage
                                                                         of
                                                                         371677
                                                                            PageID
                                                                             31 of 36
                                                                                    #:
                                       1710



 the Elections Clause. 531 U.S. 510, 525-26 (2001) (quoting U.S. Const. art. I, § 4,

 cl. 1). In Arizona State Legislature v. Arizona Independent Redistricting

 Commission, the Supreme Court upheld an Arizona law that transferred

 redistricting power from the state legislature to an independent commission after

 concluding that “the Legislature,” as used in the Elections Clause, includes any

 official body with authority to make laws for the state. 576 U.S. 787, 824 (2015).

 In each of these cases, federal courts measured enacted state election laws against

 the federal mandates established in the clauses—they did not measure violations of

 enacted state elections law against those federal mandates.

        By asking the Court to find that they have made out claims under the clauses

 due to alleged violations of the Michigan Election Code, Plaintiffs ask the Court to

 find that any alleged deviation from state election law amounts to a modification of

 state election law and opens the door to federal review. Plaintiffs cite to no case—

 and this Court found none—supporting such an expansive approach.

                    b.     Violation of the Equal Protection Clause

        Most election laws will “impose some burden upon individual voters.”

 Burdick v. Takushi, 504 U.S. 428, 433 (1992). But “[o]ur Constitution leaves no

 room for classification of people in a way that unnecessarily abridges this right [to

 vote].” Reynolds v. Sims, 377 U.S. 533, 559 (1964) (quoting Wesberry v. Sanders,

 376 U.S. 1, 17-18 (1964)). Voting rights can be impermissibly burdened “by a

                                          31

                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
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                                                                         371677
                                                                            PageID
                                                                             32 of 36
                                                                                    #:
                                       1711



 debasement or dilution of the weight of a citizen’s vote just as effectively as by

 wholly prohibiting the free exercise of the franchise.” Id. (quoting Reynolds, 377

 U.S. at 555).

        Plaintiffs attempt to establish an Equal Protection claim based on the theory

 that Defendants engaged in “several schemes” to, among other things, “destroy,”

 “discard,” and “switch” votes for President Trump, thereby “devalu[ing]

 Republican votes” and “diluting” the influence of their individual votes. (ECF No.

 49 at Pg ID 3079.)

        But, to be perfectly clear, Plaintiffs’ equal protection claim is not supported

 by any allegation that Defendants’ alleged schemes caused votes for President

 Trump to be changed to votes for Vice President Biden. For example, the closest

 Plaintiffs get to alleging that physical ballots were altered in such a way is the

 following statement in an election challenger’s sworn affidavit: “I believe some of

 these workers were changing votes that had been cast for Donald Trump and other

 Republican candidates.”9 (ECF No. 6 at Pg ID 902 ¶ 91 (citing Aff. Articia


 9
   Plaintiffs allege in several portions of the Amended Complaint that election
 officials improperly tallied, counted, or marked ballots. But some of these
 allegations equivocate with words such as “believe” and “may” and none of these
 allegations identify which presidential candidate the ballots were allegedly altered
 to favor. (See, e.g., ECF No. 6 at Pg ID 902, ¶ 91 (citing Aff. Articia Bomer, ECF
 No. 6-3 at Pg ID 1008-10 (“I believe some of these ballots may not have been
 properly counted.” (emphasis added))); Pg ID 902-03, ¶ 92 (citing Tyson Aff. ¶ 17)
 (“At least one challenger observed poll workers adding marks to a ballot where
 there was no mark for any candidate.”).
                                             32

                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
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                                                                   34 ofPage
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                                                                         371677
                                                                            PageID
                                                                             33 of 36
                                                                                    #:
                                       1712



 Bomer, ECF No. 6-3 at Pg ID 1008-1010).) But of course, “[a] belief is not

 evidence” and falls far short of what is required to obtain any relief, much less the

 extraordinary relief Plaintiffs request. United States v. O’Connor, No. 96-2992,

 1997 WL 413594, at *1 (7th Cir. 1997); see Brown v. City of Franklin, 430 F.

 App’x 382, 387 (6th Cir. 2011) (“Brown just submits his belief that Fox’s

 ‘protection’ statement actually meant “protection from retaliation. . . . An

 unsubstantiated belief is not evidence of pretext.”); Booker v. City of St. Louis, 309

 F.3d 464, 467 (8th Cir. 2002) (“Booker’s “belief” that he was singled out for

 testing is not evidence that he was.”).10 The closest Plaintiffs get to alleging that

 election machines and software changed votes for President Trump to Vice


 10
      As stated by the Circuit Court for the District of Columbia Circuit:

                The statement is that the complainant believes and
                expects to prove some things. Now his belief and
                expectation may be in good faith; but it has been
                repeatedly held that suspicion is not proof; and it is
                equally true that belief and expectation to prove cannot
                be accepted as a substitute for fact. The complainant
                carefully refrains from stating that he has any
                information upon which to found his belief or to justify
                his expectation; and evidently he has no such
                information. But belief, without an allegation of fact
                either upon personal knowledge or upon information
                reasonably sufficient upon which to base the belief,
                cannot justify the extraordinary remedy of injunction.

 Magruder v. Schley, 18 App. D.C. 288, 292, 1901 WL 19131, at *2 (D.C. Cir.
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                                             33

                                                                                Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
                                        35-2
                                          PageID.3328
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                                                   01/25/21
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                                                                         371677
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                                                                             34 of 36
                                                                                    #:
                                       1713



 President Biden in Wayne County is an amalgamation of theories, conjecture, and

 speculation that such alterations were possible. (See e.g., ECF No. 6 at ¶¶ 7-11,

 17, 125, 129, 138-43, 147-48, 155-58, 160-63, 167, 171.) And Plaintiffs do not at

 all explain how the question of whether the treatment of election challengers

 complied with state law bears on the validity of votes, or otherwise establishes an

 equal protection claim.

        With nothing but speculation and conjecture that votes for President Trump

 were destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’

 equal protection claim fails.11 See Wood, 2020 WL 7094866 (quoting Bognet,

 2020 WL 6686120, at *12) (“‘[N]o single voter is specifically disadvantaged’ if a

 vote is counted improperly, even if the error might have a ‘mathematical impact on

 the final tally and thus on the proportional effect of every vote.’”).




 11
    “[T]he Voter Plaintiffs cannot analogize their Equal Protection claim to
 gerrymandering cases in which votes were weighted differently. Instead, Plaintiffs
 advance an Equal Protection Clause argument based solely on state officials’
 alleged violation of state law that does not cause unequal treatment. And if
 dilution of lawfully cast ballots by the ‘unlawful’ counting of invalidly cast ballots
 were a true equal-protection problem, then it would transform every violation of
 state election law (and, actually, every violation of every law) into a potential
 federal equal-protection claim requiring scrutiny of the government’s ‘interest’ in
 failing to do more to stop the illegal activity. That is not how the Equal Protection
 Clause works.” Bognet, 2020 WL 6686120, at *11.
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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                   1425
                                                                   36 ofPage
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                                                                         371677
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                                                                             35 of 36
                                                                                    #:
                                       1714



                2.   Irreparable Harm & Harm to Others

        Because “a finding that there is simply no likelihood of success on the merits

 is usually fatal[,]” Gonzales v. Nat’l Bd. of Med. Examiners, 225 F.3d 620, 625

 (6th Cir. 2000) (citing Mich. State AFL-CIO v. Miller, 103 F.3d 1240, 1249 (6th

 Cir. 1997), the Court will not discuss the remaining preliminary injunction factors

 extensively.

        As discussed, Plaintiffs fail to show that a favorable decision from the Court

 would redress their alleged injury. Moreover, granting Plaintiffs’ injunctive relief

 would greatly harm the public interest. As Defendants aptly describe, Plaintiffs’

 requested injunction would “upend the statutory process for election certification

 and the selection of Presidential Electors. Moreover, it w[ould] disenfranchise

 millions of Michigan voters in favor [of] the preferences of a handful of people

 who [are] disappointed with the official results.” (ECF No. 31 at Pg ID 2227.)

        In short, none of the remaining factors weigh in favor of granting Plaintiffs’

 request for an injunction.

 IV.   Conclusion

        For these reasons, the Court finds that Plaintiffs are far from likely to

 succeed in this matter. In fact, this lawsuit seems to be less about achieving the

 relief Plaintiffs seek—as much of that relief is beyond the power of this Court—

 and more about the impact of their allegations on People’s faith in the democratic

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-22
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                                                                   37 ofPage
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                                                                         371677
                                                                            PageID
                                                                             36 of 36
                                                                                    #:
                                       1715



 process and their trust in our government. Plaintiffs ask this Court to ignore the

 orderly statutory scheme established to challenge elections and to ignore the will of

 millions of voters. This, the Court cannot, and will not, do.

        The People have spoken.

        The Court, therefore, DENIES Plaintiffs’ “Emergency Motion for

 Declaratory, Emergency, and Permanent Injunctive Relief” (ECF No. 7.)

        IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE


  Dated: December 7, 2020




                                          36

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       Case 1:21-cv-01169-TCB
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                                                                           321677 #: 1717




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                                       1730




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                                                               Page1442
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                                                                           321677
                                                                              PageID #:
                                       1731




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                                       1732




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                                                                         of 1677 #: 1749




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                                                                    2 of
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                                                                             of381677 #: 1750




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    L. LIN WOOD, JR.,
           Plaintiff,
                            v.
    BRAD RAFFENSPERGER, in his official
    capacity as Secretary of State of Georgia;
    REBECCA N. SULLIVAN, in her official
    capacity as Vice Chair of the Georgia State                  Civil Action No.
    Election Board; DAVID J. WORLEY, in his                     1:20-cv-04651-SDG
    official capacity as a Member of the Georgia
    State Election Board; MATTHEW
    MASHBURN, in his official capacity as a
    Member of the Georgia State Election Board;
    and ANH LE, in her official capacity as a
    Member of the Georgia State Election Board,
           Defendants.

                                 OPINION AND ORDER

          This matter is before the Court on a motion for temporary restraining order

   filed by Plaintiff L. Lin Wood, Jr. [ECF 6]. For the following reasons, and with the

   benefit of oral argument, Wood’s motion is DENIED.




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                 1:20-cv-04651-SDG
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                                                               Page
                                                                 Page
                                                                   Page
                                                                    3 of
                                                                      1462
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                                                                         2 ofPageID
                                                                             of381677 #: 1751




   I.         BACKGROUND

              On November 3, 2020, the United States conducted a general election for

   various federal, state, and local political offices (the General Election).1 However,

   the voting process in Georgia began in earnest before that date. On September 15,

   2020, local election officials began mailing absentee ballots for the General Election

   to eligible voters.2 On October 12, 2020, Georgia’s in-person, early voting period

   started.3 This entire process played out amidst the throes of a global health

   pandemic caused by the novel coronavirus SARS-CoV-2—colloquially known as

   COVID-19. Due in large part to the threat posed by COVID-19, an overwhelming

   number of Georgia voters—over 1 million of the 5 million votes cast by November

   3—participated in the General Election through the use of absentee ballots.4

              Wood, a registered voter in Fulton County, Georgia, believes Defendants—

   the elected officials tasked with conducting elections in the state—performed their

   roles in an unconstitutional manner. As such, Wood initiated this action on




   1    Elections and Voter Registration Calendars, https://sos.ga.gov/index.php/electi
        ons/elections_and_voter_registration_calendars (last accessed Nov. 19, 2020).
   2    Id.
   3    Id.
   4    ECF 33-2; ECF 33-6; ECF 33-8.



                                                                              Exhibit N
Case 1:18-cv-05398-DLI-VMS
       CaseCase
             1:21-cv-01169-TCB
                 1:20-cv-04651-SDG
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                                                                    4 of
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                                                                         3 ofPageID
                                                                             of381677 #: 1752




   November 13, 2020, ten days after the conclusion of the General Election.5

   On November 16, Wood filed an Amended Complaint, asserting three claims

   against Defendants—all in their official capacities—for violation of: the First

   Amendment and the Equal Protection Clause of the Fourteenth Amendment

   (Count I); the Electors and Elections Clause of the Constitution (Count II); and the

   Due Process Clause of the Fourteenth Amendment (Count III).6

          Counts I and II seek extraordinary relief:

                As a result of Defendants’ unauthorized actions and
                disparate treatment of defective absentee ballots, this
                Court should enter an order, declaration, and/or
                injunction that prohibits Defendants from certifying the
                results of the 2020 general election in Georgia on a
                statewide basis.

                Alternatively, this Court should enter an order,
                declaration, and/or injunction prohibiting Defendants
                from certifying the results of the General Election which
                include the tabulation of defective absentee ballots,
                regardless of whether said ballots were cured.

                Alternatively, this Court should enter an order,
                declaration, and/or injunction that the results of the 2020
                general election in Georgia are defective as a result of the
                above-described constitutional violations, and that
                Defendants are required to cure said deficiencies in a
                manner consistent with federal and Georgia law, and


   5   ECF 1.
   6   ECF 5.



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Case 1:18-cv-05398-DLI-VMS
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                 1:20-cv-04651-SDG
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                                                                    5 of
                                                                      1464
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                                                                             of381677 #: 1753




                 without the taint of the procedures described in the
                 Litigation Settlement.7

   For Count III, Wood requests an order, declaration, and/or injunction requiring

   Defendants to perform a myriad of activities, including ordering a second recount

   prior to the certification of the election results and permitting monitors designated

   by the Republican Party to have special access to observe all election activity.8

          On November 17, 2020, Wood filed an emergency motion for a temporary

   restraining order.9 Two sets of parties subsequently sought permission to

   intervene as defendants (collectively, the Intervenors): (1) the Democratic Party of

   Georgia, Inc. (DPG), DSCC, and DCCC; and (2) the Georgia State Conference of

   the NAACP (Georgia NAACP) and Georgia Coalition for the People’s Agenda

   (GCPA).10 On November 19, Defendants and Intervenors filed separate responses

   in opposition to Wood’s motion for a temporary restraining order.11 The Court

   held oral argument on Wood’s motion the same day. At the conclusion of the oral




   7    E.g., ECF 5, ¶¶ 81–83, 93–95. The Litigation Settlement—also referred to as the
        Settlement Agreement—is discussed infra in Section I.b.
   8    ECF 5, ¶ 106.
   9    ECF 6.
   10   ECF 8; ECF 22.
   11   ECF 31; ECF 34; ECF 39.



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                                                                    6 of
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                                                                             of381677 #: 1754




   argument, the Court denied Wood’s request for a temporary restraining order.

   This Order follows and supplements this Court’s oral ruling.

          a.    Georgia Statutory Law Regarding Absentee Ballots.

          Georgia law authorizes any eligible voter to cast his or her absentee ballot

   by mail without providing a reason. O.C.G.A. § 21-2-380(b). To initiate the

   absentee-voting process, a prospective voter must submit an application to the

   applicable registrar’s or absentee ballot clerk’s office. O.C.G.A. § 21-2-381(a)(1)(A).

   Upon receipt of a timely absentee ballot request, a registrar or absentee ballot clerk

   must enter the date the office received the application and compare the

   prospective voter’s information and signature on the application with the

   information and signature on file in the registrar’s or clerk’s office. O.C.G.A. § 21-

   2-381(b)(1). If the prospective voter’s eligibility is confirmed, the registrar or clerk

   must mail the voter an absentee ballot. O.C.G.A. § 21-2-381(b)(2)(A).

          An absentee voter receives two envelopes along with the absentee ballot;

   the completed ballot is placed in the smaller envelope, which is then placed in the

   larger envelope, which contains the oath of the elector and a signature line.

   O.C.G.A. § 21-2-384(b). Upon receipt of a timely absentee ballot, a registrar or clerk

   is required to compare the identifying information and signature provided in the

   oath with the information and signature on file in the respective office.




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                                                                      1466
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                                                                         6 ofPageID
                                                                             of381677 #: 1755




   O.C.G.A. § 21-2-386(a)(1)(B). If the information and signature appear to match, the

   registrar or clerk signs his or her name below the voter’s oath. Id. If the information

   or signature is missing or does not appear to match, the registrar or clerk is

   required to write “Rejected” across the envelope and provide the reason for the

   rejection. O.C.G.A. § 21-2-386(a)(1)(C). The board of registrars or absentee ballot

   clerk is required to “promptly notify” the elector of the rejection, who then has

   until the end of the period for verifying provisional ballots to cure the issue that

   resulted in the rejection. Id.

          Secretary of State Raffensperger is “the state’s chief election official.”

   O.C.G.A. § 21-2-50(b). See also Ga. Op. Att’y Gen. No. 2005-3 (Apr. 15, 2005)

   (“Just as a matter of sheer volume and scope, it is clear that under both the

   Constitution and the laws of the State the Secretary is the state official with the

   power, duty, and authority to manage the state’s electoral system. No other state

   official or entity is assigned the range of responsibilities given to the Secretary of

   State in the area of elections.”). In this role, Raffensperger is required to, among

   other things, “promulgate rules and regulations so as to obtain uniformity in the

   practices and proceedings of superintendents, registrars, deputy registrars, poll

   officers, and other officials” and “formulate, adopt, and promulgate such rules and




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                                                                 Page
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                                                                         7 ofPageID
                                                                             of381677 #: 1756




   regulations, consistent with law, as will be conducive to the fair, legal, and orderly

   conduct of primaries and elections.” O.C.G.A. § 21-3-31(1)-(2).

              b.   The Settlement Agreement

              Wood does not challenge the underlying constitutionality of the absentee

   ballot framework enacted by the Georgia General Assembly. The genesis of his

   claims instead derive from a lawsuit filed over one year ago by the DPG against

   Raffensperger, the then-Members of the Georgia State Election Board, and the

   then-Members of the Gwinnett County Board of Registration and Elections.12

   In that action, the DPG, DSCC, and DCCC challenged several aspects of the

   process for rejecting absentee ballots based on a missing or mismatched

   signature.13

              On March 6, 2020, the DPG, DSCC, DCCC, Raffensperger, and the Members

   of the Georgia State Election Board executed—and filed on the public docket—a

   “Compromise Settlement Agreement and Release” (Settlement Agreement).14

   As part of the Settlement Agreement, Raffensperger agreed to issue an Official

   Election Bulletin containing certain procedures for the review of signatures on


   12   Democratic Party of Ga., Inc. v. Raffensperger, 1:19-cv-05028-WMR (ECF 1)
        (Compl.).
   13   Id.
   14   Id. at ECF 56 (Settlement Agreement).



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                 1:20-cv-04651-SDG
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                                                                    9 of
                                                                      1468
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                                                                             of381677 #: 1757




   absentee ballot envelopes by county election officials for the March 24, 2020

   Presidential Primary Election and subsequent General Election. In relevant part,

   the procedures stated:

                When reviewing an elector’s signature on the mail-in
                absentee ballot envelope, the registrar or clerk must
                compare the signature on the mail-in absentee ballot
                envelope to each signature contained in such elector’s
                voter registration record in eNet and the elector’s
                signature on the application for the mail-in absentee
                ballot. If the registrar or absentee ballot clerk
                determines that the voter’s signature on the mail-in
                absentee ballot envelope does not match any of the
                voter’s signatures on file in eNet or on the absentee
                ballot application, the registrar or absentee ballot clerk
                must seek review from two other registrars, deputy
                registrars, or absentee ballot clerks. A mail in absentee
                ballot shall not be rejected unless a majority of the
                registrars, deputy registrars, or absentee ballot clerks
                reviewing the signature agree that the signature does
                not match any of the voter’s signatures on file in eNet
                or on the absentee ballot application. If a determination
                is made that the elector’s signature on the mail-in
                absentee ballot envelope does not match any of the
                voter’s signatures on file in eNet or on the absentee ballot
                application, the registrar or absentee ballot clerk shall
                write the names of the three elections officials who
                conducted the signature review across the face of the
                absentee ballot envelope, which shall be in addition to
                writing “Rejected” and the reason for the rejection as
                required under OCGA 21-2-386(a)(1)(C).15




   15   Id. (emphasis added).



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Case Case
     1:18-cv-05398-DLI-VMS
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               1:20-cv-04651-SDG
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                                                       11/20/20Page
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                                       1758




 No entity or individual sought permission to intervene and challenge the

 Settlement Agreement. United States District Judge William M. Ray closed the case

 on March 9.16

        c.     The Risk-Limiting Audit

        Georgia law provides procedures for conducting a “risk-limiting audit”

 prior to the final certification of an election. O.C.G.A. § 21-2-498. Such an audit

 must be “[c]omplete[d] . . . in public view.” O.C.G.A. § 21-2-498(c)(4). And the

 State Election Board is “authorized to promulgate rules, regulations, and

 procedures to implement and administer” an audit, including “security

 procedures to ensure that [the] collection of validly cast ballots is complete,

 accurate, and trustworthy throughout the audit.” O.C.G.A. § 21-2-498(d).

 See also Ga. Comp. R. & Regs. 183-1-15-.04 (2020).

        On November 11, 2020, Raffensperger announced a statewide risk-limiting

 audit (the Audit)—also referred to as a “full hand recount”—of all votes cast in the

 contest for President of the United States.17 Every county in Georgia was required

 to begin the Audit at 9:00 am on November 13 and finish by 11:59 pm on




 16   Id. at ECF 57.
 17   ECF 33-1; ECF 33-2; ECF 33-3.



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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                      64-24
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                                                     01/25/21
                                                      11/20/20 Page
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                                                                                PageID #:
                                      1759




 November 18.18 The statewide election results are set to be certified on

 November 20.19 Raffensperger required the Audit to “be open to the public and

 the press” and required local election officials to “designate a viewing area from

 which members of the public and press may observe the audit for the purpose of

 good order and maintaining the integrity of the audit.”20 The two major political

 parties—Democratic and Republican—were permitted “the right to have one

 properly designated person as a monitor of the audit for each ten audit teams that

 are conducting the audit, with a minimum of two designated monitors in each

 county per party per room where the audit is being conducted.”21 The designated

 monitors were not required to remain in the public viewing areas, but were

 required to comply with the rules promulgated by Raffensperger and the local

 election officials.22 The Audit process differs from that required by Georgia law for

 a recount requested by a unsuccessful candidate following the official certification

 of votes. See O.C.G.A. § 21-2-524.




 18   Id.
 19   Id.
 20   ECF 33-4.
 21   Id.
 22   Id.



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Case Case
     1:18-cv-05398-DLI-VMS
        Case
           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                                                PageID #:
                                      1760




 II.    LEGAL STANDARD

        The standard for the issuance of a temporary restraining order and a

 preliminary injunction are identical. Windsor v. United States, 379 F. App’x 912,

 916–17 (11th Cir. 2010). A preliminary injunction is “an extraordinary remedy.”

 Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011). To obtain the relief he seeks,

 Wood must affirmatively demonstrate: “(1) substantial likelihood of success on

 the merits; (2) [that] irreparable injury will be suffered unless the injunction issues;

 (3) the threatened injury to [him] outweighs whatever damage the proposed

 injunction may cause the opposing party; and (4) if issued, the injunction would

 not be adverse to the public interest.” McDonald’s Corp. v. Robertson, 147 F.3d 1301,

 1306 (11th Cir. 1998). See also Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)

 (“In this Circuit, a preliminary injunction is an extraordinary and drastic remedy

 not to be granted unless the movant clearly established the burden of persuasion

 as to each of the four prerequisites.”).

 III.   DISCUSSION

        Wood’s motion essentially boils down to two overarching claims:

 that Defendants violated the Constitution by (1) executing and enforcing the

 Settlement Agreement to the extent it requires different procedures than the

 Georgia Election Code, and (2) not permitting designated monitors to have certain




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     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                                           39381677
                                                                                PageID #:
                                      1761




 live viewing privileges of the Audit at the county locations. Defendants and

 Intervenors posit a number of challenges to Wood’s claims.

        a.    Standing

        As a threshold matter, the Court finds Wood lacks standing to assert these

 claims. Article III limits federal courts to the consideration of “Cases” and

 “Controversies.” U.S. Const. art. III, § 2, cl. 1. The doctrine of standing “is an

 essential and unchanging part of the case-or-controversy requirement of

 Article III.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). It is “built on

 separation-of-powers principles” and “serves to prevent the judicial process from

 being used to usurp the powers of the political branches.” Clapper v. Amnesty Int’l

 USA, 568 U.S. 398, 408 (2013). See also Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547

 (2016) (“[N]o principle is more fundamental to the judiciary’s proper role in our

 system of government than the constitutional limitation of federal-court

 jurisdiction to actual cases or controversies.”) (quoting Raines v. Byrd, 521 U.S. 811,

 818 (1997)). The standing inquiry is threefold: “The litigant must prove (1) an

 injury in fact that (2) is fairly traceable to the challenged action of the defendant

 and (3) is likely to be redressed by a favorable decision.” Jacobson v. Fla. Sec’y of

 State, 974 F.3d 1236, 1245 (11th Cir. 2020) (citing Lujan, 504 U.S. at 561). Wood must

 “demonstrate standing for each claim he seeks to press and for each form of relief




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                                                                                PageID #:
                                      1762




 that is sought”—Town of Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650

 (2017)—and     shoulders     “the   burden    of   establishing    [each]   element[ ].”

 Lujan, 504 U.S. at 561.

        Injury in fact is “the first and foremost of standing’s three elements” and

 requires Wood to show that he suffered “an invasion of a legally protected interest

 that is concrete and particularized and actual or imminent, not conjectural or

 hypothetical.” Spokeo, 136 S. Ct. at 1547–48. To be “particularized,” the alleged

 injury “must affect the plaintiff in a personal and individual way.” Lujan, 504 U.S.

 at 561 n.1. Wood must demonstrate “a personal stake in the outcome of the

 controversy,” as a federal court “is not a forum for generalized grievances.” Gill v.

 Whitford, 138 S. Ct. 1916, 1929 (2018). This requires more than a mere “keen interest

 in the issue.” Trump v. Hawaii, 138 S. Ct. 2392, 2416 (2018). The alleged injury must

 be “distinct from a generally available grievance about government.”

 Gill, 138 S. Ct. at 1923. See also id. at 1929 (explaining that a person’s “right to vote

 is individual and personal in nature . . . [t]hus [only] voters who allege facts

 showing disadvantage to themselves as individuals have standing to sue to

 remedy that disadvantage”) (quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964);

 Baker v. Carr, 369 U.S. 186, 206 (1962)). Claims premised on allegations that “the

 law . . . has not been followed . . . [are] precisely the kind of undifferentiated,




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              1:20-cv-04651-SDG
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                                                      11/20/20 Page
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                                                                    1514ofofof
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                                                                                PageID #:
                                      1763




 generalized grievance about the conduct of government . . . [and] quite different

 from the sorts of injuries alleged by plaintiffs in voting rights cases where we have

 found standing.” Dillard v. Chilton Cnty. Comm’n, 495 F.3d 1324, 1332–33 (11th Cir.

 2007) (citing Baker, 369 U.S. at 207–08). See also Lance v. Coffman, 549 U.S. 437, 440–

 41 (2007) (“Our refusal to serve as a forum for generalized grievances has a lengthy

 pedigree. . . . [A] generalized grievance that is plainly undifferentiated and

 common to all members of the public” is not sufficient for standing).

        Wood alleges he has standing because he is “a qualified registered elector

 residing in Fulton County, Georgia” who has “made donations to various

 Republican candidates on the ballot for the November 3, 2020 elections, and his

 interests are aligned with those of the Georgia Republican Party for the purposes

 of the instant lawsuit.”23 These allegations fall far short of demonstrating that

 Wood has standing to assert these claims.

              i.     The Elections and Electors Clause

        Starting with his claim asserted under the Elections and Electors Clause,

 Wood lacks standing as a matter of law. The law is clear: A generalized grievance

 regarding a state government’s failure to properly follow the Elections Clause of




 23   ECF 5, ¶ 8.



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     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                      11/20/20 Page
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                                      1764




 the Constitution does not confer standing on a private citizen.24 Lance, 549 U.S. at

 442; Bognet, 2020 WL 6686120, at *6 (“[P]rivate plaintiffs lack standing to sue for

 alleged injuries attributable to a state government’s violations of the Elections

 Clause. . . . Their relief would have no more directly benefitted them than the

 public at large.”); Dillard, 495 F.3d at 1332–33.

               ii.   Equal Protection

        For his equal protection claim, Wood relies on a theory of vote dilution, i.e.,

 because Defendants allegedly did not follow the correct processes, invalid

 absentee votes may have been cast and tabulated, thereby diluting Wood’s in-

 person vote. But the same prohibition against generalized grievances applies to

 equal protection claims. United States v. Hays, 515 U.S. 737, 743 (1995) (“The rule

 against generalized grievances applies with as much force in the equal protection

 context as in any other.”) Wood does not differentiate his alleged injury from any



 24   Although separate constitutional provisions, the Electors Clause and Elections
      Clause share “considerably similarity” and may be interpreted in the same
      manner. Ariz. State Leg. v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 839
      (2015) (Roberts, C.J., dissenting). See also Bognet v. Sec’y Commonwealth of Pa.,
      No. 20-3214, 2020 WL 6686120, at *7 (3d Cir. Nov. 13, 2020) (applying same test
      for standing under both Elections Clause and Electors Clause); Donald J. Trump
      for President, Inc. v. Bullock, No. CV 20-66-H-DLC, 2020 WL 5810556, at *11
      (D. Mont. Sept. 30, 2020) (“As an initial matter, the Court finds no need to
      distinguish between the term ‘Legislature’ as it is used in the Elections Clause
      as opposed to the Electors Clause.”).



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     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                                                PageID #:
                                      1765




 harm felt in precisely the same manner by every Georgia voter. As Wood conceded

 during oral argument, under his theory any one of Georgia’s more than seven

 million registered voters would have standing to assert these claims. This is a

 textbook generalized grievance. Bognet, 2020 WL 6686120, at *12 (“Voter Plaintiffs’

 dilution claim is a paradigmatic generalized grievance that cannot support

 standing. . . . Put another way, a vote cast by fraud or mailed in by the wrong

 person through mistake, or otherwise counted illegally, has a mathematical impact

 on the final tally and thus on the proportional effect of every vote, but no single

 voter is specifically disadvantaged. Such an alleged dilution is suffered equally by

 all voters and is not particularized for standing purposes.”) (internal punctuation

 omitted) (collecting cases); Moore v. Circosta, No. 1:20-cv-911, 2020 WL 6063332, a

 *14 (M.D.N.C. Oct. 14, 2020) (“[T]he notion that a single person’s vote will be less

 valuable as a result of unlawful or invalid ballots being cast is not a concrete and

 particularized injury in fact necessary for Article III standing.”). See also Citizens for

 Fair Representation v. Padilla, 815 F. App’x 120, 123 (9th Cir. 2020) (dismissing equal

 protection claim for lack of standing and stating “the Supreme Court has

 consistently held that a plaintiff raising only a generally available grievance . . .

 does not state an Article III case or controversy.”).




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     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                                           39381677
                                                                                PageID #:
                                      1766




               iii.   Due Process

        For the same reasons, Wood also does not have standing to pursue his due

 process claim. Wood asserts that various election monitors appointed by the

 Republican Party “have been denied the opportunity to be present throughout the

 entire Hand Recount, and when allowed to be present, they were denied the

 opportunity to observe the Hand Recount in any meaningful way.”25 Yet, Wood

 does not allege that he attempted to participate as a designated monitor. Nor does

 he allege that, on behalf of the Republican Party, he himself designated monitors

 who were ultimately denied access. Wood’s broad objection is that Defendants

 failed to conduct the Audit fairly and consistently under Georgia law. This is a

 generalized grievance.26 Lance, 549 U.S. at 440–41. See also Nolles v. State Comm. for

 Reorganization of Sch. Dists., 524 F.3d 892, 900 (8th Cir. 2008) (voters lacked standing

 because substantive due process claim that delay of implementation of new statute




 25   ECF 6, at 21.
 26   To the extent Wood attempts to rely on a theory of third party standing, the
      Court disagrees; the doctrine is disfavored and Wood has not alleged or
      proven any of the required elements—that (1) he “suffered an injury-in-fact
      that gives [him] a sufficiently concrete interest in the dispute”; (2) he has “a
      close relationship to the third party”; and (3) there is “a hindrance to the third
      party’s ability to protect its own interests.” Aaron Private Clinic Mgmt. LLC v.
      Berry, 912 F.3d 1330, 1339 (11th Cir. 2019) (internal quotation marks omitted).



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              1:20-cv-04651-SDG
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                                                                Page1478
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                                                                                PageID #:
                                      1767




 until after referendum election violated their right to fair election did not allege

 particularized injury).

              iv.    Alignment with Non-Parties

        Wood further points to his status as a donor to the Republican Party whose

 interests are aligned with that party and its political candidates to support his

 standing argument. But this does not sufficiently differentiate his alleged injury

 from that which any voter might have suffered—no matter the party affiliation.

 Ostensibly, Wood believes he suffered a particularized injury because his

 preferred candidates—to whom he has contributed money—did not prevail in the

 General Election. This argument has been squarely rejected by the Eleventh

 Circuit. Jacobson, 974 F.3d at 1247 (“A candidate’s electoral loss does not, by itself,

 injure those who voted for the candidate. Voters have no judicially enforceable

 interest in the outcome of an election. Instead, they have an interest in their ability

 to vote and in their vote being given the same weight as any other.”)

 (internal citation omitted).

              v.     Lack of Relevant Authorities

        Finally, the Court notes the futility of Wood’s standing argument is

 particularly evident in that his sole relied-on authority—Meek v. Metropolitan Dade

 County, Florida, 985 F.2d 1471 (11th Cir. 1993)—is no longer good law. The Eleventh




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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1479
                                                                    2019ofofof
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                                                                                PageID #:
                                      1768




 Circuit expressly abrogated its holding in that case over thirteen years ago. Dillard,

 495 F.3d at 1331–32 (“We subsequently upheld Meek’s reasoning against repeated

 challenges that it was wrongly decided in light of the Supreme Court’s later

 decisions . . . [b]ut it is clear that we can no longer do so in light of the Supreme

 Court’s most recent pronouncement on voter standing in Lance.”).

        During oral argument, Wood additionally pointed to Roe v. State of Alabama

 by & through Evans, 43 F.3d 574 (11th Cir. 1995), but that case does not support

 Wood’s standing argument. For example, two plaintiffs in Roe were candidates for

 a political office decided in the challenged election. Id. at 579. Wood is a private

 citizen, not a candidate for any elected office. Moreover, the Eleventh Circuit

 found particularized harm in the post-election inclusion of absentee ballots that

 had been deemed invalid. Id. at 580. Wood here seeks to do the opposite—remove

 validly cast absentee ballots after completion of the election.

        In sum, Wood lacks standing to pursue these claims in the first instance.

        b.    The Doctrine of Laches

        Even if the Court found Wood possessed standing to pursue his claims

 regarding the Settlement Agreement (Counts I and II), such claims would

 nonetheless be barred by the doctrine of laches. To establish laches, Defendants

 must show “(1) there was a delay in asserting a right or a claim, (2) the delay was




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Case Case
     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1480
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                                                                           39381677
                                                                                PageID #:
                                      1769




 not excusable, and (3) the delay caused [them] undue prejudice.” United States v.

 Barfield, 396 F.3d 1144, 1150 (11th Cir. 2005). See also Democratic Exec. Comm. of Fla.

 v. Lee, 915 F.3d 1312, 1326 (11th Cir. 2019) (“To succeed on a laches claim,

 [defendant] must demonstrate that [p]laintiffs inexcusably delayed bringing their

 claim and that the delay caused it undue prejudice.”). Courts apply laches in

 election cases. E.g., Sanders v. Dooly Cnty., Ga., 245 F.3d 1289, 1291 (11th Cir. 2001)

 (“[W]e conclude that the district court did not abuse its discretion in deeming the

 claims seeking injunctive relief to be laches-barred.”). See also, e.g., Detroit Unity

 Fund v. Whitmer, 819 F. App’x 421, 422 (6th Cir. 2020) (holding district court did

 not err in finding that plaintiff’s claims regarding deadline for local ballot

 initiatives “barred by laches, considering the unreasonable delay on the part of

 [p]laintiffs and the consequent prejudice to [d]efendants”). Cf. Benisek v. Lamone,

 138 S. Ct. 1942, 1944 (2018) (“[A] party requesting a preliminary injunction must

 generally show reasonable diligence. That is as true in election law cases as

 elsewhere.”) (internal citation omitted). Defendants have established each element

 of laches.

              i.     Delay

        First, Wood delayed considerably in asserting these claims. On March 6,

 2020, the GDP, DSCC, DCCC, and Defendants executed the Settlement




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     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1481
                                                                    2221ofofof
                                                                           39381677
                                                                                PageID #:
                                      1770




 Agreement, which was entered on the public docket. It has since been in effect for

 at least three elections. Nearly eight months later—and after over one million

 voters cast their absentee ballots in the General Election—Wood challenges the

 terms of the Settlement Agreement as unconstitutional. Wood could have, and

 should have, filed his constitutional challenge much sooner than he did, and

 certainly not two weeks after the General Election.

              ii.    Excuse

        Nor has Wood articulated any reasonable excuse for his prolonged delay.

 Wood failed to submit any evidence explaining why he waited to bring these

 claims until the eleventh hour. He instead relies solely on a representation from

 his legal counsel during oral argument, without evidence, that Wood did not vote

 in any election between the execution of the Settlement Agreement and the

 General Election. Even assuming this proffer to be true, it does not provide a

 reasonable justification for the delay. Wood’s claims are constitutional challenges

 to Defendants’ promulgation authority under state law. If valid, these claims

 should not depend on the outcome of any particular election, to wit, whether

 Wood’s preferred candidates won or lost. Indeed, Wood’s claims, even assuming

 his standing for bringing them could be established, were ripe the moment the

 parties executed the Settlement Agreement.




                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
        Case
           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1482
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                                      1771




              iii.   Prejudice

        Finally, Defendants, Intervenors, and the public at large would be

 significantly injured if the Court were to excuse Wood’s delay. A bedrock principle

 of election law is that “lower federal courts should ordinarily not alter the election

 rules on the eve of an election.” Republican Nat’l Comm. v. Democratic Nat’l Comm.,

 140 S. Ct. 1205, 1207 (2020) (citing Purcell v. Gonzalez, 549 U.S. 1, 5 (2006)). This is

 because a last-minute intervention by a federal court could “result in voter

 confusion and consequent incentive to remain away from the polls.” Purcell,

 549 U.S. at 4–5. See also Democratic Nat’l Comm. v. Wisc. State Legislature, No. 20A66,

 2020 WL 6275871, at *4 (U.S. Oct. 26, 2020) (Kavanaugh, J., concurring in denial of

 application to vacate stay) (“The principle [of judicial restraint] also discourages

 last-minute litigation and instead encourages litigants to bring any substantial

 challenges to election rules ahead of time, in the ordinary litigation process.

 For those reasons, among others, this Court has regularly cautioned that a federal

 court’s last-minute interference with state election laws is ordinarily

 inappropriate.”).

        Underscoring the exceptional nature of his requested relief, Wood’s claims

 go much further; rather than changing the rules on the eve of an election, he wants

 the rules for the already concluded election declared unconstitutional and over




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Case Case
     1:18-cv-05398-DLI-VMS
        Case
           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1483
                                                                    2423ofofof
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                                                                                PageID #:
                                      1772




 one million absentee ballots called into question. Beyond merely causing

 confusion, Wood’s requested relief could disenfranchise a substantial portion of

 the electorate and erode the public’s confidence in the electoral process.

 See Sw. Voter Registration Educ. Project v. Shelley, 344 F.3d 914, 919 (9th Cir. 2003)

 (“Interference with impending elections is extraordinary, and interference with an

 election after voting has begun is unprecedented.”) (citation omitted);

 Arkansas United v. Thurston, No. 5:20-cv-5193, 2020 WL 6472651, at *5 (W.D. Ark.

 Nov. 3, 2020) (“[T]he equities do not favor intervention where the election is

 already in progress and the requested relief would change the rules of the game

 mid-play.”).

        Thus, Wood is not entitled to injunctive relief on Counts I and II for the

 additional reason that these claims are barred by the doctrine of laches.

        c.      The Merits of the Request for Injunctive Relief

        Even assuming Wood possessed standing, and assuming Counts I and II are

 not barred by laches, the Court nonetheless finds Wood would not be entitled to

 the relief he seeks. The Court addresses each required element for a temporary

 restraining order in turn.




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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                      64-24
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                                                                Page1484
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              i.     Substantial Likelihood of Success on the Merits

                     1.     Equal Protection (Count I)

        Wood argues the execution and enforcement of the Settlement Agreement

 burdens his right to vote in contravention of the Equal Protection Clause because

 the agreement sets forth additional voting safeguards not found in the Georgia

 Election Code. States retain the power to regulate their own elections. Burdick v.

 Takushi, 504 U.S. 428, 433 (1992) (citing U.S. Const. Art. I, § 4, cl. 1). The Supreme

 Court has held that:

              Common sense, as well as constitutional law, compels
              the conclusion that government must play an active role
              in structuring elections; as a practical matter, there must
              be a substantial regulation of elections if they are to be
              fair and honest and if some sort of order, rather than
              chaos, is to accompany the democratic processes.

 Burdick, 504 U.S. at 433 (citing Storer v. Brown, 415 U.S. 724, 730 (1974)).

        Inevitably, most election laws will “impose some burden upon individual

 voters.” Burdick, 504 U.S. at 433. But the Equal Protection Clause only becomes

 applicable if “a state either classifies voters in disparate ways . . . or places

 restrictions on the right to vote.” Obama for Am. v. Husted, 697 F.3d 423, 428 (6th Cir.

 2012). As recently summarized by one federal district court:

              The Supreme Court has identified two theories of voting
              harms prohibited by the Fourteenth Amendment. First,
              the Court has identified a harm caused by debasement or



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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1485
                                                                    2625ofofof
                                                                           39381677
                                                                                PageID #:
                                      1774




              dilution of the weight of a citizen’s vote, also referred to
              [as] vote dilution. . . . Second, the Court has found that
              the Equal Protection Clause is violated where the state,
              having once granted the right to vote on equal terms,
              through later arbitrary and disparate treatment, values
              one person’s vote over that of another.

 Moore, 2020 WL 6063332, at *12 (citing Bush v. Gore, 531 U.S. 98, 104–05 (2000);

 Reynolds, 377 U.S. at 554). A rationale basis standard of review applies if the

 plaintiff alleges “that a state treated him or her differently than similarly situated

 voters, without a corresponding burden on the fundamental right to vote.”

 Obama for Am., 697 F.3d at 429 (citing McDonald v. Bd. of Election Comm’rs, 394 U.S.

 802, 807–09 (1969)). If a fundamental right is implicated, the claim is governed by

 the flexible Anderson/Burdick balancing test. Burdick, 504 U.S. at 433–35; Anderson

 v. Celebrezze, 460 U.S. 780, 788 (1983).

        Wood’s equal protection claim does not fit within this framework.27 Wood

 does not articulate a cognizable harm that invokes the Equal Protection Clause.



 27   The Court notes that, in the Amended Complaint, Wood alludes to issues
      caused by Raffensperger’s adoption of Ballot Trax—an electronic interface that
      permits an elector to track his or her ballot as it is being processed [ECF 5,
      ¶¶ 44–46]. Wood also alleges harm in that the Settlement Agreement
      permitted the DPG to submit “additional guidance and training materials” for
      identifying a signature mismatch, which Defendants “agree[d] to consider in
      good faith” [id. ¶ 47; see also ECF 5-1, ¶ 4]. Wood did not address how these
      items violated his constitutional rights—equal protection or otherwise—in
      either his motion or during oral argument. Therefore, the Court need not



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Case Case
     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                      11/20/20 Page
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 For example, to the extent Wood relies on a theory of disparate treatment, Bush v.

 Gore is inapplicable. Defendants applied the Settlement Agreement in a wholly

 uniform manner across the entire state.28 In other words, no voter—including

 Wood—was treated any differently than any other voter. E.g., Wise v. Circosta, 978

 F.3d 93, 100 (4th Cir. 2020); Deutsch v. New York State Bd. of Elections, No. 20 CIV.

 8929 (LGS), 2020 WL 6384064, at *6 (S.D.N.Y. Oct. 30, 2020).

        Wood fares no better with a vote dilution argument. According to Wood,

 his fundamental right to vote was burdened because the “rules and regulations set

 forth in the [Settlement Agreement] created an arbitrary, disparate, and ad hoc

 process for processing defective absentee ballots, and for determining which of

 such ballots should be ‘rejected,’ contrary to Georgia law.”29 At the starting gate,

 the additional safeguards on signature and identification match enacted by

 Defendants did not burden Wood’s ability to cast his ballot at all. Wood, according

 to his legal counsel during oral argument, did not vote absentee during the




      address them at this stage.
 28   Wood concedes as much in the Amended Complaint. See ECF 5, ¶ 25
      (alleging the Settlement Agreement “set[ ] forth different standards to be
      followed by the clerks and registrars in processing absentee ballots in the State
      of Georgia.”) (emphasis added).
 29   ECF 6, at 18.



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     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                      64-24
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                                                      11/20/20 Page
                                                                Page1487
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                                                                           39381677
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                                      1776




 General Election. And the “burden that [a state’s] signature-match scheme

 imposes on the right to vote . . . falls on vote-by-mail and provisional voters’

 fundamental right to vote.” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,

 1319 (11th Cir. 2019).

        This leaves Wood to speculate that, because the Settlement Agreement

 required three ballot clerks—as opposed to just one—to review an absentee ballot

 before it could be rejected, fewer ballots were ultimately rejected, invalid ballots

 were tabulated, and his in-person vote was diluted. In support of this argument,

 Wood relies on Baker v. Carr, where the Supreme Court found vote dilution in the

 context of apportionment of elected representatives. 369 U.S. at 204–208. But Wood

 cannot transmute allegations that state officials violated state law into a claim that

 his vote was somehow weighted differently than others. This theory has been

 squarely rejected. Bognet, 2020 WL 6686120, at *11 (“[T]he Voter Plaintiffs cannot

 analogize their Equal Protection claim to gerrymandering cases in which votes

 were weighted differently. Instead, Plaintiffs advance an Equal Protection Clause

 argument based solely on state officials’ alleged violation of state law that does not

 cause unequal treatment. And if dilution of lawfully cast ballots by the ‘unlawful’

 counting of invalidly cast ballots were a true equal-protection problem, then it

 would transform every violation of state election law (and, actually, every




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     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1488
                                                                    2928ofofof
                                                                           39381677
                                                                                PageID #:
                                      1777




 violation of every law) into a potential federal equal-protection claim requiring

 scrutiny of the government’s ‘interest’ in failing to do more to stop the illegal

 activity. That is not how the Equal Protection Clause works.”).

            Even if Wood’s claim were cognizable in the equal protection framework, it

 is not supported by the evidence at this stage. Wood’s argument is that the

 procedures in the Settlement Agreement regarding information and signature

 match so overwhelmed ballot clerks that the rate of rejection plummeted and, ergo,

 invalid ballots were passed over and counted. This argument is belied by the

 record; the percentage of absentee ballots rejected for missing or mismatched

 information and signature is the exact same for the 2018 election and the General

 Election (.15%).30 This is despite a substantial increase in the total number of

 absentee ballots submitted by voters during the General Election as compared to

 the 2018 election.31

            In sum, there is insubstantial evidence supporting Wood’s equal protection

 theory and he has not established a substantial likelihood of success on the merits

 as to Count I.




 30   ECF 33-6.
 31   Id.



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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                      64-24
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1489
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                                                                                PageID #:
                                      1778




                      2.     Electors and Elections Clauses (Count II)

        In relevant part, the Constitution states: “The Times, Places and Manner of

 holding Elections for Senators and Representatives, shall be prescribed in each

 State by the Legislature thereof.” U.S. Const. art. I, § 4, cl. 1. This provision—

 colloquially known as the Elections Clause—vests authority in the states to

 regulate the mechanics of federal elections. Foster v. Love, 522 U.S. 67, 69 (1997).

 The “Electors Clause” of the Constitution similarly states that “[e]ach State shall

 appoint, in such Manner as the Legislature thereof may direct, a Number of

 [Presidential] Electors.” U.S. Const. art. II, § 1, cl. 2.

        Wood argues Defendants violated the Elections and Electors Clauses

 because the “procedures set forth in the [Settlement Agreement] for the handling

 of defective absentee ballots is not consistent with the laws of the State of Georgia,

 and thus, Defendants’ actions . . . exceed their authority.”32 Put another way,

 Wood argues Defendants usurped the role of the Georgia General Assembly—and

 thereby violated the United States Constitution—by enacting additional

 safeguards regarding absentee ballots not found in the Georgia Election Code.

 In support, Wood points to Chief Justice Rehnquist’s concurrence in Bush v. Gore,




 32   ECF 5, ¶ 90.



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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1490
                                                                    3130ofofof
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                                                                                PageID #:
                                      1779




 which states that “in a Presidential election the clearly expressed intent of the

 legislature must prevail.” 531 U.S. at 120 (Rehnquist, C.J., concurring).

        State legislatures—such as the Georgia General Assembly—possess the

 authority to delegate their authority over elections to state officials in conformity

 with the Elections and Electors Clauses. Ariz. State Legislature, 576 U.S. at 816

 (“The Elections Clause [ ] is not reasonably read to disarm States from adopting

 modes of legislation that place the lead rein in the people’s hands . . . it is

 characteristic of our federal system that States retain autonomy to establish their

 own governmental processes.”). See also Corman v. Torres, 287 F. Supp. 3d 558, 573

 (M.D. Pa. 2018) (“The Elections Clause, therefore, affirmatively grants rights to

 state legislatures, and under Supreme Court precedent, to other entities to which

 a state may, consistent with the Constitution, delegate lawmaking authority.”).

 Cf. Bullock, 2020 WL 5810556, at *11 (“A survey of the relevant case law makes clear

 that the term ‘Legislature’ as used in the Elections Clause is not confined to a state’s

 legislative body.”).

        Recognizing that Secretary Raffensperger is “the state’s chief election

 official,”33 the General Assembly enacted legislation permitting him (in his official




 33   O.C.G.A. § 21-2-50(b).



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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1491
                                                                    3231ofofof
                                                                           39381677
                                                                                PageID #:
                                      1780




 capacity) to “formulate, adopt, and promulgate such rules and regulations,

 consistent with law, as will be conducive to the fair, legal, and orderly conduct of

 primaries and elections.” O.C.G.A. § 21-2-31(2). The Settlement Agreement is a

 manifestation of Secretary Raffensperger’s statutorily granted authority. It does

 not override or rewrite state law. It simply adds an additional safeguard to ensure

 election security by having more than one individual review an absentee ballot’s

 information and signature for accuracy before the ballot is rejected. Wood does not

 articulate how the Settlement Agreement is not “consistent with law” other than

 it not being a verbatim recitation of the statutory code. Taking Wood’s argument

 at face value renders O.C.G.A. § 21-2-31(2) superfluous. A state official—such as

 Secretary Raffensperger—could never wield his or her authority to make rules for

 conducting elections that had not otherwise already been adopted by the Georgia

 General Assembly. The record in this case demonstrates that, if anything,

 Defendants’ actions in entering into the Settlement Agreement sought to achieve

 consistency among the county election officials in Georgia, which furthers Wood’s

 stated goals of conducting “[f]ree, fair, and transparent public elections.”34




 34   ECF 5, ¶ 11.



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Case Case
     1:18-cv-05398-DLI-VMS
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           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1492
                                                                    3332ofofof
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                                                                                PageID #:
                                      1781




        Wood has not demonstrated a substantial likelihood of success as to

 Count II.

                     3.     Due Process (Count III)

        Under the Fourteenth Amendment, “[n]o State shall . . . deny to any person

 within its jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV.

 The Due Process Clause has two components: procedural and substantive.

 DeKalb Stone, Inc. v. Cnty. of DeKalb, Ga., 106 F.3d 956, 959 (11th Cir. 1997).

 Wood alleges that Defendants have “fail[ed] . . . to ensure that the Hand Recount

 is conducted fairly and in compliance with the Georgia Election Code” by denying

 monitors “the opportunity to be present throughout the entire Hand Recount, and

 when allowed to be present, they were denied the opportunity to observe the

 Hand Recount in any meaningful way.”35 Although not articulated in his

 Amended Complaint or motion for temporary restraining order, Wood clarified

 during oral argument that he is pursing both a procedural and substantive due

 process claim. Each will be addressed in turn.

                            a)    Procedural Due Process

        A procedural due process claim raises two inquires: “(1) whether there

 exists a liberty or property interest which has been interfered with by the State and


 35   ECF 6, at 20–21.



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              1:20-cv-04651-SDG
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1493
                                                                    3433ofofof
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                                                                                PageID #:
                                      1782




 (2) whether the procedures attendant upon that deprivation were constitutionally

 sufficient.” Richardson v. Texas Sec’y of State, 978 F.3d 220, 229 (5th Cir. 2020)

 (citing Kentucky Dep’t of Corr. v. Thompson, 490 U.S. 454, 460 (1989)). The party

 invoking the Due Process Clause’s procedural protections bears the “burden . . . of

 establishing a cognizable liberty or property interest.” Richardson, 978 F.3d at 229

 (citing Wilkinson v. Austin, 545 U.S. 209, 221 (2005)). Wood bases his procedural

 due process claim on “a vested interest in being present and having meaningful

 access to observe and monitor the electoral process.”36 But Wood does not

 articulate how this “vested interest” fits within a recognized, cognizable interest

 protected by procedural due process. The Court is not persuaded that the right to

 monitor an audit or vote recount is a liberty or property right secured by the

 Constitution. For example, the Eleventh Circuit does “assume that the right to vote

 is a liberty interest protected by the Due Process Clause.” Jones v. Governor of Fla.,

 975 F.3d 1016, 1048 (11th Cir. 2020). But the circuit court has expressly declined to

 extend the strictures of procedural due process to “a State’s election procedures.”

 New Ga. Project v. Raffensperger, 976 F.3d 1278, 1282 (11th Cir. 2020)

 (“The generalized due process argument that the plaintiffs argued for and the




 36   ECF 5, ¶ 101.



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     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                                      11/20/20 Page
                                                                Page1494
                                                                    3534ofofof
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                                                                                PageID #:
                                      1783




 district court applied would stretch concepts of due process to their breaking

 point.”).

        More specifically, federal courts have rejected the very interest Wood claims

 has been violated, i.e., the right to observe the electoral process. See, e.g., Republican

 Party of Penn. v. Cortes, 218 F. Supp. 3d 396, 408 (E.D. Pa. 2016) (“[T]here is no

 individual constitutional right to serve as a poll watcher . . . but rather the right is

 conferred by statute.”); Donald J. Trump for President, Inc. v. Boockvar, No. 2:20-cv-

 966, 2020 WL 5997680, at *67 (W.D. Pa. Oct. 10, 2020) (same); Dailey v. Hands, No.

 14-423, 2015 WL 1293188, at *5 (S.D. Ala. Mar. 23, 2015) (“[P]oll watching is not a

 fundamental right.”); Turner v. Cooper, 583 F. Supp. 1160, 1162 (N.D. Ill. 1983)

 (finding no authority “that supports the proposition that [plaintiff] had a first

 amendment right to act as a pollwatcher. Indeed, we would suggest that the state

 is not constitutionally required to permit pollwatchers for political parties and

 candidates to observe the conduct of elections.”). Without such an interest, Wood

 cannot establish a substantial likelihood of success on the merits as to his

 procedural due process claim.

                            b)     Substantive Due Process

        Wood’s substantive due process claim fares no better. The types of voting

 rights covered by the substantive due process clause are considered narrow.




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Case Case
     1:18-cv-05398-DLI-VMS
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              1:20-cv-04651-SDG
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                                       35-254 Filed
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1495
                                                                    3635ofofof
                                                                           39381677
                                                                                PageID #:
                                      1784




 Curry v. Baker, 802 F.2d 1302, 1314 (11th Cir. 1986). Pursuant to the “functional

 structure embodied in the Constitution,” a federal court must not “intervene to

 examine the validity of individual ballots or supervise the administrative details

 of a local election.” Id. In only “extraordinary circumstances will a challenge to a

 state election rise to the level of a constitutional deprivation.” Id. See also Bennett v.

 Yoshina, 140 F.3d 1218, 1226 (9th Cir. 1998) (“We have drawn a distinction between

 garden variety election irregularities and a pervasive error that undermines the

 integrity of the vote. In general, garden variety election irregularities do not violate

 the Due Process Clause, even if they control the outcome of the vote or election.”)

 (citation and punctuation omitted) (collecting cases); Duncan v. Poythress, 657 F.2d

 691, 700 (5th Cir. 1981) (“[T]he due process clause of the fourteenth amendment

 prohibits action by state officials which seriously undermine the fundamental

 fairness of the electoral process.”). It is well understood that “garden variety”

 election disputes, including “the ordinary dispute over the counting and marking

 of ballots” do not rise to the level of a constitutional deprivation.37 Curry, 802 F.2d




 37   In contrast, as Defendants note, it would be a violation of the constitutional
      rights of the millions of absentee voters who relied on the absentee ballot
      procedures in exercising their right to vote. See e.g. Griffin v. Burns, 570 F.2d
      1065, 1079 (1st Cir. 1978) (finding disenfranchisement of electorate who voted
      by absentee ballot a violation of substantive due process).



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     1:18-cv-05398-DLI-VMS
        Case
           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
                             Document
                              Document
                                 Document
                                      64-24
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                                                Filed05/03/21
                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1496
                                                                    3736ofofof
                                                                           39381677
                                                                                PageID #:
                                      1785




 at 1314–15. See also Serpentfoot v. Rome City Comm’n, 426 F. App’x 884, 887 (11th Cir.

 2011) (“[Plaintiff’s] allegations show, at most, a single instance of vote dilution and

 not an election process that has reached the point of patent and fundamental

 unfairness indicative of a due process violation.”).

        Although Wood generally claims fundamental unfairness, and the

 declarations and testimony submitted in support of his motion speculate as to

 wide-spread impropriety, the actual harm alleged by Wood concerns merely a

 “garden variety” election dispute. Wood does not allege unfairness in counting

 the ballots; instead, he alleges that select non-party, partisan monitors were not

 permitted to observe the Audit in an ideal manner. Wood presents no authority,

 and the Court finds none, providing for a right to unrestrained observation or

 monitoring of vote counting, recounting, or auditing. Precedent militates against

 a finding of a due process violation regarding such an “ordinary dispute over the

 counting and marking of ballots.” Gamza v. Aguirre, 619 F.2d 449, 453 (5th Cir.

 1980) (“If every state election irregularity were considered a federal constitutional

 deprivation, federal courts would adjudicate every state election dispute.”). Wood

 has not satisfied his burden of establishing a substantial likelihood of success on

 the merits as to his substantive due process claim.




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Case Case
     1:18-cv-05398-DLI-VMS
        Case
           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1497
                                                                    3837ofofof
                                                                           39381677
                                                                                PageID #:
                                      1786




              ii.    Irreparable Harm

        Because Wood cannot show a likelihood of success on the merits, an

 extensive discussion of the remaining factors for the issuance of a temporary

 restraining order is unnecessary. Obama for Am., 697 F.3d at 436 (“When a party

 seeks a preliminary injunction on the basis of a potential constitutional violation,

 the likelihood of success on the merits often will be the determinative factor.”).

 See also Bloedorn, 631 F.3d at 1229 (“If [plaintiff] is unable to show a substantial

 likelihood of success on the merits, we need not consider the other

 requirements.”). Nonetheless, for the second factor, Plaintiffs must show that

 “irreparable injury would result if no injunction were issued.” Siegel, 234 F.3d at

 1175–76 (“A showing of irreparable injury is the sine qua non of injunctive relief.”).

 This factor also weighs in Defendants’ favor. As discussed above, Wood’s

 allegations are the quintessential generalized grievance. He has not presented any

 evidence demonstrating how he will suffer any particularized harm as a voter or

 donor by the denial of this motion. The fact that Wood’s preferred candidates did

 not prevail in the General Election—for whom he may have voted or to whom he

 may have contributed financially—does not create a legally cognizable harm,

 much less an irreparable one. Jacobson, 974 F.3d at 1247.




                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
        Case
           1:21-cv-01169-TCB
              1:20-cv-04651-SDG
                             Document
                              Document
                                 Document
                                      64-24
                                       35-254 Filed
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                                                     01/25/21
                                                      11/20/20 Page
                                                                Page1498
                                                                    3938ofofof
                                                                           39381677
                                                                                PageID #:
                                      1787




              iii.   Balance of the Equities and Public Interest

        The Court finds that the threatened injury to Defendants as state officials

 and the public at large far outweigh any minimal burden on Wood. To reiterate,

 Wood seeks an extraordinary remedy: to prevent Georgia’s certification of the

 votes cast in the General Election, after millions of people had lawfully cast their

 ballots. To interfere with the result of an election that has already concluded would

 be unprecedented and harm the public in countless ways. See Sw. Voter Registration

 Educ. Project, 344 F.3d at 919; Arkansas United, 2020 WL 6472651, at *5. Granting

 injunctive relief here would breed confusion, undermine the public’s trust in the

 election, and potentially disenfranchise of over one million Georgia voters.

 Viewed in comparison to the lack of any demonstrable harm to Wood, this Court

 finds no basis in fact or in law to grant him the relief he seeks.

 IV.    CONCLUSION

        Wood’s motion for temporary restraining order [ECF 6] is DENIED.

        SO ORDERED this the 20th day of November 2020.


                                                       Steven D. Grimberg
                                                 United States District Court Judge




                                                                             Exhibit N
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       Case 1:21-cv-01169-TCB
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                                     64-25
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                                                    05/03/21Page
                                                             Page1 of
                                                                   1499
                                                                      57 PageID
                                                                         of 1677 #: 1788




                  EXHIBIT V




                                                                          Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
                             Document
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                                ECF No.
                                      64-25
                                        78,
                                         35-2
                                            PageID.3616
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                                                     05/03/21
                                                          Filed
                                                             Page
                                                               Page
                                                                01/05/21
                                                                   2 of
                                                                     1500
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 1 of
                                                                                   #: 56
                                                                                      1789




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

    TIMOTHY KING, MARIAN ELLEN
    SHERIDAN, JOHN EARL HAGGARD,
    CHARLES JAMES RITCHARD, JAMES
    DAVID HOOPER and DAREN WADE                      No. 2:20-cv-13134
    RUBINGH,
                                                     Hon. Linda V. Parker
                  Plaintiffs,
      v.

    GRETCHEN WHITMER, in her official
    capacity as Governor of the State of
    Michigan, JOCELYN BENSON, in her
    official capacity as Michigan Secretary of
    State and the Michigan BOARD OF STATE
    CANVASSERS,

                  Defendants
      and

    CITY OF DETROIT, DEMOCRATIC
    NATIONAL COMMITTEE and
    MICHIGAN DEMOCRATIC PARTY,

                  Intervenor-Defendants.

        THE CITY OF DETROIT’S MOTION FOR SANCTIONS, FOR
     DISCIPLINARY ACTION, FOR DISBARMENT REFERRAL AND FOR
           REFERRAL TO STATE BAR DISCIPLINARY BODIES
            Intervenor-Defendant City of Detroit (the “City”), by and through counsel,

   respectfully moves for sanctions against Plaintiffs and their counsel pursuant to




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Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                         35-2
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                                                             Page
                                                               Page
                                                                01/05/21
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                                                                     1501
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 2 of
                                                                                   #: 56
                                                                                      1790




   Federal Rule of Civil Procedure 11. The City further moves for disciplinary action

   and referrals to be initiated against counsel.

           The undersigned counsel certifies that counsel communicated in writing with

   opposing counsel, explaining the nature of the relief to be sought by way of this

   motion and seeking concurrence in the relief; opposing counsel thereafter denied

   concurrence. Such concurrence was sought on December 15, 2020 and January 5,

   2021.

           The City also served Plaintiffs with a Motion for Sanctions under Fed. R. Civ.

   P. 11 on December 15, 2020. Plaintiffs did not withdraw or correct any of the false

   factual allegations and frivolous legal theories in their pleadings during the 21 day

   “safe harbor” period.1 Thus, this Motion is timely.


           1
            No lawyer for the Plaintiffs responded to the email message forwarding the
   Rule 11 motion. Instead, at least two of their attorneys made public statements, with
   military analogies and references to opposing counsel as “the enemy.” According to
   the news website Law and Crime, Plaintiffs’ counsel, Sidney Powell, when asked
   about the proposed Rule 11 motion, “replied cryptically: ‘We are clearly over the
   target.’” Ex. 1. Similarly, Plaintiffs’ counsel, L. Lin Wood, posted the following on
   his Twitter account on December 17, 2020:

           When you get falsely accused by the likes of David Fink & Marc Elias
           of Perkins Coie (The Hillary Clinton Firm) in a propaganda rag like
           Law & Crime, you smile because you know you are over the target &
           the enemy is running scared!

   L. Lin Wood (@llinwood), Twitter (Dec. 17, 2020). Perhaps the lack of civility is
   related to counsels’ failure to apply for admission to the Eastern District of
   Michigan’s bar. at least they would have been compelled to review and affirm their
   commitment to our court’s Civility Principles.

                                              ii
                                                                              Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                      64-25
                                        78,
                                         35-2
                                            PageID.3618
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                                                             Page
                                                               Page
                                                                01/05/21
                                                                   4 of
                                                                     1502
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 3 of
                                                                                   #: 56
                                                                                      1791




          This Motion is supported by the accompanying Brief.

                    Sanctions Pursuant to Fed. R. Civ. P. 11(b)(1)

          1.    Sanctions should be imposed under Fed. R. Civ. P. 11(b)(1) when a

   pleading or other filing is presented for any improper purpose, such as to harass,

   cause unnecessary delay, or needlessly increase the cost of litigation.

          2.    Sanctions pursuant to the sub-rule should be imposed against Plaintiffs

   and their counsel because they initiated the instant suit for improper purposes,

   including harassing the City and frivolously undermining “People’s faith in the

   democratic process and their trust in our government.” Opinion and Order Denying

   Plaintiffs’ “Emergency Motion for Declaratory, Emergency, and Permanent

   Injunctive Relief,” ECF No. 62, PageID.3329-30.

          3.    Plaintiffs and their counsel understood that the mere filing of a suit (no

   matter how frivolous) could, without any evidence, raise doubts in the minds of

   millions of Americans about the legitimacy of the 2020 presidential election. As this

   Court noted, “Plaintiffs ask th[e] Court to ignore the orderly statutory scheme

   established to challenge elections and to ignore the will of millions of voters.” Id.

   PageID.3330.

          4.    The Complaints (ECF Nos. 1 and 6), Emergency Motion for

   Declaratory, Emergency, and Permanent Injunctive Relief and Memorandum in




                                             iii
                                                                               Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                                                   5 of
                                                                     1503
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 4 of
                                                                                   #: 56
                                                                                      1792




   Support Thereof (ECF No. 7), and Emergency Motion to Seal (ECF No. 8) were

   devoid of merit and thus could only have been filed for improper purposes.

                    Sanctions Pursuant to Fed. R. Civ. P. 11(b)(2)

          5.    Sanctions under Fed. R. Civ. P. 11(b)(2) are appropriately entered

   where the claims, defenses, and other legal contentions are not warranted by existing

   law or by a non-frivolous argument for extending, modifying, or reversing existing

   law or for establishing new law.

          6.    Sanctions pursuant to Rule 11(b)(2) should be imposed against counsel

   for Plaintiffs because the causes of action asserted in the Complaints (ECF Nos. 1

   and 6), Emergency Motion for Declaratory, Emergency, and Permanent Injunctive

   Relief and Memorandum in Support Thereof (ECF No. 7), and Emergency Motion

   to Seal (ECF No. 8) were frivolous and legally deficient under existing law and

   because Plaintiffs failed to present any non-frivolous arguments to extend, modify,

   or reverse existing law.

          7.    The majority of Plaintiffs’ claims were moot. As this Court noted,

   “[t]he time has passed to provide most of the relief Plaintiffs request in their

   Amended Complaint; the remaining relief is beyond the power of any court. For

   these reasons, this matter is moot.” ECF No. 62, PageID.3307.

          8.    Plaintiffs’ claims were also barred by laches because “they waited too

   long to knock on the Court’s door.” Id. at PageID.3310. Indeed, “Plaintiffs showed



                                            iv
                                                                             Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                                                01/05/21
                                                                   6 of
                                                                     1504
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 5 of
                                                                                   #: 56
                                                                                      1793




   no diligence in asserting the claims at bar.” Id. at PageID.3311. This delay prejudiced

   the City. Id. at PageID.3313.

           9.    Plaintiffs lacked standing to pursue their claims. Id. at PageID.3317-

   3324.

           10.   Plaintiffs’ claim for violation of the Elections and Electors Clauses is

   frivolous. As this Court held, “Plaintiffs ask the Court to find that any alleged

   deviation from state election law amounts to a modification of state election law and

   opens the door to federal review. Plaintiffs cite to no case – and this Court found

   none – supporting such an expansive approach.” Id. at PageID.3325.

           11.   Plaintiffs’ due process and equal protection clause claims are also

   baseless. With regard to the due process claim, this Court held that “Plaintiffs do not

   pair [the due process claim] with anything the Court could construe as a developed

   argument. The Court finds it unnecessary, therefore, to further discuss the due

   process claim.” Id. at PageID.3317. As to the equal protection claim, this Court

   stated that “[w]ith nothing but speculation and conjecture that votes for President

   Trump were destroyed, discarded or switched to votes for Vice President Biden,

   Plaintiffs’ equal protection claim fails.” Id. at PageID.3328.

           12.   For each of Plaintiffs’ claims, Plaintiffs did not identify valid legal

   theories and the controlling law contradicted the claims. The claims were not




                                             v
                                                                               Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                         35-2
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                                                               Page
                                                                01/05/21
                                                                   7 of
                                                                     1505
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 6 of
                                                                                   #: 56
                                                                                      1794




   warranted by existing law or by a non-frivolous argument for extending, modifying,

   or reversing existing law or for establishing new law.

          13.   Plaintiffs’ Emergency Motion for Declaratory, Emergency, and

   Permanent Injunctive Relief and Memorandum in Support Thereof (ECF No. 7) was

   without any legal basis because, as described above, the underlying claims are

   baseless, and the requests for relief were frivolous.

          14.   Plaintiffs’ Emergency Motion to Seal (ECF No. 8) was without any

   legal basis because Plaintiffs seek to anonymously file supposed evidence of a broad

   conspiracy to steal the 2020 presidential election without providing any authority

   whatsoever to attempt to meet their heavy burden to justify the sealed filing of these

   documents.

                     Sanctions Pursuant to Fed. R. Civ. P. 11(b)(3)

          15.   Sanctions can be imposed under Fed. R. Civ. P. 11(b)(3) where factual

   contentions do not have evidentiary support or will likely not have evidentiary

   support after a reasonable opportunity for further investigation or discovery.

          16.   Sanctions should be entered against Plaintiffs and their counsel

   pursuant to Fed. R. Civ. P. 11(b)(3) because the factual contentions raised in the

   complaints and motions were false.

          17.   The key “factual” allegations from the supposed fact witnesses, some

   of whom attempt to cloak their identities while attacking democracy, have been



                                             vi
                                                                              Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
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                                      64-25
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                                         35-2
                                            PageID.3622
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                                                     05/03/21
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                                                               Page
                                                                01/05/21
                                                                   8 of
                                                                     1506
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 7 of
                                                                                   #: 56
                                                                                      1795




   debunked. The allegations about supposed fraud in the processing and tabulation of

   absentee ballots by the City at the TCF Center have been rejected by every court

   which has considered them. If any of the claims in this lawsuit had merit, that would

   have been demonstrated in those cases. The City refers the Court to its Response to

   Plaintiffs’ Emergency Motion for Declaratory, Emergency, and Permanent

   Injunctive Relief for a detailed debunking of Plaintiffs’ baseless factual contentions.

   ECF No. 39, PageID.2808-2933.

                                Disciplinary Proceedings

          18.   E. D. Mich. LR 83.22 authorizes the Court to levy punishments other

   than suspension or disbarment on a practicing attorney whose conduct has violated

   the Rules of Professional Conduct, the Local Rules, the Federal Rules of Civil or

   Bankruptcy Procedure, orders of the Court, or who has engaged in conduct

   considered to be “unbecoming of a member of the bar of this court.”

          19.   The Rule also authorizes the Court to refer counsel to the Chief Judge

   of this District for disbarment or suspension proceedings.

          20.   And, the Rule authorizes the Court to refer counsel to the Michigan

   Attorney Discipline Board and to the disciplinary authorities of counsels’ home

   jurisdictions for purposes of disciplinary proceedings.




                                             vii
                                                                               Exhibit N
Case
  Case
     1:18-cv-05398-DLI-VMS
       Case
        2:20-cv-13134-LVP-RSW
             1:21-cv-01169-TCB
                             Document
                               Document
                                ECF No.
                                      64-25
                                        78,
                                         35-2
                                            PageID.3623
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                                                     05/03/21
                                                          Filed
                                                             Page
                                                               Page
                                                                01/05/21
                                                                   9 of
                                                                     1507
                                                                        57 PageID
                                                                           Page
                                                                           of 1677
                                                                                 8 of
                                                                                   #: 56
                                                                                      1796




          WHEREFORE, for the foregoing reasons and the reason stated in the

   accompanying brief, the City of Detroit respectfully requests that this Court enter an

   Order:

          (a) Imposing monetary sanctions against Plaintiffs and their counsel in an

   amount determined by this Court to be sufficient to deter future misconduct (such

   amount should be, at the least, the amount that Plaintiffs’ counsel have collected in

   their fundraising campaigns, directly or through entities they own or control, for their

   challenges to the 2020 election);

          (b) Requiring Plaintiffs and their counsel to pay all costs and attorney fees

   incurred by the City in relation to this matter (as well as costs and fees incurred by

   all other Defendants);

          (c) Requiring Plaintiffs and/or their counsel to post a bond of $100,000 prior

   to the filing of any appeal of this action (and to maintain their present appeal);

          (d) Requiring Plaintiffs and their counsel to post a bond of $100,000 prior to

   filing, in any court, an action against the City, or any other governmental entity or

   their employees, relating to or arising from the facts alleged in this matter;

          (e) Requiring Plaintiffs to post a substantial bond, in an amount determined

   by the Court, prior to filing an action in the Eastern District of Michigan;

          (f) Requiring Plaintiffs and their counsel to obtain certification from a

   magistrate judge that the proposed claims are not frivolous or asserted for an



                                             viii
                                                                                  Exhibit N
Case
CaseCase
     1:18-cv-05398-DLI-VMS
      2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                              ECF No. 64-25
                                      78,
                                       35-2
                                          PageID.3624
                                             Filed 05/03/21
                                                   01/25/21
                                                        FiledPage
                                                             01/05/21
                                                                  1508
                                                                  10 of Page
                                                                        of
                                                                        571677
                                                                           PageID
                                                                             9 of 56
                                                                                   #:
                                      1797



 improper purpose, before filing an action in the Eastern District of Michigan (and,

 if the magistrate determines that the proposed claims are frivolous or asserted for an

 improper purpose, requiring the plaintiff[s] to post a bond before filing the proposed

 action in an amount the magistrate determines is sufficient to protect the

 defendant[s]);

       (g) Requiring Plaintiffs and their counsel to certify, via affidavit, under

 penalty of perjury, that they have paid all amounts required to fully satisfy any non-

 appealable orders for sanctions entered by any court, prior to filing an action in the

 Eastern District of Michigan;

       (h) Barring Plaintiffs’ counsel from practicing law in the Eastern District of

 Michigan (after the issuance of a show cause order);

       (i) Referring Plaintiffs’ counsel to the Chief Judge of this District for initiation

 of disbarment proceedings;

       (j) Referring all Plaintiffs’ counsel to the Michigan Attorney Grievance

 Commission (and also to the disciplinary authorities of their home jurisdictions,

 including: Sidney Powell to the Michigan Bar and to the Texas bar; L. Lin Wood to

 the Michigan Bar and to the Georgia bar; Greg Rohl to the Michigan bar; Emily

 Newman to the Michigan Bar and to the Virginia bar; Julia Haller to the Michigan

 Bar and to the Washington D.C. bar; Brandon Johnson to the Michigan Bar and to




                                            ix
                                                                                Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3625
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1509
                                                                   11 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             10 of 56
                                                                                    #:
                                       1798



 the Washington D.C. bar; Scott Hagerstrom to the Michigan bar; Howard

 Kleinhendler to the Michigan Bar and to the New York bar); and,

        (k) Granting any other relief that the Court deems just or equitable.

  January 5, 2021                        Respectfully submitted,

                                         FINK BRESSACK

                                         By: /s/ David H. Fink
                                         David H. Fink (P28235)
                                         Darryl Bressack (P67820)
                                         Nathan J. Fink (P75185)
                                         Attorneys for City of Detroit
                                         38500 Woodward Ave., Ste. 350
                                         Bloomfield Hills, MI 48304
                                         Tel: (248) 971-2500
                                         dfink@finkbressack.com
                                         dbressack@finkbressack.com
                                         nfink@finkbressack.com

                                         CITY OF DETROIT
                                         LAW DEPARTMENT
                                         Lawrence T. Garcia (P54890)
                                         James D. Noseda (P52563)
                                         Attorneys for City of Detroit
                                         2 Woodward Ave., 5th Floor
                                         Detroit, MI 48226
                                         Tel: (313) 237-5037
                                         garcial@detroitmi.gov
                                         nosej@detroitmi.gov




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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-25
                                        35-2
                                          PageID.3626
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1510
                                                                   12 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             11 of 56
                                                                                    #:
                                       1799



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES
  DAVID HOOPER and DAREN WADE                     No. 2:20-cv-13134
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  GRETCHEN WHITMER, in her official
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              Defendants.

                    BRIEF IN SUPPORT OF
      THE CITY OF DETROIT’S MOTION FOR SANCTIONS, FOR
   DISCIPLINARY ACTION, FOR DISBARMENT REFERRAL AND FOR
         REFERRAL TO STATE BAR DISCIPLINARY BODIES




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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3627
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1511
                                                                   13 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             12 of 56
                                                                                    #:
                                       1800



                                         TABLE OF CONTENTS


 INDEX OF AUTHORITIES..................................................................................... II

 STATEMENT OF THE ISSUES PRESENTED .................................................... IV

 CONTROLLING OR MOST APPROPRIATE AUTHORITIES ............................ V

 INTRODUCTION .....................................................................................................1

 ARGUMENT .............................................................................................................4

   I. Rule 11 Standards ............................................................................................. 4

   II. The Complaint was Filed for an Improper Purpose ......................................... 5

   III. The Factual Assertions in the Complaint Were Frivolous and Based on
   Assertions Which Had Been Rejected by Michigan Courts ................................. 13

      A.       Allegations Regarding Republican Challengers .....................................13

      B.       Allegations of “Pre-Dating” ....................................................................14

      C.       Allegations Regarding Ballots Supposedly Counted More than Once ...15

      D.       Allegations Regarding Tabulating Machines ..........................................16

      E.       The Declarations and Analyses “Supporting” the Complaint Were Full
               of Intentional Lies ...................................................................................18

   IV. Plaintiffs’ Legal Theories Were Frivolous ..................................................... 27

   V. The Sanctions Which Should be Imposed Pursuant to Rule 11 ..................... 31

   VI. Plaintiffs’ Counsel Should also be Disciplined and Referred to the Chief
   Judge for Disbarment ............................................................................................ 35

 CONCLUSION ........................................................................................................38




                                                            I
                                                                                                         Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3628
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1512
                                                                   14 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             13 of 56
                                                                                    #:
                                       1801



                                    INDEX OF AUTHORITIES

  Cases

 Bognet v. Secy Commonwealth of Pennsylvania,
  980 F.3d 336 (3rd Cir. Nov. 13, 2020) .................................................................28

 Bowyer v. Ducey, CV-20-02321, 2020 WL 7238261
  (D. Ariz. Dec. 9, 2020) .......................................................................... 2, 3, 18, 19

 Costantino v Detroit, No. 162245, 2020 WL 6882586 (Mich. Nov. 23, 2020) ......13

 Costantino v. Detroit, Opinion and Order,
  Wayne County Circuit Court Case No. 20-014780-AW (Nov. 13, 2020) ...........13

 DeGeorge v. Warheit, 276 Mich. App. 587, 741 N.W.2d 384 (2007) ....................37

 Ex parte Young, 209 U.S. 123 (1908) ......................................................................29

 Feathers v Chevron U.S.A., Inc., 141 F.3d 26 (6th Cir. 1998) ................................33

 Feehan v. Wisconsin Elections Comm'n,
   No. 20-CV-1771, 2020 WL 7250219 (E.D. Wis. Dec. 9, 2020) ............................2

 Georgia Republican Party v. Secy of State of Georgia,
  No. 20-14741, 2020 WL 7488181 (11th Cir. Dec. 21, 2020) ..............................28

 Holling v. U.S., 934 F. Supp. 251 (E.D. Mich. 1996)..............................................36

 INVST Financial Group, Inc. v. Chem-Nuclear Systems, Inc.,
   815 F.2d 391 (6th Cir. 1987) ........................................................................... 5, 31

 Johnson v. Secy of State, No. 162286, 2020 WL 7251084 (Mich. Dec. 9, 2020) ...24

 King v. Whitmer,
   No. CV 20-13134, 2020 WL 7134198 (E.D. Mich. Dec. 7, 2020) ........................1

 Mann v. G &G Mfg., Inc., 900 F.2d 953 (6th Cir. 1990) .................................... 5, 31

 Orlett v. Cincinnati Microwave, Inc., 954 F.2d 414 (6th Cir. 1992) .......................31

 Ortman v. Thomas, 99 F.3d 807 (6th Cir. 1996) .....................................................33

 Pearson v. Kemp, No. 1:20-cv-4809 (N.D. Ga. Dec. 7, 2020) ..................................2


                                                        II
                                                                                                   Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3629
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1513
                                                                   15 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             14 of 56
                                                                                    #:
                                       1802



 Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984) ..........................29

 Roberson v. Norfolk Southern Railway Co.,
  2020 WL 4726937 (E.D. Mich. Aug. 14, 2020) ..................................................32

 SLS v. Detroit Public Schools,
   No. 08-14615, 2012 WL 3489653 (E.D. Mich. Aug. 15, 2012) ..........................32

 Stephenson v. Central Michigan University,
   No. 12-10261, 2013 WL 306514 (E.D. Mich. Jan. 25, 2013) ..............................32

 Texas v. Pennsylvania, No. 155 ORIG., 2020 WL 7296814 (U.S. Dec. 11, 2020) ..9

 Thomas v. Capital Sec. Servs., Inc., 836 F.2d 866 (5th Cir. 1988) .........................36

 Wisconsin Voters Alliance v. Pence, No. 1:20-cv-03791 (D.C. Jan. 4, 2021) ..........6
 Statutes and Rules


 E. D. Mich. LR 83.20 ...............................................................................................35

 E. D. Mich. LR 83.22 ...............................................................................................36

 Fed. R. Civ. P. 11(b)(1).................................................................................... Passim

 Fed. R. Civ. P. 11(b)(2).................................................................................... Passim

 Fed. R. Civ. P. 11(b)(3).................................................................................... Passim

 Fed. R. Civ. P. 11(c)(5) ..............................................................................................4




                                                           III
                                                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3630
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1514
                                                                   16 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             15 of 56
                                                                                    #:
                                       1803



                    STATEMENT OF THE ISSUES PRESENTED

      I.         Should the Court sanction Plaintiffs and their counsel pursuant to Fed.

 R. Civ. P. 11?

           The City answers: “Yes.”



     II.         Should the Court discipline Plaintiffs’ counsel, refer them to the Chief

 Judge of this District for disbarment proceedings and refer them to the Michigan

 Attorney Grievance Commission and their home state bars for disciplinary

 proceedings?

           The City answers: “Yes.”




                                             IV
                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3631
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1515
                                                                   17 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             16 of 56
                                                                                    #:
                                       1804



         CONTROLLING OR MOST APPROPRIATE AUTHORITIES




 Fed. R. Civ. P. 11(b)(1)


 Fed. R. Civ. P. 11(b)(2)


 Fed. R. Civ. P. 11(b)(3)


 E. D. Mich. LR 83.22


 Bowyer v. Ducey, CV-20-02321, 2020 WL 7238261 (D. Ariz. Dec. 9, 2020)


 Costantino v. Detroit, Opinion and Order, Wayne County Circuit Court Case No.
 20-014780-AW (Nov. 13, 2020)


 Ex parte Young, 209 U.S. 123 (1908)


 King v. Whitmer, No. CV 20-13134, 2020 WL 7134198 (E.D. Mich. Dec. 7, 2020)


 Mann v. G & G Mfg., Inc., 900 F.2d 953 (6th Cir. 1990)




                                          V
                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3632
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1516
                                                                   18 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             17 of 56
                                                                                    #:
                                       1805



                                   INTRODUCTION

        This Court has already concluded that Plaintiffs present “nothing but

 speculation and conjecture” and that “this lawsuit seems to be less about achieving

 the relief Plaintiffs seek—as much of that relief is beyond the power of this Court—

 and more about the impact of their allegations on People’s faith in the democratic

 process and their trust in our government.” King v. Whitmer, No. CV 20-13134, 2020

 WL 7134198, at *13 (E.D. Mich. Dec. 7, 2020). Now, it is time for Plaintiffs and

 their counsel to answer for that misconduct.

        It is indelibly clear that this lawsuit was filed for an improper purpose, and the

 failure to dismiss or amend the Complaint after service of a Rule 11 motion warrants

 the strongest possible sanctions. There are so many objectively false allegations in

 the Complaint that it is not possible to address all of them in a single brief. This brief

 will address some of the more extreme examples.

        For instance, Plaintiffs claim that their self-proclaimed experts include a

 military intelligence analyst, but when they accidentally disclosed his name, the

 “expert” was revealed to have washed out of the training course for military

 intelligence. Plaintiffs’ counsel did not redact the information to “protect” the

 “informant,” they did so to hide their fraud on the court.2


        2
          In addition to this case, Plaintiffs’ attorneys filed three other remarkably
 similar, and similarly frivolous, “release the kraken” lawsuits. The requested relief


                                             1
                                                                                Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3633
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1517
                                                                   19 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             18 of 56
                                                                                    #:
                                       1806



        Plaintiffs’ “expert” reports are rife with misstatements of Michigan law and

 election procedures. Those reports lack the simplest foundation of technical

 expertise, fail to use even elementary statistical methods and reach conclusions that

 lack any persuasive value. But, those unscientific conclusions, based upon false

 premises and faulty techniques are presented here as though they embody the

 uncontroverted truth.

        Plaintiffs have no apparent interest in the accuracy of their allegations and

 there is no innocent explanation for the numerous misrepresentations. They claim

 that turnout in some jurisdictions in the State exceeded 100%, even up to 781.91%,

 with turnout for Detroit at 139.29%. See Ramsland Aff., ECF No. 6-24,

 PageID.1574. But they had to know that claim was false; the actual results were

 readily available at the time Plaintiffs and their “experts” made the claim, and show

 turnout well below 100%, including in Detroit at 50.88%. Ex. 2.3


 was quickly denied or the case was dismissed for each. See Feehan v. Wisconsin
 Elections Comm'n, No. 20-CV-1771, 2020 WL 7250219 (E.D. Wis. Dec. 9, 2020);
 Bowyer v. Ducey, CV-20-02321, 2020 WL 7238261 (D. Ariz. Dec. 9, 2020); and
 Pearson v. Kemp, No. 1:20-cv-4809 (N.D. Ga. Dec. 7, 2020) (Ex. 3).
        3
          Plaintiffs made the same claim about Michigan in the lawsuit they filed in
 Georgia, but apparently because the “expert” confused the postal code abbreviation
 for Minnesota with that of Michigan, used Minnesota jurisdictions to make the
 argument that turnout exceeded 100%. Ex. 4. The fact that Plaintiffs’ counsel
 discovered the error regarding postal abbreviations (after it was widely mocked in
 the media), but then proceeded to make the same false claim here, substituting
 Michigan jurisdictions, shows that the point was to make the claim, not to present
 the truth. As stated by the district court in the Arizona “kraken” lawsuit when


                                          2
                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3634
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1518
                                                                   20 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             19 of 56
                                                                                    #:
                                       1807



        Meanwhile, President Trump continues to use these lawsuits in his desperate

 campaign to thwart the will of the voters. On January 2, 2021, during a call with

 Georgia’s Secretary of State, Brad Raffensperger, in which the President is heard

 attempting to extort Secretary Raffensperger into committing election fraud, Trump

 trotted out the same hoary canards as the Plaintiffs falsely argue to this Court:

        I mean there’s turmoil in Georgia and other places. You’re not the only
        one, I mean, we have other states that I believe will be flipping to us
        very shortly. And this is something that — you know, as an example, I
        think it in Detroit, I think there’s a section, a good section of your state
        actually, which we’re not sure so we’re not going to report it yet. But
        in Detroit, we had, I think it was, 139 percent of the people voted. That’s
        not too good.

 See Ex. 5, pp. 3-4 (Transcript of January 2, 2021 Telephone Call, as transcribed for

 the Washington Post).4

        The City gave Plaintiffs and their counsel the opportunity to retract their lies

 and baseless legal claims, and they have refused. The extent of the factual and legal

 errors in this Complaint would warrant sanctions under any circumstances, but here

 the Court’s processes are being perverted to undermine our democracy and to upset




 dismissing the claims, and as equally applicable here, “[t]he various affidavits and
 expert reports are largely based on anonymous witnesses, hearsay, and irrelevant
 analysis of unrelated elections.” Bowyer v. Ducey, No. CV-20-02321, 2020 WL
 7238261, at *13 (D. Ariz. Dec. 9, 2020).
       4
         President Trump also continues to use this lawsuit (and the suits filed in other
 swing states which voted for President-Elect Biden) to fundraise. As of early
 December 2020, Trump had reportedly raised $207.5 million in post-election
 fundraising. Ex. 6.

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                                                                                Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3635
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1519
                                                                   21 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             20 of 56
                                                                                    #:
                                       1808



 the peaceful transition of power. The Plaintiffs and all of their attorneys deserve the

 harshest sanctions this Court is empowered to order.

                                    ARGUMENT

    I.       Rule 11 Standards

         Sanctions under Fed. R. Civ. P. 11(b)(1) are appropriate when a pleading or

 other filing is presented for an improper purpose, such as to harass, cause

 unnecessary delay, or needlessly increase the cost of litigation. Fed. R. Civ. P.

 11(b)(1). Sanctions under Fed. R. Civ. P. 11(b)(2) are appropriate where the claims,

 defenses, and other legal contentions of the offending party are not warranted by

 existing law or by a non-frivolous argument for extending, modifying, or reversing

 existing law or for establishing new law. Fed. R. Civ. P. 11(b)(2). Sanctions are

 appropriate under Fed. R. Civ. P. 11(b)(3) where factual contentions do not have

 evidentiary support or will likely not have evidentiary support after a reasonable

 opportunity for further investigation or discovery.5

         To determine whether a party’s pleading is frivolous or was filed for an

 improper purpose, courts use an objective standard of reasonableness under the

 circumstances and then weigh the evidence to determine if the pleadings, motions or



         5
          Monetary sanctions cannot be imposed against a represented party for
 violation of Fed. R. Civ. P. 11(b)(2). See Fed. R. Civ. P. 11(c)(5). Thus, the City
 requests non-monetary sanctions, as identified below, against Plaintiffs for violation
 of 11(b)(2) and monetary and non-monetary sanctions against counsel.


                                           4
                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3636
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1520
                                                                   22 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             21 of 56
                                                                                    #:
                                       1809



 papers are well-grounded in facts or warranted by existing law. Mann v. G &G Mfg.,

 Inc., 900 F.2d 953 (6th Cir. 1990).6

    II.       The Complaint was Filed for an Improper Purpose

          It is clear that this lawsuit was not filed for any purpose consistent with the

 Federal Rules of Civil Procedure. This Court has already addressed many of the

 reasons that the Plaintiffs “are far from likely to succeed in this matter.” King, 2020

 WL 7134198, at *13. The claims are barred by Eleventh Amendment Immunity; the

 claims are barred by mootness and laches; Plaintiffs lack standing; and, even if

 Plaintiffs could show a violation of state law, they have not offered a colorable claim

 under federal statutory or constitutional law. To make matters worse, Plaintiffs were

 always aware that their Complaint was deficient; no other inference can be drawn

 from their failure to serve the Defendants before this Court issued its December 1,

 2020, text-only order.7


          Moreover, for the purposes of Rule 11 sanctions, a showing of “good faith,”
          6

 is not sufficient to avoid sanctions. INVST Financial Group, Inc. v. Chem-Nuclear
 Systems, Inc., 815 F.2d 391 (6th Cir. 1987).
        7
          A similar circumstance was noted on January 4, 2021, in a ruling by the
 United States District Court for the District of Columbia, addressing another
 groundless Trump election lawsuit:

          [Plaintiffs’] failure to make any effort to serve or formally notify any
          Defendant — even after a reminder by the Court in its Minute Order —
          renders it difficult to believe that the suit is meant seriously. Courts are
          not instruments through which parties engage in such gamesmanship or
          symbolic political gestures. As a result, at the conclusion of this
          litigation, the Court will determine whether to issue an order to show


                                               5
                                                                                  Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3637
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1521
                                                                   23 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             22 of 56
                                                                                    #:
                                       1810



        This lawsuit is the quintessential example of a case filed for an improper

 purpose. As this Court concluded, in denying preliminary relief:

        this lawsuit seems to be less about achieving the relief Plaintiffs seek—
        as much of that is beyond the power of this Court—and more about the
        impact of their allegations on People’s faith in the democratic process
        and their trust in our government.

 King, at *13. Plaintiffs’ counsel have not hidden their contempt for our courts and

 for our democracy. Plaintiffs’ counsel Sidney Powell claims that courts have rejected

 the election lawsuits, “because the corruption goes deep and wide.”8 She re-tweets

 calls to impose martial law, to “suspend the December Electoral College vote,” and

 to “set up Military Tribunals immediately.” @sidneypowell1, Twitter (Nov. 30,

 2020). Her co-counsel, L. Lin Wood, unabashedly expresses his contempt for our

 democratic processes and openly promotes a military coup:

        Georgia, Michigan, Arizona, Nevada, Wisconsin, Minnesota &
        Pennsylvania are states in which martial law should be imposed &
        machines/ballots seized. 7 states under martial law. 43 states not under
        martial law. I like those numbers. Do it @realDonaldTrump! Nation
        supports you. (@llinwood, Twitter (Dec. 20, 2020)).

        Patriots are praying tonight that @realDonaldTrump will impose
        martial law in disputed states, seize voting machines for forensic



        cause why this matter should not be referred to its Committee on
        Grievances for potential discipline of Plaintiffs’ counsel.

 Wisconsin Voters Alliance v. Pence, No. 1:20-cv-03791 (D.C. Jan. 4, 2021) (Ex. 7).
      8
         Quote from video interview of Sidney Powell, promoted on her twitter
 account at https://twitter.com/AKA_RealDirty/status/1338401580299681793.


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                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3638
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1522
                                                                   24 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             23 of 56
                                                                                    #:
                                       1811



        examination, & appoint @SidneyPowell as special counsel to
        investigate election fraud. (Dec. 19, 2020).

        When arrests for treason begin, put Chief Justice John Roberts, VP
        Mike Pence @VP @Mike_Pence, & Mitch McConnell @senatemajldr
        at top of list. (Jan. 1, 2021).

        If Pence is arrested, @SecPompeo will save the election. Pence will be
        in jail awaiting trial for treason. He will face execution by firing squad.
        He is a coward & will sing like a bird & confess ALL. (Jan. 1, 2021).9

 These are the lawyers who are trying to use this Court’s processes to validate their

 conspiracy theories and to support their goal of overturning the will of the people in

 a free and fair election. They were given an opportunity to dismiss or amend their

 Complaint, but they chose to continue to use this case to spread their false messages.

        Those false messages are not the result of occasional errors or careless editing.

 Those false messages are deliberately advanced by these attorneys to support their

 goals of undermining our democracy. Like Sidney Powell, L. Lin Wood, is a QAnon

 disciple.10 He recently stated:

        This country’s going to be shocked when they find the truth about
        who’s been occupying the Oval Office for some periods of years.
        They’re going to be shocked at the level of pedophilia. They are going


        9
          While Mr. Wood’s wrath was initially focused on Democrats, he has shifted
 to attacking Republican officials (and judges and justices who he views as
 Republican) for their perceived disloyalty to Trump and refusal to abuse the
 Constitution.
        10
           A judge in Delaware is currently considering revoking Mr. Wood's right to
 practice in Delaware, where he is currently representing former Trump adviser
 Carter Page, based on his conduct in suits challenging the results of the general
 election as a plaintiff in Georgia and as counsel in Wisconsin. Ex. 8.


                                            7
                                                                               Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3639
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1523
                                                                   25 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             24 of 56
                                                                                    #:
                                       1812



        to be shocked at what I believe is going to be a revelation in terms of
        people who are engaged in Satanic worship.”11

 A review of Mr. Wood’s Twitter account reveals a dark strain of paranoia—the same

 strain which infects this lawsuit.

        Mr. Wood repeatedly makes false allegations about the 2020 election, the

 most secure in our country’s history.12 The following is a sampling of his tweets:

        There should be NO Electoral College vote in any state today. Fraud is
        rampant in all state elections. If U.S. Supreme Court does not have
        courage to act, I believe our President @realDonaldTrump has the
        courage. (Dec. 14, 2020).

        We The People must now launch massive campaign to prevent our state
        electors from EVER casting vote in Electoral College for Joe Biden &
        Kamala Harris. Unless you want them to vote for Communism. In that
        event, get out of our country & go enjoy your life in Communist China.
        (Dec. 20, 2020).

        Joe Biden & Kamala Harris are Communists by either ideology,
        corruptness or extortion. Still want your state electors to vote for Biden
        on 1/6? Want Communism & tyranny or a free America where you can
        enjoy life, liberty & pursuit of happiness? (Dec. 20, 2020).


        11
                  https://welovetrump.com/2020/11/23/lin-wood-americans-will-be-
 shocked-at-level-of-pedophilia-satanic-worship-occupying-oval-office-for-years-
 before-trump/.
        12
           The November 2020 general election was declared by the federal
 government to be the most secure in the nation’s history. See Joint Statement from
 Elections Infrastructure Government Coordinating Council & The Election
 Infrastructure Sector Coordinating Executive Committees (“CISA”), issued Nov 12,
 2020 (“The November 3rd election was the most secure in American history.”) (Ex.
 9). The CISA statement further concluded “[t]here is no evidence that any voting
 system deleted or lost votes, changed votes, or was in any way compromised.” Id.
 Five days after this statement was released, Chris Krebs, director of CISA, was
 terminated by presidential tweet.

                                            8
                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3640
                                             Filed 05/03/21
                                                   01/25/21
                                                        Filed Page
                                                              01/05/21
                                                                   1524
                                                                   26 ofPage
                                                                         of
                                                                         571677
                                                                            PageID
                                                                             25 of 56
                                                                                    #:
                                       1813



 When courts refuse to accept his invitation to disregard the fundamental tenets of

 our democracy, he blames corruption and communism in the judiciary:

        Attempted theft of Presidential election will NOT stand. Not on our
        watch, Patriots. Communists & Communist sympathizers have
        infiltrated our judicial system, including lawyers & judges in Georgia.
        (Dec. 23, 2020).

        Communism has infiltrated ALL levels of our government, including
        our judiciary. Communism infiltrates by ideology, by
        corruption/money & by extortion. (Dec. 20, 2020).

        Too many of us have been asleep at switch in the past. … We believed
        too many of our judges. Many are corrupt & traitors. (Dec. 19, 2020).

        Some state & federal lower court rulings to date are troubling. Courage
        lacking in some members of judiciary. (Dec. 10, 2020).

        We CANNOT trust courts to save our freedom. They are IGNORING
        massive evidence of fraud & unlawful election procedures. (Dec. 13,
        2020).

        We have had reports of judges & their families being threatened. This
        would certainly explain some of the bizarre rulings by lower courts that
        have refused to even mention the overwhelming evidence of fraud in
        cases filed by @SidneyPowell. (Dec. 14, 2020).

 When, the Supreme Court denied certiorari in Texas’s lawsuit against the “swing

 states” which voted for Joe Biden,13 and when the Supreme Court took no action on

 the nonsensical direct appeal in this case, Mr. Wood displayed his utter contempt for

 that institution:

        It is time for Chief Justice John Roberts to resign, admit his corruption
        & ask for forgiveness. Roberts has betrayed his sacred oath office. He

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             Texas v. Pennsylvania, No. 155 ORIG., 2020 WL 7296814 (U.S. Dec. 11,
 2020).

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                   27 ofPage
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                                                                         571677
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                                                                             26 of 56
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        has betrayed his country. He has betrayed We The People. (Dec. 19,
        2020).

        I think many are today learning why SCOTUS is rejecting petitions
        seeking FAIR review. Roberts & Breyer are “anti-Trumpers” They
        should resign immediately. CJ Roberts has other reasons to resign. He
        is a disgrace to office & to country. (Dec. 17, 2020).

        Corruption & deceit have reached most powerful office in our country
        - the Chief Justice of U.S. Supreme Court. This is a sad day for our
        country but a day on which we must wake up & face the truth. Roberts
        is reason that SCOTUS has not acted on election cases. (Dec. 17, 2020).

        Justice John Roberts is corrupt & should resign immediately. Justice
        Stephen Breyer should also resign immediately. (Dec. 17, 2020).

        I am disappointed. I thought Justices Roberts & Breyer would avoid
        public scandal & simply resign. Only a fool wants their dirty laundry
        aired in public. Maybe I should consider filing a formal motion for
        recusal & hang their laundry on the clothesline to be exposed to
        sunlight? (Jan. 2, 2021).

 This is the same L. Lin Wood who appears on the pleadings of this case, but who

 has apparently chosen not to be sworn into the bar for the Eastern District of

 Michigan and to affirm our Civility Principles.

        Sidney Powell—who President Trump has reportedly considered appointing

 as “special counsel,” who apparently has the ear of the President and who has

 advocated for martial law—is less prolific on Twitter but shares Mr. Wood’s

 perspective. She has tweeted that “[t]his ‘election’ was stolen from the voters in a

 massive fraud.” @sidneypowell1, Twitter (Jan. 2, 2021). And, like Mr. Wood, she

 channels 19502 McCarthy paranoia, seeing communists around every electoral




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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         571677
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                                                                             27 of 56
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                                       1815



 corner, stating “[i]t is impossible not to see the fraud here unless one is a communist

 or part of it or part of the coup.” @sidneypowell1, Twitter (Jan. 2, 2021).14

        As poorly presented as their pleadings were, as careless as they were in vetting

 their allegations and expert reports, and as detached as their claims are from the law

 and reality, the Plaintiffs and their counsel were provided 21 days to take corrective

 action. So, 21 days before filing this motion, the City gave Plaintiffs an opportunity

 to withdraw or amend their contemptuous pleadings. Rather than withdraw or amend

 their Complaint, they chose to stand firm with their objectively false claims,

 ridiculously incompetent expert reports and patently unsupportable arguments.

        Why was this Complaint not dismissed or amended? Surely, in light of this

 Court’s December 7, 2020, Opinion and Order, Plaintiffs cannot be expecting to

 obtain judicial relief. Then, what purpose can this lawsuit serve? The answer to that

 question goes to the heart of Rule 11. Much can be inferred from Plaintiffs’ actions.

 Initially, this was one of several lawsuits used to support calls for state legislatures

 to reject the will of the voters, to ignore the statutory process for selecting

 presidential electors, and to instead elect a slate of Trump electors (six of whom are

 Plaintiffs in this case). When the Michigan Legislature did not attempt to select a



        14
          Perhaps her motivation is less paranoid and more venal. The front page of
 her website, “defendingtherepublic.org,” has a prominently placed “contribute here”
 form, soliciting donations for her “Legal Defense Fund for Defending the American
 Republic.”

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                   29 ofPage
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                                                                         571677
                                                                            PageID
                                                                             28 of 56
                                                                                    #:
                                       1816



 slate of electors inconsistent with the will of the voters, despite the personal demands

 of the President of the United States, who summoned their leaders to the White

 House, this lawsuit took on a different meaning. It was then used to support

 arguments for the United States Congress to reject the Michigan electors on January

 6, 2021. On Saturday, January 2, 2021, false claims made by “experts” in this case

 were cited by Donald Trump in his apparent attempt to extort Georgia Secretary of

 State Brad Raffensperger. And, most ominously, these claims are referenced and

 repeated by L. Lin Wood and others in support of martial law.

        Irrespective of these attempts to overturn our democratic processes, the

 continued pendency of this lawsuit accomplishes exactly the harm addressed by this

 Court in its December 7, 2021, Opinion and Order. By undermining “People’s faith

 in the democratic process and their trust in our government,” this lawsuit is being

 used to delegitimize the presidency of Joe Biden.

        While the First Amendment may protect the right of political fanatics to spew

 their lies and unhinged conspiracy theories, it does not grant anyone a license to

 abuse our courts for purposes which are antithetical to our democracy and to our

 judicial system. Plaintiffs and their counsel cannot be allowed to use the court system

 to undermine the constitutional and statutory process by which we select our leaders.




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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                            PageID
                                                                             29 of 56
                                                                                    #:
                                       1817



    III.   The Factual Assertions in the Complaint Were Frivolous and Based
           on Assertions Which Had Been Rejected by Michigan Courts

        The Complaint in this matter relies heavily on affidavits submitted in

 Costantino v. Detroit, Wayne County Circuit Court Case No. 20-014780-AW. The

 Plaintiffs here either incorporate the affidavits into their allegations or attach them

 as exhibits to their Complaint.

           A. Allegations Regarding Republican Challengers
       The Complaint repeatedly asserts that Republican challengers were not given

 “meaningful” access to the ballot processing and tabulation at the Absent Voter

 Counting Board located in Hall E of the TCF Center. First Amended Complaint

 (“Compl.”) at ¶¶ 13, 42, 47, 57, 59-61. This claim was disproven long before

 Plaintiffs raised it here. As Judge Kenny concluded in Costantino, while six feet of

 separation was necessary for health reasons, “a large monitor was at the table where

 individuals could maintain a safe distance from poll workers to see what exactly was

 being performed.” Costantino v. Detroit, Opinion and Order, Wayne County Circuit

 Court Case No. 20-014780-AW (Nov. 13, 2020) (Ex. 10). This had been proven with

 photographic evidence. See, e.g., Ex. 11 (Nov. 11, 2020 Affidavit of Christopher

 Thomas at last page). And, prior to the filing of this case, the Michigan Supreme

 Court had already rejected the application for appeal from the trial court’s ruling,

 deeming the same claims unworthy of injunctive relief. See Costantino v Detroit,

 No. 162245, 2020 WL 6882586 (Mich. Nov. 23, 2020).


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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-25
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                                                                         571677
                                                                            PageID
                                                                             30 of 56
                                                                                    #:
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       Similarly, the Complaint repeats the false claim that Republican challengers

 were exclusively barred from entering the TCF Center. Compl. ¶¶ 62-63. Judge

 Kenny rejected this claim, finding that there was a short period of time, where

 Republican and Democratic challengers were “prohibited from reentering the room

 because the maximum occupancy of the room had taken place.” Costantino Opinion,

 at *8. As stated by the court, “[g]iven the COVID-19 concerns, no additional

 individuals could be allowed into the counting area ... Democratic party challenger

 David Jaffe and special consultant Christopher Thomas in their affidavits both attest

 to the fact that neither Republican nor Democratic challengers were allowed back in

 during the early afternoon of November 4th as efforts were made to avoid

 overcrowding.” Id.

           B. Allegations of “Pre-Dating”
        Plaintiffs’ allegations of “pre-dating” were also based on claims initially

 submitted and rejected in Costantino. Compl. ¶¶ 88 and 90.

        The claims come from Jessy Jacob, a furloughed City employee, with no

 known prior election experience, who was assigned to the Department of Elections

 on a short-term basis. Ex. 12 (Affidavit of Daniel Baxter, ¶ 7). Her claim regarding

 pre-dating is demonstrably false because all absentee ballots she handled at the TCF

 Center had been received by 8:00 p.m. on November 3, 2020. For a small number

 of ballots, election workers at the TCF Center were directed to enter the date the



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                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3646
                                             Filed 05/03/21
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                                                                         571677
                                                                            PageID
                                                                             31 of 56
                                                                                    #:
                                       1819



 ballots were received into the computer system, as stamped on the envelope. Ex.

 11. Ms. Jacob was simply marking the date the ballot had been received. Id. Thus,

 as explained by the court in Costantino, “[a]s to the allegation of ‘pre-dating’

 ballots, Mr. Thomas explains that this action completed a data field inadvertently

 left blank during the initial absentee ballot verification process.” Costantino

 Opinion, *4. As the court noted, “[t]he entries reflected the date the City received

 the absentee ballot.” Id.

             C. Allegations Regarding Ballots Supposedly Counted More than
                Once
        Plaintiffs claim challengers observed ballots repeatedly run through tabulation

 machines, including “a stack of about fifty ballots being fed multiple times into a

 ballot scanner counting machine.” Compl. ¶ 94. This allegation primarily comes

 from Melissa Carone, a contractor working for Dominion, who claimed that stacks

 of 50 ballots were fed through tabulators as many as eight times. Exh. 5 to Compl.,

 ¶¶ 4-5.15 The allegation was obviously false when it was first raised by Carone in

 Costantino. Whatever Carone and other challengers think they saw, ballots cannot

 be counted in that manner. If they were correct, hundreds of extra votes would show

 up in numerous precinct (or absent voter counting boards). This would obviously be




        The Complaint states that “[p]erhaps the most probative evidence comes
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 from Melissa Carone ….” Compl. ¶ 84.

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                              ECF No. 78,
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                                                                             32 of 56
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 caught very quickly on site during the tabulation process or soon thereafter during

 the County and State canvasses. Ex. 13 (Thomas Dec. 10, 2020 Aff. ¶¶ 18-20).

        But, by the time the Plaintiffs here latched onto the absurd allegation, it had

 already been conclusively disproven by the Wayne County canvass. Detroit had 501

 precincts and 134 absent voter counting boards. Less than 36% of the total were out

 of balance. Id. ¶ 12. A counting board is out of balance if there are: (1) more ballots

 than voters or (2) more voters than ballots. In total 591 voters and ballots account

 for the imbalances. Id. When voters and ballots are separated in Detroit there are 148

 more names than ballots—out of 174,384 votes there are 148 more names in the poll

 books than there are ballots. Id. The fact that there were more names than ballots

 shows that ballots were not counted more than once. The total imbalance was .0008

 (eight ten-thousandths of a 1%). Id. Of the 94 Detroit out of balance counting boards,

 there were 87 with an imbalance of 11 or fewer voters/ballots; within those 87

 counting boards, 48 were imbalanced by 3 or fewer voters/ballots. Id. There were

 seven counting boards with higher imbalances that range from 13 more ballots to 71

 fewer voters. Id. This minimal level of imbalance conclusively demonstrated that

 the allegation was false, weeks before Plaintiffs filed this case.

           D. Allegations Regarding Tabulating Machines

        Perhaps the most baseless of Plaintiffs’ allegations is a conspiracy theory

 about Dominion vote tabulators. Plaintiffs in the first election cases initially cited



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                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         571677
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                                                                             33 of 56
                                                                                    #:
                                       1821



 two instances of errors—one in Antrim County and one in Oakland County

 (Rochester Hills) to insinuate that the tabulating system used in many counties was

 flawed. Certainly understanding the weakness of the initial theory, Plaintiffs here

 wove in a nonsensical tale that a theoretical software weakness upended Michigan’s

 election results. This Court readily recognized that the claims could not hold up.

        The Michigan Department of State released a statement titled “Isolated User

 Error in Antrim County Does Not Affect Election Results, Has no Impact on Other

 Counties or States,” explaining what happened in Antrim County. Ex. 14. The

 statement explains that the “error in reporting unofficial results in Antrim County

 Michigan was the result of a user error that was quickly identified and corrected; did

 not affect the way ballots were actually tabulated; and would have been identified in

 the county canvass before official results were reported even if it had not been

 identified earlier.” Id. Essentially, the County installed an update on certain

 tabulators, but not others. Id. The tabulators worked correctly, but when they

 communicated back to the County, the discrepancy in the software versions led to a

 discrepancy in the reporting. Id. This was quickly discovered and would certainly

 have been uncovered in the post-election canvass. Id. In fact, the integrity of the vote

 in Antrim County was conclusively proven by the recent audit of the paper ballots.

        The Republican clerk of Rochester County, Tina Barton, discredited the

 allegations of fraud in that City. Officials realized they had mistakenly counted votes



                                           17
                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         571677
                                                                            PageID
                                                                             34 of 56
                                                                                    #:
                                       1822



 from Rochester Hills twice, according to the Michigan Department of State. Oakland

 County used software from a company called Hart InterCivic, not Dominion, though

 the software was not at fault. Ms. Barton stated in a video she posted online: “As a

 Republican, I am disturbed that this is intentionally being mischaracterized to

 undermine the election process …. This was an isolated mistake that was quickly

 rectified.” Ex. 15.16 Plaintiffs knew all of this before they filed this lawsuit.17

             E. The Declarations and Analyses “Supporting” the Complaint Were
                Full of Intentional Lies
        The Complaint also relies heavily on “expert” declarations and affidavits,

 many heavily redacted. As the district court held in Bowyer, “the ‘expert reports’


        16
           An audit of the paper ballots in Antrim County conclusively demonstrated
 that the claim was false. The official tally was only off by 11 net votes. Ex. 16.
        17
           The Plaintiffs here added in a string of falsehoods about Dominion software.
 The district court in Bowyer addressed those claims head on: “The Complaint is
 equally void of plausible allegations that Dominion voting machines were actually
 hacked or compromised in Arizona during the 2020 General Election. […] These
 concerns and stated vulnerabilities, however, do not sufficiently allege that any
 voting machine used in Arizona was in fact hacked or compromised in the 2020
 General Election.” Bowyer v. Ducey, No. CV-20-02321, 2020 WL 7238261, at *14
 (D. Ariz. Dec. 9, 2020). Just like here, “what is present is a lengthy collection of
 phrases beginning with the words ‘could have, possibly, might,’ and ‘may have.’”
 Id. Ramsland, similar to his claims here, “asserts there was ‘an improbable, and
 possibly impossible spike in processed votes’ in Maricopa and Pima Counties at 8:46
 p.m. on November 3, 2020 … [however, the defendant] points to a much more likely
 plausible explanation: because Arizona begins processing early ballots before the
 election, the spike represented a normal accounting of the early ballot totals from
 Maricopa and Pima Counties, which were reported shortly after in-person voting
 closed.” Id. “Plaintiffs have not moved the needle for their fraud theory from
 conceivable to plausible, which they must do to state a claim under Federal pleading
 standards.” Id.

                                            18
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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         571677
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                                                                             35 of 56
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                                       1823



 reach implausible conclusions, often because they are derived from wholly

 unreliable sources.” See Bowyer v. Ducey, No. CV-20-02321, 2020 WL 7238261, at

 *14 (D. Ariz. Dec. 9, 2020).

        From the outset, the “Michigan 2020 Voting Analysis Report” appended to

 the Amended Complaint departs from any rational statistical analysis. PageID.1771-

 1801. Stanley Young identifies nine counties as “outliers,” because those counties

 reported larger increases in Democratic votes for President. PageID.1776. His

 analysis, however, is based entirely on raw vote totals with no consideration of

 percentage changes. Not surprisingly, eight of the nine counties he identifies are

 among the nine counties with the largest voting age population. Much of the

 remaining analysis by Young and the other experts focuses on these counties, which

 are allegedly “outliers.”

        This sloppy analysis is followed by “another anomaly that indicates

 suspicious results.” His “anomaly” is nothing more than the fact that President

 Trump did not do as well with “mail-in votes” as he did with election day votes.

 PageID.1777. Of course, that was widely expected and understood, for an election

 in which President Trump discouraged absentee voting and Democrats promoted it.

        Revealing an almost incomprehensible ignorance of Michigan election law

 for supposed “experts,” Dr. Quinnell, together with Dr. Young, offer the finding that

 in two Michigan counties (Wayne and Oakland) demonstrate “excessive vote in



                                          19
                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                              ECF No. 78,
                                      64-25
                                        35-2
                                          PageID.3651
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                                                                             36 of 56
                                                                                    #:
                                       1824



 favor of Biden often in excess of new Democrat registrations.” PageID.1778.

 Apparently, none of the experts, none of the Plaintiffs and none of the Plaintiffs’

 attorneys are aware that Michigan does not have party registration.

                   1. Spyder/Spider

        Plaintiffs’ “experts” rely on the partially redacted declaration of “Spider” or

 “Spyder,” who Plaintiffs identify as “a former US Military Intelligence expert” and

 a “former electronic intelligence analyst with 305th Military Intelligence” Compl.

 ¶¶ 17, 161. But this was a lie by Plaintiffs’ counsel. Plaintiffs did not properly redact

 the declarant’s name when they filed the same affidavit in a different court, and it

 was publicly disclosed that the declarant’s name was Joshua Merritt. While in the

 Army, Merritt enrolled in a training program at the 305th Military Intelligence

 Battalion, the unit he cites in his declaration, but he never completed the entry-level

 training course. A spokeswoman for the U.S. Army Intelligence Center of

 Excellence, which includes the battalion, stated “[h]e kept washing out of courses

 … [h]e’s not an intelligence analyst.” Ex. 17. According to the Washington Post,

 “Merritt blamed ‘clerks’ for Powell’s legal team, who he said wrote the sentence

 [and] said he had not read it carefully before he signed his name swearing it was

 true. Id. He stated that “My original paperwork that I sent in didn’t say that.” Id. He

 later stated that “he had decided to remove himself from the legal effort altogether”

 (which has not happened). Id.



                                            20
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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                         571677
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                                                                             37 of 56
                                                                                    #:
                                       1825



        It is a near certainty that if Plaintiffs are compelled to publicly file unredacted

 declarations and affidavits, as they should be, numerous other redacted names and

 assertions will reveal that the redactions were made to keep the public from

 discovering more fraud perpetrated on this Court.

                    2. Russell James Ramsland, Jr.

        Plaintiffs’ “expert” Russell James Ramsland Jr. extrapolates large vote

 discrepancies from the Antrim County error in reporting early unofficial results. In

 doing so, he intentionally ignores the Secretary of State’s report or simply does not

 do his homework. Ramsland reports “In Michigan we have seen reports of 6,000

 votes in Antrim County that were switched from Donald Trump to Joe Biden and

 were only discoverable through a hand counted manual recount.” Ramsland

 Affidavit ¶10; emphasis added. But, there were no hand recounts in Michigan as of

 that date.18 The Secretary of State report is not even discussed. Incredibly, Ramsland

 has since doubled down on his perjury, after gaining access to a voting machine in

 Antrim County. He now claims, in support for the request for Certiorari to the

 Supreme Court in this action, that “[w]e observed an error rate of 68.05%” which


        18
            Plaintiffs, who include six nominees to be Trump electors, including the
 Republican County Chair for Antrim County, the Republican County Chair of
 Oceana County and the Chair of the Wayne County Eleventh Congressional District,
 as well as their attorneys, should also know that when the expert report was prepared
 there had been no hand recount in Antrim County. An actual hand recount did occur
 at a later time, and that recount confirmed the accuracy of the official results, within
 11 votes.

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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                      64-25
                                        35-2
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                                                                             38 of 56
                                                                                    #:
                                       1826



 “demonstrated a significant and fatal error in security and election integrity.”

 Although the basis for the percentage is unclear, the Antrim County clerk stated that

 “the 68% error rate reported by Ramsland may be related to [the] original error

 updating the ballot information.” Ex. 18. The clerk of the Republican-heavy County

 said: “[t]he equipment is great — it’s good equipment … [i]t’s just that we didn’t

 know what we needed to do (to properly update ballot information) … [w]e needed

 to be trained on the equipment that we have.” Id. The claim was also proven to be

 false by the hand recount audit of the paper ballots in Antrim County, which added

 11 net votes to the tally, not the 15,000 predicted by Ramsland. Ex. 16.

        Ramsland makes the claim that turnout throughout the state was statistically

 improbable; but as discussed above, he bases this on fabricated statistics. He claims

 turnout of 781.91% in North Muskegon, where the publicly-available official results

 were known, as of election night, to be approximately 78%. Ex. 2. He claims turnout

 of 460.51% (or, elsewhere on the same chart, 90.59%) in Zeeland Charter Township,

 where it was already known to be 80%. Id. The only result out of 19 (not including

 the duplicates) that Ramsland got right was for Grand Island Township, with a

 turnout of 96.77%, comprised of 30 out of the township’s 31 registered voters. Id.19


        19
          Ramsland also claims it was “suspicious” that Biden’s share of the vote
 increased as absentee ballots were tabulated. But, that suspicion require Ramsland
 to close his eyes to the incontrovertible fact that for the 2020 general election,
 absentee ballots favored Biden throughout the country, even in the deep red state of


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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                              ECF No. 78,
                                      64-25
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                                                                   40 ofPage
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                                                                         571677
                                                                            PageID
                                                                             39 of 56
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 President Trump repeated this blatantly false claim in his tape-recorded January 2,

 2021 telephone conversation with Brad Raffensperger. Ex. 5.

        Similarly, Ramsland relies upon the affidavit of Mellissa Carone in support of

 his claim that “ballots can be run through again effectively duplicating them.”

 Ramsland Affidavit; Compl. Exh. 24 at ¶13. It is understandable that inexperienced

 challengers and Ms. Carone (who was a service contractor with no election

 experience) with conspiratorial mindsets might not understand that there are

 safeguards in place to prevent double counting of ballots in this way, but that does

 not excuse Plaintiffs’ “experts,” who choose to rely on these false claims, even after

 the official canvass had conclusively disproven the allegations.20

                   3.      William Briggs/Matt Braynard

        Plaintiffs rely on an “analysis” by William M. Briggs of “survey” results

 apparently posted in a tweet by Matt Braynard. Braynard’s survey was submitted in



 Tennessee. https://tennesseestar.com/2020/11/05/republicans-dominate-the-2020-
 tennessee-election-cycle/.
        20
           Emblematic of Plaintiffs’ contempt for facts is another “expert” report that
 was filed with the original Complaint in this case, but not submitted with the
 Amended Complaint. Paragraph 18 of the original Complaint introduced “Expert
 Navid Kashaverez-Nia” and alleged that “[h]e concludes that hundreds of thousands
 of votes that were cast for President Trump in the 2020 general election were
 transferred to former Vice-President Biden.” Notably, the “expert” relied on a
 finding that in “Edison County, MI, Vice President Biden received more than 100%
 of the votes.…” There is no Edison County in Michigan (or anywhere in the United
 States). The fabrication was only removed after it was discovered and reported by
 the news media.


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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                             40 of 56
                                                                                    #:
                                       1828



 a different case (Johnson v. Secy of State, Michigan Supreme Court Original Case

 No. 162286),21 so its underlying falsehoods have been exposed. Braynard

 misrepresents Michigan election laws, and completely disregards standard analytical

 procedures to reach his contrived conclusions. He refers to voters who have

 “indefinitely confined status,” something which has never existed in our state. He

 refers to individuals “who the State’s database identifies as applying for and the

 State sending an absentee ballot,” when, in Michigan, absentee ballots are never sent

 by the State. He refers repeatedly to “early voters,” when Michigan has absentee

 voters, but, unlike some other states, has never allowed “early voting.” He apparently

 believes (incorrectly) that every time a voter’s residence changes before election day

 that voter is disenfranchised. Mr. Thomas addresses these factual and legal errors in

 the attached Affidavit. Ex. 13.

        The disturbing inadequacy of Braynard’s survey is also explained in the

 affidavit of Dr. Charles Stewart III, the Kenan Sahin Distinguished Professor of

 Political Science at the Massachusetts Institute of Technology. Dr. Stewart’s

 credentials are impeccable and directly applicable to the subject matter. Ex. 20




        21
          The “survey” as submitted in Johnson is attached here as Ex. 19. The
 request for relief was denied by the Supreme Court Johnson. See Johnson v. Secy of
 State, No. 162286, 2020 WL 7251084 (Mich. Dec. 9, 2020).


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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                                                             41 of 56
                                                                                    #:
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 (Affidavit of Charles Stewart II) (originally submitted in Johnson).22 At the request

 of the City of Detroit, Dr. Stewart reviewed the Braynard survey and came to the

 unqualified opinion that “Mr. Braynard’s conclusions are without merit.” (Id. ¶10).

 He explains the basis for his opinion in clear and understandable detail.

        Briggs’ analysis of Braynard’s report estimate that “29,611 to 36,529 ballots

 out of the total 139,190 unreturned ballots (21.27% - 26.24%) were recorded for

 voters who had not requested them.” Braynard says 834 people agreed to answer the

 question of whether they requested an absentee ballot. But he does not report how

 many respondents did not answer. More to the point, he does not explain how he

 confirms that these respondents understood what it meant for them to “request” an

 absentee ballot. Some might have gone to their local clerk’s office to vote, where

 they signed a form, received a ballot and voted, without realizing that that form is

 an absentee ballot “request.” Braynard concludes that certain people who failed to

 return a ballot never requested that ballot. But he does not address the possibility

 that the very people (139,190 out of more than 3.5 million) who would neglect to

 return a ballot would likely be those who might forget that they had requested one.

        Braynard offers a baffling array of inconsistent numbers. On Page 8 of his

 report, he refers to “96,771 individuals who the State’s database identifies as having


        22
          Dr. Stewart is uniquely suited to address these issues. He is a member of
 the Caltech/MIT Voting Technology Project and the founding director of the MIT
 Election Data and Science Lab.

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                            PageID
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 not returned an absentee ballot,” when for his first two opinions that number is

 139,190. On page 8, he reports a percentage of 15.37% not having mailed back their

 ballots, but on page 5 he identifies that percentage as 22.95%. Then, the actual

 numbers of individuals answering the question in that manner, described on page 8

 (241 out of 740), would establish a percentage of 32.56%. If this were not sloppy

 enough, at the top of page 9, he reports, with no explanation “Based on these results,

 47.52% of our sample of these absentee voters in the State did not request an

 absentee ballot.” Even if his percentages were completely off and inconsistent, the

 data would be meaningless. Braynard ignores Michigan election procedures when

 he declares that there is evidence of illegal activity because some voters are

 identified in the State’s database as having not returned an absentee ballot when

 those voters “did in fact mail back an absentee ballot.…” But, when millions of

 citizens voted absentee, some of those mailed ballots were not received by election

 day. He also does not consider the possibility of a voter either not remembering

 accurately or not reporting accurately whether a ballot was mailed.23

        Braynards’ analysis of address changes is equally invalid. He misrepresents

 how change of address notifications work. It is not at all uncommon for one person


        23
           A slightly modified version of the Briggs/Braynard analysis was rejected
 by the Bowyer court. Bowyer, 2020 WL 7238261, at *14 (“The sheer unreliability
 of the information underlying Mr. Briggs’ ‘analysis’ of Mr. Braynard’s ‘data’ cannot
 plausibly serve as a basis to overturn a presidential election, much less support
 plausible fraud claims against these Defendants.”).

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                         571677
                                                                            PageID
                                                                             43 of 56
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                                       1831



 to move and file a change of address that appears to affect more household members,

 or a person might file a change of address for convenience during a temporary period

 away from home, without changing their legal residence. Stewart Aff ¶ 21. Every

 year, tens of thousands of Michigan voters spend long periods of time in other states

 (e.g., Florida or Arizona) without changing their permanent residence or voting

 address. Clerks have procedures in place to address these issues. Even voters who

 do make a permanent move can vote at their prior residence for sixty days if they do

 not register to vote at their new address.24

    IV.      Plaintiffs’ Legal Theories Were Frivolous
        Rule 11 places the failure to plead colorable legal theories squarely on the

 attorney making the claim. In addition to pleading false allegations, this lawsuit has

 always been legally dubious.



        24
          It is not possible that these experts were simply negligent. They consistently
 ignore the obvious explanations for their so-called anomalies. For instance,
 Bouchard intentionally ignores the fact that unofficial results are released on a
 rolling basis, i.e. in “data dumps” accounting for hours of tabulation, to claim it was
 somehow anomalous for there to be large increases in the number of votes between
 data releases. Quinnell ignores the fact that voter turnout and preferences will change
 between elections based on the identities of the candidates, when he claims it was
 somehow anomalous for turnout to have increased for the 2020 election and for
 Biden to have picked up votes in suburban areas (a phenomenon seen throughout the
 country). He also ignores the well-known fact that urban core precincts in this
 country are strongholds for the Democratic Party, when he claims there was
 something anomalous about the fact that such precincts in Detroit strongly favored
 Biden. Many of these issues are addressed in the responses, and supporting exhibits,
 to Plaintiffs’ Motion for Temporary Restraining Order. ECF Nos. 31, 36 and 39.

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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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        First, even if there had been a semblance of truth to any of Plaintiffs’

 allegations, the lawsuit would still have been frivolous because the relief requested

 could, in no way, be supported by the claims. As this Court stated, the relief Plaintiffs

 seek is to “disenfranchise the votes of the more than 5.5 million Michigan citizens

 who, with dignity, hope, and a promise of a voice, participated in the 2020 General

 Election.” King, 2020 WL 7134198, at *1. Nothing Plaintiffs allege—or could

 allege—could lead to the “stunning” and “breathtaking” relief sought. See, e.g., Id.

 (Stating Plaintiffs “seek relief that is stunning in its scope and breathtaking in its

 reach.”)

        Second, there has never been a colorable basis for Plaintiffs’ attorneys to

 assert that the Plaintiffs had standing. The Complaint does not allege that Plaintiffs

 were denied the right to vote—an injury which would be particularized to the

 individual Plaintiffs—it alleges Plaintiffs’ votes were diluted. As numerous courts

 have concluded, a dilution theory does not satisfy the Article III requirements of

 causation and “injury in fact.” See, e.g., Georgia Republican Party v. Secy of State

 of Georgia, No. 20-14741, 2020 WL 7488181 (11th Cir. Dec. 21, 2020); Bognet v.

 Secy Commonwealth of Pennsylvania, 980 F.3d 336 (3rd Cir. Nov. 13, 2020).

        Importantly, as this Court concluded, even if Plaintiffs had met those two

 elements, the Plaintiffs would still not meet the redressability element, because “an

 order de-certifying the votes of approximately 2.8 million people would not reverse



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     2:20-cv-13134-LVP-RSW
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 the dilution of Plaintiffs’ vote.” King, 2020 WL 7134198, at *9. Counsel for

 Plaintiffs knew, or should have known, that their clients did not have Article III

 standing.

        Third, there was never a legitimate basis to believe the lawsuit could proceed

 in the face Eleventh Amendment immunity. The one possibly applicable exception,

 Ex Parte Young, “does not apply, however, to state law claims against state officials,

 regardless of the relief sought.” King, at *4 (citing Pennhurst State Sch. & Hosp. v.

 Halderman, 465 U.S. 89 (1984) and Ex Parte Young, 209 U.S. 123 (1908)). As this

 Court noted, the issue has been long settled by the Supreme Court. See Pennhurst,

 at 106. And, with respect to the § 1983 claim, before this lawsuit was filed “the

 Michigan Board of State Canvassers had already certified the election results and

 Governor Whitmer had transmitted the State’s slate of electors to the United States

 Archivist … [therefore] [t]here is no continuing violation to enjoin.” King, at *5.

        Fourth, there was never a basis to believe this case was not moot as of the date

 it was filed. As this Court stated, “[t]he Michigan Election Code sets forth detailed

 procedures for challenging an election, including deadlines for doing so … Plaintiffs

 did not avail themselves of the remedies established by the Michigan legislature.”

 Id., at *6. The deadline to pursue any such remedies had passed by the time the

 Complaint was filed, therefore, “[a]ny avenue for this Court to provide meaningful

 relief” was foreclosed from the start. Id.



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     2:20-cv-13134-LVP-RSW
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        Fifth, there was no reason for Plaintiffs’ counsel to believe the case would not

 be barred by laches. As this Court concluded, the relief sought was barred by laches

 because “Plaintiffs could have lodged their constitutional challenges much sooner

 than they did, and certainly not three weeks after Election Day and one week after

 certification of almost three million votes.” Id., at *7.

        Sixth, there was no reason to believe that alleging violations of the Michigan

 Election Code could support a claim for violation of the Elections & Electors

 Clauses. As this Court concluded, “Plaintiffs cite to no case—and this Court found

 none—supporting such an expansive approach.” Id., at *12.

        Seventh, there was no basis to believe that the allegations could support an

 equal protection claim. The equal protection claim “is not supported by any

 allegation that Defendants’ alleged schemes caused votes for President Trump to be

 changed to votes for Vice President Biden” with “the closest Plaintiffs get” being a

 statement by one affiant stating “I believe some of these workers were changing

 votes that had been cast for Donald Trump ...” Id. (citing to record). Similarly, “[t]he

 closest Plaintiffs get to alleging that election machines and software changed votes

 for President Trump to Vice President Biden in Wayne County is an amalgamation

 of theories, conjecture, and speculation that such alterations were possible.” Id.

 (citing to record). It was patently obvious from the day this lawsuit was filed, that

 “[w]ith nothing but speculation and conjecture that votes for President Trump were



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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                       1835



 destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’ equal

 protection claim fails.” Id., at *13 (citation omitted).

    V.      The Sanctions Which Should be Imposed Pursuant to Rule 11

         This lawsuit, and the lawsuits filed in the other states, are not just damaging

 to our democratic experiment, they are also deeply corrosive to the judicial process

 itself. When determining what sanctions are appropriate, the Court should consider

 the nature of each violation, the circumstances in which it was committed, the

 circumstances of the individuals to be sanctioned, the circumstances of the parties

 who were adversely affected by the sanctionable conduct, and those sanctioning

 measures that would suffice to deter that individual from similar violations in the

 future. Orlett v. Cincinnati Microwave, Inc., 954 F.2d 414 (6th Cir. 1992).

 Moreover, when considering the type of sanctions to impose, the Court should be

 mindful that the primary purpose of Rule 11 is to deter future, similar actions by the

 sanctioned party. Mann, 900 F.2d at 962.

         Accordingly, this Court should impose monetary sanctions against Plaintiffs

 and their counsel in an amount sufficient to deter future misconduct. See, e.g., INVST

 Financial Group, Inc. v. Chem-Nuclear Systems, Inc., 815 F.2d 391, 401 (6th Cir.

 1987) (courts have wide discretion in determining amount of monetary sanctions

 necessary to deter future conduct). Here, an appropriate sanction amount is, at the

 least, the amount that Plaintiffs’ counsel have collected in their fundraising



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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                             48 of 56
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                                       1836



 campaign, directly or through entities they own or control, for their challenges to the

 2020 election. They should not be allowed to profit from their misconduct.

          It is also appropriate for Plaintiffs and their counsel to pay all costs and

 attorney fees incurred by Defendants. See, e.g., id.; see also Roberson v. Norfolk

 Southern Railway Co., 2020 WL 4726937, at *7 (E.D. Mich. Aug. 14, 2020)

 (awarding costs incurred by Defendant as a sanction against Plaintiff and Plaintiff’s

 counsel for filing frivolous claims unsupported by law). In Stephenson v. Central

 Michigan University, No. 12-10261, 2013 WL 306514, at *14 (E.D. Mich. Jan. 25,

 2013), attorney fees and costs were awarded as sanctions after the plaintiff’s refusal

 to withdraw her frivolous claims during the 21-day safe harbor period provided by

 Rule 11. Sanctions were warranted because the plaintiff “brought a frivolous lawsuit

 which lacked evidentiary support, and continued to pursue her claims once the lack

 of support was evident ….” Id. The same applies here. Plaintiffs’ claims were

 frivolous from the start, yet they refused to withdraw them when provided the

 opportunity. As a result, Defendants should be reimbursed for their attorney fees and

 costs.

          Plaintiffs should also be required to post a bond of $100,000 to maintain their

 present (frivolous) appeal and for each additional appeal in this action. See, e.g., SLS

 v. Detroit Public Schools, No. 08-14615, 2012 WL 3489653, at *1 (E.D. Mich. Aug.

 15, 2012) (requiring the plaintiff to file $300,000.00 security bond).



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Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                       1837



        To protect against their future filing of frivolous lawsuits in this District,

 Plaintiffs and their counsel should be required to obtain pre-clearance by a

 magistrate judge of any proposed lawsuit. If the magistrate determines that the

 proposed claims are frivolous or asserted for an improper purpose, the plaintiff[s]

 would be required to post a bond before filing the proposed action in an amount the

 magistrate determines is sufficient to protect the defendant[s]. See, e.g., Feathers v

 Chevron U.S.A., Inc., 141 F.3d 26, 269 (6th Cir. 1998) (“There is nothing unusual

 about imposing prefiling restrictions in matters with a history of repetitive or

 vexatious litigation.”); see also, Ortman v. Thomas, 99 F.3d 807, 811 (6th Cir. 1996)

 (permanently enjoining plaintiff from filing action based on particular factual or

 legal claims without first obtaining certification from a United States Magistrate that

 the claim is not frivolous).

        Much of this brief addresses attorney misconduct, but this is the rare case

 where the Plaintiffs themselves deserve severe sanctions. Each plaintiff in this case

 is an experienced Michigan politician; each plaintiff was selected as a candidate to

 serve as a Trump elector; and, each plaintiff had to know that the Complaint is rife

 with false allegations. None of the Plaintiffs had any legitimate basis to believe any

 of the factual assertions in the Complaint, yet they signed on. And, indeed, they

 signed on to claims they had to know were false, including the numerous claims by

 their supposed experts.



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     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                       1838



        The Plaintiffs know that Michigan does not have party registration. They

 know that Michigan does not have “early voting.” They know that the nine counties

 identified as “outliers” because of larger raw vote shifts are simply some of the

 largest counties in the State. They know that the State does not mail ballots to voters.

 They know that it is common in Michigan for voters to vote absentee by appearing

 at the clerk’s office, signing an application, receiving a ballot and returning it, all on

 the same day. They know that some absentee ballots are mailed by voters but

 received too late to be counted. They know that counting fifty ballots eight or ten

 times (as alleged by Mellissa Carone) would be found and corrected at multiple

 stages of the tabulation and canvassing process. They know that there could not have

 been a hand recount in Antrim County before the lawsuit was filed. They know that

 absentee ballots took longer to tabulate than in-person ballots and that Biden

 supporters were more likely to vote absentee than Trump supporters. And, these

 experienced Michigan politicians know that their “experts” based their findings on

 disregarding all of these facts.

        In a case of this magnitude, intended to upend the election of the President of

 the United States, the Plaintiffs owed this Court the highest degree of due diligence

 before filing suit. Instead, there are only two possibilities—these six Plaintiffs did

 not read the Complaint and the expert reports supporting it; or, they did read the

 Complaint and the faulty expert reports and did not care that false representations



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     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
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                                                                             51 of 56
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 were being made to this Court. Either way, this case cries out for sanctions to deter

 this behavior in the future.

    VI.      Plaintiffs’ Counsel Should also be Disciplined and Referred to the
             Chief Judge for Disbarment

        In addressing attorney misconduct, the most important sanction here is not a

 Rule 11 sanction, but a disciplinary action pursuant to the Local Rules. The message

 must be sent that the Eastern District of Michigan does not tolerate frivolous

 lawsuits. The out of state attorneys appearing on the pleadings for the Plaintiffs never

 sought admission to the Eastern District of Michigan and never affirmed their

 acceptance of our Civility Principles. They have demonstrated their unwillingness

 to be guided by those principles, and they should be barred from returning to our

 courts.

        E. D. Mich. LR 83.20(a)(1) defines “practice in this court,” to include: “appear

 in, commence, conduct, prosecute, or defend the action or proceeding; appear in

 open court; sign a paper; participate in a pretrial conference; represent a client at a

 deposition; or otherwise practice in this court or before an officer of this court.”25

 “When misconduct or allegations of misconduct that, if substantiated, would warrant


        25
           The Rule requires that a “person practicing in this court must know these
 rules, including the provisions for sanctions for violating the rules.” Under 83.20(j)
 an attorney “who practices in this court” is subject to the Michigan Rules of
 Professional Conduct, “and consents to the jurisdiction of this court and the
 Michigan Attorney Grievance Commission and Michigan Attorney Discipline
 Board for purposes of disciplinary proceedings.”

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                                                                             52 of 56
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                                       1840



 discipline of an attorney” who is a member of the bar or has “practiced in this court”

 come to the attention of a judicial officer by complaint or otherwise, the judicial

 officer may refer the matter to: (1) the Michigan Attorney Grievance Commission,

 (2) another disciplinary authority that has jurisdiction over the attorney, or (3) the

 chief district judge for institution of disciplinary proceedings ...” LR 83.22.

        This case clearly warrants the full imposition of each disciplinary option in

 the Local Rules. This Court should enter an Order requiring Plaintiffs’ to show cause

 why they should not be disciplined. LR 83.22(d) authorizes the Court to levy

 punishments other than suspension or disbarment on a practicing attorney whose

 conduct has violated the Rules of Professional Conduct, the Local Rules, the Federal

 Rules of Civil or Bankruptcy Procedure, orders of the Court, or who has engaged in

 conduct considered to be “unbecoming of a member of the bar of this court.” In

 Holling v. U.S., 934 F. Supp. 251 (E.D. Mich. 1996), this Court levied monetary

 sanctions and a formal reprimand against counsel for raising frivolous arguments.

 “Enforcing Rule 11 is the judge’s duty, albeit unpleasant. A judge would do a

 disservice by shying away from administering criticism … where called for.” Id., at

 253 n. 6 (quoting Thomas v. Capital Sec. Servs., Inc., 836 F.2d 866, 878 (5th Cir.

 1988)). The conduct of Plaintiffs’ counsel in knowingly asserting false and frivolous

 claims while seeking relief with massive implications for our democracy warrants

 the strongest possible disciplinary action.



                                           36
                                                                              Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
                              Document
                              ECF No. 78,
                                      64-25
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                                       1841



        The Court should refer Plaintiffs’ counsel to the Chief Judge of this District

 for disbarment proceedings and to their state bars for disciplinary actions. It appears

 that only one of the Plaintiffs’ attorneys in the case—Greg Rohl—is admitted to

 practice in this District; he should be barred from further practice in the District.26

 The other attorneys should be prohibited from obtaining admission to this District

 or practicing in it in any manner, including, where, as here, they do not seek formal

 admission, but sign the pleadings.

        All Plaintiffs’ attorneys should also be referred for disciplinary proceedings

 to the Michigan Attorney Grievance Commission as well as to the disciplinary

 authorities in their home states (Sidney Powell, Texas; L. Lin Wood, Georgia; Emily




        26
          Greg Rohl is the one attorney for Plaintiffs currently admitted to the Eastern
 District of Michigan. He has previously been sanctioned for filing a case which was
 deemed “frivolous from its inception” and ordered to pay over $200,000 in costs and
 attorney fees. See DeGeorge v. Warheit, 276 Mich. App. 587, 589, 741 N.W.2d 384
 (2007). He was then held in criminal contempt and sentenced to jail—affirmed by
 the Court of Appeals—for attempting to transfer assets to evade payment. Id. The
 Court of Appeals noted that a bankruptcy court had concluded that Rohl “intended
 to hinder, delay and defraud … and create a sham transaction to prevent [a creditor]
 from reaching Rohl’s interest in his law firm through the appointment of a receiver.”
 Id. at 590. Rohl was also suspended by the Michigan Attorney Discipline Board in
 2016 based on his convictions for disorderly conduct, in violation of M.C.L. §
 750.1671F, “telecommunications service - malicious use, in violation of M.C.L. §
 750.540E” and based on his admissions to at least two additional allegations of
 professional misconduct. Ex. 21. Those prior sanctions and disciplines were
 insufficient to discourage Mr. Rohl from filing the case at bar, leaving this Court
 with only one way to stop his behavior—he should be barred from practice in the
 Eastern District of Michigan.

                                           37
                                                                             Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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 Newman, Virginia; Julia Halller, D.C.; Brandon Johnson, D.C.; Howard

 Kleinhendler, New York). Those authorities can determine the appropriate response.

        It is only by responding with the harshest possible discipline that these

 attorneys and those who would follow in their footsteps will learn to respect the

 integrity of the court system.

                                  CONCLUSION

        WHEREFORE, for the foregoing reasons, the City of Detroit respectfully

 requests that this Court enter an Order sanctioning Plaintiffs and their counsel and

 initiating disciplinary proceedings in the manner identified in the Motion.

  January 5, 2021                       Respectfully submitted,

                                        FINK BRESSACK

                                        By: /s/ David H. Fink
                                        David H. Fink (P28235)
                                        Darryl Bressack (P67820)
                                        Nathan J. Fink (P75185)
                                        Attorneys for City of Detroit
                                        38500 Woodward Ave., Ste. 350
                                        Bloomfield Hills, MI 48304
                                        Tel: (248) 971-2500
                                        dfink@finkbressack.com
                                        dbressack@finkbressack.com
                                        nfink@finkbressack.com

                                        CITY OF DETROIT
                                        LAW DEPARTMENT
                                        Lawrence T. Garcia (P54890)
                                        James D. Noseda (P52563)
                                        Attorneys for City of Detroit
                                        2 Woodward Ave., 5th Floor


                                          38
                                                                           Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
     2:20-cv-13134-LVP-RSW
           1:21-cv-01169-TCB Document
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                                       1843



                                       Detroit, MI 48226
                                       Tel: (313) 237-5037
                                       garcial@detroitmi.gov
                                       nosej@detroitmi.gov




                                         39
                                                                          Exhibit N
Case Case
     1:18-cv-05398-DLI-VMS
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                                                                             56 of 56
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                           CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 5, 2021, I electronically filed the

 foregoing document with the Clerk of the Court using the ECF system, which will

 send notification of such filing to all attorneys of record registered for electronic

 filing.

                                              FINK BRESSACK

                                        By:   /s/ Nathan J. Fink
                                              Nathan J. Fink (P75185)
                                              38500 Woodward Ave., Ste. 350
                                              Bloomfield Hills, MI 48304
                                              Tel.: (248) 971-2500
                                              nfink@finkbressack.com




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                 EXHIBIT W




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                                                                                                                                    DE
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                        IN THE SUPERIOR COURT                      FOR THE     STATE    OF
                                                                                                   DELAWARE
                                                                                                                                   OF
                                                                                                                               TE
          CARTER PAGE,           an individual,
                                                                                                                                    LA
                                                                   :
                            Plaintiff,                                 C.A. No. S20C-07-030
                                                                                            CAK

                 V.


          OATH INC.,    a   corporation,


                            Defendant.




                                                        RULE TO SHOW          CAUSE

                            Pursuant to Delaware Superior Court Civil Rule 90.1, the Court sua sponte is


          issuing this Rule to Show Cause why the permission to practice               in this case issued       to L. Lin


          Wood, Jr., Esquire should not be revoked.             The following appears to the Court:


                                     In
                            1)             this case alleging Defendant defamed Plaintiff,          the Court
                                                                                                              gave Mr.

          Wood permission pursuant           to Delaware Superior Court       Civil Rule    90.1   to appear   as attorney for


         Plaintiff, pro hac      vice by order dated August       18, 2020.   The order granted      Mr. Wood's motion,


         which contained the typical agreement to abide by all State and local rules, the Delaware


         Lawyers Rules of Professional Conduct'               and the Principles   of Professionalism      for Delaware


          Lawyers.



                                    It
                            2)                      to the Court that, since the granting
                                         appears                                            of Mr. Wood's motion             he,


         has engaged in conduct in other jurisdictions,            which, had it occurred in Delaware, would violate

         the Delaware   Lawyers'         Rules of Professional Conduct (“DRPC")..




                 'Prof. Cond. R. (Jan.         1,   2019).


                 Prim. Prof. (Nov.          1, 2003).




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                                                           Page3 1558
                                                                 of 5 PageID
                                                                       of 1677#: 18


                          3)       The Georgia Litigation

                                   а.   Mr. Wood        is   Plaintiff in the case of   L.   Lin Wood, Jr.   v.    Brad

         Rattensperger, et al., 2020 WL 6817513 (U.S. Dist. Ct., N. D. Georgia, Atlanta Division                           Nov.

         20, 2020.
                     In that   case, Mr. Wood sought,         inter alia, to prevent Georgia's certification of the


         votes   in the general election for President        of the United States.
                                                                                        In its   opinion denying the relief


         sought by Plaintiff, the Court said:


                          Viewed in comparison to the lack of any demonstrable harm to
                          Wood, this Court finds no basis in fact or law to grant him
                          the relief he seeks. (Emphasis supplied).


                          b.     Mr. Wood's conduct          in filing this suit which the Court found            had no basis     in


        "fact or law" may violate DRPC Rule 3.1:

                                               shall not bring or defend a proceeding, o assert
                                   "A lawyer                                             r in law and
                                   or controvert  an issue therein, unless there is a basis
                                   fact for doing so.."


                          с.       The False Affidavit

                                                        or caused    to be filed the affidavit of Russell James
                                   Mr. Wood     filed


         Ramsland, Jr. in the Georgia litigation which contained materially false information,


        misidentifying    the counties as to which claimed fraudulent voting information                  occurred.

                          d.      Mr. Wood's conduct in filing this false affidavit violates DRPC 1.1


        (Competence), 3.1 (Meritorious         Claims and Contentions), 3.3 (Candor to the Tribunal),                     4.1(a)

                                                                                        and Misconduct (Dishonesty
        (Truthfulness    in Statements/False Statement           of Material   Fact),                                         and


         Deceit).

                          4)      The Wisconsin Litigation

                                   Mr. Wood is one of several counsel for plaintiffs in the case of William


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     Case 1:21-cv-01169-TCBDocument
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                                                                  of 5 PageID
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          Feehan and Derrick     Van Orden                Wisconsin Elections Commission, et al.³
                                                                                                                  Inthat
                                                     v.
                                                                                                                            case it


          appears:

                                   a.         The suit was filed on behalf of              a    person    who had not authorized it.

                                   b.         The Complaint and related papers had multiple deficiencies
                                                                                                         as

          outlined in an order dated December 20, 2020 issued by The Honorable Pamela Pepper:


                                              (i)           The Order indicated the filings had been forwarded to
                                                            defensecounsel “..at the following addres..." with no
                                                           addresses     listed.


                                              (ii)          Documents were allegedly filed under seal, but
                                                                                                           were not.

                                              (iii)        The Complaint           requesting    a   temporary restraining order
                                                           was not verified or supported               by an appropriate affidavit,
                                                                                                                                    as
                                                           required by Court Rules.


                                          (iv)             The Complaint contained no certification
                                                                                                       of efforts to
                                                           notify the adverse parties, as required by Court Rules.


                                          (v)              Apparently,     a   motion for declaratory relief was filed in draft
                                                           form.


                                          (vi)             The papers filed in Wisconsin asked for various injunctive
                                                           remedies, but did not ask for a hearing.


                                          (vii)            While the pleadings, including a proposed order, asks for
                                                           emergency relief and an "expedited" injunction, nothing
                                                           indicates whether the plaintiffs were asking the Court to act
                                                           more quickly than normal, or why.

                                                     aresponse     to defendants' Motion to Dismiss, which
                                  с.
                                          In                                                               was not

         signed   by Mr. Wood, but which was filed while he
                                                            was one of the counsel                           of   record,   a   citation

         for a case, including a quotation was found by the Court to be fictitious.                         The citation was to        a



         point of law critical to the case.



                  $2020
                          WL 7250219 (U.S. Dist.            Ct., E.D. Wisc. (Dec. 9, 2020).


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                                    d.        The foregoing conduct in the Wisconsin case appears               to violate

                   1.1 (Competence),      3.1 (Meritorious   Claims and Contentions), 3.3 (Candor to the
          DRPC

          Tribunal),   4.1(a) (Truthfulness), and 8.4(c) (Misconduct).


                           5)       All of   the foregoing gives the Court
                                                                           concerns as to the appropriateness                  of
          continuing    the order granting Mr. Wood authorization         to
                                                                               appear in this Court pro hac vice.

                           6)       Mr. Wood and local counsel         shall have until January   6,   2021     to respond to

          this Rule to Show Cause.
                                          If defendant   has a position on the Rule, defendant shall          file   it   in


          writing by the same date.


                           7)      Currently in this case oral argument on Defendant's Motion to Dismiss


         is scheduled    for Wednesday, January 13, 2021        at   9:30 a.m.   The Court will hear counsel
                                                                                                             on that

         date in
                   response to this Rule to Show Cause.


                           IT   IS SO    ORDERED.




                                                              Craig A. Karsnitz
                                                                                 Kaen
          сс:      Prothonotary
                   All Counsel of Record




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                 EXHIBIT X




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                                                                         of 1677#: 1853




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                                                                         of 1677#: 1856




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      Case 1:21-cv-01169-TCBDocument
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                                                                         of 1677#: 1858




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                                                                   of 7 PageID
                                                                         of 1677#: 1859




                 EXHIBIT Y




                                                                          Exhibit N
         1/13/2021                                             Trumpist Lawyer Lin Wood Goes
                                                       Case 1:21-cv-01169-TCB                on Unhinged
                                                                                        Document         Rant Suggesting
                                                                                                      35-2               Justice John Roberts
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                                                                                                                                              a Murderous Pedophile
                                                                                                                                                    of 1677



               TRUMPLAND



               Trumpist Lawyer Lin
               Wood Goes on
Case 1:18-cv-05398-DLI-VMS Document 64-28 Filed 01/25/21 Page 2 of 7 PageID #: 1860




               Unhinged Rant
               Suggesting Justice
               John Roberts Is a
               Murderous Pedophile
                  QANON GONE WILD
               Wood has recently been in touch with President Trump, who has encouraged his election-
               stealing lawsuits and behavior.

               Justin BaragonaUpdated Dec. 31, 2020 10:22AM ET
               Contributing Editor Published Dec. 30, 2020 10:19PM ET




         https://www.thedailybeast.com/trumpist-lawyer-lin-wood-casually-suggests-chief-justice-john-roberts-is-a-murderous-pedophile?ref=scroll
                                                                                                                                                      Exhibit N       1/6
         1/13/2021                                             Trumpist Lawyer Lin Wood Goes
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                                                                                                                                              a Murderous Pedophile
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Case 1:18-cv-05398-DLI-VMS Document 64-28 Filed 01/25/21 Page 3 of 7 PageID #: 1861




                     Elijah Nouvelage/Reuters




                                                                 Pro-Trump lawyer Lin Wood ramped up the crazy
                                                                 on Wednesday night by suggesting Supreme
                                                                 Court Chief Justice John Roberts was somehow
                                                                 involved in Justice Antonin Scalia’s death and
                                                                 part of a child-sex cult.

                                                                 Wood, alongside on-again-off-again Trump
                                                                 campaign lawyer Sidney Powell, has been at the
                                                                 forefront of President Donald Trump’s hopeless
                                                                 attempt to overturn President-elect Joe Biden’s
                                                                 decisive victory in the Nov. 3 election. Besides
                                                                 filing a slew of conspiratorial lawsuits alleging
                                                                 election fraud that have been laughed out of court,
                                                                 Wood has urged Georgian Republicans not to
                                                                 votein next week’s pivotal Senate runoffs because
                                                                 of his belief that the election will be “rigged” and
                                                                 has filed an emergency petition with the Supreme
                                                                 Court to halt the Jan. 5 election.

                                                                 The QAnon-peddling attorney took things to a
                                                                 whole new level on Wednesday night, however,

         https://www.thedailybeast.com/trumpist-lawyer-lin-wood-casually-suggests-chief-justice-john-roberts-is-a-murderous-pedophile?ref=scroll
                                                                                                                                                      Exhibit N       2/6
         1/13/2021                                             Trumpist Lawyer Lin Wood Goes
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                                                                                                                                              a Murderous Pedophile
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                                                                 when he decided to take to Twitter and toss out a
                                                                 series of dangerously unhinged accusations.



                                                                                       A couple of more questions for Chief
                                                                                              Justice John Roberts:

Case 1:18-cv-05398-DLI-VMS Document 64-28 Filed 01/25/21 Page 4 of 7 PageID #: 1862


                                                                                      (1) You are recorded discussing Justice
                                                                                       Scalia’s successor before date of his
                                                                                        sudden death. How did you know
                                                                                             Scalia was going to die?


                                                                                       (2) Are you a member of any club or
                                                                                        cabal requiring minor children as
                                                                                                    initiation
                                                                                        fee? pic.twitter.com/jGxfgLCk4D
                                                                                      — Lin Wood (@LLinWood) December 31,
                                                                                                     2020



                                                                 “You are recorded discussing Justice Scalia’s
                                                                 successor before date of his sudden death. How
                                                                 did you know Scalia was going to die?” Wood
                                                                 asked Roberts in one tweet, casually adding: “Are
                                                                 you a member of any club or cabal requiring
                                                                 minor children as initiation fee?”

                                                                 After painting Roberts as a murderous pedophile,
                                                                 the far-right attorney went further down the
                                                                 QAnon rabbit hole by bringing up deceased sex
                                                                 trafficker Jeffrey Epstein, suggesting the chief
                                                                 justice was mixed up in trafficking children and
                                                                 apparently hinting that he may have had Epstein
                                                                 killed.


         https://www.thedailybeast.com/trumpist-lawyer-lin-wood-casually-suggests-chief-justice-john-roberts-is-a-murderous-pedophile?ref=scroll
                                                                                                                                                      Exhibit N       3/6
         1/13/2021                                             Trumpist Lawyer Lin Wood Goes
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                                                                                                                                              a Murderous Pedophile
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                                                                 “My information from reliable source is that
                                                                 Roberts arranged an illegal adoption of two young
                                                                 children from Wales through Jeffrey
                                                                 Epstein,” Wood tweeted. “I think we can all agree
                                                                 that Epstein knows pedophilia.”

                                                                 “If only Jeffrey Epstein was still alive . . . Wouldn’t
                                                                 that be something?” he wrote.
Case 1:18-cv-05398-DLI-VMS Document 64-28 Filed 01/25/21 Page 5 of 7 PageID #: 1863




                                                                 Not done, he finished by arguing that the lack of a
                                                                 defamation suit from Roberts meant his
                                                                 unfounded accusations were on the mark.




                                                                                         A bit more on CJ John Roberts.


                                                                                      I have publicly accused him & Justice
                                                                                      Breyer of being profane anti-Trumpers.


                                                                                          I have linked Roberts to illegal
                                                                                      adoption, Jeffrey Epstein, pedophilia &
                                                                                        prior knowledge of Scalia’s death.


                                                                                      Did Roberts skip class on defamation?


                                                                                                  Maybe not . . .
                                                                                      — Lin Wood (@LLinWood) December 31,
                                                                                                     2020



                                                                 Wood did not immediately respond to a request
                                                                 for comment on his allegations.

                                                                 The following morning, however, things only got
                                                                 weirder as Wood went further down the rabbit


         https://www.thedailybeast.com/trumpist-lawyer-lin-wood-casually-suggests-chief-justice-john-roberts-is-a-murderous-pedophile?ref=scroll
                                                                                                                                                      Exhibit N       4/6
         1/13/2021                                             Trumpist Lawyer Lin Wood Goes
                                                       Case 1:21-cv-01169-TCB                on Unhinged
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                                                                                                      35-2               Justice John Roberts
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                                                                                                                                              a Murderous Pedophile
                                                                                                                                                    of 1677
                                                                 hole, this time claiming Epstein "is alive" and
                                                                 could reveal the "truth" about Roberts.



                                                                                       I am fully aware of the onslaught of
                                                                                      attacks being made against me based
                                                                                      on my revelations about Chief Justice
Case 1:18-cv-05398-DLI-VMS Document 64-28 Filed 01/25/21 Page 6 of 7 PageID #: 1864


                                                                                       John Roberts. Before attacking me,
                                                                                      maybe fair-minded people would first
                                                                                           ask Roberts to tell the truth.


                                                                                        Or ask Jeffrey Epstein. He is alive.
                                                                                      — Lin Wood (@LLinWood) December 31,
                                                                                                     2020



                                                                 Despite many in Trump’s orbit declaring war on
                                                                 Wood after he pushed for a boycott of the Georgia
                                                                 Senate races, the president himself has personally
                                                                 kept in touch with the firebrand. Trump has not
                                                                 only encouraged Wood and Powell to continue
                                                                 with their “Kraken” lawsuits, but he also hasn’t
                                                                 told them to tone down their rhetoric, much to the
                                                                 dismay of many of Trump’s advisers.




                                                                 In recent weeks, with Trump’s election loss
                                                                 becoming harder to ignore for the MAGA
                                                                 faithful, Wood has also taken to encouraging
                                                                 apocalypse-minded conservatives to stock up on
                                                                 supplies in preparation for an impending civil
                                                                 war.


         https://www.thedailybeast.com/trumpist-lawyer-lin-wood-casually-suggests-chief-justice-john-roberts-is-a-murderous-pedophile?ref=scroll
                                                                                                                                                      Exhibit N       5/6
         1/13/2021                                             Trumpist Lawyer Lin Wood Goes
                                                       Case 1:21-cv-01169-TCB                on Unhinged
                                                                                        Document         Rant Suggesting
                                                                                                      35-2               Justice John Roberts
                                                                                                               Filed 05/03/21         PageIs1576
                                                                                                                                              a Murderous Pedophile
                                                                                                                                                    of 1677
                                                                 “Remember we only have 1 President at a time,”
                                                                 he tweeted while calling on his followers to prep.
                                                                 “Our leader is @realDonaldTrump, not Biden.”




Case 1:18-cv-05398-DLI-VMS Document 64-28 Filed 01/25/21 Page 7 of 7 PageID #: 1865




         https://www.thedailybeast.com/trumpist-lawyer-lin-wood-casually-suggests-chief-justice-john-roberts-is-a-murderous-pedophile?ref=scroll
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                                                                   of 3 PageID
                                                                         of 1677#: 1866




                  EXHIBIT Z




                                                                          Exhibit N
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Case 1:18-cv-05398-DLI-VMS Document 64-29 Filed 01/25/21 Page 2 of 3 PageID #: 1867




                                                                                                         Advertisement




                                                                                                         35 New Updates




                                                                                                         Advertisement



                           All                        Biden                           Conﬁrmation Hearings     Inauguration     Security          Trump

                   72 Posts                                                                                                                       SORT BY      Latest


                   3:56 p.m. ET, January 19, 2021

                   Federal prosecutors have charged over 100 people in Capitol Hill riot
                   From CNN's Paul Murphy and Katelyn Polantz


                   According to the Justice Department and unsealed court records, CNN has identiﬁed over 100
                   federal defendants that have been charged in the Capitol Hill riot.

                   Most charges are for unlawful or violent entry to restricted grounds of the Capitol, some
                   charges have revealed more serious allegations including heavily armed rioters and paramilitary

         https://www.cnn.com/politics/live-news/biden-inauguration-dc-security-01-19-21/h_f0f23b31ad528eca64bc64fb9b793a4d
                                                                                                                                                   Exhibit N            5/16
         1/21/2021                                                        (35) Federal
                                                       Case 1:21-cv-01169-TCB          prosecutors 35-2
                                                                                  Document         have charged
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                   group members around Washington, DC, on Jan. 6.                                                                                LIVE TV

                   On Tuesday, the dragnet brought in several new arrestees, including three people charged in
                   the ﬁrst major conspiracy case related to Oath Keepers who allegedly coordinated an e ort for
                   the siege in advance.
                                                                                                                                        A world-class ex
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                   3:55 p.m. ET, January 19, 2021
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Case 1:18-cv-05398-DLI-VMS Document 64-29 Filed 01/25/21 Page 3 of 3 PageID #: 1868




                   Biden's Defense secretary pick pledges to ﬁght "to rid our ranks of
                   racists and extremists"          Advertisement

                   From CNN's Michael Conte




                                                                                                  35 New Updates




                   Jim Lo Scalzo/Pool via AP




                   In his opening remarks for his conﬁrmation hearing, retired Gen. Lloyd Austin, President-elect
                   Joe Biden’s nominee to be Defense Secretary, pledged to “ﬁght hard… to rid our ranks of
                   racists and extremists.”
         https://www.cnn.com/politics/live-news/biden-inauguration-dc-security-01-19-21/h_f0f23b31ad528eca64bc64fb9b793a4d
                                                                                                                                                   Exhibit N    6/16
Case 1:18-cv-05398-DLI-VMS
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                                                                     of 27 of
                                                                           PageID
                                                                              1677 #: 1336




                  EXHIBIT K




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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                                             Page2 of
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                                                                         of 1677 #: 1337



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK




             -----------------------------X
                                          :
             ROSLYN LA LIBERTE,           :
                                          :            18-CV-5398 (DLI)(VMS)
                             Plaintiff,   :
                                          :            January 11, 2021
                                          :
                        V.                :            Brooklyn, New York
                                          :
             JOY REID,                    :
                                          :
                             Defendant.   :
             -----------------------------X


                 TRANSCRIPT OF CIVIL CAUSE FOR TELEPHONE CONFERENCE
                        BEFORE THE HONORABLE VERA M. SCANLON
                           UNITED STATES MAGISTRATE JUDGE

             APPEARANCES:

             For the Plaintiff:                 DAVID OLASOV, ESQ.
                                                LUCIEN L. WOOD, ESQ.


             For the Defendant:                 JOHN REICHMAN, ESQ.
                                                DAVID YEGER, ESQ.
                                                THEODORE BOUTROUS, ESQ.

             Audio Operator:


             Court Transcriber:                 ARIA SERVICES, INC.
                                                c/o Elizabeth Barron
                                                102 Sparrow Ridge Road
                                                Carmel, NY 10512
                                                (845) 260-1377



             Proceedings recorded by electronic sound recording,
             transcript produced by transcription service




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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                                    05/03/21Page
                                                             Page3 of
                                                                   1582
                                                                      27 PageID
                                                                         of 1677 #: 1338
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     1                   THE COURT:      La Liberte v. Reid, 18-CV-5398.

      2                  Let’s start with plaintiff’s counsel’s

      3   appearance.

      4                  MR. OLASOV:       David Olasov for Roslyn La

      5   Liberte and Lin Wood for Roslyn La Liberte.

      6                  MR. WOOD:      Yes, good morning, your Honor,

     7    this is Lin Wood.

     8                   THE COURT:      Hello.

     9                   All right, for the defendant?

    10                   MR. REICHMAN:       Good morning, your Honor.

    11    This is John Reichman from John Reichman Law, and I am

    12    joined by my colleague, David Yeger.                We also have our

    13    co-counsel from Gibson Dunn, who will introduce

    14    themselves.

    15                   MR. BOUTROUS:       Yes, your Honor.         This is

    16    Theodore Boutrous from Gibson Dunn & Crutcher for Ms.

    17    Reid, and I’m joined by my colleagues, Marissa Moshell

    18    and Marcellus McRea.

    19                   THE COURT:      All right.       So we’re here for

    20    the discovery issues since you’re back from the

    21    circuit.      So we have at 57 your proposed order and then

    22    at 58, the letter complaining about the initial

    23    disclosures.       I’ve read the letter.          I think it’s

    24    premature.      We don’t have a scheduling order and so you

    25    can complain that there wasn’t a need to have these



                                                                          Exhibit O
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                                    05/03/21Page
                                                             Page4 of
                                                                   1583
                                                                      27 PageID
                                                                         of 1677 #: 1339
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      1   initial disclosures done.            I know you submitted your

      2   initial -- proposed initial scheduling order having

      3   some earlier dates on there but they’re not the

      4   effective dates from a court order, so I’m just going

      5   to reset it.

      6                  Plaintiff, you should look at the criticism

      7   that the defendant is offering as to the alleged

      8   incompleteness of your initial disclosures and you

      9   should both have a conversation.              Then if you still

    10    can’t work it out, you can let me know.

    11                   Obviously, there’s a fairly extensive record

    12    already in this case on that legal issue.                  Is there

    13    anything anybody wants to say with regard to the merits

    14    that you think I should know.             Mostly, does it affect

    15    discovery, and then we’ll talk about the particulars of

    16    the discovery schedule.           So for plaintiff?

    17                   MR. OLASOV:       This is David Olasov.          Mr.

    18    Reichman and I have had a conversation in which I

    19    pointed out to him that the answer to the amended

    20    complaint that was filed after the Second Circuit’s

    21    decision in our view pleaded matters that we believe

    22    are foreclosed by the decision.              I’ve agreed to -- for

    23    plaintiff to provide them with a letter that indicates

    24    which defenses that they’ve raised we believe are

    25    foreclosed by this decision.             Of course, that has some



                                                                          Exhibit O
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                     64-13
                                        35-2Filed
                                              Filed
                                                  01/25/21
                                                    05/03/21Page
                                                             Page5 of
                                                                   1584
                                                                      27 PageID
                                                                         of 1677 #: 1340
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      1   bearing on the scope of discovery since there’s no

      2   point in having discovery on matters that are

     3    foreclosed by the decision.

      4                  THE COURT:      All right.       Defendants, your

     5    view?

      6                  MR. REICHMAN:       Well, we await the letter but

      7   I don’t think it’s really going to have an impact

      8   whatsoever on discovery.           In our view, I think the only

      9   defense that is arguably precluded is the legal defense

    10    with respect to whether the posts were opinion or not,

    11    but that wouldn’t be the subject of discovery in any

    12    event.

    13                   THE COURT:      All right.       And before we dive

    14    into the discovery, is there any possibility of having

    15    settlement discussions?           You’ve been at this for a

    16    while now.      Has there been anything?            I mean, you could

    17    have discussions with each other, you could have a

    18    mediator try to bridge whatever gap there is because

    19    you obviously having been doing this, what, since 2018?

    20                   MR. WOOD:      Your Honor, this is Lin Wood.             I

    21    think it’s standard handling, from my experience at

    22    least, that from the plaintiff’s perspective, the

    23    plaintiff is always willing to listen to any reasonable

    24    offer that a defendant makes.             But if the defendant has

    25    no interest, then obviously, our hands our tied.                    So I



                                                                          Exhibit O
Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page6 of
                                                                   1585
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                                                                         of 1677 #: 1341
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      1   would kind of throw the ball over to the defense to say

      2   if there’s an interest and, if so, if there are any

      3   suggestions on how a discussion could take place.                     If

      4   there’s no interest, then we obviously can just

     5    continue to move forward.

      6                  MR. REICHMAN:       This is John Reichman, your

      7   Honor.     I think for reasons that we set out already to

      8   the Court with respect to the initial disclosures, we

      9   don’t know of any real damages that the plaintiff has

    10    sustained.      And before even considering any kind of

    11    settlement, we need to know at least what the

    12    plaintiff’s damages are and the basis for them, and we

    13    could then take it from there.

    14                   THE COURT:      All right, so I’ll take that as

    15    a maybe and say that we’re going to set the dates --

    16                   MR. WOOD:      I like -- Judge, I appreciate

    17    someone who is always on the optimistic side.

    18                   THE COURT:      I try.     All right, what --

    19                   MR. REICHMAN:       Your Honor -- I’m sorry.

    20    There is another matter that we’d like to bring to the

    21    Court’s attention, and it involves Mr. Wood,

    22    plaintiff’s lead counsel.            Over the weekend, we have

    23    come across some very disturbing information about the

    24    conduct of Mr. Wood.          I’m sure you’re aware that since

    25    the election, Mr. Wood has been actively engaged in



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Case 1:18-cv-05398-DLI-VMS
       Case 1:21-cv-01169-TCB
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page7 of
                                                                   1586
                                                                      27 PageID
                                                                         of 1677 #: 1342
                                                                                      6



      1   attempting to overturn the election results.                   All of

      2   those cases have been dismissed.              There have also been

     3    sanctions and disqualification motions filed.

     4                   MR. WOOD:      I have not been sanctioned.

     5                   MR. REICHMAN:       Now Mr. Wood --

     6                   THE COURT:      One at a time.

      7                  MR. REICHMAN:       -- has taken an even far

      8   darker turn.       He is actively and has actively supported

      9   the insurrection against our government and called for

    10    the execution of the Vice President.

    11                   MR. WOOD:      Oh, nonsense.

    12                   MR. REICHMAN:       He’s been permanently barred

    13    from Twitter and his recent attempt to submit a post on

    14    Parler calling for the Vice President’s execution was

    15    not permitted.        In fact, the posting of his tweet on

    16    Parler was one of the reasons cited by Apple and Google

    17    to ban Parler from their platforms.               The right to

    18    appear pro hac vice in this District is a privilege and

    19    not a right, and we believe there are at least three

    20    reasons why that privilege should be revoked by the

    21    Court.

    22                   First, in New York, every attorney pledges

    23    to solemnly swear that he or she will support the

    24    Constitution of the United States.               Mr. Wood is seeking

    25    to undermine, not support the U.S. Constitution.                    His



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       Case 1:21-cv-01169-TCB
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                                        35-2Filed
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page8 of
                                                                   1587
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                                                                         of 1677 #: 1343
                                                                                      7



      1   call for violence in the streets and his tweets and

      2   public utterances have been an impetus of the

      3   insurrections to seize the Capitol.               It’s noteworthy

      4   that the last tweet of the woman shot at the Capitol,

      5   Ashley Babbitt, was a re-posting of one of Mr. Wood’s

     6    posts.

      7                  Second, in violation of the disciplinary

      8   rules, Mr. Wood has gone around the country filing

      9   utterly frivolous lawsuits based on outright lies and

    10    nonexistent legal theories.             In Delaware, a court has

    11    issued a show-cause order, citing his conduct in

    12    Wisconsin and Georgia actions, asking him to show cause

    13    why he should not be disqualified from practicing law

    14    in Delaware.       In Michigan, after the dismissal of the

    15    lawsuit he filed there, a motion has been filed seeking

    16    sanctions and disqualification and disbarment.

    17                   Third, Mr. Wood is actively threatening the

    18    well-being of the judiciary, especially Justice

    19    Roberts.      He has painted Justice Roberts as a murderous

    20    pedofile.      He suggested that the Chief Justice was

    21    mixed up in the death of Justice Scalia, was

    22    trafficking in children, and apparently hinting that he

    23    may have had Epstein killed if he was killed at all.

    24    He recently tweeted, “My information from reliable

    25    sources is that Roberts arranged an illegal adoption of



                                                                          Exhibit O
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       Case 1:21-cv-01169-TCB
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                                                  01/25/21
                                                    05/03/21Page
                                                             Page9 of
                                                                   1588
                                                                      27 PageID
                                                                         of 1677 #: 1344
                                                                                      8



      1   two children from Wales through Jeffrey Epstein.”

      2                  Now, as we all now clearly and sadly know,

      3   words can and will lead to violence.                So under the

      4   Disciplinary Rules at Section 8.3, we believe we have

      5   an ethical duty to report this matter to the Court and

     6    we would --

     7                   MR. OLASOV:       Who is speaking now?

     8                   MR. REICHMAN:       Please.

     9                   MR. OLASOV:       Who is speaking?

    10                   MR. REICHMAN:       John Reichman.

    11                   THE COURT:      Please stop, stop interrupting.

    12                   MR. REICHMAN:       And we welcome --

    13                   THE COURT:      All right, continue.

    14                   MR. REICHMAN:       So we welcome the Court’s

    15    guidance with respect to whether and how to further

    16    this issue.       You know, we are prepared to provide more

    17    information about Mr. Wood’s activity.                 I would add

    18    that all of these are matters of public record.                    It

    19    seems to us there are at least two options with respect

    20    to how to proceed.         We could submit a letter brief

    21    under your Honor’s rules directly seeking the

    22    revocation of the pro hac vice order.                The other way

    23    would be to present the information and ask the Court

    24    whether it could issue a show-cause order such as was

    25    done in Delaware.         That’s a procedure that some judges



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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1589
                                                                10 of of
                                                                      271677
                                                                         PageID #:
                                      1345
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   1    have used in considering the revocation of the right to

   2    practice.

   3                  THE COURT:      All right, let’s first hear from

   4    Mr. Wood.     Then we’ll talk about the procedure.

   5                  Go ahead, Mr. Wood.

   6                  MR. WOOD:      Thank you, your Honor.          It’s kind

   7    of hard to respond to such serious accusations when I

   8    am not at all sure about the accuracy of some of the

   9    things that have been said to the Court.                In fact, I

  10    know some of them are inaccurate.             And I have not been

  11    sanctioned by any court in 43 and a half years, not any

  12    court over the course of my career, nor any court now.

  13                  It’s almost like I’m being -- trying to make

  14    me into a scapegoat.         I’ve had nothing to do, number

  15    one, with what happened in Washington D.C.                I didn’t

  16    call for the people to go up there and meet, I didn’t

  17    call for anybody to go to the Capitol.               I certainly

  18    didn’t call for anybody to create a scene of what

  19    appeared to be some type of violence.               So whether this

  20    lady that died had re-tweeted me, I have no control

  21    over that.

  22                  What I can say to the Court and, if

  23    necessary, at the appropriate time, present to the

  24    Court is that what I have said publicly, I have

  25    reliable information to support the truth of it.                  What



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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1590
                                                                11 of of
                                                                      271677
                                                                         PageID #:
                                      1346
                                                                               10



   1    I have done with Sidney Powell is, she asked me to sign

   2    on to two or three lawsuits where she was the lead

   3    counsel, in anticipation that there may be a need for a

   4    trial lawyer.       I didn’t draft the lawsuits.            There were

   5    some typographical errors and things done in some of

   6    them that upset a judge in Wisconsin, I believe, maybe

   7    Michigan.     But if you had a full hearing on what

   8    happened there, I didn’t have anything to do with that,

   9    other than I did agree to sign on to help Sidney.

  10                  I know for a matter of fact that all of the

  11    information that Sidney Powell has presented in the

  12    litigation with respect to the fraud in the election,

  13    there is a mountain of admissible evidence in the form

  14    of affidavits, authenticated videos, expert evidence

  15    from reliable and credible experts.              So the lawsuits

  16    were filed as they are allowed to be filed.

  17                  The only other lawsuits that I’ve been

  18    involved in, I filed for myself as it related to the

  19    Georgia election, where I contended that the election

  20    was conducted illegally and in violation of precedent

  21    of the Supreme Court that requires that the election

  22    rules be set by the state legislature.               In Georgia,

  23    they conducted the election with absentee ballots and

  24    mail-in ballots based on a procedure that came up --

  25    that came up from a settlement agreement by the



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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1591
                                                                12 of of
                                                                      271677
                                                                         PageID #:
                                      1347
                                                                               11



   1    Secretary of State with the Democratic Party.                 It was

   2    never adopted by the legislature, so that any

   3    allegation that I filed a frivolous lawsuit is in fact

   4    frivolous.

   5                  The lawsuit that I have presently have is

   6    pending before the United States Supreme Court in a

   7    writ of certiorari.         It has not yet been ruled on but

   8    yet it’s been pending for some almost three weeks.

   9    They may still accept it.           So the Georgia litigation

  10    I’m involved in is certainly within the rules and the

  11    laws of this country.         The litigation that Sidney

  12    Powell has filed, where I’ve been asked to sign on to,

  13    is also based on legitimate causes of action, and I

  14    know for a fact based on a wealth of material and

  15    admissible evidence to support the allegations.

  16                  No court in any of the rulings -- no court

  17    for some reason has mentioned the evidence of the

  18    election fraud.       So there’s been no finding by any

  19    court that the evidence of election fraud is lacking.

  20    In fact, if they discussed it, they would have to say

  21    it was literally conclusive that there was fraud.                   So

  22    now I’m being attacked for taking legitimate actions as

  23    a lawyer, legitimate actions as a plaintiff in Georgia.

  24    They’re trying to pin on me the sad tragedy of what

  25    happened in Washington D.C., and now they’re even



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     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1592
                                                                13 of of
                                                                      271677
                                                                         PageID #:
                                      1348
                                                                               12



   1    saying that my tweet brought down Parler.                I’ve never

   2    heard of where one man -- I know the pen is mightier

   3    than the sword but what I tweeted about the Vice

   4    President was rhetorical hyperbole.              I did not call for

   5    any violence against any individual that would result

   6    in immanent harm or a serious threat of harm to that

   7    person.

   8                  I’ve seen tweets and posts where people have

   9    asked protestors to be shot.            I didn’t do that.           I’ve

  10    seen tweets where they hold the President’s head up

  11    where it’s been beheaded.           I didn’t do that.        So this

  12    is a matter of what’s in the eye of the beholder.                     What

  13    I did was, I posted a photograph of where a Capitol

  14    police officer had opened the doors to let people in

  15    that appear to be, and the evidence seems to be

  16    suggesting, were members of either Antifa or Black

  17    Lives Matter.       I posted the photograph of that and I

  18    said, they let them in.          They’re all traitors, get the

  19    firing squads ready, tense first.

  20                  Now, I don’t control firing squads.               I

  21    couldn’t run out and put together a firing squad and go

  22    shoot the Vice President.           But the law is that if you

  23    are guilty of treason, one of the penalties available,

  24    as publicly ratified recently in the last month by the

  25    Department of Justice is the death penalty by firing



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1593
                                                                14 of of
                                                                      271677
                                                                         PageID #:
                                      1349
                                                                               13



   1    squad, even by hanging.

   2                  If you look over and say that the doctor who

   3    commits an abortion is a murderer, that’s rhetorical

   4    hyperbole.      So what I said, because I know the law of

   5    defamation, my statement was rhetorical hyperbole.                   It

   6    was not intended, nor did anybody seriously think that

   7    that was a call to run out and put the Vice President

   8    in front of a firing squad.           But for some reason, my

   9    voice has reached a level, not because I wanted it to

  10    -- I’ve never sought recognition in my life as a

  11    lawyer.     I just do my job.        But for some reason, my

  12    voice has reached a level where many people listen to

  13    me.   That’s their choice.          But I talk about facts and

  14    truth, I don’t make things up.

  15                  But what I do differently than most I guess

  16    people that are voices to be heard is I relate almost

  17    all of what I say to people to my belief in God, so

  18    that my voice is one both of truth and a voice that

  19    talks about things from a faith basis.               So I’m entitled

  20    to those opinions and I don’t think I ought to be

  21    chastised and called upon to be put on trial in effect

  22    for doing what the law allows me to do and saying

  23    things that I believe are consistent with what I know

  24    to be the teachings of Jesus Christ.

  25                  So I’ve been accused of being crazy, nuts.



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1594
                                                                15 of of
                                                                      271677
                                                                         PageID #:
                                      1350
                                                                               14



   1    I’ve never read such things about me.               If you went back

   2    a few months ago, people would have told you I was the

   3    greatest, smartest defamation lawyer in the world.

   4    I’ve fought for truth and I’ve handled some big cases,

   5    starting with Richard Jewell in 1996, where I went up

   6    against the FBI and the media through representing a

   7    number of other people in high-profile cases.

   8                  I’ve had cases of success against CNN,

   9    Washington Post, a number of media outlets.                 I

  10    represent Nicholas Sandman (ph) and we’ve had very good

  11    success in Kentucky.         Nobody has complained about my

  12    conduct in Kentucky.         I just won a motion to dismiss

  13    against Gannett newspapers, and then I did some work

  14    when I formed a 501(c)(4) foundation this summer,

  15    #fightback.      The foundation’s purpose was, I thought

  16    and still believe that the country is undergoing a

  17    color revolution.        So I said our constitutional rights

  18    are going to be at risk and I formed that foundation

  19    to, in the future, be an advocate for maintaining and

  20    protecting our constitutional rights.

  21                  Right after I formed it, people asked me to

  22    help a young man named Kyle Rittenhouse.                I did.     I

  23    went out and I took the time and made the effort to

  24    raise two million dollars to make the boy’s cash bond

  25    in Kenosha.      Actually -- yeah, in Kenosha.            Then since



                                                                        Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1595
                                                                16 of of
                                                                      271677
                                                                         PageID #:
                                      1351
                                                                               15



   1    that time, I’m not doing anything with respect to

   2    raising any more money for Kyle, but I was trying to

   3    help the young boy because I believe, based on the

   4    video evidence, that the young man was exercising his

   5    right of self defense and he was in effect a political

   6    prisoner and he ought to be let out.              I was worried

   7    about them hurting him when he was in jail.

   8                  So if you want to, your Honor, look at these

   9    recent accusations against me, I would question why are

  10    they being made, who’s behind it?             But I would also

  11    urge the Court to take the time to look at the body of

  12    my life’s work for 43 years.            I love this country.         I

  13    love the rule of law.         I have never advocated that

  14    anyone should break the law.            I’ve advocated for people

  15    to follow the law.

  16                  I’ve been upset with what I’ve seen from the

  17    evidence about how this election was conducted.                  I

  18    believe it was a fraud.          Now, I’m not going to be the

  19    ultimate arbiter of that but I have the right to serve

  20    as a lawyer for people that do litigate it, and I have

  21    the right, in the case of Georgia, to be a plaintiff

  22    because I believe my constitutional right to vote has

  23    been diminished and it’s in violation of equal

  24    protection.

  25                  So how Lin Wood, the lawyer, has become now



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1596
                                                                17 of of
                                                                      271677
                                                                         PageID #:
                                      1352
                                                                               16



   1    Lin Wood, the guy that this man would sit there and

   2    represent to you is advocating the overthrow of our

   3    government, the death of our Vice President, and

   4    violence in the streets, you know, I can only say this:

   5    It’s errant nonsense.         I believe it’s part of a

   6    political agenda to harm me because of my message.                      If

   7    you can’t shoot the message because it’s solid, shoot

   8    the messenger.       That’s what they’re trying to do,

   9    Judge.    They’re trying to attack the messenger because

  10    they can’t attack the message.

  11                  THE COURT:      So --

  12                  MR. WOOD:      So I would ask for at least -- if

  13    the Court is interested in hearing all of this stuff, I

  14    believe I’m entitled to due process and an opportunity

  15    to respond to, with evidence and other information, any

  16    type of accusation that’s made against me before your

  17    Honor does something that has never been done to me.

  18    I’ve practiced law in 27 states.             Even in Michigan, the

  19    City of Detroit is trying to get me disbarred.                   Why?

  20    I’m not a member of the Michigan Bar.               They’re taking

  21    action -- they’re saying that I ought to be sanctioned

  22    in Delaware for what I did in Wisconsin.                Well,

  23    Wisconsin hasn’t taken any action against me.                   So

  24    something is not right about this, your Honor, and I

  25    hope that you’ll treat me fairly because I’ve spent my



                                                                        Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1597
                                                                18 of of
                                                                      271677
                                                                         PageID #:
                                      1353
                                                                               17



   1    life working for the law, representing people that

   2    needed help, putting them first and myself second.

   3                  MR. McRAE:      Your Honor --

   4                  MR. WOOD:      So I would -- I would simply end

   5    by saying I’m entitled to respond with due process to

   6    any of these accusations being made against because

   7    they’re false.       I reject the idea that I’m a scapegoat

   8    in all of this.       I think it’s an effort to hurt the

   9    messenger because the message frightens them.                 I don’t

  10    know.    That’s up to them to decide.

  11                  THE COURT:      So the question --

  12                  MR. McREA:      Your Honor, Mr. Boutrous got

  13    dropped from the call.          I’m sorry to interrupt.          This

  14    is Mr. McRea.

  15                  THE COURT:      Okay.

  16                  MR. McREA:      I wouldn’t interrupt, except my

  17    partner got dropped from the call and the host has to

  18    let him back in.        He got dropped a while ago but I

  19    didn’t want to interrupt.

  20                  THE CLERK:      I can do that.        The only problem

  21    is, the other conference will be let in as well, Judge.

  22                  THE COURT:      That’s fine.       If you do that,

  23    then I’ll ask them to --

  24                  THE CLERK:      Okay.

  25                  THE COURT:      -- not to speak.



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1598
                                                                19 of of
                                                                      271677
                                                                         PageID #:
                                      1354
                                                                               18



   1                  MR. McREA:      Thank you, your Honor.

   2                  THE CLERK:      It takes a few minutes.

   3                  MR. REICHMAN:       Your Honor, if I may --

   4                  THE COURT:      Hold on, just wait until

   5    everybody is back.

   6                  MR. BOUTROUS:       I’m back.      Thank you, your

   7    Honor.

   8                  THE COURT:      We only heard one person come

   9    in.   If anyone is on --

  10                  MR. BRAND:      Your Honor, Ian Brand (ph) for

  11    plaintiff in the Hargrave/State Farm litigation.

  12                  THE COURT:      If you’re on for Hargrave, just

  13    mute yourself.       We’re not on the Hargrave case yet.

  14                  MR. BRAND:      Okay.

  15                  THE COURT:      We have probably another five or

  16    ten minutes on what we’re talking about now.                 It’s up

  17    to you.     You can stay on or you can call back in a

  18    couple of minutes, whatever you like.

  19                  MR. BRAND:      I’ll mute.

  20                  THE COURT:      So on this point about whether

  21    plaintiff’s counsel should continue as counsel in this

  22    case, I think the cleanest posture of this would be, if

  23    the defendants want to make a motion to disqualify or

  24    revoke the pro hac grant, then you can do that.                  Let’s

  25    then have a schedule for your papers and counsel’s



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1599
                                                                20 of of
                                                                      271677
                                                                         PageID #:
                                      1355
                                                                               19



   1    papers, and a brief reply if that’s what you want.                   I

   2    think it’s a serious set of allegations so if you’re

   3    pursuing it, I think -- yes, I agree, I normally do

   4    things by letter motion but this probably should have

   5    some more formality.

   6                  So on the defendant’s side, if you’re going

   7    to do this motion, what do you think, two weeks?

   8                  MR. REICHMAN:       That would be fine.

   9                  THE COURT:      All right.      So you will serve

  10    your papers by the 25 th of January.

  11                  And then, plaintiff’s counsel, if you want

  12    to respond, can you do that by the 8 th ?

  13                  MR. WOOD:      The date for the defense’s papers

  14    would be when?

  15                  THE COURT:      The 25 th .

  16                  MR. WOOD:      The 25 th ?    And then two weeks for

  17    us to respond on the 8 th ?        Is that what I understood?

  18                  THE COURT:      Yes.    And then a reply by -- is

  19    the 15 th a holiday weekend that weekend?

  20                  MR. REICHMAN:       Yes, the 15 th if Presidents’

  21    Day.

  22                  THE COURT:      So the 16 th for your reply.

  23                  MR. REICHMAN:       Okay.     Thank you, your Honor,

  24    that works for us.

  25                  THE COURT:      All right.      Now let’s talk about



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1600
                                                                21 of of
                                                                      271677
                                                                         PageID #:
                                      1356
                                                                               20



   1    the discovery schedule.          In terms of the initial

   2    disclosures, they should both -- both of your sets of

   3    papers should be exchanged by the same date.                 Except

   4    for this motion practice, I would say two weeks is

   5    enough time given the length of time that this case has

   6    been pending, so you can tell me.             What I want

   7    obviously is that before you raise anything with me,

   8    that you speak with each other about it.

   9                  MR. REICHMAN:       Yes, your Honor.        This is

  10    John Reichman again.         We did -- each side has already

  11    served the initial disclosures.

  12                  THE COURT:      Yes.

  13                  MR. REICHMAN:       I don’t think the plaintiff

  14    has any problem with our disclosures and our problem is

  15    limited to the disclosure with respect to damages, as

  16    we’ve laid out.       So I’m not sure if -- so I’m not sure

  17    where that puts us in terms of what you are suggesting.

  18                  THE COURT:      So let’s say you try to work out

  19    your concerns about the damages and have a date --

  20    today is the 11 th .     By the 29 th of January, a revised,

  21    complete set of the initial disclosures.                And then if

  22    you still have your concerns about the damages issues

  23    or any other issues, you can raise it as you go.

  24                  Then initial document requests and

  25    interrogatories -- defendants, you’ve said you’ve done



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1601
                                                                22 of of
                                                                      271677
                                                                         PageID #:
                                      1357
                                                                               21



   1    it, and plaintiff, you’re going to.              You can start

   2    obviously responding as you like but the time line for

   3    when those responses are due -- we’ll count off.                    So

   4    I’m going to put you down as the same date.                 So by

   5    February 8 th , thirty days from there.            Is there any

   6    possibility of joinder or amendment at this stage,

   7    given again how long this has been around for?

   8                  MR. OLASOV:       We don’t think so.

   9                  MR. REICHMAN:       I don’t think either side --

  10    we don’t, either.

  11                  THE COURT:      Okay, all right, so we’ll just

  12    leave that as it is.         All right, the fact discovery

  13    date is fine.       I’m going to change some of the dates

  14    for the expert disclosures.           So the expert disclosure

  15    should be provided with the close of fact discovery,

  16    and I’ll just tell you how I look at it.                I don’t know

  17    if this is going to match with what you have as a

  18    general matter.

  19                  The way I would see it is, whoever is

  20    carrying the burden of proof or raising an issue

  21    uniquely -- so for example, if one of those defenses

  22    that was mentioned required the burden of proof and you

  23    were offering an expert with regard to that, that’s the

  24    moving report, the initial report.              So if you fall into

  25    that category, your initial report disclosures would be



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1602
                                                                23 of of
                                                                      271677
                                                                         PageID #:
                                      1358
                                                                               22



   1    due May 31 st , and then we’ll put the June 30 th date for

   2    the initial report, so that’s 7(b) on this list.                  Then

   3    I will for now leave 8/6 as the rebuttal.                I think it

   4    depends on what the topics are, whether a month is a

   5    reasonable turnaround time or not.              I don’t know yet

   6    and we don’t need to figure it out on this call.                  We’ll

   7    have a status conference before you get to that.                  Then

   8    the other dates you have are largely -- they’re all

   9    fine.

  10                  So with the text order that comes out of

  11    this conference, we’ll have a status conference set

  12    sometime in April.        And then a week or a little more

  13    than a week before that, I’ll ask you for -- submit a

  14    letter letting me know what you’ve covered, what you

  15    still have to cover.         And then particular at that

  16    point, I would like to know, are you going to have

  17    expert discovery or not?          If you’re not, then many of

  18    these dates will be moved up.            You won’t need the

  19    couple of months that are indicated on the schedule for

  20    that.

  21                  A pretrial conference, that will be with the

  22    district judge.       You have dates here that you put in

  23    for having a demand and a response, and I see that

  24    you’re not asking for ADR at this point.                If you change

  25    your mind and you want a referral to ADR, we could give



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1603
                                                                24 of of
                                                                      271677
                                                                         PageID #:
                                      1359
                                                                               23



   1    you that.

   2                  A couple of other things.           Let me just pull

   3    up the docket here.         So you do have a jury demand.

   4    Again, this is something we can talk about more in the

   5    future.     But as you can imagine, the trial calendar is

   6    quite backed up.        Just so you know, there haven’t been

   7    many trials here since March of last year and the

   8    general preference will be given to criminal trials

   9    over civil trials.        The (ui) that was taken in the fall

  10    when we were having trials was to have a criminal trial

  11    calendar and a backup civil trial-ready calendar.                   So

  12    basically, if the criminal cases pled out, we would

  13    bring the civil cases in because the jurors have been

  14    summoned and we could move along that way.

  15                  I imagine in this case, there will be some

  16    motion practice.        So this issue of when you’re having a

  17    jury trial, if you’re having a jury trial, may be a

  18    ways out.     To the extent you’re thinking about how long

  19    you’re going to be litigating this, if you’re

  20    envisioning a trial at the end or almost the end, it’s

  21    going to be a while.         So just take that into account

  22    when you’re thinking about whether you want to have

  23    settlement discussions or not.

  24                  All right, anything else?           Let me just say,

  25    if you have (ui) on the way, for example if you don’t



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1604
                                                                25 of of
                                                                      271677
                                                                         PageID #:
                                      1360
                                                                               24



   1    resolve your question of what damages information needs

   2    to be turned over, you can raise it, preferably by a

   3    joint letter.       Other issues we should talk about?

   4                  MR. WOOD:      Your Honor, this is Mr. Wood.

   5    Because I’m not the best note taker in the world --

   6                  THE COURT:      There will be an order.

   7                  MR. WOOD:      Could I ask the Court to also

   8    have, and we’ll certainly pay whatever cost, an

   9    expedited transcript of this hearing prepared and filed

  10    with the record of the Court?

  11                  THE COURT:      So we’ll do two things:           There

  12    will be a text order coming out of this and on the text

  13    order, it will have the time stamp for the recording.

  14    If you look on our court’s website, there’s a number

  15    for ESR, which is our transcription service, and you

  16    order the transcript there.           They give different rates

  17    for the speed at which they do it, so I think you have

  18    a couple of options with regard to the turnaround time.

  19                  MR. WOOD:      I bet the sooner you ask for it,

  20    the more it costs, as it should.

  21                  THE COURT:      Yeah.     It’s quite a difference

  22    and you can decide what you need.

  23                  Okay, anything else?

  24                  MR. REICHMAN:       No, your Honor.

  25                  THE COURT:      All right, take care, Happy New



                                                                      Exhibit O
Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1605
                                                                26 of of
                                                                      271677
                                                                         PageID #:
                                      1361
                                                                               25



   1    Year.

   2                  MR. OLASOV:       Thank you very much, your

   3    Honor.

   4                  MR. WOOD:      Thank you very much, your Honor.

   5                                * * * * * * *

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Case Case
     1:18-cv-05398-DLI-VMS
           1:21-cv-01169-TCB Document
                              Document64-13
                                       35-2 Filed 05/03/21
                                                  01/25/21 Page 1606
                                                                27 of of
                                                                      271677
                                                                         PageID #:
                                      1362
                                                                               26



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  18           I certify that the foregoing is a correct

  19    transcript from the electronic sound recording of the

  20    proceedings in the above-entitled matter.

  21

  22

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  24

  25   ELIZABETH BARRON                                 January 12, 2021



                                                                      Exhibit O
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1607Fulton County Superior Court
                                                                   of 1677
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                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA

NICOLE WADE; JONATHAN GRUNBERG;
TAYLOR WILSON;
WADE, GRUNBERG & WILSON, LLC;

Plaintiffs,
                                                                               2020CV339937
                                                        Civil Action File No:______________
v.
                                                        JURY TRIAL DEMANDED
L. LIN WOOD and L. LIN WOOD, P.C.,

Defendants.



                                   VERIFIED COMPLAINT

        COME NOW Nicole Wade, Jonathan Grunberg, Taylor Wilson, and Wade, Grunberg &

Wilson, LLC (collectively, “Plaintiffs”), and file this their Verified Complaint against

Defendants L. Lin Wood and L. Lin Wood, P.C. (collectively, “Defendants”), showing the Court

as follows:

                                       INTRODUCTION

                                                1.

        This lawsuit arises out of the breach of a Settlement Agreement and General Release

executed by the Parties on March 17, 2020 (the “Settlement Agreement”). A true and correct

copy of the Settlement Agreement is attached hereto as Exhibit A. 1




1
  Certain portions of the Settlement Agreement have been redacted for client confidentiality
purposes, including the liquidated sum owed to Plaintiffs under the Settlement Agreement.
Contemporaneous with serving this Complaint, Plaintiffs are serving discovery upon Defendants
and third parties to allow for the disclosure of the liquidated sum. Plaintiffs will promptly amend
the Complaint to provide the liquidated sum as soon as permitted.
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     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1608 of 1677




                                                2.

        The parties to the Settlement Agreement are all attorneys who practiced law successfully

together in the firm of L. Lin Wood P.C. (hereinafter “LLW PC”) for a number of years, working

on many cases together, including each of the cases identified in the Settlement Agreement.

                                                3.

        In early 2020, due to the erratic, abusive, and unprofessional behavior of Defendant L.

Lin Wood (hereinafter “Wood”) as described herein, Plaintiffs sought to leave Defendant LLW

PC and entered into the Settlement Agreement rather than litigate – and despite – the issues

described herein. Indeed, Plaintiffs Wade, Grunberg, and Wilson made significant financial

concessions in the Settlement Agreement, despite having no legal obligation to do so,

specifically to avoid filing this lawsuit in favor of protecting the privacy of Defendant Wood and

various third parties.

                                                4.

        Pursuant to the Settlement Agreement, Defendants owe Plaintiffs a liquidated sum arising

from the fees for certain cases and eventual resolution of other business disputes as set forth in

the Settlement Agreement.

                                                5.

        The amount owed to Plaintiffs is owed by Defendants out of fees they have already

collected from clients for work performed by Plaintiffs when they were lawyers at LLW PC;

thus, enforcement of Defendants’ payment obligations under the Settlement Agreement does not

require clients to pay fees beyond those paid to Defendants. And, indeed, it does not involve

clients at all.




                                                2
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1609 of 1677




                                                6.

        Defendants have failed to honor the terms of the Settlement Agreement and further

advised Plaintiffs that they will not make the payment required by the Settlement Agreement.

                                                7.

        Defendants’ stated position for breaching the Settlement Agreement is that the individual

Plaintiffs “were not in Lin’s firm [LLW PC] at any time relevant” to the cases addressed in the

Settlement Agreement but only “shared office space and worked on cases with LLW PC” and,

thus, client consent is required to split fees with said Plaintiffs, pursuant to Georgia Rule of

Professional Conduct 1.5.

                                                8.

        Defendants’ position that Plaintiffs Wade, Grunberg, and Wilson were never associated

with Defendant LLW PC is apparently based solely on the fact that each Plaintiff received his or

her compensation from Defendant LLW PC via separate LLCs, each owned only by the

individual Plaintiffs, for which Defendants issued 1099s rather than W-2s, which is not only

irrelevant to the issue, but also was an act taken by Defendants solely in their own discretion for

the apparent purpose of not having to account for taxes on compensation paid to Plaintiffs Wade,

Grunberg, and Wilson, who were required to account for their own income taxes via separate

LLCs.

                                                9.

        Defendants have taken this position to avoid payment of the largest fee identified in the

Settlement Agreement – the one case which, because of the size of its fee, was the primary

motivation for the parties to enter into the Settlement Agreement (the “Disputed Case”).

Defendants were at the time of the Settlement Agreement and remain to this day lead counsel on



                                                3
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1610 of 1677




this case. Defendants now contend that this client has refused consent for Plaintiffs Wade,

Grunberg, and Wilson to be paid the fee split Defendants agreed to in the Settlement Agreement

– even though the entire fee has already been paid to Defendant LLW PC, and the division of

compensation between the former lawyers of LLW PC should not involve clients in any way.

                                                10.

       The bad faith of Defendants’ position is plain from every fact attendant to the parties’

relationship and practice of law. For instance, Defendants acknowledged Wade’s, Grunberg’s,

and Wilson’s status as lawyers and partners of Defendant LLW PC by:

       (a) Creating, or causing to be created, Defendant LLW PC’s website, which identified

          Wade, Grunberg, and Wilson as partners of LLW PC;

       (b) Making public announcements via the Fulton County Daily Report, the State Bar

          Journal, and other publications regarding each individual Plaintiff’s hiring and/or

          promotion to partners of Defendant LLW PC;

       (c) Allowing and directing countless representations to be made to many courts, both

          federal and state, that each individual Plaintiff was a member of Defendant LLW PC

          by virtue of every filing by any of the individual Plaintiffs and every hearing, trial,

          deposition, mediation, and/or arbitration attended by any individual Plaintiff;

       (d) Drafting, or causing to be drafted, countless engagement agreements entered into by

          Defendant LLW PC wherein one or more of the individual Plaintiffs were identified

          as lawyers of LLW PC who would be working on that client’s matter;

       (e) Providing to the individual Plaintiffs business cards identifying each individual

          Plaintiff as an attorney of LLW PC;




                                                4
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1611 of 1677




       (f) Providing each of the individual Plaintiffs with email addresses at LLW PC’s domain

           “linwoodlaw.com”;

       (g) Making countless introductions in court, in depositions, to clients, and to third parties

           of each of the individual Plaintiffs as “Partners” of LLW PC;

       (h) Drafting countless emails, texts, tweets, and conversations over a period of years

           acknowledging and holding out the individual Plaintiffs as “Partners” of Wood and

           LLW PC; and

       (i) Expressly acknowledging in the Settlement Agreement that Plaintiffs Wade,

           Grunberg, and Wilson “never held any ownership interest in L. Lin Wood, P.C.

           (hereinafter “LLW PC”) but have worked as lawyers of L. Lin Wood, P.C. on cases

           since 2018.”

                                               11.

       Thus, despite the avalanche of evidence to the contrary and their agreement in the

Settlement Agreement, Defendants now apparently contend that Plaintiffs Wade, Grunberg, and

Wilson were not “associated in a law firm” with Defendant Wood.

                                               12.

       It is now clear that Defendants committed fraud because they never intended to pay the

majority of the money they owe to Plaintiffs under the Settlement Agreement. Defendants’

fraudulent intent is evidenced in their first draft of the Settlement Agreement which contained a

false recital that was a poison pill, as it mirrors Defendants’ now-stated reason for breaching the

contract: “Nicole Wade, Jonathan Grunberg, and Taylor Wilson and L. Lin Wood, P.C. are

lawyers who practiced law, co-counseled cases, and shared office space together.”




                                                5
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1612 of 1677




                                                13.

       The Parties heavily negotiated Defendants’ false recital about Plaintiffs Wade, Grunberg,

and Wilson working as partners of Defendant LLW PC, ultimately resulting in the statement that

Plaintiffs “have worked as lawyers of L. Lin Wood, P.C. on cases since 2018.” (Ex. A emphasis

added). The attention Defendants cast on this detail reveals their fraudulent intent.

                                                14.

       Defendants’ breach of contract was premeditated; Defendant Wood never intended to

make the payment required by the Settlement Agreement as he has repeatedly sworn since

February 10, 2020 and as quoted herein.

                                                15.

       Defendants’ bad faith in entering into a contract under which they never intended to

perform, as shown herein, demonstrates that they fraudulently induced Plaintiffs to enter into the

Settlement Agreement so that they could exact financial concessions from Plaintiffs for which

Plaintiffs had no legal liability in exchange for finally obtaining Defendants’ false promise to pay

to Plaintiffs a larger sum, to which they were entitled, which Defendants never ultimately

intended to pay.

                          PARTIES, JURISDICTION AND VENUE

                                                16.

       Plaintiff Nicole Wade (“Wade”) is a citizen and resident of the State of Georgia.

                                                17.

       Plaintiff Jonathan Grunberg (“Grunberg”) is a citizen and resident of the State of

Georgia.




                                                 6
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1613 of 1677




                                                 18.

       Plaintiff Taylor Wilson (“Wilson”) is a citizen and resident of the State of Georgia.

                                                 19.

        Plaintiff Wade, Grunberg & Wilson, LLC (“WGW LLC”) is a limited liability company

registered to transact business in the State of Georgia. Its principal place of business is located in

Fulton County, Georgia 30309. Its only members are Plaintiffs’ individual LLCs: Wade Law,

LLC, J.D. Grunberg, LLC, and G. Taylor Wilson, LLC, each a single member Georgia limited

liability company, owned solely by the individual Plaintiff identified in the LLC name.

                                                 20.

       Defendant L. Lin Wood (“Wood”) is a citizen of the State of Georgia and a resident of

Fulton County, Georgia and may be served at his residence at



                                                 21.

       Defendant L. Lin Wood P.C. (“LLW PC”) is a professional corporation registered to

transact business in Georgia. L. Lin Wood, P.C. may be served through its Registered Agent, L.

Lin Wood, 1180 West Peachtree Street, Suite 2040, Atlanta, Fulton County, Georgia 30309. Its

only shareholder is individual Defendant Lin Wood.

                                                 22.

       Pursuant to O.C.G.A. § 15-6-8 and GA. CONST. art. VI, § 4, ¶ I, this Court has

jurisdiction over this action and over Defendant Wood, a resident in Fulton County, Georgia, and

Defendant LLW PC, a corporation operating in Fulton County and whose registered agent is

located in Fulton County, Georgia.       All actions giving rise to the basis of this Complaint




                                                  7
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1614 of 1677




occurred in Fulton County, Georgia, and pursuant to O.C.G.A. §14-2-510(b)(4), venue is proper

in this Court.

                                   STATEMENT OF FACTS

                        Detailed Facts Pertinent to Breach of Contract

                 Background of Plaintiffs’ Association with Defendant LLW PC

                                                23.

       Plaintiffs Wade, Grunberg, Wilson, and Defendant Wood are lawyers who are licensed to

practice law in the State of Georgia.

                                                24.

       In or around September 2014, Plaintiff Grunberg was hired as an associate – a W-2

employee – by Defendant LLW PC when Wood’s former firm, Wood, Hernacki & Evans, LLC

disbanded.

                                                25.

       In May 2015, Plaintiff Wade joined LLW PC as a Partner.

                                                26.

       Effective May 2015, Plaintiff Wade and Defendant LLW PC entered into an agreement

titled “Agreement for Nicole Jennings Wade to Join L. Lin Wood, P.C.” with a term sheet

providing, in material part, that “Nicole will join L. Lin Wood, P.C. between May 11, 2015 and

June 15, 2015,” that “Nicole will agree to work full-time and exclusively for L. Lin Wood, P.C.,”

that she will join “L. Lin Wood, P.C. as a ‘Partner,’” and that “[t]he structure, and Nicole’s

partnership, will be re-evaluated, and potentially re-negotiated, after one year.”




                                                 8
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1615 of 1677




                                               27.

       Defendants’ hiring of Wade as a partner was announced in the Fulton County Daily

Report (the “Daily Report”), stating as follows: “Trial law firm L. Lin Wood, P.C. has added

Nicole Jennings Wade as a partner from Bryan Cave—the fourth lawyer for the firm. Wade

handles fiduciary, trust and estate, and general business litigation. Until now, she had practiced

at Bryan Cave and predecessor firm Powell Goldstein for her 20-year legal career.”

                                               28.

       Defendants also arranged for an email blast from the Daily Report as follows:




                                               29.

       Plaintiff Wilson was hired as an associate – a W-2 employee – by Defendant LLW PC in

November of 2015.



                                                9
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1616 of 1677




                                              30.

        Following Wilson’s arrival in November 2015, LLW PC operated as a law firm with 4

lawyers – Defendant Wood and Plaintiffs Wade, Grunberg, and Wilson – until January/February

2020.

                                              31.

        In early 2018, Defendant Wood indicated his intent to begin practicing law alone as the

sole lawyer of Defendant LLW PC.

                                              32.

        At that time, Defendant Wood began looking for office space for himself and one non-

attorney employee.

                                              33.

        In light of Defendant Wood’s stated intention, Plaintiffs Wade, Grunberg, and Wilson

formed WGW LLC.

                                              34.

        WGW LLC agreed to hire the other non-attorney employee of LLW PC who Defendant

Wood did not plan to keep at LLW PC.

                                              35.

        Plaintiffs Wade, Grunberg, and Wilson also began searching for office space, and with

Defendant Wood’s knowledge and approval, they employed Defendants’ own real estate brokers

to canvas for space.




                                              10
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1617 of 1677




                                                36.

       During this time, Plaintiffs Wade, Grunberg, and Wilson had numerous discussions with

Defendant Wood in which they sought his advice about the formation and structure of WGW

LLC.

                                                37.

       For example, Plaintiff Wade specifically discussed with Defendant Wood the anticipated

compensation structure of WGW LLC, and he provided his opinion on that issue.

                                                38.

       Defendant Wood indicated that he planned to continue to work with Plaintiffs’ new firm

as he anticipated that the individual Plaintiffs would continue doing the same work for

Defendants’ clients that they had been doing.

                                                39.

       Indeed, the individual Plaintiffs had lengthy written and oral discussions about Defendant

Wood potentially serving as “of counsel” at Plaintiff WGW LLC, and Plaintiff Wilson undertook

research regarding whether Defendant Wood could ethically practice with two different law

firms, and determined that he could by express authority of the Georgia Bar via advisory

opinion.

                                                40.

       In or around April 2018, Defendant Wood changed his mind and elected to keep

Defendant LLW PC together with Plaintiffs Wade, Grunberg, and Wilson continuing as

attorneys of Defendant LLW PC.




                                                11
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1618 of 1677




                                                 41.

       Effective May 1, 2018, Defendants promoted Plaintiffs Grunberg and Wilson to non-

equity partners of Defendant LLW PC and announced their promotions to partner via the Daily

Report and the Georgia Bar Journal as follows:




                                                 42.

       Plaintiffs Wade, Grunberg, and Wilson then abandoned Plaintiff WGW LLC, which

never operated prior to their departure from Defendant LLW PC in February 2020.

                                                 43.

       Defendant Wood changed his office space search to find space sufficient for Defendant

LLW PC to continue operating with four lawyers and two assistants, and in July 2018, Defendant

LLW PC ultimately signed a lease at 1180 W. Peachtree St. NE, Suite 2040, Atlanta, GA 30309

(the “Lease”).




                                                 12
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1619 of 1677




                                                44.

       At Defendant Wood’s instruction, Plaintiffs Wade, Grunberg, and Wilson executed the

Lease on July 17, 2018, only as “Partners” of Defendant LLW PC. The Lease makes no mention

of any of the Plaintiffs’ LLCs, and Plaintiffs did not execute personal guarantees.

                                                45.

       Defendant LLW PC moved into the new office space at Suite 2040 in September of

2018—along with its attorneys Defendant Wood and Plaintiffs Wade, Grunberg, and Wilson.

                                                46.

       By the middle of 2019, Defendant Wood indicated that he planned to enter into semi-

retirement at the beginning of 2020.

                                                47.

       As part of his anticipated transition out of the practice of law, in late January 2020, Wood

decided to re-brand Defendant LLW PC as a partnership named Wood, Wilson, Grunberg &

Wade (“WWG&W”).

                                                48.

       Defendants publicly announced the formation of WWG&W on or about January 24, 2020

in the Daily Report as follows:




                                                13
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1620 of 1677




                                             49.

       Pursuant to Defendant Wood’s instruction, the receptionist began answering the office

phone with “Wood, Wilson, Grunberg & Wade” on the morning of Monday, January 27, 2020.

                                             50.

       No written documentation was ever prepared or executed setting forth the relationships

between the partners of WWG&W, and no paperwork regarding the entity was ever filed with

the Georgia Secretary of State.

                                             51.

       Neither Defendants nor Plaintiffs ever filed any document in any court under the name

and or firm WWG&W; and thus for every case that Plaintiffs Wade, Grunberg, and Wilson were

actively litigating as of February 14, 2020, they were listed on the docket as attorneys of

Defendant LLW PC.

                                             52.

       For reasons more fully described below, Plaintiffs Wade, Grunberg, and Wilson

determined that they could no longer practice law with Defendant Wood and terminated their

association with Defendants on Friday, February 14, 2020.


                                              14
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1621 of 1677




      Individual Plaintiffs Were Non-Equity “Partners” of LLW PC After May 1, 2018

                                                  53.

        Upon information and belief, Defendant Wood always has been the sole member of LLW

PC.

                                                  54.

        At all times from May 1, 2018, until their departure on February 14, 2020 (hereinafter,

the “relevant time period”), Plaintiffs Wade, Grunberg, and Wilson were held out as “Partners”

of Defendant Wood, whether in the entity LLW PC or the rebranded WWG&W.

                                                  55.

        Throughout the relevant time period, the individual Plaintiffs received compensation for

their work as lawyers and partners of LLW PC through their individual LLCs.

                                                  56.

        Irrespective of their titles, at all times during the relevant time period, Plaintiffs Wade,

Grunberg, and Wilson were lawyers of LLW PC, including the rebranded firm WWG&W.

                                                  57.

        Throughout the relevant time period, Plaintiffs Wade, Grunberg, and Wilson were

“associated with” Defendant LLW PC and Defendant Wood, including for the few weeks when

the firm was rebranded as WWG&W..

                                                  58.

        Throughout the relevant time period, Defendant Wood referred to Plaintiffs Wade,

Grunberg, and Wilson as his partners and as partners of LLW PC in court appearances, in

depositions, to clients, to third parties, and in countless emails, texts, and tweets.




                                                  15
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1622 of 1677




                                                59.

       During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson were identified

on the website of LLW PC, at linwoodlaw.com, as “Partners.”

                                                60.

       Screenshots of pages on linwoodlaw.com as of January 2020, show each of the individual

Plaintiffs represented as Partners of LLW PC:




                                                16
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1623 of 1677



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                                         L. LIN WOOD, P.C.
                                              TRIAL LAWYERS
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                                                        Taylor Wilson practices complex civil litigation
                                                        in both federal and state court. His principal
                                                        areas of representation include business and
                                                        commercial litigation in both contract and tort,
                                                        False Claims Act cases, and actions for
                                                        defamation and related First Amendment issues.
                          Pam‘er
                                                        He also has experience handling trademark
                          Direct 678736541107
                                                        infringement cases and a wide variety of
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    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1624 of 1677




                                              61.

       During the relevant time period, Defendants provided to the individual Plaintiffs e-mail

addresses at Defendants’ domain www.linwoodlaw.com.

                                              62.

       During the relevant time period, Plaintiffs Wade’s, Grunberg’s, and Wilson’s

@linwoodlaw.com e-mail addresses were their only professional e-mail addresses for

corresponding with clients or any other purpose.

                                              63.

       During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson each sent

hundreds of emails to Defendant Wood with a signature block identifying themselves as

“Partner” of “L. Lin Wood, P.C.”

                                              64.

       During the relevant time period, Defendant Wood never told Plaintiffs Wade, Grunberg,

or Wilson that identifying themselves as “Partner” of “L. Lin Wood, P.C.” was incorrect.

                                              65.

       During the relevant time period, Defendants provided to the individual Plaintiffs business

cards evidencing their association in the law firm of LLW PC, for example:




                                               18
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1625 of 1677




                                               66.

       During the relevant time period, Defendants filed countless court documents identifying

the individual Plaintiffs as attorneys of LLW PC in the block identifying counsel. For example,

in a pleading signed by Defendant Wood in December of 2019, the block stated:




                                             67.

       During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson and Defendant

Wood maintained equal access to all current client files of Defendant LLW PC.

                                              19
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1626 of 1677




                                                 68.

       During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson and Defendant

Wood shared operating expenses, 25% each, including for, inter alia, office space lease, salary

of a non-lawyer employee, file maintenance, website hosting, telephones, internet, cable,

Westlaw, malpractice insurance for Defendant LLW PC, office supplies, copier/scanner,

technical support, file storage and archiving, and other miscellaneous overhead expenses.

          Plaintiffs Wade, Grunberg, and Wilson Practiced Law Only for LLW PC

                                                 69.

       During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson practiced law as

attorneys acting solely on behalf of Defendant LLW PC.

                                                 70.

       During the relevant time period, Defendant Wood originated the majority of the clients

and business at Defendant LLW PC.

                                                 71.

       Any client originated by Plaintiffs Wade, Grunberg, or Wilson during the relevant time

period executed an engagement agreement with Defendant LLW PC, was billed by LLW PC,

and made payments to LLW PC.

                                                 72.

       At no time did WGW LLC, Wade LLC, Grunberg LLC, Wilson LLC, or Grunberg &

Wilson LLC ever enter into an engagement agreement with a client, bill a client, collect fees

from a client, or take any actions to represent a client during the relevant time period.




                                                 20
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1627 of 1677




                                                73.

       For example, while paragraph 1.A of the Settlement Agreement says of each of the

clients in subparagraphs iv, v, and vi that he, she, or it “was and is the client of WGW,” (Ex. A.),

this simply referred to who originated the client and/or would manage the client’s on-going

matter. During the relevant time period: (1) each of those clients had an engagement agreement

with Defendant LLW PC; (2) none of those clients had an engagement agreement with WGW

LLC, Wade LLC, Grunberg LLC, Wilson LLC, or Grunberg & Wilson LLC; (3) Defendants

were counsel of record for each of those clients; and (4) at least one of Wade, Grunberg, or

Wilson were also counsel of record for those clients as attorneys of Defendant LLW PC.

                                                74.

       During the relevant time period, every correspondence or court filing made by Plaintiffs

Wade, Grunberg, and/or Wilson on behalf of a client was made in their capacities as attorneys of

LLW PC—with the exception of several letters that may have been sent after January 24, 2020,

bearing the letter head of the rebranded firm, WWG&W.

                                                75.

       At all times during the relevant time period, Plaintiffs Wade, Grunberg, and Wilson never

represented a client through any law firm other than Defendant LLW PC (or possibly its

rebranded name WWG&W after January 24, 2020).

                                                76.

       During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson never entered

into an attorney engagement agreement to represent a client under a firm other than Defendant

LLW PC (or possibly its rebranded name WWG&W after January 24, 2020).




                                                21
      Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1628 of 1677




                                                 77.

        During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson never made an

appearance in any case on behalf of any client under any firm name other than Defendant LLW

PC.

          Individual Plaintiffs Performed Significant Work for All LLW PC Clients

                                                 78.

        During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson generated nearly

all of the work product for the clients of Defendant LLW PC.

                                                 79.

        During the relevant time period, one or more of the individual Plaintiffs made an

appearance on behalf of LLW PC in every proceeding in which Defendant LLW PC was counsel

of record, in at least eight different states.

                                                 80.

        Indeed, as of February 14, 2020, Plaintiffs Wade, Grunberg, and/or Wilson originally

authored every pleading, substantive motion, and brief prepared by LLW PC and filed with the

court for the cases subject of the Settlement Agreement for which a lawsuit had been filed, all

pursuant to Defendant Wood’s instruction and supervision, some of which were edited by

Defendant Wood.

                                                 81.

        During the relevant time period, every hourly fee engagement entered into by and

between Defendant LLW PC and any client specifically listed one or more of Plaintiffs Wade,

Grunberg, or Wilson as attorneys of Defendant LLW PC who were expected to perform work on

behalf of the client.



                                                 22
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1629 of 1677




                                              82.

        During the relevant time period, Plaintiffs Wade, Grunberg, and Wilson communicated

extensively with clients of LLW PC on whose cases they were working.

                                              83.

        Specifically, the individual Plaintiffs communicated and worked with the clients for

every case addressed in the Settlement Agreement, in some of those cases acting as the primary

client contact.

                                  The Settlement Agreement

                                              84.

        Within 48 hours of Plaintiffs’ departure from LLW PC, and before the individual

Plaintiffs had even discussed re-activating WGW LLC, the Parties began negotiating a resolution

of the issues arising from Plaintiffs’ separation from LLW PC.

                                              85.

        On February 17, 2020, the Parties reached an agreement with respect to compensation to

be paid on past and pending cases, which Defendant Wood subsequently reneged on – only to

agree to the same fee split one month later when represented by counsel.

                                              86.

        On March 17, 2020, Plaintiffs and Defendants entered into the global Settlement

Agreement, which provided that Plaintiffs and Defendants would separate and practice law

separately, which resolved issues regarding compensation to the individual Plaintiffs for their

work on certain of Defendant LLW PC’s pending cases, and which allocated expenses related to

the Lease.




                                               23
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1630 of 1677




                                                 87.

       In the Settlement Agreement, the Parties resolved fee disputes: (1) regarding

compensation already earned by Defendant LLW PC on cases for which Plaintiffs Wade,

Grunberg, and Wilson had performed substantial work; (2) regarding compensation to be earned

by Defendant LLW PC for cases on which Plaintiffs Wade, Grunberg, and Wilson had

performed substantial work; (3) regarding compensation to be earned by Plaintiff WGW LLC on

cases originating with Defendant LLW PC; and (4) regarding Defendants’ claim that Plaintiffs

owed to Defendant LLW PC rent due under the Lease for LLW PC’s office space after they

departed, even though Plaintiffs Wade, Grunberg and Wilson signed the Lease only as partners

of Defendant LLW PC, the Lease does not contain any personal guaranty, and Defendants

evicted Plaintiffs from the space on February 14, 2020.

                                                 88.

       Specifically, the Settlement Agreement provided that Plaintiffs would pay to Defendant

LLW PC a percentage of fees eventually recovered in three cases that they would take and

continue to work on, and that Defendant LLW PC would pay Plaintiffs a specific dollar amount

of its fees collected on three separate cases that had either officially or functionally been resolved

but for which Defendant LLW PC had not yet been paid its attorneys’ fees, as well as fees to be

collected in connection with several other cases that had not yet resolved.

                                                 89.

       Plaintiffs Wade, Grunberg, and Wilson performed substantial work—if not the majority

of the work—during the relevant time period on behalf of LLW PC on each of the cases for

which Defendants agreed to compensate Plaintiffs in the Settlement Agreement.




                                                 24
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1631 of 1677




                                                 90.

       Plaintiffs were not compensated for any of their substantial work on the cases included in

the Settlement Agreement, but Plaintiffs reasonably expected compensation from Defendant

LLW PC based on the firm’s practice and procedure and assurances by Defendant Wood.

                                                 91.

       During the relevant time period, Plaintiffs Wade, Grunberg, and/or Wilson had

communicated and worked with each client whose cases were included in the Settlement

Agreement, such that each client was familiar with the fact that one of more of the individual

Plaintiffs was working on his, her, or their case.

                                                 92.

       In regard to the three cases that were already settled or functionally settled, Defendant

LLW PC agreed to pay Plaintiffs a specific dollar amount, with payment to be made within

seventy-two hours of LLW PC’s receipt of its portion of the fees in the Disputed Case, less

payment for a portion of the Lease.

                                                 93.

       Thus, as drafted by Defendants, the Settlement Agreement provided that all payments

from Defendant LLW PC would become due and owing only upon receipt of the proceeds for its

attorneys’ fees from the Disputed Case.

                                                 94.

       At all times during the relevant time period, including at the time the Settlement

Agreement was executed, Defendants were counsel for the clients in the Disputed Case.




                                                 25
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1632 of 1677




                                                95.

       Following execution of the Settlement Agreement, Defendants reported to Plaintiffs on

multiple occasions regarding the status of the trigger for payment under the Settlement

Agreement.

                                                96.

       Subsequently, however, Defendants advised Plaintiffs (through counsel) of their

purported belief that client consent was required for the payments to Plaintiffs agreed to in the

Settlement Agreement pursuant to Georgia Rule of Professional Conduct 1.5(e), that the client in

the Disputed Case refused consent, and that after off-setting the fees to be paid to Plaintiffs from

the other cases that had already been resolved, Plaintiffs owed Defendant LLW PC a significant

sum pursuant to Paragraph 2 of the Settlement Agreement concerning the Lease.

                                                97.

       With respect to the Lease, the Settlement Agreement provides as follows: “WGW shall

pay to LLW PC the amount of [redacted] in full satisfaction of any obligations WGW may have,

or be alleged to have, under the lease agreement …” which “amount shall be deducted from the

payment by LLW PC to WGW referenced in Section 1(B) above.”

                                                98.

       Thus, there is no provision in the Settlement Agreement requiring Plaintiffs to

affirmatively pay to Defendants any amount of money, nor any time frame by which Plaintiffs

would have to do so. Instead, the Settlement Agreement explicitly provides for a net lump sum

payment to Plaintiffs.




                                                26
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1633 of 1677




                                               99.

        Despite Defendants’ counsel expressly intertwining the payments to Plaintiffs with the

Lease payment, and despite Defendants’ receipt and retention of all fees in the resolved cases

subject of the Settlement Agreement, Defendant LLW PC stated its intent to hold Plaintiffs liable

for the Lease payment.

                                              100.

        Thereafter, Plaintiffs notified Defendants that Georgia Rule of Professional Conduct

1.5(e) does not apply to this situation because the rule governs only “lawyers who are not in the

same firm” and that it does not “regulate division of fees to be received in the future for work

done when lawyers were previously associated in a law firm.” See Rule 1.5, cmt. 8.

                                              101.

        Prior to the execution of the Settlement Agreement, Defendants did not seek client

consent for the purpose of paying compensation to Plaintiffs Wade, Grunberg, and Wilson as a

matter of practice, both for hourly and contingency arrangements, and only Defendant LLW PC

was listed as receiving fees in the settlement statement sent to clients following settlement of a

contingency fee case.

                                              102.

        Upon information and belief, over seventy-hours (72) have passed since Defendant LLW

PC received funds identified in the Settlement Agreement as the trigger for Defendants’ payment

to Plaintiffs.

                                              103.

        Thus, Defendants are obliged to pay to Plaintiffs the liquidated sum due under the

Settlement Agreement, as well as additional funds due to Plaintiffs.



                                               27
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1634 of 1677




                                              104.

        Plaintiffs have repeatedly demanded that Defendants honor their obligation to pay

Plaintiffs the liquidated sum for fees required by the Settlement Agreement, as well as additional

funds due to Plaintiffs, and have reminded Defendants’ counsel of the facts and allegations

contained herein.

                                              105.

        Defendants have continued in bad faith to refuse to pay the amount they agreed to pay

Plaintiffs under the Settlement Agreement.

                            Detailed Facts Pertinent to Fraud Claims

                                  Deterioration of the Law Firm

                                              106.

        Beginning in the fall of 2019 and continuing through 2020, Defendant Wood’s behavior

became increasingly erratic, hostile, abusive, and threatening toward Plaintiffs Wade, Grunberg,

and Wilson, as well as many other individuals.

                                              107.

        While in the years before the Fall of 2019, Defendant Wood could at times be abusive,

his bad behavior became far more serious and persistent than in years past.

                                              108.

        Plaintiffs Wade, Grunberg, and Wilson nevertheless remained in Defendant LLW PC

because they were committed to serving as attorneys for a trial scheduled for early-December

2020, and Defendant Wood repeatedly assured them he would be stepping away from the

practice of law after the trial ended.




                                                 28
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1635 of 1677




                                               109.

       Although relevant, Plaintiffs will avoid pleading the specifics of Defendant Wood’s

erratic behavior prior to February 14, 2020—except as to facts specifically and demonstrably

related to Defendants’ fraudulent and malicious intent to induce Plaintiffs to enter into the

Settlement Agreement that Defendants would ultimately refuse to honor.

                                               110.

       The vast majority of the alleged communications below were made by Defendant Wood,

and there is a noticeable void of responses by Plaintiffs Wade, Grunberg, and Wilson—who

refused to respond in kind to Defendant Wood’s behavior.

                                               111.

       Throughout late 2019 and January and February 2020, abusive, incoherent phone calls,

voicemails, texts, and emails by Defendant Wood to Plaintiffs Wade, Grunberg, and Wilson sent

in the middle of the night were the norm. All of these erratic communications have a few things

in common: most of these emails profess that God or the Almighty was commanding his

actions; many were stating his refusal to pay the Plaintiffs “one thin dime;” and virtually all were

abusive.

                                               112.

       Defendant Wood’s behavior continued to deteriorate, including assault and battery on

Wilson in Defendant Wood’s home after he had traveled there to check on Wood. In the Fall of

2019, Defendant Wood also committed assault and battery on Grunberg in an elevator of a hotel

during an out of town deposition. In both assaults, there was essentially no reason whatsoever

for the attack, and Defendant Wood later acknowledged and apologized for this violence.




                                                29
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1636 of 1677




                                               113.

        Defendant Wood, himself, acknowledged during late 2019 that his behavior was abusive

on October 2, 2019, when he e-mailed Plaintiffs Wade, Grunberg, and Wilson, stating, in

relevant part, “The Boss, Pops, Lin, Asshole – whatever you wish to call me – knows that I have

allowed a combination of pressures over the past many weeks, if not months, to become

justifications for treatment of each of you, to varying degrees and at various times, that can only

be described as rude, overly demanding, and at times abusive.”

                                               114.

        Unfortunately, that acknowledgement changed nothing and his behavior toward Plaintiffs

Wade, Grunberg, and Wilson continued to worsen.

                                               115.

        On February 10, 2020, Defendant Wood contacted Plaintiffs and begged for them to

come to his house around 1:00 am, which Plaintiff Grunberg and Wade did. Once there,

Defendant Wood urged them to stay with him until morning, with Plaintiff Grunberg leaving at

approximately 4:30 am and Plaintiff Wade leaving after sunrise. This experience unnerved the

Plaintiffs.

                                               116.

        That day, Plaintiffs Grunberg and Wilson confronted Defendant Wood about his

behavior.

                                               117.

        Even at that early juncture, Defendant Wood immediately threatened Plaintiff Wilson that

leaving his firm was “professional suicide” and threatened not to pay Wilson the money he was

owed for his work in the Disputed Case, stating as follows: “let me tell you what’s gonna



                                                30
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1637 of 1677




happen to you … watch what happens with the [Disputed Case] fee. I’ll show you what I think

of what you’ve done to me.”

                                                 118.

        That evening, Defendant Wood called Plaintiff Wade and, during a call that lasted

approximately two hours, Wood advised Wade that he was going to destroy Plaintiffs Grunberg

and Wilson. During this conversation, Defendant Wood could not help but revisit his obsession

with Plaintiff Wilson’s wife, stating: “by the time I am through with Taylor Wilson, he’s going

to wish all I had done was fuck his wife.”

                                                 119.

        On February 11, 2020, at 1:03 a.m., Defendant Wood e-mailed Plaintiffs Wade,

Grunberg, and Wilson, firing the Plaintiffs and changing the firm, while insisting that Plaintiffs

had the “fiduciary duties” of partners, stating, in material part, as follows 2:

        Taylor, Jonathan, and Nicole,

        Effectively immediately, the law firm of L. Lin Wood, P.C. hereby withdraws
        from any and all law partnerships with your law firms and you, including, but not
        limited to the partnership of Wood, Wilson, Grunberg & Wade….

        I want Taylor and Jonathan physically out of my office space as soon as possible.
        I am willing to be more lenient with Nicole but I want the physical separate of the
        lawyers from 1180 West Peachtree St., Suite 2040 executed with no delay....

        I request that each of you provide me with a list of outstanding cases of LLW PC
        on which you are presently working…. I would like from each of you the number
        of hours (with description) you each have expended on the [Disputed Case].
        Hours on the pending [redacted] can be submitted separately by end of week. If
        you have any other [redacted] hours … please include them with some reasonable
        detail by the end of the week….

2
  To protect the privacy of many third-parties, Plaintiffs will not be tendering copies of
Defendant Wood’s e-mail correspondence and other communications with this Complaint but
provide as much context as is appropriate in each quote.
                                                  31
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1638 of 1677




       In meantime, I remind you of the fiduciary duty of non-disparagement which
       shall be strictly enforced. You are hereby prohibited from contacting any of my
       clients, referring attorneys or co-counsel without my specific written
       authorization….

(Emphasis in original).

                                                120.

       Plaintiffs Wade, Grunberg, and Wilson began moving out of Defendant LLW PC’s office

space on February 11, 2020.

                                                121.

       By the afternoon of that same day, February 11, 2020, Defendant Wood had completely

changed his mind and left voicemails for each of Plaintiffs Wade, Grunberg, and Wilson,

rescinding his withdrawal from their partnership and their eviction from his office space.       For

example, Defendant Wood stated in part in a voicemail to Plaintiff Wade:

         . . . This law firm is going to go forward as Wood, Wilson, Grunberg & Wade.
         Business as usual is back now being business as usual. Keep doing what you’re
         doing on the cases you’re doing. I don’t need your hours in the [Disputed] case
         – I never have. No reason to do it now except in billable cases. . . . We are
         going to continue as a partnership. A partnership under that name that is going
         to be one of the great partnerships in the history of the law. . . . I’m going to ask
         you to do the big word “T.” Trust me. . . . I’m going to let God’s will be done
         for our law firm. . . Everything I said in that letter last night is rescinded.

                                                122.

       Plaintiffs Wade, Grunberg, and Wilson decided to give it one more shot in the hopes of

helping Defendant Wood and in the hopes that the work environment would return to status quo.

                                                123.

       On February 13, 2020, the day before all 5 people who worked for Defendant Wood at

Defendant LLW PC terminated their employment, Defendant Wood hosted an approximately 3.5

hour teleconference with Plaintiffs Grunberg and Wilson in which he spoke almost non-stop.

                                                 32
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1639 of 1677




                                              124.

       During the 3.5-hour teleconference, Defendant Wood referred to himself as Almighty;

offered to fight the individual Plaintiffs to the death; demanded the Plaintiffs’ undying loyalty;

threatened to “hurt” the Plaintiffs; offered to have the Plaintiffs stay in the firm; and called

Plaintiff Grunberg a “Chilean Jew” and demanded that he admit he does not look like the other

lawyers in the firm. Unfortunately, the list goes on, as reflected by the following pertinent

portion of the transcript of the call (except as indicated by brackets and double quotation marks,

the words are Defendant Wood’s):


       … I own that office. Y’all know that now. I showed you who had power, didn’t
       I? But I didn’t exercise it. Cause I right now would never do anything in the
       exercise of my power do anything to hurt any of y’all or your families. Do you
       believe me? Cause if you don’t believe that, this conversation is over. It will not
       be a problem solved. If you tell me you believe that, and I just showed you that,
       by not hurting you, by showing you who had the power to hurt ya, to hurt
       your families, to hurt your law careers, and didn’t exercise it, yes or no, let’s
       get a vote. Taylor, does everyone in that room believe, believe, choose to believe,
       that Lin Wood would never exercise his power in a fashion that he knew would
       hurt any one of you, personally or professionally, including your families, and
       your legacy as a lawyer. Yes or no, guys, gal? [Said by Wilson] “Lin, I
       certainly.” I just wanted a yes or no, I didn’t ask for a discussion, and I own that
       office and if you don’t do what I say this time, you’re gonna pack your bags,
       that’s how much power I have, I don’t wanna exercise that power, it would hurt
       you, don’t force me, that’s the point.

       I’m telling you I have the power to hurt you and would never do so, and if you
       don’t believe I have the power to hurt you, you are wrong. I can hurt you the
       minute I take you off that name [Wood, Wilson, Grunberg & Wade]. That will be
       a bad stain on your life, and if you try to hurt me back, you will be laughed
       at. Anybody in this law office that attacks Lin Wood may be right, but
       everybody’s gonna disrespect you for doing it. There’s a time to speak. There’s a
       time to be silent. You people don’t know the difference….

       Now, would you accept this kind and loving admonishment. I could have thrown
       by my own free will every damn one of you out of my law office, off of the damn

                                               33
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1640 of 1677




  letterhead with my name on it, and Nicole is included, by doing one of two things,
  I could have pulled my name off that door in a heartbeat if I wanted to … I could
  have pulled all three of your names off of that damn thing and it would just be me,
  if I wanted to I’d have the power to do it, right? …

  . . . If you keep showing me disrespect, Jonathan, there’s gonna be a man come up
  there in your office … but if you ever don’t give me respect in that office,
  knowingly … but if I ever discern that I think you are disrespecting me in that law
  office, that little man or woman is gonna come up in ten minutes and they’re
  gonna throw your ass out. Do you understand, whether you agree with it or not,
  you concede that I have the power to do it. Do you understand what’s gonna
  happen to ya if you ever, if I ever discern that you show me an act of disrespect
  again? … if you [interrupt me] in a disrespectful way, in my judgment alone, any
  one of the three of you is gonna be escorted out of my law office within ten
  minutes … they’re gonna take you out and throw you on the street if they want to
  … do you understand what I’m telling you? Cause if you don’t we got a
  problem. You hear me? Does everybody hear me? Now I’m gonna tell you
  something very surprising, y’all just heard from the Almighty Lin and it sounds
  powerful and you believe it don’t ya? … Almighty Lin just told you what would
  happen if he thinks you ever, in his opinion, discerns that you’re being
  disrespectful to me by anything other than an accident or mistake, he’s gonna
  throw you out. Ya hear me? … Now Almighty Lin’s gonna tell you this … the
  power that I just had can change your life if I ever decide … even if it’s good or
  bad, I can change your life with the exercise of that power, right? …

  I’ll commit sins. I’ll [physically] push you when you piss me off. Maybe you
  deserve it and I’m the only one that will inflict it upon you because I’m the only
  one that has the courage to tell you the lesson you fucked up don’t do it again.
  Swear I’ll never do it again to either one of you, although interestingly I’ve done
  it to both of you at once. I’ll never do it to you again. Don’t ever do anything that
  would even make me think about doing it again. Cause I might make the same
  mistake then that I made then, I might push you and I wouldn’t mean to hurt you.
  I wouldn’t mean to push you around, especially cause either one of you would
  whip my ass or maybe you wouldn’t cause you don’t have the courage I have.
  Maybe I would fight you till you damn die. Or both of us died. Cause I got
  courage inside of every bone in my body that you’ll never know. I wish you had
  it. I wish everybody had it. Everybody doesn’t have it guys. You’re practicing
  law with a man that has courage, to take on the big ones….

  The best man you’ll ever see in life won’t be your daddy, Taylor. It won’t be
  your daddy, Jonathan. It won’t be your daddy, [redacted]. The best damn man

                                           34
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1641 of 1677




       you’ve ever met in life is Lin Wood. Don’t you forget it…. Or just plain member
       of one damn law firm, like we all are….

       One nation, one law firm, one law firm, under law, all members are created
       equal. All members of this one law firm are the same….

                                             125.

       By the date of the 3.5-hour teleconference on February 13, 2020, Defendant Wood had

effectively not been in the office for weeks since a December 2019 trial—with the exception of

several brief appearances at the office. And from the time that Defendant Wood and Plaintiffs

Wade, Grunberg, and Wilson traveled to and attended a hearing out-of-state in mid-January, the

only time any of the Plaintiffs had seen Wood was when he assaulted Plaintiff Wilson on January

27th and when Plaintiffs Grunberg and Wade were called to his home in the early morning hours

of February 10th when Defendant Wood called them over saying it was a matter of life or death.

Defendant Wood spent most of this period outside of Atlanta.

                                             126.

       All of LLW PC’s cases were being handled primarily by one or more of the individual

Plaintiffs, who coordinated with third party co-counsel. And LLW PC had active co-counsel

outside the firm in every active case as of February 14, 2020, all of whom were on notice when

Wade, Grunberg, and Wilson left the firm.

                                             127.

       Defendant Wood called for an in-person meeting on the morning of February 14, 2020.

                                             128.

       In the hours preceding this February 14 meeting, Defendant Wood repeatedly called

Plaintiffs Wade, Grunberg, and Wilson, berating them, and also threatening them with alleged




                                              35
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1642 of 1677




civil claims arising from their purported fiduciary duty as his law partners not to disparage him,

although he failed to specify what words or actions he felt were disrespectful.

                                               129.

        Plaintiffs Wade, Grunberg, and Wilson – together with the only other two employees of

Defendant LLW PC – all walked out of the LLW PC offices prior to Defendant Wood arriving

out of fear for their physical safety.

                                               130.

        All five were forced to terminate their employment and association with Defendants on

February 14, 2020.

                                               131.

        Immediately thereafter, Defendant Wood asked building security to escort all five out of

the office, and he then changed the locks to the Leased space.

                                               132.

        At this point, Defendant Wood began a series of irrational and incomprehensible email,

text, and voicemail threats. All of these emails, most of which are sent in the middle of the

night, have a few common themes: False and manufactured accusations that Plaintiffs did some

heinous federal crimes that he has chosen not to identify, Defendant is doing God’s will, and

Defendant will never pay the Plaintiffs anything, while reiterating nonetheless that the individual

Plaintiffs were his law partners.

                                               133.

        On February 15, 2020, at 1:42 am, Defendant Wood e-mailed Plaintiff Wilson and 13

others, stating again that he felt he had somehow been victimized by some unspecified action




                                                36
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1643 of 1677




which required him bringing down the “wrath of God” and referencing punishment “at the

discretion of Almighty God.”

                                                 134.

       Two hours later, at 3:45 a.m., Defendant Wood e-mailed Plaintiffs Wade, Grunberg, and

Wilson, as well as 9 others, to continue his incoherent allegations and his belief that God was

somehow commanding him or directing him to accuse the Plaintiffs and repeating his threat

never to pay the Plaintiffs anything for their services. He began the email by stating “God has

given me permission to be profane in this email, which is my last email of the night,” and

additionally stating, in material part, as follows:

       You damn dumb motherfuckers.

       You have now subjected yourselves and your families to the fact that you are all
       guilty of federal crimes. And you are going to be ruined financially, if necessary,
       in civil and criminal lawsuit. You committed computer fraud today and possibly
       bank fraud. Your lies and fraud upon law firms and your employers are going to
       come back quickly to haunt you for the rest of your lives.

       You fucked with the wrong guy. You fucked with Lin Wood. Bad fucking
       choice.

       Here are the findings of your final judgment day on earth for today, the day after
       my Valentine’s Day massacre:

       Taylor, you’re not going to get one thin d[i]me from me on any case. That
       includes [cases subject of the Settlement Agreement, including the Disputed
       Case]. Sue me. You will lose. You can tell your co-conspirators, Nicole,
       Jon[a]tha[n], [redacted] and [redacted]. All the damn criminal conspirator wars
       who deleted emails and Word documents related to the [redacted] and [redacted]
       cases are in fucking serious criminal and civil exposure…. You are all dumb as
       hell. I am not. I will be setting up a meeting next week with the US Attorney for
       the Northern District of Georgia. He will meet with me. He knows who I am.
       You apparently never did…. Nobody fucks with me and [redacted]. You have
       been all been playing your Bullshit games of lies for too long. Too long is too


                                                  37
Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1644 of 1677




  long. Always has been. Always shall be. God Almighty told me to get you back
  to where you belong. Broke and essentially homeless….

  The fact that you, Taylor, involved innocent people like [redacted] and maybe
  even [redacted], is going to haunt you and your wife and your children for the rest
  of your lives on earth. Shame on you. You are disgusting….

  You all better get on your knees and pray to Almighty God that He now asks me
  to show you mercy. If he does, I will show it, if he does not, I will deliver a fiery
  judgment against you on earth. Who the fuck did you think you were dealing
  with? You were screwing around me with, but I was someone else in disguise.
  You in fact have been screwing around with God Almighty. I am not God. You
  lied when you told others that I thought I was…. I am L. Lin Wood – the sole
  member of L. Lin Wood, P.C. The architect of the most masterful and powerful
  Valentine’s Day massacre known in American history. The last one killed seven.
  Mine will ruin many more before it is over. Deservedly so.

  You are the ones who are crazy, not me. You are all the fools, not me. You are
  all driven by fame and fortune, not me…. You are going to have to spend every
  day for the rest of your lives on earth by your every act and deed proving to God
  that you are genuinely sorry for the sins you have committed against HIM. I’m
  not going to waste anymore time listing your sins. You know them. God knows
  them….

  Buckle up your damn seatbelts. Unless I change my mind under the instructions
  of God, you are in for the roughest ride of your lives. I’m going to teach you all a
  lesson that you are going to learn….

  I shall sleep well tonight even though I’m writing a bunch of crazy people at a
  crazy person’s hour. I live on God’s time clock. This sane man had a lot of
  business to conduct tonight. Business that God Almighty exposed to him and told
  him to expose to others.

  I bet it’s going to be a long, long time before any of you ever sleep well again.
  Taylor, you are a damn pussy. You didn’t even have the balls to show up for your
  little meeting that I already knew you were going to try to have before you had
  it….

  Good night. I know you will not sleep well.



                                           38
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1645 of 1677




       PS: Taylor, tell all of you damn co-conspirators that their asses are in criminal
       and civil liability trouble. Be sure to tell Jonathan and Nicole. I listened to that
       damn blowhard Jonathan run his mouth. At midday, silently. Because I knew
       that I was getting ready to slam his ass deep into the ground with [when] my time
       came. My time came. His ass in trouble and this time, he will not land on his 2
       feet [a reference to Plaintiff Grunberg’s handicap after he had a rock climbing
       incident falling from more than 40 feet in the air resulting in several surgeries and
       permanent disabilities]. He will be on his damn two knees begging me and
       Almighty God for mercy. They will never get a dime from me. I dare you to sue
       me for it. You don’t have the balls to do it and if you do it, you shall lose and in
       the process, lose more of your damn asses if there’s anything left of your assess
       after I finish with your assess tomorrow if you don’t call [redacted] and beg for
       mercy like damn dogs begging for a damn piece of meat after not eating for 3
       months. I think my message is clear. God has now asked me to refrain for the
       rest of this night and tomorrow from further profanity. I shall always follow my
       God’s’s will and never anyone’s on earth, including mine.

       Last word, if any of you get within missile range of my office or home, I will
       have you arrested. You make one more threat, at false accusation or attempt to
       interrupt me and as far as I’m concerned, you can all rot to hell in jail.

       You know me, always one more last word…. It’s not going to be pretty for you.
       Fraud is never pretty. Ask Michael Avenatti. Never has been. Never shall.

       Good night.

       L. Lin Wood

(Emphasis added).

                                               135.

       Plaintiff Wilson responded respectfully on February 15, 2020 at 8:15 a.m., denying

Defendant Wood’s fantastical accusations and conspiracy theories.

                                               136.

       Defendant Wood responded, again copying the 9 additional individuals, stating, in

material part, as follows:



                                                39
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1646 of 1677




      Keep lying. USDOJ shall be checking ALL computers. I know liars. You been
      lying ever since your yelled at me and accused me of being insane. Liar.

      You miserably lying sack of shit. You low life lying snake….

      You are ALL in trouble. Big trouble. Computer fraud. Conspiracy to commit
      computer fraud. Violation of fiduciary duties. Conspiracy to violate fiduciary
      duties. Slander and defamation. Conspiracy to slander and defame. Conspiracy
      to interfere with my business relations, including clients and co-counsel. I think
      you are in more criminal and civil trouble than the former big mouth, Michael
      Avenatti.

      Your time would best be served on your knees telling me you are sorry….

      Best outcome for you in eternity Is Hell for repeatedly interfering with God’s
      commandment to children to honor their father.

      I will make sure that you never practice law again ever if you do not admit your
      sins, all of them by 10:30 am. Extensions grants each quarter hour thereafter
      depending on the amount of truth you tell me with each email. Start with
      admitting your lies.

      Tell the truth or suffer through full pains thereafter….

      I want those facts by 10:30 AM. If you want to have a chance to save your
      future for your career, yourself and your family. You better come clean and tell
      the truthgiver the truth starting NOW.

      I am going to learn that information in a criminal case involving you if necessary.
      I am going to learn that information from you in a civil case involving you that is
      an almost certainty. Your best chance for mercy from L. Lin Wood is for you to
      start pouring the truth on me regarding information on [redacted]/[redacted] by
      10:30 AM this morning. Save your child. Save your wife. Save your life….

      Your are doing to want a major dose of mercy from me. The sooner you come
      clean, the better. The longer it takes, the worse….

(Emphasis added).




                                               40
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1647 of 1677




                                               137.

        On February 15, 2020, at 2:18 pm, Defendant Wood left a voicemail for Plaintiff Wilson

stating, in material part, as follows:

        Taylor Wilson, your former partner… You’re lucky you and I share something in
        common: I care about and love your wife, I care about and love your little
        boy. Right now, I don’t give a damn about you. But if I hurt you bad enough, it’s
        gonna hurt them. I don’t wanna hurt you, Taylor…. I want you to tell me in an
        email in 15 minutes who in the hell asked for those computer files to be deleted. I
        think it was Jonathan Grunberg. I think he did it because [redacted] wanted it
        done… I’m going after [redacted]. I’ve already gone after [redacted]. . . . I’m
        going to get [redacted]. I don’t want to get you cause it will hurt your wife and
        your child. Send me an email and just tell me the truth without getting a lawyer,
        without trying to cover your ass …

                                               138.

        After leaving voicemails for Plaintiff Wilson and Grunberg stating that he felt that

Plaintiff Grunberg was the chief force behind these unspecified criminal acts, on February 17,

2020 at 12:17 a.m., Defendant Wood left a voicemail for Plaintiff Wilson stating, in material

part, as follows:

        Taylor, I hate to call you at 12:14 am because it’s the act of a crazy man, but it’s
        not son. You need to watch out for Nicole Wade. She would be the person that
        would go in and get this information. She’s evil…. [Redacted] was sent here by
        [redacted].... The FBI is going to be involved tomorrow. There’s going to be
        some serious stuff going down. Watch your ass. I’m telling you. Watch out for
        Nicole Wade… You don’t want to be unwittingly involved in a federal
        crime. [Redacted] could go to jail for the rest of his life…. If I’m right about
        Nicole, she’s gonna come crashing down. She’ll try to take everybody down that
        she can. I know Nicole Wade… He’s gonna be in federal trouble because the FBI
        is on it. I don’t want you to get hurt, Taylor… I love you. This is the time to
        understand that Lin Wood really loves you. Cause I’m trying to give you
        information to protect you and your family. You got some thieves and criminals
        around you. Don’t get involved it in OK...




                                                41
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1648 of 1677




                                                 139.

       That same day at 6:16 a.m., Defendant Wood sent to Plaintiff Wilson and 8 other

individuals an e-mail stating, in material part, as follows:

       All,

       Attached is the IC3 Complaint Referral Form I filed with the FBI this morning
       related to [redacted] and his co-conspirators this morning….

                                                 140.

       In Defendant Wood’s FBI complaint alleging federal crimes, Defendant Wood refers to

Plaintiffs Wade, Grunberg, and Wilson as “one or more former members of my law firm of L.

Lin Wood, P.C.” (Emphasis added).

                                                 141.

       Defendant Wood followed up with another voicemail to Plaintiff Wilson on February 17,

2020, at 7:18 a.m., stating, in material part, as follows:

       . . . You have damn fucked up your life. Shame on you. Your wife, your kid. I
       take back everything I said nice about you. You better get the word, that
       somebody better call me, and somebody better get over to my damn house, and
       tell me what the hell the truth is about what y’all did…. You people gotta get a
       criminal lawyer…. I’m gonna burn your asses. Y’all fucked up. Shame on
       you…. You’re a son of a bitch, Taylor Wilson. And you gonna rot in hell when
       I’m done with you, buddy, you got that? Pass that message to every damn one of
       them…. All of y’all are going down…. Goodbye sir. Get me the name of the
       person that’s gonna get me the damn truth about this and they better call me in 30
       fucking minutes. You hear the rage? You ain't seen nothing yet, buddy. Goodbye.

                                                 142.

       Defendant Wood followed up with another voicemail to Plaintiff Wilson on February 17,

2020 at 7:23 a.m., stating as follows:

       Let me tell you something you little snotty ass son of a bitch. Don’t write me
       back and tell me you’re taking care of your son. Your son’s looking into the eyes
       of a damn low life, cheating, lying, probably criminal defendant. How could you

                                                  42
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1649 of 1677




        do this to your family, Taylor? The FBI’s not gonna play around. You’ve all
        engaged in computer fraud. I don’t give a damn whether you did it or if Nicole
        did it. I know who did it, and you got [redacted] involved in it. You’ve ruined
        everybody’s life. You’re not gonna get one thin dime from me. Sue me. I don’t
        think they allow you to file lawsuits like that when you’re behind
        bars. Somebody better call me, put their baby down, and give me the damn truth
        if there’s gonna be any mercy shown by anybody for you, including the FBI,
        cause I’m one of their number one witnesses. [Redacted] is going to jail. Don’t
        go with him. Quit playing your games ya snotty ass little bastard, you came in
        here and ran your damn mouth in my office and yelled at me. You’re lucky I’m
        not with you right now, Taylor, cause I’d do to you what I’d do to [redacted]
        and I’d beat your ass with a switch till you couldn’t sit down for 20 fucking
        years.

                                               143.

        Also on February 17, 2020, Defendant Wood left a voicemail for Plaintiff Grunberg

stating, in material part, as follows:

        I’m gonna be a little calmer with you than I have been with Taylor and [redacted]
        on their voicemail messages, Jonathan Grunberg, you sorry slimy piece of shit.
        How do you look at those babies? I’ve got it all, I know what y’all been doing.
        But here’s your problem, you teamed up with [redacted], he’s going to federal
        penitentiary, I’m afraid y’all need criminal defense attorneys, in fact I know, I’ve
        been up all night dealing with this, I’ve locked it all down…. The FBI’s gonna be
        knocking on your door, Jonathan. You need to go get a criminal defense lawyer.
        Somebody in that damn former piece of shit firm I had better get on the phone and
        tell me the damn truth so I can tell the FBI that at least somebody’s gonna be
        good to them and cooperate. You got in bed with [redacted] and you
        manufactured shit from [redacted]…. In the process, you look at those two little
        babies, you hurt them. You look at your wife, you hurt her. You’re not gonna
        get one thin dime from me about anything. You might even get sued by me.
        What the hell were you thinking. Man oh man, you’re glad you’re not with me in
        an elevator with me right now buddy [referring to his prior battery of Grunberg],
        cause you’re damn lucky, I’m that mad…. That’s how serious it is you little
        fucker. You look in the mirror and you’re gonna see a Chilean Jewish fucking
        crook. Goodbye, Jonathan … you sorry bastard.




                                                43
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1650 of 1677




                                               144.

       Then on February 18, 2020, at 8:20 a.m., Defendant Wood recanted every one of his

accusations in an e-mail to Plaintiffs Wade, Grunberg, and Wilson, along with 18 other

individuals, subject “Correction and Retraction of False Accusations,” stating, in material part, as

follows:

       I know that I am generally recognized as an experienced and skilled lawyer in the
       area of First Amendment defamation law. I am also by my own admission, fully
       capable of being a dumb ass or worse. Given some of my recent emails and the
       filing of a IC3 Complaint Referral Form [with the FBI], the latter description may
       be more applicable to me than the former….

       The primary purpose of this email is [sic] correct and retract some very hurtful
       and false accusations that I recently made against [redacted], [redacted],
       [redacted], [redacted], and my current law partners and employees. In the
       worse example of a defamer, I published accusatory statements with incomplete
       information and out of anger, coupled with a tried brain and body….

       Allow me to make clear that in all of the recipients of this email, there is not a
       dishonest or criminal bone in any of their bodies. I say this unequivocally and in
       direct contradiction to any suggestions or accusations or statements that I may
       have made against anyone on this email. In recent days. My legal career has
       been one of pursuing for truth and achieving justice which I define as providing
       fairness and respect to all within our legal system. The recent emails to which I
       refer are the worst examples of the failure by an individual – ME – to pursue truth
       and achieve justice. My statements against the identified individuals were not
       true and inflicted an injustice upon them, and all of the recipients[.] In addition to
       asking for your forgiveness, I want to make it very clear that the individuals who
       were falsely accused are innocent of any wrongdoing and are encouraged to seek
       any further remedies against me for my wrongdoing, which they feel are
       appropriate or necessary.

       With the help of [redacted], [redacted], [redacted], and individuals identified by
       [redacted], I have now completed an examination of my office computer system,
       and while my office computer system was hacked, no accused individual was
       involved in any manner in that improper and illegal activity. After careful
       examination, no office emails have been deleted or otherwise altered in a manner
       that was not intended by authorized users of my system. If I had bothered to

                                                44
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1651 of 1677




       undertake the complete examination prior to making my unfounded accusations, I
       would never have made the accusations against the individuals….

       For the past several months, particularly since Thanksgiving, I have been
       besieged by a variety of individuals, all of whom I love dearly with their own
       concerns about my mental health and my relationship with [redacted]…. Sadly, I
       did not serve well the best interest of my [redacted] and making my false
       statements and accusations against others. I can only hope and pray that my
       stupidity serves as a shining example to them of why statements should always be
       investigated before published and should never be made out of a state of mind that
       might alter reality. I have assessed my mental health and spent some time with
       [redacted] discussing it. I am a little crazy, but I’m also mainly sane and possess
       a healthy mind….

       I love each and every one of individuals on this email and I love and respect
       [redacted] as a law firm. I hope and pray that my own law partners at the present
       time and all of the individuals who serve me so well at my firm will be willing to
       forgive me and continue to practice with me in the profession I love dearly and
       have loved for 43 years…..

(Emphasis added).
                                              145.

       Unfortunately, three hours later, Defendant Wood changed his mind again. On February

18, 2020 at 11:38 a.m., Defendant Wood e-mailed co-counsel in the Disputed Case stating, in

material part, as follows:

       [Redacted],

       Please inform your firm members that Taylor is NOT to be copied on any other
       emails on any [Disputed Case] matters. He and the former members of my firm
       will not be working on any of the other [Disputed Case] in the future. We have
       reached a binding agreement on other cases so their transfer out of L. Lin Wood,
       P.C. will be smooth going forward despite the recent bumps….

       The former members of my firm are now off to a new and exciting adventure of
       their own….

(Emphasis added).


                                               45
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1652 of 1677




                                               146.

       The very next day, at midnight, Defendant Wood changed his mind yet again. Following

this e-mail, on February 18 and 19, 2020, Defendant Wood made multiple requests to Plaintiff

Wilson for the individual Plaintiffs to return to work. Wilson, continuing to try to avoid Wood’s

wrath, politely declined to return to work at Defendant LLW PC.

                                               147.

       After Plaintiff Wilson again refused to return to work at Defendant LLW PC with

Defendant Wood, Wood left Wilson another voicemail on February 19, 2020 at 6:29 p.m., in

contradiction to all other prior statements he had made, contrary to the Lease for the LLW PC

office space, and contrary to the Parties’ February 17 agreement, stating as follows:

       Taylor, hey buddy, give me one call back tonight, cause I’m close to making a
       decision. [Redacted] is not coming back, and I that’s a good thing, I think that I
       need a clean break. And, I don’t want to stay in that space and I don’t need to
       cause I don’t need the space as much as y’all do, and that means y’all gotta pick it
       up or pay three quarters of the lease. Y’all are indemnitors on that, each one of ya
       individually. I’m the, L. Lin Wood, P.C., is the leaseholder, and then our liability
       is a fourth, a fourth, a fourth, y’all signed it, so you’ve got three quarters of the
       liability for that space. I figured under that scenario, y’all would wanna come up
       and take the space, strike a deal with me, I’ll pay my quarter but I’m not gonna
       pay it up front, I’m not gonna pay it over the months, we’d have to kind of present
       cash dollar it down. Or, if you don’t do that, Taylor, and I’m stuck with that lease,
       I’m gonna have to hold every dime of your [Disputed Case] money against your
       liability until the end of that lease. So, it’s easier for me to move out, which I’d
       like to do, candidly, Taylor, and for y’all to stay in there. That may be the win-
       win. So, give me a call and let me know what you think. Bye bye.

                                               148.

       Defendant Wood left a similar voicemail on February 19, 2020, for Plaintiff Grunberg,

threatening that he would hold Plaintiffs liable on the Lease for which they are not, and never




                                                46
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1653 of 1677




were, liable, and that he would withhold the money he agreed to pay in the February 17

agreement until the Lease was satisfied.

                                                  149.

       Defendant Wood then e-mailed Plaintiffs Wade, Grunberg, and Wilson on February 19,

2020, at 8:01 p.m., along with four other individuals, stating, in material part, as follows:

       Nicole, Jonathan, and Taylor:

       … As Nicole has heard me say before, I do not intend to pay you “one thin
       dime” in satisfaction of your legal obligations….

       Until the matter is resolved between us and the building, I do not intend to make
       any payments to you on fees owed to you in any case. I will escrow the amount
       that I agreed to pay you until I am satisfied that my escrow account has covered
       me for your amount of the entire remaining lease obligation and other legal
       liabilities you owe to me for your misconduct….

(Emphasis added).

                                                  150.

       Even after recanting all of his false and malicious accusations against Plaintiffs Wade,

Grunberg, and Wilson, one day later on February 19, 2020, at 8:01 p.m., Wood again accused

Plaintiffs of unspecified acts, referring to himself as “their partner” and threatening to hurt them

“in the court of public opinion.”

                                                  151.

       The next morning, Defendant Wood had changed his mind again and wanted to profess

his love for Plaintiffs. On February 20, 2020, Defendant Wood left a voicemail for Plaintiff

Grunberg stating, in material part, as follows:

       Jonathan … I want y’all to come over to my house tonight. I don’t want another
       night of this nonsense that y’all have created. If ya wanna go to war and you
       think you’re gonna beat me, you’re gonna lose. I got ya every which way,
       coming and going…. The last thing you wanna do is start off your law firm,
                                                  47
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1654 of 1677




       before you even get started getting crushed by me, and I got the power to do it….
       I’ve been two steps ahead of you at every damn…. I love you, I love your family,
       I love your babies….

                                                 152.

       That same day, Defendant Wood emailed again to profess his love, and this time to make

a variety of threats, all based upon his desire to get Plaintiffs to help him pay for his Lease.

                                                 153.

       Defendant Wood followed up with another voicemail to Plaintiff Wilson on February 20,

2020 at 6:59 p.m., stating, in material part, that Plaintiffs had to pay for the Lease and he

threatened to drag out any claims or suits for any amounts that he owed Plaintiffs:

       Taylor Wilson, man oh man, it’s your old boss, the guy you love one minute, test
       one minute, love one minute, test one minute. Taylor, you’re in a damn mess, and
       you know it, and if you don’t, you’re gonna talk to a lawyer and you’re gonna
       know it then.

       This is not the way to start your law firm, Taylor. Here’s what we’re gonna
       do. You’re gonna get off your ass and put your pride aside, and you’re gonna
       come over here and you’re gonna talk to me. And I’m gonna tell you exactly what
       I’m willing to do to get y’all out of the mess you got yourselves in with your
       damn foolishness. You’re playing with fire when you come after Lin Wood.

       [talking to himself] “Now stop being mad, Lin. Okay, God.”

       Taylor, I don’t want to hurt you guys, but you’ve set it up where I could destroy
       you before you even got your foot off the ground. You can’t pay for a
       lawyer. You can’t afford to litigate with me and you’re gonna lose, cause you
       owe 75% of that lease to me. Not a guarantor, you signed on that for me. I’ll pay
       the building, and then I’ll hold your money until I litigate it with you….

       If you wanna sit down, Taylor, with me, I’ll be humble, you’ll be humbler. We’ll
       talk about what you did wrong, we’ll talk about how you’re gonna fix it. And I’m
       gonna fix it, cause you did just about what I thought you were gonna do. I’m
       always one step, two steps ahead of everybody. I see around corners, Taylor.



                                                  48
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1655 of 1677




        Now why don’t you come over and talk to me, it won’t take an hour, and we’ll
        settle this mess that y’all created? … But if you wanna go to war, you wanna bash
        egos with me, you wanna do your free will versus mine, you’re gonna lose and it’s
        gonna affect your family and your baby boy, and I’m not gonna let that happen if I
        can avoid it. If it happens, it’s gonna be on your watch, not mine.

        So, please, Taylor, stop the foolishness. Come talk to a man that loves you, that
        wants you to succeed, that’s taken a lot of abuse from you but at every turn has
        reached out and tried to get you to do the right thing. You’re gonna be able to
        practice law with your people, you’re not gonna have me around much to worry
        about, I’m gonna get out, I wanted to get out, I wanted to be by myself …
        everything’s together, everything in your life is not. Call me, bye.

                                                     154.

        On February 22, 2020, at 5:07 a.m., Defendant Wood e-mailed Plaintiffs Wade,

Grunberg, and Wilson, and their counsel, stating, in material part, as follows:

        [Disputed case] – As you were informed by [redacted], he will deposit … the
        [Disputed Case compensation] into his firm’s escrow account. [The client], not
        me, control the amount of fees to be paid to WGW, and the clients will only agree
        at best to pay to WGW quantum meruit for services strictly related to the
        [Disputed Case] which will be very difficult for WGW to calculate….

(Emphasis added).

                                                     155.

        On February 22, 2020 at 7:29 p.m., Defendant Wood e-mailed Plaintiffs’ counsel and a

third party stating, in material part, as follows:

        … If I am right, and I and others believe I am, further discord, disagreement, or
        even God forbid, litigation will destroy the chances your clients have if [sic]
        building a successful and financially viable law firm…. With respect to the
        [Disputed Case], your client will have to submit to me their actual hours worked
        on the [Disputed Case] and Their proposed hourly rate. Taylor can include any
        hours that he feels were reasonably dedicated to [the Disputed Case] when he
        began his initial [work]. To be clear, I will not pay Nicole Wade any money on
        the [Disputed Case]. So only Jonathan and Taylor need to bother will [sic]
        compiling and submitting to you to provide to me their actual hours worked or
        their best estimate of them….
                                                     49
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1656 of 1677




(Emphasis added).

                                                   156.

       On February 25, 2020 at 4:51 a.m., Defendant Wood e-mailed Plaintiffs’ counsel copying

five third parties, referring to Plaintiffs’ counsel’s first name on 66 separate occasions and

otherwise stating, in material part, as follows:

       … Take whatever action you and your clients believe is necessary, Drew. I will
       be prepared to respond with the full legal wrath and vengeance like an angry God,
       Drew….

       One last matter, Drew. I shall not voluntarily pay you or your clients one thin
       damn dime, Drew.

(Emphasis added).

                                                   157.

       Shortly thereafter, Defendants engaged their current counsel.

                                                   158.

       Hiring new counsel did not stop Defendant Wood from contacting Plaintiffs in a

threatening and abusive manner.

                                                   159.

       On March 3, 2020, at approximately 10:30 p.m., Defendant Wood called and left a

voicemail for Plaintiff Wilson’s wife professing his love for her and her family in a manner she

found terrifying and stating, in material part, as follows:

       [Redacted] Wilson. You’ve got a handsome little baby boy, I need to see him
       soon, I know I will. Listen, I know I’m calling you, I’m not calling Taylor, I’m
       not supposed to. You’re gonna learn some things, Taylor’s gonna learn some
       things in the next day or two, involving Taylor, Nicole, and Jonathan, and me and
       the lease. It’s gonna sound bad for him at first. Bad for you. I want you to know
       something, [redacted]. I told you I loved you. I told you I loved your son, I love
       your husband, Taylor. I’m not gonna let anybody get hurt too badly…. I think

                                                   50
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1657 of 1677




        Taylor Wilson’s one of the best damn young lawyers I’ve ever seen. A lot of
        things about Taylor remind me of me. I meant it every time I told you I love you,
        I meant it then I mean it now. I meant every time I told Taylor I loved him, I
        meant it then I mean it now. Just relax, hang loose, it’s all gonna be good, it’s not
        gonna be good as everybody wants it to be on your side, his side, but it will be
        good in the long run…. We’ll talk one day soon. It’ll be when you decide to call
        me or maybe we’ll run into each other, but we’ll talk again and we’ll be friends,
        cause I love you and you love me. That answers every dispute that we have in
        life, doesn’t it? We don’t have disputes, we’re different. We’re different but
        we’re alike, we love each other…. I love you and you love me. I love Taylor, he
        loves me. We’ll talk soon…. When you listen to this in the next day or two,
        you’ll understand why. I see around corners before I cross the corner. Buh-bye,
        talk soon.
                                               160.

        Throughout this entire ordeal, Defendant Wood has continued to text Plaintiff Wilson’s

wife, despite being instructed to stop by Plaintiffs’ counsel multiple times.

                                                161.

        On March 4, 2020 at 3:40 a.m., Defendant Wood made clear his intentions not to pay any

amounts on the fee distribution agreement he had previously made with Plaintiffs on February 17

when he e-mailed Plaintiffs Wade, Grunberg, and Wilson, their counsel, and a third-party,

alleging a series of unspecified criminal conduct in violation of their “fiduciary duties” and

stating, in material part, as follows:

        In any event, you may rest assured that I shall never voluntarily pay your
        clients one thin damn dime. Your clients shall be required to pay their 75% of
        the lease obligations even if they find themselves prohibited from engaging in the
        practice of law in the State of Georgia in the future….

(Emphasis added).

                                                162.

        Two days after Defendants stated they would not honor the terms of the Settlement

Agreement for the reasons stated herein, Defendant Wood texted Plaintiff Grunberg, again


                                                 51
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1658 of 1677




threatening criminal liability based upon his admittedly blatantly false and recanted conspiracy

theory that Grunberg, along with Defendants’ former law partners, somehow committed some

unspecified criminal act involving tampering with his computers:




             Defendants’ Conduct During Negotiations of Settlement Agreement

                                               163.

       Defendants’ fraudulent and malicious intent is also revealed by and through their drafts

of the Settlement Agreement.

                                               164.

       Upon information and belief, when they entered in the Settlement Agreement,

Defendants were intent on forestalling a lawsuit by Plaintiffs Wade, Grunberg, and Wilson that

would reveal Defendant Wood’s indisputable pattern of violent, abusive, and erratic behavior

supporting claims for assault, battery, intentional infliction of emotional distress, and

defamation. Defendant Wood had repeatedly voiced his concerns about his misconduct being

disclosed as he feared it would interfere with his imminent receipt of the Presidential Medal of

Freedom and appointment as Chief Justice of United States Supreme Court. The latter belief was

based, in part, on (1) a decade-plus old “prophecy” Defendant Wood heard in a YouTube video,

and (2) a conspiracy theory that Chief Justice Roberts would be revealed to be part of Jeffrey

Epstein’s sex trafficking ring and was being blackmailed by liberals to rule in their favor.


                                                52
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1659 of 1677




                                             165.

       More specifically, in reviewing Defendants’ drafts of the Settlement Agreement, it is

apparent that Defendants were always planning to find a way to “never pay one thin dime” and

attempted to have Plaintiffs agree to a Settlement Agreement that would allow Defendants to

renege on their covenant to pay Plaintiffs fee splits when the time came for performance, on the

purported basis that client consent was required, by setting forth a false recital of their

relationship as lawyers, fully cognizant of Georgia Rule of Professional Conduct 1.5(e) and its

application.

                                             166.

       Defendants’ first draft of the Settlement Agreement stated: “Nicole Wade, Jonathan

Grunberg, and Taylor Wilson have never been law partners in L. Lin Wood, P.C. (hereinafter

‘LLW PC’) but have worked with L. Lin Wood, P.C. by agreement on a case-by-case basis

while sharing office space since 2018.” (Emphasis added).

                                             167.

       Plaintiffs objected to the above false description of their indisputable association with

Defendant LLW PC. Plaintiffs Wade, Grunberg, and Wilson did not work with Defendant LLW

PC by agreement on a case-by-case basis. Defendant Wood never handled any litigation solely

by himself. Since 2018, if not earlier, every case for which Defendant LLW PC entered into an

engagement was worked on by Plaintiffs Wade, Grunberg, and/or Wilson, all as lawyers of

Defendant LLW PC. While Defendant Wood and Plaintiffs Wade, Grunberg, and Wilson would

discuss which attorneys should work on which matters, Defendant Wood would direct Plaintiffs

Wade, Grunberg, and Wilson what work to handle for what case, because he was their “boss.”




                                              53
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1660 of 1677




                                              168.

       When Plaintiffs objected, Defendants claimed that this language was there “for insurance

purposes.”

                                              169.

       Defendants then edited this recital to state: “Nicole Wade, Jonathan Grunberg, and

Taylor Wilson have never held any ownership interest in L. Lin Wood, P.C. (hereinafter ‘LLW

PC’) but, through Wade Law, LLC and Grunberg & Wilson, LLC, have worked with L. Lin

Wood, P.C. by general agreement on hourly fee cases and by agreement on a case-by-case

basis on contingency fee cases while sharing office space since 2018.” (Emphasis added)

                                              170.

       Plaintiffs again objected to the above false language. The distinction between hourly

cases and contingency cases was a complete farce, plainly intended by Defendants as a material

representation of the agreement, a false representation of the parties’ relationship, and plainly

designed to allow Defendants to renege on their promises to pay fee splits.

                                              171.

       Defendants edited this recital again to state: “WGW never held any ownership interest in

L. Lin Wood, P.C. (hereinafter ‘LLW PC’) but worked with L. Lin Wood, P.C. on cases and

were held out as partners since 2018.” (Emphasis added).

                                              172.

       Plaintiffs again objected to the above false language, questioning why – if Defendants

insisted on a recital setting forth the facts and nature of their relationship with Defendant LLW

PC – Defendants insisted on falsely stating Plaintiffs were anything but lawyers of Defendant

LLW PC.



                                               54
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1661 of 1677




                                                  173.

          Defendants finally edited this recital a fourth time, arriving at the agreed upon language,

which is the truth: “WGW never held any ownership interest in L. Lin Wood, P.C. (hereinafter

‘LLW PC’) but have worked as lawyers of L. Lin Wood, P.C. on cases since 2018.” (Emphasis

added).

                                                  174.

          As demonstrated by the number of negotiations on this point, Defendants’ agreement to

this fact was a material representation inducing Plaintiffs to enter into the Settlement Agreement,

as both parties knew this representation was integral to payment of fees under Rule 1.5 and

liability for the Lease.

                                                  175.

          Georgia Rule of Professional Conduct 1.5(e) “does not prohibit or regulate division of

fees to be received in the future for work done when lawyers were previously associated in a law

firm.” Rule 1.5(e), cmt. 8.

                                                  176.

          Because Plaintiffs Wade, Grunberg, and Wilson acted as lawyers of Defendant LLW PC

at the time they performed work in the Disputed Case (and all cases subject of the Settlement

Agreement), Georgia Rule of Professional Conduct 1.5(e) is inapplicable with respect to

Plaintiffs’ claim for breach of contract.

                                                  177.

          Defendants always intended to take the position that Plaintiffs were not lawyers of

Defendant LLW PC, including prior to, at the time of, and after executing the Settlement

Agreement.



                                                   55
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1662 of 1677




                                                178.

       Defendants always intended to take the position that client consent was required and

knew as counsel for the clients in the Disputed Case, that such consent would not be given,

including prior to, at the time of, and after executing the Settlement Agreement.

                                                179.

       Defendants’ intent prior to, at the time of, and after executing the Settlement Agreement

was as they had repeatedly stated: never to pay to Plaintiffs “one thin dime.”

                                                180.

       As set forth herein, Defendants thereafter and prior to executing the Settlement

Agreement, including as early as their February 11, 2020 e-mail, repeatedly threatened that they

would pay to Plaintiffs only quantum meruit for their work on the Disputed Case even though

Defendant Wood had already agreed to pay Plaintiffs a fee comparable to his previous practice

and procedure with respect to distribution of attorneys’ fees in cases.

                                                181.

       After multiple settlement offers of quantum meruit were rejected by Plaintiffs,

Defendants agreed to the terms of the Settlement Agreement, which required payment to

Plaintiffs on a lump sum basis rather than a quantum meruit basis.

                                                182.

       However, Defendants attempted to draft the agreement in a manner that would allow

Defendants to do exactly what they always intended to do despite their express agreements to the

contrary in the Settlement Agreement that (1) Plaintiffs were acting as lawyers of Defendant

LLW PC and (2) Defendant LLW PC would pay to Plaintiffs the agreed sum: never pay to




                                                 56
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1663 of 1677




Plaintiffs “one thin dime,” except possibly as quantum meruit as Defendants, or purportedly their

clients, determine is appropriate in their sole authority.

                                                 183.

       Moreover, despite the Settlement Agreement not containing a single provision requiring

the payment of any money by Plaintiffs to Defendants – providing instead that Defendants would

pay a lump sum to Plaintiffs after withholding the Lease payment (stating, “LLW PC shall pay

the stated portion of said fees … to WGW, minus the lease amount referenced in Section 2

below,” which itself provides that “[t]his amount [for the Lease] shall be deducted from the

payment by LLW PC to WGW referenced” above) – Defendants took the position that they both

get to keep the fees they were supposed to pay to Plaintiffs and Plaintiffs had to pay to

Defendants the Lease payment, i.e., Defendants would not be paying Plaintiffs “one thin dime.”

                                                 184.

       In summary: (1) after months of repeatedly reiterating that Plaintiffs were partners and

otherwise associated in Defendants’ law firm LLW PC, falsely accusing Plaintiffs of various

crimes, threatening them with various fantastical civil liabilities, making up various acts

allegedly committed by Plaintiffs, assaulting and battering Plaintiffs Grunberg and Wilson,

repeatedly reiterating that Defendants would never pay Plaintiffs “one thin dime” on the cases

subject of the Settlement Agreement, repeatedly claiming Defendant Wood would destroy

Plaintiffs’ careers, and making repeated threats of physical harm against Plaintiffs Grunberg and

Wilson, Defendants executed a Settlement Agreement promising to pay them a lump sum on

various cases in return for which Plaintiffs made financial concessions totaling hundreds of

thousands of dollars and giving Defendants a release for their conduct specifically in order to

avoid filing this lawsuit; and (2) after executing the Settlement Agreement, Defendants made



                                                  57
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1664 of 1677




good on their repeated statements that they would never pay Plaintiffs “one thin dime” by

claiming that the client in the Disputed Case, for whom Defendants were and remain counsel,

refused his consent to the compensation required by the Settlement Agreement, which

Defendants claimed was required because, despite the conduct described herein, it is Defendants’

position that Plaintiffs were never associated with Defendants’ law firm.

                                            COUNT I:
                                       BREACH OF CONTRACT

                                               185.

        Plaintiffs hereby incorporate by reference paragraphs 1 through 184 of their Complaint,

as if specifically set forth herein.

                                               186.

        The parties entered into the Settlement Agreement on or around March 17, 2020,

whereby Defendant LLW PC would pay Plaintiffs a portion of its fees for their work on certain

cases, including the Disputed Case.

                                               187.

        The portion of Defendant LLW PC’s fees in the Disputed Case is a liquidated sum.

                                               188.

        All conditions precedent under the Settlement Agreement have been satisfied to trigger

the payment by Defendant LLW PC of a portion of its fees for the cases to Plaintiffs, including

the Disputed Case.

                                               189.

        Defendants breached the terms of the Settlement Agreement by failing and refusing to

pay to Plaintiffs the agreed amounts within 72 hours of Defendant LLW PC’s receipt of its

portion of its fees in the Disputed Case, as required in the Settlement Agreement.

                                               58
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1665 of 1677




                                                  190.

       Defendants’ refusal to pay Plaintiffs the agreed-upon amounts was in bad faith as it was

purportedly based upon a Georgia Rule of Professional Conduct which Defendants knew was

inapplicable, especially since Defendants had personal knowledge that Plaintiffs Wade,

Grunberg, and Wilson had acted as lawyers of Defendant LLW PC in all matters related to the

Disputed Case, and no such consent was required for the fee sharing set forth in the Settlement

Agreement because, inter alia, Plaintiffs Wade, Grunberg and Wilson were lawyers of Defendant

LLW PC—i.e., they were associated in the law firm with Defendant Wood.

                                                  191.

       The Settlement Agreement, itself, recites as follows: “WHEREAS, Nicole Wade,

Jonathan Grunberg, and Taylor Wilson and Wood are lawyers who practiced law and shared

office space together for several years.”

                                                  192.

       The Settlement Agreement, itself, recites as follows: “WHEREAS, WGW never held any

ownership interest in L. Lin Wood, P.C. (hereinafter ‘LLW PC’) but have worked as lawyers of

L. Lin Wood, P.C. on cases since 2018.”

                                                  193.

       In addition to the many indisputable facts contained herein establishing that Plaintiffs

Wade, Grunberg, and Wilson have at all times acted as lawyers of Defendant LLW PC, the

above recital is conclusive proof of that fact.

                                                  194.

       The amounts owed by Defendants are owed for the substantial work that Plaintiffs

performed for the clients of LLW PC and for which they have not yet been paid. The clients for



                                                  59
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1666 of 1677




the cases in question have already paid the fees to LLW PC, and the issue resolved in the

Settlement Agreement was how those fees would be distributed among the lawyers who worked

on the cases.

                                               195.

       In addition, Defendants executed the Settlement Agreement representing that clients in

the Disputed Case were specifically clients of Defendant LLW PC and that Defendant Wood was

their attorney. As such, Defendant Wood had the apparent authority to bind the clients in the

Disputed Case to the terms of the Agreement, and in fact, did so bind these clients.

                                               196.

       Defendants further breached the Settlement Agreement by breaching the implied

covenant of good faith and fair dealing, and by failing “to use [their] best efforts to bring about

the happening of the condition to his promise,” to the extent client consent can be said to have

been a condition to performance. Cf. Turner Broadcasting System, Inc. v. McDavid, 303 Ga.

App. 593, 602 (2010).

                                               197.

       Defendants’ breach of the Settlement Agreement proximately caused Plaintiffs to suffer

damages for the liquidated sum set forth in the Settlement Agreement, as well as other amounts

owed under the Settlement Agreement.

                                               198.

       Defendant LLW PC is liable to Plaintiffs in the amount of the fees set forth in the

Settlement Agreement owed to Plaintiffs for their work on those cases, together with attorney’s

fees for Defendants’ bad faith refusal to pay and with interest pursuant to O.C.G.A. § 7-4-12.




                                                60
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1667 of 1677




                                         COUNT II:
                                  FRAUDULENT INDUCEMENT

                                               199.

        Plaintiffs hereby incorporate by reference paragraphs 1 through 184 of their Complaint,

as if specifically set forth herein.

                                               200.

        Defendants fraudulently induced Plaintiffs to enter into the Settlement Agreement.

                                               201.

        At the time they entered into the Settlement Agreement, Defendants did not intend to

perform their obligations under the Settlement Agreement, including to pay a portion of the fees

for the Disputed Case and to honor the non-disparagement provision, which was a

misrepresentation of a material fact.

                                               202.

        Plaintiffs reasonably relied on Defendants’ affirmative but fraudulent representation that

they would perform their obligations under the Settlement Agreement, including to pay the

promised fees for the Disputed Case and the other cases and to honor the non-disparagement

provision.

                                               203.

        At the time they entered into the Settlement Agreement, Plaintiffs reasonably relied on

Defendants’ statement and representation in the Settlement Agreement that, inter alia, Plaintiffs

Wade, Grunberg, and Wilson “worked as lawyers of L. Lin Wood, P.C. on cases since 2018”—a

clause that was heavily negotiated, as Defendants initially drafted it to falsely convey that

Plaintiffs Wade, Grunberg, and Wilson were not attorneys of Defendant LLW PC.




                                                61
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1668 of 1677




                                              204.

       As Defendants have themselves proven, they never intended to abide by this true

statement of fact that Plaintiffs Wade, Grunberg, and Wilson “worked as lawyers of L. Lin

Wood, P.C. on cases since 2018”.

                                              205.

       Defendants always intended to take the position that client consent to the fee splits in the

Settlement Agreement was required, and they knew at the time they entered into the Settlement

Agreement that such consent from the clients in the Disputed Case had been withheld or would

be withheld, and/or that Defendants would ensure that it was withheld; i.e., that the future event

would not take place.

                                              206.

       Defendants’ fraud is proven by additional substantial and irrefutable circumstantial

evidence concerning their fraudulent intent – prior to and at the time of executing the Settlement

Agreement – to induce Plaintiffs to enter into the Settlement Agreement with false promises.

                                              207.

       Defendants represented as early as February 10, 2020, and on multiple occasions

thereafter and prior to the Settlement Agreement, that the clients in the Disputed Case would

only agree to compensate Plaintiffs in quantum meruit.

                                              208.

       To induce Plaintiffs to sign the Settlement Agreement, Defendant drafted the Settlement

Agreement to state that Defendants were indeed counsel for the clients in all of the cases

referenced therein, including the Disputed Case, and therefore, as their counsel, that Defendant

Wood had all requisite authority to enter into the Settlement Agreement. Defendants further



                                               62
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1669 of 1677




induced Plaintiffs to enter into the Settlement Agreement by drafting language that asserted that

Plaintiffs at all times acted as lawyers of Defendant LLW PC, thereby eliminating any purported

need for client consent.

                                              209.

       Defendants further expressly instructed and demanded under threats of civil liability,

criminal liability, and repercussions with the State Bar, that Plaintiffs were not permitted to

contact Defendant LLW PC’s clients or co-counsel, including the clients in the Disputed Case.

                                              210.

       Defendants at all times relevant hereto acted as counsel to the clients in the Disputed

Case, allowing Plaintiffs to reasonably rely on Defendants’ apparent authority (1) to bind the

clients in the Disputed Case and/or (2) rely on Defendants’ implicit representation that said

clients knew of and agreed to the terms of the Settlement Agreement.

                                              211.

       Defendants’ fraudulent intention to never pay to Plaintiffs “one thin dime” is further

evidenced by the manner in which they drafted the terms triggering Defendant LLW PC’s

payment obligations to Plaintiffs. For instance, at the time the Settlement Agreement was

entered into, Defendants had already received the compensation necessary to pay Plaintiffs fees

in multiple cases subject of the Settlement Agreement, but they drafted the Agreement only to

trigger payment to Plaintiffs upon receipt of compensation in the Disputed Case at a later date.

Meanwhile, the Lease obligation Plaintiffs agreed to in the Settlement Agreement (but were not

otherwise responsible for) was larger than the fees owed in cases other than the Disputed Case

and would only be paid out of the fees in the Settlement Agreement. Thus, Defendants have




                                               63
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1670 of 1677




attempted to make good on the “one thin dime” statements by withholding for months fees owed

so that they could later claim the Lease obligation swallowed all fees owed to Plaintiffs.

                                                 212.

       Defendants attempted to make good on their repeated statements they would never pay to

Plaintiffs “one thin dime” by attempting (and failing) to build into the Settlement Agreement the

very fraudulent defense on which they now rely: that Plaintiffs were not lawyers of Defendant

LLW PC in the years preceding this dispute.

                                                 213.

       All of Defendant Wood’s prior conduct leads to one inescapable conclusion – that he

never intended to pay Plaintiffs. That conduct includes his assault and battery of Plaintiffs

Grunberg and Wilson; additional threats of physical harm against Plaintiffs Grunberg and

Wilson, including that he would fight them to the death; repeatedly reiterating that he would

never pay to Plaintiffs “one thin dime” prior to executing the Settlement Agreement; making

repeated threats to destroy Plaintiffs’ careers prior to executing the Settlement Agreement;

making repeated false, fantastical, and malicious accusations of criminal conduct against

Plaintiffs prior to executing the Settlement Agreement; making repeated fantastical threats that

Plaintiffs would spend many years or the rest of their lives in prison for Defendant Wood’s

fantastical conspiracy theories about their alleged and false criminal acts; repeatedly threatening

the families, including Plaintiffs Grunberg and Wilson’s wives and young children aged between

3 months and approximately 2 years; and making numerous false, fantastical, and defamatory

statements against Plaintiffs in addition to those relating to criminal acts, including that Plaintiffs

were extortionists attempting to extort money from him to which they were not entitled (it

appears based solely on Plaintiffs’ request that Defendants honor his previous promises



                                                  64
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1671 of 1677




regarding their compensation), including the payment of the compensation owed to them in the

Disputed Case.

                                               214.

        Plaintiffs reasonably relied upon Defendant Wood’s status as counsel to the clients in the

Disputed Case and his implicit representations that he had all requisite authority and consent to

enter into the Settlement Agreement and would otherwise employ best efforts to ensure his

compliance with the Settlement Agreement.

                                               215.

        Defendants’ fraudulent inducement of Plaintiffs to enter into the Settlement Agreement

proximately caused damage to Plaintiffs, including but not limited to by inducing them to enter

into the Settlement Agreement and to give up their valuable claims for fees as well as tort

claims and to agree to allow LLW PC to retain certain sums as payment on the Lease, all in the

promise of payment on the Disputed Case, which Defendants never intended to pay. As such,

Defendant Wood’s fraudulent inducement bars Defendants from raising the defense they

fraudulently attempted to build into the Settlement Agreement.

                                               216.

        Plaintiffs are entitled to a verdict against Defendant Wood individually and against

Defendant LLW PC for compensatory damages consisting of the full value of the Settlement

Agreement, punitive damages, and attorneys’ fees in an amount to be proven at trial.

                                        COUNT III:
                                    PUNITIVE DAMAGES

                                               217.

        Plaintiffs hereby incorporate by reference paragraphs 1-216 of their Complaint, as if

specifically set forth herein.

                                               65
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1672 of 1677




                                                 218.

        Defendants’ actions showed willful misconduct, malice, fraud, wantonness, oppression,

and that entire want of care which would raise the presumption of conscious indifference to

consequences as to entitle Plaintiffs to punitive damages against Defendants in accordance

with O.C.G.A. § 51-12-5.1.

                                          COUNT IV:
                                       ATTORNEY’S FEES

                                                 219.

        Plaintiffs hereby incorporate by reference paragraphs 1 – 216 of their Complaint, as if

specifically set forth herein.

                                                 220.

        Plaintiffs are entitled to the recovery of the costs of litigation and their attorney’s fees

under O.C.G.A. § 13-6-11 as Defendants have acted in bad faith, been stubbornly litigious, and

caused Plaintiffs unnecessary trouble and expense. Accordingly, Plaintiffs are entitled to

expenses of litigation, including attorney’s fees, under O.C.G.A. § 13-6-11.

                                                 221.

        Further, Plaintiffs are entitled to the recovery of attorneys’ fees and the costs of litigation

from Defendants for the fraud they engaged in, including by fraudulently inducing Plaintiffs to

enter into the Settlement Agreement. Defendants’ behavior in negotiating, entering into, and

carrying out the Settlement Agreement evidences that species of bad faith sufficient to justify an

award of attorney’s fee and the expenses of litigation under Georgia law.



        WHEREFORE, Plaintiffs respectfully pray of this Court as follows:

A. Enter judgment in favor of Plaintiffs against Defendants as set forth in each count of this

                                                  66
    Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1673 of 1677




   Complaint;

B. Award Plaintiffs actual, special, and compensatory damages as set forth above in an amount

   to be determined at trial, plus interest pursuant to O.C.G.A. § 7-4-12;

C. Award Plaintiffs punitive damages pursuant to O.C.G.A. § 51-12-5.1;

D. Award Plaintiffs their reasonable attorneys’ fees and expenses of litigation;

E. For an award of Plaintiffs’ costs of this action against Defendants; and

F. For such other and further relief as this Court deems just, proper and equitable under the

   circumstances.

       Respectfully submitted this 31st day of August, 2020.


                                                            /s/Andrew M. Beal
                                                            Andrew M. Beal
                                                            abeal@buckleybeal.com
                                                            Georgia Bar No. 043842
                                                            Milinda Brown
                                                            mbrown@buckleybeal.com
                                                            Georgia Bar No. 363307

BUCKLEY BEAL LLP
600 Peachtree Street, NE
Suite 3900
Atlanta, Georgia 30308
T: (404) 781-1100
F: (404) 688-2988
Counsel for Plaintiffs




                                                67
     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1674 of 1677




                       IN   THE SUPERIOR COURT OF FULTON COUNTY
                                     STATE OF GEORGIA
NICOLE WADE; JONATHAN (iRUNBliRG;
TAYLOR WILSON:
WADE, GRUNBERG & WILSON, LLC;

Plaintiffs,
                                                        Civil Action File No: 2020CV339937
V.
                                                        JURY TRIAL DEMANDED
L. LIN WOOD and L. LIN WOOD, P.C.,

Defendants.




                                        VEEIEIQATIQN
         I.   NICOLE WADE, Plaintiff in   the above-styled matter, hereby   cenify under penalty of
perjury, before the undersigned ofcer      authorized to administer oaths, that the information
contained in the foregoing Complaint is true and correct to the best           of my knowledge,
information, and belief.


         This   Q3 Hay of                   .2020.           K



                                                     By: Nicole Wade
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Sworn and subscribed before me
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     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1675 of 1677



                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                       STATE OF GEORGIA

NICOLE WADE; JONATHAN GRUNBERG;
TAYLOR WILSON;
WADE, GRUNBERG & WILSON, LLC;

Plaintiffs,
                                                        Civil Action File No:
v.
                                                        JURY TRIAL DEMANDED
L. LIN WOOD and L. LIN WOOD, P.C.,

Defendants.




                                         VERIFICATION

         1,   Jonathan Grunberg, member of   WADE, GRUNBERG & WILSON, LLC, Plaintiff in
                                                        of perjury, before the undersigned   ofcer
the above-styled matter, hereby certify under penalty

authorized to administer oaths, that the information contained in the foregoing Veried
                                                                        and belief.
Complaint is true and correct to the best of my knowledge, information,


         Thiswln day
                          dwi—J                2020.




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 Sworn and subsc ed before me
 this Qghday of u          l
                        ,2020.



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     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1676 of 1677




                          IN THE SUPERIOR COURT OF FULTON COUNTY
                                      STATE OF GEORGIA
NICOLE WADE; JONATHAN GRUNBERG;
TAYLOR WILSON;
WADE, GRUNBERG & WILSON, LLC;

Plaintiffs,
                                                         Civil Action File N0:
V.
                                                         JURY TRIAL DEMANDED
L. LIN WOOD and L. LIN WOOD, P.C.,

Defendants.




                                          VERIFICATION
          I,   TAYLOR WILSON, Plaintiff in the above-styled matter, hereby certify under penalty
of perjury, before the undersigned officer authorized t0 administer oaths, that the information
contained in the foregoing Complaint is true and correct to the best of my knowledge,

information, and belief.


          This      Zrr   day of   hvu    'I'   ,2020.




Sworn and subscri ed before me
this 9‘2; day of         , 2020.


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     Case 1:21-cv-01169-TCB Document 35-2 Filed 05/03/21 Page 1677 of 1677



                   IN THE SUPERIOR COURT OF FULTON COUNTY
                                      STATE OF GEORGIA
NICOLE WADE; JONATHAN GRUNBERG;
TAYLOR WIL SON;
WADE, GRUNBERG & WILSON, LLC;

Plaintiffs,
                                                     Civil Action File No:
V.
                                                     JURY TRIAL DEMANDED
L. LIN WOOD and L. LN WOOD, P.C.,

Defendants.




                                       VERIFICATION
        I, JONATHAN GRUNBERG, Plaintiff in the above—styled matter, hereby certify under
penalty of peijury, before the undersigned ofcer    authorized to administer oaths, that the
information contained in the foregoing Complaint is true and correct to the best of my

knowledge, information, and belief.


        Thisié’idayof UjUJ‘h               2020.

                                                                é
                                                               Grunberg
                                                   Byzwaian


Sworn and subscri ed before me
this Qgikday of           2020.




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